Case 2:25-cv-03053   Document 1-7   Filed 04/07/25   Page 1 of 717 Page ID #:530




                     EXHIBIT 7
Case 2:25-cv-03053   Document 1-7      Filed 04/07/25   Page 2 of 717 Page ID #:531




           I n t e r n a t i o n a l   T e l e c o m m u n i c a t i o n   U n i o n




           ITU-T                                                        H.265
           TELECOMMUNICATION                                               (08/2021)
           STANDARDIZATION SECTOR
           OF ITU




           SERIES H: AUDIOVISUAL AND MULTIMEDIA SYSTEMS
           Infrastructure of audiovisual services – Coding of moving
           video


           High efficiency video coding




           Recommendation ITU-T H.265
  Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25   Page 3 of 717 Page ID #:532


                                           ITU-T H-SERIES RECOMMENDATIONS
                                     AUDIOVISUAL AND MULTIMEDIA SYSTEMS

    CHARACTERISTICS OF VISUAL TELEPHONE SYSTEMS                                                 H.100–H.199
    INFRASTRUCTURE OF AUDIOVISUAL SERVICES
      General                                                                                   H.200–H.219
      Transmission multiplexing and synchronization                                             H.220–H.229
      Systems aspects                                                                           H.230–H.239
      Communication procedures                                                                  H.240–H.259
      Coding of moving video                                                                    H.260–H.279
      Related systems aspects                                                                   H.280–H.299
      Systems and terminal equipment for audiovisual services                                   H.300–H.349
      Directory services architecture for audiovisual and multimedia services                   H.350–H.359
      Quality of service architecture for audiovisual and multimedia services                   H.360–H.369
      Telepresence, immersive environments, virtual and extended reality                        H.420–H.439
      Supplementary services for multimedia                                                     H.450–H.499
    MOBILITY AND COLLABORATION PROCEDURES
      Overview of Mobility and Collaboration, definitions, protocols and procedures             H.500–H.509
      Mobility for H-Series multimedia systems and services                                     H.510–H.519
      Mobile multimedia collaboration applications and services                                 H.520–H.529
      Security for mobile multimedia systems and services                                       H.530–H.539
      Security for mobile multimedia collaboration applications and services                    H.540–H.549
    VEHICULAR GATEWAYS AND INTELLIGENT TRANSPORTATION SYSTEMS (ITS)
      Architecture for vehicular gateways                                                       H.550–H.559
      Vehicular gateway interfaces                                                              H.560–H.569
    BROADBAND, TRIPLE-PLAY AND ADVANCED MULTIMEDIA SERVICES
      Broadband multimedia services over VDSL                                                   H.610–H.619
      Advanced multimedia services and applications                                             H.620–H.629
      Content delivery and ubiquitous sensor network applications                               H.640–H.649
    IPTV MULTIMEDIA SERVICES AND APPLICATIONS FOR IPTV
      General aspects                                                                           H.700–H.719
      IPTV terminal devices                                                                     H.720–H.729
      IPTV middleware                                                                           H.730–H.739
      IPTV application event handling                                                           H.740–H.749
      IPTV metadata                                                                             H.750–H.759
      IPTV multimedia application frameworks                                                    H.760–H.769
      IPTV service discovery up to consumption                                                  H.770–H.779
      Digital Signage                                                                           H.780–H.789
    E-HEALTH MULTIMEDIA SYSTEMS, SERVICES AND APPLICATIONS
      Personal health systems                                                                   H.810–H.819
      Interoperability compliance testing of personal health systems (HRN, PAN, LAN, TAN and    H.820–H.859
      WAN)
      Multimedia e-health data exchange services                                                H.860–H.869
      Safe listening                                                                            H.870–H.879


For further details, please refer to the list of ITU-T Recommendations.
    Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 4 of 717 Page ID #:533


    Recommendation ITU-T H.265

                                           High efficiency video coding




    Summary
    Recommendation ITU-T H.265 | International Standard ISO/IEC 23008-2 represents an evolution of the existing video
    coding Recommendations (ITU-T H.261, ITU-T H.262, ITU-T H.263 and ITU-T H.264) and was developed in response
    to the growing need for higher compression of moving pictures for various applications such as Internet streaming,
    communication, videoconferencing, digital storage media and television broadcasting. It is also designed to enable the use
    of the coded video representation in a flexible manner for a wide variety of network environments. The use of this
    Recommendation | International Standard allows motion video to be manipulated as a form of computer data and to be
    stored on various storage media, transmitted and received over existing and future networks and distributed on existing
    and future broadcasting channels.
    This revision adds an additional SEI message for shutter interval information, and also includes corrections to various
    minor defects in the prior content of the Specification.
    This Recommendation | International Standard was developed jointly with ISO/IEC JTC 1/SC 29 and corresponds in a
    technically aligned manner to ISO/IEC 23008-2.




    History
     Edition   Recommendation      Approval    Study Group        Unique ID*
      1.0      ITU-T H.265        2013-04-13       16        11.1002/1000/11885
      2.0      ITU-T H.265 (V2)   2014-10-29       16        11.1002/1000/12296
      3.0      ITU-T H.265 (V3)   2015-04-29       16        11.1002/1000/12455
      4.0      ITU-T H.265 (V4)   2016-12-22       16        11.1002/1000/12905
      5.0      ITU-T H.265 (V5)   2018-02-13       16        11.1002/1000/13433
      6.0      ITU-T H.265 (V6)   2019-06-29       16        11.1002/1000/13904
      7.0      ITU-T H.265 (V7)   2019-11-29       16        11.1002/1000/14107
      8.0      ITU-T H.265 (V8)   2021-08-22       16        11.1002/1000/14660




    Keywords
    Compression coding, digital video, image coding, supplemental enhancement information, video coding, video
    compression, visual coding.



____________________
*  To access the Recommendation, type the URL http://handle.itu.int/ in the address field of your web browser, followed by the
Recommendation's unique ID. For example, http://handle.itu.int/11.1002/1000/11830-en.


                                                                               Rec. ITU-T H.265 v8 (08/2021)                i
     Case 2:25-cv-03053      Document 1-7         Filed 04/07/25       Page 5 of 717 Page ID #:534




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telecommunications on a worldwide basis.
The World Telecommunication Standardization Assembly (WTSA), which meets every four years, establishes
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The approval of ITU-T Recommendations is covered by the procedure laid down in WTSA Resolution 1.
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ii         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                       Document 1-7                       Filed 04/07/25                      Page 6 of 717 Page ID #:535


                                                               TABLE OF CONTENTS
                                                                                                                                                                           Page
0   Introduction .................................................................................................................................................. 1
    0.1    General .............................................................................................................................................. 1
    0.2    Prologue ............................................................................................................................................ 1
    0.3    Purpose.............................................................................................................................................. 1
    0.4    Applications ...................................................................................................................................... 1
    0.5    Publication and versions of this Specification .................................................................................. 2
    0.6    Profiles, tiers and levels .................................................................................................................... 2
    0.7    Overview of the design characteristics.............................................................................................. 3
    0.8    How to read this Specification .......................................................................................................... 3
1   Scope ............................................................................................................................................................ 3
2   Normative references ................................................................................................................................... 3
    2.1  General .............................................................................................................................................. 3
    2.2  Identical Recommendations | International Standards ...................................................................... 4
    2.3  Paired Recommendations | International Standards equivalent in technical content ........................ 4
    2.4  Additional references ........................................................................................................................ 4
3   Definitions .................................................................................................................................................... 4
4   Abbreviations and acronyms ...................................................................................................................... 13
5   Conventions................................................................................................................................................ 16
    5.1  General ............................................................................................................................................ 16
    5.2  Arithmetic operators ....................................................................................................................... 16
    5.3  Logical operators ............................................................................................................................ 16
    5.4  Relational operators ........................................................................................................................ 16
    5.5  Bit-wise operators ........................................................................................................................... 16
    5.6  Assignment operators ...................................................................................................................... 17
    5.7  Range notation ................................................................................................................................ 17
    5.8  Mathematical functions ................................................................................................................... 17
    5.9  Order of operation precedence ........................................................................................................ 18
    5.10 Variables, syntax elements and tables ............................................................................................. 19
    5.11 Text description of logical operations ............................................................................................. 20
    5.12 Processes ......................................................................................................................................... 21
6   Bitstream and picture formats, partitionings, scanning processes and neighbouring relationships ............ 21
    6.1    Bitstream formats ............................................................................................................................ 21
    6.2    Source, decoded and output picture formats ................................................................................... 21
    6.3    Partitioning of pictures, slices, slice segments, tiles, CTUs and CTBs ........................................... 23
           6.3.1    Partitioning of pictures into slices, slice segments and tiles ............................................. 23
           6.3.2    Block and quadtree structures ........................................................................................... 24
           6.3.3    Spatial or component-wise partitionings ........................................................................... 25
    6.4    Availability processes ..................................................................................................................... 26
           6.4.1    Derivation process for z-scan order block availability ...................................................... 26
           6.4.2    Derivation process for prediction block availability ......................................................... 26
    6.5    Scanning processes ......................................................................................................................... 27
           6.5.1    CTB raster and tile scanning conversion process.............................................................. 27
           6.5.2    Z-scan order array initialization process ........................................................................... 29
           6.5.3    Up-right diagonal scan order array initialization process.................................................. 29
           6.5.4    Horizontal scan order array initialization process ............................................................. 29
           6.5.5    Vertical scan order array initialization process ................................................................. 30
           6.5.6    Traverse scan order array initialization process ................................................................ 30
7   Syntax and semantics ................................................................................................................................. 30
    7.1   Method of specifying syntax in tabular form .................................................................................. 30
    7.2   Specification of syntax functions and descriptors ........................................................................... 31
    7.3   Syntax in tabular form..................................................................................................................... 33
          7.3.1    NAL unit syntax................................................................................................................ 33
          7.3.2    Raw byte sequence payloads, trailing bits and byte alignment syntax .............................. 34


                                                                                                             Rec. ITU-T H.265 v8 (08/2021)                                   iii
 Case 2:25-cv-03053                     Document 1-7                       Filed 04/07/25                    Page 7 of 717 Page ID #:536


               7.3.3   Profile, tier and level syntax ............................................................................................. 42
               7.3.4   Scaling list data syntax...................................................................................................... 45
               7.3.5   Supplemental enhancement information message syntax ................................................. 45
               7.3.6   Slice segment header syntax ............................................................................................. 46
               7.3.7   Short-term reference picture set syntax............................................................................. 50
               7.3.8   Slice segment data syntax ................................................................................................. 51
     7.4       Semantics ........................................................................................................................................ 64
               7.4.1   General .............................................................................................................................. 64
               7.4.2   NAL unit semantics .......................................................................................................... 64
               7.4.3   Raw byte sequence payloads, trailing bits and byte alignment semantics ........................ 72
               7.4.4   Profile, tier and level semantics ........................................................................................ 89
               7.4.5   Scaling list data semantics ................................................................................................ 92
               7.4.6   Supplemental enhancement information message semantics ............................................ 95
               7.4.7   Slice segment header semantics ........................................................................................ 95
               7.4.8   Short-term reference picture set semantics ..................................................................... 102
               7.4.9   Slice segment data semantics .......................................................................................... 104
 8   Decoding process ..................................................................................................................................... 117
     8.1   General decoding process ............................................................................................................. 117
           8.1.1    General ............................................................................................................................ 117
           8.1.2    CVSG decoding process ................................................................................................. 117
           8.1.3    Decoding process for a coded picture with nuh_layer_id equal to 0............................... 117
     8.2   NAL unit decoding process........................................................................................................... 119
     8.3   Slice decoding process .................................................................................................................. 119
           8.3.1    Decoding process for picture order count ....................................................................... 119
           8.3.2    Decoding process for reference picture set ..................................................................... 120
           8.3.3    Decoding process for generating unavailable reference pictures .................................... 124
           8.3.4    Decoding process for reference picture lists construction............................................... 125
           8.3.5    Decoding process for collocated picture and no backward prediction flag ..................... 126
     8.4   Decoding process for coding units coded in intra prediction mode .............................................. 126
           8.4.1    General decoding process for coding units coded in intra prediction mode.................... 126
           8.4.2    Derivation process for luma intra prediction mode ......................................................... 130
           8.4.3    Derivation process for chroma intra prediction mode ..................................................... 132
           8.4.4    Decoding process for intra blocks ................................................................................... 133
     8.5   Decoding process for coding units coded in inter prediction mode .............................................. 143
           8.5.1    General decoding process for coding units coded in inter prediction mode.................... 143
           8.5.2    Inter prediction process ................................................................................................... 143
           8.5.3    Decoding process for prediction units in inter prediction mode ..................................... 146
           8.5.4    Decoding process for the residual signal of coding units coded in inter prediction mode
                     ........................................................................................................................................ 171
     8.6   Scaling, transformation and array construction process prior to deblocking filter process ........... 175
           8.6.1    Derivation process for quantization parameters .............................................................. 175
           8.6.2    Scaling and transformation process ................................................................................ 176
           8.6.3    Scaling process for transform coefficients ...................................................................... 178
           8.6.4    Transformation process for scaled transform coefficients .............................................. 179
           8.6.5    Residual modification process for blocks using a transform bypass ............................... 181
           8.6.6    Residual modification process for transform blocks using cross-component prediction 181
           8.6.7    Picture construction process prior to in-loop filter process ............................................. 182
           8.6.8    Residual modification process for blocks using adaptive colour transform .................... 182
     8.7   In-loop filter process ..................................................................................................................... 184
           8.7.1    General ............................................................................................................................ 184
           8.7.2    Deblocking filter process ................................................................................................ 185
           8.7.3    Sample adaptive offset process ....................................................................................... 198
 9   Parsing process ......................................................................................................................................... 200
     9.1    General .......................................................................................................................................... 200
     9.2    Parsing process for 0-th order Exp-Golomb codes ....................................................................... 201
            9.2.1    General ............................................................................................................................ 201
            9.2.2    Mapping process for signed Exp-Golomb codes ............................................................ 202
     9.3    CABAC parsing process for slice segment data ........................................................................... 203
            9.3.1    General ............................................................................................................................ 203
            9.3.2    Initialization process ....................................................................................................... 205
            9.3.3    Binarization process ........................................................................................................ 218


iv       Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                         Document 1-7                     Filed 04/07/25                  Page 8 of 717 Page ID #:537


                   9.3.4       Decoding process flow .................................................................................................... 227
                   9.3.5       Arithmetic encoding process (informative)..................................................................... 241
10       Sub-bitstream extraction process.............................................................................................................. 247
Annex A Profiles, tiers and levels ..................................................................................................................... 248
     A.1 Overview of profiles, tiers and levels............................................................................................ 248
     A.2 Requirements on video decoder capability ................................................................................... 248
     A.3 Profiles .......................................................................................................................................... 248
           A.3.1 General ............................................................................................................................ 248
           A.3.2 Main profile .................................................................................................................... 248
           A.3.3 Main 10 and Main 10 Still Picture profiles ..................................................................... 249
           A.3.4 Main Still Picture profile................................................................................................. 250
           A.3.5 Format range extensions profiles .................................................................................... 251
           A.3.6 High throughput profiles ................................................................................................. 255
           A.3.7 Screen content coding extensions profiles ...................................................................... 257
           A.3.8 High throughput screen content coding extensions profiles............................................ 260
     A.4 Tiers and levels ............................................................................................................................. 263
           A.4.1 General tier and level limits ............................................................................................ 263
           A.4.2 Profile-specific level limits for the video profiles ........................................................... 264
           A.4.3 Effect of level limits on picture rate for the video profiles (informative) ....................... 268
Annex B Byte stream format ............................................................................................................................. 272
     B.1 General .......................................................................................................................................... 272
     B.2 Byte stream NAL unit syntax and semantics ................................................................................ 272
           B.2.1 Byte stream NAL unit syntax.......................................................................................... 272
           B.2.2 Byte stream NAL unit semantics .................................................................................... 272
     B.3 Byte stream NAL unit decoding process....................................................................................... 273
     B.4 Decoder byte-alignment recovery (informative) ........................................................................... 273
Annex C Hypothetical reference decoder .......................................................................................................... 274
     C.1 General .......................................................................................................................................... 274
     C.2 Operation of coded picture buffer ................................................................................................. 278
          C.2.1 General ............................................................................................................................ 278
          C.2.2 Timing of decoding unit arrival ...................................................................................... 278
          C.2.3 Timing of decoding unit removal and decoding of decoding unit .................................. 280
     C.3 Operation of the decoded picture buffer ....................................................................................... 283
          C.3.1 General ............................................................................................................................ 283
          C.3.2 Removal of pictures from the DPB before decoding of the current picture .................... 283
          C.3.3 Picture output .................................................................................................................. 284
          C.3.4 Current decoded picture marking and storage................................................................. 284
          C.3.5 Removal of pictures from the DPB after decoding of the current picture ....................... 285
     C.4 Bitstream conformance ................................................................................................................. 285
     C.5 Decoder conformance ................................................................................................................... 286
          C.5.1 General ............................................................................................................................ 286
          C.5.2 Operation of the output order DPB ................................................................................. 287
Annex D Supplemental enhancement information ............................................................................................ 290
     D.1 General .......................................................................................................................................... 290
     D.2 SEI payload syntax........................................................................................................................ 290
          D.2.1 General SEI message syntax ........................................................................................... 290
          D.2.2 Buffering period SEI message syntax ............................................................................. 294
          D.2.3 Picture timing SEI message syntax ................................................................................. 295
          D.2.4 Pan-scan rectangle SEI message syntax .......................................................................... 295
          D.2.5 Filler payload SEI message syntax ................................................................................. 296
          D.2.6 User data registered by Recommendation ITU-T T.35 SEI message syntax .................. 296
          D.2.7 User data unregistered SEI message syntax .................................................................... 296
          D.2.8 Recovery point SEI message syntax ............................................................................... 296
          D.2.9 Scene information SEI message syntax .......................................................................... 297
          D.2.10 Picture snapshot SEI message syntax ............................................................................. 297
          D.2.11 Progressive refinement segment start SEI message syntax ............................................. 297
          D.2.12 Progressive refinement segment end SEI message syntax .............................................. 297
          D.2.13 Film grain characteristics SEI message syntax ............................................................... 298
          D.2.14 Post-filter hint SEI message syntax................................................................................. 298


                                                                                                          Rec. ITU-T H.265 v8 (08/2021)                            v
 Case 2:25-cv-03053                Document 1-7                    Filed 04/07/25                   Page 9 of 717 Page ID #:538


           D.2.15 Tone mapping information SEI message syntax ............................................................. 299
           D.2.16 Frame packing arrangement SEI message syntax ........................................................... 300
           D.2.17 Display orientation SEI message syntax ......................................................................... 300
           D.2.18 Green metadata SEI message syntax............................................................................... 300
           D.2.19 Structure of pictures information SEI message syntax ................................................... 301
           D.2.20 Decoded picture hash SEI message syntax ..................................................................... 301
           D.2.21 Active parameter sets SEI message syntax ..................................................................... 301
           D.2.22 Decoding unit information SEI message syntax ............................................................. 302
           D.2.23 Temporal sub-layer zero index SEI message syntax ....................................................... 302
           D.2.24 Scalable nesting SEI message syntax .............................................................................. 302
           D.2.25 Region refresh information SEI message syntax ............................................................ 303
           D.2.26 No display SEI message syntax ...................................................................................... 303
           D.2.27 Time code SEI message syntax ....................................................................................... 303
           D.2.28 Mastering display colour volume SEI message syntax ................................................... 304
           D.2.29 Segmented rectangular frame packing arrangement SEI message syntax ...................... 304
           D.2.30 Temporal motion-constrained tile sets SEI message syntax ........................................... 305
           D.2.31 Chroma resampling filter hint SEI message syntax ........................................................ 306
           D.2.32 Knee function information SEI message syntax ............................................................. 306
           D.2.33 Colour remapping information SEI message syntax ....................................................... 307
           D.2.34 Deinterlaced field identification SEI message syntax ..................................................... 308
           D.2.35 Content light level information SEI message syntax ...................................................... 308
           D.2.36 Dependent random access point indication SEI message syntax .................................... 308
           D.2.37 Coded region completion SEI message syntax ............................................................... 308
           D.2.38 Alternative transfer characteristics information SEI message syntax ............................. 308
           D.2.39 Ambient viewing environment SEI message syntax ....................................................... 308
           D.2.40 Content colour volume SEI message syntax ................................................................... 309
           D.2.41 Syntax of omnidirectional video specific SEI messages ................................................. 309
           D.2.42 Regional nesting SEI message syntax ............................................................................. 313
           D.2.43 Motion-constrained tile sets extraction information sets SEI message syntax ................ 314
           D.2.44 Motion-constrained tile sets extraction information nesting SEI message syntax .......... 315
           D.2.45 SEI manifest SEI message syntax ................................................................................... 315
           D.2.46 SEI prefix indication SEI message syntax ...................................................................... 315
           D.2.47 Annotated regions SEI message syntax .......................................................................... 316
           D.2.48 Shutter interval information SEI message syntax ........................................................... 317
           D.2.49 Reserved SEI message syntax ......................................................................................... 317
     D.3   SEI payload semantics .................................................................................................................. 317
           D.3.1 General SEI payload semantics....................................................................................... 317
           D.3.2 Buffering period SEI message semantics ........................................................................ 322
           D.3.3 Picture timing SEI message semantics ............................................................................ 324
           D.3.4 Pan-scan rectangle SEI message semantics .................................................................... 329
           D.3.5 Filler payload SEI message semantics ............................................................................ 330
           D.3.6 User data registered by Recommendation ITU-T T.35 SEI message semantics ............. 330
           D.3.7 User data unregistered SEI message semantics............................................................... 331
           D.3.8 Recovery point SEI message semantics .......................................................................... 331
           D.3.9 Scene information SEI message semantics ..................................................................... 332
           D.3.10 Picture snapshot SEI message semantics ........................................................................ 334
           D.3.11 Progressive refinement segment start SEI message semantics........................................ 334
           D.3.12 Progressive refinement segment end SEI message semantics ......................................... 335
           D.3.13 Film grain characteristics SEI message semantics .......................................................... 335
           D.3.14 Post-filter hint SEI message semantics ........................................................................... 341
           D.3.15 Tone mapping information SEI message semantics........................................................ 342
           D.3.16 Frame packing arrangement SEI message semantics ...................................................... 346
           D.3.17 Display orientation SEI message semantics .................................................................... 353
           D.3.18 Green metadata SEI message semantics ......................................................................... 354
           D.3.19 Structure of pictures information SEI message semantics .............................................. 354
           D.3.20 Decoded picture hash SEI message semantics ................................................................ 355
           D.3.21 Active parameter sets SEI message semantics ................................................................ 356
           D.3.22 Decoding unit information SEI message semantics ........................................................ 357
           D.3.23 Temporal sub-layer zero index SEI message semantics ................................................. 358
           D.3.24 Scalable nesting SEI message semantics ........................................................................ 359
           D.3.25 Region refresh information SEI message semantics ....................................................... 360
           D.3.26 No display SEI message semantics ................................................................................. 361
           D.3.27 Time code SEI message semantics ................................................................................. 362


vi     Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                        Document 1-7                     Filed 04/07/25                   Page 10 of 717 Page ID #:539


                   D.3.28      Mastering display colour volume SEI message semantics .............................................. 364
                   D.3.29      Segmented rectangular frame packing arrangement SEI message semantics ................. 365
                   D.3.30      Temporal motion-constrained tile sets SEI message semantics ...................................... 368
                   D.3.31      Chroma resampling filter hint SEI message semantics ................................................... 372
                   D.3.32      Knee function information SEI message semantics ........................................................ 381
                   D.3.33      Colour remapping information SEI message semantics .................................................. 382
                   D.3.34      Deinterlaced field identification SEI message semantics................................................ 385
                   D.3.35      Content light level information SEI message semantics ................................................. 385
                   D.3.36      Dependent random access point indication SEI message semantics ............................... 385
                   D.3.37      Coded region completion SEI message semantics .......................................................... 386
                   D.3.38      Alternative transfer characteristics SEI message semantics ............................................ 386
                   D.3.39      Ambient viewing environment SEI message semantics.................................................. 386
                   D.3.40      Content colour volume SEI message semantics .............................................................. 387
                   D.3.41      Semantics of omnidirectional video specific SEI messages ........................................... 389
                   D.3.42      Regional nesting SEI message semantics ....................................................................... 406
                   D.3.43      Motion-constrained tile sets extraction information sets SEI message semantics .......... 408
                   D.3.44      Motion-constrained tile sets extraction information nesting SEI message semantics ..... 410
                   D.3.45      SEI manifest SEI message semantics .............................................................................. 411
                   D.3.46      SEI prefix indication SEI message semantics ................................................................. 412
                   D.3.47      Annotated regions SEI message semantics ..................................................................... 413
                   D.3.48      Shutter interval information SEI message semantics ...................................................... 415
                   D.3.49      Reserved SEI message semantics.................................................................................... 416
Annex E Video usability information ................................................................................................................ 417
     E.1 General .......................................................................................................................................... 417
     E.2 VUI syntax .................................................................................................................................... 417
           E.2.1 VUI parameters syntax ................................................................................................... 417
           E.2.2 HRD parameters syntax .................................................................................................. 419
           E.2.3 Sub-layer HRD parameters syntax .................................................................................. 420
     E.3 VUI semantics ............................................................................................................................... 420
           E.3.1 VUI parameters semantics .............................................................................................. 420
           E.3.2 HRD parameters semantics ............................................................................................. 437
           E.3.3 Sub-layer HRD parameters semantics ............................................................................ 440
Annex F Common specifications for multi-layer extensions............................................................................. 441
     F.1  Scope ............................................................................................................................................. 441
     F.2  Normative references .................................................................................................................... 441
     F.3  Definitions..................................................................................................................................... 441
     F.4  Abbreviations ................................................................................................................................ 443
     F.5  Conventions .................................................................................................................................. 444
     F.6  Bitstream and picture formats, partitionings, scanning processes and neighbouring relationships444
     F.7  Syntax and semantics .................................................................................................................... 444
          F.7.1 Method of specifying syntax in tabular form .................................................................. 444
          F.7.2 Specification of syntax functions, categories and descriptors ......................................... 444
          F.7.3 Syntax in tabular form .................................................................................................... 444
          F.7.4 Semantics ........................................................................................................................ 461
     F.8  Decoding process .......................................................................................................................... 498
          F.8.1 General decoding process ............................................................................................... 498
          F.8.2 NAL unit decoding process............................................................................................. 506
          F.8.3 Slice decoding processes................................................................................................. 506
          F.8.4 Decoding process for coding units coded in intra prediction mode ................................ 510
          F.8.5 Decoding process for coding units coded in inter prediction mode ................................ 510
          F.8.6 Scaling, transformation and array construction process prior to deblocking filter process
                     ........................................................................................................................................ 510
          F.8.7 In-loop filter process ....................................................................................................... 510
     F.9  Parsing process.............................................................................................................................. 510
     F.10 Specification of bitstream subsets ................................................................................................. 511
          F.10.1 Sub-bitstream extraction process .................................................................................... 511
          F.10.2 Independent non-base layer rewriting process ................................................................ 511
          F.10.3 Sub-bitstream extraction process for additional layer sets .............................................. 512
     F.11 Profiles, tiers and levels ................................................................................................................ 512
          F.11.1 Independent non-base layer decoding capability ............................................................ 512


                                                                                                          Rec. ITU-T H.265 v8 (08/2021)                             vii
Case 2:25-cv-03053                           Document 1-7                     Filed 04/07/25                    Page 11 of 717 Page ID #:540


                     F.11.2 Decoder capabilities ........................................................................................................ 513
                     F.11.3 Derivation of sub-bitstreams subBitstream and baseBitstream ....................................... 514
           F.12      Byte stream format ........................................................................................................................ 514
           F.13      Hypothetical reference decoder..................................................................................................... 514
                     F.13.1 General ............................................................................................................................ 514
                     F.13.2 Operation of bitstream partition buffer ........................................................................... 519
                     F.13.3 Operation of decoded picture buffer ............................................................................... 525
                     F.13.4 Bitstream conformance ................................................................................................... 527
                     F.13.5 Decoder conformance ..................................................................................................... 529
                     F.13.6 Demultiplexing process for deriving a bitstream partition .............................................. 532
           F.14      Supplemental enhancement information ....................................................................................... 533
                     F.14.1 General ............................................................................................................................ 533
                     F.14.2 SEI payload syntax ......................................................................................................... 533
                     F.14.3 SEI payload semantics .................................................................................................... 537
           F.15      Video usability information .......................................................................................................... 555
                     F.15.1 General ............................................................................................................................ 555
                     F.15.2 VUI syntax ...................................................................................................................... 555
                     F.15.3 VUI semantics................................................................................................................. 555
  Annex G Multiview high efficiency video coding ............................................................................................ 557
       G.1 Scope ............................................................................................................................................. 557
       G.2 Normative references .................................................................................................................... 557
       G.3 Definitions..................................................................................................................................... 557
       G.4 Abbreviations ................................................................................................................................ 557
       G.5 Conventions .................................................................................................................................. 557
       G.6 Bitstream and picture formats, partitionings, scanning processes, and neighbouring relationships
            ...................................................................................................................................................... 557
       G.7 Syntax and semantics .................................................................................................................... 557
       G.8 Decoding processes ....................................................................................................................... 557
            G.8.1 General decoding process ............................................................................................... 557
            G.8.2 NAL unit decoding process............................................................................................. 558
            G.8.3 Slice decoding processes................................................................................................. 558
            G.8.4 Decoding process for coding units coded in intra prediction mode ................................ 558
            G.8.5 Decoding process for coding units coded in inter prediction mode ................................ 558
            G.8.6 Scaling, transformation and array construction process prior to deblocking filter process
                          ........................................................................................................................................ 558
            G.8.7 In-loop filter process ....................................................................................................... 558
       G.9 Parsing process.............................................................................................................................. 559
       G.10 Specification of bitstream subsets ................................................................................................. 559
       G.11 Profiles, tiers and levels ................................................................................................................ 559
            G.11.1 Profiles ............................................................................................................................ 559
            G.11.2 Tiers and levels ............................................................................................................... 560
            G.11.3 Decoder capabilities ........................................................................................................ 563
       G.12 Byte stream format ........................................................................................................................ 563
       G.13 Hypothetical reference decoder..................................................................................................... 563
       G.14 Supplemental enhancement information ....................................................................................... 563
            G.14.1 General ............................................................................................................................ 563
            G.14.2 SEI payload syntax ......................................................................................................... 563
            G.14.3 SEI payload semantics .................................................................................................... 567
       G.15 Video usability information .......................................................................................................... 576
  Annex H Scalable high efficiency video coding................................................................................................ 577
       H.1 Scope ............................................................................................................................................. 577
       H.2 Normative references .................................................................................................................... 577
       H.3 Definitions..................................................................................................................................... 577
       H.4 Abbreviations ................................................................................................................................ 577
       H.5 Conventions .................................................................................................................................. 577
       H.6 Bitstream and picture formats, partitionings, scanning processes, and neighbouring relationships
             ...................................................................................................................................................... 577
       H.7 Syntax and semantics .................................................................................................................... 577
       H.8 Decoding processes ....................................................................................................................... 577


viii           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                         Document 1-7                       Filed 04/07/25                    Page 12 of 717 Page ID #:541


                   H.8.1     General decoding process ............................................................................................... 577
                   H.8.2     NAL unit decoding process............................................................................................. 592
                   H.8.3     Slice decoding processes................................................................................................. 592
                   H.8.4     Decoding process for coding units coded in intra prediction mode ................................ 592
                   H.8.5     Decoding process for coding units coded in inter prediction mode ................................ 592
                   H.8.6     Scaling, transformation and array construction process prior to deblocking filter process
                             ........................................................................................................................................ 593
                   H.8.7 In-loop filter process ....................................................................................................... 593
         H.9       Parsing process.............................................................................................................................. 593
         H.10      Specification of bitstream subsets ................................................................................................. 593
         H.11      Profiles, tiers and levels ................................................................................................................ 593
                   H.11.1 Profiles ............................................................................................................................ 593
                   H.11.2 Tiers and levels ............................................................................................................... 597
                   H.11.3 Decoder capabilities ........................................................................................................ 600
         H.12      Byte stream format ........................................................................................................................ 600
         H.13      Hypothetical reference decoder..................................................................................................... 600
         H.14      Supplemental enhancement information ....................................................................................... 600
         H.15      Video usability information .......................................................................................................... 600
Annex I 3D high efficiency video coding .......................................................................................................... 601
     I.1   Scope ............................................................................................................................................. 601
     I.2   Normative references .................................................................................................................... 601
     I.3   Definitions..................................................................................................................................... 601
     I.4   Abbreviations ................................................................................................................................ 601
     I.5   Conventions .................................................................................................................................. 601
     I.6   Bitstream and picture formats, partitionings, scanning processes, and neighbouring relationships
            ...................................................................................................................................................... 601
           I.6.1         Bitstream formats ............................................................................................................ 601
           I.6.2         Source, decoded, and output picture formats .................................................................. 602
           I.6.3         Partitioning of pictures, slices, slice segments, tiles, CTUs, and CTBs .......................... 602
           I.6.4         Availability processes ..................................................................................................... 602
           I.6.5         Scanning processes ......................................................................................................... 602
           I.6.6         Derivation process for a wedgelet partition pattern table................................................ 602
     I.7   Syntax and semantics .................................................................................................................... 604
           I.7.1         Method of specifying syntax in tabular form .................................................................. 604
           I.7.2         Specification of syntax functions, categories, and descriptors ........................................ 604
           I.7.3         Syntax in tabular form .................................................................................................... 604
           I.7.4         Semantics ........................................................................................................................ 617
     I.8   Decoding process .......................................................................................................................... 632
           I.8.1         General decoding process ............................................................................................... 632
           I.8.2         NAL unit decoding process............................................................................................. 632
           I.8.3         Slice decoding process .................................................................................................... 632
           I.8.4         Decoding process for coding units coded in intra prediction mode ................................ 634
           I.8.5         Decoding process for coding units coded in inter prediction mode ................................ 642
           I.8.6         Scaling, transformation and array construction process prior to deblocking filter process
                          ........................................................................................................................................ 675
           I.8.7         In-loop filter process ....................................................................................................... 675
     I.9   Parsing process.............................................................................................................................. 675
           I.9.1         General ............................................................................................................................ 675
           I.9.2         Parsing process for 0-th order Exp-Golomb codes ......................................................... 676
           I.9.3         CABAC parsing process for slice segment data ............................................................. 676
     I.10 Specification of bitstream subsets ................................................................................................. 682
     I.11 Profiles, tiers, and levels ............................................................................................................... 682
           I.11.1 Profiles ............................................................................................................................ 682
           I.11.2 Tiers and levels ............................................................................................................... 684
           I.11.3 Decoder capabilities ........................................................................................................ 684
     I.12 Byte stream format ........................................................................................................................ 684
     I.13 Hypothetical reference decoder..................................................................................................... 684
     I.14 Supplemental enhancement information ....................................................................................... 684
           I.14.1 General ............................................................................................................................ 684
           I.14.2 SEI payload syntax ......................................................................................................... 684


                                                                                                               Rec. ITU-T H.265 v8 (08/2021)                                ix
Case 2:25-cv-03053                               Document 1-7                      Filed 04/07/25                     Page 13 of 717 Page ID #:542


                         I.14.3 SEI payload semantics .................................................................................................... 686
              I.15       Video usability information .......................................................................................................... 692
    Bibliography ........................................................................................................................................................ 693




x                 Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                            Document 1-7                      Filed 04/07/25                    Page 14 of 717 Page ID #:543


                                                                     LIST OF FIGURES
Figure 6-1 – Nominal vertical and horizontal locations of 4:2:0 luma and chroma samples in a picture ......................... 22
Figure 6-2 – Nominal vertical and horizontal locations of 4:2:2 luma and chroma samples in a picture ......................... 23
Figure 6-3 – Nominal vertical and horizontal locations of 4:4:4 luma and chroma samples in a picture ......................... 23
Figure 6-4 – A picture with 11 by 9 luma CTBs that is partitioned into two slices, the first of which is partitioned into
    three slice segments (informative) ............................................................................................................................ 24
Figure 6-5 – A picture with 11 by 9 luma CTBs that is partitioned into two tiles and one slice (left) or is partitioned into
    two tiles and three slices (right) (informative) .......................................................................................................... 24
Figure 7-1 – Structure of an access unit not containing any NAL units with nal_unit_type equal to FD_NUT,
    SUFFIX_SEI_NUT, VPS_NUT, SPS_NUT, PPS_NUT, RSV_VCL_N10, RSV_VCL_R11, RSV_VCL_N12,
    RSV_VCL_R13, RSV_VCL_N14, RSV_VCL_R15, RSV_IRAP_VCL22 or RSV_IRAP_VCL23, or in the range of
    RSV_VCL24..RSV_VCL31, RSV_NVCL41..RSV_NVCL47 or UNSPEC48..UNSPEC63 .................................. 72
Figure 8-1 – Intra prediction mode directions (informative) .......................................................................................... 130
Figure 8-2 – Intra prediction angle definition (informative) ........................................................................................... 139
Figure 8-3 – Spatial motion vector neighbours (informative) ........................................................................................ 158
Figure 8-4 – Integer samples (shaded blocks with upper-case letters) and fractional sample positions (un-shaded blocks
    with lower-case letters) for quarter sample luma interpolation............................................................................... 166
Figure 8-5 – Integer samples (shaded blocks with upper-case letters) and fractional sample positions (un-shaded blocks
    with lower-case letters) for eighth sample chroma interpolation ............................................................................ 168
Figure 9-1 – Illustration of CABAC parsing process for a syntax element synEl (informative) .................................... 204
Figure 9-2 – Spatial neighbour T that is used to invoke the CTB availability derivation process relative to the current CTB
    (informative) ........................................................................................................................................................... 205
Figure 9-3 – Illustration of CABAC initialization process (informative) ....................................................................... 206
Figure 9-4 – Illustration of CABAC storage process (informative)................................................................................ 217
Figure 9-5 – Overview of the arithmetic decoding process for a single bin (informative) ............................................. 235
Figure 9-6 – Flowchart for decoding a decision ............................................................................................................. 237
Figure 9-7 – Flowchart of renormalization ..................................................................................................................... 239
Figure 9-8 – Flowchart of bypass decoding process ....................................................................................................... 240
Figure 9-9 – Flowchart of decoding a decision before termination ................................................................................ 241
Figure 9-10 – Flowchart for encoding a decision ........................................................................................................... 243
Figure 9-11 – Flowchart of renormalization in the encoder ........................................................................................... 244
Figure 9-12 – Flowchart of PutBit(B)............................................................................................................................. 244
Figure 9-13 – Flowchart of encoding bypass .................................................................................................................. 245
Figure 9-14 – Flowchart of encoding a decision before termination .............................................................................. 246
Figure 9-15 – Flowchart of flushing at termination ........................................................................................................ 246
Figure C.1 – Structure of byte streams and NAL unit streams for HRD conformance checks ....................................... 274
Figure C.2 – HRD buffer model ..................................................................................................................................... 277
Figure D.1 – Nominal vertical and horizontal sampling locations of 4:2:0 samples in top and bottom fields ............... 327
Figure D.2 – Nominal vertical and horizontal sampling locations of 4:2:2 samples in top and bottom fields ............... 327
Figure D.3 – Nominal vertical and horizontal sampling locations of 4:4:4 samples in top and bottom fields ............... 327
Figure D.4      –    Rearrangement       and          upconversion                of       side-by-side              packing            arrangement                with
    frame_packing_arrangement_type equal to 3, quincunx_sampling_flag equal to 0 and ( x, y ) equal to ( 0, 0 ) or
    ( 4, 8 ) for both constituent frames .......................................................................................................................... 350



                                                                                                                 Rec. ITU-T H.265 v8 (08/2021)                                xi
Case 2:25-cv-03053                              Document 1-7                       Filed 04/07/25                     Page 15 of 717 Page ID #:544


Figure D.5    –    Rearrangement        and      upconversion         of    side-by-side      packing            arrangement                with
    frame_packing_arrangement_type equal to 3, quincunx_sampling_flag equal to 0, ( x, y ) equal to ( 12, 8 ) for
    constituent frame 0 and ( x, y ) equal to ( 0, 0 ) or ( 4, 8 ) for constituent frame 1 ................................................. 351
Figure D.6      –    Rearrangement        and         upconversion                 of        top-bottom              packing            arrangement                with
    frame_packing_arrangement_type equal to 4, quincunx_sampling_flag equal to 0 and ( x, y ) equal to ( 0, 0 ) or
    ( 8, 4 ) for both constituent frames .......................................................................................................................... 351
Figure D.7    –     Rearrangement       and      upconversion         of     top-bottom       packing            arrangement                with
    frame_packing_arrangement_type equal to 4, quincunx_sampling_flag equal to 0, ( x, y ) equal to ( 8, 12 ) for
    constituent frame 0 and ( x, y ) equal to ( 0, 0 ) or ( 8, 4 ) for constituent frame 1 ................................................. 352
Figure D.8 – Rearrangement and upconversion of side-by-side packing arrangement with quincunx sampling
    (frame_packing_arrangement_type equal to 3 with quincunx_sampling_flag equal to 1) ..................................... 352
Figure D.9 – Rearrangement of a temporal interleaving frame arrangement (frame_packing_arrangement_type equal to
    5) ............................................................................................................................................................................. 353
Figure D.10 – Rearrangement of a segmented rectangular frame packing arrangement ................................................ 368
Figure D.11 – A knee function with num_knee_points_minus1 equal to 2 .................................................................... 381
Figure E.1 – Location of chroma samples for top and bottom fields for chroma_format_idc equal to 1 (4:2:0 chroma
    format) as a function of chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field .......... 432
Figure E.2 – Location of the top-left chroma sample when chroma_format_idc is equal to 1 (4:2:0 chroma format) as a
    function of ChromaLocType .................................................................................................................................. 433
Figure E.3 – Location of the top-left chroma sample when chroma_format_idc is equal to 1 (4:2:0 chroma format) when
    ChromaLocType is equal to 1 ................................................................................................................................. 433
Figure F.1 – Bitstream-partition-specific HRD buffer model ......................................................................................... 518


                                                                         LIST OF TABLES
Table 5-1 – Operation precedence from highest (at top of table) to lowest (at bottom of table) ...................................... 19
Table 6-1 – SubWidthC and SubHeightC values derived from chroma_format_idc and separate_colour_plane_flag .... 22
Table 7-1 – NAL unit type codes and NAL unit type classes ........................................................................................... 66
Table 7-2 – Interpretation of pic_type .............................................................................................................................. 88
Table 7-3 – Specification of sizeId ................................................................................................................................... 93
Table 7-4 – Specification of matrixId according to sizeId, prediction mode and colour component ............................... 93
Table 7-5 – Specification of default values of ScalingList[ 0 ][ matrixId ][ i ] with i = 0..15 .......................................... 94
Table 7-6 – Specification of default values of ScalingList[ 1..3 ][ matrixId ][ i ] with i = 0..63 ...................................... 94
Table 7-7 – Name association to slice_type ..................................................................................................................... 96
Table 7-8 – Specification of the SAO type ..................................................................................................................... 105
Table 7-9 – Specification of the SAO edge offset class ................................................................................................. 106
Table 7-10 – Name association to prediction mode and partitioning type...................................................................... 108
Table 7-11 – Name association to inter prediction mode ............................................................................................... 109
Table 8-1 – Specification of intra prediction mode and associated names ..................................................................... 130
Table 8-2 – Specification of modeIdx ............................................................................................................................ 132
Table 8-3 – Specification of IntraPredModeC when ChromaArrayType is equal to 2 ................................................... 132
Table 8-4 – Specification of intraHorVerDistThres[ nTbS ] for various transform block sizes ..................................... 137
Table 8-5 – Specification of intraPredAngle .................................................................................................................. 139
Table 8-6 – Specification of invAngle ............................................................................................................................ 139
Table 8-7 – Specification of l0CandIdx and l1CandIdx ................................................................................................. 155


xii              Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                        Document 1-7                    Filed 04/07/25                 Page 16 of 717 Page ID #:545


Table 8-8 – Assignment of the luma prediction sample predSampleLXL....................................................................... 167
Table 8-9 – Assignment of the chroma prediction sample predSampleLXC for ( X, Y ) being replaced by ( 1, b ), ( 2, c ),
    ( 3, d ), ( 4, e ), ( 5, f ), ( 6, g ) and ( 7, h ), respectively ......................................................................................... 169
Table 8-10 – Specification of QpC as a function of qPi for ChromaArrayType equal to 1 ............................................. 176
Table 8-11 – Name of association to edgeType .............................................................................................................. 185

Table 8-12 – Derivation of threshold variables β′ and tC′ from input Q ......................................................................... 194

Table 8-13 – Specification of hPos and vPos according to the sample adaptive offset class ......................................... 200
Table 9-1 – Bit strings with "prefix" and "suffix" bits and assignment to codeNum ranges (informative) .................... 201
Table 9-2 – Exp-Golomb bit strings and codeNum in explicit form and used as ue(v) (informative) ............................ 202
Table 9-3 – Assignment of syntax element to codeNum for signed Exp-Golomb coded syntax elements se(v)............ 202
Table 9-4 – Association of ctxIdx and syntax elements for each initializationType in the initialization process .......... 207
Table 9-5 – Values of initValue for ctxIdx of sao_merge_left_flag and sao_merge_up_flag ........................................ 209
Table 9-6 – Values of initValue for ctxIdx of sao_type_idx_luma and sao_type_idx_chroma ...................................... 209
Table 9-7 – Values of initValue for ctxIdx of split_cu_flag ........................................................................................... 209
Table 9-8 – Values of initValue for ctxIdx of cu_transquant_bypass_flag .................................................................... 209
Table 9-9 – Values of initValue for ctxIdx of cu_skip_flag ........................................................................................... 209
Table 9-10 – Values of initValue for ctxIdx of pred_mode_flag.................................................................................... 209
Table 9-11 – Values of initValue for ctxIdx of part_mode ............................................................................................. 210
Table 9-12 – Values of initValue for ctxIdx of prev_intra_luma_pred_flag .................................................................. 210
Table 9-13 – Values of initValue for ctxIdx of intra_chroma_pred_mode..................................................................... 210
Table 9-14 – Values of initValue for ctxIdx of rqt_root_cbf .......................................................................................... 210
Table 9-15 – Values of initValue for ctxIdx of merge_flag............................................................................................ 210
Table 9-16 – Values of initValue for ctxIdx of merge_idx ............................................................................................. 210
Table 9-17 – Values of initValue for ctxIdx of inter_pred_idc ...................................................................................... 211
Table 9-18 – Values of initValue for ctxIdx of ref_idx_l0 and ref_idx_l1 ..................................................................... 211
Table 9-19 – Values of initValue for ctxIdx of mvp_l0_flag and mvp_l1_flag ............................................................. 211
Table 9-20 – Values of initValue for ctxIdx of split_transform_flag ............................................................................. 211
Table 9-21 – Values of initValue for ctxIdx of cbf_luma ............................................................................................... 211
Table 9-22 – Values of initValue for ctxIdx of cbf_cb and cbf_cr ................................................................................. 211
Table 9-23 – Values of initValue for ctxIdx of abs_mvd_greater0_flag and abs_mvd_greater1_flag ........................... 212
Table 9-24 – Values of initValue for ctxIdx of cu_qp_delta_abs ................................................................................... 212
Table 9-25 – Values of initValue for ctxIdx of transform_skip_flag ............................................................................. 212
Table 9-26 – Values of initValue for ctxIdx of last_sig_coeff_x_prefix ........................................................................ 212
Table 9-27 – Values of initValue for ctxIdx of last_sig_coeff_y_prefix ........................................................................ 212
Table 9-28 – Values of initValue for ctxIdx of coded_sub_block_flag .......................................................................... 213
Table 9-29 – Values of initValue for ctxIdx of sig_coeff_flag ....................................................................................... 213
Table 9-30 – Values of initValue for ctxIdx of coeff_abs_level_greater1_flag ............................................................. 213
Table 9-31 – Values of initValue for ctxIdx of coeff_abs_level_greater2_flag ............................................................. 214
Table 9-32 – Values of initValue for ctxIdx of explicit_rdpcm_flag ............................................................................. 214
Table 9-33 – Values of initValue for ctxIdx of explicit_rdpcm_dir_flag ....................................................................... 214


                                                                                                        Rec. ITU-T H.265 v8 (08/2021)                         xiii
Case 2:25-cv-03053                            Document 1-7                     Filed 04/07/25                    Page 17 of 717 Page ID #:546


Table 9-34 – Values of initValue for ctxIdx of cu_chroma_qp_offset_flag ................................................................... 214
Table 9-35 – Values of initValue for ctxIdx of cu_chroma_qp_offset_idx .................................................................... 214
Table 9-36 – Values of initValue for ctxIdx of log2_res_scale_abs_plus1 .................................................................... 215
Table 9-37 – Values of initValue for ctxIdx of res_scale_sign_flag .............................................................................. 215
Table 9-38 – Values of initValue for ctxIdx of palette_mode_flag ................................................................................ 215
Table 9-39 – Values of initValue for ctxIdx of tu_residual_act_flag ............................................................................. 215
Table 9-40 – Values of initValue for ctxIdx of palette_run_prefix ................................................................................ 215
Table 9-41 – Values of initValue for ctxIdx of copy_above_palette_indices_flag and copy_above_indices_for_
    final_run_flag ......................................................................................................................................................... 216
Table 9-42 – Values of initValue for ctxIdx of palette_transpose_flag .......................................................................... 216
Table 9-43 – Syntax elements and associated binarizations ........................................................................................... 218
Table 9-44 – Bin string of the unary binarization (informative) ..................................................................................... 221
Table 9-45 – Binarization for part_mode........................................................................................................................ 223
Table 9-46 – Binarization for intra_chroma_pred_mode................................................................................................ 224
Table 9-47 – Binarization for inter_pred_idc ................................................................................................................. 224
Table 9-48 – Assignment of ctxInc to syntax elements with context coded bins ........................................................... 228
Table 9-49 – Specification of ctxInc using left and above syntax elements ................................................................... 230
Table 9-50 – Specification of ctxIdxMap[ i ] ................................................................................................................. 232
Table 9-51 – Specification of ctxIdxMap[ copy_above_palette_indices_flag ][ binIdx ] .............................................. 234
Table 9-52 – Specification of rangeTabLps depending on the values of pStateIdx and qRangeIdx .............................. 238
Table 9-53 – State transition table .................................................................................................................................. 239
Table A.1 – Allowed values for syntax elements in the format range extensions profiles ............................................. 253
Table A.2 – Bitstream indications for conformance to format range extensions profiles ............................................... 254
Table A.3 – Bitstream indications for conformance to high throughput profiles ........................................................... 257
Table A.4 – Allowed values for syntax elements in the screen content coding extensions profiles ............................... 258
Table A.5 – Bitstream indications for conformance to screen content coding extensions profiles ................................ 259
Table A.6 – Allowed values for syntax elements in the high throughput screen content coding extensions profiles .... 261
Table A.7 – Bitstream indications for conformance to high throughput screen content coding extensions profiles ...... 262
Table A.8 – General tier and level limits ........................................................................................................................ 264
Table A.9 – Tier and level limits for the video profiles .................................................................................................. 266
Table A.10 – Specification of CpbVclFactor, CpbNalFactor, FormatCapabilityFactor and MinCrScaleFactor ............ 267
Table A.11 – Maximum picture rates (pictures per second) at level 1 to 4.1 for some example picture sizes when
    MinCbSizeY is equal to 64 ..................................................................................................................................... 269
Table A.12 – Maximum picture rates (pictures per second) at level 5 to 6.2 for some example picture sizes when
    MinCbSizeY is equal to 64 ..................................................................................................................................... 270
Table D.1 – Persistence scope of SEI messages (informative) ....................................................................................... 318
Table D.2 – Interpretation of pic_struct .......................................................................................................................... 326
Table D.3 – scene_transition_type values ...................................................................................................................... 333
Table D.4 – film_grain_model_id values ....................................................................................................................... 336
Table D.5 – blending_mode_id values ........................................................................................................................... 337
Table D.6 – filter_hint_type values ................................................................................................................................ 342


xiv             Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                           Document 1-7                    Filed 04/07/25                   Page 18 of 717 Page ID #:547


Table D.7 – Interpretation of camera_iso_speed_idc and exposure_idx_idc ................................................................. 345
Table D.8 – Definition of frame_packing_arrangement_type ........................................................................................ 347
Table D.9 – Definition of content_interpretation_type ................................................................................................... 348
Table D.10 – Interpretation of hash_type ....................................................................................................................... 355
Table D.11 – Definition of counting_type[ i ] values ..................................................................................................... 362
Table D.12 – Definition of segmented_rect_content_interpretation_type ...................................................................... 366
Table D.13 – ver_chroma_filter_idc values.................................................................................................................... 372
Table D.14 – hor_chroma_filter_idc values ................................................................................................................... 373
Table D.15 – Chroma sampling format indicated by target_format_idc ........................................................................ 373
Table D.16 – Constraints on the value of num_vertical_filters ...................................................................................... 374
Table D.17 – Constraints on the value of num_horizontal_filters .................................................................................. 374
Table D.18 – Values of verFilterCoeff and verTapLength when ver_chroma_filter_idc is equal to 2 ........................... 375
Table D.19 – Values of horFilterCoeff and horTapLength when hor_chroma_filter_idc is equal to 2 .......................... 375
Table D.20 – Usage of chroma filter in the vertical direction ........................................................................................ 378
Table D.21 – Usage of chroma filter in the horizontal direction .................................................................................... 380
Table D.22 – rwp_transform_type[ i ] values ................................................................................................................. 396
Table D.23 – Interpretation of manifest_sei_description[ i ] .......................................................................................... 411
Table E.1 – Interpretation of sample aspect ratio indicator ............................................................................................ 421
Table E.2 – Meaning of video_format ............................................................................................................................ 422
Table E.3 – Colour primaries interpretation using the colour_primaries syntax element ............................................... 423
Table E.4 – Transfer characteristics interpretation using the transfer_characteristics syntax element ........................... 424
Table E.5 – Matrix coefficients interpretation using the matrix_coeffs syntax element ................................................. 431
Table E.6 – Definition of HorizontalOffsetC and VerticalOffsetC as a function of chroma_format_idc and
    ChromaLocType ..................................................................................................................................................... 433
Table E.7 – Divisor for computation of DpbOutputElementalInterval[ n ] .................................................................... 439
Table F.1 – Mapping of ScalabiltyId to scalability dimensions...................................................................................... 465
Table F.2 – Mapping of AuxId to the type of auxiliary pictures .................................................................................... 467
Table F.3 – Specification of CompatibleProfileList ....................................................................................................... 514
Table F.4 – Persistence scope of SEI messages (informative) ........................................................................................ 537
Table G.1 – Persistence scope of SEI messages (informative) ....................................................................................... 567
Table G.2 – Association between camera parameter variables and syntax elements ..................................................... 569
Table G.3 – Definition of depth_representation_type .................................................................................................... 571
Table G.4 – Association between depth parameter variables and syntax elements ........................................................ 571
Table G.5 – Association between camera parameter variables and syntax elements. .................................................... 576
Table H.1 – 16-phase luma resampling filter.................................................................................................................. 583
Table H.2 – 16-phase chroma resampling filter.............................................................................................................. 584
Table H.3 – Allowed values for syntax elements in the scalable format range extensions profiles ............................... 596
Table H.4 – Bitstream indications for conformance to scalable range extensions profiles............................................. 597
Table I.1 – Name association to prediction mode and partitioning type......................................................................... 628
Table I.2 – Specification of intra prediction mode and associated names ...................................................................... 635


                                                                                                             Rec. ITU-T H.265 v8 (08/2021)                             xv
Case 2:25-cv-03053                         Document 1-7                    Filed 04/07/25                 Page 19 of 717 Page ID #:548


Table I.3 – Specification of divCoeff depending on sDenomDiv ................................................................................... 663
Table I.4 – Association of ctxIdx and syntax elements for each initializationType in the initialization process ........... 676
Table I.5 – Values of initValue for skip_intra_flag ctxIdx ............................................................................................. 677
Table I.6 – Values of initValue for no_dim_flag ctxIdx................................................................................................. 677
Table I.7 – Values of initValue for depth_intra_mode_idx_flag ctxIdx ......................................................................... 677
Table I.8 – Values of initValue for skip_intra_mode_idx ctxIdx ................................................................................... 677
Table I.9 – Values of initValue for dbbp_flag ctxIdx ..................................................................................................... 677
Table I.10 – Values of initValue for dc_only_flag ctxIdx .............................................................................................. 677
Table I.11 – Values of initValue for iv_res_pred_weight_idx ctxIdx ............................................................................ 677
Table I.12 – Values of initValue for illu_comp_flag ctxIdx ........................................................................................... 678
Table I.13 – Values of initValue for depth_dc_present_flag ctxIdx ............................................................................... 678
Table I.14 – Values of initValue for depth_dc_abs ctxIdx ............................................................................................. 678
Table I.15 – Syntax elements and associated binarizations ............................................................................................ 679
Table I.16 – Binarization for part_mode......................................................................................................................... 679
Table I.17 – Assignment of ctxInc to syntax elements with context coded bins ............................................................ 681
Table I.18 – Specification of ctxInc using left and above syntax elements .................................................................... 681
Table I.19 – Persistence scope of SEI messages (informative)....................................................................................... 686
Table I.20 – Interpretation of depth_type ....................................................................................................................... 687
Table I.21 – Locations of the top-left luma samples of constituent pictures packed in a picture with ViewIdx greater than
    0 relative to the top-left luma sample of this picture .............................................................................................. 687




xvi            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 20 of 717 Page ID #:549


Foreword
The International Telecommunication Union (ITU) is the United Nations specialized agency in the field of
telecommunications. The ITU Telecommunication Standardization Sector (ITU-T) is a permanent organ of ITU. ITU-T
is responsible for studying technical, operating and tariff questions and issuing Recommendations on them with a view
to standardizing telecommunications on a world-wide basis. The World Telecommunication Standardization Assembly
(WTSA), which meets every four years, establishes the topics for study by the ITU-T study groups that, in turn, produce
Recommendations on these topics. The approval of ITU-T Recommendations is covered by the procedure laid down in
WTSA Resolution 1. In some areas of information technology that fall within ITU-T's purview, the necessary standards
are prepared on a collaborative basis with ISO and IEC.
ISO (the International Organization for Standardization) and IEC (the International Electrotechnical Commission) form
the specialized system for world-wide standardization. National Bodies that are members of ISO and IEC participate in
the development of International Standards through technical committees established by the respective organization to
deal with particular fields of technical activity. ISO and IEC technical committees collaborate in fields of mutual interest.
Other international organizations, governmental and non-governmental, in liaison with ISO and IEC, also take part in the
work. In the field of information technology, ISO and IEC have established a joint technical committee, ISO/IEC JTC 1.
Draft International Standards adopted by the joint technical committee are circulated to national bodies for voting.
Publication as an International Standard requires approval by at least 75% of the national bodies casting a vote.
This Recommendation | International Standard was prepared jointly by ITU-T SG 16 Question 6/16, also known as
VCEG (Video Coding Experts Group), and by the working groups of ISO/IEC JTC 1/SC 29 known as MPEG (Moving
Picture Experts Group). VCEG was formed in 1997 to maintain prior ITU-T video coding standards and develop new
video coding standard(s) appropriate for a wide range of conversational and non-conversational services. MPEG was
formed in 1988 to establish standards for coding of moving pictures and associated audio for various applications such as
digital storage media, distribution, and communication.
In this Recommendation | International Standard Annexes A through I contain normative requirements and are an integral
part of this Recommendation | International Standard.




                                                                               Rec. ITU-T H.265 v8 (08/2021)            xvii
Case 2:25-cv-03053   Document 1-7   Filed 04/07/25   Page 21 of 717 Page ID #:550
 Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 22 of 717 Page ID #:551


Recommendation ITU-T H.265

                                             High efficiency video coding


0          Introduction

0.1        General
This clause and its subclauses do not form an integral part of this Recommendation | International Standard.

0.2        Prologue
As the costs for both processing power and memory have reduced, network support for coded video data has diversified,
and advances in video coding technology have progressed, the need has arisen for an industry standard for compressed
video representation with substantially increased coding efficiency and enhanced robustness to network environments.
Toward these ends the ITU-T Video Coding Experts Group (VCEG) and the ISO/IEC Moving Picture Experts Group
(MPEG) formed a Joint Collaborative Team on Video Coding (JCT-VC) in 2010 and a Joint Collaborative Team on 3D
Video     Coding      Extension      Development       (JCT-3V)     in    2012      for    development     of   a   new
Recommendation | International Standard. This Recommendation | International Standard was developed in the JCT-VC
and the JCT-3V until 2020, when the responsibility for further maintenance and enhancement of the standard was
transferred to another joint collaborative team of the same organizations called the Joint Video Experts Team (JVET).

0.3        Purpose
This Recommendation | International Standard was developed in response to the growing need for higher compression of
moving pictures for various applications such as videoconferencing, digital storage media, television broadcasting, internet
streaming, and communications. It is also designed to enable the use of the coded video representation in a flexible manner
for a wide variety of network environments as well as to enable the use of multi-core parallel encoding and decoding
devices. The use of this Recommendation | International Standard allows motion video to be manipulated as a form of
computer data and to be stored on various storage media, transmitted and received over existing and future networks and
distributed on existing and future broadcasting channels. Supports for higher bit depths and enhanced chroma formats,
including the use of full-resolution chroma are provided. Support for scalability enables video transmission on networks
with varying transmission conditions and other scenarios involving multiple bit rate services. Support for multiview
enables representation of video content with multiple camera views and optional auxiliary information. Support for 3D
enables joint representation of video content and depth information with multiple camera views.

0.4        Applications
This Recommendation | International Standard is designed to cover a broad range of applications for video content
including but not limited to the following:
      •   Broadcast (cable TV on optical networks / copper, satellite, terrestrial, etc.)
      •   Camcorders
      •   Content production and distribution
      •   Digital cinema
      •   Home cinema
      •   Internet streaming, download and play
      •   Medical imaging
      •   Mobile streaming, broadcast and communications
      •   Real-time conversational services (videoconferencing, videophone, telepresence, etc.)
      •   Remote video surveillance
      •   Storage media (optical disks, digital video tape recorder, etc.)
      •   Wireless display




                                                                                 Rec. ITU-T H.265 v8 (08/2021)           1
 Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 23 of 717 Page ID #:552


0.5        Publication and versions of this Specification
This Specification has been jointly developed by ITU-T Video Coding Experts Group (VCEG) and the ISO/IEC Moving
Picture Experts Group (MPEG). It is published as technically-aligned twin text in both ITU-T and ISO/IEC. As the basis
text has been drafted to become both an ITU-T Recommendation and an ISO/IEC International Standard, the term
"Specification" (with capitalization to indicate that it refers to the whole of the text) is used herein when the text refers to
itself.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 1 refers to the first approved version of this Recommendation | International
Standard. The first edition published by ITU-T as Rec. ITU-T H.265 (04/2013) and by ISO/IEC as ISO/IEC 23008-2:2013
corresponded to the first version.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 2 refers to the integrated text additionally containing format range
extensions, scalability extensions, multiview extensions, additional supplement enhancement information, and corrections
to various minor defects in the prior content of the Specification. The second edition published by ITU-T as Rec. H.265
(10/2014) and by ISO/IEC as ISO/IEC 23008-2:2015 corresponded to the second version.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 3 refers to the integrated text additionally containing 3D extensions,
additional supplement enhancement information, and corrections to various minor defects in the prior content of the
Specification. The third edition published by ITU-T as Rec. H.265 (04/2015) corresponded to the third version.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 4 refers to the integrated text additionally containing screen content coding
extensions profiles, scalable range extensions profiles, additional high throughput profiles, additional supplement
enhancement information, additional colour representation identifiers, and corrections to various minor defects in the prior
content of the Specification. The fourth edition published by ITU-T as Rec. H.265 (12/2016) and by ISO/IEC as ISO/IEC
23008-2:2017 corresponded to the fourth version.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 5 refers to the integrated text additionally containing additional SEI messages
that include omnidirectional video SEI messages, a Monochrome 10 profile, a Main 10 Still Picture profile, and corrections
to various minor defects in the prior content of the Specification. The fifth edition published by ITU-T as Rec. H.265
(02/2018) corresponded to the fifth version.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 6 refers to the integrated text additionally containing additional SEI messages
for SEI manifest and SEI prefix, along with some corrections to the existing specification text. The sixth edition published
by ITU-T as Rec. H.265 (06/2019) corresponded to the sixth version.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 7 refers to the integrated text additionally containing the fisheye video
information SEI message and the annotated regions SEI message, along with some corrections to the existing specification
text. The seventh edition published by ITU-T as Rec. H.265 (11/2019) corresponded to the seventh version.
Rec. ITU-T H.265 | ISO/IEC 23008-2 version 8 (the current version) refers to the integrated text additionally containing
the shutter interval information SEI message, along with some corrections to the existing specification text.

0.6        Profiles, tiers and levels
This Recommendation | International Standard is designed to be generic in the sense that it serves a wide range of
applications, bit rates, resolutions, qualities and services. Applications should cover, among other things, digital storage
media, television broadcasting and real-time communications. In the course of creating this Specification, various
requirements from typical applications have been considered, necessary algorithmic elements have been developed, and
these have been integrated into a single syntax. Hence, this Specification will facilitate video data interchange among
different applications.
Considering the practicality of implementing the full syntax of this Specification, however, a limited number of subsets of
the syntax are also stipulated by means of "profiles", "tiers" and "levels". These and other related terms are formally defined
in clause 3.
A "profile" is a subset of the entire bitstream syntax that is specified in this Recommendation | International Standard.
Within the bounds imposed by the syntax of a given profile, it is still possible to require a very large variation in the
performance of encoders and decoders depending upon the values taken by syntax elements in the bitstream such as the
specified size of the decoded pictures. In many applications, it is currently neither practical nor economical to implement
a decoder capable of dealing with all hypothetical uses of the syntax within a particular profile.
In order to deal with this problem, "tiers" and "levels" are specified within each profile. A level of a tier is a specified set
of constraints imposed on values of the syntax elements in the bitstream. These constraints may be simple limits on values.
Alternatively they may take the form of constraints on arithmetic combinations of values (e.g., picture width multiplied by
picture height multiplied by number of pictures decoded per second). A level specified for a lower tier is more constrained
than a level specified for a higher tier.



2          Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053             Document 1-7            Filed 04/07/25          Page 24 of 717 Page ID #:553


Coded video content conforming to this Recommendation | International Standard uses a common syntax. In order to
achieve a subset of the complete syntax, flags, parameters and other syntax elements are included in the bitstream that
signal the presence or absence of syntactic elements that occur later in the bitstream.

0.7       Overview of the design characteristics
The coded representation specified in the syntax is designed to enable a high compression capability for a desired image
or video quality. The algorithm is typically not lossless, as the exact source sample values are typically not preserved
through the encoding and decoding processes. A number of techniques may be used to achieve highly efficient
compression. Encoding algorithms (not specified in this Recommendation | International Standard) may select between
inter and intra coding for block-shaped regions of each picture. Inter coding uses motion vectors for block-based inter
prediction to exploit temporal statistical dependencies between different pictures. Intra coding uses various spatial
prediction modes to exploit spatial statistical dependencies in the source signal for a single picture. Motion vectors and
intra prediction modes may be specified for a variety of block sizes in the picture. The prediction residual may then be
further compressed using a transform to remove spatial correlation inside the transform block before it is quantized,
producing a possibly irreversible process that typically discards less important visual information while forming a close
approximation to the source samples. Finally, the motion vectors or intra prediction modes may also be further compressed
using a variety of prediction mechanisms, and, after prediction, are combined with the quantized transform coefficient
information and encoded using arithmetic coding.

0.8      How to read this Specification
It is suggested that the reader starts with clause 1 (Scope) and moves on to clause 3 (Definitions). Clause 6 should be read
for the geometrical relationship of the source, input and output of the decoder. Clause 7 (Syntax and semantics) specifies
the order to parse syntax elements from the bitstream. See clauses 7.1–7.3 for syntactical order and see clause 7.4 for
semantics; e.g., the scope, restrictions and conditions that are imposed on the syntax elements. The actual parsing for most
syntax elements is specified in clause 9 (Parsing process). Clause 10 (Sub-bitstream extraction process) specifies the sub-
bitstream extraction process. Finally, clause 8 (Decoding process) specifies how the syntax elements are mapped into
decoded samples. Throughout reading this Specification, the reader should refer to clauses 2 (Normative references), 4
(Abbreviations), and 5 (Conventions) as needed. Annexes A through I also form an integral part of this Recommendation
| International Standard.
Annex A specifies profiles each being tailored to certain application domains, and defines the so-called tiers and levels of
the profiles. Annex B specifies syntax and semantics of a byte stream format for delivery of coded video as an ordered
stream of bytes. Annex C specifies the hypothetical reference decoder, bitstream conformance, decoder conformance and
the use of the hypothetical reference decoder to check bitstream and decoder conformance. Annex D specifies syntax and
semantics for supplemental enhancement information message payloads. Annex E specifies syntax and semantics of the
video usability information parameters of the sequence parameter set. Annex F specifies general multi-layer support for
bitstreams and decoders. Annex G contains support for multiview coding. Annex H contains support for scalability.
Annex I contains support for 3D coding.
Throughout this Specification, statements appearing with the preamble "NOTE –" are informative and are not an integral
part of this Recommendation | International Standard.


1         Scope
This Recommendation | International Standard specifies high efficiency video coding.


2         Normative references

2.1       General
The following Recommendations and International Standards contain provisions which, through reference in this text,
constitute provisions of this Recommendation | International Standard. At the time of publication, the editions indicated
were valid. All Recommendations and Standards are subject to revision, and parties to agreements based on this
Recommendation | International Standard are encouraged to investigate the possibility of applying the most recent edition
of the Recommendations and Standards listed below. Members of IEC and ISO maintain registers of currently valid
International Standards. The Telecommunication Standardization Bureau of the ITU maintains a list of currently valid
ITU-T Recommendations.




                                                                              Rec. ITU-T H.265 v8 (08/2021)              3
 Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 25 of 717 Page ID #:554


2.2       Identical Recommendations | International Standards
         –      None

2.3       Paired Recommendations | International Standards equivalent in technical content
         –      None

2.4       Additional references
         –      Recommendation ITU-T T.35 (in force), Procedure for the allocation of ITU-T defined codes for
                non-standard facilities.
         –      ISO/IEC 10646: in force, Information technology – Universal Coded Character Set (UCS).
         –      ISO/IEC 11578: in force, Information technology – Open Systems Interconnection – Remote Procedure Call
                (RPC).
         –      ISO 11664-1: in force, Colorimetry – Part 1: CIE standard colorimetric observers.
         –      ISO 12232: in force, Photography – Digital still cameras – Determination of exposure index, ISO speed
                ratings, standard output sensitivity, and recommended exposure index.
         –      IETF RFC 1321 (in force), The MD5 Message-Digest Algorithm.
         –      IETF RFC 5646 (in force), Tags for Identifying Languages.
         –      ISO/IEC 23001-11 (in force), Information Technology – MPEG Systems technologies – Part 11: Energy-
                efficient media consumption (green metadata).


3       Definitions
For the purposes of this Recommendation | International Standard, the following definitions apply:
3.1      access unit: A set of NAL units that are associated with each other according to a specified classification rule,
         are consecutive in decoding order, and contain exactly one coded picture with nuh_layer_id equal to 0.
                NOTE 1 – In addition to containing the video coding layer (VCL) NAL units of the coded picture with nuh_layer_id
                equal to 0, an access unit may also contain non-VCL NAL units. The decoding of an access unit with the decoding
                process specified in clause 8 always results in a decoded picture with nuh_layer_id equal to 0.
                NOTE 2 – An access unit is defined differently in Annex F and does not need to contain a coded picture with
                nuh_layer_id equal to 0.

3.2      AC transform coefficient: Any transform coefficient for which the frequency index in at least one of the two
         dimensions is non-zero.
3.3      associated IRAP picture: The previous IRAP picture in decoding order (when present).
3.4      associated non-VCL NAL unit: A non-VCL NAL unit (when present) for a VCL NAL unit where the VCL NAL
         unit is the associated VCL NAL unit of the non-VCL NAL unit.
3.5      associated VCL NAL unit: The preceding VCL NAL unit in decoding order for a non-VCL NAL unit with
         nal_unit_type equal to EOS_NUT, EOB_NUT, FD_NUT or SUFFIX_SEI_NUT, or in the ranges of
         RSV_NVCL45..RSV_NVCL47 or UNSPEC56..UNSPEC63; or otherwise the next VCL NAL unit in decoding
         order.
3.6      azimuth circle: A circle on a sphere connecting all points with the same azimuth value.
                NOTE – An azimuth circle is always a great circle like a longitude line on the earth.

3.7      base layer: A layer in which all NAL units have nuh_layer_id equal to 0.
3.8      bin: One bit of a bin string.
3.9      binarization: A set of bin strings for all possible values of a syntax element.
3.10     binarization process: A unique mapping process of all possible values of a syntax element onto a set of bin
         strings.
3.11     bin string: An intermediate binary representation of values of syntax elements from the binarization of the syntax
         element.
3.12     bi-predictive (B) slice: A slice that is decoded using intra prediction or using inter prediction with at most two
         motion vectors and reference indices to predict the sample values of each block.


4            Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053            Document 1-7             Filed 04/07/25            Page 26 of 717 Page ID #:555


3.13   bitstream: A sequence of bits, in the form of a NAL unit stream or a byte stream, that forms the representation
       of coded pictures and associated data forming one or more coded video sequences (CVSs).
3.14   block: An MxN (M-column by N-row) array of samples, or an MxN array of transform coefficients.
3.15   broken link: A location in a bitstream at which it is indicated that some subsequent pictures in decoding order
       may contain serious visual artefacts due to unspecified operations performed in the generation of the bitstream.
3.16   broken link access (BLA) access unit: An access unit in which the coded picture with nuh_layer_id equal to 0
       is a BLA picture.
3.17   broken link access (BLA) picture: An IRAP picture for which each VCL NAL unit has nal_unit_type equal to
       BLA_W_LP, BLA_W_RADL, or BLA_N_LP.
            NOTE – A BLA picture does not refer to any pictures other than itself for inter prediction in its decoding process, and
            may be the first picture in the bitstream in decoding order, or may appear later in the bitstream. Each BLA picture
            begins a new CVS, and has the same effect on the decoding process as an instantaneous decoding refresh (IDR) picture.
            However, a BLA picture contains syntax elements that specify a non-empty RPS. When a BLA picture for which each
            VCL NAL unit has nal_unit_type equal to BLA_W_LP, it may have associated random access skipped leading (RASL)
            pictures, which are not output by the decoder and may not be decodable, as they may contain references to pictures that
            are not present in the bitstream. When a BLA picture for which each VCL NAL unit has nal_unit_type equal to
            BLA_W_LP, it may also have associated RADL pictures, which are specified to be decoded. When a BLA picture for
            which each VCL NAL unit has nal_unit_type equal to BLA_W_RADL, it does not have associated RASL pictures but
            may have associated random access decodable leading (RADL) pictures. When a BLA picture for which each VCL
            NAL unit has nal_unit_type equal to BLA_N_LP, it does not have any associated leading pictures.

3.18   buffering period: The set of access units starting with an access unit that contains a buffering period suplemental
       enhancement information (SEI) message and containing all subsequent access units in decoding order up to but
       not including the next access unit (when present) that contains a buffering period SEI message.
3.19   byte: A sequence of 8 bits, within which, when written or read as a sequence of bit values, the left-most and
       right-most bits represent the most and least significant bits, respectively.
3.20   byte-aligned: A position in a bitstream is byte-aligned when the position is an integer multiple of 8 bits from
       the position of the first bit in the bitstream, and a bit or byte or syntax element is said to be byte-aligned when
       the position at which it appears in a bitstream is byte-aligned.
3.21   byte stream: An encapsulation of a NAL unit stream containing start code prefixes and NAL units as specified
       in Annex B.
3.22   can: A term used to refer to behaviour that is allowed, but not necessarily required.
3.23   chroma: An adjective, represented by the symbols Cb and Cr, specifying that a sample array or single sample is
       representing one of the two colour difference signals related to the primary colours.
            NOTE – The term chroma is used rather than the term chrominance in order to avoid the implication of the use of linear
            light transfer characteristics that is often associated with the term chrominance.

3.24   clean random access (CRA) access unit: An access unit in which the coded picture with nuh_layer_id equal to
       0 is a CRA picture.
3.25   clean random access (CRA) picture: An IRAP picture for which each VCL NAL unit has nal_unit_type equal
       to CRA_NUT.
            NOTE – A CRA picture does not refer to any pictures other than itself for inter prediction in its decoding process, and
            may be the first picture in the bitstream in decoding order, or may appear later in the bitstream. A CRA picture may
            have associated RADL or RASL pictures. As with a BLA picture, a CRA picture may contain syntax elements that
            specify a non-empty RPS. When a CRA picture has NoRaslOutputFlag equal to 1, the associated RASL pictures are
            not output by the decoder, because they may not be decodable, as they may contain references to pictures that are not
            present in the bitstream.

3.26   coded picture: A coded representation of a picture containing all CTUs of the picture.
3.27   coded picture buffer (CPB): A first-in first-out buffer containing decoding units in decoding order specified in
       the hypothetical reference decoder in Annex C.
3.28   coded representation: A data element as represented in its coded form.
3.29   coded slice segment NAL unit: A NAL unit that has nal_unit_type in the range of TRAIL_N to RASL_R,
       inclusive, or in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive, which indicates that the NAL unit
       contains a coded slice segment.
3.30   coded layer-wise video sequence (CLVS): A sequence of pictures and the associated non-VCL NAL units of
       the base layer of a coded video sequence (CVS).


                                                                                 Rec. ITU-T H.265 v8 (08/2021)                  5
 Case 2:25-cv-03053            Document 1-7               Filed 04/07/25            Page 27 of 717 Page ID #:556


3.31   coded video sequence (CVS): A sequence of access units that consists, in decoding order, of an IRAP access
       unit with NoRaslOutputFlag equal to 1, followed by zero or more access units that are not IRAP access units
       with NoRaslOutputFlag equal to 1, including all subsequent access units up to but not including any subsequent
       access unit that is an IRAP access unit with NoRaslOutputFlag equal to 1.
            NOTE – An IRAP access unit may be an IDR access unit, a BLA access unit, or a CRA access unit. The value of
            NoRaslOutputFlag is equal to 1 for each IDR access unit, each BLA access unit, and each CRA access unit that is the
            first access unit in the bitstream in decoding order, is the first access unit that follows an end of sequence NAL unit in
            decoding order, or has HandleCraAsBlaFlag equal to 1.

3.32   coded video sequence group (CVSG): One or more consecutive CVSs in decoding order that collectively
       consist of an IRAP access unit that activates a video parameter set (VPS) RBSP firstVpsRbsp that was not already
       active followed by all subsequent access units, in decoding order, for which firstVpsRbsp is the active VPS raw
       byte sequence payload (RBSP) up to the end of the bitstream or up to but excluding the access unit that activates
       a different VPS RBSP than firstVpsRbsp, whichever is earlier in decoding order.
3.33   coding block: An NxN block of samples for some value of N such that the division of a CTB into coding blocks
       is a partitioning.
3.34   coding tree block (CTB): An NxN block of samples for some value of N such that the division of a component
       into CTBs is a partitioning.
3.35   coding tree unit (CTU): A CTB of luma samples, two corresponding CTBs of chroma samples of a picture that
       has three sample arrays, or a CTB of samples of a monochrome picture or a picture that is coded using three
       separate colour planes and syntax structures used to code the samples.
3.36   coding unit: A coding block of luma samples, two corresponding coding blocks of chroma samples of a picture
       that has three sample arrays, or a coding block of samples of a monochrome picture or a picture that is coded
       using three separate colour planes and syntax structures used to code the samples.
3.37   component: An array or single sample from one of the three arrays (luma and two chroma) that compose a
       picture in 4:2:0, 4:2:2, or 4:4:4 colour format or the array or a single sample of the array that compose a picture
       in monochrome format.
3.38   constituent picture: A part of a spatially frame -packed stereoscopic picture that corresponds to one view, or a
       picture itself when frame packing is not in use or the temporal interleaving frame packing arrangement is in use.
3.39   context variable: A variable specified for the adaptive binary arithmetic decoding process of a bin by an
       equation containing recently decoded bins.
3.40   cropped decoded picture: The result of cropping a decoded picture based on the conformance cropping window
       specified in the sequence parameter set (SPS) that is referred to by the corresponding coded picture.
3.41   decoded picture: A decoded picture is derived by decoding a coded picture.
3.42   decoded picture buffer (DPB): A buffer holding decoded pictures for reference, output reordering, or output
       delay specified for the hypothetical reference decoder in Annex C.
3.43   decoder: An embodiment of a decoding process.
3.44   decoder under test (DUT): A decoder that is tested for conformance to this Specification by operating the
       hypothetical stream scheduler to deliver a conforming bitstream to the decoder and to the hypothetical reference
       decoder and comparing the values and timing or order of the output of the two decoders.
3.45   decoding order: The order in which syntax elements are processed by the decoding process.
3.46   decoding process: The process specified in this Specification that reads a bitstream and derives decoded pictures
       from it.
3.47   decoding unit: An access unit if SubPicHrdFlag is equal to 0 or a subset of an access unit otherwise, consisting
       of one or more VCL NAL units in an access unit and the associated non-VCL NAL units.
3.48   dependent slice segment: A slice segment for which the values of some syntax elements of the slice segment
       header are inferred from the values for the preceding independent slice segment in decoding order.
3.49   display process: A process not specified in this Specification having, as its input, the cropped decoded pictures
       that are the output of the decoding process.
3.50   elementary stream: A sequence of one or more bitstreams.
            NOTE – An elementary stream that consists of two or more bitstreams would typically have been formed by splicing
            together two or more bitstreams (or parts thereof).




6       Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053            Document 1-7               Filed 04/07/25             Page 28 of 717 Page ID #:557


3.51   elevation circle: A circle on a sphere connecting all points with the same elevation value.
            NOTE – An elevation circle is similar to a lattitude line on the earth. Except when the elevation value is zero, an
            elevation circle is not a great circle like a longitude circle on the earth.

3.52   emulation prevention byte: A byte equal to 0x03 that is present within a NAL unit when the syntax elements of
       the bitstream form certain patterns of byte values in a manner that ensures that no sequence of consecutive byte-
       aligned bytes in the NAL unit can contain a start code prefix.
3.53   encoder: An embodiment of an encoding process.
3.54   encoding process: A process not specified in this Specification that produces a bitstream conforming to this
       Specification.
3.55   field: An assembly of alternative rows of samples of a frame.
3.56   filler data NAL units: NAL units with nal_unit_type equal to FD_NUT.
3.57   flag: A variable or single-bit syntax element that can take one of the two possible values: 0 and 1.
3.58   frame: The composition of a top field and a bottom field, where sample rows 0, 2, 4, ... originate from the top
       field and sample rows 1, 3, 5, ... originate from the bottom field.
3.59   frequency index: A one-dimensional or two-dimensional index associated with a transform coefficient prior to
       the application of a transform in the decoding process.
3.60   global coordinate axes: The coordinate axes associated with omnidirectional video that are associated with an
       externally referenceable position and orientation.
            NOTE – The global coordinate axes may correspond to the position and orientation of a device or rig used for
            omnidirectional audio/video acquisition as well as the position of an observer's head in the three-dimensional space of
            the omnidirectional video rendering environment.

3.61   great circle: The intersection of a sphere and a plane that passes through the centre point of the sphere.
            NOTE – A great circle is also known as an orthodrome or Riemannian circle.

3.62   hypothetical reference decoder (HRD): A hypothetical decoder model that specifies constraints on the
       variability of conforming NAL unit streams or conforming byte streams that an encoding process may produce.
3.63   hypothetical stream scheduler (HSS): A hypothetical delivery mechanism used for checking the conformance
       of a bitstream or a decoder with regards to the timing and data flow of the input of a bitstream into the
       hypothetical reference decoder.
3.64   independent slice segment: A slice segment for which the values of the syntax elements of the slice segment
       header are not inferred from the values for a preceding slice segment.
3.65   informative: A term used to refer to content provided in this Specification that does not establish any mandatory
       requirements for conformance to this Specification and thus is not considered an integral part of this
       Specification.
3.66   instantaneous decoding refresh (IDR) access unit: An access unit in which the coded picture with
       nuh_layer_id equal to 0 is an IDR picture.
3.67   instantaneous decoding refresh (IDR) picture: An IRAP picture for which each VCL NAL unit has
       nal_unit_type equal to IDR_W_RADL or IDR_N_LP.
            NOTE – An IDR picture does not refer to any pictures other than itself for inter prediction in its decoding process, and
            may be the first picture in the bitstream in decoding order, or may appear later in the bitstream. Each IDR picture is the
            first picture of a CVS in decoding order. When an IDR picture for which each VCL NAL unit has nal_unit_type equal
            to IDR_W_RADL, it may have associated RADL pictures. When an IDR picture for which each VCL NAL unit has
            nal_unit_type equal to IDR_N_LP, it does not have any associated leading pictures. An IDR picture does not have
            associated RASL pictures.

3.68   inter coding: Coding of a coding block, slice, or picture that uses inter prediction.
3.69   inter prediction: A prediction derived in a manner that is dependent on data elements (e.g., sample values or
       motion vectors) of one or more reference pictures.
            NOTE – A prediction from a reference picture that is the current picture itself is also inter prediction.

3.70   intra coding: Coding of a coding block, slice, or picture that uses intra prediction.
3.71   intra prediction: A prediction derived from only data elements (e.g., sample values) of the same decoded slice
       without referring to a reference picture.




                                                                                   Rec. ITU-T H.265 v8 (08/2021)                   7
 Case 2:25-cv-03053             Document 1-7               Filed 04/07/25             Page 29 of 717 Page ID #:558


3.72   intra random access point (IRAP) access unit: An access unit in which the coded picture with nuh_layer_id
       equal to 0 is an IRAP picture.
3.73   intra random access point (IRAP) picture: A coded picture for which each VCL NAL unit has nal_unit_type
       in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive.
            NOTE – An IRAP picture does not refer to any pictures other than itself for inter prediction in its decoding process,
            and may be a BLA picture, a CRA picture or an IDR picture. The first picture in the bitstream in decoding order must
            be an IRAP picture. Provided the necessary parameter sets are available when they need to be activated, the IRAP
            picture and all subsequent non-RASL pictures in decoding order can be correctly decoded without performing the
            decoding process of any pictures that precede the IRAP picture in decoding order. There may be pictures in a bitstream
            that do not refer to any pictures other than itself for inter prediction in its decoding process that are not IRAP pictures.

3.74   intra (I) slice: A slice that is decoded using intra prediction only.
3.75   layer: A set of VCL NAL units that all have a particular value of nuh_layer_id and the associated non-VCL NAL
       units, or one of a set of syntactical structures having a hierarchical relationship.
            NOTE – Depending on the context, either the first layer concept or the second layer concept applies. The first layer
            concept is also referred to as a scalable layer, wherein a layer may be a spatial scalable layer, a quality scalable layer, a
            view, etc. A temporal true subset of a scalable layer is not referred to as a layer but referred to as a sub-layer or temporal
            sub-layer. The second layer concept is also referred to as a coding layer, wherein higher layers contain lower layers,
            and the coding layers are the CVS, picture, slice, slice segment, and CTU layers.

3.76   layer identifier list: A list of nuh_layer_id values that is associated with a layer set or an operation point and
       can be used as an input to the sub-bitstream extraction process.
3.77   layer set: A set of layers represented within a bitstream created from another bitstream by operation of the sub-
       bitstream extraction process with the another bitstream, the target highest TemporalId equal to 6, and the target
       layer identifier list equal to the layer identifier list associated with the layer set as inputs.
3.78   leading picture: A picture that precedes the associated IRAP picture in output order.
3.79   leaf: A terminating node of a tree that is a root node of a tree of depth 0.
3.80   level: A defined set of constraints on the values that may be taken by the syntax elements and variables of this
       Specification, or the value of a transform coefficient prior to scaling.
            NOTE – The same set of levels is defined for all profiles, with most aspects of the definition of each level being in
            common across different profiles. Individual implementations may, within the specified constraints, support a different
            level for each supported profile.

3.81   list 0 (list 1) motion vector: A motion vector associated with a reference index pointing into reference picture
       list 0 (list 1).
3.82   list 0 (list 1) prediction: Inter prediction of the content of a slice using a reference index pointing into reference
       picture list 0 (list 1).
3.83   local coordinate axes: The coordinate axes having a specified rotation relationship relative to the global
       coordinate axes.
3.84   long-term reference picture: A picture that is marked as "used for long-term reference".
3.85   long-term reference picture set: The two reference picture set (RPS) lists that may contain long-term reference
       pictures.
3.86   luma: An adjective, represented by the symbol or subscript Y or L, specifying that a sample array or single
       sample is representing the monochrome signal related to the primary colours.
            NOTE – The term luma is used rather than the term luminance in order to avoid the implication of the use of linear
            light transfer characteristics that is often associated with the term luminance. The symbol L is sometimes used instead
            of the symbol Y to avoid confusion with the symbol y as used for vertical location.

3.87   may: A term that is used to refer to behaviour that is allowed, but not necessarily required.
            NOTE – In some places where the optional nature of the described behaviour is intended to be emphasized, the phrase
            "may or may not" is used to provide emphasis.

3.88   motion vector: A two-dimensional vector used for inter prediction that provides an offset from the coordinates
       in the decoded picture to the coordinates in a reference picture.
3.89   must: A term that is used in expressing an observation about a requirement or an implication of a requirement
       that is specified elsewhere in this Specification (used exclusively in an informative context).
3.90   network abstraction layer (NAL) unit: A syntax structure containing an indication of the type of data to follow
       and bytes containing that data in the form of an RBSP interspersed as necessary with emulation prevention bytes.


8       Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053              Document 1-7               Filed 04/07/25             Page 30 of 717 Page ID #:559


3.91    network abstraction layer (NAL) unit stream: A sequence of NAL units.
3.92    non-scalable-nested SEI message: An SEI message that is not contained in a scalable nesting SEI message.
3.93    non-reference picture: A picture that is marked as "unused for reference".
             NOTE – A non-reference picture contains samples that cannot be used for inter prediction in the decoding process of
             subsequent pictures in decoding order. In other words, once a picture is marked as "unused for reference", it can never
             be marked back as "used for reference".

3.94    non-VCL NAL unit: A NAL unit that is not a VCL NAL unit.
3.95    note: A term that is used to prefix informative remarks (used exclusively in an informative context).
3.96    omnidirectional video: A video content in a format that enables rendering according to the user's viewing
        orientation, e.g., if viewed using a head-mounted device, or according to a user's desired viewport, reflecting a
        potentially rotated viewing position.
3.97    operation point: A bitstream created from another bitstream by operation of the sub-bitstream extraction
        process with the another bitstream, a target highest TemporalId, and a target layer identifier list as inputs.
             NOTE – If the target highest TemporalId of an operation point is equal to the greatest value of TemporalId in the layer
             set associated with the target layer identification list, the operation point is identical to the layer set. Otherwise it is a
             subset of the layer set.

3.98    output order: The order in which the decoded pictures are output from the decoded picture buffer (for the
        decoded pictures that are to be output from the decoded picture buffer).
3.99    output time: A time when a decoded picture is to be output as specified by the hypothetical reference decoder
        (HRD) according to the output timing decoded picture buffer (DPB) operation.
3.100   packed region: A region in a region-wise packed picture that is mapped to a projected region according to a
        region-wise packing.
3.101   parameter: A syntax element of a video parameter set (VPS), sequence parameter set (SPS) or picture parameter
        set (PPS), or the second word of the defined term quantization parameter.
3.102   partitioning: The division of a set into subsets such that each element of the set is in exactly one of the subsets.
3.103   picture: An array of luma samples in monochrome format or an array of luma samples and two corresponding
        arrays of chroma samples in 4:2:0, 4:2:2, and 4:4:4 colour format.
             NOTE – A picture may be either a frame or a field. However, in one CVS, either all pictures are frames or all pictures
             are fields.

3.104   picture parameter set (PPS): A syntax structure containing syntax elements that apply to zero or more entire
        coded pictures as determined by a syntax element found in each slice segment header.
3.105   picture order count (POC): A variable that is associated with each picture, uniquely identifies the associated
        picture among all pictures in the CVS, and, when the associated picture is to be output from the decoded picture
        buffer, indicates the position of the associated picture in output order relative to the output order positions of the
        other pictures in the same CVS that are to be output from the decoded picture buffer.
3.106   picture unit: A set of NAL units that contain all VCL NAL units of a coded picture and their associated non-VCL
        NAL units.
3.107   prediction: An embodiment of the prediction process.
3.108   prediction block: A rectangular MxN block of samples on which the same prediction is applied.
3.109   prediction process: The use of a predictor to provide an estimate of the data element (e.g., sample value or
        motion vector) currently being decoded.
3.110   prediction unit: A prediction block of luma samples, two corresponding prediction blocks of chroma samples
        of a picture that has three sample arrays, or a prediction block of samples of a monochrome picture or a picture
        that is coded using three separate colour planes and syntax structures used to predict the prediction block samples.
3.111   predictive (P) slice: A slice that is decoded using intra prediction or using inter prediction with at most one
        motion vector and reference index to predict the sample values of each block.
3.112   predictor: A combination of specified values or previously decoded data elements (e.g., sample value or motion
        vector) used in the decoding process of subsequent data elements.
3.113   prefix SEI message: An SEI message that is contained in a prefix SEI NAL unit.
3.114   prefix SEI NAL unit: An SEI NAL unit that has nal_unit_type equal to PREFIX_SEI_NUT.


                                                                                      Rec. ITU-T H.265 v8 (08/2021)                     9
 Case 2:25-cv-03053              Document 1-7               Filed 04/07/25             Page 31 of 717 Page ID #:560


3.115   profile: A specified subset of the syntax of this Specification.
3.116   projected picture: A picture that uses a projection format for omnidirectional video.
3.117   projected region: A region in a projected picture that is mapped to a packed region according to a region-wise
        packing.
3.118   projection: A specified correspondence between the colour samples of a projected picture and azimuth and
        elevation positions on a sphere.
3.119   pulse code modulation (PCM): Coding of the samples of a block by directly representing the sample values
        without prediction or application of a transform.
3.120   quadtree: A tree in which a parent node can be split into four child nodes, each of which may become parent
        node for another split into four child nodes.
3.121   quantization parameter: A variable used by the decoding process for scaling of transform coefficient levels.
3.122   random access: The act of starting the decoding process for a bitstream at a point other than the beginning of
        the stream.
3.123   random access decodable leading (RADL) access unit: An access unit in which the coded picture with
        nuh_layer_id equal to 0 is a RADL picture.
3.124   random access decodable leading (RADL) picture: A coded picture for which each VCL NAL unit has
        nal_unit_type equal to RADL_R or RADL_N.
             NOTE – All RADL pictures are leading pictures. RADL pictures are not used as reference pictures for the decoding
             process of trailing pictures of the same associated IRAP picture. When present, all RADL pictures precede, in decoding
             order, all trailing pictures of the same associated IRAP picture.

3.125   random access skipped leading (RASL) access unit: An access unit in which the coded picture with
        nuh_layer_id equal to 0 is a RASL picture.
3.126   random access skipped leading (RASL) picture: A coded picture for which each VCL NAL unit has
        nal_unit_type equal to RASL_R or RASL_N.
             NOTE – All RASL pictures are leading pictures of an associated BLA or CRA picture. When the associated IRAP
             picture has NoRaslOutputFlag equal to 1, the RASL picture is not output and may not be correctly decodable, as the
             RASL picture may contain references to pictures that are not present in the bitstream. RASL pictures are not used as
             reference pictures for the decoding process of non-RASL pictures. When present, all RASL pictures precede, in
             decoding order, all trailing pictures of the same associated IRAP picture.

3.127   raster scan: A mapping of a rectangular two-dimensional pattern to a one-dimensional pattern such that the first
        entries in the one-dimensional pattern are from the first top row of the two-dimensional pattern scanned from
        left to right, followed similarly by the second, third, etc., rows of the pattern (going down) each scanned from
        left to right.
3.128   raw byte sequence payload (RBSP): A syntax structure containing an integer number of bytes that is
        encapsulated in a NAL unit and that is either empty or has the form of a string of data bits containing syntax
        elements followed by an RBSP stop bit and zero or more subsequent bits equal to 0.
3.129   raw byte sequence payload (RBSP) stop bit: A bit equal to 1 present within a raw byte sequence payload
        (RBSP) after a string of data bits, for which the location of the end within an RBSP can be identified by searching
        from the end of the RBSP for the RBSP stop bit, which is the last non-zero bit in the RBSP.
3.130   recovery point: A point in the bitstream at which the recovery of an exact or an approximate representation of
        the decoded pictures represented by the bitstream is achieved after a random access or broken link.
3.131   reference index: An index into a reference picture list.
3.132   reference picture: A picture that is a short-term reference picture or a long-term reference picture.
             NOTE – A reference picture contains samples that may be used for inter prediction in the decoding process of
             subsequent pictures in decoding order.

3.133   reference picture list: A list of reference pictures that is used for inter prediction of a P or B slice.
             NOTE – For the decoding process of a P slice, there is one reference picture list – reference picture list 0. For the
             decoding process of a B slice, there are two reference picture lists – reference picture list 0 and reference picture list 1.

3.134   reference picture list 0: The reference picture list used for inter prediction of a P or the first reference picture
        list used for inter prediction of a B slice.
3.135   reference picture list 1: The second reference picture list used for inter prediction of a B slice.



10       Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053              Document 1-7                Filed 04/07/25              Page 32 of 717 Page ID #:561


3.136   reference picture set (RPS): A set of reference pictures associated with a picture, consisting of all reference
        pictures that are prior to the associated picture in decoding order, that may be used for inter prediction of the
        associated picture or any picture following the associated picture in decoding order.
             NOTE – The RPS of a picture consists of five RPS lists, three of which are to contain short-term reference pictures and
             the other two are to contain long-term reference pictures.

3.137   region-wise packed picture: A decoded picture that contains one or more packed regions.
             NOTE – A region-wise packed picture may contain a region-wise packing of a projected picture.

3.138   region-wise packing: A transformation, resizing, and relocation of packed regions of a region-wise packed
        picture to remap the packed regions to projected regions of a projected picture.
3.139   reserved: A term that may be used to specify that some values of a particular syntax element are for future use
        by ITU-T | ISO/IEC and shall not be used in bitstreams conforming to this version of this Specification, but may
        be used in bitstreams conforming to future extensions of this Specification by ITU-T | ISO/IEC.
3.140   residual: The decoded difference between a prediction of a sample or data element and its decoded value.
3.141   sample aspect ratio: The ratio between the intended horizontal distance between the columns and the intended
        vertical distance between the rows of the luma sample array in a picture, which is specified for assisting the
        display process (not specified in this Specification) and expressed as h:v, where h is the horizontal width and v
        is the vertical height, in arbitrary units of spatial distance.
3.142   scalable-nested SEI message: An SEI message that is contained in a scalable nesting SEI message.
3.143   scaling: The process of multiplying transform coefficient levels by a factor, resulting in transform coefficients.
3.144   sequence parameter set (SPS): A syntax structure containing syntax elements that apply to zero or more entire
        CVSs as determined by the content of a syntax element found in the PPS referred to by a syntax element found
        in each slice segment header.
3.145   shall: A term used to express mandatory requirements for conformance to this Specification.
             NOTE – When used to express a mandatory constraint on the values of syntax elements or on the results obtained by
             operation of the specified decoding process, it is the responsibility of the encoder to ensure that the constraint is fulfilled.
             When used in reference to operations performed by the decoding process, any decoding process that produces identical
             cropped decoded pictures to those output from the decoding process described in this Specification conforms to the
             decoding process requirements of this Specification.

3.146   short-term reference picture: A picture that is marked as "used for short-term reference".
3.147   short-term reference picture set: The three RPS lists that may contain short-term reference pictures.
3.148   should: A term used to refer to behaviour of an implementation that is encouraged to be followed under
        anticipated ordinary circumstances, but is not a mandatory requirement for conformance to this Specification.
3.149   slice: An integer number of CTUs contained in one independent slice segment and all subsequent dependent slice
        segments (if any) that precede the next independent slice segment (if any) within the same access unit.
3.150   slice header: The slice segment header of the independent slice segment that is a current slice segment or the
        most recent independent slice segment that precedes a current dependent slice segment in decoding order.
3.151   slice segment: An integer number of CTUs ordered consecutively in the tile scan and contained in a single NAL
        unit.
3.152   slice segment header: A part of a coded slice segment containing the data elements pertaining to the first or all
        CTUs represented in the slice segment.
3.153   source: A term used to describe the video material or some of its attributes before encoding.
3.154   sphere coordinates: The azimuth and elevation angles identifying a location of a point on a sphere.
3.155   sphere region: A region on a sphere, specified either by four great circles or by two azimuth circles and two
        elevation circles, or such a region on a rotated sphere after applying yaw, pitch, and roll rotations.
3.156   start code prefix: A unique sequence of three bytes equal to 0x000001 embedded in the byte stream as a prefix
        to each NAL unit.
             NOTE – The location of a start code prefix can be used by a decoder to identify the beginning of a new NAL unit and
             the end of a previous NAL unit. Emulation of start code prefixes is prevented within NAL units by the inclusion of
             emulation prevention bytes.

3.157   step-wise temporal sub-layer access (STSA) access unit: An access unit in which the coded picture with
        nuh_layer_id equal to 0 is an STSA picture.


                                                                                       Rec. ITU-T H.265 v8 (08/2021)                    11
 Case 2:25-cv-03053             Document 1-7               Filed 04/07/25            Page 33 of 717 Page ID #:562


3.158   step-wise temporal sub-layer access (STSA) picture: A coded picture for which each VCL NAL unit has
        nal_unit_type equal to STSA_R or STSA_N.
             NOTE – An STSA picture does not use pictures with the same TemporalId as the STSA picture for inter prediction
             reference. Pictures following an STSA picture in decoding order with the same TemporalId as the STSA picture do not
             use pictures prior to the STSA picture in decoding order with the same TemporalId as the STSA picture for inter
             prediction reference. An STSA picture enables up-switching, at the STSA picture, to the sub-layer containing the STSA
             picture, from the immediately lower sub-layer. STSA pictures must have TemporalId greater than 0.

3.159   string of data bits (SODB): A sequence of some number of bits representing syntax elements present within a
        raw byte sequence payload prior to the raw byte sequence payload stop bit, where the left-most bit is considered
        to be the first and most significant bit, and the right-most bit is considered to be the last and least significant bit.
3.160   sub-bitstream extraction process: A specified process by which NAL units in a bitstream that do not belong to a
        target set, determined by a target highest TemporalId and a target layer identifier list, are removed from the
        bitstream, with the output sub-bitstream consisting of the NAL units in the bitstream that belong to the target set.
3.161   sub-layer: A temporal scalable layer of a temporal scalable bitstream, consisting of VCL NAL units with a
        particular value of the TemporalId variable and the associated non-VCL NAL units.
3.162   sub-layer non-reference (SLNR) picture: A picture that contains samples that cannot be used for inter
        prediction in the decoding process of subsequent pictures of the same sub-layer in decoding order.
             NOTE – Samples of an SLNR picture may be used for inter prediction in the decoding process of subsequent pictures
             of higher sub-layers in decoding order.

3.163   sub-layer reference picture: A picture that contains samples that may be used for inter prediction in the
        decoding process of subsequent pictures of the same sub-layer in decoding order.
             NOTE – Samples of a sub-layer reference picture may also be used for inter prediction in the decoding process of
             subsequent pictures of higher sub-layers in decoding order.

3.164   sub-layer representation: A subset of the bitstream consisting of NAL units of a particular sub-layer and the
        lower sub-layers.
3.165   suffix SEI message: An SEI message that is contained in a suffix SEI NAL unit.
3.166   suffix SEI NAL unit: An SEI NAL unit that has nal_unit_type equal to SUFFIX_SEI_NUT.
3.167   supplemental enhancement information (SEI) NAL unit: A NAL unit that has nal_unit_type equal to
        PREFIX_SEI_NUT or SUFFIX_SEI_NUT.
3.168   syntax element: An element of data represented in the bitstream.
3.169   syntax structure: Zero or more syntax elements present together in the bitstream in a specified order.
3.170   temporal sub-layer: Same as sub-layer.
3.171   temporal sub-layer access (TSA) access unit: An access unit in which the coded picture with nuh_layer_id
        equal to 0 is a TSA picture.
3.172   temporal sub-layer access (TSA) picture: A coded picture for which each VCL NAL unit has nal_unit_type
        equal to TSA_R or TSA_N.
             NOTE – A TSA picture and pictures following the TSA picture in decoding order do not use pictures prior to the TSA
             picture in decoding order with TemporalId greater than or equal to that of the TSA picture for inter prediction reference.
             A TSA picture enables up-switching, at the TSA picture, to the sub-layer containing the TSA picture or any higher sub-
             layer, from the immediately lower sub-layer. TSA pictures must have TemporalId greater than 0.

3.173   tier: A specified category of level constraints imposed on values of the syntax elements in the bitstream, where
        the level constraints are nested within a tier and a decoder conforming to a certain tier and level would be capable
        of decoding all bitstreams that conform to the same tier or the lower tier of that level or any level below it.
3.174   tile: A rectangular region of CTUs within a particular tile column and a particular tile row in a picture.
3.175   tile column: A rectangular region of CTUs having a height equal to the height of the picture and a width specified
        by syntax elements in the picture parameter set.
3.176   tile row: A rectangular region of CTUs having a height specified by syntax elements in the picture parameter
        set and a width equal to the width of the picture.
3.177   tile scan: A specific sequential ordering of CTUs partitioning a picture in which the CTUs are ordered
        consecutively in CTU raster scan in a tile, whereas tiles in a picture are ordered consecutively in a raster scan
        of the tiles of the picture.




12       Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053             Document 1-7              Filed 04/07/25           Page 34 of 717 Page ID #:563


3.178    tilt angle: The angle indicating the amount of tilt of a sphere region, measured as the amount of rotation of a
         sphere region along the axis originating from the sphere origin passing through the centre point of the sphere
         region, where the angle value increases clockwise when looking from the origin towards the positive end of the
         axis.
3.179    trailing picture: A non-IRAP picture that follows the associated IRAP picture in output order.
              NOTE – Trailing pictures associated with an IRAP picture also follow the IRAP picture in decoding order. Pictures
              that follow the associated IRAP picture in output order and precede the associated IRAP picture in decoding order are
              not allowed.

3.180    transform: A part of the decoding process by which a block of transform coefficients is converted to a block of
         spatial-domain values.
3.181    transform block: A rectangular MxN block of samples resulting from a transform in the decoding process.
3.182    transform coefficient: A scalar quantity, considered to be in a frequency domain, that is associated with a
         particular one-dimensional or two-dimensional frequency index in a transform in the decoding process.
3.183    transform coefficient level: An integer quantity representing the value associated with a particular
         two-dimensional frequency index in the decoding process prior to scaling for computation of a transform
         coefficient value.
3.184    transform unit: A transform block of luma samples of size 8x8, 16x16, or 32x32 or four transform blocks of
         luma samples of size 4x4, two corresponding transform blocks of chroma samples of a picture in 4:2:0 colour
         format; or a transform block of luma samples of size 8x8, 16x16, or 32x32, and four corresponding transform
         blocks of chroma samples, or four transform blocks of luma samples of size 4x4, and four corresponding
         transform blocks of chroma samples of a picture in 4:2:2 colour format; or a transform block of luma samples
         of size 4x4, 8x8, 16x16, or 32x32, and two corresponding transform blocks of chroma samples of a picture in
         4:4:4 colour format that is not coded using three separate colour planes and syntax structures used to transform
         the transform block samples; or a transform block of luma samples of size 8x8, 16x16, or 32x32 or four transform
         blocks of luma samples of size 4x4 of a monochrome picture or a picture in 4:4:4 colour format that is coded
         using three separate colour planes; and the associated syntax structures used to transform the transform block
         samples.
3.185    tree: A tree is a finite set of nodes with a unique root node.
3.186    universal unique identifier (UUID): An identifier that is unique with respect to the space of all universal unique
         identifiers.
3.187    unspecified: A term that may be used to specify some values of a particular syntax element to indicate that the
         values have no specified meaning in this Specification and will not have a specified meaning in the future as an
         integral part of future versions of this Specification.
3.188    video coding layer (VCL) NAL unit: A collective term for coded slice segment NAL units and the subset of
         NAL units that have reserved values of nal_unit_type that are classified as VCL NAL units in this Specification.
3.189    video parameter set (VPS): A syntax structure containing syntax elements that apply to zero or more entire
         CVSs as determined by the content of a syntax element found in the SPS referred to by a syntax element found in
         the PPS referred to by a syntax element found in each slice segment header.
3.190    viewport: A region of omnidirectional video content suitable for display and viewing by the user.
3.191    z-scan order: A specified sequential ordering of blocks partitioning a picture, where the order is identical to
         CTB raster scan of the picture when the blocks are of the same size as CTBs, and, when the blocks are of a
         smaller size than CTBs, i.e., CTBs are further partitioned into smaller coding blocks, the order traverses from
         CTB to CTB in CTB raster scan of the picture, and inside each CTB, which may be divided into quadtrees
         hierarchically to lower levels, the order traverses from quadtree to quadtree of a particular level in quadtree-of-
         the-particular-level raster scan of the quadtree of the immediately higher level.


4       Abbreviations and acronyms
For the purposes of this Recommendation | International Standard, the following abbreviations and acronyms apply:
ATSC        Advanced Television Systems Committee
B           Bi-predictive
BLA         Broken Link Access



                                                                                  Rec. ITU-T H.265 v8 (08/2021)                13
    Case 2:25-cv-03053           Document 1-7       Filed 04/07/25        Page 35 of 717 Page ID #:564


BPB        Bitstream Partition Buffer
CABAC      Context-based Adaptive Binary Arithmetic Coding
CB         Coding Block
CBR        Constant Bit Rate
CIE        International Commission on Illumination (Commission Internationale de l'Eclairage)
CLVS       Coded Layer-wise Video Sequence
CPB        Coded Picture Buffer
CRA        Clean Random Access
CRC        Cyclic Redundancy Check
CTB        Coding Tree Block
CTU        Coding Tree Unit
CU         Coding Unit
CVS        Coded Video Sequence
CVSG       Coded Video Sequence Group
DCT        Discrete Cosine Transform
DPB        Decoded Picture Buffer
DRAP       Dependent Random Access Point
DUT        Decoder Under Test
EG         Exponential-Golomb
EGk        k-th order Exponential-Golomb
FCC        Federal Communications Commission (of the United States)
FIFO       First-In, First-Out
FIR        Finite Impulse Response
FL         Fixed-Length
GBR        Green, Blue and Red
GDR        Gradual Decoding Refresh
HRD        Hypothetical Reference Decoder
HSS        Hypothetical Stream Scheduler
I          Intra
IDCT       Inverse Discrete Cosine Transformation
IDR        Instantaneous Decoding Refresh
INBLD      Independent Non-Base Layer Decoding
IRAP       Intra Random Access Point
LPS        Least Probable Symbol
LSB        Least Significant Bit
MCTS       Motion-Constrained Tile Set
MAC        Multiplexed Analogue Components
MPS        Most Probable Symbol
MSB        Most Significant Bit
MVP        Motion Vector Prediction


14        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7       Filed 04/07/25        Page 36 of 717 Page ID #:565


NAL     Network Abstraction Layer
NTSC    National Television System Committee (of the United States)
OLS     Output Layer Set
P       Predictive
PAL     Phase Alternating Line
PB      Prediction Block
PCM     Pulse Code Modulation
POC     Picture Order Count
PPS     Picture Parameter Set
PU      Prediction Unit
QP      Quantization Parameter
RADL    Random Access Decodable Leading (Picture)
RASL    Random Access Skipped Leading (Picture)
RBSP    Raw Byte Sequence Payload
RGB     Same as GBR
RPS     Reference Picture Set
SAO     Sample Adaptive Offset
SAR     Sample Aspect Ratio
SECAM   Sequential colour with memory (Séquentiel Couleur avec Mémoire)
SEI     Supplemental Enhancement Information
SLNR    Sub-Layer Non-Reference (Picture)
SMPTE   Society of Motion Picture and Television Engineers
SODB    String Of Data Bits
SPS     Sequence Parameter Set
STSA    Step-wise Temporal Sub-layer Access
TB      Transform Block
TR      Truncated Rice
TSA     Temporal Sub-layer Access
TU      Transform Unit
UCS     Universal Coded Character Set
UTF     UCS Transmission Format
UUID    Universal Unique Identifier
VBR     Variable Bit Rate
VCL     Video Coding Layer
VPS     Video Parameter Set
VUI     Video Usability Information




                                                                      Rec. ITU-T H.265 v8 (08/2021)   15
 Case 2:25-cv-03053                    Document 1-7              Filed 04/07/25            Page 37 of 717 Page ID #:566


5                 Conventions

5.1               General
      NOTE – The mathematical operators used in this Specification are similar to those used in the C programming language. However,
      the results of integer division and arithmetic shift operations are defined more precisely, and additional operations are defined, such
      as exponentiation and real-valued division. Numbering and counting conventions generally begin from 0, e.g., "the first" is
      equivalent to the 0-th, "the second" is equivalent to the 1-th, etc.


5.2               Arithmetic operators
The following arithmetic operators are defined as follows:
          +             Addition
          −             Subtraction (as a two-argument operator) or negation (as a unary prefix operator)
          *             Multiplication, including matrix multiplication
              y
          x             Exponentiation. Specifies x to the power of y. In other contexts, such notation is used for
                        superscripting not intended for interpretation as exponentiation.
          /             Integer division with truncation of the result toward zero. For example, 7 / 4 and −7 / −4 are truncated
                        to 1 and −7 / 4 and 7 / −4 are truncated to −1.
          ÷             Used to denote division in mathematical equations where no truncation or rounding is intended.
          x
                        Used to denote division in mathematical equations where no truncation or rounding is intended.
          y
              y
          ∑ f( i ) The summation of f( i ) with i taking all integer values from x up to and including y.
          i=x

          x%y           Modulus. Remainder of x divided by y, defined only for integers x and y with x >= 0 and y > 0.

5.3               Logical operators
The following logical operators are defined as follows:
          x && y Boolean logical "and" of x and y
          x || y       Boolean logical "or" of x and y
          !            Boolean logical "not"
          x?y:z        If x is TRUE or not equal to 0, evaluates to the value of y; otherwise, evaluates to the value of z.

5.4               Relational operators
The following relational operators are defined as follows:
          >            Greater than
          >=           Greater than or equal to
          <            Less than
          <=           Less than or equal to
          ==           Equal to
          !=           Not equal to
When a relational operator is applied to a syntax element or variable that has been assigned the value "na" (not applicable),
the value "na" is treated as a distinct value for the syntax element or variable. The value "na" is considered not to be equal
to any other value.

5.5               Bit-wise operators
The following bit-wise operators are defined as follows:
          &            Bit-wise "and". When operating on integer arguments, operates on a two's complement representation of
                       the integer value. When operating on a binary argument that contains fewer bits than another argument,
                       the shorter argument is extended by adding more significant bits equal to 0.



16                Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7         Filed 04/07/25          Page 38 of 717 Page ID #:567


       |         Bit-wise "or". When operating on integer arguments, operates on a two's complement representation of
                 the integer value. When operating on a binary argument that contains fewer bits than another argument,
                 the shorter argument is extended by adding more significant bits equal to 0.
       ^         Bit-wise "exclusive or". When operating on integer arguments, operates on a two's complement
                 representation of the integer value. When operating on a binary argument that contains fewer bits than
                 another argument, the shorter argument is extended by adding more significant bits equal to 0.
       x >> y    Arithmetic right shift of a two's complement integer representation of x by y binary digits. This function
                 is defined only for non-negative integer values of y. Bits shifted into the most significant bits (MSBs) as
                 a result of the right shift have a value equal to the MSB of x prior to the shift operation.
       x << y    Arithmetic left shift of a two's complement integer representation of x by y binary digits. This function
                 is defined only for non-negative integer values of y. Bits shifted into the least significant bits (LSBs) as
                 a result of the left shift have a value equal to 0.

5.6         Assignment operators
The following arithmetic operators are defined as follows:
       =         Assignment operator
       ++        Increment, i.e., x+ + is equivalent to x = x + 1; when used in an array index, evaluates to the value of the
                 variable prior to the increment operation.
       −−        Decrement, i.e., x− − is equivalent to x = x − 1; when used in an array index, evaluates to the value of the
                 variable prior to the decrement operation.
       +=        Increment by amount specified, i.e., x += 3 is equivalent to x = x + 3, and x += (−3) is equivalent
                 to x = x + (−3).
       −=        Decrement by amount specified, i.e., x −= 3 is equivalent to x = x − 3, and x −= (−3) is equivalent
                 to x = x − (−3).

5.7         Range notation
The following notation is used to specify a range of values:

       x = y..z x takes on integer values starting from y to z, inclusive, with x, y, and z being integer numbers
                and z being greater than or equal to y.

5.8         Mathematical functions
The following mathematical functions are defined:

                       x     ;    x >= 0
       Abs( x ) = {                                                                                                   (5-1)
                      −x     ;     x<0

       Asin( x ) the trigonometric inverse sine function, operating on an argument x that is
                 in the range of −1.0 to 1.0, inclusive, with an output value in the range of
                 −π÷2 to π÷2, inclusive, in units of radians
                 (5-2)

       Atan( x ) the trigonometric inverse tangent function, operating on an argument x, with
                 an output value in the range of −π÷2 to π÷2, inclusive, in units of radians                          (5-3)

                                           y
                                 Atan ( )      ;          x>0
                                           x
                                     y
                             Atan ( ) + π      ;    x < 0 && y >= 0
                                    x
       Atan2( y, x ) =              y          ;     x < 0 && y < 0                                                   (5-4)
                             Atan ( ) − π
                                    x
                                     π
                                   +           ;   x = = 0 && y >= 0
                                       2
                                       π       ;
                                   −                     otherwise
                         {             2




                                                                              Rec. ITU-T H.265 v8 (08/2021)              17
 Case 2:25-cv-03053                      Document 1-7             Filed 04/07/25        Page 39 of 717 Page ID #:568


         Ceil( x ) the smallest integer greater than or equal to x.                                                              (5-5)

         Clip1Y( x ) = Clip3( 0, ( 1 << BitDepthY ) − 1, x )
                   (5-6)

         Clip1C( x ) = Clip3( 0, ( 1 << BitDepthC ) − 1, x )
                   (5-7)

                              x          ;       z<x
         Clip3( x, y, z ) = { y          ;       z>y                                                                             (5-8)
                              z          ;     otherwise

         Cos( x ) the trigonometric cosine function operating on an argument x in units of radians.                              (5-9)

         Floor( x )the largest integer less than or equal to x.
                   (5-10)

                                      c+d                  ;   b − a >= d / 2
         GetCurrMsb( a, b, c, d ) = { c − d                ;    a−b > d/2                                                      (5-11)
                                        c                  ;      otherwise

         Ln( x )     the natural logarithm of x (the base-e logarithm, where e is the natural logarithm base constant
                     2.718 281 828...).                                                                        (5-12)

         Log2( x ) the base-2 logarithm of x.                                                                                  (5-13)

         Log10( x ) the base-10 logarithm of x.                                                                                (5-14)

                            x        ;   x <= y
         Min( x, y ) = {                                                                                                       (5-15)
                            y        ;    x>y

                             x       ;       x >= y
         Max( x, y ) = {                                                                                                       (5-16)
                             y       ;        x<y

         Round( x ) = Sign( x ) * Floor( Abs( x ) + 0.5 )                                                                      (5-17)

                       1         ;        x>0
         Sign( x ) = { 0         ;       x == 0                                                                                (5-18)
                      −1         ;        x < 0

         Sin( x ) the trigonometric sine function operating on an argument x in units of radians                               (5-19)

         Sqrt( x ) the square root of x                                                                                        (5-20)

         Swap( x, y ) = ( y, x )                                                                                               (5-21)

         Tan( x ) the trigonometric tangent function operating on an argument x in units of radians                            (5-22)

5.9          Order of operation precedence
When order of precedence in an expression is not indicated explicitly by use of parentheses, the following rules apply:
–      Operations of a higher precedence are evaluated before any operation of a lower precedence.
–      Operations of the same precedence are evaluated sequentially from left to right.
Table 5-1 specifies the precedence of operations from highest to lowest; a higher position in the table indicates a higher
precedence.
      NOTE – For those operators that are also used in the C programming language, the order of precedence used in this Specification is
      the same as used in the C programming language.




18            Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25           Page 40 of 717 Page ID #:569


            Table 5-1 – Operation precedence from highest (at top of table) to lowest (at bottom of table)

                               operations (with operands x, y, and z)
                               "x++", "x− −"
                               "!x", "−x" (as a unary prefix operator)
                               xy
                                                           x
                               "x * y", "x / y", "x ÷ y", " ", "x % y"
                                                           y
                                                                                     y
                               "x + y", "x − y" (as a two-argument operator), "  f( i ) "
                                                                                    i=x

                               "x << y", "x >> y"
                               "x < y", "x <= y", "x > y", "x >= y"
                               "x = = y", "x != y"
                               "x & y"
                               "x | y"
                               "x && y"
                               "x | | y"
                               "x ? y : z"
                               "x..y"
                               "x = y", "x += y", "x −= y"

5.10       Variables, syntax elements and tables
Syntax elements in the bitstream are represented in bold type. Each syntax element is described by its name (all lower case
letters with underscore characters), and one descriptor for its method of coded representation. The decoding process
behaves according to the value of the syntax element and to the values of previously decoded syntax elements. When a
value of a syntax element is used in the syntax tables or the text, it appears in regular (i.e., not bold) type.
In some cases the syntax tables may use the values of other variables derived from syntax elements values. Such variables
appear in the syntax tables, or text, named by a mixture of lower case and upper case letters and without any underscore
characters. Variables starting with an upper case letter are derived for the decoding of the current syntax structure and all
depending syntax structures. Variables starting with an upper case letter may be used in the decoding process for later
syntax structures without mentioning the originating syntax structure of the variable. Variables starting with a lower case
letter are only used within the clause in which they are derived.
In some cases, "mnemonic" names for syntax element values or variable values are used interchangeably with their
numerical values. Sometimes "mnemonic" names are used without any associated numerical values. The association of
values and names is specified in the text. The names are constructed from one or more groups of letters separated by an
underscore character. Each group starts with an upper case letter and may contain more upper case letters.
   NOTE – The syntax is described in a manner that closely follows the C-language syntactic constructs.

Functions that specify properties of the current position in the bitstream are referred to as syntax functions. These functions
are specified in clause 7.2 and assume the existence of a bitstream pointer with an indication of the position of the next bit
to be read by the decoding process from the bitstream. Syntax functions are described by their names, which are constructed
as syntax element names and end with left and right round parentheses including zero or more variable names
(for definition) or values (for usage), separated by commas (if more than one variable).
Functions that are not syntax functions (including mathematical functions specified in clause 5.8) are described by their
names, which start with an upper case letter, contain a mixture of lower and upper case letters without any underscore
character, and end with left and right parentheses including zero or more variable names (for definition) or values
(for usage) separated by commas (if more than one variable).
A one-dimensional array is referred to as a list. A two-dimensional array is referred to as a matrix. Arrays can either be
syntax elements or variables. Subscripts or square parentheses are used for the indexing of arrays. In reference to a visual
depiction of a matrix, the first subscript is used as a row (vertical) index and the second subscript is used as a column
(horizontal) index. The indexing order is reversed when using square parentheses rather than subscripts for indexing.


                                                                                   Rec. ITU-T H.265 v8 (08/2021)           19
 Case 2:25-cv-03053                   Document 1-7          Filed 04/07/25           Page 41 of 717 Page ID #:570


Thus, an element of a matrix s at horizontal position x and vertical position y may be denoted either as s[ x ][ y ] or as syx.
A single column of a matrix may be referred to as a list and denoted by omission of the row index. Thus, the column of a
matrix s at horizontal position x may be referred to as the list s[ x ].
A specification of values of the entries in rows and columns of an array may be denoted by { {...} {...} }, where each inner
pair of brackets specifies the values of the elements within a row in increasing column order and the rows are ordered in
increasing row order. Thus, setting a matrix s equal to { { 1 6 } { 4 9 }} specifies that s[ 0 ][ 0 ] is set equal to 1, s[ 1 ][ 0 ]
is set equal to 6, s[ 0 ][ 1 ] is set equal to 4, and s[ 1 ][ 1 ] is set equal to 9.
Binary notation is indicated by enclosing the string of bit values by single quote marks. For example, '01000001' represents
an eight-bit string having only its second and its last bits (counted from the most to the least significant bit) equal to 1.
Hexadecimal notation, indicated by prefixing the hexadecimal number by "0x", may be used instead of binary notation
when the number of bits is an integer multiple of 4. For example, 0x41 represents an eight-bit string having only its second
and its last bits (counted from the most to the least significant bit) equal to 1.
Numerical values not enclosed in single quotes and not prefixed by "0x" are decimal values.
A value equal to 0 represents a FALSE condition in a test statement. The value TRUE is represented by any value different
from zero.

5.11       Text description of logical operations
In the text, a statement of logical operations as would be described mathematically in the following form:

         if( condition 0 )
           statement 0
         else if( condition 1 )
           statement 1
         ...
         else /* informative remark on remaining condition */
           statement n

may be described in the following manner:
          ... as follows / ... the following applies:
          –      If condition 0, statement 0
          –      Otherwise, if condition 1, statement 1
          –      ...
          –      Otherwise (informative remark on remaining condition), statement n
Each "If ... Otherwise, if ... Otherwise, ..." statement in the text is introduced with "... as follows" or "... the following
applies" immediately followed by "If ... ". The last condition of the "If ... Otherwise, if ... Otherwise, ..." is always an
"Otherwise, ...". Interleaved "If ... Otherwise, if ... Otherwise, ..." statements can be identified by matching "... as follows"
or "... the following applies" with the ending "Otherwise, ...".
In the text, a statement of logical operations as would be described mathematically in the following form:

         if( condition 0a && condition 0b )
           statement 0
         else if( condition 1a | | condition 1b )
           statement 1
         ...
         else
           statement n

may be described in the following manner:
         ... as follows / ... the following applies:
          –      If all of the following conditions are true, statement 0:
                 –     condition 0a
                 –     condition 0b
          –      Otherwise, if one or more of the following conditions are true, statement 1:


20            Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                   Document 1-7       Filed 04/07/25          Page 42 of 717 Page ID #:571


                 –     condition 1a
                 –     condition 1b
            –    ...
            –    Otherwise, statement n
In the text, a statement of logical operations as would be described mathematically in the following form:

           if( condition 0 )
             statement 0
           if( condition 1 )
             statement 1

may be described in the following manner:
            When condition 0, statement 0
            When condition 1, statement 1

5.12        Processes
Processes are used to describe the decoding of syntax elements. A process has a separate specification and invoking. All
syntax elements and upper case variables that pertain to the current syntax structure and depending syntax structures are
available in the process specification and invoking. A process specification may also have a lower case variable explicitly
specified as input. Each process specification has explicitly specified an output. The output is a variable that can either be
an upper case variable or a lower case variable.
When invoking a process, the assignment of variables is specified as follows:
–      If the variables at the invoking and the process specification do not have the same name, the variables are explicitly
       assigned to lower case input or output variables of the process specification.
–      Otherwise (the variables at the invoking and the process specification have the same name), assignment is implied.
In the specification of a process, a specific coding block may be referred to by the variable name having a value equal to
the address of the specific coding block.


6           Bitstream and picture formats, partitionings, scanning processes and neighbouring
            relationships

6.1         Bitstream formats
This clause specifies the relationship between the network abstraction layer (NAL) unit stream and byte stream, either of
which are referred to as the bitstream.
The bitstream can be in one of two formats: the NAL unit stream format or the byte stream format. The NAL unit stream
format is conceptually the more "basic" type. It consists of a sequence of syntax structures called NAL units. This sequence
is ordered in decoding order. There are constraints imposed on the decoding order (and contents) of the NAL units in the
NAL unit stream.
The byte stream format can be constructed from the NAL unit stream format by ordering the NAL units in decoding order
and prefixing each NAL unit with a start code prefix and zero or more zero-valued bytes to form a stream of bytes. The
NAL unit stream format can be extracted from the byte stream format by searching for the location of the unique start code
prefix pattern within this stream of bytes. Methods of framing the NAL units in a manner other than use of the byte stream
format are outside the scope of this Specification. The byte stream format is specified in Annex B.

6.2         Source, decoded and output picture formats
This clause specifies the relationship between source and decoded pictures that is given via the bitstream.
The video source that is represented by the bitstream is a sequence of pictures in decoding order.
The source and decoded pictures are each comprised of one or more sample arrays:
–      Luma (Y) only (monochrome).
–      Luma and two chroma (YCbCr or YCgCo).



                                                                                Rec. ITU-T H.265 v8 (08/2021)             21
 Case 2:25-cv-03053             Document 1-7           Filed 04/07/25           Page 43 of 717 Page ID #:572


–    Green, blue, and red (GBR, also known as RGB).
–    Arrays representing other unspecified monochrome or tri-stimulus colour samplings (for example, YZX, also known
     as XYZ).
For convenience of notation and terminology in this Specification, the variables and terms associated with these arrays are
referred to as luma (or L or Y) and chroma, where the two chroma arrays are referred to as Cb and Cr; regardless of the
actual colour representation method in use. The actual colour representation method in use can be indicated in syntax that
is specified in Annex E.
The variables SubWidthC and SubHeightC are specified in Table 6-1, depending on the chroma format sampling structure,
which is specified through chroma_format_idc and separate_colour_plane_flag. Other values of chroma_format_idc,
SubWidthC and SubHeightC may be specified in the future by ITU-T | ISO/IEC.

                            Table 6-1 – SubWidthC and SubHeightC values derived from
                                chroma_format_idc and separate_colour_plane_flag

      chroma_format_idc        separate_colour_plane_flag         Chroma format        SubWidthC       SubHeightC
                0                             0                     Monochrome               1               1
                1                             0                         4:2:0                2               2
                2                             0                         4:2:2                2               1
                3                             0                         4:4:4                1               1
                3                             1                         4:4:4                1               1

In monochrome sampling there is only one sample array, which is nominally considered the luma array.
In 4:2:0 sampling, each of the two chroma arrays has half the height and half the width of the luma array.
In 4:2:2 sampling, each of the two chroma arrays has the same height and half the width of the luma array.
In 4:4:4 sampling, depending on the value of separate_colour_plane_flag, the following applies:
–    If separate_colour_plane_flag is equal to 0, each of the two chroma arrays has the same height and width as the luma
     array.
–    Otherwise (separate_colour_plane_flag is equal to 1), the three colour planes are separately processed as monochrome
     sampled pictures.
The number of bits necessary for the representation of each of the samples in the luma and chroma arrays in a video
sequence is in the range of 8 to 16, inclusive, and the number of bits used in the luma array may differ from the number of
bits used in the chroma arrays.
When the value of chroma_format_idc is equal to 1, the nominal vertical and horizontal relative locations of luma and
chroma samples in pictures are shown in Figure 6-1. Alternative chroma sample relative locations may be indicated in
video usability information (see Annex E).




      Figure 6-1 – Nominal vertical and horizontal locations of 4:2:0 luma and chroma samples in a picture
When the value of chroma_format_idc is equal to 2, the chroma samples are co-sited with the corresponding luma samples
and the nominal locations in a picture are as shown in Figure 6-2.


22         Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7          Filed 04/07/25           Page 44 of 717 Page ID #:573




         Figure 6-2 – Nominal vertical and horizontal locations of 4:2:2 luma and chroma samples in a picture
When the value of chroma_format_idc is equal to 3, all array samples are co-sited for all cases of pictures and the nominal
locations in a picture are as shown in Figure 6-3.




         Figure 6-3 – Nominal vertical and horizontal locations of 4:4:4 luma and chroma samples in a picture

6.3          Partitioning of pictures, slices, slice segments, tiles, CTUs and CTBs
6.3.1        Partitioning of pictures into slices, slice segments and tiles
This clause specifies how a picture is partitioned into slices, slice segments and tiles. Pictures are divided into slices and
tiles. A slice is a sequence of one or more slice segments starting with an independent slice segment and containing all
subsequent dependent slice segments (if any) that precede the next independent slice segment (if any) within the same
picture. A slice segment is a sequence of CTUs. Likewise, a tile is a sequence of CTUs.
For example, a picture may be divided into two slices as shown in Figure 6-4. In this example, the first slice is composed
of an independent slice segment containing 4 CTUs, a dependent slice segment containing 32 CTUs and another dependent
slice segment containing 24 CTUs; and the second slice consists of a single independent slice segment containing the
remaining 39 CTUs of the picture.
As another example, a picture may be divided into two tiles separated by a vertical tile boundary as shown in Figure 6-5.
The left side of the figure illustrates a case in which the picture only contains one slice, starting with an independent slice
segment and followed by four dependent slice segments. The right side of the figure illustrates an alternative case in which
the picture contains two slices in the first tile and one slice in the second tile.
Unlike slices, tiles are always rectangular. A tile always contains an integer number of CTUs, and may consist of CTUs
contained in more than one slice. Similarly, a slice may consist of CTUs contained in more than one tile.
One or both of the following conditions shall be fulfilled for each slice and tile:
–       All CTUs in a slice belong to the same tile.


                                                                                Rec. ITU-T H.265 v8 (08/2021)              23
 Case 2:25-cv-03053                  Document 1-7              Filed 04/07/25            Page 45 of 717 Page ID #:574


–       All CTUs in a tile belong to the same slice.
     NOTE 1 – Within the same picture, there may be both slices that contain multiple tiles and tiles that contain multiple slices.

One or both of the following conditions shall be fulfilled for each slice segment and tile:
–       All CTUs in a slice segment belong to the same tile.
–       All CTUs in a tile belong to the same slice segment.
When a picture is coded using three separate colour planes (separate_colour_plane_flag is equal to 1), a slice contains only
CTBs of one colour component being identified by the corresponding value of colour_plane_id, and each colour component
array of a picture consists of slices having the same colour_plane_id value. Coded slices with different values of
colour_plane_id within a picture may be interleaved with each other under the constraint that for each value of
colour_plane_id, the coded slice segment NAL units with that value of colour_plane_id shall be in the order of increasing
CTB address in tile scan order for the first CTB of each coded slice segment NAL unit.
     NOTE 2 – When separate_colour_plane_flag is equal to 0, each CTB of a picture is contained in exactly one slice. When
     separate_colour_plane_flag is equal to 1, each CTB of a colour component is contained in exactly one slice (i.e., information for
     each CTB of a picture is present in exactly three slices and these three slices have different values of colour_plane_id).




 Figure 6-4 – A picture with 11 by 9 luma CTBs that is partitioned into two slices, the first of which is partitioned
                                       into three slice segments (informative)




        Figure 6-5 – A picture with 11 by 9 luma CTBs that is partitioned into two tiles and one slice (left) or is
                            partitioned into two tiles and three slices (right) (informative)

6.3.2        Block and quadtree structures
The samples are processed in units of CTBs. The array size for each luma CTB in both width and height is CtbSizeY in
units of samples. The width and height of the array for each chroma CTB are CtbWidthC and CtbHeightC, respectively,
in units of samples.
Each CTB is assigned a partition signalling to identify the block sizes for intra or inter prediction and for transform coding.
The partitioning is a recursive quadtree partitioning. The root of the quadtree is associated with the CTB. The quadtree is
split until a leaf is reached, which is referred to as the coding block. When the component width is not an integer number
of the CTB size, the CTBs at the right component boundary are incomplete. When the component height is not an integer
multiple of the CTB size, the CTBs at the bottom component boundary are incomplete.




24            Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 46 of 717 Page ID #:575


The coding block is the root node of two trees, the prediction tree and the transform tree. The prediction tree specifies the
position and size of prediction blocks. The transform tree specifies the position and size of transform blocks. The splitting
information for luma and chroma is identical for the prediction tree and may or may not be identical for the transform tree.
The blocks and associated syntax structures are grouped into "unit" structures as follows:
– One prediction block (monochrome picture or separate_colour_plane_flag is equal to 1) or three prediction blocks
  (luma and chroma components of a picture in 4:2:0 or 4:4:4 colour format) or five prediction blocks (luma and chroma
  components of a picture in 4:2:2 colour format) and the associated prediction syntax structures units are associated with
  a prediction unit.
– One transform block (monochrome picture or separate_colour_plane_flag is equal to 1) or three transform blocks (luma
  and chroma components of a picture in 4:2:0 or 4:4:4 colour format) or five transform blocks (luma and chroma
  components of a picture in 4:2:2 colour format) and the associated transform syntax structures units are associated with
  a transform unit.
– One coding block (monochrome picture or separate_colour_plane_flag is equal to 1) or three coding blocks (luma and
  chroma), the associated coding syntax structures and the associated prediction and transform units are associated with
  a coding unit.
– One CTB (monochrome picture or separate_colour_plane_flag is equal to 1) or three CTBs (luma and chroma), the
  associated coding tree syntax structures and the associated coding units are associated with a CTU.

6.3.3     Spatial or component-wise partitionings
The following divisions of processing elements of this Specification form spatial or component-wise partitionings:
– The division of each picture into components
– The division of each component into CTBs
– The division of each picture into tile columns
– The division of each picture into tile rows
– The division of each tile column into tiles
– The division of each tile row into tiles
– The division of each tile into CTUs
– The division of each picture into slices
– The division of each slice into slice segments
– The division of each slice segment into CTUs
– The division of each CTU into CTBs
– The division of each CTB into coding blocks, except that the CTBs are incomplete at the right component boundary
  when the component width is not an integer multiple of the CTB size and the CTBs are incomplete at the bottom
  component boundary when the component height is not an integer multiple of the CTB size
– The division of each CTU into coding units, except that the CTUs are incomplete at the right picture boundary when
  the picture width in luma samples is not an integer multiple of the luma CTB size and the CTUs are incomplete at the
  bottom picture boundary when the picture height in luma samples is not an integer multiple of the luma CTB size
– The division of each coding unit into prediction units
– The division of each coding unit into transform units
– The division of each coding unit into coding blocks
– The division of each coding block into prediction blocks
– The division of each coding block into transform blocks
– The division of each prediction unit into prediction blocks
– The division of each transform unit into transform blocks.




                                                                               Rec. ITU-T H.265 v8 (08/2021)             25
 Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 47 of 717 Page ID #:576


6.4        Availability processes
6.4.1      Derivation process for z-scan order block availability
Inputs to this process are:
–     The luma location ( xCurr, yCurr ) of the top-left sample of the current block relative to the top-left luma sample of
      the current picture
–     The luma location ( xNbY, yNbY ) covered by a neighbouring block relative to the top-left luma sample of the current
      picture.
Output of this process is the availability of the neighbouring block covering the location ( xNbY, yNbY ), denoted as
availableN.
The minimum luma block address in z-scan order minBlockAddrCurr of the current block is derived as follows:

          minBlockAddrCurr = MinTbAddrZs[ xCurr >> MinTbLog2SizeY ][ yCurr >> MinTbLog2SizeY ]
          (6-1)

The minimum luma block address in z-scan order minBlockAddrN of the neighbouring block covering the location
( xNbY, yNbY ) is derived as follows:
– If one or more of the following conditions are true, minBlockAddrN is set equal to −1:
      –   xNbY is less than 0
      –   yNbY is less than 0
      –   xNbY is greater than or equal to pic_width_in_luma_samples
      –   yNbY is greater than or equal to pic_height_in_luma_samples
– Otherwise (xNbY and yNbY are inside the picture boundaries),

          minBlockAddrN = MinTbAddrZs[ xNbY >> MinTbLog2SizeY ][ yNbY >> MinTbLog2SizeY ]
          (6-2)

The neighbouring block availability availableN is derived as follows:
– If one or more of the following conditions are true, availableN is set equal to FALSE:
      –   minBlockAddrN is less than 0,
      –   minBlockAddrN is greater than minBlockAddrCurr,
      –   the variable SliceAddrRs associated with the slice segment containing the neighbouring block with the minimum
          luma block address minBlockAddrN differs in value from the variable SliceAddrRs associated with the slice
          segment containing the current block with the minimum luma block address minBlockAddrCurr.
      –   the neighbouring block with the minimum luma block address minBlockAddrN is contained in a different tile than
          the current block with the minimum luma block address minBlockAddrCurr.
– Otherwise, availableN is set equal to TRUE.

6.4.2      Derivation process for prediction block availability
Inputs to this process are:
–     the luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma
      sample of the current picture,
–     a variable nCbS specifying the size of the current luma coding block,
–     the luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the top-left luma
      sample of the current picture,
–     two variables nPbW and nPbH specifying the width and the height of the current luma prediction block,
–     a variable partIdx specifying the partition index of the current prediction unit within the current coding unit,
–     the luma location ( xNbY, yNbY ) covered by a neighbouring prediction block relative to the top-left luma sample of
      the current picture.


26          Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7           Filed 04/07/25       Page 48 of 717 Page ID #:577


Output of this process is the availability of the neighbouring prediction block covering the location ( xNbY, yNbY ),
denoted as availableN is derived as follows:
The variable sameCb identifies whether the current luma prediction block and the neighbouring luma prediction block
cover the same luma coding block, and is derived as follows:
– If all of the following conditions are true, sameCb is set equal to TRUE:
      –   xCb is less than or equal than xNbY,
      –   yCb is less than or equal than yNbY,
      –   ( xCb + nCbS ) is greater than xNbY,
      –   ( yCb + nCbS ) is greater than yNbY.
– Otherwise, sameCb is set equal to FALSE.
The neighbouring prediction block availability availableN is derived as follows:
– If sameCb is equal to FALSE, the derivation process for z-scan order block availability as specified in clause 6.4.1 is
  invoked with ( xCurr, yCurr ) set equal to ( xPb, yPb ) and the luma location ( xNbY, yNbY ) as inputs, and the output
  is assigned to availableN.
– Otherwise, if all of the following conditions are true, availableN is set equal to FALSE:
      –   ( nPbW << 1 ) is equal to nCbS,
      –   ( nPbH << 1 ) is equal to nCbS,
      –   partIdx is equal to 1,
      –   ( yCb + nPbH ) is less than or equal to yNbY,
      –   ( xCb + nPbW ) is greater than xNbY.
– Otherwise, availableN is set equal to TRUE.
When availableN is equal to TRUE and CuPredMode[ xNbY ][ yNbY ] is equal to MODE_INTRA, availableN is set equal
to FALSE.

6.5         Scanning processes
6.5.1       CTB raster and tile scanning conversion process
The list colWidth[ i ] for i ranging from 0 to num_tile_columns_minus1, inclusive, specifying the width of the i-th tile
column in units of CTBs, is derived as follows:

           if( uniform_spacing_flag )
               for( i = 0; i <= num_tile_columns_minus1; i++ )
                  colWidth[ i ] = ( ( i + 1 ) * PicWidthInCtbsY ) / ( num_tile_columns_minus1 + 1 ) −
                                ( i * PicWidthInCtbsY ) / ( num_tile_columns_minus1 + 1 )
           else {
               colWidth[ num_tile_columns_minus1 ] = PicWidthInCtbsY                                                 (6-3)
               for( i = 0; i < num_tile_columns_minus1; i++ ) {
                  colWidth[ i ] = column_width_minus1[ i ] + 1
                  colWidth[ num_tile_columns_minus1 ] −= colWidth[ i ]
               }
           }

The list rowHeight[ j ] for j ranging from 0 to num_tile_rows_minus1, inclusive, specifying the height of the j-th tile row
in units of CTBs, is derived as follows:

           if( uniform_spacing_flag )
               for( j = 0; j <= num_tile_rows_minus1; j++ )
                  rowHeight[ j ] = ( ( j + 1 ) * PicHeightInCtbsY ) / ( num_tile_rows_minus1 + 1 ) −
                               ( j * PicHeightInCtbsY ) / ( num_tile_rows_minus1 + 1 )
           else {
               rowHeight[ num_tile_rows_minus1 ] = PicHeightInCtbsY                                                  (6-4)


                                                                              Rec. ITU-T H.265 v8 (08/2021)            27
 Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 49 of 717 Page ID #:578


               for( j = 0; j < num_tile_rows_minus1; j++ ) {
                  rowHeight[ j ] = row_height_minus1[ j ] + 1
                  rowHeight[ num_tile_rows_minus1 ] −= rowHeight[ j ]
               }
          }

The list colBd[ i ] for i ranging from 0 to num_tile_columns_minus1 + 1, inclusive, specifying the location of the i-th tile
column boundary in units of CTBs, is derived as follows:

          for( colBd[ 0 ] = 0, i = 0; i <= num_tile_columns_minus1; i++ )
                 colBd[ i + 1 ] = colBd[ i ] + colWidth[ i ]
             (6-5)

The list rowBd[ j ] for j ranging from 0 to num_tile_rows_minus1 + 1, inclusive, specifying the location of the j-th tile row
boundary in units of CTBs, is derived as follows:

          for( rowBd[ 0 ] = 0, j = 0; j <= num_tile_rows_minus1; j++ )
             rowBd[ j + 1 ] = rowBd[ j ] + rowHeight[ j ]
             (6-6)

The list CtbAddrRsToTs[ ctbAddrRs ] for ctbAddrRs ranging from 0 to PicSizeInCtbsY − 1, inclusive, specifying the
conversion from a CTB address in CTB raster scan of a picture to a CTB address in tile scan, is derived as follows:

          for( ctbAddrRs = 0; ctbAddrRs < PicSizeInCtbsY; ctbAddrRs++ ) {
              tbX = ctbAddrRs % PicWidthInCtbsY
              tbY = ctbAddrRs / PicWidthInCtbsY
              for( i = 0; i <= num_tile_columns_minus1; i++ )
                 if( tbX >= colBd[ i ] )
                     tileX = i
              for( j = 0; j <= num_tile_rows_minus1; j++ )
              (6-7)
                 if( tbY >= rowBd[ j ] )
                     tileY = j
              CtbAddrRsToTs[ ctbAddrRs ] = 0
              for( i = 0; i < tileX; i++ )
                 CtbAddrRsToTs[ ctbAddrRs ] += rowHeight[ tileY ] * colWidth[ i ]
              for( j = 0; j < tileY; j++ )
                 CtbAddrRsToTs[ ctbAddrRs ] += PicWidthInCtbsY * rowHeight[ j ]
              CtbAddrRsToTs[ ctbAddrRs ] += ( tbY − rowBd[ tileY ]
          ) * colWidth[ tileX ] + tbX − colBd[ tileX ]
          }

The list CtbAddrTsToRs[ ctbAddrTs ] for ctbAddrTs ranging from 0 to PicSizeInCtbsY − 1, inclusive, specifying the
conversion from a CTB address in tile scan to a CTB address in CTB raster scan of a picture, is derived as follows:

          for( ctbAddrRs = 0; ctbAddrRs < PicSizeInCtbsY; ctbAddrRs++ )                                               (6-8)
             CtbAddrTsToRs[ CtbAddrRsToTs[ ctbAddrRs ] ] = ctbAddrRs

The list TileId[ ctbAddrTs ] for ctbAddrTs ranging from 0 to PicSizeInCtbsY − 1, inclusive, specifying the conversion
from a CTB address in tile scan to a tile ID, is derived as follows:

          for( j = 0, tileIdx = 0; j <= num_tile_rows_minus1; j++ )
             for( i = 0; i <= num_tile_columns_minus1; i++, tileIdx++ )
                 for( y = rowBd[ j ]; y < rowBd[ j + 1 ]; y++ )                                                       (6-9)
                    for( x = colBd[ i ]; x < colBd[ i + 1 ]; x++ )
                              TileId[ CtbAddrRsToTs[ y * PicWidthInCtbsY+ x ] ] = tileIdx

The values of ColumnWidthInLumaSamples[ i ], specifying the width of the i-th tile column in units of luma samples, are
set equal to colWidth[ i ] << CtbLog2SizeY for i ranging from 0 to num_tile_columns_minus1, inclusive.



28            Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053               Document 1-7         Filed 04/07/25          Page 50 of 717 Page ID #:579


The values of RowHeightInLumaSamples[ j ], specifying the height of the j-th tile row in units of luma samples, are set
equal to rowHeight[ j ] << CtbLog2SizeY for j ranging from 0 to num_tile_rows_minus1, inclusive.

6.5.2    Z-scan order array initialization process
The     array   MinTbAddrZs      with   elements     MinTbAddrZs[ x ][ y ]       for    x    ranging  from  0     to
( PicWidthInCtbsY << ( CtbLog2SizeY − MinTbLog2SizeY ) ) − 1, inclusive, and y ranging from 0 to
( PicHeightInCtbsY << ( CtbLog2SizeY − MinTbLog2SizeY ) ) − 1, specifying the conversion from a location ( x, y ) in
units of minimum blocks to a minimum block address in z-scan order, inclusive, is derived as follows:

          for( y = 0; y < ( PicHeightInCtbsY << ( CtbLog2SizeY − MinTbLog2SizeY ) ); y++ )
             for( x = 0; x < ( PicWidthInCtbsY << ( CtbLog2SizeY − MinTbLog2SizeY ) ); x++) {
                 tbX = ( x << MinTbLog2SizeY ) >> CtbLog2SizeY
                 tbY = ( y << MinTbLog2SizeY ) >> CtbLog2SizeY
                 ctbAddrRs = PicWidthInCtbsY * tbY + tbX
                 MinTbAddrZs[ x ][ y ] = CtbAddrRsToTs[ ctbAddrRs ] <<                                             (6-10)
                         ( ( CtbLog2SizeY − MinTbLog2SizeY ) * 2 )
                 for( i = 0, p = 0; i < ( CtbLog2SizeY − MinTbLog2SizeY ); i++ ) {
                    m = 1 << i
                    p += ( m & x ? m * m : 0 ) + ( m & y ? 2 * m * m : 0 )
                 }
                 MinTbAddrZs[ x ][ y ] += p
             }

6.5.3      Up-right diagonal scan order array initialization process
Input to this process is a block size blkSize.
Output of this process is the array diagScan[ sPos ][ sComp ]. The array index sPos specify the scan position ranging from
0 to ( blkSize * blkSize ) − 1. The array index sComp equal to 0 specifies the horizontal component and the array index
sComp equal to 1 specifies the vertical component. Depending on the value of blkSize, the array diagScan is derived as
follows:

          i=0
          x=0
          y=0
          stopLoop = FALSE
          while( !stopLoop ) {
             while( y >= 0 ) {
                 if( x < blkSize && y < blkSize ) {                                                                (6-11)
                     diagScan[ i ][ 0 ] = x
                     diagScan[ i ][ 1 ] = y
                     i++
                 }
                 y− −
                 x++
             }
             y=x
             x=0
             if( i >= blkSize * blkSize )
                 stopLoop = TRUE
          }

6.5.4      Horizontal scan order array initialization process
Input to this process is a block size blkSize.
Output of this process is the array horScan[ sPos ][ sComp ]. The array index sPos specifies the scan position ranging from
0 to ( blkSize * blkSize ) − 1. The array index sComp equal to 0 specifies the horizontal component and the array index
sComp equal to 1 specifies the vertical component. Depending on the value of blkSize, the array horScan is derived as
follows:




                                                                             Rec. ITU-T H.265 v8 (08/2021)             29
 Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25           Page 51 of 717 Page ID #:580


            i=0
            for( y = 0; y < blkSize; y++ )
               for( x = 0; x < blkSize; x++ ) {
                   horScan[ i ][ 0 ] = x                                                                                       (6-12)
                   horScan[ i ][ 1 ] = y
                   i++
               }

6.5.5        Vertical scan order array initialization process
Input to this process is a block size blkSize.
Output of this process is the array verScan[ sPos ][ sComp ]. The array index sPos specifies the scan position ranging from
0 to ( blkSize * blkSize ) − 1. The array index sComp equal to 0 specifies the horizontal component and the array index
sComp equal to 1 specifies the vertical component. Depending on the value of blkSize, the array verScan is derived as
follows:

            i=0
            for( x = 0; x < blkSize; x++ )
               for( y = 0; y < blkSize; y++ ) {
                   verScan[ i ][ 0 ] = x                                                                                       (6-13)
                   verScan[ i ][ 1 ] = y
                   i++
               }

6.5.6        Traverse scan order array initialization process
Input to this process is a block size blkSize.
Output of this process is the array travScan[ sPos ][ sComp ]. The array index sPos specifies the scan position ranging from
0 to ( blkSize * blkSize ) − 1, inclusive. The array index sComp equal to 0 specifies the horizontal component and the array
index sComp equal to 1 specifies the vertical component. Depending on the value of blkSize, the array travScan is derived
as follows:

            i=0
            for( y = 0; y < blkSize; y++ )
               if( y % 2 = = 0 )
                   for( x = 0; x < blkSize; x++ ) {
                      travScan[ i ][ 0 ] = x
                      travScan[ i ][ 1 ] = y
                      i++
                   }
               else                                                                                                            (6-14)
                   for( x = blkSize − 1; x >= 0; x− − ) {
                      travScan[ i ][ 0 ] = x
                      travScan[ i ][ 1 ] = y
                      i++
                   }


7            Syntax and semantics
7.1          Method of specifying syntax in tabular form
The syntax tables specify a superset of the syntax of all allowed bitstreams. Additional constraints on the syntax may be
specified, either directly or indirectly, in other clauses.
      NOTE – An actual decoder should implement some means for identifying entry points into the bitstream and some means to identify
      and handle non-conforming bitstreams. The methods for identifying and handling errors and other such situations are not specified
      in this Specification.

The following table lists examples of the syntax specification format. When syntax_element appears, it specifies that a
syntax element is parsed from the bitstream and the bitstream pointer is advanced to the next position beyond the syntax
element in the bitstream parsing process.


30            Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 52 of 717 Page ID #:581


                                                                                                                Descriptor
      /* A statement can be a syntax element with an associated descriptor or can be an expression
      used to specify conditions for the existence, type and quantity of syntax elements, as in the
      following two examples */
      syntax_element                                                                                                ue(v)
      conditioning statement

      /* A group of statements enclosed in curly brackets is a compound statement and is treated
      functionally as a single statement. */
      {
         statement
         statement
         ...
      }

      /* A "while" structure specifies a test of whether a condition is true, and if true, specifies
      evaluation of a statement (or compound statement) repeatedly until the condition is no longer
      true */
      while( condition )
         statement

      /* A "do ... while" structure specifies evaluation of a statement once, followed by a test of
      whether a condition is true, and if true, specifies repeated evaluation of the statement until the
      condition is no longer true */
      do
         statement
      while( condition )

      /* An "if ... else" structure specifies a test of whether a condition is true and, if the condition is
      true, specifies evaluation of a primary statement, otherwise, specifies evaluation of an
      alternative statement. The "else" part of the structure and the associated alternative statement is
      omitted if no alternative statement evaluation is needed */
      if( condition )
          primary statement
      else
          alternative statement

      /* A "for" structure specifies evaluation of an initial statement, followed by a test of a
      condition, and if the condition is true, specifies repeated evaluation of a primary statement
      followed by a subsequent statement until the condition is no longer true. */
      for( initial statement; condition; subsequent statement )
         primary statement

7.2         Specification of syntax functions and descriptors
The functions presented here are used in the syntactical description. These functions are expressed in terms of the value of
a bitstream pointer that indicates the position of the next bit to be read by the decoding process from the bitstream.
byte_aligned( ) is specified as follows:
      –   If the current position in the bitstream is on a byte boundary, i.e., the next bit in the bitstream is the first bit in a
          byte, the return value of byte_aligned( ) is equal to TRUE.
      –   Otherwise, the return value of byte_aligned( ) is equal to FALSE.




                                                                                   Rec. ITU-T H.265 v8 (08/2021)               31
 Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 53 of 717 Page ID #:582


more_data_in_byte_stream( ), which is used only in the byte stream NAL unit syntax structure specified in Annex B, is
specified as follows:
     –   If more data follow in the byte stream, the return value of more_data_in_byte_stream( ) is equal to TRUE.
     –   Otherwise, the return value of more_data_in_byte_stream( ) is equal to FALSE.
more_data_in_payload( ) is specified as follows:
     –   If byte_aligned( ) is equal to TRUE and the current position in the sei_payload( ) syntax structure is
         8 * payloadSize bits from the beginning of the sei_payload( ) syntax structure, the return value of
         more_data_in_payload( ) is equal to FALSE.
     –   Otherwise, the return value of more_data_in_payload( ) is equal to TRUE.
more_rbsp_data( ) is specified as follows:
     –   If there is no more data in the raw byte sequence payload (RBSP), the return value of more_rbsp_data( ) is equal
         to FALSE.
     –   Otherwise, the RBSP data are searched for the last (least significant, right-most) bit equal to 1 that is present in
         the RBSP. Given the position of this bit, which is the first bit (rbsp_stop_one_bit) of the rbsp_trailing_bits( )
         syntax structure, the following applies:
         –    If there is more data in an RBSP before the rbsp_trailing_bits( ) syntax structure, the return value of
              more_rbsp_data( ) is equal to TRUE.
         –    Otherwise, the return value of more_rbsp_data( ) is equal to FALSE.
     The method for enabling determination of whether there is more data in the RBSP is specified by the application (or
     in Annex B for applications that use the byte stream format).
more_rbsp_trailing_data( ) is specified as follows:
     –   If there is more data in an RBSP, the return value of more_rbsp_trailing_data( ) is equal to TRUE.
     –   Otherwise, the return value of more_rbsp_trailing_data( ) is equal to FALSE.
next_bits( n ) provides the next bits in the bitstream for comparison purposes, without advancing the bitstream pointer. It
provides a look at the next n bits in the bitstream with n being its argument. When used within the byte stream format as
specified in Annex B and fewer than n bits remain within the byte stream, next_bits( n ) returns a value of 0.
payload_extension_present( ) is specified as follows:
     –   If the current position in the sei_payload( ) syntax structure is not the position of the last (least significant, right-
         most) bit that is equal to 1 that is less than 8 * payloadSize bits from the beginning of the syntax structure (i.e.,
         the position of the payload_bit_equal_to_one syntax element), the return value of payload_extension_present( )
         is equal to TRUE.
     –   Otherwise, the return value of payload_extension_present( ) is equal to FALSE.
pic_layer_id( picX ) returns the value of the nuh_layer_id of the VCL NAL units in the picture picX.
read_bits( n ) reads the next n bits from the bitstream and advances the bitstream pointer by n bit positions. When n is
equal to 0, read_bits( n ) is specified to return a value equal to 0 and to not advance the bitstream pointer.
The following descriptors specify the parsing process of each syntax element:
     –   ae(v): context-adaptive arithmetic entropy-coded syntax element. The parsing process for this descriptor is
         specified in clause 9.3.
     –   b(8): byte having any pattern of bit string (8 bits). The parsing process for this descriptor is specified by the return
         value of the function read_bits( 8 ).
     –   f(n): fixed-pattern bit string using n bits written (from left to right) with the left bit first. The parsing process for
         this descriptor is specified by the return value of the function read_bits( n ).
     –   i(n): signed integer using n bits. When n is "v" in the syntax table, the number of bits varies in a manner dependent
         on the value of other syntax elements. The parsing process for this descriptor is specified by the return value of
         the function read_bits( n ) interpreted as a two's complement integer representation with most significant bit
         written first.
     –   se(v): signed integer 0-th order Exp-Golomb-coded syntax element with the left bit first. The parsing process for
         this descriptor is specified in clause 9.2.


32           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 54 of 717 Page ID #:583


      –    st(v): null-terminated string encoded as universal coded character set (UCS) transmission format-8 (UTF-8)
           characters as specified in ISO/IEC 10646. The parsing process is specified as follows: st(v) begins at a byte-
           aligned position in the bitstream and reads and returns a series of bytes from the bitstream, beginning at the current
           position and continuing up to but not including the next byte-aligned byte that is equal to 0x00, and advances the
           bitstream pointer by ( stringLength + 1 ) * 8 bit positions, where stringLength is equal to the number of bytes
           returned.
                 NOTE – The st(v) syntax descriptor is only used in this Specification when the current position in the bitstream is a
                 byte-aligned position.

      –    u(n): unsigned integer using n bits. When n is "v" in the syntax table, the number of bits varies in a manner
           dependent on the value of other syntax elements. The parsing process for this descriptor is specified by the return
           value of the function read_bits( n ) interpreted as a binary representation of an unsigned integer with most
           significant bit written first.
      –    ue(v): unsigned integer 0-th order Exp-Golomb-coded syntax element with the left bit first. The parsing process
           for this descriptor is specified in clause 9.2.

7.3         Syntax in tabular form
7.3.1       NAL unit syntax

7.3.1.1     General NAL unit syntax


        nal_unit( NumBytesInNalUnit ) {                                                                            Descriptor
          nal_unit_header( )
          NumBytesInRbsp = 0
          for( i = 2; i < NumBytesInNalUnit; i++ )
             if( i + 2 < NumBytesInNalUnit && next_bits( 24 ) = = 0x000003 ) {
                 rbsp_byte[ NumBytesInRbsp++ ]                                                                         b(8)
                 rbsp_byte[ NumBytesInRbsp++ ]                                                                         b(8)
                 i += 2
                 emulation_prevention_three_byte /* equal to 0x03 */                                                   f(8)
             } else
                 rbsp_byte[ NumBytesInRbsp++ ]                                                                         b(8)
        }



7.3.1.2     NAL unit header syntax


        nal_unit_header( ) {                                                                                       Descriptor
          forbidden_zero_bit                                                                                          f(1)
          nal_unit_type                                                                                               u(6)
          nuh_layer_id                                                                                                u(6)
          nuh_temporal_id_plus1                                                                                       u(3)
        }




                                                                                     Rec. ITU-T H.265 v8 (08/2021)                33
 Case 2:25-cv-03053              Document 1-7           Filed 04/07/25        Page 55 of 717 Page ID #:584


7.3.2       Raw byte sequence payloads, trailing bits and byte alignment syntax

7.3.2.1     Video parameter set RBSP syntax


        video_parameter_set_rbsp( ) {                                                               Descriptor
           vps_video_parameter_set_id                                                                  u(4)
           vps_base_layer_internal_flag                                                                u(1)
           vps_base_layer_available_flag                                                               u(1)
           vps_max_layers_minus1                                                                       u(6)
           vps_max_sub_layers_minus1                                                                   u(3)
           vps_temporal_id_nesting_flag                                                                u(1)
           vps_reserved_0xffff_16bits                                                                 u(16)
           profile_tier_level( 1, vps_max_sub_layers_minus1 )
           vps_sub_layer_ordering_info_present_flag                                                    u(1)
           for( i = ( vps_sub_layer_ordering_info_present_flag ? 0 : vps_max_sub_layers_minus1 );
                   i <= vps_max_sub_layers_minus1; i++ ) {
               vps_max_dec_pic_buffering_minus1[ i ]                                                  ue(v)
               vps_max_num_reorder_pics[ i ]                                                          ue(v)
               vps_max_latency_increase_plus1[ i ]                                                    ue(v)
           }
           vps_max_layer_id                                                                           u(6)
           vps_num_layer_sets_minus1                                                                  ue(v)
           for( i = 1; i <= vps_num_layer_sets_minus1; i++ )
               for( j = 0; j <= vps_max_layer_id; j++ )
                   layer_id_included_flag[ i ][ j ]                                                    u(1)
           vps_timing_info_present_flag                                                                u(1)
           if( vps_timing_info_present_flag ) {
               vps_num_units_in_tick                                                                  u(32)
               vps_time_scale                                                                         u(32)
               vps_poc_proportional_to_timing_flag                                                     u(1)
               if( vps_poc_proportional_to_timing_flag )
                   vps_num_ticks_poc_diff_one_minus1                                                  ue(v)
               vps_num_hrd_parameters                                                                 ue(v)
               for( i = 0; i < vps_num_hrd_parameters; i++ ) {
                   hrd_layer_set_idx[ i ]                                                             ue(v)
                   if( i > 0 )
                       cprms_present_flag[ i ]                                                         u(1)
                   hrd_parameters( cprms_present_flag[ i ], vps_max_sub_layers_minus1 )
               }
           }
           vps_extension_flag                                                                          u(1)
           if( vps_extension_flag )
               while( more_rbsp_data( ) )
                   vps_extension_data_flag                                                             u(1)
           rbsp_trailing_bits( )
        }




34           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053           Document 1-7          Filed 04/07/25         Page 56 of 717 Page ID #:585


7.3.2.2   Sequence parameter set RBSP syntax

7.3.2.2.1 General sequence parameter set RBSP syntax

     seq_parameter_set_rbsp( ) {                                                                 Descriptor
       sps_video_parameter_set_id                                                                   u(4)
       sps_max_sub_layers_minus1                                                                    u(3)
       sps_temporal_id_nesting_flag                                                                 u(1)
       profile_tier_level( 1, sps_max_sub_layers_minus1 )
       sps_seq_parameter_set_id                                                                     ue(v)
       chroma_format_idc                                                                            ue(v)
       if( chroma_format_idc = = 3 )
           separate_colour_plane_flag                                                               u(1)
       pic_width_in_luma_samples                                                                    ue(v)
       pic_height_in_luma_samples                                                                   ue(v)
       conformance_window_flag                                                                      u(1)
       if( conformance_window_flag ) {
           conf_win_left_offset                                                                     ue(v)
           conf_win_right_offset                                                                    ue(v)
           conf_win_top_offset                                                                      ue(v)
           conf_win_bottom_offset                                                                   ue(v)
       }
       bit_depth_luma_minus8                                                                        ue(v)
       bit_depth_chroma_minus8                                                                      ue(v)
       log2_max_pic_order_cnt_lsb_minus4                                                            ue(v)
       sps_sub_layer_ordering_info_present_flag                                                     u(1)
       for( i = ( sps_sub_layer_ordering_info_present_flag ? 0 : sps_max_sub_layers_minus1 );
               i <= sps_max_sub_layers_minus1; i++ ) {
           sps_max_dec_pic_buffering_minus1[ i ]                                                    ue(v)
           sps_max_num_reorder_pics[ i ]                                                            ue(v)
           sps_max_latency_increase_plus1[ i ]                                                      ue(v)
       }
       log2_min_luma_coding_block_size_minus3                                                       ue(v)
       log2_diff_max_min_luma_coding_block_size                                                     ue(v)
       log2_min_luma_transform_block_size_minus2                                                    ue(v)
       log2_diff_max_min_luma_transform_block_size                                                  ue(v)
       max_transform_hierarchy_depth_inter                                                          ue(v)
       max_transform_hierarchy_depth_intra                                                          ue(v)
       scaling_list_enabled_flag                                                                    u(1)
       if( scaling_list_enabled_flag ) {
          sps_scaling_list_data_present_flag                                                        u(1)
           if( sps_scaling_list_data_present_flag )
              scaling_list_data( )
       }
       amp_enabled_flag                                                                             u(1)
       sample_adaptive_offset_enabled_flag                                                          u(1)
       pcm_enabled_flag                                                                             u(1)
       if( pcm_enabled_flag ) {
           pcm_sample_bit_depth_luma_minus1                                                         u(4)
           pcm_sample_bit_depth_chroma_minus1                                                       u(4)


                                                                         Rec. ITU-T H.265 v8 (08/2021)        35
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25   Page 57 of 717 Page ID #:586


           log2_min_pcm_luma_coding_block_size_minus3                                       ue(v)
           log2_diff_max_min_pcm_luma_coding_block_size                                     ue(v)
           pcm_loop_filter_disabled_flag                                                    u(1)
         }
         num_short_term_ref_pic_sets                                                        ue(v)
         for( i = 0; i < num_short_term_ref_pic_sets; i++)
             st_ref_pic_set( i )
         long_term_ref_pics_present_flag                                                    u(1)
         if( long_term_ref_pics_present_flag ) {
             num_long_term_ref_pics_sps                                                     ue(v)
             for( i = 0; i < num_long_term_ref_pics_sps; i++ ) {
                lt_ref_pic_poc_lsb_sps[ i ]                                                 u(v)
                used_by_curr_pic_lt_sps_flag[ i ]                                           u(1)
             }
         }
         sps_temporal_mvp_enabled_flag                                                      u(1)
         strong_intra_smoothing_enabled_flag                                                u(1)
         vui_parameters_present_flag                                                        u(1)
         if( vui_parameters_present_flag )
             vui_parameters( )
         sps_extension_present_flag                                                         u(1)
         if( sps_extension_present_flag ) {
             sps_range_extension_flag                                                       u(1)
             sps_multilayer_extension_flag                                                  u(1)
             sps_3d_extension_flag                                                          u(1)
             sps_scc_extension_flag                                                         u(1)
             sps_extension_4bits                                                            u(4)
         }
         if( sps_range_extension_flag )
             sps_range_extension( )
         if( sps_multilayer_extension_flag )
             sps_multilayer_extension( ) /* specified in Annex F */
         if( sps_3d_extension_flag )
             sps_3d_extension( ) /* specified in Annex I */
         if( sps_scc_extension_flag )
             sps_scc_extension( )
         if( sps_extension_4bits )
             while( more_rbsp_data( ) )
                sps_extension_data_flag                                                     u(1)
         rbsp_trailing_bits( )
     }




36          Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 58 of 717 Page ID #:587


7.3.2.2.2 Sequence parameter set range extension syntax


     sps_range_extension( ) {                                                                        Descriptor
       transform_skip_rotation_enabled_flag                                                             u(1)
       transform_skip_context_enabled_flag                                                              u(1)
       implicit_rdpcm_enabled_flag                                                                      u(1)
       explicit_rdpcm_enabled_flag                                                                      u(1)
       extended_precision_processing_flag                                                               u(1)
       intra_smoothing_disabled_flag                                                                    u(1)
       high_precision_offsets_enabled_flag                                                              u(1)
       persistent_rice_adaptation_enabled_flag                                                          u(1)
       cabac_bypass_alignment_enabled_flag                                                              u(1)
     }



7.3.2.2.3 Sequence parameter set screen content coding extension syntax


     sps_scc_extension( ) {                                                                          Descriptor
       sps_curr_pic_ref_enabled_flag                                                                    u(1)
       palette_mode_enabled_flag                                                                        u(1)
       if( palette_mode_enabled_flag ) {
           palette_max_size                                                                             ue(v)
           delta_palette_max_predictor_size                                                             ue(v)
           sps_palette_predictor_initializers_present_flag                                              u(1)
           if( sps_palette_predictor_initializers_present_flag ) {
               sps_num_palette_predictor_initializers_minus1                                            ue(v)
               numComps = ( chroma_format_idc = = 0 ) ? 1 : 3
               for( comp = 0; comp < numComps; comp++ )
                  for( i = 0; i <= sps_num_palette_predictor_initializers_minus1; i++ )
                     sps_palette_predictor_initializer[ comp ][ i ]                                     u(v)
           }
       }
       motion_vector_resolution_control_idc                                                             u(2)
       intra_boundary_filtering_disabled_flag                                                           u(1)
     }



7.3.2.3   Picture parameter set RBSP syntax

7.3.2.3.1 General picture parameter set RBSP syntax


     pic_parameter_set_rbsp( ) {                                                                     Descriptor
        pps_pic_parameter_set_id                                                                       ue(v)
        pps_seq_parameter_set_id                                                                       ue(v)
        dependent_slice_segments_enabled_flag                                                           u(1)
        output_flag_present_flag                                                                        u(1)
        num_extra_slice_header_bits                                                                     u(3)
        sign_data_hiding_enabled_flag                                                                   u(1)
        cabac_init_present_flag                                                                         u(1)



                                                                             Rec. ITU-T H.265 v8 (08/2021)        37
Case 2:25-cv-03053           Document 1-7            Filed 04/07/25   Page 59 of 717 Page ID #:588


     num_ref_idx_l0_default_active_minus1                                                ue(v)
     num_ref_idx_l1_default_active_minus1                                                ue(v)
     init_qp_minus26                                                                     se(v)
     constrained_intra_pred_flag                                                         u(1)
     transform_skip_enabled_flag                                                         u(1)
     cu_qp_delta_enabled_flag                                                            u(1)
     if( cu_qp_delta_enabled_flag )
         diff_cu_qp_delta_depth                                                          ue(v)
     pps_cb_qp_offset                                                                    se(v)
     pps_cr_qp_offset                                                                    se(v)
     pps_slice_chroma_qp_offsets_present_flag                                            u(1)
     weighted_pred_flag                                                                  u(1)
     weighted_bipred_flag                                                                u(1)
     transquant_bypass_enabled_flag                                                      u(1)
     tiles_enabled_flag                                                                  u(1)
     entropy_coding_sync_enabled_flag                                                    u(1)
     if( tiles_enabled_flag ) {
         num_tile_columns_minus1                                                         ue(v)
         num_tile_rows_minus1                                                            ue(v)
         uniform_spacing_flag                                                            u(1)
         if( !uniform_spacing_flag ) {
             for( i = 0; i < num_tile_columns_minus1; i++ )
                column_width_minus1[ i ]                                                 ue(v)
             for( i = 0; i < num_tile_rows_minus1; i++ )
                row_height_minus1[ i ]                                                   ue(v)
         }
         loop_filter_across_tiles_enabled_flag                                           u(1)
     }
     pps_loop_filter_across_slices_enabled_flag                                          u(1)
     deblocking_filter_control_present_flag                                              u(1)
     if( deblocking_filter_control_present_flag ) {
         deblocking_filter_override_enabled_flag                                         u(1)
         pps_deblocking_filter_disabled_flag                                             u(1)
         if( !pps_deblocking_filter_disabled_flag ) {
             pps_beta_offset_div2                                                        se(v)
             pps_tc_offset_div2                                                          se(v)
         }
     }
     pps_scaling_list_data_present_flag                                                  u(1)
     if( pps_scaling_list_data_present_flag )
         scaling_list_data( )
     lists_modification_present_flag                                                     u(1)
     log2_parallel_merge_level_minus2                                                    ue(v)
     slice_segment_header_extension_present_flag                                         u(1)
     pps_extension_present_flag                                                          u(1)
     if( pps_extension_present_flag ) {
         pps_range_extension_flag                                                        u(1)
         pps_multilayer_extension_flag                                                   u(1)



38      Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053             Document 1-7           Filed 04/07/25    Page 60 of 717 Page ID #:589


          pps_3d_extension_flag                                                                    u(1)
          pps_scc_extension_flag                                                                   u(1)
          pps_extension_4bits                                                                      u(4)
        }
        if( pps_range_extension_flag )
            pps_range_extension( )
        if( pps_multilayer_extension_flag )
            pps_multilayer_extension( ) /* specified in Annex F */
        if( pps_3d_extension_flag )
            pps_3d_extension( ) /* specified in Annex I */
        if( pps_scc_extension_flag )
            pps_scc_extension( )
        if( pps_extension_4bits )
            while( more_rbsp_data( ) )
              pps_extension_data_flag                                                              u(1)
        rbsp_trailing_bits( )
    }



7.3.2.3.2 Picture parameter set range extension syntax


    pps_range_extension( ) {                                                                    Descriptor
      if( transform_skip_enabled_flag )
          log2_max_transform_skip_block_size_minus2                                                ue(v)
      cross_component_prediction_enabled_flag                                                      u(1)
      chroma_qp_offset_list_enabled_flag                                                           u(1)
      if( chroma_qp_offset_list_enabled_flag ) {
          diff_cu_chroma_qp_offset_depth                                                           ue(v)
          chroma_qp_offset_list_len_minus1                                                         ue(v)
          for( i = 0; i <= chroma_qp_offset_list_len_minus1; i++ ) {
             cb_qp_offset_list[ i ]                                                                se(v)
             cr_qp_offset_list[ i ]                                                                se(v)
          }
      }
      log2_sao_offset_scale_luma                                                                   ue(v)
      log2_sao_offset_scale_chroma                                                                 ue(v)
    }




                                                                        Rec. ITU-T H.265 v8 (08/2021)        39
 Case 2:25-cv-03053              Document 1-7             Filed 04/07/25           Page 61 of 717 Page ID #:590


7.3.2.3.3 Picture parameter set screen content coding extension syntax


     pps_scc_extension( ) {                                                                         Descriptor
       pps_curr_pic_ref_enabled_flag                                                                   u(1)
       residual_adaptive_colour_transform_enabled_flag                                                 u(1)
       if( residual_adaptive_colour_transform_enabled_flag ) {
           pps_slice_act_qp_offsets_present_flag                                                      u(1)
           pps_act_y_qp_offset_plus5                                                                  se(v)
           pps_act_cb_qp_offset_plus5                                                                 se(v)
           pps_act_cr_qp_offset_plus3                                                                 se(v)
       }
       pps_palette_predictor_initializers_present_flag                                                 u(1)
       if( pps_palette_predictor_initializers_present_flag ) {
           pps_num_palette_predictor_initializers                                                     ue(v)
           if( pps_num_palette_predictor_initializers > 0 ) {
               monochrome_palette_flag                                                                u(1)
               luma_bit_depth_entry_minus8                                                            ue(v)
               if( !monochrome_palette_flag )
                   chroma_bit_depth_entry_minus8                                                      ue(v)
               numComps = monochrome_palette_flag ? 1 : 3
               for( comp = 0; comp < numComps; comp++ )
                   for( i = 0; i < pps_num_palette_predictor_initializers; i++ )
                      pps_palette_predictor_initializer[ comp ][ i ]                                   u(v)
           }
       }
     }



7.3.2.4   Supplemental enhancement information RBSP syntax


     sei_rbsp( ) {                                                                                  Descriptor
        do
           sei_message( )
        while( more_rbsp_data( ) )
        rbsp_trailing_bits( )
     }



7.3.2.5   Access unit delimiter RBSP syntax


     access_unit_delimiter_rbsp( ) {                                                                Descriptor
       pic_type                                                                                        u(3)
       rbsp_trailing_bits( )
     }




40         Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053             Document 1-7         Filed 04/07/25    Page 62 of 717 Page ID #:591


7.3.2.6   End of sequence RBSP syntax


     end_of_seq_rbsp( ) {                                                                     Descriptor
     }



7.3.2.7   End of bitstream RBSP syntax


     end_of_bitstream_rbsp( ) {                                                               Descriptor
     }



7.3.2.8   Filler data RBSP syntax


     filler_data_rbsp( ) {                                                                    Descriptor
         while( next_bits( 8 ) = = 0xFF )
            ff_byte /* equal to 0xFF */                                                          f(8)
         rbsp_trailing_bits( )
     }



7.3.2.9   Slice segment layer RBSP syntax


     slice_segment_layer_rbsp( ) {                                                            Descriptor
        slice_segment_header( )
        slice_segment_data( )
        rbsp_slice_segment_trailing_bits( )
     }



7.3.2.10 RBSP slice segment trailing bits syntax


     rbsp_slice_segment_trailing_bits( ) {                                                    Descriptor
        rbsp_trailing_bits( )
        while( more_rbsp_trailing_data( ) )
           cabac_zero_word /* equal to 0x0000 */                                                 f(16)
     }



7.3.2.11 RBSP trailing bits syntax


     rbsp_trailing_bits( ) {                                                                  Descriptor
        rbsp_stop_one_bit /* equal to 1 */                                                       f(1)
        while( !byte_aligned( ) )
          rbsp_alignment_zero_bit /* equal to 0 */                                               f(1)
     }




                                                                      Rec. ITU-T H.265 v8 (08/2021)        41
 Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25           Page 63 of 717 Page ID #:592


7.3.2.12 Byte alignment syntax


        byte_alignment( ) {                                                                             Descriptor
          alignment_bit_equal_to_one /* equal to 1 */                                                      f(1)
          while( !byte_aligned( ) )
             alignment_bit_equal_to_zero /* equal to 0 */                                                  f(1)
        }



7.3.3        Profile, tier and level syntax


        profile_tier_level( profilePresentFlag, maxNumSubLayersMinus1 ) {                               Descriptor
          if( profilePresentFlag ) {
              general_profile_space                                                                        u(2)
              general_tier_flag                                                                            u(1)
              general_profile_idc                                                                          u(5)
              for( j = 0; j < 32; j++ )
                  general_profile_compatibility_flag[ j ]                                                  u(1)
              general_progressive_source_flag                                                              u(1)
              general_interlaced_source_flag                                                               u(1)
              general_non_packed_constraint_flag                                                           u(1)
              general_frame_only_constraint_flag                                                           u(1)
              if( general_profile_idc = = 4 | | general_profile_compatibility_flag[ 4 ] | |
                  general_profile_idc = = 5 | | general_profile_compatibility_flag[ 5 ] | |
                  general_profile_idc = = 6 | | general_profile_compatibility_flag[ 6 ] | |
                  general_profile_idc = = 7 | | general_profile_compatibility_flag[ 7 ] | |
                  general_profile_idc = = 8 | | general_profile_compatibility_flag[ 8 ] | |
                  general_profile_idc = = 9 | | general_profile_compatibility_flag[ 9 ] | |
                  general_profile_idc = = 10 | | general_profile_compatibility_flag[ 10 ] | |
                  general_profile_idc = = 11 | | general_profile_compatibility_flag[ 11 ] ) {
                  /* The number of bits in this syntax structure is not affected by this condition */
                  general_max_12bit_constraint_flag                                                        u(1)
                  general_max_10bit_constraint_flag                                                        u(1)
                  general_max_8bit_constraint_flag                                                         u(1)
                  general_max_422chroma_constraint_flag                                                    u(1)
                  general_max_420chroma_constraint_flag                                                    u(1)
                  general_max_monochrome_constraint_flag                                                   u(1)
                  general_intra_constraint_flag                                                            u(1)
                  general_one_picture_only_constraint_flag                                                 u(1)
                  general_lower_bit_rate_constraint_flag                                                   u(1)
                  if( general_profile_idc = = 5 | | general_profile_compatibility_flag[ 5 ] | |
                      general_profile_idc = = 9 | | general_profile_compatibility_flag[ 9 ] | |
                      general_profile_idc = = 10 | | general_profile_compatibility_flag[ 10 ] | |
                      general_profile_idc = = 11 | | general_profile_compatibility_flag[ 11 ] ) {
                      general_max_14bit_constraint_flag                                                    u(1)
                      general_reserved_zero_33bits                                                        u(33)
                  } else
                      general_reserved_zero_34bits                                                        u(34)
              } else if( general_profile_idc = = 2 | | general_profile_compatibility_flag[ 2 ] ) {
                  general_reserved_zero_7bits                                                              u(7)
                  general_one_picture_only_constraint_flag                                                 u(1)



42            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7            Filed 04/07/25            Page 64 of 717 Page ID #:593


          general_reserved_zero_35bits                                                                  u(35)
      } else
          general_reserved_zero_43bits                                                                  u(43)
      if( general_profile_idc = = 1 | | general_profile_compatibility_flag[ 1 ] | |
          general_profile_idc = = 2 | | general_profile_compatibility_flag[ 2 ] | |
          general_profile_idc = = 3 | | general_profile_compatibility_flag[ 3 ] | |
          general_profile_idc = = 4 | | general_profile_compatibility_flag[ 4 ] | |
          general_profile_idc = = 5 | | general_profile_compatibility_flag[ 5 ] | |
          general_profile_idc = = 9 | | general_profile_compatibility_flag[ 9 ] | |
          general_profile_idc = = 11 | | general_profile_compatibility_flag[ 11 ] )
          /* The number of bits in this syntax structure is not affected by this condition */
          general_inbld_flag                                                                             u(1)
      else
          general_reserved_zero_bit                                                                      u(1)
    }
    general_level_idc                                                                                    u(8)
    for( i = 0; i < maxNumSubLayersMinus1; i++ ) {
        sub_layer_profile_present_flag[ i ]                                                              u(1)
        sub_layer_level_present_flag[ i ]                                                                u(1)
    }
    if( maxNumSubLayersMinus1 > 0 )
        for( i = maxNumSubLayersMinus1; i < 8; i++ )
            reserved_zero_2bits[ i ]                                                                     u(2)
    for( i = 0; i < maxNumSubLayersMinus1; i++ ) {
        if( sub_layer_profile_present_flag[ i ] ) {
            sub_layer_profile_space[ i ]                                                                 u(2)
            sub_layer_tier_flag[ i ]                                                                     u(1)
            sub_layer_profile_idc[ i ]                                                                   u(5)
            for( j = 0; j < 32; j++ )
                sub_layer_profile_compatibility_flag[ i ][ j ]                                           u(1)
            sub_layer_progressive_source_flag[ i ]                                                       u(1)
            sub_layer_interlaced_source_flag[ i ]                                                        u(1)
            sub_layer_non_packed_constraint_flag[ i ]                                                    u(1)
            sub_layer_frame_only_constraint_flag[ i ]                                                    u(1)
            if( sub_layer_profile_idc[ i ] = = 4 | |
                sub_layer_profile_compatibility_flag[ i ][ 4 ] | |
                sub_layer_profile_idc[ i ] = = 5 | |
                sub_layer_profile_compatibility_flag[ i ][ 5 ] | |
                sub_layer_profile_idc[ i ] = = 6 | |
                sub_layer_profile_compatibility_flag[ i ][ 6 ] | |
                sub_layer_profile_idc[ i ] = = 7 | |
                sub_layer_profile_compatibility_flag[ i ][ 7 ] | |
                sub_layer_profile_idc[ i ] = = 8 | |
                sub_layer_profile_compatibility_flag[ i ][ 8 ] | |
                sub_layer_profile_idc[ i ] = = 9 | |
                sub_layer_profile_compatibility_flag[ i ][ 9 ] | |
                sub_layer_profile_idc[ i ] = = 10 | |
                sub_layer_profile_compatibility_flag[ i ][ 10 ] | |
                sub_layer_profile_idc[ i ] = = 11 | |
                sub_layer_profile_compatibility_flag[ i ][ 11 ] ) {
                /* The number of bits in this syntax structure is not affected by this condition */
                sub_layer_max_12bit_constraint_flag[ i ]                                                 u(1)
                sub_layer_max_10bit_constraint_flag[ i ]                                                 u(1)
                sub_layer_max_8bit_constraint_flag[ i ]                                                  u(1)


                                                                              Rec. ITU-T H.265 v8 (08/2021)     43
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25          Page 65 of 717 Page ID #:594


                   sub_layer_max_422chroma_constraint_flag[ i ]                                          u(1)
                   sub_layer_max_420chroma_constraint_flag[ i ]                                          u(1)
                   sub_layer_max_monochrome_constraint_flag[ i ]                                         u(1)
                   sub_layer_intra_constraint_flag[ i ]                                                  u(1)
                   sub_layer_one_picture_only_constraint_flag[ i ]                                       u(1)
                   sub_layer_lower_bit_rate_constraint_flag[ i ]                                         u(1)
                   if( sub_layer_profile_idc[ i ] = = 5 | |
                       sub_layer_profile_compatibility_flag[ i ][ 5 ] | |
                       sub_layer_profile_idc[ i ] = = 9 | |
                       sub_layer_profile_compatibility_flag[ i ][ 9 ] | |
                       sub_layer_profile_idc[ i ] = = 10 | |
                       sub_layer_profile_compatibility_flag[ i ][ 10 ] | |
                       sub_layer_profile_idc[ i ] = = 11 | |
                       sub_layer_profile_compatibility_flag[ i ][ 11 ] ) {
                       sub_layer_max_14bit_constraint_flag[ i ]                                           u(1)
                       sub_layer_reserved_zero_33bits[ i ]                                               u(33)
                   } else
                       sub_layer_reserved_zero_34bits[ i ]                                               u(34)
               } else if( sub_layer_profile_idc[ i ] = = 2 | |
                            sub_layer_profile_compatibility_flag[ i ][ 2 ] ) {
                   sub_layer_reserved_zero_7bits[ i ]                                                     u(7)
                   sub_layer_one_picture_only_constraint_flag[ i ]                                        u(1)
                   sub_layer_reserved_zero_35bits[ i ]                                                   u(35)
               } else
                   sub_layer_reserved_zero_43bits[ i ]                                                   u(43)
               if( sub_layer_profile_idc[ i ] = = 1 | |
                   sub_layer_profile_compatibility_flag[ i ][ 1 ] | |
                   sub_layer_profile_idc[ i ] = = 2 | |
                   sub_layer_profile_compatibility_flag[ i ][ 2 ] | |
                   sub_layer_profile_idc[ i ] = = 3 | |
                   sub_layer_profile_compatibility_flag[ i ][ 3 ] | |
                   sub_layer_profile_idc[ i ] = = 4 | |
                   sub_layer_profile_compatibility_flag[ i ][ 4 ] | |
                   sub_layer_profile_idc[ i ] = = 5 | |
                   sub_layer_profile_compatibility_flag[ i ][ 5 ] | |
                   sub_layer_profile_idc[ i ] = = 9 | |
                   sub_layer_profile_compatibility_flag[ i ][ 9 ] | |
                   sub_layer_profile_idc[ i ] = = 11 | |
                   sub_layer_profile_compatibility_flag[ i ][ 11 ] )
                   /* The number of bits in this syntax structure is not affected by this condition */
                   sub_layer_inbld_flag[ i ]                                                             u(1)
               else
                   sub_layer_reserved_zero_bit[ i ]                                                      u(1)
             }
             if( sub_layer_level_present_flag[ i ] )
                 sub_layer_level_idc[ i ]                                                                u(8)
         }
     }




44           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 66 of 717 Page ID #:595


7.3.4        Scaling list data syntax


        scaling_list_data( ) {                                                                           Descriptor
           for( sizeId = 0; sizeId < 4; sizeId++ )
              for( matrixId = 0; matrixId < 6; matrixId += ( sizeId = = 3 ) ? 3 : 1 ) {
                 scaling_list_pred_mode_flag[ sizeId ][ matrixId ]                                          u(1)
                 if( !scaling_list_pred_mode_flag[ sizeId ][ matrixId ] )
                     scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ]                                ue(v)
                 else {
                     nextCoef = 8
                     coefNum = Min( 64, ( 1 << ( 4 + ( sizeId << 1 ) ) ) )
                     if( sizeId > 1 ) {
                         scaling_list_dc_coef_minus8[ sizeId − 2 ][ matrixId ]                              se(v)
                         nextCoef = scaling_list_dc_coef_minus8[ sizeId − 2 ][ matrixId ] + 8
                     }
                     for( i = 0; i < coefNum; i++ ) {
                         scaling_list_delta_coef                                                            se(v)
                         nextCoef = ( nextCoef + scaling_list_delta_coef + 256 ) % 256
                         ScalingList[ sizeId ][ matrixId ][ i ] = nextCoef
                     }
                 }
              }
        }



7.3.5        Supplemental enhancement information message syntax


        sei_message( ) {                                                                                 Descriptor
           payloadType = 0
           while( next_bits( 8 ) = = 0xFF ) {
              ff_byte /* equal to 0xFF */                                                                   f(8)
              payloadType += 255
           }
           last_payload_type_byte                                                                           u(8)
           payloadType += last_payload_type_byte
           payloadSize = 0
           while( next_bits( 8 ) = = 0xFF ) {
              ff_byte /* equal to 0xFF */                                                                   f(8)
              payloadSize += 255
           }
           last_payload_size_byte                                                                           u(8)
           payloadSize += last_payload_size_byte
           sei_payload( payloadType, payloadSize )
        }




                                                                                 Rec. ITU-T H.265 v8 (08/2021)        45
 Case 2:25-cv-03053             Document 1-7         Filed 04/07/25       Page 67 of 717 Page ID #:596


7.3.6       Slice segment header syntax

7.3.6.1     General slice segment header syntax


        slice_segment_header( ) {                                                          Descriptor
           first_slice_segment_in_pic_flag                                                    u(1)
           if( nal_unit_type >= BLA_W_LP && nal_unit_type <= RSV_IRAP_VCL23 )
               no_output_of_prior_pics_flag                                                  u(1)
           slice_pic_parameter_set_id                                                        ue(v)
           if( !first_slice_segment_in_pic_flag ) {
               if( dependent_slice_segments_enabled_flag )
                   dependent_slice_segment_flag                                               u(1)
               slice_segment_address                                                          u(v)
           }
           CuQpDeltaVal = 0
           if( !dependent_slice_segment_flag ) {
               for( i = 0; i < num_extra_slice_header_bits; i++ )
                   slice_reserved_flag[ i ]                                                  u(1)
               slice_type                                                                    ue(v)
               if( output_flag_present_flag )
                   pic_output_flag                                                            u(1)
               if( separate_colour_plane_flag = = 1 )
                   colour_plane_id                                                            u(2)
               if( nal_unit_type != IDR_W_RADL && nal_unit_type != IDR_N_LP ) {
                   slice_pic_order_cnt_lsb                                                    u(v)
                   short_term_ref_pic_set_sps_flag                                            u(1)
                   if( !short_term_ref_pic_set_sps_flag )
                       st_ref_pic_set( num_short_term_ref_pic_sets )
                   else if( num_short_term_ref_pic_sets > 1 )
                       short_term_ref_pic_set_idx                                             u(v)
                   if( long_term_ref_pics_present_flag ) {
                       if( num_long_term_ref_pics_sps > 0 )
                           num_long_term_sps                                                 ue(v)
                       num_long_term_pics                                                    ue(v)
                       for( i = 0; i < num_long_term_sps + num_long_term_pics; i++ ) {
                           if( i < num_long_term_sps ) {
                               if( num_long_term_ref_pics_sps > 1 )
                                   lt_idx_sps[ i ]                                            u(v)
                           } else {
                               poc_lsb_lt[ i ]                                                u(v)
                               used_by_curr_pic_lt_flag[ i ]                                  u(1)
                           }
                           delta_poc_msb_present_flag[ i ]                                    u(1)
                           if( delta_poc_msb_present_flag[ i ] )
                               delta_poc_msb_cycle_lt[ i ]                                   ue(v)
                       }
                   }
                   if( sps_temporal_mvp_enabled_flag )
                       slice_temporal_mvp_enabled_flag                                        u(1)


46           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053        Document 1-7           Filed 04/07/25        Page 68 of 717 Page ID #:597


      }
      if( sample_adaptive_offset_enabled_flag ) {
          slice_sao_luma_flag                                                                    u(1)
          if( ChromaArrayType != 0 )
              slice_sao_chroma_flag                                                              u(1)
      }
      if( slice_type = = P | | slice_type = = B ) {
          num_ref_idx_active_override_flag                                                       u(1)
          if( num_ref_idx_active_override_flag ) {
              num_ref_idx_l0_active_minus1                                                       ue(v)
              if( slice_type = = B )
                  num_ref_idx_l1_active_minus1                                                   ue(v)
          }
          if( lists_modification_present_flag && NumPicTotalCurr > 1 )
              ref_pic_lists_modification( )
          if( slice_type = = B )
              mvd_l1_zero_flag                                                                   u(1)
          if( cabac_init_present_flag )
              cabac_init_flag                                                                    u(1)
          if( slice_temporal_mvp_enabled_flag ) {
              if( slice_type = = B )
                  collocated_from_l0_flag                                                        u(1)
              if( ( collocated_from_l0_flag && num_ref_idx_l0_active_minus1 > 0 ) | |
                  ( !collocated_from_l0_flag && num_ref_idx_l1_active_minus1 > 0 ) )
                  collocated_ref_idx                                                             ue(v)
          }
          if( ( weighted_pred_flag && slice_type = = P ) | |
               ( weighted_bipred_flag && slice_type = = B ) )
            pred_weight_table( )
        five_minus_max_num_merge_cand                                                            ue(v)
        if( motion_vector_resolution_control_idc = = 2 )
            use_integer_mv_flag                                                                  u(1)
      }
      slice_qp_delta                                                                             se(v)
      if( pps_slice_chroma_qp_offsets_present_flag ) {
          slice_cb_qp_offset                                                                     se(v)
          slice_cr_qp_offset                                                                     se(v)
      }
      if( pps_slice_act_qp_offsets_present_flag ) {
          slice_act_y_qp_offset                                                                  se(v)
          slice_act_cb_qp_offset                                                                 se(v)
          slice_act_cr_qp_offset                                                                 se(v)
      }
      if( chroma_qp_offset_list_enabled_flag )
          cu_chroma_qp_offset_enabled_flag                                                       u(1)
      if( deblocking_filter_override_enabled_flag )
          deblocking_filter_override_flag                                                        u(1)




                                                                      Rec. ITU-T H.265 v8 (08/2021)      47
 Case 2:25-cv-03053              Document 1-7            Filed 04/07/25     Page 69 of 717 Page ID #:598


            if( deblocking_filter_override_flag ) {
                slice_deblocking_filter_disabled_flag                                           u(1)
                if( !slice_deblocking_filter_disabled_flag ) {
                    slice_beta_offset_div2                                                     se(v)
                    slice_tc_offset_div2                                                       se(v)
                }
            }
            if( pps_loop_filter_across_slices_enabled_flag &&
                ( slice_sao_luma_flag | | slice_sao_chroma_flag | |
                    !slice_deblocking_filter_disabled_flag ) )
                slice_loop_filter_across_slices_enabled_flag                                    u(1)
          }
          if( tiles_enabled_flag | | entropy_coding_sync_enabled_flag ) {
              num_entry_point_offsets                                                          ue(v)
              if( num_entry_point_offsets > 0 ) {
                  offset_len_minus1                                                            ue(v)
                  for( i = 0; i < num_entry_point_offsets; i++ )
                     entry_point_offset_minus1[ i ]                                             u(v)
              }
          }
          if( slice_segment_header_extension_present_flag ) {
              slice_segment_header_extension_length                                            ue(v)
              for( i = 0; i < slice_segment_header_extension_length; i++)
                  slice_segment_header_extension_data_byte[ i ]                                 u(8)
          }
          byte_alignment( )
     }



7.3.6.2     Reference picture list modification syntax


     ref_pic_lists_modification( ) {                                                         Descriptor
        ref_pic_list_modification_flag_l0                                                       u(1)
        if( ref_pic_list_modification_flag_l0 )
            for( i = 0; i <= num_ref_idx_l0_active_minus1; i++ )
                list_entry_l0[ i ]                                                              u(v)
        if( slice_type = = B ) {
            ref_pic_list_modification_flag_l1                                                   u(1)
            if( ref_pic_list_modification_flag_l1 )
                for( i = 0; i <= num_ref_idx_l1_active_minus1; i++ )
                   list_entry_l1[ i ]                                                           u(v)
        }
     }




48           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 70 of 717 Page ID #:599


7.3.6.3    Weighted prediction parameters syntax


     pred_weight_table( ) {                                                                               Descriptor
        luma_log2_weight_denom                                                                              ue(v)
        if( ChromaArrayType != 0 )
            delta_chroma_log2_weight_denom                                                                   se(v)
        for( i = 0; i <= num_ref_idx_l0_active_minus1; i++ )
            if( ( pic_layer_id( RefPicList0[ i ] ) != nuh_layer_id ) | |
                ( PicOrderCnt( RefPicList0[ i ] ) != PicOrderCnt( CurrPic ) ) )
                luma_weight_l0_flag[ i ]                                                                     u(1)
        if( ChromaArrayType != 0 )
            for( i = 0; i <= num_ref_idx_l0_active_minus1; i++ )
                if( ( pic_layer_id( RefPicList0[ i ] ) != nuh_layer_id ) | |
                    ( PicOrderCnt(RefPicList0[ i ]) != PicOrderCnt( CurrPic ) ) )
                      chroma_weight_l0_flag[ i ]                                                             u(1)
          for( i = 0; i <= num_ref_idx_l0_active_minus1; i++ ) {
              if( luma_weight_l0_flag[ i ] ) {
                  delta_luma_weight_l0[ i ]                                                                  se(v)
                  luma_offset_l0[ i ]                                                                        se(v)
              }
              if( chroma_weight_l0_flag[ i ] )
                  for( j = 0; j < 2; j++ ) {
                      delta_chroma_weight_l0[ i ][ j ]                                                       se(v)
                      delta_chroma_offset_l0[ i ][ j ]                                                       se(v)
                  }
          }
          if( slice_type = = B ) {
              for( i = 0; i <= num_ref_idx_l1_active_minus1; i++ )
                  if( ( pic_layer_id( RefPicList0[ i ] ) != nuh_layer_id ) | |
                      ( PicOrderCnt(RefPicList1[ i ]) != PicOrderCnt( CurrPic ) ) )
                      luma_weight_l1_flag[ i ]                                                               u(1)
              if( ChromaArrayType != 0 )
                  for( i = 0; i <= num_ref_idx_l1_active_minus1; i++ )
                      if( ( pic_layer_id( RefPicList0[ i ] ) != nuh_layer_id ) | |
                          ( PicOrderCnt(RefPicList1[ i ]) != PicOrderCnt( CurrPic ) ) )
                     chroma_weight_l1_flag[ i ]                                                              u(1)
            for( i = 0; i <= num_ref_idx_l1_active_minus1; i++ ) {
               if( luma_weight_l1_flag[ i ] ) {
                   delta_luma_weight_l1[ i ]                                                                 se(v)
                   luma_offset_l1[ i ]                                                                       se(v)
               }




                                                                                  Rec. ITU-T H.265 v8 (08/2021)        49
 Case 2:25-cv-03053                   Document 1-7            Filed 04/07/25   Page 71 of 717 Page ID #:600


                    if( chroma_weight_l1_flag[ i ] )
                        for( j = 0; j < 2; j++ ) {
                           delta_chroma_weight_l1[ i ][ j ]                                       se(v)
                           delta_chroma_offset_l1[ i ][ j ]                                       se(v)
                        }
                }
            }
        }



7.3.7           Short-term reference picture set syntax


        st_ref_pic_set( stRpsIdx ) {                                                            Descriptor
           if( stRpsIdx != 0 )
               inter_ref_pic_set_prediction_flag                                                   u(1)
           if( inter_ref_pic_set_prediction_flag ) {
               if( stRpsIdx = = num_short_term_ref_pic_sets )
                   delta_idx_minus1                                                               ue(v)
               delta_rps_sign                                                                     u(1)
               abs_delta_rps_minus1                                                               ue(v)
               for( j = 0; j <= NumDeltaPocs[ RefRpsIdx ]; j++ ) {
                   used_by_curr_pic_flag[ j ]                                                      u(1)
                   if( !used_by_curr_pic_flag[ j ] )
                       use_delta_flag[ j ]                                                         u(1)
               }
           } else {
               num_negative_pics                                                                  ue(v)
               num_positive_pics                                                                  ue(v)
               for( i = 0; i < num_negative_pics; i++ ) {
                   delta_poc_s0_minus1[ i ]                                                       ue(v)
                   used_by_curr_pic_s0_flag[ i ]                                                  u(1)
               }
               for( i = 0; i < num_positive_pics; i++ ) {
                   delta_poc_s1_minus1[ i ]                                                       ue(v)
                   used_by_curr_pic_s1_flag[ i ]                                                  u(1)
               }
           }
        }




50              Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053               Document 1-7           Filed 04/07/25        Page 72 of 717 Page ID #:601


7.3.8        Slice segment data syntax

7.3.8.1      General slice segment data syntax


        slice_segment_data( ) {                                                                        Descriptor
           do {
              coding_tree_unit( )
              end_of_slice_segment_flag                                                                  ae(v)
              CtbAddrInTs++
              CtbAddrInRs = CtbAddrTsToRs[ CtbAddrInTs ]
              if( !end_of_slice_segment_flag &&
                  ( ( tiles_enabled_flag && TileId[ CtbAddrInTs ] != TileId[ CtbAddrInTs − 1 ] ) | |
                  ( entropy_coding_sync_enabled_flag &&
                      ( CtbAddrInRs % PicWidthInCtbsY = = 0 | |
                         TileId[ CtbAddrInTs ] != TileId[ CtbAddrRsToTs[ CtbAddrInRs − 1 ] ] ) ) )
              ){
                  end_of_subset_one_bit /* equal to 1 */                                                 ae(v)
                  byte_alignment( )
              }
           } while( !end_of_slice_segment_flag )
        }



7.3.8.2      Coding tree unit syntax


        coding_tree_unit( ) {                                                                          Descriptor
          xCtb = ( CtbAddrInRs % PicWidthInCtbsY ) << CtbLog2SizeY
          yCtb = ( CtbAddrInRs / PicWidthInCtbsY ) << CtbLog2SizeY
          if( slice_sao_luma_flag | | slice_sao_chroma_flag )
              sao( xCtb >> CtbLog2SizeY, yCtb >> CtbLog2SizeY )
          coding_quadtree( xCtb, yCtb, CtbLog2SizeY, 0 )
        }




                                                                              Rec. ITU-T H.265 v8 (08/2021)         51
 Case 2:25-cv-03053               Document 1-7              Filed 04/07/25       Page 73 of 717 Page ID #:602


7.3.8.3   Sample adaptive offset syntax


     sao( rx, ry ) {                                                                              Descriptor
       if( rx > 0 ) {
           leftCtbInSliceSeg = CtbAddrInRs > SliceAddrRs
           leftCtbInTile = TileId[ CtbAddrInTs ] = = TileId[ CtbAddrRsToTs[ CtbAddrInRs − 1 ] ]
           if( leftCtbInSliceSeg && leftCtbInTile )
               sao_merge_left_flag                                                                  ae(v)
       }
       if( ry > 0 && !sao_merge_left_flag ) {
           upCtbInSliceSeg = ( CtbAddrInRs − PicWidthInCtbsY ) >= SliceAddrRs
           upCtbInTile = TileId[ CtbAddrInTs ] = =
                              TileId[ CtbAddrRsToTs[ CtbAddrInRs − PicWidthInCtbsY ] ]
           if( upCtbInSliceSeg && upCtbInTile )
               sao_merge_up_flag                                                                    ae(v)
       }
       if( !sao_merge_up_flag && !sao_merge_left_flag )
           for( cIdx = 0; cIdx < ( ChromaArrayType != 0 ? 3 : 1 ); cIdx++ )
               if( ( slice_sao_luma_flag && cIdx = = 0 ) | |
                   ( slice_sao_chroma_flag && cIdx > 0 ) ) {
                if( cIdx = = 0 )
                    sao_type_idx_luma                                                               ae(v)
                else if( cIdx = = 1 )
                    sao_type_idx_chroma                                                             ae(v)
                if( SaoTypeIdx[ cIdx ][ rx ][ ry ] != 0 ) {
                    for( i = 0; i < 4; i++ )
                        sao_offset_abs[ cIdx ][ rx ][ ry ][ i ]                                     ae(v)
                    if( SaoTypeIdx[ cIdx ][ rx ][ ry ] = = 1 ) {
                        for( i = 0; i < 4; i++ )
                            if( sao_offset_abs[ cIdx ][ rx ][ ry ][ i ] != 0 )
                                sao_offset_sign[ cIdx ][ rx ][ ry ][ i ]                            ae(v)
                        sao_band_position[ cIdx ][ rx ][ ry ]                                       ae(v)
                    } else {
                        if( cIdx = = 0 )
                            sao_eo_class_luma                                                       ae(v)
                        if( cIdx = = 1 )
                            sao_eo_class_chroma                                                     ae(v)
                    }
                }
            }
     }




52        Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053              Document 1-7        Filed 04/07/25       Page 74 of 717 Page ID #:603


7.3.8.4    Coding quadtree syntax


     coding_quadtree( x0, y0, log2CbSize, cqtDepth ) {                                           Descriptor
       if( x0 + ( 1 << log2CbSize ) <= pic_width_in_luma_samples &&
           y0 + ( 1 << log2CbSize ) <= pic_height_in_luma_samples &&
           log2CbSize > MinCbLog2SizeY )
                  split_cu_flag[ x0 ][ y0 ]                                                         ae(v)
          if( cu_qp_delta_enabled_flag && log2CbSize >= Log2MinCuQpDeltaSize ) {
              IsCuQpDeltaCoded = 0
              CuQpDeltaVal = 0
          }
          if( cu_chroma_qp_offset_enabled_flag &&
              log2CbSize >= Log2MinCuChromaQpOffsetSize )
              IsCuChromaQpOffsetCoded = 0
          if( split_cu_flag[ x0 ][ y0 ] ) {
              x1 = x0 + ( 1 << ( log2CbSize − 1 ) )
              y1 = y0 + ( 1 << ( log2CbSize − 1 ) )
              coding_quadtree( x0, y0, log2CbSize − 1, cqtDepth + 1 )
              if( x1 < pic_width_in_luma_samples )
                  coding_quadtree( x1, y0, log2CbSize − 1, cqtDepth + 1 )
              if( y1 < pic_height_in_luma_samples )
                  coding_quadtree( x0, y1, log2CbSize − 1, cqtDepth + 1 )
              if( x1 < pic_width_in_luma_samples && y1 < pic_height_in_luma_samples )
                  coding_quadtree( x1, y1, log2CbSize − 1, cqtDepth + 1 )
          } else
              coding_unit( x0, y0, log2CbSize )
     }



7.3.8.5     Coding unit syntax


     coding_unit( x0, y0, log2CbSize ) {                                                         Descriptor
       if( transquant_bypass_enabled_flag )
           cu_transquant_bypass_flag                                                                ae(v)
       if( slice_type != I )
           cu_skip_flag[ x0 ][ y0 ]                                                                 ae(v)
       nCbS = ( 1 << log2CbSize )
       if( cu_skip_flag[ x0 ][ y0 ] )
           prediction_unit( x0, y0, nCbS, nCbS )
       else {
           if( slice_type != I )
               pred_mode_flag                                                                       ae(v)
           if( palette_mode_enabled_flag && CuPredMode[ x0 ][ y0 ] = = MODE_INTRA &&
               log2CbSize <= MaxTbLog2SizeY )
               palette_mode_flag[ x0 ][ y0 ]                                                        ae(v)
           if( palette_mode_flag[ x0 ][ y0 ] )
               palette_coding( x0, y0, nCbS )
           else {
               if( CuPredMode[ x0 ][ y0 ] != MODE_INTRA | |
                   log2CbSize = = MinCbLog2SizeY )


                                                                         Rec. ITU-T H.265 v8 (08/2021)        53
Case 2:25-cv-03053        Document 1-7          Filed 04/07/25         Page 75 of 717 Page ID #:604


            part_mode                                                                     ae(v)
        if( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA ) {
            if( PartMode = = PART_2Nx2N && pcm_enabled_flag &&
                log2CbSize >= Log2MinIpcmCbSizeY &&
                log2CbSize <= Log2MaxIpcmCbSizeY )
                pcm_flag[ x0 ][ y0 ]                                                      ae(v)
            if( pcm_flag[ x0 ][ y0 ] ) {
                while( !byte_aligned( ) )
                    pcm_alignment_zero_bit                                                f(1)
                pcm_sample( x0, y0, log2CbSize )
            } else {
                pbOffset = ( PartMode = = PART_NxN ) ? ( nCbS / 2 ) : nCbS
                for( j = 0; j < nCbS; j = j + pbOffset )
                    for( i = 0; i < nCbS; i = i + pbOffset )
                       prev_intra_luma_pred_flag[ x0 + i ][ y0 + j ]                      ae(v)
                for( j = 0; j < nCbS; j = j + pbOffset )
                    for( i = 0; i < nCbS; i = i + pbOffset )
                       if( prev_intra_luma_pred_flag[ x0 + i ][ y0 + j ] )
                           mpm_idx[ x0 + i ][ y0 + j ]                                    ae(v)
                       else
                           rem_intra_luma_pred_mode[ x0 + i ][ y0 + j ]                   ae(v)
                if( ChromaArrayType = = 3 )
                    for( j = 0; j < nCbS; j = j + pbOffset )
                       for( i = 0; i < nCbS; i = i + pbOffset )
                           intra_chroma_pred_mode[ x0 + i ][ y0 + j ]                     ae(v)
                else if( ChromaArrayType != 0 )
                    intra_chroma_pred_mode[ x0 ][ y0 ]                                    ae(v)
            }
        } else {
            if( PartMode = = PART_2Nx2N )
                prediction_unit( x0, y0, nCbS, nCbS )
            else if( PartMode = = PART_2NxN ) {
                prediction_unit( x0, y0, nCbS, nCbS / 2 )
                prediction_unit( x0, y0 + ( nCbS / 2 ), nCbS, nCbS / 2 )
            } else if( PartMode = = PART_Nx2N ) {
                prediction_unit( x0, y0, nCbS / 2, nCbS )
                prediction_unit( x0 + ( nCbS / 2 ), y0, nCbS / 2, nCbS )
            } else if( PartMode = = PART_2NxnU ) {
                prediction_unit( x0, y0, nCbS, nCbS / 4 )
                prediction_unit( x0, y0 + ( nCbS / 4 ), nCbS, nCbS * 3 / 4 )
            } else if( PartMode = = PART_2NxnD ) {
                prediction_unit( x0, y0, nCbS, nCbS * 3 / 4 )
                prediction_unit( x0, y0 + ( nCbS * 3 / 4 ), nCbS, nCbS / 4 )
            } else if( PartMode = = PART_nLx2N ) {
                prediction_unit( x0, y0, nCbS / 4, nCbS )
                prediction_unit( x0 + ( nCbS / 4 ), y0, nCbS * 3 / 4, nCbS )
            } else if( PartMode = = PART_nRx2N ) {
                prediction_unit( x0, y0, nCbS * 3 / 4, nCbS )
                prediction_unit( x0 + ( nCbS * 3 / 4 ), y0, nCbS / 4, nCbS )


54    Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                    Document 1-7           Filed 04/07/25         Page 76 of 717 Page ID #:605


                      } else { /* PART_NxN */
                         prediction_unit( x0, y0, nCbS / 2, nCbS / 2 )
                         prediction_unit( x0 + ( nCbS / 2 ), y0, nCbS / 2, nCbS / 2 )
                         prediction_unit( x0, y0 + ( nCbS / 2 ), nCbS / 2, nCbS / 2 )
                         prediction_unit( x0 + ( nCbS / 2 ), y0 + ( nCbS / 2 ), nCbS / 2, nCbS / 2 )
                      }
                  }
                  if( !pcm_flag[ x0 ][ y0 ] ) {
                      if( CuPredMode[ x0 ][ y0 ] != MODE_INTRA &&
                          !( PartMode = = PART_2Nx2N && merge_flag[ x0 ][ y0 ] ) )
                          rqt_root_cbf                                                                         ae(v)
                      if( rqt_root_cbf ) {
                          MaxTrafoDepth = ( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA ?
                                               ( max_transform_hierarchy_depth_intra + IntraSplitFlag ) :
                                               max_transform_hierarchy_depth_inter )
                          transform_tree( x0, y0, x0, y0, log2CbSize, 0, 0 )
                      }
                  }
              }
          }
     }



7.3.8.6       Prediction unit syntax


     prediction_unit( x0, y0, nPbW, nPbH ) {                                                                Descriptor
        if( cu_skip_flag[ x0 ][ y0 ] ) {
            if( MaxNumMergeCand > 1 )
                merge_idx[ x0 ][ y0 ]                                                                          ae(v)
        } else { /* MODE_INTER */
            merge_flag[ x0 ][ y0 ]                                                                             ae(v)
            if( merge_flag[ x0 ][ y0 ] ) {
                if( MaxNumMergeCand > 1 )
                    merge_idx[ x0 ][ y0 ]                                                                      ae(v)
            } else {
                if( slice_type = = B )
                    inter_pred_idc[ x0 ][ y0 ]                                                                 ae(v)
                if( inter_pred_idc[ x0 ][ y0 ] != PRED_L1 ) {
                    if( num_ref_idx_l0_active_minus1 > 0 )
                        ref_idx_l0[ x0 ][ y0 ]                                                                 ae(v)
                    mvd_coding( x0, y0, 0 )
                    mvp_l0_flag[ x0 ][ y0 ]                                                                    ae(v)
                }
                if( inter_pred_idc[ x0 ][ y0 ] != PRED_L0 ) {
                    if( num_ref_idx_l1_active_minus1 > 0 )
                        ref_idx_l1[ x0 ][ y0 ]                                                                 ae(v)




                                                                                    Rec. ITU-T H.265 v8 (08/2021)        55
 Case 2:25-cv-03053                   Document 1-7           Filed 04/07/25         Page 77 of 717 Page ID #:606


                      if( mvd_l1_zero_flag && inter_pred_idc[ x0 ][ y0 ] = = PRED_BI ) {
                          MvdL1[ x0 ][ y0 ][ 0 ] = 0
                          MvdL1[ x0 ][ y0 ][ 1 ] = 0
                      } else
                          mvd_coding( x0, y0, 1 )
                      mvp_l1_flag[ x0 ][ y0 ]                                                          ae(v)
                  }
              }
          }
     }



7.3.8.7       PCM sample syntax


     pcm_sample( x0, y0, log2CbSize ) {                                                              Descriptor
       for( i = 0; i < 1 << ( log2CbSize << 1 ); i++ )
           pcm_sample_luma[ i ]                                                                         u(v)
       if( ChromaArrayType != 0 )
           for( i = 0; i < ( ( 2 << ( log2CbSize << 1 ) ) / ( SubWidthC * SubHeightC ) ); i++ )
              pcm_sample_chroma[ i ]                                                                    u(v)
     }



7.3.8.8       Transform tree syntax


     transform_tree( x0, y0, xBase, yBase, log2TrafoSize, trafoDepth, blkIdx ) {                     Descriptor
        if( log2TrafoSize <= MaxTbLog2SizeY &&
            log2TrafoSize > MinTbLog2SizeY &&
            trafoDepth < MaxTrafoDepth && !( IntraSplitFlag && ( trafoDepth = = 0 ) ) )
            split_transform_flag[ x0 ][ y0 ][ trafoDepth ]                                             ae(v)
        if( ( log2TrafoSize > 2 && ChromaArrayType != 0 ) | | ChromaArrayType = = 3 ) {
            if( trafoDepth = = 0 | | cbf_cb[ xBase ][ yBase ][ trafoDepth − 1 ] ) {
                cbf_cb[ x0 ][ y0 ][ trafoDepth ]                                                       ae(v)
                if( ChromaArrayType = = 2 &&
                    ( !split_transform_flag[ x0 ][ y0 ][ trafoDepth ] | | log2TrafoSize = = 3 ) )
                    cbf_cb[ x0 ][ y0 + ( 1 << ( log2TrafoSize − 1 ) ) ][ trafoDepth ]                  ae(v)
            }
            if( trafoDepth = = 0 | | cbf_cr[ xBase ][ yBase ][ trafoDepth − 1 ] ) {
                cbf_cr[ x0 ][ y0 ][ trafoDepth ]                                                       ae(v)
                if( ChromaArrayType = = 2 &&
                    ( !split_transform_flag[ x0 ][ y0 ][ trafoDepth ] | | log2TrafoSize = = 3 ) )
                      cbf_cr[ x0 ][ y0 + ( 1 << ( log2TrafoSize − 1 ) ) ][ trafoDepth ]                ae(v)
              }
          }
          if( split_transform_flag[ x0 ][ y0 ][ trafoDepth ] ) {
              x1 = x0 + ( 1 << ( log2TrafoSize − 1 ) )
              y1 = y0 + ( 1 << ( log2TrafoSize − 1 ) )




56            Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 78 of 717 Page ID #:607


             transform_tree( x0, y0, x0, y0, log2TrafoSize − 1, trafoDepth + 1, 0 )
             transform_tree( x1, y0, x0, y0, log2TrafoSize − 1, trafoDepth + 1, 1 )
             transform_tree( x0, y1, x0, y0, log2TrafoSize − 1, trafoDepth + 1, 2 )
             transform_tree( x1, y1, x0, y0, log2TrafoSize − 1, trafoDepth + 1, 3 )
          } else {
             if( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA | | trafoDepth != 0 | |
                 cbf_cb[ x0 ][ y0 ][ trafoDepth ] | | cbf_cr[ x0 ][ y0 ][ trafoDepth ] | |
                 ( ChromaArrayType = = 2 &&
                    ( cbf_cb[ x0 ][ y0 + ( 1 << ( log2TrafoSize − 1 ) ) ][ trafoDepth ] | |
                       cbf_cr[ x0 ][ y0 + ( 1 << ( log2TrafoSize − 1 ) ) ][ trafoDepth ] ) ) )
                 cbf_luma[ x0 ][ y0 ][ trafoDepth ]                                                          ae(v)
             transform_unit( x0, y0, xBase, yBase, log2TrafoSize, trafoDepth, blkIdx )
          }
     }



7.3.8.9     Motion vector difference syntax


     mvd_coding( x0, y0, refList ) {                                                                      Descriptor
       abs_mvd_greater0_flag[ 0 ]                                                                           ae(v)
       abs_mvd_greater0_flag[ 1 ]                                                                           ae(v)
       if( abs_mvd_greater0_flag[ 0 ] )
           abs_mvd_greater1_flag[ 0 ]                                                                        ae(v)
       if( abs_mvd_greater0_flag[ 1 ] )
           abs_mvd_greater1_flag[ 1 ]                                                                        ae(v)
       if( abs_mvd_greater0_flag[ 0 ] ) {
           if( abs_mvd_greater1_flag[ 0 ] )
               abs_mvd_minus2[ 0 ]                                                                           ae(v)
           mvd_sign_flag[ 0 ]                                                                                ae(v)
       }
       if( abs_mvd_greater0_flag[ 1 ] ) {
           if( abs_mvd_greater1_flag[ 1 ] )
               abs_mvd_minus2[ 1 ]                                                                           ae(v)
           mvd_sign_flag[ 1 ]                                                                                ae(v)
       }
     }



7.3.8.10 Transform unit syntax


     transform_unit( x0, y0, xBase, yBase, log2TrafoSize, trafoDepth, blkIdx ) {                          Descriptor
        log2TrafoSizeC = Max( 2, log2TrafoSize − ( ChromaArrayType = = 3 ? 0 : 1 ) )
        cbfDepthC = trafoDepth − ( ChromaArrayType != 3 && log2TrafoSize = = 2 ? 1 : 0 )
        xC = ( ChromaArrayType != 3 && log2TrafoSize = = 2 ) ? xBase : x0
        yC = ( ChromaArrayType != 3 && log2TrafoSize = = 2 ) ? yBase : y0
        cbfLuma = cbf_luma[ x0 ][ y0 ][ trafoDepth ]




                                                                                  Rec. ITU-T H.265 v8 (08/2021)        57
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 79 of 717 Page ID #:608


         cbfChroma =
             cbf_cb[ xC ][ yC ][ cbfDepthC ] | |
             cbf_cr[ xC ][ yC ][ cbfDepthC ] | |
             ( ChromaArrayType = = 2 &&
                 ( cbf_cb[ xC ][ yC + ( 1 << log2TrafoSizeC ) ][ cbfDepthC ] | |
                 cbf_cr[ xC ][ yC + ( 1 << log2TrafoSizeC ) ][ cbfDepthC ] ) )
         if( cbfLuma | | cbfChroma ) {
             xP = ( x0 >> MinCbLog2SizeY ) << MinCbLog2SizeY
             yP = ( y0 >> MinCbLog2SizeY ) << MinCbLog2SizeY
             nCbS = 1 << MinCbLog2SizeY
             if( residual_adaptive_colour_transform_enabled_flag &&
                 ( CuPredMode[ x0 ][ y0 ] = = MODE_INTER | |
                 ( PartMode = = PART_2Nx2N &&
                 intra_chroma_pred_mode[ x0 ][ y0 ] = = 4 ) | |
                 ( intra_chroma_pred_mode[ xP ][ yP ] = = 4 &&
                 intra_chroma_pred_mode[ xP + nCbS/2 ][ yP ] = = 4 &&
                 intra_chroma_pred_mode[ xP ][ yP + nCbS/2 ] = = 4 &&
                 intra_chroma_pred_mode[ xP + nCbS/2 ][ yP + nCbS/2 ] = = 4 ) ) )
                 tu_residual_act_flag[ x0 ][ y0 ]                                                         ae(v)
             delta_qp( )
             if( cbfChroma && !cu_transquant_bypass_flag )
                 chroma_qp_offset( )
             if( cbfLuma )
                 residual_coding( x0, y0, log2TrafoSize, 0 )
             if( log2TrafoSize > 2 | | ChromaArrayType = = 3 ) {
                 if( cross_component_prediction_enabled_flag && cbfLuma &&
                     ( CuPredMode[ x0 ][ y0 ] = = MODE_INTER | |
                         intra_chroma_pred_mode[ x0 ][ y0 ] = = 4 ) )
                     cross_comp_pred( x0, y0, 0 )
                 for( tIdx = 0; tIdx < ( ChromaArrayType = = 2 ? 2 : 1 ); tIdx++ )
                     if( cbf_cb[ x0 ][ y0 + ( tIdx << log2TrafoSizeC ) ][ trafoDepth ] )
                         residual_coding( x0, y0 + ( tIdx << log2TrafoSizeC ), log2TrafoSizeC, 1 )
                 if( cross_component_prediction_enabled_flag && cbfLuma &&
                     ( CuPredMode[ x0 ][ y0 ] = = MODE_INTER | |
                         intra_chroma_pred_mode[ x0 ][ y0 ] = = 4 ) )
                     cross_comp_pred( x0, y0, 1 )
                 for( tIdx = 0; tIdx < ( ChromaArrayType = = 2 ? 2 : 1 ); tIdx++ )
                     if( cbf_cr[ x0 ][ y0 + ( tIdx << log2TrafoSizeC ) ][ trafoDepth ] )
                         residual_coding( x0, y0 + ( tIdx << log2TrafoSizeC ), log2TrafoSizeC, 2 )
             } else if( blkIdx = = 3 ) {
                 for( tIdx = 0; tIdx < ( ChromaArrayType = = 2 ? 2 : 1 ); tIdx++ )
                     if( cbf_cb[ xBase ][ yBase + ( tIdx << log2TrafoSizeC ) ][ trafoDepth − 1 ] )
                         residual_coding( xBase, yBase + ( tIdx << log2TrafoSizeC ), log2TrafoSize, 1 )
                 for( tIdx = 0; tIdx < ( ChromaArrayType = = 2 ? 2 : 1 ); tIdx++ )
                     if( cbf_cr[ xBase ][ yBase + ( tIdx << log2TrafoSizeC ) ][ trafoDepth − 1 ] )
                         residual_coding( xBase, yBase + ( tIdx << log2TrafoSizeC ), log2TrafoSize, 2 )
             }
         }
     }




58          Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053            Document 1-7          Filed 04/07/25         Page 80 of 717 Page ID #:609


7.3.8.11 Residual coding syntax


    residual_coding( x0, y0, log2TrafoSize, cIdx ) {                                               Descriptor
       if( transform_skip_enabled_flag && !cu_transquant_bypass_flag &&
           ( log2TrafoSize <= Log2MaxTransformSkipSize ) )
           transform_skip_flag[ x0 ][ y0 ][ cIdx ]                                                    ae(v)
       if( CuPredMode[ x0 ][ y0 ] = = MODE_INTER && explicit_rdpcm_enabled_flag &&
           ( transform_skip_flag[ x0 ][ y0 ][ cIdx ] | | cu_transquant_bypass_flag ) ) {
         explicit_rdpcm_flag[ x0 ][ y0 ][ cIdx ]                                                      ae(v)
         if( explicit_rdpcm_flag[ x0 ][ y0 ][ cIdx ] )
             explicit_rdpcm_dir_flag[ x0 ][ y0 ][ cIdx ]                                              ae(v)
       }
       last_sig_coeff_x_prefix                                                                        ae(v)
       last_sig_coeff_y_prefix                                                                        ae(v)
       if( last_sig_coeff_x_prefix > 3 )
           last_sig_coeff_x_suffix                                                                    ae(v)
       if( last_sig_coeff_y_prefix > 3 )
           last_sig_coeff_y_suffix                                                                    ae(v)
       lastScanPos = 16
       lastSubBlock = ( 1 << ( log2TrafoSize − 2 ) ) * ( 1 << ( log2TrafoSize − 2 ) ) − 1
       do {
           if( lastScanPos = = 0 ) {
               lastScanPos = 16
               lastSubBlock− −
           }
           lastScanPos− −
           xS = ScanOrder[ log2TrafoSize − 2 ][ scanIdx ][ lastSubBlock ][ 0 ]
           yS = ScanOrder[ log2TrafoSize − 2 ][ scanIdx ][ lastSubBlock ][ 1 ]
           xC = ( xS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ lastScanPos ][ 0 ]
           yC = ( yS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ lastScanPos ][ 1 ]
       } while( ( xC != LastSignificantCoeffX ) | | ( yC != LastSignificantCoeffY ) )
       for( i = lastSubBlock; i >= 0; i− − ) {
           xS = ScanOrder[ log2TrafoSize − 2 ][ scanIdx ][ i ][ 0 ]
           yS = ScanOrder[ log2TrafoSize − 2 ][ scanIdx ][ i ][ 1 ]
           escapeDataPresent = 0
           inferSbDcSigCoeffFlag = 0
           if( ( i < lastSubBlock ) && ( i > 0 ) ) {
               coded_sub_block_flag[ xS ][ yS ]                                                       ae(v)
               inferSbDcSigCoeffFlag = 1
           }
           for( n = ( i = = lastSubBlock ) ? lastScanPos − 1 : 15; n >= 0; n− − ) {
               xC = ( xS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 0 ]
               yC = ( yS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 1 ]
               if( coded_sub_block_flag[ xS ][ yS ] && ( n > 0 | | !inferSbDcSigCoeffFlag ) ) {
                   sig_coeff_flag[ xC ][ yC ]                                                         ae(v)
                   if( sig_coeff_flag[ xC ][ yC ] )
                     inferSbDcSigCoeffFlag = 0
               }
           }


                                                                           Rec. ITU-T H.265 v8 (08/2021)        59
Case 2:25-cv-03053         Document 1-7            Filed 04/07/25         Page 81 of 717 Page ID #:610


      firstSigScanPos = 16
      lastSigScanPos = −1
      numGreater1Flag = 0
      lastGreater1ScanPos = −1
      for( n = 15; n >= 0; n− − ) {
          xC = ( xS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 0 ]
          yC = ( yS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 1 ]
          if( sig_coeff_flag[ xC ][ yC ] ) {
              if( numGreater1Flag < 8 ) {
                  coeff_abs_level_greater1_flag[ n ]                                              ae(v)
                  numGreater1Flag++
                  if( coeff_abs_level_greater1_flag[ n ] && lastGreater1ScanPos = = −1 )
                      lastGreater1ScanPos = n
                  else if( coeff_abs_level_greater1_flag[ n ] )
                      escapeDataPresent = 1
              } else
                  escapeDataPresent = 1
              if( lastSigScanPos = = −1 )
                  lastSigScanPos = n
              firstSigScanPos = n
          }
      }
      if( cu_transquant_bypass_flag | |
          ( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA &&
              implicit_rdpcm_enabled_flag && transform_skip_flag[ x0 ][ y0 ][ cIdx ] &&
              ( predModeIntra = = 10 | | predModeIntra = = 26 ) ) | |
          explicit_rdpcm_flag[ x0 ][ y0 ][ cIdx ] )
          signHidden = 0
      else
          signHidden = lastSigScanPos − firstSigScanPos > 3
      if( lastGreater1ScanPos != −1 ) {
          coeff_abs_level_greater2_flag[ lastGreater1ScanPos ]                                    ae(v)
          if( coeff_abs_level_greater2_flag[ lastGreater1ScanPos ] )
              escapeDataPresent = 1
      }
      for( n = 15; n >= 0; n− − ) {
          xC = ( xS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 0 ]
          yC = ( yS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 1 ]
          if( sig_coeff_flag[ xC ][ yC ] &&
              ( !sign_data_hiding_enabled_flag | | !signHidden | | ( n != firstSigScanPos ) ) )
           coeff_sign_flag[ n ]                                                                   ae(v)
      }
      numSigCoeff = 0
      sumAbsLevel = 0
      for( n = 15; n >= 0; n− − ) {
         xC = ( xS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 0 ]
         yC = ( yS << 2 ) + ScanOrder[ 2 ][ scanIdx ][ n ][ 1 ]
         if( sig_coeff_flag[ xC ][ yC ] ) {




60    Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25         Page 82 of 717 Page ID #:611


                    baseLevel = 1 + coeff_abs_level_greater1_flag[ n ] +
                                   coeff_abs_level_greater2_flag[ n ]
                    if( baseLevel = = ( ( numSigCoeff < 8 ) ?
                                         ( (n = = lastGreater1ScanPos) ? 3 : 2 ) : 1 ) )
                        coeff_abs_level_remaining[ n ]                                                        ae(v)
                    TransCoeffLevel[ x0 ][ y0 ][ cIdx ][ xC ][ yC ] =
                        ( coeff_abs_level_remaining[ n ] + baseLevel ) * ( 1 − 2 * coeff_sign_flag[ n ] )
                    if( sign_data_hiding_enabled_flag && signHidden ) {
                        sumAbsLevel += ( coeff_abs_level_remaining[ n ] + baseLevel )
                        if( ( n = = firstSigScanPos ) && ( ( sumAbsLevel % 2 ) = = 1 ) )
                            TransCoeffLevel[ x0 ][ y0 ][ cIdx ][ xC ][ yC ] =
                                   −TransCoeffLevel[ x0 ][ y0 ][ cIdx ][ xC ][ yC ]
                    }
                    numSigCoeff++
                }
            }
        }
    }



7.3.8.12 Cross-component prediction syntax


    cross_comp_pred( x0, y0, c ) {                                                                          Descriptor
       log2_res_scale_abs_plus1[ c ]                                                                          ae(v)
       if( log2_res_scale_abs_plus1[ c ] != 0 )
           res_scale_sign_flag[ c ]                                                                           ae(v)
    }



7.3.8.13 Palette syntax


    palette_coding( x0, y0, nCbS ) {                                                                        Descriptor
      palettePredictionFinished = 0
      NumPredictedPaletteEntries = 0
      for( predictorEntryIdx = 0; predictorEntryIdx < PredictorPaletteSize &&
          !palettePredictionFinished && NumPredictedPaletteEntries < palette_max_size;
          predictorEntryIdx++ ) {
          palette_predictor_run                                                                               ae(v)
          if( palette_predictor_run != 1 ) {
              if( palette_predictor_run > 1 )
                  predictorEntryIdx += palette_predictor_run − 1
              PalettePredictorEntryReuseFlags[ predictorEntryIdx ] = 1
              NumPredictedPaletteEntries++
          } else
              palettePredictionFinished = 1
      }
      if( NumPredictedPaletteEntries < palette_max_size )
          num_signalled_palette_entries                                                                       ae(v)
      numComps = ( ChromaArrayType = = 0 ) ? 1 : 3




                                                                                  Rec. ITU-T H.265 v8 (08/2021)          61
Case 2:25-cv-03053         Document 1-7         Filed 04/07/25       Page 83 of 717 Page ID #:612


     for( cIdx = 0; cIdx < numComps; cIdx++ )
         for( i = 0; i < num_signalled_palette_entries; i++ )
             new_palette_entries[ cIdx ][ i ]                                                 ae(v)
     if( CurrentPaletteSize != 0 )
         palette_escape_val_present_flag                                                      ae(v)
     if( MaxPaletteIndex > 0) {
         num_palette_indices_minus1                                                           ae(v)
         adjust = 0
         for( i = 0; i <= num_palette_indices_minus1; i++ ) {
             if( MaxPaletteIndex − adjust > 0 ) {
                 palette_idx_idc                                                              ae(v)
                 PaletteIndexIdc[ i ] = palette_idx_idc
             }
             adjust = 1
         }
         copy_above_indices_for_final_run_flag                                                ae(v)
         palette_transpose_flag                                                               ae(v)
     }
     if( palette_escape_val_present_flag ) {
         delta_qp( )
         if( !cu_transquant_bypass_flag )
             chroma_qp_offset( )
     }
     remainingNumIndices = num_palette_indices_minus1 + 1
     PaletteScanPos = 0
     log2BlockSize = Log2( nCbS )
     while( PaletteScanPos < nCbS * nCbS ) {
         xC = x0 + ScanOrder[ log2BlockSize ][ 3 ][ PaletteScanPos ][ 0 ]
         yC = y0 + ScanOrder[ log2BlockSize ][ 3 ][ PaletteScanPos ][ 1 ]
         if( PaletteScanPos > 0) {
             xcPrev = x0 + ScanOrder[ log2BlockSize ][ 3 ][ PaletteScanPos − 1 ][ 0 ]
             ycPrev = y0 + ScanOrder[ log2BlockSize ][ 3 ][ PaletteScanPos − 1 ][ 1 ]
         }
         PaletteRunMinus1 = nCbS * nCbS − PaletteScanPos − 1
         RunToEnd = 1
         CopyAboveIndicesFlag[ xC ][ yC ] = 0
         if( MaxPaletteIndex > 0 )
             if( PaletteScanPos >= nCbS && CopyAboveIndicesFlag[ xcPrev ][ ycPrev ] = = 0 )
                 if( remainingNumIndices > 0 && PaletteScanPos < nCbS * nCbS − 1 ) {
                     copy_above_palette_indices_flag                                          ae(v)
                     CopyAboveIndicesFlag[ xC ][ yC ] = copy_above_palette_indices_flag
                 } else
                     if( PaletteScanPos = = nCbS * nCbS − 1 && remainingNumIndices > 0 )
                         CopyAboveIndicesFlag[ xC ][ yC ] = 0
                     else
                         CopyAboveIndicesFlag[ xC ][ yC ] = 1




62     Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053         Document 1-7            Filed 04/07/25      Page 84 of 717 Page ID #:613


      if( CopyAboveIndicesFlag[ xC ][ yC ] = = 0 ) {
          currNumIndices = num_palette_indices_minus1 + 1 − remainingNumIndices
          CurrPaletteIndex = PaletteIndexIdc[ currNumIndices ]
      }
      if( MaxPaletteIndex > 0 ) {
          if( CopyAboveIndicesFlag[ xC ][ yC ] = = 0 )
              remainingNumIndices − = 1
          if( remainingNumIndices > 0 | | CopyAboveIndicesFlag[ xC ][ yC ] !=
               copy_above_indices_for_final_run_flag ) {
              PaletteMaxRunMinus1 = nCbS * nCbS − PaletteScanPos − 1 −
                  remainingNumIndices − copy_above_indices_for_final_run_flag
              RunToEnd = 0
              if( PaletteMaxRunMinus1 > 0 ) {
                  palette_run_prefix                                                            ae(v)
                  if( ( palette_run_prefix > 1 ) && ( PaletteMaxRunMinus1 !=
                      ( 1 << ( palette_run_prefix − 1 ) ) ) )
                 palette_run_suffix                                                             ae(v)
           }
        }
      }
      runPos = 0
      while ( runPos <= PaletteRunMinus1 ) {
        xR = x0 + ScanOrder[ log2BlockSize ][ 3 ][ PaletteScanPos ][ 0 ]
        yR = y0 + ScanOrder[ log2BlockSize ][ 3 ][ PaletteScanPos ][ 1 ]
        if( CopyAboveIndicesFlag[ xC ][ yC ] = = 0 ) {
            CopyAboveIndicesFlag[ xR ][ yR ] = 0
            PaletteIndexMap[ xR ][ yR ] = CurrPaletteIndex
        } else {
            CopyAboveIndicesFlag[ xR ][ yR ] = 1
            PaletteIndexMap[ xR ][ yR ] = PaletteIndexMap[ xR ][ yR − 1 ]
        }
        runPos++
        PaletteScanPos++
      }
    }
    if( palette_escape_val_present_flag ) {
        for( cIdx = 0; cIdx < numComps; cIdx++ )
         for(sPos = 0; sPos < nCbS * nCbS; sPos++ ) {
            xC = x0 + ScanOrder[ log2BlockSize ][ 3 ][ sPos ][ 0 ]
            yC = y0 + ScanOrder[ log2BlockSize ][ 3 ][ sPos ][ 1 ]
            if( PaletteIndexMap[ xC ][ yC ] = = MaxPaletteIndex )
               if( cIdx = = 0 | | ( xC % 2 = = 0 && yC % 2 = = 0 &&
                   ChromaArrayType = = 1 ) | | ( xC % 2 = = 0 &&
                   !palette_transpose_flag && ChromaArrayType = = 2 ) | |
                   ( yC % 2 = = 0 && palette_transpose_flag &&
                   ChromaArrayType = = 2 ) | | ChromaArrayType = = 3 ) {




                                                                     Rec. ITU-T H.265 v8 (08/2021)      63
 Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25            Page 85 of 717 Page ID #:614


                            palette_escape_val                                                                          ae(v)
                            PaletteEscapeVal[ cIdx ][ xC ][ yC ] = palette_escape_val
                       }
                  }
            }
        }



7.3.8.14 Delta QP syntax


        delta_qp( ) {                                                                                                Descriptor
          if( cu_qp_delta_enabled_flag && !IsCuQpDeltaCoded ) {
              IsCuQpDeltaCoded = 1
              cu_qp_delta_abs                                                                                           ae(v)
              if( cu_qp_delta_abs ) {
                  cu_qp_delta_sign_flag                                                                                 ae(v)
                  CuQpDeltaVal = cu_qp_delta_abs * ( 1 − 2 * cu_qp_delta_sign_flag )
              }
          }
        }



7.3.8.15 Chroma QP offset syntax


        chroma_qp_offset( ) {                                                                                        Descriptor
          if( cu_chroma_qp_offset_enabled_flag && !IsCuChromaQpOffsetCoded ) {
              cu_chroma_qp_offset_flag                                                                                  ae(v)
              if( cu_chroma_qp_offset_flag && chroma_qp_offset_list_len_minus1 > 0 )
                  cu_chroma_qp_offset_idx                                                                               ae(v)
          }
        }



7.4             Semantics
7.4.1           General
Semantics associated with the syntax structures and with the syntax elements within these structures are specified in this
clause. When the semantics of a syntax element are specified using a table or a set of tables, any values that are not specified
in the table(s) shall not be present in the bitstream unless otherwise specified in this Specification.

7.4.2           NAL unit semantics

7.4.2.1         General NAL unit semantics
NumBytesInNalUnit specifies the size of the NAL unit in bytes. This value is required for decoding of the NAL unit. Some
form of demarcation of NAL unit boundaries is necessary to enable inference of NumBytesInNalUnit. One such
demarcation method is specified in Annex B for the byte stream format. Other methods of demarcation may be specified
outside of this Specification.
      NOTE 1 – The video coding layer (VCL) is specified to efficiently represent the content of the video data. The NAL is specified to
      format that data and provide header information in a manner appropriate for conveyance on a variety of communication channels or
      storage media. All data are contained in NAL units, each of which contains an integer number of bytes. A NAL unit specifies a
      generic format for use in both packet-oriented and bitstream systems. The format of NAL units for both packet-oriented transport
      and byte stream is identical except that each NAL unit can be preceded by a start code prefix and extra padding bytes in the byte
      stream format specified in Annex B.


64              Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25            Page 86 of 717 Page ID #:615


rbsp_byte[ i ] is the i-th byte of an RBSP. An RBSP is specified as an ordered sequence of bytes as follows:
The RBSP contains a string of data bits (SODB) as follows:
–    If the SODB is empty (i.e., zero bits in length), the RBSP is also empty.
–    Otherwise, the RBSP contains the SODB as follows:
     1)    The first byte of the RBSP contains the first (most significant, left-most) eight bits of the SODB; the next byte
           of the RBSP contains the next eight bits of the SODB, etc., until fewer than eight bits of the SODB remain.
     2)    The rbsp_trailing_bits( ) syntax structure is present after the SODB as follows:
           i)    The first (most significant, left-most) bits of the final RBSP byte contain the remaining bits of the SODB
                 (if any).
           ii)   The next bit consists of a single bit equal to 1 (i.e., rbsp_stop_one_bit).
           iii) When the rbsp_stop_one_bit is not the last bit of a byte-aligned byte, one or more zero-valued bits (i.e.,
                instances of rbsp_alignment_zero_bit) are present to result in byte alignment.
     3)    One or more cabac_zero_word 16-bit syntax elements equal to 0x0000 may be present in some RBSPs after the
           rbsp_trailing_bits( ) at the end of the RBSP.
Syntax structures having these RBSP properties are denoted in the syntax tables using an "_rbsp" suffix. These structures
are carried within NAL units as the content of the rbsp_byte[ i ] data bytes. The association of the RBSP syntax structures
to the NAL units is as specified in Table 7-1.
    NOTE 2 – When the boundaries of the RBSP are known, the decoder can extract the SODB from the RBSP by concatenating the
    bits of the bytes of the RBSP and discarding the rbsp_stop_one_bit, which is the last (least significant, right-most) bit equal to 1,
    and discarding any following (less significant, farther to the right) bits that follow it, which are equal to 0. The data necessary for
    the decoding process is contained in the SODB part of the RBSP.

emulation_prevention_three_byte is a byte equal to 0x03. When an emulation_prevention_three_byte is present in the
NAL unit, it shall be discarded by the decoding process.
The last byte of the NAL unit shall not be equal to 0x00.
Within the NAL unit, the following three-byte sequences shall not occur at any byte-aligned position:
–    0x000000
–    0x000001
–    0x000002
Within the NAL unit, any four-byte sequence that starts with 0x000003 other than the following sequences shall not occur
at any byte-aligned position:
–    0x00000300
–    0x00000301
–    0x00000302
–    0x00000303

7.4.2.2     NAL unit header semantics
forbidden_zero_bit shall be equal to 0.
nal_unit_type specifies the type of RBSP data structure contained in the NAL unit as specified in Table 7-1.
NAL units that have nal_unit_type in the range of UNSPEC48..UNSPEC63, inclusive, for which semantics are not
specified, shall not affect the decoding process specified in this Specification.
    NOTE 1 – NAL unit types in the range of UNSPEC48..UNSPEC63 may be used as determined by the application. No decoding
    process for these values of nal_unit_type is specified in this Specification. Since different applications might use these NAL unit
    types for different purposes, particular care must be exercised in the design of encoders that generate NAL units with these
    nal_unit_type values, and in the design of decoders that interpret the content of NAL units with these nal_unit_type values. This
    Specification does not define any management for these values. These nal_unit_type values might only be suitable for use in contexts
    in which "collisions" of usage (i.e., different definitions of the meaning of the NAL unit content for the same nal_unit_type value)
    are unimportant, or not possible, or are managed – e.g., defined or managed in the controlling application or transport specification,
    or by controlling the environment in which bitstreams are distributed.

For purposes other than determining the amount of data in the decoding units of the bitstream (as specified in Annex C),
decoders shall ignore (remove from the bitstream and discard) the contents of all NAL units that use reserved values of
nal_unit_type.
    NOTE 2 – This requirement allows future definition of compatible extensions to this Specification.



                                                                                        Rec. ITU-T H.265 v8 (08/2021)                 65
Case 2:25-cv-03053           Document 1-7         Filed 04/07/25        Page 87 of 717 Page ID #:616


                           Table 7-1 – NAL unit type codes and NAL unit type classes

 nal_unit_type         Name of             Content of NAL unit and RBSP syntax structure      NAL unit
                     nal_unit_type                                                            type class
       0          TRAIL_N               Coded slice segment of a non-TSA, non-STSA trailing     VCL
       1          TRAIL_R               picture
                                        slice_segment_layer_rbsp( )
       2          TSA_N                 Coded slice segment of a TSA picture                    VCL
       3          TSA_R                 slice_segment_layer_rbsp( )
       4          STSA_N                Coded slice segment of an STSA picture                  VCL
       5          STSA_R                slice_segment_layer_rbsp( )
       6          RADL_N                Coded slice segment of a RADL picture                   VCL
       7          RADL_R                slice_segment_layer_rbsp( )
       8          RASL_N                Coded slice segment of a RASL picture                   VCL
       9          RASL_R                slice_segment_layer_rbsp( )
      10          RSV_VCL_N10           Reserved non-IRAP SLNR VCL NAL unit types               VCL
      12          RSV_VCL_N12
      14          RSV_VCL_N14
      11          RSV_VCL_R11           Reserved non-IRAP sub-layer reference VCL NAL unit      VCL
      13          RSV_VCL_R13           types
      15          RSV_VCL_R15
      16          BLA_W_LP              Coded slice segment of a BLA picture                    VCL
      17          BLA_W_RADL            slice_segment_layer_rbsp( )
      18          BLA_N_LP
      19          IDR_W_RADL            Coded slice segment of an IDR picture                   VCL
      20          IDR_N_LP              slice_segment_layer_rbsp( )
      21          CRA_NUT               Coded slice segment of a CRA picture                    VCL
                                        slice_segment_layer_rbsp( )
      22          RSV_IRAP_VCL22        Reserved IRAP VCL NAL unit types                        VCL
      23          RSV_IRAP_VCL23
     24..31       RSV_VCL24..           Reserved non-IRAP VCL NAL unit types                    VCL
                  RSV_VCL31
      32          VPS_NUT               Video parameter set                                   non-VCL
                                        video_parameter_set_rbsp( )
      33          SPS_NUT               Sequence parameter set                                non-VCL
                                        seq_parameter_set_rbsp( )
      34          PPS_NUT               Picture parameter set                                 non-VCL
                                        pic_parameter_set_rbsp( )
      35          AUD_NUT               Access unit delimiter                                 non-VCL
                                        access_unit_delimiter_rbsp( )
      36          EOS_NUT               End of sequence                                       non-VCL
                                        end_of_seq_rbsp( )
      37          EOB_NUT               End of bitstream                                      non-VCL
                                        end_of_bitstream_rbsp( )
      38          FD_NUT                Filler data                                           non-VCL
                                        filler_data_rbsp( )
      39          PREFIX_SEI_NUT        Supplemental enhancement information                  non-VCL
      40          SUFFIX_SEI_NUT        sei_rbsp( )
     41..47       RSV_NVCL41..          Reserved                                              non-VCL
                  RSV_NVCL47
     48..63       UNSPEC48..            Unspecified                                           non-VCL
                  UNSPEC63




66         Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7              Filed 04/07/25             Page 88 of 717 Page ID #:617



   NOTE 3 – A clean random access (CRA) picture may have associated random access skipped leading (RASL) or random access
   decodable leading (RADL) pictures present in the bitstream.
   NOTE 4 – A broken link access (BLA) picture having nal_unit_type equal to BLA_W_LP may have associated RASL or RADL
   pictures present in the bitstream. A BLA picture having nal_unit_type equal to BLA_W_RADL does not have associated RASL
   pictures present in the bitstream, but may have associated RADL pictures in the bitstream. A BLA picture having nal_unit_type
   equal to BLA_N_LP does not have associated leading pictures present in the bitstream.
   NOTE 5 – An instantaneous decoding refresh (IDR) picture having nal_unit_type equal to IDR_N_LP does not have associated
   leading pictures present in the bitstream. An IDR picture having nal_unit_type equal to IDR_W_RADL does not have associated
   RASL pictures present in the bitstream, but may have associated RADL pictures in the bitstream.
   NOTE 6 – A sub-layer non-reference (SLNR) picture is not included in any of RefPicSetStCurrBefore, RefPicSetStCurrAfter and
   RefPicSetLtCurr of any picture with the same value of TemporalId, and may be discarded without affecting the decodability of other
   pictures with the same value of TemporalId.

All coded slice segment NAL units of an access unit shall have the same value of nal_unit_type. A picture or an access
unit is also referred to as having a nal_unit_type equal to the nal_unit_type of the coded slice segment NAL units of the
picture or the access unit.
If a picture has nal_unit_type equal to TRAIL_N, TSA_N, STSA_N, RADL_N, RASL_N, RSV_VCL_N10,
RSV_VCL_N12 or RSV_VCL_N14, the picture is an SLNR picture. Otherwise, the picture is a sub-layer reference picture.
Each picture, other than the first picture in the bitstream in decoding order, is considered to be associated with the previous
intra random access point (IRAP) picture in decoding order.
When a picture is a leading picture, it shall be a RADL or RASL picture.
When a picture is a trailing picture, it shall not be a RADL or RASL picture.
When a picture is a leading picture, it shall precede, in decoding order, all trailing pictures that are associated with the
same IRAP picture.
No RASL pictures shall be present in the bitstream that are associated with a BLA picture having nal_unit_type equal to
BLA_W_RADL or BLA_N_LP.
No RASL pictures shall be present in the bitstream that are associated with an IDR picture.
No RADL pictures shall be present in the bitstream that are associated with a BLA picture having nal_unit_type equal to
BLA_N_LP or that are associated with an IDR picture having nal_unit_type equal to IDR_N_LP.
   NOTE 7 – It is possible to perform random access at the position of an IRAP access unit by discarding all access units before the
   IRAP access unit (and to correctly decode the IRAP picture and all the subsequent non-RASL pictures in decoding order), provided
   each parameter set is available (either in the bitstream or by external means not specified in this Specification) when it needs to be
   activated.

Any picture that has PicOutputFlag equal to 1 that precedes an IRAP picture in decoding order shall precede the IRAP
picture in output order and shall precede any RADL picture associated with the IRAP picture in output order.
Any RASL picture associated with a CRA or BLA picture shall precede any RADL picture associated with the CRA or
BLA picture in output order.
Any RASL picture associated with a CRA picture shall follow, in output order, any IRAP picture that precedes the CRA
picture in decoding order.
When sps_temporal_id_nesting_flag is equal to 1 and TemporalId is greater than 0, the nal_unit_type shall be equal to
TSA_R, TSA_N, RADL_R, RADL_N, RASL_R or RASL_N.
nuh_layer_id specifies the identifier of the layer to which a VCL NAL unit belongs or the identifier of a layer to which a
non-VCL NAL unit applies. The value of nuh_layer_id shall be in the range of 0 to 62, inclusive. The value of 63 may be
specified in the future by ITU-T | ISO/IEC. For purposes other than determining the amount of data in the decoding units
of the bitstream, decoders shall ignore all data that follow the value 63 for nuh_layer_id in a NAL unit, and decoders
conforming to a profile specified in Annex A and not supporting the independent non-base layer decoding (INBLD)
capability specified in Annex F shall ignore (i.e., remove from the bitstream and discard) all NAL units with values of
nuh_layer_id not equal to 0.
   NOTE 8 – The value of 63 for nuh_layer_id may be used to indicate an extended layer identifier in a future extension of this
   Specification.

The value of nuh_layer_id shall be the same for all VCL NAL units of a coded picture. The value of nuh_layer_id of a
coded picture is the value of the nuh_layer_id of the VCL NAL units of the coded picture.
When nal_unit_type is equal to EOB_NUT, the value of nuh_layer_id shall be equal to 0.



                                                                                      Rec. ITU-T H.265 v8 (08/2021)                 67
 Case 2:25-cv-03053                  Document 1-7              Filed 04/07/25             Page 89 of 717 Page ID #:618


nuh_temporal_id_plus1 minus 1 specifies a temporal identifier for the NAL unit. The value of nuh_temporal_id_plus1
shall not be equal to 0.
The variable TemporalId is specified as follows:

            TemporalId = nuh_temporal_id_plus1 − 1                                                                                  (7-1)

When nal_unit_type is in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive, i.e., the coded slice segment belongs
to an IRAP picture, TemporalId shall be equal to 0.
When nal_unit_type is equal to TSA_R or TSA_N, TemporalId shall not be equal to 0.
When nuh_layer_id is equal to 0 and nal_unit_type is equal to STSA_R or STSA_N, TemporalId shall not be equal to 0.
The value of TemporalId shall be the same for all VCL NAL units of an access unit. The value of TemporalId of a coded
picture or an access unit is the value of the TemporalId of the VCL NAL units of the coded picture or the access unit. The
value of TemporalId of a sub-layer representation is the greatest value of TemporalId of all VCL NAL units in the sub-
layer representation.
The value of TemporalId for non-VCL NAL units is constrained as follows:
–     If nal_unit_type is equal to VPS_NUT or SPS_NUT, TemporalId shall be equal to 0 and the TemporalId of the access
      unit containing the NAL unit shall be equal to 0.
–     Otherwise if nal_unit_type is equal to EOS_NUT or EOB_NUT, TemporalId shall be equal to 0.
–     Otherwise, if nal_unit_type is equal to AUD_NUT or FD_NUT, TemporalId shall be equal to the TemporalId of the
      access unit containing the NAL unit.
–     Otherwise, TemporalId shall be greater than or equal to the TemporalId of the access unit containing the NAL unit.
     NOTE 9 – When the NAL unit is a non-VCL NAL unit, the value of TemporalId is equal to the minimum value of the TemporalId
     values of all access units to which the non-VCL NAL unit applies. When nal_unit_type is equal to PPS_NUT, TemporalId may be
     greater than or equal to the TemporalId of the containing access unit, as all picture parameter sets (PPSs) may be included in the
     beginning of a bitstream, wherein the first coded picture has TemporalId equal to 0. When nal_unit_type is equal to
     PREFIX_SEI_NUT or SUFFIX_SEI_NUT, TemporalId may be greater than or equal to the TemporalId of the containing access
     unit, as an SEI NAL unit may contain information, e.g., in a buffering period SEI message or a picture timing SEI message, that
     applies to a bitstream subset that includes access units for which the TemporalId values are greater than the TemporalId of the access
     unit containing the SEI NAL unit.

7.4.2.3      Encapsulation of an SODB within an RBSP (informative)
This clause does not form an integral part of this Specification.
The form of encapsulation of an SODB within an RBSP and the use of the emulation_prevention_three_byte for
encapsulation of an RBSP within a NAL unit is described for the following purposes:
–     To prevent the emulation of start codes within NAL units while allowing any arbitrary SODB to be represented within
      a NAL unit,
–     To enable identification of the end of the SODB within the NAL unit by searching the RBSP for the rbsp_stop_one_bit
      starting at the end of the RBSP,
–     To enable a NAL unit to have a size greater than that of the SODB under some circumstances (using one or more
      cabac_zero_word syntax elements).
The encoder can produce a NAL unit from an RBSP by the following procedure:
      1.   The RBSP data are searched for byte-aligned bits of the following binary patterns:
                '00000000 00000000 000000xx' (where 'xx' represents any two-bit pattern: '00', '01', '10', or '11'),
           and a byte equal to 0x03 is inserted to replace the bit pattern with the pattern:
                '00000000 00000000 00000011 000000xx',
           and finally, when the last byte of the RBSP data is equal to 0x00 (which can only occur when the RBSP ends in
           a cabac_zero_word), a final byte equal to 0x03 is appended to the end of the data. The last zero byte of a
           byte-aligned three-byte sequence 0x000000 in the RBSP (which is replaced by the four-byte sequence
           0x00000300) is taken into account when searching the RBSP data for the next occurrence of byte-aligned bits
           with the binary patterns specified above.
      2.   The resulting sequence of bytes is then prefixed with the NAL unit header, within which the nal_unit_type
           indicates the type of RBSP data structure in the NAL unit.



68           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 90 of 717 Page ID #:619


The process specified above results in the construction of the entire NAL unit.
This process can allow any SODB to be represented in a NAL unit while ensuring both of the following:
–    No byte-aligned start code prefix is emulated within the NAL unit.
–    No sequence of 8 zero-valued bits followed by a start code prefix, regardless of byte-alignment, is emulated within
     the NAL unit.

7.4.2.4    Order of NAL units and association to coded pictures, access units and coded video sequences

7.4.2.4.1 General
This clause specifies constraints on the order of NAL units in the bitstream.
Any order of NAL units in the bitstream obeying these constraints is referred to in the text as the decoding order of NAL
units. Within a NAL unit, the syntax in clauses 7.3, D.2 and E.2 specifies the decoding order of syntax elements. Decoders
shall be capable of receiving NAL units and their syntax elements in decoding order.

7.4.2.4.2 Order of VPS, SPS and PPS RBSPs and their activation
This clause specifies the activation process of video parameter sets (VPSs), sequence parameter sets (SPSs) and PPSs.
    NOTE 1 – The VPS, SPS and PPS mechanism decouples the transmission of infrequently changing information from the
    transmission of coded block data. VPSs, SPSs and PPSs may, in some applications, be conveyed "out-of-band".

A PPS RBSP includes parameters that can be referred to by the coded slice segment NAL units of one or more coded
pictures. Each PPS RBSP is initially considered not active for the base layer at the start of the operation of the decoding
process. At most one PPS RBSP is considered active for the base layer at any given moment during the operation of the
decoding process, and the activation of any particular PPS RBSP for the base layer results in the deactivation of the
previously-active PPS RBSP for the base layer (if any).
When a PPS RBSP (with a particular value of pps_pic_parameter_set_id) is not active for the base layer and it is referred
to by a coded slice segment NAL unit with nuh_layer_id equal to 0 (using a value of slice_pic_parameter_set_id equal to
the pps_pic_parameter_set_id value), it is activated for the base layer. This PPS RBSP is called the active PPS RBSP for
the base layer until it is deactivated by the activation of another PPS RBSP for the base layer. A PPS RBSP, with that
particular value of pps_pic_parameter_set_id, shall be available to the decoding process prior to its activation, included in
at least one access unit with TemporalId less than or equal to the TemporalId of the PPS NAL unit or provided through
external means, and the PPS NAL unit containing the PPS RBSP shall have nuh_layer_id equal to 0.
Any PPS NAL unit containing the value of pps_pic_parameter_set_id for the active PPS RBSP for a coded picture (and
consequently for the layer containing the coded picture) shall have the same content as that of the active PPS RBSP for the
coded picture, unless it follows the last VCL NAL unit of the coded picture and precedes the first VCL NAL unit of another
coded picture.
An SPS RBSP includes parameters that can be referred to by one or more PPS RBSPs or one or more SEI NAL units
containing an active parameter sets SEI message. Each SPS RBSP is initially considered not active for the base layer at
the start of the operation of the decoding process. At most one SPS RBSP is considered active for the base layer at any
given moment during the operation of the decoding process, and the activation of any particular SPS RBSP for the base
layer results in the deactivation of the previously-active SPS RBSP for the base layer (if any).
When an SPS RBSP (with a particular value of sps_seq_parameter_set_id) is not already active for the base layer and it is
referred to by activation of a PPS RBSP (in which pps_seq_parameter_set_id is equal to the sps_seq_parameter_set_id
value) for the base layer or, when vps_base_layer_internal_flag is equal to 1 and vps_base_layer_available_flag is equal
to 1, is referred to by an SEI NAL unit containing an active parameter sets SEI message (in which
active_seq_parameter_set_id[ 0 ] is equal to the sps_seq_parameter_set_id value), it is activated for the base layer. This
SPS RBSP is called the active SPS RBSP for the base layer until it is deactivated by the activation of another SPS RBSP
for the base layer. An SPS RBSP, with that particular value of sps_seq_parameter_set_id, shall be available to the decoding
process prior to its activation, included in at least one access unit with TemporalId equal to 0 or provided through external
means, and the SPS NAL unit containing the SPS RBSP shall have nuh_layer_id equal to 0. An activated SPS RBSP for
the base layer shall remain active for the entire coded video sequence (CVS).
    NOTE 2 – Because an IRAP access unit with NoRaslOutputFlag equal to 1 begins a new CVS and an activated SPS RBSP for the
    base layer must remain active for the entire CVS, an SPS RBSP can only be activated for the base layer by an active parameter sets
    SEI message when the active parameter sets SEI message is part of an IRAP access unit with NoRaslOutputFlag equal to 1.

Any SPS NAL unit with nuh_layer_id equal to 0 containing the value of sps_seq_parameter_set_id for the active SPS
RBSP for the base layer for a CVS shall have the same content as that of the active SPS RBSP for the base layer for the
CVS, unless it follows the last access unit of the CVS and precedes the first VCL NAL unit and the first SEI NAL unit
containing an active parameter sets SEI message (when present) of another CVS.



                                                                                    Rec. ITU-T H.265 v8 (08/2021)                69
 Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25            Page 91 of 717 Page ID #:620


A VPS RBSP includes parameters that can be referred to by one or more SPS RBSPs or one or more SEI NAL units
containing an active parameter sets SEI message. Each VPS RBSP is initially considered not active at the start of the
operation of the decoding process. At most one VPS RBSP is considered active at any given moment during the operation
of the decoding process, and the activation of any particular VPS RBSP results in the deactivation of the previously-active
VPS RBSP (if any).
When a VPS RBSP (with a particular value of vps_video_parameter_set_id) is not already active and it is referred to by
activation of an SPS RBSP (in which sps_video_parameter_set_id is equal to the vps_video_parameter_set_id value) for
the base layer, or is referred to by an SEI NAL unit containing an active parameter sets SEI message (in which
active_video_parameter_set_id is equal to the vps_video_parameter_set_id value), it is activated. This VPS RBSP is called
the active VPS RBSP until it is deactivated by the activation of another VPS RBSP. A VPS RBSP, with that particular
value of vps_video_parameter_set_id, shall be available to the decoding process prior to its activation, included in at least
one access unit with TemporalId equal to 0 or provided through external means, and the VPS NAL unit containing the
VPS RBSP shall have nuh_layer_id equal to 0. An activated VPS RBSP shall remain active for the entire CVS.
     NOTE 3 – Because an IRAP access unit with NoRaslOutputFlag equal to 1 begins a new CVS and an activated VPS RBSP must
     remain active for the entire CVS, a VPS RBSP can only be activated by an active parameter sets SEI message when the active
     parameter sets SEI message is part of an IRAP access unit with NoRaslOutputFlag equal to 1.

Any VPS NAL unit containing the value of vps_video_parameter_set_id for the active VPS RBSP for a CVS shall have
the same content as that of the active VPS RBSP for the CVS, unless it follows the last access unit of the CVS and precedes
the first VCL NAL unit, the first SPS NAL unit and the first SEI NAL unit containing an active parameter sets SEI message
(when present) of another CVS.
     NOTE 4 – If VPS RBSP, SPS RBSP or PPS RBSP are conveyed within the bitstream, these constraints impose an order constraint
     on the NAL units that contain the VPS RBSP, SPS RBSP or PPS RBSP, respectively. Otherwise (VPS RBSP, SPS RBSP or PPS
     RBSP are conveyed by other means not specified in this Specification), they must be available to the decoding process in a timely
     fashion such that these constraints are obeyed.

All constraints that are expressed on the relationship between the values of the syntax elements and the values of variables
derived from those syntax elements in VPSs, SPSs and PPSs and other syntax elements are expressions of constraints that
apply only to the active VPS RBSP, the active SPS RBSP for the base layer and the active PPS RBSP for the base layer.
If any VPS RBSP, SPS RBSP and PPS RBSP is present that is never activated in the bitstream, its syntax elements shall
have values that would conform to the specified constraints if it was activated by reference in an otherwise conforming
bitstream.
     NOTE 5 – In the context of this clause, activation of a parameter set RBSP is for the base layer only. Thus, the constraint above on
     never-activated parameter set RBSPs applies to those parameter set RBSPs with nuh_layer_id equal to 0 only, because parameter
     set RBSPs with nuh_layer_id greater than 0 are not allowed to be referred to by the base layer.

During operation of the decoding process (see clause 8), the values of parameters of the active VPS RBSP, the active SPS
RBSP for the base layer and the active PPS RBSP for the base layer are considered in effect. For interpretation of SEI
messages, the values of the active VPS RBSP, the active SPS RBSP for the base layer and the active PPS RBSP for the
base layer for the operation of the decoding process for the VCL NAL units of the coded picture with nuh_layer_id equal
to 0 in the same access unit are considered in effect unless otherwise specified in the SEI message semantics.

7.4.2.4.3 Order of access units and association to CVSs
A bitstream conforming to this Specification consists of one or more CVSs.
A CVS consists of one or more access units. The order of NAL units and coded pictures and their association to access
units is described in clause 7.4.2.4.4.
The first access unit of a CVS is an IRAP access unit with NoRaslOutputFlag equal to 1.
It is a requirement of bitstream conformance that, when present, the next access unit after an access unit that contains an
end of sequence NAL unit shall be an IRAP access unit, which may be an IDR access unit, a BLA access unit, or a CRA
access unit.

7.4.2.4.4 Order of NAL units and coded pictures and their association to access units
This clause specifies the order of NAL units and coded pictures and their association to access units for CVSs that conform
to one or more of the profiles specified in Annex A and that are decoded using the decoding process specified in clauses 2
through 10.
An access unit consists of one coded picture with nuh_layer_id equal to 0, zero or more VCL NAL units with nuh_layer_id
greater than 0 and zero or more non-VCL NAL units. The association of VCL NAL units to coded pictures is described in
clause 7.4.2.4.5.
The first access unit in the bitstream starts with the first NAL unit of the bitstream.




70           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 92 of 717 Page ID #:621


Let firstBlPicNalUnit be the first VCL NAL unit of a coded picture with nuh_layer_id equal to 0. The first of any of the
following NAL units preceding firstBlPicNalUnit and succeeding the last VCL NAL unit preceding firstBlPicNalUnit, if
any, specifies the start of a new access unit:
     NOTE 1 – The last VCL NAL unit preceding firstBlPicNalUnit in decoding order may have nuh_layer_id greater than 0.

–    access unit delimiter NAL unit with nuh_layer_id equal to 0 (when present),
–    VPS NAL unit with nuh_layer_id equal to 0 (when present),
–    SPS NAL unit with nuh_layer_id equal to 0 (when present),
–    PPS NAL unit with nuh_layer_id equal to 0 (when present),
–    Prefix SEI NAL unit with nuh_layer_id equal to 0 (when present),
–    NAL units with nal_unit_type in the range of RSV_NVCL41..RSV_NVCL44 with nuh_layer_id equal to 0 (when
     present),
–    NAL units with nal_unit_type in the range of UNSPEC48..UNSPEC55 with nuh_layer_id equal to 0 (when present).
     NOTE 2 – The first NAL unit preceding firstBlPicNalUnit and succeeding the last VCL NAL unit preceding firstBlPicNalUnit, if
     any, can only be one of the above-listed NAL units.

When there is none of the above NAL units preceding firstBlPicNalUnit and succeeding the last VCL NAL preceding
firstBlPicNalUnit, if any, firstBlPicNalUnit starts a new access unit.
The order of the coded pictures and non-VCL NAL units within an access unit shall obey the following constraints:
–    When an access unit delimiter NAL unit with nuh_layer_id equal to 0 is present, it shall be the first NAL unit. There
     shall be at most one access unit delimiter NAL unit with nuh_layer_id equal to 0 in any access unit.
–    When any VPS NAL units, SPS NAL units, PPS NAL units, prefix SEI NAL units, NAL units with nal_unit_type in
     the range of RSV_NVCL41..RSV_NVCL44, or NAL units with nal_unit_type in the range of
     UNSPEC48..UNSPEC55 are present, they shall not follow the last VCL NAL unit of the access unit.
–    NAL units having nal_unit_type equal to FD_NUT or SUFFIX_SEI_NUT or in the range of
     RSV_NVCL45..RSV_NVCL47 or UNSPEC56..UNSPEC63 shall not precede the first VCL NAL unit of the access
     unit.
–    When an end of sequence NAL unit with nuh_layer_id equal to 0 is present, it shall be the last NAL unit among all
     NAL units with nuh_layer_id equal to 0 in the access unit other than an end of bitstream NAL unit (when present).
–    When an end of bitstream NAL unit is present, it shall be the last NAL unit in the access unit.
    NOTE 3 – Decoders conforming to profiles specified in Annex A do not use NAL units with nuh_layer_id greater than 0, e.g., access
    unit delimiter NAL units with nuh_layer_id greater than 0, for access unit boundary detection, except for identification of a NAL
    unit as a VCL or non-VCL NAL unit.

The structure of access units not containing any NAL units with nal_unit_type equal to FD_NUT, VPS_NUT, SPS_NUT,
PPS_NUT, RSV_VCL_N10, RSV_VCL_R11, RSV_VCL_N12, RSV_VCL_R13, RSV_VCL_N14 or RSV_VCL_R15,
RSV_IRAP_VCL22           or     RSV_IRAP_VCL23,        or     in    the    range      of  RSV_VCL24..RSV_VCL31,
RSV_NVCL41..RSV_NVCL47 or UNSPEC48..UNSPEC63 is shown in Figure 7-1.




                                                                                    Rec. ITU-T H.265 v8 (08/2021)                71
 Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25            Page 93 of 717 Page ID #:622




  Figure 7-1 – Structure of an access unit not containing any NAL units with nal_unit_type equal to FD_NUT,
   SUFFIX_SEI_NUT, VPS_NUT, SPS_NUT, PPS_NUT, RSV_VCL_N10, RSV_VCL_R11, RSV_VCL_N12,
RSV_VCL_R13, RSV_VCL_N14, RSV_VCL_R15, RSV_IRAP_VCL22 or RSV_IRAP_VCL23, or in the range of
            RSV_VCL24..RSV_VCL31, RSV_NVCL41..RSV_NVCL47 or UNSPEC48..UNSPEC63


7.4.2.4.5 Order of VCL NAL units and association to coded pictures
This clause specifies the order of VCL NAL units and association to coded pictures.
Each VCL NAL unit is part of a coded picture.
The order of the VCL NAL units within a coded picture is constrained as follows:
–     The first VCL NAL unit of the coded picture shall have first_slice_segment_in_pic_flag equal to 1.
–     Let sliceSegAddrA and sliceSegAddrB be the slice_segment_address values of any two coded slice segment NAL
      units A and B within the same coded picture. When either of the following conditions is true, coded slice segment
      NAL unit A shall precede the coded slice segment NAL unit B:
      –    TileId[ CtbAddrRsToTs[ sliceSegAddrA ] ] is less than TileId[ CtbAddrRsToTs[ sliceSegAddrB ] ].
      –    TileId[ CtbAddrRsToTs[ sliceSegAddrA ] ] is equal to TileId[ CtbAddrRsToTs[ sliceSegAddrB ] ] and
           CtbAddrRsToTs[ sliceSegAddrA ] is less than CtbAddrRsToTs[ sliceSegAddrB ].

7.4.3      Raw byte sequence payloads, trailing bits and byte alignment semantics

7.4.3.1     Video parameter set RBSP semantics
     NOTE 1 – VPS NAL units are required to be available to the decoding process prior to their activation (either in the bitstream or by
     external means), as specified in clause 7.4.2.4.2. However, the VPS RBSP contains information that is not necessary for operation
     of the decoding process specified in clauses 2 through 10 of this Specification. For purposes other than determining the amount of
     data in the decoding units of the bitstream (as specified in Annex C), decoders conforming to a profile specified in Annex A but not
     supporting the INBLD capability specified in Annex F may ignore (remove from the bitstream and discard) the content of all VPS
     NAL units.

Any two instances of the syntax structure hrd_parameters( ) included in a VPS RBSP shall not have the same content.
vps_video_parameter_set_id identifies the VPS for reference by other syntax elements.




72           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 94 of 717 Page ID #:623


vps_base_layer_internal_flag and vps_base_layer_available_flag specify the following:
–    If vps_base_layer_internal_flag is equal to 1 and vps_base_layer_available_flag is equal to 1, the base layer is present
     in the bitstream.
–    Otherwise, if vps_base_layer_internal_flag is equal to 0 and vps_base_layer_available_flag is equal to 1, the base
     layer is provided by an external means not specified in this Specification.
–    Otherwise, if vps_base_layer_internal_flag is equal to 1 and vps_base_layer_available_flag is equal to 0, the base
     layer is not available (neither present in the bitstream nor provided by external means) but the VPS includes
     information of the base layer as if it were present in the bitstream.
–    Otherwise (vps_base_layer_internal_flag is equal to 0 and vps_base_layer_available_flag is equal to 0), the base layer
     is not available (neither present in the bitstream nor provided by external means) but the VPS includes information of
     the base layer as if it were provided by an external means not specified in this Specification.
vps_max_layers_minus1 plus 1 specifies the maximum allowed number of layers in each CVS referring to the VPS. It is
a requirement of bitstream conformance that, when vps_base_layer_internal_flag is equal to 0, vps_max_layers_minus1
shall be greater than 0. vps_max_layers_minus1 shall be less than 63 in bitstreams conforming to this version of this
Specification. The value of 63 for vps_max_layers_minus1 is reserved for future use by ITU-T | ISO/IEC. Although the
value of vps_max_layers_minus1 is required to be less than 63 in this version of this Specification, decoders shall allow
the value of vps_max_layers_minus1 equal to 63 to appear in the syntax.
    NOTE 2 – The value of 63 for vps_max_layers_minus1 may be used to indicate an extended number of layers in a future extension
    where more than 63 layers in a bitstream need to be supported.

The variable MaxLayersMinus1 is set equal to Min( 62, vps_max_layers_minus1 ).
vps_max_sub_layers_minus1 plus 1 specifies the maximum number of temporal sub-layers that may be present in each
CVS referring to the VPS. The value of vps_max_sub_layers_minus1 shall be in the range of 0 to 6, inclusive.
vps_temporal_id_nesting_flag, when vps_max_sub_layers_minus1 is greater than 0, specifies whether inter prediction
is additionally restricted for CVSs referring to the VPS. When vps_max_sub_layers_minus1 is equal to 0,
vps_temporal_id_nesting_flag shall be equal to 1.
    NOTE 3 – The syntax element vps_temporal_id_nesting_flag is used to indicate that temporal sub-layer up-switching, i.e., switching
    from decoding of up to any TemporalId tIdN to decoding up to any TemporalId tIdM that is greater than tIdN, is always possible.

vps_reserved_0xffff_16bits shall be equal to 0xFFFF in bitstreams conforming to this version of this Specification. Other
values for vps_reserved_0xffff_16bits are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the value of
vps_reserved_0xffff_16bits.
vps_sub_layer_ordering_info_present_flag equal to 1 specifies that vps_max_dec_pic_buffering_minus1[ i ],
vps_max_num_reorder_pics[ i ] and vps_max_latency_increase_plus1[ i ] are present for vps_max_sub_layers_
minus1 + 1 sub-layers. vps_sub_layer_ordering_info_present_flag equal to 0 specifies that the values of
vps_max_dec_pic_buffering_minus1[ vps_max_sub_layers_minus1 ],           vps_max_num_reorder_pics[ vps_max_sub_
layers_minus1 ] and vps_max_latency_increase_plus1[ vps_max_sub_layers_minus1 ] apply to all sub-layers. When
vps_base_layer_internal_flag is equal to 0, vps_sub_layer_ordering_info_present_flag shall be equal to 0 and decoders
shall ignore the value of vps_sub_layer_ordering_info_present_flag.
vps_max_dec_pic_buffering_minus1[ i ] plus 1 specifies the maximum required size of the decoded picture buffer for
the CVS in units of picture storage buffers when HighestTid is equal to i. The value of
vps_max_dec_pic_buffering_minus1[ i ] shall be in the range of 0 to MaxDpbSize − 1 (as specified in clause A.4),
inclusive. When i is greater than 0, vps_max_dec_pic_buffering_minus1[ i ] shall be greater than or equal to
vps_max_dec_pic_buffering_minus1[ i − 1 ]. When vps_max_dec_pic_buffering_minus1[ i ] is not present for i in the
range of 0 to vps_max_sub_layers_minus1 − 1, inclusive, due to vps_sub_layer_ordering_info_present_flag being equal
to 0, it is inferred to be equal to vps_max_dec_pic_buffering_minus1[ vps_max_sub_layers_minus1 ]. When
vps_base_layer_internal_flag is equal to 0, vps_max_dec_pic_buffering_minus1[ i ] shall be equal to 0 and decoders shall
ignore the value of vps_max_dec_pic_buffering_minus1[ i ].
vps_max_num_reorder_pics[ i ] indicates the maximum allowed number of pictures with PicOutputFlag equal to 1 that
can precede any picture with PicOutputFlag equal to 1 in the CVS in decoding order and follow that picture with
PicOutputFlag equal to 1 in output order when HighestTid is equal to i. The value of vps_max_num_reorder_pics[ i ] shall
be in the range of 0 to vps_max_dec_pic_buffering_minus1[ i ], inclusive. When i is greater than 0,
vps_max_num_reorder_pics[ i ] shall be greater than or equal to vps_max_num_reorder_pics[ i − 1 ]. When
vps_max_num_reorder_pics[ i ] is not present for i in the range of 0 to vps_max_sub_layers_minus1 − 1, inclusive, due to
vps_sub_layer_ordering_info_present_flag being equal to 0, it is inferred to be equal to
vps_max_num_reorder_pics[ vps_max_sub_layers_minus1 ]. When vps_base_layer_internal_flag is equal to 0,
vps_max_num_reorder_pics[ i ] shall be equal to 0 and decoders shall ignore the value of vps_max_num_reorder_pics[ i ].




                                                                                    Rec. ITU-T H.265 v8 (08/2021)                 73
 Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 95 of 717 Page ID #:624


vps_max_latency_increase_plus1[ i ] not equal to 0 is used to compute the value of VpsMaxLatencyPictures[ i ], which
specifies the maximum number of pictures with PicOutputFlag equal to 1 that can precede any picture with PicOutputFlag
equal to 1 in the CVS in output order and follow that picture with PicOutputFlag equal to 1 in decoding order when
HighestTid is equal to i.
When vps_max_latency_increase_plus1[ i ] is not equal to 0, the value of VpsMaxLatencyPictures[ i ] is specified as
follows:

          VpsMaxLatencyPictures[ i ] = vps_max_num_reorder_pics[ i ] +                                                    (7-2)
                vps_max_latency_increase_plus1[ i ] − 1

When vps_max_latency_increase_plus1[ i ] is equal to 0, no corresponding limit is expressed.
The value of vps_max_latency_increase_plus1[ i ] shall be in the range of 0 to 232 − 2, inclusive. When
vps_max_latency_increase_plus1[ i ] is not present for i in the range of 0 to vps_max_sub_layers_minus1 − 1, inclusive,
due to vps_sub_layer_ordering_info_present_flag being equal to 0, it is inferred to be equal to
vps_max_latency_increase_plus1[ vps_max_sub_layers_minus1 ].
When vps_base_layer_internal_flag is equal to 0, vps_max_latency_increase_plus1[ i ] shall be equal to 0 and decoders
shall ignore the value of vps_max_latency_increase_plus1[ i ].
vps_max_layer_id specifies the maximum allowed value of nuh_layer_id of all NAL units in each CVS referring to the
VPS. vps_max_layer_id shall be less than 63 in bitstreams conforming to this version of this Specification. The value of 63
for vps_max_layer_id is reserved for future use by ITU-T | ISO/IEC. Although the value of vps_max_layer_id is required
to be less than 63 in this version of this Specification, decoders shall allow a value of vps_max_layer_id equal to 63 to
appear in the syntax.
vps_num_layer_sets_minus1 plus 1 specifies the number of layer sets that are specified by the VPS. The value of
vps_num_layer_sets_minus1 shall be in the range of 0 to 1 023, inclusive.
layer_id_included_flag[ i ][ j ] equal to 1 specifies that the value of nuh_layer_id equal to j is included in the layer
identifier list LayerSetLayerIdList[ i ]. layer_id_included_flag[ i ][ j ] equal to 0 specifies that the value of nuh_layer_id
equal to j is not included in the layer identifier list LayerSetLayerIdList[ i ].
The value of NumLayersInIdList[ 0 ] is set equal to 1 and the value of LayerSetLayerIdList[ 0 ][ 0 ] is set equal to 0.
For each value of i in the range of 1 to vps_num_layer_sets_minus1, inclusive, the variable NumLayersInIdList[ i ] and
the layer identifier list LayerSetLayerIdList[ i ] are derived as follows:

          n=0
          for( m = 0; m <= vps_max_layer_id; m++ )
               if( layer_id_included_flag[ i ][ m ] )                                                                     (7-3)
                     LayerSetLayerIdList[ i ][ n++ ] = m
          NumLayersInIdList[ i ] = n

For each value of i in the range of 1 to vps_num_layer_sets_minus1, inclusive, NumLayersInIdList[ i ] shall be in the range
of 1 to vps_max_layers_minus1 + 1, inclusive.
When NumLayersInIdList[ iA ] is equal to NumLayersInIdList[ iB ] for any iA and iB in the range of 0 to
vps_num_layer_sets_minus1, inclusive, with iA not equal to iB, the value of LayerSetLayerIdList[ iA ][ n ] shall not be
equal to LayerSetLayerIdList[ iB ][ n ] for at least one value of n in the range of 0 to NumLayersInIdList[ iA ], inclusive.
A layer set is identified by the associated layer identifier list. The i-th layer set specified by the VPS is associated with the
layer identifier list LayerSetLayerIdList[ i ], for i in the range of 0 to vps_num_layer_sets_minus1, inclusive.
A layer set consists of all operation points that are associated with the same layer identifier list.
Each operation point is identified by the associated layer identifier list, denoted as OpLayerIdList, which consists of the
list of nuh_layer_id values of all NAL units included in the operation point, in increasing order of nuh_layer_id values,
and a variable OpTid, which is equal to the highest TemporalId of all NAL units included in the operation point. The
bitstream subset associated with the operation point identified by OpLayerIdList and OpTid is the output of the sub-
bitstream extraction process as specified in clause 10 with the bitstream, the target highest TemporalId equal to OpTid,
and the target layer identifier list equal to OpLayerIdList as inputs. The OpLayerIdList and OpTid that identify an operation
point are also referred to as the OpLayerIdList and OpTid associated with the operation point, respectively.
vps_timing_info_present_flag     equal   to           1    specifies that    vps_num_units_in_tick,    vps_time_scale,
vps_poc_proportional_to_timing_flag    and            vps_num_hrd_parameters     are   present      in   the    VPS.



74          Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053               Document 1-7             Filed 04/07/25            Page 96 of 717 Page ID #:625


vps_timing_info_present_flag   equal     to   0   specifies   that     vps_num_units_in_tick,                      vps_time_scale,
vps_poc_proportional_to_timing_flag and vps_num_hrd_parameters are not present in the VPS.
vps_num_units_in_tick is the number of time units of a clock operating at the frequency vps_time_scale Hz that
corresponds to one increment (called a clock tick) of a clock tick counter. The value of vps_num_units_in_tick shall be
greater than 0. A clock tick, in units of seconds, is equal to the quotient of vps_num_units_in_tick divided by
vps_time_scale. For example, when the picture rate of a video signal is 25 Hz, vps_time_scale may be equal to 27 000 000
and vps_num_units_in_tick may be equal to 1 080 000, and consequently a clock tick may be 0.04 seconds.
vps_time_scale is the number of time units that pass in one second. For example, a time coordinate system that measures
time using a 27 MHz clock has a vps_time_scale of 27 000 000. The value of vps_time_scale shall be greater than 0.
vps_poc_proportional_to_timing_flag equal to 1 indicates that the picture order count value for each picture in the CVS
that is not the first picture in the CVS, in decoding order, is proportional to the output time of the picture relative to the
output time of the first picture in the CVS. vps_poc_proportional_to_timing_flag equal to 0 indicates that the picture order
count value for each picture in the CVS that is not the first picture in the CVS, in decoding order, may or may not be
proportional to the output time of the picture relative to the output time of the first picture in the CVS.
vps_num_ticks_poc_diff_one_minus1 plus 1 specifies the number of clock ticks corresponding to a difference of picture
order count values equal to 1. The value of vps_num_ticks_poc_diff_one_minus1 shall be in the range of 0 to 232 − 2,
inclusive.
vps_num_hrd_parameters specifies the number of hrd_parameters( ) syntax structures present in the VPS RBSP before
the vps_extension_flag syntax element. The value of vps_num_hrd_parameters shall be in the range of 0 to
vps_num_layer_sets_minus1 + 1, inclusive.
hrd_layer_set_idx[ i ] specifies the index, into the list of layer sets specified by the VPS, of the layer set to which the i-th
hrd_parameters( ) syntax structure in the VPS applies. The value of hrd_layer_set_idx[ i ] shall be in the range of
( vps_base_layer_internal_flag ? 0 : 1 ) to vps_num_layer_sets_minus1, inclusive.
It is a requirement of bitstream conformance that the value of hrd_layer_set_idx[ i ] shall not be equal to the value of
hrd_layer_set_idx[ j ] for any value of j not equal to i.
cprms_present_flag[ i ] equal to 1 specifies that the HRD parameters that are common for all sub-layers are present in the
i-th hrd_parameters( ) syntax structure in the VPS. cprms_present_flag[ i ] equal to 0 specifies that the HRD parameters
that are common for all sub-layers are not present in the i-th hrd_parameters( ) syntax structure in the VPS and are derived
to be the same as the ( i − 1 )-th hrd_parameters( ) syntax structure in the VPS. cprms_present_flag[ 0 ] is inferred to be
equal to 1.
vps_extension_flag equal to 0 specifies that no vps_extension_data_flag syntax elements are present in the VPS RBSP
syntax structure. vps_extension_flag equal to 1 specifies that there are vps_extension_data_flag syntax elements present
in the VPS RBSP syntax structure. Decoders conforming to a profile specified in Annex A but not supporting the INBLD
capability specified in Annex F shall ignore all data that follow the value 1 for vps_extension_flag in a VPS NAL unit.
vps_extension_data_flag may have any value. Its presence and value do not affect the decoding process of the profiles
specified in Annex A. Decoders conforming to a profile specified in Annex A but not supporting the INBLD capability
specified in Annex F shall ignore all vps_extension_data_flag syntax elements.

7.4.3.2    Sequence parameter set RBSP semantics

7.4.3.2.1 General sequence parameter set RBSP semantics
sps_video_parameter_set_id specifies the value of the vps_video_parameter_set_id of the active VPS.
sps_max_sub_layers_minus1 plus 1 specifies the maximum number of temporal sub-layers that may be present in each
CVS referring to the SPS. The value of sps_max_sub_layers_minus1 shall be in the range of 0 to 6, inclusive. The value
of sps_max_sub_layers_minus1 shall be less than or equal to vps_max_sub_layers_minus1.
sps_temporal_id_nesting_flag, when sps_max_sub_layers_minus1 is greater than 0, specifies whether inter prediction is
additionally restricted for CVSs referring to the SPS. When vps_temporal_id_nesting_flag is equal to 1,
sps_temporal_id_nesting_flag shall be equal to 1. When sps_max_sub_layers_minus1 is equal to 0,
sps_temporal_id_nesting_flag shall be equal to 1.
   NOTE 1 – The syntax element sps_temporal_id_nesting_flag is used to indicate that temporal up-switching, i.e., switching from
   decoding up to any TemporalId tIdN to decoding up to any TemporalId tIdM that is greater than tIdN, is always possible in the CVS.

sps_seq_parameter_set_id provides an identifier for the SPS for reference by other syntax elements. The value of
sps_seq_parameter_set_id shall be in the range of 0 to 15, inclusive.
chroma_format_idc specifies the chroma sampling relative to the luma sampling as specified in clause 6.2. The value of
chroma_format_idc shall be in the range of 0 to 3, inclusive.


                                                                                   Rec. ITU-T H.265 v8 (08/2021)                75
 Case 2:25-cv-03053                Document 1-7             Filed 04/07/25          Page 97 of 717 Page ID #:626


separate_colour_plane_flag equal to 1 specifies that the three colour components of the 4:4:4 chroma format are coded
separately. separate_colour_plane_flag equal to 0 specifies that the colour components are not coded separately. When
separate_colour_plane_flag is not present, it is inferred to be equal to 0. When separate_colour_plane_flag is equal to 1,
the coded picture consists of three separate components, each of which consists of coded samples of one colour plane (Y,
Cb, or Cr) and uses the monochrome coding syntax. In this case, each colour plane is associated with a specific
colour_plane_id value.
     NOTE 2 – There is no dependency in decoding processes between the colour planes having different colour_plane_id values. For
     example, the decoding process of a monochrome picture with one value of colour_plane_id does not use any data from monochrome
     pictures having different values of colour_plane_id for inter prediction.

Depending on the value of separate_colour_plane_flag, the value of the variable ChromaArrayType is assigned as follows:
–     If separate_colour_plane_flag is equal to 0, ChromaArrayType is set equal to chroma_format_idc.
–     Otherwise (separate_colour_plane_flag is equal to 1), ChromaArrayType is set equal to 0.
pic_width_in_luma_samples specifies the width of each decoded picture in units of luma samples.
pic_width_in_luma_samples shall not be equal to 0 and shall be an integer multiple of MinCbSizeY.
pic_height_in_luma_samples specifies the height of each decoded picture in units of luma samples.
pic_height_in_luma_samples shall not be equal to 0 and shall be an integer multiple of MinCbSizeY.
conformance_window_flag equal to 1 indicates that the conformance cropping window offset parameters follow next in
the SPS. conformance_window_flag equal to 0 indicates that the conformance cropping window offset parameters are not
present.
conf_win_left_offset, conf_win_right_offset, conf_win_top_offset and conf_win_bottom_offset specify the samples of
the pictures in the CVS that are output from the decoding process, in terms of a rectangular region specified in picture
coordinates for output. When conformance_window_flag is equal to 0, the values of conf_win_left_offset,
conf_win_right_offset, conf_win_top_offset and conf_win_bottom_offset are inferred to be equal to 0.
The conformance cropping window contains the luma samples with horizontal picture coordinates from
SubWidthC * conf_win_left_offset to pic_width_in_luma_samples − ( SubWidthC * conf_win_right_offset + 1 ) and
vertical         picture         coordinates        from          SubHeightC * conf_win_top_offset         to
pic_height_in_luma_samples − ( SubHeightC * conf_win_bottom_offset + 1 ), inclusive.
The      value    of     SubWidthC * ( conf_win_left_offset + conf_win_right_offset ) shall   be    less     than
pic_width_in_luma_samples, and the value of SubHeightC * ( conf_win_top_offset + conf_win_bottom_offset ) shall be
less than pic_height_in_luma_samples.
When ChromaArrayType is not equal to 0, the corresponding specified samples of the two chroma arrays are the samples
having picture coordinates ( x / SubWidthC, y / SubHeightC ), where ( x, y ) are the picture coordinates of the specified
luma samples.
     NOTE 3 – The conformance cropping window offset parameters are only applied at the output. All internal decoding processes are
     applied to the uncropped picture size.

bit_depth_luma_minus8 specifies the bit depth of the samples of the luma array BitDepthY and the value of the luma
quantization parameter range offset QpBdOffsetY as follows:

           BitDepthY        = 8 + bit_depth_luma_minus8                                                                     (7-4)

           QpBdOffsetY = 6 * bit_depth_luma_minus8                                                                          (7-5)

bit_depth_luma_minus8 shall be in the range of 0 to 8, inclusive.
bit_depth_chroma_minus8 specifies the bit depth of the samples of the chroma arrays BitDepthC and the value of the
chroma quantization parameter range offset QpBdOffsetC as follows:

           BitDepthC        = 8 + bit_depth_chroma_minus8
               (7-6)

           QpBdOffsetC = 6 * bit_depth_chroma_minus8
              (7-7)

bit_depth_chroma_minus8 shall be in the range of 0 to 8, inclusive.
log2_max_pic_order_cnt_lsb_minus4 specifies the value of the variable MaxPicOrderCntLsb that is used in the decoding
process for picture order count as follows:



76           Rec. ITU-T H.265 v8 (08/2021)
 Case 2:25-cv-03053             Document 1-7            Filed 04/07/25        Page 98 of 717 Page ID #:627


         MaxPicOrderCntLsb = 2( log2_max_pic_order_cnt_lsb_minus4 + 4 )                                             (7-8)

The value of log2_max_pic_order_cnt_lsb_minus4 shall be in the range of 0 to 12, inclusive.
sps_sub_layer_ordering_info_present_flag equal to 1 specifies that sps_max_dec_pic_buffering_minus1[ i ],
sps_max_num_reorder_pics[ i ] and sps_max_latency_increase_plus1[ i ] are present for sps_max_sub_layers_minus1 + 1 sub-
layers. sps_sub_layer_ordering_info_present_flag equal to 0 specifies that the values of sps_max_dec_pic_
buffering_minus1[ sps_max_sub_layers_minus1 ], sps_max_num_reorder_pics[ sps_max_sub_layers_minus1 ] and sps_max_
latency_increase_plus1[ sps_max_sub_layers_minus1 ] apply to all sub-layers.
sps_max_dec_pic_buffering_minus1[ i ] plus 1 specifies the maximum required size of the decoded picture buffer for
the CVS in units of picture storage buffers when HighestTid is equal to i. The value of
sps_max_dec_pic_buffering_minus1[ i ] shall be in the range of 0 to MaxDpbSize − 1, inclusive, where MaxDpbSize is
as specified in clause A.4. When i is greater than 0, sps_max_dec_pic_buffering_minus1[ i ] shall be greater than or equal
to sps_max_dec_pic_buffering_minus1[ i − 1 ]. The value of sps_max_dec_pic_buffering_minus1[ i ] shall be less than or
equal to vps_max_dec_pic_buffering_minus1[ i ] for each value of i. When sps_max_dec_pic_buffering_minus1[ i ] is not
present for i in the range of 0 to sps_max_sub_layers_minus1 − 1, inclusive, due to sps_sub_layer
_ordering_info_present_flag being equal to 0, it is inferred to be equal to sps_max_dec_pic_buffering_
minus1[ sps_max_sub_layers_minus1 ].
sps_max_num_reorder_pics[ i ] indicates the maximum allowed number of pictures with PicOutputFlag equal to 1 that
can precede any picture with PicOutputFlag equal to 1 in the CVS in decoding order and follow that picture with
PicOutputFlag equal to 1 in output order when HighestTid is equal to i. The value of sps_max_num_reorder_pics[ i ] shall
be in the range of 0 to sps_max_dec_pic_buffering_minus1[ i ], inclusive. When i is greater than 0,
sps_max_num_reorder_pics[ i ] shall be greater than or equal to sps_max_num_reorder_pics[ i − 1 ]. The value of
sps_max_num_reorder_pics[ i ] shall be less than or equal to vps_max_num_reorder_pics[ i ] for each value of i. When
sps_max_num_reorder_pics[ i ] is not present for i in the range of 0 to sps_max_sub_layers_minus1 − 1, inclusive, due to
sps_sub_layer_ordering_info_present_flag being          equal to 0, it is              inferred to be       equal to
sps_max_num_reorder_pics[ sps_max_sub_layers_minus1 ].
sps_max_latency_increase_plus1[ i ] not equal to 0 is used to compute the value of SpsMaxLatencyPictures[ i ], which
specifies the maximum number of pictures with PicOutputFlag equal to 1 that can precede any picture with PicOutputFlag
equal to 1 in the CVS in output order and follow that picture with PicOutputFlag equal to 1 in decoding order when
HighestTid is equal to i.
When sps_max_latency_increase_plus1[ i ] is not equal to 0, the value of SpsMaxLatencyPictures[ i ] is specified as
follows:

         SpsMaxLatencyPictures[ i ] = sps_max_num_reorder_pics[ i ] +                                               (7-9)
                sps_max_latency_increase_plus1[ i ] − 1

When sps_max_latency_increase_plus1[ i ] is equal to 0, no corresponding limit is expressed.
The value of sps_max_latency_increase_plus1[ i ] shall be in the range of 0 to 232 − 2, inclusive. When
vps_max_latency_increase_plus1[ i ] is not equal to 0, the value of sps_max_latency_increase_plus1[ i ] shall not be equal
to 0 and shall be less than or equal to vps_max_latency_increase_plus1[ i ] for each value of i. When
sps_max_latency_increase_plus1[ i ] is not present for i in the range of 0 to sps_max_sub_layers_minus1 − 1, inclusive,
due to sps_sub_layer_ordering_info_present_flag being equal to 0, it is inferred to be equal to
sps_max_latency_increase_plus1[ sps_max_sub_layers_minus1 ].
log2_min_luma_coding_block_size_minus3 plus 3 specifies the minimum luma coding block size.
log2_diff_max_min_luma_coding_block_size specifies the difference between the maximum and minimum luma coding
block size.
The variables MinCbLog2SizeY, CtbLog2SizeY, MinCbSizeY, CtbSizeY, PicWidthInMinCbsY, PicWidthInCtbsY,
PicHeightInMinCbsY,      PicHeightInCtbsY,     PicSizeInMinCbsY,   PicSizeInCtbsY, PicSizeInSamplesY,
PicWidthInSamplesC and PicHeightInSamplesC are derived as follows:

         MinCbLog2SizeY = log2_min_luma_coding_block_size_minus3 + 3                                              (7-10)

         CtbLog2SizeY = MinCbLog2SizeY + log2_diff_max_min_luma_coding_block_size                                 (7-11)

         MinCbSizeY = 1 << MinCbLog2SizeY                                                                         (7-12)

         CtbSizeY = 1 << CtbLog2SizeY                                                                             (7-13)


                                                                             Rec. ITU-T H.265 v8 (08/2021)            77
 Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 99 of 717 Page ID #:628


          PicWidthInMinCbsY = pic_width_in_luma_samples / MinCbSizeY                                                 (7-14)

          PicWidthInCtbsY = Ceil( pic_width_in_luma_samples ÷ CtbSizeY )                                             (7-15)

          PicHeightInMinCbsY = pic_height_in_luma_samples / MinCbSizeY                                               (7-16)

          PicHeightInCtbsY = Ceil( pic_height_in_luma_samples ÷ CtbSizeY )                                           (7-17)

          PicSizeInMinCbsY = PicWidthInMinCbsY * PicHeightInMinCbsY                                                  (7-18)

          PicSizeInCtbsY = PicWidthInCtbsY * PicHeightInCtbsY                                                        (7-19)

          PicSizeInSamplesY = pic_width_in_luma_samples * pic_height_in_luma_samples                                 (7-20)

          PicWidthInSamplesC = pic_width_in_luma_samples / SubWidthC                                                 (7-21)

          PicHeightInSamplesC = pic_height_in_luma_samples / SubHeightC                                              (7-22)

The variables CtbWidthC and CtbHeightC, which specify the width and height, respectively, of the array for each chroma
CTB, are derived as follows:
–    If chroma_format_idc is equal to 0 (monochrome) or separate_colour_plane_flag is equal to 1, CtbWidthC and
     CtbHeightC are both equal to 0.
–    Otherwise, CtbWidthC and CtbHeightC are derived as follows:

          CtbWidthC = CtbSizeY / SubWidthC                                                                           (7-23)

          CtbHeightC = CtbSizeY / SubHeightC                                                                         (7-24)

log2_min_luma_transform_block_size_minus2 plus 2 specifies the minimum luma transform block size.
The variable MinTbLog2SizeY is set equal to log2_min_luma_transform_block_size_minus2 + 2. The CVS shall not
contain data that result in MinTbLog2SizeY greater than or equal to MinCbLog2SizeY.
log2_diff_max_min_luma_transform_block_size specifies the difference between the maximum and minimum luma
transform block size.
The variable MaxTbLog2SizeY is set                    equal     to    log2_min_luma_transform_block_size_minus2 + 2 +
log2_diff_max_min_luma_transform_block_size.
The CVS shall not contain data that result in MaxTbLog2SizeY greater than Min( CtbLog2SizeY, 5 ).
The array ScanOrder[ log2BlockSize ][ scanIdx ][ sPos ][ sComp ] specifies the mapping of the scan position sPos,
ranging from 0 to ( 1 << log2BlockSize ) * ( 1 << log2BlockSize ) − 1, inclusive, to horizontal and vertical components
of the scan-order matrix. The array index scanIdx equal to 0 specifies an up-right diagonal scan order, scanIdx equal to 1
specifies a horizontal scan order, scanIdx equal to 2 specifies a vertical scan order, and scanIdx equal to 3 specifies a
traverse scan order. The array index sComp equal to 0 specifies the horizontal component and the array index sComp equal
to 1 specifies the vertical component. The array ScanOrder is derived as follows:
For the variable log2BlockSize ranging from 0 to 5, inclusive, the scanning order array ScanOrder is derived as follows:
–    For log2BlockSize ranging from 0 to 3, inclusive, the up-right diagonal scan order array initialization process as
     specified in clause 6.5.3 is invoked with 1 << log2BlockSize as input, and the output is assigned to
     ScanOrder[ log2BlockSize ][ 0 ].
–    For log2BlockSize ranging from 0 to 3, inclusive, the horizontal scan order array initialization process as specified in
     clause 6.5.4 is invoked with 1 << log2BlockSize as input, and the output is assigned to
     ScanOrder[ log2BlockSize ][ 1 ].
–    For log2BlockSize ranging from 0 to 3, inclusive, the vertical scan order array initialization process as specified in
     clause 6.5.5 is invoked with 1 << log2BlockSize as input, and the output is assigned to
     ScanOrder[ log2BlockSize ][ 2 ].
–    For log2BlockSize ranging from 2 to 5, inclusive, the traverse scan order array initialization process as specified in
     clause 6.5.6 is invoked with 1 << log2BlockSize as input, and the output is assigned to
     ScanOrder[ log2BlockSize ][ 3 ].



78         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 100 of 717 Page ID #:629


max_transform_hierarchy_depth_inter specifies the maximum hierarchy depth for transform units of coding units
coded in inter prediction mode. The value of max_transform_hierarchy_depth_inter shall be in the range of 0 to
CtbLog2SizeY − MinTbLog2SizeY, inclusive.
max_transform_hierarchy_depth_intra specifies the maximum hierarchy depth for transform units of coding units
coded in intra prediction mode. The value of max_transform_hierarchy_depth_intra shall be in the range of 0 to
CtbLog2SizeY − MinTbLog2SizeY, inclusive.
scaling_list_enabled_flag equal to 1 specifies that a scaling list is used for the scaling process for transform coefficients.
scaling_list_enabled_flag equal to 0 specifies that scaling list is not used for the scaling process for transform coefficients.
sps_scaling_list_data_present_flag equal to 1 specifies that the scaling_list_data( ) syntax structure is present in the SPS.
sps_scaling_list_data_present_flag equal to 0 specifies that the scaling_list_data( ) syntax structure is not present in the
SPS. When not present, the value of sps_scaling_list_data_present_flag is inferred to be equal to 0.
amp_enabled_flag equal to 1 specifies that asymmetric motion partitions, i.e., PartMode equal to PART_2NxnU,
PART_2NxnD, PART_nLx2N or PART_nRx2N, may be used in CTBs. amp_enabled_flag equal to 0 specifies that
asymmetric motion partitions cannot be used in CTBs.
sample_adaptive_offset_enabled_flag equal to 1 specifies that the sample adaptive offset process is applied to the
reconstructed picture after the deblocking filter process. sample_adaptive_offset_enabled_flag equal to 0 specifies that the
sample adaptive offset process is not applied to the reconstructed picture after the deblocking filter process.
pcm_enabled_flag equal to 0 specifies that PCM-related syntax (pcm_sample_bit_depth_luma_minus1, pcm_sample_
bit_depth_chroma_minus1,        log2_min_pcm_luma_coding_block_size_minus3,     log2_diff_max_min_pcm_luma_
coding_block_size, pcm_loop_filter_disabled_flag, pcm_flag, pcm_alignment_zero_bit syntax elements and
pcm_sample( ) syntax structure) is not present in the CVS.
    NOTE 4 – When MinCbLog2SizeY is equal to 6 and pcm_enabled_flag is equal to 1, PCM sample data-related syntax (pcm_flag,
    pcm_alignment_zero_bit syntax elements and pcm_sample( ) syntax structure) is not present in the CVS, because the maximum size
    of coding blocks that can convey PCM sample data-related syntax is restricted to be less than or equal to Min( CtbLog2SizeY, 5 ).
    Hence, MinCbLog2SizeY equal to 6 with pcm_enabled_flag equal to 1 is not an appropriate setting to convey PCM sample data in
    the CVS.

pcm_sample_bit_depth_luma_minus1 specifies the number of bits used to represent each of PCM sample values of the
luma component as follows:

          PcmBitDepthY = pcm_sample_bit_depth_luma_minus1 + 1                                                                (7-25)

The value of PcmBitDepthY shall be less than or equal to the value of BitDepthY.
pcm_sample_bit_depth_chroma_minus1 specifies the number of bits used to represent each of PCM sample values of
the chroma components as follows:

          PcmBitDepthC = pcm_sample_bit_depth_chroma_minus1 + 1                                                              (7-26)

The value of PcmBitDepthC shall be less than or equal to the value of BitDepthC. When ChromaArrayType is equal to 0,
pcm_sample_bit_depth_chroma_minus1 is not used in the decoding process and decoders shall ignore its value.
log2_min_pcm_luma_coding_block_size_minus3 plus 3 specifies the minimum size of coding blocks with pcm_flag
equal to 1.
The variable Log2MinIpcmCbSizeY is set equal to log2_min_pcm_luma_coding_block_size_minus3 + 3. The value of
Log2MinIpcmCbSizeY shall be in the range of Min( MinCbLog2SizeY, 5 ) to Min( CtbLog2SizeY, 5 ), inclusive.
log2_diff_max_min_pcm_luma_coding_block_size specifies the difference between the maximum and minimum size
of coding blocks with pcm_flag equal to 1.
The variable Log2MaxIpcmCbSizeY is set equal to log2_diff_max_min_pcm_luma_coding_block_size +
Log2MinIpcmCbSizeY. The value of Log2MaxIpcmCbSizeY shall be less than or equal to Min( CtbLog2SizeY, 5 ).
pcm_loop_filter_disabled_flag specifies whether the loop filter process is disabled on reconstructed samples in a coding
unit with pcm_flag equal to 1 as follows:
–    If pcm_loop_filter_disabled_flag is equal to 1, the deblocking filter and sample adaptive offset filter processes on the
     reconstructed samples in a coding unit with pcm_flag equal to 1 are disabled.
–    Otherwise (pcm_loop_filter_disabled_flag value is equal to 0), the deblocking filter and sample adaptive offset filter
     processes on the reconstructed samples in a coding unit with pcm_flag equal to 1 are not disabled.
When pcm_loop_filter_disabled_flag is not present, it is inferred to be equal to 0.



                                                                                    Rec. ITU-T H.265 v8 (08/2021)                79
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25           Page 101 of 717 Page ID #:630


num_short_term_ref_pic_sets specifies the number of st_ref_pic_set( ) syntax structures included in the SPS. The value
of num_short_term_ref_pic_sets shall be in the range of 0 to 64, inclusive.
     NOTE 5 – A decoder should allocate memory for a total number of num_short_term_ref_pic_sets + 1 st_ref_pic_set( ) syntax
     structures since there may be a st_ref_pic_set( ) syntax structure directly signalled in the slice headers of a current picture. A
     st_ref_pic_set( ) syntax structure directly signalled in the slice headers of a current picture has an index equal to
     num_short_term_ref_pic_sets.

long_term_ref_pics_present_flag equal to 0 specifies that no long-term reference picture is used for inter prediction of
any coded picture in the CVS. long_term_ref_pics_present_flag equal to 1 specifies that long-term reference pictures may
be used for inter prediction of one or more coded pictures in the CVS.
num_long_term_ref_pics_sps specifies the number of candidate long-term reference pictures that are specified in the
SPS. The value of num_long_term_ref_pics_sps shall be in the range of 0 to 32, inclusive.
lt_ref_pic_poc_lsb_sps[ i ] specifies the picture order count modulo MaxPicOrderCntLsb of the i-th candidate long-term
reference picture specified in the SPS. The number of bits used to represent lt_ref_pic_poc_lsb_sps[ i ] is equal to
log2_max_pic_order_cnt_lsb_minus4 + 4.
used_by_curr_pic_lt_sps_flag[ i ] equal to 0 specifies that the i-th candidate long-term reference picture specified in the
SPS is not used for reference by a picture that includes in its long-term reference picture set (RPS) the i-th candidate long-
term reference picture specified in the SPS.
sps_temporal_mvp_enabled_flag equal to 1 specifies that slice_temporal_mvp_enabled_flag is present in the slice
headers of non-IDR pictures in the CVS. sps_temporal_mvp_enabled_flag equal to 0 specifies that
slice_temporal_mvp_enabled_flag is not present in slice headers and that temporal motion vector predictors are not used
in the CVS.
strong_intra_smoothing_enabled_flag equal to 1 specifies that bi-linear interpolation is conditionally used in the intra
prediction filtering process in the CVS as specified in clause 8.4.4.2.3. strong_intra_smoothing_enabled_flag equal to 0
specifies that the bi-linear interpolation is not used in the CVS.
vui_parameters_present_flag equal to 1 specifies that the vui_parameters( ) syntax structure as specified in Annex E is
present. vui_parameters_present_flag equal to 0 specifies that the vui_parameters( ) syntax structure as specified in
Annex E is not present.
sps_extension_present_flag equal to 1 specifies that the syntax elements sps_range_extension_flag,
sps_multilayer_extension_flag, sps_3d_extension_flag, sps_scc_extension_flag, and sps_extension_4bits are present in
the SPS RBSP syntax structure. sps_extension_present_flag equal to 0 specifies that these syntax elements are not present.
sps_range_extension_flag equal to 1 specifies that the sps_range_extension( ) syntax structure is present in the SPS RBSP
syntax structure. sps_range_extension_flag equal to 0 specifies that this syntax structure is not present. When not present,
the value of sps_range_extension_flag is inferred to be equal to 0.
sps_multilayer_extension_flag equal to 1 specifies that the sps_multilayer_extension( ) syntax structure (specified in
Annex F) is present in the SPS RBSP syntax structure. sps_multilayer_extension_flag equal to 0 specifies that the
sps_multilayer_extension( ) syntax structure is not present. When not present, the value of sps_multilayer_extension_flag
is inferred to be equal to 0.
sps_3d_extension_flag equal to 1 specifies that the sps_3d_extension( ) syntax structure (specified in Annex I) is present
in the SPS RBSP syntax structure. sps_3d_extension_flag equal to 0 specifies that the sps_3d_extension( ) syntax structure
is not present. When not present, the value of sps_3d_extension_flag is inferred to be equal to 0.
sps_scc_extension_flag equal to 1 specifies that the sps_scc_extension( ) syntax structure is present in the SPS RBSP
syntax structure. sps_scc_extension_flag equal to 0 specifies that this syntax structure is not present. When not present, the
value of sps_scc_extension_flag is inferred to be equal to 0.
sps_extension_4bits equal to 0 specifies that no sps_extension_data_flag syntax elements are present in the SPS RBSP
syntax structure. When present, sps_extension_4bits shall be equal to 0 in bitstreams conforming to this version of this
Specification. Values of sps_extension_4bits not equal to 0 are reserved for future use by ITU-T | ISO/IEC. Decoders shall
allow the value of sps_extension_4bits to be not equal to 0 and shall ignore all sps_extension_data_flag syntax elements
in an SPS NAL unit. When not present, the value of sps_extension_4bits is inferred to be equal to 0.
sps_extension_data_flag may have any value. Its presence and value do not affect the decoding process specified in this
version of this Specification. Decoders conforming to this version of this Specification shall ignore all
sps_extension_data_flag syntax elements.




80           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 102 of 717 Page ID #:631


7.4.3.2.2 Sequence parameter set range extension semantics
transform_skip_rotation_enabled_flag equal to 1 specifies that a rotation is applied to the residual data block for intra
4x4 blocks coded using a transform skip operation. transform_skip_rotation_enabled_flag equal to 0 specifies that this
rotation is not applied. When not present, the value of transform_skip_rotation_enabled_flag is inferred to be equal to 0.
transform_skip_context_enabled_flag equal to 1 specifies that a particular context is used for the parsing of the
sig_coeff_flag for transform blocks with a skipped transform. transform_skip_context_enabled_flag equal to 0 specifies
that the presence or absence of transform skipping or a transform bypass for transform blocks is not used in the context
selection for this flag. When not present, the value of transform_skip_context_enabled_flag is inferred to be equal to 0.
implicit_rdpcm_enabled_flag equal to 1 specifies that the residual modification process for blocks using a transform
bypass may be used for intra blocks in the CVS. implicit_rdpcm_enabled_flag equal to 0 specifies that the residual
modification process is not used for intra blocks in the CVS. When not present, the value of implicit_rdpcm_enabled_flag
is inferred to be equal to 0.
explicit_rdpcm_enabled_flag equal to 1 specifies that the residual modification process for blocks using a transform
bypass may be used for inter blocks in the CVS. explicit_rdpcm_enabled_flag equal to 0 specifies that the residual
modification process is not used for inter blocks in the CVS. When not present, the value of explicit_rdpcm_enabled_flag
is inferred to be equal to 0.
extended_precision_processing_flag equal to 1 specifies that an extended dynamic range is used for transform
coefficients and transform processing. extended_precision_processing_flag equal to 0 specifies that the extended dynamic
range is not used. When not present, the value of extended_precision_processing_flag is inferred to be equal to 0.
The variables CoeffMinY, CoeffMinC, CoeffMaxY and CoeffMaxC are derived as follows:
   CoeffMinY = −( 1 << ( extended_precision_processing_flag ? Max( 15, BitDepthY + 6 ) : 15 ) )                         (7-27)
   CoeffMinC = −( 1 << ( extended_precision_processing_flag ? Max( 15, BitDepthC + 6 ) : 15 ) )                         (7-28)
   CoeffMaxY = ( 1 << ( extended_precision_processing_flag ? Max( 15, BitDepthY + 6 ) : 15 ) ) − 1 (7-29)
   CoeffMaxC = ( 1 << ( extended_precision_processing_flag ? Max( 15, BitDepthC + 6 ) : 15 ) ) − 1 (7-30)
intra_smoothing_disabled_flag equal to 1 specifies that the filtering process of neighbouring samples is unconditionally
disabled for intra prediction. intra_smoothing_disabled_flag equal to 0 specifies that the filtering process of neighbouring
samples is not disabled. When not present, the value of intra_smoothing_disabled_flag is inferred to be equal to 0.
high_precision_offsets_enabled_flag equal to 1 specifies that weighted prediction offset values are signalled using a bit-
depth-dependent precision. high_precision_offsets_enabled_flag equal to 0 specifies that weighted prediction offset values
are signalled with a precision equivalent to eight bit processing.
The variables WpOffsetBdShiftY, WpOffsetBdShiftC, WpOffsetHalfRangeY and WpOffsetHalfRangeC are derived as
follows:
   WpOffsetBdShiftY = high_precision_offsets_enabled_flag ? 0 : ( BitDepthY − 8 )                                       (7-31)
   WpOffsetBdShiftC = high_precision_offsets_enabled_flag ? 0 : ( BitDepthC − 8 )                                       (7-32)
   WpOffsetHalfRangeY = 1 << ( high_precision_offsets_enabled_flag ? ( BitDepthY − 1 ) : 7 )                            (7-33)
   WpOffsetHalfRangeC = 1 << ( high_precision_offsets_enabled_flag ? ( BitDepthC − 1 ) : 7 )                            (7-34)
persistent_rice_adaptation_enabled_flag equal to 1 specifies that the Rice parameter derivation for the binarization of
coeff_abs_level_remaining[ ] is initialized at the start of each sub-block using mode dependent statistics accumulated from
previous sub-blocks. persistent_rice_adaptation_enabled_flag equal to 0 specifies that no previous sub-block state is used
in Rice parameter derivation. When not present, the value of persistent_rice_adaptation_enabled_flag is inferred to be
equal to 0.
cabac_bypass_alignment_enabled_flag equal to 1 specifies that a context-based adaptive binary arithmetic coding
(CABAC) alignment process is used prior to bypass decoding of the syntax elements coeff_sign_flag[ ] and
coeff_abs_level_remaining[ ]. cabac_bypass_alignment_enabled_flag equal to 0 specifies that no CABAC alignment
process is used prior to bypass decoding. When not present, the value of cabac_bypass_alignment_enabled_flag is inferred
to be equal to 0.

7.4.3.2.3 Sequence parameter set screen content coding extension semantics
sps_curr_pic_ref_enabled_flag equal to 1 specifies that a picture in the CVS may be included in a reference picture list
of a slice of the picture itself. sps_curr_pic_ref_enabled_flag equal to 0 specifies that a picture in the CVS is never included



                                                                                 Rec. ITU-T H.265 v8 (08/2021)              81
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25         Page 103 of 717 Page ID #:632


in a reference picture list of a slice of the picture itself. When not present, the value of sps_curr_pic_ref_enabled_flag is
inferred to be equal to 0.
palette_mode_enabled_flag equal to 1 specifies that the decoding process for palette mode may be used for intra blocks.
palette_mode_enabled_flag equal to 0 specifies that the decoding process for palette mode is not applied. When not present,
the value of palette_mode_enabled_flag is inferred to be equal to 0.
palette_max_size specifies the maximum allowed palette size. When not present, the value of palette_max_size is inferred
to be 0.
delta_palette_max_predictor_size specifies the difference between the maximum allowed palette predictor size and the
maximum allowed palette size. When not present, the value of delta_palette_max_predictor_size is inferred to be 0. The
variable PaletteMaxPredictorSize is derived as follows:

          PaletteMaxPredictorSize = palette_max_size + delta_palette_max_predictor_size                              (7-35)

It is a requirement of bitstream conformance that, when palette_max_size is equal to 0, the value of
delta_palette_max_predictor_size shall be equal to 0.
sps_palette_predictor_initializers_present_flag equal to 1 specifies that the sequence palette predictors are initialized
using the sps_palette_predictor_initializers. sps_palette_predictor_initializers_present_flag equal to 0 specifies that the
entries in the sequence palette predictor are initialized to 0. When not present, the value of
sps_palette_predictor_initializers_present_flag is inferred to be equal to 0.
It is a requirement of bitstream conformance that, when palette_max_size is equal to 0, the value of
sps_palette_predictor_initializers_present_flag shall be equal to 0.
sps_num_palette_predictor_initializers_minus1 plus 1 specifies the number of entries in the sequence palette predictor
initializer.
It is a requirement of bitstream conformance that the value of sps_num_palette_predictor_initializers_minus1 plus 1 shall
be less than or equal to PaletteMaxPredictorSize.
sps_palette_predictor_initializer[ comp ][ i ] specifies the value of the comp-th component of the i-th palette entry in the
SPS that is used to initialize the array PredictorPaletteEntries. For values of i in the range of 0 to
sps_num_palette_predictor_initializers_minus1, inclusive, the value of the sps_palette_predictor_initializer[ 0 ][ i ] shall
be in the range of 0 to (1 << BitDepthY) − 1, inclusive, and the values of sps_palette_predictor_initializer[ 1 ][ i ] and
sps_palette_predictor_initializer[ 2 ][ i ] shall be in the range of 0 to (1 << BitDepthC) − 1, inclusive.
motion_vector_resolution_control_idc controls the presence and inference of the use_integer_mv_flag that specifies the
resolution of motion vectors for inter prediction. The value of motion_vector_resolution_control_idc shall not be equal to
3 in bitstreams conforming to this version of this Specification. The value of 3 for motion_vector_resolution_control_idc
is reserved for future use by ITU-T | ISO/IEC. When not present, the value of motion_vector_resolution_control_idc is
inferred to be equal to 0.
intra_boundary_filtering_disabled_flag equal to 1 specifies that the intra boundary filtering process is unconditionally
disabled for intra prediction. intra_boundary_filtering_disabled_flag equal to 0 specifies that the intra boundary filtering
process may be used. When not present, the value of intra_boundary_filtering_disabled_flag is inferred to be equal to 0.

7.4.3.3   Picture parameter set RBSP semantics

7.4.3.3.1 General picture parameter set RBSP semantics
pps_pic_parameter_set_id identifies the PPS for reference by other syntax elements. The value of
pps_pic_parameter_set_id shall be in the range of 0 to 63, inclusive.
pps_seq_parameter_set_id specifies the value of sps_seq_parameter_set_id for the active SPS. The value of
pps_seq_parameter_set_id shall be in the range of 0 to 15, inclusive.
dependent_slice_segments_enabled_flag equal to 1 specifies the presence of the syntax element
dependent_slice_segment_flag in the slice segment headers for coded pictures referring to the PPS.
dependent_slice_segments_enabled_flag equal to 0 specifies the absence of the syntax element
dependent_slice_segment_flag in the slice segment headers for coded pictures referring to the PPS.
output_flag_present_flag equal to 1 indicates that the pic_output_flag syntax element is present in the associated slice
headers. output_flag_present_flag equal to 0 indicates that the pic_output_flag syntax element is not present in the
associated slice headers.
num_extra_slice_header_bits specifies the number of extra slice header bits that are present in the slice header RBSP for
coded pictures referring to the PPS. The value of num_extra_slice_header_bits shall be in the range of 0 to 2, inclusive, in


82         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 104 of 717 Page ID #:633


bitstreams conforming to this version of this Specification. Other values for num_extra_slice_header_bits are reserved for
future use by ITU-T | ISO/IEC. However, decoders shall allow num_extra_slice_header_bits to have any value.
sign_data_hiding_enabled_flag equal to 0 specifies that sign bit hiding is disabled. sign_data_hiding_enabled_flag equal
to 1 specifies that sign bit hiding is enabled.
cabac_init_present_flag equal to 1 specifies that cabac_init_flag is present in slice headers referring to the PPS.
cabac_init_present_flag equal to 0 specifies that cabac_init_flag is not present in slice headers referring to the PPS.
num_ref_idx_l0_default_active_minus1 specifies the inferred value of num_ref_idx_l0_active_minus1 for P and B
slices with num_ref_idx_active_override_flag equal to 0. The value of num_ref_idx_l0_default_active_minus1 shall be in
the range of 0 to 14, inclusive.
num_ref_idx_l1_default_active_minus1 specifies the inferred value of num_ref_idx_l1_active_minus1 for B slices with
num_ref_idx_active_override_flag equal to 0. The value of num_ref_idx_l1_default_active_minus1 shall be in the range
of 0 to 14, inclusive.
init_qp_minus26 plus 26 specifies the initial value of SliceQpY for each slice referring to the PPS. The initial value of
SliceQpY is modified at the slice segment layer when a non-zero value of slice_qp_delta is decoded. The value of
init_qp_minus26 shall be in the range of −( 26 + QpBdOffsetY ) to +25, inclusive.
constrained_intra_pred_flag equal to 0 specifies that intra prediction allows usage of residual data and decoded samples
of neighbouring coding blocks coded using either intra or inter prediction modes. constrained_intra_pred_flag equal to 1
specifies constrained intra prediction, in which case intra prediction only uses residual data and decoded samples from
neighbouring coding blocks coded using intra prediction modes.
   NOTE 1 – Encoders that operate in error-prone environments should be designed with consideration of the potential for error
   propagation caused by references to other pictures and references to areas within the current picture that use other pictures as
   references.

transform_skip_enabled_flag equal to 1 specifies that transform_skip_flag may be present in the residual coding syntax.
transform_skip_enabled_flag equal to 0 specifies that transform_skip_flag is not present in the residual coding syntax.
cu_qp_delta_enabled_flag equal to 1 specifies that the diff_cu_qp_delta_depth syntax element is present in the PPS and
that cu_qp_delta_abs may be present in the transform unit syntax and the palette syntax. cu_qp_delta_enabled_flag equal
to 0 specifies that the diff_cu_qp_delta_depth syntax element is not present in the PPS and that cu_qp_delta_abs is not
present in the transform unit syntax and the palette syntax.
diff_cu_qp_delta_depth specifies the difference between the luma CTB size and the minimum luma coding block size of
coding units that convey cu_qp_delta_abs and cu_qp_delta_sign_flag. The value of diff_cu_qp_delta_depth shall be in the
range of 0 to log2_diff_max_min_luma_coding_block_size, inclusive. When not present, the value of
diff_cu_qp_delta_depth is inferred to be equal to 0.
The variable Log2MinCuQpDeltaSize is derived as follows:

          Log2MinCuQpDeltaSize = CtbLog2SizeY − diff_cu_qp_delta_depth                                                     (7-36)

pps_cb_qp_offset and pps_cr_qp_offset specify the offsets to the luma quantization parameter Qp′Y used for deriving
Qp′Cb and Qp′Cr, respectively. The values of pps_cb_qp_offset and pps_cr_qp_offset shall be in the range of −12 to +12,
inclusive. When ChromaArrayType is equal to 0, pps_cb_qp_offset and pps_cr_qp_offset are not used in the decoding
process and decoders shall ignore their value.
pps_slice_chroma_qp_offsets_present_flag equal to 1 indicates that the slice_cb_qp_offset and slice_cr_qp_offset
syntax elements are present in the associated slice headers. pps_slice_chroma_qp_offsets_present_flag equal to 0 indicates
that these syntax elements are not present in the associated slice headers. When ChromaArrayType is equal to 0,
pps_slice_chroma_qp_offsets_present_flag shall be equal to 0.
weighted_pred_flag equal to 0 specifies that weighted prediction is not applied to P slices. weighted_pred_flag equal to 1
specifies that weighted prediction is applied to P slices.
weighted_bipred_flag equal to 0 specifies that the default weighted prediction is applied to B slices. weighted_bipred_flag
equal to 1 specifies that weighted prediction is applied to B slices.
transquant_bypass_enabled_flag equal to 1 specifies that cu_transquant_bypass_flag                                  is    present.
transquant_bypass_enabled_flag equal to 0 specifies that cu_transquant_bypass_flag is not present.
tiles_enabled_flag equal to 1 specifies that there is more than one tile in each picture referring to the PPS.
tiles_enabled_flag equal to 0 specifies that there is only one tile in each picture referring to the PPS.
It is a requirement of bitstream conformance that the value of tiles_enabled_flag shall be the same for all PPSs that are
activated within a CVS.


                                                                                  Rec. ITU-T H.265 v8 (08/2021)                83
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 105 of 717 Page ID #:634


entropy_coding_sync_enabled_flag equal to 1 specifies that a specific synchronization process for context variables, and
when applicable, Rice parameter initialization states and palette predictor variables, is invoked before decoding the CTU
which includes the first CTB of a row of CTBs in each tile in each picture referring to the PPS, and a specific storage
process for context variables, and when applicable, Rice parameter initialization states and palette predictor variables, is
invoked after decoding the CTU which includes the second CTB of a row of CTBs in each tile in each picture referring to
the PPS. entropy_coding_sync_enabled_flag equal to 0 specifies that no specific synchronization process for context
variables, and when applicable, Rice parameter initialization states and palette predictor variables, is required to be invoked
before decoding the CTU which includes the first CTB of a row of CTBs in each tile in each picture referring to the PPS,
and no specific storage process for context variables, and when applicable, Rice parameter initialization states and palette
predictor variables, is required to be invoked after decoding the CTU which includes the second CTB of a row of CTBs in
each tile in each picture referring to the PPS.
It is a requirement of bitstream conformance that the value of entropy_coding_sync_enabled_flag shall be the same for all
PPSs that are activated within a CVS.
When entropy_coding_sync_enabled_flag is equal to 1 and the first CTB in a slice is not the first CTB of a row of CTBs
in a tile, it is a requirement of bitstream conformance that the last CTB in the slice shall belong to the same row of CTBs
as the first CTB in the slice.
When entropy_coding_sync_enabled_flag is equal to 1 and the first CTB in a slice segment is not the first CTB of a row
of CTBs in a tile, it is a requirement of bitstream conformance that the last CTB in the slice segment shall belong to the
same row of CTBs as the first CTB in the slice segment.
num_tile_columns_minus1 plus 1 specifies the number of tile columns partitioning the picture.
num_tile_columns_minus1 shall be in the range of 0 to PicWidthInCtbsY − 1, inclusive. When not present, the value of
num_tile_columns_minus1 is inferred to be equal to 0.
num_tile_rows_minus1 plus 1 specifies the number of tile rows partitioning the picture. num_tile_rows_minus1 shall be
in the range of 0 to PicHeightInCtbsY − 1, inclusive. When not present, the value of num_tile_rows_minus1 is inferred to
be equal to 0.
When tiles_enabled_flag is equal to 1, num_tile_columns_minus1 and num_tile_rows_minus1 shall not be both equal to 0.
uniform_spacing_flag equal to 1 specifies that tile column boundaries and likewise tile row boundaries are distributed
uniformly across the picture. uniform_spacing_flag equal to 0 specifies that tile column boundaries and likewise tile row
boundaries are not distributed uniformly across the picture but signalled explicitly using the syntax elements
column_width_minus1[ i ] and row_height_minus1[ i ]. When not present, the value of uniform_spacing_flag is inferred
to be equal to 1.
column_width_minus1[ i ] plus 1 specifies the width of the i-th tile column in units of CTBs.
row_height_minus1[ i ] plus 1 specifies the height of the i-th tile row in units of CTBs.
The following variables are derived by invoking the CTB raster and tile scanning conversion process as specified in
clause 6.5.1:
–    The list CtbAddrRsToTs[ ctbAddrRs ] for ctbAddrRs ranging from 0 to PicSizeInCtbsY − 1, inclusive, specifying the
     conversion from a CTB address in the CTB raster scan of a picture to a CTB address in the tile scan,
–    the list CtbAddrTsToRs[ ctbAddrTs ] for ctbAddrTs ranging from 0 to PicSizeInCtbsY − 1, inclusive, specifying the
     conversion from a CTB address in the tile scan to a CTB address in the CTB raster scan of a picture,
–    the list TileId[ ctbAddrTs ] for ctbAddrTs ranging from 0 to PicSizeInCtbsY − 1, inclusive, specifying the conversion
     from a CTB address in tile scan to a tile ID,
–    the list ColumnWidthInLumaSamples[ i ] for i ranging from 0 to num_tile_columns_minus1, inclusive, specifying
     the width of the i-th tile column in units of luma samples,
–    the list RowHeightInLumaSamples[ j ] for j ranging from 0 to num_tile_rows_minus1, inclusive, specifying the height
     of the j-th tile row in units of luma samples.
The values of ColumnWidthInLumaSamples[ i ] for i ranging from 0 to num_tile_columns_minus1, inclusive, and
RowHeightInLumaSamples[ j ] for j ranging from 0 to num_tile_rows_minus1, inclusive, shall all be greater than 0.
The      array     MinTbAddrZs       with    elements      MinTbAddrZs[ x ][ y ]  for   x     ranging    from     0    to
( PicWidthInCtbsY << ( CtbLog2SizeY − MinTbLog2SizeY ) ) − 1, inclusive, and y ranging from 0 to
( PicHeightInCtbsY << ( CtbLog2SizeY − MinTbLog2SizeY ) ) − 1, inclusive, specifying the conversion from a location
( x, y ) in units of minimum transform blocks to a transform block address in z-scan order, is derived by invoking the z-
scan order array initialization process as specified in clause 6.5.2.
loop_filter_across_tiles_enabled_flag equal to 1 specifies that in-loop filtering operations may be performed across tile
boundaries in pictures referring to the PPS. loop_filter_across_tiles_enabled_flag equal to 0 specifies that in-loop filtering


84         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25             Page 106 of 717 Page ID #:635


operations are not performed across tile boundaries in pictures referring to the PPS. The in-loop filtering operations include
the deblocking filter and sample adaptive offset filter operations. When not present, the value of
loop_filter_across_tiles_enabled_flag is inferred to be equal to 1.
pps_loop_filter_across_slices_enabled_flag equal to 1 specifies that in-loop filtering operations may be performed across
left and upper boundaries of slices referring to the PPS. pps_loop_filter_across_slices_enabled_flag equal to 0 specifies
that in-loop filtering operations are not performed across left and upper boundaries of slices referring to the PPS. The in-
loop filtering operations include the deblocking filter and sample adaptive offset filter operations.
   NOTE 2 – Loop filtering across slice boundaries can be enabled while loop filtering across tile boundaries is disabled and vice versa.

deblocking_filter_control_present_flag equal to 1 specifies the presence of deblocking filter control syntax elements in
the PPS. deblocking_filter_control_present_flag equal to 0 specifies the absence of deblocking filter control syntax
elements in the PPS.
deblocking_filter_override_enabled_flag equal to 1 specifies the presence of deblocking_filter_override_flag in the slice
headers for pictures referring to the PPS. deblocking_filter_override_enabled_flag equal to 0 specifies the absence of
deblocking_filter_override_flag in the slice headers for pictures referring to the PPS. When not present, the value of
deblocking_filter_override_enabled_flag is inferred to be equal to 0.
pps_deblocking_filter_disabled_flag equal to 1 specifies that the operation of deblocking filter is not applied for slices
referring to the PPS in which slice_deblocking_filter_disabled_flag is not present. pps_deblocking_filter_disabled_flag
equal to 0 specifies that the operation of the deblocking filter is applied for slices referring to the PPS in which
slice_deblocking_filter_disabled_flag is not present. When not present, the value of pps_deblocking_filter_disabled_flag
is inferred to be equal to 0.
pps_beta_offset_div2 and pps_tc_offset_div2 specify the default deblocking parameter offsets for β and tC (divided by 2)
that are applied for slices referring to the PPS, unless the default deblocking parameter offsets are overridden by the
deblocking parameter offsets present in the slice headers of the slices referring to the PPS. The values of
pps_beta_offset_div2 and pps_tc_offset_div2 shall both be in the range of −6 to 6, inclusive. When not present, the value
of pps_beta_offset_div2 and pps_tc_offset_div2 are inferred to be equal to 0.
pps_scaling_list_data_present_flag equal to 1 specifies that the scaling list data used for the pictures referring to the PPS
are derived based on the scaling lists specified by the active SPS and the scaling lists specified by the PPS.
pps_scaling_list_data_present_flag equal to 0 specifies that the scaling list data used for the pictures referring to the PPS
are inferred to be equal to those specified by the active SPS. When scaling_list_enabled_flag is equal to 0, the value of
pps_scaling_list_data_present_flag shall be equal to 0. When scaling_list_enabled_flag is equal to 1,
sps_scaling_list_data_present_flag is equal to 0 and pps_scaling_list_data_present_flag is equal to 0, the default scaling
list data are used to derive the array ScalingFactor as described in the scaling list data semantics as specified in clause 7.4.5.
lists_modification_present_flag equal to 1 specifies that the syntax structure ref_pic_lists_modification( ) is present in
the slice segment header. lists_modification_present_flag equal to 0 specifies that the syntax structure
ref_pic_lists_modification( ) is not present in the slice segment header.
log2_parallel_merge_level_minus2 plus 2 specifies the value of the variable Log2ParMrgLevel, which is used in the
derivation process for luma motion vectors for merge mode as specified in clause 8.5.3.2.2 and the derivation process for
spatial merging candidates as specified in clause 8.5.3.2.3. The value of log2_parallel_merge_level_minus2 shall be in the
range of 0 to CtbLog2SizeY − 2, inclusive.
The variable Log2ParMrgLevel is derived as follows:

          Log2ParMrgLevel = log2_parallel_merge_level_minus2 + 2                                                                (7-37)

   NOTE 3 – The value of Log2ParMrgLevel indicates the built-in capability of parallel derivation of the merging candidate lists. For
   example, when Log2ParMrgLevel is equal to 6, the merging candidate lists for all the prediction units (PUs) and coding units (CUs)
   contained in a 64x64 block can be derived in parallel.

slice_segment_header_extension_present_flag equal to 0 specifies that no slice segment header extension syntax
elements are present in the slice segment headers for coded pictures referring to the PPS.
slice_segment_header_extension_present_flag equal to 1 specifies that slice segment header extension syntax elements are
present in the slice segment headers for coded pictures referring to the PPS.
pps_extension_present_flag equal to 1 specifies that the syntax elements pps_range_extension_flag,
pps_multilayer_extension_flag, pps_3d_extension_flag, pps_scc_extension_flag, and pps_extension_4bits are present in
the picture parameter set RBSP syntax structure. pps_extension_present_flag equal to 0 specifies that these syntax elements
are not present.




                                                                                      Rec. ITU-T H.265 v8 (08/2021)                 85
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 107 of 717 Page ID #:636


pps_range_extension_flag equal to 1 specifies that the pps_range_extension( ) syntax structure is present in the PPS
RBSP syntax structure. pps_range_extension_flag equal to 0 specifies that this syntax structure is not present. When not
present, the value of pps_range_extension_flag is inferred to be equal to 0.
pps_multilayer_extension_flag equal to 1 specifies that the pps_multilayer_extension( ) syntax structure is present in the
PPS RBSP syntax structure. pps_multilayer_extension_flag equal to 0 specifies that the pps_multilayer_extension( ) syntax
structure is not present. When not present, the value of pps_multilayer_extension_flag is inferred to be equal to 0.
pps_3d_extension_flag equal to 1 specifies that the pps_3d_extension( ) syntax structure (specified in Annex I) is present
in the PPS RBSP syntax structure. pps_3d_extension_flag equal to 0 specifies that the pps_3d_extension( ) syntax structure
is not present. When not present, the value of pps_3d_extension_flag is inferred to be equal to 0.
pps_scc_extension_flag equal to 1 specifies that the pps_scc_extension( ) syntax structure is present in the PPS RBSP
syntax structure. pps_scc_extension_flag equal to 0 specifies that this syntax structure is not present. When not present,
the value of pps_scc_extension_flag is inferred to be equal to 0.
pps_extension_4bits equal to 0 specifies that no pps_extension_data_flag syntax elements are present in the PPS RBSP
syntax structure. When present, pps_extension_4bits shall be equal to 0 in bitstreams conforming to this version of this
Specification. Values of pps_extension_4bits not equal to 0 are reserved for future use by ITU-T | ISO/IEC. Decoders shall
allow the value of pps_extension_4bits to be not equal to 0 and shall ignore all pps_extension_data_flag syntax elements
in a PPS NAL unit. When not present, the value of pps_extension_4bits is inferred to be equal to 0.
pps_extension_data_flag may have any value. Its presence and value do not affect the decoding process specified in this
version of this Specification. Decoders conforming to this version of this Specification shall ignore all
pps_extension_data_flag syntax elements.

7.4.3.3.2 Picture parameter set range extension semantics
log2_max_transform_skip_block_size_minus2 plus 2 specifies the maximum transform block size for which
transform_skip_flag may be present in coded pictures referring to the PPS. When not present, the value of
log2_max_transform_skip_block_size_minus2 is inferred to be equal to 0. When present, the value of
log2_max_transform_skip_block_size_minus2 shall be less than or equal to MaxTbLog2SizeY − 2.
The variable Log2MaxTransformSkipSize is derived as follows:
          Log2MaxTransformSkipSize = log2_max_transform_skip_block_size_minus2 + 2                                    (7-38)
cross_component_prediction_enabled_flag equal to 1 specifies that log2_res_scale_abs_plus1 and res_scale_sign_flag
may be present in the transform unit syntax for pictures referring to the PPS. cross_component_prediction_enabled_flag
equal to 0 specifies that log2_res_scale_abs_plus1 and res_scale_sign_flag are not present for pictures referring to the PPS.
When not present, the value of cross_component_prediction_enabled_flag is inferred to be equal to 0. When
ChromaArrayType is not equal to 3, it is a requirement of bitstream conformance that the value of
cross_component_prediction_enabled_flag shall be equal to 0.
chroma_qp_offset_list_enabled_flag equal to 1 specifies that the cu_chroma_qp_offset_flag may be present in the
transform unit syntax. chroma_qp_offset_list_enabled_flag equal to 0 specifies that the cu_chroma_qp_offset_flag is not
present in the transform unit syntax. When ChromaArrayType is equal to 0, it is a requirement of bitstream conformance
that the value of chroma_qp_offset_list_enabled_flag shall be equal to 0.
diff_cu_chroma_qp_offset_depth specifies the difference between the luma CTB size and the minimum luma coding
block size of coding units that convey cu_chroma_qp_offset_flag. The value of diff_cu_chroma_qp_offset_depth shall be
in the range of 0 to log2_diff_max_min_luma_coding_block_size, inclusive.
The variable Log2MinCuChromaQpOffsetSize is derived as follows:
          Log2MinCuChromaQpOffsetSize = CtbLog2SizeY − diff_cu_chroma_qp_offset_depth                                 (7-39)
chroma_qp_offset_list_len_minus1 plus 1 specifies the number of cb_qp_offset_list[ i ] and cr_qp_offset_list[ i ] syntax
elements that are present in the PPS. The value of chroma_qp_offset_list_len_minus1 shall be in the range of 0 to 5,
inclusive.
cb_qp_offset_list[ i ] and cr_qp_offset_list[ i ] specify offsets used in the derivation of Qp′Cb and Qp′Cr, respectively. The
values of cb_qp_offset_list[ i ] and cr_qp_offset_list[ i ] shall be in the range of −12 to +12, inclusive.
log2_sao_offset_scale_luma is the base 2 logarithm of the scaling parameter that is used to scale sample adaptive offset
(SAO) offset values for luma samples. The value of log2_sao_offset_scale_luma shall be in the range of 0 to
Max( 0, BitDepthY − 10 ), inclusive. When not present, the value of log2_sao_offset_scale_luma is inferred to be equal to
0.




86         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 108 of 717 Page ID #:637


log2_sao_offset_scale_chroma is the base 2 logarithm of the scaling parameter that is used to scale SAO offset values for
chroma samples. The value of log2_sao_offset_scale_chroma shall be in the range of 0 to Max( 0, BitDepthC − 10 ),
inclusive. When not present, the value of log2_sao_offset_scale_chroma is inferred to be equal to 0.

7.4.3.3.3 Picture parameter set screen content coding extension semantics
pps_curr_pic_ref_enabled_flag equal to 1 specifies that a picture referring to the PPS may be included in a reference
picture list of a slice of the picture itself. pps_curr_pic_ref_enabled_flag equal to 0 specifies that a picture referring to the
PPS is never included in a reference picture list of a slice of the picture itself. When not present, the value of
pps_curr_pic_ref_enabled_flag is inferred to be equal to 0.
It is a requirement of bitstream conformance that when sps_curr_pic_ref_enabled_flag is equal to 0, the value of
pps_curr_pic_ref_enabled_flag shall be equal to 0.
The variable TwoVersionsOfCurrDecPicFlag is derived as follows:

          TwoVersionsOfCurrDecPicFlag = pps_curr_pic_ref_enabled_flag &&
             ( sample_adaptive_offset_enabled_flag | | !pps_deblocking_filter_disabled_flag | |                               (7-40)
             deblocking_filter_override_enabled_flag )

When sps_max_dec_pic_buffering_minus1[ TemporalId ] is equal to 0, the value of TwoVersionsOfCurrDecPicFlag shall
be equal to 0.
residual_adaptive_colour_transform_enabled_flag equal to 1 specifies that an adaptive colour transform may be
applied to the residual in the decoding process. residual_adaptive_colour_transform_enabled_flag equal to 0 specifies that
adaptive colour transform is not applied to the residual. When not present, the value of
residual_adaptive_colour_transform_enabled_flag is inferred to be equal to 0.
When ChromaArrayType is not equal to 3, residual_adaptive_colour_transform_enabled_flag shall be equal to 0.
pps_slice_act_qp_offsets_present_flag equal to 1 specifies that slice_act_y_qp_offset, slice_act_cb_qp_offset,
slice_act_cr_qp_offset are present in the slice header. pps_slice_act_qp_offsets_present_flag equal to 0 specifies that
slice_act_y_qp_offset, slice_act_cb_qp_offset, slice_act_cr_qp_offset are not present in the slice header. When not
present, the value of pps_slice_act_qp_offsets_present_flag is inferred to be equal to 0.
pps_act_y_qp_offset_plus5, pps_act_cb_qp_offset_plus5 and pps_act_cr_qp_offset_plus3 are used to determine the
offsets that are applied to the quantization parameter values qP derived in clause 8.6.2 for the luma, Cb and Cr components,
respectively, when tu_residual_act_flag[ xTbY ][ yTbY ] is equal to 1. When not present, the values of
pps_act_y_qp_offset_plus5, pps_act_cb_qp_offset_plus5 and pps_act_cr_qp_offset_plus3 are inferred to be equal to 0.
The variable PpsActQpOffsetY is set equal to pps_act_y_qp_offset_plus5 − 5.
The variable PpsActQpOffsetCb is set equal to pps_act_cb_qp_offset_plus5 − 5.
The variable PpsActQpOffsetCr is set equal to pps_act_cb_qp_offset_plus3 − 3.
   NOTE – The constant offset values of 5, 5, and 3 above are applied because the adaptive colour transformation that is applied to the
   residual when tu_residual_act_flag[ xTbY ][ yTbY ] is equal to 1 is not an orthonormal transformation.

It is a requirement of bitstream conformance that the values of PpsActQpOffsetY, PpsActQpOffsetCb, and
PpsActQpOffsetCr shall be in the range of −12 to +12, inclusive.
pps_palette_predictor_initializers_present_flag equal to 1 specifies that the palette predictor initializers used for the
pictures referring to the PPS are derived based on the palette predictor initializers specified by the PPS.
pps_palette_predictor_initializer_flag equal to 0 specifies that the palette predictor initializers used for the pictures
referring to the PPS are inferred to be equal to those specified by the active SPS. When not present, the value of
pps_palette_predictor_initializers_present_flag is inferred to be equal to 0.
It is a requirement of bitstream conformance that the value of pps_palette_predictor_initializers_present_flag shall be equal
to 0 when either palette_max_size is equal to 0 or palette_mode_enabled_flag is equal to 0.
pps_num_palette_predictor_initializers specifies the number of entries in the picture palette predictor initializer.
It is a requirement of bitstream conformance that the value of pps_num_palette_predictor_initializers shall be less than or
equal to PaletteMaxPredictorSize.
monochrome_palette_flag equal to 1 specifies that the pictures that refer to this PPS are monochrome.
monochrome_palette_flag equal to 0 specifies that the pictures that refer to this PPS have multiple components.
It is a requirement of bitstream conformance that the value of the monochrome_palette_flag shall be equal to
( chroma_format_idc = = 0 ).


                                                                                     Rec. ITU-T H.265 v8 (08/2021)                87
Case 2:25-cv-03053                  Document 1-7            Filed 04/07/25           Page 109 of 717 Page ID #:638


luma_bit_depth_entry_minus8 plus 8 specifies the bit depth of the luma component of the entries of the palette predictor
initializer. It is a requirement of bitstream conformance that the value of luma_bit_depth_entry_minus8 shall be equal to
the value of bit_depth_luma_minus8.
chroma_bit_depth_entry_minus8 plus 8 specifies the bit depth of the chroma components of the entries of the palette
predictor initializer. It is a requirement of bitstream conformance that the value of chroma_bit_depth_entry_minus8 shall
be equal to the value of bit_depth_chroma_minus8.
pps_palette_predictor_initializer[ comp ][ i ] specifies the value of the comp-th component of the i-th palette entry in
the PPS that is used to initialize the array PredictorPaletteEntries. For values of i in the range of 0 to
pps_num_palette_predictor_initializers − 1,        inclusive,   the   number      of       bits used     to    represent
pps_palette_predictor_initializer[ 0 ][ i ] is luma_bit_depth_entry_minus8 + 8, and the number of bits used to represent
pps_palette_predictor_initializer[ 1 ][ i ] and pps_palette_predictor_initializer[ 2 ][ i ] is chroma_bit_depth_entry_
minus8 + 8.

7.4.3.4     Supplemental enhancement information RBSP semantics
Supplemental enhancement information (SEI) contains information that is not necessary to decode the samples of coded
pictures from VCL NAL units. An SEI RBSP contains one or more SEI messages.

7.4.3.5     Access unit delimiter RBSP semantics
The access unit delimiter may be used to indicate the type of slices present in the coded pictures in the access unit containing
the access unit delimiter NAL unit and to simplify the detection of the boundary between access units. There is no
normative decoding process associated with the access unit delimiter.
pic_type indicates that the slice_type values for all slices of the coded pictures in the access unit containing the access unit
delimiter NAL unit are members of the set listed in Table 7-2 for the given value of pic_type. The value of pic_type shall
be equal to 0, 1 or 2 in bitstreams conforming to this version of this Specification. Other values of pic_type are reserved
for future use by ITU-T | ISO/IEC. Decoders conforming to this version of this Specification shall ignore reserved values
of pic_type.

                                               Table 7-2 – Interpretation of pic_type
                            pic_type slice_type values that may be present in the coded picture
                                0       I

                                1       P, I

                                2       B, P, I



7.4.3.6     End of sequence RBSP semantics
When included in a NAL unit with nuh_layer_id equal to 0, the end of sequence RBSP specifies that the current access
unit is the last access unit in the coded video sequence in decoding order and the next subsequent access unit in the bitstream
in decoding order (if any) is an IRAP access unit with NoRaslOutputFlag equal to 1. The syntax content of the SODB and
RBSP for the end of sequence RBSP are empty.

7.4.3.7     End of bitstream RBSP semantics
The end of bitstream RBSP indicates that no additional NAL units are present in the bitstream that are subsequent to the
end of bitstream RBSP in decoding order. The syntax content of the SODB and RBSP for the end of bitstream RBSP are
empty.
     NOTE – When an elementary stream contains more than one bitstream, the last NAL unit of the last access unit of a bitstream must
     contain an end of bitstream NAL unit and the first access unit of the subsequent bitstream must be an IRAP access unit. This IRAP
     access unit may be a CRA, BLA or IDR access unit.

7.4.3.8     Filler data RBSP semantics
The filler data RBSP contains bytes whose value shall be equal to 0xFF. No normative decoding process is specified for a
filler data RBSP.
ff_byte is a byte equal to 0xFF.

7.4.3.9    Slice segment layer RBSP semantics
The slice segment layer RBSP consists of a slice segment header and slice segment data.


88           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 110 of 717 Page ID #:639


7.4.3.10 RBSP slice segment trailing bits semantics
cabac_zero_word is a byte-aligned sequence of two bytes equal to 0x0000.
Let NumBytesInVclNalUnits be the sum of the values of NumBytesInNalUnit for all VCL NAL units of a coded picture.
Let BinCountsInNalUnits be the number of times that the parsing process function DecodeBin( ), specified in
clause 9.3.4.3, is invoked to decode the contents of all VCL NAL units of a coded picture.
Let the variable RawMinCuBits be derived as follows:

           RawMinCuBits = MinCbSizeY * MinCbSizeY *
                       ( BitDepthY + 2 * BitDepthC / ( SubWidthC * SubHeightC ) )                                              (7-41)

The value of BinCountsInNalUnits shall be less than or equal to ( 32 ÷ 3 ) * NumBytesInVclNalUnits +
( RawMinCuBits * PicSizeInMinCbsY )  32.
    NOTE – The constraint on the maximum number of bins resulting from decoding the contents of the coded slice segment NAL units
    can be met by inserting a number of cabac_zero_word syntax elements to increase the value of NumBytesInVclNalUnits. Each
    cabac_zero_word is represented in a NAL unit by the three-byte sequence 0x000003 (as a result of the constraints on NAL unit
    contents that result in requiring inclusion of an emulation_prevention_three_byte for each cabac_zero_word).

7.4.3.11 RBSP trailing bits semantics
rbsp_stop_one_bit shall be equal to 1.
rbsp_alignment_zero_bit shall be equal to 0.

7.4.3.12 Byte alignment semantics
alignment_bit_equal_to_one shall be equal to 1.
alignment_bit_equal_to_zero shall be equal to 0.

7.4.4      Profile, tier and level semantics
general_profile_space      specifies     the   context    for  the     interpretation    of   general_profile_idc     and
general_profile_compatibility_flag[ j ] for all values of j in the range of 0 to 31, inclusive. The value of
general_profile_space shall be equal to 0 in bitstreams conforming to this version of this Specification. Other values for
general_profile_space are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the CVS when
general_profile_space is not equal to 0.
general_tier_flag specifies the tier context for the interpretation of general_level_idc as specified in Annex A.
general_profile_idc, when general_profile_space is equal to 0, indicates a profile to which the CVS conforms as specified
in Annex A. Bitstreams shall not contain values of general_profile_idc other than those specified in Annex A. Other values
of general_profile_idc are reserved for future use by ITU-T | ISO/IEC.
general_profile_compatibility_flag[ j ] equal to 1, when general_profile_space is equal to 0, indicates that the CVS
conforms to the profile indicated by general_profile_idc equal to j as specified in Annex A. When general_profile_space
is equal to 0, general_profile_compatibility_flag[ general_profile_idc ] shall be equal to 1. The value of
general_profile_compatibility_flag[ j ] shall be equal to 0 for any value of j that is not specified as an allowed value of
general_profile_idc in Annex A.
general_progressive_source_flag and general_interlaced_source_flag are interpreted as follows:
–    If general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 0, the source scan
     type of the pictures in the CVS should be interpreted as progressive only.
–    Otherwise, if general_progressive_source_flag is equal to 0 and general_interlaced_source_flag is equal to 1, the
     source scan type of the pictures in the CVS should be interpreted as interlaced only.
–    Otherwise, if general_progressive_source_flag is equal to 0 and general_interlaced_source_flag is equal to 0, the
     source scan type of the pictures in the CVS should be interpreted as unknown or unspecified.
–    Otherwise (general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 1), the
     source scan type of each picture in the CVS is indicated at the picture level using the syntax element source_scan_type
     in a picture timing SEI message.
    NOTE 1 – Decoders may ignore the values of general_progressive_source_flag and general_interlaced_source_flag for purposes
    other than determining the value to be inferred for frame_field_info_present_flag when vui_parameters_present_flag is equal to 0,
    as there are no other decoding process requirements associated with the values of these flags. Moreover, the actual source scan type
    of the pictures is outside the scope of this Specification and the method by which the encoder selects the values of
    general_progressive_source_flag and general_interlaced_source_flag is unspecified.


                                                                                      Rec. ITU-T H.265 v8 (08/2021)                89
Case 2:25-cv-03053                  Document 1-7              Filed 04/07/25            Page 111 of 717 Page ID #:640


general_non_packed_constraint_flag equal to 1 specifies that there are no frame packing arrangement SEI messages,
segmented rectangular frame packing arrangement SEI messages, equirectangular projection SEI messages, or cubemap
projection SEI messages present in the CVS. general_non_packed_constraint_flag equal to 0 indicates that there may or
may not be one or more frame packing arrangement SEI messages, segmented rectangular frame packing arrangement SEI
messages, equirectangular projection SEI messages, or cubemap projection SEI messages present in the CVS.
     NOTE 2 – Decoders may ignore the value of general_non_packed_constraint_flag, as there are no decoding process requirements
     associated with the presence or interpretation of frame packing arrangement SEI messages, segmented rectangular frame packing
     arrangement SEI messages, equirectangular projection SEI messages, or cubemap projection SEI messages.

general_frame_only_constraint_flag equal to 1 specifies that field_seq_flag is equal                                             to    0.
general_frame_only_constraint_flag equal to 0 indicates that field_seq_flag may or may not be equal to 0.
     NOTE 3 – Decoders may ignore the value of general_frame_only_constraint_flag, as there are no decoding process requirements
     associated with the value of field_seq_flag.
     NOTE 4 – When general_progressive_source_flag is equal to 1, general_frame_only_constraint_flag may or may not be equal to 1.

general_max_12bit_constraint_flag,     general_max_10bit_constraint_flag,       general_max_8bit_constraint_flag,
general_max_422chroma_constraint_flag, general_max_420chroma_constraint_flag, general_max_monochrome_
constraint_flag, general_intra_constraint_flag, general_one_picture_only_constraint_flag general_lower_
bit_rate_constraint_flag, and general_max_14bit_constraint_flag, when present, have semantics specified in Annex A
when the profile indicated by general_profile_idc or general_profile_compatibility_flag[ j ] is a profile specified in
Annex A.
general_reserved_zero_33bits, when present, shall be equal to 0 in bitstreams conforming to this version of this
Specification. Other values for general_reserved_zero_33bits are reserved for future use by ITU-T | ISO/IEC. Decoders
shall ignore the value of general_reserved_zero_33bits.
general_reserved_zero_34bits, when present, shall be equal to 0 in bitstreams conforming to this version of this
Specification. Other values for general_reserved_zero_34bits are reserved for future use by ITU-T | ISO/IEC. Decoders
shall ignore the value of general_reserved_zero_34bits.
general_reserved_zero_7bits, when present, shall be equal to 0 in bitstreams conforming to this version of this
Specification. Other values for general_reserved_zero_7bits are reserved for future use by ITU-T | ISO/IEC. Decoders
shall ignore the value of general_reserved_zero_7bits.
general_reserved_zero_35bits, when present, shall be equal to 0 in bitstreams conforming to this version of this
Specification. Other values for general_reserved_zero_35bits are reserved for future use by ITU-T | ISO/IEC. Decoders
shall ignore the value of general_reserved_zero_35bits.
general_reserved_zero_43bits, when present, shall be equal to 0 in bitstreams conforming to this version of this
Specification. Other values for general_reserved_zero_43bits are reserved for future use by ITU-T | ISO/IEC. Decoders
shall ignore the value of general_reserved_zero_43bits.
general_inbld_flag equal to 1 specifies that the INBLD capability as specified in Annex F is required for decoding of the
layer to which the profile_tier_level( ) syntax structure applies. general_inbld_flag equal to 0 specifies that the INBLD
capability as specified in Annex F is not required for decoding of the layer to which the profile_tier_level( ) syntax structure
applies. When profilePresentFlag is equal to 1, general_profile_idc is not equal to 9 or 11 and is not in the range of 1 to 5,
inclusive, general_profile_compatibility_flag[ 9 ] is not equal to 1, general_profile_compatibility_flag[ 11 ] is not equal to
1, and general_profile_compatibility_flag[ j ] is not equal to 1 for any value of j in the range of 1 to 5, inclusive, the value
of general_inbld_flag is inferred to be equal to 0.
general_reserved_zero_bit, when present, shall be equal to 0 in bitstreams conforming to this version of this
Specification. The value 1 for general_reserved_zero_1bit is reserved for future use by ITU-T | ISO/IEC. Decoders shall
ignore the value of general_reserved_zero_bit.
general_level_idc indicates a level to which the CVS conforms as specified in Annex A. Bitstreams shall not contain
values of general_level_idc other than those specified in Annex A. Other values of general_level_idc are reserved for
future use by ITU-T | ISO/IEC.
     NOTE 5 – A greater value of general_level_idc indicates a higher level. The maximum level signalled in the VPS for a CVS may
     be higher than the level signalled in the SPS for the same CVS.
     NOTE 6 – When the coded video sequence conforms to multiple profiles, general_profile_idc should indicate the profile that
     provides the preferred decoded result or the preferred bitstream identification, as determined by the encoder (in a manner not
     specified in this Specification).
     NOTE 7 – The syntax elements general_reserved_zero_33bits, general_reserved_zero_34bits and general_reserved_zero_43bits
     may be used in future versions of this Specification to indicate further constraints on the bitstream (e.g., that a particular syntax
     combination that would otherwise be permitted by the indicated values of general_profile_compatibility_flag[ j ], is not used).

sub_layer_profile_present_flag[ i ] equal to 1, specifies that profile information is present in the profile_tier_level( )
syntax structure for the sub-layer representation with TemporalId equal to i. sub_layer_profile_present_flag[ i ] equal to 0


90           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 112 of 717 Page ID #:641


specifies that profile information is not present in the profile_tier_level( ) syntax structure for the sub-layer representation
with TemporalId equal to i. When profilePresentFlag is equal to 0, sub_layer_profile_present_flag[ i ] shall be equal to 0.
sub_layer_level_present_flag[ i ] equal to 1 specifies that level information is present in the profile_tier_level( ) syntax
structure for the sub-layer representation with TemporalId equal to i. sub_layer_level_present_flag[ i ] equal to 0 specifies
that level information is not present in the profile_tier_level( ) syntax structure for the sub-layer representation with
TemporalId equal to i.
reserved_zero_2bits[ i ] shall be equal to 0 in bitstreams conforming to this version of this Specification. Other values for
reserved_zero_2bits[ i ] are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the value of
reserved_zero_2bits[ i ].
Each of the following syntax elements:
–    sub_layer_profile_space[ i ],
–    sub_layer_tier_flag[ i ],
–    sub_layer_profile_idc[ i ],
–    sub_layer_profile_compatibility_flag[ i ][ j ],
–    sub_layer_progressive_source_flag[ i ],
–    sub_layer_interlaced_source_flag[ i ],
–    sub_layer_non_packed_constraint_flag[ i ],
–    sub_layer_frame_only_constraint_flag[ i ],
–    sub_layer_max_12bit_constraint_flag[ i ],
–    sub_layer_max_10bit_constraint_flag[ i ],
–    sub_layer_max_8bit_constraint_flag[ i ],
–    sub_layer_max_422chroma_constraint_flag[ i ],
–    sub_layer_max_420chroma_constraint_flag[ i ],
–    sub_layer_max_monochrome_constraint_flag[ i ],
–    sub_layer_intra_constraint_flag[ i ],
–    sub_layer_one_picture_only_constraint_flag[ i ],
–    sub_layer_lower_bit_rate_constraint_flag[ i ],
–    sub_layer_max_14bit_constraint_flag[ i ],
–    sub_layer_reserved_zero_33bits[ i ],
–    sub_layer_reserved_zero_34bits[ i ],
–    sub_layer_reserved_zero_7bits[ i ],
–    sub_layer_reserved_zero_35bits[ i ],
–    sub_layer_reserved_zero_43bits[ i ],
–    sub_layer_inbld_flag[ i ],
–    sub_layer_reserved_zero_bit[ i ], and
–    sub_layer_level_idc[ i ],
is referred to as the i-th corresponding sub-layer syntax element of each of the following syntax elements:
–    general_profile_space,
–    general_tier_flag,
–    general_profile_idc,
–    general_profile_compatibility_flag[ j ],
–    general_progressive_source_flag,
–    general_interlaced_source_flag,
–    general_non_packed_constraint_flag,
–    general_frame_only_constraint_flag,
–    general_max_12bit_constraint_flag,
–    general_max_10bit_constraint_flag,



                                                                                 Rec. ITU-T H.265 v8 (08/2021)              91
Case 2:25-cv-03053                   Document 1-7               Filed 04/07/25              Page 113 of 717 Page ID #:642


–     general_max_8bit_constraint_flag,
–     general_max_422chroma_constraint_flag,
–     general_max_420chroma_constraint_flag,
–     general_max_monochrome_constraint_flag,
–     general_intra_constraint_flag,
–     general_one_picture_only_constraint_flag,
–     general_lower_bit_rate_constraint_flag,
–     general_max_14bit_constraint_flag,
–     general_reserved_zero_33bits,
–     general_reserved_zero_34bits,
–     general_reserved_zero_7bits,
–     general_reserved_zero_35bits,
–     general_reserved_zero_43bits,
–     general_inbld_flag,
–     general_reserved_zero_bit, and
–     general_level_idc,
respectively.
The semantics of a particular syntax element's i-th corresponding sub-layer syntax element, apart from the specification of
the inference of the value when not present, is the same as for the particular syntax element, but applies to the sub-layer
representation with TemporalId equal to i.
When not present, the value of sub_layer_tier_flag[ i ] is inferred to be equal to 0.
     NOTE 8 – It is possible that sub_layer_tier_flag[ i ] is not present and sub_layer_level_idc[ i ] is present. In this case, a default value
     of sub_layer_tier_flag[ i ] is needed for interpretation of sub_layer_level_idc[ i ].

When the profile_tier_level( ) syntax structure is included in an SPS or is the first profile_tier_level( ) syntax structure in
a VPS, and any of the syntax elements sub_layer_profile_space[ i ], sub_layer_profile_idc[ i ],
sub_layer_profile_compatibility_flag[ i ][ j ], sub_layer_progressive_source_flag[ i ], sub_layer_interlaced_source_
flag[ i ], sub_layer_non_packed_constraint_flag[ i ], sub_layer_frame_only_constraint_flag[ i ], sub_layer_max_12bit_
constraint_flag[ i ], sub_layer_max_10bit_constraint_flag[ i ], sub_layer_max_8bit_constraint_flag[ i ], sub_layer_max_
422chroma_constraint_flag[ i ],       sub_layer_max_420chroma_constraint_flag[ i ],           sub_layer_max_monochrome_
constraint_flag[ i ], sub_layer_intra_constraint_flag[ i ], sub_layer_one_picture_only_constraint_flag[ i ], sub_layer_
lower_bit_rate_constraint_flag[ i ],      sub_layer_max_14bit_constraint_flag,          sub_layer_reserved_zero_33bits[ i ],
sub_layer_reserved_zero_34bits[ i ], sub_layer_reserved_zero_43bits[ i ], sub_layer_inbld_flag[ i ], sub_layer_reserved_
zero_1bit[ i ] and sub_layer_level_idc[ i ] is not present for any value of i in the range of 0 to
maxNumSubLayersMinus1 − 1, inclusive, in the profile_tier_level( ) syntax structure, the value of the syntax element is
inferred as follows (in decreasing order of i values from maxNumSubLayersMinus1 − 1 to 0):
–     If the value of i is equal to maxNumSubLayersMinus1, the value of the syntax element is inferred to be equal to the
      value of the corresponding syntax element prefixed with "general_" of the same profile_tier_level( ) syntax structure.
     NOTE 9 – For example, in this case, if sub_layer_profile_space[ i ] is not present, the value is inferred to be equal to
     general_profile_space of the same profile_tier_level( ) syntax structure.
–     Otherwise (the value of i is less than maxNumSubLayersMinus1), the value of the syntax element is inferred to be
      equal to the corresponding syntax element with i being replaced with i + 1 of the same profile_tier_level( ) syntax
      structure.
     NOTE 10 – For example, in this case, if sub_layer_profile_space[ i ] is not present, the value is inferred to be equal to
     sub_layer_profile_space[ i + 1 ] of the same profile_tier_level( ) syntax structure.

7.4.5        Scaling list data semantics
scaling_list_pred_mode_flag[ sizeId ][ matrixId ] equal to 0 specifies that the values of the scaling list are the same as
the    values      of    a     reference      scaling     list.   The   reference scaling    list   is     specified   by
scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ]. scaling_list_pred_mode_flag[ sizeId ][ matrixId ] equal to 1
specifies that the values of the scaling list are explicitly signalled.
scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ]               specifies     the   reference     scaling     list   used    to   derive
ScalingList[ sizeId ][ matrixId ] as follows:




92            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25             Page 114 of 717 Page ID #:643


–    If scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ] is equal to 0, the scaling list is inferred from the default
     scaling list ScalingList[ sizeId ][ matrixId ][ i ] as specified in Table 7-5 and Table 7-6 for
     i = 0..Min( 63, ( 1 << ( 4 + ( sizeId << 1 ) ) ) − 1 ).
–    Otherwise, the scaling list is inferred from the reference scaling list as follows:

          refMatrixId = matrixId −
              scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ] * ( sizeId = = 3 ? 3 : 1 )                        (7-42)

          ScalingList[ sizeId ][ matrixId ][ i ] = ScalingList[ sizeId ][ refMatrixId ][ i ]
          with i =0..Min( 63, ( 1 << ( 4 + ( sizeId << 1 ) ) ) − 1 )                                                    (7-43)

If sizeId is less than or equal to 2, the value of scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ] shall be in the range
of     0      to     matrixId,      inclusive.     Otherwise      (sizeId   is    equal      to    3),      the     value     of
scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ] shall be in the range of 0 to matrixId / 3, inclusive.

                                              Table 7-3 – Specification of sizeId
                                           Size of quantization matrix       sizeId
                                                      4x4                       0
                                                      8x8                       1
                                                     16x16                      2
                                                     32x32                      3



         Table 7-4 – Specification of matrixId according to sizeId, prediction mode and colour component
                                                                           cIdx
                                sizeId           CuPredMode              (Colour           matrixId
                                                                       component)
                              0, 1, 2, 3        MODE_INTRA                0 (Y)                0
                              0, 1, 2, 3        MODE_INTRA                1 (Cb)               1
                              0, 1, 2, 3        MODE_INTRA                2 (Cr)               2
                              0, 1, 2, 3        MODE_INTER                 0 (Y)               3
                              0, 1, 2, 3        MODE_INTER                1 (Cb)               4
                              0, 1, 2, 3        MODE_INTER                2 (Cr)               5


scaling_list_dc_coef_minus8[ sizeId − 2 ][ matrixId ]         plus     8     specifies   the   value     of    the    variable
ScalingFactor[ 2 ][ matrixId ][ 0 ][ 0 ] for the scaling list for the 16x16 size when sizeId is equal to 2 and specifies the
value of ScalingFactor[ 3 ][ matrixId ][ 0 ][ 0 ] for the scaling list for the 32x32 size when sizeId is equal to 3. The value
of scaling_list_dc_coef_minus8[ sizeId − 2 ][ matrixId ] shall be in the range of −7 to 247, inclusive.
When       scaling_list_pred_mode_flag[ sizeId ][ matrixId ]     is    equal      to    0,    scaling_list_pred_matrix_id_
delta[ sizeId ][ matrixId ]  is   equal     to    0    and      sizeId    is    greater    than    1,    the    value   of
scaling_list_dc_coef_minus8[ sizeId − 2 ][ matrixId ] is inferred to be equal to 8.
When scaling_list_pred_matrix_id_delta[ sizeId ][ matrixId ] is not equal to 0 and sizeId is greater than 1, the value of
scaling_list_dc_coef_minus8[ sizeId − 2 ][ matrixId ] is inferred to be equal to scaling_list_dc_coef_
minus8[ sizeId − 2 ][ refMatrixId ], where the value of refMatrixId is given by Equation 7-42.
scaling_list_delta_coef specifies the difference between the current matrix coefficient ScalingList[ sizeId ][ matrixId ][ i ]
and the previous matrix coefficient ScalingList[ sizeId ][ matrixId ][ i − 1 ], when scaling_list_pred_
mode_flag[ sizeId ][ matrixId ] is equal to 1. The value of scaling_list_delta_coef shall be in the range of −128 to 127,
inclusive. The value of ScalingList[ sizeId ][ matrixId ][ i ] shall be greater than 0.




                                                                                   Rec. ITU-T H.265 v8 (08/2021)            93
Case 2:25-cv-03053               Document 1-7                       Filed 04/07/25                          Page 115 of 717 Page ID #:644


              Table 7-5 – Specification of default values of ScalingList[ 0 ][ matrixId ][ i ] with i = 0..15
                            i                   0       1       2       3       4       5       6       7       8       9   10 11 12 13 14 15
            ScalingList[ 0 ][ 0..5 ][ i ]   16 16 16 16 16 16 16 16 16 16 16 16 16 16 16 16



            Table 7-6 – Specification of default values of ScalingList[ 1..3 ][ matrixId ][ i ] with i = 0..63
                        i                   0       1       2       3       4       5       6       7       8       9       10 11 12 13 14   15
         ScalingList[ 1..3 ][ 0..2 ][ i ]   16 16 16 16 16 16 16 16 16 16 17 16 17 16 17                                                     18
         ScalingList[ 1..3 ][ 3..5 ][ i ]   16 16 16 16 16 16 16 16 16 16 17 17 17 17 17                                                     18
                     i − 16                 0       1       2       3       4       5       6       7       8       9       10 11 12 13 14   15
         ScalingList[ 1..3 ][ 0..2 ][ i ]   17 18 18 17 18 21 19 20 21 20 19 21 24 22 22                                                     24
         ScalingList[ 1..3 ][ 3..5 ][ i ]   18 18 18 18 18 20 20 20 20 20 20 20 24 24 24                                                     24
                     i − 32                 0       1       2       3       4       5       6       7       8       9       10 11 12 13 14   15
         ScalingList[ 1..3 ][ 0..2 ][ i ]   24 22 22 24 25 25 27 30 27 25 25 29 31 35 35                                                     31
         ScalingList[ 1..3 ][ 3..5 ][ i ]   24 24 24 24 25 25 25 25 25 25 25 28 28 28 28                                                     28
                     i − 48                 0       1       2       3       4       5       6       7       8       9       10 11 12 13 14   15
         ScalingList[ 1..3 ][ 0..2 ][ i ]   29 36 41 44 41 36 47 54 54 47 65 70 65 88 88                                                     115
         ScalingList[ 1..3 ][ 3..5 ][ i ]   28 33 33 33 33 33 41 41 41 41 54 54 54 71 71                                                     91


The four-dimensional array ScalingFactor[ sizeId ][ matrixId ][ x ][ y ], with x, y = 0..( 1 << ( 2 + sizeId ) ) − 1, specifies
the array of scaling factors according to the variables sizeId specified in Table 7-3 and matrixId specified in Table 7-4.
The elements of the quantization matrix of size 4x4, ScalingFactor[ 0 ][ matrixId ][ ][ ], are derived as follows:

          ScalingFactor[ 0 ][ matrixId ][ x ][ y ] = ScalingList[ 0 ][ matrixId ][ i ]                          (7-44)
          with i = 0..15, matrixId = 0..5, x = ScanOrder[ 2 ][ 0 ][ i ][ 0 ], and y = ScanOrder[ 2 ][ 0 ][ i ][ 1 ]

The elements of the quantization matrix of size 8x8, ScalingFactor[ 1 ][ matrixId ][ ][ ], are derived as follows:

          ScalingFactor[ 1 ][ matrixId ][ x ][ y ] = ScalingList[ 1 ][ matrixId ][ i ]                          (7-45)
          with i = 0..63, matrixId = 0..5, x = ScanOrder[ 3 ][ 0 ][ i ][ 0 ], and y = ScanOrder[ 3 ][ 0 ][ i ][ 1 ]

The elements of the quantization matrix of size 16x16, ScalingFactor[ 2 ][ matrixId ][ ][ ], are derived as follows:

          ScalingFactor[ 2 ][ matrixId ][ x * 2 + k ][ y * 2 + j ] = ScalingList[ 2 ][ matrixId ][ i ]                                             (7-46)
          with i = 0..63, j = 0..1, k = 0..1, matrixId = 0..5, x = ScanOrder[ 3 ][ 0 ][ i ][ 0 ],
          and y = ScanOrder[ 3 ][ 0 ][ i ][ 1 ]

          ScalingFactor[ 2 ][ matrixId ][ 0 ][ 0 ] = scaling_list_dc_coef_minus8[ 0 ][ matrixId ] + 8                                              (7-47)
          with matrixId = 0..5

The elements of the quantization matrix of size 32x32, ScalingFactor[ 3 ][ matrixId ][ ][ ], are derived as follows:

          ScalingFactor[ 3 ][ matrixId ][ x * 4 + k ][ y * 4 + j ] = ScalingList[ 3 ][ matrixId ][ i ]                                             (7-48)
          with i = 0..63, j = 0..3, k = 0..3, matrixId = 0, 3, x = ScanOrder[ 3 ][ 0 ][ i ][ 0 ],
          and y = ScanOrder[ 3 ][ 0 ][ i ][ 1 ]

          ScalingFactor[ 3 ][ matrixId ][ 0 ][ 0 ] = scaling_list_dc_coef_minus8[ 1 ][ matrixId ] + 8                                              (7-49)
          with matrixId = 0, 3

When ChromaArrayType is equal to 3, the elements of the chroma quantization matrix of size 32x32,
ScalingFactor[ 3 ][ matrixId ][ ][ ], with matrixId = 1, 2, 4 and 5 are derived as follows:

          ScalingFactor[ 3 ][ matrixId ][ x * 4 + k ][ y * 4 + j ] = ScalingList[ 2 ][ matrixId ][ i ]           (7-50)
          with i = 0..63, j = 0..3, k = 0..3, x = ScanOrder[ 3 ][ 0 ][ i ][ 0 ], and y = ScanOrder[ 3 ][ 0 ][ i ][ 1 ]


94         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 116 of 717 Page ID #:645


           ScalingFactor[ 3 ][ matrixId ][ 0 ][ 0 ] = scaling_list_dc_coef_minus8[ 0 ][ matrixId ] + 8                         (7-51)

7.4.6      Supplemental enhancement information message semantics
Each SEI message consists of the variables specifying the type payloadType and size payloadSize of the SEI message
payload. SEI message payloads are specified in Annex D. The derived SEI message payload size payloadSize is specified
in bytes and shall be equal to the number of RBSP bytes in the SEI message payload.
    NOTE – The NAL unit byte sequence containing the SEI message might include one or more emulation prevention bytes
    (represented by emulation_prevention_three_byte syntax elements). Since the payload size of an SEI message is specified in RBSP
    bytes, the quantity of emulation prevention bytes is not included in the size payloadSize of an SEI payload.

ff_byte is a byte equal to 0xFF identifying a need for a longer representation of the syntax structure that it is used within.
last_payload_type_byte is the last byte of the payload type of an SEI message.
last_payload_size_byte is the last byte of the payload size of an SEI message.

7.4.7      Slice segment header semantics

7.4.7.1    General slice segment header semantics
When present, the value of the slice segment header syntax elements slice_pic_parameter_set_id, pic_output_flag,
no_output_of_prior_pics_flag, slice_pic_order_cnt_lsb, short_term_ref_pic_set_sps_flag, short_term_ref_pic_set_idx,
num_long_term_sps, num_long_term_pics and slice_temporal_mvp_enabled_flag shall be the same in all slice segment
headers of a coded picture. When present, the value of the slice segment header syntax elements lt_idx_sps[ i ],
poc_lsb_lt[ i ], used_by_curr_pic_lt_flag[ i ], delta_poc_msb_present_flag[ i ] and delta_poc_msb_cycle_lt[ i ] shall be
the same in all slice segment headers of a coded picture for each possible value of i.
first_slice_segment_in_pic_flag equal to 1 specifies that the slice segment is the first slice segment of the picture in
decoding order. first_slice_segment_in_pic_flag equal to 0 specifies that the slice segment is not the first slice segment of
the picture in decoding order.
    NOTE 1 – This syntax element may be used for detection of the boundary between coded pictures that are consecutive in decoding
    order. However, when IDR pictures are consecutive in decoding order and have the same NAL unit type, loss of the first slice of an
    IDR picture can cause a problem with detection of the boundary between the coded pictures. This can occur, e.g., in the transmission
    of all-intra-coded video in an error-prone environment. This problem can be mitigated by alternately using the two different IDR
    NAL unit types (IDR_W_RADL and IDR_N_LP) for any two consecutive IDR pictures. The use of the temporal sub-layer zero
    index SEI message can also be helpful, as that SEI message includes the syntax element irap_pic_id, the value of which is different
    for IRAP pictures that are consecutive in decoding order. Some system environments have other provisions that can be helpful for
    picture boundary detection as well, such as the use of presentation timestamps in Rec. ITU-T H.222.0 | ISO/IEC 13818-1 systems,
    access unit framing in the ISO/IEC 14496-12 ISO base media file format, or the marker bit in IETF RFC 3550 real-time transport
    protocol headers.

no_output_of_prior_pics_flag affects the output of previously-decoded pictures in the decoded picture buffer after the
decoding of an IDR or a BLA picture that is not the first picture in the bitstream as specified in Annex C.
slice_pic_parameter_set_id specifies the value of pps_pic_parameter_set_id for the PPS in use. The value of
slice_pic_parameter_set_id shall be in the range of 0 to 63, inclusive.
Let activePPS be the PPS that has pps_pic_parameter_set_id equal to slice_pic_parameter_set_id, and let activeSPS be the
SPS that has sps_seq_parameter_set_id equal to pps_seq_parameter_set_id of activePPS. It is a requirement of bitstream
conformance that the following constraints apply:
–    The value of TemporalId of activePPS shall be less than or equal to the value of TemporalId of the current picture.
–    The value of nuh_layer_id of activePPS shall be less than or equal to the value of nuh_layer_id of the current picture.
–    The value of nuh_layer_id of activeSPS shall be less than or equal to the value of nuh_layer_id of the current picture.
dependent_slice_segment_flag equal to 1 specifies that the value of each slice segment header syntax element that is not
present is inferred to be equal to the value of the corresponding slice segment header syntax element in the slice header.
When not present, the value of dependent_slice_segment_flag is inferred to be equal to 0.
The variable SliceAddrRs is derived as follows:
–    If dependent_slice_segment_flag is equal to 0, SliceAddrRs is set equal to slice_segment_address.
–    Otherwise, SliceAddrRs is set equal to SliceAddrRs of the preceding slice segment containing the CTB for which the
     CTB address is CtbAddrTsToRs[ CtbAddrRsToTs[ slice_segment_address ] − 1 ].
slice_segment_address specifies the address of the first CTB in the slice segment, in CTB raster scan of a picture. The
length of the slice_segment_address syntax element is Ceil( Log2( PicSizeInCtbsY ) ) bits. The value of


                                                                                      Rec. ITU-T H.265 v8 (08/2021)                95
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 117 of 717 Page ID #:646


slice_segment_address shall be in the range of 0 to PicSizeInCtbsY − 1, inclusive, and the value of slice_segment_address
shall not be equal to the value of slice_segment_address of any other coded slice segment NAL unit of the same coded
picture. When slice_segment_address is not present, it is inferred to be equal to 0.
The variable CtbAddrInRs, specifying a CTB address in CTB raster scan of a picture, is set equal to slice_segment_address.
The variable CtbAddrInTs, specifying a CTB address in tile scan, is set equal to CtbAddrRsToTs[ CtbAddrInRs ]. The
variables CuQpOffsetCb and CuQpOffsetCr, specifying values to be used when determining the respective values of the
Qp′Cb and Qp′Cr quantization parameters for the coding unit containing cu_chroma_qp_offset_flag, are both set equal to 0.
slice_reserved_flag[ i ] has semantics and values that are reserved for future use by ITU-T | ISO/IEC. Decoders shall
ignore the presence and value of slice_reserved_flag[ i ].
slice_type specifies the coding type of the slice according to Table 7-7.

                                          Table 7-7 – Name association to slice_type

                                              slice_type           Name of slice_type
                                                   0            B (B slice)
                                                   1            P (P slice)
                                                   2            I (I slice)


When nal_unit_type has a value in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive, i.e., the picture is an IRAP
picture, nuh_layer_id is equal to 0, and pps_curr_pic_ref_enabled_flag is equal to 0, slice_type shall be equal to 2.
When sps_max_dec_pic_buffering_minus1[ TemporalId ] is equal to 0, nuh_layer_id is equal to 0, and
pps_curr_pic_ref_enabled_flag is equal to 0, slice_type shall be equal to 2.
pic_output_flag affects the decoded picture output and removal processes as specified in Annex C. When pic_output_flag
is not present, it is inferred to be equal to 1.
colour_plane_id specifies the colour plane associated with the current slice RBSP when separate_colour_plane_flag is
equal to 1. The value of colour_plane_id shall be in the range of 0 to 2, inclusive. colour_plane_id values 0, 1 and 2
correspond to the Y, Cb and Cr planes, respectively.
     NOTE 2 – There is no dependency between the decoding processes of pictures having different values of colour_plane_id.

slice_pic_order_cnt_lsb specifies the picture order count modulo MaxPicOrderCntLsb for the current picture. The length
of the slice_pic_order_cnt_lsb syntax element is log2_max_pic_order_cnt_lsb_minus4 + 4 bits. The value of the
slice_pic_order_cnt_lsb shall be in the range of 0 to MaxPicOrderCntLsb − 1, inclusive. When slice_pic_order_cnt_lsb is
not present, slice_pic_order_cnt_lsb is inferred to be equal to 0, except as specified in clause 8.3.3.1.
short_term_ref_pic_set_sps_flag equal to 1 specifies that the short-term RPS of the current picture is derived based on
one of the st_ref_pic_set( ) syntax structures in the active SPS that is identified by the syntax element
short_term_ref_pic_set_idx in the slice header. short_term_ref_pic_set_sps_flag equal to 0 specifies that the short-term
RPS of the current picture is derived based on the st_ref_pic_set( ) syntax structure that is directly included in the slice
headers of the current picture. When num_short_term_ref_pic_sets is equal to 0, the value of
short_term_ref_pic_set_sps_flag shall be equal to 0.
short_term_ref_pic_set_idx specifies the index, into the list of the st_ref_pic_set( ) syntax structures included in the
active SPS, of the st_ref_pic_set( ) syntax structure that is used for derivation of the short-term RPS of the current picture.
The syntax element short_term_ref_pic_set_idx is represented by Ceil( Log2( num_short_term_ref_pic_sets ) ) bits. When
not present, the value of short_term_ref_pic_set_idx is inferred to be equal to 0. The value of short_term_ref_pic_set_idx
shall be in the range of 0 to num_short_term_ref_pic_sets − 1, inclusive.
The variable CurrRpsIdx is derived as follows:
–     If short_term_ref_pic_set_sps_flag is equal to 1, CurrRpsIdx is set equal to short_term_ref_pic_set_idx.
–     Otherwise, CurrRpsIdx is set equal to num_short_term_ref_pic_sets.
num_long_term_sps specifies the number of entries in the long-term RPS of the current picture that are derived based on
the candidate long-term reference pictures specified in the active SPS. The value of num_long_term_sps shall be in the
range of 0 to num_long_term_ref_pics_sps, inclusive. When not present, the value of num_long_term_sps is inferred to
be equal to 0.
num_long_term_pics specifies the number of entries in the long-term RPS of the current picture that are directly signalled
in the slice header. When not present, the value of num_long_term_pics is inferred to be equal to 0.



96           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25            Page 118 of 717 Page ID #:647


When nuh_layer_id is equal to 0, the value of num_long_term_pics shall be less than or equal to
sps_max_dec_pic_buffering_minus1[ TemporalId ] − NumNegativePics[ CurrRpsIdx ] − NumPositivePics[ CurrRpsIdx ]
− num_long_term_sps − TwoVersionsOfCurrDecPicFlag.
lt_idx_sps[ i ] specifies an index, into the list of candidate long-term reference pictures specified in the active SPS, of the
i-th entry in the long-term RPS of the current picture. The number of bits used to represent lt_idx_sps[ i ] is equal to
Ceil( Log2( num_long_term_ref_pics_sps ) ). When not present, the value of lt_idx_sps[ i ] is inferred to be equal to 0.
The value of lt_idx_sps[ i ] shall be in the range of 0 to num_long_term_ref_pics_sps − 1, inclusive.
poc_lsb_lt[ i ] specifies the value of the picture order count modulo MaxPicOrderCntLsb of the i-th entry in the long-term
RPS of the current picture. The length of the poc_lsb_lt[ i ] syntax element is log2_max_pic_order_cnt_lsb_minus4 + 4
bits.
used_by_curr_pic_lt_flag[ i ] equal to 0 specifies that the i-th entry in the long-term RPS of the current picture is not used
for reference by the current picture.
The variables PocLsbLt[ i ] and UsedByCurrPicLt[ i ] are derived as follows:
–    If i is less than num_long_term_sps, PocLsbLt[ i ] is set equal to lt_ref_pic_poc_lsb_sps[ lt_idx_sps[ i ] ] and
     UsedByCurrPicLt[ i ] is set equal to used_by_curr_pic_lt_sps_flag[ lt_idx_sps[ i ] ].
–    Otherwise, PocLsbLt[ i ] is set equal to poc_lsb_lt[ i ] and UsedByCurrPicLt[ i ] is set equal to
     used_by_curr_pic_lt_flag[ i ].
delta_poc_msb_present_flag[ i ] equal to 1 specifies that delta_poc_msb_cycle_lt[ i ]                                      is    present.
delta_poc_msb_present_flag[ i ] equal to 0 specifies that delta_poc_msb_cycle_lt[ i ] is not present.
Let prevTid0Pic be the previous picture in decoding order that has TemporalId equal to 0 and is not a RASL, RADL or
SLNR picture. Let setOfPrevPocVals be a set consisting of the following:
–    the PicOrderCntVal of prevTid0Pic,
–    the PicOrderCntVal of each picture in the RPS of prevTid0Pic,
–    the PicOrderCntVal of each picture that follows prevTid0Pic in decoding order and precedes the current picture in
     decoding order.
When there is more than one value in setOfPrevPocVals for which the value modulo MaxPicOrderCntLsb is equal to
PocLsbLt[ i ], delta_poc_msb_present_flag[ i ] shall be equal to 1.
delta_poc_msb_cycle_lt[ i ] is used to determine the value of the most significant bits of the picture order count value of
the i-th entry in the long-term RPS of the current picture. The value of delta_poc_msb_cycle_lt[ i ] shall be in the range of
0 to 2(32 − log2_max_pic_order_cnt_lsb_minus4 − 4 ), inclusive. When delta_poc_msb_cycle_lt[ i ] is not present, it is inferred to be equal
to 0.
The variable DeltaPocMsbCycleLt[ i ] is derived as follows:

           if( i = = 0 | | i = = num_long_term_sps )
                DeltaPocMsbCycleLt[ i ] = delta_poc_msb_cycle_lt[ i ]
           else                                                                                                                   (7-52)
                DeltaPocMsbCycleLt[ i ] = delta_poc_msb_cycle_lt[ i ] + DeltaPocMsbCycleLt[ i − 1 ]

slice_temporal_mvp_enabled_flag specifies whether temporal motion vector predictors can be used for inter prediction.
If slice_temporal_mvp_enabled_flag is equal to 0, the syntax elements of the current picture shall be constrained such that
no temporal motion vector predictor is used in decoding of the current picture. Otherwise
(slice_temporal_mvp_enabled_flag is equal to 1), temporal motion vector predictors may be used in decoding of the current
picture. When not present, the value of slice_temporal_mvp_enabled_flag is inferred to be equal to 0.
Let currLayerId be equal to nuh_layer_id of the current NAL unit. When both slice_temporal_mvp_enabled_flag and
TemporalId are equal to 0, the syntax elements for all coded pictures with nuh_layer_id equal to currLayerId that follow
the current picture in decoding order shall be constrained such that no temporal motion vector from any picture with
nuh_layer_id equal to currLayerId that precedes the current picture in decoding order is used in decoding of any coded
picture that follows the current picture in decoding order.
    NOTE 3 – When slice_temporal_mvp_enabled_flag is equal to 0 in an I slice, it has no impact on the normative decoding process
    of the picture but merely expresses a bitstream constraint.
    NOTE 4 – When slice_temporal_mvp_enabled_flag is equal to 0 in a slice with TemporalId equal to 0, decoders may empty "motion
    vector storage" for all reference pictures with nuh_layer_id equal to currLayerId in the decoded picture buffer.




                                                                                        Rec. ITU-T H.265 v8 (08/2021)                 97
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25           Page 119 of 717 Page ID #:648


slice_sao_luma_flag equal to 1 specifies that SAO is enabled for the luma component in the current slice;
slice_sao_luma_flag equal to 0 specifies that SAO is disabled for the luma component in the current slice. When
slice_sao_luma_flag is not present, it is inferred to be equal to 0.
slice_sao_chroma_flag equal to 1 specifies that SAO is enabled for the chroma component in the current slice;
slice_sao_chroma_flag equal to 0 specifies that SAO is disabled for the chroma component in the current slice. When
slice_sao_chroma_flag is not present, it is inferred to be equal to 0.
num_ref_idx_active_override_flag equal to 1 specifies that the syntax element num_ref_idx_l0_active_minus1 is present
for P and B slices and that the syntax element num_ref_idx_l1_active_minus1 is present for B slices.
num_ref_idx_active_override_flag equal to 0 specifies that the syntax elements num_ref_idx_l0_active_minus1 and
num_ref_idx_l1_active_minus1 are not present.
num_ref_idx_l0_active_minus1 specifies the maximum reference index for reference picture list 0 that may be used to
decode the slice. num_ref_idx_l0_active_minus1 shall be in the range of 0 to 14, inclusive. When the current slice is a P
or B slice and num_ref_idx_l0_active_minus1 is not present, num_ref_idx_l0_active_minus1 is inferred to be equal to
num_ref_idx_l0_default_active_minus1.
num_ref_idx_l1_active_minus1 specifies the maximum reference index for reference picture list 1 that may be used to
decode the slice. num_ref_idx_l1_active_minus1 shall be in the range of 0 to 14, inclusive. When
num_ref_idx_l1_active_minus1 is not present, num_ref_idx_l1_active_minus1 is inferred to be equal to
num_ref_idx_l1_default_active_minus1.
mvd_l1_zero_flag equal to 1 indicates that the mvd_coding( x0, y0, 1 ) syntax structure is not parsed and
MvdL1[ x0 ][ y0 ][ compIdx ] is set equal to 0 for compIdx = 0..1. mvd_l1_zero_flag equal to 0 indicates that the
mvd_coding( x0, y0, 1 ) syntax structure is parsed.
cabac_init_flag specifies the method for determining the initialization table used in the initialization process for context
variables. When cabac_init_flag is not present, it is inferred to be equal to 0.
collocated_from_l0_flag equal to 1 specifies that the collocated picture used for temporal motion vector prediction is
derived from reference picture list 0. collocated_from_l0_flag equal to 0 specifies that the collocated picture used for
temporal motion vector prediction is derived from reference picture list 1. When collocated_from_l0_flag is not present,
it is inferred to be equal to 1.
collocated_ref_idx specifies the reference index of the collocated picture used for temporal motion vector prediction.
When slice_type is equal to P or when slice_type is equal to B and collocated_from_l0_flag is equal to 1,
collocated_ref_idx refers to a picture in list 0, and the value of collocated_ref_idx shall be in the range of 0 to
num_ref_idx_l0_active_minus1, inclusive.
When slice_type is equal to B and collocated_from_l0_flag is equal to 0, collocated_ref_idx refers to a picture in list 1 and
the value of collocated_ref_idx shall be in the range of 0 to num_ref_idx_l1_active_minus1, inclusive.
When not present, the value of collocated_ref_idx is inferred to be equal to 0.
When slice_temporal_mvp_enabled_flag is equal to 1, it is a requirement of bitstream conformance that, for all slices of
the current picture that have slice_type not equal to 2 (if any), the picture referred to by collocated_ref_idx shall be the
same and shall not be the current picture.
     NOTE 5 – This implies that when pps_curr_pic_ref_enabled_flag is equal to 1 and the current picture is the only reference picture
     in the reference picture list, slice_temporal_mvp_enabled_flag would be constrained to be equal to 0.

five_minus_max_num_merge_cand specifies the maximum number of merging motion vector prediction (MVP)
candidates supported in the slice subtracted from 5. The maximum number of merging MVP candidates,
MaxNumMergeCand is derived as follows:

           MaxNumMergeCand = 5 − five_minus_max_num_merge_cand                                                                (7-53)

The value of MaxNumMergeCand shall be in the range of 1 to 5, inclusive.
use_integer_mv_flag equal to 1 specifies that the resolution of motion vectors for inter prediction in the current slice is
integer. use_integer_mv_flag equal to 0 specifies that the resolution of motion vectors for inter prediction in the current
slice that refer to pictures other than the current picture is fractional with quarter-sample precision in units of luma samples.
When not present, the value of use_integer_mv_flag is inferred to be equal to motion_vector_resolution_control_idc.
slice_qp_delta specifies the initial value of QpY to be used for the coding blocks in the slice until modified by the value
of CuQpDeltaVal in the coding unit layer. The initial value of the QpY quantization parameter for the slice, SliceQpY, is
derived as follows:




98           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 120 of 717 Page ID #:649


          SliceQpY = 26 + init_qp_minus26 + slice_qp_delta                                                              (7-54)

The value of SliceQpY shall be in the range of −QpBdOffsetY to +51, inclusive.
slice_cb_qp_offset specifies a difference to be added to the value of pps_cb_qp_offset when determining the value of the
Qp′Cb quantization parameter. The value of slice_cb_qp_offset shall be in the range of −12 to +12, inclusive. When
slice_cb_qp_offset is not present, it is inferred to be equal to 0. The value of pps_cb_qp_offset + slice_cb_qp_offset shall
be in the range of −12 to +12, inclusive.
slice_cr_qp_offset specifies a difference to be added to the value of pps_cr_qp_offset when determining the value of the
Qp′Cr quantization parameter. The value of slice_cr_qp_offset shall be in the range of −12 to +12, inclusive. When
slice_cr_qp_offset is not present, it is inferred to be equal to 0. The value of pps_cr_qp_offset + slice_cr_qp_offset shall
be in the range of −12 to +12, inclusive.
slice_act_y_qp_offset, slice_act_cb_qp_offset and slice_act_cr_qp_offset specify offsets to the quantization parameter
values qP derived in clause 8.6.2 for luma, Cb, and Cr components, respectively. The values of slice_act_y_qp_offset,
slice_act_cb_qp_offset and slice_act_cr_qp_offset shall be in the range of −12 to +12, inclusive. When not present, the
values of slice_act_y_qp_offset, slice_act_cb_qp_offset, and slice_act_cr_qp_offset are inferred to be equal to 0. The value
of PpsActQpOffsetY + slice_act_y_qp_offset shall be in the range of −12 to +12, inclusive. The value of
PpsActQpOffsetCb + slice_act_cb_qp_offset shall be in the range of −12 to +12, inclusive. The value of PpsActQpOffsetCr
+ slice_act_cr_qp_offset shall be in the range of −12 to +12, inclusive.
cu_chroma_qp_offset_enabled_flag equal to 1 specifies that the cu_chroma_qp_offset_flag may be present in the
transform unit syntax. cu_chroma_qp_offset_enabled_flag equal to 0 specifies that the cu_chroma_qp_offset_flag is not
present in the transform unit syntax. When not present, the value of cu_chroma_qp_offset_enabled_flag is inferred to be
equal to 0.
deblocking_filter_override_flag equal to 1 specifies that deblocking parameters are present in the slice header.
deblocking_filter_override_flag equal to 0 specifies that deblocking parameters are not present in the slice header. When
not present, the value of deblocking_filter_override_flag is inferred to be equal to 0.
slice_deblocking_filter_disabled_flag equal to 1 specifies that the operation of the deblocking filter is not applied for the
current slice. slice_deblocking_filter_disabled_flag equal to 0 specifies that the operation of the deblocking filter is applied
for the current slice. When slice_deblocking_filter_disabled_flag is not present, it is inferred to be equal to
pps_deblocking_filter_disabled_flag.
slice_beta_offset_div2 and slice_tc_offset_div2 specify the deblocking parameter offsets for β and tC (divided by 2) for
the current slice. The values of slice_beta_offset_div2 and slice_tc_offset_div2 shall both be in the range of −6 to 6,
inclusive. When not present, the values of slice_beta_offset_div2 and slice_tc_offset_div2 are inferred to be equal to
pps_beta_offset_div2 and pps_tc_offset_div2, respectively.
slice_loop_filter_across_slices_enabled_flag equal to 1 specifies that in-loop filtering operations may be performed
across the left and upper boundaries of the current slice. slice_loop_filter_across_slices_enabled_flag equal to 0 specifies
that in-loop operations are not performed across left and upper boundaries of the current slice. The in-loop filtering
operations       include    the    deblocking        filter     and     sample       adaptive    offset   filter.     When
slice_loop_filter_across_slices_enabled_flag      is     not     present,    it   is    inferred    to   be     equal     to
pps_loop_filter_across_slices_enabled_flag.
num_entry_point_offsets specifies the number of entry_point_offset_minus1[ i ] syntax elements in the slice header.
When not present, the value of num_entry_point_offsets is inferred to be equal to 0.
The value of num_entry_point_offsets is constrained as follows:
–    If tiles_enabled_flag is equal to 0 and entropy_coding_sync_enabled_flag is equal to 1, the value of
     num_entry_point_offsets shall be in the range of 0 to PicHeightInCtbsY − 1, inclusive.
–    Otherwise, if tiles_enabled_flag is equal to 1 and entropy_coding_sync_enabled_flag is equal to 0, the value of
     num_entry_point_offsets shall be in the range of 0 to ( num_tile_columns_minus1 + 1 ) *
     ( num_tile_rows_minus1 + 1 ) − 1, inclusive.
–    Otherwise, when tiles_enabled_flag is equal to 1 and entropy_coding_sync_enabled_flag is equal to 1, the value of
     num_entry_point_offsets shall be in the range of 0 to ( num_tile_columns_minus1 + 1 ) * PicHeightInCtbsY − 1,
     inclusive.
offset_len_minus1 plus 1 specifies the length, in bits, of the entry_point_offset_minus1[ i ] syntax elements. The value of
offset_len_minus1 shall be in the range of 0 to 31, inclusive.
entry_point_offset_minus1[ i ] plus 1 specifies the i-th entry point offset in bytes, and is represented by
offset_len_minus1 plus 1 bits. The slice segment data that follow the slice segment header consists of
num_entry_point_offsets + 1 subsets, with subset index values ranging from 0 to num_entry_point_offsets, inclusive. The


                                                                                 Rec. ITU-T H.265 v8 (08/2021)              99
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 121 of 717 Page ID #:650


first byte of the slice segment data is considered byte 0. When present, emulation prevention bytes that appear in the slice
segment data portion of the coded slice segment NAL unit are counted as part of the slice segment data for purposes of
subset identification. Subset 0 consists of bytes 0 to entry_point_offset_minus1[ 0 ], inclusive, of the coded slice segment
data, subset k, with k in the range of 1 to num_entry_point_offsets − 1, inclusive, consists of bytes firstByte[ k ] to
lastByte[ k ], inclusive, of the coded slice segment data with firstByte[ k ] and lastByte[ k ] defined as:
                             k
          firstByte[ k ] =  (entry_point_offset_minus 1[n − 1] + 1)                                                           (7-55)
                            n =1



          lastByte[ k ] = firstByte[ k ] + entry_point_offset_minus1[ k ]                                                      (7-56)

The last subset (with subset index equal to num_entry_point_offsets) consists of the remaining bytes of the coded slice
segment data.
When tiles_enabled_flag is equal to 1 and entropy_coding_sync_enabled_flag is equal to 0, each subset shall consist of all
coded bits of all CTUs in the slice segment that are within the same tile, and the number of subsets (i.e., the value of
num_entry_point_offsets + 1) shall be equal to the number of tiles that contain CTUs that are in the coded slice segment.
   NOTE 6 – When tiles_enabled_flag is equal to 1 and entropy_coding_sync_enabled_flag is equal to 0, each slice must include either
   a subset of the CTUs of one tile (in which case the syntax element entry_point_offset_minus1[ i ] is not present) or must include all
   CTUs of an integer number of complete tiles.

When tiles_enabled_flag is equal to 0 and entropy_coding_sync_enabled_flag is equal to 1, each subset k with k in the
range of 0 to num_entry_point_offsets, inclusive, shall consist of all coded bits of all CTUs in the slice segment that include
luma CTBs that are in the same luma CTB row of the picture, and the number of subsets (i.e., the value of
num_entry_point_offsets + 1) shall be equal to the number of CTB rows of the picture that contain CTUs that are in the
coded slice segment.
   NOTE 7 – The last subset (i.e., subset k for k equal to num_entry_point_offsets) may or may not contain all CTUs that include luma
   CTBs that are in a luma CTB row of the picture.

When tiles_enabled_flag is equal to 1 and entropy_coding_sync_enabled_flag is equal to 1, each subset k with k in the
range of 0 to num_entry_point_offsets, inclusive, shall consist of all coded bits of all CTUs in the slice segment that include
luma CTBs that are in the same luma CTB row within a tile, and the number of subsets ( i.e., the value of
num_entry_point_offsets + 1 ) shall be equal to the number of luma CTB row scans in the tile scan for the CTUs of the
coded slice segment.
slice_segment_header_extension_length specifies the length of the slice segment header extension data in bytes, not
including the bits used for signalling slice_segment_header_extension_length itself. The value of
slice_segment_header_extension_length shall be in the range of 0 to 256, inclusive. When not present, the value of
slice_segment_header_extension_length is inferred to be equal to 0.
slice_segment_header_extension_data_byte may have any value. Decoders shall ignore the value of
slice_segment_header_extension_data_byte. Its value does not affect the decoding process of the profiles specified in
Annex A.

7.4.7.2    Reference picture list modification semantics
ref_pic_list_modification_flag_l0 equal to 1 indicates that reference picture list 0 is specified explicitly by a list of
list_entry_l0[ i ] values. ref_pic_list_modification_flag_l0 equal to 0 indicates that reference picture list 0 is determined
implicitly. When ref_pic_list_modification_flag_l0 is not present in the slice header, it is inferred to be equal to 0.
list_entry_l0[ i ] specifies the index of the reference picture in RefPicListTemp0 to be placed at the current position of
reference picture list 0. The length of the list_entry_l0[ i ] syntax element is Ceil( Log2( NumPicTotalCurr ) ) bits. The
value of list_entry_l0[ i ] shall be in the range of 0 to NumPicTotalCurr − 1, inclusive. When the syntax element
list_entry_l0[ i ] is not present in the slice header, it is inferred to be equal to 0.
The variable NumPicTotalCurr is derived as follows:

          NumPicTotalCurr = 0
          for( i = 0; i < NumNegativePics[ CurrRpsIdx ]; i++ )
               if( UsedByCurrPicS0[ CurrRpsIdx ][ i ] )
                    NumPicTotalCurr++
          for( i = 0; i < NumPositivePics[ CurrRpsIdx ]; i++)                                                                  (7-57)
               if( UsedByCurrPicS1[ CurrRpsIdx ][ i ] )
                    NumPicTotalCurr++
          for( i = 0; i < num_long_term_sps + num_long_term_pics; i++ )


100        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 122 of 717 Page ID #:651


               if( UsedByCurrPicLt[ i ] )
                    NumPicTotalCurr++
          if( pps_curr_pic_ref_enabled_flag )
               NumPicTotalCurr++

ref_pic_list_modification_flag_l1 equal to 1 indicates that reference picture list 1 is specified explicitly by a list of
list_entry_l1[ i ] values. ref_pic_list_modification_flag_l1 equal to 0 indicates that reference picture list 1 is determined
implicitly. When ref_pic_list_modification_flag_l1 is not present in the slice header, it is inferred to be equal to 0.
list_entry_l1[ i ] specifies the index of the reference picture in RefPicListTemp1 to be placed at the current position of
reference picture list 1. The length of the list_entry_l1[ i ] syntax element is Ceil( Log2( NumPicTotalCurr ) ) bits. The
value of list_entry_l1[ i ] shall be in the range of 0 to NumPicTotalCurr − 1, inclusive. When the syntax element
list_entry_l1[ i ] is not present in the slice header, it is inferred to be equal to 0.

7.4.7.3    Weighted prediction parameters semantics
luma_log2_weight_denom is the base 2 logarithm of the denominator for all luma weighting factors. The value of
luma_log2_weight_denom shall be in the range of 0 to 7, inclusive.
delta_chroma_log2_weight_denom is the difference of the base 2 logarithm of the denominator for all chroma weighting
factors. When delta_chroma_log2_weight_denom is not present, it is inferred to be equal to 0.
The variable ChromaLog2WeightDenom is derived to be equal to                                    luma_log2_weight_denom +
delta_chroma_log2_weight_denom and the value shall be in the range of 0 to 7, inclusive.
luma_weight_l0_flag[ i ] equal to 1 specifies that weighting factors for the luma component of list 0 prediction using
RefPicList0[ i ] are present. luma_weight_l0_flag[ i ] equal to 0 specifies that these weighting factors are not present.
When luma_weight_l0_flag[ i ] is not present, it is inferred to be equal to 0.
chroma_weight_l0_flag[ i ] equal to 1 specifies that weighting factors for the chroma prediction values of list 0 prediction
using RefPicList0[ i ] are present. chroma_weight_l0_flag[ i ] equal to 0 specifies that these weighting factors are not
present. When chroma_weight_l0_flag[ i ] is not present, it is inferred to be equal to 0.
delta_luma_weight_l0[ i ] is the difference of the weighting factor applied to the luma prediction value for list 0 prediction
using RefPicList0[ i ].
The variable LumaWeightL0[ i ] is derived to be equal to ( 1 << luma_log2_weight_denom ) +
delta_luma_weight_l0[ i ]. When luma_weight_l0_flag[ i ] is equal to 1, the value of delta_luma_weight_l0[ i ] shall be in
the range of −128 to 127, inclusive. When luma_weight_l0_flag[ i ] is equal to 0, LumaWeightL0[ i ] is inferred to be
equal to 2luma_log2_weight_denom.
luma_offset_l0[ i ] is the additive offset applied to the luma prediction value for list 0 prediction using RefPicList0[ i ].
The value of luma_offset_l0[ i ] shall be in the range of −WpOffsetHalfRangeY to WpOffsetHalfRangeY − 1, inclusive.
When luma_weight_l0_flag[ i ] is equal to 0, luma_offset_l0[ i ] is inferred to be equal to 0.
delta_chroma_weight_l0[ i ][ j ] is the difference of the weighting factor applied to the chroma prediction values for list
0 prediction using RefPicList0[ i ] with j equal to 0 for Cb and j equal to 1 for Cr.
The variable ChromaWeightL0[ i ][ j ] is derived to be equal to ( 1 << ChromaLog2WeightDenom ) +
delta_chroma_weight_l0[ i ][ j ].    When       chroma_weight_l0_flag[ i ]        is equal  to  1,    the    value      of
delta_chroma_weight_l0[ i ][ j ] shall be in the range of −128 to 127, inclusive. When chroma_weight_l0_flag[ i ] is equal
to 0, ChromaWeightL0[ i ][ j ] is inferred to be equal to 2ChromaLog2WeightDenom.
delta_chroma_offset_l0[ i ][ j ] is the difference of the additive offset applied to the chroma prediction values for list 0
prediction using RefPicList0[ i ] with j equal to 0 for Cb and j equal to 1 for Cr.
The variable ChromaOffsetL0[ i ][ j ] is derived as follows:

          ChromaOffsetL0[ i ][ j ] = Clip3( −WpOffsetHalfRangeC, WpOffsetHalfRangeC − 1,
             ( WpOffsetHalfRangeC + delta_chroma_offset_l0[ i ][ j ] −                        (7-58)
             ( ( WpOffsetHalfRangeC * ChromaWeightL0[ i ][ j ] ) >> ChromaLog2WeightDenom ) ) )

The value of delta_chroma_offset_l0[ i ][ j ] shall be in the range of −4 * WpOffsetHalfRangeC to
4 * WpOffsetHalfRangeC − 1, inclusive. When chroma_weight_l0_flag[ i ] is equal to 0, ChromaOffsetL0[ i ][ j ] is
inferred to be equal to 0.
luma_weight_l1_flag[ i ],      chroma_weight_l1_flag[ i ],  delta_luma_weight_l1[ i ],      luma_offset_l1[ i ],
delta_chroma_weight_l1[ i ][ j ]   and  delta_chroma_offset_l1[ i ][ j ] have   the     same    semantics     as
luma_weight_l0_flag[ i ],      chroma_weight_l0_flag[ i ],   delta_luma_weight_l0[ i ],      luma_offset_l0[ i ],


                                                                               Rec. ITU-T H.265 v8 (08/2021)            101
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25          Page 123 of 717 Page ID #:652


delta_chroma_weight_l0[ i ][ j ] and delta_chroma_offset_l0[ i ][ j ], respectively, with l0, L0, list 0 and List0 replaced by
l1, L1, list 1 and List1, respectively.
The    variable      sumWeightL0Flags        is     derived         to    be      equal     to    the               sum       of
luma_weight_l0_flag[ i ] + 2 * chroma_weight_l0_flag[ i ], for i = 0..num_ref_idx_l0_active_minus1.
When slice_type is equal to B, the variable sumWeightL1Flags is derived to be equal to the sum of
luma_weight_l1_flag[ i ] + 2 * chroma_weight_l1_flag[ i ], for i = 0..num_ref_idx_l1_active_minus1.
It is a requirement of bitstream conformance that, when slice_type is equal to P, sumWeightL0Flags shall be less than or
equal to 24 and when slice_type is equal to B, the sum of sumWeightL0Flags and sumWeightL1Flags shall be less than or
equal to 24.

7.4.8        Short-term reference picture set semantics
The st_ref_pic_set( stRpsIdx ) syntax structure may be present in an SPS or in a slice header. Depending on whether the
syntax structure is included in a slice header or an SPS, the following applies:
–       If present in a slice header, the st_ref_pic_set( stRpsIdx ) syntax structure specifies the short-term RPS of the current
        picture (the picture containing the slice), and the following applies:
        –    The content of the st_ref_pic_set( stRpsIdx ) syntax structure shall be the same in all slice headers of the current
             picture.
        –    The value of stRpsIdx shall be equal to the syntax element num_short_term_ref_pic_sets in the active SPS.
        –    The short-term RPS of the current picture is also referred to as the num_short_term_ref_pic_sets-th candidate
             short-term RPS in the semantics specified in the remainder of this clause.
–       Otherwise (present in an SPS), the st_ref_pic_set( stRpsIdx ) syntax structure specifies a candidate short-term RPS,
        and the term "the current picture" in the semantics specified in the remainder of this clause refers to each picture that
        has short_term_ref_pic_set_idx equal to stRpsIdx in a CVS that has the SPS as the active SPS.
inter_ref_pic_set_prediction_flag equal to 1 specifies that the stRpsIdx-th candidate short-term RPS is predicted from
another candidate short-term RPS, which is referred to as the source candidate short-term RPS. When
inter_ref_pic_set_prediction_flag is not present, it is inferred to be equal to 0.
delta_idx_minus1 plus 1 specifies the difference between the value of stRpsIdx and the index, into the list of the candidate
short-term RPSs specified in the SPS, of the source candidate short-term RPS. The value of delta_idx_minus1 shall be in
the range of 0 to stRpsIdx − 1, inclusive. When delta_idx_minus1 is not present, it is inferred to be equal to 0.
The variable RefRpsIdx is derived as follows:

             RefRpsIdx = stRpsIdx − ( delta_idx_minus1 + 1 )
                (7-59)

delta_rps_sign and abs_delta_rps_minus1 together specify the value of the variable deltaRps as follows:

             deltaRps = ( 1 − 2 * delta_rps_sign ) * ( abs_delta_rps_minus1 + 1 )                                         (7-60)

The variable deltaRps represents the value to be added to the picture order count difference values of the source candidate
short-term RPS to obtain the picture order count difference values of the stRpsIdx-th candidate short-term RPS. The value
of abs_delta_rps_minus1 shall be in the range of 0 to 215 − 1, inclusive.
used_by_curr_pic_flag[ j ] equal to 0 specifies that the j-th entry in the source candidate short-term RPS is not used for
reference by the current picture.
use_delta_flag[ j ] equal to 1 specifies that the j-th entry in the source candidate short-term RPS is included in the stRpsIdx-
th candidate short-term RPS. use_delta_flag[ j ] equal to 0 specifies that the j-th entry in the source candidate short-term
RPS is not included in the stRpsIdx-th candidate short-term RPS. When use_delta_flag[ j ] is not present, its value is
inferred to be equal to 1.
When   inter_ref_pic_set_prediction_flag   is    equal    to    1,    the     variables             DeltaPocS0[ stRpsIdx ][ i ],
UsedByCurrPicS0[ stRpsIdx ][ i ],            NumNegativePics[ stRpsIdx ],                           DeltaPocS1[ stRpsIdx ][ i ],
UsedByCurrPicS1[ stRpsIdx ][ i ] and NumPositivePics[ stRpsIdx ] are derived as follows:

        i=0
        for( j = NumPositivePics[ RefRpsIdx ] − 1; j >= 0; j− − ) {
             dPoc = DeltaPocS1[ RefRpsIdx ][ j ] + deltaRps


102           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 124 of 717 Page ID #:653


          if( dPoc < 0 && use_delta_flag[ NumNegativePics[ RefRpsIdx ] + j ] ) {
               DeltaPocS0[ stRpsIdx ][ i ] = dPoc
               UsedByCurrPicS0[ stRpsIdx ][ i++ ] =
     used_by_curr_pic_flag[ NumNegativePics[ RefRpsIdx ] + j ]
          }
     }
     if( deltaRps < 0 && use_delta_flag[ NumDeltaPocs[ RefRpsIdx ] ] ) {                          (7-61)
          DeltaPocS0[ stRpsIdx ][ i ] = deltaRps
          UsedByCurrPicS0[ stRpsIdx ][ i++ ] = used_by_curr_pic_flag[ NumDeltaPocs[ RefRpsIdx ] ]
     }
     for( j = 0; j < NumNegativePics[ RefRpsIdx ]; j++ ) {
          dPoc = DeltaPocS0[ RefRpsIdx ][ j ] + deltaRps
          if( dPoc < 0 && use_delta_flag[ j ] ) {
               DeltaPocS0[ stRpsIdx ][ i ] = dPoc
               UsedByCurrPicS0[ stRpsIdx ][ i++ ] = used_by_curr_pic_flag[ j ]
          }
     }
     NumNegativePics[ stRpsIdx ] = i

     i=0
     for( j = NumNegativePics[ RefRpsIdx ] − 1; j >= 0; j− − ) {
          dPoc = DeltaPocS0[ RefRpsIdx ][ j ] + deltaRps
          if( dPoc > 0 && use_delta_flag[ j ] ) {
               DeltaPocS1[ stRpsIdx ][ i ] = dPoc
               UsedByCurrPicS1[ stRpsIdx ][ i++ ] = used_by_curr_pic_flag[ j ]
          }
     }
     if( deltaRps > 0 && use_delta_flag[ NumDeltaPocs[ RefRpsIdx ] ] ) {                          (7-62)
          DeltaPocS1[ stRpsIdx ][ i ] = deltaRps
          UsedByCurrPicS1[ stRpsIdx ][ i++ ] = used_by_curr_pic_flag[ NumDeltaPocs[ RefRpsIdx ] ]
     }
     for( j = 0; j < NumPositivePics[ RefRpsIdx ]; j++) {
          dPoc = DeltaPocS1[ RefRpsIdx ][ j ] + deltaRps
          if( dPoc > 0 && use_delta_flag[ NumNegativePics[ RefRpsIdx ] + j ] ) {
               DeltaPocS1[ stRpsIdx ][ i ] = dPoc
               UsedByCurrPicS1[ stRpsIdx ][ i++ ] =
     used_by_curr_pic_flag[ NumNegativePics[ RefRpsIdx ] + j ]
          }
     }
     NumPositivePics[ stRpsIdx ] = i

num_negative_pics specifies the number of entries in the stRpsIdx-th candidate short-term RPS that have picture order
count values less than the picture order count value of the current picture. When nuh_layer_id of the current picture is
equal    to    0,     the    value     of    num_negative_pics       shall    be   in   the    range     of     0     to
sps_max_dec_pic_buffering_minus1[ sps_max_sub_layers_minus1 ], inclusive.

num_positive_pics specifies the number of entries in the stRpsIdx-th candidate short-term RPS that have picture order
count values greater than the picture order count value of the current picture. When nuh_layer_id of the current picture is
equal    to     0,    the     value     of    num_positive_pics       shall     be   in   the     range     of     0     to
sps_max_dec_pic_buffering_minus1[ sps_max_sub_layers_minus1 ] − num_negative_pics, inclusive.
delta_poc_s0_minus1[ i ] plus 1, when i is equal to 0, specifies the difference between the picture order count values of
the current picture and the i-th entry in the stRpsIdx-th candidate short-term RPS that has picture order count value less
than that of the current picture, or, when i is greater than 0, specifies the difference between the picture order count values
of the ( i − 1 )-th entry and the i-th entry in the stRpsIdx-th candidate short-term RPS that have picture order count values
less than the picture order count value of the current picture. The value of delta_poc_s0_minus1[ i ] shall be in the range
of 0 to 215 − 1, inclusive.
used_by_curr_pic_s0_flag[ i ] equal to 0 specifies that the i-th entry in the stRpsIdx-th candidate short-term RPS that has
picture order count value less than that of the current picture is not used for reference by the current picture.


                                                                                Rec. ITU-T H.265 v8 (08/2021)            103
Case 2:25-cv-03053                 Document 1-7          Filed 04/07/25          Page 125 of 717 Page ID #:654


delta_poc_s1_minus1[ i ] plus 1, when i is equal to 0, specifies the difference between the picture order count values of
the current picture and the i-th entry in the stRpsIdx-th candidate short-term RPS that has picture order count value greater
than that of the current picture, or, when i is greater than 0, specifies the difference between the picture order count values
of the i-th entry and the ( i − 1 )-th entry in the current candidate short-term RPS that have picture order count values
greater than the picture order count value of the current picture. The value of delta_poc_s1_minus1[ i ] shall be in the range
of 0 to 215 − 1, inclusive.
used_by_curr_pic_s1_flag[ i ] equal to 0 specifies that the i-th entry in the current candidate short-term RPS that has
picture order count value greater than that of the current picture is not used for reference by the current picture.
When inter_ref_pic_set_prediction_flag is equal to 0, the variables NumNegativePics[ stRpsIdx ],
NumPositivePics[ stRpsIdx ],            UsedByCurrPicS0[ stRpsIdx ][ i ],           UsedByCurrPicS1[ stRpsIdx ][ i ],
DeltaPocS0[ stRpsIdx ][ i ] and DeltaPocS1[ stRpsIdx ][ i ] are derived as follows:

        NumNegativePics[ stRpsIdx ] = num_negative_pics
           (7-63)

        NumPositivePics[ stRpsIdx ] = num_positive_pics
           (7-64)

        UsedByCurrPicS0[ stRpsIdx ][ i ] = used_by_curr_pic_s0_flag[ i ]                                               (7-65)

        UsedByCurrPicS1[ stRpsIdx ][ i ] = used_by_curr_pic_s1_flag[ i ]                                               (7-66)

        –   If i is equal to 0, the following applies:

                 DeltaPocS0[ stRpsIdx ][ i ] = −( delta_poc_s0_minus1[ i ] + 1 )                                       (7-67)

                 DeltaPocS1[ stRpsIdx ][ i ] = delta_poc_s1_minus1[ i ] + 1                                            (7-68)

        –   Otherwise, the following applies:

                 DeltaPocS0[ stRpsIdx ][ i ] = DeltaPocS0[ stRpsIdx ][ i − 1 ] − ( delta_poc_s0_minus1[ i ] + 1 )
                     (7-69)

                 DeltaPocS1[ stRpsIdx ][ i ] = DeltaPocS1[ stRpsIdx ][ i − 1 ] + ( delta_poc_s1_minus1[ i ] + 1 )
                     (7-70)

The variable NumDeltaPocs[ stRpsIdx ] is derived as follows:

        NumDeltaPocs[ stRpsIdx ] = NumNegativePics[ stRpsIdx ] + NumPositivePics[ stRpsIdx ]                           (7-71)

7.4.9       Slice segment data semantics

7.4.9.1     General slice segment data semantics
end_of_slice_segment_flag equal to 0 specifies that another CTU is following in the slice. end_of_slice_segment_flag
equal to 1 specifies the end of the slice segment, i.e., that no further CTU follows in the slice segment.
end_of_subset_one_bit shall be equal to 1.

7.4.9.2     Coding tree unit semantics
The CTU is the root node of the coding quadtree structure.

7.4.9.3     Sample adaptive offset semantics
sao_merge_left_flag equal to 1 specifies that the syntax elements sao_type_idx_luma, sao_type_idx_chroma,
sao_band_position, sao_eo_class_luma, sao_eo_class_chroma, sao_offset_abs and sao_offset_sign are derived from the
corresponding syntax elements of the left CTB. sao_merge_left_flag equal to 0 specifies that these syntax elements are not
derived from the corresponding syntax elements of the left CTB. When sao_merge_left_flag is not present, it is inferred to
be equal to 0.
sao_merge_up_flag equal to 1 specifies that the syntax elements sao_type_idx_luma, sao_type_idx_chroma,
sao_band_position, sao_eo_class_luma, sao_eo_class_chroma, sao_offset_abs and sao_offset_sign are derived from the
corresponding syntax elements of the above CTB. sao_merge_up_flag equal to 0 specifies that these syntax elements are


104          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25                Page 126 of 717 Page ID #:655


not derived from the corresponding syntax elements of the above CTB. When sao_merge_up_flag is not present, it is
inferred to be equal to 0.
sao_type_idx_luma specifies the offset type for the luma component. The array SaoTypeIdx[ cIdx ][ rx ][ ry ] specifies
the offset type as specified in Table 7-8 for the CTB at the location ( rx, ry ) for the colour component cIdx. The value of
SaoTypeIdx[ 0 ][ rx ][ ry ] is derived as follows:
–    If sao_type_idx_luma is present, SaoTypeIdx[ 0 ][ rx ][ ry ] is set equal to sao_type_idx_luma.
–    Otherwise (sao_type_idx_luma is not present), SaoTypeIdx[ 0 ][ rx ][ ry ] is derived as follows:
     –    If sao_merge_left_flag is equal to 1, SaoTypeIdx[ 0 ][ rx ][ ry ] is set equal to SaoTypeIdx[ 0 ][ rx − 1 ][ ry ].
     –    Otherwise, if sao_merge_up_flag             is   equal      to     1,   SaoTypeIdx[ 0 ][ rx ][ ry ]    is     set   equal     to
          SaoTypeIdx[ 0 ][ rx ][ ry − 1 ].
     –    Otherwise, SaoTypeIdx[ 0 ][ rx ][ ry ] is set equal to 0.
sao_type_idx_chroma specifies the offset type for the chroma components. The values of SaoTypeIdx[ cIdx ][ rx ][ ry ]
are derived as follows for cIdx equal to 1..2:
–    If sao_type_idx_chroma is present, SaoTypeIdx[ cIdx ][ rx ][ ry ] is set equal to sao_type_idx_chroma.
–    Otherwise (sao_type_idx_chroma is not present), SaoTypeIdx[ cIdx ][ rx ][ ry ] is derived as follows:
     –    If sao_merge_left_flag is equal                  to    1,        SaoTypeIdx[ cIdx ][ rx ][ ry ]   is        set     equal     to
          SaoTypeIdx[ cIdx ][ rx − 1 ][ ry ].
     –    Otherwise, if sao_merge_up_flag is equal to 1, SaoTypeIdx[ cIdx ][ rx ][ ry ] is set equal to
          SaoTypeIdx[ cIdx ][ rx ][ ry − 1 ].
     –    Otherwise, SaoTypeIdx[ cIdx ][ rx ][ ry ] is set equal to 0.

                                         Table 7-8 – Specification of the SAO type
                                 SaoTypeIdx[ cIdx ][ rx ][ ry ]            SAO type (informative)
                                                 0                         Not applied
                                                 1                         Band offset
                                                 2                         Edge offset


sao_offset_abs[ cIdx ][ rx ][ ry ][ i ] specifies the offset value of i-th category for the CTB at the location ( rx, ry ) for the
colour component cIdx.
When sao_offset_abs[ cIdx ][ rx ][ ry ][ i ] is not present, it is inferred as follows:
–    If sao_merge_left_flag is equal to 1, sao_offset_abs[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal to
     sao_offset_abs[ cIdx ][ rx − 1 ][ ry ][ i ].
–    Otherwise, if sao_merge_up_flag is equal to 1, sao_offset_abs[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal to
     sao_offset_abs[ cIdx ][ rx ][ ry − 1 ][ i ].
–    Otherwise, sao_offset_abs[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal to 0.
sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] specifies the sign of the offset value of i-th category for the CTB at the location
( rx, ry ) for the colour component cIdx.
When sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] is not present, it is inferred as follows:
–    If sao_merge_left_flag is equal to 1, sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal to
     sao_offset_sign[ cIdx ][ rx − 1 ][ ry ][ i ].
–    Otherwise, if sao_merge_up_flag is equal to 1, sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal to
     sao_offset_sign[ cIdx ][ rx ][ ry − 1 ][ i ].
–    Otherwise, if SaoTypeIdx[ cIdx ][ rx ][ ry ] is equal to 2, the following applies:
     –    If i is equal to 0 or 1, sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal 0.
     –    Otherwise (i is equal to 2 or 3), sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal 1.
–    Otherwise, sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] is inferred to be equal 0.


                                                                                         Rec. ITU-T H.265 v8 (08/2021)                105
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25             Page 127 of 717 Page ID #:656


The variable log2OffsetScale is derived as follows:
–     If cIdx is equal to 0, log2OffsetScale is set equal to log2_sao_offset_scale_luma.
–     Otherwise (cIdx is equal to 1 or 2), log2OffsetScale is set equal to log2_sao_offset_scale_chroma.
The list SaoOffsetVal[ cIdx ][ rx ][ ry ][ i ] for i ranging from 0 to 4, inclusive, is derived as follows:

           SaoOffsetVal[ cIdx ][ rx ][ ry ][ 0 ] = 0
           for( i = 0; i < 4; i++ )
           SaoOffsetVal[ cIdx ][ rx ][ ry ][ i + 1 ] = ( 1 − 2 * sao_offset_sign[ cIdx ][ rx ][ ry ][ i ] ) *                  (7-72)
                     sao_offset_abs[ cIdx ][ rx ][ ry ][ i ] << log2OffsetScale

sao_band_position[ cIdx ][ rx ][ ry ] specifies the displacement of the band offset of the sample range when
SaoTypeIdx[ cIdx ][ rx ][ ry ] is equal to 1.
When sao_band_position[ cIdx ][ rx ][ ry ] is not present, it is inferred as follows:
–     If sao_merge_left_flag is equal to 1, sao_band_position[ cIdx ][ rx ][ ry ] is inferred to be equal to
      sao_band_position[ cIdx ][ rx − 1 ][ ry ].
–     Otherwise, if sao_merge_up_flag is equal to 1, sao_band_position[ cIdx ][ rx ][ ry ] is inferred to be equal to
      sao_band_position[ cIdx ][ rx ][ ry − 1 ].
–     Otherwise, sao_band_position[ cIdx ][ rx ][ ry ] is inferred to be equal to 0.
sao_eo_class_luma specifies the edge offset class for the luma component. The array SaoEoClass[ cIdx ][ rx ][ ry ]
specifies the offset type as specified in Table 7-9 for the CTB at the location ( rx, ry ) for the colour component cIdx. The
value of SaoEoClass[ 0 ][ rx ][ ry ] is derived as follows:
–     If sao_eo_class_luma is present, SaoEoClass[ 0 ][ rx ][ ry ] is set equal to sao_eo_class_luma.
–     Otherwise (sao_eo_class_luma is not present), SaoEoClass[ 0 ][ rx ][ ry ] is derived as follows:
      –    If sao_merge_left_flag is equal to 1, SaoEoClass[ 0 ][ rx ][ ry ] is set equal to SaoEoClass[ 0 ][ rx − 1 ][ ry ].
      –    Otherwise, if sao_merge_up_flag           is   equal     to     1,   SaoEoClass[ 0 ][ rx ][ ry ]    is     set    equal   to
           SaoEoClass[ 0 ][ rx ][ ry − 1 ].
      –    Otherwise, SaoEoClass[ 0 ][ rx ][ ry ] is set equal to 0.
sao_eo_class_chroma specifies the edge offset class for the                          chroma     components.         The     values   of
SaoEoClass[ cIdx ][ rx ][ ry ] are derived as follows for cIdx equal to 1..2:
–     If sao_eo_class_chroma is present, SaoEoClass[ cIdx ][ rx ][ ry ] is set equal to sao_eo_class_chroma.
–     Otherwise (sao_eo_class_chroma is not present), SaoEoClass[ cIdx ][ rx ][ ry ] is derived as follows:
      –    If sao_merge_left_flag is equal                to   1,        SaoEoClass[ cIdx ][ rx ][ ry ]   is        set     equal    to
           SaoEoClass[ cIdx ][ rx − 1 ][ ry ].
      –    Otherwise, if sao_merge_up_flag          is equal to          1, SaoEoClass[ cIdx ][ rx ][ ry ] is set equal to
           SaoEoClass[ cIdx ][ rx ][ ry − 1 ].
      –    Otherwise, SaoEoClass[ cIdx ][ rx ][ ry ] is set equal to 0.

                                  Table 7-9 – Specification of the SAO edge offset class
                         SaoEoClass[ cIdx ][ rx ][ ry ]           SAO edge offset class (informative)
                                         0                     1D 0-degree edge offset
                                         1                     1D 90-degree edge offset
                                         2                     1D 135-degree edge offset
                                         3                     1D 45-degree edge offset




106         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 128 of 717 Page ID #:657


7.4.9.4    Coding quadtree semantics
split_cu_flag[ x0 ][ y0 ] specifies whether a coding unit is split into coding units with half horizontal and vertical size. The
array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered coding block relative to
the top-left luma sample of the picture.
When split_cu_flag[ x0 ][ y0 ] is not present, the following applies:
– If log2CbSize is greater than MinCbLog2SizeY, the value of split_cu_flag[ x0 ][ y0 ] is inferred to be equal to 1.
– Otherwise (log2CbSize is equal to MinCbLog2SizeY), the value of split_cu_flag[ x0 ][ y0 ] is inferred to be equal to 0.
The array CtDepth[ x ][ y ] specifies the coding tree depth for a luma coding block covering the location ( x, y ). When
split_cu_flag[ x0 ][ y0 ] is equal to 0, CtDepth[ x ][ y ] is inferred to be equal to cqtDepth for x = x0..x0 + nCbS − 1 and
y = y0..y0 + nCbS − 1.

7.4.9.5    Coding unit semantics

cu_transquant_bypass_flag equal to 1 specifies that the scaling and transform process as specified in clause 8.6 and the
in-loop filter process as specified in clause 8.7 are bypassed. When cu_transquant_bypass_flag is not present, it is inferred
to be equal to 0.

cu_skip_flag[ x0 ][ y0 ] equal to 1 specifies that for the current coding unit, when decoding a P or B slice, no more syntax
elements except the merging candidate index merge_idx[ x0 ][ y0 ] are parsed after cu_skip_flag[ x0 ][ y0 ].
cu_skip_flag[ x0 ][ y0 ] equal to 0 specifies that the coding unit is not skipped. The array indices x0, y0 specify the location
( x0, y0 ) of the top-left luma sample of the considered coding block relative to the top-left luma sample of the picture.
When cu_skip_flag[ x0 ][ y0 ] is not present, it is inferred to be equal to 0.
pred_mode_flag equal to 0 specifies that the current coding unit is coded in inter prediction mode. pred_mode_flag equal
to 1 specifies that the current coding unit is coded in intra prediction mode. The variable CuPredMode[ x ][ y ] is derived
as follows for x = x0..x0 + nCbS − 1 and y = y0..y0 + nCbS − 1:
– If pred_mode_flag is equal to 0, CuPredMode[ x ][ y ] is set equal to MODE_INTER.
– Otherwise (pred_mode_flag is equal to 1), CuPredMode[ x ][ y ] is set equal to MODE_INTRA.
When pred_mode_flag is not present, the variable CuPredMode[ x ][ y ] is derived as follows for x = x0..x0 + nCbS − 1
and y = y0..y0 + nCbS − 1:
– If slice_type is equal to I, CuPredMode[ x ][ y ] is inferred to be equal to MODE_INTRA.
– Otherwise (slice_type is equal to P or B), when cu_skip_flag[ x0 ][ y0 ] is equal to 1, CuPredMode[ x ][ y ] is inferred
   to be equal to MODE_SKIP.
palette_mode_flag[ x0 ][ y0 ] equal to 1 specifies that the current coding unit is coded using the palette mode.
palette_mode_flag[ x0 ][ y0 ] equal to 0 specifies that the current coding unit is not coded using the palette mode. The
array indices x0 and y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered coding block relative
to the top-left luma sample of the picture.
When palette_mode_flag[ x0 ][ y0 ] is not present, it is inferred to be equal to 0.
part_mode specifies the partitioning mode of the current coding unit. The semantics of part_mode depend on
CuPredMode[ x0 ][ y0 ]. The variables PartMode and IntraSplitFlag are derived from the value of part_mode as defined
in Table 7-10.
The value of part_mode is restricted as follows:
– If CuPredMode[ x0 ][ y0 ] is equal to MODE_INTRA, part_mode shall be equal to 0 or 1.
– Otherwise (CuPredMode[ x0 ][ y0 ] is equal to MODE_INTER), the following applies:
    –     If log2CbSize is greater than MinCbLog2SizeY and amp_enabled_flag is equal to 1, part_mode shall be in the
          range of 0 to 2, inclusive, or in the range of 4 to 7, inclusive.
    –     Otherwise, if log2CbSize is greater than MinCbLog2SizeY and amp_enabled_flag is equal to 0, or log2CbSize is
          equal to 3, part_mode shall be in the range of 0 to 2, inclusive.
    –     Otherwise (log2CbSize is greater than 3 and equal to MinCbLog2SizeY), the value of part_mode shall be in the
          range of 0 to 3, inclusive.
When part_mode is not present, the variables PartMode and IntraSplitFlag are derived as follows:



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            107
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 129 of 717 Page ID #:658


– PartMode is set equal to PART_2Nx2N.
– IntraSplitFlag is set equal to 0.
pcm_flag[ x0 ][ y0 ] equal to 1 specifies that the pcm_sample( ) syntax structure is present and the transform_tree( ) syntax
structure is not present in the coding unit including the luma coding block at the location ( x0, y0 ). pcm_flag[ x0 ][ y0 ]
equal to 0 specifies that pcm_sample( ) syntax structure is not present. When pcm_flag[ x0 ][ y0 ] is not present, it is
inferred to be equal to 0.
The value of pcm_flag[ x0 + i ][ y0 + j ] with i = 1..nCbS − 1, j = 1..nCbS − 1 is inferred to be equal to
pcm_flag[ x0 ][ y0 ].
pcm_alignment_zero_bit is a bit equal to 0.

                        Table 7-10 – Name association to prediction mode and partitioning type

                CuPredMode[ x0 ][ y0 ]           part_mode              IntraSplitFlag        PartMode
                                                      0                       0          PART_2Nx2N
                    MODE_INTRA
                                                      1                       1          PART_NxN
                                                      0                       0          PART_2Nx2N
                                                      1                       0          PART_2NxN
                                                      2                       0          PART_Nx2N
                                                      3                       0          PART_NxN
                     MODE_INTER
                                                      4                       0          PART_2NxnU
                                                      5                       0          PART_2NxnD
                                                      6                       0          PART_nLx2N
                                                      7                       0          PART_nRx2N


The      syntax      elements      prev_intra_luma_pred_flag[ x0 + i ][ y0 + j ],         mpm_idx[ x0 + i ][ y0 + j ]     and
rem_intra_luma_pred_mode[ x0 + i ][ y0 + j ] specify the intra prediction mode for luma samples. The array indices
x0 + i, y0 + j specify the location ( x0 + i, y0 + j ) of the top-left luma sample of the considered prediction block relative
to the top-left luma sample of the picture. When prev_intra_luma_pred_flag[ x0 + i ][ y0 + j ] is equal to 1, the intra
prediction mode is inferred from a neighbouring intra-predicted prediction unit according to clause 8.4.2.
intra_chroma_pred_mode[ x0 ][ y0 ] specifies the intra prediction mode for chroma samples. The array indices x0, y0
specify the location ( x0, y0 ) of the top-left luma sample of the considered prediction block relative to the top-left luma
sample of the picture.
rqt_root_cbf equal to 1 specifies that the transform_tree( ) syntax structure is present for the current coding unit.
rqt_root_cbf equal to 0 specifies that the transform_tree( ) syntax structure is not present for the current coding unit.
When rqt_root_cbf is not present, its value is inferred to be equal to 1.

7.4.9.6    Prediction unit semantics
mvp_l0_flag[ x0 ][ y0 ] specifies the motion vector predictor index of list 0 where x0, y0 specify the location ( x0, y0 ) of
the top-left luma sample of the considered prediction block relative to the top-left luma sample of the picture.
When mvp_l0_flag[ x0 ][ y0 ] is not present, it is inferred to be equal to 0.
mvp_l1_flag[ x0 ][ y0 ] has the same semantics as mvp_l0_flag, with l0 and list 0 replaced by l1 and list 1, respectively.
merge_flag[ x0 ][ y0 ] specifies whether the inter prediction parameters for the current prediction unit are inferred from a
neighbouring inter-predicted partition. The array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample
of the considered prediction block relative to the top-left luma sample of the picture.
When merge_flag[ x0 ][ y0 ] is not present, it is inferred as follows:
–     If CuPredMode[ x0 ][ y0 ] is equal to MODE_SKIP, merge_flag[ x0 ][ y0 ] is inferred to be equal to 1.
–     Otherwise, merge_flag[ x0 ][ y0 ] is inferred to be equal to 0.



108         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 130 of 717 Page ID #:659


merge_idx[ x0 ][ y0 ] specifies the merging candidate index of the merging candidate list where x0, y0 specify the location
( x0, y0 ) of the top-left luma sample of the considered prediction block relative to the top-left luma sample of the picture.
When merge_idx[ x0 ][ y0 ] is not present, it is inferred to be equal to 0.
inter_pred_idc[ x0 ][ y0 ] specifies whether list0, list1, or bi-prediction is used for the current prediction unit according
to Table 7-11. The array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered
prediction block relative to the top-left luma sample of the picture.

                                 Table 7-11 – Name association to inter prediction mode

                         inter_pred_idc                     Name of inter_pred_idc
                                            ( nPbW + nPbH ) != 12             ( nPbW + nPbH ) = = 12
                        0                   PRED_L0                           PRED_L0
                        1                   PRED_L1                           PRED_L1
                        2                   PRED_BI                           na


When inter_pred_idc[ x0 ][ y0 ] is not present, it is inferred to be equal to PRED_L0.
ref_idx_l0[ x0 ][ y0 ] specifies the list 0 reference picture index for the current prediction unit. The array indices x0, y0
specify the location ( x0, y0 ) of the top-left luma sample of the considered prediction block relative to the top-left luma
sample of the picture.
When ref_idx_l0[ x0 ][ y0 ] is not present it is inferred to be equal to 0.
ref_idx_l1[ x0 ][ y0 ] has the same semantics as ref_idx_l0, with l0 and list 0 replaced by l1 and list 1, respectively.

7.4.9.7    PCM sample semantics
pcm_sample_luma[ i ] represents a coded luma sample value in the raster scan within the coding unit. The number of bits
used to represent each of these samples is PcmBitDepthY.
pcm_sample_chroma[ i ] represents a coded chroma sample value in the raster scan within the coding unit. The first half
of the values represent coded Cb samples and the remaining half of the values represent coded Cr samples. The number of
bits used to represent each of these samples is PcmBitDepthC.

7.4.9.8    Transform tree semantics
split_transform_flag[ x0 ][ y0 ][ trafoDepth ] specifies whether a block is split into four blocks with half horizontal and
half vertical size for the purpose of transform coding. The array indices x0, y0 specify the location ( x0, y0 ) of the top-left
luma sample of the considered block relative to the top-left luma sample of the picture. The array index trafoDepth specifies
the current subdivision level of a coding block into blocks for the purpose of transform coding. trafoDepth is equal to 0 for
blocks that correspond to coding blocks.
The variable interSplitFlag is derived as follows:
–    If max_transform_hierarchy_depth_inter is equal to 0 and CuPredMode[ x0 ][ y0 ] is equal to MODE_INTER and
     PartMode is not equal to PART_2Nx2N and trafoDepth is equal to 0, interSplitFlag is set equal to 1.
–    Otherwise, interSplitFlag is set equal to 0.
When split_transform_flag[ x0 ][ y0 ][ trafoDepth ] is not present, it is inferred as follows:
–    If one or more of the following conditions are true, the value of split_transform_flag[ x0 ][ y0 ][ trafoDepth ] is
     inferred to be equal to 1:
     –    log2TrafoSize is greater than MaxTbLog2SizeY.
     –    IntraSplitFlag is equal to 1 and trafoDepth is equal to 0.
     –    interSplitFlag is equal to 1.
–    Otherwise, the value of split_transform_flag[ x0 ][ y0 ][ trafoDepth ] is inferred to be equal to 0.
cbf_luma[ x0 ][ y0 ][ trafoDepth ] equal to 1 specifies that the luma transform block contains one or more transform
coefficient levels not equal to 0. The array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the
considered transform block relative to the top-left luma sample of the picture. The array index trafoDepth specifies the


                                                                                   Rec. ITU-T H.265 v8 (08/2021)           109
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 131 of 717 Page ID #:660


current subdivision level of a coding block into blocks for the purpose of transform coding. trafoDepth is equal to 0 for
blocks that correspond to coding blocks.
When cbf_luma[ x0 ][ y0 ][ trafoDepth ] is not present, it is inferred to be equal to 1.
cbf_cb[ x0 ][ y0 ][ trafoDepth ] equal to 1 specifies that the Cb transform block contains one or more transform coefficient
levels not equal to 0. The array indices x0, y0 specify the top-left location ( x0, y0 ) of the considered transform block. The
array index trafoDepth specifies the current subdivision level of a coding block into blocks for the purpose of transform
coding. trafoDepth is equal to 0 for blocks that correspond to coding blocks.
When cbf_cb[ x0 ][ y0 ][ trafoDepth ] is not present, it is inferred to be equal to 0.
cbf_cr[ x0 ][ y0 ][ trafoDepth ] equal to 1 specifies that the Cr transform block contains one or more transform coefficient
levels not equal to 0. The array indices x0, y0 specify the top-left location ( x0, y0 ) of the considered transform block. The
array index trafoDepth specifies the current subdivision level of a coding block into blocks for the purpose of transform
coding. trafoDepth is equal to 0 for blocks that correspond to coding blocks.
When cbf_cr[ x0 ][ y0 ][ trafoDepth ] is not present, it is inferred to be equal to 0.

7.4.9.9    Motion vector difference semantics
abs_mvd_greater0_flag[ compIdx ] specifies whether the absolute value of a motion vector component difference is
greater than 0.
abs_mvd_greater1_flag[ compIdx ] specifies whether the absolute value of a motion vector component difference is
greater than 1.
When abs_mvd_greater1_flag[ compIdx ] is not present, it is inferred to be equal to 0.
abs_mvd_minus2[ compIdx ] plus 2 specifies the absolute value of a motion vector component difference.
When abs_mvd_minus2[ compIdx ] is not present, it is inferred to be equal to −1.
mvd_sign_flag[ compIdx ] specifies the sign of a motion vector component difference as follows:
–     If mvd_sign_flag[ compIdx ] is equal to 0, the corresponding motion vector component difference has a positive value.
–     Otherwise (mvd_sign_flag[ compIdx ] is equal to 1), the corresponding motion vector component difference has a
      negative value.
When mvd_sign_flag[ compIdx ] is not present, it is inferred to be equal to 0.
The motion vector difference lMvd[ compIdx ] for compIdx = 0..1 is derived as follows:

           lMvd[ compIdx ] = abs_mvd_greater0_flag[ compIdx ] *
              ( abs_mvd_minus2[ compIdx ] + 2 ) * ( 1 − 2 * mvd_sign_flag[ compIdx ] )                                  (7-73)

The variable MvdLX[ x0 ][ y0 ][ compIdx ], with X being 0 or 1, specifies the difference between a list X vector
component to be used and its prediction. The value of MvdLX[ x0 ][ y0 ][ compIdx ] shall be in the range of −215 to 215 − 1,
inclusive. The array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered prediction
block relative to the top-left luma sample of the picture. The horizontal motion vector component difference is assigned
compIdx = 0 and the vertical motion vector component is assigned compIdx = 1.
–     If refList is equal to 0, MvdL0[ x0 ][ y0 ][ compIdx ] is set equal to lMvd[ compIdx ] for compIdx = 0..1.
–     Otherwise (refList is equal to 1), MvdL1[ x0 ][ y0 ][ compIdx ] is set equal to lMvd[ compIdx ] for compIdx = 0..1.

7.4.9.10 Transform unit semantics
The transform coefficient levels are represented by the arrays TransCoeffLevel[ x0 ][ y0 ][ cIdx ][ xC ][ yC ], which are
either specified in clause 7.3.8.11 or inferred as follows. The array indices x0, y0 specify the location ( x0, y0 ) of the top-
left luma sample of the considered transform block relative to the top-left luma sample of the picture. The array index cIdx
specifies an indicator for the colour component; it is equal to 0 for Y, 1 for Cb, and 2 for Cr. The array indices xC and yC
specify the transform coefficient location ( xC, yC ) within the current transform block. When the value of
TransCoeffLevel[ x0 ][ y0 ][ cIdx ][ xC ][ yC ] is not specified in clause 7.3.8.11, it is inferred to be equal to 0.
tu_residual_act_flag[ x0 ][ y0 ] equal to 1 specifies that adaptive colour transform is applied to the residual samples of
the current transform unit. tu_residual_act_flag[ x0 ][ y0 ] equal to 0 specifies that adaptive colour transform is not applied
to the residual samples of the current transform unit. When tu_residual_act_flag[ x0 ][ y0 ] is not present, it is inferred to
be equal to 0.




110         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 132 of 717 Page ID #:661


When cu_transquant_bypass_flag is equal to 1 and bit_depth_luma_minus8 is not equal to bit_depth_chroma_minus8, the
value of tu_residual_act_flag[ x0 ][ y0 ], when present, shall be equal to 0.

7.4.9.11 Residual coding semantics
For intra prediction, different scanning orders are used. The variable scanIdx specifies which scan order is used where
scanIdx equal to 0 specifies an up-right diagonal scan order, scanIdx equal to 1 specifies a horizontal scan order, and
scanIdx equal to 2 specifies a vertical scan order. The value of scanIdx is derived as follows:
–   If CuPredMode[ x0 ][ y0 ] is equal to MODE_INTRA and one or more of the following conditions are true:
     –    log2TrafoSize is equal to 2.
     –    log2TrafoSize is equal to 3 and cIdx is equal to 0.
     –    log2TrafoSize is equal to 3 and ChromaArrayType is equal to 3.
     predModeIntra is derived as follows:
     –    If cIdx is equal to 0, predModeIntra is set equal to IntraPredModeY[ x0 ][ y0 ].
     –    Otherwise, predModeIntra is set equal to IntraPredModeC.
     scanIdx is derived as follows:
     –    If predModeIntra is in the range of 6 to 14, inclusive, scanIdx is set equal to 2.
     –    Otherwise if predModeIntra is in the range of 22 to 30, inclusive, scanIdx is set equal to 1.
     –    Otherwise, scanIdx is set equal to 0.
–   Otherwise, scanIdx is set equal to 0.
transform_skip_flag[ x0 ][ y0 ][ cIdx ] specifies whether a transform is applied to the associated transform block or not:
The array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered transform block relative
to the top-left luma sample of the picture. The array index cIdx specifies an indicator for the colour component; it is equal
to 0 for luma, equal to 1 for Cb and equal to 2 for Cr. transform_skip_flag[ x0 ][ y0 ][ cIdx ] equal to 1 specifies that no
transform is applied to the current transform block. transform_skip_flag[ x0 ][ y0 ][ cIdx ] equal to 0 specifies that the
decision whether transform is applied to the current transform block or not depends on other syntax elements. When
transform_skip_flag[ x0 ][ y0 ][ cIdx ] is not present, it is inferred to be equal to 0.
explicit_rdpcm_flag[ x0 ][ y0 ][ cIdx ] specifies whether the residual modification process for blocks using a transform
bypass is applied to the associated transform block or not. The array indices x0, y0 specify the location ( x0, y0 ) of the
top-left luma sample of the considered transform block relative to the top-left luma sample of the picture. The array index
cIdx specifies an indicator for the colour component; it is equal to 0 for luma, equal to 1 for Cb and equal to 2 for Cr.
explicit_rdpcm_flag[ x0 ][ y0 ][ cIdx ] equal to 1 specifies that the residual modification process is applied to the current
transform block. explicit_rdpcm_flag[ x0 ][ y0 ][ cIdx ] equal to 0 specifies that no residual modification process is applied
to the current transform block. When explicit_rdpcm_flag[ x0 ][ y0 ][ cIdx ] is not present, it is inferred to be equal to 0.
explicit_rdpcm_dir_flag[ x0 ][ y0 ][ cIdx ] specifies the direction to be used by the residual modification process for the
associated transform block. The array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the
considered transform block relative to the top-left luma sample of the picture. The array index cIdx specifies an indicator
for the colour component; it is equal to 0 for luma, equal to 1 for Cb and equal to 2 for Cr.
last_sig_coeff_x_prefix specifies the prefix of the column position of the last significant coefficient in scanning order
within a transform block. The values of last_sig_coeff_x_prefix shall be in the range of 0 to ( log2TrafoSize << 1 ) − 1,
inclusive.
last_sig_coeff_y_prefix specifies the prefix of the row position of the last significant coefficient in scanning order within
a transform block. The values of last_sig_coeff_y_prefix shall be in the range of 0 to ( log2TrafoSize << 1 ) − 1, inclusive.
last_sig_coeff_x_suffix specifies the suffix of the column position of the last significant coefficient in scanning order
within a transform block. The values of last_sig_coeff_x_suffix shall be in the range of 0 to
( 1 << ( ( last_sig_coeff_x_prefix >> 1 ) − 1 ) ) − 1, inclusive.
The column position of the last significant coefficient in scanning order within a transform block LastSignificantCoeffX
is derived as follows:
–   If last_sig_coeff_x_suffix is not present, the following applies:

          LastSignificantCoeffX = last_sig_coeff_x_prefix
              (7-74)


                                                                                Rec. ITU-T H.265 v8 (08/2021)            111
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25          Page 133 of 717 Page ID #:662


–     Otherwise (last_sig_coeff_x_suffix is present), the following applies:

           LastSignificantCoeffX = ( 1 << ( (last_sig_coeff_x_prefix >> 1 ) − 1 ) ) *                                     (7-75)
                       ( 2 + (last_sig_coeff_x_prefix & 1 ) ) + last_sig_coeff_x_suffix

last_sig_coeff_y_suffix specifies the suffix of the row position of the last significant coefficient in scanning order within
a transform block. The values of last_sig_coeff_y_suffix shall be in the range of 0 to
( 1 << ( ( last_sig_coeff_y_prefix >> 1 ) − 1 ) ) − 1, inclusive.
The row position of the last significant coefficient in scanning order within a transform block LastSignificantCoeffY is
derived as follows:
–     If last_sig_coeff_y_suffix is not present, the following applies:

           LastSignificantCoeffY = last_sig_coeff_y_prefix
               (7-76)

–     Otherwise (last_sig_coeff_y_suffix is present), the following applies:

           LastSignificantCoeffY = ( 1 << ( ( last_sig_coeff_y_prefix >> 1 ) − 1 ) ) *                                    (7-77)
                       ( 2 + ( last_sig_coeff_y_prefix & 1 ) ) + last_sig_coeff_y_suffix

When scanIdx is equal to 2, the coordinates are swapped as follows:

           ( LastSignificantCoeffX, LastSignificantCoeffY ) =
                        Swap( LastSignificantCoeffX, LastSignificantCoeffY )                                              (7-78)

coded_sub_block_flag[ xS ][ yS ] specifies the following for the sub-block at location ( xS, yS ) within the current
transform block, where a sub-block is a (4x4) array of 16 transform coefficient levels:
–     If coded_sub_block_flag[ xS ][ yS ] is equal to 0, the 16 transform coefficient levels of the sub-block at location
      ( xS, yS ) are inferred to be equal to 0.
–     Otherwise (coded_sub_block_flag[ xS ][ yS ] is equal to 1), the following applies:
       –   If ( xS, yS ) is equal to ( 0, 0 ) and ( LastSignificantCoeffX, LastSignificantCoeffY ) is not equal to ( 0, 0 ), at
           least one of the 16 sig_coeff_flag syntax elements is present for the sub-block at location ( xS, yS ).
       –   Otherwise, at least one of the 16 transform coefficient levels of the sub-block at location ( xS, yS ) has a non-
           zero value.
When coded_sub_block_flag[ xS ][ yS ] is not present, it is inferred as follows:
–     If one or more of the following conditions are true, coded_sub_block_flag[ xS ][ yS ] is inferred to be equal to 1:
       –   ( xS, yS ) is equal to ( 0, 0 ).
       –   ( xS, yS ) is equal to ( LastSignificantCoeffX >> 2, LastSignificantCoeffY >> 2 ).
–     Otherwise, coded_sub_block_flag[ xS ][ yS ] is inferred to be equal to 0.
sig_coeff_flag[ xC ][ yC ] specifies for the transform coefficient location ( xC, yC ) within the current transform block
whether the corresponding transform coefficient level at the location ( xC, yC ) is non-zero as follows:
–     If sig_coeff_flag[ xC ][ yC ] is equal to 0, the transform coefficient level at the location ( xC, yC ) is set equal to 0.
–     Otherwise (sig_coeff_flag[ xC ][ yC ] is equal to 1), the transform coefficient level at the location ( xC, yC ) has a
      non-zero value.
When sig_coeff_flag[ xC ][ yC ] is not present, it is inferred as follows:
–     If ( xC, yC ) is the last significant location ( LastSignificantCoeffX, LastSignificantCoeffY ) in scan order or all of the
      following conditions are true, sig_coeff_flag[ xC ][ yC ] is inferred to be equal to 1:
       –   ( xC & 3, yC & 3 ) is equal to ( 0, 0 ).
       –   inferSbDcSigCoeffFlag is equal to 1.
       –   coded_sub_block_flag[ xS ][ yS ] is equal to 1.
–     Otherwise, sig_coeff_flag[ xC ][ yC ] is inferred to be equal to 0.


112          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 134 of 717 Page ID #:663


coeff_abs_level_greater1_flag[ n ] specifies for the scanning position n whether there are absolute values of transform
coefficient levels greater than 1.
When coeff_abs_level_greater1_flag[ n ] is not present, it is inferred to be equal to 0.
coeff_abs_level_greater2_flag[ n ] specifies for the scanning position n whether there are absolute values of transform
coefficient levels greater than 2.
When coeff_abs_level_greater2_flag[ n ] is not present, it is inferred to be equal to 0.
coeff_sign_flag[ n ] specifies the sign of a transform coefficient level for the scanning position n as follows:
–   If coeff_sign_flag[ n ] is equal to 0, the corresponding transform coefficient level has a positive value.
–   Otherwise (coeff_sign_flag[ n ] is equal to 1), the corresponding transform coefficient level has a negative value.
When coeff_sign_flag[ n ] is not present, it is inferred to be equal to 0.
coeff_abs_level_remaining[ n ] is the remaining absolute value of a transform coefficient level that is coded with Golomb-
Rice code at the scanning position n. When coeff_abs_level_remaining[ n ] is not present, it is inferred to be equal to 0.
It is a requirement of bitstream conformance that the value of coeff_abs_level_remaining[ n ] shall be constrained such
that the corresponding value of TransCoeffLevel[ x0 ][ y0 ][ cIdx ][ xC ][ yC ] is in the range of CoeffMinY to CoeffMaxY,
inclusive, for cIdx equal to 0 and in the range of CoeffMinC to CoeffMaxC, inclusive, for cIdx not equal to 0.

7.4.9.12 Cross-component prediction semantics
log2_res_scale_abs_plus1[ c ] minus 1 specifies the base 2 logarithm of the magnitude of the scaling factor ResScaleVal
used in cross-component residual prediction. When not present, log2_res_scale_abs_plus1 is inferred to be equal to 0.
res_scale_sign_flag[ c ] specifies the sign of the scaling factor used in cross-component residual prediction as follows:
–   If res_scale_sign_flag[ c ] is equal to 0, the corresponding ResScaleVal has a positive value.
–   Otherwise (res_scale_sign_flag[ c ] is equal to 1), the corresponding ResScaleVal has a negative value.
The variable ResScaleVal[ cIdx ][ x0 ][ y0 ] specifies the scaling factor used in cross-component residual prediction. The
array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered transform block relative to
the top-left luma sample of the picture. The array index cIdx specifies an indicator for the colour component; it is equal to
1 for Cb and equal to 2 for Cr.
The variable ResScaleVal[ cIdx ][ x0 ][ y0 ] is derived as follows:
–   If log2_res_scale_abs_plus1[ cIdx − 1 ] is equal to 0, the following applies:

          ResScaleVal[ cIdx ][ x0 ][ y0 ] = 0                                                                            (7-79)

–   Otherwise (log2_res_scale_abs_plus1[ cIdx − 1 ] is not equal to 0), the following applies:

          ResScaleVal[ cIdx ][ x0 ][ y0 ] = ( 1 << ( log2_res_scale_abs_plus1[ cIdx − 1 ] − 1 ) ) *                      (7-80)
                     ( 1 − 2 * res_scale_sign_flag[ cIdx − 1 ] )

7.4.9.13 Palette semantics
In the following semantics, the array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the
considered coding block relative to the top-left luma sample of the picture.
The predictor palette consists of palette entries from previous coding units that are used to predict the entries in the current
palette.
The variable PredictorPaletteSize specifies the size of the predictor palette. PredictorPaletteSize is derived as specified in
clause 8.4.4.2.7.
The variable PalettePredictorEntryReuseFlags[ i ] equal to 1 specifies that the i-th entry in the predictor palette is reused
in the current palette. PalettePredictorEntryReuseFlags[ i ] equal to 0 specifies that the i-th entry in the predictor palette is
not an entry in the current palette. All elements of the array PalettePredictorEntryReuseFlags[ i ] are initialized to 0.
palette_predictor_run is used to determine the number of zeros that precede a non-zero entry in the array
PalettePredictorEntryReuseFlags.
It is a requirement of bitstream conformance that the value of palette_predictor_run shall be in the range of 0 to
( PredictorPaletteSize − predictorEntryIdx ), inclusive, where predictorEntryIdx corresponds to the current position in the



                                                                                 Rec. ITU-T H.265 v8 (08/2021)             113
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 135 of 717 Page ID #:664


array PalettePredictorEntryReuseFlags. The variable NumPredictedPaletteEntries specifies the number of entries in the
current palette that are reused from the predictor palette. The value of NumPredictedPaletteEntries shall be in the range of
0 to palette_max_size, inclusive.

num_signalled_palette_entries specifies the number of entries in the current palette that are explicitly
signalled.

When num_signalled_palette_entries is not present, it is inferred to be equal to 0.

The variable CurrentPaletteSize specifies the size of the current palette and is derived as follows:

          CurrentPaletteSize = NumPredictedPaletteEntries + num_signalled_palette_entries                           (7-81)

The value of CurrentPaletteSize shall be in the range of 0 to palette_max_size, inclusive.

new_palette_entries[ cIdx ][ i ] specifies the value for the i-th signalled palette entry for the colour component
cIdx.

The variable PredictorPaletteEntries[ cIdx ][ i ] specifies the i-th element in the predictor palette for the colour
component cIdx.

The variable CurrentPaletteEntries[ cIdx ][ i ] specifies the i-th element in the current palette for the colour
component cIdx and is derived as follows:

      numComps = ( ChromaArrayType = = 0 ) ? 1 : 3
      numPredictedPaletteEntries = 0
      for( i = 0; i < PredictorPaletteSize; i++ )
           if( PalettePredictorEntryReuseFlags[ i ] ) {
                for( cIdx = 0; cIdx < numComps; cIdx++ )
                      CurrentPaletteEntries[ cIdx ][ numPredictedPaletteEntries ] =
      PredictorPaletteEntries[ cIdx ][ i ]
                numPredictedPaletteEntries++
           }
      for( cIdx = 0; cIdx < numComps; cIdx++ )                                                            (7-82)
           for( i = 0; i < num_signalled_palette_entries; i++ )
                CurrentPaletteEntries[ cIdx ][ numPredictedPaletteEntries + i ] = new_palette_entries[ cIdx ][ i ]

palette_escape_val_present_flag equal to 1 specifies that the current coding unit contains at least one escape-
coded sample. escape_val_present_flag equal to 0 specifies that there are no escape-coded samples in the current
coding unit. When not present, the value of palette_escape_val_present_flag is inferred to be equal to 1.

The variable MaxPaletteIndex specifies the maximum possible value for a palette index for the current coding
unit. The value of MaxPaletteIndex is set equal to CurrentPaletteSize − 1 + palette_escape_val_present_flag.

num_palette_indices_minus1 plus 1 is the number of palette indices explicitly signalled or inferred for the
current block.

When num_palette_indices_minus1 is not present, it is inferred to be equal to 0.

palette_idx_idc is an indication of an index to the array represented by CurrentPaletteEntries. The value of
palette_idx_idc shall be in the range of 0 to MaxPaletteIndex, inclusive, for the first index in the block and in
the range of 0 to ( MaxPaletteIndex − 1 ), inclusive, for the remaining indices in the block.

When palette_idx_idc is not present, it is inferred to be equal to 0.

The variable PaletteIndexIdc[ i ] stores the i-th palette_idx_idc explicitly signalled or inferred. All elements of
the array PaletteIndexIdc[ i ] are initialized to 0.




114        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7            Filed 04/07/25       Page 136 of 717 Page ID #:665


copy_above_indices_for_final_run_flag equal to 1 specifies that the palette indices of the last positions in the
coding unit are copied from the palette indices in the row above. copy_above_indices_for_final_run_flag equal
to 0 specifies that the palette indices of the last positions in the coding unit are copied from
PaletteIndexIdc[ num_palette_indices_minus1 ].

When copy_above_indices_for_final_run_flag is not present, it is inferred to be equal to 0.

palette_transpose_flag equal to 1 specifies that the transpose process is applied to the reconstructed sample
array at the output of palette mode decoding as specified in clause 8.4.4.2.7 in the current coding unit.
palette_transpose_flag equal to 0 specifies that the transpose process is not applied to the reconstructed sample
array at the output of palette mode decoding clause 8.4.4.2.7 in the current coding unit. When not present, the
value of palette_transpose_flag is inferred to be equal to 0.

copy_above_palette_indices_flag equal to 1 specifies that the palette index is equal to the palette index at the
same location in the row above. copy_above_palette_indices_flag equal to 0 specifies that an indication of the
palette index of the sample is coded in the bitstream or inferred.

The variable CopyAboveIndicesFlag[ xC ][ yC ] equal to 1 specifies that the palette index is copied from the
palette index in the row above. CopyAboveIndicesFlag[ xC ][ yC ] equal to 0 specifies that the palette index is
explicitly coded in the bitstream or inferred. The array indices xC, yC specify the location ( xC, yC ) of the
sample relative to the top-left luma sample of the picture.

The variable PaletteIndexMap[ xC ][ yC ] specifies a palette index, which is an index to the array represented
by CurrentPaletteEntries. The array indices xC, yC specify the location ( xC, yC ) of the sample relative to the
top-left luma sample of the picture. The value of PaletteIndexMap[ xC ][ yC ] shall be in the range of 0 to
MaxPaletteIndex, inclusive.

The variable adjustedRefPaletteIndex is derived as follows:

    adjustedRefPaletteIndex = MaxPaletteIndex + 1
    log2BlkSize = Log2( nCbs ) − 2
    if( PaletteScanPos > 0 ) {
         xcPrev = x0 + ScanOrder[ log2BlkSize ][ 3 ][ PaletteScanPos − 1 ][ 0 ]
         ycPrev = y0 + ScanOrder[ log2BlkSize ][ 3 ][ PaletteScanPos − 1 ][ 1 ]
         if( CopyAboveIndicesFlag[ xcPrev ][ ycPrev ] = = 0 )
                  adjustedRefPaletteIndex = PaletteIndexMap[ xcPrev ][ ycPrev ]                            (7-83)
         else
                  adjustedRefPaletteIndex = PaletteIndexMap[ xC ][ yC − 1 ]

When CopyAboveIndicesFlag[ xC ][ yC ] is equal to 0, the variable CurrPaletteIndex is derived as follows:

    if( CurrPaletteIndex >= adjustedRefPaletteIndex )
         CurrPaletteIndex++                                                                                (7-84)

palette_run_prefix, when present, is used in the derivation of the variable PaletteRunMinus1.

palette_run_suffix is used in the derivation of the variable PaletteRunMinus1. When not present, the value of
palette_run_suffix is inferred to be equal to 0.

When RunToEnd is equal to 0, the variable PaletteRunMinus1 is derived as follows:

–   If PaletteMaxRunMinus1 is equal to 0, PaletteRunMinus1 is set equal to 0.
–   Otherwise (PaletteMaxRunMinus1 is greater than 0) the following applies:
        –   If palette_run_prefix is less than 2, the following applies:

                  PaletteRunMinus1 = palette_run_prefix
                     (7-85)


                                                                           Rec. ITU-T H.265 v8 (08/2021)     115
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 137 of 717 Page ID #:666


          –    Otherwise (palette_run_prefix is greater than or equal to 2), the following applies:

                     PrefixOffset = 1 << ( palette_run_prefix − 1 )
                     PaletteRunMinus1 = PrefixOffset + palette_run_suffix                                         (7-86)

The variable PaletteRunMinus1 is used as follows:
–     If CopyAboveIndicesFlag[ xC ][ yC ] is equal to 0, PaletteRunMinus1 specifies the number of consecutive locations
      minus 1 with the same palette index.
–     Otherwise, PaletteRunMinus1 specifies the number of consecutive locations minus 1 with the same palette index as
      used in the corresponding position in the row above.
When RunToEnd is equal to 0, the variable PaletteMaxRunMinus1 represents the maximum possible value for
PaletteRunMinus1 and it is a requirement of bitstream conformance that the value of PaletteMaxRunMinus1 shall be
greater than or equal to 0.
palette_escape_val specifies the quantized escape-coded sample value for a component.
The variable PaletteEscapeVal[ cIdx ][ xC ][ yC ] specifies the escape value of a sample for which
PaletteIndexMap[ xC ][ yC ] is equal to MaxPaletteIndex and palette_escape_val_present_flag is equal to 1. The array
index cIdx specifies the colour component. The array indices xC, yC specify the location ( xC, yC ) of the sample relative
to the top-left luma sample of the picture.
It is a requirement of bitstream conformance that PaletteEscapeVal[ cIdx ][ xC ][ yC ] shall be in the range of 0 to
(1 << ( BitDepthY + 1 ) ) − 1, inclusive, for cIdx equal to 0, and in the range of 0 to (1 << ( BitDepthC + 1 ) ) − 1,
inclusive, for cIdx not equal to 0.

7.4.9.14 Delta QP semantics
cu_qp_delta_abs, when present, specifies the absolute value of the difference CuQpDeltaVal between the luma
quantization parameter of the current coding unit and its prediction.
cu_qp_delta_sign_flag, when present, specifies the sign of the difference CuQpDeltaVal between the luma quantization
parameter of the current coding unit and its prediction.
It is a requirement of bitstream conformance that the value of CuQpDeltaVal shall be in the range of −( 26 +
QpBdOffsetY / 2 ) to +( 25 + QpBdOffsetY / 2 ), inclusive.

7.4.9.15 Chroma QP offset semantics
cu_chroma_qp_offset_flag, when present and equal to 1, specifies that an entry in the cb_qp_offset_list[ ] is used to
determine the value of CuQpOffsetCb and a corresponding entry in the cr_qp_offset_list[ ] is used to determine the value
of CuQpOffsetCr. cu_chroma_qp_offset_flag equal to 0 specifies that these lists are not used to determine the values of
CuQpOffsetCb and CuQpOffsetCr.
cu_chroma_qp_offset_idx, when present, specifies the index into the cb_qp_offset_list[ ] and cr_qp_offset_list[ ] that is
used to determine the value of CuQpOffsetCb and CuQpOffsetCr. When present, the value of cu_chroma_qp_offset_idx
shall be in the range of 0 to chroma_qp_offset_list_len_minus1, inclusive. When not present, the value of
cu_chroma_qp_offset_idx is inferred to be equal to 0.
When cu_chroma_qp_offset_flag is present, the following applies:
–     The variable IsCuChromaQpOffsetCoded is set equal to 1.
–     The variables CuQpOffsetCb and CuQpOffsetCr are derived as follows:
          –    If cu_chroma_qp_offset_flag is equal to 1, the following applies:

                     CuQpOffsetCb = cb_qp_offset_list[ cu_chroma_qp_offset_idx ]                                  (7-87)

                     CuQpOffsetCr = cr_qp_offset_list[ cu_chroma_qp_offset_idx ]                                  (7-88)

          –    Otherwise (cu_chroma_qp_offset_flag is equal to 0), CuQpOffsetCb and CuQpOffsetCr are both set equal
               to 0.
    NOTE – When cu_chroma_qp_offset_enabled_flag is equal to 0, CuQpOffsetCb and CuQpOffsetCr are not modified after being
    initialized to 0 for the slice as specified in clause 7.4.7.1.




116           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                   Document 1-7              Filed 04/07/25             Page 138 of 717 Page ID #:667


8             Decoding process

8.1           General decoding process
8.1.1         General
Input to this process is a bitstream. Output of this process is a list of decoded pictures.
The decoding process is specified such that all decoders that conform to a specified profile, tier and level will produce
numerically identical cropped decoded output pictures when invoking the decoding process associated with that profile for
a bitstream conforming to that profile, tier and level. Any decoding process that produces identical cropped decoded output
pictures to those produced by the process described herein (with the correct output order or output timing, as specified)
conforms to the decoding process requirements of this Specification.
      NOTE 1 – For the purpose of best-effort decoding, a decoder that conforms to a particular profile at a given tier and level may
      additionally decode some bitstreams conforming to a different tier, level or profile without necessarily using a decoding process that
      produces numerically identical cropped decoded output pictures to those produced by the process specified herein (without claiming
      conformance to the other profile, tier and level).

At the beginning of decoding a coded video sequence group (CVSG), after activating the VPS RBSP that is active for the
entire CVSG and before decoding any VCL NAL units of the CVSG, clause 8.1.2 is invoked with the CVSG as input.

8.1.2         CVSG decoding process
Input to this process is a CVSG. Output of this process is a list of decoded pictures.
The layer identifier list TargetDecLayerIdList, which specifies the list of nuh_layer_id values, in increasing order of
nuh_layer_id values, of the NAL units to be decoded, is specified as follows:
–      If some external means, not specified in this Specification, is available to set TargetDecLayerIdList,
       TargetDecLayerIdList is set by the external means.
–      Otherwise, if the decoding process is invoked in a bitstream conformance test as specified in clause C.1,
       TargetDecLayerIdList is set as specified in clause C.1.
–      Otherwise, TargetDecLayerIdList contains only one nuh_layer_id value that is equal to 0.
The variable HighestTid, which identifies the highest temporal sub-layer to be decoded, is specified as follows:
–      If some external means, not specified in this Specification, is available to set HighestTid, HighestTid is set by the
       external means.
–      Otherwise, if the decoding process is invoked in a bitstream conformance test as specified in clause C.1, HighestTid
       is set as specified in clause C.1.
–      Otherwise, HighestTid is set equal to sps_max_sub_layers_minus1.
The variable SubPicHrdFlag is specified as follows:
–      If the decoding process is invoked in a bitstream conformance test as specified in clause C.1, SubPicHrdFlag is set as
       specified in clause C.1.
–      Otherwise, SubPicHrdFlag is set equal to ( SubPicHrdPreferredFlag && sub_pic_hrd_params_present_flag ).
The sub-bitstream extraction process as specified in clause 10 is applied with the CVSG, HighestTid and
TargetDecLayerIdList as inputs, and the output is assigned to a bitstream referred to as BitstreamToDecode.
Clause 8.1.3 is repeatedly invoked for each coded picture with nuh_layer_id equal to 0 in BitstreamToDecode in decoding
order.

8.1.3       Decoding process for a coded picture with nuh_layer_id equal to 0
The decoding processes specified in this clause apply to each coded picture with nuh_layer_id equal to 0, referred to as the
current picture and denoted by the variable CurrPic, in BitstreamToDecode.
Depending on the value of chroma_format_idc, the number of sample arrays of the current picture is as follows:
–      If chroma_format_idc is equal to 0, the current picture consists of 1 sample array SL.
–      Otherwise (chroma_format_idc is not equal to 0), the current picture consists of 3 sample arrays SL, SCb, SCr.




                                                                                         Rec. ITU-T H.265 v8 (08/2021)                117
Case 2:25-cv-03053                    Document 1-7               Filed 04/07/25            Page 139 of 717 Page ID #:668


The decoding process for the current picture takes as inputs the syntax elements and upper-case variables from clause 7.
When interpreting the semantics of each syntax element in each NAL unit, the term "the bitstream" (or part thereof, e.g., a
CVS of the bitstream) refers to BitstreamToDecode (or part thereof).
When the current picture is a BLA picture that has nal_unit_type equal to BLA_W_LP or is a CRA picture, the following
applies:
–     If some external means not specified in this Specification is available to set the variable UseAltCpbParamsFlag to a
      value, UseAltCpbParamsFlag is set equal to the value provided by the external means.
–     Otherwise, the value of UseAltCpbParamsFlag is set equal to 0.
When the current picture is an IRAP picture, the following applies:
–     If the current picture is an IDR picture, a BLA picture, the first picture in the bitstream in decoding order, or the first
      picture that follows an end of sequence NAL unit in decoding order, the variable NoRaslOutputFlag is set equal to 1.
–     Otherwise, if some external means not specified in this Specification is available to set the variable
      HandleCraAsBlaFlag to a value for the current picture, the variable HandleCraAsBlaFlag is set equal to the value
      provided by the external means and the variable NoRaslOutputFlag is set equal to HandleCraAsBlaFlag.
–     Otherwise, the variable HandleCraAsBlaFlag is set equal to 0 and the variable NoRaslOutputFlag is set equal to 0.
Depending on the value of separate_colour_plane_flag, the decoding process is structured as follows:
–     If separate_colour_plane_flag is equal to 0, the decoding process is invoked a single time with the current picture
      being the output.
–     Otherwise (separate_colour_plane_flag is equal to 1), the decoding process is invoked three times. Inputs to the
      decoding process are all NAL units of the coded picture with identical value of colour_plane_id. The decoding process
      of NAL units with a particular value of colour_plane_id is specified as if only a CVS with monochrome colour format
      with that particular value of colour_plane_id would be present in the bitstream. The output of each of the three
      decoding processes is assigned to one of the 3 sample arrays of the current picture, with the NAL units with
      colour_plane_id equal to 0, 1 and 2 being assigned to SL, SCb and SCr, respectively.
           NOTE 1 – The variable ChromaArrayType is derived as equal to 0 when separate_colour_plane_flag is equal to 1 and
           chroma_format_idc is equal to 3. In the decoding process, the value of this variable is evaluated resulting in operations identical
           to that of monochrome pictures (when chroma_format_idc is equal to 0).

The decoding process operates as follows for the current picture CurrPic:
      1.    The decoding of NAL units is specified in clause 8.2.
      2.    The processes in clause 8.3 specify the following decoding processes using syntax elements in the slice segment
            layer and above:
              –      Variables and functions relating to picture order count are derived as specified in clause 8.3.1. This needs
                     to be invoked only for the first slice segment of a picture.
              –      The decoding process for RPS in clause 8.3.2 is invoked, wherein reference pictures may be marked as
                     "unused for reference" or "used for long-term reference". This needs to be invoked only for the first slice
                     segment of a picture.
              –      A picture storage buffer in the DPB is allocated for storage of the decoded sample values of the current
                     picture after the invocation of the in-loop filter process as specified in clause 8.7. This version of the current
                     decoded picture is referred to as the current decoded picture after the invocation of the in-loop filter process.
                     When TwoVersionsOfCurrDecPicFlag is equal to 0 and pps_curr_pic_ref_enabled_flag is equal to 1, this
                     picture storage buffer is marked as "used for long-term reference". When TwoVersionsOfCurrDecPicFlag
                     is equal to 1, another picture storage buffer in the DPB is allocated for storage of the decoded sample values
                     of the current picture immediately before the invocation of the in-loop filter process as specified in
                     clause 8.7, and is marked as "used for long-term reference". This version of the current decoded picture is
                     referred to as the current decoded picture before the invocation of the in-loop filter process. This needs to
                     be invoked only for the first slice segment of a picture.
                           NOTE 2 – When TwoVersionsOfCurrDecPicFlag is equal to 0, there is only one version of the current decoded
                           picture. In this case, if pps_curr_pic_ref_enabled_flag is equal to 1, the current decoded picture is marked as
                           "used for long-term reference" during the decoding of the current picture and will be marked as "used for short-
                           term reference" at the end of the decoding of the current picture, otherwise it is not marked at all during the
                           decoding of the current picture and will be marked as "used for short-term reference" at the end of the decoding
                           of the current picture. When TwoVersionsOfCurrDecPicFlag is equal to 1, there are two versions of the current
                           decoded picture, one of which is marked as "used for long-term reference" during the decoding of the current
                           picture and will be marked as "unused for reference" at the end of the decoding of the current picture, and the



118               Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25           Page 140 of 717 Page ID #:669


                         other version is not marked at all during the decoding of the current picture and will be marked as "used for
                         short-term reference" at the end of the decoding of the current picture.

             –    When the current picture is a BLA picture or is a CRA picture with NoRaslOutputFlag equal to 1, the
                  decoding process for generating unavailable reference pictures specified in clause 8.3.3 is invoked, which
                  needs to be invoked only for the first slice segment of a picture.
             –    PicOutputFlag is set as follows:
                  –    If the current picture is a RASL picture and NoRaslOutputFlag of the associated IRAP picture is equal
                        to 1, PicOutputFlag is set equal to 0.
                  –    Otherwise, PicOutputFlag is set equal to pic_output_flag.
             –    At the beginning of the decoding process for each P or B slice, the decoding process for reference picture
                  lists construction specified in clause 8.3.4 is invoked for derivation of reference picture list 0 (RefPicList0)
                  and, when decoding a B slice, reference picture list 1 (RefPicList1), and the decoding process for collocated
                  picture and no backward prediction flag specified in clause 8.3.5 is invoked for derivation of the variables
                  ColPic and NoBackwardPredFlag.
      3.    The processes in clauses 8.4, 8.5, 8.6 and 8.7 specify decoding processes using syntax elements in all syntax
            structure layers. It is a requirement of bitstream conformance that the coded slices of the picture shall contain slice
            segment data for every CTU of the picture, such that the division of the picture into slices, the division of the
            slices into slice segments and the division of the slice segments into CTUs each forms a partitioning of the picture.
      4.    After all slices of the current picture have been decoded, the current decoded picture after the invocation of the
            in-loop filter process as specified in clause 8.7 is marked as "used for short-term reference". When
            TwoVersionsOfCurrDecPicFlag is equal to 1, the current decoded picture before the invocation of the in-loop
            filter process as specified in clause 8.7 is marked as "unused for reference".

8.2           NAL unit decoding process
Inputs to this process are NAL units of the current picture and their associated non-VCL NAL units.
Outputs of this process are the parsed RBSP syntax structures encapsulated within the NAL units.
The decoding process for each NAL unit extracts the RBSP syntax structure from the NAL unit and then parses the RBSP
syntax structure.

8.3           Slice decoding process
8.3.1         Decoding process for picture order count
Output of this process is PicOrderCntVal, the picture order count of the current picture.
Picture order counts are used to identify pictures, for deriving motion parameters in merge mode and motion vector
prediction, and for decoder conformance checking (see clause C.5).
Each coded picture is associated with a picture order count variable, denoted as PicOrderCntVal.
When the current picture is not an IRAP picture with NoRaslOutputFlag equal to 1, the variables prevPicOrderCntLsb and
prevPicOrderCntMsb are derived as follows:
–     Let prevTid0Pic be the previous picture in decoding order that has TemporalId equal to 0 and that is not a RASL,
      RADL or SLNR picture.
–     The variable prevPicOrderCntLsb is set equal to slice_pic_order_cnt_lsb of prevTid0Pic.
–     The variable prevPicOrderCntMsb is set equal to PicOrderCntMsb of prevTid0Pic.
The variable PicOrderCntMsb of the current picture is derived as follows:
–     If the current picture is an IRAP picture with NoRaslOutputFlag equal to 1, PicOrderCntMsb is set equal to 0.
–     Otherwise, PicOrderCntMsb is derived as follows:

           if( ( slice_pic_order_cnt_lsb < prevPicOrderCntLsb ) &&
                    ( ( prevPicOrderCntLsb − slice_pic_order_cnt_lsb ) >= ( MaxPicOrderCntLsb / 2 ) ) )
               PicOrderCntMsb = prevPicOrderCntMsb + MaxPicOrderCntLsb                                                         (8-1)
           else if( (slice_pic_order_cnt_lsb > prevPicOrderCntLsb ) &&
                    ( ( slice_pic_order_cnt_lsb − prevPicOrderCntLsb ) > ( MaxPicOrderCntLsb / 2 ) ) )

                                                                                     Rec. ITU-T H.265 v8 (08/2021)              119
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 141 of 717 Page ID #:670


           PicOrderCntMsb = prevPicOrderCntMsb − MaxPicOrderCntLsb
        else
           PicOrderCntMsb = prevPicOrderCntMsb

PicOrderCntVal is derived as follows:

        PicOrderCntVal = PicOrderCntMsb + slice_pic_order_cnt_lsb                                                              (8-2)

    NOTE 1 – All IDR pictures will have PicOrderCntVal equal to 0 since slice_pic_order_cnt_lsb is inferred to be 0 for IDR pictures
    and prevPicOrderCntLsb and prevPicOrderCntMsb are both set equal to 0.

The value of PicOrderCntVal shall be in the range of −231 to 231 − 1, inclusive. In one CVS, the PicOrderCntVal values
for any two coded pictures shall not be the same.
The function PicOrderCnt( picX ) is specified as follows:

        PicOrderCnt( picX ) = PicOrderCntVal of the picture picX                                                               (8-3)

The function DiffPicOrderCnt( picA, picB ) is specified as follows:

        DiffPicOrderCnt( picA, picB ) = PicOrderCnt( picA ) − PicOrderCnt( picB )                                              (8-4)

The bitstream shall not contain data that result in values of DiffPicOrderCnt( picA, picB ) used in the decoding process
that are not in the range of −215 to 215 − 1, inclusive.
    NOTE 2 – Let X be the current picture and Y and Z be two other pictures in the same CVS, Y and Z are considered to be in the same
    output order direction from X when both DiffPicOrderCnt( X, Y ) and DiffPicOrderCnt( X, Z ) are positive or both are negative.

8.3.2       Decoding process for reference picture set
This process is invoked once per picture, after decoding of a slice header but prior to the decoding of any coding unit and
prior to the decoding process for reference picture list construction for the slice as specified in clause 8.3.4. This process
may result in one or more reference pictures in the DPB being marked as "unused for reference" or "used for long-term
reference".
    NOTE 1 – The RPS is an absolute description of the reference pictures used in the decoding process of the current and future coded
    pictures. The RPS signalling is explicit in the sense that all reference pictures included in the RPS are listed explicitly.

A decoded picture in the DPB can be marked as "unused for reference", "used for short-term reference" or "used for long-
term reference", but only one among these three at any given moment during the operation of the decoding process.
Assigning one of these markings to a picture implicitly removes another of these markings when applicable. When a picture
is referred to as being marked as "used for reference", this collectively refers to the picture being marked as "used for short-
term reference" or "used for long-term reference" (but not both).
The variable currPicLayerId is set equal to nuh_layer_id of the current picture.
When the current picture is an IRAP picture with NoRaslOutputFlag equal to 1, all reference pictures with nuh_layer_id
equal to currPicLayerId currently in the DPB (if any) are marked as "unused for reference".
Short-term reference pictures are identified by their PicOrderCntVal values. Long-term reference pictures are identified
either by their PicOrderCntVal values or their slice_pic_order_cnt_lsb values.
Five lists of picture order count values are constructed to derive the RPS. These five lists are PocStCurrBefore,
PocStCurrAfter, PocStFoll, PocLtCurr and PocLtFoll, with NumPocStCurrBefore, NumPocStCurrAfter, NumPocStFoll,
NumPocLtCurr and NumPocLtFoll number of elements, respectively. The five lists and the five variables are derived as
follows:
–     If the current picture is an IDR picture, PocStCurrBefore, PocStCurrAfter, PocStFoll, PocLtCurr and PocLtFoll are
      all set to be empty, and NumPocStCurrBefore, NumPocStCurrAfter, NumPocStFoll, NumPocLtCurr and
      NumPocLtFoll are all set equal to 0.
–     Otherwise, the following applies:

        for( i = 0, j = 0, k = 0; i < NumNegativePics[ CurrRpsIdx ] ; i++ )
           if( UsedByCurrPicS0[ CurrRpsIdx ][ i ] )
                PocStCurrBefore[ j++ ] = PicOrderCntVal + DeltaPocS0[ CurrRpsIdx ][ i ]
           else
                PocStFoll[ k++ ] = PicOrderCntVal + DeltaPocS0[ CurrRpsIdx ][ i ]
        NumPocStCurrBefore = j


120         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 142 of 717 Page ID #:671



       for( i = 0, j = 0; i < NumPositivePics[ CurrRpsIdx ]; i++ )
          if( UsedByCurrPicS1[ CurrRpsIdx ][ i ] )
               PocStCurrAfter[ j++ ] = PicOrderCntVal + DeltaPocS1[ CurrRpsIdx ][ i ]
          else
               PocStFoll[ k++ ] = PicOrderCntVal + DeltaPocS1[ CurrRpsIdx ][ i ]
       NumPocStCurrAfter = j
       NumPocStFoll = k                                                                                                       (8-5)
       for( i = 0, j = 0, k = 0; i < num_long_term_sps + num_long_term_pics; i++ ) {
          pocLt = PocLsbLt[ i ]
          if( delta_poc_msb_present_flag[ i ] )
               pocLt += PicOrderCntVal − DeltaPocMsbCycleLt[ i ] * MaxPicOrderCntLsb −
                                   ( PicOrderCntVal & ( MaxPicOrderCntLsb − 1 ) )
          if( UsedByCurrPicLt[ i ] ) {
               PocLtCurr[ j ] = pocLt
               CurrDeltaPocMsbPresentFlag[ j++ ] = delta_poc_msb_present_flag[ i ]
          } else {
               PocLtFoll[ k ] = pocLt
               FollDeltaPocMsbPresentFlag[ k++ ] = delta_poc_msb_present_flag[ i ]
          }
       }
       NumPocLtCurr = j
       NumPocLtFoll = k

where PicOrderCntVal is the picture order count of the current picture as specified in clause 8.3.1.

    NOTE 2 – A value of CurrRpsIdx in the range of 0 to num_short_term_ref_pic_sets − 1, inclusive, indicates that a candidate short-
    term RPS from the active SPS for the current layer is being used, where CurrRpsIdx is the index of the candidate short-term RPS
    into the list of candidate short-term RPSs signalled in the active SPS for the current layer. CurrRpsIdx equal to
    num_short_term_ref_pic_sets indicates that the short-term RPS of the current picture is directly signalled in the slice header.

For each i in the range of 0 to NumPocLtCurr − 1, inclusive, when CurrDeltaPocMsbPresentFlag[ i ] is equal to 1, it is a
requirement of bitstream conformance that the following conditions apply:
–    There shall be no j in the range of 0 to NumPocStCurrBefore − 1, inclusive, for which PocLtCurr[ i ] is equal to
     PocStCurrBefore[ j ].
–    There shall be no j in the range of 0 to NumPocStCurrAfter − 1, inclusive, for which PocLtCurr[ i ] is equal to
     PocStCurrAfter[ j ].
–    There shall be no j in the range of 0 to NumPocStFoll − 1, inclusive, for which PocLtCurr[ i ] is equal to PocStFoll[ j ].
–    There shall be no j in the range of 0 to NumPocLtCurr − 1, inclusive, where j is not equal to i, for which PocLtCurr[ i ]
     is equal to PocLtCurr[ j ].
For each i in the range of 0 to NumPocLtFoll − 1, inclusive, when FollDeltaPocMsbPresentFlag[ i ] is equal to 1, it is a
requirement of bitstream conformance that the following conditions apply:
–    There shall be no j in the range of 0 to NumPocStCurrBefore − 1, inclusive, for which PocLtFoll[ i ] is equal to
     PocStCurrBefore[ j ].
–    There shall be no j in the range of 0 to NumPocStCurrAfter − 1, inclusive, for which PocLtFoll[ i ] is equal to
     PocStCurrAfter[ j ].
–    There shall be no j in the range of 0 to NumPocStFoll − 1, inclusive, for which PocLtFoll[ i ] is equal to PocStFoll[ j ].
–    There shall be no j in the range of 0 to NumPocLtFoll − 1, inclusive, where j is not equal to i, for which PocLtFoll[ i ]
     is equal to PocLtFoll[ j ].
–    There shall be no j in the range of 0 to NumPocLtCurr − 1, inclusive, for which PocLtFoll[ i ] is equal to
     PocLtCurr[ j ].
For each i in the range of 0 to NumPocLtCurr − 1, inclusive, when CurrDeltaPocMsbPresentFlag[ i ] is equal to 0, it is a
requirement of bitstream conformance that the following conditions apply:




                                                                                    Rec. ITU-T H.265 v8 (08/2021)              121
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 143 of 717 Page ID #:672


–     There shall be no j in the range of 0 to NumPocStCurrBefore − 1, inclusive, for which PocLtCurr[ i ] is equal to
      ( PocStCurrBefore[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
–     There shall be no j in the range of 0 to NumPocStCurrAfter − 1, inclusive, for which PocLtCurr[ i ] is equal to
      ( PocStCurrAfter[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
–     There shall be no j in the range of 0 to NumPocStFoll − 1, inclusive, for which PocLtCurr[ i ] is equal to
      ( PocStFoll[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
–     There shall be no j in the range of 0 to NumPocLtCurr − 1, inclusive, where j is not equal to i, for which PocLtCurr[ i ]
      is equal to ( PocLtCurr[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
For each i in the range of 0 to NumPocLtFoll − 1, inclusive, when FollDeltaPocMsbPresentFlag[ i ] is equal to 0, it is a
requirement of bitstream conformance that the following conditions apply:
–     There shall be no j in the range of 0 to NumPocStCurrBefore − 1, inclusive, for which PocLtFoll[ i ] is equal to
      ( PocStCurrBefore[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
–     There shall be no j in the range of 0 to NumPocStCurrAfter − 1, inclusive, for which PocLtFoll[ i ] is equal to
      ( PocStCurrAfter[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
–     There shall be no j in the range of 0 to NumPocStFoll − 1, inclusive, for which PocLtFoll[ i ] is equal to
      ( PocStFoll[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
–     There shall be no j in the range of 0 to NumPocLtFoll − 1, inclusive, where j is not equal to i, for which PocLtFoll[ i ]
      is equal to ( PocLtFoll[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
–     There shall be no j in the range of 0 to NumPocLtCurr − 1, inclusive, for which PocLtFoll[ i ] is equal to
      ( PocLtCurr[ j ] & ( MaxPicOrderCntLsb − 1 ) ).
The variable NumPicTotalCurr is derived as specified in clause 7.4.7.2. It is a requirement of bitstream conformance that
the following applies to the value of NumPicTotalCurr:
–     If the current picture is a BLA or CRA picture, the value of NumPicTotalCurr shall be equal to
      pps_curr_pic_ref_enabled_flag.
–     Otherwise, when the current picture contains a P or B slice, the value of NumPicTotalCurr shall not be equal to 0.
The RPS of the current picture consists of five RPS lists; RefPicSetStCurrBefore, RefPicSetStCurrAfter, RefPicSetStFoll,
RefPicSetLtCurr and RefPicSetLtFoll. RefPicSetStCurrBefore, RefPicSetStCurrAfter and RefPicSetStFoll are collectively
referred to as the short-term RPS. RefPicSetLtCurr and RefPicSetLtFoll are collectively referred to as the long-term RPS.
    NOTE 3 – RefPicSetStCurrBefore, RefPicSetStCurrAfter and RefPicSetLtCurr contain all reference pictures that may be used for
    inter prediction of the current picture and one or more pictures that follow the current picture in decoding order. RefPicSetStFoll
    and RefPicSetLtFoll consist of all reference pictures that are not used for inter prediction of the current picture but may be used in
    inter prediction for one or more pictures that follow the current picture in decoding order.

The derivation process for the RPS and picture marking are performed according to the following ordered steps:
      1.   The following applies:

           for( i = 0; i < NumPocLtCurr; i++ )
                if( !CurrDeltaPocMsbPresentFlag[ i ] )
                     if( there is a reference picture picX in the DPB with
           PicOrderCntVal & ( MaxPicOrderCntLsb − 1 )
                                             equal to PocLtCurr[ i ] and nuh_layer_id equal to currPicLayerId )
                          RefPicSetLtCurr[ i ] = picX
                     else
                          RefPicSetLtCurr[ i ] = "no reference picture"
                else
                     if( there is a reference picture picX in the DPB with PicOrderCntVal equal to PocLtCurr[ i ]
                                             and nuh_layer_id equal to currPicLayerId )
                          RefPicSetLtCurr[ i ] = picX
                     else
                          RefPicSetLtCurr[ i ] = "no reference picture"
                                                                                                            (8-6)
           for( i = 0; i < NumPocLtFoll; i++ )
                if( !FollDeltaPocMsbPresentFlag[ i ] )
                     if( there is a reference picture picX in the DPB with


122          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25            Page 144 of 717 Page ID #:673


          PicOrderCntVal & ( MaxPicOrderCntLsb − 1 )
                                           equal to PocLtFoll[ i ] and nuh_layer_id equal to currPicLayerId )
                        RefPicSetLtFoll[ i ] = picX
                   else
                        RefPicSetLtFoll[ i ] = "no reference picture"
              else
                   if( there is a reference picture picX in the DPB with PicOrderCntVal equal to PocLtFoll[ i ]
                                           and nuh_layer_id equal to currPicLayerId )
                        RefPicSetLtFoll[ i ] = picX
                   else
                        RefPicSetLtFoll[ i ] = "no reference picture"

     2.   All reference pictures that are included in RefPicSetLtCurr or RefPicSetLtFoll and have nuh_layer_id equal to
          currPicLayerId are marked as "used for long-term reference".
     3.   The following applies:

          for( i = 0; i < NumPocStCurrBefore; i++ )
               if( there is a short-term reference picture picX in the DPB
                        with PicOrderCntVal equal to PocStCurrBefore[ i ] and nuh_layer_id equal to
          currPicLayerId )
                    RefPicSetStCurrBefore[ i ] = picX
               else
                    RefPicSetStCurrBefore[ i ] = "no reference picture"

          for( i = 0; i < NumPocStCurrAfter; i++ )
               if( there is a short-term reference picture picX in the DPB
                        with PicOrderCntVal equal to PocStCurrAfter[ i ] and nuh_layer_id equal to
          currPicLayerId )
                    RefPicSetStCurrAfter[ i ] = picX
               else
                    RefPicSetStCurrAfter[ i ] = "no reference picture"                                                            (8-7)

          for( i = 0; i < NumPocStFoll; i++ )
               if( there is a short-term reference picture picX in the DPB
                        with PicOrderCntVal equal to PocStFoll[ i ] and nuh_layer_id equal to currPicLayerId )
                    RefPicSetStFoll[ i ] = picX
               else
                    RefPicSetStFoll[ i ] = "no reference picture"

     4.   All reference pictures in the DPB that are not included in RefPicSetLtCurr, RefPicSetLtFoll,
          RefPicSetStCurrBefore, RefPicSetStCurrAfter, or RefPicSetStFoll and have nuh_layer_id equal to
          currPicLayerId are marked as "unused for reference".
    NOTE 4 – There may be one or more entries in the RPS lists that are equal to "no reference picture" because the corresponding
    pictures are not present in the DPB. Entries in RefPicSetStFoll or RefPicSetLtFoll that are equal to "no reference picture" should be
    ignored. An unintentional picture loss should be inferred for each entry in RefPicSetStCurrBefore, RefPicSetStCurrAfter, or
    RefPicSetLtCurr that is equal to "no reference picture".
    NOTE 5 – A picture cannot be included in more than one of the five RPS lists.

It is a requirement of bitstream conformance that the RPS is restricted as follows:
–    There shall be no entry in RefPicSetStCurrBefore, RefPicSetStCurrAfter or RefPicSetLtCurr for which one or more
     of the following are true:
          –    The entry is equal to "no reference picture".
          –    The entry is an SLNR picture and has TemporalId equal to that of the current picture.
          –    The entry is a picture that has TemporalId greater than that of the current picture.
–    There shall be no entry in RefPicSetLtCurr or RefPicSetLtFoll for which the difference between the picture order
     count value of the current picture and the picture order count value of the entry is greater than or equal to 224.



                                                                                      Rec. ITU-T H.265 v8 (08/2021)                123
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 145 of 717 Page ID #:674


–     When the current picture is a temporal sub-layer access (TSA) picture, there shall be no picture included in the RPS
      with TemporalId greater than or equal to the TemporalId of the current picture.
–     When the current picture is a step-wise temporal sub-layer access (STSA) picture, there shall be no picture included
      in RefPicSetStCurrBefore, RefPicSetStCurrAfter or RefPicSetLtCurr that has TemporalId equal to that of the current
      picture.
–     When the current picture is a picture that follows, in decoding order, an STSA picture that has TemporalId equal to
      that of the current picture, there shall be no picture that has TemporalId equal to that of the current picture included
      in RefPicSetStCurrBefore, RefPicSetStCurrAfter or RefPicSetLtCurr that precedes the STSA picture in decoding
      order.
–     When the current picture is a CRA picture, there shall be no picture included in the RPS that precedes, in output order
      or decoding order, any preceding IRAP picture in decoding order (when present).
–     When the current picture is a trailing picture, there shall be no picture in RefPicSetStCurrBefore,
      RefPicSetStCurrAfter or RefPicSetLtCurr that was generated by the decoding process for generating unavailable
      reference pictures as specified in clause 8.3.3.
–     When the current picture is a trailing picture, there shall be no picture in the RPS that precedes the associated IRAP
      picture in output order or decoding order.
–     When the current picture is a RADL picture, there shall be no picture included in RefPicSetStCurrBefore,
      RefPicSetStCurrAfter or RefPicSetLtCurr that is any of the following:
          –     A RASL picture
          –     A picture that was generated by the decoding process for generating unavailable reference pictures as
                specified in clause 8.3.3
          –     A picture that precedes the associated IRAP picture in decoding order
–     When sps_temporal_id_nesting_flag is equal to 1, the following applies:
          –     Let tIdA be the value of TemporalId of the current picture picA.
          –     Any picture picB with TemporalId equal to tIdB that is less than or equal to tIdA shall not be included in
                RefPicSetStCurrBefore, RefPicSetStCurrAfter or RefPicSetLtCurr of picA when there exists a picture picC
                that has TemporalId less than tIdB, follows picB in decoding order, and precedes picA in decoding order.

8.3.3         Decoding process for generating unavailable reference pictures

8.3.3.1       General decoding process for generating unavailable reference pictures
This process is invoked once per coded picture when the current picture is a BLA picture or is a CRA picture with
NoRaslOutputFlag equal to 1.
    NOTE – This process is primarily specified only for the specification of syntax constraints for RASL pictures. The entire
    specification of the decoding process for RASL pictures associated with an IRAP picture that has NoRaslOutputFlag equal to 1 is
    included herein only for purposes of specifying constraints on the allowed syntax content of such RASL pictures. During the
    decoding process, any RASL pictures associated with an IRAP picture that has NoRaslOutputFlag equal to 1 may be ignored, as
    these pictures are not specified for output and have no effect on the decoding process of any other pictures that are specified for
    output. However, in HRD operations as specified in Annex C, RASL access units may need to be taken into consideration in
    derivation of coded picture buffer (CPB) arrival and removal times.

When this process is invoked, the following applies:
–     For each RefPicSetStFoll[ i ], with i in the range of 0 to NumPocStFoll − 1, inclusive, that is equal to "no reference
      picture", a picture is generated as specified in clause 8.3.3.2, and the following applies:
          –     The value of PicOrderCntVal for the generated picture is set equal to PocStFoll[ i ].
          –     The value of PicOutputFlag for the generated picture is set equal to 0.
          –     The generated picture is marked as "used for short-term reference".
          –     RefPicSetStFoll[ i ] is set to be the generated reference picture.
          –     The value of nuh_layer_id for the generated picture is set equal to nuh_layer_id of the current picture.
–     For each RefPicSetLtFoll[ i ], with i in the range of 0 to NumPocLtFoll − 1, inclusive, that is equal to "no reference
      picture", a picture is generated as specified in clause 8.3.3.2, and the following applies:
          –     The value of PicOrderCntVal for the generated picture is set equal to PocLtFoll[ i ].


124           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25             Page 146 of 717 Page ID #:675


           –     The value of slice_pic_order_cnt_lsb for the generated picture is inferred to be equal to ( PocLtFoll[ i ] &
                 ( MaxPicOrderCntLsb − 1 ) ).
           –     The value of PicOutputFlag for the generated picture is set equal to 0.
           –     The generated picture is marked as "used for long-term reference".
           –     RefPicSetLtFoll[ i ] is set to be the generated reference picture.
           –     The value of nuh_layer_id for the generated picture is set equal to nuh_layer_id of the current picture.

8.3.3.2        Generation of one unavailable picture
When this process is invoked, an unavailable picture is generated as follows:
–    The value of each element in the sample array SL for the picture is set equal to 1 << ( BitDepthY − 1 ).
–    When ChromaArrayType is not equal to 0, the value of each element in the sample arrays SCb and SCr for the picture
     is set equal to 1 << ( BitDepthC − 1 ).
–    The prediction mode CuPredMode[ x ][ y ] is set equal to MODE_INTRA for x = 0..pic_width_in_luma_samples − 1,
     y = 0..pic_height_in_luma_samples − 1.

8.3.4          Decoding process for reference picture lists construction
This process is invoked at the beginning of the decoding process for each P or B slice.
Reference pictures are addressed through reference indices as specified in clause 8.5.3.3.2. A reference index is an index
into a reference picture list. When decoding a P slice, there is a single reference picture list RefPicList0. When decoding a
B slice, there is a second independent reference picture list RefPicList1 in addition to RefPicList0.
At the beginning of the decoding process for each slice, the reference picture lists RefPicList0 and, for B slices, RefPicList1
are derived.
The variable NumRpsCurrTempList0 is set equal to Max( num_ref_idx_l0_active_minus1 + 1, NumPicTotalCurr ) and
the list RefPicListTemp0 is constructed as follows:
If TwoVersionsOfCurrDecPicFlag is equal to 1, let the variable currPic be the current decoded picture before the invocation
of the in-loop filter process; otherwise (TwoVersionsOfCurrDecPicFlag is equal to 0), let the variable currPic be the current
decoded picture after the invocation of the in-loop filter process. The variable NumRpsCurrTempList0 is set equal to
Max( num_ref_idx_l0_active_minus1 + 1, NumPicTotalCurr ) and the list RefPicListTemp0 is constructed as follows:

          rIdx = 0
          while( rIdx < NumRpsCurrTempList0 ) {
             for( i = 0; i < NumPocStCurrBefore && rIdx < NumRpsCurrTempList0; rIdx++, i++ )
                 RefPicListTemp0[ rIdx ] = RefPicSetStCurrBefore[ i ]
             for( i = 0; i < NumPocStCurrAfter && rIdx < NumRpsCurrTempList0; rIdx++, i++ )                                 (8-8)
                 RefPicListTemp0[ rIdx ] = RefPicSetStCurrAfter[ i ]
             for( i = 0; i < NumPocLtCurr && rIdx < NumRpsCurrTempList0; rIdx++, i++ )
                 RefPicListTemp0[ rIdx ] = RefPicSetLtCurr[ i ]
             if( pps_curr_pic_ref_enabled_flag )
                 RefPicListTemp0[ rIdx++ ] = currPic
          }

The list RefPicList0 is constructed as follows:

          for( rIdx = 0; rIdx <= num_ref_idx_l0_active_minus1; rIdx++)
              RefPicList0[ rIdx ] = ref_pic_list_modification_flag_l0 ? RefPicListTemp0[ list_entry_l0[ rIdx ] ] :
                                                                     RefPicListTemp0[ rIdx ]
          if( pps_curr_pic_ref_enabled_flag && !ref_pic_list_modification_flag_l0 &&                        (8-9)
                                        NumRpsCurrTempList0 > ( num_ref_idx_l0_active_minus1 + 1 ) )
              RefPicList0[ num_ref_idx_l0_active_minus1 ] = currPic

When the slice is a B slice, the variable NumRpsCurrTempList1 is set equal to Max( num_ref_idx_l1_active_minus1 + 1,
NumPicTotalCurr ) and the list RefPicListTemp1 is constructed as follows:




                                                                                      Rec. ITU-T H.265 v8 (08/2021)         125
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 147 of 717 Page ID #:676


        rIdx = 0
        while( rIdx < NumRpsCurrTempList1 ) {
           for( i = 0; i < NumPocStCurrAfter && rIdx < NumRpsCurrTempList1; rIdx++, i++ )
               RefPicListTemp1[ rIdx ] = RefPicSetStCurrAfter[ i ]
           for( i = 0; i < NumPocStCurrBefore && rIdx < NumRpsCurrTempList1; rIdx++, i++ )                                (8-10)
               RefPicListTemp1[ rIdx ] = RefPicSetStCurrBefore[ i ]
           for( i = 0; i < NumPocLtCurr && rIdx < NumRpsCurrTempList1; rIdx++, i++ )
               RefPicListTemp1[ rIdx ] = RefPicSetLtCurr[ i ]
           if( pps_curr_pic_ref_enabled_flag )
               RefPicListTemp1[ rIdx++ ] = currPic
        }

When the slice is a B slice, the list RefPicList1 is constructed as follows:

        for( rIdx = 0; rIdx <= num_ref_idx_l1_active_minus1; rIdx++)
            (8-11)
            RefPicList1[ rIdx ] = ref_pic_list_modification_flag_l1 ? RefPicListTemp1[ list_entry_l1[ rIdx ] ] :
                                                                   RefPicListTemp1[ rIdx ]

It is a requirement of bitstream conformance that when nuh_layer_id is equal to 0, nal_unit_type has a value in
the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive (i.e. the picture is an IRAP picture),
pps_curr_pic_ref_enabled_flag is equal to 1, and slice_type is not equal to 2, RefPicList0 and RefPicList1 shall
not contain entries that refer to a picture other than the current picture.

8.3.5      Decoding process for collocated picture and no backward prediction flag
This process is invoked at the beginning of the decoding process for each P or B slice, after decoding of the slice header
as well as the invocation of the decoding process for reference picture set as specified in clause 8.3.2 and the invocation of
the decoding process for reference picture list construction for the slice as specified in clause 8.3.4, but prior to the decoding
of any coding unit.
When slice_temporal_mvp_enabled_flag is equal to 1, the variable ColPic is derived as follows:
–     If slice_type is equal to B and collocated_from_l0_flag is equal to 0, ColPic is set equal to
      RefPicList1[ collocated_ref_idx ].
–     Otherwise (slice_type is equal to B and collocated_from_l0_flag is equal to 1, or slice_type is equal to P), ColPic is
      set equal to RefPicList0[ collocated_ref_idx ].
The variable NoBackwardPredFlag is derived as follows:
–     If DiffPicOrderCnt( aPic, CurrPic ) is less than or equal to 0 for each picture aPic in RefPicList0 or RefPicList1 of
      the current slice, NoBackwardPredFlag is set equal to 1.
–     Otherwise, NoBackwardPredFlag is set equal to 0.

8.4        Decoding process for coding units coded in intra prediction mode
8.4.1      General decoding process for coding units coded in intra prediction mode
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a variable log2CbSize specifying the size of the current luma coding block.
Output of this process is a modified reconstructed picture before deblocking filtering.
The derivation process for quantization parameters as specified in clause 8.6.1 is invoked with the luma location
( xCb, yCb ) as input.
A variable nCbS is set equal to 1 << log2CbSize.
When residual_adaptive_colour_transform_enabled_flag is equal to 1, the residual sample arrays resSamplesL,
resSamplesCb, and resSamplesCr store the residual samples of the current coding unit.



126         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 148 of 717 Page ID #:677


Depending on the values of pcm_flag[ xCb ][ yCb ], palette_mode_flag[ xCb ][ yCb ], and IntraSplitFlag, the decoding
process for luma samples is specified as follows:
– If pcm_flag[ xCb ][ yCb ] is equal to 1, the reconstructed picture is modified as follows:

          SL[ xCb + i ][ yCb + j ] =
           pcm_sample_luma[ ( nCbS * j ) + i ] << ( BitDepthY − PcmBitDepthY ), with i, j = 0..nCbS − 1
           (8-12)

– Otherwise (pcm_flag[ xCb ][ yCb ] is equal to 0), if palette_mode_flag[ xCb ][ yCb ] is equal to 1, the following
  ordered steps apply:
     1.   The decoding process for palette intra blocks as specified in clause 8.4.4.2.7 is invoked with the luma location
          ( xCb, yCb ), the variable cIdx set equal to 0, and nCbSX and nCbSY both set equal to nCbS as inputs, and the
          output is an nCbS x nCbS array of reconstructed palette sample values, recSamples[ x ][ y ], x, y = 0..nCbS − 1.
     2.   The reconstructed picture is modified as follows for x, y = 0..nCbS − 1 and y = 0..nCbS − 1:
          –   If palette_transpose_flag is equal to 1, the following applies:

                     SL[ xCb + x ][ yCb + y ] = recSamples[ y ][ x ]                                                 (8-13)

          –    Otherwise (palette_transpose_flag is equal to 0), the following applies:

                     SL[ xCb + x ][ yCb + y ] = recSamples[ x ][ y ]                                                 (8-14)

– Otherwise (pcm_flag[ xCb ][ yCb ] is equal to 0, palette_mode_flag[ xCb ][ yCb ] is equal to 0), if IntraSplitFlag is
  equal to 0, the following ordered steps apply:
     1.   The derivation process for the intra prediction mode as specified in clause 8.4.2 is invoked with the luma location
          ( xCb, yCb ) as input.
     2.   If residual_adaptive_colour_transform_enabled_flag is equal to 1, the following applies:
          –   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the luma location
              ( xCb, yCb ), the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal to 0, the
              variable predModeIntra set equal to IntraPredModeY[ xCb ][ yCb ], the variable cIdx set equal to 0 and
              variable controlParaAct set equal to 1 as inputs, and the output is a modified residual sample array
              resSamplesL.
          –   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma
              location ( xCb, yCb ), the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal
              to 0, the variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to 1 and variable
              controlParaAct set equal to 1 as inputs, and the output is a modified residual sample array resSamplesCb.
          –   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma
              location ( xCb, yCb ), the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal
              to 0, the variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to 2 and variable
              controlParaAct set equal to 1 as inputs, and the output is a modified residual sample array resSamplesCr.
          –   The residual modification process for blocks using adaptive colour transform as specified in clause 8.6.8 is
              invoked with location ( xCb, yCb ), the variable log2TrafoSize set equal to log2CbSize, the variable
              trafoDepth set equal to 0, the variable resSampleArrayL set equal to resSamplesL, the variable
              resSampleArrayCb set equal to resSamplesCb and the variable resSampleArrayCr set equal to resSamplesCr
              as inputs, and the outputs are modified versions of resSampleL, resSampleCb and resSampleCr.
3.    The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the luma location
      ( xCb, yCb ), the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal to 0, the variable
      predModeIntra set equal to IntraPredModeY[ xCb ][ yCb ], the variable cIdx set equal to 0, the variable
      controlParaAct set equal to ( residual_adaptive_colour_transform_enabled_flag ? 2 : 0 ), and the array resSamplesL
      when controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed picture before deblocking
      filtering.
– Otherwise (pcm_flag[ xCb ][ yCb ] is equal to 0, palette_mode_flag[ xCb ][ yCb ] is equal to 0, and IntraSplitFlag is
  equal to 1), for the variable blkIdx proceeding over the values 0..3, the following ordered steps apply:
     1.   The variable xPb is set equal to xCb + ( nCbS >> 1 ) * ( blkIdx % 2 ).



                                                                                Rec. ITU-T H.265 v8 (08/2021)           127
Case 2:25-cv-03053                Document 1-7           Filed 04/07/25          Page 149 of 717 Page ID #:678


      2.   The variable yPb is set equal to yCb + ( nCbS >> 1 ) * ( blkIdx / 2 ).
      3.   The derivation process for the intra prediction mode as specified in clause 8.4.2 is invoked with the luma location
           ( xPb, yPb ) as input.
      4.   If residual_adaptive_colour_transform_enabled_flag is equal to 1, the following applies:
           –    The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the luma location
                ( xPb, yPb ), the variable log2TrafoSize set equal to log2CbSize − 1, the variable trafoDepth set equal to 1,
                the variable predModeIntra set equal to IntraPredModeY[ xPb ][ yPb ], the variable cIdx set equal to 0 and
                variable controlParaAct equal to 1 as inputs, and the output is a modified residual sample array resSamplesL.
           –    The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma
                location ( xPb, yPb ), the variable log2TrafoSize set equal to log2CbSize − 1, the variable trafoDepth set
                equal to 1, the variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to 1 and
                variable controlParaAct equal to 1 as inputs, and the output is a modified residual sample array resSamplesCb.
           –    The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma
                location ( xPb, yPb ), the variable log2TrafoSize set equal to log2CbSize − 1, the variable trafoDepth set
                equal to 1, the variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to 2 and
                variable controlParaAct set equal to 1 as inputs, and the output is a modified residual sample array
                resSamplesCr.
           –    The residual modification process for blocks using adaptive colour transform as specified in clause 8.6.8 is
                invoked with location ( xCb, yCb ), the variable log2TrafoSize set equal to log2CbSize − 1, the variable
                trafoDepth set equal to 1, the variable resSampleArrayL set equal to resSamplesL, the variable
                resSampleArrayCb set equal to resSamplesCb and the variable resSampleArrayCr set equal to resSamplesCr
                as inputs, and the outputs are modified versions of resSampleL, resSampleCb and resSampleCr.
      5.   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the luma location
           ( xPb, yPb ), the variable log2TrafoSize set equal to log2CbSize − 1, the variable trafoDepth set equal to 1, the
           variable predModeIntra set equal to IntraPredModeY[ xPb ][ yPb ], the variable cIdx set equal to 0, the variable
           controlParaAct set equal to ( residual_adaptive_colour_transform_enabled_flag ? 2 : 0 ), and the array
           resSamplesL when controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed picture before
           deblocking filtering.
When ChromaArrayType is not equal to 0, the following applies.
The variable log2CbSizeC is set equal to log2CbSize − ( ChromaArrayType = = 3 ? 0 : 1 ).
Depending on the values of pcm_flag[ xCb ][ yCb ] and IntraSplitFlag, the decoding process for chroma samples is
specified as follows:
– If pcm_flag[ xCb ][ yCb ] is equal to 1, the reconstructed picture is modified as follows:

           SCb[ xCb / SubWidthC + i ][ yCb / SubHeightC + j ] =
                     pcm_sample_chroma[ ( nCbS / SubWidthC * j ) + i ] << ( BitDepthC − PcmBitDepthC ),
                     with i = 0..nCbS / SubWidthC − 1 and j = 0..nCbS / SubHeightC − 1             (8-15)

           SCr[ xCb / SubWidthC + i ][ yCb / SubHeightC + j ] =
                     pcm_sample_chroma[ ( nCbS / SubWidthC * ( j + nCbS / SubHeightC ) ) + i ] <<
                     ( BitDepthC − PcmBitDepthC ),
                     with i = 0..nCbS / SubWidthC − 1 and j = 0..nCbS / SubHeightC − 1                                (8-16)

– Otherwise (pcm_flag[ xCb ][ yCb ] is equal to 0), if palette_mode_flag[ xCb ][ yCb ] is equal to 1 the following ordered
  steps apply:
      1.   nCbsX is set as follows:
           –    If palette_transpose_flag is equal to 1, nCbSX is set equal to ( nCbS / SubHeightC ), nCbY is set equal to
                ( nCbS / SubWidthC ).
           –    Otherwise (palette_transpose_flag is equal to 0 ) nCbSX is set equal to ( nCbS / SubWidthC ), nCbY is set
                equal to (nCbS / SubHeightC ).
      2.   The decoding process for palette intra blocks as specified in clause 8.4.4.2.7 is invoked with the chroma location
           ( xCb, yCb ), the variable cIdx set equal to 1, nCbSX, and nCbSY as inputs, and the output is an
           ( nCbS / SubWidthC ) x ( nCbS / SubHeightC ) array of reconstructed palette sample values, recSamples[ x ][ y ],
           x = 0 … nCbS / SubWidthC − 1, y = 0..nCbS / SubHeightC − 1, when palette_transpose_flag is equal to 0, or an


128            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7            Filed 04/07/25          Page 150 of 717 Page ID #:679


        ( nCbS / SubHeightC ) x ( nCbS / SubWidthC ) array of reconstructed palette sample values, recSamples[ x ][ y ],
        x = 0 … nCbS / SubHeightC − 1, y = 0..nCbS / SubWidthC − 1 when palette_transpose_flag is equal to 1.
   3.   The reconstructed picture is modified as follows:
        –    If palette_transpose_flag is equal to 1, the following applies:

                    SCb[ xCb / SubWidthC + x ][ yCb / SubHeightC + y ] = recSamples[ y ][ x ],
                     with x = 0..nCbS / SubWidthC − 1 and y = 0..nCbS / SubHeightC − 1                             (8-17)

        –    Otherwise (palette_transpose_flag is equal to 0 ), the following applies:

                    SCb[ xCb / SubWidthC + x ][ yCb / SubHeightC + y ] = recSamples[ x ][ y ],
                     with x = 0..nCbS / SubWidthC − 1 and y = 0..nCbS / SubHeightC − 1                             (8-18)

   4.   The decoding process for palette intra blocks as specified in clause 8.4.4.2.7 is invoked with the chroma location
        ( xCb, yCb ), the variable cIdx set equal to 2, nCbSX set equal to nCbS / SubWidthC, and nCbSY set equal to
        nCbS / SubHeightC as inputs, and the output is an ( nCbS / SubWidthC ) x ( nCbS / SubHeightC ) array of
        reconstructed      palette      sample      values,      recSamples[ x ][ y ],       x = 0..nCbS / SubWidthC − 1,
        y = 0..nCbS / SubHeightC − 1, when palette_transpose_flag is equal to 0, or an ( nCbS / SubHeightC ) x
        ( nCbS / SubWidthC )       array    of    reconstructed     palette     sample      values,   recSamples[ x ][ y ],
        x = 0..nCbS / SubHeightC − 1, y = 0..nCbS / SubWidthC − 1, when palette_transpose_flag is equal to 1.
   5.   The reconstructed picture is modified as follows:
        –    If palette_transpose_flag is equal to 1, the following applies:

                    SCr[ xCb / SubWidthC + x ][ yCb / SubHeightC + y ] = recSamples[ y ][ x ],
                     with x = 0..nCbS / SubWidthC − 1 and y = 0..nCbS / SubHeightC − 1                             (8-19)

        –    Otherwise ( palette_transpose_flag is equal to 0 ), the following applies:

                    SCr[ xCb / SubWidthC + x ][ yCb / SubHeightC + y ] = recSamples[ x ][ y ],

                      with x = 0..nCbS / SubWidthC − 1 and y = 0..nCbS / SubHeightC − 1                            (8-20)

– Otherwise (pcm_flag[ xCb ][ yCb ] is equal to 0 and palette_mode_flag[ xCb ][ yCb ] is equal to 0), if IntraSplitFlag
  is equal to 0 or ChromaArrayType is not equal to 3, the following ordered steps apply:
   1.   The derivation process for the chroma intra prediction mode as specified in clause 8.4.3 is invoked with the luma
        location ( xCb, yCb ) as input, and the output is the variable IntraPredModeC.
   2.   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma location
        ( xCb / SubWidthC, yCb / SubHeightC ), the variable log2TrafoSize set equal to log2CbSizeC, the variable
        trafoDepth set equal to 0, the variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to
        1, the variable controlParaAct set equal to ( residual_adaptive_colour_transform_enabled_flag ? 2 : 0 ), and the
        array resSamplesCb when controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed picture
        before deblocking filtering.
   3.   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma location
        ( xCb / SubWidthC, yCb / SubHeightC ), the variable log2TrafoSize set equal to log2CbSizeC, the variable
        trafoDepth set equal to 0, the variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to
        2, the variable controlParaAct set equal to ( residual_adaptive_colour_transform_enabled_flag ? 2 : 0 ), and the
        array resSamplesCr when controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed picture
        before deblocking filtering.
– Otherwise (pcm_flag[ xCb ][ yCb ] is equal to 0, palette_mode_flag[ xCb ][ yCb ] is equal to 0, IntraSplitFlag is equal
  to 1 and ChromaArrayType is equal to 3), for the variable blkIdx proceeding over the values 0..3, the following ordered
  steps apply:
   1.   The variable xPb is set equal to xCb + ( nCbS >> 1 ) * ( blkIdx % 2 ).
   2.   The variable yPb is set equal to yCb + ( nCbS >> 1 ) * ( blkIdx / 2 ).
   3.   The derivation process for the chroma intra prediction mode as specified in clause 8.4.3 is invoked with the luma
        location ( xPb, yPb ) as input, and the output is the variable IntraPredModeC.




                                                                               Rec. ITU-T H.265 v8 (08/2021)          129
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 151 of 717 Page ID #:680


      4.   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma location
           ( xPb, yPb ), the variable log2TrafoSize set equal to log2CbSizeC − 1, the variable trafoDepth set equal to 1, the
           variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to 1, the variable controlParaAct
           set equal to ( residual_adaptive_colour_transform_enabled_flag ? 2 : 0 ), and the array resSamplesCb when
           controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed picture before deblocking
           filtering.
      5.   The general decoding process for intra blocks as specified in clause 8.4.4.1 is invoked with the chroma location
           ( xPb, yPb ), the variable log2TrafoSize set equal to log2CbSizeC − 1, the variable trafoDepth set equal to 1, the
           variable predModeIntra set equal to IntraPredModeC, the variable cIdx set equal to 2, the variable controlParaAct
           set equal to ( residual_adaptive_colour_transform_enabled_flag ? 2 : 0 ), and the array resSamplesCr when
           controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed picture before deblocking
           filtering.

8.4.2       Derivation process for luma intra prediction mode
Input to this process is a luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block
relative to the top-left luma sample of the current picture.
In this process, the luma intra prediction mode IntraPredModeY[ xPb ][ yPb ] is derived.
Table 8-1 specifies the value for the intra prediction mode and the associated names.

                        Table 8-1 – Specification of intra prediction mode and associated names

                          Intra prediction mode                    Associated name
                                     0              INTRA_PLANAR
                                     1              INTRA_DC
                                   2..34            INTRA_ANGULAR2..INTRA_ANGULAR34


IntraPredModeY[ xPb ][ yPb ] labelled 0..34 represents directions of predictions as illustrated in Figure 8-1.




                               Figure 8-1 – Intra prediction mode directions (informative)


IntraPredModeY[ xPb ][ yPb ] is derived by the following ordered steps:



130          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25         Page 152 of 717 Page ID #:681


  1. The neighbouring locations ( xNbA, yNbA ) and ( xNbB, yNbB ) are set equal to ( xPb − 1, yPb ) and
     ( xPb, yPb − 1 ), respectively.
  2. For X being replaced by either A or B, the variables candIntraPredModeX are derived as follows:
      – The availability derivation process for a block in z-scan order as specified in clause 6.4.1 is invoked with the
        location ( xCurr, yCurr ) set equal to ( xPb, yPb ) and the neighbouring location ( xNbY, yNbY ) set equal to
        ( xNbX, yNbX ) as inputs, and the output is assigned to availableX.
      – The candidate intra prediction mode candIntraPredModeX is derived as follows:
          – If availableX is equal to FALSE, candIntraPredModeX is set equal to INTRA_DC.
          – Otherwise,   if   CuPredMode[ xNbX ][ yNbX ]         is  not    equal     to   MODE_INTRA                  or
            pcm_flag[ xNbX ][ yNbX ] is equal to 1, candIntraPredModeX is set equal to INTRA_DC,
          – Otherwise, if X is equal to B and yPb − 1 is less than ( ( yPb >> CtbLog2SizeY ) << CtbLog2SizeY ),
            candIntraPredModeB is set equal to INTRA_DC.
          – Otherwise, candIntraPredModeX is set equal to IntraPredModeY[ xNbX ][ yNbX ].
  3. The candModeList[ x ] with x = 0..2 is derived as follows:
      –    If candIntraPredModeB is equal to candIntraPredModeA, the following applies:
           –        If candIntraPredModeA is less than 2 (i.e., equal to INTRA_PLANAR or INTRA_DC),
                    candModeList[ x ] with x = 0..2 is derived as follows:

                       candModeList[ 0 ] = INTRA_PLANAR                                                         (8-21)

                       candModeList[ 1 ] = INTRA_DC                                                             (8-22)

                       candModeList[ 2 ] = INTRA_ANGULAR26                                                      (8-23)

           –        Otherwise, candModeList[ x ] with x = 0..2 is derived as follows:

                       candModeList[ 0 ] = candIntraPredModeA                                                   (8-24)

                       candModeList[ 1 ] = 2 + ( ( candIntraPredModeA + 29 ) % 32 )                             (8-25)

                       candModeList[ 2 ] = 2 + ( ( candIntraPredModeA − 2 + 1 ) % 32 )                          (8-26)

      –    Otherwise (candIntraPredModeB is not equal to candIntraPredModeA), the following applies:
           –        candModeList[ 0 ] and candModeList[ 1 ] are derived as follows:

                       candModeList[ 0 ] = candIntraPredModeA                                                   (8-27)

                       candModeList[ 1 ] = candIntraPredModeB                                                   (8-28)

           –        If neither of candModeList[ 0 ] and candModeList[ 1 ] is equal to INTRA_PLANAR, candModeList[ 2 ]
                    is set equal to INTRA_PLANAR,
           –        Otherwise, if neither of candModeList[ 0 ] and candModeList[ 1 ] is equal to INTRA_DC,
                    candModeList[ 2 ] is set equal to INTRA_DC,
           –        Otherwise, candModeList[ 2 ] is set equal to INTRA_ANGULAR26.
  4. IntraPredModeY[ xPb ][ yPb ] is derived by applying the following procedure:
      –    If prev_intra_luma_pred_flag[ xPb ][ yPb ] is equal to 1, the IntraPredModeY[ xPb ][ yPb ] is set equal to
           candModeList[ mpm_idx[ xPb ][ yPb ] ].
      –    Otherwise, IntraPredModeY[ xPb ][ yPb ] is derived by applying the following ordered steps:
          1) The array candModeList[ x ], x = 0..2 is modified as the following ordered steps:
               i.      When candModeList[ 0 ] is greater than candModeList[ 1 ], both values are swapped as follows:




                                                                              Rec. ITU-T H.265 v8 (08/2021)        131
Case 2:25-cv-03053                  Document 1-7         Filed 04/07/25                   Page 153 of 717 Page ID #:682


                        ( candModeList[ 0 ], candModeList[ 1 ] ) = Swap( candModeList[ 0 ], candModeList[ 1 ] )
                                                                                                       (8-29)

                  ii.   When candModeList[ 0 ] is greater than candModeList[ 2 ], both values are swapped as follows:

                        ( candModeList[ 0 ], candModeList[ 2 ] ) = Swap( candModeList[ 0 ], candModeList[ 2 ] )
                                                                                                       (8-30)

                 iii.   When candModeList[ 1 ] is greater than candModeList[ 2 ], both values are swapped as follows:

                        ( candModeList[ 1 ], candModeList[ 2 ] ) = Swap( candModeList[ 1 ], candModeList[ 2 ] )
                                                                                                       (8-31)

             2) IntraPredModeY[ xPb ][ yPb ] is derived by the following ordered steps:
                   i.   IntraPredModeY[ xPb ][ yPb ] is set equal to rem_intra_luma_pred_mode[ xPb ][ yPb ].
                  ii.   For i equal to 0 to 2, inclusive, when IntraPredModeY[ xPb ][ yPb ] is greater than or equal to
                        candModeList[ i ], the value of IntraPredModeY[ xPb ][ yPb ] is incremented by one.

8.4.3      Derivation process for chroma intra prediction mode
This process is only invoked when ChromaArrayType is not equal to 0.
Input to this process is a luma location ( xPb, yPb ) specifying the top-left sample of the current chroma prediction block
relative to the top-left luma sample of the current picture.
Output of this process is the variable IntraPredModeC.
The variable modeIdx is derived using intra_chroma_pred_mode[ xPb ][ yPb ] and IntraPredModeY[ xPb ][ yPb ] as
specified in Table 8-2.
The chroma intra prediction mode IntraPredModeC is derived as follows:
– If ChromaArrayType is equal to 2, IntraPredModeC is set using modeIdx as specified in Table 8-3.
– Otherwise, IntraPredModeC is set equal to modeIdx.

                                             Table 8-2 – Specification of modeIdx


                                                             IntraPredModeY[ xPb ][ yPb ]
             intra_chroma_pred_mode[ xPb ][ yPb ]
                                                             0         26        10       1    X ( 0 <= X <= 34 )
             0                                               34        0         0        0    0
             1                                               26        34        26       26   26
             2                                               10        10        34       10   10
             3                                               1         1         1        34   1
             4                                               0         26        10       1    X




                  Table 8-3 – Specification of IntraPredModeC when ChromaArrayType is equal to 2


        modeIdx            X <= 2       3    4     5    6         7         8        9    10   11   12   13   14    15   16   17

 IntraPredModeC                X        2    2     2    3         5         7        8    10   12   13   15   17    18   19   20

        modeIdx           18       19   20   21   22    23        24        25       26   27   28   29   30   31    32   33   34

 IntraPredModeC           21       22   23   23   24    24        25        25       26   27   27   28   28   29    29   30   31




132        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7          Filed 04/07/25         Page 154 of 717 Page ID #:683


8.4.4          Decoding process for intra blocks

8.4.4.1        General decoding process for intra blocks
Inputs to this process are:
– a sample location ( xTb0, yTb0 ) specifying the top-left sample of the current transform block relative to the top-left
  sample of the current picture,
– a variable log2TrafoSize specifying the size of the current transform block,
– a variable trafoDepth specifying the hierarchy depth of the current block relative to the coding unit,
– a variable predModeIntra specifying the intra prediction mode,
– a variable cIdx specifying the colour component of the current block,
– a variable controlParaAct specifying the applicable processes,
– when controlParaAct is equal to 2, a residual sample array resSamplesRec specifying the reconstructed residual samples
  for the current colour component of the current coding block.
Output of this process is a modified reconstructed picture before deblocking filtering when controlParaAct is not equal
to 1, or a modified residual sample array resSampleArray for the current colour component of the current coding block
when controlParaAct is equal to 1.
The luma sample location ( xTbY, yTbY ) specifying the top-left sample of the current luma transform block relative to
the top-left luma sample of the current picture is derived as follows:

          ( xTbY, yTbY ) = ( cIdx = = 0 ) ? ( xTb0, yTb0 ) : ( xTb0 * SubWidthC, yTb0 * SubHeightC ) (8-32)

The variable splitFlag is derived as follows:
– If cIdx is equal to 0, splitFlag is set equal to split_transform_flag[ xTbY ][ yTbY ][ trafoDepth ].
– Otherwise, if all of the following conditions are true, splitFlag is set equal to 1.
    –      cIdx is greater than 0
    –      split_transform_flag[ xTbY ][ yTbY ][ trafoDepth ] is equal to 1
    –      log2TrafoSize is greater than 2
– Otherwise, splitFlag is set equal to 0.
Depending on the value of splitFlag, the following applies:
– If splitFlag is equal to 1, the following ordered steps apply:
    1.     The variables xTb1 and yTb1 are derived as follows:
           –     If cIdx is equal to 0 or ChromaArrayType is not equal to 2, the following applies:
                 –   The variable xTb1 is set equal to xTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
                 –   The variable yTb1 is set equal to yTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
           –     Otherwise (ChromaArrayType is equal to 2 and cIdx is greater than 0), the following applies:
                 –   The variable xTb1 is set equal to xTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
                 –   The variable yTb1 is set equal to yTb0 + ( 2 << ( log2TrafoSize − 1 ) ).
    2.     The general decoding process for intra blocks as specified in this clause is invoked with the location
           ( xTb0, yTb0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
           trafoDepth + 1, the intra prediction mode predModeIntra, the variable cIdx, the variable controlParaAct, and the
           array resSamplesRec when controlParaAct is equal to 2 as inputs and the output is a modified reconstructed picture
           before deblocking filtering when controlParaAct is not equal to 1 or a modified residual sample array
           resSampleArray when controlParaAct is equal to 1.
    3.     The general decoding process for intra blocks as specified in this clause is invoked with the location
           ( xTb1, yTb0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
           trafoDepth + 1, the intra prediction mode predModeIntra, the variable cIdx, the variable controlParaAct, and the
           array resSamplesRec when controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed



                                                                                Rec. ITU-T H.265 v8 (08/2021)           133
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 155 of 717 Page ID #:684


           picture before deblocking filtering when controlParaAct is not equal to 1 or a modified residual sample array
           resSampleArray when controlParaAct is equal to 1.
      4.   The general decoding process for intra blocks as specified in this clause is invoked with the location
           ( xTb0, yTb1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
           trafoDepth + 1, the intra prediction mode predModeIntra, the variable cIdx, the variable controlParaAct, and the
           array resSamplesRec when controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed
           picture before deblocking filtering when controlParaAct is not equal to 1 or a modified residual sample array
           resSampleArray when controlParaAct is equal to 1.
      5.   The general decoding process for intra blocks as specified in this clause is invoked with the location
           ( xTb1, yTb1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
           trafoDepth + 1, the intra prediction mode predModeIntra, the variable cIdx, the variable controlParaAct, and the
           array resSamplesRec when controlParaAct is equal to 2 as inputs, and the output is a modified reconstructed
           picture before deblocking filtering when controlParaAct is not equal to 1 or a modified residual sample array
           resSampleArray when controlParaAct is equal to 1.
– Otherwise      (splitFlag is  equal  to   0),    for      the    variable   blkIdx     proceeding                 over   the
  values 0..( cIdx > 0 && ChromaArrayType = = 2 ? 1 : 0 ), the following ordered steps apply:
      1.   The variable nTbS is set equal to 1 << log2TrafoSize.
      2.   The variable yTbOffset is set equal to blkIdx * nTbS.
      3.   The variable yTbOffsetY is set equal to yTbOffset * SubHeightC.
      4.   When controlParaAct is not equal to 2, the variable residualDpcm is derived as follows:
           –    If all of the following conditions are true, residualDpcm is set equal to 1.
                –   implicit_rdpcm_enabled_flag is equal to 1.
                –   either   transform_skip_flag[ xTbY ][ yTbY + yTbOffsetY ][ cIdx ]          is    equal     to     1,   or
                    cu_transquant_bypass_flag is equal to 1.
                –   either predModeIntra is equal to 10, or predModeIntra is equal to 26.
           –    Otherwise, residualDpcm is set equal to 0.
      5.   When controlParaAct is not equal to 1, the general intra sample prediction process as specified in clause 8.4.4.2.1
           is invoked with the transform block location ( xTb0, yTb0 + yTbOffset ), the intra prediction mode
           predModeIntra, the transform block size nTbS and the variable cIdx as inputs, and the output is an (nTbS)x(nTbS)
           array predSamples.
      6.   When controlParaAct is not equal to 2, the scaling and transformation process as specified in clause 8.6.2 is
           invoked with the luma location ( xTbY, yTbY + yTbOffsetY ), the variable trafoDepth, the variable cIdx and the
           transform size trafoSize set equal to nTbS as inputs, and the output is an (nTbS)x(nTbS) array resSamples.
      7.   When controlParaAct is not equal to 2 and residualDpcm is equal to 1, the directional residual modification
           process for blocks using a transform bypass as specified in clause 8.6.5 is invoked with the variable mDir set
           equal to predModeIntra / 26, the variable nTbS and the (nTbS)x(nTbS) array r set equal to the array resSamples
           as inputs, and the output is a modified (nTbS)x(nTbS) array resSamples.
      8.   When controlParaAct is not equal to 2 and cross_component_prediction_enabled_flag is equal to 1,
           ChromaArrayType is equal to 3, and cIdx is not equal to 0, the residual modification process for transform blocks
           using cross-component prediction as specified in clause 8.6.6 is invoked with the current luma transform block
           location ( xTbY, yTbY ), the variable nTbS, the variable cIdx, the (nTbS)x(nTbS) array rY set equal to the
           corresponding luma residual sample array resSamples of the current transform block and the (nTbS)x(nTbS) array
           r set equal to the array resSamples as inputs, and the output is a modified (nTbS)x(nTbS) array resSamples.
      9.   When controlParaAct is not equal to 0, the following applies:
           –    The variable nCbS specifying the size of the current coding block is derived by setting nCbS equal to
                1 << ( log2TrafoSize + trafDepth ).
           –    The sample location ( xTbInCb, yTbInCb ) specifying the top-left sample of the current transform block
                relative to the top-left sample of the current coding block is derived by setting xTbInCb equal to
                xTb0 & (nCbS − 1) and setting yTbInCb equal to yTb0 & (nCbS − 1).
      10. When controlParaAct is equal to 2, the (nTbS)x(nTbS) array resSamples is derived by setting resSamples[ x ][ y ]
          equal to resSamplesRec[ x + xTbInCb ][y + yTbInCb ], for x and y in the range of 0 to nTbS − 1, inclusive.



134            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25         Page 156 of 717 Page ID #:685


    11. The following applies:
           –     If controlParaAct is equal to 1, the residual array resSamplesArray is modified by setting
                 resSamplesArray[ x + xTbInCb ][y + yTbInCb ] equal to resSamples[ x ][ y ], for x and y in the range of 0 to
                 nTbS − 1, inclusive.
           –     Otherwise (controlParaAct is not equal to 1), the picture construction process prior to in-loop filtering for a
                 colour component as specified in clause 8.6.7 is invoked with the transform block location
                 ( xTb0, yTb0 + yTbOffset ), the variables nCurrSw and nCurrSh both set equal to nTbS, the variable cIdx,
                 the (nTbS)x(nTbS) array predSamples and the (nTbS)x(nTbS) array resSamples as inputs.

8.4.4.2        Intra sample prediction

8.4.4.2.1 General intra sample prediction
Inputs to this process are:
– a sample location ( xTbCmp, yTbCmp ) specifying the top-left sample of the current transform block relative to the
  top-left sample of the current picture,
– a variable predModeIntra specifying the intra prediction mode,
– a variable nTbS specifying the transform block size,
– a variable cIdx specifying the colour component of the current block.
Outputs of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
The nTbS * 4 + 1 neighbouring samples p[ x ][ y ] that are constructed samples prior to the deblocking filter process, with
x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1, are derived as follows:
– The neighbouring location ( xNbCmp, yNbCmp ) is specified by:

          ( xNbCmp, yNbCmp ) = ( xTbCmp + x, yTbCmp + y )                                                               (8-33)

– The current luma location ( xTbY, yTbY ) and the neighbouring luma location ( xNbY, yNbY ) are derived as follows:

          ( xTbY, yTbY ) =
                ( cIdx = = 0 ) ? ( xTbCmp, yTbCmp ) : ( xTbCmp * SubWidthC, yTbCmp * SubHeightC )
             (8-34)

          ( xNbY, yNbY ) =
                ( cIdx = = 0 ) ? ( xNbCmp, yNbCmp ) : ( xNbCmp * SubWidthC, yNbCmp * SubHeightC )
             (8-35)

– The availability derivation process for a block in z-scan order as specified in clause 6.4.1 is invoked with the current
  luma location ( xCurr, yCurr ) set equal to ( xTbY, yTbY ) and the neighbouring luma location ( xNbY, yNbY ) as
  inputs, and the output is assigned to availableN.
– Each sample p[ x ][ y ] is derived as follows:
    –      If one or more of the following conditions are true, the sample p[ x ][ y ] is marked as "not available for intra
           prediction":
           –      The variable availableN is equal to FALSE.
           –      CuPredMode[ xNbY ][ yNbY ] is not equal to MODE_INTRA and constrained_intra_pred_flag is equal
                  to 1.
    –      Otherwise, the sample p[ x ][ y ] is marked as "available for intra prediction" and the sample at the location
           ( xNbCmp, yNbCmp ) is assigned to p[ x ][ y ].
When at least one sample p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 is marked as "not
available for intra prediction", the reference sample substitution process for intra sample prediction in clause 8.4.4.2.2 is
invoked with the samples p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1, nTbS and cIdx as
inputs, and the modified samples p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 as output.
Depending on the value of predModeIntra, the following ordered steps apply:




                                                                                  Rec. ITU-T H.265 v8 (08/2021)           135
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25             Page 157 of 717 Page ID #:686


      1.   When intra_smoothing_disabled_flag is equal to 0 and either cIdx is equal to 0 or ChromaArrayType is equal to
           3, the filtering process of neighbouring samples specified in clause 8.4.4.2.3 is invoked with the sample array p,
           the transform block size nTbS and the colour component index cIdx as inputs, and the output is reassigned to the
           sample array p.
      2.   The intra sample prediction process according to predModeIntra applies as follows:
           –     If predModeIntra is equal to INTRA_PLANAR, the corresponding intra prediction mode specified in
                 clause 8.4.4.2.4 is invoked with the sample array p and the transform block size nTbS as inputs, and the
                 output is the predicted sample array predSamples.
           –     Otherwise, if predModeIntra is equal to INTRA_DC, the corresponding intra prediction mode specified in
                 clause 8.4.4.2.5 is invoked with the sample array p, the transform block size nTbS and the colour component
                 index cIdx as inputs, and the output is the predicted sample array predSamples.
           –     Otherwise (predModeIntra is in the range of INTRA_ANGULAR2..INTRA_ANGULAR34), the
                 corresponding intra prediction mode specified in clause 8.4.4.2.6 is invoked with the intra prediction mode
                 predModeIntra, the sample array p, the transform block size nTbS and the colour component index cIdx as
                 inputs, and the output is the predicted sample array predSamples.

8.4.4.2.2 Reference sample substitution process for intra sample prediction
Inputs to this process are:
–     reference samples p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 for intra sample
      prediction,
–     a transform block size nTbS, and
–     a variable cIdx specifying the colour component of the current block.
Outputs of this process are the modified reference samples p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and
x = 0..nTbS * 2 − 1, y = −1 for intra sample prediction.
The variable bitDepth is derived as follows:
– If cIdx is equal to 0, bitDepth is set equal to BitDepthY.
– Otherwise, bitDepth is set equal to BitDepthC.
The values of the samples p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 are modified as
follows:
–     If all samples p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 are marked as "not
      available for intra prediction", the value 1 << ( bitDepth − 1 ) is substituted for the values of all samples p[ x ][ y ].
–     Otherwise (at least one but not all samples p[ x ][ y ] are marked as "not available for intra prediction"), the following
      ordered steps are performed:
      1.   When p[ −1 ][ nTbS * 2 − 1 ] is marked as "not available for intra prediction", search sequentially starting from
           x = −1, y = nTbS * 2 − 1 to x = −1, y = −1, then from x = 0, y = −1 to x = nTbS * 2 − 1, y = −1. Once a sample
           p[ x ][ y ] marked as "available for intra prediction" is found, the search is terminated and the value of p[ x ][ y ]
           is assigned to p[ −1 ][ nTbS * 2 − 1 ].
      2.   Search sequentially starting from x = −1, y = nTbS * 2 − 2 to x = −1, y = −1, when p[ x ][ y ] is marked as "not
           available for intra prediction", the value of p[ x ][ y + 1 ] is substituted for the value of p[ x ][ y ].
      3.   For x = 0..nTbS * 2 − 1, y = −1, when p[ x ][ y ] is marked as "not available for intra prediction", the value of
           p[ x − 1 ][ y ] is substituted for the value of p[ x ][ y ].
All samples p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 are marked as "available for intra
prediction".

8.4.4.2.3 Filtering process of neighbouring samples
Inputs to this process are:
– the neighbouring samples p[ x ][ y ], with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
– a variable nTbS specifying the transform block size.
Outputs of this process            are   the   filtered   samples    pF[ x ][ y ],    with   x = −1, y = −1..nTbS * 2 − 1    and
x = 0..nTbS * 2 − 1, y = −1.


136            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 158 of 717 Page ID #:687


The variable filterFlag is derived as follows:
– If one or more of the following conditions are true, filterFlag is set equal to 0:
   –     predModeIntra is equal to INTRA_DC.
   –     nTbS is equal to 4.
– Otherwise, the following applies:
   –     The variable minDistVerHor is set equal to Min( Abs( predModeIntra − 26 ), Abs( predModeIntra − 10 ) ).
   –     The variable intraHorVerDistThres[ nTbS ] is specified in Table 8-4.
   –     The variable filterFlag is derived as follows:
         –     If minDistVerHor is greater than intraHorVerDistThres[ nTbS ], filterFlag is set equal to 1.
         –     Otherwise, filterFlag is set equal to 0.

             Table 8-4 – Specification of intraHorVerDistThres[ nTbS ] for various transform block sizes


                                                          nTbS = 8         nTbS = 16         nTbS = 32

                    intraHorVerDistThres[ nTbS ]              7                   1               0

When filterFlag is equal to 1, the following applies:
– The variable biIntFlag is derived as follows:
    – If all of the following conditions are true, biIntFlag is set equal to 1:
         – strong_intra_smoothing_enabled_flag is equal to 1.
         – cIdx is equal to 0.
         – nTbS is equal to 32.
         – Abs( p[ −1 ][ −1 ] + p[ nTbS * 2 − 1 ][ −1 ] − 2 * p[ nTbS − 1 ][ −1 ] ) is less than 1 << ( BitDepthY − 5 ).
         – Abs( p[ −1 ][ −1 ] + p[ −1 ][ nTbS * 2 − 1 ] − 2 * p[ −1 ][ nTbS − 1 ] ) is less than 1 << ( BitDepthY − 5 ).
    – Otherwise, biIntFlag is set equal to 0.
– The filtering is performed as follows:
    – If biIntFlag is equal to 1, the filtered sample values pF[ x ][ y ] with x = −1, y = −1..63 and x = 0..63, y = −1 are
      derived as follows:

             pF[ −1 ][ −1 ] = p[ −1 ][ −1 ]                                                                        (8-36)

             pF[ −1 ][ y ] = ( ( 63 − y ) * p[ −1 ][ −1 ] + ( y + 1 ) * p[ −1 ][ 63 ] + 32 ) >> 6 for y = 0..62 (8-37)

             pF[ −1 ][ 63 ] = p[ −1 ][ 63 ]                                                                        (8-38)

             pF[ x ][ −1 ] = ( ( 63 − x ) * p[ −1 ][ −1 ] + ( x + 1 ) * p[ 63 ][ −1 ] + 32 ) >> 6 for x = 0..62 (8-39)

             pF[ 63 ][ −1 ] = p[ 63 ][ −1 ]                                                                        (8-40)

    – Otherwise (biIntFlag is equal to 0), the filtered sample values pF[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and
      x = 0..nTbS * 2 − 1, y = −1 are derived as follows:

             pF[ −1 ][ −1 ] = ( p[ −1 ][ 0 ] + 2 * p[ −1 ][ −1 ] + p[ 0 ][ −1 ] + 2 ) >> 2                         (8-41)

             pF[ −1 ][ y ] = ( p[ −1 ][ y + 1 ] + 2 * p[ −1 ][ y ] + p[ −1 ][ y − 1 ] + 2 ) >> 2 for
             y = 0..nTbS * 2 − 2                          (8-42)

             pF[ −1 ][ nTbS * 2 − 1 ] = p[ −1 ][ nTbS * 2 − 1 ]
                (8-43)


                                                                                  Rec. ITU-T H.265 v8 (08/2021)       137
Case 2:25-cv-03053                  Document 1-7            Filed 04/07/25          Page 159 of 717 Page ID #:688


               pF[ x ][ −1 ] = ( p[ x − 1 ][ −1 ] + 2 * p[ x ][ −1 ] + p[ x + 1 ][ −1 ] + 2 ) >> 2 for
               x = 0..nTbS * 2 − 2                           (8-44)

               pF[ nTbS * 2 − 1 ][ −1 ] = p[ nTbS * 2 − 1 ][ −1 ]
                  (8-45)

8.4.4.2.4 Specification of intra prediction mode INTRA_PLANAR
Inputs to this process are:
– the neighbouring samples p[ x ][ y ], with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
– a variable nTbS specifying the transform block size.
Outputs of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
The values of the prediction samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1, are derived as follows:

       predSamples[ x ][ y ] = ( ( nTbS − 1 − x ) * p[ −1 ][ y ] + ( x + 1 ) * p[ nTbS ][ −1 ] +
                             ( nTbS − 1 − y ) * p[ x ][ −1 ] +
                             ( y + 1 ) * p[ −1 ][ nTbS ] + nTbS ) >> ( Log2( nTbS ) + 1 )                          (8-46)

8.4.4.2.5 Specification of intra prediction mode INTRA_DC
Inputs to this process are:
– the neighbouring samples p[ x ][ y ], with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
– a variable nTbS specifying the transform block size,
– a variable cIdx specifying the colour component of the current block.
Outputs of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
The values of the prediction samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1, are derived by the following ordered
steps:
      1.   A variable dcVal is derived as follows:

                           nTbS −1           nTbS − 1
                                                                       
                  dcVal =   p[ x ][ − 1 ] +  p[ − 1 ][ y ] + nTbS   ( k + 1 )                              (8-47)
                                                                     
                           x=0                y = 0                  

           where k = Log2( nTbS ).

      2.   Depending on the value of the colour component index cIdx, the following applies:
           –     If cIdx is equal to 0, intra_boundary_filtering_disabled_flag is equal to 0, and nTbS is less than 32, the
                 following applies:

                  predSamples[ 0 ][ 0 ] = ( p[ −1 ][ 0 ] + 2 * dcVal + p[ 0 ][ −1 ] + 2 ) >> 2                     (8-48)

                  predSamples[ x ][ 0 ] = ( p[ x ][ −1 ] + 3 * dcVal + 2 ) >> 2, with x = 1..nTbS − 1              (8-49)

                  predSamples[ 0 ][ y ] = ( p[ −1 ][ y ] + 3 * dcVal + 2 ) >> 2, with y = 1..nTbS − 1              (8-50)

                  predSamples[ x ][ y ] = dcVal, with x, y = 1..nTbS − 1                                           (8-51)

           –     Otherwise, the prediction samples predSamples[ x ][ y ] are derived as follows:

                  predSamples[ x ][ y ] = dcVal, with x, y = 0..nTbS − 1                                           (8-52)

8.4.4.2.6 Specification of intra prediction mode in the range of INTRA_ANGULAR2.. INTRA_ANGULAR34
Inputs to this process are:
– the intra prediction mode predModeIntra,



138            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7                 Filed 04/07/25                Page 160 of 717 Page ID #:689


– the neighbouring samples p[ x ][ y ], with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
– a variable nTbS specifying the transform block size,
– a variable cIdx specifying the colour component of the current block.
Outputs of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
Figure 8-2 illustrates the total 33 intra angles and Table 8-5 specifies the mapping table between predModeIntra and the
angle parameter intraPredAngle.




                             Figure 8-2 – Intra prediction angle definition (informative)



                                         Table 8-5 – Specification of intraPredAngle


  predModeIntra        1     2      3       4       5     6          7    8         9    10     11     12     13      14    15         16    17

  intraPredAngle       -    32     26      21       17    13         9    5         2    0      −2     −5     −9     −13    −17        −21   −26

  predModeIntra        18   19     20      21       22    23         24   25        26   27     28     29     30      31    32         33    34

  intraPredAngle      −32   −26    −21     −17     −13    −9         −5   −2        0    2      5      9      13      17    21         26    32




Table 8-6 further specifies the mapping table between predModeIntra and the inverse angle parameter invAngle.

                                            Table 8-6 – Specification of invAngle


          predModeIntra             11            12            13             14         15          16            17            18

              invAngle            −4 096         −1 638        −910        −630          −482        −390          −315          −256

          predModeIntra             19            20            21             22         23          24            25            26

              invAngle             −315          −390          −482        −630          −910        −1 638        −4 096         -




                                                                                          Rec. ITU-T H.265 v8 (08/2021)                      139
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 161 of 717 Page ID #:690


The variable disableIntraBoundaryFilter is derived as follows:
– If intra_boundary_filtering_disabled_flag is equal to 1, disableIntraBoundaryFilter is set equal to 1.
– Otherwise (intra_boundary_filtering_disabled_flag is equal to 0), if implicit_rdpcm_enabled_flag                        and
  cu_transquant_bypass_flag are both equal to 1, disableIntraBoundaryFilter is set equal to 1.
– Otherwise, disableIntraBoundaryFilter is set equal to 0.
The values of the prediction samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1 are derived as follows:
– If predModeIntra is greater than or equal to 18, the following ordered steps apply:
   1.    The reference sample array ref[ x ] is specified as follows:
         – The following applies:

                   ref[ x ] = p[ −1 + x ][ −1 ], with x = 0..nTbS                                                     (8-53)

         – If intraPredAngle is less than 0, the main reference sample array is extended as follows:
              –   When ( nTbS * intraPredAngle ) >> 5 is less than −1,

                           ref[ x ] = p[ −1 ][ −1 + ( ( x * invAngle + 128 ) >> 8 ) ],
                                      with x = −1..( nTbS * intraPredAngle ) >> 5                                     (8-54)

         – Otherwise,

                   ref[ x ] = p[ −1 + x ][ −1 ], with x = nTbS + 1..2 * nTbS                                          (8-55)

   2.    The values of the prediction samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1 are derived as follows:
         a.   The index variable iIdx and the multiplication factor iFact are derived as follows:

                   iIdx = ( ( y + 1 ) * intraPredAngle ) >> 5
                                                        (8-56)

                   iFact = ( ( y + 1 ) * intraPredAngle ) & 31
                                                        (8-57)

         b.   Depending on the value of iFact, the following applies:
              – If iFact is not equal to 0, the value of the prediction samples predSamples[ x ][ y ] is derived as follows:

                   predSamples[ x ][ y ] =
                    ( ( 32 − iFact ) * ref[ x + iIdx + 1 ] + iFact * ref[ x + iIdx + 2 ] + 16 ) >> 5                  (8-58)

              – Otherwise, the value of the prediction samples predSamples[ x ][ y ] is derived as follows:

                   predSamples[ x ][ y ] = ref[ x + iIdx + 1 ]
                                                        (8-59)

         c.   When predModeIntra is equal to 26 (vertical), cIdx is equal to 0, nTbS is less than 32, and
              disableIntraBoundaryFilter is equal to 0, the following filtering applies with x = 0, y = 0..nTbS − 1:

                   predSamples[ x ][ y ] = Clip1Y( p[ x ][ −1 ] + ( ( p[ −1 ][ y ] − p[ −1 ][ −1 ] ) >> 1 ) ) (8-60)

– Otherwise (predModeIntra is less than 18), the following ordered steps apply:
      1. The reference sample array ref[ x ] is specified as follows:
         – The following applies:

                   ref[ x ] = p[ −1 ][ −1 + x ], with x = 0..nTbS                                                     (8-61)

         – If intraPredAngle is less than 0, the main reference sample array is extended as follows:
              –   When ( nTbS * intraPredAngle ) >> 5 is less than −1,


140           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 162 of 717 Page ID #:691


                           ref[ x ] = p[ −1 + ( ( x * invAngle + 128 ) >> 8 ) ][ −1 ],
                                      with x = −1..( nTbS * intraPredAngle ) >> 5                                     (8-62)

        – Otherwise,

                   ref[ x ] = p[ −1 ][ −1 + x ], with x = nTbS + 1..2 * nTbS                                          (8-63)

    2. The values of the prediction samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1 are derived as follows:
        a.    The index variable iIdx and the multiplication factor iFact are derived as follows:

                   iIdx = ( ( x + 1 ) * intraPredAngle ) >> 5
                                                        (8-64)

                   iFact = ( ( x + 1 ) * intraPredAngle ) & 31
                                                        (8-65)

        b.    Depending on the value of iFact, the following applies:
              – If iFact is not equal to 0, the value of the prediction samples predSamples[ x ][ y ] is derived as follows:

                   predSamples[ x ][ y ] =
                    ( ( 32 − iFact ) * ref[ y + iIdx + 1 ] + iFact * ref[ y + iIdx + 2 ] + 16 ) >> 5                  (8-66)

              – Otherwise, the value of the prediction samples predSamples[ x ][ y ] is derived as follows:

                   predSamples[ x ][ y ] = ref[ y + iIdx + 1 ]
                                                        (8-67)

        c.    When predModeIntra is equal to 10 (horizontal), cIdx is equal to 0, nTbS is less than 32 and
              disableIntraBoundaryFilter is equal to 0, the following filtering applies with x = 0..nTbS − 1, y = 0:

                   predSamples[ x ][ y ] = Clip1Y( p[ −1 ][ y ] + ( ( p[ x ][ −1 ] − p[ −1 ][ −1 ] ) >> 1 ) ) (8-68)

8.4.4.2.7 Decoding process for palette mode
Inputs to this process are:
–    a location ( xCb, yCb ) specifying the top-left luma sample of the current block relative to the top-left luma sample
     of the current picture,
–    a variable cIdx specifying the colour component of the current block,
–    two variables nCbSX and nCbSY specifying the width and height of the current block, respectively.
Output of this process is an array recSamples[ x ][ y ], with x = 0..nCbSX − 1, y = 0..nCbSY − 1 specifying reconstructed
sample values for the block.

Depending on the value of cIdx, the variables nSubWidth and nSubHeight are derived as follows:

–    If cIdx is equal to 0, nSubWidth is set to 1 and nSubHeight is set to 1.
–    Otherwise, nSubWidth is set to SubWidthC and nSubHeight is set to SubHeightC.
The ( nCbSX x nCbSY ) block of the reconstructed sample array recSamples at location ( xCb, yCb ) is represented by
recSamples[ x ][ y ] with x = 0..nCbSX − 1 and y = 0..nCbSY − 1, and the value of recSamples[ x ][ y ] for each x in the
range of 0 to nCbSX − 1, inclusive, and each y in the range of 0 to nCbSY − 1, inclusive, is derived as follows:
–    The variables xL and yL are derived as follows:

             xL = palette_transpose_flag ? y * nSubHeight : x * nSubWidth                                             (8-69)

             yL = palette_transpose_flag ? x * nSubWidth : y * nSubHeight                                             (8-70)

–    The variable bIsEscapeSample is derived as follows:




                                                                                Rec. ITU-T H.265 v8 (08/2021)            141
Case 2:25-cv-03053                  Document 1-7          Filed 04/07/25           Page 163 of 717 Page ID #:692


       – If PaletteIndexMap[ xCb + xL ][ yCb + yL ] is equal to MaxPaletteIndex and palette_escape_val_present_flag is
         equal to 1, bIsEscapeSample is set equal to 1.
       – Otherwise, bIsEscapeSample is set equal to 0.
–     If bIsEscapeSample is equal to 0, the following applies:

           recSamples[ x ][ y ] = CurrentPaletteEntries[ cIdx ][ PaletteIndexMap[ xCb + xL ][ yCb + yL ] ]
           (8-71)

–     Otherwise, if cu_transquant_bypass_flag is equal to 1, the following applies:

           recSamples[ x ][ y ] = PaletteEscapeVal[ cIdx ][ xCb + xL ][ yCb + yL ]                               (8-72)

–     Otherwise (bIsEscapeSample is equal to 1 and cu_transquant_bypass_flag is equal to 0), the following ordered steps
      apply:
      1. The derivation process for quantization parameters as specified in clause 8.6.1 is invoked with the location
          ( xCb, yCb ) specifying the top-left sample of the current block relative to the top-left sample of the current
          picture.
      2. The quantization parameter qP is derived as follows:
         – If cIdx is equal to 0,

                      qP = Max( 0, Qp′Y )                                                                        (8-73)

         – Otherwise, if cIdx is equal to 1,

                      qP = Max( 0, Qp′Cb )                                                                       (8-74)

         – Otherwise (cIdx is equal to 2),

                      qP = Max( 0, Qp′Cr )                                                                       (8-75)

      3. The variable bitDepth is derived as follows:

                 bitDepth = ( cIdx = = 0 ) ? BitDepthY : BitDepthC                                               (8-76)

      4. The list levelScale[ ] is specified as levelScale[ k ] = { 40, 45, 51, 57, 64, 72 } with k = 0..5.
      5. The following applies:

                 tmpVal = ( PaletteEscapeVal[ cIdx ][ xCb + xL ][ yCb + yL ] *
                            levelScale[ qP%6 ] ) << ( qP / 6 ) + 32 ) >> 6                                       (8-77)

                 recSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1, tmpVal )                                (8-78)

The variable PredictorPaletteSize and the array PredictorPaletteEntries are derived or modified as follows:
        numComps = ( ChromaArrayType = = 0 ) ? 1 : 3
        for( i = 0; i < CurrentPaletteSize; i++ )
           for( cIdx = 0; cIdx < numComps; cIdx++ )
                newPredictorPaletteEntries[ cIdx ][ i ] = CurrentPaletteEntries[ cIdx ][ i ]
        newPredictorPaletteSize = CurrentPaletteSize
        for( i = 0; i < PredictorPaletteSize && newPredictorPaletteSize < PaletteMaxPredictorSize; i++ )
           if( !PalettePredictorEntryReuseFlags[ i ] ) {
                for( cIdx = 0; cIdx < numComps; cIdx++ )
           (8-79)
                      newPredictorPaletteEntries[ cIdx ][ newPredictorPaletteSize ] =
                         PredictorPaletteEntries[ cIdx ][ i ]
                newPredictorPaletteSize++
           }
        for( cIdx = 0; cIdx < numComps; cIdx++ )


142          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7           Filed 04/07/25         Page 164 of 717 Page ID #:693


             for( i = 0; i < newPredictorPaletteSize; i++ )
                  PredictorPaletteEntries[ cIdx ][ i ] = newPredictorPaletteEntries[ cIdx ][ i ]
           PredictorPaletteSize = newPredictorPaletteSize
It is a requirement of bitstream conformance that the value of PredictorPaletteSize shall be in the range of 0 to
PaletteMaxPredictorSize, inclusive.

8.5           Decoding process for coding units coded in inter prediction mode

8.5.1         General decoding process for coding units coded in inter prediction mode
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a variable log2CbSize specifying the size of the current coding block.
Output of this process is a modified reconstructed picture before deblocking filtering.
The derivation process for quantization parameters as specified in clause 8.6.1 is invoked with the luma location
( xCb, yCb ) as input.
The variable nCbSL is set equal to 1 << log2CbSize. When ChromaArrayType is not equal to 0, the variable nCbSwC is
set equal to ( 1 << log2CbSize ) / SubWidthC and the variable nCbShC is set equal to ( 1 << log2CbSize ) / SubHeightC.
The decoding process for coding units coded in inter prediction mode consists of the following ordered steps:
      1.    The inter prediction process as specified in clause 8.5.2 is invoked with the luma location ( xCb, yCb ) and the
            luma coding block size log2CbSize as inputs, and the outputs are the array predSamplesL and, when
            ChromaArrayType is not equal to 0, the arrays predSamplesCb and predSamplesCr.
      2.    The decoding process for the residual signal of coding units coded in inter prediction mode specified in clause
            8.5.4 is invoked with the luma location ( xCb, yCb ) and the luma coding block size log2CbSize as inputs, and
            the outputs are the array resSamplesL and, when ChromaArrayType is not equal to 0, the arrays resSamplesCb and
            resSamplesCr.
      3.    The reconstructed samples of the current coding unit are derived as follows:
            – The picture construction process prior to in-loop filtering for a colour component as specified in clause 8.6.7
              is invoked with the luma coding block location ( xCb, yCb ), the variable nCurrSw set equal to nCbSL, the
              variable nCurrSh set equal to nCbSL, the variable cIdx set equal to 0, the (nCbSL)x(nCbSL) array predSamples
              set equal to predSamplesL and the (nCbSL)x(nCbSL) array resSamples set equal to resSamplesL as inputs.
            – When ChromaArrayType is not equal to 0, the picture construction process prior to in-loop filtering for a
              colour component as specified in clause 8.6.7 is invoked with the chroma coding block location
              ( xCb / SubWidthC, yCb / SubHeightC ), the variable nCurrSw set equal to nCbSwC, the variable nCurrSh set
              equal to nCbShC, the variable cIdx set equal to 1, the (nCbSwC)x(nCbShC) array predSamples set equal to
              predSamplesCb and the (nCbSwC)x(nCbShC) array resSamples set equal to resSamplesCb as inputs.
            – When ChromaArrayType is not equal to 0, the picture construction process prior to in-loop filtering for a
              colour component as specified in clause 8.6.7 is invoked with the chroma coding block location
              ( xCb / SubWidthC, yCb / SubHeightC ), the variable nCurrSw set equal to nCbSwC, the variable nCurrSh set
              equal to nCbShC, the variable cIdx set equal to 2, the (nCbSwC)x(nCbShC) array predSamples set equal to
              predSamplesCr and the (nCbSwC)x(nCbShC) array resSamples set equal to resSamplesCr as inputs.

8.5.2         Inter prediction process
This process is invoked when decoding coding unit whose CuPredMode[ xCb ][ yCb ] is not equal to MODE_INTRA.
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a variable log2CbSize specifying the size of the current luma coding block.
Outputs of this process are:
– an (nCbSL)x(nCbSL) array predSamplesL of luma prediction samples, where nCbSL is derived as specified below,



                                                                                Rec. ITU-T H.265 v8 (08/2021)           143
Case 2:25-cv-03053                Document 1-7           Filed 04/07/25          Page 165 of 717 Page ID #:694


– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCb of chroma prediction samples
  for the component Cb, where nCbSwC and nCbShC are derived as specified below,
– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCr of chroma prediction samples
  for the component Cr, where nCbSwC and nCbShC are derived as specified below.
The variable nCbSL is set equal to 1 << log2CbSize. When ChromaArrayType is not equal to 0, the variable nCbSwC is
set equal to nCbSL / SubWidthC and the variable nCbShC is set equal to nCbSL / SubHeightC.
The variable nCbS1L is set equal to nCbSL >> 1.
Depending on the value of PartMode, the following applies:
– If PartMode is equal to PART_2Nx2N, the decoding process for prediction units in inter prediction mode as specified
  in clause 8.5.3 is invoked with the luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the
  size of the luma coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL, the height of
  the luma prediction block nPbH set equal to nCbSL and a partition index partIdx set equal to 0 as inputs, and the outputs
  are an (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC)
  arrays predSamplesCb and predSamplesCr.
– Otherwise, if PartMode is equal to PART_2NxN, the following ordered steps apply:
      1.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
           luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the size of the luma coding block
           nCbSL, the width of the luma prediction block nPbW set equal to nCbSL, the height of the luma prediction block
           nPbH set equal to nCbSL >> 1 and a partition index partIdx set equal to 0 as inputs, and the outputs are an
           (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC)
           arrays predSamplesCb and predSamplesCr.
      2.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
           luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, nCbSL >> 1 ), the size of the luma
           coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL, the height of the luma
           prediction block nPbH set equal to nCbSL >> 1 and a partition index partIdx set equal to 1 as inputs, and the
           outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0,
           the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
– Otherwise, if PartMode is equal to PART_Nx2N, the following ordered steps apply:
      1.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
           luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the size of the luma coding block
           nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 1, the height of the luma prediction
           block nPbH set equal to nCbSL and a partition index partIdx set equal to 0 as inputs, and the outputs are an
           (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC)
           arrays predSamplesCb and predSamplesCr.
      2.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
           luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( nCbSL >> 1, 0 ), the size of the luma
           coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 1, the height of the
           luma prediction block nPbH set equal to nCbSL and a partition index partIdx set equal to 1 as inputs, and the
           outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0,
           the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
– Otherwise, if PartMode is equal to PART_2NxnU, the following ordered steps apply:
   1.      The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
           luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the size of the luma coding block
           nCbSL, the width of the luma prediction block nPbW set equal to nCbSL, the height of the luma prediction block
           nPbH set equal to nCbSL >> 2 and a partition index partIdx set equal to 0 as inputs, and the outputs are an
           (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC)
           arrays predSamplesCb and predSamplesCr.
   2.      The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
           luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, nCbSL >> 2 ), the size of the luma
           coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL, the height of the luma
           prediction block nPbH set equal to ( nCbSL >> 1 ) + ( nCbSL >> 2 ) and a partition index partIdx set equal to 1
           as inputs, and the outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType
           is not equal to 0, the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
– Otherwise, if PartMode is equal to PART_2NxnD, the following ordered steps apply:



144          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 166 of 717 Page ID #:695


   1.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the size of the luma coding block
        nCbSL, the width of the luma prediction block nPbW set equal to nCbSL, the height of the luma prediction block
        nPbH set equal to ( nCbSL >> 1 ) + ( nCbSL >> 2 ) and a partition index partIdx set equal to 0 as inputs, and the
        outputs are an (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two
        (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
   2.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, ( nCbSL >> 1 ) + ( nCbSL >> 2 ) ),
        the size of the luma coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL, the
        height of the luma prediction block nPbH set equal to nCbSL >> 2 and a partition index partIdx set equal to 1 as
        inputs, and the outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is
        not equal to 0, the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
– Otherwise, if PartMode is equal to PART_nLx2N, the following ordered steps apply:
   1.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the size of the luma coding block
        nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 2, the height of the luma prediction
        block nPbH set equal to nCbSL and a partition index partIdx set equal to 0 as inputs, and the outputs are an
        (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC)
        arrays predSamplesCb and predSamplesCr.
   2.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( nCbSL >> 2, 0 ), the size of the luma
        coding block nCbSL, the width of the luma prediction block nPbW set equal to ( nCbSL >> 1 ) + ( nCbSL >> 2 ),
        the height of the luma prediction block nPbH set equal to nCbSL and a partition index partIdx set equal to 1 as
        inputs, and the outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is
        not equal to 0, the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
– Otherwise, if PartMode is equal to PART_nRx2N, the following ordered steps apply:
   1.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the size of the luma coding block
        nCbSL, the width of the luma prediction block nPbW set equal to ( nCbSL >> 1 ) + ( nCbSL >> 2 ), the height
        of the luma prediction block nPbH set equal to nCbSL and a partition index partIdx set equal to 0 as inputs, and
        the outputs are an (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two
        (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
   2.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( ( nCbSL >> 1 ) + ( nCbSL >> 2 ), 0 ),
        the size of the luma coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 2,
        the height of the luma prediction block nPbH set equal to nCbSL and a partition index partIdx set equal to 1 as
        inputs, and the outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is
        not equal to 0, the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
– Otherwise (PartMode is equal to PART_NxN), the following ordered steps apply:
   1.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, 0 ), the size of the luma coding block
        nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 1, the height of the luma prediction
        block nPbH set equal to nCbSL >> 1 and a partition index partIdx set equal to 0 as inputs, and the outputs are an
        (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC)
        arrays predSamplesCb and predSamplesCr.
   2.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( nCbSL >> 1, 0 ), the size of the luma
        coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 1, the height of the
        luma prediction block nPbH set equal to nCbSL >> 1 and a partition index partIdx set equal to 1 as inputs, and
        the outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to
        0, the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.
   3.   The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
        luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( 0, nCbSL >> 1 ), the size of the luma
        coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 1, the height of the
        luma prediction block nPbH set equal to nCbSL >> 1 and a partition index partIdx set equal to 2 as inputs, and
        the outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal to
        0, the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.


                                                                             Rec. ITU-T H.265 v8 (08/2021)            145
Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25          Page 167 of 717 Page ID #:696


      4.    The decoding process for prediction units in inter prediction mode as specified in clause 8.5.3 is invoked with the
            luma location ( xCb, yCb ), the luma location ( xBl, yBl ) set equal to ( nCbSL >> 1, nCbSL >> 1 ), the size of
            the luma coding block nCbSL, the width of the luma prediction block nPbW set equal to nCbSL >> 1, the height
            of the luma prediction block nPbH set equal to nCbSL >> 1 and a partition index partIdx set equal to 3 as inputs,
            and the outputs are the modified (nCbSL)x(nCbSL) array predSamplesL and, when ChromaArrayType is not equal
            to 0, the two modified (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr.

8.5.3         Decoding process for prediction units in inter prediction mode

8.5.3.1       General
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a luma location ( xBl, yBl ) specifying the top-left sample of the current luma prediction block relative to the top-left
  sample of the current luma coding block,
– a variable nCbS specifying the size of the current luma coding block,
– a variable nPbW specifying the width of the current luma prediction block,
– a variable nPbH specifying the height of the current luma prediction block,
– a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are:
– an (nCbSL)x(nCbSL) array predSamplesL of luma prediction samples, where nCbSL is derived as specified below,
– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCb of chroma prediction samples
  for the component Cb, where nCbSwC and nCbShC are derived as specified below,
– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCr of chroma prediction samples
  for the component Cr, where nCbSwC and nCbShC are derived as specified below.
The variable nCbSL is set equal to nCbS. When ChromaArrayType is not equal to 0, the variable nCbSwC is set equal to
nCbS / SubWidthC and the variable nCbShC is set equal to nCbS / SubHeightC.
The decoding process for prediction units in inter prediction mode consists of the following ordered steps:
      1.    The derivation process for motion vector components and reference indices as specified in clause 8.5.3.2 is
            invoked with the luma coding block location ( xCb, yCb ), the luma prediction block location ( xBl, yBl ), the
            luma coding block size block nCbS, the luma prediction block width nPbW, the luma prediction block height
            nPbH and the prediction unit index partIdx as inputs, and the luma motion vectors mvL0 and mvL1, when
            ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1, the reference indices
            refIdxL0 and refIdxL1 and the prediction list utilization flags predFlagL0 and predFlagL1 as outputs.
      2.    The decoding process for inter sample prediction as specified in clause 8.5.3.3 is invoked with the luma coding
            block location ( xCb, yCb ), the luma prediction block location ( xBl, yBl ), the luma coding block size block
            nCbS, the luma prediction block width nPbW, the luma prediction block height nPbH, the luma motion vectors
            mvL0 and mvL1, when ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1, the
            reference indices refIdxL0 and refIdxL1, and the prediction list utilization flags predFlagL0 and predFlagL1 as
            inputs, and the inter prediction samples (predSamples) that are an (nCbSL)x(nCbSL) array predSamplesL of
            prediction luma samples and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC) arrays
            predSamplesCr and predSamplesCr of prediction chroma samples, one for each of the chroma components Cb and
            Cr, as outputs.
For use in derivation processes of variables invoked later in the decoding process, the following assignments are made for
x = xBl..xBl + nPbW − 1 and y = yBl..yBl + nPbH − 1:

           MvL0[ xCb + x ][ yCb + y ] = mvL0                                                                           (8-80)

           MvL1[ xCb + x ][ yCb + y ] = mvL1                                                                           (8-81)

           RefIdxL0[ xCb + x ][ yCb + y ] = refIdxL0                                                                   (8-82)

           RefIdxL1[ xCb + x ][ yCb + y ] = refIdxL1                                                                   (8-83)


146           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 168 of 717 Page ID #:697


          PredFlagL0[ xCb + x ][ yCb + y ] = predFlagL0                                                                (8-84)

          PredFlagL1[ xCb + x ][ yCb + y ] = predFlagL1                                                                (8-85)

8.5.3.2      Derivation process for motion vector components and reference indices

8.5.3.2.1 General
Inputs to this process are:
–    a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma
     sample of the current picture,
–    a luma location ( xBl, yBl ) of the top-left sample of the current luma prediction block relative to the top-left sample
     of the current luma coding block,
–    a variable nCbS specifying the size of the current luma coding block,
–    two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–    a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are:
–    the luma motion vectors mvL0 and mvL1,
–    when ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1,
–    the reference indices refIdxL0 and refIdxL1,
–    the prediction list utilization flags predFlagL0 and predFlagL1.
Let ( xPb, yPb ) specify the top-left sample location of the current luma prediction block relative to the top-left luma sample
of the current picture where xPb = xCb + xBl and yPb = yCb + yBl.
Let the variable LX be RefPicListX, with X being 0 or 1, of the current picture.
The variables nPbSw, and nPbSh are derived as follows:

nPbSw = nCbS / ( ( PartMode = = PART_2Nx2N | | PartMode = = PART_2NxN ) ? 1 : 2 )                                      (8-86)

nPbSh = nCbS / ( ( PartMode = = PART_2Nx2N | | PartMode = = PART_Nx2N ) ? 1 : 2 )                                      (8-87)

The function LongTermRefPic( aPic, aPb, refIdx, LX ), with X being 0 or 1, is defined as follows:
–    If the picture with index refIdx from reference picture list LX of the slice containing prediction block aPb in the
     picture aPic was marked as "used for long-term reference" at the time when aPic was the current picture,
     LongTermRefPic( aPic, aPb, refIdx, LX ) is equal to 1.
–    Otherwise, LongTermRefPic( aPic, aPb, refIdx, LX ) is equal to 0.
For the derivation of the variables mvL0 and mvL1, refIdxL0 and refIdxL1, as well as predFlagL0 and predFlagL1, the
following applies:
–    If merge_flag[ xPb ][ yPb ] is equal to 1, the derivation process for luma motion vectors for merge mode as specified
     in clause 8.5.3.2.2 is invoked with the luma location ( xCb, yCb ), the luma location ( xPb, yPb ), the variables nCbS,
     nPbW, nPbH and the partition index partIdx as inputs, and the output being the luma motion vectors mvL0, mvL1,
     the reference indices refIdxL0, refIdxL1 and the prediction list utilization flags predFlagL0 and predFlagL1.
–    Otherwise, for X being replaced by either 0 or 1 in the variables predFlagLX, mvLX and refIdxLX, in PRED_LX,
     and in the syntax elements ref_idx_lX and MvdLX, the following ordered steps apply:
            1.   The variables refIdxLX and predFlagLX are derived as follows:
                 -   If inter_pred_idc[ xPb ][ yPb ] is equal to PRED_LX or PRED_BI,

                          refIdxLX = ref_idx_lX[ xPb ][ yPb ]                                                          (8-88)

                          predFlagLX = 1                                                                               (8-89)

                 -   Otherwise, the variables refIdxLX and predFlagLX are specified by:



                                                                                Rec. ITU-T H.265 v8 (08/2021)            147
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 169 of 717 Page ID #:698


                           refIdxLX = −1                                                                                  (8-90)

                           predFlagLX = 0                                                                                 (8-91)

          2.     The variable mvdLX is derived as follows:

                           mvdLX[ 0 ] = MvdLX[ xPb ][ yPb ][ 0 ]                                                          (8-92)

                           mvdLX[ 1 ] = MvdLX[ xPb ][ yPb ][ 1 ]                                                          (8-93)

          3.     When predFlagLX is equal to 1, the derivation process for luma motion vector prediction in clause 8.5.3.2.6
                 is invoked with the luma coding block location ( xCb, yCb ), the coding block size nCbS, the luma
                 prediction block location ( xPb, yPb ), the variables nPbW, nPbH, refIdxLX and the partition index partIdx
                 as inputs, and the output being mvpLX.
          4.     When predFlagLX is equal to 1 and the picture with index refIdx from reference picture list LX of the slice
                 is not the current picture, and use_integer_mv_flag is equal to 0, the luma motion vector mvLX is derived
                 as follows:

                           uLX[ 0 ] = ( mvpLX[ 0 ] + mvdLX[ 0 ] + 216 ) % 216                                             (8-94)

                           mvLX[ 0 ] = ( uLX[ 0 ] >= 215 ) ? ( uLX[ 0 ] − 216 ) : uLX[ 0 ]                                (8-95)

                           uLX[ 1 ] = ( mvpLX[ 1 ] + mvdLX[ 1 ] + 216 ) % 216                                             (8-96)

                           mvLX[ 1 ] = ( uLX[ 1 ] >= 215 ) ? ( uLX[ 1 ] − 216 ) : uLX[ 1 ]                                (8-97)

                   NOTE 1– The resulting values of mvLX[ 0 ] and mvLX[ 1 ] as specified above will always be in the range of −215
                   to 215 − 1, inclusive.

          5.     When predFlagLX is equal to 1 and the reference picture is the current picture, or when predFlagLX is
                 equal to 1 and use_integer_mv_flag is equal to 1, the luma motion vector mvLX is derived as follows:

                           uLX[ 0 ] = ( ( ( ( mvpLX[ 0 ] >> 2 ) + mvdLX[ 0 ] ) << 2 ) + 216 ) % 216                       (8-98)

                           mvLX[ 0 ] = ( uLX[ 0 ] >= 215 ) ? ( uLX[ 0 ] − 216 ) : uLX[ 0 ]                                (8-99)

                           uLX[ 1 ] = ( ( ( ( mvpLX[ 1 ] >> 2 ) + mvdLX[ 1 ] ) << 2 ) + 216 ) % 216                     (8-100)

                           mvLX[ 1 ] = ( uLX[ 1 ] >= 215 ) ? ( uLX[ 1 ] − 216 ) : uLX[ 1 ]                              (8-101)

                   NOTE 2 – The resulting values of mvLX[ 0 ] and mvLX[ 1 ] as specified above will always be in the range of −215
                   to 215 − 1, inclusive.

–     The variable noIntegerMvFlag is derived as follows:

               noIntegerMvFlag = !( ( mvL0 & 0x3 = = 0 ) | | ( mvL1 & 0x3 = = 0 ) )                                     (8-102)

–     The variable identicalMvs is derived as follows:

               identicalMvs = ( mvL0 = = mvL1 ) &&                                                                      (8-103)
                    ( DiffPicOrderCnt( RefPicList0[ refIdxL0 ], RefPicList1[ refIdxL1 ] ) = = 0 )

When all of the following conditions are true, refIdxL1 is set equal to −1 and predFlagL1 is set equal to 0.
–     predFlagL0 is equal to 1.
–     predFlagL1 is equal to 1.
–     nPbSw is equal to 8.
–     nPbSh is equal to 8.
–     TwoVersionsOfCurrDecPicFlag is equal to 1.



148         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25         Page 170 of 717 Page ID #:699


–    noIntegerMvFlag is equal to 1.
–    identicalMvs is equal to 0.
When ChromaArrayType is not equal to 0 and predFlagLX, with X being 0 or 1, is equal to 1, the derivation process for
chroma motion vectors in clause 8.5.3.2.10 is invoked with mvLX as input, and the output being mvCLX.
The variables offsetX and offsetY are derived as follows:

             offsetX = ( ChromaArrayType = = 0 ) ? 0 : ( mvCLX[ 0 ] & 0x7 ? 2 : 0 )                               (8-104)

             offsetY = ( ChromaArrayType = = 0 ) ? 0 : ( mvCLX[ 1 ] & 0x7 ? 2 : 0 )                               (8-105)

It is a requirement of bitstream conformance that when the reference picture is the current picture, the luma motion vector
mvLX shall obey the following constraints:
–    When the derivation process for z-scan order block availability as specified in clause 6.4.1 is invoked with
     ( xCurr, yCurr ) set equal to ( xCb, yCb ) and the neighbouring luma location ( xNbY, yNbY ) set equal to
     ( xPb + ( mvLX[ 0 ] >> 2 ) − offsetX, yPb + ( mvLX[ 1 ] >> 2 ) − offsetY ) as inputs, the output shall be equal to
     TRUE.
–    When the derivation process for z-scan order block availability as specified in clause 6.4.1 is invoked with
     ( xCurr, yCurr ) set equal to ( xCb, yCb ) and the neighbouring luma location ( xNbY, yNbY ) set equal to
     ( xPb + ( mvLX[ 0 ] >> 2 ) + nPbW − 1 + offsetX, yPb + ( mvLX[ 1 ] >> 2 ) + nPbH − 1 + offsetY ) as inputs, the
     output shall be equal to TRUE.
–    One or both of the following conditions shall be true:
     – The value of ( mvLX[ 0 ] >> 2 ) + nPbW + xB1 + offsetX is less than or equal to 0.
     – The value of ( mvLX[ 1 ] >> 2 ) + nPbH + yB1 + offsetY is less than or equal to 0.
–    The following condition shall be true:

             ( xPb + ( mvLX[ 0 ] >> 2 ) + nPbSw − 1 + offsetX ) / CtbSizeY − xCb / CtbSizeY <=
                   yCb/CtbSizeY − ( yPb + ( mvLX[ 1 ] >> 2 ) + nPbSh − 1 + offsetY ) / CtbSizeY                   (8-106)

8.5.3.2.2 Derivation process for luma motion vectors for merge mode
This process is only invoked when merge_flag[ xPb ][ yPb ] is equal to 1, where ( xPb, yPb ) specify the top-left sample
of the current luma prediction block relative to the top-left luma sample of the current picture.
Inputs to this process are:
–    a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma
     sample of the current picture,
–    a luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the top-left luma
     sample of the current picture,
–    a variable nCbS specifying the size of the current luma coding block,
–    two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–    a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are:
–    the luma motion vectors mvL0 and mvL1,
–    the reference indices refIdxL0 and refIdxL1,
–    the prediction list utilization flags predFlagL0 and predFlagL1.
The location ( xOrigP, yOrigP ) and the variables nOrigPbW and nOrigPbH are derived to store the values of ( xPb, yPb ),
nPbW and nPbH as follows:

             ( xOrigP, yOrigP ) is set equal to ( xPb, yPb )
               (8-107)

             nOrigPbW = nPbW                                                                                      (8-108)


                                                                               Rec. ITU-T H.265 v8 (08/2021)          149
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 171 of 717 Page ID #:700


              nOrigPbH = nPbH                                                                                             (8-109)

When Log2ParMrgLevel is greater than 2 and nCbS is equal to 8, ( xPb, yPb ), nPbW, nPbH and partIdx are modified as
follows:

              ( xPb, yPb ) = ( xCb, yCb )                                                                                 (8-110)

              nPbW = nCbS                                                                                                 (8-111)

              nPbH = nCbS                                                                                                 (8-112)

              partIdx = 0                                                                                                 (8-113)

   NOTE – When Log2ParMrgLevel is greater than 2 and nCbS is equal to 8, all the prediction units of the current coding unit share a
   single merge candidate list, which is identical to the merge candidate list of the 2Nx2N prediction unit.

The motion vectors mvL0 and mvL1, the reference indices refIdxL0 and refIdxL1 and the prediction utilization flags
predFlagL0 and predFlagL1 are derived by the following ordered steps:
      1.   The derivation process for merging candidates from neighbouring prediction unit partitions in clause 8.5.3.2.3 is
           invoked with the luma coding block location ( xCb, yCb ), the coding block size nCbS, the luma prediction block
           location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction block height nPbH and the
           partition index partIdx as inputs, and the output being the availability flags availableFlagA 0, availableFlagA1,
           availableFlagB0, availableFlagB1 and availableFlagB2, the reference indices refIdxLXA0, refIdxLXA1,
           refIdxLXB0, refIdxLXB1 and refIdxLXB2, the prediction list utilization flags predFlagLXA0, predFlagLXA1,
           predFlagLXB0, predFlagLXB1 and predFlagLXB2, and the motion vectors mvLXA0, mvLXA1, mvLXB0,
           mvLXB1 and mvLXB2, with X being 0 or 1.
      2.   The reference indices for the temporal merging candidate, refIdxLXCol, with X being 0 or 1, are set equal to 0.
      3.   The derivation process for temporal luma motion vector prediction in clause 8.5.3.2.8 is invoked with the luma
           location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction block height nPbH and the
           variable refIdxL0Col as inputs, and the output being the availability flag availableFlagL0Col and the temporal
           motion vector mvL0Col.The variables availableFlagCol, predFlagL0Col and predFlagL1Col are derived as
           follows:

              availableFlagCol = availableFlagL0Col                                                                       (8-114)

              predFlagL0Col = availableFlagL0Col                                                                          (8-115)

              predFlagL1Col = 0                                                                                           (8-116)

      4.   When slice_type is equal to B, the derivation process for temporal luma motion vector prediction in
           clause 8.5.3.2.8 is invoked with the luma location ( xPb, yPb ), the luma prediction block width nPbW, the luma
           prediction block height nPbH and the variable refIdxL1Col as inputs, and the output being the availability flag
           availableFlagL1Col and the temporal motion vector mvL1Col. The variables availableFlagCol and
           predFlagL1Col are derived as follows:

              availableFlagCol = availableFlagL0Col | | availableFlagL1Col                                                (8-117)

              predFlagL1Col = availableFlagL1Col                                                                          (8-118)

      5.   The merging candidate list, mergeCandList, is constructed as follows:

              i=0
              if( availableFlagA1 )
                  mergeCandList[ i++ ] = A1
              if( availableFlagB1 )
                  mergeCandList[ i++ ] = B1
              if( availableFlagB0 )
                  mergeCandList[ i++ ] = B0                                                                               (8-119)
              if( availableFlagA0 )
                  mergeCandList[ i++ ] = A0


150          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 172 of 717 Page ID #:701


             if( availableFlagB2 )
                 mergeCandList[ i++ ] = B2
             if( availableFlagCol )
                 mergeCandList[ i++ ] = Col

    6.   The variable numCurrMergeCand and numOrigMergeCand are set equal to the number of merging candidates in
         the mergeCandList.
    7.   When slice_type is equal to B, the derivation process for combined bi-predictive merging candidates specified in
         clause 8.5.3.2.4 is invoked with mergeCandList, the reference indices refIdxL0N and refIdxL1N, the prediction
         list utilization flags predFlagL0N and predFlagL1N, the motion vectors mvL0N and mvL1N of every candidate
         N in mergeCandList, numCurrMergeCand and numOrigMergeCand as inputs, and the output is assigned to
         mergeCandList, numCurrMergeCand, the reference indices refIdxL0combCandk and refIdxL1combCandk, the
         prediction list utilization flags predFlagL0combCandk and predFlagL1combCandk and the motion vectors
         mvL0combCandk and mvL1combCandk of every new candidate combCandk being added into mergeCandList.
         The       number       of   candidates   being    added,     numCombMergeCand,         is    set    equal     to
         ( numCurrMergeCand − numOrigMergeCand ). When numCombMergeCand is greater than 0, k ranges from 0
         to numCombMergeCand − 1, inclusive.
    8.   The derivation process for zero motion vector merging candidates specified in clause 8.5.3.2.5 is invoked with
         the mergeCandList, the reference indices refIdxL0N and refIdxL1N, the prediction list utilization flags
         predFlagL0N and predFlagL1N, the motion vectors mvL0N and mvL1N of every candidate N in mergeCandList
         and numCurrMergeCand as inputs, and the output is assigned to mergeCandList, numCurrMergeCand, the
         reference indices refIdxL0zeroCandm and refIdxL1zeroCandm, the prediction list utilization flags
         predFlagL0zeroCandm and predFlagL1zeroCandm and the motion vectors mvL0zeroCandm and mvL1zeroCandm
         of every new candidate zeroCandm being added into mergeCandList. The number of candidates being added,
         numZeroMergeCand, is set equal to ( numCurrMergeCand − numOrigMergeCand − numCombMergeCand ).
         When numZeroMergeCand is greater than 0, m ranges from 0 to numZeroMergeCand − 1, inclusive.
    9.   The following assignments are made with N being the candidate at position merge_idx[ xOrigP ][ yOrigP ] in the
         merging candidate list mergeCandList ( N = mergeCandList[ merge_idx[ xOrigP ][ yOrigP ] ] ) and X being
         replaced by 0 or 1:

                     refIdxLX = refIdxLXN                                                                            (8-120)

                     predFlagLX = predFlagLXN                                                                        (8-121)

         –    If use_integer_mv_flag is equal to 0 and the reference picture is not the current picture, the following applies:

                     mvLX[ 0 ] = mvLXN[ 0 ]                                                                          (8-122)

                     mvLX[ 1 ] = mvLXN[ 1 ]                                                                          (8-123)

         –    Otherwise (use_integer_mv_flag is equal to 1 or the reference picture is the current picture), the following
              applies:

                     mvLX[ 0 ] = ( mvLXN[ 0 ] >> 2 ) << 2                                                            (8-124)

                     mvLX[ 1 ] = ( mvLXN[ 1 ] >> 2 ) << 2                                                            (8-125)

    10. When predFlagL0 is equal to 1 and predFlagL1 is equal to 1 and ( nOrigPbW + nOrigPbH ) is equal to 12, the
        following applies:

             refIdxL1 = −1                                                                                           (8-126)

             predFlagL1 = 0                                                                                          (8-127)

8.5.3.2.3 Derivation process for spatial merging candidates
Inputs to this process are:
–    a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma
     sample of the current picture,
–    a variable nCbS specifying the size of the current luma coding block,


                                                                                Rec. ITU-T H.265 v8 (08/2021)            151
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 173 of 717 Page ID #:702


–     a luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block relative to the top-left
      luma sample of the current picture,
–     two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–     a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are as follows, with X being 0 or 1:
–     the availability flags availableFlagA0, availableFlagA1, availableFlagB0, availableFlagB1 and availableFlagB2 of the
      neighbouring prediction units,
–     the reference indices refIdxLXA0, refIdxLXA1, refIdxLXB0, refIdxLXB1 and refIdxLXB2 of the neighbouring
      prediction units,
–     the prediction list utilization flags predFlagLXA0, predFlagLXA1, predFlagLXB0, predFlagLXB1 and predFlagLXB2
      of the neighbouring prediction units,
–     the motion vectors mvLXA0, mvLXA1, mvLXB0, mvLXB1 and mvLXB2 of the neighbouring prediction units.
For the derivation of availableFlagA1, refIdxLXA1, predFlagLXA1 and mvLXA1 the following applies:
–     The luma location ( xNbA1, yNbA1 ) inside the neighbouring luma coding block is set equal to
      ( xPb − 1, yPb + nPbH − 1 ).
–     The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the luma location
      ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location ( xPb, yPb ), the luma
      prediction block width nPbW, the luma prediction block height nPbH, the luma location ( xNbA1, yNbA1 ) and the
      partition index partIdx as inputs, and the output is assigned to the prediction block availability flag availableA1.
–     When one or more of the following conditions are true, availableA1 is set equal to FALSE:
      –    xPb >> Log2ParMrgLevel is equal to xNbA1 >> Log2ParMrgLevel and yPb >> Log2ParMrgLevel is equal
           to yNbA1 >> Log2ParMrgLevel.
      –    PartMode of the current prediction unit is equal to PART_Nx2N, PART_nLx2N or PART_nRx2N and partIdx
           is equal to 1.
–     The variables availableFlagA1, refIdxLXA1, predFlagLXA1 and mvLXA1 are derived as follows:
      –    If availableA1 is equal to FALSE, availableFlagA1 is set equal to 0, both components of mvLXA1 are set equal
           to 0, refIdxLXA1 is set equal to −1 and predFlagLXA1 is set equal to 0, with X being 0 or 1.
      –    Otherwise, availableFlagA1 is set equal to 1 and the following assignments are made:

            mvLXA1 = MvLX[ xNbA1 ][ yNbA1 ]                                                                           (8-128)

            refIdxLXA1 = RefIdxLX[ xNbA1 ][ yNbA1 ]                                                                   (8-129)

            predFlagLXA1 = PredFlagLX[ xNbA1 ][ yNbA1 ]                                                               (8-130)

For the derivation of availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 the following applies:
–     The luma location ( xNbB1, yNbB1 ) inside the neighbouring luma coding block is set equal to
      ( xPb + nPbW − 1, yPb − 1 ).
–     The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the luma location
      ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location ( xPb, yPb ), the luma
      prediction block width nPbW, the luma prediction block height nPbH, the luma location ( xNbB1, yNbB1 ) and the
      partition index partIdx as inputs, and the output is assigned to the prediction block availability flag availableB1.
–     When one or more of the following conditions are true, availableB1 is set equal to FALSE:
      –    xPb >> Log2ParMrgLevel is equal to xNbB1 >> Log2ParMrgLevel and yPb >> Log2ParMrgLevel is equal
           to yNbB1 >> Log2ParMrgLevel.
      –    PartMode of the current prediction unit is equal to PART_2NxN, PART_2NxnU or PART_2NxnD and partIdx
           is equal to 1.
–     The variables availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 are derived as follows:




152         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 174 of 717 Page ID #:703


     –   If one or more of the following conditions are true, availableFlagB1 is set equal to 0, both components of mvLXB1
         are set equal to 0, refIdxLXB1 is set equal to −1 and predFlagLXB1 is set equal to 0, with X being 0 or 1:
         – availableB1 is equal to FALSE.
         – availableA1 is equal to TRUE and the prediction units covering the luma locations ( xNbA1, yNbA1 ) and
           ( xNbB1, yNbB1 ) have the same motion vectors and the same reference indices.
     –   Otherwise, availableFlagB1 is set equal to 1 and the following assignments are made:

           mvLXB1 = MvLX[ xNbB1 ][ yNbB1 ]                                                                          (8-131)

           refIdxLXB1 = RefIdxLX[ xNbB1 ][ yNbB1 ]                                                                  (8-132)

           predFlagLXB1 = PredFlagLX[ xNbB1 ][ yNbB1 ]
             (8-133)

For the derivation of availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 the following applies:
–    The luma location ( xNbB0, yNbB0 ) inside the neighbouring luma coding block is set equal to
     ( xPb + nPbW, yPb − 1 ).
–    The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the luma location
     ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location ( xPb, yPb ), the luma
     prediction block width nPbW, the luma prediction block height nPbH, the luma location ( xNbB0, yNbB0 ) and the
     partition index partIdx as inputs, and the output is assigned to the prediction block availability flag availableB0.
–    When xPb >> Log2ParMrgLevel is equal to xNbB0 >> Log2ParMrgLevel and yPb >> Log2ParMrgLevel is equal
     to yNbB0 >> Log2ParMrgLevel, availableB0 is set equal to FALSE.
–    The variables availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 are derived as follows:
     –   If one or more of the following conditions are true, availableFlagB0 is set equal to 0, both components of mvLXB0
         are set equal to 0, refIdxLXB0 is set equal to −1 and predFlagLXB0 is set equal to 0, with X being 0 or 1:
         – availableB0 is equal to FALSE.
         – availableB1 is equal to TRUE and the prediction units covering the luma locations ( xNbB1, yNbB1 ) and
           ( xNbB0, yNbB0 ) have the same motion vectors and the same reference indices.
     –   Otherwise, availableFlagB0 is set equal to 1 and the following assignments are made:

           mvLXB0 = MvLX[ xNbB0 ][ yNbB0 ]                                                                          (8-134)

           refIdxLXB0 = RefIdxLX[ xNbB0 ][ yNbB0 ]                                                                  (8-135)

           predFlagLXB0 = PredFlagLX[ xNbB0 ][ yNbB0 ]
             (8-136)

For the derivation of availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 the following applies:
–    The luma location ( xNbA0, yNbA0 ) inside the neighbouring luma coding block is set equal to
     ( xPb − 1, yPb + nPbH ).
–    The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the luma location
     ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location ( xPb, yPb ), the luma
     prediction block width nPbW, the luma prediction block height nPbH, the luma location ( xNbA0, yNbA0 ) and the
     partition index partIdx as inputs, and the output is assigned to the prediction block availability flag availableA0.
–    When xPb >> Log2ParMrgLevel is equal to xNbA0 >> Log2ParMrgLevel and yPb >> Log2ParMrgLevel is
     equal to yA0 >> Log2ParMrgLevel, availableA0 is set equal to FALSE.
–    The variables availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 are derived as follows:
     –   If one or more of the following conditions are true, availableFlagA0 is set equal to 0, both components of mvLXA0
         are set equal to 0, refIdxLXA0 is set equal to −1 and predFlagLXA0 is set equal to 0, with X being 0 or 1:
         – availableA0 is equal to FALSE.




                                                                               Rec. ITU-T H.265 v8 (08/2021)            153
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 175 of 717 Page ID #:704


          – availableA1 is equal to TRUE and the prediction units covering the luma locations ( xNbA1, yNbA1 ) and
            ( xNbA0, yNbA0 ) have the same motion vectors and the same reference indices.
      –   Otherwise, availableFlagA0 is set equal to 1 and the following assignments are made:

            mvLXA0 = MvLX[ xNbA0 ][ yNbA0 ]                                                                          (8-137)

            refIdxLXA0 = RefIdxLX[ xNbA0 ][ yNbA0 ]                                                                  (8-138)

            predFlagLXA0 = PredFlagLX[ xNbA0 ][ yNbA0 ]                                                              (8-139)

For the derivation of availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 the following applies:
–     The luma location ( xNbB2, yNbB2 ) inside the neighbouring luma coding block is set equal to ( xPb − 1, yPb − 1 ).
–     The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the luma location
      ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location ( xPb, yPb ), the luma
      prediction block width nPbW, the luma prediction block height nPbH, the luma location ( xNbB2, yNbB2 ) and the
      partition index partIdx as inputs, and the output is assigned to the prediction block availability flag availableB2.
–     When xPb >> Log2ParMrgLevel is equal to xNbB2 >> Log2ParMrgLevel and yPb >> Log2ParMrgLevel is equal
      to yNbB2 >> Log2ParMrgLevel, availableB2 is set equal to FALSE.
–     The variables availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 are derived as follows:
      –   If one or more of the following conditions are true, availableFlagB2 is set equal to 0, both components of mvLXB2
          are set equal to 0, refIdxLXB2 is set equal to −1 and predFlagLXB2 is set equal to 0, with X being 0 or 1:
          – availableB2 is equal to FALSE.
          – availableA1 is equal to TRUE and prediction units covering the luma locations ( xNbA1, yNbA1 ) and
            ( xNbB2, yNbB2 ) have the same motion vectors and the same reference indices.
          – availableB1 is equal to TRUE and the prediction units covering the luma locations ( xNbB1, yNbB1 ) and
            ( xNbB2, yNbB2 ) have the same motion vectors and the same reference indices.
          – availableFlagA0 + availableFlagA1 + availableFlagB0 + availableFlagB1 is equal to 4.
      –   Otherwise, availableFlagB2 is set equal to 1 and the following assignments are made:

            mvLXB2 = MvLX[ xNbB2 ][ yNbB2 ]                                                                          (8-140)

            refIdxLXB2 = RefIdxLX[ xNbB2 ][ yNbB2 ]                                                                  (8-141)

            predFlagLXB2 = PredFlagLX[ xNbB2 ][ yNbB2 ]
              (8-142)

8.5.3.2.4 Derivation process for combined bi-predictive merging candidates
Inputs to this process are:
–     a merging candidate list mergeCandList,
–     the reference indices refIdxL0N and refIdxL1N of every candidate N in mergeCandList,
–     the prediction list utilization flags predFlagL0N and predFlagL1N of every candidate N in mergeCandList,
–     the motion vectors mvL0N and mvL1N of every candidate N in mergeCandList,
–     the number of elements numCurrMergeCand within mergeCandList,
–     the number of elements numOrigMergeCand within the mergeCandList after the spatial and temporal merge candidate
      derivation process.
Outputs of this process are:
–     the merging candidate list mergeCandList,
–     the number of elements numCurrMergeCand within mergeCandList,
–     the reference indices refIdxL0combCandk and refIdxL1combCandk of every new candidate combCandk added into
      mergeCandList during the invocation of this process,


154         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7              Filed 04/07/25    Page 176 of 717 Page ID #:705


–    the prediction list utilization flags predFlagL0combCandk and predFlagL1combCandk of every new candidate
     combCandk added into mergeCandList during the invocation of this process,
–    the motion vectors mvL0combCandk and mvL1combCandk of every new candidate combCandk added into
     mergeCandList during the invocation of this process.
When numOrigMergeCand is greater than 1 and less than MaxNumMergeCand, the variable numInputMergeCand is set
equal to numCurrMergeCand, the variable combIdx is set equal to 0, the variable combStop is set equal to FALSE and the
following ordered steps are repeated until combStop is equal to TRUE:
    1.   The variables l0CandIdx and l1CandIdx are derived using combIdx as specified in Table 8-7.
    2.   The following assignments are made, with l0Cand being the candidate at position l0CandIdx and l1Cand being
         the candidate at position l1CandIdx in the merging candidate list mergeCandList:
         –   l0Cand = mergeCandList[ l0CandIdx ]
         –   l1Cand = mergeCandList[ l1CandIdx ]
    3.   When all of the following conditions are true:
         –   predFlagL0l0Cand = = 1
         –   predFlagL1l1Cand = = 1
         –   ( DiffPicOrderCnt( RefPicList0[ refIdxL0l0Cand ], RefPicList1[ refIdxL1l1Cand ] )        !=        0)     ||
             ( mvL0l0Cand != mvL1l1Cand )
         the candidate combCandk with k equal to ( numCurrMergeCand − numInputMergeCand ) is added at the end of
         mergeCandList, i.e., mergeCandList[ numCurrMergeCand ] is set equal to combCandk, and the reference indices,
         the prediction list utilization flags and the motion vectors of combCandk are derived as follows and
         numCurrMergeCand is incremented by 1:

                 refIdxL0combCandk = refIdxL0l0Cand                                                              (8-143)

                 refIdxL1combCandk = refIdxL1l1Cand                                                              (8-144)

                 predFlagL0combCandk = 1                                                                         (8-145)

                 predFlagL1combCandk = 1                                                                         (8-146)

                 mvL0combCandk[ 0 ] = mvL0l0Cand[ 0 ]                                                            (8-147)

                 mvL0combCandk[ 1 ] = mvL0l0Cand[ 1 ]                                                            (8-148)

                 mvL1combCandk[ 0 ] = mvL1l1Cand[ 0 ]                                                            (8-149)

                 mvL1combCandk[ 1 ] = mvL1l1Cand[ 1 ]                                                            (8-150)

                 numCurrMergeCand = numCurrMergeCand + 1                                                         (8-151)

    4.   The variable combIdx is incremented by 1.
    5.   When combIdx is equal to ( numOrigMergeCand * ( numOrigMergeCand − 1 ) ) or numCurrMergeCand is equal
         to MaxNumMergeCand, combStop is set equal to TRUE.

                                  Table 8-7 – Specification of l0CandIdx and l1CandIdx

              combIdx         0       1      2       3      4    5     6     7      8      9     10        11
             l0CandIdx        0       1      0       2      1    2     0     3      1      3      2        3
             l1CandIdx        1       0      2       0      2    1     3     0      3      1      3        2




                                                                           Rec. ITU-T H.265 v8 (08/2021)             155
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 177 of 717 Page ID #:706


8.5.3.2.5 Derivation process for zero motion vector merging candidates
Inputs to this process are:
–      a merging candidate list mergeCandList,
–      the reference indices refIdxL0N and refIdxL1N of every candidate N in mergeCandList,
–      the prediction list utilization flags predFlagL0N and predFlagL1N of every candidate N in mergeCandList,
–      the motion vectors mvL0N and mvL1N of every candidate N in mergeCandList,
–      the number of elements numCurrMergeCand within mergeCandList.
Outputs of this process are:
–      the merging candidate list mergeCandList,
–      the number of elements numCurrMergeCand within mergeCandList,
–      the reference indices refIdxL0zeroCandm and refIdxL1zeroCandm of every new candidate zeroCandm added into
       mergeCandList during the invocation of this process,
–      the prediction list utilization flags predFlagL0zeroCandm and predFlagL1zeroCandm of every new candidate
       zeroCandm added into mergeCandList during the invocation of this process,
–      the motion vectors mvL0zeroCandm and mvL1zeroCandm of every new candidate zeroCandm added into
       mergeCandList during the invocation of this process.
The variable numRefIdx is derived as follows:
–      If slice_type is equal to P, numRefIdx is set equal to num_ref_idx_l0_active_minus1 + 1.
–      Otherwise (slice_type is equal to B), numRefIdx is set equal to Min( num_ref_idx_l0_active_minus1 + 1,
       num_ref_idx_l1_active_minus1 + 1 ).
When numCurrMergeCand is less than MaxNumMergeCand, the variable numInputMergeCand is set equal to
numCurrMergeCand, the variable zeroIdx is set equal to 0 and the following ordered steps are repeated until
numCurrMergeCand is equal to MaxNumMergeCand:
      1.   For the derivation of the reference indices, the prediction list utilization flags and the motion vectors of the zero
           motion vector merging candidate, the following applies:
           –    If     slice_type      is   equal    to    P,    the   candidate     zeroCandm     with   m    equal   to
                ( numCurrMergeCand − numInputMergeCand ) is added at the end of mergeCandList, i.e.,
                mergeCandList[ numCurrMergeCand ] is set equal to zeroCandm, and the reference indices, the prediction
                list utilization flags and the motion vectors of zeroCandm are derived as follows and numCurrMergeCand is
                incremented by 1:

                      refIdxL0zeroCandm = ( zeroIdx < numRefIdx ) ? zeroIdx : 0                                        (8-152)

                      refIdxL1zeroCandm = −1                                                                           (8-153)

                      predFlagL0zeroCandm = 1                                                                          (8-154)

                      predFlagL1zeroCandm = 0                                                                          (8-155)

                      mvL0zeroCandm[ 0 ] = 0                                                                           (8-156)

                      mvL0zeroCandm[ 1 ] = 0                                                                           (8-157)

                      mvL1zeroCandm[ 0 ] = 0                                                                           (8-158)

                      mvL1zeroCandm[ 1 ] = 0                                                                           (8-159)

                      numCurrMergeCand = numCurrMergeCand + 1                                                          (8-160)

           –    Otherwise (slice_type is equal to B), the candidate zeroCandm with m equal to
                ( numCurrMergeCand − numInputMergeCand ) is added at the end of mergeCandList, i.e.,



156            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 178 of 717 Page ID #:707


              mergeCandList[ numCurrMergeCand ] is set equal to zeroCandm, and the reference indices, the prediction
              list utilization flags and the motion vectors of zeroCandm are derived as follows and numCurrMergeCand is
              incremented by 1:

                     refIdxL0zeroCandm = ( zeroIdx < numRefIdx ) ? zeroIdx : 0                                       (8-161)

                     refIdxL1zeroCandm = ( zeroIdx < numRefIdx ) ? zeroIdx : 0                                       (8-162)

                     predFlagL0zeroCandm = 1                                                                         (8-163)

                     predFlagL1zeroCandm = 1                                                                         (8-164)

                     mvL0zeroCandm[ 0 ] = 0                                                                          (8-165)

                     mvL0zeroCandm[ 1 ] = 0                                                                          (8-166)

                     mvL1zeroCandm[ 0 ] = 0                                                                          (8-167)

                     mvL1zeroCandm[ 1 ] = 0                                                                          (8-168)

                     numCurrMergeCand = numCurrMergeCand + 1                                                         (8-169)

    2.   The variable zeroIdx is incremented by 1.

8.5.3.2.6 Derivation process for luma motion vector prediction
Inputs to this process are:
–    a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma
     sample of the current picture,
–    a variable nCbS specifying the size of the current luma coding block,
–    a luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block relative to the top-left
     luma sample of the current picture,
–    two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–    the reference index of the current prediction unit partition refIdxLX, with X being 0 or 1,
–    a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Output of this process is the prediction mvpLX of the motion vector mvLX, with X being 0 or 1.
The motion vector predictor mvpLX is derived in the following ordered steps:
    1.   The derivation process for motion vector predictor candidates from neighbouring prediction unit partitions in
         clause 8.5.3.2.7 is invoked with the luma coding block location ( xCb, yCb ), the coding block size nCbS, the
         luma prediction block location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction block
         height nPbH, refIdxLX, with X being 0 or 1 and the partition index partIdx as inputs, and the availability flags
         availableFlagLXN and the motion vectors mvLXN, with N being replaced by A or B, as output.
    2.   If both availableFlagLXA and availableFlagLXB are equal to 1 and mvLXA is not equal to mvLXB,
         availableFlagLXCol is set equal to 0. Otherwise, the derivation process for temporal luma motion vector
         prediction in clause 8.5.3.2.8 is invoked with luma prediction block location ( xPb, yPb ), the luma prediction
         block width nPbW, the luma prediction block height nPbH and refIdxLX, with X being 0 or 1 as inputs, and with
         the output being the availability flag availableFlagLXCol and the temporal motion vector predictor mvLXCol.
    3.   The motion vector predictor candidate list, mvpListLX, is constructed as follows:

             i=0
             if( availableFlagLXA ) {
                 mvpListLX[ i++ ] = mvLXA
                 if( availableFlagLXB && ( mvLXA != mvLXB ) )
                     mvpListLX[ i++ ] = mvLXB
             } else if( availableFlagLXB )
                 mvpListLX[ i++ ] = mvLXB                                                                            (8-170)

                                                                               Rec. ITU-T H.265 v8 (08/2021)            157
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 179 of 717 Page ID #:708


              if( i < 2 && availableFlagLXCol )
                  mvpListLX[ i++ ] = mvLXCol
              while( i < 2 ) {
                  mvpListLX[ i ][ 0 ] = 0
                  mvpListLX[ i ][ 1 ] = 0
                  i++
              }

      4.   The motion vector of mvpListLX[ mvp_lX_flag[ xPb ][ yPb ] ] is assigned to mvpLX.

8.5.3.2.7 Derivation process for motion vector predictor candidates
Inputs to this process are:
–      a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma
       sample of the current picture,
–      a variable nCbS specifying the size of the current luma coding block,
–      a luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block relative to the top-left
       luma sample of the current picture,
–      two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–      the reference index of the current prediction unit partition refIdxLX, with X being 0 or 1,
–      a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are (with N being replaced by A or B):
–      the motion vectors mvLXN of the neighbouring prediction units,
–      the availability flags availableFlagLXN of the neighbouring prediction units.
Figure 8-3 provides an overview of spatial motion vector neighbours.




                               Figure 8-3 – Spatial motion vector neighbours (informative)


The variable currPb specifies the current luma prediction block at luma location ( xPb, yPb ) and the variable currPic
specifies the current picture.
The variable isScaledFlagLX, with X being 0 or 1, is set equal to 0.
The motion vector mvLXA and the availability flag availableFlagLXA are derived in the following ordered steps:
      1.   The sample location ( xNbA0, yNbA0 ) is set equal to ( xPb − 1, yPb + nPbH ) and the sample location
           ( xNbA1, yNbA1 ) is set equal to ( xNbA0, yNbA0 − 1 ).
      2.   The availability flag availableFlagLXA is set equal to 0 and both components of mvLXA are set equal to 0.
      3.   The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the luma
           location ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location ( xPb, yPb ),
           the luma prediction block width nPbW, the luma prediction block height nPbH, the luma location ( xNbY, yNbY )
           set equal to ( xNbA0, yNbA0 ) and the partition index partIdx as inputs, and the output is assigned to the prediction
           block availability flag availableA0.
      4.   The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the luma
           location ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location ( xPb, yPb ),


158          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7            Filed 04/07/25          Page 180 of 717 Page ID #:709


       the luma prediction block width nPbW, the luma prediction block height nPbH, the luma location ( xNbY, yNbY )
       set equal to ( xNbA1, yNbA1 ) and the partition index partIdx as inputs, and the output is assigned to the prediction
       block availability flag availableA1.
  5.   When availableA0 or availableA1 is equal to TRUE, the variable isScaledFlagLX is set equal to 1.
  6.   The following applies for ( xNbAk, yNbAk ) from ( xNbA0, yNbA0 ) to ( xNbA1, yNbA1 ):
       –    When availableAk is equal to TRUE and availableFlagLXA is equal to 0, the following applies:
            –    If         PredFlagLX[ xNbAk ][ yNbAk ]             is         equal   to        1           and
                 DiffPicOrderCnt( RefPicListX[ RefIdxLX[ xNbAk ][ yNbAk ] ], RefPicListX[ refIdxLX ] ) is equal to
                 0, availableFlagLXA is set equal to 1 and the following applies:

                       mvLXA = MvLX[ xNbAk ][ yNbAk ]                                                              (8-171)

            –    Otherwise, when PredFlagLY[ xNbAk ][ yNbAk ] (with Y = !X) is equal to 1 and
                 DiffPicOrderCnt( RefPicListY[ RefIdxLY[ xNbAk ][ yNbAk ] ], RefPicListX[ refIdxLX ] ) is equal to
                 0, availableFlagLXA is set equal to 1 and the following applies:

                       mvLXA = MvLY[ xNbAk ][ yNbAk ]                                                              (8-172)

  7.   When availableFlagLXA is equal to 0, the following applies for ( xNbAk, yNbAk ) from ( xNbA0, yNbA0 ) to
       ( xNbA1, yNbA1 ) or until availableFlagLXA is equal to 1:
       –    When availableAk is equal to TRUE and availableFlagLXA is equal to 0, the following applies:
            –    If          PredFlagLX[ xNbAk ][ yNbAk ]           is    equal         to          1       and
                 LongTermRefPic( currPic, currPb, refIdxLX, RefPicListX )         is           equal         to
                 LongTermRefPic( currPic, currPb, RefIdxLX[ xNbAk ][ yNbAk ], RefPicListX ), availableFlagLXA is
                 set equal to 1 and the following assignments are made:

                       mvLXA = MvLX[ xNbAk ][ yNbAk ]                                                              (8-173)

                       refIdxA = RefIdxLX[ xNbAk ][ yNbAk ]                                                        (8-174)

                       refPicListA = RefPicListX                                                                   (8-175)

            –    Otherwise, when PredFlagLY[ xNbAk ][ yNbAk ] (with Y = !X) is equal to 1 and
                 LongTermRefPic( currPic, currPb, refIdxLX, RefPicListX )         is           equal          to
                 LongTermRefPic( currPic, currPb, RefIdxLY[ xNbAk ][ yNbAk ], RefPicListY ), availableFlagLXA is
                 set equal to 1 and the following assignments are made:

                       mvLXA = MvLY[ xNbAk ][ yNbAk ]                                                              (8-176)

                       refIdxA = RefIdxLY[ xNbAk ][ yNbAk ]                                                        (8-177)

                       refPicListA = RefPicListY                                                                   (8-178)

       –    When availableFlagLXA is equal to 1, DiffPicOrderCnt( refPicListA[ refIdxA ], RefPicListX[ refIdxLX ] )
            is not equal to 0, and both refPicListA[ refIdxA ] and RefPicListX[ refIdxLX ] are short-term reference
            pictures, mvLXA is derived as follows:

                   tx = ( 16384 + ( Abs( td ) >> 1 ) ) / td                                                        (8-179)

                   distScaleFactor = Clip3( −4096, 4095, ( tb * tx + 32 ) >> 6 )                                   (8-180)

                   mvLXA = Clip3( −32768, 32767, Sign( distScaleFactor * mvLXA ) *
                               ( ( Abs( distScaleFactor * mvLXA ) + 127 ) >> 8 ) )                                 (8-181)

           where td and tb are derived as follows:

                   td = Clip3( −128, 127, DiffPicOrderCnt( currPic, refPicListA[ refIdxA ] ) )                     (8-182)

                   tb = Clip3( −128, 127, DiffPicOrderCnt( currPic, RefPicListX[ refIdxLX ] ) )                    (8-183)


                                                                             Rec. ITU-T H.265 v8 (08/2021)            159
Case 2:25-cv-03053                Document 1-7           Filed 04/07/25         Page 181 of 717 Page ID #:710


The motion vector mvLXB and the availability flag availableFlagLXB are derived in the following ordered steps:
      1.   The sample locations ( xNbB0, yNbB0 ), ( xNbB1, yNbB1 ) and ( xNbB2, yNbB2 ) are set equal to
           ( xPb + nPbW, yPb − 1 ), ( xPb + nPbW − 1, yPb − 1 ) and ( xPb − 1, yPb − 1 ), respectively.
      2.   The availability flag availableFlagLXB is set equal to 0 and the both components of mvLXB are set equal to 0.
      3.   The following applies for ( xNbBk, yNbBk ) from ( xNbB0, yNbB0 ) to ( xNbB2, yNbB2 ):
           –     The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the
                 luma location ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction block location
                 ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction block height nPbH, the luma
                 location ( xNbY, yNbY ) set equal to ( xNbBk, yNbBk ) and the partition index partIdx as inputs, and the
                 output is assigned to the prediction block availability flag availableBk.
           –     When availableBk is equal to TRUE and availableFlagLXB is equal to 0, the following applies:
                 –   If         PredFlagLX[ xNbBk ][ yNbBk ]             is        equal        to    1,          and
                     DiffPicOrderCnt( RefPicListX[ RefIdxLX[ xNbBk ][ yNbBk ] ], RefPicListX[ refIdxLX ] ) is equal to
                     0, availableFlagLXB is set equal to 1 and the following assignment are made:

                           mvLXB = MvLX[ xNbBk ][ yNbBk ]                                                          (8-184)

                 –   Otherwise, when PredFlagLY[ xNbBk ][ yNbBk ] (with Y = !X) is equal to 1 and
                     DiffPicOrderCnt( RefPicListY[ RefIdxLY[ xNbBk ][ yNbBk ] ], RefPicListX[ refIdxLX ] ) is equal to
                     0, availableFlagLXB is set equal to 1 and the following assignment is made:

                           mvLXB = MvLY[ xNbBk ][ yNbBk ]                                                          (8-185)

      4.   When isScaledFlagLX is equal to 0 and availableFlagLXB is equal to 1, availableFlagLXA is set equal to 1 and
           the following applies:

                           mvLXA = mvLXB                                                                           (8-186)

      5.   When isScaledFlagLX is equal to 0, availableFlagLXB is set equal to 0 and the following applies for
           ( xNbBk, yNbBk ) from ( xNbB0, yNbB0 ) to ( xNbB2, yNbB2 ) or until availableFlagLXB is equal to 1:
           –     The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked with the
                 luma location ( xCb, yCb ), the current luma coding block size nCbS, the luma location ( xPb, yPb ), the
                 luma prediction block width nPbW, the luma prediction block height nPbH, the luma location
                 ( xNbY, yNbY ) set equal to ( xNbBk, yNbBk ) and the partition index partIdx as inputs, and the output is
                 assigned to the prediction block availability flag availableBk.
           –     When availableBk is equal to TRUE and availableFlagLXB is equal to 0, the following applies:
                 –   If          PredFlagLX[ xNbBk ][ yNbBk ]           is    equal         to          1       and
                     LongTermRefPic( currPic, currPb, refIdxLX, RefPicListX )         is           equal          to
                     LongTermRefPic( currPic, currPb, RefIdxLX[ xNbBk ][ yNbBk ], RefPicListX ), availableFlagLXB is
                     set equal to 1 and the following assignments are made:

                           mvLXB = MvLX[ xNbBk ][ yNbBk ]                                                          (8-187)

                           refIdxB = RefIdxLX[ xNbBk ][ yNbBk ]                                                    (8-188)

                           refPicListB = RefPicListX                                                               (8-189)

                 –   Otherwise, when PredFlagLY[ xNbBk ][ yNbBk ] (with Y = !X) is equal to 1 and
                     LongTermRefPic( currPic, currPb, refIdxLX, RefPicListX )         is           equal          to
                     LongTermRefPic( currPic, currPb, RefIdxLY[ xNbBk ][ yNbBk ], RefPicListY ), availableFlagLXB is
                     set equal to 1 and the following assignments are made:

                           mvLXB = MvLY[ xNbBk ][ yNbBk ]                                                          (8-190)

                           refIdxB = RefIdxLY[ xNbBk ][ yNbBk ]                                                    (8-191)

                           refPicListB = RefPicListY                                                               (8-192)


160            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7             Filed 04/07/25         Page 182 of 717 Page ID #:711


          –    When availableFlagLXB is equal to 1, DiffPicOrderCnt( refPicListB[ refIdxB ], RefPicListX[ refIdxLX ] )
               is not equal to 0 and both refPicListB[ refIdxB ] and RefPicListX[ refIdxLX ] are short-term reference
               pictures, mvLXB is derived as follows:

                      tx = ( 16384 + ( Abs( td ) >> 1 ) ) / td                                                       (8-193)

                      distScaleFactor = Clip3( −4096, 4095, ( tb * tx + 32 ) >> 6 )                                  (8-194)

                      mvLXB = Clip3( −32768, 32767, Sign( distScaleFactor * mvLXB ) *
                                  ( ( Abs( distScaleFactor * mvLXB ) + 127 ) >> 8 ) )                                (8-195)

               where td and tb are derived as follows:

                      td = Clip3( −128, 127, DiffPicOrderCnt( currPic, refPicListB[ refIdxB ] ) )                    (8-196)

                      tb = Clip3( −128, 127, DiffPicOrderCnt( currPic, RefPicListX[ refIdxLX ] ) )                   (8-197)

8.5.3.2.8 Derivation process for temporal luma motion vector prediction
Inputs to this process are:
–    a luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block relative to the top-left
     luma sample of the current picture,
–    two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–    a reference index refIdxLX, with X being 0 or 1.
Outputs of this process are:
–    the motion vector prediction mvLXCol,
–    the availability flag availableFlagLXCol.
The variable currPb specifies the current luma prediction block at luma location ( xPb, yPb ).
The variables mvLXCol and availableFlagLXCol are derived as follows:
–    If slice_temporal_mvp_enabled_flag is equal to 0, both components of mvLXCol are set equal to 0 and
     availableFlagLXCol is set equal to 0.
–    Otherwise (slice_temporal_mvp_enabled_flag is equal to 1), the following ordered steps apply:
    1.   The bottom right collocated motion vector is derived as follows:

                    xColBr = xPb + nPbW                                                                              (8-198)

                    yColBr = yPb + nPbH                                                                              (8-199)

           –    If yPb >> CtbLog2SizeY is equal to yColBr >> CtbLog2SizeY, yColBr is less than
                pic_height_in_luma_samples and xColBr is less than pic_width_in_luma_samples, the following applies:
                –    The variable colPb specifies the luma prediction block covering the modified location given by
                     ( ( xColBr >> 4 ) << 4, ( yColBr >> 4 ) << 4 ) inside the collocated picture specified by ColPic.
                –    The luma location ( xColPb, yColPb ) is set equal to the top-left sample of the collocated luma
                     prediction block specified by colPb relative to the top-left luma sample of the collocated picture
                     specified by ColPic.
                –    The derivation process for collocated motion vectors as specified in clause 8.5.3.2.9 is invoked with
                     currPb, colPb, ( xColPb, yColPb ) and refIdxLX as inputs, and the output is assigned to mvLXCol and
                     availableFlagLXCol.
           –    Otherwise, both components of mvLXCol are set equal to 0 and availableFlagLXCol is set equal to 0.
    2.   When availableFlagLXCol is equal to 0, the central collocated motion vector is derived as follows:

                    xColCtr = xPb + ( nPbW >> 1 )                                                                    (8-200)




                                                                               Rec. ITU-T H.265 v8 (08/2021)            161
Case 2:25-cv-03053                  Document 1-7           Filed 04/07/25          Page 183 of 717 Page ID #:712


                        yColCtr = yPb + ( nPbH >> 1 )                                                                   (8-201)

              –     The variable colPb specifies the luma prediction block covering the modified location given by
                    ( ( xColCtr >> 4 ) << 4, ( yColCtr >> 4 ) << 4 ) inside the collocated picture specified by ColPic.
              –     The luma location ( xColPb, yColPb ) is set equal to the top-left sample of the collocated luma prediction
                    block specified by colPb relative to the top-left luma sample of the collocated picture specified by ColPic.
              –     The derivation process for collocated motion vectors as specified in clause 8.5.3.2.9 is invoked with currPb,
                    colPb, ( xColPb, yColPb ) and refIdxLX as inputs, and the output is assigned to mvLXCol and
                    availableFlagLXCol.

8.5.3.2.9 Derivation process for collocated motion vectors
Inputs to this process are:
–     a variable currPb specifying the current prediction block,
–     a variable colPb specifying the collocated prediction block inside the collocated picture specified by ColPic,
–     a luma location ( xColPb, yColPb ) specifying the top-left sample of the collocated luma prediction block specified
      by colPb relative to the top-left luma sample of the collocated picture specified by ColPic,
–     a reference index refIdxLX, with X being 0 or 1.
Outputs of this process are:
–     the motion vector prediction mvLXCol,
–     the availability flag availableFlagLXCol.
The variable currPic specifies the current picture.
The arrays predFlagL0Col[ x ][ y ], mvL0Col[ x ][ y ] and refIdxL0Col[ x ][ y ] are set equal to PredFlagL0[ x ][ y ],
MvL0[ x ][ y ] and RefIdxL0[ x ][ y ], respectively, of the collocated picture specified by ColPic, and the arrays
predFlagL1Col[ x ][ y ], mvL1Col[ x ][ y ] and refIdxL1Col[ x ][ y ] are set equal to PredFlagL1[ x ][ y ], MvL1[ x ][ y ]
and RefIdxL1[ x ][ y ], respectively, of the collocated picture specified by ColPic.
The variables mvLXCol and availableFlagLXCol are derived as follows:
–     If colPb is coded in an intra prediction mode, both components of mvLXCol are set equal to 0 and availableFlagLXCol
      is set equal to 0.
–     Otherwise, the motion vector mvCol, the reference index refIdxCol and the reference list identifier listCol are derived
      as follows:
      –   If predFlagL0Col[ xColPb ][ yColPb ] is equal to 0, mvCol, refIdxCol and listCol are set equal to
          mvL1Col[ xColPb ][ yColPb ], refIdxL1Col[ xColPb ][ yColPb ] and L1, respectively.
      –   Otherwise, if predFlagL0Col[ xColPb ][ yColPb ] is equal to 1 and predFlagL1Col[ xColPb ][ yColPb ] is equal
          to 0, mvCol, refIdxCol and listCol are set equal to mvL0Col[ xColPb ][ yColPb ],
          refIdxL0Col[ xColPb ][ yColPb ] and L0, respectively.
      –   Otherwise (predFlagL0Col[ xColPb ][ yColPb ] is equal to 1 and predFlagL1Col[ xColPb ][ yColPb ] is equal
          to 1), the following assignments are made:
          –       If NoBackwardPredFlag is equal to 1, mvCol, refIdxCol and listCol are                          set   equal   to
                  mvLXCol[ xColPb ][ yColPb ], refIdxLXCol[ xColPb ][ yColPb ] and LX, respectively.
          –       Otherwise, mvCol, refIdxCol and listCol are set equal to mvLNCol[ xColPb ][ yColPb ],
                  refIdxLNCol[ xColPb ][ yColPb ] and LN, respectively, with N being the value of collocated_from_l0_flag.
      And mvLXCol and availableFlagLXCol are derived as follows:
      –   If LongTermRefPic( currPic, currPb, refIdxLX, LX ) is not equal to LongTermRefPic( ColPic, colPb, refIdxCol,
          listCol ), both components of mvLXCol are set equal to 0 and availableFlagLXCol is set equal to 0.
      –   Otherwise, the variable availableFlagLXCol is set equal to 1, refPicListCol[ refIdxCol ] is set to be the picture
          with reference index refIdxCol in the reference picture list listCol of the slice containing prediction block colPb
          in the collocated picture specified by ColPic, and the following applies:

                        colPocDiff = DiffPicOrderCnt( ColPic, refPicListCol[ refIdxCol ] )                              (8-202)



162           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25     Page 184 of 717 Page ID #:713


                      currPocDiff = DiffPicOrderCnt( currPic, RefPicListX[ refIdxLX ] )                           (8-203)

          –     If RefPicListX[ refIdxLX ] is a long-term reference picture, or colPocDiff is equal to currPocDiff, mvLXCol
                is derived as follows:

                      mvLXCol = mvCol                                                                             (8-204)

          –     Otherwise, mvLXCol is derived as a scaled version of the motion vector mvCol as follows:

                      tx = ( 16384 + ( Abs( td ) >> 1 ) ) / td                                                    (8-205)

                      distScaleFactor = Clip3( −4096, 4095, ( tb * tx + 32 ) >> 6 )                               (8-206)

                      mvLXCol = Clip3( −32768, 32767, Sign( distScaleFactor * mvCol ) *
                                 ( ( Abs( distScaleFactor * mvCol ) + 127 ) >> 8 ) )                              (8-207)

                  where td and tb are derived as follows:

                      td = Clip3( −128, 127, colPocDiff )                                                         (8-208)

                      tb = Clip3( −128, 127, currPocDiff )                                                        (8-209)

8.5.3.2.10 Derivation process for chroma motion vectors
This process is invoked when ChromaArrayType is not equal to 0.
Input to this process is a luma motion vector mvLX.
Output of this process is a chroma motion vector mvCLX.
A chroma motion vector is derived from the corresponding luma motion vector.
For the derivation of the chroma motion vector mvCLX, the following applies:

                      mvCLX[ 0 ] = mvLX[ 0 ] * 2 / SubWidthC                                                      (8-210)

                      mvCLX[ 1 ] = mvLX[ 1 ] * 2 / SubHeightC                                                     (8-211)

8.5.3.3       Decoding process for inter prediction samples

8.5.3.3.1 General
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a luma location ( xBl, yBl ) specifying the top-left sample of the current luma prediction block relative to the top-left
  sample of the current luma coding block,
– a variable nCbS specifying the size of the current luma coding block,
– two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
– the luma motion vectors mvL0 and mvL1,
– when ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1,
– the reference indices refIdxL0 and refIdxL1,
– the prediction list utilization flags, predFlagL0, and predFlagL1.
Outputs of this process are:
– an (nCbSL)x(nCbSL) array predSamplesL of luma prediction samples, where nCbSL is derived as specified below,
– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCb of chroma prediction samples
  for the component Cb, where nCbSwC and nCbShC are derived as specified below,




                                                                              Rec. ITU-T H.265 v8 (08/2021)           163
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25         Page 185 of 717 Page ID #:714


– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCr of chroma prediction samples
  for the component Cr, where nCbSwC and nCbShC are derived as specified below.
The variable nCbSL is set equal to nCbS. When ChromaArrayType is not equal to 0, the variable nCbSwC is set equal to
nCbS / SubWidthC and the variable nCbShC is set equal to nCbS / SubHeightC.
Let predSamplesL0L and predSamplesL1L be (nPbW)x(nPbH) arrays of predicted luma sample values and, when
ChromaArrayType is not equal to 0, predSamplesL0Cb, predSamplesL1Cb, predSamplesL0Cr and predSamplesL1Cr be
(nPbW / SubWidthC)x(nPbH / SubHeightC) arrays of predicted chroma sample values.
For X being each of 0 and 1, when predFlagLX is equal to 1, the following applies:
– The reference picture consisting of an ordered two-dimensional array refPicLXL of luma samples and, when
  ChromaArrayType is not equal to 0, two ordered two-dimensional arrays refPicLXCb and refPicLXCr of chroma samples
  is derived by invoking the process specified in clause 8.5.3.3.2 with refIdxLX as input.
– The array predSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays predSamplesLXCb and
  predSamplesLXCr are derived by invoking the fractional sample interpolation process specified in clause 8.5.3.3.3 with
  the luma locations ( xCb, yCb ) and ( xBl, yBl ), the luma prediction block width nPbW, the luma prediction block
  height nPbH, the motion vectors mvLX and, when ChromaArrayType is not equal to 0, mvCLX, and the reference
  arrays refPicLXL, refPicLXCb, and refPicLXCr as inputs.
The prediction samples inside the current luma prediction block, predSamplesL[ xL + xBl ][ yL + yBl ] with
xL = 0..nPbW − 1 and yL = 0..nPbH − 1, are derived by invoking the weighted sample prediction process specified in clause
8.5.3.3.4 with the prediction block width nPbW, the prediction block height nPbH and the sample arrays predSamplesL0L
and predSamplesL1L, and the variables predFlagL0, predFlagL1, refIdxL0, refIdxL1 and cIdx equal to 0 as inputs.
When ChromaArrayType is not equal to 0, the prediction samples inside the current chroma component Cb prediction
block, predSamplesCb[ xC + xBl / SubWidthC ][ yC + yBl / SubHeightC ] with xC = 0..nPbW / SubWidthC − 1 and
yC = 0..nPbH / SubHeightC − 1, are derived by invoking the weighted sample prediction process specified in
clause 8.5.3.3.4 with the prediction block width nPbW set equal to nPbW / SubWidthC, the prediction block height nPbH
set equal to nPbH / SubHeightC, the sample arrays predSamplesL0Cb and predSamplesL1Cb, and the variables predFlagL0,
predFlagL1, refIdxL0, refIdxL1 and cIdx equal to 1 as inputs.
When ChromaArrayType is not equal to 0, the prediction samples inside the current chroma component Cr prediction
block, predSamplesCr[ xC + xBl / SubWidthC ][ yC + yBl / SubHeightC ] with xC = 0..nPbW / SubWidthC − 1 and
yC = 0..nPbH / SubHeightC − 1, are derived by invoking the weighted sample prediction process specified in
clause 8.5.3.3.4 with the prediction block width nPbW set equal to nPbW / SubWidthC, the prediction block height nPbH
set equal to nPbH / SubHeightC, the sample arrays predSamplesL0Cr and predSamplesL1Cr, and the variables predFlagL0,
predFlagL1, refIdxL0, refIdxL1 and cIdx equal to 2 as inputs.

8.5.3.3.2 Reference picture selection process
Input to this process is a reference index refIdxLX.
Output of this process is a reference picture consisting of a two-dimensional array of luma samples refPicLXL and, when
ChromaArrayType is not equal to 0, two two-dimensional arrays of chroma samples refPicLXCb and refPicLXCr.
The output reference picture RefPicListX[ refIdxLX ] consists of a pic_width_in_luma_samples by
pic_height_in_luma_samples array of luma samples refPicLXL and, when ChromaArrayType is not equal to 0, two
PicWidthInSamplesC by PicHeightInSamplesC arrays of chroma samples refPicLXCb and refPicLXCr.
The reference picture sample arrays refPicLXL, refPicLXCb and refPicLXCr correspond to decoded sample arrays SL, SCb
and SCr derived in clause 8.7 for a previously-decoded picture.

8.5.3.3.3 Fractional sample interpolation process

8.5.3.3.3.1 General
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture
– a luma location ( xBl, yBl ) specifying the top-left sample of the current luma prediction block relative to the top-left
  sample of the current luma coding block
– two variables nPbW and nPbH specifying the width and the height of the luma prediction block
– a luma motion vector mvLX given in quarter-luma-sample units



164        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 186 of 717 Page ID #:715


– when ChromaArrayType is not equal to 0, a chroma motion vector mvCLX given in eighth-chroma-sample units
– the selected reference picture sample array refPicLXL and, when ChromaArrayType is not equal to 0, the arrays
  refPicLXCb and refPicLXCr.
Outputs of this process are:
– an (nPbW)x(nPbH) array predSamplesLXL of prediction luma sample values
– when ChromaArrayType is not equal to 0, two (nPbW / SubWidthC)x(nPbH / SubHeightC) arrays predSamplesLXCb
  and predSamplesLXCr of prediction chroma sample values.
The location ( xPb, yPb ) given in full-sample units of the upper-left luma samples of the current prediction block relative
to the upper-left luma sample location of the given reference sample arrays is derived as follows:

       xPb = xCb + xBl                                                                                               (8-212)

       yPb = yCb + yBl                                                                                               (8-213)

Let ( xIntL, yIntL ) be a luma location given in full-sample units and ( xFracL, yFracL ) be an offset given in quarter-sample
units. These variables are used only in this clause for specifying fractional-sample locations inside the reference sample
arrays refPicLXL, refPicLXCb and refPicLXCr.
For each luma sample location ( xL = 0..nPbW − 1, yL = 0..nPbH − 1 ) inside the prediction luma sample array
predSamplesLXL, the corresponding prediction luma sample value predSamplesLXL[ xL ][ yL ] is derived as follows:
– The variables xIntL, yIntL, xFracL and yFracL are derived as follows:

       xIntL = xPb + ( mvLX[ 0 ] >> 2 ) + xL                                                                         (8-214)

       yIntL = yPb + ( mvLX[ 1 ] >> 2 ) + yL                                                                         (8-215)

       xFracL = mvLX[ 0 ] & 3                                                                                        (8-216)

       yFracL = mvLX[ 1 ] & 3                                                                                        (8-217)

– The prediction luma sample value predSamplesLXL[ xL ][ yL ] is derived by invoking the process specified in
  clause 8.5.3.3.3.2 with ( xIntL, yIntL ), ( xFracL, yFracL ) and refPicLXL as inputs.
When ChromaArrayType is not equal to 0, the following applies.
Let ( xIntC, yIntC ) be a chroma location given in full-sample units and ( xFracC, yFracC ) be an offset given in one-eighth
sample units. These variables are used only in this clause for specifying general fractional-sample locations inside the
reference sample arrays refPicLXCb and refPicLXCr.
For each chroma sample location ( xC = 0..nPbW / SubWidthC − 1, yC = 0..nPbH / SubHeightC − 1 ) inside the prediction
chroma sample arrays predSamplesLXCb and predSamplesLXCr, the corresponding prediction chroma sample values
predSamplesLXCb[ xC ][ yC ] and predSamplesLXCr[ xC ][ yC ] are derived as follows:
– The variables xIntC, yIntC, xFracC and yFracC are derived as follows:

       xIntC = ( xPb / SubWidthC ) + ( mvCLX[ 0 ] >> 3 ) + xC                                                        (8-218)

       yIntC = ( yPb / SubHeightC ) + ( mvCLX[ 1 ] >> 3 ) + yC                                                       (8-219)

       xFracC = mvCLX[ 0 ] & 7                                                                                       (8-220)

       yFracC = mvCLX[ 1 ] & 7                                                                                       (8-221)

– The prediction sample value predSamplesLXCb[ xC ][ yC ] is derived by invoking the process specified in
  clause 8.5.3.3.3.3 with ( xIntC, yIntC ), ( xFracC, yFracC ) and refPicLXCb as inputs.
– The prediction sample value predSamplesLXCr[ xC ][ yC ] is derived by invoking the process specified in
  clause 8.5.3.3.3.3 with ( xIntC, yIntC ), ( xFracC, yFracC ) and refPicLXCr as inputs.

8.5.3.3.3.2 Luma sample interpolation process
Inputs to this process are:


                                                                               Rec. ITU-T H.265 v8 (08/2021)            165
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 187 of 717 Page ID #:716


– a luma location in full-sample units ( xIntL, yIntL ),
– a luma location in fractional-sample units ( xFracL, yFracL ),
– the luma reference sample array refPicLXL.
Output of this process is a predicted luma sample value predSampleLXL




 Figure 8-4 – Integer samples (shaded blocks with upper-case letters) and fractional sample positions (un-shaded
                       blocks with lower-case letters) for quarter sample luma interpolation


In Figure 8-4, the positions labelled with upper-case letters Ai, j within shaded blocks represent luma samples at full-sample
locations inside the given two-dimensional array refPicLXL of luma samples. These samples may be used for generating
the predicted luma sample value predSampleLXL. The locations ( xAi, j, yAi, j ) for each of the corresponding luma samples
Ai, j inside the given array refPicLXL of luma samples are derived as follows:

       xAi, j = Clip3( 0, pic_width_in_luma_samples − 1, xIntL + i )                                                      (8-222)

       yAi, j = Clip3( 0, pic_height_in_luma_samples − 1, yIntL + j )                                                     (8-223)

The positions labelled with lower-case letters within un-shaded blocks represent luma samples at quarter-luma-sample
fractional locations. The luma location offset in fractional-sample units ( xFracL, yFracL ) specifies which of the generated
luma samples at full-sample and fractional-sample locations is assigned to the predicted luma sample value
predSampleLXL. This assignment is as specified in Table 8-8. The value of predSampleLXL is the output.
The variables shift1, shift2 and shift3 are derived as follows:
– The variable shift1 is set equal to Min( 4, BitDepthY − 8 ), the variable shift2 is set equal to 6 and the variable shift3 is
  set equal to Max( 2, 14 − BitDepthY ).
Given the luma samples Ai, j at full-sample locations ( xAi, j, yAi, j ), the luma samples a0,0 to r0,0 at fractional sample
positions are derived as follows:
– The samples labelled a0,0, b0,0, c0,0, d0,0, h0,0 and n0,0 are derived by applying an 8-tap filter to the nearest integer position
  samples as follows:

       a0,0 = ( −A−3,0 + 4 * A−2,0 − 10 * A−1,0 + 58 * A0,0 + 17 * A1,0 − 5 * A2,0 + A3,0 ) >> shift1                     (8-224)


166         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 188 of 717 Page ID #:717


       b0,0 = ( −A−3,0 + 4 * A−2,0 − 11 * A−1,0 + 40 * A0,0 + 40 * A1,0 − 11 * A2,0 + 4 * A3,0 − A4,0 ) >> shift1
           (8-225)

       c0,0 = ( A−2,0 − 5 * A−1,0 + 17 * A0,0 + 58 * A1,0 − 10 * A2,0 + 4 * A3,0 − A4,0 ) >> shift1                        (8-226)

       d0,0 = ( −A0,−3 + 4 * A0,−2 − 10 * A0,−1 + 58 * A0,0 + 17 * A0,1 − 5 * A0,2 + A0,3 ) >> shift1                      (8-227)

       h0,0 = ( −A0,−3 + 4 * A0,−2 − 11 * A0,−1 + 40 * A0,0 + 40 * A0,1 − 11 * A0,2 + 4 * A0,3 − A0,4 ) >> shift1
           (8-228)

       n0,0 = ( A0,−2 − 5 * A0,−1 + 17 * A0,0 + 58 * A0,1 − 10 * A0,2 + 4 * A0,3 − A0,4 ) >> shift1                        (8-229)

– The samples labelled e0,0, i0,0, p0,0, f0,0, j0,0, q0,0, g0,0, k0,0 and r0,0 are derived by applying an 8-tap filter to the samples
  a0,i, b0,i and c0,i with i = −3..4 in the vertical direction as follows:

       e0,0 = ( −a0,−3 + 4 * a0,−2 − 10 * a0,−1 + 58 * a0,0 + 17 * a0,1 − 5 * a0,2 + a0,3 ) >> shift2                      (8-230)

       i0,0 = ( −a0,−3 + 4 * a0,−2 − 11 * a0,−1 + 40 * a0,0 + 40 * a0,1 − 11 * a0,2 + 4 * a0,3 − a0,4 ) >> shift2 (8-231)

       p0,0 = ( a0,−2 − 5 * a0,−1 + 17 * a0,0 + 58 * a0,1 − 10 * a0,2 + 4 * a0,3 − a0,4 ) >> shift2                        (8-232)

       f0,0 = ( −b0,−3 + 4 * b0,−2 − 10 * b0,−1 + 58 * b0,0 + 17 * b0,1 − 5 * b0,2 + b0,3 ) >> shift2                      (8-233)

       j0,0 = ( −b0,−3 + 4 * b0,−2 − 11 * b0,−1 + 40 * b0,0 + 40 * b0,1 − 11 * b0,2 + 4 * b0,3 − b0,4 ) >> shift2 (8-234)

       q0,0 = ( b0,−2 − 5 * b0,−1 + 17 * b0,0 + 58 * b0,1 − 10 * b0,2 + 4 * b0,3 − b0,4 ) >> shift2                        (8-235)

       g0,0 = ( −c0,−3 + 4 * c0,−2 − 10 * c0,−1 + 58 * c0,0 + 17 * c0,1 − 5 * c0,2 + c0,3 ) >> shift2                      (8-236)

       k0,0 = ( −c0,−3 + 4 * c0,−2 − 11 * c0,−1 + 40 * c0,0 + 40 * c0,1 − 11 * c0,2 + 4 * c0,3 − c0,4 ) >> shift2 (8-237)

       r0,0 = ( c0,−2 − 5 * c0,−1 + 17 * c0,0 + 58 * c0,1 − 10 * c0,2 + 4 * c0,3 − c0,4 ) >> shift2                        (8-238)

                         Table 8-8 – Assignment of the luma prediction sample predSampleLXL

                     xFracL                 0          0   0   0    1   1   1    1   2   2    2   2   3   3    3   3
                     yFracL                 0          1   2   3    0   1   2    3   0   1    2   3   0   1    2   3
                predSampleLXL         A << shift3      d   h   n    a   e    i   p   b   f    j   q   c   g    k   r

8.5.3.3.3.3 Chroma sample interpolation process
This process is only invoked when ChromaArrayType is not equal to 0.
Inputs to this process are:
– a chroma location in full-sample units ( xIntC, yIntC ),
– a chroma location in eighth fractional-sample units ( xFracC, yFracC ),
– the chroma reference sample array refPicLXC.
Output of this process is a predicted chroma sample value predSampleLXC




                                                                                     Rec. ITU-T H.265 v8 (08/2021)             167
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 189 of 717 Page ID #:718




 Figure 8-5 – Integer samples (shaded blocks with upper-case letters) and fractional sample positions (un-shaded
                      blocks with lower-case letters) for eighth sample chroma interpolation


In Figure 8-5, the positions labelled with upper-case letters Bi, j within shaded blocks represent chroma samples at full-
sample locations inside the given two-dimensional array refPicLXC of chroma samples. These samples may be used for
generating the predicted chroma sample value predSampleLXC. The locations ( xBi, j, yBi, j ) for each of the corresponding
chroma samples Bi, j inside the given array refPicLXC of chroma samples are derived as follows:

       xBi, j = Clip3( 0, ( pic_width_in_luma_samples / SubWidthC ) − 1, xIntC + i )                                    (8-239)

       yBi, j = Clip3( 0, ( pic_height_in_luma_samples / SubHeightC ) − 1, yIntC + j )                                  (8-240)

The positions labelled with lower-case letters within un-shaded blocks represent chroma samples at eighth-pel sample
fractional locations. The chroma location offset in fractional-sample units ( xFracC, yFracC ) specifies which of the
generated chroma samples at full-sample and fractional-sample locations is assigned to the predicted chroma sample value
predSampleLXC. This assignment is as specified in Table 8-9. The output is the value of predSampleLXC.
The variables shift1, shift2 and shift3 are derived as follows:
– The variable shift1 is set equal to Min( 4, BitDepthC − 8 ), the variable shift2 is set equal to 6 and the variable shift3 is
  set equal to Max( 2, 14 − BitDepthC ).
Given the chroma samples Bi, j at full-sample locations ( xBi, j, yBi, j ), the chroma samples ab0,0 to hh0,0 at fractional sample
positions are derived as follows:
– The samples labelled ab0,0, ac0,0, ad0,0, ae0,0, af0,0, ag0,0 and ah0,0 are derived by applying a 4-tap filter to the nearest
  integer position samples as follows:

       ab0,0 = ( −2 * B−1,0 + 58 * B0,0 + 10 * B1,0 − 2 * B2,0 ) >> shift1                                              (8-241)

       ac0,0 = ( −4 * B−1,0 + 54 * B0,0 + 16 * B1,0 − 2 * B2,0 ) >> shift1                                              (8-242)

       ad0,0 = ( −6 * B−1,0 + 46 * B0,0 + 28 * B1,0 − 4 * B2,0 ) >> shift1                                              (8-243)

       ae0,0 = ( −4 * B−1,0 + 36 * B0,0 + 36 * B1,0 − 4 * B2,0 ) >> shift1                                              (8-244)

       af0,0 = ( −4 * B−1,0 + 28 * B0,0 + 46 * B1,0 − 6 * B2,0 ) >> shift1                                              (8-245)

       ag0,0 = ( −2 * B−1,0 + 16 * B0,0 + 54 * B1,0 − 4 * B2,0 ) >> shift1                                              (8-246)

       ah0,0 = ( −2 * B−1,0 + 10 * B0,0 + 58 * B1,0 − 2 * B2,0 ) >> shift1                                              (8-247)


168         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 190 of 717 Page ID #:719


– The samples labelled ba0,0, ca0,0, da0,0, ea0,0, fa0,0, ga0,0 and ha0,0 are derived by applying a 4-tap filter to the nearest
  integer position samples as follows:

       ba0,0 = ( −2 * B0,−1 + 58 * B0,0 + 10 * B0,1 − 2 * B0,2 ) >> shift1                                            (8-248)

       ca0,0 = ( −4 * B0,−1 + 54 * B0,0 + 16 * B0,1 − 2 * B0,2 ) >> shift1                                            (8-249)

       da0,0 = ( −6 * B0,−1 + 46 * B0,0 + 28 * B0,1 − 4 * B0,2 ) >> shift1                                            (8-250)

       ea0,0 = ( −4 * B0,−1 + 36 * B0,0 + 36 * B0,1 − 4 * B0,2 ) >> shift1                                            (8-251)

       fa0,0 = ( −4 * B0,−1 + 28 * B0,0 + 46 * B0,1 − 6 * B0,2 ) >> shift1                                            (8-252)

       ga0,0 = ( −2 * B0,−1 + 16 * B0,0 + 54 * B0,1 − 4 * B0,2 ) >> shift1                                            (8-253)

       ha0,0 = ( −2 * B0,−1 + 10 * B0,0 + 58 * B0,1 − 2 * B0,2 ) >> shift1                                            (8-254)

– The samples labelled bX0,0, cX0,0, dX0,0, eX0,0, fX0,0, gX0,0 and hX0,0 for X being replaced by b, c, d, e, f, g and h,
  respectively, are derived by applying a 4-tap filter to the intermediate values aX0,i with i = −1..2 in the vertical direction
  as follows:

       bX0,0 = ( −2 * aX0,−1 + 58 * aX0,0 + 10 * aX0,1 − 2 * aX0,2 ) >> shift2                                        (8-255)

       cX0,0 = ( −4 * aX0,−1 + 54 * aX0,0 + 16 * aX0,1 − 2 * aX0,2 ) >> shift2                                        (8-256)

       dX0,0 = ( −6 * aX0,−1 + 46 * aX0,0 + 28 * aX0,1 − 4 * aX0,2 ) >> shift2                                        (8-257)

       eX0,0 = ( −4 * aX0,−1 + 36 * aX0,0 + 36 * aX0,1 − 4 * aX0,2 ) >> shift2                                        (8-258)

       fX0,0 = ( −4 * aX0,−1 + 28 * aX0,0 + 46 * aX0,1 − 6 * aX0,2 ) >> shift2                                        (8-259)

       gX0,0 = ( −2 * aX0,−1 + 16 * aX0,0 + 54 * aX0,1 − 4 * aX0,2 ) >> shift2                                        (8-260)

       hX0,0 = ( −2 * aX0,−1 + 10 * aX0,0 + 58 * aX0,1 − 2 * aX0,2 ) >> shift2                                        (8-261)

 Table 8-9 – Assignment of the chroma prediction sample predSampleLXC for ( X, Y ) being replaced by ( 1, b ),
                         ( 2, c ), ( 3, d ), ( 4, e ), ( 5, f ), ( 6, g ) and ( 7, h ), respectively

                              xFracC                 0          0     0     0     0     0    0     0
                              yFracC                 0          1     2     3     4     5    6     7
                         predSampleLXC         B << shift3     ba    ca    da    ea    fa    ga    ha


                              xFracC                X          X     X     X     X     X     X     X
                              yFracC                 0          1     2     3     4     5    6     7
                         predSampleLXC              aY         bY    cY    dY    eY    fY   gY    hY

8.5.3.3.4 Weighted sample prediction process

8.5.3.3.4.1 General
Inputs to this process are:
– two variables nPbW and nPbH specifying the width and the height of the current prediction block,
– two (nPbW)x(nPbH) arrays predSamplesL0 and predSamplesL1,
– the prediction list utilization flags, predFlagL0 and predFlagL1,
– the reference indices refIdxL0 and refIdxL1,
– a variable cIdx specifying colour component index.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)            169
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 191 of 717 Page ID #:720


Output of this process is the (nPbW)x(nPbH) array pbSamples of prediction sample values.
The variable bitDepth is derived as follows:
– If cIdx is equal to 0, bitDepth is set equal to BitDepthY.
– Otherwise, bitDepth is set equal to BitDepthC.
The variable weightedPredFlag is derived as follows:
– If slice_type is equal to P, weightedPredFlag is set equal to weighted_pred_flag.
– Otherwise (slice_type is equal to B), weightedPredFlag is set equal to weighted_bipred_flag.
The following applies:
– If weightedPredFlag is equal to 0, the array pbSamples of the prediction samples is derived by invoking the default
  weighted sample prediction process as specified in clause 8.5.3.3.4.2 with the prediction block width nPbW, the
  prediction block height nPbH, two (nPbW)x(nPbH) arrays predSamplesL0 and predSamplesL1, the prediction list
  utilization flags predFlagL0 and predFlagL1 and the bit depth bitDepth as inputs.
– Otherwise (weightedPredFlag is equal to 1), the array pbSamples of the prediction samples is derived by invoking the
  weighted sample prediction process as specified in clause 8.5.3.3.4.3 with the prediction block width nPbW, the
  prediction block height nPbH, two (nPbW)x(nPbH) arrays predSamplesL0 and predSamplesL1, the prediction list
  utilization flags predFlagL0 and predFlagL1, the reference indices refIdxL0 and refIdxL1, the colour component index
  cIdx and the bit depth bitDepth as inputs.

8.5.3.3.4.2 Default weighted sample prediction process
Inputs to this process are:
– two variables nPbW and nPbH specifying the width and the height of the current prediction block,
– two (nPbW)x(nPbH) arrays predSamplesL0 and predSamplesL1,
– the prediction list utilization flags, predFlagL0, and predFlagL1,
– a bit depth of samples, bitDepth.
Output of this process is the (nPbW)x(nPbH) array pbSamples of prediction sample values.
Variables shift1, shift2, offset1 and offset2 are derived as follows:
– The variable shift1 is set equal to Max( 2, 14 − bitDepth ) and the variable shift2 is set equal to Max( 3, 15 − bitDepth ).
– The variable offset1 is set equal to 1 << ( shift1 − 1 ).
– The variable offset2 is set equal to 1 << ( shift2 − 1 ).
Depending on the values of predFlagL0 and predFlagL1, the prediction samples pbSamples[ x ][ y ] with x = 0..nPbW − 1
and y = 0..nPbH − 1 are derived as follows:
– If predFlagL0 is equal to 1 and predFlagL1 is equal to 0, the prediction sample values are derived as follows:

      pbSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1, ( predSamplesL0[ x ][ y ] + offset1 ) >> shift1 )
          (8-262)

– Otherwise, if predFlagL0 is equal to 0 and predFlagL1 is equal to 1, the prediction sample values are derived as follows:

      pbSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1, ( predSamplesL1[ x ][ y ] + offset1 ) >> shift1 )
          (8-263)

– Otherwise (predFlagL0 is equal to 1 and predFlagL1 is equal to 1), the prediction sample values are derived as follows:

      pbSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1,
                                 ( predSamplesL0[ x ][ y ] + predSamplesL1[ x ][ y ] + offset2 ) >> shift2 )
          (8-264)

8.5.3.3.4.3 Explicit weighted sample prediction process
Inputs to this process are:



170        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25        Page 192 of 717 Page ID #:721


– two variables nPbW and nPbH specifying the width and the height of the current prediction block,
– two (nPbW)x(nPbH) arrays predSamplesL0 and predSamplesL1,
– the prediction list utilization flags, predFlagL0 and predFlagL1,
– the reference indices, refIdxL0 and refIdxL1,
– a variable cIdx specifying colour component index,
– a bit depth of samples, bitDepth.
Output of this process is the (nPbW)x(nPbH) array pbSamples of prediction sample values.
The variable shift1 is set equal to Max( 2, 14 − bitDepth ).
The variables log2Wd, o0, o1, w0 and w1 are derived as follows:
– If cIdx is equal to 0 for luma samples, the following applies:

        log2Wd = luma_log2_weight_denom + shift1                                                                  (8-265)

        w0 = LumaWeightL0[ refIdxL0 ]                                                                             (8-266)

        w1 = LumaWeightL1[ refIdxL1 ]                                                                             (8-267)

        o0 = luma_offset_l0[ refIdxL0 ] << WpOffsetBdShiftY                                                       (8-268)

        o1 = luma_offset_l1[ refIdxL1 ] << WpOffsetBdShiftY                                                       (8-269)

– Otherwise (cIdx is not equal to 0 for chroma samples), the following applies:

        log2Wd = ChromaLog2WeightDenom + shift1                                                                   (8-270)

        w0 = ChromaWeightL0[ refIdxL0 ][ cIdx − 1 ]                                                               (8-271)

        w1 = ChromaWeightL1[ refIdxL1 ][ cIdx − 1 ]                                                               (8-272)

        o0 = ChromaOffsetL0[ refIdxL0 ][ cIdx − 1 ] << WpOffsetBdShiftC                                           (8-273)

        o1 = ChromaOffsetL1[ refIdxL1 ][ cIdx − 1 ] << WpOffsetBdShiftC                                           (8-274)

The prediction sample pbSamples[ x ][ y ] with x = 0..nPbW − 1 and y = 0..nPbH − 1 are derived as follows:
–   If the predFlagL0 is equal to 1 and predFlagL1 is equal to 0, the prediction sample values are derived as follows:

              pbSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1,
                ( ( predSamplesL0[ x ][ y ] * w0 + 2log2Wd − 1 ) >> log2Wd ) + o0 )                               (8-275)

–   Otherwise, if the predFlagL0 is equal to 0 and predFlagL1 is equal to 1, the prediction sample values are derived as
    follows:

          pbSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1,
                ( ( predSamplesL1[ x ][ y ] * w1 + 2log2Wd − 1 ) >> log2Wd ) + o1 )                               (8-276)

–   Otherwise (predFlagL0 is equal to 1 and predFlagL1 is equal to 1), the prediction sample values are derived as follows:

          pbSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1,
              ( predSamplesL0[ x ][ y ] * w0 + predSamplesL1[ x ][ y ] * w1 +
                 ( ( o0 + o1 + 1 ) << log2Wd ) ) >> ( log2Wd + 1 ) )                                              (8-277)

8.5.4        Decoding process for the residual signal of coding units coded in inter prediction mode

8.5.4.1      General
Inputs to this process are:



                                                                             Rec. ITU-T H.265 v8 (08/2021)            171
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 193 of 717 Page ID #:722


– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a variable log2CbSize specifying the size of the current luma coding block.
Outputs of this process are:
– an (nCbSL)x(nCbSL) array resSamplesL of luma residual samples, where nCbSL is derived as specified below,
– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array resSamplesCb of chroma residual samples for
  the component Cb, where nCbSwC and nCbShC are derived as specified below,
– when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array resSamplesCr of chroma residual samples for
  the component Cr, where nCbSwC and nCbShC are derived as specified below.
The variable nCbSL is set equal to 1 << log2CbSize. When ChromaArrayType is not equal to 0, the variable nCbSwC is
set equal to nCbSL / SubWidthC and the variable nCbShC is set equal to nCbSL / SubHeightC.
Let resSamplesL be an (nCbSL)x(nCbSL) array of luma residual samples and, when ChromaArrayType is not equal to 0,
let resSamplesCb and resSamplesCr be two (nCbSwC)x(nCbShC) arrays of chroma residual samples.
Depending on the value of rqt_root_cbf, the following applies:
–     If rqt_root_cbf is equal to 0 or cu_skip_flag[ xCb ][ yCb ] is equal to 1, all samples of the (nCbSL)x(nCbSL) array
      resSamplesL and, when ChromaArrayType is not equal to 0, all samples of the two (nCbSwC)x(nCbShC) arrays
      resSamplesCb and resSamplesCr are set equal to 0.
–     Otherwise (rqt_root_cbf is equal to 1), the following ordered steps apply:
       1. The decoding process for luma residual blocks as specified in clause 8.5.4.2 below is invoked with the luma
          location ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to ( 0, 0 ), the variable log2TrafoSize set equal to
          log2CbSize, the variable trafoDepth set equal to 0, the variable nCbS set equal to nCbSL and the (nCbSL)x(nCbSL)
          array resSamplesL as inputs, and the output is a modified version of the (nCbSL)x(nCbSL) array resSamplesL.
       2. When ChromaArrayType is not equal to 0, the decoding process for chroma residual blocks as specified in
          clause 8.5.4.3 is invoked with the luma location ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to ( 0, 0 ),
          the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal to 0, the variable cIdx set
          equal to 1, the variable nCbSw set equal to nCbSwC, the variable nCbSh set equal to nCbShC and the
          (nCbSwC)x(nCbShC) array resSamplesCb as inputs, and the output is a modified version of the
          (nCbSwC)x(nCbShC) array resSamplesCb.
       3. When ChromaArrayType is not equal to 0, the decoding process for chroma residual blocks as specified in
          clause 8.5.4.3 is invoked with the luma location ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to ( 0, 0 ),
          the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal to 0, the variable cIdx set
          equal to 2, the variable nCbSw set equal to nCbSwC, the variable nCbSh set equal to nCbShC and the
          (nCbSwC)x(nCbShC) array resSamplesCr as inputs, and the output is a modified version of the
          (nCbSwC)x(nCbShC) array resSamplesCr.
       4. When residual_adaptive_colour_transform_enabled_flag is equal to 1, the residual modification process for
          blocks using adaptive colour transform as specified in clause 8.6.8 is invoked with location ( xCb, yCb ), the
          variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal to 0, the variable
          resSampleArrayL set equal to resSamplesL, the variable resSampleArrayCb set equal to resSamplesCb and the
          variable resSampleArrayCr set equal to resSamplesCr as inputs, and the outputs are modified versions of
          resSampleL, resSampleCb and resSampleCr.

8.5.4.2     Decoding process for luma residual blocks
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a luma location ( xB0, yB0 ) specifying the top-left sample of the current luma block relative to the top-left sample of
  the current luma coding block,
– a variable log2TrafoSize specifying the size of the current luma block,
– a variable trafoDepth specifying the hierarchy depth of the current luma block relative to the luma coding block,
– a variable nCbS specifying the size of the current luma coding block,
– an (nCbS)x(nCbS) array resSamples of luma residual samples.


172         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 194 of 717 Page ID #:723


Output of this process is a modified version of the (nCbS)x(nCbS) array of luma residual samples.
Depending on the value of split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ], the following applies:
– If split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ] is equal to 1, the following ordered steps apply:
   1.     The variables xB1 and yB1 are derived as follows:
          – The variable xB1 is set equal to xB0 + ( 1 << ( log2TrafoSize − 1 ) ).
          – The variable yB1 is set equal to yB0 + ( 1 << ( log2TrafoSize − 1 ) ).
   2.     The decoding process for luma residual blocks as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB0, yB0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable nCbS and the (nCbS)x(nCbS) array resSamples as
          inputs, and the output is a modified version of the (nCbS)x(nCbS) array resSamples.
   3.     The decoding process for luma residual blocks as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB1, yB0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable nCbS and the (nCbS)x(nCbS) array resSamples as
          inputs, and the output is a modified version of the (nCbS)x(nCbS) array resSamples.
   4.     The decoding process for luma residual blocks as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB0, yB1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable nCbS and the (nCbS)x(nCbS) array resSamples as
          inputs, and the output is a modified version of the (nCbS)x(nCbS) array resSamples.
   5.     The decoding process for luma residual blocks as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB1, yB1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable nCbS and the (nCbS)x(nCbS) array resSamples as
          inputs, and the output is a modified version of the (nCbS)x(nCbS) array resSamples.
– Otherwise (split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ] is equal to 0), the following ordered steps
  apply:
    1.    The variable nTbS is set equal to 1 << log2TrafoSize.
    2.    The scaling and transformation process as specified in clause 8.6.2 is invoked with the luma location
          ( xCb + xB0, yCb + yB0 ), the variable trafoDepth, the variable cIdx set equal to 0 and the transform size trafoSize
          set equal to nTbS as inputs, and the output is an (nTbS)x(nTbS) array transformBlock.
    3.    When explicit_rdpcm_flag[ xCb + xB0 ][ yCb + yB0 ][ 0 ] is equal to 1, the directional residual modification
          process for blocks using a transform bypass as specified in clause 8.6.5 is invoked with the variable mDir set
          equal to explicit_rdpcm_dir_flag[ xCb + xB0 ][ yCb + yB0 ][ 0 ], the variable nTbS and the (nTbS)x(nTbS) array
          r set equal to the array transformBlock as inputs, and the output is a modified (nTbS)x(nTbS) array
          transformBlock.
    4.    The (nCbS)x(nCbS) residual sample array of the current coding block resSamples is modified as follows:

            resSamples[ xB0 + i, yB0 + j ] = transformBlock[ i, j ], with i = 0..nTbS − 1, j = 0..nTbS − 1(8-278)

8.5.4.3    Decoding process for chroma residual blocks
This process is only invoked when ChromaArrayType is not equal to 0.
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a luma location ( xB0, yB0 ) specifying the top-left luma sample of the current chroma block relative to the top-left
  sample of the current luma coding block,
– a variable log2TrafoSize specifying the size of the current chroma block in luma samples,
– a variable trafoDepth specifying the hierarchy depth of the current chroma block relative to the chroma coding block,
– a variable cIdx specifying the chroma component of the current block,
– the variables nCbSw and nCbSh specifying the width and height, respectively, of the current chroma coding block,
– an (nCbSw)x(nCbSh) array resSamples of chroma residual samples.



                                                                                Rec. ITU-T H.265 v8 (08/2021)           173
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 195 of 717 Page ID #:724


Output of this process is a modified version of the (nCbSw)x(nCbSh) array of chroma residual samples.
The variable splitChromaFlag is derived as follows:
– If split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ] is equal to 1 and one or more of the following
  conditions are met, splitChromaFlag is set equal to 1:
       – log2TrafoSize is greater than 3.
       – ChromaArrayType is equal to 3.
– Otherwise (split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ] is equal to 0 or both log2TrafoSize is equal
  to 3 and ChromaArrayType is not equal to 3), splitChromaFlag is set equal to 0.
Depending on the value of splitChromaFlag, the following applies:
– If splitChromaFlag is equal to 1, the following ordered steps apply:
      1.   The variables xB1 and yB1 are derived as follows:
           – The variable xB1 is set equal to xB0 + ( 1 << ( log2TrafoSize − 1 ) ).
           – The variable yB1 is set equal to yB0 + ( 1 << ( log2TrafoSize − 1 ) ).
      2.   The decoding process for residual chroma blocks as specified in this clause is invoked with the luma location
           ( xCb, yCb ), the luma location ( xB0, yB0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
           variable trafoDepth set equal to trafoDepth + 1, the variable cIdx, the variable nCbSw, the variable nCbSh and
           the (nCbSw)x(nCbSh) array resSamples as inputs, and the output is a modified version of the (nCbSw)x(nCbSh)
           array resSamples.
      3.   The decoding process for residual chroma blocks as specified in this clause is invoked with the luma location
           ( xCb, yCb ), the luma location ( xB1, yB0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
           variable trafoDepth set equal to trafoDepth + 1, the variable cIdx, the variable nCbSw, the variable nCbSh and
           the (nCbSw)x(nCbSh) array resSamples as inputs, and the output is a modified version of the (nCbSw)x(nCbSh)
           array resSamples.
      4.   The decoding process for residual chroma blocks as specified in this clause is invoked with the luma location
           ( xCb, yCb ), the luma location ( xB0, yB1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
           variable trafoDepth set equal to trafoDepth + 1, the variable cIdx, the variable nCbSw, the variable nCbSh and
           the (nCbSw)x(nCbSh) array resSamples as inputs, and the output is a modified version of the (nCbSw)x(nCbSh)
           array resSamples.
      5.   The decoding process for residual chroma blocks as specified in this clause is invoked with the luma location
           ( xCb, yCb ), the luma location ( xB1, yB1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
           variable trafoDepth set equal to trafoDepth + 1, the variable cIdx, the variable nCbSw, the variable nCbSh and
           the (nCbSw)x(nCbSh) array resSamples as inputs, and the output is a modified version of the (nCbSw)x(nCbSh)
           array resSamples.
– Otherwise (splitChromaFlag is equal to 0), for the variable blkIdx                               proceeding     over   the
  values 0..( ChromaArrayType = = 2 ? 1 : 0 ), the following ordered steps apply:
   1.      The variable nTbS is set equal to ( 1 << log2TrafoSize ) / SubWidthC.
   2.      The variable yBN is set equal to yB0 + blkIdx * nTbS * SubHeightC.
   3.      The scaling and transformation process as specified in clause 8.6.2 is invoked with the luma location
           ( xCb + xB0, yCb + yBN ), the variable trafoDepth, the variable cIdx and the transform size trafoSize set equal to
           nTbS as inputs, and the output is an (nTbS)x(nTbS) array transformBlock.
   4.      When explicit_rdpcm_flag[ xCb + xB0 ][ yCb + yBN ][ cIdx ] is equal to 1, the directional residual modification
           process for blocks using a transform bypass as specified in clause 8.6.5 is invoked with the variable mDir set
           equal to explicit_rdpcm_dir_flag[ xCb + xB0 ][ yCb + yBN ][ cIdx ], the variable nTbS and the (nTbS)x(nTbS)
           array r set equal to the array transformBlock as inputs, and the output is a modified (nTbS)x(nTbS) array
           transformBlock.
   5.      When cross_component_prediction_enabled_flag is equal to 1 and ChromaArrayType is equal to 3, the residual
           modification process for transform blocks using cross-component prediction as specified in clause 8.6.6 is
           invoked with the transform block location ( xCb + xB0, yCb + yB0 ), the variable nTbS, the variable cIdx, the
           (nTbS)x(nTbS) array rY set equal to the corresponding luma residual sample array transformBlock of the current
           transform block and the (nTbS)x(nTbS) array r set equal to the array transformBlock as inputs, and the output is
           a modified (nTbS)x(nTbS) array resSamples.



174          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25         Page 196 of 717 Page ID #:725


      6.   The (nCbS)x(nCbS) residual sample array of the current coding block resSamples is modified as follows, for
           i = 0..nTbS − 1, j = 0..nTbS − 1:

           resSamples[ ( xCb + xB0 ) / SubWidthC + i, ( yCb + yBN ) / SubHeightC + j ] =
           transformBlock[ i, j ]                   (8-279)

8.6          Scaling, transformation and array construction process prior to deblocking filter process

8.6.1        Derivation process for quantization parameters
Input to this process is a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative
to the top-left luma sample of the current picture.
In this process, the variable QpY, the luma quantization parameter Qp′Y and the chroma quantization parameters Qp′Cb and
Qp′Cr are derived.
The luma location ( xQg, yQg ), specifies the top-left luma sample of the current quantization group relative to the top-left
luma sample of the current picture. The horizontal and vertical positions xQg and yQg are set equal to
xCb − ( xCb & ( ( 1 << Log2MinCuQpDeltaSize) − 1 ) ) and yCb − ( yCb & ( ( 1 << Log2MinCuQpDeltaSize) − 1 ) ),
respectively. The luma size of a quantization group, Log2MinCuQpDeltaSize, determines the luma size of the smallest
area inside a CTB that shares the same qPY_PRED.
The predicted luma quantization parameter qPY_PRED is derived by the following ordered steps:
        1. The variable qPY_PREV is derived as follows:
           – If one or more of the following conditions are true, qPY_PREV is set equal to SliceQpY:
               – The current quantization group is the first quantization group in a slice.
               – The current quantization group is the first quantization group in a tile.
               – The current quantization group is the first quantization group in a CTB row of a tile and
                 entropy_coding_sync_enabled_flag is equal to 1.
           – Otherwise, qPY_PREV is set equal to the luma quantization parameter QpY of the last coding unit in the previous
             quantization group in decoding order.
        2. The availability derivation process for a block in z-scan order as specified in clause 6.4.1 is invoked with the
           location ( xCurr, yCurr ) set equal to ( xCb, yCb ) and the neighbouring location ( xNbY, yNbY ) set equal to
           ( xQg − 1, yQg ) as inputs, and the output is assigned to availableA. The variable qPY_A is derived as follows:
           – If one or more of the following conditions are true, qPY_A is set equal to qPY_PREV:
               – availableA is equal to FALSE.
               – the CTB address ctbAddrA of the CTB containing the luma coding block covering the luma location
                 ( xQg − 1, yQg ) is not equal to CtbAddrInTs, where ctbAddrA is derived as follows:

                  xTmp = ( xQg − 1 ) >> MinTbLog2SizeY
                  yTmp = yQg >> MinTbLog2SizeY
                  minTbAddrA = MinTbAddrZs[ xTmp ][ yTmp ]
                  ctbAddrA = minTbAddrA >> ( 2 * ( CtbLog2SizeY − MinTbLog2SizeY ) )                                 (8-280)

           – Otherwise, qPY_A is set equal to the luma quantization parameter QpY of the coding unit containing the luma
             coding block covering ( xQg − 1, yQg ).
        3. The availability derivation process for a block in z-scan order as specified in clause 6.4.1 is invoked with the
           location ( xCurr, yCurr ) set equal to ( xCb, yCb ) and the neighbouring location ( xNbY, yNbY ) set equal to
           ( xQg, yQg − 1 ) as inputs, and the output is assigned to availableB. The variable qPY_B is derived as follows:
           – If one or more of the following conditions are true, qPY_B is set equal to qPY_PREV:
               – availableB is equal to FALSE.
               – the CTB address ctbAddrB of the CTB containing the luma coding block covering the luma location
                 ( xQg, yQg − 1 ) is not equal to CtbAddrInTs, where ctbAddrB is derived as follows:

                  xTmp = xQg >> MinTbLog2SizeY
                  yTmp = ( yQg − 1 ) >> MinTbLog2SizeY


                                                                                 Rec. ITU-T H.265 v8 (08/2021)          175
Case 2:25-cv-03053                 Document 1-7         Filed 04/07/25          Page 197 of 717 Page ID #:726


                    minTbAddrB = MinTbAddrZs[ xTmp ][ yTmp ]
                    ctbAddrB = minTbAddrB >> ( 2 * ( CtbLog2SizeY − MinTbLog2SizeY ) )                            (8-281)

           – Otherwise, qPY_B is set equal to the luma quantization parameter QpY of the coding unit containing the luma
             coding block covering ( xQg, yQg − 1 ).
        4. The predicted luma quantization parameter qPY_PRED is derived as follows:

              qPY_PRED = ( qPY_A + qPY_B + 1 ) >> 1                                                               (8-282)

The variable QpY is derived as follows:

         QpY = ( ( qPY_PRED + CuQpDeltaVal + 52 + 2 * QpBdOffsetY )%( 52 + QpBdOffsetY ) ) − QpBdOffsetY
           (8-283)

The luma quantization parameter Qp′Y is derived as follows:

         Qp′Y = QpY + QpBdOffsetY                                                                                 (8-284)

When ChromaArrayType is not equal to 0, the following applies:
– The variables qPCb and qPCr are derived as follows:
   – If tu_residual_act_flag[ xTbY ][ yTbY ] is equal to 0, the following applies:

            qPiCb = Clip3( −QpBdOffsetC, 57, QpY + pps_cb_qp_offset + slice_cb_qp_offset + CuQpOffsetCb )
             (8-285)

            qPiCr = Clip3( −QpBdOffsetC, 57, QpY + pps_cr_qp_offset + slice_cr_qp_offset + CuQpOffsetCr )
             (8-286)

   – Otherwise (tu_residual_act_flag[ xTbY ][ yTbY ] is equal to 1), the following applies:

            qPiCb = Clip3( −QpBdOffsetC, 57, QpY + PpsActQpOffsetCb + slice_act_cb_qp_offset +
               CuQpOffsetCb )                                                                                     (8-287)

            qPiCr = Clip3( −QpBdOffsetC, 57, QpY + PpsActQpOffsetCr + slice_act_cr_qp_offset +
               CuQpOffsetCr )                                                                                     (8-288)

– If ChromaArrayType is equal to 1, the variables qPCb and qPCr are set equal to the value of QpC as specified in
  Table 8-10 based on the index qPi equal to qPiCb and qPiCr, respectively.
– Otherwise, the variables qPCb and qPCr are set equal to Min( qPi, 51 ), based on the index qPi equal to qPiCb and qPiCr,
  respectively.
– The chroma quantization parameters for the Cb and Cr components, Qp′Cb and Qp′Cr, are derived as follows:

         Qp′Cb = qPCb + QpBdOffsetC                                                                               (8-289)

         Qp′Cr = qPCr + QpBdOffsetC                                                                               (8-290)

                 Table 8-10 – Specification of QpC as a function of qPi for ChromaArrayType equal to 1

              qPi     < 30    30   31   32   33   34   35   36   37   38   39    40    41   42   43   > 43
              QpC     = qPi   29   30   31   32   33   33   34   34   35   35    36    36   37   37   = qPi − 6



8.6.2        Scaling and transformation process
Inputs to this process are:
– a luma location ( xTbY, yTbY ) specifying the top-left sample of the current luma transform block relative to the
  top-left luma sample of the current picture,



176           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 198 of 717 Page ID #:727


– a variable trafoDepth specifying the hierarchy depth of the current block relative to the coding block,
– a variable cIdx specifying the colour component of the current block,
– a variable nTbS specifying the size of the current transform block.
Output of this process is the (nTbS)x(nTbS) array of residual samples r with elements r[ x ][ y ].
The quantization parameter qP is derived as follows:
– If cIdx is equal to 0, the following applies:

         qP = Clip3( 0, 51 + QpBdOffsetY, Qp′Y + ( tu_residual_act_flag[ xTbY ][ yTbY ] ?
               PpsActQpOffsetY + slice_act_y_qp_offset : 0 ) )                                                         (8-291)

– Otherwise, if cIdx is equal to 1, the following applies:

         qP = Qp′Cb                                                                                                    (8-292)

– Otherwise (cIdx is equal to 2), the following applies:

         qP = Qp′Cr
            (8-293)

The variables bitDepth, bdShift and tsShift are derived as follows:

         bitDepth = ( cIdx = = 0 ) ? BitDepthY : BitDepthC
            (8-294)

         bdShift = Max( 20 − bitDepth, extended_precision_processing_flag ? 11 : 0 )                                   (8-295)

         tsShift = 5 + Log2( nTbS )                                                                                    (8-296)

The variable rotateCoeffs is derived as follows:
– If all of the following conditions are true, rotateCoeffs is set equal to 1:
   – transform_skip_rotation_enabled_flag is equal to 1.
   – nTbS is equal to 4.
   – CuPredMode[ xTbY ][ yTbY ] is equal to MODE_INTRA.
– Otherwise, rotateCoeffs is set equal to 0.
The (nTbS)x(nTbS) array of residual samples r is derived as follows:
– If cu_transquant_bypass_flag is equal to 1, the following applies:
   – If rotateCoeffs is equal to 1, the residual sample array values r[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1 are
     derived as follows:

               r[ x ][ y ] = TransCoeffLevel[ xTbY ][ yTbY ][ cIdx ][ nTbS − x −1 ][ nTbS − y − 1 ]                    (8-297)

   – Otherwise, the (nTbS)x(nTbS) array r is set equal to the (nTbS)x(nTbS) array of transform coefficients
     TransCoeffLevel[ xTbY ][ yTbY ][ cIdx ].
– Otherwise, the following ordered steps apply:
    1.    The scaling process for transform coefficients as specified in clause 8.6.3 is invoked with the transform block
          location ( xTbY, yTbY ), the size of the transform block nTbS, the colour component variable cIdx and the
          quantization parameter qP as inputs, and the output is an (nTbS)x(nTbS) array of scaled transform coefficients d.
    2.    The (nTbS)x(nTbS) array of residual samples r is derived as follows:
           –     If transform_skip_flag[ xTbY ][ yTbY ][ cIdx ] is equal to 1, the residual sample array values r[ x ][ y ] with
                 x = 0..nTbS − 1, y = 0..nTbS − 1 are derived as follows:

                 r[ x ][ y ] = ( rotateCoeffs ? d[ nTbS − x −1 ][ nTbS − y − 1 ] : d[ x ][ y ] ) << tsShift            (8-298)



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            177
Case 2:25-cv-03053                  Document 1-7           Filed 04/07/25         Page 199 of 717 Page ID #:728


             –      Otherwise (transform_skip_flag[ xTbY ][ yTbY ][ cIdx ] is equal to 0), the transformation process for
                    scaled transform coefficients as specified in clause 8.6.4 is invoked with the transform block location
                    ( xTbY, yTbY ), the size of the transform block nTbS, the colour component variable cIdx and the
                    (nTbS)x(nTbS) array of scaled transform coefficients d as inputs, and the output is an (nTbS)x(nTbS) array
                    of residual samples r.
      3.     The residual sample values r[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1 are modified as follows:

                    r[ x ][ y ] = ( r[ x ][ y ] + ( 1 << ( bdShift − 1 ) ) ) >> bdShift                              (8-299)

8.6.3        Scaling process for transform coefficients
Inputs to this process are:
– a luma location ( xTbY, yTbY ) specifying the top-left sample of the current luma transform block relative to the
  top-left luma sample of the current picture,
– a variable nTbS specifying the size of the current transform block,
– a variable cIdx specifying the colour component of the current block,
– a variable qP specifying the quantization parameter.
Output of this process is the (nTbS)x(nTbS) array d of scaled transform coefficients with elements d[ x ][ y ].
The variables log2TransformRange, bdShift, coeffMin and coeffMax are derived as follows:
– If cIdx is equal to 0, the following applies:

           log2TransformRange = extended_precision_processing_flag ? Max( 15, BitDepthY + 6 ) : 15                   (8-300)

           bdShift = BitDepthY + Log2( nTbS ) + 10 − log2TransformRange                                              (8-301)

           coeffMin = CoeffMinY                                                                                      (8-302)

           coeffMax = CoeffMaxY                                                                                      (8-303)

– Otherwise, the following applies:

           log2TransformRange = extended_precision_processing_flag ? Max( 15, BitDepthC + 6 ) : 15                   (8-304)

           bdShift = BitDepthC + Log2( nTbS ) + 10 − log2TransformRange                                              (8-305)

           coeffMin = CoeffMinC                                                                                      (8-306)

           coeffMax = CoeffMaxC                                                                                      (8-307)

The list levelScale[ ] is specified as levelScale[ k ] = { 40, 45, 51, 57, 64, 72 } with k = 0..5.
For the derivation of the scaled transform coefficients d[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1, the following
applies:
– The scaling factor m[ x ][ y ] is derived as follows:
   – If one or more of the following conditions are true, m[ x ][ y ] is set equal to 16:
           – scaling_list_enabled_flag is equal to 0.
           – transform_skip_flag[ xTbY ][ yTbY ] is equal to 1 and nTbS is greater than 4.
   – Otherwise, the following applies:

                 m[ x ][ y ] = ScalingFactor[ sizeId ][ matrixId ][ x ][ y ]                                         (8-308)

Where sizeId is specified in Table 7-3 for the size of the quantization matrix equal to (nTbS)x(nTbS) and matrixId is
specified in Table 7-4 for sizeId, CuPredMode[ xTbY ][ yTbY ] and cIdx, respectively.
– The scaled transform coefficient d[ x ][ y ] is derived as follows:



178              Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7           Filed 04/07/25          Page 200 of 717 Page ID #:729


          d[ x ][ y ] =
          Clip3( coeffMin, coeffMax, ( ( TransCoeffLevel[ xTbY ][ yTbY ][ cIdx ][ x ][ y ] * m[ x ][ y ] *
                     levelScale[ qP % 6 ] << (qP / 6 ) ) + ( 1 << ( bdShift − 1 ) ) ) >> bdShift )        (8-309)

8.6.4      Transformation process for scaled transform coefficients

8.6.4.1     General
Inputs to this process are:
– a luma location ( xTbY, yTbY ) specifying the top-left sample of the current luma transform block relative to the
  top-left luma sample of the current picture,
– a variable nTbS specifying the size of the current transform block,
– a variable cIdx specifying the colour component of the current block,
– an (nTbS)x(nTbS) array d of scaled transform coefficients with elements d[ x ][ y ].
Output of this process is the (nTbS)x(nTbS) array r of residual samples with elements r[ x ][ y ].
The variables coeffMin and coeffMax are derived as follows:
– If cIdx is equal to 0, the following applies:

          coeffMin = CoeffMinY                                                                                        (8-310)

          coeffMax = CoeffMaxY                                                                                        (8-311)

– Otherwise, the following applies:

          coeffMin = CoeffMinC                                                                                        (8-312)

          coeffMax = CoeffMaxC                                                                                        (8-313)

Depending on the values of CuPredMode[ xTbY ][ yTbY ], nTbS and cIdx, the variable trType is derived as follows:
–       If CuPredMode[ xTbY ][ yTbY ] is equal to MODE_INTRA, nTbS is equal to 4 and cIdx is equal to 0, trType is set
        equal to 1.
–       Otherwise, trType is set equal to 0.
The (nTbS)x(nTbS) array r of residual samples is derived by the following ordered steps:
1.   Each (vertical) column of scaled transform coefficients d[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1 is transformed
     to e[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1 by invoking the one-dimensional transformation process as
     specified in clause 8.6.4.2 for each column x = 0..nTbS − 1 with the size of the transform block nTbS, the list d[ x ][ y ]
     with y = 0..nTbS − 1 and the transform type variable trType as inputs, and the output is the list e[ x ][ y ] with
     y = 0..nTbS − 1.
2.   The intermediate sample values g[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1 are derived as follows:

                  g[ x ][ y ] = Clip3( coeffMin, coeffMax, ( e[ x ][ y ] + 64 ) >> 7 )                                (8-314)

3.   Each (horizontal) row of the resulting array g[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1 is transformed to
     r[ x ][ y ] with x = 0..nTbS − 1, y = 0..nTbS − 1 by invoking the one-dimensional transformation process as specified
     in clause 8.6.4.2 for each row y = 0..nTbS − 1 with the size of the transform block nTbS, the list g[ x ][ y ] with
     x = 0..nTbS − 1 and the transform type variable trType as inputs, and the output is the list r[ x ][ y ] with
     x = 0..nTbS − 1.

8.6.4.2      Transformation process
Inputs to this process are:
– a variable nTbS specifying the sample size of scaled transform coefficients,
– a list of scaled transform coefficients x with elements x[ j ], with j = 0..nTbS − 1.
– a transform type variable trType



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            179
Case 2:25-cv-03053               Document 1-7                 Filed 04/07/25            Page 201 of 717 Page ID #:730


Output of this process is the list of transformed samples y with elements y[ i ], with i = 0..nTbS − 1.
Depending on the value of trType, the following applies:
–     If trType is equal to 1, the following transform matrix multiplication applies:

                      nTbS −1
           y[ i ] =     transMatri x[i][ j] * x[ j] with i = 0..nTbS − 1
                        j =0
                                                                                                               (8-315)


      where the transform coefficient array transMatrix is specified as follows:

           transMatrix =                                                                                       (8-316)
                {
                {29 55 74 84}
                {74 74    0 −74}
                {84 −29 −74 55}
                {55 −84 74 −29}
                }

–     Otherwise (trType is equal to 0), the following transform matrix multiplication applies:

                      nTbS −1
           y[ i ] =     transMatri x[i][ j * 2
                       j =0
                                                  5 − Log2(nTbS)
                                                                   ] * x[ j ] with i = 0..nTbS − 1,            (8-317)


      where the transform coefficient array transMatrix is specified as follows:

           transMatrix[ m ][ n ] = transMatrixCol0to15[ m ][ n ] with m = 0..15, n = 0..31                     (8-318)

           transMatrixCol0to15 =                                                                               (8-319)
                {
                {64 64 64 64 64 64 64 64 64 64 64 64 64 64 64 64}
                {90 90 88 85 82 78 73 67 61 54 46 38 31 22 13                4}
                {90 87 80 70 57 43 25         9 −9 −25 −43 −57 −70 −80 −87 −90}
                {90 82 67 46 22 −4 −31 −54 −73 −85 −90 −88 −78 −61 −38 −13}
                {89 75 50 18 −18 −50 −75 −89 −89 −75 −50 −18 18 50 75 89}
                {88 67 31 −13 −54 −82 −90 −78 −46 −4 38 73 90 85 61 22}
                {87 57    9 −43 −80 −90 −70 −25 25 70 90 80 43 −9 −57 −87}
                {85 46 −13 −67 −90 −73 −22 38 82 88 54 −4 −61 −90 −78 −31}
                {83 36 −36 −83 −83 −36 36 83 83 36 −36 −83 −83 −36 36 83}
                {82 22 −54 −90 −61 13 78 85 31 −46 −90 −67       4 73 88 38}
                {80   9 −70 −87 −25 57 90 43 −43 −90 −57 25 87 70 −9 −80}
                {78 −4 −82 −73 13 85 67 −22 −88 −61 31 90 54 −38 −90 −46}
                {75 −18 −89 −50 50 89 18 −75 −75 18 89 50 −50 −89 −18 75}
                {73 −31 −90 −22 78 67 −38 −90 −13 82 61 −46 −88 −4 85 54}
                {70 −43 −87   9 90 25 −80 −57 57 80 −25 −90 −9 87 43 −70}
                {67 −54 −78 38 85 −22 −90     4 90 13 −88 −31 82 46 −73 −61}
                {64 −64 −64 64 64 −64 −64 64 64 −64 −64 64 64 −64 −64 64}
                {61 −73 −46 82 31 −88 −13 90 −4 −90 22 85 −38 −78 54 67}
                {57 −80 −25 90 −9 −87 43 70 −70 −43 87       9 −90 25 80 −57}
                {54 −85 −4 88 −46 −61 82 13 −90 38 67 −78 −22 90 −31 −73}
                {50 −89 18 75 −75 −18 89 −50 −50 89 −18 −75 75 18 −89 50}
                {46 −90 38 54 −90 31 61 −88 22 67 −85 13 73 −82          4 78}
                {43 −90 57 25 −87 70      9 −80 80 −9 −70 87 −25 −57 90 −43}
                {38 −88 73 −4 −67 90 −46 −31 85 −78 13 61 −90 54 22 −82}
                {36 −83 83 −36 −36 83 −83 36 36 −83 83 −36 −36 83 −83 36}
                {31 −78 90 −61    4 54 −88 82 −38 −22 73 −90 67 −13 −46 85}
                {25 −70 90 −80 43     9 −57 87 −87 57 −9 −43 80 −90 70 −25}
                {22 −61 85 −90 73 −38 −4 46 −78 90 −82 54 −13 −31 67 −88}
                {18 −50 75 −89 89 −75 50 −18 −18 50 −75 89 −89 75 −50 18}
                {13 −38 61 −78 88 −90 85 −73 54 −31      4 22 −46 67 −82 90}
                { 9 −25 43 −57 70 −80 87 −90 90 −87 80 −70 57 −43 25 −9}
                { 4 −13 22 −31 38 −46 54 −61 67 −73 78 −82 85 −88 90 −90}
                },




180         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25         Page 202 of 717 Page ID #:731


           transMatrix[ m ][ n ] = transMatrixCol16to31[ m − 16 ][ n ] with m = 16..31, n = 0..31,                (8-320)

           transMatrixCol16to31 =                                                                                 (8-321)
                {
                { 64 64 64 64 64 64 64 64 64 64 64 64 64 64 64 64}
                { −4 −13 −22 −31 −38 −46 −54 −61 −67 −73 −78 −82 −85 −88 −90 −90}
                {−90 −87 −80 −70 −57 −43 −25 −9    9 25 43 57 70 80 87 90}
                { 13 38 61 78 88 90 85 73 54 31            4 −22 −46 −67 −82 −90}
                { 89 75 50 18 −18 −50 −75 −89 −89 −75 −50 −18 18 50 75 89}
                {−22 −61 −85 −90 −73 −38   4 46 78 90 82 54 13 −31 −67 −88}
                {−87 −57 −9 43 80 90 70 25 −25 −70 −90 −80 −43         9 57 87}
                { 31 78 90 61      4 −54 −88 −82 −38 22 73 90 67 13 −46 −85}
                { 83 36 −36 −83 −83 −36 36 83 83 36 −36 −83 −83 −36 36 83}
                {−38 −88 −73 −4 67 90 46 −31 −85 −78 −13 61 90 54 −22 −82}
                {−80 −9 70 87 25 −57 −90 −43 43 90 57 −25 −87 −70          9 80}
                { 46 90 38 −54 −90 −31 61 88 22 −67 −85 −13 73 82          4 −78}
                { 75 −18 −89 −50 50 89 18 −75 −75 18 89 50 −50 −89 −18 75}
                {−54 −85   4 88 46 −61 −82 13 90 38 −67 −78 22 90 31 −73}
                {−70 43 87 −9 −90 −25 80 57 −57 −80 25 90          9 −87 −43 70}
                { 61 73 −46 −82 31 88 −13 −90 −4 90 22 −85 −38 78 54 −67}
                { 64 −64 −64 64 64 −64 −64 64 64 −64 −64 64 64 −64 −64 64}
                {−67 −54 78 38 −85 −22 90      4 −90 13 88 −31 −82 46 73 −61}
                {−57 80 25 −90     9 87 −43 −70 70 43 −87 −9 90 −25 −80 57}
                { 73 31 −90 22 78 −67 −38 90 −13 −82 61 46 −88         4 85 −54}
                { 50 −89 18 75 −75 −18 89 −50 −50 89 −18 −75 75 18 −89 50}
                {−78 −4 82 −73 −13 85 −67 −22 88 −61 −31 90 −54 −38 90 −46}
                {−43 90 −57 −25 87 −70 −9 80 −80       9 70 −87 25 57 −90 43}
                { 82 −22 −54 90 −61 −13 78 −85 31 46 −90 67        4 −73 88 −38}
                { 36 −83 83 −36 −36 83 −83 36 36 −83 83 −36 −36 83 −83 36}
                {−85 46 13 −67 90 −73 22 38 −82 88 −54 −4 61 −90 78 −31}
                {−25 70 −90 80 −43 −9 57 −87 87 −57        9 43 −80 90 −70 25}
                { 88 −67 31 13 −54 82 −90 78 −46       4 38 −73 90 −85 61 −22}
                { 18 −50 75 −89 89 −75 50 −18 −18 50 −75 89 −89 75 −50 18}
                {−90 82 −67 46 −22 −4 31 −54 73 −85 90 −88 78 −61 38 −13}
                { −9 25 −43 57 −70 80 −87 90 −90 87 −80 70 −57 43 −25          9}
                { 90 −90 88 −85 82 −78 73 −67 61 −54 46 −38 31 −22 13 −4}
                }

8.6.5      Residual modification process for blocks using a transform bypass

Inputs to this process are:

– a variable mDir specifying the residual modification direction,
– a variable nTbS specifying the transform block size,
– an (nTbS)x(nTbS) array of residual samples r with elements r[ x ][ y ].
Output of this process is the modified (nTbS)x(nTbS) array of residual samples.
Depending upon the value of mDir, the (nTbS)x(nTbS) array of samples r is modified as follows:
– If mDir is equal to 0 (horizontal direction), the array values r[ x ][ y ] are modified as follows, for x proceeding over
  the values 1..nTbS − 1 and y = 0..nTbS − 1:

        r[ x ][ y ] += r[ x − 1 ][ y ]                                                                            (8-322)

– Otherwise (vertical direction), the array values r[ x ][ y ] are modified as follows, for y proceeding over the
  values 1..nTbS − 1 and for x = 0..nTbS − 1:

        r[ x ][ y ] += r[ x ][ y − 1 ]                                                                            (8-323)

8.6.6      Residual modification process for transform blocks using cross-component prediction
This process is only invoked when ChromaArrayType is equal to 3.
Inputs to this process are:
– a luma location ( xTbY, yTbY ) specifying the top-left sample of the current luma transform block relative to the
  top-left luma sample of the current picture,
– a variable nTbS specifying the transform block size,



                                                                             Rec. ITU-T H.265 v8 (08/2021)            181
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 203 of 717 Page ID #:732


– a variable cIdx specifying the colour component of the current block,
– an (nTbS)x(nTbS) array of luma residual samples rY with elements rY[ x ][ y ],
– an (nTbS)x(nTbS) array of residual samples r with elements r[ x ][ y ].
Output of this process is the modified (nTbS)x(nTbS) array r of residual samples.
The (nTbS)x(nTbS) array of residual samples r with x = 0..nTbS − 1, y = 0..nTbS − 1 is modified as follows:

          r[ x ][ y ] += ( ResScaleVal[ cIdx ][ xTbY ][ yTbY ] *                                                    (8-324)
                     ( ( rY[ x ][ y ] << BitDepthC ) >> BitDepthY ) ) >> 3

It is a requirement of bitstream conformance that the luma residual samples rY[ x ][ y ] shall be in the range of
CoeffMinY to CoeffMaxY, inclusive, and the input residual samples r[ x ][ y ] shall be in the range of
CoeffMinC to CoeffMaxC, inclusive.

8.6.7        Picture construction process prior to in-loop filter process
Inputs to this process are:
– a location ( xCurr, yCurr ) specifying the top-left sample of the current block relative to the top-left sample of the
  current picture component,
– the variables nCurrSw and nCurrSh specifying the width and height, respectively, of the current block,
– a variable cIdx specifying the colour component of the current block,
– an (nCurrSw)x(nCurrSh) array predSamples specifying the predicted samples of the current block,
– an (nCurrSw)x(nCurrSh) array resSamples specifying the residual samples of the current block.
Depending on the value of the colour component cIdx, the following assignments are made:
– If cIdx is equal to 0, recSamples corresponds to the reconstructed picture sample array SL and the function clipCidx1
  corresponds to Clip1Y.
– Otherwise, if cIdx is equal to 1, recSamples corresponds to the reconstructed chroma sample array SCb and the function
  clipCidx1 corresponds to Clip1C.
– Otherwise (cIdx is equal to 2), recSamples corresponds to the reconstructed chroma sample array SCr and the function
  clipCidx1 corresponds to Clip1C.
The (nCurrSw)x(nCurrSh) block of the reconstructed sample array recSamples at location ( xCurr, yCurr ) is derived as
follows:

          recSamples[ xCurr + i ][ yCurr + j ] = clipCidx1( predSamples[ i ][ j ] + resSamples[ i ][ j ] )          (8-325)
                  with i = 0..nCurrSw − 1, j = 0..nCurrSh − 1

8.6.8        Residual modification process for blocks using adaptive colour transform

This process is only invoked when ChromaArrayType is equal to 3.

8.6.8.1      General

Inputs to this process are:

–     a sample location ( xTb0, yTb0 ) specifying the top-left sample of the current block relative to the top left sample of
      the current picture,
–     a variable log2TrafoSize specifying the size of the current block,
–     a variable trafoDepth specifying the hierarchy depth of the current block relative to the coding unit,
–     an array resSampleArrayL specifying the luma residual samples of the current block,
–     an array resSampleArrayCb specifying the Cb residual samples of the current block,
–     an array resSampleArrayCr specifying the Cr residual samples of the current block.




182           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7          Filed 04/07/25          Page 204 of 717 Page ID #:733


Outputs of this process are the modified arrays resSampleY, resSampleCb and resSampleCr of residual samples
of the current block.

Depending on the value of split_transform_flag[ xTb0 ][ yTb0 ][ trafoDepth ], the following applies:
–    If split_transform_flag[ xTb0 ][ yTb0 ][ trafoDepth ] is equal to 1, the following ordered steps apply:
    1. The variables xTb1 and yTb1 are derived as follows:
          – The variable xTb1 is set equal to xTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
          – The variable yTb1 is set equal to yTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
    2. The residual modification process for blocks using adaptive colour transform as specified in this clause is invoked
       with the location ( xTb0, yTb0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth
       set equal to trafoDepth + 1, the residual sample arrays resSampeArrayL, resSampleArrayCb and resSampleArrayCr
       as inputs and the output are modified versions of resSampeArrayL, resSampleArrayCb and resSampleArrayCr.
    3. The residual modification process for blocks using adaptive colour transform as specified in this clause is invoked
       with the location ( xTb1, yTb0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth
       set equal to trafoDepth + 1, the residual sample arrays resSampeArrayL, resSampleArrayCb and resSampleArrayCr
       as inputs and the output are modified versions of resSampeArrayL, resSampleArrayCb and resSampleArrayCr.
    4. The residual modification process for blocks using adaptive colour transform as specified in this clause is invoked
       with the location ( xTb0, yTb1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth
       set equal to trafoDepth + 1, the residual sample arrays resSampeArrayL, resSampleArrayCb and resSampleArrayCr
       as inputs and the output are modified versions of resSampeArrayL, resSampleArrayCb and resSampleArrayCr.
    5. The residual modification process for blocks using adaptive colour transform as specified in this clause is invoked
       with the location ( xTb1, yTb1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth
       set equal to trafoDepth + 1, the residual sample arrays resSampeArrayL, resSampleArrayCb and resSampleArrayCr
       as inputs and the output are modified versions of resSampeArrayL, resSampleArrayCb and resSampleArrayCr.
–    Otherwise (split_transform_flag[ xTb0 ][ yTb0 ][ trafoDepth ] is equal to 0), the following ordered steps apply:
    1. The variable nTbS specifying the current transform block is set equal to ( 1 << log2TrafoSize ).
    2. The variable nCbS specifying the size                   of    the   current     coding   block    is    derived     as
        nCbS = 1 << ( log2TrafoSize + trafDepth ).
    3. The sample location ( xTbInCb, yTbInCb ) specifying the top-left sample of the current transform block relative
        to the top-left sample of the current coding block are derived as xTbInCb = xTb0 & ( nCbS − 1 ) and
        yTbInCb = yTb0 & ( nCbS − 1 ).

When tu_residual_act_flag[ xTb0 ][ yTb0 ] is equal to 1, the adaptive colour transformation process as specified
in clause 8.6.8.2 is invoked with the sample location ( xTb0, yTb0 ) set to ( xTbInCb, yTbInCb ), the variable
blkSize set equal to nTbS, the array rY set equal to resSampleArrayL, the array rCb set equal to
resSampleArrayCb, and the array rCr set equal to resSampleArrayCr as inputs, and the outputs are modified
versions of the three residual sample arrays.

8.6.8.2     Adaptive colour transformation process

Inputs to this process are:

– a sample location ( xTb0, yTb0 ) specifying the top-left sample of the current transform block relative to the top left
  sample of the current coding block,
– a variable blkSize specifying the block size of the transform block to be modified,
– an array of luma residual samples rY of the current coding block,
– an array of chroma residual samples rCb of the current coding block,
– an array of chroma residual samples rCr of the current coding block.

Outputs of this process are:

– a modified array rY of luma residual samples,



                                                                              Rec. ITU-T H.265 v8 (08/2021)              183
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 205 of 717 Page ID #:734


– a modified array rCb of chroma residual samples,
– a modified array rCr of chroma residual samples.

The arrays of residual samples rY, rCb and rCr with x = xTb0..xTb0 + blkSize − 1, y = yTb0..yTb0 + blkSize
− 1 are modified as follows:

                      rY[ x ][ y ] = Clip3( CoeffMinY, CoeffMaxY, rY[ x ][ y ] )                                     (8-326)

                      rCb[ x ][ y ] = Clip3( CoeffMinC, CoeffMaxC, rCb[ x ][ y ] )                                   (8-327)

                      rCr[ x ][ y ] = Clip3( CoeffMinC, CoeffMaxC, rCr[ x ][ y ] )                                   (8-328)

– When cu_transquant_bypass_flag is equal to 0, the following ordered steps apply:
      1.   The variables deltaBDY and deltaBDC are derived as follows:

                      deltaBDY = Max( BitDepthY, BitDepthC ) − BitDepthY                                             (8-329)

                      deltaBDC = Max( BitDepthY, BitDepthC ) − BitDepthC                                             (8-330)

                      offsetBDY = deltaBDY ? 1 << ( deltaBDY − 1 ) : 0                                               (8-331)

                      offsetBDC = deltaBDC ? 1 << ( deltaBDC − 1 ) : 0                                               (8-332)

      2.   Residual samples rY[ x ][ y ], rCb[ x ][ y ] and rCr[ x ][ y ] are modified as follows:

                      rY[ x ][ y ] = rY[ x ][ y ] << deltaBDY
           (8-333)

                      rCb[ x ][ y ] = rCb[ x ][ y ] << ( deltaBDC + 1 )                                              (8-334)

                      rCr[ x ][ y ] = rCr[ x ][ y ] << ( deltaBDC + 1 )                                              (8-335)

– Residual samples rY[ x ][ y ], rCb[ x ][ y ] and rCr[ x ][ y ] are modified as follows:

                      tmp = rY[ x ][ y ] − ( rCb[ x ][ y ] >> 1 )                                                    (8-336)

                      rY[ x ][ y ] = tmp + rCb[ x ][ y ]                                                             (8-337)

                      rCb[ x ][ y ] = tmp − ( rCr[ x ][ y ] >> 1 )                                                   (8-338)

                      rCr[ x ][ y ] += rCb[ x ][ y ]                                                                 (8-339)

– When cu_transquant_bypass_flag is equal to 0, the following applies:

                      rY[ x ][ y ] = ( rY[ x ][ y ] + offsetBDY ) >> deltaBDY                                        (8-340)

                      rCb[ x ][ y ] = ( rCb[ x ][ y ] + offsetBDC ) >> deltaBDC                                      (8-341)

                      rCr[ x ][ y ] = ( rCr[ x ][ y ] + offsetBDC ) >> deltaBDC                                      (8-342)

8.7         In-loop filter process
8.7.1       General
This clause specifies the application of two in-loop filters. When the in-loop filter process is specified as optional in Annex
A, the application of either or both of these filters is optional.
The two in-loop filters, namely deblocking filter and sample adaptive offset filter, are applied as specified by the following
ordered steps:
1.    For the deblocking filter, the following applies:


184          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7              Filed 04/07/25            Page 206 of 717 Page ID #:735


     – The deblocking filter process as specified in clause 8.7.2 is invoked with the reconstructed picture sample array SL
       and, when ChromaArrayType is not equal to 0, the arrays SCb and SCr as inputs, and the modified reconstructed
       picture sample array S′L and, when ChromaArrayType is not equal to 0, the arrays S′Cb and S′Cr after deblocking as
       outputs.
     – The array S′L and, when ChromaArrayType is not equal to 0, the arrays S′Cb and S′Cr are assigned to the array SL
       and, when ChromaArrayType is not equal to 0, the arrays SCb and SCr (which represent the decoded picture),
       respectively.
2.    When sample_adaptive_offset_enabled_flag is equal to 1, the following applies:
     – The sample adaptive offset process as specified in clause 8.7.3 is invoked with the reconstructed picture sample
       array SL and, when ChromaArrayType is not equal to 0, the arrays SCb and SCr as inputs, and the modified
       reconstructed picture sample array S′L and, when ChromaArrayType is not equal to 0, the arrays S′Cb and S′Cr after
       sample adaptive offset as outputs.
     – The array S′L and, when ChromaArrayType is not equal to 0, the arrays S′Cb and S′Cr are assigned to the array SL
       and, when ChromaArrayType is not equal to 0, the arrays SCb and SCr (which represent the decoded picture),
       respectively.

8.7.2       Deblocking filter process

8.7.2.1     General
Inputs to this process are the reconstructed picture prior to deblocking, i.e., the array recPictureL and, when
ChromaArrayType is not equal to 0, the arrays recPictureCb and recPictureCr.
Outputs of this process are the modified reconstructed picture after deblocking, i.e., the array recPictureL and, when
ChromaArrayType is not equal to 0, the arrays recPictureCb and recPictureCr.
The vertical edges in a picture are filtered first. Then the horizontal edges in a picture are filtered with samples modified
by the vertical edge filtering process as input. The vertical and horizontal edges in the CTBs of each CTU are processed
separately on a coding unit basis. The vertical edges of the coding blocks in a coding unit are filtered starting with the edge
on the left-hand side of the coding blocks proceeding through the edges towards the right-hand side of the coding blocks
in their geometrical order. The horizontal edges of the coding blocks in a coding unit are filtered starting with the edge on
the top of the coding blocks proceeding through the edges towards the bottom of the coding blocks in their geometrical
order.
     NOTE – Although the filtering process is specified on a picture basis in this Specification, the filtering process can be implemented
     on a coding unit basis with an equivalent result, provided the decoder properly accounts for the processing dependency order so as
     to produce the same output values.

The deblocking filter process is applied to all prediction block edges and transform block edges of a picture, except the
following types of edges:
–     Edges that are at the boundary of the picture,
–     Edges that coincide with tile boundaries when loop_filter_across_tiles_enabled_flag is equal to 0,
–     Edges that coincide with upper or left boundaries of slices with slice_loop_filter_across_slices_enabled_flag equal
      to 0 or slice_deblocking_filter_disabled_flag equal to 1,
–     Edges within slices with slice_deblocking_filter_disabled_flag equal to 1,
–     Edges that do not correspond to 8x8 sample grid boundaries of the considered component,
–     Edges within chroma components for which both sides of the edge use inter prediction,
–     Edges of chroma transform blocks that are not edges of the associated transform unit.
The edge type, vertical or horizontal, is represented by the variable edgeType as specified in Table 8-11.

                                          Table 8-11 – Name of association to edgeType

                                                  edgeType             Name of edgeType
                                              0 (vertical edge)            EDGE_VER
                                             1 (horizontal edge)           EDGE_HOR


When slice_deblocking_filter_disabled_flag of the current slice is equal to 0, for each coding unit with luma coding block
size log2CbSize and location of top-left sample of the luma coding block ( xCb, yCb ), the vertical edges are filtered by
the following ordered steps:


                                                                                       Rec. ITU-T H.265 v8 (08/2021)                185
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25           Page 207 of 717 Page ID #:736


      1.   The luma coding block size nCbS is set equal to 1 << log2CbSize.
      2.   The variable filterLeftCbEdgeFlag is derived as follows:
            –      If one or more of the following conditions are true, filterLeftCbEdgeFlag is set equal to 0:
                   –    The left boundary of the current luma coding block is the left boundary of the picture.
                   –    The left boundary of the current luma coding block is the left boundary of the tile and
                        loop_filter_across_tiles_enabled_flag is equal to 0.
                   –    The left boundary of the current luma coding block is the left boundary of the slice and
                        slice_loop_filter_across_slices_enabled_flag is equal to 0.
            –      Otherwise, filterLeftCbEdgeFlag is set equal to 1.
      3.   All elements of the two-dimensional (nCbS)x(nCbS) array verEdgeFlags are initialized to be equal to zero.
      4.   The derivation process of transform block boundary specified in clause 8.7.2.2 is invoked with the luma location
           ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to ( 0, 0 ), the transform block size log2TrafoSize set equal
           to log2CbSize, the variable trafoDepth set equal to 0, the variable filterLeftCbEdgeFlag, the array verEdgeFlags
           and the variable edgeType set equal to EDGE_VER as inputs, and the modified array verEdgeFlags as output.
      5.   The derivation process of prediction block boundary specified in clause 8.7.2.3 is invoked with the luma coding
           block size log2CbSize, the prediction partition mode PartMode, the array verEdgeFlags and the variable edgeType
           set equal to EDGE_VER as inputs, and the modified array verEdgeFlags as output.
      6.   The derivation process of the boundary filtering strength specified in clause 8.7.2.4 is invoked with the
           reconstructed luma picture sample array prior to deblocking recPictureL, the luma location ( xCb, yCb ), the luma
           coding block size log2CbSize, the variable edgeType set equal to EDGE_VER and the array verEdgeFlags as
           inputs, and an (nCbS)x(nCbS) array verBs as output.
      7.   The vertical edge filtering process for a coding unit as specified in clause 8.7.2.5.1 is invoked with the
           reconstructed picture prior to deblocking, i.e., the array recPictureL and, when ChromaArrayType is not equal
           to 0, the arrays recPictureCb and recPictureCr, the luma location ( xCb, yCb ), the luma coding block size
           log2CbSize and the array verBs as inputs, and the modified reconstructed picture, i.e., the array recPictureL and,
           when ChromaArrayType is not equal to 0, the arrays recPictureCb and recPictureCr, as output.
When slice_deblocking_filter_disabled_flag of the current slice is equal to 0, for each coding unit with luma coding block
size log2CbSize and location of top-left sample of the luma coding block ( xCb, yCb ), the horizontal edges are filtered by
the following ordered steps:
      1.   The luma coding block size nCbS is set equal to 1 << log2CbSize.
      2.   The variable filterTopCbEdgeFlag is derived as follows:
            –      If one or more of the following conditions are true, the variable filterTopCbEdgeFlag is set equal to 0:
                   –    The top boundary of the current luma coding block is the top boundary of the picture.
                   –    The top boundary of the current luma coding block is the top boundary of the tile and
                        loop_filter_across_tiles_enabled_flag is equal to 0.
                   –    The top boundary of the current luma coding block is the top boundary of the slice and
                        slice_loop_filter_across_slices_enabled_flag is equal to 0.
            –      Otherwise, the variable filterTopCbEdgeFlag is set equal to 1.
      3.   All elements of the two-dimensional (nCbS)x(nCbS) array horEdgeFlags are initialized to zero.
      4.   The derivation process of transform block boundary specified in clause 8.7.2.2 is invoked with the luma location
           ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to ( 0, 0 ), the transform block size log2TrafoSize set equal
           to log2CbSize, the variable trafoDepth set equal to 0, the variable filterTopCbEdgeFlag, the array horEdgeFlags
           and the variable edgeType set equal to EDGE_HOR as inputs, and the modified array horEdgeFlags as output.
      5.   The derivation process of prediction block boundary specified in clause 8.7.2.3 is invoked with the luma coding
           block size log2CbSize, the prediction partition mode PartMode, the array horEdgeFlags and the variable edgeType
           set equal to EDGE_HOR as inputs, and the modified array horEdgeFlags as output.
      6.   The derivation process of the boundary filtering strength specified in clause 8.7.2.4 is invoked with the
           reconstructed luma picture sample array prior to deblocking recPictureL, the luma location ( xCb, yCb ), the luma
           coding block size log2CbSize, the variable edgeType set equal to EDGE_HOR and the array horEdgeFlags as
           inputs, and an (nCbS)x(nCbS) array horBs as output.


186             Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 208 of 717 Page ID #:737


    7.    The horizontal edge filtering process for a coding unit as specified in clause 8.7.2.5.2 is invoked with the modified
          reconstructed picture, i.e., the array recPictureL and, when ChromaArrayType is not equal to 0, the arrays
          recPictureCb and recPictureCr, the luma location ( xCb, yCb ), the luma coding block size log2CbSize, and the
          array horBs as inputs and the modified reconstructed picture, i.e., the array recPictureL and, when
          ChromaArrayType is not equal to 0, the arrays recPictureCb and recPictureCr, as output.

8.7.2.2    Derivation process of transform block boundary
Inputs to this process are:
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a luma location ( xB0, yB0 ) specifying the top-left sample of the current luma block relative to the top-left sample of
  the current luma coding block,
– a variable log2TrafoSize specifying the size of the current block,
– a variable trafoDepth,
– a variable filterEdgeFlag,
– a two-dimensional (nCbS)x(nCbS) array edgeFlags,
– a variable edgeType specifying whether a vertical (EDGE_VER) or a horizontal (EDGE_HOR) edge is filtered.
Output of this process is the modified two-dimensional (nCbS)x(nCbS) array edgeFlags.
Depending on the value of split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ], the following applies:
– If split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ] is equal to 1, the following ordered steps apply:
    1.    The variables xB1 and yB1 are derived as follows:
           −    The variable xB1 is set equal to xB0 + ( 1 << ( log2TrafoSize − 1 ) ).
           −    The variable yB1 is set equal to yB0 + ( 1 << ( log2TrafoSize − 1 ) ).
    2.    The derivation process of transform block boundary as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB0, yB0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable filterEdgeFlag, the array edgeFlags and the variable
          edgeType as inputs, and the output is the modified version of array edgeFlags.
    3.    The derivation process of transform block boundary as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB1, yB0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable filterEdgeFlag, the array edgeFlags and the variable
          edgeType as inputs, and the output is the modified version of array edgeFlags.
    4.    The derivation process of transform block boundary as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB0, yB1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable filterEdgeFlag, the array edgeFlags and the variable
          edgeType as inputs, and the output is the modified version of array edgeFlags.
    5.    The derivation process of transform block boundary as specified in this clause is invoked with the luma location
          ( xCb, yCb ), the luma location ( xB1, yB1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the
          variable trafoDepth set equal to trafoDepth + 1, the variable filterEdgeFlag, the array edgeFlags and the variable
          edgeType as inputs, and the output is the modified version of array edgeFlags.
– Otherwise (split_transform_flag[ xCb + xB0 ][ yCb + yB0 ][ trafoDepth ] is equal to 0), the following applies:
     –     If edgeType is equal to EDGE_VER, the                           value     of        edgeFlags[ xB0 ][ yB0 + k ]     for
           k = 0..( 1 << log2TrafoSize ) − 1 is derived as follows:
          –    If xB0 is equal to 0, edgeFlags[ xB0 ][ yB0 + k ] is set equal to filterEdgeFlag.
          –    Otherwise, edgeFlags[ xB0 ][ yB0 + k ] is set equal to 1.
     –     Otherwise (edgeType is equal to EDGE_HOR),                    the value        of    edgeFlags[ xB0 + k ][ yB0 ]    for
           k = 0..( 1 << log2TrafoSize ) − 1 is derived as follows:
          –    If yB0 is equal to 0, edgeFlags[ xB0 + k ][ yB0 ] is set equal to filterEdgeFlag.
          –    Otherwise, edgeFlags[ xB0 + k ][ yB0 ] is set equal to 1.



                                                                                Rec. ITU-T H.265 v8 (08/2021)                 187
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 209 of 717 Page ID #:738


8.7.2.3    Derivation process of prediction block boundary
Inputs to this process are:
– a variable log2CbSize specifying the luma coding block size,
– a prediction partition mode PartMode,
– a two-dimensional (nCbS)x(nCbS) array edgeFlags,
– a variable edgeType specifying whether a vertical (EDGE_VER) or a horizontal (EDGE_HOR) edge is filtered.
Output of this process is the modified two-dimensional (nCbS)x(nCbS) array edgeFlags.
Depending on the values of edgeType and PartMode, the following applies for k = 0..( 1 << log2CbSize ) − 1:
– If edgeType is equal to EDGE_VER, the following applies:
    – When PartMode is equal to PART_Nx2N or PART_NxN, edgeFlags[ 1 << ( log2CbSize − 1 ) ][ k ] is set equal
      to 1.
    – When PartMode is equal to PART_nLx2N, edgeFlags[ 1 << ( log2CbSize − 2 ) ][ k ] is set equal to 1.
    – When PartMode is equal to PART_nRx2N, edgeFlags[ 3 * ( 1 << ( log2CbSize − 2 ) ) ][ k ] is set equal to 1.
– Otherwise (edgeType is equal to EDGE_HOR), the following applies:
    – When PartMode is equal to PART_2NxN or PART_NxN, edgeFlags[ k ][ 1 << ( log2CbSize − 1 ) ] is set equal
      to 1.
    – When PartMode is equal to PART_2NxnU, edgeFlags[ k ][ 1 << ( log2CbSize − 2 ) ] is set equal to 1.
    – When PartMode is equal to PART_2NxnD, edgeFlags[ k ][ 3 * ( 1 << ( log2CbSize − 2 ) ) ] is set equal to 1.

8.7.2.4    Derivation process of boundary filtering strength
Inputs to this process are:
– a luma picture sample array recPictureL,
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a variable log2CbSize specifying the size of the current luma coding block,
– a variable edgeType specifying whether a vertical (EDGE_VER) or a horizontal (EDGE_HOR) edge is filtered,
– a two-dimensional (nCbS)x(nCbS) array edgeFlags.
Output of this process is a two-dimensional (nCbS)x(nCbS) array bS specifying the boundary filtering strength.
The variables xDi, yDj, xN and yN are derived as follows:
–     If edgeType is equal to EDGE_VER, xDi is set equal to ( i << 3 ), yDj is set equal to ( j << 2 ), xN is set equal to
      ( 1 << ( log2CbSize − 3 ) ) − 1 and yN is set equal to ( 1 << ( log2CbSize − 2 ) ) − 1.
–     Otherwise (edgeType is equal to EDGE_HOR), xDi is set equal to ( i << 2 ), yDj is set equal to ( j << 3 ), xN is set
      equal to ( 1 << ( log2CbSize − 2 ) ) − 1 and yN is set equal to ( 1 << ( log2CbSize − 3 ) ) − 1.
For xDi with i = 0..xN and yDj with j = 0..yN, the following applies:
      –   If edgeFlags[ xDi ][ yDj ] is equal to 0, the variable bS[ xDi ][ yDj ] is set equal to 0.
      –   Otherwise (edgeFlags[ xDi ][ yDj ] is equal to 1), the following applies:
          –      The sample values p0 and q0 are derived as follows:
                 –    If edgeType is equal to EDGE_VER, p0 is set equal to recPictureL[ xCb + xDi − 1 ][ yCb + yDj ] and
                      q0 is set equal to recPictureL[ xCb + xDi ][ yCb + yDj ].
                 –    Otherwise     (edgeType      is   equal      to     EDGE_HOR),          p0     is   set     equal   to
                      recPictureL[ xCb + xDi ][ yCb + yDj − 1 ] and q0 is set equal to recPictureL[ xCb + xDi ][ yCb + yDj ].
          –      The variable bS[ xDi ][ yDj ] is derived as follows:
                 –    If the sample p0 or q0 is in the luma coding block of a coding unit coded with intra prediction mode,
                      bS[ xDi ][ yDj ] is set equal to 2.


188           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25             Page 210 of 717 Page ID #:739


               –     Otherwise, if the block edge is also a transform block edge and the sample p0 or q0 is in a luma
                     transform block which contains one or more non-zero transform coefficient levels, bS[ xDi ][ yDj ] is
                     set equal to 1.
               –     Otherwise, if one or more of the following conditions are true, bS[ xDi ][ yDj ] is set equal to 1:
                     –    For the prediction of the luma prediction block containing the sample p0 different reference
                          pictures or a different number of motion vectors are used than for the prediction of the luma
                          prediction block containing the sample q0.
                               NOTE 1 – The determination of whether the reference pictures used for the two luma prediction blocks
                               are the same or different is based only on which pictures are referenced, without regard to whether a
                               prediction is formed using an index into reference picture list 0 or an index into reference picture list
                               1, and also without regard to whether the index position within a reference picture list is different.
                               NOTE 2 – The number of motion vectors that are used for the prediction of a luma prediction block
                               with top-left luma sample covering ( xPb, yPb ), is equal to PredFlagL0[ xPb ][ yPb ] +
                               PredFlagL1[ xPb ][ yPb ].

                     –    One motion vector is used to predict the luma prediction block containing the sample p0 and one
                          motion vector is used to predict the luma prediction block containing the sample q0, and the
                          absolute difference between the horizontal or vertical component of the motion vectors used is
                          greater than or equal to 4 in units of quarter luma samples.
                     –    Two motion vectors and two different reference pictures are used to predict the luma prediction
                          block containing the sample p0, two motion vectors for the same two reference pictures are used
                          to predict the luma prediction block containing the sample q0 and the absolute difference between
                          the horizontal or vertical component of the two motion vectors used in the prediction of the two
                          luma prediction blocks for the same reference picture is greater than or equal to 4 in units of
                          quarter luma samples.
                     –    Two motion vectors for the same reference picture are used to predict the luma prediction block
                          containing the sample p0, two motion vectors for the same reference picture are used to predict
                          the luma prediction block containing the sample q0 and both of the following conditions are true:
                          –   The absolute difference between the horizontal or vertical component of list 0 motion vectors
                              used in the prediction of the two luma prediction blocks is greater than or equal to 4 in quarter
                              luma samples, or the absolute difference between the horizontal or vertical component of the
                              list 1 motion vectors used in the prediction of the two luma prediction blocks is greater than
                              or equal to 4 in units of quarter luma samples.
                          –   The absolute difference between the horizontal or vertical component of list 0 motion vector
                              used in the prediction of the luma prediction block containing the sample p0 and the list 1
                              motion vector used in the prediction of the luma prediction block containing the sample q0 is
                              greater than or equal to 4 in units of quarter luma samples, or the absolute difference between
                              the horizontal or vertical component of the list 1 motion vector used in the prediction of the
                              luma prediction block containing the sample p0 and list 0 motion vector used in the prediction
                              of the luma prediction block containing the sample q0 is greater than or equal to 4 in units of
                              quarter luma samples.
               –     Otherwise, the variable bS[ xDi ][ yDj ] is set equal to 0.

8.7.2.5    Edge filtering process

8.7.2.5.1 Vertical edge filtering process
Inputs to this process are:
– the picture sample array recPictureL and, when ChromaArrayType is not equal to 0, the arrays recPictureCb and
  recPictureCr,
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a variable log2CbSize specifying the size of the current luma coding block,
– an array bS specifying the boundary filtering strength.
Outputs of this process are the modified picture sample array recPictureL and, when ChromaArrayType is not equal to 0,
the arrays recPictureCb and recPictureCr.
The filtering process for edges in the luma coding block of the current coding unit consists of the following ordered steps:


                                                                                    Rec. ITU-T H.265 v8 (08/2021)                 189
Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25          Page 211 of 717 Page ID #:740


      1.   The variable nD is set equal to 1 << ( log2CbSize − 3 ).
      2.   For xDk equal to k << 3 with k = 0..nD − 1 and yDm equal to m << 2 with m = 0..nD * 2 − 1, the following
           applies:
                –    When bS[ xDk ][ yDm ] is greater than 0, the following ordered steps apply:
                     a.   The decision process for luma block edges as specified in clause 8.7.2.5.3 is invoked with the luma
                          picture sample array recPictureL, the location of the luma coding block ( xCb, yCb ), the luma
                          location of the block ( xDk, yDm ), a variable edgeType set equal to EDGE_VER and the boundary
                          filtering strength bS[ xDk ][ yDm ] as inputs, and the decisions dE, dEp and dEq, and the variables β
                          and tC as outputs.
                     b.   The filtering process for luma block edges as specified in clause 8.7.2.5.4 is invoked with the luma
                          picture sample array recPictureL, the location of the luma coding block ( xCb, yCb ), the luma
                          location of the block ( xDk, yDm ), a variable edgeType set equal to EDGE_VER, the decisions dE,
                          dEp and dEq, and the variables β and tC as inputs, and the modified luma picture sample array
                          recPictureL as output.
When ChromaArrayType is not equal to 0, the following applies.
The filtering process for edges in the chroma coding blocks of current coding unit consists of the following ordered steps:
      1.   The variable nD is set equal to 1 << ( log2CbSize − 3 ).
      2.   The variable edgeSpacing is set equal to 8 / SubWidthC.
      3.   The variable edgeSections is set equal to nD * ( 2 / SubHeightC ).
      4.   For xDk equal to k * edgeSpacing with k = 0..nD − 1 and yDm equal to m << 2 with m = 0..edgeSections − 1, the
           following applies:
           –    When          bS[ xDk * SubWidthC ][ yDm * SubHeightC ]       is     equal       to      2       and
                ( ( ( xCb / SubWidthC + xDk ) >> 3 ) << 3 ) is equal to xCb / SubWidthC + xDk, the following ordered
                steps apply:
                a.   The filtering process for chroma block edges as specified in clause 8.7.2.5.5 is invoked with the chroma
                     picture sample array recPictureCb, the location of the chroma coding block
                     ( xCb / SubWidthC, yCb / SubHeightC ), the chroma location of the block ( xDk, yDm ), a variable
                     edgeType set equal to EDGE_VER and a variable cQpPicOffset set equal to pps_cb_qp_offset as inputs,
                     and the modified chroma picture sample array recPictureCb as output.
                b.   The filtering process for chroma block edges as specified in clause 8.7.2.5.5 is invoked with the chroma
                     picture sample array recPictureCr, the location of the chroma coding block
                     ( xCb / SubWidthC, yCb / SubHeightC ), the chroma location of the block ( xDk, yDm ), a variable
                     edgeType set equal to EDGE_VER and a variable cQpPicOffset set equal to pps_cr_qp_offset as inputs,
                     and the modified chroma picture sample array recPictureCr as output.

8.7.2.5.2 Horizontal edge filtering process
Inputs to this process are:
– the picture sample array recPictureL and, when ChromaArrayType is not equal to 0, the arrays recPictureCb and
  recPictureCr,
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a variable log2CbSize specifying the size of the current luma coding block,
– an array bS specifying the boundary filtering strength.
Outputs of this process are the modified picture sample array recPictureL and, when ChromaArrayType is not equal to 0,
the arrays recPictureCb and recPictureCr.
The filtering process for edges in the luma coding block of the current coding unit consists of the following ordered steps:
      1.   The variable nD is set equal to 1 << ( log2CbSize − 3 ).
      2.   For yDm equal to m << 3 with m = 0..nD − 1 and xDk equal to k << 2 with k = 0..nD * 2 − 1, the following
           applies:
           –    When bS[ xDk ][ yDm ] is greater than 0, the following ordered steps apply:


190            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25         Page 212 of 717 Page ID #:741


              a.   The decision process for luma block edges as specified in clause 8.7.2.5.3 is invoked with the luma
                   picture sample array recPictureL, the location of the luma coding block ( xCb, yCb ), the luma location
                   of the block ( xDk, yDm ), a variable edgeType set equal to EDGE_HOR and the boundary filtering
                   strength bS[ xDk ][ yDm ] as inputs, and the decisions dE, dEp and dEq, and the variables β and tC as
                   outputs.
              b.   The filtering process for luma block edges as specified in clause 8.7.2.5.4 is invoked with the luma
                   picture sample array recPictureL, the location of the luma coding block ( xCb, yCb ), the luma location
                   of the block ( xDk, yDm ), a variable edgeType set equal to EDGE_HOR, the decisions dEp, dEp and
                   dEq, and the variables β and tC as inputs, and the modified luma picture sample array recPictureL as
                   output.
When ChromaArrayType is not equal to 0, the following applies.
The filtering process for edges in the chroma coding blocks of current coding unit consists of the following ordered steps:
    1.   The variable nD is set equal to 1 << ( log2CbSize − 3 ).
    2.   The variable edgeSpacing is set equal to 8 / SubHeightC.
    3.   The variable edgeSections is set equal to nD * ( 2 / SubWidthC ).
    4.   For yDm equal to m * edgeSpacing with m = 0..nD − 1 and xDk equal to k << 2 with k = 0..edgeSections − 1, the
         following applies:
         –    When          bS[ xDk * SubWidthC ][ yDm * SubHeightC ]        is     equal       to       2       and
              ( ( ( yCb / SubHeightC + yDm ) >> 3 ) << 3 ) is equal to yCb / SubHeightC + yDm, the following ordered
              steps apply:
              a.   The filtering process for chroma block edges as specified in clause 8.7.2.5.5 is invoked with the chroma
                   picture sample array recPictureCb, the location of the chroma coding block
                   ( xCb / SubWidthC, yCb / SubHeightC ), the chroma location of the block ( xDk, yDm ), a variable
                   edgeType set equal to EDGE_HOR and a variable cQpPicOffset set equal to pps_cb_qp_offset as inputs,
                   and the modified chroma picture sample array recPictureCb as output.
              b.   The filtering process for chroma block edges as specified in clause 8.7.2.5.5 is invoked with the chroma
                   picture sample array recPictureCr, the location of the chroma coding block
                   ( xCb / SubWidthC, yCb / SubHeightC ), the chroma location of the block ( xDk, yDm ), a variable
                   edgeType set equal to EDGE_HOR and a variable cQpPicOffset set equal to pps_cr_qp_offset as inputs,
                   and the modified chroma picture sample array recPictureCr as output.

8.7.2.5.3 Decision process for luma block edges
Inputs to this process are:
– a luma picture sample array recPictureL,
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a luma location ( xBl, yBl ) specifying the top-left sample of the current luma block relative to the top-left sample of
  the current luma coding block,
– a variable edgeType specifying whether a vertical (EDGE_VER) or a horizontal (EDGE_HOR) edge is filtered,
– a variable bS specifying the boundary filtering strength.
Outputs of this process are:
– the variables dE, dEp and dEq containing decisions,
– the variables β and tC.
If edgeType is equal to EDGE_VER, the sample values pi,k and qi,k with i = 0..3 and k = 0 and 3 are derived as follows:

          qi,k = recPictureL[ xCb + xBl + i ][ yCb + yBl + k ]                                                    (8-343)

          pi,k = recPictureL[ xCb + xBl − i − 1 ][ yCb + yBl + k ]                                                (8-344)




                                                                              Rec. ITU-T H.265 v8 (08/2021)           191
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25         Page 213 of 717 Page ID #:742


Otherwise (edgeType is equal to EDGE_HOR), the sample values pi,k and qi,k with i = 0..3 and k = 0 and 3 are derived as
follows:

            qi,k = recPictureL[ xCb + xBl + k ][ yCb + yBl + i ]                                                   (8-345)

            pi,k = recPictureL[ xCb + xBl + k ][ yCb + yBl − i − 1 ]                                               (8-346)

The variables QpQ and QpP are set equal to the QpY values of the coding units which include the coding blocks
containing the sample q0,0 and p0,0, respectively.
The variable qPL is derived as follows:

            qPL = ( ( QpQ + QpP + 1 ) >> 1 )                                                                       (8-347)

The value of the variable β′ is determined as specified in Table 8-12 based on the luma quantization parameter Q derived
as follows:

            Q = Clip3( 0, 51, qPL + ( slice_beta_offset_div2 << 1 ) )                                              (8-348)

where slice_beta_offset_div2 is the value of the syntax element slice_beta_offset_div2 for the slice that contains sample
q0,0.
The variable β is derived as follows:

            β = β′ * ( 1 << ( BitDepthY − 8 ) )                                                                    (8-349)

The value of the variable tC′ is determined as specified in Table 8-12 based on the luma quantization parameter Q derived
as follows:

            Q = Clip3( 0, 53, qPL + 2 * ( bS − 1 ) + ( slice_tc_offset_div2 << 1 ) )                               (8-350)

where slice_tc_offset_div2 is the value of the syntax element slice_tc_offset_div2 for the slice that contains sample q0,0.
The variable tC is derived as follows:

            tC = tC′ * ( 1 << ( BitDepthY − 8 ) )                                                                  (8-351)

Depending on the value of edgeType, the following applies:
– If edgeType is equal to EDGE_VER, the following ordered steps apply:
      1.   The variables dpq0, dpq3, dp, dq and d are derived as follows:

                dp0 = Abs( p2,0 − 2 * p1,0 + p0,0 )                                                                (8-352)

                dp3 = Abs( p2,3 − 2 * p1,3 + p0,3 )                                                                (8-353)

                dq0 = Abs( q2,0 − 2 * q1,0 + q0,0 )                                                                (8-354)

                dq3 = Abs( q2,3 − 2 * q1,3 + q0,3 )                                                                (8-355)

                dpq0 = dp0 + dq0                                                                                   (8-356)

                dpq3 = dp3 + dq3                                                                                   (8-357)

                dp = dp0 + dp3                                                                                     (8-358)

                dq = dq0 + dq3                                                                                     (8-359)

                d = dpq0 + dpq3                                                                                    (8-360)

      2.   The variables dE, dEp and dEq are set equal to 0.
      3.   When d is less than β, the following ordered steps apply:



192          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7             Filed 04/07/25          Page 214 of 717 Page ID #:743


        a.   The variable dpq is set equal to 2 * dpq0.
        b.   For the sample location ( xCb + xBl, yCb + yBl ), the decision process for a luma sample as specified in
             clause 8.7.2.5.6 is invoked with sample values p0,0, p3,0, q0,0, and q3,0, the variables dpq, β and tC as inputs,
             and the output is assigned to the decision dSam0.
        c.   The variable dpq is set equal to 2 * dpq3.
        d.   For the sample location ( xCb + xBl, yCb + yBl + 3 ), the decision process for a luma sample as specified in
             clause 8.7.2.5.6 is invoked with sample values p0,3, p3,3, q0,3, and q3,3, the variables dpq, β and tC as inputs,
             and the output is assigned to the decision dSam3.
        e.   The variable dE is set equal to 1.
        f.   When dSam0 is equal to 1 and dSam3 is equal to 1, the variable dE is set equal to 2.
        g.   When dp is less than ( β + ( β >> 1 ) ) >> 3, the variable dEp is set equal to 1.
        h.   When dq is less than ( β + ( β >> 1 ) ) >> 3, the variable dEq is set equal to 1.
– Otherwise (edgeType is equal to EDGE_HOR), the following ordered steps apply:
   1.   The variables dpq0, dpq3, dp, dq and d are derived as follows:

             dp0 = Abs( p2,0 − 2 * p1,0 + p0,0 )                                                                       (8-361)

             dp3 = Abs( p2,3 − 2 * p1,3 + p0,3 )                                                                       (8-362)

             dq0 = Abs( q2,0 − 2 * q1,0 + q0,0 )                                                                       (8-363)

             dq3 = Abs( q2,3 − 2 * q1,3 + q0,3 )                                                                       (8-364)

             dpq0 = dp0 + dq0                                                                                          (8-365)

             dpq3 = dp3 + dq3                                                                                          (8-366)

             dp = dp0 + dp3                                                                                            (8-367)

             dq = dq0 + dq3                                                                                            (8-368)

             d = dpq0 + dpq3                                                                                           (8-369)

   2.   The variables dE, dEp and dEq are set equal to 0.
   3.   When d is less than β, the following ordered steps apply:
        a.   The variable dpq is set equal to 2 * dpq0.
        b.   For the sample location ( xCb + xBl, yCb + yBl ), the decision process for a luma sample as specified in
             clause 8.7.2.5.6 is invoked with sample values p0,0, p3,0, q0,0 and q3,0, the variables dpq, β and tC as inputs, and
             the output is assigned to the decision dSam0.
        c.   The variable dpq is set equal to 2 * dpq3.
        d.   For the sample location ( xCb + xBl + 3, yCb + yBl ), the decision process for a luma sample as specified in
             clause 8.7.2.5.6 is invoked with sample values p0,3, p3,3, q0,3 and q3,3, the variables dpq, β and tC as inputs, and
             the output is assigned to the decision dSam3.
        e.   The variable dE is set equal to 1.
        f.   When dSam0 is equal to 1 and dSam3 is equal to 1, the variable dE is set equal to 2.
        g.   When dp is less than ( β + ( β >> 1 ) ) >> 3, the variable dEp is set equal to 1.
        h.   When dq is less than ( β + ( β >> 1 ) ) >> 3, the variable dEq is set equal to 1.




                                                                                 Rec. ITU-T H.265 v8 (08/2021)             193
Case 2:25-cv-03053                   Document 1-7             Filed 04/07/25            Page 215 of 717 Page ID #:744


                              Table 8-12 – Derivation of threshold variables β′ and tC′ from input Q

  Q        0       1     2       3    4     5      6     7      8     9     10     11     12    13    14     15    16     17      18
  β′       0       0     0       0    0     0      0     0      0     0      0     0      0     0      0      0     6      7      8
  t C′     0       0     0       0    0     0      0     0      0     0      0     0      0     0      0      0     0      0      1
  Q        19     20     21     22    23    24    25     26    27     28    29     30     31    32    33     34    35     36      37
  β′       9      10     11     12    13    14    15     16    17     18    20     22     24    26    28     30    32     34      36
  t C′     1       1     1       1    1     1      1     1      2     2      2     2      3     3      3      3     4      4      4
  Q        38     39     40     41    42    43    44     45    46     47    48     49     50    51    52     53
  β′       38     40     42     44    46    48    50     52    54     56    58     60     62    64     -      -
  t C′     5       5     6       6    7     8      9     10    11     13    14     16     18    20    22     24



8.7.2.5.4 Filtering process for luma block edges
Inputs to this process are:
– a luma picture sample array recPictureL,
– a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
  luma sample of the current picture,
– a luma location ( xBl, yBl ) specifying the top-left sample of the current luma block relative to the top-left sample of
  the current luma coding block,
– a variable edgeType specifying whether a vertical (EDGE_VER) or a horizontal (EDGE_HOR) edge is filtered,
– the variables dE, dEp and dEq containing decisions,
– the variables β and tC.
Output of this process is the modified luma picture sample array recPictureL.
Depending on the value of edgeType, the following applies:
– If edgeType is equal to EDGE_VER, the following ordered steps apply:
      1.   The sample values pi,k and qi,k with i = 0..3 and k = 0..3 are derived as follows:

                  qi,k = recPictureL[ xCb + xBl + i ][ yCb + yBl + k ]                                                         (8-370)

                  pi,k = recPictureL[ xCb + xBl − i − 1 ][ yCb + yBl + k ]                                                     (8-371)

      2.   When dE is not equal to 0, for each sample location ( xCb + xBl, yCb + yBl + k ), k = 0..3, the following ordered
           steps apply:
           a.    The filtering process for a luma sample as specified in clause 8.7.2.5.7 is invoked with the sample values pi,k,
                 qi,k with i = 0..3, the locations ( xPi, yPi ) set equal to ( xCb + xBl − i − 1, yCb + yBl + k ) and ( xQi, yQi ) set
                 equal to ( xCb + xBl + i, yCb + yBl + k ) with i = 0..2, the decision dE, the variables dEp and dEq and the
                 variable tC as inputs, and the number of filtered samples nDp and nDq from each side of the block boundary
                 and the filtered sample values pi' and qj' as outputs.
           b.    When nDp is greater than 0, the filtered sample values pi' with i = 0..nDp − 1 replace the corresponding
                 samples inside the sample array recPictureL as follows:

                       recPictureL[ xCb + xBl − i − 1 ][ yCb + yBl + k ] = pi'                                                 (8-372)

           c.    When nDq is greater than 0, the filtered sample values qj' with j = 0..nDq − 1 replace the corresponding
                 samples inside the sample array recPictureL as follows:

                       recPictureL[ xCb + xBl + j ][ yCb + yBl + k ] = qj'                                                     (8-373)

– Otherwise (edgeType is equal to EDGE_HOR), the following ordered steps apply:
      1.   The sample values pi,k and qi,k with i = 0..3 and k = 0..3 are derived as follows:


194             Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25           Page 216 of 717 Page ID #:745


                 qi,k = recPictureL[ xCb + xBl + k ][ yCb + yBl + i ]                                                      (8-374)

                 pi,k = recPictureL[ xCb + xBl + k ][ yCb + yBl − i − 1 ]                                                  (8-375)

    2.   When dE is not equal to 0, for each sample location ( xCb + xBl + k, yCb + yBl ), k = 0..3, the following ordered
         steps apply:
         a.     The filtering process for a luma sample as specified in clause 8.7.2.5.7 is invoked with the sample values pi,k,
                qi,k with i = 0..3, the locations ( xPi, yPi ) set equal to ( xCb + xBl + k, yCb + yBl − i − 1 ) and ( xQi, yQi ) set
                equal to ( xCb + xBl + k, yCb + yBl + i ) with i = 0..2, the decision dE, the variables dEp and dEq, and the
                variable tC as inputs, and the number of filtered samples nDp and nDq from each side of the block boundary
                and the filtered sample values pi' and qj' as outputs.
         b.     When nDp is greater than 0, the filtered sample values pi' with i = 0..nDp − 1 replace the corresponding
                samples inside the sample array recPictureL as follows:

                    recPictureL[ xCb + xBl + k ][ yCb + yBl − i − 1 ] = pi'                                                (8-376)

         c.     When nDq is greater than 0, the filtered sample values qj' with j = 0..nDq − 1 replace the corresponding
                samples inside the sample array recPictureL as follows:

                    recPictureL[ xCb + xBl + k ][ yCb + yBl + j ] = qj'                                                    (8-377)

8.7.2.5.5 Filtering process for chroma block edges
This process is only invoked when ChromaArrayType is not equal to 0.
Inputs to this process are:
– a chroma picture sample array s′,
– a chroma location ( xCb, yCb ) specifying the top-left sample of the current chroma coding block relative to the top-
  left chroma sample of the current picture,
– a chroma location ( xBl, yBl ) specifying the top-left sample of the current chroma block relative to the top-left sample
  of the current chroma coding block,
– a variable edgeType specifying whether a vertical (EDGE_VER) or a horizontal (EDGE_HOR) edge is filtered,
– a variable cQpPicOffset specifying the picture-level chroma quantization parameter offset.
Output of this process is the modified chroma picture sample array s′.
If edgeType is equal to EDGE_VER, the values pi and qi with i = 0..1 and k = 0..3 are derived as follows:

              qi,k = s′[ xCb + xBl + i ][ yCb + yBl + k ]                                                                   (8-378)

              pi,k = s′[ xCb + xBl − i − 1 ][ yCb + yBl + k ]                                                               (8-379)

Otherwise (edgeType is equal to EDGE_HOR), the sample values pi and qi with i = 0..1 and k = 0..3 are derived as follows:

              qi,k = s′[ xCb + xBl + k ][ yCb + yBl + i ]                                                                   (8-380)

              pi,k = s′[ xCb + xBl + k ][ yCb + yBl − i − 1 ]                                                               (8-381)

The variables QpQ and QpP are set equal to the QpY values of the coding units which include the coding blocks containing
the sample q0,0 and p0,0, respectively.
The index qPi is derived as follows:

              qPi = ( ( QpQ + QpP + 1 ) >> 1 ) + cQpPicOffset                                                               (8-382)

The variable QpC is derived as follows:
– If ChromaArrayType is equal to 1, the variable QpC is determined based on qPi as specified in Table 8-10.
– Otherwise (ChromaArrayType is greater than 1), the variable QpC is set equal to Min( qPi, 51 ).




                                                                                    Rec. ITU-T H.265 v8 (08/2021)              195
Case 2:25-cv-03053                Document 1-7               Filed 04/07/25            Page 217 of 717 Page ID #:746


   NOTE – The variable cQpPicOffset provides an adjustment for the value of pps_cb_qp_offset or pps_cr_qp_offset, according to
   whether the filtered chroma component is the Cb or Cr component. However, to avoid the need to vary the amount of the adjustment
   within the picture, the filtering process does not include an adjustment for the value of slice_cb_qp_offset or slice_cr_qp_offset, nor
   (when chroma_qp_offset_list_enabled_flag is equal to 1) for the value of CuQpOffsetCb or CuQpOffsetCr.

The value of the variable tC′ is determined as specified in Table 8-12 based on the chroma quantization parameter Q derived
as follows:

            Q = Clip3( 0, 53, QpC + 2 + ( slice_tc_offset_div2 << 1 ) )                                                         (8-383)

where slice_tc_offset_div2 is the value of the syntax element slice_tc_offset_div2 for the slice that contains sample q0,0.
The variable tC is derived as follows:

            tC = tC′ * ( 1 << ( BitDepthC − 8 ) )                                                                               (8-384)

Depending on the value of edgeType, the following applies:
– If edgeType is equal to EDGE_VER, for each sample location ( xCb + xBl, yCb + yBl + k ), k = 0..3, the following
  ordered steps apply:
      1.   The filtering process for a chroma sample as specified in clause 8.7.2.5.8 is invoked with the sample values pi,k,
           qi,k, with i = 0..1, the locations ( xCb + xBl − 1, yCb + yBl + k ) and ( xCb + xBl, yCb + yBl + k ) and the variable
           tC as inputs, and the filtered sample values p0′ and q0′ as outputs.
      2.   The filtered sample values p0′ and q0′ replace the corresponding samples inside the sample array s′ as follows:

                s′[ xCb + xBl ][ yCb + yBl + k ] = q0′                                                                          (8-385)

                s′[ xCb + xBl − 1 ][ yCb + yBl + k ] = p0′                                                                      (8-386)

– Otherwise (edgeType is equal to EDGE_HOR), for each sample location ( xCb + xBl + k, yCb + yBl ), k = 0..3, the
  following ordered steps apply:
      1.   The filtering process for a chroma sample as specified in clause 8.7.2.5.8 is invoked with the sample values pi,k,
           qi,k, with i = 0..1, the locations ( xCb + xBl + k, yCb + yBl − 1 ) and ( xCb + xBl + k, yCb + yBl ), and the
           variable tC as inputs, and the filtered sample values p0′ and q0′ as outputs.
      2.   The filtered sample values p0′ and q0′ replace the corresponding samples inside the sample array s′ as follows:

                s′[ xCb + xBl + k ][ yCb + yBl ] = q0′                                                                          (8-387)

                s′[ xCb + xBl + k ][ yCb + yBl − 1 ] = p0′                                                                      (8-388)

8.7.2.5.6 Decision process for a luma sample
Inputs to this process are:
– the sample values p0, p3, q0 and q3,
– the variables dpq, β and tC.
Output of this process is the variable dSam containing a decision.
The variable dSam is specified as follows:
– If dpq is less than ( β >> 2 ), Abs( p3 − p0 ) + Abs( q0 − q3 ) is less than ( β >> 3 ) and Abs( p0 − q0 ) is less than
  ( 5 * tC + 1 ) >> 1, dSam is set equal to 1.
– Otherwise, dSam is set equal to 0.

8.7.2.5.7 Filtering process for a luma sample
Inputs to this process are:
– the luma sample values pi and qi with i = 0..3,
– the luma locations of pi and qi, ( xPi, yPi ) and ( xQi, yQi ) with i = 0..2,
– a variable dE,



196          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 218 of 717 Page ID #:747


– the variables dEp and dEq containing decisions to filter samples p1 and q1, respectively,
– a variable tC.
Outputs of this process are:
– the number of filtered samples nDp and nDq,
– the filtered sample values pi′ and qj′ with i = 0..nDp − 1, j = 0..nDq − 1.
Depending on the value of dE, the following applies:
– If the variable dE is equal to 2, nDp and nDq are both set equal to 3 and the following strong filtering applies:

         p0′ = Clip3( p0 − 2 * tC, p0 + 2 * tC, ( p2 + 2 * p1 + 2 * p0 + 2 * q0 + q1 + 4 ) >> 3 )                 (8-389)

         p1′ = Clip3( p1 − 2 * tC, p1 + 2 * tC, ( p2 + p1 + p0 + q0 + 2 ) >> 2 )                                  (8-390)

         p2′ = Clip3( p2 − 2 * tC, p2 + 2*tC, ( 2 * p3 + 3 * p2 + p1 + p0 + q0 + 4 ) >> 3 )                       (8-391)

         q0′ = Clip3( q0 − 2 * tC, q0 + 2 * tC, ( p1 + 2 * p0 + 2 * q0 + 2 * q1 + q2 + 4 ) >> 3 )                 (8-392)

         q1′ = Clip3( q1 − 2 * tC, q1 + 2 * tC, ( p0 + q0 + q1 + q2 + 2 ) >> 2 )                                  (8-393)

         q2′= Clip3( q2 − 2 * tC, q2 + 2 * tC, ( p0 + q0 + q1 + 3 * q2 + 2 * q3 + 4 ) >> 3 )                      (8-394)

– Otherwise, nDp and nDq are set both equal to 0 and the following weak filtering applies:
     –     The following applies:

                = ( 9 * ( q0 − p0 ) − 3 * ( q1 − p1 ) + 8 ) >> 4                                                 (8-395)

     –     When Abs() is less than tC * 10, the following ordered steps apply:
           1. The filtered sample values p0′ and q0′ are specified as follows:

                    = Clip3( −tC, tC,  )                                                                        (8-396)

                   p0′ = Clip1Y( p0 +  )                                                                         (8-397)

                   q0′ = Clip1Y( q0 −  )                                                                         (8-398)

           2. When dEp is equal to 1, the filtered sample value p1′ is specified as follows:

                   p = Clip3( −( tC >> 1 ), tC >> 1, ( ( ( p2 + p0 + 1 ) >> 1 ) − p1 +  ) >> 1 )                (8-399)

                   p1′ = Clip1Y( p1 + p )                                                                        (8-400)

           3. When dEq is equal to 1, the filtered sample value q1′ is specified as follows:

                   q = Clip3( −( tC >> 1 ), tC >> 1, ( ( ( q2 + q0 + 1 ) >> 1 ) − q1 −  ) >> 1 )                (8-401)

                   q1′ = Clip1Y( q1 + q )                                                                        (8-402)

           4. nDp is set equal to dEp + 1 and nDq is set equal to dEq + 1.
When nDp is greater than 0 and one or more of the following conditions are true, nDp is set equal to 0:
   – pcm_loop_filter_disabled_flag is equal to 1 and pcm_flag[ xP0 ][ yP0 ] is equal to 1.
   – cu_transquant_bypass_flag of the coding unit that includes the coding block containing the sample p0 is equal to 1.
   – palette_mode_flag of the coding unit that includes the coding block containing the sample p0 is equal to 1.
When nDq is greater than 0 and one or more of the following conditions are true, nDq is set equal to 0:



                                                                                Rec. ITU-T H.265 v8 (08/2021)         197
Case 2:25-cv-03053                 Document 1-7         Filed 04/07/25          Page 219 of 717 Page ID #:748


   – pcm_loop_filter_disabled_flag is equal to 1 and pcm_flag[ xQ0 ][ yQ0 ] is equal to 1.
   – cu_transquant_bypass_flag of the coding unit that includes the coding block containing the sample q0 is equal to 1.
   – palette_mode_flag of the coding unit that includes the coding block containing the sample q0 is equal to 1.

8.7.2.5.8 Filtering process for a chroma sample
This process is only invoked when ChromaArrayType is not equal to 0.
Inputs to this process are:
– the chroma sample values pi and qi with i = 0..1,
– the chroma locations of p0 and q0, ( xP0, yP0 ) and ( xQ0, yQ0 ),
– a variable tC.
Outputs of this process are the filtered sample values p0′ and q0′.
The filtered sample values p0′ and q0′ are derived as follows:

           = Clip3( −tC, tC, ( ( ( ( q0 − p0 ) << 2 ) + p1 − q1 + 4 ) >> 3 ) )                                      (8-403)

          p0′ = Clip1C( p0 +  )                                                                                     (8-404)

          q0′ = Clip1C( q0 −  )                                                                                     (8-405)

When one or more of the following conditions are true, the filtered sample value, p 0′ is substituted by the corresponding
input sample value p0:
   – pcm_loop_filter_disabled_flag is equal to 1 and pcm_flag[ xP0 * SubWidthC ][ yP0 * SubHeightC ] is equal to 1.
   – cu_transquant_bypass_flag of the coding unit that includes the coding block containing the sample p0 is equal to 1.
   – palette_mode_flag of the coding unit that includes the coding block containing the sample p0 is equal to 1.
When one or more of the following conditions are true, the filtered sample value, q 0′ is substituted by the corresponding
input sample value q0:
   – pcm_loop_filter_disabled_flag is equal to 1 and pcm_flag[ xQ0 * SubWidthC ][ yQ0 * SubHeightC ] is equal to 1.
   – cu_transquant_bypass_flag of the coding unit that includes the coding block containing the sample q0 is equal to 1.
   – palette_mode_flag of the coding unit that includes the coding block containing the sample q0 is equal to 1.

8.7.3        Sample adaptive offset process

8.7.3.1     General
Inputs to this process are the reconstructed picture sample array prior to sample adaptive offset recPictureL and, when
ChromaArrayType is not equal to 0, the arrays recPictureCb and recPictureCr.
Outputs of this process are the modified reconstructed picture sample array after sample adaptive offset saoPictureL and,
when ChromaArrayType is not equal to 0, the arrays saoPictureCb and saoPictureCr.
This process is performed on a CTB basis after the completion of the deblocking filter process for the decoded picture.
The sample values in the modified reconstructed picture sample array saoPictureL and, when ChromaArrayType is not
equal to 0, the arrays saoPictureCb and saoPictureCr are initially set equal to the sample values in the reconstructed picture
sample array recPictureL and, when ChromaArrayType is not equal to 0, the arrays recPictureCb and recPictureCr,
respectively.
For every CTU with CTB location ( rx, ry ), where rx = 0..PicWidthInCtbsY − 1 and ry = 0..PicHeightInCtbsY − 1, the
following applies:
– When slice_sao_luma_flag of the current slice is equal to 1, the CTB modification process as specified in clause 8.7.3.2
  is invoked with recPicture set equal to recPictureL, cIdx set equal to 0, ( rx, ry ), and both nCtbSw and nCtbSh set equal
  to CtbSizeY as inputs, and the modified luma picture sample array saoPictureL as output.
– When ChromaArrayType is not equal to 0 and slice_sao_chroma_flag of the current slice is equal to 1, the CTB
  modification process as specified in clause 8.7.3.2 is invoked with recPicture set equal to recPictureCb, cIdx set equal



198           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7            Filed 04/07/25           Page 220 of 717 Page ID #:749


   to 1, ( rx, ry ), nCtbSw set equal to ( 1 << CtbLog2SizeY ) / SubWidthC and nCtbSh set equal to
   ( 1 << CtbLog2SizeY ) / SubHeightC as inputs, and the modified chroma picture sample array saoPictureCb as output.
– When ChromaArrayType is not equal to 0 and slice_sao_chroma_flag of the current slice is equal to 1, the CTB
  modification process as specified in clause 8.7.3.2 is invoked with recPicture set equal to recPictureCr, cIdx set equal
  to 2, ( rx, ry ), nCtbSw set equal to ( 1 << CtbLog2SizeY ) / SubWidthC and nCtbSh set equal to
  ( 1 << CtbLog2SizeY ) / SubHeightC as inputs, and the modified chroma picture sample array saoPictureCr as output.

8.7.3.2        CTB modification process
Inputs to this process are:
– the picture sample array recPicture for the colour component cIdx,
– a variable cIdx specifying the colour component index,
– a pair of variables ( rx, ry ) specifying the CTB location,
– the CTB width nCtbSw and height nCtbSh.
Output of this process is a modified picture sample array saoPicture for the colour component cIdx.
The variable bitDepth is derived as follows:
– If cIdx is equal to 0, bitDepth is set equal to BitDepthY.
– Otherwise, bitDepth is set equal to BitDepthC.
The location ( xCtb, yCtb ), specifying the top-left sample of the current CTB for the colour component cIdx relative to
the top-left sample of the current picture component cIdx, is derived as follows:

          ( xCtb, yCtb ) = ( rx * nCtbSw, ry * nCtbSh )                                                                   (8-406)

The sample locations inside the current CTB are derived as follows:

          ( xSi, ySj ) = ( xCtb + i, yCtb + j )                                                                           (8-407)

          ( xYi, yYj ) = ( cIdx = = 0 ) ? ( xSi, ySj ) : ( xSi * SubWidthC, ySj * SubHeightC )                            (8-408)

For all sample locations ( xSi, ySj ) and ( xYi, yYj ) with i = 0..nCtbSw − 1 and j = 0..nCtbSh − 1, depending on the values
of pcm_loop_filter_disabled_flag, pcm_flag[ xYi ][ yYj ] and cu_transquant_bypass_flag of the coding unit which includes
the coding block covering recPicture[ xSi ][ ySj ], the following applies:
– If one or more of the following conditions are true, saoPicture[ xSi ][ ySj ] is not modified:
           –     pcm_loop_filter_disabled_flag and pcm_flag[ xYi ][ yYj ] are both equal to 1.
           –     cu_transquant_bypass_flag is equal to 1.
           –     SaoTypeIdx[ cIdx ][ rx ][ ry ] is equal to 0.
– Otherwise, if SaoTypeIdx[ cIdx ][ rx ][ ry ] is equal to 2, the following ordered steps apply:
   1.      The values of hPos[ k ] and              vPos[ k ]    for   k = 0..1   are   specified   in   Table 8-13     based     on
           SaoEoClass[ cIdx ][ rx ][ ry ].
   2.      The variable edgeIdx is derived as follows:
           –     The modified sample locations ( xSik′, ySjk′ ) and ( xYik′, yYjk′ ) are derived as follows:

                     ( xSik′, ySjk′ ) = ( xSi + hPos[ k ], ySj + vPos[ k ] )                                              (8-409)

                     ( xYik′, yYjk′ ) = ( cIdx = = 0 ) ? ( xSik′, ySjk′ ) : ( xSik′ * SubWidthC, ySjk′ * SubHeightC )
                                                           (8-410)

           –     If one or more of the following conditions for all sample locations ( xSik′, ySjk′ ) and ( xYik′, yYjk′ ) with
                 k = 0..1 are true, edgeIdx is set equal to 0:
                 –   The sample at location ( xSik′, ySjk′ ) is outside the picture boundaries.
                 –   The sample at location ( xSik′, ySjk′ ) belongs to a different slice and one of the following two
                     conditions is true:


                                                                                    Rec. ITU-T H.265 v8 (08/2021)               199
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25          Page 221 of 717 Page ID #:750


                     – MinTbAddrZs[ xYik′ >> MinTbLog2SizeY ][ yYjk′ >> MinTbLog2SizeY ]              is    less     than
                       MinTbAddrZs[ xYi >> MinTbLog2SizeY ][ yYj >> MinTbLog2SizeY ]                                  and
                       slice_loop_filter_across_slices_enabled_flag in the slice which the sample recPicture[ xSi ][ ySj ]
                       belongs to is equal to 0.
                     – MinTbAddrZs[ xYi >> MinTbLog2SizeY ][ yYj >> MinTbLog2SizeY ]                  is      less      than
                       MinTbAddrZs[ xYik′ >> MinTbLog2SizeY ][ yYjk′ >> MinTbLog2SizeY ]                                 and
                       slice_loop_filter_across_slices_enabled_flag in the slice which the sample recPicture[ xSik′ ][ ySjk′ ]
                       belongs to is equal to 0.
                 –   loop_filter_across_tiles_enabled_flag is equal to 0 and the sample at location ( xSik′, ySjk′ ) belongs to a
                     different tile.
           –     Otherwise, edgeIdx is derived as follows:
                 –   The following applies:

                     edgeIdx =
                     2 + Sign( recPicture[ xSi ][ ySj ] − recPicture[ xSi + hPos[ 0 ] ][ ySj + vPos[ 0 ] ] ) +
                             Sign( recPicture[ xSi ][ ySj ] − recPicture[ xSi + hPos[ 1 ] ][ ySj + vPos[ 1 ] ] ) (8-411)

                 –   When edgeIdx is equal to 0, 1, or 2, edgeIdx is modified as follows:

                     edgeIdx = ( edgeIdx = = 2 ) ? 0 : ( edgeIdx + 1 )                                                  (8-412)

      3.   The modified picture sample array saoPicture[ xSi ][ ySj ] is derived as follows:

                saoPicture[ xSi ][ ySj ] = Clip3( 0, ( 1 << bitDepth ) − 1, recPicture[ xSi ][ ySj ] +
                                                    SaoOffsetVal[ cIdx ][ rx ][ ry ][ edgeIdx ] )                       (8-413)

–      Otherwise (SaoTypeIdx[ cIdx ][ rx ][ ry ] is equal to 1), the following ordered steps apply:
      1.   The variable bandShift is set equal to bitDepth − 5.
      2.   The variable saoLeftClass is set equal to sao_band_position[ cIdx ][ rx ][ ry ].
      3.   The list bandTable is defined with 32 elements and all elements are initially set equal to 0. Then, four of its
           elements (indicating the starting position of bands for explicit offsets) are modified as follows:

                for( k = 0; k < 4; k++ )
                   bandTable[ ( k + saoLeftClass ) & 31 ] = k + 1                                                       (8-414)

      4.   The variable bandIdx is set equal to bandTable[ recPicture[ xSi ][ ySj ] >> bandShift ].
      5.   The modified picture sample array saoPicture[ xSi ][ ySj ] is derived as follows:

                saoPicture[ xSi ][ ySj ] = Clip3( 0, ( 1 << bitDepth ) − 1, recPicture[ xSi ][ ySj ] +
                                                    SaoOffsetVal[ cIdx ][ rx ][ ry ][ bandIdx ] )                       (8-415)

                 Table 8-13 – Specification of hPos and vPos according to the sample adaptive offset class

                                        SaoEoClass[ cIdx ][ rx ][ ry ]   0    1    2    3

                                        hPos[ 0 ]                        −1   0    −1   1

                                        hPos[ 1 ]                        1    0    1    −1

                                        vPos[ 0 ]                        0    −1   −1   −1

                                        vPos[ 1 ]                        0    1    1    1



9              Parsing process

9.1            General
Inputs to this process are bits from the RBSP.


200            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7               Filed 04/07/25          Page 222 of 717 Page ID #:751


Outputs of this process are syntax element values.
This process is invoked when the descriptor of a syntax element in the syntax tables is equal to ue(v), se(v) (see clause 9.2),
or ae(v) (see clause 9.3).

9.2         Parsing process for 0-th order Exp-Golomb codes
9.2.1       General
This process is invoked when the descriptor of a syntax element in the syntax tables is equal to ue(v) or se(v).
Inputs to this process are bits from the RBSP.
Outputs of this process are syntax element values.
Syntax elements coded as ue(v) or se(v) are Exp-Golomb-coded. The parsing process for these syntax elements begins
with reading the bits starting at the current location in the bitstream up to and including the first non-zero bit, and counting
the number of leading bits that are equal to 0. This process is specified as follows:

            leadingZeroBits = −1
            for( b = 0; !b; leadingZeroBits++ )                                                                          (9-1)
                 b = read_bits( 1 )

The variable codeNum is then assigned as follows:

            codeNum = 2leadingZeroBits − 1 + read_bits( leadingZeroBits )                                                (9-2)

where the value returned from read_bits( leadingZeroBits ) is interpreted as a binary representation of an unsigned integer
with most significant bit written first.
Table 9-1 illustrates the structure of the Exp-Golomb code by separating the bit string into "prefix" and "suffix" bits. The
"prefix" bits are those bits that are parsed as specified above for the computation of leadingZeroBits, and are shown as
either 0 or 1 in the bit string column of Table 9-1. The "suffix" bits are those bits that are parsed in the computation of
codeNum and are shown as xi in Table 9-1, with i in the range of 0 to leadingZeroBits − 1, inclusive. Each xi is equal to
either 0 or 1.

        Table 9-1 – Bit strings with "prefix" and "suffix" bits and assignment to codeNum ranges (informative)

                                             Bit string form          Range of codeNum

                                                     1                       0

                                                   0 1 x0                   1..2

                                                 0 0 1 x1 x0                3..6

                                             0 0 0 1 x2 x1 x0               7..14

                                           0 0 0 0 1 x3 x2 x1 x0           15..30

                                         0 0 0 0 0 1 x4 x3 x2 x1 x0        31..62

                                                     ...                     ...




                                                                                    Rec. ITU-T H.265 v8 (08/2021)         201
Case 2:25-cv-03053              Document 1-7                Filed 04/07/25              Page 223 of 717 Page ID #:752


Table 9-2 illustrates explicitly the assignment of bit strings to codeNum values.

          Table 9-2 – Exp-Golomb bit strings and codeNum in explicit form and used as ue(v) (informative)

                                               Bit string                   codeNum

                                                      1                        0

                                                 010                           1

                                                 011                           2

                                                00100                          3

                                                00101                          4

                                                00110                          5

                                                00111                          6

                                              0001000                          7

                                              0001001                          8

                                              0001010                          9

                                                      ...                      ...



Depending on the descriptor, the value of a syntax element is derived as follows:
–     If the syntax element is coded as ue(v), the value of the syntax element is equal to codeNum.
–     Otherwise (the syntax element is coded as se(v)), the value of the syntax element is derived by invoking the mapping
      process for signed Exp-Golomb codes as specified in clause 9.2.2 with codeNum as input.

9.2.2      Mapping process for signed Exp-Golomb codes
Input to this process is codeNum as specified in clause 9.2.
Output of this process is a value of a syntax element coded as se(v).
The syntax element is assigned to the codeNum by ordering the syntax element by its absolute value in increasing order
and representing the positive value for a given absolute value with the lower codeNum. Table 9-3 provides the assignment
rule.

      Table 9-3 – Assignment of syntax element to codeNum for signed Exp-Golomb coded syntax elements se(v)

                                              codeNum        syntax element value

                                                  0                     0

                                                  1                     1

                                                  2                    −1

                                                  3                     2

                                                  4                    −2

                                                  5                     3

                                                  6                    −3

                                                  k           (−1)k + 1 Ceil( k ÷ 2 )




202         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 224 of 717 Page ID #:753


9.3         CABAC parsing process for slice segment data
9.3.1     General
This process is invoked when parsing syntax elements with descriptor ae(v) in clauses 7.3.8.1 through 7.3.8.12.
Inputs to this process are a request for a value of a syntax element and values of prior parsed syntax elements.
Output of this process is the value of the syntax element.
The initialization process as specified in clause 9.3.2 is invoked when starting the parsing of one or more of the following:
1.    The slice segment data syntax specified in clause 7.3.8.1,
2.    The CTU syntax specified in clause 7.3.8.2 and the CTU is the first CTU in a tile,
3.    The CTU syntax specified in clause 7.3.8.2, entropy_coding_sync_enabled_flag is equal to 1 and the associated luma
      CTB is the first luma CTB in a CTU row of a tile.
The parsing of syntax elements proceeds as follows:
When cabac_bypass_alignment_enabled_flag is equal to 1, the request for a value of a syntax element is for either the
syntax elements coeff_abs_level_remaining[ ] or coeff_sign_flag[ ] and escapeDataPresent is equal to 1, the alignment
process prior to aligned bypass decoding as specified in clause 9.3.4.3.6 is invoked.
For each requested value of a syntax element a binarization is derived as specified in clause 9.3.3.
The binarization for the syntax element and the sequence of parsed bins determines the decoding process flow as described
in clause 9.3.4.
In case the request for a value of a syntax element is processed for the syntax element pcm_flag and the decoded value of
pcm_flag is equal to 1, the decoding engine is initialized after the decoding of any pcm_alignment_zero_bit and all
pcm_sample_luma and pcm_sample_chroma data as specified in clause 9.3.2.6.
The storage process for context variables is applied as follows:
–     When ending the parsing of the CTU syntax in clause 7.3.8.2, entropy_coding_sync_enabled_flag is equal to 1 and
      either CtbAddrInRs % PicWidthInCtbsY is equal to 1 or both CtbAddrInRs is greater than 1 and
      TileId[ CtbAddrInTs ] is not equal to TileId[ CtbAddrRsToTs[ CtbAddrInRs − 2 ] ], the storage process for context
      variables, Rice parameter initialization states, and palette predictor variables as specified in clause 9.3.2.4 is invoked
      with TableStateIdxWpp, TableMpsValWpp, TableStatCoeffWpp when persistent_rice_adaptation_enabled_flag is
      equal to 1, and PredictorPaletteSizeWpp and PredictorPaletteEntriesWpp when palette_mode_enabled_flag is equal
      to 1 as outputs.
–     When ending the parsing of the general slice segment data syntax in clause 7.3.8.1,
      dependent_slice_segments_enabled_flag is equal to 1 and end_of_slice_segment_flag is equal to 1, the storage process
      for context variables, Rice parameter initialization states, and palette predictor variables as specified in clause 9.3.2.4
      is invoked with TableStateIdxDs, TableMpsValDs, TableStatCoeffDs when persistent_rice_adaptation_enabled_flag
      is equal to 1, and PredictorPaletteSizeDs and PredictorPaletteEntriesDs when palette_mode_enabled_flag is equal to
      1 as outputs.
The whole CABAC parsing process for a syntax element synEl is illustrated in Figure 9-1.




                                                                                  Rec. ITU-T H.265 v8 (08/2021)            203
Case 2:25-cv-03053       Document 1-7         Filed 04/07/25        Page 225 of 717 Page ID #:754




       Figure 9-1 – Illustration of CABAC parsing process for a syntax element synEl (informative)




204    Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 226 of 717 Page ID #:755


9.3.2        Initialization process

9.3.2.1      General
Outputs of this process are initialized CABAC internal variables, the initialized Rice parameter initialization states
StatCoeff, and the initialized palette predictor variables.

                                Two coding tree blocks




                                             T




                               Current
                               coding tree
                               block




                    Left edge of picture                                                 Right edge of picture

    Figure 9-2 – Spatial neighbour T that is used to invoke the CTB availability derivation process relative to the
                                              current CTB (informative)


The context variables of the arithmetic decoding engine, Rice parameter initialization states, and palette predictor variables
are initialized as follows:
–    If the CTU is the first CTU in a tile, the following applies:
        – The initialization process for context variables is invoked as specified in clause 9.3.2.2.
        – The variables StatCoeff[ k ] are set equal to 0, for k in the range 0 to 3, inclusive.
        – The initialization process for palette predictor variables is invoked as specified in clause 9.3.2.3.
–    Otherwise, if entropy_coding_sync_enabled_flag is equal to 1 and either CtbAddrInRs % PicWidthInCtbsY is equal
     to 0 or TileId[ CtbAddrInTs ] is not equal to TileId[ CtbAddrRsToTs[ CtbAddrInRs − 1 ] ], the following applies:
        – The location ( xNbT, yNbT ) of the top-left luma sample of the spatial neighbouring block T (Figure 9-2) is
          derived using the location ( x0, y0 ) of the top-left luma sample of the current CTB as follows:

             ( xNbT, yNbT ) = ( x0 + CtbSizeY, y0 − CtbSizeY )                                                         (9-3)

        – The availability derivation process for a block in z-scan order as specified in clause 6.4.1 is invoked with the
          location ( xCurr, yCurr ) set equal to ( x0, y0 ) and the neighbouring location ( xNbY, yNbY ) set equal to
          ( xNbT, yNbT ) as inputs, and the output is assigned to availableFlagT.
        – The synchronization process for context variables, Rice parameter initialization states, and palette predictor
          variables is invoked as follows:
           – If availableFlagT is equal to 1, the synchronization process for context variables, Rice parameter initialization
             states, and palette predictor variables as specified in clause 9.3.2.5 is invoked with TableStateIdxWpp,
             TableMpsValWpp, TableStatCoeffWpp, PredictorPaletteSizeWpp, and TablePredictorPaletteEntriesWpp as
             inputs.
           – Otherwise, the following applies:
               – The initialization process for context variables is invoked as specified in clause 9.3.2.2.


                                                                                  Rec. ITU-T H.265 v8 (08/2021)          205
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 227 of 717 Page ID #:756


              – The variables StatCoeff[ k ] are set equal to 0, for k in the range 0 to 3, inclusive.
              – The initialization process for palette predictor variables is invoked as specified in clause 9.3.2.3.
–     Otherwise, if CtbAddrInRs is equal to slice_segment_address and dependent_slice_segment_flag is equal to 1, the
      synchronization process for context variables and Rice parameter initialization states as specified in clause 9.3.2.5 is
      invoked    with     TableStateIdxDs,      TableMpsValDs,     TableStatCoeffDs,         PredictorPaletteSizeDs,      and
      TablePredictorPaletteEntriesDs as inputs.
–     Otherwise, the following applies:
       – The initialization process for context variables is invoked as specified in clause 9.3.2.2.
       – The variables StatCoeff[ k ] are set equal to 0, for k in the range 0 to 3, inclusive.
       – The initialization process for palette predictor variables is invoked as specified in clause 9.3.2.3.
The initialization process for the arithmetic decoding engine is invoked as specified in clause 9.3.2.6.
The whole initialization process for a syntax element synEl is illustrated in the flowchart of Figure 9-3.




                         Figure 9-3 – Illustration of CABAC initialization process (informative)


9.3.2.2     Initialization process for context variables
Outputs of this process are the initialized CABAC context variables indexed by ctxTable and ctxIdx.
Table 9-5 to Table 9-37contain the values of the 8 bit variable initValue used in the initialization of context variables that
are assigned to all syntax elements in clauses 7.3.8.1 through 7.3.8.12, except end_of_slice_segment_flag,
end_of_subset_one_bit and pcm_flag.


206          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25            Page 228 of 717 Page ID #:757


For each context variable, the two variables pStateIdx and valMps are initialized.
   NOTE 1 – The variable pStateIdx corresponds to a probability state index and the variable valMps corresponds to the value of the
   most probable symbol as further described in clause 9.3.4.3.

From the 8 bit table entry initValue, the two 4 bit variables slopeIdx and offsetIdx are derived as follows:

            slopeIdx = initValue >> 4
            offsetIdx = initValue & 15                                                                                      (9-4)

The variables m and n, used in the initialization of context variables, are derived from slopeIdx and offsetIdx as follows:

            m = slopeIdx * 5 − 45
            n = ( offsetIdx << 3 ) − 16                                                                                     (9-5)

The two values assigned to pStateIdx and valMps for the initialization are derived from SliceQpY, which is derived in
Equation 7-54. Given the variables m and n, the initialization is specified as follows:

            preCtxState = Clip3( 1, 126, ( ( m * Clip3( 0, 51, SliceQpY ) ) >> 4 ) + n )
            valMps = ( preCtxState <= 63 ) ? 0 : 1
            pStateIdx = valMps ? ( preCtxState − 64 ) : ( 63 − preCtxState )                                                (9-6)

In Table 9-4, the ctxIdx for which initialization is needed for each of the three initialization types, specified by the variable
initType, are listed. Also listed is the table number that includes the values of initValue needed for the initialization. For P
and B slice types, the derivation of initType depends on the value of the cabac_init_flag syntax element. The variable
initType is derived as follows:

            if( slice_type = = I )
                 initType = 0
            else if( slice_type = = P )
                 initType = cabac_init_flag ? 2 : 1                                                                         (9-7)
            else
                 initType = cabac_init_flag ? 1 : 2


                            Table 9-4 – Association of ctxIdx and syntax elements for each initializationType
                                                       in the initialization process

                                                                                                        initType
        Syntax structure                Syntax element                ctxTable
                                                                                          0                1        2

                            sao_merge_left_flag                     Table 9-5
                                                                                          0                1        2
                            sao_merge_up_flag
       sao( )
                            sao_type_idx_luma                       Table 9-6
                                                                                          0                1        2
                            sao_type_idx_chroma

       coding_quadtree( )   split_cu_flag[ ][ ]                     Table 9-7            0..2             3..5     6..8

                            cu_transquant_bypass_flag               Table 9-8             0                1        2

                            cu_skip_flag                            Table 9-9                             0..2     3..5

                            palette_mode_flag                       Table 9-38            0                1        2

                            pred_mode_flag                          Table 9-10                             0        1
       coding_unit( )
                            part_mode                               Table 9-11            0               1..4     5..8

                            prev_intra_luma_pred_flag[ ][ ]         Table 9-12            0                1        2

                            intra_chroma_pred_mode[ ][ ]            Table 9-13            0                1        2

                            rqt_root_cbf                            Table 9-14                             0        1

       prediction_unit( )   merge_flag[ ][ ]                        Table 9-15                             0        1




                                                                                       Rec. ITU-T H.265 v8 (08/2021)         207
Case 2:25-cv-03053                 Document 1-7                  Filed 04/07/25         Page 229 of 717 Page ID #:758



                            Table 9-4 – Association of ctxIdx and syntax elements for each initializationType
                                                       in the initialization process

                                                                                                        initType
       Syntax structure                  Syntax element                ctxTable
                                                                                          0                1          2

                            merge_idx[ ][ ]                          Table 9-16                            0          1

                            inter_pred_idc[ ][ ]                     Table 9-17                           0..4       5..9

                            ref_idx_l0[ ][ ], ref_idx_l1[ ][ ]       Table 9-18                           0..1       2..3

                            mvp_l0_flag[ ][ ], mvp_l1_flag[ ][ ]     Table 9-19                            0          1

                            split_transform_flag[ ][ ][ ]            Table 9-20          0..2             3..5       6..8

                            cbf_luma[ ][ ][ ]                        Table 9-21          0..1             2..3       4..5
      transform_tree( )
                                                                     Table 9-22          0..3             4..7      8..11
                            cbf_cb[ ][ ][ ], cbf_cr[ ][ ][ ]
                                                                                         12               13         14

                            abs_mvd_greater0_flag[ ]                 Table 9-23                            0          2
      mvd_coding( )
                            abs_mvd_greater1_flag[ ]                 Table 9-23                            1          3

      transform_unit( )     tu_residual_act_flag                     Table 9-39           0                1          2

                            log2_res_scale_abs_plus1[ ]              Table 9-36          0..7            8..15      16..23
      cross_comp_pred( )
                            res_scale_sign_flag[ ]                   Table 9-37          0..1             2..3       4..5
                            transform_skip_flag[ ][ ][ 0 ]           Table 9-25           0                1          2
                            transform_skip_flag[ ][ ][ 1 ]           Table 9-25
                                                                                          3                4          5
                            transform_skip_flag[ ][ ][ 2 ]

                            explicit_rdpcm_flag[ ][ ][ 0 ]           Table 9-32                            0          1

                            explicit_rdpcm_flag[ ][ ][ 1 ]           Table 9-32
                                                                                                           2          3
                            explicit_rdpcm_flag[ ][ ][ 2 ]

                            explicit_rdpcm_dir_flag[ ][ ][ 0 ]       Table 9-33                            0          1

                            explicit_rdpcm_dir_flag[ ][ ][ 1 ]       Table 9-33
                                                                                                           2          3
      residual_coding( )    explicit_rdpcm_dir_flag[ ][ ][ 2 ]

                            last_sig_coeff_x_prefix                  Table 9-26          0..17           18..35     36..53

                            last_sig_coeff_y_prefix                  Table 9-27          0..17           18..35     36..53

                            coded_sub_block_flag[ ][ ]               Table 9-28          0..3             4..7      8..11

                                                                     Table 9-29         0..41           42..83     84..125
                            sig_coeff_flag[ ][ ]
                                                                                       126..127        128..129    130..131

                            coeff_abs_level_greater1_flag[ ]         Table 9-30          0..23           24..47     48..71

                            coeff_abs_level_greater2_flag[ ]         Table 9-31          0..5            6..11      12..17

                            palette_run_prefix                       Table 9-40          0..7            8..15      16..23

                            copy_above_palette_indices_flag          Table 9-41           0                1          2
      palette_coding( )
                            copy_above_indices_for_final_run_flag    Table 9-41           0                1          2

                            palette_transpose_flag                   Table 9-42           0                1          2

      delta_qp( )           cu_qp_delta_abs                          Table 9-24          0..1             2..3       4..5

                            cu_chroma_qp_offset_flag                 Table 9-34           0                1          2
      chroma_qp_offset( )
                            cu_chroma_qp_offset_idx                  Table 9-35           0                1          2



  NOTE 2 – ctxTable equal to 0 and ctxIdx equal to 0 are associated with end_of_slice_segment_flag, end_of_subset_one_bit and
  pcm_flag. The decoding process specified in clause 9.3.4.3.5 applies to ctxTable equal to 0 and ctxIdx equal to 0. This decoding
  process, however, may also be implemented by using the decoding process specified in clause 9.3.4.3.2. In this case, the initial
  values associated with ctxTable equal to 0 and ctxIdx equal to 0 are specified to be pStateIdx = 63 and valMps = 0, where
  pStateIdx = 63 represents a non-adapting probability state.




208        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7                       Filed 04/07/25                                 Page 230 of 717 Page ID #:759


        Table 9-5 – Values of initValue for ctxIdx of sao_merge_left_flag and sao_merge_up_flag

                                                                           ctxIdx of
                                                                     sao_merge_left_flag and
                                             Initialization
                                                                       sao_merge_up_flag
                                               variable
                                                                      0             1                  2

                                             initValue               153            153            153




        Table 9-6 – Values of initValue for ctxIdx of sao_type_idx_luma and sao_type_idx_chroma

                                                                            ctxIdx of
                                                                     sao_type_idx_luma and
                                             Initialization
                                                                      sao_type_idx_chroma
                                               variable
                                                                      0             1                  2

                                             initValue               200           185             160




                            Table 9-7 – Values of initValue for ctxIdx of split_cu_flag

                                                                      ctxIdx of split_cu_flag
                Initialization
                  variable
                                    0          1           2          3             4              5                6           7     8

                initValue          139       141          157        107           139            126              107         139   126




                 Table 9-8 – Values of initValue for ctxIdx of cu_transquant_bypass_flag

                                                                         ctxIdx of
                                             Initialization      cu_transquant_bypass_flag
                                               variable
                                                                      0                  1                 2

                                             initValue               154                154            154




                            Table 9-9 – Values of initValue for ctxIdx of cu_skip_flag

                                                                      ctxIdx of cu_skip_flag
                                 Initialization
                                   variable
                                                     0           1             2              3                4          5

                                 initValue           197        185           201            197            185          201




                        Table 9-10 – Values of initValue for ctxIdx of pred_mode_flag

                                                                 ctxIdx of pred_mode_flag
                                         Initialization
                                           variable
                                                                          0                             1

                                         initValue                    149                              134




                                                                                                               Rec. ITU-T H.265 v8 (08/2021)   209
Case 2:25-cv-03053             Document 1-7                Filed 04/07/25                                Page 231 of 717 Page ID #:760


                           Table 9-11 – Values of initValue for ctxIdx of part_mode

                                                                  ctxIdx of part_mode
              Initialization
                variable
                                 0           1         2             3              4            5              6    7      8

              initValue          184      154        139         154             154            154            139   154   154




                Table 9-12 – Values of initValue for ctxIdx of prev_intra_luma_pred_flag

                                                       ctxIdx of prev_intra_luma_pred_flag
                                  Initialization
                                    variable
                                                           0                            1                  2

                                 initValue                 184                      154                   183




                Table 9-13 – Values of initValue for ctxIdx of intra_chroma_pred_mode

                                                                       ctxIdx of
                                         Initialization        intra_chroma_pred_mode
                                           variable
                                                                 0                  1                2

                                         initValue               63              152             152




                          Table 9-14 – Values of initValue for ctxIdx of rqt_root_cbf

                                                                               ctxIdx of
                                             Initialization                  rqt_root_cbf
                                               variable
                                                                         0                  1

                                             initValue                   79                 79




                           Table 9-15 – Values of initValue for ctxIdx of merge_flag

                                                                  ctxIdx of merge_flag
                                          Initialization
                                            variable
                                                                         0                   1

                                          initValue                   110                   154




                           Table 9-16 – Values of initValue for ctxIdx of merge_idx

                                                                             ctxIdx of merge_idx
                                                   Initialization
                                                     variable
                                                                                0                    1

                                                   initValue                   122               137




210    Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7                        Filed 04/07/25                                        Page 232 of 717 Page ID #:761


                              Table 9-17 – Values of initValue for ctxIdx of inter_pred_idc

                                                                              ctxIdx of inter_pred_idc
                               Initialization
                                 variable
                                                  0        1          2               3         4             5            6         7         8         9

                              initValue          95        79         63           31           31        95           79           63      31           31




                     Table 9-18 – Values of initValue for ctxIdx of ref_idx_l0 and ref_idx_l1

                                                                 ctxIdx of ref_idx_l0 and ref_idx_l1
                                           Initialization
                                             variable
                                                                      0                   1               2                    3

                                           initValue                 153               153            153                      153




                   Table 9-19 – Values of initValue for ctxIdx of mvp_l0_flag and mvp_l1_flag

                                                                              ctxIdx of mvp_l0_flag
                                                  Initialization                 and mvp_l1_flag
                                                    variable
                                                                                      0                       1

                                                  initValue                        168                    168




                        Table 9-20 – Values of initValue for ctxIdx of split_transform_flag

                                                                      ctxIdx of split_transform_flag
                     Initialization
                       variable
                                           0          1          2                3             4                 5                  6             7           8

                     initValue            153     138           138            124              138               94               224             167        122




                                 Table 9-21 – Values of initValue for ctxIdx of cbf_luma

                                                                                  ctxIdx of cbf_luma
                                          Initialization
                                            variable
                                                                0             1             2         3                4             5

                                          initValue            111         141            153        111              153           111




                         Table 9-22 – Values of initValue for ctxIdx of cbf_cb and cbf_cr

                                                                          ctxIdx of cbf_cb and cbf_cr
       Initialization
         variable
                          0         1      2      3         4             5           6          7                8            9          10           11      12   13    14

       initValue          94      138     182    154       149        107             167       154           149              92         167          154    154   154   154




                                                                                                                           Rec. ITU-T H.265 v8 (08/2021)                        211
Case 2:25-cv-03053                  Document 1-7                           Filed 04/07/25                          Page 233 of 717 Page ID #:762


        Table 9-23 – Values of initValue for ctxIdx of abs_mvd_greater0_flag and abs_mvd_greater1_flag

                                                                         ctxIdx of abs_mvd_greater0_flag
                                                 Initialization             and abs_mvd_greater1_flag
                                                   variable
                                                                               0               1         2          3

                                                 initValue                     140          198      169           198




                                Table 9-24 – Values of initValue for ctxIdx of cu_qp_delta_abs

                                                                                ctxIdx of cu_qp_delta_abs
                                    Initialization
                                      variable
                                                            0              1               2             3          4            5

                                    initValue              154             154             154       154           154          154




                              Table 9-25 – Values of initValue for ctxIdx of transform_skip_flag

                                                                           ctxIdx of transform_skip_flag
                                           Initialization
                                             variable
                                                                     0             1           2     3        4          5

                                           initValue                 139         139        139     139      139         139




                             Table 9-26 – Values of initValue for ctxIdx of last_sig_coeff_x_prefix

      Initialization                                                       ctxIdx of last_sig_coeff_x_prefix
        variable
                       0       1      2     3        4          5          6           7       8    9        10         11     12     13    14   15    16    17
      initValue        110    110   124    125       140    153          125       127      140     109      111    143        127    111   79   108   123   63
                       18      19    20     21       22         23       24          25        26   27       28         29     30     31    32   33    34    35
      initValue        125    110    94    110       95         79       125       111      110     78       110    111        111    95    94   108   123   108
                       36      37    38     39       40         41       42          43        44   45       46         47     48     49    50   51    52    53
      initValue        125    110   124    110       95         94       125       111      111     79       125    126        111    111   79   108   123   93




                             Table 9-27 – Values of initValue for ctxIdx of last_sig_coeff_y_prefix

      Initialization                                                       ctxIdx of last_sig_coeff_y_prefix
        variable
                       0       1      2     3        4          5          6           7       8    9        10         11     12     13    14   15    16    17
      initValue        110    110   124    125       140    153          125       127      140     109      111    143        127    111   79   108   123   63
                       18      19    20     21       22         23       24          25        26   27       28         29     30     31    32   33    34    35
      initValue        125    110    94    110       95         79       125       111      110     78       110    111        111    95    94   108   123   108
                       36      37    38     39       40         41       42          43        44   45       46         47     48     49    50   51    52    53
      initValue        125    110   124    110       95         94       125       111      111     79       125    126        111    111   79   108   123   93




212        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                      Document 1-7                            Filed 04/07/25                 Page 234 of 717 Page ID #:763


                             Table 9-28 – Values of initValue for ctxIdx of coded_sub_block_flag

                                                                                ctxIdx of coded_sub_block_flag
                       Initialization
                         variable
                                            0          1          2         3          4    5     6       7       8        9         10         11

                       initValue            91        171        134    141        121     140    61    154       121      140       61         154




                                   Table 9-29 – Values of initValue for ctxIdx of sig_coeff_flag

 Initialization                                                                     ctxIdx of sig_coeff_flag
   variable
                  0          1          2         3          4          5          6        7      8          9       10       11         12          13    14    15
initValue         111      111      125          110        110        94         124      108    124     107      125         141        179         153   125   107
                  16        17      18           19         20         21          22      23     24      25          26       27         28          29    30    31
initValue         125      141      179          153        125        107        125      141    179     153      125         140        139         182   182   152
                  32        33      34           35         36         37          38      39     40      41          42       43         44          45    46    47
initValue         136      152      136          153        136        139        111      136    139     111      155         154        139         153   139   123
                  48        49      50           51         52         53          54      55     56      57          58       59         60          61    62    63
initValue         123       63      153          166        183        140        136      153    154     166      183         140        136         153   154   166
                  64        65      66           67         68         69          70      71     72      73          74       75         76          77    78    79
initValue         183      140      136          153        154        170        153      123    123     107      121         107        121         167   151   183
                  80        81      82           83         84         85          86      87     88      89          90       91         92          93    94    95
initValue         140      151      183          140        170        154        139      153    139     123      123         63         124         166   183   140
                  96        97      98           99         100        101        102      103    104     105      106         107        108         109   110   111
initValue         136      153      154          166        183        140        136      153    154     166      183         140        136         153   154   170
                  112      113      114          115        116        117        118      119    120     121      122         123        124         125   126   127
initValue         153      138      138          122        121        122        121      167    151     183      140         151        183         140   141   111
                  128      129      130          131
initValue         140      140      140          140




                        Table 9-30 – Values of initValue for ctxIdx of coeff_abs_level_greater1_flag

 Initialization                                                         ctxIdx of coeff_abs_level_greater1_flag
   variable
                   0         1          2        3          4          5           6       7      8       9        10          11         12          13    14    15
 initValue        140       92      137          138        140        152        138      139   153     74        149         92     139            107    122   152
                  16        17      18           19         20         21         22       23     24     25        26          27         28          29    30    31
 initValue        140      179      166          182        140        227        122      197   154     196       196      167       154            152    167   182
                  32        33      34           35         36         37         38       39     40     41        42          43         44          45    46    47
 initValue        182      134      149          136        153        121        136      137   169     194       166      167       154            167    137   182
                  48        49      50           51         52         53         54       55     56     57        58          59         60          61    62    63
 initValue        154      196      167          167        154        152        167      182   182     134       149      136       153            121    136   122
                  64        65      66           67         68         69         70       71
 initValue        169      208      166          167        154        152        167      182




                                                                                                              Rec. ITU-T H.265 v8 (08/2021)                        213
Case 2:25-cv-03053         Document 1-7                   Filed 04/07/25                             Page 235 of 717 Page ID #:764


               Table 9-31 – Values of initValue for ctxIdx of coeff_abs_level_greater2_flag

                    Initialization                   ctxIdx of coeff_abs_level_greater2_flag
                      variable
                                     0         1          2         3          4           5          6     7      8
                   initValue         138     153       136         167       152           152        107   167   91
                                     9        10       11           12         13          14         15    16    17
                   initValue         122     107       167         107       167           91         107   107   167




                   Table 9-32 – Values of initValue for ctxIdx of explicit_rdpcm_flag

                                                                         ctxIdx of
                                         Initialization            explicit_rdpcm_flag
                                           variable
                                                               0         1           2           3

                                         initValue            139        139         139        139




                 Table 9-33 – Values of initValue for ctxIdx of explicit_rdpcm_dir_flag

                                                                       ctxIdx of
                                         Initialization        explicit_rdpcm_dir_flag
                                           variable
                                                               0         1           2           3

                                         initValue            139        139         139        139




                Table 9-34 – Values of initValue for ctxIdx of cu_chroma_qp_offset_flag

                                                                     ctxIdx of
                                         Initialization       cu_chroma_qp_offset_flag
                                           variable
                                                                0              1                 2

                                         initValue             154             154             154




                Table 9-35 – Values of initValue for ctxIdx of cu_chroma_qp_offset_idx

                                                                     ctxIdx of
                                         Initialization       cu_chroma_qp_offset_idx
                                           variable
                                                                0              1                2

                                         initValue             154             154          154




214    Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7                         Filed 04/07/25                                   Page 236 of 717 Page ID #:765


                   Table 9-36 – Values of initValue for ctxIdx of log2_res_scale_abs_plus1

                                                                 ctxIdx of log2_res_scale_abs_plus1
                            Initialization
                              variable
                                               0         1           2              3          4           5           6           7          8

                            initValue         154    154             154           154         154         154         154         154    154

                                               9         10          11            12          13          14          15          16        17

                            initValue         154    154             154           154         154         154         154         154    154

                                              18         19          20            21          22          23

                            initValue         154    154             154           154         154         154




                       Table 9-37 – Values of initValue for ctxIdx of res_scale_sign_flag

                                                                      ctxIdx of res_scale_sign_flag
                                        Initialization
                                          variable
                                                                 0            1          2           3           4           5

                                        initValue             154          154           154         154         154         154




                           Table 9-38 – Values of initValue for ctxIdx of palette_mode_flag

                                                                      ctxIdx of palette_mode_flag
                                              Initialization
                                                variable
                                                                              0                 1                2

                                              initValue                    154                 154              154




                      Table 9-39 – Values of initValue for ctxIdx of tu_residual_act_flag

                                                                                    ctxIdx of
                                              Initialization                   tu_residual_act_flag
                                                variable
                                                                               0                1                2

                                              initValue                       154              154              154




                       Table 9-40 – Values of initValue for ctxIdx of palette_run_prefix

          Initialization                                              ctxIdx of palette_run_prefix
            variable
                               0        1       2            3            4              5           6           7            8          9        10    11
          initValue           154       154    154       154          154               154         154         154          154         154      154   154
                               12       13     14         15             16             17          18           19          20          21       22    23
          initValue           154       154    154       154          154               154         154         154          154         154      154   154




                                                                                                                     Rec. ITU-T H.265 v8 (08/2021)            215
Case 2:25-cv-03053               Document 1-7               Filed 04/07/25            Page 237 of 717 Page ID #:766


    Table 9-41 – Values of initValue for ctxIdx of copy_above_palette_indices_flag and copy_above_indices_for_
                                                    final_run_flag

                                                                     ctxIdx of
                                                         copy_above_palette_indices_flag and
                                       Initialization
                                                        copy_above_indices_for_final_run_flag
                                         variable
                                                            0             1             2

                                       initValue           154           154           154




                          Table 9-42 – Values of initValue for ctxIdx of palette_transpose_flag

                                                           ctxIdx of palette_transpose_flag
                                       Initialization
                                         variable
                                                            0             1             2

                                       initValue           154           154           154




9.3.2.3     Initialization process for palette predictor entries
Outputs of this process are the initialized palette predictor variables PredictorPaletteSize and PredictorPaletteEntries.
The variable numComps is derived as follows:

                      numComps = ( ChromaArrayType = = 0 ) ? 1 : 3                                                     (9-8)

–     If pps_palette_predictor_initializers_present_flag is equal to 1, the following applies:
      –   PredictorPaletteSize is set equal to pps_num_palette_predictor_initializers.
      –   The array PredictorPaletteEntries is derived as follows:
                   for( comp = 0; comp < numComps; comp++ )
                         for( i = 0; i < PredictorPaletteSize; i++ )                                           (9-9)
                            PredictorPaletteEntries[ comp ][ i ] = pps_palette_predictor_initializer[ comp ][ i ]
–     Otherwise (pps_palette_predictor_initializers_present_flag is equal to 0), if sps_palette_predictor_initializers_
      present_flag is equal to 1, the following applies:
      –   PredictorPaletteSize is set equal to sps_num_palette_predictor_initializers_minus1 plus 1.
      –   The array PredictorPaletteEntries is derived as follows:
                   for( comp = 0; comp < numComps; comp++ )
                         for( i = 0; i < PredictorPaletteSize; i++ )                                         (9-10)
                            PredictorPaletteEntries[ comp ][ i ] = sps_palette_predictor_initializer[ comp ][ i ]
Otherwise (pps_palette_predictor_initializers_present_flag is equal to 0 and sps_palette_predictor_initializers_
present_flag is equal to 0), PredictorPaletteSize is set equal to 0.

9.3.2.4     Storage process for context variables, Rice parameter initialization states, and palette predictor variables
Inputs to this process are:
– The CABAC context variables indexed by ctxTable and ctxIdx.
– The Rice parameter initialization states indexed by k.
– The palette predictor variables, PredictorPaletteSize and PredictorPaletteEntries.
Outputs of this process are:
– The variables tableStateSync and tableMPSSync containing the values of the variables pStateIdx and valMps used in
  the initialization process of context variables and Rice parameter initialization states that are assigned to all syntax
  elements in clauses 7.3.8.1 through 7.3.8.12, except end_of_slice_segment_flag, end_of_subset_one_bit and pcm_flag.




216          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7         Filed 04/07/25          Page 238 of 717 Page ID #:767


– The variables tableStatCoeffSync containing the values of the variables StatCoeff[ k ] used in the initialization process
  of context variables and Rice parameter initialization states.
– The variables PredictorPaletteSizeSync and tablePredictorPaletteEntriesSync containing the values used in the
  initialization process of palette predictor variables.
For each context variable, the corresponding entries pStateIdx and valMps of tables tableStateSync and tableMPSSync are
initialized to the corresponding pStateIdx and valMps.
For each Rice parameter initialization state k, each entry of the table tableStatCoeffSync is initialized to the corresponding
value of StatCoeff[ k ].
For palette predictor variables, PredictorPaletteSizeSync is initialized to PredictorPaletteSize.                         For
tablePredictorPaletteEntriesSync, each entry is initialized to the corresponding value of PredictorPaletteEntries.
The storage process for context variables is illustrated in the flowchart of Figure 9-4.




                              Figure 9-4 – Illustration of CABAC storage process (informative)


9.3.2.5    Synchronization process for context variables, Rice parameter initialization states, and palette predictor
           variables
Inputs to this process are:
– The variables tableStateSync and tableMPSSync containing the values of the variables pStateIdx and valMps used in
  the storage process of context variables that are assigned to all syntax elements in clauses 7.3.8.1 through 7.3.8.12,
  except end_of_slice_segment_flag, end_of_subset_one_bit and pcm_flag.
– The variable tableStatCoeffSync containing the values of the variables StatCoeff[ k ] used in the storage process of
  context variables and Rice parameter initialization states.
– The variables PredictorPaletteSizeSync and tablePredictorPaletteEntriesSync containing the values used in the storage
  process of palette predictor variables.
Outputs of this process are:
– The initialized CABAC context variables indexed by ctxTable and ctxIdx.
– The initialized Rice parameter initialization states StatCoeff indexed by k.
– The palette predictor variables, PredictorPaletteSize and PredictorPaletteEntries.




                                                                               Rec. ITU-T H.265 v8 (08/2021)            217
Case 2:25-cv-03053                   Document 1-7                Filed 04/07/25            Page 239 of 717 Page ID #:768


For each context variable, the corresponding context variables pStateIdx and valMps are initialized to the corresponding
entries pStateIdx and valMps of tables tableStateSync and tableMPSSync.
For each Rice parameter initialization state, each variable StatCoeff[ k ] is initialized to the corresponding entry of table
tableStatCoeffSync.
For palette predictor variables, PredictorPaletteSize is initialized to PredictorPaletteSizeSync. For PredictorPaletteEntries,
each entry is initialized to the corresponding value of tablePredictorPaletteEntriesSync.

9.3.2.6     Initialization process for the arithmetic decoding engine
Outputs of this process are the initialized decoding engine registers ivlCurrRange and ivlOffset both in 16 bit register
precision.
The status of the arithmetic decoding engine is represented by the variables ivlCurrRange and ivlOffset. In the initialization
procedure of the arithmetic decoding process, ivlCurrRange is set equal to 510 and ivlOffset is set equal to the value
returned from read_bits( 9 ) interpreted as a 9 bit binary representation of an unsigned integer with the most significant bit
written first.
The bitstream shall not contain data that result in a value of ivlOffset being equal to 510 or 511.
   NOTE – The description of the arithmetic decoding engine in this Specification utilizes 16 bit register precision. However, a
   minimum register precision of 9 bits is required for storing the values of the variables ivlCurrRange and ivlOffset after invocation
   of the arithmetic decoding process (DecodeBin) as specified in clause 9.3.4.3. The arithmetic decoding process for a binary decision
   (DecodeDecision) as specified in clause 9.3.4.3.2 and the decoding process for a binary decision before termination
   (DecodeTerminate) as specified in clause 9.3.4.3.5 require a minimum register precision of 9 bits for the variables ivlCurrRange and
   ivlOffset. The bypass decoding process for binary decisions (DecodeBypass) as specified in clause 9.3.4.3.4 requires a minimum
   register precision of 10 bits for the variable ivlOffset and a minimum register precision of 9 bits for the variable ivlCurrRange.

9.3.3       Binarization process

9.3.3.1     General
Input to this process is a request for a syntax element.
Output of this process is the binarization of the syntax element.
Table 9-43 specifies the type of binarization process associated with each syntax element and corresponding inputs.

The specification of the truncated Rice (TR) binarization process, the k-th order Exp-Golomb (EGk) binarization process,
limited k-th order Exp-Golomb (EGk) binarization process, the fixed-length (FL) binarization process, and the truncated
binary binarization process are given in clauses 9.3.3.2 through 9.3.3.6, respectively. Other binarizations are specified in
clauses 9.3.3.7 through 9.3.3.14.

                                            Table 9-43 – Syntax elements and associated binarizations

      Syntax structure              Syntax element                                             Binarization

                                                                Process                            Input parameters

   slice_segment_data( )   end_of_slice_segment_flag            FL         cMax = 1

                           end_of_subset_one_bit                FL         cMax = 1

   sao( )                  sao_merge_left_flag                  FL         cMax = 1

                           sao_merge_up_flag                    FL         cMax = 1

                           sao_type_idx_luma                    TR         cMax = 2, cRiceParam = 0

                           sao_type_idx_chroma                  TR         cMax = 2, cRiceParam = 0

                           sao_offset_abs[ ][ ][ ][ ]           TR         cMax = ( 1 << ( Min( bitDepth, 10 ) − 5 ) ) − 1, cRiceParam = 0

                           sao_offset_sign[ ][ ][ ][ ]          FL         cMax = 1

                           sao_band_position[ ][ ][ ]           FL         cMax = 31

                           sao_eo_class_luma                    FL         cMax = 3

                           sao_eo_class_chroma                  FL         cMax = 3




218          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7                 Filed 04/07/25             Page 240 of 717 Page ID #:769



                                         Table 9-43 – Syntax elements and associated binarizations

   Syntax structure             Syntax element                                              Binarization

                                                             Process                            Input parameters

 coding_quadtree( )   split_cu_flag[ ][ ]                    FL         cMax = 1

 coding_unit( )       cu_transquant_bypass_flag              FL         cMax = 1

                      cu_skip_flag                           FL         cMax = 1

                      palette_mode_flag                      FL         cMax = 1

                      pred_mode_flag                         FL         cMax = 1

                      part_mode                              9.3.3.7    ( xCb, yCb ) = ( x0, y0), log2CbSize

                      pcm_flag[ ][ ]                         FL         cMax = 1

                      prev_intra_luma_pred_flag[ ][ ]        FL         cMax = 1

                      mpm_idx[ ][ ]                          TR         cMax = 2, cRiceParam = 0

                      rem_intra_luma_pred_mode[ ][ ]         FL         cMax = 31

                      intra_chroma_pred_mode[ ][ ]           9.3.3.8    -

                      rqt_root_cbf                           FL         cMax = 1

 prediction_unit( )   merge_flag[ ][ ]                       FL         cMax = 1

                      merge_idx[ ][ ]                        TR         cMax = MaxNumMergeCand − 1, cRiceParam = 0

                      inter_pred_idc[ x0 ][ y0 ]             9.3.3.9    nPbW, nPbH

                      ref_idx_l0[ ][ ]                       TR         cMax = num_ref_idx_l0_active_minus1, cRiceParam = 0

                      mvp_l0_flag[ ][ ]                      FL         cMax = 1

                      ref_idx_l1[ ][ ]                       TR         cMax = num_ref_idx_l1_active_minus1, cRiceParam = 0

                      mvp_l1_flag[ ][ ]                      FL         cMax = 1

 transform_tree( )    split_transform_flag[ ][ ][ ]          FL         cMax = 1

                      cbf_luma[ ][ ][ ]                      FL         cMax = 1

                      cbf_cb[ ][ ][ ]                        FL         cMax = 1

                      cbf_cr[ ][ ][ ]                        FL         cMax = 1

 mvd_coding( )        abs_mvd_greater0_flag[ ]               FL         cMax = 1

                      abs_mvd_greater1_flag[ ]               FL         cMax = 1

                      abs_mvd_minus2[ ]                      EG1        -

                      mvd_sign_flag[ ]                       FL         cMax = 1

 transform_unit( )    tu_residual_act_flag                   FL         cMax = 1




                                                                                        Rec. ITU-T H.265 v8 (08/2021)         219
Case 2:25-cv-03053                 Document 1-7                 Filed 04/07/25              Page 241 of 717 Page ID #:770



                                           Table 9-43 – Syntax elements and associated binarizations

      Syntax structure            Syntax element                                               Binarization

                                                               Process                            Input parameters

  cross_comp_pred( )     log2_res_scale_abs_plus1              TR         cMax = 4, cRiceParam = 0

                         res_scale_sign_flag                   FL         cMax = 1

  residual_coding( )     transform_skip_flag[ ][ ][ ]          FL         cMax = 1

                         explicit_rdpcm_flag[ ][ ][ ]          FL         cMax = 1

                         explicit_rdpcm_dir_flag[ ][ ][ ]      FL         cMax = 1

                         last_sig_coeff_x_prefix               TR         cMax = ( log2TrafoSize << 1 ) − 1, cRiceParam = 0

                         last_sig_coeff_y_prefix               TR         cMax = ( log2TrafoSize << 1 ) − 1, cRiceParam = 0

                         last_sig_coeff_x_suffix               FL         cMax = ( 1 << ( ( last_sig_coeff_x_prefix >> 1 ) − 1 ) − 1 )

                         last_sig_coeff_y_suffix               FL         cMax = ( 1 << ( ( last_sig_coeff_y_prefix >> 1 ) − 1 ) − 1 )

                         coded_sub_block_flag[ ][ ]            FL         cMax = 1

                         sig_coeff_flag[ ][ ]                  FL         cMax = 1

                         coeff_abs_level_greater1_flag[ ]      FL         cMax = 1

                         coeff_abs_level_greater2_flag[ ]      FL         cMax = 1

                         coeff_abs_level_remaining[ ]          9.3.3.11   current sub-block scan index i, baseLevel

                         coeff_sign_flag[ ]                    FL         cMax = 1

  palette_coding( )      palette_predictor_run                 EG0        -

                         num_signalled_palette_entries         EG0        -

                                                               FL         cMax = cIdx = = 0 ?
                         new_palette_entries
                                                                          ( ( 1 << BitDepthY ) − 1 ) : ( (1 << BitDepthC ) − 1 )

                         palette_escape_val_present_flag       FL         cMax = 1

                         num_palette_indices_minus1            9.3.3.14   MaxPaletteIndex

                         palette_idx_idc                       9.3.3.13   MaxPaletteIndex

                         copy_above_indices_for_final_ru       FL
                                                                          cMax = 1
                         n_flag

                         palette_transpose_flag                FL         cMax = 1

                         copy_above_palette_indices_flag       FL         cMax = 1

                                                               TR         cMax = Floor( Log2( PaletteMaxRunMinus1 ) ) + 1,
                         palette_run_prefix
                                                                          cRiceParam = 0

                                                               TB         cMax = ( PrefixOffset << 1 ) > PaletteMaxRunMinus1 ?
                         palette_run_suffix
                                                                          ( PaletteMaxRunMinus1 − PrefixOffset ) : ( PrefixOffset − 1 )

                         palette_escape_val                    9.3.3.12   cIdx, cu_transquant_bypass_flag

  delta_qp( )            cu_qp_delta_abs                       9.3.3.10   -

                         cu_qp_delta_sign_flag                 FL         cMax = 1

  chroma_qp_offset( )    cu_chroma_qp_offset_flag              FL         cMax = 1

                         cu_chroma_qp_offset_idx               TR         cMax = chroma_qp_offset_list_len_minus1, cRiceParam = 0




220          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 242 of 717 Page ID #:771




9.3.3.2    Truncated Rice binarization process
Input to this process is a request for a truncated Rice (TR) binarization, cMax and cRiceParam.
Output of this process is the TR binarization associating each value symbolVal with a corresponding bin string.
A TR bin string is a concatenation of a prefix bin string and, when present, a suffix bin string.
For the derivation of the prefix bin string, the following applies:
–    The prefix value of symbolVal, prefixVal, is derived as follows:

          prefixVal = symbolVal >> cRiceParam                                                                            (9-11)

–    The prefix of the TR bin string is specified as follows:
     –    If prefixVal is less than cMax >> cRiceParam, the prefix bin string is a bit string of length prefixVal + 1 indexed
          by binIdx. The bins for binIdx less than prefixVal are equal to 1. The bin with binIdx equal to prefixVal is equal
          to 0. Table 9-44 illustrates the bin strings of this unary binarization for prefixVal.
     –    Otherwise, the bin string is a bit string of length cMax >> cRiceParam with all bins being equal to 1.

                             Table 9-44 – Bin string of the unary binarization (informative)

                                              prefixVal          Bin string
                                                   0        0
                                                   1        1   0
                                                   2        1   1     0

                                                   3        1   1     1   0
                                                   4        1   1     1   1   0
                                                   5        1   1     1   1   1   0

                                                   ...
                                                binIdx      0   1     2   3   4   5



When cMax is greater than symbolVal and cRiceParam is greater than 0, the suffix of the TR bin string is present and it is
derived as follows:
–    The suffix value suffixVal is derived as follows:

          suffixVal = symbolVal − ( ( prefixVal ) << cRiceParam )                                                        (9-12)

–    The suffix of the TR bin string is specified by invoking the fixed-length (FL) binarization process as specified in
     clause 9.3.3.5 for suffixVal with a cMax value equal to ( 1 << cRiceParam ) − 1.
    NOTE – For the input parameter cRiceParam = 0, the TR binarization is exactly a truncated unary binarization and it is always
    invoked with a cMax value equal to the largest possible value of the syntax element being decoded.

9.3.3.3   k-th order Exp-Golomb binarization process
Inputs to this process is a request for a k-th order Exp-Golomb (EGk) binarization.
Output of this process is the EGk binarization associating each value symbolVal with a corresponding bin string.
The bin string of the EGk binarization process for each value symbolVal is specified as follows, where each call of the
function put( X ), with X being equal to 0 or 1, adds the binary value X at the end of the bin string:

          absV = Abs( symbolVal )
          stopLoop = 0
          do


                                                                                  Rec. ITU-T H.265 v8 (08/2021)            221
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 243 of 717 Page ID #:772


              if( absV >= ( 1 << k ) ) {
                    put( 1 )
                    absV = absV − ( 1 << k )
                    k++
              } else {
                    put( 0 )                                                                                              (9-13)
                    while( k− − )
                         put( ( absV >> k ) & 1 )
                    stopLoop = 1
              }
          while( !stopLoop )

   NOTE – The specification for the k-th order Exp-Golomb (EGk) code uses 1's and 0's in reverse meaning for the unary part of the
   Exp-Golomb code of 0-th order as specified in clause 9.2.

9.3.3.4   Limited EGk binarization process
This process is only invoked when extended_precision_processing_flag is equal to 1.
Inputs to this process is a request for a limited EGk binarization, the Rice parameter riceParam and the colour component
cIdx.
Output of this process is the limited EGk binarization associating each value symbolVal with a corresponding bin string.
The variables log2TransformRange and maxPrefixExtensionLength are derived as follows:

          log2TransformRange = cIdx = = 0 ? Max( 15, BitDepthY + 6 ) : Max( 15, BitDepthC + 6 )                           (9-14)

          maxPrefixExtensionLength = 28 − log2TransformRange                                                              (9-15)

The bin string of the limited EGk binarization process for each value symbolVal is specified as follows, where each call
of the function put( X ), with X being equal to 0 or 1, adds the binary value X at the end of the bin string:

          codeValue = symbolVal >> riceParam
          PrefixExtensionLength = 0
          while( ( PrefixExtensionLength < maxPrefixExtensionLength ) &&
                    ( codeValue > ( ( 2 << PrefixExtensionLength ) − 2 ) ) ) {
               PrefixExtensionLength++
               put( 1 )
          }
          if( PrefixExtensionLength = = maxPrefixExtensionLength )
               escapeLength = log2TransformRange
          else {                                                                                                          (9-16)
               escapeLength = PrefixExtensionLength + riceParam
               put( 0 )
          }
          symbolVal = symbolVal − ( ( ( 1 << PrefixExtensionLength ) − 1 ) << riceParam )
          while( ( escapeLength− − ) > 0 )
               put( ( symbolVal >> escapeLength ) & 1 )

9.3.3.5   Fixed-length binarization process
Inputs to this process are a request for a fixed-length (FL) binarization and cMax.
Output of this process is the FL binarization associating each value symbolVal with a corresponding bin string.
FL binarization is constructed by using the fixedLength-bit unsigned integer bin string of the symbol value symbolVal,
where fixedLength = Ceil( Log2( cMax + 1 ) ). The indexing of bins for the FL binarization is such that the binIdx = 0
relates to the most significant bit with increasing values of binIdx towards the least significant bit.




222        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 244 of 717 Page ID #:773


9.3.3.6   Truncated Binary (TB) binarization process
Input to this process is a request for a TB binarization for a syntax element with value synVal and cMax. Output of this
process is the TB binarization of the syntax element.The bin string of the TB binarization process of a syntax element
synVal is specified as follows:

                    n = cMax + 1
                    k = Floor( Log2( n ) )                                                                               (9-17)
                    u = ( 1 << ( k + 1) ) − n

–   If synVal is less than u, the TB bin string is derived by invoking the FL binarization process specified in clause 9.3.3.5
    for synVal with a cMax value equal to ( 1 << k ) − 1.
–   Otherwise (synVal is greater than or equal to u), the TB bin string is derived by invoking the FL binarization process
    specified in clause 9.3.3.5 for ( synVal + u ) with a cMax value equal to ( 1 << ( k + 1) ) − 1.

9.3.3.7   Binarization process for part_mode
Inputs to this process are a request for a binarization for the syntax element part_mode, a luma location ( xCb, yCb ),
specifying the top-left sample of the current luma coding block relative to the top-left luma sample of the current picture
and a variable log2CbSize specifying the current luma coding block size.
Output of this process is the binarization of the syntax element.
The binarization for the syntax element part_mode is specified in Table 9-45 depending on the values of
CuPredMode[ xCb ][ yCb ] and log2CbSize.

                                        Table 9-45 – Binarization for part_mode

                                                                                     Bin string

                                                                  log2CbSize >                  log2CbSize = = MinCbLog2SizeY
CuPredMode[ xCb ][ yCb ] part_mode        PartMode
                                                                 MinCbLog2SizeY

                                                       !amp_enabled_flag amp_enabled_flag   log2CbSize = = 3     log2CbSize > 3

                                0       PART_2Nx2N       -               -                  1                   1
      MODE_INTRA
                                1       PART_NxN         -               -                  0                   0
                                0       PART_2Nx2N       1               1                  1                   1

                                1       PART_2NxN        01              011                01                  01
                                2       PART_Nx2N        00              001                00                  001
                                3       PART_NxN         -               -                  -                   000
     MODE_INTER
                                4       PART_2NxnU       -               0100               -                   -
                                5       PART_2NxnD       -               0101               -                   -
                                6       PART_nLx2N       -               0000               -                   -

                                7       PART_nRx2N       -               0001               -                   -



9.3.3.8   Binarization process for intra_chroma_pred_mode
Input to this process is a request for a binarization for the syntax element intra_chroma_pred_mode.
Output of this process is the binarization of the syntax element.
The binarization for the syntax element intra_chroma_pred_mode is specified in Table 9-46.




                                                                                Rec. ITU-T H.265 v8 (08/2021)               223
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25             Page 245 of 717 Page ID #:774


                                 Table 9-46 – Binarization for intra_chroma_pred_mode
                                              Value of
                                                                           Bin string
                                      intra_chroma_pred_mode
                                                 4                              0
                                                    0                          100
                                                    1                          101
                                                    2                          110
                                                    3                          111



9.3.3.9    Binarization process for inter_pred_idc
Inputs to this process are a request for a binarization for the syntax element inter_pred_idc, the current luma prediction
block width nPbW and the current luma prediction block height nPbH.
Output of this process is the binarization of the syntax element.
The binarization for the syntax element inter_pred_idc is specified in Table 9-47.

                                       Table 9-47 – Binarization for inter_pred_idc

                   Value of             Name of                                Bin string
                inter_pred_idc       inter_pred_idc      ( nPbW + nPbH ) != 12          ( nPbW + nPbH ) = = 12
                        0               PRED_L0                       00                           0
                        1               PRED_L1                       01                           1
                        2               PRED_BI                       1                            -



9.3.3.10 Binarization process for cu_qp_delta_abs
Input to this process is a request for a binarization for the syntax element cu_qp_delta_abs.
Output of this process is the binarization of the syntax element.
The binarization of the syntax element cu_qp_delta_abs is a concatenation of a prefix bin string and (when present) a suffix
bin string.
For the derivation of the prefix bin string, the following applies:
–     The prefix value of cu_qp_delta_abs, prefixVal, is derived as follows:

           prefixVal = Min( cu_qp_delta_abs, 5 )                                                                       (9-18)

–     The prefix bin string is specified by invoking the TR binarization process as specified in clause 9.3.3.2 for prefixVal
      with cMax = 5 and cRiceParam = 0.
When prefixVal is greater than 4, the suffix bin string is present and it is derived as follows:
–     The suffix value of cu_qp_delta_abs, suffixVal, is derived as follows:

           suffixVal = cu_qp_delta_abs − 5                                                                             (9-19)

–     The suffix bin string is specified by invoking the k-th order EGk binarization process as specified in clause 9.3.3.3 for
      suffixVal with the Exp-Golomb order k set equal to 0.

9.3.3.11 Binarization process for coeff_abs_level_remaining[ ]
Input to this process is a request for a binarization for the syntax element coeff_abs_level_remaining[ n ], the current sub-
block scan index i, baseLevel, the colour component cIdx and the luma location ( x0, y0 ) specifying the top-left sample
of the current luma transform block relative to the top-left luma sample of the picture.
Output of this process is the binarization of the syntax element.


224          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 246 of 717 Page ID #:775


Depending on the value of persistent_rice_adaptation_enabled_flag, the following applies:
–   If persistent_rice_adaptation_enabled_flag is equal to 0, the variable initRiceValue is set equal to 0.
–   Otherwise (persistent_rice_adaptation_enabled_flag is equal to 1), the following applies:
    –    The variable sbType is derived as follows:
         o    If transform_skip_flag[ x0 ][ y0 ][ cIdx ] is equal to 0 and cu_transquant_bypass_flag is equal to 0, the
              following applies:

               sbType = 2 * ( cIdx = = 0 ? 1 : 0 )                                                                   (9-20)

         o    Otherwise, the following applies:

               sbType = 2 * ( cIdx = = 0 ? 1 : 0 ) + 1                                                                (9-21)

    –    The variable initRiceValue is derived as follows:

               initRiceValue = StatCoeff[ sbType ] / 4                                                                (9-22)

    –    If this process is invoked for the first time for the current sub-block scan index i, StatCoeff[ sbType ] is modified
         as follows:

               if( coeff_abs_level_remaining[ n ] >= ( 3 << ( StatCoeff[ sbType ] / 4 ) ) )
                    StatCoeff[ sbType ]++
               else if( 2 * coeff_abs_level_remaining[ n ] < ( 1 << ( StatCoeff[ sbType ] / 4 ) ) &&
                    StatCoeff[ sbType ] > 0 )
                         StatCoeff[ sbType ]− −                                                                       (9-23)

The variables cLastAbsLevel and cLastRiceParam are derived as follows:
–   If this process is invoked for the first time for the current sub-block scan index i, cLastAbsLevel is set equal to 0 and
    cLastRiceParam is set equal to initRiceValue.
–   Otherwise (this process is not invoked for the first time for the current sub-block scan index i), cLastAbsLevel and
    cLastRiceParam are set equal to the values of cAbsLevel and cRiceParam, respectively, that have been derived during
    the last invocation of the binarization process for the syntax element coeff_abs_level_remaining[ n ] as specified in
    this clause.
The variable cAbsLevel is set equal to baseLevel + coeff_abs_level_remaining[ n ].
The variable cRiceParam is derived from cLastAbsLevel and cLastRiceParam as follows:
–   If persistent_rice_adaptation_enabled_flag is equal to 0, the following applies:

          cRiceParam =
          Min( cLastRiceParam + ( cLastAbsLevel > ( 3 * ( 1 << cLastRiceParam ) ) ? 1 : 0 ), 4 )                      (9-24)

–   Otherwise (persistent_rice_adaptation_enabled_flag is equal to 1), the following applies:

          cRiceParam = cLastRiceParam + ( cLastAbsLevel > ( 3 * ( 1 << cLastRiceParam ) ) ? 1 : 0 ) (9-25)

The variable cMax is derived from cRiceParam as:

     cMax = 4 << cRiceParam                                                                                           (9-26)

The binarization of the syntax element coeff_abs_level_remaining[ n ] is a concatenation of a prefix bin string and (when
present) a suffix bin string.
For the derivation of the prefix bin string, the following applies:
–   The prefix value of coeff_abs_level_remaining[ n ], prefixVal, is derived as follows:

          prefixVal = Min( cMax, coeff_abs_level_remaining[ n ] )                                                     (9-27)




                                                                               Rec. ITU-T H.265 v8 (08/2021)            225
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 247 of 717 Page ID #:776


–     The prefix bin string is specified by invoking the TR binarization process as specified in clause 9.3.3.2 for prefixVal
      with the variables cMax and cRiceParam as inputs.
When the prefix bin string is equal to the bit string of length 4 with all bits equal to 1, the suffix bin string is present and it
is derived as follows:
–     The suffix value of coeff_abs_level_remaining[ n ], suffixVal, is derived as follows:

           suffixVal = coeff_abs_level_remaining[ n ] − cMax                                                               (9-28)

–     If extended_precision_processing_flag is equal to 0, the suffix bin string is specified by invoking the k-th order EGk
      binarization process as specified in clause 9.3.3.3 for the binarization of suffixVal with the Exp-Golomb order k set
      equal to cRiceParam + 1.
–     Otherwise (extended_precision_processing_flag is equal to 1), the suffix bin string is specified by invoking the limited
      k-th order EGk binarization process as specified in clause 9.3.3.4 for the binarization of suffixVal with the variable
      riceParam set equal to cRiceParam + 1 and the colour component cIdx.

9.3.3.12 Binarization process for palette_escape_val
Input to this process is a request for a binarization for the syntax element palette_escape_val, cu_transquant_bypass_flag
and colour component index cIdx.
Output of this process is the binarization of palette_escape_val.
The variable bitDepth is derived as follows:

                      bitDepth = ( cIdx = = 0 ) ? BitDepthY : BitDepthC                                                    (9-29)

The binarization of palette_escape_val is derived as follows:
–     If cu_transquant_bypass_flag is equal to 1, the binarization of palette_escape_val is derived by invoking the FL
      binarization process specified in clause 9.3.3.5 with the input parameter set to ( 1 << bitdepth ) − 1.
Otherwise (cu_transquant_bypass_flag is equal to 0), the binarization of palette_escape_val is derived by invoking the k-
th order Exp-Golomb binarization process specified in clause 9.3.3.3 with k set equal to 3.

9.3.3.13 Binarization process for palette_idx_idc
Input to this process is a request for a binarization for the syntax element palette_idx_idc and the variable MaxPaletteIndex.
Output of this process is the binarization of the syntax element.
The variable cMax is derived as follows:
–     If this process is invoked for the first time for the current block, cMax is set equal to MaxPaletteIndex.
–     Otherwise (this process is not invoked for the first time for the current block), cMax is set equal to MaxPaletteIndex
      minus 1.
The binarization for the palette_idx_idc is derived by invoking the TB binarization process specified in clause 9.3.3.6 with
cMax.

9.3.3.14 Binarization process for num_palette_indices_minus1
Input to this process is a request for a binarization for the syntax element num_palette_indices_minus1, and
MaxPaletteIndex.
Output of this process is the binarization of the syntax element.
The variable cRiceParam is derived as follows:

                      cRiceParam = 3 + ( ( MaxPaletteIndex + 1 ) >> 3 )                                                    (9-30)

The variable cMax is derived from cRiceParam as:

                      cMax = 4 << cRiceParam                                                                               (9-31)

The binarization of the syntax element num_palette_indices_minus1 is a concatenation of a prefix bin string and (when
present) a suffix bin string.



226          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25           Page 248 of 717 Page ID #:777


For the derivation of the prefix bin string, the following applies:
–   The prefix value of num_palette_indices_minus1, prefixVal, is derived as follows:

                       prefixVal = Min( cMax, num_palette_indices_minus1 )                                                 (9-32)

–   The prefix bin string is specified by invoking the TR binarization process as specified in clause 9.3.3.2 for prefixVal
    with the variables cMax and cRiceParam as inputs.
When the prefix bin string is equal to the bit string of length 4 with all bits equal to 1, the suffix bin string is present and it
is derived as follows:
–   The suffix value of num_palette_indices_minus1, suffixVal, is derived as follows:

                       suffixVal = num_palette_indices_minus1 − cMax                                                       (9-33)

The suffix bin string is specified by invoking the k-th order EGk binarization process as specified in clause 9.3.3.3 for the
binarization of suffixVal with the Exp-Golomb order k set equal to cRiceParam + 1.

9.3.4       Decoding process flow

9.3.4.1     General
Inputs to this process are all bin strings of the binarization of the requested syntax element as specified in clause 9.3.3.
Output of this process is the value of the syntax element.
This process specifies how each bin of a bin string is parsed for each syntax element. After parsing each bin, the resulting
bin string is compared to all bin strings of the binarization of the syntax element and the following applies:
–    If the bin string is equal to one of the bin strings, the corresponding value of the syntax element is the output.
–    Otherwise (the bin string is not equal to one of the bin strings), the next bit is parsed.
While parsing each bin, the variable binIdx is incremented by 1 starting with binIdx being set equal to 0 for the first bin.
The parsing of each bin is performed by invoking the derivation process for ctxTable, ctxIdx, and bypassFlag as specified
in clause 9.3.4.2 with binIdx as input and ctxTable, ctxIdx and bypassFlag as outputs.
    NOTE – As a consequence of invoking the process specified in clause 9.3.4.2, the arithmetic decoding process as specified in
    clause 9.3.4.3 is invoked with ctxTable, ctxIdx and bypassFlag as inputs and the value of the bin as output.

9.3.4.2     Derivation process for ctxTable, ctxIdx and bypassFlag

9.3.4.2.1 General
Input to this process is the position of the current bin within the bin string, binIdx.
Outputs of this process are ctxTable, ctxIdx and bypassFlag.
The values of ctxTable, ctxIdx and bypassFlag are derived as follows based on the entries for binIdx of the corresponding
syntax element in Table 9-48:
–    If the entry in Table 9-48 is not equal to "bypass", "terminate" or "na", the values of binIdx are decoded by invoking
     the DecodeDecision process as specified in clause 9.3.4.3.2 and the following applies:
        –   ctxTable is specified in Table 9-4.
        –   The variable ctxInc is specified by the corresponding entry in Table 9-48 and when more than one value is listed
            in Table 9-48 for a binIdx, the assignment process for ctxInc for that binIdx is further specified in the clauses
            given in parenthesis.
        –   The variable ctxIdxOffset is specified by the lowest value of ctxIdx in Table 9-4 depending on the current value
            of initType.
        –   ctxIdx is set equal to the sum of ctxInc and ctxIdxOffset.
        –   bypassFlag is set equal to 0.
–    Otherwise, if the entry in Table 9-48 is equal to "bypass", the values of binIdx are decoded by invoking the
     DecodeBypass process as specified in clause 9.3.4.3.4 and the following applies:
        –   ctxTable is set equal to 0.



                                                                                   Rec. ITU-T H.265 v8 (08/2021)             227
Case 2:25-cv-03053                      Document 1-7                Filed 04/07/25       Page 249 of 717 Page ID #:778


       –      ctxIdx is set equal to 0.
       –      bypassFlag is set equal to 1.
–      Otherwise, if the entry in Table 9-48 is equal to "terminate", the values of binIdx are decoded by invoking the
       DecodeTerminate process as specified in clause 9.3.4.3.5 and the following applies:
       –      ctxTable is set equal to 0.
       –      ctxIdx is set equal to 0.
       –      bypassFlag is set equal to 0.
–      Otherwise (the entry in Table 9-48 is equal to "na"), the values of binIdx do not occur for the corresponding syntax
       element.

                            Table 9-48 – Assignment of ctxInc to syntax elements with context coded bins

                                                                                      binIdx
                  Syntax element
                                                      0                 1         2              3        4      >= 5

      end_of_slice_segment_flag                   terminate             na       na             na       na       na

      end_of_subset_one_bit                       terminate             na       na             na       na       na

      sao_merge_left_flag                             0                 na       na             na       na       na

      sao_merge_up_flag                               0                 na       na             na       na       na

      sao_type_idx_luma                               0               bypass     na             na       na       na

      sao_type_idx_chroma                             0               bypass     na             na       na       na

      sao_offset_abs[ ][ ][ ][ ]                    bypass            bypass    bypass         bypass   bypass    na

      sao_offset_sign[ ][ ][ ][ ]                   bypass              na       na             na       na       na

      sao_band_position[ ][ ][ ]                    bypass            bypass    bypass         bypass   bypass   bypass

      sao_eo_class_luma                             bypass            bypass     na             na       na       na

      sao_eo_class_chroma                           bypass            bypass     na             na       na       na

      split_cu_flag[ ][ ]                           0,1,2
                                                                        na       na             na       na       na
                                              (clause 9.3.4.2.2)

      cu_transquant_bypass_flag                       0                 na       na             na       na       na

      cu_skip_flag                                  0,1,2
                                                                        na       na             na       na       na
                                              (clause 9.3.4.2.2)

      palette_mode_flag                               0                 na       na             na       na       na

      pred_mode_flag                                  0                 na       na             na       na       na

      part_mode
                                                      0                 1         2            bypass    na       na
      log2CbSize = = MinCbLog2SizeY

      part_mode
                                                      0                 1         3            bypass    na       na
      log2CbSize > MinCbLog2SizeY

      pcm_flag[ ][ ]                              terminate             na       na             na       na       na

      prev_intra_luma_pred_flag[ ][ ]                 0                 na       na             na       na       na

      mpm_idx[ ][ ]                                 bypass            bypass     na             na       na       na

      rem_intra_luma_pred_mode[ ][ ]                bypass            bypass    bypass         bypass   bypass    na

      intra_chroma_pred_mode[ ][ ]                    0               bypass    bypass          na       na       na

      rqt_root_cbf                                    0                 na       na             na       na       na

      tu_residual_act_flag                            0                 na       na             na       na       na

      merge_flag[ ][ ]                                0                 na       na             na       na       na

      merge_idx[ ][ ]                                 0               bypass    bypass         bypass    na       na

      inter_pred_idc[ x0 ][ y0 ]               ( nPbW + nPbH )
                                                    != 12 ?
                                                                        4        na             na       na       na
                                              CtDepth[ x0 ][ y0 ]
                                                      :4



228             Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                   Document 1-7               Filed 04/07/25          Page 250 of 717 Page ID #:779



                         Table 9-48 – Assignment of ctxInc to syntax elements with context coded bins

                                                                                     binIdx
               Syntax element
                                                   0                1            2                3       4        >= 5

  ref_idx_l0[ ][ ]                                 0                1         bypass           bypass   bypass     bypass

  ref_idx_l1[ ][ ]                                 0                1         bypass           bypass   bypass     bypass

  mvp_l0_flag[ ][ ]                                0                na           na              na      na            na

  mvp_l1_flag[ ][ ]                                0                na           na              na      na            na

  split_transform_flag[ ][ ][ ]           5 − log2TrafoSize         na           na              na      na            na

  cbf_cb[ ][ ][ ]                             trafoDepth            na           na              na      na            na

  cbf_cr[ ][ ][ ]                             trafoDepth            na           na              na      na            na

  cbf_luma[ ][ ][ ]                       trafoDepth = = 0 ?
                                                                    na           na              na      na            na
                                                 1:0

  abs_mvd_greater0_flag[ ]                         0                na           na              na      na            na

  abs_mvd_greater1_flag[ ]                         0                na           na              na      na            na

  abs_mvd_minus2[ ]                             bypass            bypass      bypass           bypass   bypass     bypass

  mvd_sign_flag[ ]                              bypass              na           na              na      na            na

  cu_qp_delta_abs                                  0                1            1                1       1        bypass

  cu_qp_delta_sign_flag                         bypass              na           na              na      na            na

  cu_chroma_qp_offset_flag                         0                na           na              na      na            na

  cu_chroma_qp_offset_idx                          0                0            0                0       0            na

  log2_res_scale_abs_plus1[ c ]                4*c+0              4*c+1      4*c+2            4*c+3      na            na

  res_scale_sign_flag[ c ]                         c                na           na              na      na            na

  transform_skip_flag[ ][ ][ ]                     0                na           na              na      na            na

  explicit_rdpcm_flag[ ][ ][ ]                     0                na           na              na      na            na

  explicit_rdpcm_dir_flag[ ][ ][ ]                 0                na           na              na      na            na

  last_sig_coeff_x_prefix                                                  0..17 (clause 9.3.4.2.3)

  last_sig_coeff_y_prefix                                                  0..17 (clause 9.3.4.2.3)

  last_sig_coeff_x_suffix                       bypass            bypass      bypass             na      na            na

  last_sig_coeff_y_suffix                       bypass            bypass      bypass             na      na            na

  coded_sub_block_flag[ ][ ]                      0..3              na           na              na      na            na
                                           (clause 9.3.4.2.4)

  sig_coeff_flag[ ][ ]                           0..43              na           na              na      na            na
                                           (clause 9.3.4.2.5)

  coeff_abs_level_greater1_flag[ ]               0..23              na           na              na      na            na
                                           (clause 9.3.4.2.6)

  coeff_abs_level_greater2_flag[ ]                0..5              na           na              na      na            na
                                           (clause 9.3.4.2.7)

  coeff_abs_level_remaining[ ]                  bypass            bypass      bypass           bypass   bypass     bypass

  coeff_sign_flag[ ]                            bypass              na           na              na      na            na

  palette_predictor_run                         bypass            bypass      bypass           bypass   bypass     bypass

  num_signalled_palette_entries                 bypass            bypass      bypass           bypass   bypass     bypass

  new_palette_entries                           bypass            bypass      bypass           bypass   bypass     bypass

  palette_escape_val_present_flag               bypass              na           na              na      na            na

  palette_transpose_flag                           0                na           na              na      na            na

  num_palette_indices_minus1                    bypass            bypass      bypass           bypass   bypass     bypass




                                                                                       Rec. ITU-T H.265 v8 (08/2021)        229
Case 2:25-cv-03053                       Document 1-7              Filed 04/07/25              Page 251 of 717 Page ID #:780



                           Table 9-48 – Assignment of ctxInc to syntax elements with context coded bins

                                                                                            binIdx
                  Syntax element
                                                         0                1             2                3         4               >= 5

      palette_idx_idc                                  bypass           bypass        bypass          bypass     bypass        bypass

      copy_above_palette_indices_flag and                                na             na               na        na               na
                                                         0
      copy_above_indices_for_final_run_flag

      palette_run_prefix                                                           0..7 (clause 9.3.4.2.8)

      palette_run_suffix                               bypass           bypass        bypass          bypass     bypass        bypass

      palette_escape_val                               bypass           bypass        bypass          bypass     bypass        bypass



9.3.4.2.2 Derivation process of ctxInc using left and above syntax elements
Input to this process is the luma location ( x0, y0 ) specifying the top-left luma sample of the current luma block relative
to the top-left sample of the current picture.
Output of this process is ctxInc.
The location ( xNbL, yNbL ) is set equal to ( x0 − 1, y0 ) and the variable availableL, specifying the availability of the
block located directly to the left of the current block, is derived by invoking the availability derivation process for a block
in z-scan order as specified in clause 6.4.1 with the location ( xCurr, yCurr ) set equal to ( x0, y0 ) and the neighbouring
location ( xNbY, yNbY ) set equal to ( xNbL, yNbL ) as inputs, and the output is assigned to availableL.
The location ( xNbA, yNbA ) is set equal to ( x0, y0 − 1 ) and the variable availableA specifying the availability of the
coding block located directly above the current block, is derived by invoking the availability derivation process for a block
in z-scan order as specified in clause 6.4.1 with the location ( xCurr, yCurr ) set equal to ( x0, y0 ) and the neighbouring
location ( xNbY, yNbY ) set equal to ( xNbA, yNbA ) as inputs, and the output is assigned to availableA.
The assignment of ctxInc for the syntax elements split_cu_flag[ x0 ][ y0 ] and cu_skip_flag[ x0 ][ y0 ] is specified in
Table 9-49.

                                Table 9-49 – Specification of ctxInc using left and above syntax elements

         Syntax element                          condL                                  condA                             ctxInc

    split_cu_flag[ x0 ][ y0 ]      CtDepth[ xNbL ][ yNbL ] > cqtDepth    CtDepth[ xNbA ][ yNbA ] > cqtDepth    ( condL && availableL ) +
                                                                                                               ( condA && availableA )

    cu_skip_flag[ x0 ][ y0 ]       cu_skip_flag[ xNbL ][ yNbL ]          cu_skip_flag[ xNbA ][ yNbA ]          ( condL && availableL ) +
                                                                                                               ( condA && availableA )



9.3.4.2.3 Derivation process of ctxInc for the syntax elements last_sig_coeff_x_prefix and last_sig_coeff_y_prefix
Inputs to this process are the variable binIdx, the colour component index cIdx and the transform block size log2TrafoSize.
Output of this process is the variable ctxInc.
The variables ctxOffset and ctxShift are derived as follows:
–      If cIdx is equal to 0, ctxOffset is set equal to 3 * ( log2TrafoSize − 2 ) + ( ( log2TrafoSize − 1 ) >> 2 ) and ctxShift
       is set equal to ( log2TrafoSize + 1 ) >> 2.
–      Otherwise (cIdx is greater than 0), ctxOffset is set equal to 15 and ctxShift is set equal to log2TrafoSize − 2.
The variable ctxInc is derived as follows:

                    ctxInc = ( binIdx >> ctxShift ) + ctxOffset
                        (9-34)

9.3.4.2.4 Derivation process of ctxInc for the syntax element coded_sub_block_flag
Inputs to this process are the colour component index cIdx, the current sub-block scan location ( xS, yS ), the previously
decoded bins of the syntax element coded_sub_block_flag and the transform block size log2TrafoSize.



230            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7               Filed 04/07/25      Page 252 of 717 Page ID #:781


Output of this process is the variable ctxInc.
The variable csbfCtx is derived using the current location ( xS, yS ), two previously decoded bins of the syntax element
coded_sub_block_flag in scan order and the transform block size log2TrafoSize, as follows:
–   csbfCtx is initialized with 0 as follows:

               csbfCtx = 0                                                                                          (9-35)

–   When xS is less than ( 1 << ( log2TrafoSize − 2 ) ) − 1, csbfCtx is modified as follows:

               csbfCtx += coded_sub_block_flag[ xS + 1 ][ yS ]                                                      (9-36)

–   When yS is less than ( 1 << ( log2TrafoSize − 2 ) ) − 1, csbfCtx is modified as follows:

               csbfCtx += coded_sub_block_flag[ xS ][ yS + 1 ]                                                      (9-37)

The context index increment ctxInc is derived using the colour component index cIdx and csbfCtx as follows:
–   If cIdx is equal to 0, ctxInc is derived as follows:

               ctxInc = Min( csbfCtx, 1 )                                                                           (9-38)

–   Otherwise (cIdx is greater than 0), ctxInc is derived as follows:

               ctxInc = 2 + Min( csbfCtx, 1 )                                                                       (9-39)

9.3.4.2.5 Derivation process of ctxInc for the syntax element sig_coeff_flag
Inputs to this process are the colour component index cIdx, the luma location ( x0, y0 ) specifying the top-left sample of
the current transform block relative to the top-left sample of the current picture, the current coefficient scan location
( xC, yC ), the scan order index scanIdx and the transform block size log2TrafoSize.
Output of this process is the variable ctxInc.
The variable sigCtx depends on the current location ( xC, yC ), the colour component index cIdx, the value of
transform_skip_flag, the value of cu_transquant_bypass_flag, the transform block size and previously decoded bins of the
syntax element coded_sub_block_flag. For the derivation of sigCtx, the following applies:
–   If transform_skip_context_enabled_flag is equal to 1 and either or both transform_skip_flag[ x0 ][ y0 ][ cIdx ] is equal
    to 1 or cu_transquant_bypass_flag is equal to 1, sigCtx is derived as follows:

               sigCtx = ( cIdx = = 0 ) ? 42 : 16                                                                    (9-40)

–   Otherwise, if log2TrafoSize is equal to 2, sigCtx is derived using ctxIdxMap[ ] specified in Table 9-50 as follows:

               sigCtx = ctxIdxMap[ ( yC << 2 ) + xC ]                                                               (9-41)

–   Otherwise, if xC + yC is equal to 0, sigCtx is derived as follows:

               sigCtx = 0                                                                                           (9-42)

–   Otherwise, sigCtx is derived using previous values of coded_sub_block_flag as follows:
    –    The sub-block location ( xS, yS ) is set equal to ( xC >> 2, yC >> 2 ).
    –    The variable prevCsbf is set equal to 0.
    –    When xS is less than ( 1 << ( log2TrafoSize − 2 ) ) − 1, the following applies:

               prevCsbf += coded_sub_block_flag[ xS + 1 ][ yS ]                                                     (9-43)

    –    When yS is less than ( 1 << ( log2TrafoSize − 2 ) ) − 1, the following applies:

               prevCsbf += ( coded_sub_block_flag[ xS ][ yS + 1 ] << 1 )                                            (9-44)

    –    The inner sub-block location ( xP, yP ) is set equal to ( xC & 3, yC & 3 ).



                                                                              Rec. ITU-T H.265 v8 (08/2021)           231
Case 2:25-cv-03053                      Document 1-7          Filed 04/07/25              Page 253 of 717 Page ID #:782


      –   The variable sigCtx is derived as follows:
          –       If prevCsbf is equal to 0, the following applies:

                      sigCtx = ( xP + yP = = 0 ) ? 2 : ( xP + yP < 3 ) ? 1: 0                                        (9-45)

          –       Otherwise, if prevCsbf is equal to 1, the following applies:

                      sigCtx = ( yP = = 0 ) ? 2 : ( yP = = 1 ) ? 1: 0                                                (9-46)

          –       Otherwise, if prevCsbf is equal to 2, the following applies:

                      sigCtx = ( xP = = 0 ) ? 2 : ( xP = = 1 ) ? 1: 0                                                (9-47)

          –       Otherwise (prevCsbf is equal to 3), the following applies:

                      sigCtx = 2
                          (9-48)

      –   The variable sigCtx is modified as follows:
          –       If cIdx is equal to 0, the following applies:
                  –     When ( xS + yS ) is greater than 0, the following applies:

                                 sigCtx += 3                                                                         (9-49)

                  –     The variable sigCtx is modified as follows:
                        –    If log2TrafoSize is equal to 3, the following applies:

                                 sigCtx += ( scanIdx = = 0 ) ? 9 : 15                                                (9-50)

                        –    Otherwise, the following applies:

                                 sigCtx += 21                                                                        (9-51)

          –       Otherwise (cIdx is greater than 0), the following applies:
                  –     If log2TrafoSize is equal to 3, the following applies:

                                 sigCtx += 9                                                                         (9-52)

                  –     Otherwise, the following applies:

                                 sigCtx += 12                                                                        (9-53)

The context index increment ctxInc is derived using the colour component index cIdx and sigCtx as follows:
–     If cIdx is equal to 0, ctxInc is derived as follows:

                      ctxInc = sigCtx                                                                                (9-54)

–     Otherwise (cIdx is greater than 0), ctxInc is derived as follows:

                      ctxInc = 27 + sigCtx                                                                           (9-55)

                                               Table 9-50 – Specification of ctxIdxMap[ i ]

              i              0      1      2        3     4       5    6     7        8      9   10   11   12   13   14

      ctxIdxMap[ i ]         0      1      4        5     2       3    4     5        6      6   8    8    7    7    8




232           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 254 of 717 Page ID #:783


9.3.4.2.6 Derivation process of ctxInc for the syntax element coeff_abs_level_greater1_flag
Inputs to this process are the colour component index cIdx, the current sub-block scan index i and the current coefficient
scan index n within the current sub-block.
Output of this process is the variable ctxInc.
The variable ctxSet specifies the current context set and for its derivation the following applies:
–   If this process is invoked for the first time for the current sub-block scan index i, the following applies:
    –    The variable ctxSet is initialized as follows:
         –    If the current sub-block scan index i is equal to 0 or cIdx is greater than 0, the following applies:

                  ctxSet = 0
                      (9-56)

         –    Otherwise (i is greater than 0 and cIdx is equal to 0), the following applies:

                  ctxSet = 2
                      (9-57)

    –    The variable lastGreater1Ctx is derived as follows:
         –    If the current sub-block with scan index i is the first one to be processed in this clause for the current transform
              block, the variable lastGreater1Ctx is set equal to 1.
         –    Otherwise, the following applies:
              –     The variable lastGreater1Ctx is set equal to the value of greater1Ctx that has been derived during the last
                    invocation of the process specified in this clause for a previous sub-block.
              –     When lastGreater1Ctx is greater than 0, the variable lastGreater1Flag is set equal to the value of the
                    syntax element coeff_abs_level_greater1_flag that has been used during the last invocation of the process
                    specified in this clause for a previous sub-block and lastGreater1Ctx is modified as follows:
                    –   If lastGreater1Flag is equal to 1, lastGreater1Ctx is set equal to 0.
                    –   Otherwise (lastGreater1Flag is equal to 0), lastGreater1Ctx is incremented by 1.
    –    When lastGreater1Ctx is equal to 0, ctxSet is incremented by one as follows:

                  ctxSet = ctxSet + 1                                                                                     (9-58)

    –    The variable greater1Ctx is set equal to 1.
–   Otherwise (this process is not invoked for the first time for the current sub-block scan index i), the following applies:
    –    The variable ctxSet is set equal to the variable ctxSet that has been derived during the last invocation of the process
         specified in this clause.
    –    The variable greater1Ctx is set equal to the variable greater1Ctx that has been derived during the last invocation
         of the process specified in this clause.
    –    When greater1Ctx is greater than 0, the variable lastGreater1Flag is set equal to the syntax element
         coeff_abs_level_greater1_flag that has been used during the last invocation of the process specified in this clause
         and greater1Ctx is modified as follows:
         –    If lastGreater1Flag is equal to 1, greater1Ctx is set equal to 0.
         –    Otherwise (lastGreater1Flag is equal to 0), greater1Ctx is incremented by 1.
The context index increment ctxInc is derived using the current context set ctxSet and the current context greater1Ctx as
follows:

                  ctxInc = ( ctxSet * 4 ) + Min( 3, greater1Ctx )                                                         (9-59)

When cIdx is greater than 0, ctxInc is modified as follows:

                  ctxInc = ctxInc + 16                                                                                    (9-60)


                                                                                  Rec. ITU-T H.265 v8 (08/2021)             233
Case 2:25-cv-03053                Document 1-7               Filed 04/07/25       Page 255 of 717 Page ID #:784


9.3.4.2.7 Derivation process of ctxInc for the syntax element coeff_abs_level_greater2_flag
Inputs to this process are the colour component index cIdx, the current sub-block scan index i and the current coefficient
scan index n within the current sub-block.
Output of this process is the variable ctxInc.
The variable ctxSet specifies the current context set and is set equal to the value of the variable ctxSet that has been derived
in clause 9.3.4.2.6 for the same subset i.
The context index increment ctxInc is set equal to the variable ctxSet as follows:

                ctxInc = ctxSet                                                                                         (9-61)

When cIdx is greater than 0, ctxInc is modified as follows:

                ctxInc = ctxInc + 4                                                                                     (9-62)

9.3.4.2.8 Derivation process of ctxInc for the syntax element palette_run_prefix
Inputs to this process are the bin index binIdx and the syntax elements copy_above_palette_indices_flag and
palette_idx_idc.
Output of this process is the variable ctxInc.
The variable ctxInc is derived as follows:
–     If copy_above_palette_indices_flag is equal to 0 and binIdx is equal to 0, ctxInc is derived as follows:

                      ctxInc = ( palette_idx_idc < 1 ) ? 0 : ( ( palette_idx_idc < 3 ) ? 1 : 2 )                        (9-63)

–     Otherwise, ctxInc is provided by Table 9-51.

                 Table 9-51 – Specification of ctxIdxMap[ copy_above_palette_indices_flag ][ binIdx ]

                                        binIdx                        0       1    2     3      4     >4

                     copy_above_palette_indices_flag = = 1            5       6    6     7      7    bypass

                     copy_above_palette_indices_flag = = 0          0, 1, 2   3    3     4      4    bypass




9.3.4.3     Arithmetic decoding process

9.3.4.3.1 General
Inputs to this process are ctxTable, ctxIdx and bypassFlag, as derived in clause 9.3.4.2, and the state variables ivlCurrRange
and ivlOffset of the arithmetic decoding engine.
Output of this process is the value of the bin.
Figure 9-5 illustrates the whole arithmetic decoding process for a single bin. For decoding the value of a bin, the context
index table ctxTable and the ctxIdx are passed to the arithmetic decoding process DecodeBin( ctxTable, ctxIdx ), which is
specified as follows:
–     If bypassFlag is equal to 1, DecodeBypass( ) as specified in clause 9.3.4.3.4 is invoked.
–     Otherwise, if bypassFlag is equal to 0, ctxTable is equal to 0 and ctxIdx is equal to 0, DecodeTerminate( ) as specified
      in clause 9.3.4.3.5 is invoked.
–     Otherwise (bypassFlag is equal to 0 and ctxTable is not equal to 0), DecodeDecision( ) as specified in clause 9.3.4.3.2
      is invoked.




234         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25            Page 256 of 717 Page ID #:785




               Figure 9-5 – Overview of the arithmetic decoding process for a single bin (informative)


   NOTE – Arithmetic coding is based on the principle of recursive interval subdivision. Given a probability estimation p( 0 ) and
   p( 1 ) = 1 − p( 0 ) of a binary decision ( 0, 1 ), an initially given code sub-interval with the range ivlCurrRange will be subdivided
   into two sub-intervals having range p( 0 ) * ivlCurrRange and ivlCurrRange − p( 0 ) * ivlCurrRange, respectively. Depending on
   the decision, which has been observed, the corresponding sub-interval will be chosen as the new code interval, and a binary code
   string pointing into that interval will represent the sequence of observed binary decisions. It is useful to distinguish between the most
   probable symbol (MPS) and the least probable symbol (LPS), so that binary decisions have to be identified as either MPS or LPS,
   rather than 0 or 1. Given this terminology, each context is specified by the probability pLPS of the LPS and the value of MPS (valMps),
   which is either 0 or 1. The arithmetic core engine in this Specification has three distinct properties:
     – The probability estimation is performed by means of a finite-state machine with a table-based transition process between 64
          different representative probability states { pLPS( pStateIdx ) | 0 <= pStateIdx < 64 } for the LPS probability pLPS. The
          numbering of the states is arranged in such a way that the probability state with index pStateIdx = 0 corresponds to an LPS
          probability value of 0.5, with decreasing LPS probability towards higher state indices.
     – The range ivlCurrRange representing the state of the coding engine is quantized to a small set {Q1,...,Q4} of pre-set
          quantization values prior to the calculation of the new interval range. Storing a table containing all 64x4 pre-computed product
          values of Qi * pLPS( pStateIdx ) allows a multiplication-free approximation of the product ivlCurrRange * pLPS( pStateIdx ).
     – For syntax elements or parts thereof for which an approximately uniform probability distribution is assumed to be given a
          separate simplified encoding and decoding bypass process is used.

9.3.4.3.2 Arithmetic decoding process for a binary decision

9.3.4.3.2.1 General
Inputs to this process are the variables ctxTable, ctxIdx, ivlCurrRange and ivlOffset.
Outputs of this process are the decoded value binVal and the updated variables ivlCurrRange and ivlOffset.
Figure 9-6 shows the flowchart for decoding a single decision (DecodeDecision):
   1.   The value of the variable ivlLpsRange is derived as follows:
        –    Given the current value of ivlCurrRange, the variable qRangeIdx is derived as follows:

                qRangeIdx =( ivlCurrRange >> 6 ) & 3                                                                               (9-64)

        –    Given qRangeIdx and pStateIdx associated with ctxTable and ctxIdx, the value of the variable rangeTabLps
             as specified in Table 9-52 is assigned to ivlLpsRange:

                ivlLpsRange = rangeTabLps[ pStateIdx ][ qRangeIdx ]                                                                (9-65)



                                                                                        Rec. ITU-T H.265 v8 (08/2021)                 235
Case 2:25-cv-03053             Document 1-7            Filed 04/07/25         Page 257 of 717 Page ID #:786


  2.   The variable ivlCurrRange is set equal to ivlCurrRange − ivlLpsRange and the following applies:
       –    If ivlOffset is greater than or equal to ivlCurrRange, the variable binVal is set equal to 1 − valMps, ivlOffset
            is decremented by ivlCurrRange and ivlCurrRange is set equal to ivlLpsRange.
       –    Otherwise, the variable binVal is set equal to valMps.
Given the value of binVal, the state transition is performed as specified in clause 9.3.4.3.2.2. Depending on the current
value of ivlCurrRange, renormalization is performed as specified in clause 9.3.4.3.3.

9.3.4.3.2.2 State transition process
Inputs to this process are the current pStateIdx, the decoded value binVal and valMps values of the context variable
associated with ctxTable and ctxIdx.
Outputs of this process are the updated pStateIdx and valMps of the context variable associated with ctxIdx.
Depending on the decoded value binVal, the update of the two variables pStateIdx and valMps associated with ctxIdx is
derived as follows:

       if( binVal = = valMps )
           pStateIdx = transIdxMps( pStateIdx )
       else {                                                                                                       (9-66)
           if( pStateIdx = = 0 )
               valMps = 1 − valMps
           pStateIdx = transIdxLps( pStateIdx )
       }

Table 9-53 specifies the transition rules transIdxMps( ) and transIdxLps( ) after decoding the value of valMps and
1 − valMps, respectively.




236        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053   Document 1-7       Filed 04/07/25       Page 258 of 717 Page ID #:787




                       Figure 9-6 – Flowchart for decoding a decision




                                                             Rec. ITU-T H.265 v8 (08/2021)   237
Case 2:25-cv-03053               Document 1-7      Filed 04/07/25       Page 259 of 717 Page ID #:788


           Table 9-52 – Specification of rangeTabLps depending on the values of pStateIdx and qRangeIdx

                                 qRangeIdx                                              qRangeIdx
 pStateIdx                                                 pStateIdx
                  0         1            2         3                     0         1                2     3

      0          128       176          208       240         32        27         33               39    45

      1          128       167          197       227         33        26         31               37    43

      2          128       158          187       216         34        24         30               35    41

      3          123       150          178       205         35        23         28               33    39

      4          116       142          169       195         36        22         27               32    37

      5          111       135          160       185         37        21         26               30    35

      6          105       128          152       175         38        20         24               29    33

      7          100       122          144       166         39        19         23               27    31

      8          95        116          137       158         40        18         22               26    30

      9          90        110          130       150         41        17         21               25    28

      10         85        104          123       142         42        16         20               23    27

      11         81         99          117       135         43        15         19               22    25

      12         77         94          111       128         44        14         18               21    24

      13         73         89          105       122         45        14         17               20    23

      14         69         85          100       116         46        13         16               19    22

      15         66         80          95        110         47        12         15               18    21

      16         62         76          90        104         48        12         14               17    20

      17         59         72          86        99          49        11         14               16    19

      18         56         69          81        94          50        11         13               15    18

      19         53         65          77        89          51        10         12               15    17

      20         51         62          73        85          52        10         12               14    16

      21         48         59          69        80          53         9         11               13    15

      22         46         56          66        76          54         9         11               12    14

      23         43         53          63        72          55         8         10               12    14

      24         41         50          59        69          56         8         9                11    13

      25         39         48          56        65          57         7         9                11    12

      26         37         45          54        62          58         7         9                10    12

      27         35         43          51        59          59         7         8                10    11

      28         33         41          48        56          60         6         8                9     11

      29         32         39          46        53          61         6         7                9     10

      30         30         37          43        50          62         6         7                8     9

      31         29         35          41        48          63         2         2                2     2




238          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7          Filed 04/07/25           Page 260 of 717 Page ID #:789


                                              Table 9-53 – State transition table

    pStateIdx      0     1     2      3       4     5      6     7     8      9       10    11    12    13    14     15

    transIdxLps    0     0     1      2       2     4      4     5     6      7       8     9     9     11    11     12

    transIdxMps    1     2     3      4       5     6      7     8     9      10      11    12    13    14    15     16

    pStateIdx      16    17    18     19      20    21     22    23    24     25      26    27    28    29    30     31

    transIdxLps    13    13    15     15      16    16     18    18    19     19      21    21    22    22    23     24

    transIdxMps    17    18    19     20      21    22     23    24    25     26      27    28    29    30    31     32

    pStateIdx      32    33    34     35      36    37     38    39    40     41      42    43    44    45    46     47

    transIdxLps    24    25    26     26      27    27     28    29    29     30      30    30    31    32    32     33

    transIdxMps    33    34    35     36      37    38     39    40    41     42      43    44    45    46    47     48

    pStateIdx      48    49    50     51      52    53     54    55    56     57      58    59    60    61    62     63

    transIdxLps    33    33    34     34      35    35     35    36    36     36      37    37    37    38    38     63

    transIdxMps    49    50    51     52      53    54     55    56    57     58      59    60    61    62    62     63




9.3.4.3.3 Renormalization process in the arithmetic decoding engine
Inputs to this process are bits from slice segment data and the variables ivlCurrRange and ivlOffset.
Outputs of this process are the updated variables ivlCurrRange and ivlOffset.
A flowchart of the renormalization is shown in Figure 9-7. The current value of ivlCurrRange is first compared to 256 and
then the following applies:
–      If ivlCurrRange is greater than or equal to 256, no renormalization is needed and the RenormD process is finished;
–      Otherwise (ivlCurrRange is less than 256), the renormalization loop is entered. Within this loop, the value of
       ivlCurrRange is doubled, i.e., left-shifted by 1 and a single bit is shifted into ivlOffset by using read_bits( 1 ).
The bitstream shall not contain data that result in a value of ivlOffset being greater than or equal to ivlCurrRange upon
completion of this process.




                                          Figure 9-7 – Flowchart of renormalization




                                                                                  Rec. ITU-T H.265 v8 (08/2021)       239
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 261 of 717 Page ID #:790


9.3.4.3.4 Bypass decoding process for binary decisions
Inputs to this process are bits from slice segment data and the variables ivlCurrRange and ivlOffset.
Outputs of this process are the updated variable ivlOffset and the decoded value binVal.
The bypass decoding process is invoked when bypassFlag is equal to 1. Figure 9-8 shows a flowchart of the corresponding
process.
First, the value of ivlOffset is doubled, i.e., left-shifted by 1 and a single bit is shifted into ivlOffset by using read_bits( 1 ).
Then, the value of ivlOffset is compared to the value of ivlCurrRange and then the following applies:
–     If ivlOffset is greater than or equal to ivlCurrRange, the variable binVal is set equal to 1 and ivlOffset is decremented
      by ivlCurrRange.
–     Otherwise (ivlOffset is less than ivlCurrRange), the variable binVal is set equal to 0.
The bitstream shall not contain data that result in a value of ivlOffset being greater than or equal to ivlCurrRange upon
completion of this process.




                                     Figure 9-8 – Flowchart of bypass decoding process


9.3.4.3.5 Decoding process for binary decisions before termination
Inputs to this process are bits from slice segment data and the variables ivlCurrRange and ivlOffset.
Outputs of this process are the updated variables ivlCurrRange and ivlOffset, and the decoded value binVal.
This decoding process applies to decoding of end_of_slice_segment_flag, end_of_subset_one_bit and pcm_flag
corresponding to ctxTable equal to 0 and ctxIdx equal to 0. Figure 9-9 shows the flowchart of the corresponding decoding
process, which is specified as follows:
First, the value of ivlCurrRange is decremented by 2. Then, the value of ivlOffset is compared to the value of ivlCurrRange
and then the following applies:
–     If ivlOffset is greater than or equal to ivlCurrRange, the variable binVal is set equal to 1, no renormalization is carried
      out, and CABAC decoding is terminated. The last bit inserted in register ivlOffset is equal to 1. When decoding
      end_of_slice_segment_flag, this last bit inserted in register ivlOffset is interpreted as rbsp_stop_one_bit. When
      decoding end_of_subset_one_bit, this last bit inserted in register ivlOffset is interpreted as
      alignment_bit_equal_to_one.
–     Otherwise (ivlOffset is less than ivlCurrRange), the variable binVal is set equal to 0 and renormalization is performed
      as specified in clause 9.3.4.3.3.
    NOTE – This procedure may also be implemented using DecodeDecision( ctxTable, ctxIdx, bypassFlag ) with ctxTable = 0,
    ctxIdx = 0 and bypassFlag = 0. In the case where the decoded value is equal to 1, seven more bits would be read by
    DecodeDecision( ctxTable, ctxIdx, bypassFlag ) and a decoding process would have to adjust its bitstream pointer accordingly to
    properly decode following syntax elements.




240         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 262 of 717 Page ID #:791




                            Figure 9-9 – Flowchart of decoding a decision before termination


9.3.4.3.6 Alignment process prior to aligned bypass decoding
Input to this process is the variable ivlCurrRange.
Output of this process is the updated variable ivlCurrRange.
This process applies prior to the decoding of syntax elements coeff_abs_level_remaining[ ] and coeff_sign_flag[ ].
ivlCurrRange is set equal to 256.
   NOTE – When ivlCurrRange is 256, ivlOffset and the bit-stream can be considered as a shift register, and binVal as the register's
   second most significant bit (the most significant bit is always 0 due to the restriction of ivlOffset being less than ivlCurrRange).

9.3.5     Arithmetic encoding process (informative)

9.3.5.1   General
This clause does not form an integral part of this Specification.
Inputs to this process are decisions that are to be encoded and written.
Outputs of this process are bits that are written to the RBSP.
This informative clause describes an arithmetic encoding engine that matches the arithmetic decoding engine described in
clause 9.3.4.3. The encoding engine is essentially symmetric with the decoding engine, i.e., procedures are called in the
same order. The following procedures are described in this clause: InitEncoder, EncodeDecision, EncodeBypass,
EncodeTerminate, which correspond to InitDecoder, DecodeDecision, DecodeBypass and DecodeTerminate, respectively.
The state of the arithmetic encoding engine is represented by a value of the variable ivlLow pointing to the lower end of a
sub-interval and a value of the variable ivlCurrRange specifying the corresponding range of that sub-interval.

9.3.5.2   Initialization process for the arithmetic encoding engine (informative)
This clause does not form an integral part of this Specification.
This process is invoked before encoding the first coding block of a slice segment, and after encoding any
pcm_alignment_zero_bit and all pcm_sample_luma and pcm_sample_chroma data for a coding unit with pcm_flag equal
to 1.
Outputs of this process are the values ivlLow, ivlCurrRange, firstBitFlag, bitsOutstanding and BinCountsInNalUnits of
the arithmetic encoding engine.
In the initialization procedure of the encoder, ivlLow is set equal to 0 and ivlCurrRange is set equal to 510. Furthermore,
firstBitFlag is set equal to 1 and the counter bitsOutstanding is set equal to 0.




                                                                                     Rec. ITU-T H.265 v8 (08/2021)               241
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 263 of 717 Page ID #:792


Depending on whether the current slice segment is the first slice segment of a coded picture, the following applies:
–     If the current slice segment is the first slice segment of a coded picture, the counter BinCountsInNalUnits is set equal
      to 0.
–     Otherwise (the current slice segment is not the first slice segment of a coded picture), the counter
      BinCountsInNalUnits is not modified. The value of BinCountsInNalUnits is the result of encoding all the slice
      segments of a coded picture that precede the current slice segment in decoding order. After initializing for the first
      slice segment of a coded picture as specified in this clause, BinCountsInNalUnits is incremented as specified in
      clauses 9.3.5.3, 9.3.5.5 and 9.3.5.6.
    NOTE – The minimum register precision required for storing the values of the variables ivlLow and ivlCurrRange after invocation
    of any of the arithmetic encoding processes specified in clauses 9.3.5.3, 9.3.5.5 and 9.3.5.6 is 10 bits and 9 bits, respectively. The
    encoding process for a binary decision (EncodeDecision) as specified in clause 9.3.5.3 and the encoding process for a binary decision
    before termination (EncodeTerminate) as specified in clause 9.3.5.6 require a minimum register precision of 10 bits for the variable
    ivlLow and a minimum register precision of 9 bits for the variable ivlCurrRange. The bypass encoding process for binary decisions
    (EncodeBypass) as specified in clause 9.3.5.5 requires a minimum register precision of 11 bits for the variable ivlLow and a
    minimum register precision of 9 bits for the variable ivlCurrRange. The precision required for the counters bitsOutstanding and
    BinCountsInNalUnits should be sufficiently large to prevent overflow of the related registers. When maxBinCountInSlice denotes
    the maximum total number of binary decisions to encode in one slice segment and maxBinCountInPic denotes the maximum total
    number of binary decisions to encode a picture, the minimum register precision required for the variables bitsOutstanding and
    BinCountsInNalUnits is given by Ceil( Log2( maxBinCountInSlice + 1 ) ) and Ceil( Log2( maxBinCountInPic + 1 ) ), respectively.

9.3.5.3    Encoding process for a binary decision (informative)
This clause does not form an integral part of this Specification.
Inputs to this process are the context index ctxIdx, the value of binVal to be encoded and the variables ivlCurrRange,
ivlLow and BinCountsInNalUnits.
Outputs of this process are the variables ivlCurrRange, ivlLow and BinCountsInNalUnits.
Figure 9-10 shows the flowchart for encoding a single decision. In a first step, the variable ivlLpsRange is derived as
follows:
Given the current value of ivlCurrRange, ivlCurrRange is mapped to the index qRangeIdx of a quantized value of
ivlCurrRange by using Equation 9-64. The value of qRangeIdx and the value of pStateIdx associated with ctxIdx are used
to determine the value of the variable rangeTabLps as specified in Table 9-52, which is assigned to ivlLpsRange. The value
of ivlCurrRange − ivlLpsRange is assigned to ivlCurrRange.
In a second step, the value of binVal is compared to valMps associated with ctxIdx. When binVal is different from valMps,
ivlCurrRange is added to ivlLow and ivlCurrRange is set equal to the value ivlLpsRange. Given the encoded decision, the
state transition is performed as specified in clause 9.3.4.3.2.2. Depending on the current value of ivlCurrRange,
renormalization is performed as specified in clause 9.3.5.4. Finally, the variable BinCountsInNalUnits is incremented by 1.




242         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25        Page 264 of 717 Page ID #:793




                                    Figure 9-10 – Flowchart for encoding a decision


9.3.5.4   Renormalization process in the arithmetic encoding engine (informative)
This clause does not form an integral part of this Specification.
Inputs to this process are the variables ivlCurrRange, ivlLow, firstBitFlag and bitsOutstanding.
Outputs of this process are zero or more bits written to the RBSP and the updated variables ivlCurrRange, ivlLow,
firstBitFlag and bitsOutstanding.




                                                                             Rec. ITU-T H.265 v8 (08/2021)   243
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25         Page 265 of 717 Page ID #:794


Renormalization in the encoder is illustrated in Figure 9-11.




                              Figure 9-11 – Flowchart of renormalization in the encoder


The PutBit( ) procedure described in Figure 9-12 provides carry over control. It uses the function WriteBits( B, N ) that
writes N bits with value B to the bitstream and advances the bitstream pointer by N bit positions. This function assumes
the existence of a bitstream pointer with an indication of the position of the next bit to be written to the bitstream by the
encoding process.




                                          Figure 9-12 – Flowchart of PutBit(B)


9.3.5.5   Bypass encoding process for binary decisions (informative)
This clause does not form an integral part of this Specification.
Inputs to this process are the variables binVal, ivlLow, ivlCurrRange, bitsOutstanding and BinCountsInNalUnits.


244        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25       Page 266 of 717 Page ID #:795


Output of this process is a bit written to the RBSP and the updated variables ivlLow, bitsOutstanding and
BinCountsInNalUnits.
This encoding process applies to all binary decisions with bypassFlag equal to 1.
When cabac_bypass_alignment_enabled_flag is equal to 1 and coeff_abs_level_remaining[ ] is present for any coefficients
in the current sub-block, an alignment process is performed. This alignment process applies prior to the encoding of the
syntax elements coeff_abs_level_remaining[ ] and coeff_sign_flag[ ] and sets ivlCurrRange to 256.
Renormalization is included in the specification of this bypass encoding process as given in Figure 9-13.




                                      Figure 9-13 – Flowchart of encoding bypass


9.3.5.6   Encoding process for a binary decision before termination (informative)
This clause does not form an integral part of this Specification.
Inputs to this process are the variables binVal, ivlCurrRange, ivlLow, bitsOutstanding and BinCountsInNalUnits.
Outputs of this process are zero or more bits written to the RBSP and the updated variables ivlLow, ivlCurrRange,
bitsOutstanding and BinCountsInNalUnits.
This encoding routine shown in Figure 9-14 applies to encoding of end_of_slice_segment_flag, end_of_subset_one_bit,
and pcm_flag, all associated with ctxIdx equal to 0.




                                                                             Rec. ITU-T H.265 v8 (08/2021)         245
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25         Page 267 of 717 Page ID #:796




                         Figure 9-14 – Flowchart of encoding a decision before termination


When the value of binVal to encode is equal to 1, CABAC encoding is terminated and the flushing procedure shown in
Figure 9-15 is applied. In this flushing procedure, the last bit written by WriteBits( B, N ) is equal to 1. When encoding
end_of_slice_segment_flag, this last bit is interpreted as rbsp_stop_one_bit. When encoding end_of_subset_one_bit, this
last bit is interpreted as alignment_bit_equal_to_one.




                                  Figure 9-15 – Flowchart of flushing at termination




246        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25            Page 268 of 717 Page ID #:797


9.3.5.7     Byte stuffing process (informative)
This clause does not form an integral part of this Specification.
This process is invoked after encoding the last coding block of the last slice segment of a picture and after encapsulation.
Inputs to this process are the number of bytes NumBytesInVclNalUnits of all VCL NAL units of a picture, the number of
minimum CUs PicSizeInMinCbsY in the picture and the number of binary symbols BinCountsInNalUnits resulting from
encoding the contents of all VCL NAL units of the picture.
     NOTE – The value of BinCountsInNalUnits is the result of encoding all slice segments of a coded picture. After initializing for the
     first slice segment of a coded picture as specified in clause 9.3.5.2, BinCountsInNalUnits is incremented as specified in
     clauses 9.3.5.3, 9.3.5.5 and 9.3.5.6.

Outputs of this process are zero or more bytes appended to the NAL unit.
Let the variable k be set equal to Ceil( ( Ceil( 3 * ( 32 * BinCountsInNalUnits − RawMinCuBits * PicSizeInMinCbsY ) ÷
1 024 ) − NumBytesInVclNalUnits ) ÷ 3 ). Depending on the value of k the following applies:
–     If k is less than or equal to 0, no cabac_zero_word is appended to the NAL unit.
–     Otherwise (k is greater than 0), the 3-byte sequence 0x000003 is appended k times to the NAL unit after encapsulation,
      where the first two bytes 0x0000 represent a cabac_zero_word and the third byte 0x03 represents an
      emulation_prevention_three_byte.


10          Sub-bitstream extraction process
Inputs to this process are a bitstream, a target highest TemporalId value tIdTarget and a target layer identifier list
layerIdListTarget.
Output of this process is a sub-bitstream.
It is a requirement of bitstream conformance for the input bitstream that any output sub-bitstream that is the output of the
process specified in this clause with the bitsteam, tIdTarget equal to any value in the range of 0 to 6, inclusive, and
layerIdListTarget either equal to the layer identifier list associated with a layer set specified in the active VPS or consisting
of all the nuh_layer_id values of the VCL NAL units present in the input bitstream as inputs, and that satisfies both of the
following conditions shall be a conforming bitstream:
–     The output sub-bitstream contains at least one VCL NAL unit with nuh_layer_id equal to each of the nuh_layer_id
      values in layerIdListTarget.
–     The output sub-bitstream contains at least one VCL NAL unit with TemporalId equal to tIdTarget.
     NOTE 1 – A bitstream conforming to a profile specified in Annex A contains one or more coded slice segment NAL units with
     nuh_layer_id equal to 0.
     NOTE 2 – A conforming bitstream contains one or more coded slice segment NAL units with TemporalId equal to 0.

The output sub-bitstream is derived as follows:
–     When one or more of the following two conditions are true, remove all SEI NAL units that have nuh_layer_id equal
      to 0 and that contain a non-scalable-nested buffering period SEI message, a non-scalable-nested picture timing SEI
      message, or a non-scalable-nested decoding unit information SEI message:
      –     layerIdListTarget does not include all the values of nuh_layer_id in all NAL units in the bitstream.
      –     tIdTarget is less than the greatest TemporalId in all NAL units in the bitstream.
            NOTE 3 – A "smart" bitstream extractor may include appropriate non-scalable-nested buffering picture SEI messages, non-
            scalable-nested picture timing SEI messages and non-scalable-nested decoding unit information SEI messages in the
            extracted sub-bitstream, provided that the SEI messages applicable to the sub-bitstream were present as scalable-nested SEI
            messages in the original bitstream.

–     Remove all NAL units with TemporalId greater than tIdTarget or nuh_layer_id not among the values included in
      layerIdListTarget.




                                                                                      Rec. ITU-T H.265 v8 (08/2021)               247
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25            Page 269 of 717 Page ID #:798


                                                               Annex A

                                                      Profiles, tiers and levels
                    (This annex forms an integral part of this Recommendation | International Standard.)

A.1        Overview of profiles, tiers and levels
Profiles, tiers and levels specify restrictions on the bitstreams and hence limits on the capabilities needed to decode the
bitstreams. Profiles, tiers and levels may also be used to indicate interoperability points between individual decoder
implementations.
    NOTE 1 – This Specification does not include individually selectable "options" at the decoder, as this would increase interoperability
    difficulties.

Each profile specifies a subset of algorithmic features and limits that shall be supported by all decoders conforming to that
profile.
    NOTE 2 – Encoders are not required to make use of any particular subset of features supported in a profile.

Each level of a tier specifies a set of limits on the values that may be taken by the syntax elements of this Specification.
The same set of tier and level definitions is used with all profiles, but individual implementations may support a different
tier and within a tier a different level for each supported profile. For any given profile, a level of a tier generally corresponds
to a particular decoder processing load and memory capability.
The profiles that are specified in clause A.3 are also referred to as the profiles specified in Annex A.

A.2         Requirements on video decoder capability
Capabilities of video decoders conforming to this Specification are specified in terms of the ability to decode video streams
conforming to the constraints of profiles, tiers and levels specified in this annex and other annexes. When expressing the
capabilities of a decoder for a specified profile, the tier and level supported for that profile should also be expressed.
Specific values are specified in this annex and other annexes for the syntax elements general_profile_idc, general_tier_flag,
general_level_idc, sub_layer_profile_idc[ i ], sub_layer_tier_flag[ i ] and sub_layer_level_idc[ i ]. All other values of
general_profile_idc, general_level_idc, sub_layer_profile_idc[ i ] and sub_layer_level_idc[ i ] are reserved for future use
by ITU-T | ISO/IEC.
    NOTE – Decoders should not infer that a reserved value of general_profile_idc or sub_layer_profile_idc[ i ] between the values
    specified in this Specification indicates intermediate capabilities between the specified profiles, as there are no restrictions on the
    method to be chosen by ITU-T | ISO/IEC for the use of such future reserved values. However, decoders should infer that a reserved
    value of general_level_idc or sub_layer_level_idc[ i ] associated with a particular value of general_tier_flag or
    sub_layer_tier_flag[ i ], respectively, between the values specified in this Specification indicates intermediate capabilities between
    the specified levels of the tier.


A.3         Profiles
A.3.1       General
All constraints for PPSs that are specified are constraints for PPSs that are activated when the bitstream is decoded. All
constraints for SPSs that are specified are constraints for SPSs that are activated when the bitstream is decoded.
The variable RawCtuBits is derived as follows:

                    RawCtuBits = CtbSizeY * CtbSizeY * BitDepthY +
                                  2 * ( CtbWidthC * CtbHeightC ) * BitDepthC                                                       (A-1)

A.3.2       Main profile
Bitstreams conforming to the Main profile shall obey the following constraints:
–     Active VPSs shall have vps_base_layer_internal_flag and vps_base_layer_available_flag both equal to 1 only.
–     Active SPSs for the base layer shall have chroma_format_idc equal to 1 only.
–     Active SPSs for the base layer shall have bit_depth_luma_minus8 equal to 0 only.
–     Active SPSs for the base layer shall have bit_depth_chroma_minus8 equal to 0 only.
–     Active     SPSs     for     the     base              layer     shall  have       transform_skip_rotation_enabled_flag,
      transform_skip_context_enabled_flag,                 implicit_rdpcm_enabled_flag,          explicit_rdpcm_enabled_flag,


248         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25            Page 270 of 717 Page ID #:799


     extended_precision_processing_flag,      intra_smoothing_disabled_flag,  high_precision_offsets_enabled_flag,
     persistent_rice_adaptation_enabled_flag, cabac_bypass_alignment_enabled_flag, sps_curr_pic_ref_enabled_flag,
     palette_mode_enabled_flag, motion_vector_resolution_control_idc, and intra_boundary_filtering_disabled_flag,
     when present, equal to 0 only.
–    CtbLog2SizeY derived according to active SPSs for the base layer shall be in the range of 4 to 6, inclusive.
–    Active   PPSs     for    the    base    layer    shall    have    log2_max_transform_skip_block_size_minus2,
     chroma_qp_offset_list_enabled_flag, and residual_adaptive_colour_transform_enabled_flag, when present, equal to
     0 only.
–    When an active PPS for the base layer                          has    tiles_enabled_flag     equal    to    1,   it   shall   have
     entropy_coding_sync_enabled_flag equal to 0.
–    When an active PPS for the base layer has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ] shall be
     greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
     RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
     num_tile_rows_minus1, inclusive.
–    The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
     for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–    general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for the base layer shall not be equal to
     255 (which indicates level 8.5).
–    The tier and level constraints specified for the Main profile in clause A.4 shall be fulfilled.
Conformance of a bitstream to the Main profile is indicated by general_profile_idc being equal to 1 or
general_profile_compatibility_flag[ 1 ] being equal to 1. Conformance of a sub-layer representation with TemporalId equal
to i to the Main profile is indicated by sub_layer_profile_idc[ i ] being equal to 1 or
sub_layer_profile_compatibility_flag[ i ][ 1 ] being equal to 1.
    NOTE – When general_profile_compatibility_flag[ 1 ] is equal to 1, general_profile_compatibility_flag[ 2 ] should also be equal to
    1. When sub_layer_profile_compatibility_flag[ i ][ 1 ] is equal to 1 for a value of i, sub_layer_profile_compatibility_flag[ i ][ 2 ]
    should also be equal to 1.

Decoders conforming to the Main profile at a specific level (identified by a specific value of general_level_idc) of a specific
tier (identified by a specific value of general_tier_flag) shall be capable of decoding all bitstreams and sub-layer
representations for which all of the following conditions apply:
–    The bitstream or sub-layer representation is indicated to conform to the Main profile or the Main Still Picture profile.
–    The bitstream or sub-layer representation is indicated to conform to a level that is not level 8.5 and is lower than or
     equal to the specified level.
–    The bitstream or sub-layer representation is indicated to conform to a tier that is lower than or equal to the specified
     tier.

A.3.3      Main 10 and Main 10 Still Picture profiles
Bitstreams conforming to the Main 10 or Main 10 Still Picture profile shall obey the following constraints:
–    In bitstreams conforming to the Main 10 Still Picture profile, the bitstream shall contain only one picture with
     nuh_layer_id equal to 0.
–    Active VPSs shall have vps_base_layer_internal_flag and vps_base_layer_available_flag both equal to 1 only.
–    Active SPSs for the base layer shall have chroma_format_idc equal to 1 only.
–    Active SPSs for the base layer shall have bit_depth_luma_minus8 in the range of 0 to 2, inclusive.
–    Active SPSs for the base layer shall have bit_depth_chroma_minus8 in the range of 0 to 2, inclusive.
–    In bitstreams conforming to the Main 10 Still Picture profile, active SPSs for the base layer shall have
     sps_max_dec_pic_buffering_minus1[ sps_max_sub_layers_minus1 ] equal to 0 only.
–    Active      SPSs      for      the   base       layer     shall  have       transform_skip_rotation_enabled_flag,
     transform_skip_context_enabled_flag,           implicit_rdpcm_enabled_flag,          explicit_rdpcm_enabled_flag,
     extended_precision_processing_flag,      intra_smoothing_disabled_flag,       high_precision_offsets_enabled_flag,
     persistent_rice_adaptation_enabled_flag, cabac_bypass_alignment_enabled_flag, sps_curr_pic_ref_enabled_flag,
     palette_mode_enabled_flag, motion_vector_resolution_control_idc, and intra_boundary_filtering_disabled_flag,
     when present, equal to 0 only.



                                                                                      Rec. ITU-T H.265 v8 (08/2021)                249
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 271 of 717 Page ID #:800


–     CtbLog2SizeY derived according to active SPSs for the base layer shall be in the range of 4 to 6, inclusive.
–     Active   PPSs     for    the    base    layer    shall    have    log2_max_transform_skip_block_size_minus2,
      chroma_qp_offset_list_enabled_flag, and residual_adaptive_colour_transform_enabled_flag, when present, equal to
      0 only.
–     When an active PPS for the base layer                     has   tiles_enabled_flag    equal    to   1,   it   shall   have
      entropy_coding_sync_enabled_flag equal to 0.
–     When an active PPS for the base layer has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ] shall be
      greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
      RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
      num_tile_rows_minus1, inclusive.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     In bitstreams conforming to the Main 10 profile that do not conform to the Main 10 Still Picture profile,
      general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for the base layer shall not be equal to
      255 (which indicates level 8.5).
–     The tier and level constraints specified for the Main 10 or Main 10 Still Picture profile in clause A.4, as applicable,
      shall be fulfilled.
Conformance of a bitstream to the Main 10 profile is indicated by general_profile_idc being equal to 2 or
general_profile_compatibility_flag[ 2 ] being equal to 1. Conformance of a sub-layer representation with TemporalId equal
to i to the Main 10 profile is indicated by sub_layer_profile_idc[ i ] being equal to 2 or
sub_layer_profile_compatibility_flag[ i ][ 2 ] being equal to 1.
Conformance of a bitstream to the Main 10 Still Picture profile is indicated by general_one_picture_only_constraint_flag
being equal to 1 together with general_profile_idc being equal to 2 or general_profile_compatibility_flag[ 2 ] being equal
to 1. Conformance of a sub-layer representation with TemporalId equal to i to the Main 10 Still Picture profile is indicated
by sub_layer_one_picture_only_constraint_flag being equal to 1 together with sub_layer_profile_idc[ i ] being equal to 2
or sub_layer_profile_compatibility_flag[ i ][ 2 ] being equal to 1.
    NOTE – When the conformance of a bitstream to the Main 10 Still Picture profile is indicated as specified above, and the
    indicated level is not level 8.5, the conditions for indication of the conformance of the bitstream to the Main 10 profile
    are also fulfilled.
Decoders conforming to the Main 10 profile at a specific level (identified by a specific value of general_level_idc) of a
specific tier (identified by a specific value of general_tier_flag) shall be capable of decoding all bitstreams and sub-layer
representations for which all of the following conditions apply:
–     The bitstream or sub-layer representation is indicated to conform to the Main 10 profile, the Main profile or the Main
      Still Picture profile.
–     The bitstream or sub-layer representation is indicated to conform to a level that is not level 8.5 and is lower than or
      equal to the specified level.
–     The bitstream or sub-layer representation is indicated to conform to a tier that is lower than or equal to the specified
      tier.
Decoders conforming to the Main 10 Still Picture profile at a specific level (identified by a specific value of
general_level_idc) of a specific tier (identified by a specific value of general_tier_flag) shall be capable of decoding all
bitstreams and sub-layer representations for which all of the following conditions apply:
–     The bitstream or sub-layer representation is indicated to conform to the Main 10 Still Picture profile or the Main Still
      Picture profile.
–     The bitstream or sub-layer representation is indicated to conform to a level that is not level 8.5 and is lower than or
      equal to the specified level.
–     The bitstream or sub-layer representation is indicated to conform to a tier that is lower than or equal to the specified
      tier.

A.3.4       Main Still Picture profile
Bitstreams conforming to the Main Still Picture profile shall obey the following constraints:
–     The bitstream shall contain only one picture with nuh_layer_id equal to 0.
–     Active VPSs shall have vps_base_layer_internal_flag and vps_base_layer_available_flag both equal to 1 only.


250          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 272 of 717 Page ID #:801


–    Active SPSs for the base layer shall have chroma_format_idc equal to 1 only.
–    Active SPSs for the base layer shall have bit_depth_luma_minus8 equal to 0 only.
–    Active SPSs for the base layer shall have bit_depth_chroma_minus8 equal to 0 only.
–    Active SPSs for the base layer shall have sps_max_dec_pic_buffering_minus1[ sps_max_sub_layers_minus1 ] equal
     to 0 only.
–    Active SPSs for the base layer shall have transform_skip_rotation_enabled_flag, transform_skip_
     context_enabled_flag, implicit_rdpcm_enabled_flag, explicit_rdpcm_enabled_flag, extended_precision_processing_
     flag, intra_smoothing_disabled_flag, high_precision_offsets_enabled_flag, persistent_rice_adaptation_enabled_flag,
     cabac_bypass_alignment_enabled_flag, sps_curr_pic_ref_enabled_flag, palette_mode_enabled_flag, motion_vector_
     resolution_control_idc, and intra_boundary_filtering_disabled_flag, when present, equal to 0 only.
–    CtbLog2SizeY derived according to active SPSs for the base layer shall be in the range of 4 to 6, inclusive.
–    Active   PPSs     for    the    base    layer    shall    have    log2_max_transform_skip_block_size_minus2,
     chroma_qp_offset_list_enabled_flag, and residual_adaptive_colour_transform_enabled_flag, when present, equal to
     0 only.
–    When an active PPS for the base layer has tiles_enabled_flag equal to 1, it shall have entropy_coding_
     sync_enabled_flag equal to 0.
–    When an active PPS for the base layer has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ] shall be
     greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
     RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
     num_tile_rows_minus1, inclusive.
–    The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
     for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–    The tier and level constraints specified for the Main Still Picture profile in clause A.4 shall be fulfilled.
Conformance of a bitstream to the Main Still Picture profile is indicated by general_profile_idc being equal to 3 or
general_profile_compatibility_flag[ 3 ] being equal to 1.
    NOTE – When general_profile_compatibility_flag[ 3 ] is equal to 1, general_profile_compatibility_flag[ 1 ] and general_profile_
    compatibility_flag[ 2 ] should also be equal to 1. When sub_layer_profile_compatibility_flag[ i ][ 3 ] is equal to 1 for a value of i,
    sub_layer_profile_compatibility_flag[ i ][ 1 ] and sub_layer_profile_compatibility_flag[ i ][ 2 ] should also be equal to 1.

Decoders conforming to the Main Still Picture profile at a specific level (identified by a specific value of general_level_idc)
of a specific tier (identified by a specific value of general_tier_flag) shall be capable of decoding all bitstreams for which
all of the following conditions apply:
–    general_profile_idc is equal to 3 or general_profile_compatibility_flag[ 3 ] is equal to 1.
–    general_level_idc is not equal to 255 and represents a level lower than or equal to the specified level.
–    general_tier_flag represents a tier lower than or equal to the specified tier.

A.3.5       Format range extensions profiles
The following profiles, collectively referred to as the format range extensions profiles, are specified in this clause:
–    The Monochrome, Monochrome 10, Monochrome 12 and Monochrome 16 profiles
–    The Main 12 profile
–    The Main 4:2:2 10 and Main 4:2:2 12 profiles
–    The Main 4:4:4, Main 4:4:4 10 and Main 4:4:4 12 profiles
–    The Main Intra, Main 10 Intra, Main 12 Intra, Main 4:2:2 10 Intra, Main 4:2:2 12 Intra, Main 4:4:4 Intra, Main 4:4:4 10
     Intra, Main 4:4:4 12 Intra and Main 4:4:4 16 Intra profiles
–    The Main 4:4:4 Still Picture and Main 4:4:4 16 Still Picture profiles
Bitstreams conforming to the format range extensions profiles shall obey the following constraints:
–    The constraints specified in Table A.1 shall apply, in which entries marked with "–" indicate that the table entry does
     not impose a profile-specific constraint on the corresponding syntax element.
           NOTE – For some syntax elements with table entries marked with "–", a constraint may be imposed indirectly – e.g., by
           semantics constraints that are imposed elsewhere in this Specification when other specified constraints are fulfilled.



                                                                                       Rec. ITU-T H.265 v8 (08/2021)                251
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 273 of 717 Page ID #:802


–     Active VPSs shall have vps_base_layer_internal_flag and vps_base_layer_available_flag both equal to 1 only.
–     Active SPSs for the base layer shall have separate_colour_plane_flag, cabac_bypass_alignment_enabled_flag,
      sps_curr_pic_ref_enabled_flag,     palette_mode_enabled_flag,        motion_vector_resolution_control_idc, and
      intra_boundary_filtering_disabled_flag, when present, equal to 0 only.
–     CtbLog2SizeY derived according to active SPSs for the base layer shall be in the range of 4 to 6, inclusive.
–     Active PPSs for the base layer shall have residual_adaptive_colour_transform_enabled_flag, when present, equal to 0
      only.
–     When an active PPS for the base layer                     has    tiles_enabled_flag    equal   to   1,   it   shall   have
      entropy_coding_sync_enabled_flag equal to 0.
–     When an active PPS for the base layer has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ] shall be
      greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
      RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
      num_tile_rows_minus1, inclusive.
–     In bitstreams conforming to the Main Intra, Main 10 Intra, Main 12 Intra, Main 4:2:2 10 Intra, Main 4:2:2 12 Intra,
      Main 4:4:4 Intra, Main 4:4:4 10 Intra, Main 4:4:4 12 Intra or Main 4:4:4 16 Intra profiles, all pictures with
      nuh_layer_id equal to 0 shall be IRAP pictures and the output order indicated in the bitstream among these pictures
      shall be the same as the decoding order.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     In bitstreams conforming to the Main 4:4:4 Still Picture and Main 4:4:4 16 Still Picture profiles, the following
      constraints shall apply:
      –   The bitstream shall contain only one picture with nuh_layer_id equal to 0.
      –   Active SPSs for the base layer shall have sps_max_dec_pic_buffering_minus1[ sps_max_sub_layers_minus1 ]
          equal to 0 only.
–     In bitstreams conforming to the Monochrome, Monochrome 10, Monochrome 12, Monochrome 16, Main 12, Main
      4:2:2 10, Main 4:2:2 12, Main 4:4:4, Main 4:4:4 10, Main 4:4:4 12, Main Intra, Main 10 Intra, Main 12 Intra, Main
      4:2:2 10 Intra, Main 4:2:2 12 Intra, Main 4:4:4 Intra, Main 4:4:4 10 Intra, Main 4:4:4 12 Intra or Main 4:4:4 16 Intra
      profiles, general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for the base layer shall not be
      equal to 255 (which indicates level 8.5).
–     The tier and level constraints specified for the Monochrome, Monochrome 10, Monochrome 12, Monochrome 16,
      Main 12, Main 4:2:2 10, Main 4:2:2 12, Main 4:4:4 10, Main 4:4:4 12, Main Intra, Main 10 Intra, Main 12 Intra, Main
      4:2:2 10 Intra, Main 4:2:2 12 Intra, Main 4:4:4 10 Intra, Main 4:4:4 12 Intra or Main 4:4:4 16 Intra profiles in clause
      A.4, as applicable, shall be fulfilled.




252          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                                                     Document 1-7                  Filed 04/07/25                                           Page 274 of 717 Page ID #:803


              Table A.1 – Allowed values for syntax elements in the format range extensions profiles




                           Profile for which constraint is specified




                                                                                 chroma_format_idc


                                                                                                     bit_depth_chroma_minus8
                                                                                                     bit_depth_luma_minus8 and

                                                                                                                                     log2_max_transform_skip_block_size_minus2
                                                                                                                                     persistent_rice_adaptation_enabled_flag and
                                                                                                                                     intra_smoothing_disabled_flag,
                                                                                                                                     explicit_rdpcm_enabled_flag,
                                                                                                                                     implicit_rdpcm_enabled_flag,
                                                                                                                                     transform_skip_context_enabled_flag,
                                                                                                                                     transform_skip_rotation_enabled_flag,


                                                                                                                                                                                   extended_precision_processing_flag



                                                                                                                                                                                                                        chroma_qp_offset_list_enabled_flag
                     Monochrome                                                        0                       0                                         0                                     0                        0
                    Monochrome 10                                                      0                 0..2                                            0                                     0                        0
                    Monochrome 12                                                      0                 0..4                                            0                                     0                        0
                    Monochrome 16                                                      0                       –                                         –                                     –                        0
                        Main 12                                                 0 or 1                   0..4                                            0                                     0                        0
                     Main 4:2:2 10                                               0..2                    0..2                                            0                                     0                        –
                     Main 4:2:2 12                                               0..2                    0..4                                            0                                     0                        –
                      Main 4:4:4                                                       –                       0                                         –                                     0                        –
                     Main 4:4:4 10                                                     –                 0..2                                            –                                     0                        –
                     Main 4:4:4 12                                                     –                 0..4                                            –                                     0                        –
                       Main Intra                                               0 or 1                         0                                         0                                     0                        0
                     Main 10 Intra                                              0 or 1                   0..2                                            0                                     0                        0
                     Main 12 Intra                                              0 or 1                   0..4                                            0                                     0                        0
                  Main 4:2:2 10 Intra                                            0..2                    0..2                                            0                                     0                        –
                  Main 4:2:2 12 Intra                                            0..2                    0..4                                            0                                     0                        –
                    Main 4:4:4 Intra                                                   –                       0                 –                                                             0                        –
                  Main 4:4:4 10 Intra                                                  –                 0..2                                            –                                     0                        –
                  Main 4:4:4 12 Intra                                                  –                 0..4                                            –                                     0                        –
                  Main 4:4:4 16 Intra                                                  –                       –                                         –                                     –                        –
                Main 4:4:4 Still Picture                                               –                       0                                         –                                     0                        –
               Main 4:4:4 16 Still Picture                                             –                       –                                         –                                     –                        –



Conformance of a bitstream to the format range extensions profiles is indicated by general_profile_idc being equal to 4 or
general_profile_compatibility_flag[ 4 ] being equal to 1 with the additional indications specified in Table A.2.
Conformance of a sub-layer representation with TemporalId equal to i to the format range extensions profiles is indicated
by sub_layer_profile_idc[ i ] being equal to 4 or sub_layer_profile_compatibility_flag[ i ][ 4 ] being equal to 1 with the
additional indications specified in Table A.2, with each of the syntax elements in Table A.2 being replaced by its i-th
corresponding sub-layer syntax element.



                                                                                                                                                             Rec. ITU-T H.265 v8 (08/2021)                                                                   253
Case 2:25-cv-03053                                         Document 1-7                                                              Filed 04/07/25                                                                                                     Page 275 of 717 Page ID #:804


All other combinations of the syntax elements in Table A.2 with general_profile_idc equal to 4 or
general_profile_compatibility_flag[ 4 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. All other combinations
of the i-th corresponding sub-layer syntax elements of the syntax elements in Table A.2 with sub_layer_profile_idc[ i ]
equal to 4 or sub_layer_profile_compatibility_flag[ i ][ 4 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. Such
combinations shall not be present in bitstreams conforming to this Specification. However, decoders conforming to the
format range extensions profiles shall allow other combinations as specified below in this clause to occur in the bitstream.

                           Table A.2 – Bitstream indications for conformance to format range extensions profiles
               conformance
               Profile for which the bitstream indicates




                                                             general_max_12bit_constraint_flag


                                                                                                 general_max_10bit_constraint_flag


                                                                                                                                     general_max_8bit_constraint_flag


                                                                                                                                                                        general_max_422chroma_constraint_flag


                                                                                                                                                                                                                general_max_420chroma_constraint_flag


                                                                                                                                                                                                                                                            general_max_monochrome_constraint_flag


                                                                                                                                                                                                                                                                                                     general_intra_constraint_flag



                                                                                                                                                                                                                                                                                                                                     general_one_picture_only_constraint_flag


                                                                                                                                                                                                                                                                                                                                                                                 general_lower_bit_rate_constraint_flag
           Monochrome                                                   1                                   1                                   1                                    1                                       1                                           1                                     0                     0                                                        1
         Monochrome 10                                                  1                                   1                                   0                                    1                                       1                                           1                                     0                     0                                                        1
         Monochrome 12                                                  1                                   0                                   0                                    1                                       1                                           1                                     0                     0                                                        1
         Monochrome 16                                                  0                                   0                                   0                                    1                                       1                                           1                                     0                     0                                                        1
             Main 12                                                    1                                   0                                   0                                    1                                       1                                           0                                     0                     0                                                        1
          Main 4:2:2 10                                                 1                                   1                                   0                                    1                                       0                                           0                                     0                     0                                                        1
          Main 4:2:2 12                                                 1                                   0                                   0                                    1                                       0                                           0                                     0                     0                                                        1
            Main 4:4:4                                                  1                                   1                                   1                                    0                                       0                                           0                                     0                     0                                                        1
          Main 4:4:4 10                                                 1                                   1                                   0                                    0                                       0                                           0                                     0                     0                                                        1
          Main 4:4:4 12                                                 1                                   0                                   0                                    0                                       0                                           0                                     0                     0                                                        1
            Main Intra                                                  1                                   1                                   1                                    1                                       1                                           0                                     1                     0                                          0 or 1
           Main 10 Intra                                                1                                   1                                   0                                    1                                       1                                           0                                     1                     0                                          0 or 1
           Main 12 Intra                                                1                                   0                                   0                                    1                                       1                                           0                                     1                     0                                          0 or 1
        Main 4:2:2 10 Intra                                             1                                   1                                   0                                    1                                       0                                           0                                     1                     0                                          0 or 1
        Main 4:2:2 12 Intra                                             1                                   0                                   0                                    1                                       0                                           0                                     1                     0                                          0 or 1
         Main 4:4:4 Intra                                               1                                   1                                   1                                    0                                       0                                           0                                     1                     0                                          0 or 1
        Main 4:4:4 10 Intra                                             1                                   1                                   0                                    0                                       0                                           0                                     1                     0                                          0 or 1
        Main 4:4:4 12 Intra                                             1                                   0                                   0                                    0                                       0                                           0                                     1                     0                                          0 or 1
        Main 4:4:4 16 Intra                                             0                                   0                                   0                                    0                                       0                                           0                                     1                     0                                          0 or 1
      Main 4:4:4 Still Picture                                          1                                   1                                   1                                    0                                       0                                           0                                     1                     1                                          0 or 1
  Main 4:4:4 16 Still Picture                                           0                                   0                                   0                                    0                                       0                                           0                                     1                     1                                          0 or 1




254         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 276 of 717 Page ID #:805


Decoders conforming to a format range extensions profile at a specific level (identified by a specific value of
general_level_idc) of a specific tier (identified by a specific value of general_tier_flag) shall be capable of decoding all
bitstreams and sub-layer representations for which all of the following conditions apply:
–   Any of the following conditions apply:
     –     The decoder conforms to the Main 12, Main 4:2:2 10, Main 4:2:2 12, Main 4:4:4, Main 4:4:4 10 or Main 4:4:4 12
           profile, and the bitstream or sub-layer representation is indicated to conform to the Main profile or the Main Still
           Picture profile.
     –     The decoder conforms to the Main 12, Main 4:2:2 10, Main 4:2:2 12, Main 4:4:4 10 or Main 4:4:4 12 profile,
           and the bitstream or sub-layer representation is indicated to conform to the Main 10 profile, the Main profile or
           the Main Still Picture profile.
     –     The decoder conforms to the Main Intra, Main 10 Intra, Main 12 Intra, Main 4:2:2 10 Intra, Main 4:2:2 12 Intra,
           Main 4:4:4 Intra, Main 4:4:4 10 Intra, or Main 4:4:4 12 Intra, Main 4:4:4 16 Intra, Main 4:4:4 Still Picture, or
           Main 4:4:4 16 Still Picture profile, and the bitstream or sub-layer representation is indicated to conform to the
           Main Still Picture profile.
     –     general_profile_idc is equal to 4 or general_profile_compatibility_flag[ 4 ] is equal to 1 for the bitstream, and
           the value of each constraint flag listed in Table A.2 is greater than or equal to the value(s) specified in the row
           of Table A.2 for the format range extensions profile for which the decoder conformance is evaluated.
     –     sub_layer_profile_idc[ i ] is equal to 4 or sub_layer_profile_compatibility_flag[ i ][ 4 ] is equal to 1 for the sub-
           layer representation, and the value of each constraint flag listed in Table A.2 is greater than or equal to the
           value(s) specified in the row of Table A.2 for the format range extensions profile for which the decoder
           conformance is evaluated, with each of the syntax elements in Table A.2 being replaced by its i-th corresponding
           sub-layer syntax element.
–   The bitstream or sub-layer representation is indicated to conform to a level that is not level 8.5 and is lower than or
    equal to the specified level.
–   The bitstream or sub-layer representation is indicated to conform to a tier that is lower than or equal to the specified
    tier.
For decoders conforming to the Main Intra, Main 10 Intra, Main 12 Intra, Main 4:2:2 10 Intra, Main 4:2:2 12 Intra,
Main 4:4:4 Intra, Main 4:4:4 10 Intra, Main 4:4:4 12 Intra, Main 4:4:4 16 Intra, Main 4:4:4 Still Picture, or Main 4:4:4 16
Still picture profile, the application of either or both of the in-loop filters of the in-loop filter process specified in clause 8.7
is optional.

A.3.6      High throughput profiles
The following profiles, collectively referred to as the high throughput profiles, are specified in this clause:
–   The High Throughput 4:4:4, High Throughput 4:4:4 10 and High Throughput 4:4:4 14 profiles
–   The High Throughput 4:4:4 16 Intra profile
           NOTE 1 – For purposes of this terminology, the high-throughput screen content coding extensions profiles specified in clause
           A.3.8 are not included in the set of profiles that are collectively referred to as the high throughput profiles, although the
           names of some of the high-throughput screen content coding extensions profiles include the term "High Throughput".

Bitstreams conforming to the high throughput profiles shall obey the following constraints:
–   Active VPSs shall have vps_base_layer_internal_flag and vps_base_layer_available_flag both equal to 1 only.
–   Active SPSs for the base layer shall have separate_colour_plane_flag, sps_curr_pic_ref_enabled_flag,
    palette_mode_enabled_flag, motion_vector_resolution_control_idc, and intra_boundary_filtering_disabled_flag,
    when present, equal to 0 only.
–   In bitstreams conforming to the High Throughput 4:4:4 profile, active SPSs for the base layer shall have
    bit_depth_luma_minus8 equal to 0, bit_depth_chroma_minus8 equal to 0, extended_precision_processing_flag equal
    to 0, and cabac_bypass_alignment_enabled_flag equal to 0 only.
–   In bitstreams conforming to the High Throughput 4:4:4 10 profile, active SPSs for the base layer shall have
    bit_depth_luma_minus8 less than or equal to 2, bit_depth_chroma_minus8 less than or equal to 2,
    extended_precision_processing_flag equal to 0, and cabac_bypass_alignment_enabled_flag equal to 0 only.
–   In bitstreams conforming to the High Throughput 4:4:4 14 profile, active SPSs for the base layer shall have
    bit_depth_luma_minus8 less than or equal to 6 and bit_depth_chroma_minus8 less than or equal to 6.




                                                                                      Rec. ITU-T H.265 v8 (08/2021)               255
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 277 of 717 Page ID #:806


–     In bitstreams conforming to the High Throughput 4:4:4 16 Intra profile, active SPSs for the base layer shall have
      cabac_bypass_alignment_enabled_flag equal to 1 only.
–     CtbLog2SizeY derived according to active SPSs for the base layer shall be in the range of 4 to 6, inclusive.
–     Active PPSs for the base layer shall have residual_adaptive_colour_transform_enabled_flag, when present, equal to 0
      only.
–     In bitstreams conforming to the High Throughput 4:4:4, High Throughput 4:4:4 10, or High Throughput 4:4:4 14
      profiles, active PPSs for the base layer shall have entropy_coding_sync_enabled_flag equal to 1 only.
           NOTE 2 – Unlike for some other profiles specified in this annex, an active PPS for the base layer for the high throughput
           profiles may have tiles_enabled_flag equal to 1 with entropy_coding_sync_enabled_flag equal to 1.

–     When an active PPS for the base layer has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ] shall be
      greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
      RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
      num_tile_rows_minus1, inclusive.
–     In bitstreams conforming to the High Throughput 4:4:4 16 Intra profile, all pictures with nuh_layer_id equal to 0 shall
      be IRAP pictures and the output order indicated in the bitstream among these pictures shall be the same as the decoding
      order.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for the base layer shall not be equal to
      255 (which indicates level 8.5).
–     The tier and level constraints specified for the High Throughput 4:4:4, High Throughput 4:4:4 10, High Throughput
      4:4:4 14 or High Throughput 4:4:4 16 Intra profile in clause A.4, as applicable, shall be fulfilled.
Conformance of a bitstream to the high throughput profiles is indicated by general_profile_idc being equal to 5 or
general_profile_compatibility_flag[ 5 ] being equal to 1 with the additional indications specified in Table A.3.
Conformance of a sub-layer representation with TemporalId equal to i to the high throughput profiles is indicated by
sub_layer_profile_idc[ i ] being equal to 5 or sub_layer_profile_compatibility_flag[ i ][ 5 ] being equal to 1 with the
additional indications specified in Table A.3, with each of the syntax elements in Table A.3 being replaced by its i-th
corresponding sub-layer syntax element.
All other combinations of the syntax elements in Table A.3 with general_profile_idc equal to 5 or
general_profile_compatibility_flag[ 5 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. All other combinations
of the i-th corresponding sub-layer syntax elements of the syntax elements in Table A.3 with sub_layer_profile_idc[ i ]
equal to 5 or sub_layer_profile_compatibility_flag[ i ][ 5 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. Such
combinations shall not be present in bitstreams conforming to this Specification. However, decoders conforming to the
format range extensions profiles shall allow other combinations as specified below in this clause to occur in the bitstream.




256          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                                                Document 1-7                                                                    Filed 04/07/25                                                                                                    Page 278 of 717 Page ID #:807


                    Table A.3 – Bitstream indications for conformance to high throughput profiles




                      conformance
                      Profile for which the bitstream indicates




                                                                          general_max_14bit_constraint_flag

                                                                                                              general_max_12bit_constraint_flag

                                                                                                                                                     general_max_10bit_constraint_flag

                                                                                                                                                                                         general_max_8bit_constraint_flag

                                                                                                                                                                                                                            general_max_422chroma_constraint_flag

                                                                                                                                                                                                                                                                       general_max_420chroma_constraint_flag

                                                                                                                                                                                                                                                                                                               general_max_monochrome_constraint_flag

                                                                                                                                                                                                                                                                                                                                                        general_intra_constraint_flag


                                                                                                                                                                                                                                                                                                                                                                                        general_one_picture_only_constraint_flag

                                                                                                                                                                                                                                                                                                                                                                                                                                    general_lower_bit_rate_constraint_flag
             High Throughput 4:4:4                                        1                                              1                                      1                                   1                                    0                                          0                                       0                                     0                      0                                                       1
           High Throughput 4:4:4 10                                       1                                              1                                      1                                   0                                    0                                          0                                       0                                     0                      0                                                       1
           High Throughput 4:4:4 14                                       1                                              0                                      0                                   0                                    0                                          0                                       0                                     0                      0                                                       1
         High Throughput 4:4:4 16 Intra                                   0                                              0                                      0                                   0                                    0                                          0                                       0                                     1                      0                                         0 or 1



Decoders conforming to a high throughput profile at a specific level (identified by a specific value of general_level_idc)
of a specific tier (identified by a specific value of general_tier_flag) shall be capable of decoding all bitstreams or sub-
layer representations for which all of the following conditions apply:
–   Any of the following conditions apply:
     –    general_profile_idc is equal to 5 or general_profile_compatibility_flag[ 5 ] is equal to 1 for the bitstream and the
          value of each constraint flag listed in Table A.3 is greater than or equal to the value(s) specified in the row of
          Table A.3 for the high throughput profile for which the decoder conformance is evaluated.
     –    sub_layer_profile_idc[ i ] is equal to 5 or sub_layer_profile_compatibility_flag[ i ][ 5 ] is equal to 1 for the sub-
          layer representation, and the value of each constraint flag listed in Table A.3 is greater than or equal to the
          value(s) specified in the row of Table A.3 for the high throughput profile for which the decoder conformance is
          evaluated, with each of the syntax elements in Table A.3 being replaced by its i-th corresponding sub-layer
          syntax element.
–   The bitstream or sub-layer representation is indicated to conform to a level that is not level 8.5 and is lower than or
    equal to the specified level.
–   The bitstream or sub-layer representation is indicated to conform to a tier that is lower than or equal to the specified
    tier.
For decoders conforming to the High Throughput 4:4:4 16 Intra profile, the application of either or both of the in-loop
filters of the in-loop filter process specified in clause 8.7 is optional.

A.3.7    Screen content coding extensions profiles
The following profiles, collectively referred to as the screen content coding extensions profiles, are specified in this clause:
–   The Screen-Extended Main and Screen-Extended Main 10 profiles
–   The Screen-Extended Main 4:4:4 and Screen-Extended Main 4:4:4 10 profiles
          NOTE – For purposes of this terminology, the high throughput screen content coding extensions profiles specified in clause
          A.3.8 are not included in the set of profiles that are collectively referred to as the screen content coding extensions profiles,
          although the names of some of the high throughput screen content coding extensions profiles include the term "Screen-
          Extended".

Bitstreams conforming to the screen content coding extensions profiles shall obey the following constraints:
–   The constraints specified in Table A.4 shall apply, in which entries marked with "–" indicate that the table entry does
    not impose a profile-specific constraint on the corresponding syntax element.


                                                                                                                                                                                                                                                                    Rec. ITU-T H.265 v8 (08/2021)                                                                                                                                                                            257
Case 2:25-cv-03053                Document 1-7                                                 Filed 04/07/25      Page 279 of 717 Page ID #:808


–     Active VPSs shall have vps_base_layer_internal_flag and vps_base_layer_available_flag both equal to 1 only.
–     Active SPSs for the base layer shall have separate_colour_plane_flag, when present, equal to 0 only.
–     CtbLog2SizeY derived according to active SPSs for the base layer shall be in the range of 4 to 6, inclusive.
–     When an active SPS for the base layer has palette_mode_enabled_flag equal to 1, palette_max_size shall be less than
      or equal to 64 and PaletteMaxPredictorSize shall be less than or equal to 128.
–     In bitstreams conforming to the Screen-Extended Main, Screen-Extended Main 10, Screen-Extended Main 4:4:4, or
      Screen-Extended Main 4:4:4 10 profiles, active SPSs for the base layer shall have
      extended_precision_processing_flag, and cabac_bypass_alignment_enabled_flag, when present, equal to 0 only.
–     In bitstreams conforming to the Screen-Extended Main or Screen-Extended Main 10 profiles, when an active PPS for
      the base layer has tiles_enabled_flag equal to 1, it shall have entropy_coding_sync_enabled_flag equal to 0.
–     When an active PPS for the base layer has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ] shall be
      greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
      RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
      num_tile_rows_minus1, inclusive.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for the base layer shall not be equal to
      255 (which indicates level 8.5).
–     The tier and level constraints specified for the Screen-Extended Main, Screen-Extended Main 10, Screen-Extended
      Main 4:4:4 or Screen-Extended Main 4:4:4 10 profiles in clause A.4, as applicable, shall be fulfilled.

            Table A.4 – Allowed values for syntax elements in the screen content coding extensions profiles
                                                   Profile for which constraint is specified




                                                                                                                   chroma_format_idc


                                                                                                                                       bit_depth_chroma_minus8
                                                                                                                                       bit_depth_luma_minus8 and




                                        Screen-Extended Main                                                             1                        0
                                       Screen-Extended Main 10                                                           1                 0..2
                                     Screen-Extended Main 4:4:4                                                 0, 1, or 3                        0
                                    Screen-Extended Main 4:4:4 10                                               0, 1, or 3                 0..2


Conformance of a bitstream to the screen content coding extensions profiles is indicated by general_profile_idc being equal
to 9 or general_profile_compatibility_flag[ 9 ] being equal to 1 with the additional indications specified in Table A.5.
Conformance of a sub-layer representation with TemporalId equal to i to the screen content coding extensions profiles is
indicated by sub_layer_profile_idc[ i ] being equal to 9 or sub_layer_profile_compatibility_flag[ i ][ 9 ] being equal to 1
with the additional indications specified in Table A.5, with each of the syntax elements in Table A.5 being replaced by its
i-th corresponding sub-layer syntax element.




258          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                                        Document 1-7                                                                      Filed 04/07/25                                                                                          Page 280 of 717 Page ID #:809


All other combinations of the syntax elements in Table A.5 with general_profile_idc equal to 9 or
general_profile_compatibility_flag[ 9 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. All other combinations
of the i-th corresponding sub-layer syntax elements of the syntax elements in Table A.5 with sub_layer_profile_idc[ i ]
equal to 9 or sub_layer_profile_compatibility_flag[ i ][ 9 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. Such
combinations shall not be present in bitstreams conforming to this Specification. However, decoders conforming to the
screen content coding extensions profiles shall allow other combinations as specified below in this clause to occur in the
bitstream.

            Table A.5 – Bitstream indications for conformance to screen content coding extensions profiles
              conformance
              Profile for which the bitstream indicates




                                                             general_max_14bit_constraint_flag

                                                                                                 general_max_12bit_constraint_flag


                                                                                                                                     general_max_10bit_constraint_flag


                                                                                                                                                                         general_max_8bit_constraint_flag


                                                                                                                                                                                                            general_max_422chroma_constraint_flag


                                                                                                                                                                                                                                                       general_max_420chroma_constraint_flag


                                                                                                                                                                                                                                                                                               general_max_monochrome_constraint_flag


                                                                                                                                                                                                                                                                                                                                        general_intra_constraint_flag



                                                                                                                                                                                                                                                                                                                                                                        general_one_picture_only_constraint_flag

                                                                                                                                                                                                                                                                                                                                                                                                                   general_lower_bit_rate_constraint_flag
      Screen-Extended Main                                   1                                              1                                   1                                   1                                    1                                          1                                       0                                     0                     0                                                       1
     Screen-Extended Main 10                                 1                                              1                                   1                                   0                                    1                                          1                                       0                                     0                     0                                                       1
    Screen-Extended Main 4:4:4                               1                                              1                                   1                                   1                                    0                                          0                                       0                                     0                     0                                                       1
Screen-Extended Main 4:4:4 10                                1                                              1                                   1                                   0                                    0                                          0                                       0                                     0                     0                                                       1


Decoders conforming to a screen content coding extensions profile at a specific level (identified by a specific value of
general_level_idc) of a specific tier (identified by a specific value of general_tier_flag) shall be capable of decoding all
bitstreams and sub-layer representations for which all of the following conditions apply:
–     Any of the following conditions apply:
       –   The bitstream or sub-layer representation is indicated to conform to the Main, Main Still Picture, or Monochrome
           profile.
       –   The decoder conforms to the Screen-Extended Main 10 or Screen-Extended Main 4:4:4 10 profile, and the
           bitstream or sub-layer representation is indicated to conform to the Main 10 profile.
       –   The decoder conforms to the Screen-Extended Main 4:4:4 or Screen-Extended Main 4:4:4 10 profile, and the
           bitstream or sub-layer representation is indicated to conform to the Main 4:4:4 profile.
       –   The decoder conforms to the Screen-Extended Main 4:4:4 10 profile, and the bitstream or sub-layer
           representation is indicated to conform to the Main 4:4:4 10 profile.
       –   general_profile_idc is equal to 4 or general_profile_compatibility_flag[ 4 ] is equal to 1 or general_profile_idc
           is equal to 9 or general_profile_compatibility_flag[ 9 ] is equal to 1 for the bitstream, and the value of each
           constraint flag listed in Table A.5 is greater than or equal to the value(s) specified in the row of Table A.5 for
           the screen content coding extensions profile for which the decoder conformance is evaluated, and
           general_max_422chroma_constraint_flag is equal to general_max_420chroma_constraint_flag.
       –   sub_layer_profile_idc[ i ] is equal to 4 or sub_layer_profile_compatibility_flag[ i ][ 4 ] is equal to 1 or
           sub_layer_profile_idc[ i ] is equal to 9 or sub_layer_profile_compatibility_flag[ i ][ 9 ] is equal to 1 for the sub-
           layer representation, and the value of each constraint flag listed in Table A.5 is greater than or equal to the
           value(s) specified in the row of Table A.5 for the screen content coding extensions profile for which the decoder
           conformance is evaluated, and general_max_422chroma_constraint_flag is equal to general_max_420chroma_
           constraint_flag, with each of the syntax elements in Table A.5 being replaced by its i-th corresponding sub-layer
           syntax element.


                                                                                                                                                                                                                                                    Rec. ITU-T H.265 v8 (08/2021)                                                                                                                                  259
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 281 of 717 Page ID #:810


–     The bitstream or sub-layer representation is indicated to conform to a level that is not level 8.5 and is lower than or
      equal to the specified level.
–     The bitstream or sub-layer representation is indicated to conform to a tier that is lower than or equal to the specified
      tier.

A.3.8     High throughput screen content coding extensions profiles
The following profiles, collectively referred to as the high throughput screen content coding extensions profiles, are
specified in this clause:
–     The Screen-Extended High Throughput 4:4:4, Screen-Extended High Throughput 4:4:4 10, and Screen-Extended High
      Throughput 14 profiles
Bitstreams conforming to the screen content coding extensions profiles shall obey the following constraints:
–     The constraints specified in Table A.6 shall apply, in which entries marked with "–" indicate that the table entry does
      not impose a profile-specific constraint on the corresponding syntax element.
–     Active VPSs shall have vps_base_layer_internal_flag and vps_base_layer_available_flag both equal to 1 only.
–     Active SPSs for the base layer shall have separate_colour_plane_flag, when present, equal to 0 only.
–     CtbLog2SizeY derived according to active SPSs for the base layer shall be in the range of 4 to 6, inclusive.
–     When an active SPS for the base layer has palette_mode_enabled_flag equal to 1, palette_max_size shall be less than
      or equal to 64 and PaletteMaxPredictorSize shall be less than or equal to 128.
–     Active   SPSs     for   the    base     layer    shall     have     extended_precision_processing_flag,                  and
      cabac_bypass_alignment_enabled_flag, when present, equal to 0 only.
–     Active PPSs for the base layer shall have entropy_coding_sync_enabled_flag equal to 1 only.
           NOTE – Unlike for some other profiles specified in this annex, an active PPS for the base layer for Screen-Extended High
           Throughput 4:4:4, Screen-Extended High Throughput 4:4:4 10, or Screen-Extended High Throughput 4:4:4 14 profiles may
           have tiles_enabled_flag equal to 1 with entropy_coding_sync_enabled_flag equal to 1.

–     When an active PPS for the base layer has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ] shall be
      greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
      RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
      num_tile_rows_minus1, inclusive.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for the base layer shall not be equal to
      255 (which indicates level 8.5).
–     The tier and level constraints specified for the Screen-Extended High Throughput 4:4:4, Screen-Extended High
      Throughput 4:4:4 10, and Screen-Extended High Throughput 14 profiles in clause A.4, as applicable, shall be fulfilled.




260          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7                                                 Filed 04/07/25   Page 282 of 717 Page ID #:811


 Table A.6 – Allowed values for syntax elements in the high throughput screen content coding extensions profiles




                                                 Profile for which constraint is specified




                                                                                                              chroma_format_idc


                                                                                                                                  bit_depth_chroma_minus8
                                                                                                                                  bit_depth_luma_minus8 and
                             Screen-Extended High Throughput 4:4:4                                                  –                       0
                            Screen-Extended High Throughput 4:4:4 10                                                –                 0..2
                            Screen-Extended High Throughput 4:4:4 14                                                –                 0..6



Conformance of a bitstream to the high throughput screen content coding extensions profiles is indicated by
general_profile_idc being equal to 11 or general_profile_compatibility_flag[ 11 ] being equal to 1 with the additional
indications specified in Table A.7. Conformance of a sub-layer representation with TemporalId equal to i to the screen
content coding extensions profiles is indicated by sub_layer_profile_idc[ i ] being equal to 11 or
sub_layer_profile_compatibility_flag[ i ][ 11 ] being equal to 1 with the additional indications specified in Table A.7, with
each of the syntax elements in Table A.7 being replaced by its i-th corresponding sub-layer syntax element.
All other combinations of the syntax elements in Table A.7 with general_profile_idc equal to 11 or
general_profile_compatibility_flag[ 11 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. All other combinations
of the i-th corresponding sub-layer syntax elements of the syntax elements in Table A.7 with sub_layer_profile_idc[ i ]
equal to 11 or sub_layer_profile_compatibility_flag[ i ][ 11 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC.
Such combinations shall not be present in bitstreams conforming to this Specification. However, decoders conforming to
the screen content coding extensions profiles shall allow other combinations as specified below in this clause to occur in
the bitstream.




                                                                                                              Rec. ITU-T H.265 v8 (08/2021)                   261
Case 2:25-cv-03053                                        Document 1-7                                                                      Filed 04/07/25                                                                                          Page 283 of 717 Page ID #:812


    Table A.7 – Bitstream indications for conformance to high throughput screen content coding extensions profiles



              conformance
              Profile for which the bitstream indicates




                                                             general_max_14bit_constraint_flag

                                                                                                 general_max_12bit_constraint_flag


                                                                                                                                     general_max_10bit_constraint_flag


                                                                                                                                                                         general_max_8bit_constraint_flag


                                                                                                                                                                                                            general_max_422chroma_constraint_flag


                                                                                                                                                                                                                                                      general_max_420chroma_constraint_flag


                                                                                                                                                                                                                                                                                              general_max_monochrome_constraint_flag


                                                                                                                                                                                                                                                                                                                                       general_intra_constraint_flag



                                                                                                                                                                                                                                                                                                                                                                       general_one_picture_only_constraint_flag

                                                                                                                                                                                                                                                                                                                                                                                                                  general_lower_bit_rate_constraint_flag
        Screen-Extended
                                                             1                                              1                                   1                                   1                                    0                                         0                                       0                                     0                     0                                                       1
      High Throughput 4:4:4
         Screen-Extended
                                                             1                                              1                                   1                                   0                                    0                                         0                                       0                                     0                     0                                                       1
     High Throughput 4:4:4 10
         Screen-Extended
                                                             1                                              0                                   0                                   0                                    0                                         0                                       0                                     0                     0                                                       1
     High Throughput 4:4:4 14



Decoders conforming to a high throughput screen content coding extensions profile at a specific level (identified by a
specific value of general_level_idc) of a specific tier (identified by a specific value of general_tier_flag) shall be capable
of decoding all bitstreams and sub-layer representations for which all of the following conditions apply:
–     Any of the following conditions apply:
       –   The bitstream or sub-layer representation is indicated to conform to the Main, Main Still Picture, or Monochrome
           profile.
       –   The bitstream or sub-layer representation is indicated to conform to the High Throughput 4:4:4 profile.
       –   The decoder conforms to the Screen-Extended High Throughput 4:4:4 10 or Screen-Extended High Throughput
           4:4:4 14 profile, and the bitstream or sub-layer representation is indicated to conform to the High Throughput
           4:4:4 10 profile.
       –   The decoder conforms to the Screen-Extended High Throughput 4:4:4 14 profile, and the bitstream or sub-layer
           representation is indicated to conform to the High Throughput 4:4:4 14 profile.
       –   general_profile_idc is equal to 4 or general_profile_compatibility_flag[ 4 ] is equal to 1 or general_profile_idc
           is equal to 11 or general_profile_compatibility_flag[ 11 ] is equal to 1 for the bitstream, and the value of each
           constraint flag listed in Table A.7 is greater than or equal to the value(s) specified in the row of Table A.7 for
           the screen content coding extensions profile for which the decoder conformance is evaluated, and
           general_max_422chroma_constraint_flag is equal to general_max_420chroma_constraint_flag.
       –   sub_layer_profile_idc[ i ] is equal to 4 or sub_layer_profile_compatibility_flag[ i ][ 4 ] is equal to 1 or
           sub_layer_profile_idc[ i ] is equal to 11 or sub_layer_profile_compatibility_flag[ i ][ 11 ] is equal to 1 for the
           sub-layer representation, and the value of each constraint flag listed in Table A.7 is greater than or equal to the
           value(s) specified in the row of Table A.7 for the screen content coding extensions profile for which the decoder
           conformance       is     evaluated,     and     general_max_422chroma_constraint_flag           is     equal     to
           general_max_420chroma_constraint_flag, with each of the syntax elements in Table A.7 being replaced by its
           i-th corresponding sub-layer syntax element, respectively.
–     The bitstream or sub-layer representation is indicated to conform to a level that is not level 8.5 and is lower than or
      equal to the specified level.
–     The bitstream or sub-layer representation is indicated to conform to a tier that is lower than or equal to the specified
      tier.




262          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 284 of 717 Page ID #:813


A.4         Tiers and levels
A.4.1       General tier and level limits
For purposes of comparison of tier capabilities, the tier with general_tier_flag or sub_layer_tier_flag[ i ] equal to 0 is
considered to be a lower tier than the tier with general_tier_flag or sub_layer_tier_flag[ i ] equal to 1.
For purposes of comparison of level capabilities, a particular level of a specific tier is considered to be a lower level than
some other level of the same tier when the value of the general_level_idc or sub_layer_level_idc[ i ] of the particular level
is less than that of the other level.
The following is specified for expressing the constraints in this annex:
–     Let access unit n be the n-th access unit in decoding order, with the first access unit being access unit 0 (i.e., the 0-th
      access unit).
–     Let picture n be the coded picture or the corresponding decoded picture of access unit n.
When the specified level is not level 8.5, bitstreams conforming to a profile at a specified tier and level shall obey the
following constraints for each bitstream conformance test as specified in Annex C:
      a)   PicSizeInSamplesY shall be less than or equal to MaxLumaPs, where MaxLumaPs is specified in Table A.8.
      b) The value of pic_width_in_luma_samples shall be less than or equal to Sqrt( MaxLumaPs * 8 ).
      c)   The value of pic_height_in_luma_samples shall be less than or equal to Sqrt( MaxLumaPs * 8 ).
      d) For level 5 and higher levels, the value of CtbSizeY shall be equal to 32 or 64.
      e)   The value of NumPicTotalCurr shall be less than or equal to 8.
      f)   The value of num_tile_columns_minus1 shall be less than MaxTileCols and num_tile_rows_minus1 shall be
           less than MaxTileRows, where MaxTileCols and MaxTileRows are specified in Table A.8.
      g) For the VCL HRD parameters, CpbSize[ i ] shall be less than or equal to CpbVclFactor * MaxCPB for at least
         one value of i in the range of 0 to cpb_cnt_minus1[ HighestTid ], inclusive, where CpbSize[ i ] is specified in
         clause E.3.3 based on parameters selected as specified in clause C.1, CpbVclFactor is specified in Table A.10,
         and MaxCPB is specified in Table A.8 in units of CpbVclFactor bits.
      h) For the NAL HRD parameters, CpbSize[ i ] shall be less than or equal to CpbNalFactor * MaxCPB for at least
         one value of i in the range of 0 to cpb_cnt_minus1[ HighestTid ], inclusive, where CpbSize[ i ] is specified in
         clause E.3.3 based on parameters selected as specified in clause C.1, CpbNalFactor is specified in Table A.10,
         and MaxCPB is specified in Table A.8 in units of CpbNalFactor bits.
Table A.8 specifies the limits for each level of each tier for levels other than level 8.5.
A tier and level to which a bitstream conforms are indicated by the syntax elements general_tier_flag and
general_level_idc, and a tier and level to which a sub-layer representation conforms are indicated by the syntax elements
sub_layer_tier_flag[ i ] and sub_layer_level_idc[ i ], as follows:
–     If the specified level is not level 8.5, general_tier_flag or sub_layer_tier_flag[ i ] equal to 0 indicates conformance to
      the Main tier, general_tier_flag or sub_layer_tier_flag[ i ] equal to 1 indicates conformance to the High tier, according
      to the tier constraints specified in Table A.8 and general_tier_flag and sub_layer_tier_flag[ i ] shall be equal to 0 for
      levels below level 4 (corresponding to the entries in Table A.8 marked with "-"). Otherwise (the specified level is
      level 8.5), it is a requirement of bitstream conformance that general_tier_flag and sub_layer_tier_flag[ i ] shall be
      equal to 1 and the value 0 for general_tier_flag and sub_layer_tier_flag[ i ] is reserved for future use by ITU-T |
      ISO/IEC and decoders shall ignore the value of general_tier_flag and sub_layer_tier_flag[ i ].
–     general_level_idc and sub_layer_level_idc[ i ] shall be set equal to a value of 30 times the level number specified in
      Table A.8.




                                                                                  Rec. ITU-T H.265 v8 (08/2021)            263
Case 2:25-cv-03053                        Document 1-7                            Filed 04/07/25                                            Page 285 of 717 Page ID #:814


                                                Table A.8 – General tier and level limits




                                  Level




                                                MaxLumaPs (samples)
                                                Max luma picture size


                                                                         bits)
                                                                         or CpbNalFactor
                                                                         (CpbVclFactor
                                                                         MaxCPB
                                                                         Max CPB size



                                                                                                           MaxSliceSegmentsPerPicture
                                                                                                           Max slice segments per picture


                                                                                                                                               Max # of tile rows MaxTileRows

                                                                                                                                                                                MaxTileCols
                                                                                                                                                                                Max # of tile columns
                                                                           Main tier



                                                                                           High tier
                              1                36 864                      350                         -                         16                                         1                       1
                              2               122 880                     1 500                        -                         16                                         1                       1
                              2.1             245 760                     3 000                        -                         20                                         1                       1
                              3               552 960                     6 000                        -                         30                                         2                       2
                              3.1             983 040                    10 000                        -                         40                                         3                       3
                              4              2 228 224                   12 000         30 000                                   75                                         5                       5
                              4.1            2 228 224                   20 000         50 000                                   75                                         5                       5
                              5              8 912 896                   25 000        100 000                            200                               11                                 10
                              5.1            8 912 896                   40 000        160 000                            200                               11                                 10
                              5.2            8 912 896                   60 000        240 000                            200                               11                                 10
                              6             35 651 584                   60 000        240 000                            600                               22                                 20
                              6.1           35 651 584                  120 000        480 000                            600                               22                                 20
                              6.2           35 651 584                  240 000        800 000                            600                               22                                 20



A.4.2       Profile-specific level limits for the video profiles
      NOTE – The term "video profiles", as used in this clause, refers to those profiles that are not still picture profiles. The still picture
      profiles include the Main Still Picture, Main 10 Still Picture, Main 4:4:4 Still Picture, and Main 4:4:4 16 Still Picture profiles.

The following is specified for expressing the constraints in this annex:
–     Let the variable fR be set equal to 1  300.
The variable HbrFactor is defined as follows:
–     If the bitstream or sub-layer representation is indicated to conform to the Main profile or the Main 10 profile,
      HbrFactor is set equal to 1.
–     Otherwise, if the bitstream or sub-layer representation is indicated to conform to the High Throughput 4:4:4, High
      Throughput 4:4:4 10, High Throughput 4:4:4 14, Screen-Extended High Throughput 4:4:4, Screen-Extended High
      Throughput 4:4:4 10, or Screen-Extended High Throughput 4:4:4 14 profile, HbrFactor is set equal to 6.
–     Otherwise, if the bitstream or sub-layer representation is indicated to conform to the High Throughput 4:4:4 16 Intra
      profile,    HbrFactor      is     set     equal     to      24 − ( 12 * general_lower_bit_rate_constraint_flag )   or
      24 − ( 12 * sub_layer_lower_bit_rate_constraint_flag[ i ] ).
–     Otherwise,      HbrFactor     is      set      equal                                to               2 − general_lower_bit_rate_constraint_flag                                                   or
      2 − sub_layer_lower_bit_rate_constraint_flag[ i ].
The variable BrVclFactor, which represents the VCL bit rate scale factor, is set equal to CpbVclFactor * HbrFactor.
The variable BrNalFactor, which represents the NAL bit rate scale factor, is set equal to CpbNalFactor * HbrFactor.
The variable MinCr is set equal to MinCrBase * MinCrScaleFactor ÷ HbrFactor.
When the specified level is not level 8.5, the value of sps_max_dec_pic_buffering_minus1[ HighestTid ] + 1 shall be less
than or equal to MaxDpbSize, which is derived as follows:

                 if( PicSizeInSamplesY <= ( MaxLumaPs >> 2 ) )
                      MaxDpbSize = Min( 4 * maxDpbPicBuf, 16 )


264          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 286 of 717 Page ID #:815


               else if( PicSizeInSamplesY <= ( MaxLumaPs >> 1 ) )
                    MaxDpbSize = Min( 2 * maxDpbPicBuf, 16 )                                                            (A-2)
               else if( PicSizeInSamplesY <= ( ( 3 * MaxLumaPs ) >> 2 ) )
                    MaxDpbSize = Min( ( 4 * maxDpbPicBuf ) / 3, 16 )
               else
                    MaxDpbSize = maxDpbPicBuf

where MaxLumaPs is specified in Table A.8, and maxDpbPicBuf is equal to 6 for all profiles where the value of
sps_curr_pic_ref_enabled_flag is required to be equal to 0 and 7 for all profiles where the value of
sps_curr_pic_ref_enabled_flag is not required to be equal to 0.
Bitstreams and sub-layer representations conforming to the Monochrome, Monochrome 10, Monochrome 12,
Monochrome 16, Main, Main 10, Main 12, Main 4:2:2 10, Main 4:2:2 12, Main 4:4:4 10, Main 4:4:4 12, Main Intra,
Main 10 Intra, Main 12 Intra, Main 4:2:2 10 Intra, Main 4:2:2 12 Intra, Main 4:4:4 10 Intra, Main 4:4:4 12 Intra, Main
4:4:4 16 Intra High Throughput 4:4:4, High Throughput 4:4:4 10, High Throughput 4:4:4 14, High Throughput 4:4:4 16
Intra , Screen-Extended Main, Screen-Extended Main 10, Screen-Extended Main 4:4:4, Screen-Extended Main 4:4:4 10,
Screen-Extended High Throughput 4:4:4, Screen-Extended High Throughput 4:4:4 10, or Screen-Extended High
Throughput 4:4:4 14 profile at a specified tier and level shall obey the following constraints for each bitstream conformance
test as specified in Annex C:
     a)   The nominal removal time of access unit n (with n greater than 0) from the CPB, as specified in clause C.2.3,
          shall satisfy the constraint that AuNominalRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] is greater than or
          equal to Max( PicSizeInSamplesY  MaxLumaSr, fR ) for the value of PicSizeInSamplesY of picture n − 1,
          where MaxLumaSr is the value specified in Table A.9 that applies to picture n − 1.
     b) The difference between consecutive output times of pictures from the DPB, as specified in clause C.3.3, shall
        satisfy     the     constraint     that     DpbOutputInterval[ n ] is   greater    than      or     equal     to
        Max( PicSizeInSamplesY  MaxLumaSr, fR ) for the value of PicSizeInSamplesY of picture n, where
        MaxLumaSr is the value specified in Table A.9 for picture n, provided that picture n is a picture that is output
        and is not the last picture of the bitstream that is output.
     c)   The removal time of access unit 0 shall satisfy the constraint that the number of slice segments in picture 0 is less
          than      or    equal       to      Min( Max( 1, MaxSliceSegmentsPerPicture * MaxLumaSr / MaxLumaPs *
          ( AuCpbRemovalTime[ 0 ] − AuNominalRemovalTime[ 0 ] )                  +     MaxSliceSegmentsPerPicture             *
          PicSizeInSamplesY / MaxLumaPs ), MaxSliceSegmentsPerPicture ), for the value of PicSizeInSamplesY of
          picture 0, where MaxSliceSegmentsPerPicture, MaxLumaPs and MaxLumaSr are the values specified in
          Table A.8 and Table A.9, respectively, that apply to picture 0.
     d) The difference between consecutive CPB removal times of access units n and n − 1 (with n greater than 0) shall
        satisfy the constraint that the number of slice segments in picture n is less than or equal to
        Min( (Max( 1, MaxSliceSegmentsPerPicture * MaxLumaSr / MaxLumaPs * ( AuCpbRemovalTime[ n ] −
        AuCpbRemovalTime[ n − 1 ] ) ), MaxSliceSegmentsPerPicture ), where MaxSliceSegmentsPerPicture,
        MaxLumaPs and MaxLumaSr are the values specified in Table A.8 and Table A.9 that apply to picture n.
     e)   For the VCL HRD parameters, BitRate[ i ] shall be less than or equal to BrVclFactor * MaxBR for at least one
          value of i in the range of 0 to cpb_cnt_minus1[ HighestTid ], inclusive, where BitRate[ i ] is specified in
          clause E.3.3 based on parameters selected as specified in clause C.1 and MaxBR is specified in Table A.9 in units
          of BrVclFactor bits/s.
     f)   For the NAL HRD parameters, BitRate[ i ] shall be less than or equal to BrNalFactor * MaxBR for at least one
          value of i in the range of 0 to cpb_cnt_minus1[ HighestTid ], inclusive, where BitRate[ i ] is specified in
          clause E.3.3 based on parameters selected as specified in clause C.1 and MaxBR is specified in Table A.9 in units
          of BrNalFactor bits/s.
     g) The sum of the NumBytesInNalUnit variables for access unit 0 shall be less than or equal to
        FormatCapabilityFactor        *      ( Max( PicSizeInSamplesY, fR * MaxLumaSr )    +     MaxLumaSr       *
        ( AuCpbRemovalTime[ 0 ] − AuNominalRemovalTime[ 0 ] ) ) ÷ MinCr for the value of PicSizeInSamplesY of
        picture 0, where MaxLumaSr and FormatCapabilityFactor are the values specified in Table A.9 and Table A.10,
        respectively, that apply to picture 0.
     h) The sum of the NumBytesInNalUnit variables for access unit n (with n greater than 0) shall be less than or equal
        to FormatCapabilityFactor * MaxLumaSr * ( AuCpbRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] ) ÷
        MinCr, where MaxLumaSr and FormatCapabilityFactor are the values specified in Table A.9 and Table A.10,
        respectively, that apply to picture n.
     i)   The removal time of access unit 0 shall satisfy the constraint that the number of tiles in picture 0 is less than or
          equal to Min( Max( 1, MaxTileCols * MaxTileRows * 120 * ( AuCpbRemovalTime[ 0 ] −


                                                                                Rec. ITU-T H.265 v8 (08/2021)            265
Case 2:25-cv-03053               Document 1-7                          Filed 04/07/25                                Page 287 of 717 Page ID #:816


           AuNominalRemovalTime[ 0 ] ) + MaxTileCols * MaxTileRows * PicSizeInSamplesY / MaxLumaPs ),
           MaxTileCols * MaxTileRows ), for the value of PicSizeInSamplesY of picture 0, where MaxTileCols and
           MaxTileRows are the values specified in Table A.8 that apply to picture 0.
      j)   The difference between consecutive CPB removal times of access units n and n − 1 (with n greater than 0) shall
           satisfy the constraint that the number of tiles in picture n is less than or equal to Min( Max( 1, MaxTileCols *
           MaxTileRows * 120 * ( AuCpbRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] ) ), MaxTileCols *
           MaxTileRows ), where MaxTileCols and MaxTileRows are the values specified in Table A.8 that apply to
           picture n.                                            k)




                                    Table A.9 – Tier and level limits for the video profiles
                                    Level



                                                (samples/sec)
                                                MaxLumaSr
                                                Max luma sample rate




                                                                                      BrNalFactor bits/s)
                                                                                      (BrVclFactor or
                                                                                      MaxBR
                                                                                      Max bit rate




                                                                                                                                 ratio MinCrBase
                                                                                                                                 Min compression
                                                                                                                     Main tier



                                                                                                                                         High tier
                                                                          Main tier




                                1                  552 960                128                        High tier   -           2                   2
                                2              3 686 400                 1 500                                   -           2                   2
                                2.1            7 372 800                 3 000                                   -           2                   2
                                3             16 588 800                 6 000                                   -           2                   2
                                3.1           33 177 600                10 000                                   -           2                   2
                                4             66 846 720                12 000                 30 000                        4                   4
                                4.1          133 693 440                20 000                 50 000                        4                   4
                                5            267 386 880                25 000               100 000                         6                   4
                                5.1          534 773 760                40 000               160 000                         8                   4
                                5.2         1 069 547 520               60 000               240 000                         8                   4
                                6           1 069 547 520               60 000               240 000                         8                   4
                                6.1         2 139 095 040              120 000               480 000                         8                   4
                                6.2         4 278 190 080              240 000               800 000                         6                   4




266         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7       Filed 04/07/25    Page 288 of 717 Page ID #:817


 Table A.10 – Specification of CpbVclFactor, CpbNalFactor, FormatCapabilityFactor and MinCrScaleFactor
             Profile                   CpbVclFactor      CpbNalFactor   FormatCapabilityFactor   MinCrScaleFactor
          Monochrome                       667               733                1.000                  1.0
         Monochrome 10                     833               917                1.250                  1.0
         Monochrome 12                    1 000             1 100               1.500                  1.0
         Monochrome 16                    1 333             1 467               2.000                  1.0
              Main                        1 000             1 100               1.500                  1.0
        Screen-Extended                   1 000             1 100               1.500                  1.0
             Main
             Main 10                      1 000             1 100               1.875                  1.0
        Screen-Extended                   1 000             1 100               1.875                  1.0
            Main 10
             Main 12                      1 500             1 650               2.250                  1.0
        Main Still Picture                1 000             1 100               1.500                  1.0
       Main 10 Still Picture              1 000             1 100               1.875                  1.0
          Main 4:2:2 10                   1 667             1 833               2.500                  0.5
          Main 4:2:2 12                   2 000             2 200               3.000                  0.5
           Main 4:4:4                     2 000             2 200               3.000                  0.5
        High Throughput                   2 000             2 200               3.000                  0.5
             4:4:4
        Screen-Extended                   2 000             2 200               3.000                  0.5
           Main 4:4:4
        Screen-Extended                   2 000             2 200               3.000                  0.5
        High Throughput
             4:4:4
          Main 4:4:4 10                   2 500             2 750               3.750                  0.5
        High Throughput                   2 500             2 750               3.750                  0.5
            4:4:4 10
        Screen-Extended                   2 500             2 750               3.750                  0.5
         Main 4:4:4 10
        Screen-Extended                   2 500             2 750               3.750                  0.5
        High Throughput
            4:4:4 10
          Main 4:4:4 12                   3 000             3 300               4.500                  0.5
        High Throughput                   3 500             3 850               5.250                  0.5
            4:4:4 14
        Screen-Extended                   3 500             3 850               5.250                  0.5
        High Throughput
            4:4:4 14
            Main Intra                    1 000             1 100               1.500                  1.0
          Main 10 Intra                   1 000             1 100               1.875                  1.0
          Main 12 Intra                   1 500             1 650               2.250                  1.0
       Main 4:2:2 10 Intra                1 667             1 833               2.500                  0.5
       Main 4:2:2 12 Intra                2 000             2 200               3.000                  0.5
         Main 4:4:4 Intra                 2 000             2 200               3.000                  0.5
       Main 4:4:4 10 Intra                2 500             2 750               3.750                  0.5
       Main 4:4:4 12 Intra                3 000             3 300               4.500                  0.5
       Main 4:4:4 16 Intra                4 000             4 400               6.000                  0.5
     Main 4:4:4 Still Picture             2 000             2 200               3.000                  0.5
    Main 4:4:4 16 Still Picture           4 000             4 400               6.000                  0.5
  High Throughput 4:4:4 16 Intra          4 000             4 400               6.000                  0.5




                                                                        Rec. ITU-T H.265 v8 (08/2021)          267
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25        Page 289 of 717 Page ID #:818



Informative clause A.4.3 shows the effect of these limits on picture rates for several example picture formats.

A.4.3    Effect of level limits on picture rate for the video profiles (informative)
This clause does not form an integral part of this Specification.
Informative Tables A.11 and A.12 provide examples of maximum picture rates for the Monochrome, Monochrome 10,
Monochrome 12, Monochrome 16, Main, Main 10, Main 12, Main 4:2:2 10, Main 4:2:2 12, Main 4:4:4, Main 4:4:4 10,
Main 4:4:4 12, Main Intra, Main 10 Intra, Main 12 Intra, Main 4:2:2 10 Intra, Main 4:2:2 12 Intra, Main 4:4:4 Intra, Main
4:4:4 10 Intra, Main 4:4:4 12 Intra, Main 4:4:4 16 Intra and High Throughput 4:4:4 16 Intra profiles for various picture
formats when MinCbSizeY is equal to 64.




268        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7                   Filed 04/07/25            Page 290 of 717 Page ID #:819


    Table A.11 – Maximum picture rates (pictures per second) at level 1 to 4.1 for some example picture sizes
                                     when MinCbSizeY is equal to 64
 Level:                                                    1             2          2.1            3           3.1           4            4.1
 Max luma picture
 size (samples):                                       36 864      122 880     245 760       552 960      983 040     2 228 224     2 228 224
 Max luma sample
 rate (samples/sec)                                   552 960     3 686 400   7 372 800    16 588 800   33 177 600   66 846 720   133 693 440
                      Luma    Luma          Luma
 Format nickname      width   height   picture size
 SQCIF                  128      96         16 384       33.7        225.0       300.0          300.0        300.0        300.0         300.0
 QCIF                   176     144         36 864       15.0        100.0       200.0          300.0        300.0        300.0         300.0
 QVGA                   320     240         81 920          -          45.0        90.0         202.5        300.0        300.0         300.0
 525 SIF                352     240         98 304          -          37.5        75.0         168.7        300.0        300.0         300.0
 CIF                    352     288       122 880           -          30.0        60.0         135.0        270.0        300.0         300.0
 525 HHR                352     480       196 608           -             -        37.5          84.3        168.7        300.0         300.0
 625 HHR                352     576       221 184           -             -        33.3          75.0        150.0        300.0         300.0
 Q720p                  640     360       245 760           -             -        30.0          67.5        135.0        272.0         300.0
 VGA                    640     480       327 680           -             -           -          50.6        101.2        204.0         300.0
 525 4SIF               704     480       360 448           -             -           -          46.0         92.0        185.4         300.0
 525 SD                 720     480       393 216           -             -           -          42.1         84.3        170.0         300.0
 4CIF                   704     576       405 504           -             -           -          40.9         81.8        164.8         300.0
 625 SD                 720     576       442 368           -             -           -          37.5         75.0        151.1         300.0
 480p (16:9)            864     480       458 752           -             -           -          36.1         72.3        145.7         291.4
 SVGA                   800     600       532 480           -             -           -          31.1         62.3        125.5         251.0
 QHD                    960     540       552 960           -             -           -          30.0         60.0        120.8         241.7
 XGA                  1 024     768       786 432           -             -           -             -         42.1         85.0         170.0
 720p HD              1 280     720       983 040           -             -           -             -         33.7         68.0         136.0
 4VGA                 1 280     960      1 228 800          -             -           -             -            -         54.4         108.8
 SXGA                 1 280   1 024      1 310 720          -             -           -             -            -         51.0         102.0
 525 16SIF            1 408     960      1 351 680          -             -           -             -            -         49.4          98.9
 16CIF                1 408   1 152      1 622 016          -             -           -             -            -         41.2          82.4
 4SVGA                1 600   1 200      1 945 600          -             -           -             -            -         34.3          68.7
 1080 HD              1 920   1 080      2 088 960          -             -           -             -            -         32.0          64.0
 2Kx1K                2 048   1 024      2 097 152          -             -           -             -            -         31.8          63.7
 2Kx1080              2 048   1 080      2 228 224          -             -           -             -            -         30.0          60.0
 4XGA                 2 048   1 536      3 145 728          -             -           -             -            -            -             -
 16VGA                2 560   1 920      4 915 200          -             -           -             -            -            -             -
 3616x1536 (2.35:1)   3 616   1 536      5 603 328          -             -           -             -            -            -             -
 3672x1536 (2.39:1)   3 680   1 536      5 701 632          -             -           -             -            -            -             -
 3840x2160 (4*HD)     3 840   2 160      8 355 840          -             -           -             -            -            -             -
 4Kx2K                4 096   2 048      8 388 608          -             -           -             -            -            -             -
 4096x2160            4 096   2 160      8 912 896          -             -           -             -            -            -             -
 4096x2304 (16:9)     4 096   2 304      9 437 184          -             -           -             -            -            -             -
 7680x4320            7 680   4 320    33 423 360           -             -           -             -            -            -             -
 8192x4096            8 192   4 096    33 554 432           -             -           -             -            -            -             -
 8192x4320            8 192   4 320    35 651 584           -             -           -             -            -            -             -




                                                                                          Rec. ITU-T H.265 v8 (08/2021)                  269
Case 2:25-cv-03053                    Document 1-7                    Filed 04/07/25           Page 291 of 717 Page ID #:820


       Table A.12 – Maximum picture rates (pictures per second) at level 5 to 6.2 for some example picture sizes
                                        when MinCbSizeY is equal to 64
    Level:                                                       5              5.1             5.2              6              6.1             6.2
    Max luma picture
    size (samples):                                       8 912 896       8 912 896      8 912 896      35 651 584      35 651 584      35 651 584
    Max luma sample
    rate (samples/sec)                                   267 386 880    534 773 760   1 069 547 520   1 069 547 520   2 139 095 040   4 278 190 080
                         Luma    Luma          Luma
    Format nickname      width   height   picture size
    SQCIF                  128      96         16 384         300.0           300.0          300.0           300.0           300.0           300.0
    QCIF                   176     144         36 864         300.0           300.0          300.0           300.0           300.0           300.0
    QVGA                   320     240         81 920         300.0           300.0          300.0           300.0           300.0           300.0
    525 SIF                352     240         98 304         300.0           300.0          300.0           300.0           300.0           300.0
    CIF                    352     288       122 880          300.0           300.0          300.0           300.0           300.0           300.0
    525 HHR                352     480       196 608          300.0           300.0          300.0           300.0           300.0           300.0
    625 HHR                352     576       221 184          300.0           300.0          300.0           300.0           300.0           300.0
    Q720p                  640     360       245 760          300.0           300.0          300.0           300.0           300.0           300.0
    VGA                    640     480       327 680          300.0           300.0          300.0           300.0           300.0           300.0
    525 4SIF               704     480       360 448          300.0           300.0          300.0           300.0           300.0           300.0
    525 SD                 720     480       393 216          300.0           300.0          300.0           300.0           300.0           300.0
    4CIF                   704     576       405 504          300.0           300.0          300.0           300.0           300.0           300.0
    625 SD                 720     576       442 368          300.0           300.0          300.0           300.0           300.0           300.0
    480p (16:9)            864     480       458 752          300.0           300.0          300.0           300.0           300.0           300.0
    SVGA                   800     600       532 480          300.0           300.0          300.0           300.0           300.0           300.0
    QHD                    960     540       552 960          300.0           300.0          300.0           300.0           300.0           300.0
    XGA                  1 024     768       786 432          300.0           300.0          300.0           300.0           300.0           300.0
    720p HD              1 280     720       983 040          272.0           300.0          300.0           300.0           300.0           300.0
    4VGA                 1 280     960      1 228 800         217.6           300.0          300.0           300.0           300.0           300.0
    SXGA                 1 280    1 024     1 310 720         204.0           300.0          300.0           300.0           300.0           300.0
    525 16SIF            1 408     960      1 351 680         197.8           300.0          300.0           300.0           300.0           300.0
    16CIF                1 408    1 152     1 622 016         164.8           300.0          300.0           300.0           300.0           300.0
    4SVGA                1 600    1 200     1 945 600         137.4           274.8          300.0           300.0           300.0           300.0
    1080 HD              1 920    1 080     2 088 960         128.0           256.0          300.0           300.0           300.0           300.0
    2Kx1K                2 048    1 024     2 097 152         127.5           255.0          300.0           300.0           300.0           300.0
    2Kx1080              2 048    1 080     2 228 224         120.0           240.0          300.0           300.0           300.0           300.0
    4XGA                 2 048    1 536     3 145 728          85.0           170.0          300.0           300.0           300.0           300.0
    16VGA                2 560    1 920     4 915 200          54.4           108.8          217.6           217.6           300.0           300.0
    3616x1536 (2.35:1)   3 616    1 536     5 603 328          47.7            95.4          190.8           190.8           300.0           300.0
    3672x1536 (2.39:1)   3 680    1 536     5 701 632          46.8            93.7          187.5           187.5           300.0           300.0
    3840x2160 (4*HD)     3 840    2 160     8 355 840          32.0            64.0          128.0           128.0           256.0           300.0
    4Kx2K                4 096    2 048     8 388 608          31.8            63.7          127.5           127.5           255.0           300.0
    4096x2160            4 096    2 160     8 912 896          30.0            60.0          120.0           120.0           240.0           300.0
    4096x2304 (16:9)     4 096    2 304     9 437 184             -               -               -          113.3           226.6           300.0
    4096x3072            4 096    3 072   12 582 912              -               -               -            85.0          170.0           300.0
    7680x4320            7 680    4 320   33 423 360              -               -               -            32.0            64.0          128.0
    8192x4096            8 192    4 096   33 554 432              -               -               -            31.8            63.7          127.5
    8192x4320            8 192    4 320   35 651 584              -               -               -            30.0            60.0          120.0




The following should be noted in regard to the examples shown in Tables A.11 and A.12:
–         This is a variable-picture-size Specification. The specific listed picture sizes are illustrative examples only.
–         The example luma picture sizes were computed by rounding up the luma width and luma height to multiples of 64
          before computing the product of these quantities, to reflect the potential use of MinCbSizeY equal to 64 for these
          picture sizes, as pic_width_in_luma_samples and pic_height_in_luma_samples are each required to be a multiple of
          MinCbSizeY. For some illustrated values of luma width and luma height, a somewhat higher number of pictures per
          second can be supported when MinCbSizeY is less than 64.



270               Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7           Filed 04/07/25         Page 292 of 717 Page ID #:821


–   In cases where the maximum picture rate value is not an integer multiple of 0.1 pictures per second, the given
    maximum picture rate values have been rounded down to the largest integer multiple of 0.1 frames per second that
    does not exceed the exact value. For example, for level 3.1, the maximum picture rate for 720p HD has been rounded
    down to 33.7 from an exact value of 33.75.
–   As used in the examples, "525" refers to typical use for environments using 525 analogue scan lines (of which
    approximately 480 lines contain the visible picture region) and "625" refers to environments using 625 analogue scan
    lines (of which approximately 576 lines contain the visible picture region).
–   XGA is also known as (aka) XVGA, 4SVGA aka UXGA, 16XGA aka 4Kx3K, CIF aka 625 SIF, 625 HHR aka 2CIF
    aka half 625 D-1, aka half 625 ITU-R BT.601, 525 SD aka 525 D-1 aka 525 ITU-R BT.601, 625 SD aka 625 D-1 aka
    625 ITU-R BT.601.




                                                                           Rec. ITU-T H.265 v8 (08/2021)           271
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 293 of 717 Page ID #:822


                                                            Annex B

                                                       Byte stream format

                    (This annex forms an integral part of this Recommendation | International Standard.)

B.1        General
This annex specifies syntax and semantics of a byte stream format specified for use by applications that deliver some or
all of the NAL unit stream as an ordered stream of bytes or bits within which the locations of NAL unit boundaries need
to be identifiable from patterns in the data, such as Rec. ITU-T H.222.0 | ISO/IEC 13818-1 systems or
Recommendation ITU-T H.320 systems. For bit-oriented delivery, the bit order for the byte stream format is specified to
start with the MSB of the first byte, proceed to the LSB of the first byte, followed by the MSB of the second byte, etc.
The byte stream format consists of a sequence of byte stream NAL unit syntax structures. Each byte stream NAL unit
syntax structure contains one start code prefix followed by one nal_unit( NumBytesInNalUnit ) syntax structure. It may
(and under some circumstances, it shall) also contain an additional zero_byte syntax element. It may also contain one or
more additional trailing_zero_8bits syntax elements. When it is the first byte stream NAL unit in the bitstream, it may also
contain one or more additional leading_zero_8bits syntax elements.

B.2         Byte stream NAL unit syntax and semantics
B.2.1       Byte stream NAL unit syntax


        byte_stream_nal_unit( NumBytesInNalUnit ) {                                                                Descriptor
          while( next_bits( 24 ) != 0x000001 && next_bits( 32 ) != 0x00000001 )
              leading_zero_8bits /* equal to 0x00 */                                                                   f(8)
          if( next_bits( 24 ) != 0x000001 )
              zero_byte /* equal to 0x00 */                                                                            f(8)
          start_code_prefix_one_3bytes /* equal to 0x000001 */                                                        f(24)
          nal_unit( NumBytesInNalUnit )
          while( more_data_in_byte_stream( ) && next_bits( 24 ) != 0x000001 &&
                    next_bits( 32 ) != 0x00000001 )
              trailing_zero_8bits /* equal to 0x00 */                                                                  f(8)
        }


B.2.2       Byte stream NAL unit semantics
The order of byte stream NAL units in the byte stream shall follow the decoding order of the NAL units contained in the
byte stream NAL units (see clause 7.4.2.4). The content of each byte stream NAL unit is associated with the same access
unit as the NAL unit contained in the byte stream NAL unit (see clause 7.4.2.4.4).
leading_zero_8bits is a byte equal to 0x00.
    NOTE – The leading_zero_8bits syntax element can only be present in the first byte stream NAL unit of the bitstream, because (as
    shown in the syntax diagram of clause B.2.1) any bytes equal to 0x00 that follow a NAL unit syntax structure and precede the four-
    byte sequence 0x00000001 (which is to be interpreted as a zero_byte followed by a start_code_prefix_one_3bytes) will be
    considered to be trailing_zero_8bits syntax elements that are part of the preceding byte stream NAL unit.

zero_byte is a single byte equal to 0x00.
When one or more of the following conditions are true, the zero_byte syntax element shall be present:
–     The nal_unit_type within the nal_unit( ) syntax structure is equal to VPS_NUT, SPS_NUT or PPS_NUT.
–     The byte stream NAL unit syntax structure contains the first NAL unit of an access unit in decoding order, as specified
      in clause 7.4.2.4.4.
start_code_prefix_one_3bytes is a fixed-value sequence of 3 bytes equal to 0x000001. This syntax element is called a
start code prefix.
trailing_zero_8bits is a byte equal to 0x00.




272          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 294 of 717 Page ID #:823


B.3         Byte stream NAL unit decoding process
Input to this process consists of an ordered stream of bytes consisting of a sequence of byte stream NAL unit syntax
structures.
Output of this process consists of a sequence of NAL unit syntax structures.
At the beginning of the decoding process, the decoder initializes its current position in the byte stream to the beginning of
the byte stream. It then extracts and discards each leading_zero_8bits syntax element (when present), moving the current
position in the byte stream forward one byte at a time, until the current position in the byte stream is such that the next four
bytes in the bitstream form the four-byte sequence 0x00000001.
The decoder then performs the following step-wise process repeatedly to extract and decode each NAL unit syntax structure
in the byte stream until the end of the byte stream has been encountered (as determined by unspecified means) and the last
NAL unit in the byte stream has been decoded:
      1.   When the next four bytes in the bitstream form the four-byte sequence 0x00000001, the next byte in the byte
           stream (which is a zero_byte syntax element) is extracted and discarded and the current position in the byte stream
           is set equal to the position of the byte following this discarded byte.
      2.   The next three-byte sequence in the byte stream (which is a start_code_prefix_one_3bytes) is extracted and
           discarded and the current position in the byte stream is set equal to the position of the byte following this three-byte
           sequence.
      3.   NumBytesInNalUnit is set equal to the number of bytes starting with the byte at the current position in the byte
           stream up to and including the last byte that precedes the location of one or more of the following conditions:
            –    A subsequent byte-aligned three-byte sequence equal to 0x000000,
            –    A subsequent byte-aligned three-byte sequence equal to 0x000001,
            –    The end of the byte stream, as determined by unspecified means.
      4.   NumBytesInNalUnit bytes are removed from the bitstream and the current position in the byte stream is advanced
           by NumBytesInNalUnit bytes. This sequence of bytes is nal_unit( NumBytesInNalUnit ) and is decoded using
           the NAL unit decoding process.
      5.   When the current position in the byte stream is not at the end of the byte stream (as determined by unspecified
           means) and the next bytes in the byte stream do not start with a three-byte sequence equal to 0x000001 and the
           next bytes in the byte stream do not start with a four byte sequence equal to 0x00000001, the decoder extracts and
           discards each trailing_zero_8bits syntax element, moving the current position in the byte stream forward one byte
           at a time, until the current position in the byte stream is such that the next bytes in the byte stream form the four-
           byte sequence 0x00000001 or the end of the byte stream has been encountered (as determined by unspecified
           means).


B.4        Decoder byte-alignment recovery (informative)
This clause does not form an integral part of this Specification.
Many applications provide data to a decoder in a manner that is inherently byte aligned, and thus have no need for the bit-
oriented byte alignment detection procedure described in this clause.
A decoder is said to have byte alignment with a bitstream when the decoder has determined whether or not the positions
of data in the bitstream are byte-aligned. When a decoder does not have byte alignment with the bitstream, the decoder
may examine the incoming bitstream for the binary pattern '00000000 00000000 00000000 00000001' (31 consecutive bits
equal to 0 followed by a bit equal to 1). The bit immediately following this pattern is the first bit of an aligned byte
following a start code prefix. Upon detecting this pattern, the decoder will be byte-aligned with the bitstream and positioned
at the start of a NAL unit in the bitstream.
Once byte aligned with the bitstream, the decoder can examine the incoming bitstream data for subsequent three-byte
sequences 0x000001 and 0x000003.
When the three-byte sequence 0x000001 is detected, this is a start code prefix.
When the three-byte sequence 0x000003 is detected, the third byte (0x03) is an emulation_prevention_three_byte to be
discarded as specified in clause 7.4.2.
When an error in the bitstream syntax is detected (e.g., a non-zero value of the forbidden_zero_bit or one of the three-byte
or four-byte sequences that are prohibited in clause 7.4.2), the decoder may consider the detected condition as an indication
that byte alignment may have been lost and may discard all bitstream data until the detection of byte alignment at a later
position in the bitstream as described above in this clause.


                                                                                   Rec. ITU-T H.265 v8 (08/2021)             273
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 295 of 717 Page ID #:824


                                                            Annex C

                                               Hypothetical reference decoder

                    (This annex forms an integral part of this Recommendation | International Standard.)

C.1        General
This annex specifies the hypothetical reference decoder (HRD) and its use to check bitstream and decoder conformance.
Two types of bitstreams or bitstream subsets are subject to HRD conformance checking for this Specification. The first
type, called a Type I bitstream, is a NAL unit stream containing only the VCL NAL units and NAL units with nal_unit_type
equal to FD_NUT (filler data NAL units) for all access units in the bitstream. The second type, called a Type II bitstream,
contains, in addition to the VCL NAL units and filler data NAL units for all access units in the bitstream, at least one of
the following:
–     additional non-VCL NAL units other than filler data NAL units,
–     all leading_zero_8bits, zero_byte, start_code_prefix_one_3bytes and trailing_zero_8bits syntax elements that form a
      byte stream from the NAL unit stream (as specified in Annex B).
    NOTE 1 – Decoders conforming to profiles specified in Annex A do not use NAL units with nuh_layer_id greater than 0 (e.g.,
    access unit delimiter NAL units with nuh_layer_id greater than 0) for access unit boundary detection, except for identification of
    whether a NAL unit is a VCL or non-VCL NAL unit. Consequently, hypothetical reference decoder (HRD) parameters carried in
    non-scalable-nested buffering period, picture timing and decoding unit information SEI messages apply to access units that are
    identified based on such access unit boundary detection.

Figure C.1 shows the types of bitstream conformance points checked by the HRD.




             Figure C.1 – Structure of byte streams and NAL unit streams for HRD conformance checks


The syntax elements of non-VCL NAL units (or their default values for some of the syntax elements), required for the
HRD, are specified in the semantic clauses of clause 7, Annexes D and E.
Two types of HRD parameter sets (NAL HRD parameters and VCL HRD parameters) are used. The HRD parameter sets
are signalled through the hrd_parameters( ) syntax structure, which may be part of the SPS syntax structure or the VPS
syntax structure.
Two sets of bitstream conformance tests are needed for checking the conformance of a bitstream, which is referred to as
the entire bitstream, denoted as entireBitstream. The first set of bitstream conformance tests are for testing the conformance
of the entire bitstream and its temporal subsets, regardless of whether there is a layer set specified by the active VPS that
contains all the nuh_layer_id values of VCL NAL units present in the entire bitstream. The second set of bitstream
conformance tests are for testing the conformance of the layer sets specified by the active VPS and their temporal subsets.
For all these tests, only the base layer pictures (i.e., pictures with nuh_layer_id equal to 0) are decoded and other pictures
are ignored by the decoder when the decoding process is invoked.
For each test, the following ordered steps apply in the order listed, followed by the processes described after these steps in
this clause:



274         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7           Filed 04/07/25          Page 296 of 717 Page ID #:825


  1.   An operation point under test, denoted as TargetOp, is selected by selecting a layer identifier list OpLayerIdList
       and a target highest TemporalId value OpTid. The layer identifier list OpLayerIdList of TargetOp either consists
       of all the nuh_layer_id values of the VCL NAL units present in entireBitstream or consists of all the nuh_layer_id
       values of a layer set specified by the active VPS. The value of OpTid is in the range of 0 to
       sps_max_sub_layers_minus1, inclusive. The values of OpLayerIdList and OpTid are such that the sub-bitstream
       BitstreamToDecode that is the output by invoking the sub-bitstream extraction process as specified in clause 10
       with entireBitstream, OpTid and OpLayerIdList as inputs satisfy both of the following conditions:
       –    There is at least one VCL NAL unit in BitstreamToDecode with nuh_layer_id equal to each of the
            nuh_layer_id values in OpLayerIdList.
       –     There is at least one VCL NAL unit with TemporalId equal to OpTid in BitstreamToDecode.
  2.   TargetDecLayerIdList is set equal to OpLayerIdList of TargetOp and HighestTid is set equal to OpTid of
       TargetOp.
  3.   The hrd_parameters( ) syntax structure and the sub_layer_hrd_parameters( ) syntax structure applicable to
       TargetOp are selected. If TargetDecLayerIdList contains all nuh_layer_id values present in entireBitstream, the
       hrd_parameters( ) syntax structure in the active SPS (or provided through an external means not specified in this
       Specification) is selected. Otherwise, the hrd_parameters( ) syntax structure in the active VPS (or provided
       through some external means not specified in this Specification) that applies to TargetOp is selected. Within the
       selected hrd_parameters( ) syntax structure, if BitstreamToDecode is a Type I bitstream, the
       sub_layer_hrd_parameters( HighestTid ) syntax structure that immediately follows the condition
       "if( vcl_hrd_parameters_present_flag )" is selected and the variable NalHrdModeFlag is set equal to 0; otherwise
       (BitstreamToDecode is a Type II bitstream), the sub_layer_hrd_parameters( HighestTid ) syntax structure that
       immediately follows either the condition "if( vcl_hrd_parameters_present_flag )" (in this case the variable
       NalHrdModeFlag is set equal to 0) or the condition "if( nal_hrd_parameters_present_flag )" (in this case the
       variable NalHrdModeFlag is set equal to 1) is selected. When BitstreamToDecode is a Type II bitstream and
       NalHrdModeFlag is equal to 0, all non-VCL NAL units except filler data NAL units, and all leading_zero_8bits,
       zero_byte, start_code_prefix_one_3bytes and trailing_zero_8bits syntax elements that form a byte stream from
       the NAL unit stream (as specified in Annex B), when present, are discarded from BitstreamToDecode and the
       remaining bitstream is assigned to BitstreamToDecode.
  4.   An access unit associated with a buffering period SEI message (present in BitstreamToDecode or available
       through external means not specified in this Specification) applicable to TargetOp is selected as the HRD
       initialization point and referred to as access unit 0. If TargetDecLayerIdList contains all nuh_layer_id values
       present in entireBitstream, the assocciated buffering period SEI message shall be either a non-scalable-nested SEI
       message or provided by external means. Otherwise, the assocciated buffering period SEI message shall be either
       a scalable-nested SEI message or provided by external means.
  5.   When sub_pic_hrd_params_present_flag in the selected hrd_parameters( ) syntax structure is equal to 1, the CPB
       is scheduled to operate either at the access unit level (in which case the variable SubPicHrdFlag is set equal to 0)
       or at the sub-picture level (in which case the variable SubPicHrdFlag is set equal to 1). Otherwise, SubPicHrdFlag
       is set equal to 0 and the CPB is scheduled to operate at the partition unit level.
  6.   For each access unit in BitstreamToDecode starting from access unit 0, the buffering period SEI message (present
       in BitstreamToDecode or available through external means not specified in this Specification) that is associated
       with the access unit and applies to TargetOp is selected, the picture timing SEI message (present in
       BitstreamToDecode or available through external means not specified in this Specification) that is associated with
       the access unit and applies to TargetOp is selected, and when SubPicHrdFlag is equal to 1 and
       sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 0, the decoding unit information SEI messages (present
       in BitstreamToDecode or available through external means not specified in this Specification) that are associated
       with decoding units in the access unit and apply to TargetOp are selected. If TargetDecLayerIdList contains all
       nuh_layer_id values present in entireBitstream, the selected buffering period, picture timing and decoding unit
       information SEI messages shall be either non-scalable-nested SEI messages or provided by external means.
       Otherwise, the selected buffering period, picture timing and decoding unit information SEI messages shall be
       either scalable-nested SEI messages or provided by external means.
  7.   A value of SchedSelIdx is selected. The selected SchedSelIdx shall be in the range of 0 to
       cpb_cnt_minus1[ HighestTid ], inclusive, where cpb_cnt_minus1[ HighestTid ] is found in the hrd_parameters( )
       syntax structure as selected above.
  8.   When the coded picture in access unit 0 has nal_unit_type equal to CRA_NUT or BLA_W_LP and
       irap_cpb_params_present_flag in the selected buffering period SEI message is equal to 1, either of the following
       applies for selection of the initial CPB removal delay and delay offset:
       –    If NalHrdModeFlag is equal to 1, the default initial CPB removal delay and delay offset represented by
            nal_initial_cpb_removal_delay[ SchedSelIdx ]        and    nal_initial_cpb_removal_offset[ SchedSelIdx ],
            respectively, in the selected buffering period SEI message are selected. Otherwise, the default initial CPB



                                                                             Rec. ITU-T H.265 v8 (08/2021)           275
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 297 of 717 Page ID #:826


                removal delay and delay offset represented by vcl_initial_cpb_removal_delay[ SchedSelIdx ] and
                vcl_initial_cpb_removal_offset[ SchedSelIdx ], respectively, in the selected buffering period SEI message
                are selected. The variable DefaultInitCpbParamsFlag is set equal to 1.
          –     If NalHrdModeFlag is equal to 1, the alternative initial CPB removal delay and delay offset represented by
                nal_initial_alt_cpb_removal_delay[ SchedSelIdx ] and nal_initial_alt_cpb_removal_offset[ SchedSelIdx ],
                respectively, in the selected buffering period SEI message are selected. Otherwise, the alternative initial CPB
                removal delay and delay offset represented by vcl_initial_alt_cpb_removal_delay[ SchedSelIdx ] and
                vcl_initial_alt_cpb_removal_offset[ SchedSelIdx ], respectively, in the selected buffering period SEI
                message are selected. The variable DefaultInitCpbParamsFlag is set equal to 0, and the RASL access units
                associated with access unit 0 are discarded from BitstreamToDecode and the remaining bitstream is assigned
                to BitstreamToDecode.
Each conformance test consists of a combination of one option in each of the above steps. When there is more than one
option for a step, for any particular conformance test only one option is chosen. All possible combinations of all the steps
form the entire set of conformance tests. For each operation point under test, the number of bitstream conformance tests to
be performed is equal to n0 * n1 * ( n2 * 2 + n3 ) * n4, where the values of n0, n1, n2, n3 and n4 are specified as follows:
–     n0 is derived as follows:
      –    If BitstreamToDecode is a Type I bitstream, n0 is equal to 1.
      –    Otherwise (BitstreamToDecode is a Type II bitstream), n0 is equal to 2.
–     n1 is equal to cpb_cnt_minus1[ HighestTid ] + 1.
–     n2 is the number of access units in BitstreamToDecode that each is associated with a buffering period SEI message
      applicable to TargetOp and for each of which both of the following conditions are true:
          –     nal_unit_type is equal to CRA_NUT or BLA_W_LP for the VCL NAL units.
          –     The associated buffering period SEI message applicable to TargetOp has irap_cpb_params_present_flag
                equal to 1.
–     n3 is the number of access units in BitstreamToDecode that each is associated with a buffering period SEI message
      applicable to TargetOp and for each of which one or both of the following conditions are true:
          –     nal_unit_type is equal to neither CRA_NUT nor BLA_W_LP for the VCL NAL units.
          –     The associated buffering period SEI message applicable to TargetOp has irap_cpb_params_present_flag
                equal to 0.
–     n4 is derived as follows:
          –     If sub_pic_hrd_params_present_flag in the selected hrd_parameters( ) syntax structure is equal to 0, n4 is
                equal to 1.
          –     Otherwise, n4 is equal to 2.
When BitstreamToDecode is a Type II bitstream, the following applies:
–     If the sub_layer_hrd_parameters( HighestTid ) syntax structure that immediately follows the condition
      "if( vcl_hrd_parameters_present_flag )" is selected, the test is conducted at the Type I conformance point shown in
      Figure C.1, and only VCL and filler data NAL units are counted for the input bit rate and CPB storage.
–     Otherwise (the sub_layer_hrd_parameters( HighestTid ) syntax structure that immediately follows the condition
      "if( nal_hrd_parameters_present_flag )" is selected), the test is conducted at the Type II conformance point shown in
      Figure C.1, and all bytes of the Type II bitstream, which may be a NAL unit stream or a byte stream, are counted for
      the input bit rate and CPB storage.
    NOTE 2 – NAL HRD parameters established by a value of SchedSelIdx for the Type II conformance point shown in Figure C.1 are
    sufficient to also establish VCL HRD conformance for the Type I conformance point shown in Figure C.1 for the same values of
    InitCpbRemovalDelay[ SchedSelIdx ], BitRate[ SchedSelIdx ] and CpbSize[ SchedSelIdx ] for the variable bit rate (VBR) case
    (cbr_flag[ SchedSelIdx ] equal to 0). This is because the data flow into the Type I conformance point is a subset of the data flow
    into the Type II conformance point and because, for the VBR case, the CPB is allowed to become empty and stay empty until the
    time a next picture is scheduled to begin to arrive. For example, when decoding a CVS conforming to one or more of the profiles
    specified in Annex A using the decoding process specified in clauses 2 through 10, when NAL HRD parameters are provided for
    the Type II conformance point that not only fall within the bounds set for NAL HRD parameters for profile conformance in item f)
    of clause A.4.2 but also fall within the bounds set for VCL HRD parameters for profile conformance in item e) of clause A.4.2,
    conformance of the VCL HRD for the Type I conformance point is also assured to fall within the bounds of item e) of clause A.4.2.

All VPSs, SPSs and PPSs referred to in the VCL NAL units and the corresponding buffering period, picture timing and
decoding unit information SEI messages shall be conveyed to the HRD, in a timely manner, either in the bitstream (by
non-VCL NAL units), or by other means not specified in this Specification.
In Annexes C, D and E, the specification for "presence" of non-VCL NAL units that contain VPSs, SPSs, PPSs, buffering
period SEI messages, picture timing SEI messages or decoding unit information SEI messages is also satisfied when those


276           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 298 of 717 Page ID #:827


NAL units (or just some of them) are conveyed to decoders (or to the HRD) by other means not specified in this
Specification. For the purpose of counting bits, only the appropriate bits that are actually present in the bitstream are
counted.
    NOTE 3 – As an example, synchronization of such a non-VCL NAL unit, conveyed by means other than presence in the bitstream,
    with the NAL units that are present in the bitstream, can be achieved by indicating two points in the bitstream, between which the
    non-VCL NAL unit would have been present in the bitstream, had the encoder decided to convey it in the bitstream.

When the content of such a non-VCL NAL unit is conveyed for the application by some means other than presence within
the bitstream, the representation of the content of the non-VCL NAL unit is not required to use the same syntax as specified
in this Specification.
    NOTE 4 – When HRD information is contained within the bitstream, it is possible to verify the conformance of a bitstream to the
    requirements of this clause based solely on information contained in the bitstream. When the HRD information is not present in the
    bitstream, as is the case for all "stand-alone" Type I bitstreams, conformance can only be verified when the HRD data are supplied
    by some other means not specified in this Specification.

The HRD contains a coded picture buffer (CPB), an instantaneous decoding process, a decoded picture buffer (DPB), and
output cropping as shown in Figure C.2.




                                                Figure C.2 – HRD buffer model


For each bitstream conformance test, the CPB size (number of bits) is CpbSize[ SchedSelIdx ] as specified in clause E.3.3,
where SchedSelIdx and the HRD parameters are specified above in this clause. The DPB size (number of picture storage
buffers) is sps_max_dec_pic_buffering_minus1[ HighestTid ] + 1.
If SubPicHrdFlag is equal to 0, the HRD operates at access unit level and each decoding unit is an access unit. Otherwise
the HRD operates at sub-picture level and each decoding unit is a subset of an access unit.
           NOTE 5 – If the HRD operates at access unit level, each time when some bits are removed from the CPB, a decoding unit
           that is an entire access unit is removed from the CPB. Otherwise (the HRD operates at sub-picture level), each time when
           some bits are removed from the CPB, a decoding unit that is a subset of an access unit is removed from the CPB. Regardless
           of whether the HRD operates at access unt level or sub-picture level, each time when some picture is output from the DPB,
           an entire decoded picture is output from the DPB, though the picture output time is derived based on the differently derived
           CPB removal times and the differently signalled DPB output delays.

The following is specified for expressing the constraints in this annex:
–    Each access unit is referred to as access unit n, where the number n identifies the particular access unit. Access unit 0
     is selected per step 4 above. The value of n is incremented by 1 for each subsequent access unit in decoding order.
–    Each decoding unit is referred to as decoding unit m, where the number m identifies the particular decoding unit. The
     first decoding unit in decoding order in access unit 0 is referred to as decoding unit 0. The value of m is incremented
     by 1 for each subsequent decoding unit in decoding order.


                                                                                     Rec. ITU-T H.265 v8 (08/2021)               277
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 299 of 717 Page ID #:828


           NOTE 6 – The numbering of decoding units is relative to the first decoding unit in access unit 0.

–     Picture n refers to the coded picture or the decoded picture of access unit n.
The HRD operates as follows:
–     The HRD is initialized at decoding unit 0, with both the CPB and the DPB being set to be empty (the DPB fullness is
      set equal to 0).
           NOTE 7 – After initialization, the HRD is not initialized again by subsequent buffering period SEI messages.

–     Data associated with decoding units that flow into the CPB according to a specified arrival schedule are delivered by
      the hypothetical stream scheduler (HSS).
–     The data associated with each decoding unit are removed and decoded instantaneously by the instantaneous decoding
      process at the CPB removal time of the decoding unit.
–     Each decoded picture is placed in the DPB.
–     A decoded picture is removed from the DPB when it becomes no longer needed for inter prediction reference and no
      longer needed for output.
For each bitstream conformance test, the operation of the CPB is specified in clause C.2, the instantaneous decoder
operation is specified in clauses 2 through 10, the operation of the DPB is specified in clause C.3 and the output cropping
is specified in clauses C.3.3 and C.5.2.2.
HSS and HRD information concerning the number of enumerated delivery schedules and their associated bit rates and
buffer sizes is specified in clauses E.2.2 and E.3.2. The HRD is initialized as specified by the buffering period SEI message
specified in clauses D.2.2 and D.3.2. The removal timing of decoding units from the CPB and output timing of decoded
pictures from the DPB is specified using information in picture timing SEI messages (specified in clauses D.2.3 and 0) or
in decoding unit information SEI messages (specified in clauses D.2.22 and D.3.22). All timing information relating to a
specific decoding unit shall arrive prior to the CPB removal time of the decoding unit.
The requirements for bitstream conformance are specified in clause C.4 and the HRD is used to check conformance of
bitstreams as specified above in this clause and to check conformance of decoders as specified in clause C.5.
    NOTE 8 – While conformance is guaranteed under the assumption that all picture-rates and clocks used to generate the bitstream
    match exactly the values signalled in the bitstream, in a real system each of these may vary from the signalled or specified value.

All the arithmetic in this annex is performed with real values, so that no rounding errors can propagate. For example, the
number of bits in a CPB just prior to or after removal of a decoding unit is not necessarily an integer.
The variable ClockTick is derived as follows and is called a clock tick:

          ClockTick = vui_num_units_in_tick ÷ vui_time_scale                                                                   (C-1)

The variable ClockSubTick is derived as follows and is called a clock sub-tick:

          ClockSubTick = ClockTick ÷ ( tick_divisor_minus2 + 2 )                                                               (C-2)

C.2         Operation of coded picture buffer
C.2.1       General
The specifications in this clause apply independently to each set of coded picture buffer (CPB) parameters that is present
and to both the Type I and Type II conformance points shown in Figure C.1 and the set of CPB parameters is selected as
specified in clause C.1.

C.2.2       Timing of decoding unit arrival
If SubPicHrdFlag is equal to 0, the variable subPicParamsFlag is set equal to 0 and the process specified in the remainder
of this clause is invoked with a decoding unit being considered as an access unit, for derivation of the initial and final CPB
arrival times for access unit n.
Otherwise (SubPicHrdFlag is equal to 1), the process specified in the remainder of this clause is first invoked with the
variable subPicParamsFlag set equal to 0 and a decoding unit being considered as an access unit, for derivation of the
initial and final CPB arrival times for access unit n, and then invoked with subPicParamsFlag set equal to 1 and a decoding
unit being considered as a subset of an access unit, for derivation of the initial and final CPB arrival times for the decoding
units in access unit n.
The variables InitCpbRemovalDelay[ SchedSelIdx ] and InitCpbRemovalDelayOffset[ SchedSelIdx ] are derived as
follows:


278          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7             Filed 04/07/25          Page 300 of 717 Page ID #:829


–    If one or more of the following conditions are true, InitCpbRemovalDelay[ SchedSelIdx ] and
     InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to the values of the buffering period SEI message syntax
     elements nal_initial_alt_cpb_removal_delay[ SchedSelIdx ] and nal_initial_alt_cpb_removal_offset[ SchedSelIdx ],
     respectively, when NalHrdModeFlag is equal to 1 or vcl_initial_alt_cpb_removal_delay[ SchedSelIdx ] and
     vcl_initial_alt_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 0, where the
     buffering period SEI message syntax elements are selected as specified in clause C.1:
     –    Access unit 0 is a BLA access unit for which the coded picture has nal_unit_type equal to BLA_W_RADL or
          BLA_N_LP, and the value of irap_cpb_params_present_flag of the buffering period SEI message is equal to 1.
     –    Access unit 0 is a BLA access unit for which the coded picture has nal_unit_type equal to BLA_W_LP or is a
          CRA access unit, and the value of irap_cpb_params_present_flag of the buffering period SEI message is equal
          to 1 and one or more of the following conditions are true:
          –   UseAltCpbParamsFlag for access unit 0 is equal to 1.
          –   DefaultInitCpbParamsFlag is equal to 0.
     –    The value of subPicParamsFlag is equal to 1.
–    Otherwise, InitCpbRemovalDelay[ SchedSelIdx ] and InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to
     the values of the buffering period SEI message syntax elements nal_initial_cpb_removal_delay[ SchedSelIdx ] and
     nal_initial_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 1, or
     vcl_initial_cpb_removal_delay[ SchedSelIdx ] and vcl_initial_cpb_removal_offset[ SchedSelIdx ], respectively,
     when NalHrdModeFlag is equal to 0, where the buffering period SEI message syntax elements are selected as
     specified in clause C.1.
The time at which the first bit of decoding unit m begins to enter the CPB is referred to as the initial arrival time
initArrivalTime[ m ].
The initial arrival time of decoding unit m is derived as follows:
–    If the decoding unit is decoding unit 0 (i.e., when m is equal to 0), initArrivalTime[ 0 ] is set equal to 0.
–    Otherwise (the decoding unit is decoding unit m with m > 0), the following applies:
     –    If cbr_flag[ SchedSelIdx ] is equal to 1, the initial arrival time for decoding unit m is equal to the final arrival
          time (which is derived below) of decoding unit m − 1, i.e.,

               if( !subPicParamsFlag )
                    initArrivalTime[ m ] = AuFinalArrivalTime[ m − 1 ]                                                 (C-3)
               else
                    initArrivalTime[ m ] = DuFinalArrivalTime[ m − 1 ]

     –    Otherwise (cbr_flag[ SchedSelIdx ] is equal to 0), the initial arrival time for decoding unit m is derived as
          follows:

               if( !subPicParamsFlag )
                    initArrivalTime[ m ] = Max( AuFinalArrivalTime[ m − 1 ], initArrivalEarliestTime[ m ] )
                    (C-4)
               else
                    initArrivalTime[ m ] = Max( DuFinalArrivalTime[ m − 1 ], initArrivalEarliestTime[ m ] )

          where initArrivalEarliestTime[ m ] is derived as follows:
          –    The variable tmpNominalRemovalTime is derived as follows:

                    if( !subPicParamsFlag )
                       tmpNominalRemovalTime = AuNominalRemovalTime[ m ]                                               (C-5)
                    else
                       tmpNominalRemovalTime = DuNominalRemovalTime[ m ]

               where AuNominalRemovalTime[ m ] and DuNominalRemovalTime[ m ] are the nominal CPB removal
               time of access unit m and decoding unit m, respectively, as specified in clause C.2.3.
          –    If decoding unit m is not the first decoding unit of a subsequent buffering period,
               initArrivalEarliestTime[ m ] is derived as follows:



                                                                                Rec. ITU-T H.265 v8 (08/2021)           279
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 301 of 717 Page ID #:830


                      initArrivalEarliestTime[ m ] = tmpNominalRemovalTime −
                      ( InitCpbRemovalDelay[ SchedSelIdx ]
                                            + InitCpbRemovalDelayOffset[ SchedSelIdx ] ) ÷ 90 000                     (C-6)

           –      Otherwise (decoding unit m is the first decoding unit of a subsequent buffering period),
                  initArrivalEarliestTime[ m ] is derived as follows:

                      initArrivalEarliestTime[ m ] = tmpNominalRemovalTime −
                                            ( InitCpbRemovalDelay[ SchedSelIdx ] ÷ 90 000 )                           (C-7)

The final arrival time for decoding unit m is derived as follows:

           if( !subPicParamsFlag )
               AuFinalArrivalTime[ m ] = initArrivalTime[ m ] + sizeInbits[ m ] ÷ BitRate[ SchedSelIdx ] (C-8)
           else
               DuFinalArrivalTime[ m ] = initArrivalTime[ m ] + sizeInbits[ m ] ÷ BitRate[ SchedSelIdx ]

where sizeInbits[ m ] is the size in bits of decoding unit m, counting the bits of the VCL NAL units and the filler data NAL
units for the Type I conformance point or all bits of the Type II bitstream for the Type II conformance point, where the
Type I and Type II conformance points are as shown in Figure C.1.
The values of SchedSelIdx, BitRate[ SchedSelIdx ] and CpbSize[ SchedSelIdx ] are constrained as follows:
–     If the content of the selected hrd_parameters( ) syntax structures for the access unit containing decoding unit m and
      the previous access unit differ, the HSS selects a value SchedSelIdx1 of SchedSelIdx from among the values of
      SchedSelIdx provided in the selected hrd_parameters( ) syntax structures for the access unit containing decoding unit
      m that results in a BitRate[ SchedSelIdx1 ] or CpbSize[ SchedSelIdx1 ] for the access unit containing decoding unit
      m. The value of BitRate[ SchedSelIdx1 ] or CpbSize[ SchedSelIdx1 ] may differ from the value of
      BitRate[ SchedSelIdx0 ] or CpbSize[ SchedSelIdx0 ] for the value SchedSelIdx0 of SchedSelIdx that was in use for
      the previous access unit.
–     Otherwise, the HSS continues to operate with the previous values of SchedSelIdx, BitRate[ SchedSelIdx ] and
      CpbSize[ SchedSelIdx ].
When the HSS selects values of BitRate[ SchedSelIdx ] or CpbSize[ SchedSelIdx ] that differ from those of the previous
access unit, the following applies:
–     The variable BitRate[ SchedSelIdx ] comes into effect at the initial CPB arrival time of the current access unit.
–     The variable CpbSize[ SchedSelIdx ] comes into effect as follows:
      –    If the new value of CpbSize[ SchedSelIdx ] is greater than the old CPB size, it comes into effect at the initial
           CPB arrival time of the current access unit.
      –    Otherwise, the new value of CpbSize[ SchedSelIdx ] comes into effect at the CPB removal time of the current
           access unit.

C.2.3      Timing of decoding unit removal and decoding of decoding unit
The variables InitCpbRemovalDelay[ SchedSelIdx ] and InitCpbRemovalDelayOffset[ SchedSelIdx ] are updated, and the
variables CpbDelayOffset and DpbDelayOffset are derived, as follows:
–     If one or more of the following conditions are true, CpbDelayOffset is set equal to the value of the buffering period
      SEI message syntax element cpb_delay_offset, DpbDelayOffset is set equal to the value of the buffering period SEI
      message       syntax      element     dpb_delay_offset,     and      InitCpbRemovalDelay[ SchedSelIdx ]           and
      InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to the values of the buffering period SEI message syntax
      elements nal_initial_alt_cpb_removal_delay[ SchedSelIdx ] and nal_initial_alt_cpb_removal_offset[ SchedSelIdx ],
      respectively, when NalHrdModeFlag is equal to 1, or vcl_initial_alt_cpb_removal_delay[ SchedSelIdx ] and
      vcl_initial_alt_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 0, where the
      buffering period SEI message containing the syntax elements is selected as specified in clause C.1:
      –    Access unit 0 is a BLA access unit for which the coded picture has nal_unit_type equal to BLA_W_RADL or
           BLA_N_LP and the value of irap_cpb_params_present_flag of the buffering period SEI message is equal to 1.
      –    Access unit 0 is a BLA access unit for which the coded picture has nal_unit_type equal to BLA_W_LP or is a
           CRA access unit and the value of irap_cpb_params_present_flag of the buffering period SEI message is equal to
           1 and one or more of the following conditions are true:



280            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7            Filed 04/07/25           Page 302 of 717 Page ID #:831


         –   UseAltCpbParamsFlag for access unit 0 is equal to 1.
         –   DefaultInitCpbParamsFlag is equal to 0.
–   Otherwise, InitCpbRemovalDelay[ SchedSelIdx ] and InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to
    the values of the buffering period SEI message syntax elements nal_initial_cpb_removal_delay[ SchedSelIdx ] and
    nal_initial_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 1, or
    vcl_initial_cpb_removal_delay[ SchedSelIdx ] and vcl_initial_cpb_removal_offset[ SchedSelIdx ], respectively,
    when NalHrdModeFlag is equal to 0, where the buffering period SEI message containing the syntax elements is
    selected as specified in clause C.1, CpbDelayOffset and DpbDelayOffset are both set equal to 0.
The nominal removal time of the access unit n from the CPB is specified as follows:
–   If access unit n is the access unit with n equal to 0 (the access unit that initializes the HRD), the nominal removal time
    of the access unit from the CPB is specified by:

        AuNominalRemovalTime[ 0 ] = InitCpbRemovalDelay[ SchedSelIdx ] ÷ 90 000                                        (C-9)

–   Otherwise, the following applies:
    –    When access unit n is the first access unit of a buffering period that does not initialize the HRD, the following
         applies:
         The nominal removal time of the access unit n from the CPB is specified by:

             if( !concatenationFlag ) {
                  baseTime = AuNominalRemovalTime[ firstPicInPrevBuffPeriod ]
                  tmpCpbRemovalDelay = AuCpbRemovalDelayVal
                  tmpCpbDelayOffset = CpbDelayOffset
             } else {
                  baseTime1 = AuNominalRemovalTime[ prevNonDiscardablePic ]
                  tmpCpbRemovalDelay1 = ( auCpbRemovalDelayDeltaMinus1 + 1 )
                  baseTime2 = AuNominalRemovalTime[ n − 1 ]                                                          (C-10)
                  tmpCpbRemovalDelay2 = Ceil( ( InitCpbRemovalDelay[ SchedSelIdx ] ÷ 90 000 +

                 AuFinalArrivalTime[ n − 1 ] − AuNominalRemovalTime[ n − 1 ] ) ÷ ClockTick ) )
                 if( baseTime1 + ClockTick * tmpCpbRemovalDelay1 <
                          baseTime2 + ClockTick * tmpCpbRemovalDelay2 ) {
                      baseTime = baseTime2
                      tmpCpbRemovalDelay = tmpCpbRemovalDelay2
                 } else {
                      baseTime = baseTime1
                      tmpCpbRemovalDelay = tmpCpbRemovalDelay1
                 }
                 tmpCpbDelayOffset = 0
             }
             AuNominalRemovalTime[ n ] = baseTime +
                                         ClockTick * ( tmpCpbRemovalDelay − tmpCpbDelayOffset )

         where AuNominalRemovalTime[ firstPicInPrevBuffPeriod ] is the nominal removal time of the first access unit
         of the previous buffering period, AuNominalRemovalTime[ prevNonDiscardablePic ] is the nominal removal
         time of the preceding picture in decoding order with TemporalId equal to 0 that is not a RASL, RADL or SLNR
         picture, AuCpbRemovalDelayVal is the value of AuCpbRemovalDelayVal derived according to
         au_cpb_removal_delay_minus1 in the picture timing SEI message, selected as specified in clause C.1, associated
         with access unit n and concatenationFlag and auCpbRemovalDelayDeltaMinus1 are the values of the syntax
         elements concatenation_flag and au_cpb_removal_delay_delta_minus1, respectively, in the buffering period
         SEI message, selected as specified in clause C.1, associated with access unit n.
         After the derivation of the nominal CPB removal time and before the derivation of the DPB output time of access
         unit n, the values of CpbDelayOffset and DpbDelayOffset are updated as follows:
         –    If one or more of the following conditions are true, CpbDelayOffset is set equal to the value of the buffering
              period SEI message syntax element cpb_delay_offset, and DpbDelayOffset is set equal to the value of the
              buffering period SEI message syntax element dpb_delay_offset, where the buffering period SEI message
              containing the syntax elements is selected as specified in clause C.1:


                                                                               Rec. ITU-T H.265 v8 (08/2021)            281
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 303 of 717 Page ID #:832


                   –   Access unit n is a BLA access unit for which the coded picture has nal_unit_type equal to
                       BLA_W_RADL or BLA_N_LP and the value of irap_cpb_params_present_flag of the buffering
                       period SEI message is equal to 1.
                   –   Access unit n is a BLA access unit for which the coded picture has nal_unit_type equal to BLA_W_LP
                       or is a CRA access unit and the value of irap_cpb_params_present_flag of the buffering period SEI
                       message is equal to 1 and UseAltCpbParamsFlag for access unit n is equal to 1.
            –      Otherwise, CpbDelayOffset and DpbDelayOffset are both set equal to 0.
      –     When access unit n is not the first access unit of a buffering period, the nominal removal time of the access unit n
            from the CPB is specified by:

                 AuNominalRemovalTime[ n ] = AuNominalRemovalTime[ firstPicInCurrBuffPeriod ] +
                          ClockTick * ( AuCpbRemovalDelayVal − CpbDelayOffset )                 (C-11)

            where AuNominalRemovalTime[ firstPicInCurrBuffPeriod ] is the nominal removal time of the first access unit
            of the current buffering period and AuCpbRemovalDelayVal is the value of AuCpbRemovalDelayVal derived
            according to au_cpb_removal_delay_minus1 in the picture timing SEI message, selected as specified in
            clause C.1, associated with access unit n.
When SubPicHrdFlag is equal to 1, the following applies:
–     The variable duCpbRemovalDelayInc is derived as follows:
      –     If sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 0, duCpbRemovalDelayInc is set equal to the value
            of du_spt_cpb_removal_delay_increment in the decoding unit information SEI message, selected as specified in
            clause C.1, associated with decoding unit m.
      –     Otherwise, if du_common_cpb_removal_delay_flag is equal to 0, duCpbRemovalDelayInc is set equal to the
            value of du_cpb_removal_delay_increment_minus1[ i ] + 1 for decoding unit m in the picture timing SEI
            message, selected as specified in clause C.1, associated with access unit n, where the value of i is 0 for the first
            num_nalus_in_du_minus1[ 0 ] + 1 consecutive NAL units in the access unit that contains decoding unit m, 1 for
            the subsequent num_nalus_in_du_minus1[ 1 ] + 1 NAL units in the same access unit, 2 for the subsequent
            num_nalus_in_du_minus1[ 2 ] + 1 NAL units in the same access unit, etc.
      –     Otherwise,        duCpbRemovalDelayInc            is    set equal  to     the     value      of
            du_common_cpb_removal_delay_increment_minus1 + 1 in the picture timing SEI message, selected as
            specified in clause C.1, associated with access unit n.
–     The nominal removal time of decoding unit m from the CPB is specified as follows, where
      AuNominalRemovalTime[ n ] is the nominal removal time of access unit n:
      –     If decoding unit m is the last decoding unit in access unit n, the nominal removal time of decoding unit m
            DuNominalRemovalTime[ m ] is set equal to AuNominalRemovalTime[ n ].
      –     Otherwise (decoding unit m is not the last decoding unit in access unit n), the nominal removal time of decoding
            unit m DuNominalRemovalTime[ m ] is derived as follows:

                  if( sub_pic_cpb_params_in_pic_timing_sei_flag )
                      DuNominalRemovalTime[ m ] = DuNominalRemovalTime[ m + 1 ] −
                         ClockSubTick * duCpbRemovalDelayInc                                                           (C-12)
                  else
                      DuNominalRemovalTime[ m ] = AuNominalRemovalTime[ n ] −
                         ClockSubTick * duCpbRemovalDelayInc

If SubPicHrdFlag is equal to 0, the removal time of access unit n from the CPB is specified as follows, where
AuFinalArrivalTime[ n ] and AuNominalRemovalTime[ n ] are the final CPB arrival time and nominal CPB removal time,
respectively, of access unit n:

          if( !low_delay_hrd_flag[ HighestTid ] | | AuNominalRemovalTime[ n ] >= AuFinalArrivalTime[ n ] )
              AuCpbRemovalTime[ n ] = AuNominalRemovalTime[ n ]
          else                                                                                    (C-13)
              AuCpbRemovalTime[ n ] = AuNominalRemovalTime[ n ] + ClockTick *
                 Ceil( ( AuFinalArrivalTime[ n ] − AuNominalRemovalTime[ n ] ) ÷ ClockTick )




282             Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 304 of 717 Page ID #:833


    NOTE 1 – When low_delay_hrd_flag[ HighestTid ] is equal to 1 and AuNominalRemovalTime[ n ] is                          less   than
    AuFinalArrivalTime[ n ], the size of access unit n is so large that it prevents removal at the nominal removal time.

Otherwise (SubPicHrdFlag is equal to 1), the removal time of decoding unit m from the CPB is specified as follows:

           if( !low_delay_hrd_flag[ HighestTid ] | | DuNominalRemovalTime[ m ] >= DuFinalArrivalTime[ m ]
           )
               DuCpbRemovalTime[ m ] = DuNominalRemovalTime[ m ]
           else                                                                                    (C-14)
               DuCpbRemovalTime[ m ] = DuFinalArrivalTime[ m ]

    NOTE 2 – When low_delay_hrd_flag[ HighestTid ] is equal to 1 and DuNominalRemovalTime[ m ] is less                            than
    DuFinalArrivalTime[ m ], the size of decoding unit m is so large that it prevents removal at the nominal removal time.

If SubPicHrdFlag is equal to 0, at the CPB removal time of access unit n, the access unit is instantaneously decoded.
Otherwise (SubPicHrdFlag is equal to 1), at the CPB removal time of decoding unit m, the decoding unit is instantaneously
decoded, and when decoding unit m is the last decoding unit of access unit n, the following applies:
–     Picture n is considered as decoded.
–     The final CPB arrival time of access unit n, i.e., AuFinalArrivalTime[ n ], is set equal to the final CPB arrival time of
      the last decoding unit in access unit n, i.e., DuFinalArrivalTime[ m ].
–     The nominal CPB removal time of access unit n, i.e., AuNominalRemovalTime[ n ], is set equal to the nominal CPB
      removal time of the last decoding unit in access unit n, i.e., DuNominalRemovalTime[ m ].
–     The CPB removal time of access unit n, i.e., AuCpbRemovalTime[ m ], is set equal to the CPB removal time of the
      last decoding unit in access unit n, i.e., DuCpbRemovalTime[ m ].

C.3          Operation of the decoded picture buffer
C.3.1        General
The specifications in this clause apply independently to each set of decoded picture buffer (DPB) parameters selected as
specified in clause C.1.
The decoded picture buffer contains picture storage buffers. Each of the picture storage buffers may contain a decoded
picture that is marked as "used for reference" or is held for future output. The processes specified in clauses C.3.2, C.3.3,
C.3.4 and C.3.5 are sequentially applied as specified below.

C.3.2        Removal of pictures from the DPB before decoding of the current picture
The removal of pictures from the DPB before decoding of the current picture (but after parsing the slice header of the first
slice of the current picture) happens instantaneously at the CPB removal time of the first decoding unit of access unit n
(containing the current picture) and proceeds as follows:
–     The decoding process for RPS as specified in clause 8.3.2 is invoked.
–     When the current picture is an IRAP picture with NoRaslOutputFlag equal to 1 that is not picture 0, the following
      ordered steps are applied:
      1.     The variable NoOutputOfPriorPicsFlag is derived for the decoder under test as follows:
             –   If the current picture is a CRA picture, NoOutputOfPriorPicsFlag is set equal to 1 (regardless of the value
                 of no_output_of_prior_pics_flag).
             –   Otherwise, if the value of pic_width_in_luma_samples, pic_height_in_luma_samples, chroma_format_idc,
                 separate_colour_plane_flag, bit_depth_luma_minus8, bit_depth_chroma_minus8 or sps_max_dec_pic_
                 buffering_minus1[ HighestTid ] derived from the active SPS is different from the value of
                 pic_width_in_luma_samples, pic_height_in_luma_samples, chroma_format_idc, separate_colour_plane_
                 flag,    bit_depth_luma_minus8,        bit_depth_chroma_minus8      or     sps_max_dec_pic_buffering_
                 minus1[ HighestTid ], respectively, derived from the SPS active for the preceding picture,
                 NoOutputOfPriorPicsFlag may (but should not) be set to 1 by the decoder under test, regardless of the value
                 of no_output_of_prior_pics_flag.
                       NOTE – Although setting NoOutputOfPriorPicsFlag equal to no_output_of_prior_pics_flag is preferred under
                       these conditions, the decoder under test is allowed to set NoOutputOfPriorPicsFlag to 1 in this case.

             –   Otherwise, NoOutputOfPriorPicsFlag is set equal to no_output_of_prior_pics_flag.



                                                                                    Rec. ITU-T H.265 v8 (08/2021)                 283
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25          Page 305 of 717 Page ID #:834


      2.     The value of NoOutputOfPriorPicsFlag derived for the decoder under test is applied for the HRD, such that when
             the value of NoOutputOfPriorPicsFlag is equal to 1, all picture storage buffers in the DPB are emptied without
             output of the pictures they contain, and the DPB fullness is set equal to 0.
–     When both of the following conditions are true for any pictures k in the DPB, all such pictures k in the DPB are
      removed from the DPB:
      –      picture k is marked as "unused for reference".
      –      picture k has PicOutputFlag equal to 0 or its DPB output time is less than or equal to the CPB removal time of
             the first decoding unit (denoted as decoding unit m) of the current picture n; i.e., DpbOutputTime[ k ] is less than
             or equal to DuCpbRemovalTime[ m ].
–     For each picture that is removed from the DPB, the DPB fullness is decremented by one.

C.3.3        Picture output
The processes specified in this clause happen instantaneously at the CPB removal time of access unit n,
AuCpbRemovalTime[ n ].
When picture n has PicOutputFlag equal to 1, its DPB output time DpbOutputTime[ n ] is derived as follows, where the
variable firstPicInBufferingPeriodFlag is equal to 1 if access unit n is the first access unit of a buffering period and 0
otherwise:

           if( !SubPicHrdFlag ) {
               DpbOutputTime[ n ] = AuCpbRemovalTime[ n ] + ClockTick * picDpbOutputDelay       (C-15)
               if( firstPicInBufferingPeriodFlag )
                   DpbOutputTime[ n ] −= ClockTick * DpbDelayOffset
           } else
               DpbOutputTime[ n ] = AuCpbRemovalTime[ n ] + ClockSubTick * picSptDpbOutputDuDelay

where picDpbOutputDelay is the value of pic_dpb_output_delay in the picture timing SEI message associated with access
unit n, and picSptDpbOutputDuDelay is the value of pic_spt_dpb_output_du_delay, when present, in the decoding unit
information SEI messages associated with access unit n, or the value of pic_dpb_output_du_delay in the picture timing
SEI message associated with access unit n when there is no decoding unit information SEI message associated with access
unit n or no decoding unit information SEI message associated with access unit n has pic_spt_dpb_output_du_delay
present.
    NOTE – When the syntax element pic_spt_dpb_output_du_delay is not present in any decoding unit information SEI message
    associated with access unit n, the value is inferred to be equal to pic_dpb_output_du_delay in the picture timing SEI message
    associated with access unit n.

The output of the current picture is specified as follows:
–     If PicOutputFlag is equal to 1 and DpbOutputTime[ n ] is equal to AuCpbRemovalTime[ n ], the current picture is
      output.
–     Otherwise, if PicOutputFlag is equal to 0, the current picture is not output, but will be stored in the DPB as specified
      in clause C.3.4.
–     Otherwise (PicOutputFlag is equal to 1 and DpbOutputTime[ n ] is greater than AuCpbRemovalTime[ n ] ), the
      current picture is output later and will be stored in the DPB (as specified in clause C.3.4) and is output at time
      DpbOutputTime[ n ] unless indicated not to be output by NoOutputOfPriorPicsFlag equal to 1.
When output, the picture is cropped, using the conformance cropping window specified in the active SPS for the picture.
When picture n is a picture that is output and is not the last picture of the bitstream that is output, the value of the variable
DpbOutputInterval[ n ] is derived as follows:

           DpbOutputInterval[ n ] = DpbOutputTime[ nextPicInOutputOrder ] − DpbOutputTime[ n ]                          (C-16)

where nextPicInOutputOrder is the picture that follows picture n in output order and has PicOutputFlag equal to 1.

C.3.4        Current decoded picture marking and storage
The current decoded picture after the invocation of the in-loop filter process as specified in clause 8.7 is stored in the DPB
in an empty picture storage buffer, the DPB fullness is incremented by one. When TwoVersionsOfCurrDecPicFlag is equal
to 0 and pps_curr_pic_ref_enabled_flag is equal to 1, this picture is marked as "used for long-term reference". After all the
slices of the current picture have been decoded, this picture is marked as "used for short-term reference".



284           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25           Page 306 of 717 Page ID #:835


When TwoVersionsOfCurrDecPicFlag is equal to 1, the current decoded picture before the invocation of the in-loop filter
process as specified in clause 8.7 is stored in the DPB in an empty picture storage buffer, the DPB fullness is incremented
by one, and this picture is marked as "used for long-term reference".
    NOTE – Unless more memory than required by the level limit is available for storage of decoded pictures, decoders should start
    storing decoded parts of the current picture into the DPB when the first slice segment is decoded and continue storing more decoded
    samples as the decoding process proceeds.

C.3.5       Removal of pictures from the DPB after decoding of the current picture
When TwoVersionsOfCurrDecPicFlag is equal to 1, immediately after decoding of the current picture, at the CPB removal
time of the last decoding unit of access unit n (containing the current picture), the current decoded picture before the
invocation of the in-loop filter process as specified in clause 8.7 is removed from the DPB, and the DPB fullness is
decremented by one.

C.4          Bitstream conformance
A bitstream of coded data conforming to this Specification shall fulfil all requirements specified in this clause.
The bitstream shall be constructed according to the syntax, semantics and constraints specified in this Specification outside
of this annex.
The first coded picture in a bitstream shall be an IRAP picture, i.e., an IDR picture, a CRA picture or a BLA picture.
The bitstream is tested by the HRD for conformance as specified in clause C.1.
For each current picture, let the variables maxPicOrderCnt and minPicOrderCnt be set equal to the maximum and the
minimum, respectively, of the PicOrderCntVal values of the following pictures:
–     The current picture.
–     The previous picture in decoding order that has TemporalId equal to 0 and that is not a RASL, RADL, or SLNR
      picture.
–     The short-term reference pictures in the RPS of the current picture.
–     All pictures n that have PicOutputFlag equal to 1, AuCpbRemovalTime[ n ] less than AuCpbRemovalTime[ currPic ]
      and DpbOutputTime[ n ] greater than or equal to AuCpbRemovalTime[ currPic ], where currPic is the current picture.
All of the following conditions shall be fulfilled for each of the bitstream conformance tests:
    1. For each access unit n, with n greater than 0, associated with a buffering period SEI message, let the variable
       deltaTime90k[ n ] be specified as follows:

                 deltaTime90k[ n ] = 90 000 * ( AuNominalRemovalTime[ n ] − AuFinalArrivalTime[ n − 1 ] )
                     (C-17)

        The value of InitCpbRemovalDelay[ SchedSelIdx ] is constrained as follows:
        –      If cbr_flag[ SchedSelIdx ] is equal to 0, the following condition shall be true:

                 InitCpbRemovalDelay[ SchedSelIdx ] <= Ceil( deltaTime90k[ n ] )                                               (C-18)

        –      Otherwise (cbr_flag[ SchedSelIdx ] is equal to 1), the following condition shall be true:

                 Floor( deltaTime90k[ n ] ) <= InitCpbRemovalDelay[ SchedSelIdx ] <= Ceil( deltaTime90k[ n ]
                 ) (C-19)

                 NOTE 1 – The exact number of bits in the CPB at the removal time of each picture may depend on which buffering
                 period SEI message is selected to initialize the HRD. Encoders must take this into account to ensure that all specified
                 constraints must be obeyed regardless of which buffering period SEI message is selected to initialize the HRD, as the
                 HRD may be initialized at any one of the buffering period SEI messages.

    2. A CPB overflow is specified as the condition in which the total number of bits in the CPB is greater than the CPB
       size. The CPB shall never overflow.
    3. When low_delay_hrd_flag[ HighestTid ] is equal to 0, the CPB shall never underflow. A CPB underflow is
       specified as follows:




                                                                                      Rec. ITU-T H.265 v8 (08/2021)               285
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25           Page 307 of 717 Page ID #:836


        –    If SubHrdFlag is equal to 0, a CPB underflow is specified as the condition in which the nominal CPB removal
             time of access unit n AuNominalRemovalTime[ n ] is less than the final CPB arrival time of access unit n
             AuFinalArrivalTime[ n ] for at least one value of n.
        –    Otherwise (SubPicHrdFlag is equal to 1), a CPB underflow is specified as the condition in which the nominal
             CPB removal time of decoding unit m DuNominalRemovalTime[ m ] is less than the final CPB arrival time
             of decoding unit m DuFinalArrivalTime[ m ] for at least one value of m.
   4. When SubPicHrdFlag is equal to 1, low_delay_hrd_flag[ HighestTid ] is equal to 1 and the nominal removal time
      of a decoding unit m of access unit n is less than the final CPB arrival time of decoding unit m (i.e.,
      DuNominalRemovalTime[ m ] < DuFinalArrivalTime[ m ]), the nominal removal time of access unit n shall be
      less    than     the     final       CPB      arrival    time        of      access       unit     n     (i.e.,
      AuNominalRemovalTime[ n ] < AuFinalArrivalTime[ n ]).
   5. The nominal removal times of pictures from the CPB (starting from the second picture in decoding order) shall
      satisfy the constraints on AuNominalRemovalTime[ n ] and AuCpbRemovalTime[ n ] expressed in clauses A.4.1
      through A.4.2.
   6. For each current picture, after invocation of the process for removal of pictures from the DPB as specified in
      clause C.3.2, the number of decoded pictures in the DPB, including all pictures n that are marked as "used for
      reference", or that have PicOutputFlag equal to 1 and AuCpbRemovalTime[ n ] less than
      AuCpbRemovalTime[ currPic ], where currPic is the current picture, shall be less than or equal to
      sps_max_dec_pic_buffering_minus1[ HighestTid ].
   7. All reference pictures shall be present in the DPB when needed for prediction. Each picture that has PicOutputFlag
      equal to 1 shall be present in the DPB at its DPB output time unless it is removed from the DPB before its output
      time by one of the processes specified in clause C.3.
   8. For each current picture that is not an IRAP picture with NoRaslOutputFlag equal to 1, the value of
      maxPicOrderCnt − minPicOrderCnt shall be less than MaxPicOrderCntLsb / 2.
   9. The value of DpbOutputInterval[ n ] as given by Equation C-16, which is the difference between the output time
      of a picture and that of the first picture following it in output order and having PicOutputFlag equal to 1, shall
      satisfy the constraint expressed in clause A.4.1 for the profile, tier and level specified in the bitstream using the
      decoding process specified in clauses 2 through 10.
   10. For each current picture, when sub_pic_cpb_params_in_pic_timing_sei_flag                           is   equal    to    1,   let
       tmpCpbRemovalDelaySum be derived as follows:

               tmpCpbRemovalDelaySum = 0
               for( i = 0; i < num_decoding_units_minus1; i++ )                             (C-20)
                    tmpCpbRemovalDelaySum += du_cpb_removal_delay_increment_minus1[ i ] + 1

        The value of ClockSubTick * tmpCpbRemovalDelaySum shall be equal to the difference between the
        nominal CPB removal time of the current access unit and the nominal CPB removal time of the first
        decoding unit in the current access unit in decoding order.

   11. For any two pictures m and n in the same CVS, when DpbOutputTime[ m ] is greater than DpbOutputTime[ n ],
       the PicOrderCntVal of picture m shall be greater than the PicOrderCntVal of picture n.
               NOTE 2 – All pictures of an earlier CVS in decoding order that are output are output before any pictures of a later CVS
               in decoding order. Within any particular CVS, the pictures that are output are output in increasing PicOrderCntVal
               order.


C.5         Decoder conformance
C.5.1       General
A decoder conforming to this Specification shall fulfil all requirements specified in this clause.
A decoder claiming conformance to a specific profile, tier and level shall be able to successfully decode all bitstreams that
conform to the bitstream conformance requirements specified in clause C.4, in the manner specified in Annex A, provided
that all VPSs, SPSs and PPSs referred to in the VCL NAL units and appropriate buffering period, picture timing and
decoding unit information SEI messages are conveyed to the decoder, in a timely manner, either in the bitstream (by non-
VCL NAL units), or by external means not specified in this Specification.
When a bitstream contains syntax elements that have values that are specified as reserved and it is specified that decoders
shall ignore values of the syntax elements or NAL units containing the syntax elements having the reserved values, and


286         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 308 of 717 Page ID #:837


the bitstream is otherwise conforming to this Specification, a conforming decoder shall decode the bitstream in the same
manner as it would decode a conforming bitstream and shall ignore the syntax elements or the NAL units containing the
syntax elements having the reserved values as specified.
There are two types of conformance that can be claimed by a decoder: output timing conformance and output order
conformance.
To check conformance of a decoder, test bitstreams conforming to the claimed profile, tier and level, as specified in
clause C.4 are delivered by a hypothetical stream scheduler (HSS) both to the HRD and to the decoder under test (DUT).
All cropped decoded pictures output by the HRD shall also be output by the DUT, each cropped decoded picture output
by the DUT shall be a picture with PicOutputFlag equal to 1, and, for each such cropped decoded picture output by the
DUT, the values of all samples that are output shall be equal to the values of the samples produced by the specified decoding
process.
For output timing decoder conformance, the HSS operates as described above, with delivery schedules selected only from
the subset of values of SchedSelIdx for which the bit rate and CPB size are restricted as specified in Annex A for the
specified profile, tier and level or with "interpolated" delivery schedules as specified below for which the bit rate and CPB
size are restricted as specified in Annex A. The same delivery schedule is used for both the HRD and the DUT.
When the HRD parameters and the buffering period SEI messages are present with cpb_cnt_minus1[ HighestTid ] greater
than 0, the decoder shall be capable of decoding the bitstream as delivered from the HSS operating using an "interpolated"
delivery schedule specified as having peak bit rate r, CPB size c( r ) and initial CPB removal delay ( f( r ) ÷ r ) as follows:

         α = ( r − BitRate[ SchedSelIdx − 1 ] ) ÷ ( BitRate[ SchedSelIdx ] − BitRate[ SchedSelIdx − 1 ] ),
          (C-21)

         c( r ) = α * CpbSize[ SchedSelIdx ] + ( 1 − α ) * CpbSize[ SchedSelIdx − 1 ],                                    (C-22)

         f( r ) = α * InitCpbRemovalDelay[ SchedSelIdx ] * BitRate[ SchedSelIdx ] +
                     ( 1 − α ) * InitCpbRemovalDelay[ SchedSelIdx − 1 ] * BitRate[ SchedSelIdx − 1 ]                      (C-23)

for any SchedSelIdx > 0 and r such that BitRate[ SchedSelIdx − 1 ] <= r <= BitRate[ SchedSelIdx ] such that r and c( r )
are within the limits as specified in Annex A for the maximum bit rate and buffer size for the specified profile, tier and
level.
    NOTE 1 – InitCpbRemovalDelay[ SchedSelIdx ] can be different from one buffering period to another and have to be re-calculated.

For output timing decoder conformance, an HRD as described above is used and the timing (relative to the delivery time
of the first bit) of picture output is the same for both the HRD and the DUT up to a fixed delay.
For output order decoder conformance, the following applies:
–    The HSS delivers the bitstream BitstreamToDecode to the DUT "by demand" from the DUT, meaning that the HSS
     delivers bits (in decoding order) only when the DUT requires more bits to proceed with its processing.
           NOTE 2 – This means that for this test, the coded picture buffer of the DUT could be as small as the size of the largest
           decoding unit.

–    A modified HRD as described below is used, and the HSS delivers the bitstream to the HRD by one of the schedules
     specified in the bitstream BitstreamToDecode such that the bit rate and CPB size are restricted as specified in
     Annex A. The order of pictures output shall be the same for both the HRD and the DUT.
–    The HRD CPB size is given by CpbSize[ SchedSelIdx ] as specified in clause E.3.3, where SchedSelIdx and the HRD
     parameters are selected as specified in clause                     C.1. The DPB size is given by
     sps_max_dec_pic_buffering_minus1[ HighestTid ] + 1. Removal time from the CPB for the HRD is the final bit
     arrival time and decoding is immediate. The operation of the DPB of this HRD is as described in clauses C.5.2 through
     C.5.2.3.

C.5.2      Operation of the output order DPB

C.5.2.1 General
The decoded picture buffer contains picture storage buffers. Each of the picture storage buffers contains a decoded picture
that is marked as "used for reference" or is held for future output. The process for output and removal of pictures from the
DPB before decoding of the current picture as specified in clause C.5.2.2 is invoked, the invocation of the process for
current decoded picture marking and storage as specified in clause C.3.4, further followed by the invocation of the process
for removal of pictures from the DPB after decoding of the current picture as specified in clause C.3.5, and finally followed
by the invocation of the process for additional bumping as specified in clause C.5.2.3. The "bumping" process is specified
in clause C.5.2.4 and is invoked as specified in clauses C.5.2.2 and C.5.2.3.


                                                                                   Rec. ITU-T H.265 v8 (08/2021)             287
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25         Page 309 of 717 Page ID #:838


C.5.2.2 Output and removal of pictures from the DPB
The output and removal of pictures from the DPB before the decoding of the current picture (but after parsing the slice
header of the first slice of the current picture) happens instantaneously when the first decoding unit of the access unit
containing the current picture is removed from the CPB and proceeds as follows:
–     The decoding process for RPS as specified in clause 8.3.2 is invoked.
–     If the current picture is an IRAP picture with NoRaslOutputFlag equal to 1 that is not picture 0, the following ordered
      steps are applied:
      1.   The variable NoOutputOfPriorPicsFlag is derived for the decoder under test as follows:
            –      If the current picture is a CRA picture, NoOutputOfPriorPicsFlag is set equal to 1 (regardless of the value
                   of no_output_of_prior_pics_flag).
            –      Otherwise, if the value of pic_width_in_luma_samples, pic_height_in_luma_samples, chroma_format_idc,
                   separate_colour_plane_flag, bit_depth_luma_minus8, bit_depth_chroma_minus8 or sps_max_dec_pic_
                   buffering_minus1[ HighestTid ] derived from the active SPS is different from the value of
                   pic_width_in_luma_samples, pic_height_in_luma_samples, chroma_format_idc, separate_colour_plane_
                   flag,    bit_depth_luma_minus8,        bit_depth_chroma_minus8      or     sps_max_dec_pic_buffering_
                   minus1[ HighestTid ], respectively, derived from the SPS active for the preceding picture,
                   NoOutputOfPriorPicsFlag may (but should not) be set to 1 by the decoder under test, regardless of the value
                   of no_output_of_prior_pics_flag.
                        NOTE – Although setting NoOutputOfPriorPicsFlag equal to no_output_of_prior_pics_flag is preferred under
                        these conditions, the decoder under test is allowed to set NoOutputOfPriorPicsFlag to 1 in this case.

            –      Otherwise, NoOutputOfPriorPicsFlag is set equal to no_output_of_prior_pics_flag.
      2.   The value of NoOutputOfPriorPicsFlag derived for the decoder under test is applied for the HRD as follows:
            –      If NoOutputOfPriorPicsFlag is equal to 1, all picture storage buffers in the DPB are emptied without output
                   of the pictures they contain and the DPB fullness is set equal to 0.
            –      Otherwise (NoOutputOfPriorPicsFlag is equal to 0), all picture storage buffers containing a picture that is
                   marked as "not needed for output" and "unused for reference" are emptied (without output) and all non-
                   empty picture storage buffers in the DPB are emptied by repeatedly invoking the "bumping" process
                   specified in clause C.5.2.4 and the DPB fullness is set equal to 0.
–     Otherwise (the current picture is not an IRAP picture with NoRaslOutputFlag equal to 1), all picture storage buffers
      containing a picture which are marked as "not needed for output" and "unused for reference" are emptied (without
      output). For each picture storage buffer that is emptied, the DPB fullness is decremented by one. When one or more
      of the following conditions are true, the "bumping" process specified in clause C.5.2.4 is invoked repeatedly while
      further decrementing the DPB fullness by one for each additional picture storage buffer that is emptied, until none of
      the following conditions are true:
      – The number of pictures in the DPB that are marked as "needed for output" is greater than
        sps_max_num_reorder_pics[ HighestTid ].
      –    sps_max_latency_increase_plus1[ HighestTid ] is not equal to 0 and there is at least one picture in the DPB that
           is marked as "needed for output" for which the associated variable PicLatencyCount is greater than or equal to
           SpsMaxLatencyPictures[ HighestTid ].
      – The    number     of     pictures   in    the      DPB     is    greater   than                     or     equal     to
        sps_max_dec_pic_buffering_minus1[ HighestTid ] + 1 − TwoVersionsOfCurrDecPicFlag.

C.5.2.3 Additional bumping
The processes specified in this clause happen instantaneously when the last decoding unit of access unit n containing the
current picture is removed from the CPB.
When the current picture has PicOutputFlag equal to 1, for each picture in the DPB that is marked as "needed for output"
and follows the current picture in output order, the associated variable PicLatencyCount is set equal to
PicLatencyCount + 1.
The following applies:
–     If the current decoded picture has PicOutputFlag equal to 1, it is marked as "needed for output" and its associated
      variable PicLatencyCount is set equal to 0.
–     Otherwise (the current decoded picture has PicOutputFlag equal to 0), it is marked as "not needed for output".



288             Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7           Filed 04/07/25           Page 310 of 717 Page ID #:839


When one or more of the following conditions are true, the "bumping" process specified in clause C.5.2.4 is invoked
repeatedly until none of the following conditions are true:
–        The number of pictures in the DPB that are marked as "needed for output" is greater than
         sps_max_num_reorder_pics[ HighestTid ].
–        sps_max_latency_increase_plus1[ HighestTid ] is not equal to 0 and there is at least one picture in the DPB that is
         marked as "needed for output" for which the associated variable PicLatencyCount that is greater than or equal to
         SpsMaxLatencyPictures[ HighestTid ].

C.5.2.4 "Bumping" process
The "bumping" process consists of the following ordered steps:
    1.     The picture that is first for output is selected as the one having the smallest value of PicOrderCntVal of all pictures
           in the DPB marked as "needed for output".
    2.     The picture is cropped, using the conformance cropping window specified in the active SPS for the picture, the
           cropped picture is output, and the picture is marked as "not needed for output".
    3.     When the picture storage buffer that included the picture that was cropped and output contains a picture marked as
           "unused for reference", the picture storage buffer is emptied.
    NOTE – For any two pictures picA and picB that belong to the same CVS and are output by the "bumping process", when picA is
    output earlier than picB, the value of PicOrderCntVal of picA is less than the value of PicOrderCntVal of picB.




                                                                                   Rec. ITU-T H.265 v8 (08/2021)            289
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 311 of 717 Page ID #:840


                                                         Annex D

                                      Supplemental enhancement information

                   (This annex forms an integral part of this Recommendation | International Standard.)

D.1        General
This annex specifies syntax and semantics for SEI message payloads.
SEI messages assist in processes related to decoding, display or other purposes. However, SEI messages are not required
for constructing the luma or chroma samples by the decoding process. Conforming decoders are not required to process
this information for output order conformance to this Specification (see Annex C and clause F.13 for the specification of
conformance). Some SEI message information is required to check bitstream conformance and for output timing decoder
conformance.
In clause C.5.2 and in clause F.13 including its subclauses, specification for presence of SEI messages are also satisfied
when those messages (or some subset of them) are conveyed to decoders (or to the HRD) by other means not specified in
this Specification. When present in the bitstream, SEI messages shall obey the syntax and semantics specified in
clause 7.3.5 and this annex. When the content of an SEI message is conveyed for the application by some means other than
presence within the bitstream, the representation of the content of the SEI message is not required to use the same syntax
specified in this annex. For the purpose of counting bits, only the appropriate bits that are actually present in the bitstream
are counted.
D.2        SEI payload syntax
D.2.1      General SEI message syntax
      sei_payload( payloadType, payloadSize ) {                                                              Descriptor
         if( nal_unit_type = = PREFIX_SEI_NUT )
             if( payloadType = = 0 )
                 buffering_period( payloadSize )
             else if( payloadType = = 1 )
                 pic_timing( payloadSize )
             else if( payloadType = = 2 )
                 pan_scan_rect( payloadSize )
             else if( payloadType = = 3 )
                 filler_payload( payloadSize )
             else if( payloadType = = 4 )
                 user_data_registered_itu_t_t35( payloadSize )
             else if( payloadType = = 5 )
                 user_data_unregistered( payloadSize )
             else if( payloadType = = 6 )
                 recovery_point( payloadSize )
             else if( payloadType = = 9 )
                 scene_info( payloadSize )
             else if( payloadType = = 15 )
                 picture_snapshot( payloadSize )
             else if( payloadType = = 16 )
                 progressive_refinement_segment_start( payloadSize )
             else if( payloadType = = 17 )
                 progressive_refinement_segment_end( payloadSize )
             else if( payloadType = = 19 )
                 film_grain_characteristics( payloadSize )
             else if( payloadType = = 22 )
                 post_filter_hint( payloadSize )
             else if( payloadType = = 23 )
                 tone_mapping_info( payloadSize )
             else if( payloadType = = 45 )


290        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053        Document 1-7          Filed 04/07/25        Page 312 of 717 Page ID #:841


         frame_packing_arrangement( payloadSize )
      else if( payloadType = = 47 )
         display_orientation( payloadSize )
      else if( payloadType = = 56 )
         green_metadata( payloadsize ) /* specified in ISO/IEC 23001-11 */
      else if( payloadType = = 128 )
         structure_of_pictures_info( payloadSize )
      else if( payloadType = = 129 )
         active_parameter_sets( payloadSize )
      else if( payloadType = = 130 )
         decoding_unit_info( payloadSize )
      else if( payloadType = = 131 )
         temporal_sub_layer_zero_idx( payloadSize )
      else if( payloadType = = 133 )
         scalable_nesting( payloadSize )
      else if( payloadType = = 134 )
         region_refresh_info( payloadSize )
      else if( payloadType = = 135 )
         no_display( payloadSize )
      else if( payloadType = = 136 )
         time_code( payloadSize )
      else if( payloadType = = 137 )
         mastering_display_colour_volume( payloadSize )
      else if( payloadType = = 138 )
         segmented_rect_frame_packing_arrangement( payloadSize )
      else if( payloadType = = 139 )
         temporal_motion_constrained_tile_sets( payloadSize )
      else if( payloadType = = 140 )
         chroma_resampling_filter_hint( payloadSize )
      else if( payloadType = = 141 )
         knee_function_info( payloadSize )
      else if( payloadType = = 142 )
         colour_remapping_info( payloadSize )
      else if( payloadType = = 143 )
         deinterlaced_field_identification( payloadSize )
      else if( payloadType = = 144 )
         content_light_level_info( payloadSize )
      else if( payloadType = = 145 )
         dependent_rap_indication( payloadSize )
      else if( payloadType = = 146 )
         coded_region_completion( payloadSize )
      else if( payloadType = = 147 )
         alternative_transfer_characteristics( payloadSize )
      else if( payloadType = = 148 )
         ambient_viewing_environment( payloadSize )
      else if( payloadType = = 149 )
         content_colour_volume( payloadSize )
      else if( payloadType = = 150 )
         equirectangular_projection( payloadSize )
      else if( payloadType = = 151 )
         cubemap_projection( payloadSize )
      else if( payloadType = = 152 )
         fisheye_video_info( payloadSize )


                                                                      Rec. ITU-T H.265 v8 (08/2021)   291
Case 2:25-cv-03053       Document 1-7           Filed 04/07/25        Page 313 of 717 Page ID #:842


      else if( payloadType = = 154 )
         sphere_rotation( payloadSize )
      else if( payloadType = = 155 )
         regionwise_packing( payloadSize )
      else if( payloadType = = 156 )
         omni_viewport( payloadSize )
      else if( payloadType = = 157 )
         regional_nesting( payloadSize )
      else if( payloadType = = 158 )
         mcts_extraction_info_sets( payloadSize )
      else if( payloadType = = 159 )
         mcts_extraction_info_nesting( payloadSize )
      else if( payloadType = = 160 )
         layers_not_present( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 161 )
         inter_layer_constrained_tile_sets( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 162 )
         bsp_nesting( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 163 )
         bsp_initial_arrival_time( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 164 )
         sub_bitstream_property( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 165 )
         alpha_channel_info( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 166 )
         overlay_info( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 167 )
         temporal_mv_prediction_constraints( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 168 )
         frame_field_info( payloadSize ) /* specified in Annex F */
      else if( payloadType = = 176 )
         three_dimensional_reference_displays_info( payloadSize ) /* specified in Annex G */
      else if( payloadType = = 177 )
         depth_representation_info( payloadSize ) /* specified in Annex G */
      else if( payloadType = = 178 )
         multiview_scene_info( payloadSize ) /* specified in Annex G */
      else if( payloadType = = 179 )
         multiview_acquisition_info( payloadSize ) /* specified in Annex G */
      else if( payloadType = = 180 )
         multiview_view_position( payloadSize ) /* specified in Annex G */
      else if( payloadType = = 181 )
         alternative_depth_info( payloadSize ) /* specified in Annex I */
      else if( payloadType = = 200 )
         sei_manifest( payloadSize )
      else if( payloadType = = 201 )
         sei_prefix_indication( payloadSize )
      else if( payloadType = = 202 )
         annotated_regions( payloadSize )
      else if( payloadType = = 205 )
         shutter_interval_info( payloadSize )
      else
         reserved_sei_message( payloadSize )


292    Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7           Filed 04/07/25   Page 314 of 717 Page ID #:843


       else /* nal_unit_type = = SUFFIX_SEI_NUT */
           if( payloadType = = 3 )
               filler_payload( payloadSize )
           else if( payloadType = = 4 )
               user_data_registered_itu_t_t35( payloadSize )
           else if( payloadType = = 5 )
               user_data_unregistered( payloadSize )
           else if( payloadType = = 17 )
               progressive_refinement_segment_end( payloadSize )
           else if( payloadType = = 22 )
               post_filter_hint( payloadSize )
           else if( payloadType = = 132 )
               decoded_picture_hash( payloadSize )
           else if( payloadType = = 146 )
               coded_region_completion( payloadSize )
           else
               reserved_sei_message( payloadSize )
       if( more_data_in_payload( ) ) {
           if( payload_extension_present( ) )
               reserved_payload_extension_data                                                  u(v)
           payload_bit_equal_to_one /* equal to 1 */                                            f(1)
           while( !byte_aligned( ) )
               payload_bit_equal_to_zero /* equal to 0 */                                       f(1)
       }
   }




                                                                     Rec. ITU-T H.265 v8 (08/2021)     293
Case 2:25-cv-03053             Document 1-7          Filed 04/07/25         Page 315 of 717 Page ID #:844


D.2.2      Buffering period SEI message syntax

      buffering_period( payloadSize ) {                                                      Descriptor
        bp_seq_parameter_set_id                                                                ue(v)
        if( !sub_pic_hrd_params_present_flag )
            irap_cpb_params_present_flag                                                        u(1)
        if( irap_cpb_params_present_flag ) {
            cpb_delay_offset                                                                    u(v)
            dpb_delay_offset                                                                    u(v)
        }
        concatenation_flag                                                                      u(1)
        au_cpb_removal_delay_delta_minus1                                                       u(v)
        if( NalHrdBpPresentFlag ) {
            for( i = 0; i < CpbCnt; i++ ) {
                nal_initial_cpb_removal_delay[ i ]                                              u(v)
                nal_initial_cpb_removal_offset[ i ]                                             u(v)
                if( sub_pic_hrd_params_present_flag | | irap_cpb_params_present_flag ) {
                    nal_initial_alt_cpb_removal_delay[ i ]                                      u(v)
                    nal_initial_alt_cpb_removal_offset[ i ]                                     u(v)
                }
            }
        }
        if( VclHrdBpPresentFlag ) {
            for( i = 0; i < CpbCnt; i++ ) {
                vcl_initial_cpb_removal_delay[ i ]                                              u(v)
                vcl_initial_cpb_removal_offset[ i ]                                             u(v)
                if( sub_pic_hrd_params_present_flag | | irap_cpb_params_present_flag ) {
                    vcl_initial_alt_cpb_removal_delay[ i ]                                      u(v)
                    vcl_initial_alt_cpb_removal_offset[ i ]                                     u(v)
                }
            }
        }
        if( more_data_in_payload( ) )
            if( payload_extension_present( ) )
                use_alt_cpb_params_flag                                                         u(1)
      }




294        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7           Filed 04/07/25    Page 316 of 717 Page ID #:845


D.2.3    Picture timing SEI message syntax


    pic_timing( payloadSize ) {                                                               Descriptor
       if( frame_field_info_present_flag ) {
           pic_struct                                                                            u(4)
           source_scan_type                                                                      u(2)
           duplicate_flag                                                                        u(1)
       }
       if( CpbDpbDelaysPresentFlag ) {
           au_cpb_removal_delay_minus1                                                           u(v)
           pic_dpb_output_delay                                                                  u(v)
           if( sub_pic_hrd_params_present_flag )
               pic_dpb_output_du_delay                                                           u(v)
           if( sub_pic_hrd_params_present_flag &&
                sub_pic_cpb_params_in_pic_timing_sei_flag ) {
               num_decoding_units_minus1                                                         ue(v)
               du_common_cpb_removal_delay_flag                                                  u(1)
               if( du_common_cpb_removal_delay_flag )
                   du_common_cpb_removal_delay_increment_minus1                                  u(v)
               for( i = 0; i <= num_decoding_units_minus1; i++ ) {
                   num_nalus_in_du_minus1[ i ]                                                   ue(v)
                   if( !du_common_cpb_removal_delay_flag && i < num_decoding_units_minus1 )
                       du_cpb_removal_delay_increment_minus1[ i ]                                u(v)
               }
           }
       }
    }



D.2.4    Pan-scan rectangle SEI message syntax


    pan_scan_rect( payloadSize ) {                                                            Descriptor
      pan_scan_rect_id                                                                          ue(v)
      pan_scan_rect_cancel_flag                                                                  u(1)
      if( !pan_scan_rect_cancel_flag ) {
          pan_scan_cnt_minus1                                                                    ue(v)
          for( i = 0; i <= pan_scan_cnt_minus1; i++ ) {
             pan_scan_rect_left_offset[ i ]                                                      se(v)
             pan_scan_rect_right_offset[ i ]                                                     se(v)
             pan_scan_rect_top_offset[ i ]                                                       se(v)
             pan_scan_rect_bottom_offset[ i ]                                                    se(v)
          }
          pan_scan_rect_persistence_flag                                                         u(1)
      }
    }




                                                                      Rec. ITU-T H.265 v8 (08/2021)        295
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25   Page 317 of 717 Page ID #:846


D.2.5      Filler payload SEI message syntax


      filler_payload( payloadSize ) {                                                     Descriptor
          for( k = 0; k < payloadSize; k++)
             ff_byte /* equal to 0xFF */                                                     f(8)
      }



D.2.6      User data registered by Recommendation ITU-T T.35 SEI message syntax


      user_data_registered_itu_t_t35( payloadSize ) {                                     Descriptor
        itu_t_t35_country_code                                                               b(8)
        if( itu_t_t35_country_code != 0xFF )
            i=1
        else {
            itu_t_t35_country_code_extension_byte                                            b(8)
            i=2
        }
        do {
            itu_t_t35_payload_byte                                                           b(8)
            i++
        } while( i < payloadSize )
      }



D.2.7      User data unregistered SEI message syntax


      user_data_unregistered( payloadSize ) {                                             Descriptor
        uuid_iso_iec_11578                                                                  u(128)
        for( i = 16; i < payloadSize; i++ )
           user_data_payload_byte                                                            b(8)
      }



D.2.8      Recovery point SEI message syntax


      recovery_point( payloadSize ) {                                                     Descriptor
         recovery_poc_cnt                                                                   se(v)
         exact_match_flag                                                                    u(1)
         broken_link_flag                                                                    u(1)
      }




296         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7       Filed 04/07/25   Page 318 of 717 Page ID #:847


D.2.9    Scene information SEI message syntax


    scene_info( payloadSize ) {                                                            Descriptor
       scene_info_present_flag                                                                u(1)
       if( scene_info_present_flag ) {
           prev_scene_id_valid_flag                                                           u(1)
           scene_id                                                                           ue(v)
           scene_transition_type                                                              ue(v)
           if( scene_transition_type > 3 )
               second_scene_id                                                                ue(v)
       }
    }



D.2.10   Picture snapshot SEI message syntax


    picture_snapshot( payloadSize ) {                                                      Descriptor
       snapshot_id                                                                           ue(v)
    }



D.2.11   Progressive refinement segment start SEI message syntax


    progressive_refinement_segment_start( payloadSize ) {                                  Descriptor
      progressive_refinement_id                                                              ue(v)
      pic_order_cnt_delta                                                                    ue(v)
    }



D.2.12   Progressive refinement segment end SEI message syntax


    progressive_refinement_segment_end( payloadSize ) {                                    Descriptor
      progressive_refinement_id                                                              ue(v)
    }




                                                                   Rec. ITU-T H.265 v8 (08/2021)        297
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25              Page 319 of 717 Page ID #:848


D.2.13     Film grain characteristics SEI message syntax


      film_grain_characteristics( payloadSize ) {                                                     Descriptor
         film_grain_characteristics_cancel_flag                                                          u(1)
         if( !film_grain_characteristics_cancel_flag ) {
             film_grain_model_id                                                                         u(2)
             separate_colour_description_present_flag                                                    u(1)
             if( separate_colour_description_present_flag ) {
                 film_grain_bit_depth_luma_minus8                                                        u(3)
                 film_grain_bit_depth_chroma_minus8                                                      u(3)
                 film_grain_full_range_flag                                                              u(1)
                 film_grain_colour_primaries                                                             u(8)
                 film_grain_transfer_characteristics                                                     u(8)
                 film_grain_matrix_coeffs                                                                u(8)
             }
             blending_mode_id                                                                            u(2)
             log2_scale_factor                                                                           u(4)
             for( c = 0; c < 3; c++ )
                 comp_model_present_flag[ c ]                                                            u(1)
             for( c = 0; c < 3; c++ )
                 if( comp_model_present_flag[ c ] ) {
                     num_intensity_intervals_minus1[ c ]                                                 u(8)
                     num_model_values_minus1[ c ]                                                        u(3)
                     for( i = 0; i <= num_intensity_intervals_minus1[ c ]; i++ ) {
                        intensity_interval_lower_bound[ c ][ i ]                                         u(8)
                        intensity_interval_upper_bound[ c ][ i ]                                         u(8)
                        for( j = 0; j <= num_model_values_minus1[ c ]; j++ )
                            comp_model_value[ c ][ i ][ j ]                                              se(v)
                     }
                 }
             film_grain_characteristics_persistence_flag                                                 u(1)
         }
      }



D.2.14     Post-filter hint SEI message syntax


      post_filter_hint( payloadSize ) {                                                               Descriptor
        filter_hint_size_y                                                                              ue(v)
        filter_hint_size_x                                                                              ue(v)
        filter_hint_type                                                                                 u(2)
        for( cIdx = 0; cIdx < ( chroma_format_idc = = 0 ? 1 : 3 ); cIdx++ )
            for( cy = 0; cy < filter_hint_size_y; cy++ )
               for( cx = 0; cx < filter_hint_size_x; cx++ )
                  filter_hint_value[ cIdx ][ cy ][ cx ]                                                  se(v)
      }




298         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7           Filed 04/07/25   Page 320 of 717 Page ID #:849


D.2.15   Tone mapping information SEI message syntax


    tone_mapping_info( payloadSize ) {                                                       Descriptor
       tone_map_id                                                                             ue(v)
       tone_map_cancel_flag                                                                     u(1)
       if( !tone_map_cancel_flag ) {
           tone_map_persistence_flag                                                            u(1)
           coded_data_bit_depth                                                                 u(8)
           target_bit_depth                                                                     u(8)
           tone_map_model_id                                                                    ue(v)
           if( tone_map_model_id = = 0 ) {
               min_value                                                                       u(32)
               max_value                                                                       u(32)
           } else if( tone_map_model_id = = 1 ) {
               sigmoid_midpoint                                                                u(32)
               sigmoid_width                                                                   u(32)
           } else if( tone_map_model_id = = 2 )
               for( i = 0; i < ( 1 << target_bit_depth ); i++ )
                   start_of_coded_interval[ i ]                                                 u(v)
           else if( tone_map_model_id = = 3 ) {
               num_pivots                                                                      u(16)
               for( i = 0; i < num_pivots; i++ ) {
                   coded_pivot_value[ i ]                                                       u(v)
                   target_pivot_value[ i ]                                                      u(v)
               }
           } else if( tone_map_model_id = = 4 ) {
               camera_iso_speed_idc                                                             u(8)
               if( camera_iso_speed_idc = = EXTENDED_ISO )
                   camera_iso_speed_value                                                      u(32)
               exposure_idx_idc                                                                 u(8)
               if( exposure_idx_idc = = EXTENDED_ISO )
                   exposure_idx_value                                                          u(32)
               exposure_compensation_value_sign_flag                                            u(1)
               exposure_compensation_value_numerator                                           u(16)
               exposure_compensation_value_denom_idc                                           u(16)
               ref_screen_luminance_white                                                      u(32)
               extended_range_white_level                                                      u(32)
               nominal_black_level_code_value                                                  u(16)
               nominal_white_level_code_value                                                  u(16)
               extended_white_level_code_value                                                 u(16)
           }
       }
    }




                                                                     Rec. ITU-T H.265 v8 (08/2021)        299
Case 2:25-cv-03053             Document 1-7          Filed 04/07/25        Page 321 of 717 Page ID #:850


D.2.16     Frame packing arrangement SEI message syntax


      frame_packing_arrangement( payloadSize ) {                                                      Descriptor
         frame_packing_arrangement_id                                                                   ue(v)
         frame_packing_arrangement_cancel_flag                                                           u(1)
         if( !frame_packing_arrangement_cancel_flag ) {
             frame_packing_arrangement_type                                                              u(7)
             quincunx_sampling_flag                                                                      u(1)
             content_interpretation_type                                                                 u(6)
             spatial_flipping_flag                                                                       u(1)
             frame0_flipped_flag                                                                         u(1)
             field_views_flag                                                                            u(1)
             current_frame_is_frame0_flag                                                                u(1)
             frame0_self_contained_flag                                                                  u(1)
             frame1_self_contained_flag                                                                  u(1)
             if( !quincunx_sampling_flag && frame_packing_arrangement_type != 5 ) {
                 frame0_grid_position_x                                                                  u(4)
                 frame0_grid_position_y                                                                  u(4)
                 frame1_grid_position_x                                                                  u(4)
                 frame1_grid_position_y                                                                  u(4)
             }
             frame_packing_arrangement_reserved_byte                                                     u(8)
             frame_packing_arrangement_persistence_flag                                                  u(1)
         }
         upsampled_aspect_ratio_flag                                                                     u(1)
      }



D.2.17     Display orientation SEI message syntax


      display_orientation( payloadSize ) {                                                            Descriptor
         display_orientation_cancel_flag                                                                 u(1)
         if( !display_orientation_cancel_flag ) {
             hor_flip                                                                                     u(1)
             ver_flip                                                                                     u(1)
             anticlockwise_rotation                                                                      u(16)
             display_orientation_persistence_flag                                                         u(1)
         }
      }



D.2.18 Green metadata SEI message syntax
The syntax for green metadata SEI message is specified in ISO/IEC 23001-11 (Green metadata). Green metadata facilitates
reduced power consumption in decoders, encoders, displays and in media selection.




300        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7           Filed 04/07/25          Page 322 of 717 Page ID #:851


D.2.19   Structure of pictures information SEI message syntax


    structure_of_pictures_info( payloadSize ) {                                                     Descriptor
       sop_seq_parameter_set_id                                                                       ue(v)
       num_entries_in_sop_minus1                                                                      ue(v)
       for( i = 0; i <= num_entries_in_sop_minus1; i++ ) {
          sop_vcl_nut[ i ]                                                                             u(6)
          sop_temporal_id[ i ]                                                                         u(3)
          if( sop_vcl_nut[ i ] != IDR_W_RADL && sop_vcl_nut[ i ] != IDR_N_LP )
              sop_short_term_rps_idx[ i ]                                                              ue(v)
          if( i > 0 )
              sop_poc_delta[ i ]                                                                       se(v)
       }
    }



D.2.20   Decoded picture hash SEI message syntax


    decoded_picture_hash( payloadSize ) {                                                           Descriptor
      hash_type                                                                                        u(8)
      for( cIdx = 0; cIdx < ( chroma_format_idc = = 0 ? 1 : 3 ); cIdx++ )
         if( hash_type = = 0 )
             for( i = 0; i < 16; i++)
                picture_md5[ cIdx ][ i ]                                                               b(8)
         else if( hash_type = = 1 )
             picture_crc[ cIdx ]                                                                      u(16)
         else if( hash_type = = 2 )
             picture_checksum[ cIdx ]                                                                 u(32)
    }



D.2.21   Active parameter sets SEI message syntax


    active_parameter_sets( payloadSize ) {                                                          Descriptor
       active_video_parameter_set_id                                                                   u(4)
       self_contained_cvs_flag                                                                         u(1)
       no_parameter_set_update_flag                                                                    u(1)
       num_sps_ids_minus1                                                                             ue(v)
       for( i = 0; i <= num_sps_ids_minus1; i++ )
          active_seq_parameter_set_id[ i ]                                                             ue(v)
       for( i = vps_base_layer_internal_flag; i <= MaxLayersMinus1; i++ )
          layer_sps_idx[ i ]                                                                           ue(v)
    }




                                                                            Rec. ITU-T H.265 v8 (08/2021)        301
Case 2:25-cv-03053             Document 1-7          Filed 04/07/25           Page 323 of 717 Page ID #:852


D.2.22     Decoding unit information SEI message syntax


      decoding_unit_info( payloadSize ) {                                                      Descriptor
        decoding_unit_idx                                                                        ue(v)
        if( !sub_pic_cpb_params_in_pic_timing_sei_flag )
            du_spt_cpb_removal_delay_increment                                                    u(v)
        dpb_output_du_delay_present_flag                                                          u(1)
        if( dpb_output_du_delay_present_flag )
            pic_spt_dpb_output_du_delay                                                           u(v)
      }



D.2.23     Temporal sub-layer zero index SEI message syntax


      temporal_sub_layer_zero_idx( payloadSize ) {                                             Descriptor
        temporal_sub_layer_zero_idx                                                               u(8)
        irap_pic_id                                                                               u(8)
      }



D.2.24     Scalable nesting SEI message syntax


      scalable_nesting( payloadSize ) {                                                        Descriptor
         bitstream_subset_flag                                                                    u(1)
         nesting_op_flag                                                                          u(1)
         if( nesting_op_flag ) {
             default_op_flag                                                                     u(1)
             nesting_num_ops_minus1                                                              ue(v)
             for( i = default_op_flag; i <= nesting_num_ops_minus1; i++ ) {
                 nesting_max_temporal_id_plus1[ i ]                                              u(3)
                 nesting_op_idx[ i ]                                                             ue(v)
             }
         } else {
             all_layers_flag                                                                      u(1)
             if( !all_layers_flag ) {
                 nesting_no_op_max_temporal_id_plus1                                             u(3)
                 nesting_num_layers_minus1                                                       ue(v)
                 for( i = 0; i <= nesting_num_layers_minus1; i++ )
                   nesting_layer_id[ i ]                                                          u(6)
             }
         }
         while( !byte_aligned( ) )
             nesting_zero_bit /* equal to 0 */                                                    u(1)
         do
             sei_message( )
         while( more_rbsp_data( ) )
      }




302        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7               Filed 04/07/25   Page 324 of 717 Page ID #:853


D.2.25    Region refresh information SEI message syntax


    region_refresh_info( payloadSize ) {                                                              Descriptor
       refreshed_region_flag                                                                             u(1)
    }



D.2.26    No display SEI message syntax


    no_display( payloadSize ) {                                                                       Descriptor
    }



D.2.27    Time code SEI message syntax


    time_code( payloadSize ) {                                                                        Descriptor
       num_clock_ts                                                                                      u(2)
       for( i = 0; i < num_clock_ts; i++ ) {
          clock_timestamp_flag[ i ]                                                                      u(1)
          if( clock_timestamp_flag[ i ] ) {
              units_field_based_flag[ i ]                                                                u(1)
              counting_type[ i ]                                                                         u(5)
              full_timestamp_flag[ i ]                                                                   u(1)
              discontinuity_flag[ i ]                                                                    u(1)
              cnt_dropped_flag[ i ]                                                                      u(1)
              n_frames[ i ]                                                                              u(9)
              if( full_timestamp_flag[ i ] ) {
                  seconds_value[ i ] /* 0..59 */                                                         u(6)
                  minutes_value[ i ] /* 0..59 */                                                         u(6)
                  hours_value[ i ] /* 0..23 */                                                           u(5)
              } else {
                  seconds_flag[ i ]                                                                      u(1)
                  if( seconds_flag[ i ] ) {
                      seconds_value[ i ] /* 0..59 */                                                     u(6)
                      minutes_flag[ i ]                                                                  u(1)
                      if( minutes_flag[ i ] ) {
                          minutes_value[ i ] /* 0..59 */                                                 u(6)
                          hours_flag[ i ]                                                                u(1)
                          if( hours_flag[ i ] )
                              hours_value[ i ] /* 0..23 */                                               u(5)
                      }
                  }
              }
              time_offset_length[ i ]                                                                    u(5)
              if( time_offset_length[ i ] > 0 )
                  time_offset_value[ i ]                                                                 i(v)
          }
       }
    }


                                                                              Rec. ITU-T H.265 v8 (08/2021)        303
Case 2:25-cv-03053            Document 1-7         Filed 04/07/25   Page 325 of 717 Page ID #:854




D.2.28    Mastering display colour volume SEI message syntax


      mastering_display_colour_volume( payloadSize ) {                               Descriptor
        for( c = 0; c < 3; c++ ) {
           display_primaries_x[ c ]                                                    u(16)
           display_primaries_y[ c ]                                                    u(16)
        }
        white_point_x                                                                  u(16)
        white_point_y                                                                  u(16)
        max_display_mastering_luminance                                                u(32)
        min_display_mastering_luminance                                                u(32)
      }



D.2.29    Segmented rectangular frame packing arrangement SEI message syntax


      segmented_rect_frame_packing_arrangement( payloadSize ) {                      Descriptor
        segmented_rect_frame_packing_arrangement_cancel_flag                            u(1)
        if( !segmented_rect_frame_packing_arrangement_cancel_flag ) {
            segmented_rect_content_interpretation_type                                  u(2)
            segmented_rect_frame_packing_arrangement_persistence_flag                   u(1)
        }
      }




304        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7            Filed 04/07/25        Page 326 of 717 Page ID #:855


D.2.30   Temporal motion-constrained tile sets SEI message syntax


    temporal_motion_constrained_tile_sets( payloadSize ) {                                          Descriptor
      mc_all_tiles_exact_sample_value_match_flag                                                       u(1)
      each_tile_one_tile_set_flag                                                                      u(1)
      if( !each_tile_one_tile_set_flag ) {
          limited_tile_set_display_flag                                                                u(1)
          num_sets_in_message_minus1                                                                   ue(v)
          for( i = 0; i <= num_sets_in_message_minus1; i++ ) {
              mcts_id[ i ]                                                                             ue(v)
              if( limited_tile_set_display_flag )
                  display_tile_set_flag[ i ]                                                           u(1)
              num_tile_rects_in_set_minus1[ i ]                                                        ue(v)
              for( j = 0; j <= num_tile_rects_in_set_minus1[ i ]; j++ ) {
                  top_left_tile_idx[ i ][ j ]                                                          ue(v)
                  bottom_right_tile_idx[ i ][ j ]                                                      ue(v)
              }
              if( !mc_all_tiles_exact_sample_value_match_flag )
                  mc_exact_sample_value_match_flag[ i ]                                                u(1)
              mcts_tier_level_idc_present_flag[ i ]                                                    u(1)
              if( mcts_tier_level_idc_present_flag[ i ] ) {
                  mcts_tier_flag[ i ]                                                                  u(1)
                  mcts_level_idc[ i ]                                                                  u(8)
              }
          }
      } else {
          max_mcs_tier_level_idc_present_flag                                                          u(1)
          if( mcts_max_tier_level_idc_present_flag ) {
              mcts_max_tier_flag                                                                       u(1)
              mcts_max_level_idc                                                                       u(8)
          }
      }
    }




                                                                            Rec. ITU-T H.265 v8 (08/2021)        305
Case 2:25-cv-03053             Document 1-7          Filed 04/07/25       Page 327 of 717 Page ID #:856


D.2.31     Chroma resampling filter hint SEI message syntax


      chroma_resampling_filter_hint( payloadSize ) {                                       Descriptor
        ver_chroma_filter_idc                                                                 u(8)
        hor_chroma_filter_idc                                                                 u(8)
        ver_filtering_field_processing_flag                                                   u(1)
        if( ver_chroma_filter_idc = = 1 | | hor_chroma_filter_idc = = 1 ) {
            target_format_idc                                                                ue(v)
            if( ver_chroma_filter_idc = = 1 ) {
                num_vertical_filters                                                         ue(v)
                for( i = 0; i < num_vertical_filters; i++ ) {
                   ver_tap_length_minus1[ i ]                                                ue(v)
                   for( j = 0; j <= ver_tap_length_minus1[ i ]; j++ )
                       ver_filter_coeff[ i ][ j ]                                             se(v)
                }
            }
            if( hor_chroma_filter_idc = = 1 ) {
                num_horizontal_filters                                                       ue(v)
                for( i = 0; i < num_horizontal_filters; i++ ) {
                   hor_tap_length_minus1[ i ]                                                ue(v)
                   for( j = 0; j <= hor_tap_length_minus1[ i ]; j++ )
                       hor_filter_coeff[ i ][ j ]                                             se(v)
                }
            }
        }
      }



D.2.32     Knee function information SEI message syntax


      knee_function_info( payloadSize ) {                                                  Descriptor
        knee_function_id                                                                     ue(v)
        knee_function_cancel_flag                                                             u(1)
        if( !knee_function_cancel_flag ) {
            knee_function_persistence_flag                                                    u(1)
            input_d_range                                                                    u(32)
            input_disp_luminance                                                             u(32)
            output_d_range                                                                   u(32)
            output_disp_luminance                                                            u(32)
            num_knee_points_minus1                                                           ue(v)
            for( i = 0; i <= num_knee_points_minus1; i++ ) {
               input_knee_point[ i ]                                                         u(10)
               output_knee_point[ i ]                                                        u(10)
            }
        }
      }




306        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7            Filed 04/07/25       Page 328 of 717 Page ID #:857


D.2.33   Colour remapping information SEI message syntax


    colour_remapping_info( payloadSize ) {                                                         Descriptor
      colour_remap_id                                                                                ue(v)
      colour_remap_cancel_flag                                                                        u(1)
      if( !colour_remap_cancel_flag ) {
          colour_remap_persistence_flag                                                               u(1)
          colour_remap_video_signal_info_present_flag                                                 u(1)
          if( colour_remap_video_signal_info_present_flag ) {
              colour_remap_full_range_flag                                                            u(1)
              colour_remap_primaries                                                                  u(8)
              colour_remap_transfer_function                                                          u(8)
              colour_remap_matrix_coefficients                                                        u(8)
          }
          colour_remap_input_bit_depth                                                                u(8)
          colour_remap_output_bit_depth                                                               u(8)
          for( c = 0; c < 3; c++ ) {
              pre_lut_num_val_minus1[ c ]                                                             u(8)
              if( pre_lut_num_val_minus1[ c ] > 0 )
                  for( i = 0; i <= pre_lut_num_val_minus1[ c ]; i++ ) {
                     pre_lut_coded_value[ c ][ i ]                                                    u(v)
                     pre_lut_target_value[ c ][ i ]                                                   u(v)
                  }
          }
          colour_remap_matrix_present_flag                                                            u(1)
          if( colour_remap_matrix_present_flag ) {
              log2_matrix_denom                                                                       u(4)
              for( c = 0; c < 3; c++ )
                  for( i = 0; i < 3; i++ )
                     colour_remap_coeffs[ c ][ i ]                                                    se(v)
          }
          for( c = 0; c < 3; c++ ) {
              post_lut_num_val_minus1[ c ]                                                            u(8)
              if( post_lut_num_val_minus1[ c ] > 0 )
                  for( i = 0; i <= post_lut_num_val_minus1[ c ]; i++ ) {
                     post_lut_coded_value[ c ][ i ]                                                   u(v)
                     post_lut_target_value[ c ][ i ]                                                  u(v)
                  }
          }
      }
    }




                                                                           Rec. ITU-T H.265 v8 (08/2021)        307
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25   Page 329 of 717 Page ID #:858


D.2.34      Deinterlaced field identification SEI message syntax


      deinterlaced_field_indentification( payloadSize ) {                                 Descriptor
        deinterlaced_picture_source_parity_flag                                              u(1)
      }



D.2.35 Content light level information SEI message syntax


      content_light_level_info( payloadSize ) {                                           Descriptor
        max_content_light_level                                                             u(16)
        max_pic_average_light_level                                                         u(16)
      }



D.2.36 Dependent random access point indication SEI message syntax


      dependent_rap_indication( payloadSize ) {                                           Descriptor
      }



D.2.37 Coded region completion SEI message syntax


      coded_region_completion( payloadSize ) {                                            Descriptor
          next_segment_address                                                              ue(v)
          if( next_segment_address > 0 )
            independent_slice_segment_flag                                                   u(1)
      }



D.2.38 Alternative transfer characteristics information SEI message syntax


      alternative_transfer_characteristics ( payloadSize ) {                              Descriptor
         preferred_transfer_characteristics                                                  u(8)
      }



D.2.39 Ambient viewing environment SEI message syntax


      ambient_viewing_environment( payloadSize ) {                                        Descriptor
        ambient_illuminance                                                                 u(32)
        ambient_light_x                                                                     u(16)
        ambient_light_y                                                                     u(16)
      }




308          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7         Filed 04/07/25   Page 330 of 717 Page ID #:859


D.2.40 Content colour volume SEI message syntax


    content_colour_volume( payloadSize ) {                                                 Descriptor
      ccv_cancel_flag                                                                         u(1)
      if( !ccv_cancel_flag ) {
          ccv_persistence_flag                                                                u(1)
          ccv_primaries_present_flag                                                          u(1)
          ccv_min_luminance_value_present_flag                                                u(1)
          ccv_max_luminance_value_present_flag                                                u(1)
          ccv_avg_luminance_value_present_flag                                                u(1)
          ccv_reserved_zero_2bits                                                             u(2)
          if( ccv_primaries_present_flag )
              for( c = 0; c < 3; c++ ) {
                 ccv_primaries_x[ c ]                                                         i(32)
                 ccv_primaries_y[ c ]                                                         i(32)
              }
          if( ccv_min_luminance_value_present_flag )
              ccv_min_luminance_value                                                        u(32)
          if( ccv_max_luminance_value_present_flag )
              ccv_max_luminance_value                                                        u(32)
          if( ccv_avg_luminance_value_present_flag )
              ccv_avg_luminance_value                                                        u(32)
      }
    }



D.2.41 Syntax of omnidirectional video specific SEI messages

D.2.41.1 Equirectangular projection SEI message syntax


    equirectangular_projection( payloadSize ) {                                            Descriptor
      erp_cancel_flag                                                                         u(1)
      if( !erp_cancel_flag ) {
          erp_persistence_flag                                                                u(1)
          erp_guard_band_flag                                                                 u(1)
          erp_reserved_zero_2bits                                                             u(2)
          if( erp_guard_band_flag = = 1 ) {
              erp_guard_band_type                                                             u(3)
              erp_left_guard_band_width                                                       u(8)
              erp_right_guard_band_width                                                      u(8)
          }
      }
    }




                                                                   Rec. ITU-T H.265 v8 (08/2021)        309
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25      Page 331 of 717 Page ID #:860


D.2.41.2 Cubemap projection SEI message syntax


      cubemap_projection( payloadSize ) {                                                    Descriptor
        cmp_cancel_flag                                                                         u(1)
        if( !cmp_cancel_flag )
            cmp_persistence_flag                                                                u(1)
      }



D.2.41.3 Fisheye video information SEI message syntax


      fisheye_video_info( payloadSize ) {                                                    Descriptor
         fisheye_cancel_flag                                                                    u(1)
         if( !fisheye_cancel_flag ) {
             fisheye_persistence_flag                                                           u(1)
             fisheye_view_dimension_idc                                                         u(3)
             fisheye_reserved_zero_3bits                                                        u(3)
             fisheye_num_active_areas_minus1                                                    u(8)
             for( i = 0; i <= fisheye_num_active_areas_minus1; i++ ) {
                fisheye_circular_region_centre_x[ i ]                                          u(32)
                fisheye_circular_region_centre_y[ i ]                                          u(32)
                fisheye_rect_region_top[ i ]                                                   u(32)
                fisheye_rect_region_left[ i ]                                                  u(32)
                fisheye_rect_region_width[ i ]                                                 u(32)
                fisheye_rect_region_height[ i ]                                                u(32)
                fisheye_circular_region_radius[ i ]                                            u(32)
                fisheye_scene_radius[ i ]                                                      u(32)
                fisheye_camera_centre_azimuth[ i ]                                             i(32)
                fisheye_camera_centre_elevation[ i ]                                           i(32)
                fisheye_camera_centre_tilt[ i ]                                                i(32)
                fisheye_camera_centre_offset_x[ i ]                                            u(32)
                fisheye_camera_centre_offset_y[ i ]                                            u(32)
                fisheye_camera_centre_offset_z[ i ]                                            u(32)
                fisheye_field_of_view[ i ]                                                     u(32)
                fisheye_num_polynomial_coeffs[ i ]                                             u(16)
                for( j = 0; j < fisheye_num_polynomial_coeffs[ i ]; j++ )
                  fisheye_polynomial_coeff[ i ][ j ]                                            i(32)
             }
         }
      }




310         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053          Document 1-7        Filed 04/07/25   Page 332 of 717 Page ID #:861


D.2.41.4 Sphere rotation SEI message syntax


    sphere_rotation( payloadSize ) {                                                     Descriptor
      sphere_rotation_cancel_flag                                                           u(1)
      if( !sphere_rotation_cancel_flag ) {
          sphere_rotation_persistence_flag                                                  u(1)
          sphere_rotation_reserved_zero_6bits                                               u(6)
          yaw_rotation                                                                      i(32)
          pitch_rotation                                                                    i(32)
          roll_rotation                                                                     i(32)
      }
    }




                                                                 Rec. ITU-T H.265 v8 (08/2021)        311
Case 2:25-cv-03053            Document 1-7         Filed 04/07/25   Page 333 of 717 Page ID #:862


D.2.41.5 Region-wise packing SEI message syntax


      regionwise_packing( payloadSize ) {                                            Descriptor
         rwp_cancel_flag                                                                u(1)
         if( !rwp_cancel_flag ) {
             rwp_persistence_flag                                                       u(1)
             constituent_picture_matching_flag                                          u(1)
             rwp_reserved_zero_5bits                                                    u(5)
             num_packed_regions                                                         u(8)
             proj_picture_width                                                        u(32)
             proj_picture_height                                                       u(32)
             packed_picture_width                                                      u(16)
             packed_picture_height                                                     u(16)
             for( i = 0; i < num_packed_regions; i++ ) {
                rwp_reserved_zero_4bits[ i ]                                            u(4)
                rwp_transform_type[ i ]                                                 u(3)
                rwp_guard_band_flag[ i ]                                                u(1)
                proj_region_width[ i ]                                                 u(32)
                proj_region_height[ i ]                                                u(32)
                proj_region_top[ i ]                                                   u(32)
                proj_region_left[ i ]                                                  u(32)
                packed_region_width[ i ]                                               u(16)
                packed_region_height[ i ]                                              u(16)
                packed_region_top[ i ]                                                 u(16)
                packed_region_left[ i ]                                                u(16)
                if( rwp_guard_band_flag[ i ] ) {
                    rwp_left_guard_band_width[ i ]                                      u(8)
                    rwp_right_guard_band_width[ i ]                                     u(8)
                    rwp_top_guard_band_height[ i ]                                      u(8)
                    rwp_bottom_guard_band_height[ i ]                                   u(8)
                    rwp_guard_band_not_used_for_pred_flag[ i ]                          u(1)
                    for( j = 0; j < 4; j++ )
                       rwp_guard_band_type[ i ][ j ]                                    u(3)
                    rwp_guard_band_reserved_zero_3bits[ i ]                             u(3)
                }
             }
         }
      }




312        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7          Filed 04/07/25       Page 334 of 717 Page ID #:863


D.2.41.6 Omnidirectional viewport SEI message syntax

    omni_viewport( payloadSize ) {                                                             Descriptor
      omni_viewport_id                                                                           u(10)
      omni_viewport_cancel_flag                                                                   u(1)
      if( !omni_viewport_cancel_flag ) {
          omni_viewport_persistence_flag                                                          u(1)
          omni_viewport_cnt_minus1                                                                u(4)
          for( i = 0; i <= omni_viewport_cnt_minus1; i++ ) {
             omni_viewport_azimuth_centre[ i ]                                                   i(32)
             omni_viewport_elevation_centre[ i ]                                                 i(32)
             omni_viewport_tilt_centre[ i ]                                                      i(32)
             omni_viewport_hor_range[ i ]                                                        u(32)
             omni_viewport_ver_range[ i ]                                                        u(32)
          }
      }
    }



D.2.42 Regional nesting SEI message syntax


    regional_nesting( payloadSize ) {                                                          Descriptor
       regional_nesting_id                                                                       u(16)
       regional_nesting_num_rect_regions                                                          u(8)
       for( i = 0; i < regional_nesting_num_rect_regions; i++ ) {
          regional_nesting_rect_region_id[ i ]                                                    u(8)
          regional_nesting_rect_left_offset[ i ]                                                 u(16)
          regional_nesting_rect_right_offset[ i ]                                                u(16)
          regional_nesting_rect_top_offset[ i ]                                                  u(16)
          regional_nesting_rect_bottom_offset[ i ]                                               u(16)
       }
       num_sei_messages_in_regional_nesting_minus1                                                u(8)
       for( i = 0; i <= num_sei_messages_in_regional_nesting_minus1; i++ ) {
          num_regions_for_sei_message[ i ]                                                        u(8)
          for(j = 0; j < num_regions_for_sei_message[ i ]; j++ )
              regional_nesting_sei_region_idx[ i ][ j ]                                           u(8)
          sei_message( )
       }
    }




                                                                       Rec. ITU-T H.265 v8 (08/2021)        313
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25      Page 335 of 717 Page ID #:864


D.2.43 Motion-constrained tile sets extraction information sets SEI message syntax


      mcts_extraction_info_sets( payloadSize ) {                                           Descriptor
        num_info_sets_minus1                                                                 ue(v)
        for( i = 0; i <= num_info_sets_minus1; i++ ) {
           num_mcts_sets_minus1[ i ]                                                         ue(v)
           for( j = 0; j <= num_mcts_sets_minus1[ i ]; j++ ) {
               num_mcts_in_set_minus1[ i ][ j ]                                              ue(v)
               for( k = 0; k <= num_mcts_in_set_minus1[ i ][ j ]; k++ )
                  idx_of_mcts_in_set[ i ][ j ][ k ]                                          ue(v)
           }
           slice_reordering_enabled_flag[ i ]                                                 u(1)
           if( slice_reordering_enabled_flag[ i ] ) {
               num_slice_segments_minus1[ i ]                                                ue(v)
               for( j = 0; j <= num_slice_segments_minus1[ i ]; j++ )
                  output_slice_segment_address[ i ][ j ]                                      u(v)
           }
           num_vps_in_info_set_minus1[ i ]                                                   ue(v)
           for( j = 0; j <= num_vps_in_info_set_minus1[ i ]; j++ )
               vps_rbsp_data_length[ i ][ j ]                                                ue(v)
           num_sps_in_info_set_minus1[ i ]                                                   ue(v)
           for( j = 0; j <= num_sps_in_info_set_minus1[ i ]; j++ )
               sps_rbsp_data_length[ i ][ j ]                                                ue(v)
           num_pps_in_info_set_minus1[ i ]                                                   ue(v)
           for( j = 0; j <= num_pps_in_info_set_minus1[ i ]; j++ ) {
               pps_nuh_temporal_id_plus1[ i ][ j ]                                           u(3)
               pps_rbsp_data_length[ i ][ j ]                                                ue(v)
           }
           while( !byte_aligned( ) )
               mcts_alignment_bit_equal_to_zero                                               f(1)
           for( j = 0; j <= num_vps_in_info_set_minus1[ i ]; j++ )
               for( k = 0; k < vps_rbsp_data_length[ i ][ j ]; k++ )
                  vps_rbsp_data_byte[ i ][ j ][ k ]                                           u(8)
           for( j = 0; j <= num_sps_in_info_set_minus1[ i ]; j++ )
               for( k = 0; k < sps_rbsp_data_length[ i ][ j ]; k++ )
                  sps_rbsp_data_byte[ i ][ j ][ k ]                                           u(8)
           for( j = 0; j <= num_pps_in_info_set_minus1[ i ]; j++ )
               for( k = 0; k < pps_rbsp_data_length[ i ][ j ]; k++ )
                  pps_rbsp_data_byte[ i ][ j ][ k ]                                           u(8)
        }
      }




314        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7           Filed 04/07/25            Page 336 of 717 Page ID #:865


D.2.44 Motion-constrained tile sets extraction information nesting SEI message syntax


    mcts_extraction_info_nesting( payloadSize ) {                                                     Descriptor
      all_mcts_flag                                                                                      u(1)
      if( !all_mcts_flag ) {
          num_associated_mcts_minus1                                                                     ue(v)
          for( i = 0; i <= num_associated_mcts_minus1; i++ )
             idx_of_associated_mcts[ i ]                                                                 ue(v)
      }
      num_sei_messages_in_mcts_extraction_nesting_minus1                                                 ue(v)
      while( !byte_aligned( ) )
          mcts_nesting_zero_bit /* equal to 0 */                                                         u(1)
      for( i = 0; i <= num_sei_messages_in_mcts_extraction_nesting_minus1; i++ )
          sei_message( )
    }



D.2.45   SEI manifest SEI message syntax


    sei_manifest( payloadSize ) {                                                                     Descriptor
       manifest_num_sei_msg_types                                                                       u(16)
       for( i = 0; i < manifest_num_sei_msg_types; i++ ) {
          manifest_sei_payload_type[ i ]                                                                u(16)
          manifest_sei_description[ i ]                                                                  u(8)
       }
    }



D.2.46   SEI prefix indication SEI message syntax


    sei_prefix_indication( payloadSize ) {                                                            Descriptor
       prefix_sei_payload_type                                                                          u(16)
       num_sei_prefix_indications_minus1                                                                 u(8)
       for( i = 0; i <= num_sei_prefix_indications_minus1; i++ ) {
          num_bits_in_prefix_indication_minus1[ i ]                                                     u(16)
          for( j = 0; j <= num_bits_in_prefix_indication_minus1[ i ]; j++ )
              sei_prefix_data_bit[ i ][ j ]                                                              u(1)
          while( !byte_aligned( ) )
              byte_alignment_bit_equal_to_one /* equal to 1 */                                           f(1)
       }
    }




                                                                              Rec. ITU-T H.265 v8 (08/2021)        315
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25        Page 337 of 717 Page ID #:866


D.2.47     Annotated regions SEI message syntax


      annotated_regions( payloadSize ) {                                                             Descriptor
        ar_cancel_flag                                                                                  u(1)
        if(!ar_cancel_flag) {
           ar_not_optimized_for_viewing_flag                                                            u(1)
           ar_true_motion_flag                                                                          u(1)
           ar_occluded_object_flag                                                                      u(1)
           ar_partial_object_flag_present_flag                                                          u(1)
           ar_object_label_present_flag                                                                 u(1)
           ar_object_confidence_info_present_flag                                                       u(1)
           if( ar_object_confidence_info_present_flag )
               ar_object_confidence_length_minus1                                                       u(4)
           if( ar_object_label_present_flag ) {
               ar_object_label_language_present_flag                                                    u(1)
               if( ar_object_label_language_present_flag ) {
                   while( !byte_aligned( ) )
                       ar_bit_equal_to_zero /* equal to 0 */                                           f(1)
                   ar_object_label_language                                                            st(v)
               }
               ar_num_label_updates                                                                    ue(v)
               for( i = 0; i < ar_num_label_updates; i++ ) {
                   ar_label_idx[ i ]                                                                   ue(v)
                   ar_label_cancel_flag                                                                u(1)
                   LabelAssigned[ ar_label_idx[ i ] ] = !ar_label_cancel_flag
                   if( !ar_label_cancel_flag ) {
                       while( !byte_aligned( ) )
                           ar_bit_equal_to_zero /* equal to 0 */                                       f(1)
                       ar_label[ ar_label_idx[ i ] ]                                                   st(v)
                   }
               }
           }
           ar_num_object_updates                                                                       ue(v)
           for( i = 0; i < ar_num_object_updates; i++ ) {
               ar_object_idx[ i ]                                                                      ue(v)
               ar_object_cancel_flag                                                                   u(1)
               ObjectTracked[ ar_object_idx[ i ] ] = !ar_object_cancel_flag
               if( !ar_object_cancel_flag ) {
                   if( ar_object_label_present_flag ) {
                       ar_object_label_update_flag                                                      u(1)
                       if( ar_object_label_update_flag )
                           ar_object_label_idx[ ar_object_idx[ i ] ]                                   ue(v)
                   }
                   ar_bounding_box_update_flag                                                          u(1)
                   if( ar_bounding_box_update_flag ) {
                       ar_bounding_box_cancel_flag                                                      u(1)
                       ObjectBoundingBoxAvail[ ar_object_idx[ i ] ] = !ar_bounding_box_cancel_flag




316        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                     Document 1-7            Filed 04/07/25    Page 338 of 717 Page ID #:867


                          if( !ar_bounding_box_cancel_flag ) {
                              ar_bounding_box_top[ ar_object_idx[ i ] ]                                    u(16)
                              ar_bounding_box_left[ ar_object_idx[ i ] ]                                   u(16)
                              ar_bounding_box_width[ ar_object_idx[ i ] ]                                  u(16)
                              ar_bounding_box_height[ ar_object_idx[ i ] ]                                 u(16)
                              if( ar_partial_object_flag_present_flag )
                                  ar_partial_object_flag[ ar_object_idx[ i ] ]                              u(1)
                              if( ar_object_confidence_info_present_flag )
                                  ar_object_confidence[ ar_object_idx[ i ] ]                                u(v)
                          }
                      }
                  }
              }
          }
      }



D.2.48        Shutter interval information SEI message syntax


      shutter_interval_info( payloadSize ) {                                                             Descriptor
        sii_time_scale                                                                                     u(32)
        fixed_shutter_interval_within_clvs_flag                                                             u(1)
        if( fixed_shutter_interval_within_clvs_flag )
            sii_num_units_in_shutter_interval                                                              u(32)
        else {
            sii_max_sub_layers_minus1                                                                       u(3)
            for( i = 0; i <= sii_max_sub_layers_minus1; i++ )
               sub_layer_num_units_in_shutter_interval[ i ]                                                u(32)
        }
      }



D.2.49        Reserved SEI message syntax


      reserved_sei_message( payloadSize ) {                                                              Descriptor
         for( i = 0; i < payloadSize; i++ )
            reserved_sei_message_payload_byte                                                               b(8)
      }



D.3           SEI payload semantics
D.3.1         General SEI payload semantics
reserved_payload_extension_data shall not be present in bitstreams conforming to this version of this Specification.
However, decoders conforming to this version of this Specification shall ignore the presence and value of
reserved_payload_extension_data. When present, the length, in bits, of reserved_payload_extension_data is equal to
8 * payloadSize − nEarlierBits − nPayloadZeroBits − 1, where nEarlierBits is the number of bits in the sei_payload( )
syntax structure that precede the reserved_payload_extension_data syntax element and nPayloadZeroBits is the number of
payload_bit_equal_to_zero syntax elements at the end of the sei_payload( ) syntax structure.
payload_bit_equal_to_one shall be equal to 1.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)        317
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25           Page 339 of 717 Page ID #:868


payload_bit_equal_to_zero shall be equal to 0.
   NOTE 1 – SEI messages with the same value of payloadType are conceptually the same SEI message regardless of whether they
   are contained in prefix or suffix SEI NAL units.
   NOTE 2 – For SEI messages with payloadType in the range of 0 to 47, inclusive, that are specified in this Specification, the
   payloadType values are aligned with similar SEI messages specified in Rec. ITU-T H.264 | ISO/IEC 14496-10.

The list SingleLayerSeiList is set to consist of the payloadType values 2, 3, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56, 128,
129, 131, 132, 134 to 152, inclusive, 154 to 159, inclusive, 200 to 202, inclusive, and 205.
The list VclAssociatedSeiList is set to consist of the payloadType values 2, 3, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56, 128,
131, 132, 134 to 152, inclusive, 154 to 159, inclusive, 200 to 202, inclusive, and 205.
The list PicUnitRepConSeiList is set to consist of the payloadType values 0, 1, 2, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56,
128, 129, 131, 132, 133, 135 to 152, inclusive, 154 to 159, inclusive, 200 to 202, inclusive, and 205.
   NOTE 3 – SingleLayerSeiList consists of the payloadType values of the SEI messages specified in Annex D excluding 0 (buffering
   period), 1 (picture timing), 4 (user data registered by Recommendation ITU-T T.35), 5 (user data unregistered), 130 (decoding unit
   information) and 133 (scalable nesting). VclAssociatedSeiList consists of the payloadType values of the SEI messages that, when
   non-scalable-nested and contained in an SEI NAL unit, infer constraints on the NAL unit header of the SEI NAL unit on the basis
   of the NAL unit header of the associated VCL NAL unit. PicUnitRepConSeiList consists of the payloadType values of the SEI
   messages that are subject to the restriction on 8 repetitions per picture unit.

The semantics and persistence scope for each SEI message are specified in the semantics specification for each particular
SEI message.
   NOTE 4 – Persistence information for SEI messages is informatively summarized in Table D.1.

                              Table D.1 – Persistence scope of SEI messages (informative)
                     SEI message                                               Persistence scope
                   Buffering period                                     The remainder of the bitstream
                     Picture timing                              The access unit containing the SEI message
                  Pan-scan rectangle                              Specified by the syntax of the SEI message
                     Filler payload                              The access unit containing the SEI message
       User data registered by Rec. ITU-T T.35                                     Unspecified
                User data unregistered                                             Unspecified
                    Recovery point                                Specified by the syntax of the SEI message
                                                        The access unit containing the SEI message and up to but not
                  Scene information                   including the next access unit, in decoding order, that contains a
                                                           scene information SEI message or starts a new CLVS
                   Picture snapshot                              The access unit containing the SEI message
         Progressive refinement segment start                     Specified by the syntax of the SEI message
         Progressive refinement segment end                      The access unit containing the SEI message
               Film grain characteristics                         Specified by the syntax of the SEI message
                     Post-filter hint                            The access unit containing the SEI message
              Tone mapping information                            Specified by the syntax of the SEI message
             Frame packing arrangement                            Specified by the syntax of the SEI message
                  Display orientation                             Specified by the syntax of the SEI message
                    Green metadata                                Specified by the syntax of the SEI message
                                                         The set of pictures in the coded layer-wise video sequence
           Structure of pictures information
                                                        (CLVS) that correspond to entries listed in the SEI message
                 Decoded picture hash                            The access unit containing the SEI message
                 Active parameter sets                               The CVS containing the SEI message
              Decoding unit information                         The decoding unit containing the SEI message
            Temporal sub-layer zero index                        The access unit containing the SEI message
                                                      Depending on the scalable-nested SEI messages. Each scalable-
                    Scalable nesting                  nested SEI message has the same persistence scope as if the SEI
                                                                    message was not scalable-nested


318        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 340 of 717 Page ID #:869



                              Table D.1 – Persistence scope of SEI messages (informative)
                     SEI message                                              Persistence scope
              Region refresh information              The set of VCL NAL units within the access unit starting from
                                                        the VCL NAL unit following the SEI message up to but not
                                                      including the VCL NAL unit following the next SEI NAL unit
                                                       containing a region refresh information SEI message (if any)
                       No display                               The access unit containing the SEI message
                       Time code                                The access unit containing the SEI message
           Mastering display colour volume                         The CLVS containing the SEI message
        Segmented rectangular frame packing                      Specified by the syntax of the SEI message
                   arrangement
        Temporal motion-constrained tile sets          The access unit containing the SEI message and up to but not
                                                      including the next access unit, in decoding order, that contains
                                                          an SEI message of the same type or starts a new CLVS
             Chroma resampling filter hint                         The CLVS containing the SEI message
              Knee function information                          Specified by the syntax of the SEI message
            Colour remapping information                         Specified by the syntax of the SEI message
                                                      One or more pictures associated with the access unit containing
            Deinterlaced field identification
                                                                             the SEI message
            Content light level information                        The CLVS containing the SEI message
            Dependent random access point
                                                                The access unit containing the SEI message
                     indication
               Coded region completion                  The current slice segment associated with the SEI message
          Alternative transfer characteristics                     The CLVS containing the SEI message
            Ambient viewing environment                            The CLVS containing the SEI message
                Content colour volume                            Specified by the syntax of the SEI message
              Equirectangular projection                         Specified by the syntax of the SEI message
                  Cubemap projection                             Specified by the syntax of the SEI message
              Fisheye video information                          Specified by the syntax of the SEI message
                    Sphere rotation                              Specified by the syntax of the SEI message
                 Region-wise packing                             Specified by the syntax of the SEI message
               Omnidirectional viewport                          Specified by the syntax of the SEI message
                                                       Depending on the region-nested SEI messages; each region-
                    Regional nesting                 nested SEI message has the same persistence scope as if the SEI
                                                                    message was non-region-nested
                                                       The access unit containing the SEI message and up to but not
        Motion-constrained tile sets extraction
                                                      including the next access unit, in decoding order, that contains
                  information sets
                                                          an SEI message of the same type or starts a new CLVS
        Motion-constrained tile sets extraction
                                                                The access unit containing the SEI message
                information nesting
                      SEI manifest                                 The CVS containing the SEI message
                 SEI prefix indication                             The CVS containing the SEI message
                   Annotated regions                             Specified by the syntax of the SEI message
              Shutter interval information                         The CLVS containing the SEI message


The values of some SEI message syntax elements, including pan_scan_rect_id, scene_id, second_scene_id, snapshot_id,
progressive_refinement_id,       tone_map_id,      frame_packing_arrangement_id,            mcts_id[ i ],    knee_function_id,
colour_remap_id, ilcts_id[ i ], and regional_nesting_id, are split into two sets of value ranges, where the first set is specified
as "may be used as determined by the application", and the second set is specified as "reserved for future use by ITU-T |


                                                                                  Rec. ITU-T H.265 v8 (08/2021)             319
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 341 of 717 Page ID #:870


ISO/IEC". Applications should be cautious of potential “collisions” of the interpretation for values of these syntax elements
belonging to the first set of value ranges. Since different applications might use these IDs having values in the first set of
value ranges for different purposes, particular care should be exercised in the design of encoders that generate SEI messages
with these IDs having values in the first set of value ranges, and in the design of decoders that interpret SEI messages with
these IDs. This Specification does not define any management for these values. These IDs having values in the first set of
value ranges might only be suitable for use in contexts in which "collisions" of usage (i.e., different definitions of the
syntax and semantics of an SEI message with one of these IDs having the same value in the first set of value ranges) are
unimportant, or not possible, or are managed – e.g., defined or managed in the controlling application or transport
specification, or by controlling the environment in which bitstreams are distributed.
It is a requirement of bitstream conformance that when a prefix SEI message with payloadType equal to 17 (progressive
refinement segment end) or 22 (post-filter hint) is present in an access unit, a suffix SEI message with the same value of
payloadType shall not be present in the same access unit.
It is a requirement of bitstream conformance that the following restrictions apply on containing of SEI messages in SEI
NAL units:
–     An SEI NAL unit containing an active parameter sets SEI message shall contain only one active parameter sets SEI
      message and shall not contain any other SEI messages.
–     When an SEI NAL unit contains a non-scalable-nested buffering period SEI message, a non-scalable-nested picture
      timing SEI message, or a non-scalable-nested decoding unit information SEI message, the SEI NAL unit shall not
      contain any other SEI message with payloadType not equal to 0 (buffering period), 1 (picture timing) or 130 (decoding
      unit information).
–     When an SEI NAL unit contains a scalable-nested buffering period SEI message, a scalable-nested picture timing SEI
      message, or a scalable-nested decoding unit information SEI message, the SEI NAL unit shall not contain any other
      SEI message with payloadType not equal to 0 (buffering period), 1 (picture timing), 130 (decoding unit information)
      or 133 (scalable nesting).
Let prevVclNalUnitInAu of an SEI NAL unit or an SEI message be the preceding VCL NAL unit in decoding order, if
any, in the same access unit, and nextVclNalUnitInAu of an SEI NAL unit or an SEI message be the next VCL NAL unit
in decoding order, if any, in the same access unit.
It is a requirement of bitstream conformance that the following restrictions apply on decoding order of SEI messages:
–     When an SEI NAL unit containing an active parameter sets SEI message is present in an access unit, it shall be the
      first SEI NAL unit that follows the prevVclNalUnitInAu of the SEI NAL unit and precedes the nextVclNalUnitInAu
      of the SEI NAL unit.
–     When a non-scalable-nested buffering period SEI message is present in an access unit, it shall not follow any other
      SEI message that follows the prevVclNalUnitInAu of the buffering period SEI message and precedes the
      nextVclNalUnitInAu of the buffering period SEI message, other than an active parameter sets SEI message.
–     When a non-scalable-nested picture timing SEI message is present in an access unit, it shall not follow any other SEI
      message that follows the prevVclNalUnitInAu of the picture timing SEI message and precedes the
      nextVclNalUnitInAu of the picture timing SEI message, other than an active parameter sets SEI message or a non-
      scalable-nested buffering period SEI message.
–     When a non-scalable-nested decoding unit information SEI message is present in an access unit, it shall not follow
      any other SEI message in the same access unit that follows the prevVclNalUnitInAu of the decoding unit information
      SEI message and precedes the nextVclNalUnitInAu of the decoding unit information SEI message, other than an
      active parameter sets SEI message, a non-scalable-nested buffering period SEI message, or a non-scalable-nested
      picture timing SEI message.
–     When a scalable-nested buffering period SEI message, a scalable-nested picture timing SEI message, or a scalable-
      nested decoding unit information SEI message is contained in a scalable nesting SEI message in an access unit, the
      scalable nesting SEI message shall not follow any other SEI message that follows the prevVclNalUnitInAu of the
      scalable nesting SEI message and precedes the nextVclNalUnitInAu of the scalable nesting SEI message, other than
      an active parameter sets SEI message, a non-scalable-nested buffering period SEI message, a non-scalable-nested
      picture timing SEI message, a non-scalable-nested decoding unit information SEI message, or another scalable nesting
      SEI message that contains a buffering period SEI message, a picture timing SEI message, or a decoding unit
      information SEI message.
–     When payloadType is equal to 0 (buffering period), 1 (picture timing) or 130 (decoding unit information) for an SEI
      message, scalable-nested or non-scalable-nested, within the access unit, the SEI NAL unit containing the SEI message
      shall precede all NAL units of any picture unit that has nuh_layer_id greater than highestAppLayerId, where
      highestAppLayerId is the greatest value of nuh_layer_id of all the layers in all the operation points that the SEI
      message applies to.


320         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 342 of 717 Page ID #:871


–    When payloadType is equal to any value among VclAssociatedSeiList for an SEI message, scalable-nested or non-
     scalable-nested, within the access unit, the SEI NAL unit containing the SEI message shall precede all NAL units of
     any picture unit that has nuh_layer_id greater than highestAppLayerId, where highestAppLayerId is the greatest value
     of nuh_layer_id of all the layers that the SEI message applies to.
The following applies on the applicable operation points or layers of SEI messages:
–    For a non-scalable-nested SEI message, when payloadType is equal to 0 (buffering period) or 130 (decoding unit
     information), the non-scalable-nested SEI message applies to the operation point that has OpTid equal to the greatest
     value of nuh_temporal_id_plus1 among all VCL NAL units in the bitstream, has OpLayerIdList containing all values
     of nuh_layer_id in all VCL units in the bitstream, and has only the base layer as the output layer.
–    An SEI message that is directly contained in a scalable nesting SEI message within an SEI NAL unit with
     nuh_layer_id equal to 0 and has payloadType is equal to 0 (buffering period), 1 (picture timing), or 130 (decoding
     unit information) applies as specified in Annex C to the layer set as indicated by the scalable nesting SEI message.
–    For a non-scalable-nested SEI message, when payloadType is equal to 1 (picture timing), the frame field information
     carried in the syntax elements pic_struct, source_scan_type and duplicate_flag, when present, in the non-scalable-
     nested picture timing SEI message applies to the base layer only, while the picture timing information carried in other
     syntax elements, when present, in the non-scalable-nested picture timing SEI message applies to the operation point
     that has OpTid equal to the greatest value of nuh_temporal_id_plus1 among all VCL NAL units in the bitstream, has
     OpLayerIdList containing all values of nuh_layer_id in all VCL units in the bitstream, and has only the base layer as
     the output layer.
–    For a non-scalable-nested SEI message, when payloadType is equal to any value among VclAssociatedSeiList, the
     non-scalable-nested SEI message applies to the layer for which the VCL NAL units have nuh_layer_id equal to the
     nuh_layer_id of the SEI NAL unit containing the SEI message.
–    An active parameter sets SEI message, which cannot be scalable-nested, applies to all layers in the bitstream.
It is a requirement of bitstream conformance that the following restrictions apply on the values of nuh_layer_id and
TemporalId of SEI NAL units:
–    When a non-scalable-nested SEI message has payloadType equal to any value among VclAssociatedSeiList, the SEI
     NAL unit containing the non-scalable-nested SEI message shall have TemporalId equal to the TemporalId of the
     access unit containing the SEI NAL unit.
–    When a non-scalable-nested SEI message has payloadType equal to 0, 1, 129 or 130, the SEI NAL unit containing
     the non-scalable-nested SEI message shall have nuh_layer_id equal to 0.
–    When a non-scalable-nested SEI message has payloadType equal to any value among VclAssociatedSeiList, the SEI
     NAL unit containing the non-scalable-nested SEI message shall have nuh_layer_id and nuh_temporal_id_plus1 equal
     to the values of nuh_layer_id and nuh_temporal_id_plus1, respectively, of the VCL NAL unit associated with the SEI
     NAL unit.
    NOTE 4 – For an SEI NAL unit containing a scalable nesting SEI message, the values of TemporalId and nuh_layer_id should be
    set equal to the lowest value of TemporalId and nuh_layer_id, respectively, of all the sub-layers or operation points the scalable-
    nested SEI messages apply to unless specified otherwise.

It is a requirement of bitstream conformance that the following restrictions apply on the presence of SEI messages between
two VCL NAL units of a picture:
–    When there is a prefix SEI message that has payloadType equal to any value among SingleLayerSeiList not equal to
     134 (the region refresh information SEI message) or 146 (the coded region completion SEI message), and applies to
     a picture of a layer layerA present between two VCL NAL units of the picture in decoding order, there shall be a
     prefix SEI message that is of the same type and applies to the layer layerA in the same access unit preceding the first
     VCL NAL unit of the picture.
–    When there is a suffix SEI message that has payloadType equal to 3 (filler payload), 17 (progressive refinement
     segment end), 22 (post filter hint) or 132 (decoded picture hash) and applies to a picture of a layer layerA present
     between two VCL NAL units of the picture in decoding order, there shall be a suffix SEI message that is of the same
     type and applies to the layer layerA present in the same access unit succeeding the last VCL NAL unit of the picture.
It is a requirement of bitstream conformance that the following restrictions apply on repetition of SEI messages:
–    For each of the payloadType values included in PicUnitRepConSeiList, there shall be less than or equal to 8 identical
     sei_payload( ) syntax structures within a picture unit.
–    There shall be less than or equal to 8 identical sei_payload( ) syntax structures with payloadType equal to 130 within
     a decoding unit.



                                                                                     Rec. ITU-T H.265 v8 (08/2021)               321
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 343 of 717 Page ID #:872


–     The number of identical sei_payload( ) syntax structures with payloadType equal to 134 in a picture unit shall be less
      than or equal to the number of slice segments in the picture unit.
In the following subclauses of this annex, the following applies:
–     The current SEI message refers to the particular SEI message.
–     The current access unit refers to the access unit containing the current SEI message.
In the following subclauses of this annex, when a particular SEI message applies to a set of one or more layers (instead of
a set of operation points), i.e., when the payloadType value is not equal to one of 0 (buffering period), 1 (picture timing)
and 130 (decoding unit information), the following applies:
–     The semantics apply independently to each particular layer with nuh_layer_id equal to targetLayerId of the layers to
      which the particular SEI message applies.
–     The current layer refers to the layer with nuh_layer_id equal to targetLayerId.
–     The current picture or the current decoded picture refers to the picture with nuh_layer_id equal to targetLayerId (i.e.,
      in the current layer) in the current access unit.
In the following subclauses of this annex, when a particular SEI message applies to a set of one or more operation points
(instead of a set of one or more layers), i.e., when the payloadType value is equal to 0 (buffering period), 1 (picture timing)
or 130 (decoding unit information), the following applies:
–     When the particular SEI message applies to an operation point that does not include the base layer (i.e., when the SEI
      message is contained in an SEI NAL unit with nuh_layer_id greater than 0), decoders conforming to a profile specified
      in Annex A and not supporting the INBLD capability specified in Annex F shall ignore that particular SEI message.
–     The semantics apply independently to each particular operation point of the set of operation points to which the
      particular SEI message applies.
–     The current operation point refers to the particular operation point.
–     The terms "access unit" and "CVS" apply to the bitstream BitstreamToDecode that is the sub-bitstream of the
      particular operation point.

D.3.2     Buffering period SEI message semantics
A buffering period SEI message provides initial CPB removal delay and initial CPB removal delay offset information for
initialization of the HRD at the position of the associated access unit in decoding order.
When the buffering period SEI message is non-scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0 and the current access unit is a CRA or BLA acces unit, let
skippedPictureList be the list of skipped leading pictures consisting of the RASL pictures associated with the CRA or BLA
access unit with which the buffering period SEI message is associated.
When the buffering period SEI message is non-scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0, a picture is said to be a notDiscardablePic picture when the picture
has TemporalId equal to 0 and is not a RASL, RADL or SLNR picture.
When the buffering period SEI message is non-scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0, the following applies for the buffering period SEI message syntax
and semantics:
–     The syntax elements initial_cpb_removal_delay_length_minus1, au_cpb_removal_delay_length_minus1,
      dpb_output_delay_length_minus1, and sub_pic_hrd_params_present_flag and the variables NalHrdBpPresentFlag
      and VclHrdBpPresentFlag are found in or derived from syntax elements found in the hrd_parameters( ) syntax
      structure that is applicable to at least one of the operation points to which the buffering period SEI message applies.
–     The variables CpbSize[ i ], BitRate[ i ] and CpbCnt are derived from syntax elements found in the
      sub_layer_hrd_parameters( ) syntax structure that is applicable to at least one of the operation points to which the
      buffering period SEI message applies.
–     Any two operation points that the buffering period SEI message applies to having different OpTid values tIdA and
      tIdB indicate that the values of cpb_cnt_minus1[ tIdA ] and cpb_cnt_minus1[ tIdB ] coded in the hrd_parameters( )
      syntax structure(s) applicable to the two operation points are identical.
–     Any two operation points that the buffering period SEI message applies to having different OpLayerIdList values
      layerIdListA and layerIdListB indicate that the values of nal_hrd_parameters_present_flag and
      vcl_hrd_parameters_present_flag, respectively, for the two hrd_parameters( ) syntax structures applicable to the two
      operation points are identical.


322         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 344 of 717 Page ID #:873


–    The bitstream (or a part thereof) refers to the bitstream subset (or a part thereof) associated with any of the operation
     points to which the buffering period SEI message applies.
The presence of buffering period SEI messages for an operation point including the base layer is specified as follows:
–    If NalHrdBpPresentFlag is equal to 1 or VclHrdBpPresentFlag is equal to 1, the following applies for each access
     unit in the CVS:
     –    If the access unit is an IRAP access unit, a buffering period SEI message applicable to the operation point shall
          be associated with the access unit.
     –    Otherwise, if the access unit contains a notDiscardablePic, a buffering period SEI message applicable to the
          operation point may or may not be associated with the access unit.
     –    Otherwise, the access unit shall not be associated with a buffering period SEI message applicable to the operation
          point.
–    Otherwise (NalHrdBpPresentFlag and VclHrdBpPresentFlag are both equal to 0), no access unit in the CVS shall be
     associated with a buffering period SEI message applicable to the operation point.
    NOTE 1 – For some applications, frequent presence of buffering period SEI messages may be desirable (e.g., for random access at
    an IRAP picture or a non-IRAP picture or for bitstream splicing).

bp_seq_parameter_set_id indicates and shall be equal to the sps_seq_parameter_set_id for the SPS that is active for the
coded picture associated with the buffering period SEI message. The value of bp_seq_parameter_set_id shall be equal to
the value of pps_seq_parameter_set_id in the PPS referenced by the slice_pic_parameter_set_id of the slice segment
headers of the coded picture associated with the buffering period SEI message. The value of bp_seq_parameter_set_id
shall be in the range of 0 to 15, inclusive.
irap_cpb_params_present_flag equal to 1 specifies the presence of the nal_initial_alt_cpb_removal_delay[ i ] and
nal_initial_alt_cpb_removal_offset[ i ]            or            vcl_initial_alt_cpb_removal_delay[ i ]            and
vcl_initial_alt_cpb_removal_offset[ i ] syntax elements. When not present, the value of irap_cpb_params_present_flag is
inferred to be equal to 0. When the associated picture is neither a CRA picture nor a BLA picture, the value of
irap_cpb_params_present_flag shall be equal to 0.
    NOTE 2 – The values of sub_pic_hrd_params_present_flag and irap_cpb_params_present_flag cannot be both equal to 1.

cpb_delay_offset specifies an offset to be used in the derivation of the nominal CPB removal times of access units
following, in decoding order, the CRA or BLA access unit associated with the buffering period SEI message when no
picture in skippedPictureList is present. The syntax element has a length in bits given by
au_cpb_removal_delay_length_minus1 + 1. When not present, the value of cpb_delay_offset is inferred to be equal to 0.
dpb_delay_offset specifies an offset to be used in the derivation of the DPB output times of the CRA or BLA access unit
associated with the buffering period SEI message when no picture in skippedPictureList is present. The syntax element
has a length in bits given by dpb_output_delay_length_minus1 + 1. When not present, the value of dpb_delay_offset is
inferred to be equal to 0.
When the current picture is not the first picture in the bitstream in decoding order, let prevNonDiscardablePic be the
preceding picture in decoding order with TemporalId equal to 0 that is not a RASL, RADL or SLNR picture.
concatenation_flag indicates, when the current picture is not the first picture in the bitstream in decoding order, whether
the nominal CPB removal time of the current picture is determined relative to the nominal CPB removal time of the
preceding picture with a buffering period SEI message or relative to the nominal CPB removal time of the picture
prevNonDiscardablePic.
au_cpb_removal_delay_delta_minus1 plus 1, when the current picture is not the first picture in the bitstream in decoding
order, specifies a CPB removal delay increment value relative to the nominal CPB removal time of the picture
prevNonDiscardablePic. This syntax element has a length in bits given by au_cpb_removal_delay_length_minus1 + 1.
When the current picture contains a buffering period SEI message and concatenation_flag is equal to 0 and the current
picture is not the first picture in the bitstream in decoding order, it is a requirement of bitstream conformance that the
following constraint applies:
     –   If the picture prevNonDiscardablePic is not associated with a buffering period SEI message, the
         au_cpb_removal_delay_minus1 of the current picture shall be equal to the au_cpb_removal_delay_minus1 of
         prevNonDiscardablePic plus au_cpb_removal_delay_delta_minus1 + 1.
     –   Otherwise, au_cpb_removal_delay_minus1 shall be equal to au_cpb_removal_delay_delta_minus1.
    NOTE 3 – When the current picture contains a buffering period SEI message and concatenation_flag is equal to 1, the
    au_cpb_removal_delay_minus1 for the current picture is not used. The above-specified constraint can, under some circumstances,
    make it possible to splice bitstreams (that use suitably-designed referencing structures) by simply changing the value of
    concatenation_flag from 0 to 1 in the buffering period SEI message for an IRAP picture at the splicing point. When


                                                                                   Rec. ITU-T H.265 v8 (08/2021)             323
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 345 of 717 Page ID #:874


    concatenation_flag is equal to 0, the above-specified constraint enables the decoder to check whether the constraint is satisfied as a
    way to detect the loss of the picture prevNonDiscardablePic.

nal_initial_cpb_removal_delay[ i ] and nal_initial_alt_cpb_removal_delay[ i ] specify the default and the alternative
initial CPB removal delays, respectively, for the i-th CPB when the NAL HRD parameters are in use. The syntax elements
have a length in bits given by initial_cpb_removal_delay_length_minus1 + 1, and are in units of a 90 kHz clock. The values
of the syntax elements shall not be equal to 0 and shall be less than or equal to 90 000 * ( CpbSize[ i ]  BitRate[ i ] ), the
time-equivalent of the CPB size in 90 kHz clock units.
nal_initial_cpb_removal_offset[ i ] and nal_initial_alt_cpb_removal_offset[ i ] specify the default and the alternative
initial CPB removal offsets, respectively, for the i-th CPB when the NAL HRD parameters are in use. The syntax elements
have a length in bits given by initial_cpb_removal_delay_length_minus1 + 1 and are in units of a 90 kHz clock.
Over the entire CVS, the sum of nal_initial_cpb_removal_delay[ i ] and nal_initial_cpb_removal_offset[ i ] shall be
constant     for   each   value     of     i,    and    the    sum     of      nal_initial_alt_cpb_removal_delay[ i ] and
nal_initial_alt_cpb_removal_offset[ i ] shall be constant for each value of i.
vcl_initial_cpb_removal_delay[ i ] and vcl_initial_alt_cpb_removal_delay[ i ] specify the default and the alternative
initial CPB removal delays, respectively, for the i-th CPB when the VCL HRD parameters are in use. The syntax elements
have a length in bits given by initial_cpb_removal_delay_length_minus1 + 1, and are in units of a 90 kHz clock. The values
of the syntax elements shall not be equal to 0 and shall be less than or equal to 90 000 * ( CpbSize[ i ]  BitRate[ i ] ), the
time-equivalent of the CPB size in 90 kHz clock units.
vcl_initial_cpb_removal_offset[ i ] and vcl_initial_alt_cpb_removal_offset[ i ] specify the default and the alternative
initial CPB removal offsets, respectively, for the i-th CPB when the VCL HRD parameters are in use. The syntax elements
have a length in bits given by initial_cpb_removal_delay_length_minus1 + 1 and are in units of a 90 kHz clock.
Over the entire CVS, the sum of vcl_initial_cpb_removal_delay[ i ] and vcl_initial_cpb_removal_offset[ i ] shall be
constant     for   each   value     of     i,    and    the    sum     of      vcl_initial_alt_cpb_removal_delay[ i ] and
vcl_initial_alt_cpb_removal_offset[ i ] shall be constant for each value of i.
    NOTE 4 – Encoders are recommended not to include irap_cpb_params_present_flag equal to 1 in buffering period SEI messages
    associated with a CRA or BLA picture for which at least one of its associated RASL pictures follows one or more of its associated
    RADL pictures in decoding order.

use_alt_cpb_params_flag may be used to derive the value of UseAltCpbParamsFlag. When
irap_cpb_params_present_flag is equal to 0, use_alt_cpb_params_flag shall not be equal to 1. When
use_alt_cpb_params_flag is not present, it is inferred to be equal to 0.
      NOTE 5 – The syntax element use_alt_cpb_params_flag may be present in the payload extension of the buffering period SEI
      message. Decoders conforming to profiles specified in Annex A may ignore this syntax element.

It is a requirement of bitstream conformance that when use_alt_cpb_params_flag is present in the buffering perid SEI
message, the return value of the more_data_in_payload( ) function in the sei_payload( ) syntax structure containing the
buffering period SEI message shall be equal to 1.

D.3.3       Picture timing SEI message semantics
The picture timing SEI message provides CPB removal delay and DPB output delay information for the access unit
associated with the SEI message.
When the buffering period SEI message is non-scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0, the following applies for the picture timing SEI message syntax and
semantics:
–     The     syntax     elements    sub_pic_hrd_params_present_flag,      sub_pic_cpb_params_in_pic_timing_sei_flag,
      au_cpb_removal_delay_length_minus1, dpb_output_delay_length_minus1, dpb_output_delay_du_length_minus1,
      du_cpb_removal_delay_increment_length_minus1 and the variable CpbDpbDelaysPresentFlag are found in or
      derived from syntax elements found in the hrd_parameters( ) syntax structure that is applicable to at least one of the
      operation points to which the picture timing SEI message applies.
–     The bitstream (or a part thereof) refers to the bitstream subset (or a part thereof) associated with any of the operation
      points to which the picture timing SEI message applies.
           NOTE 1 – The syntax of the picture timing SEI message is dependent on the content of the hrd_parameters( ) syntax
           structures applicable to the operation points to which the picture timing SEI message applies. These hrd_parameters( ) syntax
           structures are in either or both of the VPS and the SPS that are active for the coded picture associated with the picture timing
           SEI message. When the picture timing SEI message is associated with an IRAP access unit with NoRaslOutputFlag equal to
           1, unless it is preceded by an active parameter sets SEI message within the same access unit, the activation of the VPS and
           the SPS (and, for IRAP pictures with NoRaslOutputFlag equal to 1 that are not the first picture in the bitstream in decoding
           order, the determination that the coded picture is an IRAP access unit with NoRaslOutputFlag equal to 1) does not occur



324         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 346 of 717 Page ID #:875


           until the decoding of the first coded slice segment NAL unit of the coded picture. Since the coded slice segment NAL unit
           of the coded picture follows the picture timing SEI message in NAL unit order, there may be cases in which it is necessary
           for a decoder to store the RBSP containing the picture timing SEI message until determining the active VPS and the active
           SPS for the coded picture, and then perform the parsing of the picture timing SEI message.

The presence of picture timing SEI messages for an operation point including the base layer is specified as follows:
–    If frame_field_info_present_flag is equal to 1 or CpbDpbDelaysPresentFlag is equal to 1, a picture timing SEI
     message applicable to the operation point shall be associated with every access unit in the CVS.
–    Otherwise, in the CVS there shall be no access unit that is associated with a picture timing SEI message applicable to
     the operation point.
When the picture timing SEI message is not scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0, the semantics of pic_struct, source_scan_type and duplicate_flag
apply to the picture with nuh_layer_id equal to 0 and are specified in the following paragraphs.
   NOTE 2 – When the picture timing SEI message is directly contained in a scalable nesting SEI message within an SEI NAL unit
   with nuh_layer_id greater than 0 or is contained in a bitstream partition nesting SEI message specified in Annex F, the semantics of
   pic_struct, source_scan_type and duplicate_flag are specified in Annex F. The frame-field information SEI message specified in
   Annex F can be used to indicate pic_struct, source_scan_type and duplicate_flag for non-base layers.

pic_struct indicates whether a picture should be displayed as a frame or as one or more fields and, for the display of frames
when fixed_pic_rate_within_cvs_flag is equal to 1, may indicate a frame doubling or tripling repetition period for displays
that use a fixed frame refresh interval equal to DpbOutputElementalInterval[ n ] as given by Equation E-76. The
interpretation of pic_struct is specified in Table D.2. Values of pic_struct that are not listed in Table D.2 are reserved for
future use by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this version of this Specification.
Decoders shall ignore reserved values of pic_struct.
When present, it is a requirement of bitstream conformance that the value of pic_struct shall be constrained such that
exactly one of the following conditions is true:
–    The value of pic_struct is equal to 0, 7 or 8 for all pictures in the CVS.
–    The value of pic_struct is equal to 1, 2, 9, 10, 11 or 12 for all pictures in the CVS.
–    The value of pic_struct is equal to 3, 4, 5 or 6 for all pictures in the CVS.
When fixed_pic_rate_within_cvs_flag is equal to 1, frame doubling is indicated by pic_struct equal to 7, which indicates
that the frame should be displayed two times consecutively on displays with a frame refresh interval equal to
DpbOutputElementalInterval[ n ] as given by Equation E-76, and frame tripling is indicated by pic_struct equal to 8, which
indicates that the frame should be displayed three times consecutively on displays with a frame refresh interval equal to
DpbOutputElementalInterval[ n ] as given by Equation E-76.
    NOTE 3 – Frame doubling can be used to facilitate the display, for example, of 25 Hz progressive-scan video on a 50 Hz progressive-
    scan display or 30 Hz progressive-scan video on a 60 Hz progressive-scan display. Using frame doubling and frame tripling in
    alternating combination on every other frame can be used to facilitate the display of 24 Hz progressive-scan video on a 60 Hz
    progressive-scan display.

The nominal vertical and horizontal sampling locations of samples in top and bottom fields for 4:2:0, 4:2:2 and 4:4:4
chroma formats are shown in Figure D.1, Figure D.2 and Figure D.3, respectively.
Association indicators for fields (pic_struct equal to 9 through 12) provide hints to associate fields of complementary parity
together as frames. The parity of a field can be top or bottom, and the parity of two fields is considered complementary
when the parity of one field is top and the parity of the other field is bottom.
When frame_field_info_present_flag is equal to 1, it is a requirement of bitstream conformance that the constraints
specified in the third column of Table D.2 shall apply.
    NOTE 4 – When frame_field_info_present_flag is equal to 0, then in many cases default values may be inferred or indicated by
    other means. In the absence of other indications of the intended display type of a picture, the decoder should infer the value of
    pic_struct as equal to 0 when frame_field_info_present_flag is equal to 0.

source_scan_type equal to 1 indicates that the source scan type of the associated picture should be interpreted as
progressive. source_scan_type equal to 0 indicates that the source scan type of the associated picture should be interpreted
as interlaced. source_scan_type equal to 2 indicates that the source scan type of the associated picture is unknown or
unspecified. source_scan_type equal to 3 is reserved for future use by ITU-T | ISO/IEC and shall not be present in
bitstreams conforming to this version of this Specification. Decoders conforming to this version of this Specification shall
interpret the value 3 for source_scan_type as equivalent to the value 2.




                                                                                     Rec. ITU-T H.265 v8 (08/2021)               325
Case 2:25-cv-03053                  Document 1-7              Filed 04/07/25             Page 347 of 717 Page ID #:876


The following applies to the semantics of source_scan_type:
–     If general_progressive_source_flag is equal to 0 and general_interlaced_source_flag is equal to 1, the value of
      source_scan_type shall be equal to 0 when present, and should be inferred to be equal to 0 when not present.
–     Otherwise, if general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 0, the
      value of source_scan_type shall be equal to 1 when present and should be inferred to be equal to 1 when not present.
–     Otherwise, when general_progressive_source_flag is equal to 0 and general_interlaced_source_flag is equal to 0, the
      value of source_scan_type shall be equal to 2 when present and should be inferred to be equal to 2 when not present.
duplicate_flag equal to 1 indicates that the current picture is indicated to be a duplicate of a previous picture in output
order. duplicate_flag equal to 0 indicates that the current picture is not indicated to be a duplicate of a previous picture in
output order.
    NOTE 5 – The duplicate_flag should be used to mark coded pictures known to have originated from a repetition process such as 3:2
    pull-down or other such duplication and picture rate interpolation methods. This flag would commonly be used when a video feed
    is encoded as a field sequence in a "transport pass-through" fashion, with known duplicate pictures tagged by setting duplicate_flag
    equal to 1.
    NOTE 6 – When field_seq_flag is equal to 1 and duplicate_flag is equal to 1, this should be interpreted as an indication that the
    access unit contains a duplicated field of the previous field in output order with the same parity as the current field unless a pairing
    is otherwise indicated by the use of a pic_struct value in the range of 9 to 12, inclusive.

                                             Table D.2 – Interpretation of pic_struct
      Value                  Indicated display of picture                                          Restrictions
         0                         (progressive) Frame                                 field_seq_flag shall be equal to 0
         1                               Top field                                     field_seq_flag shall be equal to 1
         2                             Bottom field                                    field_seq_flag shall be equal to 1
         3                Top field, bottom field, in that order                       field_seq_flag shall be equal to 0
         4                Bottom field, top field, in that order                       field_seq_flag shall be equal to 0
         5           Top field, bottom field, top field repeated, in                   field_seq_flag shall be equal to 0
                                      that order
         6                Bottom field, top field, bottom field                        field_seq_flag shall be equal to 0
                                repeated, in that order
         7                           Frame doubling                                  field_seq_flag shall be equal to 0
                                                                             fixed_pic_rate_within_cvs_flag shall be equal to 1
         8                            Frame tripling                                 field_seq_flag shall be equal to 0
                                                                             fixed_pic_rate_within_cvs_flag shall be equal to 1
         9           Top field paired with previous bottom field                       field_seq_flag shall be equal to 1
                                   in output order
        10            Bottom field paired with previous top field                      field_seq_flag shall be equal to 1
                                    in output order
        11            Top field paired with next bottom field in                       field_seq_flag shall be equal to 1
                                     output order
        12             Bottom field paired with next top field in                      field_seq_flag shall be equal to 1
                                     output order




326          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7           Filed 04/07/25        Page 348 of 717 Page ID #:877




    Figure D.1 – Nominal vertical and horizontal sampling locations of 4:2:0 samples in top and bottom fields




    Figure D.2 – Nominal vertical and horizontal sampling locations of 4:2:2 samples in top and bottom fields




    Figure D.3 – Nominal vertical and horizontal sampling locations of 4:4:4 samples in top and bottom fields


au_cpb_removal_delay_minus1 plus 1 is used to calculate the number of clock ticks between the nominal CPB removal
times of the access unit associated with the picture timing SEI message and the preceding access unit in decoding order


                                                                           Rec. ITU-T H.265 v8 (08/2021)          327
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 349 of 717 Page ID #:878


that contained a buffering period SEI message. This value is also used to calculate an earliest possible time of arrival of
access unit data into the CPB for the HSS. The syntax element is a fixed length code whose length in bits is given by
au_cpb_removal_delay_length_minus1 + 1.
    NOTE 7 – The value of au_cpb_removal_delay_length_minus1 that determines the length (in bits) of the syntax element
    au_cpb_removal_delay_minus1 is the value of au_cpb_removal_delay_length_minus1 coded in the VPS or the SPS that is active
    for the coded picture associated with the picture timing SEI message, although the preceding access unit containing a buffering
    period SEI message may be an access unit of a different CVS.

The variable BpResetFlag of the current picture is derived as follows:
–     If the current picture is associated with a buffering period SEI message that is applicable to at least one of the operation
      points to which the picture timing SEI message applies, BpResetFlag is set equal to 1.
–     Otherwise, BpResetFlag is set equal to 0.
The variables AuCpbRemovalDelayMsb and AuCpbRemovalDelayVal of the current picture are derived as follows:
–     If the current access unit is the access unit that initializes the HRD, AuCpbRemovalDelayMsb and
      AuCpbRemovalDelayVal are both set equal to 0.
–     Otherwise, let the picture prevNonDiscardablePic be the previous picture in decoding order that has TemporalId equal
      to 0 that is not a RASL, RADL or SLNR picture, let prevAuCpbRemovalDelayMinus1,
      prevAuCpbRemovalDelayMsb and prevBpResetFlag be set equal to the values of au_cpb_removal_delay_minus1,
      AuCpbRemovalDelayMsb and BpResetFlag, respectively, for the picture prevNonDiscardablePic, and the following
      applies:
      –    AuCpbRemovalDelayMsb is derived as follows:

              if( prevBpResetFlag )
                  AuCpbRemovalDelayMsb = 0
              else if( au_cpb_removal_delay_minus1 <= prevAuCpbRemovalDelayMinus1 )
                  AuCpbRemovalDelayMsb = prevAuCpbRemovalDelayMsb + 2au_cpb_removal_delay_length_minus1 + 1
                  (D-1)
              else
                  AuCpbRemovalDelayMsb = prevAuCpbRemovalDelayMsb

      –    AuCpbRemovalDelayVal is derived as follows:

                AuCpbRemovalDelayVal = AuCpbRemovalDelayMsb + au_cpb_removal_delay_minus1 + 1
                  (D-2)

The value of AuCpbRemovalDelayVal shall be in the range of 1 to 232, inclusive.
pic_dpb_output_delay is used to compute the DPB output time of the picture when SubPicHrdFlag is equal to 0. It
specifies how many clock ticks to wait after removal of the last decoding unit in an access unit from the CPB before the
decoded picture is output from the DPB.
    NOTE 8 – A picture is not removed from the DPB at its output time when it is still marked as "used for short-term reference" or
    "used for long-term reference".

The length of the syntax element pic_dpb_output_delay is given in bits by dpb_output_delay_length_minus1 + 1. When
sps_max_dec_pic_buffering_minus1[ minTid ] is equal to 0, where minTid is the minimum of the OpTid values of all
operation points the picture timing SEI message applies to, pic_dpb_output_delay shall be equal to 0.
The output time derived from the pic_dpb_output_delay of any picture that is output from an output timing conforming
decoder shall precede the output time derived from the pic_dpb_output_delay of all pictures in any subsequent CVS in
decoding order.
The picture output order established by the values of this syntax element shall be the same order as established by the
values of PicOrderCntVal.
For pictures that are not output by the "bumping" process because they precede, in decoding order, an IRAP picture with
NoRaslOutputFlag equal to 1 that has no_output_of_prior_pics_flag equal to 1 or inferred to be equal to 1, the output times
derived from pic_dpb_output_delay shall be increasing with increasing value of PicOrderCntVal relative to all pictures
within the same CVS.
pic_dpb_output_du_delay is used to compute the DPB output time of the picture when SubPicHrdFlag is equal to 1. It
specifies how many sub clock ticks to wait after removal of the last decoding unit in an access unit from the CPB before
the decoded picture is output from the DPB.


328          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 350 of 717 Page ID #:879


The length of the syntax element pic_dpb_output_du_delay is given in bits by dpb_output_delay_du_length_minus1 + 1.
The output time derived from the pic_dpb_output_du_delay of any picture that is output from an output timing conforming
decoder shall precede the output time derived from the pic_dpb_output_du_delay of all pictures in any subsequent CVS in
decoding order.
The picture output order established by the values of this syntax element shall be the same order as established by the
values of PicOrderCntVal.
For pictures that are not output by the "bumping" process because they precede, in decoding order, an IRAP picture with
NoRaslOutputFlag equal to 1 that has no_output_of_prior_pics_flag equal to 1 or inferred to be equal to 1, the output times
derived from pic_dpb_output_du_delay shall be increasing with increasing value of PicOrderCntVal relative to all pictures
within the same CVS.
For any two pictures in the CVS, the difference between the output times of the two pictures when SubPicHrdFlag is equal
to 1 shall be identical to the same difference when SubPicHrdFlag is equal to 0.
num_decoding_units_minus1 plus 1 specifies the number of decoding units in the access unit the picture timing SEI
message is associated with. The value of num_decoding_units_minus1 shall be in the range of 0 to PicSizeInCtbsY − 1,
inclusive.
du_common_cpb_removal_delay_flag           equal    to    1      specifies  that      the      syntax element
du_common_cpb_removal_delay_increment_minus1 is present. du_common_cpb_removal_delay_flag equal to 0
specifies that the syntax element du_common_cpb_removal_delay_increment_minus1 is not present.
du_common_cpb_removal_delay_increment_minus1 plus 1 specifies the duration, in units of clock sub-ticks (see
clause E.3.2), between the nominal CPB removal times of any two consecutive decoding units in decoding order in the
access unit associated with the picture timing SEI message. This value is also used to calculate an earliest possible time of
arrival of decoding unit data into the CPB for the HSS, as specified in Annex C or clause F.13. The syntax element is a
fixed length code whose length in bits is given by du_cpb_removal_delay_increment_length_minus1 + 1.
num_nalus_in_du_minus1[ i ] plus 1 specifies the number of NAL units in the i-th decoding unit of the access unit the
picture timing SEI message is associated with. The value of num_nalus_in_du_minus1[ i ] shall be in the range of 0 to
PicSizeInCtbsY − 1, inclusive.
The first decoding unit of the access unit consists of the first num_nalus_in_du_minus1[ 0 ] + 1 consecutive NAL units in
decoding order in the access unit. The i-th (with i greater than 0) decoding unit of the access unit consists of the
num_nalus_in_du_minus1[ i ] + 1 consecutive NAL units immediately following the last NAL unit in the previous
decoding unit of the access unit, in decoding order. There shall be at least one VCL NAL unit in each decoding unit. All
non-VCL NAL units associated with a VCL NAL unit shall be included in the same decoding unit as the VCL NAL unit.
du_cpb_removal_delay_increment_minus1[ i ] plus 1 specifies the duration, in units of clock sub-ticks, between the
nominal CPB removal times of the ( i + 1 )-th decoding unit and the i-th decoding unit, in decoding order, in the access
unit associated with the picture timing SEI message. This value is also used to calculate an earliest possible time of arrival
of decoding unit data into the CPB for the HSS, as specified in Annex C or clause F.13. The syntax element is a fixed
length code whose length in bits is given by du_cpb_removal_delay_increment_length_minus1 + 1.

D.3.4      Pan-scan rectangle SEI message semantics
The pan-scan rectangle SEI message syntax elements specify the coordinates of one or more rectangles relative to the
conformance cropping window specified by the active SPS. Each coordinate is specified in units of one-sixteenth luma
sample spacing relative to the luma sampling grid.
pan_scan_rect_id contains an identifying number that may be used to identify the purpose of the one or more pan-scan
rectangles (for example, to identify the one or more rectangles as the area to be shown on a particular display device or as
the area that contains a particular actor in the scene). The value of pan_scan_rect_id shall be in the range of 0 to 232 − 2,
inclusive.
Values of pan_scan_rect_id from 0 to 255, inclusive, and from 512 to 231 − 1, inclusive, may be used as determined by the
application. Values of pan_scan_rect_id from 256 to 511, inclusive, and from 231 to 232 − 2, inclusive, are reserved for
future use by ITU-T | ISO/IEC. Decoders encountering a value of pan_scan_rect_id in the range of 256 to 511, inclusive,
or in the range of 231 to 232 − 2, inclusive, shall ignore it.
pan_scan_rect_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous pan-scan
rectangle SEI message in output order that applies to the current layer. pan_scan_rect_cancel_flag equal to 0 indicates that
pan-scan rectangle information follows.
pan_scan_cnt_minus1 specifies the number of pan-scan rectangles that are specified by the SEI message.
pan_scan_cnt_minus1 shall be in the range of 0 to 2, inclusive.



                                                                               Rec. ITU-T H.265 v8 (08/2021)            329
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 351 of 717 Page ID #:880


pan_scan_cnt_minus1 equal to 0 indicates that a single pan-scan rectangle is specified that applies to the decoded pictures
that are within the persistence scope of the current SEI message. When field_seq_flag is equal to 1, pan_scan_cnt_minus1
shall be equal to 0.
pan_scan_cnt_minus1 equal to 1 indicates that two pan-scan rectangles are specified that apply to the decoded pictures
that are within the persistence scope of the current SEI message and that are associated with picture timing SEI messages
having pic_struct equal to 3 or 4. The first rectangle applies to the first field of a frame in output order and the second
rectangle applies to the second field of a frame in output order, where the output order between two fields in one frame is
as shown in Table D.2 for pic_struct equal to 3 or 4.
pan_scan_cnt_minus1 equal to 2 indicates that three pan-scan rectangles are specified that apply to the decoded pictures
that are within the persistence scope of the current SEI message and that are associated with picture timing SEI messages
having pic_struct equal to 5 or 6. The first rectangle applies to the first field of the frame in output order, the second
rectangle applies to the second field of the frame in output order, and the third rectangle applies to a repetition of the first
field as a third field in output order, where the output order of fields in one frame is as shown in Table D.2 for pic_struct
equal to 5 or 6.
pan_scan_rect_left_offset[ i ],          pan_scan_rect_right_offset[ i ],      pan_scan_rect_top_offset[ i ]         and
pan_scan_rect_bottom_offset[ i ], specify, as signed integer quantities in units of one-sixteenth sample spacing relative
to the luma sampling grid, the location of the i-th pan-scan rectangle. The values of each of these four syntax elements
shall be in the range of −231 + 1 to 231 − 1, inclusive.
The pan-scan rectangle is specified, in units of one-sixteenth sample spacing relative to a luma sampling grid, as the region
with horizontal coordinates from 16 * SubWidthC * conf_win_left_offset + pan_scan_rect_left_offset[ i ] to
16 * ( CtbSizeY * PicWidthInCtbsY − SubWidthC * conf_win_right_offset ) + pan_scan_rect_right_offset[ i ] − 1 and
with vertical coordinates from 16 *SubHeightC * conf_win_top_offset + pan_scan_rect_top_offset[ i ] to
16 * ( CtbSizeY * PicHeightInCtbsY − SubHeightC * conf_win_bottom_offset ) + pan_scan_rect_bottom_offset[ i ] − 1,
inclusive. The value of 16 * SubWidthC * conf_win_left_offset + pan_scan_rect_left_offset[ i ] shall be less than or equal
to 16 * ( CtbSizeY * PicWidthInCtbsY − SubWidthC * conf_win_right_offset ) + pan_scan_rect_right_offset[ i ] − 1 and
the value of 16 * SubHeightC * conf_win_top_offset + pan_scan_rect_top_offset[ i ] shall be less than or equal to
16 * ( CtbSizeY * PicHeightInCtbsY − SubHeightC * conf_win_bottom_offset ) + pan_scan_rect_bottom_offset[ i ] − 1.
When the pan-scan rectangular area includes samples outside of the conformance cropping window, the region outside of
the conformance cropping window may be filled with synthesized content (such as black video content or neutral grey
video content) for display.
pan_scan_rect_persistence_flag specifies the persistence of the pan-scan rectangle SEI message for the current layer.
pan_scan_rect_persistence_flag equal to 0 specifies that the pan-scan rectangle information applies to the current decoded
picture only.
Let picA be the current picture. pan_scan_rect_persistence_flag equal to 1 specifies that the pan-scan rectangle information
persists for the current layer in output order until any of the following conditions are true:
–     A new CLVS of the current layer begins.
–     The bitstream ends.
–     A picture picB in the current layer in an access unit containing a pan-scan rectangle SEI message with the same value
      of pan_scan_rect_id and applicable to the current layer is output for which PicOrderCnt( picB ) is greater than
      PicOrderCnt( picA ), where PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and
      picA, respectively, immediately after the invocation of the decoding process for picture order count for picB.

D.3.5      Filler payload SEI message semantics
This SEI message contains a series of payloadSize bytes of value 0xFF, which can be discarded.
ff_byte shall be a byte having the value 0xFF.

D.3.6      User data registered by Recommendation ITU-T T.35 SEI message semantics
This SEI message contains user data registered as specified in Recommendation ITU-T T.35, the contents of which are not
specified in this Specification.
itu_t_t35_country_code shall be a byte having a value specified as a country code by Annex A of Recommendation ITU-
T T.35.
itu_t_t35_country_code_extension_byte shall be a byte having a value specified as a country code by Annex B of
Recommendation ITU-T T.35.
itu_t_t35_payload_byte shall be a byte containing data registered as specified in Recommendation ITU-T T.35.


330         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7               Filed 04/07/25            Page 352 of 717 Page ID #:881


The ITU-T T.35 terminal provider code and terminal provider oriented code shall be contained in the first one or more
bytes of the itu_t_t35_payload_byte, in the format specified by the Administration that issued the terminal provider code.
Any remaining itu_t_t35_payload_byte data shall be data having syntax and semantics as specified by the entity identified
by the ITU-T T.35 country code and terminal provider code.

D.3.7      User data unregistered SEI message semantics
This SEI message contains unregistered user data identified by a universal unique identifier (UUID), the contents of which
are not specified in this Specification.
uuid_iso_iec_11578 shall have a value specified as a UUID according to the procedures of Annex A of ISO/IEC
11578:1996.
user_data_payload_byte shall be a byte containing data having syntax and semantics as specified by the UUID generator.

D.3.8      Recovery point SEI message semantics
The recovery point SEI message assists a decoder in determining when the decoding process will produce acceptable
pictures for display after the decoder initiates random access or after the encoder indicates a broken link in the CVS. When
the decoding process is started with the access unit in decoding order associated with the recovery point SEI message, all
decoded pictures at or subsequent to the recovery point in output order specified in this SEI message are indicated to be
correct or approximately correct in content. Decoded pictures produced by random access at or before the picture associated
with the recovery point SEI message need not be correct in content until the indicated recovery point, and the operation of
the decoding process starting at the picture associated with the recovery point SEI message may contain references to
pictures unavailable in the decoded picture buffer.
In addition, by use of the broken_link_flag, the recovery point SEI message can indicate to the decoder the location of
some pictures in the bitstream that can result in serious visual artefacts when displayed, even when the decoding process
was begun at the location of a previous IRAP access unit in decoding order.
   NOTE 1 – The broken_link_flag can be used by encoders to indicate the location of a point after which the decoding process for the
   decoding of some pictures may cause references to pictures that, though available for use in the decoding process, are not the pictures
   that were used for reference when the bitstream was originally encoded (e.g., due to a splicing operation performed during the
   generation of the bitstream).

When random access is performed to start decoding from the access unit associated with the recovery point SEI message,
the decoder operates as if the associated picture was the first picture in the bitstream in decoding order, and the variables
prevPicOrderCntLsb and prevPicOrderCntMsb used in derivation of PicOrderCntVal are both set equal to 0.
   NOTE 2 – When HRD information is present in the bitstream, a buffering period SEI message should be associated with the access
   unit associated with the recovery point SEI message in order to establish initialization of the HRD buffer model after a random
   access.

Any SPS or PPS RBSP that is referred to by a picture associated with a recovery point SEI message or by any picture
following such a picture in decoding order shall be available to the decoding process prior to its activation, regardless of
whether or not the decoding process is started at the beginning of the bitstream or with the access unit, in decoding order,
that is associated with the recovery point SEI message.
recovery_poc_cnt specifies the recovery point of decoded pictures in output order. If there is a picture picA that follows
the current picture (i.e., the picture associated with the current SEI message) in decoding order in the CVS and that has
PicOrderCntVal equal to the PicOrderCntVal of the current picture plus the value of recovery_poc_cnt, the picture picA
is referred to as the recovery point picture. Otherwise, the first picture in output order that has PicOrderCntVal greater than
the PicOrderCntVal of the current picture plus the value of recovery_poc_cnt is referred to as the recovery point picture.
The recovery point picture shall not precede the current picture in decoding order. All decoded pictures in output order are
indicated to be correct or approximately correct in content starting at the output order position of the recovery point picture.
The value of recovery_poc_cnt shall be in the range of −MaxPicOrderCntLsb / 2 to MaxPicOrderCntLsb / 2 − 1, inclusive.
exact_match_flag indicates whether decoded pictures at and subsequent to the specified recovery point in output order
derived by starting the decoding process at the access unit associated with the recovery point SEI message will be an exact
match to the pictures that would be produced by starting the decoding process at the location of a previous IRAP access
unit, if any, in the bitstream. The value 0 indicates that the match may not be exact and the value 1 indicates that the match
will be exact. When exact_match_flag is equal to 1, it is a requirement of bitstream conformance that the decoded pictures
at and subsequent to the specified recovery point in output order derived by starting the decoding process at the access unit
associated with the recovery point SEI message shall be an exact match to the pictures that would be produced by starting
the decoding process at the location of a previous IRAP access unit, if any, in the bitstream.
   NOTE 3 – When performing random access, decoders should infer all references to unavailable pictures as references to pictures
   containing only intra coding blocks and having sample values given by Y equal to ( 1 << ( BitDepthY − 1 ) ), Cb and Cr both equal
   to ( 1 << ( BitDepthC − 1 ) ) (mid-level grey), regardless of the value of exact_match_flag.




                                                                                       Rec. ITU-T H.265 v8 (08/2021)                331
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 353 of 717 Page ID #:882


When exact_match_flag is equal to 0, the quality of the approximation at the recovery point is chosen by the encoding
process and is not specified in this Specification.
broken_link_flag indicates the presence or absence of a broken link in the NAL unit stream at the location of the recovery
point SEI message and is assigned further semantics as follows:
–     If broken_link_flag is equal to 1, pictures produced by starting the decoding process at the location of a previous
      IRAP access unit may contain undesirable visual artefacts to the extent that decoded pictures at and subsequent to the
      access unit associated with the recovery point SEI message in decoding order should not be displayed until the
      specified recovery point in output order.
–     Otherwise (broken_link_flag is equal to 0), no indication is given regarding any potential presence of visual artefacts.
When the current picture is a BLA picture, the value of broken_link_flag shall be equal to 1.
Regardless of the value of the broken_link_flag, pictures subsequent to the specified recovery point in output order are
specified to be correct or approximately correct in content.

D.3.9       Scene information SEI message semantics
A scene and a scene transition are herein defined as a set of consecutive pictures in output order.
    NOTE 1 – Decoded pictures within one scene generally have similar content. The scene information SEI message is used to label
    pictures with scene identifiers and to indicate scene changes. The message specifies how the source pictures for the labelled pictures
    were created. The decoder may use the information to select an appropriate algorithm to conceal transmission errors. For example,
    a specific algorithm may be used to conceal transmission errors that occurred in pictures belonging to a gradual scene transition.
    Furthermore, the scene information SEI message may be used in a manner determined by the application, such as for indexing the
    scenes of a video sequence.

A scene information SEI message labels all pictures of the current layer, in decoding order, from the coded picture to which
the SEI message is associated (inclusive) to the coded picture to which the next scene information SEI message applicable
to the current layer (when present) in decoding order is associated (exclusive) or (otherwise) to the last picture in the CLVS
(inclusive). These pictures are herein referred to as the target pictures.
    NOTE 2 – The semantics of the scene information SEI message apply layer-wise. However, the scene information SEI message may
    be contained within a scalable nesting SEI message, which may help in reducing the number of scene information SEI messages, as
    scene changes and transitions apply across layers.

scene_info_present_flag equal to 0 indicates that the scene or scene transition to which the target pictures belong is
unspecified. scene_info_present_flag equal to 1 indicates that the target pictures belong to the same scene or scene
transition.
prev_scene_id_valid_flag equal to 0 specifies that the scene_id value of the picture preceding the first picture of the target
pictures in output order is considered unspecified in the semantics of the syntax elements of this SEI message.
prev_scene_id_valid_flag equal to 1 specifies that the scene_id value of the picture preceding the first picture of the target
pictures in output order is specified by the previous scene information SEI message in decoding order. When the previous
scene information SEI message applicable to the current layer is within the same CLVS as the current scene information
SEI message, prev_scene_id_valid_flag shall be equal to 1.
    NOTE 3 – When a current scene information SEI message is associated with the first picture, in decoding order, of a CLVS,
    prev_scene_id_valid_flag equal to 1 indicates that the scene_id values of the current scene information SEI message and the previous
    scene information SEI message applicable to the current layer in decoding order can be used to conclude whether their target pictures
    belong to the same scene or to different scenes.
    NOTE 4 – When CVS B is concatenated to CVS A and CVS A represents a different scene than the scene CVS B represents, it
    should be noticed that the scene_id value specified for the last picture with a particular nuh_layer_id value of CVS A affects the
    semantics of the scene information SEI message associated with that particular nuh_layer_id value and the first picture, in decoding
    order, of CVS B, when the SEI message is present. Hence, as part of such a concatenation operation, the value of
    prev_scene_id_valid_flag should be set equal to 0 in the scene information SEI message associated with the first picture, in decoding
    order, of CVS B, when the SEI message is present.

scene_id identifies the scene to which the target pictures belong. When the value of scene_transition_type of the target
pictures is less than 4, and the previous picture in output order is marked with a value of scene_transition_type less than 4,
and the value of scene_id is the same as the value of scene_id of the previous picture in output order, this indicates that the
source scene for the target pictures and the source scene for the previous picture (in output order) are considered by the
encoder to have been the same scene. When the value of scene_transition_type of the target pictures is greater than 3, and
the previous picture in output order is marked with a value of scene_transition_type less than 4, and the value of scene_id
is the same as the value of scene_id of the previous picture in output order, this indicates that one of the source scenes for
the target pictures and the source scene for the previous picture (in output order) are considered by the encoder to have
been the same scene. When the value of scene_id is not equal to the value of scene_id of the previous picture in output
order, this indicates that the target pictures and the previous picture (in output order) are considered by the encoder to have
been from different source scenes.



332         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 354 of 717 Page ID #:883


The value of scene_id shall be in the range of 0 to 232 − 2, inclusive.
Values of scene_id in the range of 0 to 255, inclusive, and in the range of 512 to 231 − 1, inclusive, may be used as
determined by the application. Values of scene_id in the range of 256 to 511, inclusive, and in the range of 2 31 to 232 − 2,
inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of scene_id in the range of 256
to 511, inclusive, or in the range of 231 to 232 − 2, inclusive, shall ignore it.
    NOTE 5 – When the first picture picA, in decoding order, of the CLVS vidSeqA represents a different scene than the last picture, in
    output order, of the previous CLVS of the same layer and a scene information SEI message is associated with PicA, the scene_id
    value of that scene information SEI message should have a random value within the value ranges constrained above. Subsequent
    scene_id and second_scene_id values may be selected for example by incrementing the initial randomly selected scene_id value.
    Consequently, when concatenating vidSeqA to a CLVS vidSeqB of the same layer, accidental use of the same scene_id values in
    vidSeqA and vidSeqB is unlikely.

scene_transition_type specifies in which type of a scene transition (if any) the target pictures are involved. The valid
values of scene_transition_type are specified in Table D.3.

                                           Table D.3 – scene_transition_type values

                                 Value                                  Description

                                    0           No transition

                                    1           Fade to black

                                    2           Fade from black

                                    3           Unspecified transition from or to constant colour

                                    4           Dissolve

                                    5           Wipe

                                    6           Unspecified mixture of two scenes



When scene_transition_type is greater than 3, the target pictures include contents both from the scene labelled by its
scene_id and the next scene, in output order, which is labelled by second_scene_id (see below). The term "the current
scene" is used to indicate the scene labelled by scene_id. The term "the next scene" is used to indicate the scene labelled
by second_scene_id. It is not required for any following picture, in output order, to be labelled with scene_id equal to
second_scene_id of the current SEI message.
Scene transition types are specified as follows:
–    "No transition" specifies that the target pictures are not involved in a gradual scene transition.
           NOTE 6 – When two consecutive pictures in output order have scene_transition_type equal to 0 and different values of
           scene_id, a scene cut occurred between the two pictures.
–    "Fade to black" indicates that the target pictures are part of a sequence of pictures, in output order, involved in a fade
     to black scene transition, i.e., the luma samples of the scene gradually approach zero and the chroma samples of the
     scene gradually approach 128.
           NOTE 7 – When two pictures are labelled to belong to the same scene transition and their scene_transition_type is "Fade to
           black", the later one, in output order, is darker than the previous one.
–    "Fade from black" indicates that the target pictures are part of a sequence of pictures, in output order, involved in a
     fade from black scene transition, i.e., the luma samples of the scene gradually diverge from zero and the chroma
     samples of the scene may gradually diverge from 128.
           NOTE 8 – When two pictures are labelled to belong to the same scene transition and their scene_transition_type is "Fade
           from black", the later one in output order is lighter than the previous one.
–    "Dissolve" indicates that the sample values of each target picture (before encoding) were generated by calculating a
     sum of co-located weighted sample values of a picture from the current scene and a picture from the next scene. The
     weight of the current scene gradually decreases from full level to zero level, whereas the weight of the next scene
     gradually increases from zero level to full level. When two pictures are labelled to belong to the same scene transition
     and their scene_transition_type is "Dissolve", the weight of the current scene for the later one, in output order, is less
     than the weight of the current scene for the previous one, and the weight of the next scene for the later one, in output
     order, is greater than the weight of the next scene for the previous one.
–    "Wipe" indicates that some of the sample values of each target picture (before encoding) were generated by copying
     co-located sample values of a picture in the current scene and the remaining sample values of each target picture


                                                                                      Rec. ITU-T H.265 v8 (08/2021)              333
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 355 of 717 Page ID #:884


      (before encoding) were generated by copying co-located sample values of a picture in the next scene. When two
      pictures are labelled to belong to the same scene transition and their scene_transition_type is "Wipe", the number of
      samples copied from the next scene to the later picture in output order is greater than the number of samples copied
      from the next scene to the previous picture.
second_scene_id identifies the next scene in the gradual scene transition in which the target pictures are involved. The
value of second_scene_id shall not be equal to the value of scene_id. The value of second_scene_id shall not be equal to
the value of scene_id in the previous picture in output order. When the next picture in output order is marked with a value
of scene_transition_type less than 4, and the value of second_scene_id is the same as the value of scene_id of the next
picture in output order, this indicates that the encoder considers one of the source scenes for the target pictures and the
source scene for the next picture (in output order) to have been the same scene. When the value of second_scene_id is not
equal to the value of scene_id or second_scene_id (when present) of the next picture in output order, this indicates that the
encoder considers the target pictures and the next picture (in output order) to have been from different source scenes.
When the value of scene_id of a picture is equal to the value of scene_id of the following picture in output order and the
value of scene_transition_type in both of these pictures is less than 4, this indicates that the encoder considers the two
pictures to have been from the same source scene. When the values of scene_id, scene_transition_type and
second_scene_id (when present) of a picture are equal to the values of scene_id, scene_transition_type and
second_scene_id (respectively) of the following picture in output order and the value of scene_transition_type is greater
than 0, this indicates that the encoder considers the two pictures to have been from the same source gradual scene transition.
The value of second_scene_id shall be in the range of 0 to 232 − 2, inclusive.
Values of second_scene_id in the range of 0 to 255, inclusive, and in the range of 512 to 231 − 1, inclusive, may be used as
determined by the application. Values of second_scene_id in the range of 256 to 511, inclusive, and in the range of 231
to 232 − 2, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of second_scene_id
in the range of 256 to 511, inclusive, or in the range of 231 to 232 − 2, inclusive, shall ignore it.

D.3.10     Picture snapshot SEI message semantics
The picture snapshot SEI message indicates that the current picture is labelled for use as determined by the application as
a still-image snapshot of the video content.
snapshot_id specifies a snapshot identification number. snapshot_id shall be in the range of 0 to 232 − 2, inclusive.
Values of snapshot_id in the range of 0 to 255, inclusive, and in the range of 512 to 231 − 1, inclusive, may be used as
determined by the application. Values of snapshot_id in the range of 256 to 511, inclusive, and in the range of 231 to 232 − 2,
inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of snapshot_id in the range of
256 to 511, inclusive, or in the range of 231 to 232 − 2, inclusive, shall ignore it.

D.3.11     Progressive refinement segment start SEI message semantics
The progressive refinement segment start SEI message specifies the beginning of a set of consecutive coded pictures in the
current layer in decoding order that consists of the current picture and a sequence of one or more subsequent pictures in
the current layer that refine the quality of the current picture, rather than a representation of a continually moving scene.
Let picA be the current picture. The tagged set of consecutive coded pictures refinementPicSet in the current layer consists
of, in decoding order, the next picture in the current layer after the current picture in decoding order, when present, followed
by zero or more pictures in the current layer, including all subsequent pictures in the current layer up to but not including
any subsequent picture picB in the current layer for which one of the following conditions is true:
–     The picture picB starts a new CLVS of the current layer.
–     The value of pic_order_cnt_delta is greater than 0 and the PicOrderCntVal of the picture picB, i.e.,
      PicOrderCnt( picB ) is greater than PicOrderCnt( picA ) + pic_order_cnt_delta, where PicOrderCnt( picB ) and
      PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively, immediately after the invocation
      of the decoding process for picture order count for picB.
–     The picture picB is associated with a progressive refinement segment end SEI message that has the same
      progressive_refinement_id as the one in this SEI message and also applies to the current layer is decoded.
The decoding order of pictures within refinementPicSet should be the same as their output order.
progressive_refinement_id specifies an identification number for                  the progressive      refinement    operation.
progressive_refinement_id shall be in the range of 0 to 232 − 2, inclusive.
Values of progressive_refinement_id in the range of 0 to 255, inclusive, and in the range of 512 to 231 − 1, inclusive, may
be used as determined by the application. Values of progressive_refinement_id in the range of 256 to 511, inclusive, and
in the range of 231 to 232 − 2, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of
progressive_refinement_id in the range of 256 to 511, inclusive, or in the range of 231 to 232 − 2, inclusive, shall ignore it.



334         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 356 of 717 Page ID #:885


pic_order_cnt_delta specifies the last picture in refinementPicSet in decoding order as follows:
–    If pic_order_cnt_delta is equal to 0, the last picture in refinementPicSet in decoding order is the following picture:
     –     If the CLVS contains one or more pictures in the current layer that follow the current picture in decoding order
           and are associated with a progressive refinement segment end SEI message that has the same
           progressive_refinement_id and also applies to the current layer, the last picture in refinementPicSet in decoding
           order is the first of these pictures in decoding order.
     –     Otherwise, the last picture in refinementPicSet in decoding order is the last picture in the current layer within the
           CLVS in decoding order.
–    Otherwise, the last picture in refinementPicSet in decoding order is the following picture:
     –     If the CLVS contains one or more pictures in the current layer that follow the current picture in decoding order,
           that are associated with a progressive refinement segment end SEI message with the same
           progressive_refinement_id and applicable to the current layer, and that precede any picture picC in the current
           layer in the CLVS for which PicOrderCnt( picC ) is greater than PicOrderCnt( picA ) + pic_order_cnt_delta,
           where PicOrderCnt( picC ) and PicOrderCnt( picA ) are the PicOrderCntVal of the picC and picA, respectively,
           immediately after the invocation of the decoding process for picture order count for picC, the last picture in
           refinementPicSet in decoding order is the first of these pictures in decoding order.
     –     Otherwise, if the CLVS contains one or more pictures picD in the current layer that follow the current picture in
           decoding order for which PicOrderCnt( picD ) is greater than PicOrderCnt( picA ) + pic_order_cnt_delta, where
           PicOrderCnt( picD ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picD and picA, respectively,
           immediately after the invocation of the decoding process for picture order count for picD, the last picture in
           refinementPicSet in decoding order is the last picture in the current layer that precedes the first of these pictures
           in decoding order.
     –     Otherwise, the last picture in refinementPicSet in decoding order is the last picture in the current layer within the
           CLVS in decoding order.
The value of pic_order_cnt_delta shall be in the range of 0 to 256, inclusive.

D.3.12 Progressive refinement segment end SEI message semantics
The progressive refinement segment end SEI message specifies the end of a set of consecutive coded pictures that has been
labelled by use of a progressive refinement segment start SEI message as an initial picture followed by a sequence of one
or more pictures of the refinement of the quality of the initial picture and ending with the current picture.
progressive_refinement_id specifies an identification number for                       the progressive       refinement     operation.
progressive_refinement_id shall be in the range of 0 to 232 − 2, inclusive.
The progressive refinement segment end SEI message specifies the end of any progressive refinement segment previously
started using a progressive refinement segment start SEI message with the same value of progressive_refinement_id.
Values of progressive_refinement_id in the range of 0 to 255, inclusive, and in the range of 512 to 231 − 1, inclusive, may
be used as determined by the application. Values of progressive_refinement_id in the range of 256 to 511, inclusive, and
in the range of 231 to 232 − 2, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of
progressive_refinement_id in the range of 256 to 511, inclusive, or in the range of 231 to 232 − 2, inclusive, shall ignore it.

D.3.13     Film grain characteristics SEI message semantics
This SEI message provides the decoder with a parameterized model for film grain synthesis.
    NOTE 1 – For example, an encoder could use the film grain characteristics SEI message to characterize film grain that was present
    in the original source video material and was removed by pre-processing filtering techniques. Synthesis of simulated film grain on
    the decoded images for the display process is optional and does not need to exactly follow the specified semantics of the film grain
    characteristics SEI message. When synthesis of simulated film grain on the decoded images for the display process is performed,
    there is no requirement that the method by which the synthesis is performed be the same as the parameterized model for the film
    grain as provided in the film grain characteristics SEI message.
    NOTE 2 – The display process is not specified in this Specification.
    NOTE 3 – SMPTE RDD 5 specifies a film grain simulator based on the information provided in the film grain characteristics SEI
    message.

The film grain models specified in the film grain characteristics SEI message are expressed for application to decoded
pictures that have 4:4:4 colour format with luma and chroma bit depths corresponding to the luma and chroma bit depths
of the film grain model and use the same colour representation domain as the identified film grain model. When the colour
format of the decoded video is not 4:4:4 or the decoded video uses a different luma or chroma bit depth from that of the
film grain model or uses a different colour representation domain from that of the identified film grain model, an
unspecified conversion process is expected to be applied to convert the decoded pictures to the form that is expressed for
application of the film grain model.


                                                                                      Rec. ITU-T H.265 v8 (08/2021)               335
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25            Page 357 of 717 Page ID #:886


   NOTE 4 – Because the use of a specific method is not required for performing the film grain generation function used by the display
   process, a decoder could, if desired, down-convert the model information for chroma in order to simulate film grain for other chroma
   formats (4:2:0 or 4:2:2) rather than up-converting the decoded video (using a method not specified in this Specification) before
   performing film grain generation.

film_grain_characteristics_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous
film grain characteristics SEI message in output order that applies to the current layer.
film_grain_characteristics_cancel_flag equal to 0 indicates that film grain modelling information follows.
film_grain_model_id identifies the film grain simulation model as specified in Table D.4. The value of
film_grain_model_id shall be in the range of 0 to 1, inclusive. The values of 2 and 3 for film_grain_model_id are reserved
for future use by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this version of this Specification.
Decoders shall ignore film grain characteristic SEI messages with film_grain_model_id equal to 2 or 3.

                                            Table D.4 – film_grain_model_id values

                                               Value                    Description
                                                  0            Frequency filtering
                                                  1            Auto-regression


separate_colour_description_present_flag equal to 1 indicates that a distinct combination of luma bit depth, chroma bit
depth, video full range flag, colour primaries, transfer characteristics, and matrix coefficients for the film grain
characteristics specified in the SEI message is present in the film grain characteristics SEI message syntax.
separate_colour_description_present_flag equal to 0 indicates that the combination of luma bit depth, chroma bit depth,
video full range flag, colour primaries, transfer characteristics, and matrix coefficients for the film grain characteristics
specified in the SEI message are the same as indicated in the VUI parameters for the CVS.
   NOTE 5 – When separate_colour_description_present_flag is equal to 1, any of the luma bit depth, chroma bit depth, video full
   range flag, colour primaries, transfer characteristics, and matrix coefficients specified for the film grain characteristics specified in
   the SEI message could differ from those for the pictures in the CVS.

When VUI parameters are not present for the CVS or the value of colour_description_present_flag is equal to 0, and
equivalent information to that conveyed when colour_description_present_flag is equal to 1 is not conveyed by external
means, separate_colour_description_present_flag shall be equal to 1.
The decoded image Idecoded used in the equations in this clause is in the same colour representation domain as the simulated
film grain signal. Therefore, when any of these parameters does differ from that for the pictures in the CVS, the decoded
image Idecoded used in the equations in this clause would be in a different colour representation domain than that for the
pictures in the CVS. For example, when the value of film_grain_bit_depth_luma_minus8 + 8 is greater than the bit depth
of the luma component of the pictures in the CVS, the bit depth of Idecoded used in the equations in this clause is also greater
than the bit depth of the luma component of the pictures in the CVS. In such a case, the decoded image Idecoded corresponding
to an actual decoded picture would be generated by converting the actual decoded picture to be in the same colour
representation domain as the simulated film grain signal. The process for converting the actual decoded pictures to the
4:4:4 colour format with same colour representation domain as the simulated film grain signal is not specified in this
Specification.
film_grain_bit_depth_luma_minus8 plus 8 specifies the bit depth used for the luma component of the film grain
characteristics specified in the SEI message. When film_grain_bit_depth_luma_minus8 is not present in the film grain
characteristics SEI message, the value of film_grain_bit_depth_luma_minus8 is inferred to be equal to
bit_depth_luma_minus8.
The value of filmGrainBitDepth[ 0 ] is derived as follows:

       filmGrainBitDepth[ 0 ] = film_grain_bit_depth_luma_minus8 + 8                                                                (D-3)

film_grain_bit_depth_chroma_minus8 plus 8 specifies the bit depth used for the Cb and Cr components of the film grain
characteristics specified in the SEI message. When film_grain_bit_depth_chroma_minus8 is not present in the film grain
characteristics SEI message, the value of film_grain_bit_depth_chroma_minus8 is inferred to be equal to
bit_depth_chroma_minus8.
The value of filmGrainBitDepth[ c ] for c = 1 and 2 is derived as follows:

       filmGrainBitDepth[ c ] = film_grain_bit_depth_chroma_minus8 + 8, with c = 1, 2                                               (D-4)

film_grain_full_range_flag has the same semantics as specified in clause E.3.1 for the video_full_range_flag syntax
element, except as follows:


336         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25          Page 358 of 717 Page ID #:887


–    film_grain_full_range_flag specifies the video full range flag of the film grain characteristics specified in the SEI
     message, rather than the video full range flag used for the CVS.
–    When film_grain_full_range_flag is not present in the film grain characteristics SEI message, the value of
     film_grain_full_range_flag is inferred to be equal to video_full_range_flag.
film_grain_colour_primaries has the same semantics as specified in clause E.3.1 for the colour_primaries syntax
element, except as follows:
–    film_grain_colour_primaries specifies the colour primaries of the film grain characteristics specified in the SEI
     message, rather than the colour primaries used for the CVS.
–    When film_grain_colour_primaries is not present in the film grain characteristics SEI message, the value of
     film_grain_colour_primaries is inferred to be equal to colour_primaries.
film_grain_transfer_characteristics has the same semantics as specified in clause E.3.1 for the transfer_characteristics
syntax element, except as follows:
–    film_grain_transfer_characteristics specifies the transfer characteristics of the film grain characteristics specified in
     the SEI message, rather than the transfer characteristics used for the CVS.
–    When film_grain_transfer_characteristics is not present in the film grain characteristics SEI message, the value of
     film_grain_transfer_characteristics is inferred to be equal to transfer_characteristics.
film_grain_matrix_coeffs has the same semantics as specified in clause E.3.1 for the matrix_coeffs syntax element,
except as follows:
–    film_grain_matrix_coeffs specifies the matrix coefficients of the film grain characteristics specified in the SEI
     message, rather than the matrix coefficients used for the CVS.
–    When film_grain_matrix_coeffs is not present in the film grain characteristics SEI message, the value of
     film_grain_matrix_coeffs is inferred to be equal to matrix_coeffs.
–    The values allowed for film_grain_matrix_coeffs are not constrained by the chroma format of the decoded pictures
     that is indicated by the value of chroma_format_idc for the semantics of the VUI parameters.
blending_mode_id identifies the blending mode used to blend the simulated film grain with the decoded images as
specified in Table D.5. blending_mode_id shall be in the range of 0 to 1, inclusive. The values of 2 and 3 for
blending_mode_id are reserved for future use by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to
this version of this Specification. Decoders shall ignore film grain characteristic SEI messages with blending_mode_id
equal to 2 or 3.

                                           Table D.5 – blending_mode_id values

                                             Value                 Description
                                               0           Additive
                                               1           Multiplicative



Depending on the value of blending_mode_id, the blending mode is specified as follows:
–    If blending_mode_id is equal to 0, the blending mode is additive as specified by:

       Igrain[ c ][ x ][ y ] = Clip3( 0, ( 1 << filmGrainBitDepth[ c ] ) − 1, Idecoded[ c ][ x ][ y ] + G[ c ][ x ][ y ] )
           (D-5)

–    Otherwise (blending_mode_id is equal to 1), the blending mode is multiplicative as specified by:

       Igrain[ c ][ x ][ y ] = Clip3( 0, ( 1 << filmGrainBitDepth[ c ] ) − 1, Idecoded[ c ][ x ][ y ] +                    (D-6)
                      Round( ( Idecoded[ c ][ x ][ y ] * G[ c ][ x ][ y ] ) ÷ ( ( 1 << bitDepth[ c ] ) − 1 ) ) )

where Idecoded[ c ][ x ][ y ] represents the sample value at coordinates x, y of the colour component c of the decoded image
Idecoded, G[ c ][ x ][ y ] is the simulated film grain value at the same position and colour component, and
filmGrainBitDepth[ c ] is the number of bits used for each sample in a fixed-length unsigned binary representation of the
arrays Igrain[ c ][ x ][ y ], Idecoded[ c ][ x ][ y ], and G[ c ][ x ][ y ], where c = 0..2, x = 0..pic_width_in_luma_samples − 1,
and y = 0..pic_height_in_luma_samples − 1.
log2_scale_factor specifies a scale factor used in the film grain characterization equations.




                                                                                  Rec. ITU-T H.265 v8 (08/2021)             337
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 359 of 717 Page ID #:888


comp_model_present_flag[ c ] equal to 0 indicates that film grain is not modelled on the c-th colour component, where c
equal to 0 refers to the luma component, c equal to 1 refers to the Cb component, and c equal to 2 refers to the Cr component.
comp_model_present_flag[ c ] equal to 1 indicates that syntax elements specifying modelling of film grain on colour
component c are present in the SEI message.
When separate_colour_description_present_flag is equal to 0 and chroma_format_idc is equal to 0, the value of
comp_model_present_flag[ 1 ] and comp_model_present_flag[ 2 ] shall be equal to 0.
num_intensity_intervals_minus1[ c ] plus 1 specifies the number of intensity intervals for which a specific set of model
values has been estimated.
    NOTE 6 – The intensity intervals could overlap in order to simulate multi-generational film grain.

num_model_values_minus1[ c ] plus 1 specifies the number of model values present for each intensity interval in which
the film grain has been modelled. The value of num_model_values_minus1[ c ] shall be in the range of 0 to 5, inclusive.
intensity_interval_lower_bound[ c ][ i ] specifies the lower bound of the i-th intensity interval for which the set of model
values applies.
intensity_interval_upper_bound[ c ][ i ] specifies the upper bound of the i-th intensity interval for which the set of model
values applies.
The variable intensityIntervalIdx[ c ][ x ][ y ][ j ] represents the j-th index to the list of intensity intervals selected for the
sample         value        Idecoded[ c ][ x ][ y ]         for        c = 0..2,        x = 0..pic_width_in_luma_samples − 1,
y = 0..pic_height_in_luma_samples − 1,           and       j = 0..numApplicableIntensityIntervals[ c ][ x ][ y ] − 1,        where
numApplicableIntensityIntervals[ c ][ x ][ y ] is derived below.
Depending on the value of film_grain_model_id, the selection of one or more intensity intervals for the sample value
Idecoded[ c ][ x ][ y ] is specified as follows:
–     The variable numApplicableIntensityIntervals[ c ][ x ][ y ] is initially set equal to 0.
–     If film_grain_model_id is equal to 0, the following applies:
      –     The top-left sample location ( xB, yB ) of the current 8x8 block b that contains the sample value
            Idecoded[ c ][ x ][ y ] is derived as ( xB, yB ) = ( x / 8, y / 8 ).
      –     The average value bavg of the current 8x8 block b is derived as follows:

                sum8x8 = 0
                for( i = 0; i < 8; i++ )
                for( j = 0; j < 8; j++ )
                   sum8x8 += Idecoded[ c ][ xB * 8 + i ][ yB * 8 + j ]                                   (D-7)
                bavg = Clip3( 0, 255,
                ( sum8x8 + ( 1 << ( filmGrainBitDepth[ c ] − 3 ) ) ) >> ( filmGrainBitDepth[ c ] − 2 ) )

      –     The values of intensityIntervalIdx[ c ][ x ][ y ][ j ] and numApplicableIntensityIntervals[ c ][ x ][ y ] are derived
            as follows:

                for( i = 0, j = 0; i <= num_intensity_intervals_minus1[ c ]; i++ )
                if( bavg >= intensity_interval_lower_bound[ c ][ i ]
                           && bavg <= intensity_interval_upper_bound[ c ][ i ] ) {
                      intensityIntervalIdx[ c ][ x ][ y ][ j ] = i                                                         (D-8)
                      j++
                }
                numApplicableIntensityIntervals[ c ][ x ][ y ] = j

–     Otherwise (film_grain_model_id is equal to 1), the values of intensityIntervalIdx[ c ][ x ][ y ][ j ] and
      numApplicableIntensityIntervals[ c ][ x ][ y ] are derived as follows:

          I8[ c ][ x ][ y ] = ( filmGrainBitDepth[ c ] = = 8 ) ? ( Idecoded[ c ][ x ][ y ] :
                   Clip3( 0, 255, ( Idecoded[ c ][ x ][ y ] +
                        ( 1 << ( filmGrainBitDepth[ c ] − 9 ) ) ) >> ( filmGrainBitDepth[ c ] − 8 ) )
          for( i = 0, j = 0; i <= num_intensity_intervals_minus1[ c ]; i++ )
             if( I8[ c ][ x ][ y ] >= intensity_interval_lower_bound[ c ][ i ] &&
                        I8[ c ][ x ][ y ] <= intensity_interval_upper_bound[ c ][ i ] ) {                                  (D-9)
                   intensityIntervalIdx[ c ][ x ][ y ][ j ] = i
                   j++


338           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                   Document 1-7                 Filed 04/07/25     Page 360 of 717 Page ID #:889


         }
       numApplicableIntensityIntervals[ c ][ x ][ y ] = j

Samples that do not fall into any of the defined intervals (i.e., those samples for which the value of
numApplicableIntensityIntervals[ c ][ x ][ y ] is equal to 0) are not modified by the grain generation function. Samples that
fall into more than one interval (i.e., those samples for which the value of numApplicableIntensityIntervals[ c ][ x ][ y ] is
greater than 1) will originate multi-generation grain. Multi-generation grain results from adding the grain computed
independently for each of the applicable intensity intervals.
In the equations in the remainder of this clause, the variable sj in each instance of the list comp_model_value[ c ][ sj ] is
the value of intensityIntervalIdx[ c ][ x ][ y ][ j ] derived for the sample value Idecoded[ c ][ x ][ y ].
comp_model_value[ c ][ i ][ j ] specifies the j-th model value present for the colour component c and the i-th intensity
interval. The set of model values has different meaning depending on the value of film_grain_model_id.
The value of comp_model_value[ c ][ i ][ j ] is constrained as follows, and could be additionally constrained as specified
elsewhere in this clause:
–    If film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ j ] shall be in the range of 0 to 2filmGrainBitDepth[ c ] − 1,
     inclusive.
–    Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ j ] shall be in the range of
     −2( filmGrainBitDepth[ c ] − 1 ) to 2( filmGrainBitDepth[ c ] − 1 ) − 1, inclusive.
Depending on the value of film_grain_model_id, the synthesis of the film grain is modelled as follows:
–    If film_grain_model_id is equal to 0, a frequency filtering model enables simulating the original film grain for c = 0..2,
     x = 0..pic_width_in_luma_samples − 1 and y = 0..pic_height_in_luma_samples − 1 as specified by:

       G[ c ][ x ][ y ] = ( comp_model_value[ c ][ sj ][ 0 ] * Q[ c ][ x ][ y ] + comp_model_value[ c ][ sj ][ 5 ] *
                                  G[ c − 1 ][ x ][ y ] ) >> log2_scale_factor                               (D-10)

     where Q[ c ] is a two-dimensional random process generated by filtering 16x16 blocks gaussRv with random variable
     elements gaussRvij generated with a normalized Gaussian distribution (independent and identically distributed
     Gaussian random variable samples with zero mean and unity variance) and the value of an element G[ c − 1 ][ x ][ y ]
     used in the right-hand side of the equation is inferred to be equal to 0 when c − 1 is less than 0.
          NOTE 7 – A normalized Gaussian random variable can be generated from two independent, uniformly distributed random
          variables over the interval from 0 to 1 (and not equal to 0), denoted as uRv0 and uRv1, using the Box-Muller transformation
          specified by:

                   gaussRvi,j = Sqrt( −2 * Ln( uRv0 ) ) * Cos( 2 * π * uRv1 )                                               (D-11)

          where  is Archimedes' constant 3.141 592 653 589 793....
     The band-pass filtering of blocks gaussRv can be performed in the discrete cosine transform (DCT) domain as follows:

       for( y = 0; y < 16; y++ )
           for( x = 0; x < 16; x++ )
              if( ( x < comp_model_value[ c ][ sj ][ 3 ] && y < comp_model_value[ c ][ sj ][ 4 ] ) | |                      (D-12)
                  x > comp_model_value[ c ][ sj ][ 1 ] | | y > comp_model_value[ c ][ sj ][ 2 ] )
                  gaussRv[ x ][ y ] = 0
       filteredRv = IDCT16x16( gaussRv )

     where IDCT16x16( z ) refers to a unitary inverse discrete cosine transformation (IDCT) operating on a 16x16 matrix
     argument z as specified by:

       IDCT16x16( z ) = r * z * rT                                                                                          (D-13)

     where the superscript T indicates a matrix transposition and r is the 16x16 matrix with elements rij specified by:
                        ( ( i = = 0 ) ? 1 ∶ Sqrt( 2 )             i*(2*j+1 )*π
               ri,j =                                   ∗ Cos (                  )                                          (D-14)
                                     4                                 32

     where  is Archimedes' constant 3.141 592 653 589 793....
     Q[ c ] is formed by the frequency-filtered blocks filteredRv.




                                                                                     Rec. ITU-T H.265 v8 (08/2021)             339
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25           Page 361 of 717 Page ID #:890


            NOTE 8 – Coded model values are based on blocks of size 16x16, but a decoder implementation could use other block sizes.
            For example, decoders implementing the IDCT on 8x8 blocks could down-convert by a factor of two the set of coded model
            values comp_model_value[ c ][ sj ][ i ] for i equal to 1..4.
            NOTE 9 – To reduce the degree of visible blocks that can result from mosaicking the frequency-filtered blocks filteredRv,
            decoders could apply a low-pass filter to the boundaries between frequency-filtered blocks.
–     Otherwise (film_grain_model_id is equal to 1), an auto-regression model enables simulating the original film grain
      for c = 0..2, x = 0..pic_width_in_luma_samples − 1, and y = 0..pic_height_in_luma_samples − 1 as specified by:

          G[ c ][ x ][ y ] = ( comp_model_value[ c ][ sj ][ 0 ] * n[ c ][ x ][ y ] +
             comp_model_value[ c ][ sj ][ 1 ] * ( G[ c ][ x − 1 ][ y ] + ( ( comp_model_value[ c ][ sj ][ 4 ] *
             G[ c ][ x ][ y − 1 ] ) >>
                 log2_scale_factor ) ) +
             comp_model_value[ c ][ sj ][ 3 ] * ( ( ( comp_model_value[ c ][ sj ][ 4 ] * G[ c ][ x − 1 ][ y − 1 ] )
             >>
                 log2_scale_factor ) + G[ c ][ x + 1 ][ y − 1 ] ) +
             comp_model_value[ c ][ sj ][ 5 ] * ( G[ c ][ x − 2 ][ y ] +
                 ( ( comp_model_value[ c ][ sj ][ 4 ] * comp_model_value[ c ][ sj ][ 4 ] * G[ c ][ x ][ y − 2 ] ) >>
                     ( 2 * log2_scale_factor ) ) ) +
             comp_model_value[ c ][ sj ][ 2 ] * G[ c − 1 ][ x ][ y ] ) >> log2_scale_factor                    (D-15)

      where n[ c ][ x ][ y ] is a random variable with normalized Gaussian distribution (independent and identically
      distributed Gaussian random variable samples with zero mean and unity variance for each value of c, x, and y) and
      the value of an element G[ c ][ x ][ y ] used in the right-hand side of the equation is inferred to be equal to 0 when any
      of the following conditions are true:
      –     x is less than 0,
      –     y is less than 0,
      –     c is less than 0.
comp_model_value[ c ][ i ][ 0 ] provides the first model value for the model as specified by film_grain_model_id.
comp_model_value[ c ][ i ][ 0 ] corresponds to the standard deviation of the Gaussian noise term in the generation
functions specified in Equations D-10 through D-15.
comp_model_value[ c ][ i ][ 1 ] provides the second model value for the model as specified by film_grain_model_id. When
film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 1 ] shall be greater than or equal to 0 and less than 16.
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 1 ] is inferred as follows:
–     If film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 1 ] is inferred to be equal to 8.
–     Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ 1 ] is inferred to be equal to 0.
comp_model_value[ c ][ i ][ 1 ] is interpreted as follows:
–     If film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 1 ] indicates the horizontal high cut frequency to
      be used to filter the DCT of a block of 16x16 random values.
–     Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ 1 ] indicates the first order spatial
      correlation for neighbouring samples at positions ( x − 1, y ) and ( x, y − 1 ).
comp_model_value[ c ][ i ][ 2 ] provides the third model value for the model as specified by film_grain_model_id. When
film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 2 ] shall be greater than or equal to 0 and less than 16.
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 2 ] is inferred as follows:
–     If film_grain_model_id is equal to 0,                comp_model_value[ c ][ i ][ 2 ] is inferred          to be equal to
      comp_model_value[ c ][ i ][ 1 ]
–     Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ 2 ] is inferred to be equal to 0.
comp_model_value[ c ][ i ][ 2 ] is interpreted as follows:
–     If film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 2 ] indicates the vertical high cut frequency to be
      used to filter the DCT of a block of 16x16 random values.
–     Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ 2 ] indicates the colour correlation
      between consecutive colour components.




340           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 362 of 717 Page ID #:891


comp_model_value[ c ][ i ][ 3 ] provides the fourth model value for the model as specified by film_grain_model_id. When
film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 3 ] shall be greater than or equal to 0 and less than or equal
to comp_model_value[ c ][ i ][ 1 ].
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 3 ] is inferred to be equal to 0.
comp_model_value[ c ][ i ][ 3 ] is interpreted as follows:
–    If film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 3 ] indicates the horizontal low cut frequency to be
     used to filter the DCT of a block of 16x16 random values.
–    Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ 3 ] indicates the first order spatial
     correlation for neighbouring samples at positions ( x − 1, y − 1 ) and ( x + 1, y − 1 ).
comp_model_value[ c ][ i ][ 4 ] provides the fifth model value for the model as specified by film_grain_model_id. When
film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 4 ] shall be greater than or equal to 0 and less than or equal
to comp_model_value[ c ][ i ][ 2 ].
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 4 ] is inferred to be equal to
film_grain_model_id.
comp_model_value[ c ][ i ][ 4 ] is interpreted as follows:
–    If film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 4 ] indicates the vertical low cut frequency to be
     used to filter the DCT of a block of 16x16 random values.
–    Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ 4 ] indicates the aspect ratio of the
     modelled grain.
comp_model_value[ c ][ i ][ 5 ] provides the sixth model value for the model as specified by film_grain_model_id.
When not present in the film grain characteristics SEI message, comp_model_value[ c ][ i ][ 5 ] is inferred to be equal to 0.
comp_model_value[ c ][ i ][ 5 ] is interpreted as follows:
–    If film_grain_model_id is equal to 0, comp_model_value[ c ][ i ][ 5 ] indicates the colour correlation between
     consecutive colour components.
–    Otherwise (film_grain_model_id is equal to 1), comp_model_value[ c ][ i ][ 5 ] indicates the second order spatial
     correlation for neighbouring samples at positions ( x, y − 2 ) and ( x − 2, y ).
film_grain_characteristics_persistence_flag specifies the persistence of the film grain characteristics SEI message for
the current layer.
film_grain_characteristics_persistence_flag equal to 0 specifies that the film grain characteristics SEI message applies to
the current decoded picture only.
Let picA be the current picture. film_grain_characteristics_persistence_flag equal to 1 specifies that the film grain
characteristics SEI message persists for the current layer in output order until any of the following conditions are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB in the current layer in an access unit containing a film grain characteristics SEI message that is
     applicable to the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where
     PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
     immediately after the invocation of the decoding process for picture order count for picB.

D.3.14     Post-filter hint SEI message semantics
This SEI message provides the coefficients of a post-filter or correlation information for the design of a post-filter for
potential use in post-processing of the current picture after it is decoded and output to obtain improved displayed quality.
filter_hint_size_y specifies the vertical size of the filter coefficient or correlation array. The value of filter_hint_size_y
shall be in the range of 1 to 15, inclusive.
filter_hint_size_x specifies the horizontal size of the filter coefficient or correlation array. The value of filter_hint_size_x
shall be in the range of 1 to 15, inclusive.
filter_hint_type identifies the type of the transmitted filter hints as specified in Table D.6. The value of filter_hint_type
shall be in the range of 0 to 2, inclusive. The value of filter_hint_type equal to 3 is reserved for future use by
ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this version of this Specification. Decoders shall
ignore post-filter hint SEI messages having filter_hint_type equal to 3.



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            341
Case 2:25-cv-03053                     Document 1-7                              Filed 04/07/25            Page 363 of 717 Page ID #:892


                                                           Table D.6 – filter_hint_type values

                                           Value                                          Description

                                              0                   Coefficients of a 2D-FIR filter

                                              1                   Coefficients of two 1D-FIR filters

                                              2                   Cross-correlation matrix



filter_hint_value[ cIdx ][ cy ][ cx ] specifies a filter coefficient or an element of a cross-correlation matrix between the
original and the decoded signal with 16-bit precision. The value of filter_hint_value[ cIdx ][ cy ][ cx ] shall be in the range
of −231 + 1 to 231 − 1, inclusive. cIdx specifies the related colour component, cy represents a counter in vertical direction
and cx represents a counter in horizontal direction. Depending on the value of filter_hint_type, the following applies:
–     If filter_hint_type is equal to 0, the coefficients of a 2-dimensional finite impulse response (FIR) filter with the size of
      filter_hint_size_y * filter_hint_size_x are transmitted.
–     Otherwise, if filter_hint_type is equal to 1, the filter coefficients of two 1-dimensional FIR filters are transmitted. In
      this case, filter_hint_size_y shall be equal to 2. The index cy equal to 0 specifies the filter coefficients of the horizontal
      filter and cy equal to 1 specifies the filter coefficients of the vertical filter. In the filtering process, the horizontal filter
      is applied first and the result is filtered by the vertical filter.
–     Otherwise (filter_hint_type is equal to 2), the transmitted hints specify a cross-correlation matrix between the original
      signal s and the decoded signal s′.
            NOTE 1 – The normalized cross-correlation matrix for a related colour component identified by cIdx with the size of
            filter_hint_size_y * filter_hint_size_x is defined as follows:

                                                                                     h −1 w −1

                                                                                       s(m, n) * s(m + cy − OffsetY, n + cx − OffsetX)
                                                                         1                                                                  (D-16)
                  filter_hint_value(cIdx, cy, cx) =
                                                           8+ bitDepth
                                                      (2                 − 1) * h * w
                                                                             2
                                                                                     m =0 n =0


            where s denotes array of samples of the colour component cIdx of the original picture, s′ denotes corresponding array of the
            decoded picture, h denotes the vertical height of the related colour component, w denotes the horizontal width of the related
            colour component, bitDepth denotes the bit depth of the colour component, OffsetY is equal to ( filter_hint_size_y >> 1 ),
            OffsetX is equal to ( filter_hint_size_x >> 1 ), 0 <= cy < filter_hint_size_y and 0 <= cx < filter_hint_size_x.
            NOTE 2 – A decoder can derive a Wiener post-filter from the cross-correlation matrix of original and decoded signal and the
            auto-correlation matrix of the decoded signal.

D.3.15      Tone mapping information SEI message semantics
This SEI message provides information to enable remapping of the colour samples of the output decoded pictures for
customization to particular display environments. The remapping process maps coded sample values in the RGB colour
space (specified in Annex E) to target sample values. The mappings are expressed either in the luma or RGB colour space
domain and should be applied to the luma component or to each RGB component produced by colour space conversion of
the decoded image accordingly.
tone_map_id contains an identifying number that may be used to identify the purpose of the tone mapping model. The
value of tone_map_id shall be in the range of 0 to 232 − 2, inclusive.
Values of tone_map_id from 0 to 255, inclusive, and from 512 to 231 − 1, inclusive, may be used as determined by the
application. Values of tone_map_id from 256 to 511, inclusive, and from 231 to 232 − 2, inclusive, are reserved for future
use by ITU-T | ISO/IEC. Decoders encountering a value of tone_map_id in the range of 256 to 511, inclusive, or in the
range of 231 to 232 − 2, inclusive, shall ignore it.
    NOTE 1 – The tone_map_id can be used to support tone mapping operations that are suitable for different display scenarios. For
    example, different values of tone_map_id may correspond to different display bit depths.

tone_map_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous tone mapping
information SEI message in output order that applies to the current layer. tone_map_cancel_flag equal to 0 indicates that
tone mapping information follows.
tone_map_persistence_flag specifies the persistence of the tone mapping information SEI message.
tone_map_persistence_flag equal to 0 specifies that the tone mapping information applies to the current decoded picture
only.




342          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7               Filed 04/07/25   Page 364 of 717 Page ID #:893


Let picA be the current picture. tone_map_persistence_flag equal to 1 specifies that the tone mapping information persists
for the current layer in output order until any of the following conditions are true:
–    A new CLVS of the current layer begins.
–    A picture picB in the current layer in an access unit containing a tone mapping information SEI message with the
     same value of tone_map_id and applicable to the current layer is output for which PicOrderCnt( picB ) is greater than
     PicOrderCnt( picA ), where PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and
     picA, respectively, immediately after the invocation of the decoding process for picture order count for picB.
coded_data_bit_depth specifies the BitDepthY for interpretation of the luma component of the associated pictures for
purposes of interpretation of the tone mapping information SEI message. When tone mapping information SEI messages
are present that have coded_data_bit_depth that is not equal to BitDepthY, these refer to the hypothetical result of a
transcoding operation performed to convert the coded video to the BitDepthY corresponding to the value of
coded_data_bit_depth.
The value of coded_data_bit_depth shall be in the range of 8 to 14, inclusive. Values of coded_data_bit_depth from 0 to 7
and from 15 to 255 are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore all tone mapping SEI messages
that contain a coded_data_bit_depth in the range of 0 to 7, inclusive, or in the range of 15 to 255, inclusive, and bitstreams
shall not contain such values.
target_bit_depth specifies the bit depth of the output of the dynamic range mapping function (or tone mapping function)
described by the tone mapping information SEI message. The tone mapping function specified with a particular
target_bit_depth is suggested to be reasonable for all display bit depths that are less than or equal to the target_bit_depth.
The value of target_bit_depth shall be in the range of 1 to 16, inclusive. Values of target_bit_depth equal to 0 and in the
range of 17 to 255, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore all tone mapping SEI
messages that contain a value of target_bit_depth equal to 0 or in the range of 17 to 255, inclusive, and bitstreams shall not
contain such values.
tone_map_model_id specifies the model utilized for mapping the coded data into the target_bit_depth range. Values
greater than 4 are reserved for future use by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this
version of this Specification. Decoders shall ignore all tone mapping SEI messages that contain a value of
tone_map_model_id greater than 4 and bitstreams shall not contain such values.
    NOTE 2 – A tone_map_model_id of 0 corresponds to a linear mapping with clipping; a tone_map_model_id of 1 corresponds to a
    sigmoidal mapping; a tone_map_model_id of 2 corresponds to a user-defined table mapping, and a tone_map_model_id of 3
    corresponds to a piece-wise linear mapping, tone_map_model_id of 4 corresponds to luminance dynamic range information.

min_value specifies the RGB sample value that maps to the minimum value in the bit depth indicated by target_bit_depth.
It is used in combination with the max_value parameter. All sample values in the decoded picture that are less than or
equal to min_value, after conversion to RGB as necessary, are mapped to this minimum value in the target_bit_depth
representation.
max_value specifies the RGB sample value that maps to the maximum value in the bit depth indicated by target_bit_depth.
It is used in combination with the min_value parameter. All sample values in the decoded picture that are greater than or
equal to max_value, after conversion to RGB as necessary, are mapped to this maximum value in the target_bit_depth
representation.
When present, max_value shall be greater than or equal to min_value.
sigmoid_midpoint specifies the RGB sample value of the coded data that are mapped to the centre point of the
target_bit_depth representation. It is used in combination with the sigmoid_width parameter.
sigmoid_width specifies the distance between two coded data values that approximately correspond to the 5% and 95%
values of the target_bit_depth representation, respectively. It is used in combination with the sigmoid_midpoint parameter
and is interpreted according to the following function:

                                                                  
                                                                  
                                     2 target_bit_depth
                                                         − 1                                                        (D-17)
        f (i ) = Round
                                 − 6 * (i − sigmoid_midpoint)  
                       1 + exp                               
                      
                                         sigmoid_width        

where f( i ) denotes the function that maps an RGB sample value i from the coded data to a resulting RGB sample value in
the target_bit_depth representation.
start_of_coded_interval[ i ] specifies the beginning point of an interval in the coded data such that all RGB sample values
that are greater than or equal to start_of_coded_interval[ i ] and less than start_of_coded_interval[ i + 1 ] are mapped to i



                                                                                Rec. ITU-T H.265 v8 (08/2021)           343
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 365 of 717 Page ID #:894


in the target bit depth representation. The value of start_of_coded_interval[ 2target_bit_depth ] is equal to 2coded_data_bit_depth. The
number of bits used for the representation of the start_of_coded_interval is ( ( coded_data_bit_depth + 7 ) >> 3 ) << 3.
num_pivots specifies the number of pivot points in the piece-wise linear mapping function without counting the two
default end points, (0, 0) and ( 2coded_data_bit_depth − 1, 2target_bit_depth − 1 ).
coded_pivot_value[ i ] specifies the value in the coded_data_bit_depth corresponding to the i-th pivot point. The number
of bits used for the representation of the coded_pivot_value is ( ( coded_data_bit_depth + 7 ) >> 3 ) << 3.
target_pivot_value[ i ] specifies the value in the reference target_bit_depth corresponding to the i-th pivot point. The
number of bits used for the representation of the target_pivot_value is ( ( target_bit_depth + 7 ) >> 3 ) << 3.
camera_iso_speed_idc indicates the camera ISO speed for daylight illumination as specified in ISO 12232, interpreted as
specified in Table D.7. When camera_iso_speed_idc indicates EXTENDED_ISO, the ISO speed is indicated by
camera_iso_speed_value.
camera_iso_speed_value indicates the camera ISO speed for daylight illumination as specified in ISO 12232 when
camera_iso_speed_idc indicates EXTENDED_ISO. The value of camera_iso_speed_value shall not be equal to 0.
exposure_idx_idc indicates the exposure index setting of the camera as specified in ISO 12232, interpreted as specified
in Table D.7. When exposure_idx_idc indicates EXTENDED_ISO, the exposure index is indicated by
exposure_idx_value.
The values of camera_iso_speed_idc and exposure_idx_idc in the range of 31 to 254, inclusive, are reserved for future use
by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this version of this Specification. Decoders
conforming to this version of this Specification shall ignore tone mapping SEI messages that contain these values.
exposure_idx_value indicates the exposure index setting of the camera as specified in ISO 12232 when exposure_idx_idc
indicates EXTENDED_ISO. The value of exposure_idx_value shall not be equal to 0.




344         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7          Filed 04/07/25        Page 366 of 717 Page ID #:895


                   Table D.7 – Interpretation of camera_iso_speed_idc and exposure_idx_idc
                                 camera_iso_speed_idc or         Indicated value
                                    exposure_idx_idc
                                            0                     Unspecified
                                            1                          10
                                            2                          12
                                            3                          16
                                            4                          20
                                            5                          25
                                            6                          32
                                            7                          40
                                            8                          50
                                            9                          64
                                            10                         80
                                            11                        100
                                            12                        125
                                            13                        160
                                            14                        200
                                            15                        250
                                            16                        320
                                            17                        400
                                            18                        500
                                            19                        640
                                            20                        800
                                            21                       1 000
                                            22                       1 250
                                            23                       1 600
                                            24                       2 000
                                            25                       2 500
                                            26                       3 200
                                            27                       4 000
                                            28                       5 000
                                            29                       6 400
                                            30                       8 000
                                         31..254                   Reserved
                                           255                 EXTENDED_ISO


exposure_compensation_value_sign_flag, when applicable as specified below, specifies the sign of the variable
ExposureCompensationValue that indicates the exposure compensation value setting used for the process of image
production.
exposure_compensation_value_numerator, when applicable as specified below, specifies the numerator of the variable
ExposureCompensationValue that indicates the exposure compensation value setting used for the process of image
production.
exposure_compensation_value_denom_idc, when not equal to 0, specifies the denominator of the variable
ExposureCompensationValue that indicates the exposure compensation value setting used for the process of image
production.



                                                                        Rec. ITU-T H.265 v8 (08/2021)        345
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 367 of 717 Page ID #:896


When exposure_compensation_value_denom_idc is present and not equal to 0, the variable ExposureCompensationValue
is    derived    from     exposure_compensation_value_sign_flag,         exposure_compensation_value_numerator      and
exposure_compensation_value_denom_idc. exposure_compensation_value_sign_flag equal to 0 indicates that the
ExposureCompensationValue is positive. exposure_compensation_value_sign_flag equal to 1 indicates that the
ExposureCompensationValue is negative. When ExposureCompensationValue is positive, the image is indicated to have
been further sensitized through the process of production, relative to the recommended exposure index of the camera as
specified in ISO 12232. When ExposureCompensationValue is negative, the image is indicated to have been further
desensitized through the process of production, relative to the recommended exposure index of the camera as specified in
ISO 12232.
When exposure_compensation_value_denom_idc is present and not equal to 0, the variable ExposureCompensationValue
is derived as follows:

         ExposureCompensationValue = ( 1 − 2 * exposure_compensation_value_sign_flag ) *
              exposure_compensation_value_numerator ÷
              exposure_compensation_value_denom_idc
           (D-18)

The value of ExposureCompensationValue is interpreted in units of exposure steps such that an increase of 1 in
ExposureCompensationValue corresponds to a doubling of exposure in units of lux-seconds. For example, the exposure
compensation value equal to +1÷2 at the production stage may be indicated by setting
exposure_compensation_value_sign_flag    to    0,    exposure_compensation_value_numerator        to     1     and
exposure_compensation_value_denom_idc to 2.
When exposure_compensation_value_denom_idc is present and equal to 0, the exposure compensation value is indicated
as unknown or unspecified.
ref_screen_luminance_white indicates the reference screen brightness setting for the extended white level used for image
production process in units of candelas per square metre.
extended_range_white_level indicates the luminance dynamic range for extended dynamic-range display of the
associated pictures, after conversion to the linear light domain for display, expressed as an integer percentage relative to
the nominal white level. The value of extended_range_white_level should be greater than or equal to 100.
nominal_black_level_code_value indicates the luma sample value of the associated decoded pictures to which the
nominal black level is assigned. For example, when coded_data_bit_depth is equal to 8, video_full_range_flag is equal
to 0, and matrix_coeffs is equal to 1, nominal_black_level_code_value should be equal to 16.
nominal_white_level_code_value indicates the luma sample value of the associated decoded pictures to which the
nominal white level is assigned. For example, when coded_data_bit_depth is equal to 8, video_full_range_flag is equal
to 0 and matrix_coeffs is equal to 1, nominal_white_level_code_value should be equal to 235. When present, the value of
nominal_white_level_code_value shall be greater than nominal_black_level_code_value.
extended_white_level_code_value indicates the luma sample value of the associated decoded pictures to which the white
level associated with an extended dynamic range is assigned. When present, the value of extended_white_level_code_value
shall be greater than or equal to nominal_white_level_code_value.

D.3.16      Frame packing arrangement SEI message semantics
This SEI message informs the decoder that the output cropped decoded picture contains samples of multiple distinct
spatially packed constituent frames that are packed into one frame, or that the output cropped decoded pictures in output
order form a temporal interleaving of alternating first and second constituent frames, using an indicated frame packing
arrangement scheme. This information can be used by the decoder to appropriately rearrange the samples and process the
samples of the constituent frames appropriately for display or other purposes (which are outside the scope of this
Specification).
This SEI message may be associated with pictures that are either frames (when field_seq_flag is equal to 0) or fields (when
field_seq_flag is equal to 1). The frame packing arrangement of the samples is specified in terms of the sampling structure
of a frame in order to define a frame packing arrangement structure that is invariant with respect to whether a picture is a
single field of such a packed frame or is a complete packed frame.
When general_non_packed_constraint_flag is equal to 1 for a CVS, there shall be no frame packing arrangement SEI
messages in the CVS.
frame_packing_arrangement_id contains an identifying number that may be used to identify the usage of the frame
packing arrangement SEI message. The value of frame_packing_arrangement_id shall be in the range of 0 to 232 − 2,
inclusive.



346         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 368 of 717 Page ID #:897


Values of frame_packing_arrangement_id from 0 to 255, inclusive, and from 512 to 231 − 1, inclusive, may be used as
determined by the application. Values of frame_packing_arrangement_id from 256 to 511, inclusive, and from 231
to 232 − 2, inclusive, are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of
frame_packing_arrangement_id in the range of 256 to 511, inclusive, or in the range of 231 to 232 − 2, inclusive, shall ignore
it.
frame_packing_arrangement_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any
previous frame packing arrangement SEI message in output order that applies to the current layer.
frame_packing_arrangement_cancel_flag equal to 0 indicates that frame packing arrangement information follows.
frame_packing_arrangement_type identifies the indicated interpretation of the sample arrays of the output cropped
decoded picture as specified in Table D.8.
When frame_packing_arrangement_type is equal to 3 or 4, each component plane of the output cropped decoded picture
contains all samples (when field_pic_flag is equal to 0) or the samples corresponding to the top or bottom field (when
field_pic_flag is equal to 1) of the samples of a frame packing arrangement structure.


                               Table D.8 – Definition of frame_packing_arrangement_type


  Value                                                         Interpretation
     3      The frame packing arrangement structure contains a side-by-side packing arrangement of corresponding
            planes of two constituent frames as illustrated in Figure D.4, Figure D.5 and Figure D.8.
     4      The frame packing arrangement structure contains a top-bottom packing arrangement of corresponding
            planes of two constituent frames as illustrated in Figure D.6 and Figure D.7.
     5      The component planes of the output cropped decoded pictures in output order form a temporal interleaving
            of alternating first and second constituent frames as illustrated in Figure D.9.


   NOTE 1 – Figure D.4 to Figure D.8 provide typical examples of rearrangement and upconversion processing for various packing
   arrangement schemes. Actual characteristics of the constituent frames are signalled in detail by the subsequent syntax elements of
   the frame packing arrangement SEI message. In Figure D.4 to Figure D.8, an upconversion processing is performed on each
   constituent frame to produce frames having the same resolution as that of the decoded frame. An example of the upsampling method
   to be applied to a quincunx sampled frame as shown in Figure D.8 is to fill in missing positions with an average of the available
   spatially neighbouring samples (the average of the values of the available samples above, below, to the left and to the right of each
   sample to be generated). The actual upconversion process to be performed, if any, is outside the scope of this Specification.
   NOTE 2 – When the output time of the samples of constituent frame 0 differs from the output time of the samples of constituent
   frame 1 (i.e., when field_views_flag is equal to 1 or frame_packing_arrangement_type is equal to 5) and the display system in use
   presents two views simultaneously, the display time for constituent frame 0 should be delayed to coincide with the display time for
   constituent frame 1. (The display process is not specified in this Specification.)
   NOTE 3 – When field_views_flag is equal to 1 or frame_packing_arrangement_type is equal to 5, the value 0 for
   fixed_pic_rate_within_cvs_flag is not expected to be prevalent in industry use of this SEI message.
   NOTE 4 – frame_packing_arrangement_type equal to 5 describes a temporal interleaving process of different views.

All other values of frame_packing_arrangement_type are reserved for future use by ITU-T | ISO/IEC. It is a requirement
of bitstream conformance that bitstreams conforming to this version of this Specification shall not contain such other values
of frame_packing_arrangement_type. Decoders shall ignore frame packing arrangement SEI messages that contain
reserved values of frame_packing_arrangement_type.
quincunx_sampling_flag equal to 1 indicates that each colour component plane of each constituent frame is quincunx
sampled as illustrated in Figure D.8 and quincunx_sampling_flag equal to 0 indicates that the colour component planes of
each constituent frame are not quincunx sampled.
When frame_packing_arrangement_type is equal to 5, it is a requirement of bitstream conformance that
quincunx_sampling_flag shall be equal to 0.
   NOTE 5 – For any chroma format (4:2:0, 4:2:2 or 4:4:4), the luma plane and each chroma plane is quincunx sampled as illustrated
   in Figure D.8 when quincunx_sampling_flag is equal to 1.

content_interpretation_type indicates the intended interpretation of the constituent frames as specified in Table D.9.
Values of content_interpretation_type that do not appear in Table D.9 are reserved for future specification by ITU-T |
ISO/IEC and shall not be present in bitstreams conforming to this version of this Specification. Decoders shall ignore frame
packing arrangement SEI messages that contain reserved values of content_interpretation_type.




                                                                                     Rec. ITU-T H.265 v8 (08/2021)                347
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 369 of 717 Page ID #:898


For each specified frame packing arrangement scheme, there are two constituent frames that are referred to as frame 0 and
frame 1.

                                   Table D.9 – Definition of content_interpretation_type

    Value                                                        Interpretation
       0       Unspecified relationship between the frame packed constituent frames
       1       Indicates that the two constituent frames form the left and right views of a stereo view scene, with frame 0
               being associated with the left view and frame 1 being associated with the right view
       2       Indicates that the two constituent frames form the right and left views of a stereo view scene, with frame 0
               being associated with the right view and frame 1 being associated with the left view


    NOTE 6 – The value 2 for content_interpretation_type is not expected to be prevalent in industry use of this SEI message. However,
    the value was specified herein for purposes of completeness.

spatial_flipping_flag equal to 1, when frame_packing_arrangement_type is equal to 3 or 4, indicates that one of the two
constituent frames is spatially flipped relative to its intended orientation for display or other such purposes.
When frame_packing_arrangement_type is equal to 3 or 4 and spatial_flipping_flag is equal to 1, the type of spatial flipping
that is indicated is as follows:
–     If frame_packing_arrangement_type is equal to 3, the indicated spatial flipping is horizontal flipping.
–     Otherwise (frame_packing_arrangement_type is equal to 4), the indicated spatial flipping is vertical flipping.
When frame_packing_arrangement_type is not equal to 3 or 4, it is a requirement of bitstream conformance that
spatial_flipping_flag shall be equal to 0. When frame_packing_arrangement_type is not equal to 3 or 4, the value 1 for
spatial_flipping_flag is reserved for future use by ITU-T | ISO/IEC. When frame_packing_arrangement_type is not equal
to 3 or 4, decoders shall ignore the value 1 for spatial_flipping_flag.
frame0_flipped_flag, when spatial_flipping_flag is equal to 1, indicates which one of the two constituent frames is flipped.
When spatial_flipping_flag is equal to 1, frame0_flipped_flag equal to 0 indicates that frame 0 is not spatially flipped and
frame 1 is spatially flipped and frame0_flipped_flag equal to 1 indicates that frame 0 is spatially flipped and frame 1 is not
spatially flipped.
When spatial_flipping_flag is equal to 0, it is a requirement of bitstream conformance that frame0_flipped_flag shall be
equal to 0. When spatial_flipping_flag is equal to 0, the value 1 for spatial_flipping_flag is reserved for future use by ITU-
T | ISO/IEC. When spatial_flipping_flag is equal to 0, decoders shall ignore the value of frame0_flipped_flag.
field_views_flag equal to 1 indicates that all pictures in the current CVS are coded as fields, all fields of a particular parity
are considered a first constituent frame and all fields of the opposite parity are considered a second constituent frame. It is
a requirement of bitstream conformance that the field_views_flag shall be equal to 0, the value 1 for field_views_flag is
reserved for future use by ITU-T | ISO/IEC and decoders shall ignore the value of field_views_flag.
current_frame_is_frame0_flag equal to 1, when frame_packing_arrangement_type is equal to 5, indicates that the current
decoded frame is constituent frame 0 and the next decoded frame in output order is constituent frame 1 and the display
time of the constituent frame 0 should be delayed to coincide with the display time of constituent frame 1.
current_frame_is_frame0_flag equal to 0, when frame_packing_arrangement_type is equal to 5, indicates that the current
decoded frame is constituent frame 1 and the previous decoded frame in output order is constituent frame 0 and the display
time of the constituent frame 1 should not be delayed for purposes of stereo-view pairing.
When frame_packing_arrangement_type is not equal to 5, the constituent frame associated with the upper-left sample of
the decoded frame is considered to be constituent frame 0 and the other constituent frame is considered to be constituent
frame 1. When frame_packing_arrangement_type is not equal to 5, it is a requirement of bitstream conformance that
current_frame_is_frame0_flag shall be equal to 0. When frame_packing_arrangement_type is not equal to 5, the value 1
for current_frame_is_frame0_flag is reserved for future use by ITU-T | ISO/IEC. When frame_packing_arrangement_type
is not equal to 5, decoders shall ignore the value of current_frame_is_frame0_flag.
frame0_self_contained_flag equal to 1 indicates that no inter prediction operations within the decoding process for the
samples of constituent frame 0 of the CVS refer to samples of any constituent frame 1. frame0_self_contained_flag equal
to 0 indicates that some inter prediction operations within the decoding process for the samples of constituent frame 0 of
the CVS may or may not refer to samples of some constituent frame 1. Within a CVS, the value of
frame0_self_contained_flag in all frame packing arrangement SEI messages shall be the same.




348         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 370 of 717 Page ID #:899


frame1_self_contained_flag equal to 1 indicates that no inter prediction operations within the decoding process for the
samples of constituent frame 1 of the CVS refer to samples of any constituent frame 0. frame1_self_contained_flag equal
to 0 indicates that some inter prediction operations within the decoding process for the samples of constituent frame 1 of
the CVS may or may not refer to samples of some constituent frame 0. Within a CVS, the value of
frame1_self_contained_flag in all frame packing arrangement SEI messages shall be the same.
When quincunx_sampling_flag is equal to 0 and frame_packing_arrangement_type is not equal to 5, two ( x, y ) coordinate
pairs are specified to determine the indicated luma sampling grid alignment for constituent frame 0 and constituent frame
1, relative to the upper left corner of the rectangular area represented by the samples of the corresponding constituent
frame.
    NOTE 7 – The location of chroma samples relative to luma samples can be indicated by the chroma_sample_loc_type_top_field and
    chroma_sample_loc_type_bottom_field syntax elements in the video usability information (VUI) parameters.

frame0_grid_position_x (when present) specifies the x component of the ( x, y ) coordinate pair for constituent frame 0.
frame0_grid_position_y (when present) specifies the y component of the ( x, y ) coordinate pair for constituent frame 0.
frame1_grid_position_x (when present) specifies the x component of the ( x, y ) coordinate pair for constituent frame 1.
frame1_grid_position_y (when present) specifies the y component of the ( x, y ) coordinate pair for constituent frame 1.
When quincunx_sampling_flag is equal to 0 and frame_packing_arrangement_type is not equal to 5 the ( x, y ) coordinate
pair for each constituent frame is interpreted as follows:
–    If the ( x, y ) coordinate pair for a constituent frame is equal to ( 0, 0 ), this indicates a default sampling grid alignment
     specified as follows:
     –     If frame_packing_arrangement_type is equal to 3, the indicated position is the same as for the ( x, y ) coordinate
            pair value ( 4, 8 ), as illustrated in Figure D.4.
     –     Otherwise (frame_packing_arrangement_type is equal to 4), the indicated position is the same as for the ( x, y )
           coordinate pair value ( 8, 4 ), as illustrated in Figure D.6.
–    Otherwise, if the ( x, y ) coordinate pair for a constituent frame is equal to ( 15, 15 ), this indicates that the sampling
     grid alignment is unknown or unspecified or specified by other means not specified in this Specification.
–    Otherwise, the x and y elements of the ( x, y ) coordinate pair specify the indicated horizontal and vertical sampling
     grid alignment positioning to the right of and below the upper left corner of the rectangular area represented by the
     corresponding constituent frame, respectively, in units of one sixteenth of the luma sample grid spacing between the
     samples of the columns and rows of the constituent frame that are present in the decoded frame (prior to any
     upsampling for display or other purposes).
    NOTE 8 – The spatial location reference information frame0_grid_position_x, frame0_grid_position_y, frame1_grid_position_x,
    and frame1_grid_position_y is not provided when quincunx_sampling_flag is equal to 1 because the spatial alignment in this case
    is assumed to be such that constituent frame 0 and constituent frame 1 cover corresponding spatial areas with interleaved quincunx
    sampling patterns as illustrated in Figure D.8.

frame_packing_arrangement_reserved_byte is reserved for future use by ITU-T | ISO/IEC. It is a requirement of
bitstream conformance that the value of frame_packing_arrangement_reserved_byte shall be equal to 0. All other values
of frame_packing_arrangement_reserved_byte are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the
value of frame_packing_arrangement_reserved_byte.
frame_packing_arrangement_persistence_flag specifies the persistence of the frame packing arrangement SEI message
for the current layer.
frame_packing_arrangement_persistence_flag equal to 0 specifies that the frame packing arrangement SEI message applies
to the current decoded frame only.
Let picA be the current picture. frame_packing_arrangement_persistence_flag equal to 1 specifies that the frame packing
arrangement SEI message persists for the current layer in output order until any of the following conditions are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A frame picB in the current layer in an access unit containing a frame packing arrangement SEI message with the
     same value of frame_packing_arrangement_id and applicable to the current layer is output for which
     PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where PicOrderCnt( picB ) and PicOrderCnt( picA ) are the
     PicOrderCntVal values of picB and picA, respectively, immediately after the invocation of the decoding process for
     picture order count for picB.
upsampled_aspect_ratio_flag equal to 1 indicates that the sample aspect ratio (SAR) indicated by the VUI parameters of
the SPS identifies the SAR of the samples after the application of an upconversion process to produce a higher resolution


                                                                                    Rec. ITU-T H.265 v8 (08/2021)               349
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25               Page 371 of 717 Page ID #:900


frame from each constituent frame as illustrated in Figure D.4 to Figure D.8. upsampled_aspect_ratio_flag equal to 0
indicates that the SAR indicated by the VUI parameters of the SPS identifies the SAR of the samples before the application
of any such upconversion process.
   NOTE 9 – The default display window parameters in the VUI parameters of the SPS can be used by an encoder to indicate to a
   decoder that does not interpret the frame packing arrangement SEI message that the default display window is an area within only
   one of the two constituent frames.
   NOTE 10 – The SAR indicated in the VUI parameters should indicate the preferred display picture shape for the packed decoded
   frame output by a decoder that does not interpret the frame packing arrangement SEI message. When upsampled_aspect_ratio_flag
   is equal to 1, the SAR produced in each up-converted colour plane is indicated to be the same as the SAR indicated in the VUI
   parameters in the examples shown in Figure D.4 to Figure D.8. When upsampled_aspect_ratio_flag is equal to 0, the SAR produced
   in each colour plane prior to upconversion is indicated to be the same as the SAR indicated in the VUI parameters in the examples
   shown in Figure D.4 to Figure D.8.

                                                          X       X    X      X                    X X X X X X X X
                                                          X       X    X      X                    X X X X X X X X
                                                          X       X    X      X                    X X X X X X X X
                                                                                    Upconversion
                                                          X       X    X      X                    X X X X X X X X
                                                                                     processing
                                                          X       X    X      X                    X X X X X X X X
                                                          X       X    X      X                    X X X X X X X X
                                                          X       X    X      X                    X X X X X X X X
                 X X X X O O O O                          X       X    X      X                    X X X X X X X X
                 X X X X O O O O                               Samples of colour                    Upconverted colour
                 X X X X O O O O                              component plane of                    component plane of
                                         Side-by-side         constituent frame 0                   constituent frame 0
                 X X X X O O O O
                                           packing
                 X X X X O O O O        rearrangement
                 X X X X O O O O
                 X X X X O O O O
                 X X X X O O O O                          O       O    O      O                    O O O O O O O O
                   Interleaved colour                     O       O    O      O                    O O O O O O O O
                  component plane of                      O       O    O      O                    O O O O O O O O
                  side-by-side packed                     O       O    O      O                    O O O O O O O O
                     decoded frame                                                  Upconversion
                                                          O       O    O      O      processing    O O O O O O O O
                                                          O       O    O      O                    O O O O O O O O
                                                          O       O    O      O                    O O O O O O O O
                                                          O       O    O      O                    O O O O O O O O
                                                               Samples of colour                    Upconverted colour
                                                              component plane of                    component plane of
                                                              constituent frame 1                   constituent frame 1
                                                                                                            H.265v2(14)_FD.4



             Figure D.4 – Rearrangement and upconversion of side-by-side packing arrangement with
                 frame_packing_arrangement_type equal to 3, quincunx_sampling_flag equal to 0
                          and ( x, y ) equal to ( 0, 0 ) or ( 4, 8 ) for both constituent frames




350        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7          Filed 04/07/25                Page 372 of 717 Page ID #:901


                                                           X     X     X     X                  X X X X X X X X
                                                           X     X     X     X                  X X X X X X X X
                                                           X     X     X     X                  X X X X X X X X
                                                                                 Upconversion
                                                           X     X     X     X                  X X X X X X X X
                                                                                  processing
                                                           X     X     X     X                  X X X X X X X X
                                                           X     X     X     X                  X X X X X X X X
                                                           X     X     X     X                  X X X X X X X X
               X X X X O O O O                             X     X     X     X                  X X X X X X X X
               X X X X O O O O                             Samples of colour                     Upconverted colour
               X X X X O O O O                            component plane of                     component plane of
                                       Side-by-side       constituent frame 0                    constituent frame 0
               X X X X O O O O
                                         packing
               X X X X O O O O        rearrangement
               X X X X O O O O
               X X X X O O O O
               X X X X O O O O                        O       O    O      O                     O O O O O O O O
                 Interleaved colour                   O       O    O      O                     O O O O O O O O
                component plane of                    O       O    O      O                     O O O O O O O O
                side-by-side packed                   O       O    O      O                     O O O O O O O O
                   decoded frame                                                 Upconversion
                                                      O       O    O      O       processing    O O O O O O O O
                                                      O       O    O      O                     O O O O O O O O
                                                      O       O    O      O                     O O O O O O O O
                                                      O       O    O      O                     O O O O O O O O
                                                           Samples of colour                     Upconverted colour
                                                          component plane of                     component plane of
                                                          constituent frame 1                    constituent frame 1
                                                                                                         H.265v2(14)_FD.5



            Figure D.5 – Rearrangement and upconversion of side-by-side packing arrangement with
                frame_packing_arrangement_type equal to 3, quincunx_sampling_flag equal to 0,
  ( x, y ) equal to ( 12, 8 ) for constituent frame 0 and ( x, y ) equal to ( 0, 0 ) or ( 4, 8 ) for constituent frame 1


                                                      X X X X X X X X                           X X X X X X X X
                                                                                                X X X X X X X X
                                                      X X X X X X X X                           X X X X X X X X
                                                                                 Upconversion
                                                                                                X X X X X X X X
                                                                                  processing
                                                      X X X X X X X X                           X X X X X X X X
                                                                                                X X X X X X X X
                                                      X X X X X X X X                           X X X X X X X X
               X X X X X X X X                                                                  X X X X X X X X
               X X X X X X X X                             Samples of colour                     Upconverted colour
               X X X X X X X X                            component plane of                     component plane of
                                        Top-bottom        constituent frame 0                    constituent frame 0
               X X X X X X X X
                                         packing
               O O O O O O O O        rearrangement
               O O O O O O O O
               O O O O O O O O
               O O O O O O O O                        O O O O O O O O                           O O O O O O O O
                 Interleaved colour                                                             O O O O O O O O
                component plane of                    O O O O O O O O                           O O O O O O O O
                 top-bottom packed                                                              O O O O O O O O
                   decoded frame                                                 Upconversion
                                                      O O O O O O O O             processing    O O O O O O O O
                                                                                                O O O O O O O O
                                                      O O O O O O O O                           O O O O O O O O
                                                                                                O O O O O O O O
                                                           Samples of colour                     Upconverted colour
                                                          component plane of                     component plane of
                                                          constituent frame 1                    constituent frame 1
                                                                                                         H.265v2(14)_FD.6



           Figure D.6 – Rearrangement and upconversion of top-bottom packing arrangement with
              frame_packing_arrangement_type equal to 4, quincunx_sampling_flag equal to 0
                       and ( x, y ) equal to ( 0, 0 ) or ( 8, 4 ) for both constituent frames




                                                                                   Rec. ITU-T H.265 v8 (08/2021)            351
Case 2:25-cv-03053                    Document 1-7                Filed 04/07/25                      Page 373 of 717 Page ID #:902


                                                                                                                  X X X X X X X X
                                                                  X X X X X X X X                                 X X X X X X X X
                                                                                                                  X X X X X X X X
                                                                                                   Upconversion
                                                                  X X X X X X X X                                 X X X X X X X X
                                                                                                    processing
                                                                                                                  X X X X X X X X
                                                                  X X X X X X X X                                 X X X X X X X X
                                                                                                                  X X X X X X X X
                   X X X X X X X X                                X X X X X X X X                                 X X X X X X X X
                   X X X X X X X X                                  Samples of colour                              Upconverted colour
                   X X X X X X X X                                 component plane of                              component plane of
                                                 Top-bottom        constituent frame 0                             constituent frame 0
                   X X X X X X X X
                                                  packing
                   O O O O O O O O             rearrangement
                   O O O O O O O O
                   O O O O O O O O
                   O O O O O O O O                                O O O O O O O O                                 O O O O O O O O
                     Interleaved colour                                                                           O O O O O O O O
                    component plane of                            O O O O O O O O                                 O O O O O O O O
                     top-bottom packed                                                                            O O O O O O O O
                       decoded frame                                                               Upconversion
                                                                  O O O O O O O O                   processing    O O O O O O O O
                                                                                                                  O O O O O O O O
                                                                  O O O O O O O O                                 O O O O O O O O
                                                                                                                  O O O O O O O O
                                                                    Samples of colour                              Upconverted colour
                                                                   component plane of                              component plane of
                                                                   constituent frame 1                             constituent frame 1
                                                                                                                           H.265v2(14)_FD.7



                 Figure D.7 – Rearrangement and upconversion of top-bottom packing arrangement with
                    frame_packing_arrangement_type equal to 4, quincunx_sampling_flag equal to 0,
      ( x, y ) equal to ( 8, 12 ) for constituent frame 0 and ( x, y ) equal to ( 0, 0 ) or ( 8, 4 ) for constituent frame 1


                                                                  X        X       X       X                      X X X X X X X X
                                                                       X       X       X       X                  X X X X X X X X
                                                                  X        X       X       X                      X X X X X X X X
                                                                                                   Upconversion
                                                                       X       X       X       X                  X X X X X X X X
                                                                                                    processing
                                                                  X        X       X       X                      X X X X X X X X
                                                                       X       X       X       X                  X X X X X X X X
                                                                  X        X       X       X                      X X X X X X X X
                    X X X X O O O O                                    X     X     X     X                        X X X X X X X X
                    X X X X O O O O                                    Samples of colour                           Upconverted colour
                    X X X X O O O O                                   component plane of                           component plane of
                                                 Side-by side         constituent frame 0                          constituent frame 0
                    X X X X O O O O
                                               quincunx packing
                    X X X X O O O O             rearrangement
                    X X X X O O O O
                    X X X X O O O O
                    X X X X O O O O                               O        O       O       O                      O O O O O O O O
                  Side-by-side packed colour                           O       O       O       O                  O O O O O O O O
                     component plane of                           O        O       O       O                      O O O O O O O O
                     decoded frame with                                O       O       O       O                  O O O O O O O O
                     quincunx sampling                                                             Upconversion
                                                                  O        O       O       O        processing    O O O O O O O O
                                                                       O       O       O       O                  O O O O O O O O
                                                                  O       O    O      O                           O O O O O O O O
                                                                       O     O     O     O                        O O O O O O O O
                                                                       Samples of colour                           Upconverted colour
                                                                      component plane of                           component plane of
                                                                      constituent frame 1                          constituent frame 1
                                                                                                                           H.265v2(14)_FD.8



  Figure D.8 – Rearrangement and upconversion of side-by-side packing arrangement with quincunx sampling
            (frame_packing_arrangement_type equal to 3 with quincunx_sampling_flag equal to 1)




352          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                      Document 1-7                      Filed 04/07/25             Page 374 of 717 Page ID #:903


                                                                                                       2N+2

                                                                                            2N          O O   O O O   O O O
                                                                                                        O O   O O O   O O O
                                                                                            O O O       O O
                                                                                                    O O O O   O O O
                                                                                                              O       O O O
                                                                                            O O O       O O
                                                                                                    O O O O   O O O
                                                                                                                              Samples of colour
                                                                                                              O       O O O   component plane of
                                                                                            O O O       O O
                                                                                                    O O O O   O O O
                                                                                                              O       O O O   constituent frames 0
                             Sequentially decoded frames with                               O O O       O O
                                                                                                    O O O O   O O O
                          temporal interleaving frame arrangement                                             O       O O O
                                                                                            O O O       O O
                                                                                                    O O O O   O
                                                                                                              O O O   O O O
                                                    2N+3                                    O O O   O O O
                                                                                                        O O
                                                                                                          O   O
                                                                                                              O O O   O O O
                                                                                            O O O   O O O O   O
                                       2N+2        X X X    X X X X   X
                                                                                            O O O   O O O O   O
                                                   X X X    X X X X   X
                            2N+1       O   O O O   O
                                                   X O
                                                     X O
                                                       X    O
                                                            X X X X   X
                                       O   O O O   O
                                                   X O
                                                     X O
                                                       X    O
                                                            X X X X   X       Temporal
                2N          X X    X X X
                                       O   X
                                           O X
                                             O X
                                               O   O
                                                   X O
                                                     X O
                                                       X    O
                                                            X X X X   X      interleaving              2N+3
                            X X    X X X
                                       O   X
                                           O X
                                             O X
                                               O   O                        decomposition
                O O O O   O O                      X X O
                                                     O X    O
                                                            X X X X   X
                            X O
                              X    O
                                   X X X
                                       O   X
                                           O X
                                             O X
                                               O   O                                        2N+1
                O O O O   O O                      X O
                                                     X O
                                                       X    O
                                                            X X X X   X                                 X X   X X X   X X X
                            X O
                              X    O
                                   X X X
                                       O   X
                                           O O X
                                             X O   O
                O O O O   O O                        X O
                                                   X O X    O
                                                            X X X X   X                                 X X   X X X   X X X
                            X O
                              X    O
                                   X X X
                                       O   X
                                           O O X
                                             X O   O O O    O                               X X X   X X X
                                                                                                        X X
                                                                                                          X   X
                                                                                                              X X X   X X X
                O O O O   O O                                                                                                 Samples of colour
                            X O
                              X    O
                                   X X X
                                       O   X
                                           O X
                                             O X
                                               O   O O O    O                               X X X   X X X
                                                                                                        X X
                                                                                                          X   X
                                                                                                              X X X   X X X   component plane of
                O O O O     X O
                          O O X    O
                                   X X X   X X X                                            X X X   X X X
                                                                                                        X X
                                                                                                          X   X
                                                                                                              X X X   X X X   constituent frames 1
                O O O O   O O
                            X O
                              X    O
                                   X X X   X X X                                            X X X   X X X X   X
                                                            t                                           X X   X X X   X X X
                O O O O   O O O    O                                                        X X X   X X X X   X
                                                                                                        X X   X X X   X X X
                O O O O   O O O    O                                                        X X X   X X X
                                                                                                        X X
                                                                                                          X   X
                                                                                                              X X X   X X X
                                                                                            X X X   X X X X   X
                                                                                            X X X   X X X X   X
                                                                                                                       t         H.265v2(14)_FD.9




                     Figure D.9 – Rearrangement of a temporal interleaving frame arrangement
                                   (frame_packing_arrangement_type equal to 5)


D.3.17     Display orientation SEI message semantics
When the associated picture has PicOutputFlag equal to 1, the display orientation SEI message informs the decoder of a
transformation that is recommended to be applied to the cropped decoded picture prior to display.
display_orientation_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous display
orientation SEI message in output order. display_orientation_cancel_flag equal to 0 indicates that display orientation
information follows.
hor_flip equal to 1 indicates that the cropped decoded picture should be flipped horizontally for display. hor_flip equal to
0 indicates that the decoded picture should not be flipped horizontally.
When hor_flip is equal to 1, the cropped decoded picture should be flipped as follows for each component Z equal to Y,
Cb and Cr, letting dZ be the final cropped array of output samples for the component Z:

     for( x = 0; x < croppedWidthZ; x++ )
          for( y = 0; y < croppedHeightZ; y++ )
                dZ[ x ][ y ] = Z[ croppedWidthZ − x − 1 ][ y ]                                                                                       (D-19)

Where croppedWidthZ is the width of the component Z of the cropped decoded picture in samples, croppedHeightZ is the
height of the component Z of the cropped decoded picture in samples, and Z[ x ][ y ] and dZ[ x ][ y ] are the sample value
before and after the horizontal flipping, respectively, for the sample at the location ( x, y ) of the component Z of the
cropped decoded picture.
ver_flip equal to 1 indicates that the cropped decoded picture should be flipped vertically (in addition to any horizontal
flipping when hor_flip is equal to 1) for display. ver_flip equal to 0 indicates that the decoded picture should not be flipped
vertically.
When ver_flip is equal to 1, the cropped decoded picture should be flipped as follows for each component Z equal to Y,
Cb and Cr, letting dZ be the final cropped array of output samples for the component Z:

     for( x = 0; x < croppedWidthZ; x++ )
          for( y = 0; y < croppedHeightZ; y++ )
                dZ[ x ][ y ] = Z[ x ][ croppedWidthZ − y − 1 ]                                                                                       (D-20)

Where croppedWidthZ is the width of the component Z of the cropped decoded picture in samples, croppedHeightZ is the
height of the component Z of the cropped decoded picture in samples, and Z[ x ][ y ] and dZ[ x ][ y ] are the sample value
before and after the vertical flipping, respectively, for the sample at the location ( x, y ) of the component Z of the cropped
decoded picture.
anticlockwise_rotation specifies the recommended anticlockwise rotation of the decoded picture (after applying
horizontal or vertical flipping when hor_flip or ver_flip is set) prior to display. The decoded picture should be rotated by
360 * anticlockwise_rotation ÷ 216 degrees (2 * π * anticlockwise_rotation ÷ 216 radians, where π is Archimedes' constant
3.141 592 653 589 793...) in the anticlockwise direction prior to display. For example, anticlockwise_rotation equal to 0


                                                                                                    Rec. ITU-T H.265 v8 (08/2021)                      353
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25            Page 375 of 717 Page ID #:904


indicates no rotation and anticlockwise_rotation equal to 16 384 indicates 90 degrees (π ÷ 2 radians) rotation in the
anticlockwise direction.
    NOTE – It is possible for equivalent transformations to be expressed in multiple ways using these syntax elements. For example,
    the combination of having both hor_flip and ver_flip equal to 1 with anticlockwise_rotation equal to 0 can alternatively be expressed
    by having both hor_flip and ver_flip equal to 1 with anticlockwise_rotation equal to 0x8000, and the combination of hor_flip equal
    to 1 with ver_flip equal to 0 and anticlockwise_rotation equal to 0 can alternatively be expressed by having hor_flip equal to 0 with
    ver_flip equal to 1 and anticlockwise_rotation equal to 0x8000.

display_orientation_persistence_flag specifies the persistence of the display orientation SEI message for the current
layer.
display_orientation_persistence_flag equal to 0 specifies that the display orientation SEI message applies to the current
decoded picture only.
Let picA be the current picture. display_orientation_persistence_flag equal to 1 specifies that the display orientation SEI
message persists for the current layer in output order until one or more of the following conditions are true:
–     A new CLVS of the current layer begins.
–     The bitstream ends.
–     A picture picB in the current layer in an access unit containing a display orientation SEI message that is applicable to
      the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where
      PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
      immediately after the invocation of the decoding process for picture order count for picB.

D.3.18 Green metadata SEI message semantics
The semantics for this SEI message are specified in ISO/IEC 23001-11 (Green metadata). Green metadata facilitates
reduced power consumption in decoders, encoders, displays and in media selection.

D.3.19     Structure of pictures information SEI message semantics
The structure of pictures information SEI message provides information for a list of entries, some of which correspond to
the target picture set that consists of a series of pictures starting from the current picture until the last picture in decoding
order in the current layer in the CLVS.
The first entry in the structure of pictures information SEI message corresponds to the current picture. When there is a
picture in the target picture set that has PicOrderCntVal equal to the variable entryPicOrderCnt[ i ] as specified below, the
entry i corresponds to a picture in the target picture set. The decoding order of the pictures in the target picture set that
correspond to entries in the structure of pictures information SEI message corresponds to increasing values of i in the list
of entries.
Any picture picB in the target picture set that has PicOrderCntVal equal to entryPicOrderCnt[ i ] for any i in the range of 0
to num_entries_in_sop_minus1, inclusive, where PicOrderCntVal is the value of PicOrderCntVal of picB immediately
after the invocation of the decoding process for picture order count for picB, shall correspond to an entry in the list of
entries.
The structure of pictures information SEI message shall not be present in a CVS and applicable for a layer for which the
active SPS has long_term_ref_pics_present_flag equal to 1 or num_short_term_ref_pic_sets equal to 0.
The structure of pictures information SEI message shall not be present in any access unit that has TemporalId greater than
0 or contains a RASL, RADL or SLNR picture in the current layer. Any picture in the target picture set that corresponds
to an entry other than the first entry described in the structure of pictures information SEI message shall not be an IRAP
picture.
sop_seq_parameter_set_id indicates and shall be equal to the sps_seq_parameter_set_id value of the active SPS. The
value of sop_seq_parameter_set_id shall be in the range of 0 to 15, inclusive.
num_entries_in_sop_minus1 plus 1 specifies the number of entries in the structure of pictures information SEI message.
num_entries_in_sop_minus1 shall be in the range of 0 to 1 023, inclusive.
sop_vcl_nut[ i ], when the i-th entry corresponds to a picture in the target picture set, indicates and shall be equal to the
nal_unit_type value of the picture corresponding to the i-th entry.
sop_temporal_id[ i ], when the i-th entry corresponds to a picture in the target picture set, indicates and shall be equal to
the TemporalId value of the picture corresponding to the i-th entry. The value of 7 for sop_temporal_id[ i ] is reserved for
future use by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this version of this Specification.
Decoders shall ignore structure of pictures information SEI messages that contain the value 7 for sop_temporal_id[ i ].




354         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 376 of 717 Page ID #:905


sop_short_term_rps_idx[ i ], when the i-th entry corresponds to a picture in the target picture set, indicates and shall be
equal to the index, into the list of candidate short-term RPSs included in the active SPS, of the candidate short-term RPS
used by the picture corresponding to the i-th entry for derivation of the short-term reference picture set.
sop_short_term_rps_idx[ i ] shall be in the range of 0 to num_short_term_ref_pic_sets − 1, inclusive.
sop_poc_delta[ i ] is used to specify the value of the variable entryPicOrderCnt[ i ] for the i-th entry described in the
structure of pictures information SEI message. sop_poc_delta[ i ] shall be in the range of ( −MaxPicOrderCntLsb ) / 2 + 1
to MaxPicOrderCntLsb / 2 − 1, inclusive.
The variable entryPicOrderCnt[ i ] is derived as follows:

     entryPicOrderCnt[ 0 ] = PicOrderCnt( currPic )
     for( i = 1; i <= num_entries_in_sop_minus1; i++ )
          entryPicOrderCnt[ i ] = entryPicOrderCnt[ i − 1 ] + sop_poc_delta[ i ]                                          (D-21)

where currPic is the current picture.

D.3.20 Decoded picture hash SEI message semantics
This message provides a hash for each colour component of the current decoded picture.
   NOTE 1 – The decoded picture hash SEI message is a suffix SEI message and cannot be contained in a scalable nesting SEI message.

Prior to computing the hash, the decoded picture data are arranged into one or three strings of bytes called
pictureData[ cIdx ] of lengths dataLen[ cIdx ] as follows:

          for( cIdx = 0; cIdx < ( chroma_format_idc = = 0 ) ? 1 : 3; cIdx++ ) {
               if( cIdx = = 0 ) {
                     compWidth[ cIdx ] = pic_width_in_luma_samples
                     compHeight[ cIdx ] = pic_height_in_luma_samples
                     compDepth[ cIdx ] = BitDepthY
               } else {
                     compWidth[ cIdx ] = pic_width_in_luma_samples / SubWidthC
                     compHeight[ cIdx ] = pic_height_in_luma_samples / SubHeightC
                     compDepth[ cIdx ] = BitDepthC                                                                        (D-22)
               }
               iLen = 0
               for( i = 0; i < compWidth[ cIdx ] * compHeight[ cIdx ]; i++ ) {
                     pictureData[ cIdx ][ iLen++ ] = component[ cIdx ][ i ] & 0xFF
                     if( compDepth[ cIdx ] > 8 )
                          pictureData[ cIdx ][ iLen++ ] = component[ cIdx ][ i ] >> 8
               }
               dataLen[ cIdx ] = iLen
          }

where component[ cIdx ][ i ] is an array in raster scan of decoded sample values in two's complement representation.
hash_type indicates the method used to calculate the checksum according to Table D.10. Values of hash_type that are not
listed in Table D.10 are reserved for future use by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to
this version of this Specification. Decoders shall ignore decoded picture hash SEI messages that contain reserved values
of hash_type.

                                         Table D.10 – Interpretation of hash_type

                                           hash_type                  Method
                                                0          MD5 (IETF RFC 1321)
                                                1          CRC
                                                2          Checksum



picture_md5[ cIdx ][ i ] is the 16-byte MD5 hash of the cIdx-th colour component of the decoded picture. The value of
picture_md5[ cIdx ][ i ] shall be equal to the value of digestVal[ cIdx ] obtained as follows, using the MD5 functions
defined in IETF RFC 1321:


                                                                                  Rec. ITU-T H.265 v8 (08/2021)              355
Case 2:25-cv-03053                Document 1-7               Filed 04/07/25            Page 377 of 717 Page ID #:906


          MD5Init( context )
          MD5Update( context, pictureData[ cIdx ], dataLen[ cIdx ] )                                                            (D-23)
          MD5Final( digestVal[ cIdx ], context )

picture_crc[ cIdx ] is the cyclic redundancy check (CRC) of the colour component cIdx of the decoded picture. The value
of picture_crc[ cIdx ] shall be equal to the value of crcVal[ cIdx ] obtained as follows:

          crc = 0xFFFF
          pictureData[ cIdx ][ dataLen[ cIdx ] ] = 0
          pictureData[ cIdx ][ dataLen[ cIdx ] + 1 ] = 0
          for( bitIdx = 0; bitIdx < ( dataLen[ cIdx ] + 2 ) * 8; bitIdx++ ) {
               dataByte = pictureData[ cIdx ][ bitIdx >> 3 ]
               crcMsb = ( crc >> 15 ) & 1
               bitVal = ( dataByte >> ( 7 − ( bitIdx & 7 ) ) ) & 1
               crc = ( ( ( crc << 1 ) + bitVal ) & 0xFFFF ) ^ ( crcMsb * 0x1021 )
          }
          crcVal[ cIdx ] = crc                                                                                                  (D-24)

   NOTE 2 – The same CRC specification is found in Rec. ITU-T H.271.

picture_checksum[ cIdx ] is the checksum of the colour component cIdx of the decoded picture. The value of
picture_checksum[ cIdx ] shall be equal to the value of checksumVal[ cIdx ] obtained as follows:

          sum = 0
          for( y = 0; y < compHeight[ cIdx ]; y++ )
               for( x = 0; x < compWidth[ cIdx ]; x++ ) {
                    xorMask = ( x & 0xFF ) ^ ( y & 0xFF ) ^ ( x >> 8 ) ^ ( y >> 8 )
                    sum = ( sum + ( ( component[ cIdx ][ y * compWidth[ cIdx ] + x ] & 0xFF ) ^ xorMask ) )
          &
                             0xFFFFFFFF
                    if( compDepth[ cIdx ] > 8 )
                         sum = ( sum + ( ( component[ cIdx ][ y * compWidth[ cIdx ] + x ] >> 8 ) ^ xorMask )
          )&
                                 0xFFFFFFFF
               }
          checksumVal[ cIdx ] = sum                                                                   (D-25)

D.3.21     Active parameter sets SEI message semantics
The active parameter sets SEI message indicates which VPS is active for the VCL NAL units of the access unit associated
with the SEI message. The SEI message may also provide information on which SPS is active for the VCL NAL units of
the access unit associated with the SEI message and other information related to parameter sets.
active_video_parameter_set_id indicates and shall be equal to the value of the vps_video_parameter_set_id of the VPS
that is referred to by the VCL NAL units of the access unit associated with the SEI message. The value of
active_video_parameter_set_id shall be in the range of 0 to 15, inclusive.
self_contained_cvs_flag equal to 1 indicates that each parameter set that is (directly or indirectly) referenced by any VCL
NAL unit of the CVS that is not a VCL NAL unit of a RASL picture is present within the CVS at a position that precedes,
in decoding order, any NAL unit that (directly or indirectly) references the parameter set. self_contained_cvs_flag equal
to 0 indicates that this property may or may not apply.
no_parameter_set_update_flag equal to 1 indicates that there is no parameter set update in the CVS, i.e., each VPS in
the CVS is an exact copy of the previous VPS in decoding order in the bitstream that has the same value of
vps_video_parameter_set_id, when present; each SPS in the CVS is an exact copy of the previous SPS in decoding order
in the bitstream that has the same value of sps_seq_parameter_set_id, when present; and each PPS in the CVS is an exact
copy of the previous PPS in decoding order in the bitstream that has the same value of pps_pic_parameter_set_id, when
present. no_parameter_set_update_flag equal to 0 indicates that there may or may not be parameter set update in the CVS.
   NOTE 1 – If no_parameter_set_update_flag equal to 1 is indicated for each CVS in a bitstream, i.e., there is no parameter set update
   in the bitstream, it is possible to transmit all parameter sets out-of-band before sending the first VCL NAL unit of the bitstream or
   to place all parameter sets at the beginning of the bitstream. Otherwise, out-of-band transmission of all parameter sets before sending
   VCL NAL units is not possible.




356        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 378 of 717 Page ID #:907


num_sps_ids_minus1 plus 1 shall be less than or equal to the number of SPSs that are referred to by the VCL NAL units
of the access unit associated with the active parameter sets SEI message. The value of num_sps_ids_minus1 shall be in the
range of 0 to 15, inclusive.
active_seq_parameter_set_id[ i ] indicates a value of the sps_seq_parameter_set_id of the SPS that may be referred to
by any VCL NAL unit of the access unit associated with the SEI message. When vps_base_layer_internal_flag is equal to
1 and vps_base_layer_available_flag is equal to 1, active_seq_parmeter_set_id[ 0 ] indicates and shall be equal to the value
of the sps_seq_parameter_set_id of the SPS that is referred to by the VCL NAL units with nuh_layer_id equal to 0 in the
access unit associated with the SEI message. The value of active_seq_parameter_set_id[ i ] shall be in the range of 0 to 15,
inclusive.
layer_sps_idx[ i ] indicates that the sps_seq_parameter_set_id value of the SPS that is referred to by the VCL NAL units
with nuh_layer_id equal to layer_id_in_nuh[ i ] in the access unit associated with the SEI message, if any, is equal to
active_seq_parameter_set_id[ layer_sps_idx[ i ] ].
    NOTE 2 – When decoding a single-layer bitstream or only the base layer of a multi-layer bitstream, the decoder does not need to
    parse layer_sps_idx[ i ] syntax elements, because they do not affect the decoding of the base layer.

D.3.22     Decoding unit information SEI message semantics
The decoding unit information SEI message provides CPB removal delay information for the decoding unit associated
with the SEI message.
When the buffering period SEI message is non-scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0, the following applies for the decoding unit information SEI message
syntax and semantics:
–    The syntax elements sub_pic_hrd_params_present_flag, sub_pic_cpb_params_in_pic_timing_sei_flag and
     dpb_output_delay_du_length_minus1, and the variable CpbDpbDelaysPresentFlag are found in or derived from
     syntax elements in the hrd_parameters( ) syntax structure that is applicable to at least one of the operation points to
     which the decoding unit information SEI message applies.
–    The bitstream (or a part thereof) refers to the bitstream subset (or a part thereof) associated with any of the operation
     points to which the decoding unit information SEI message applies.
The presence of decoding unit information SEI messages for an operation point including the base layer is specified as
follows:
–    If CpbDpbDelaysPresentFlag is equal to 1, sub_pic_hrd_params_present_flag is equal to 1 and
     sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 0, one or more decoding unit information SEI messages
     applicable to the operation point shall be associated with each decoding unit in the CVS.
–    Otherwise, if CpbDpbDelaysPresentFlag is equal to 1, sub_pic_hrd_params_present_flag is equal to 1 and
     sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 1, one or more decoding unit information SEI messages
     applicable to the operation point may or may not be associated with each decoding unit in the CVS.
–    Otherwise (CpbDpbDelaysPresentFlag is equal to 0 or sub_pic_hrd_params_present_flag is equal to 0), in the CVS
     there shall be no decoding unit that is associated with a decoding unit information SEI message applicable to the
     operation point.
When the buffering period SEI message is non-scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0, the set of NAL units associated with a decoding unit information
SEI message consists, in decoding order, of the SEI NAL unit containing the decoding unit information SEI message and
all subsequent NAL units in the access unit up to but not including any subsequent SEI NAL unit containing a decoding
unit information SEI message with a different value of decoding_unit_idx. Each decoding unit shall include at least one
VCL NAL unit. All non-VCL NAL units associated with a VCL NAL unit shall be included in the decoding unit containing
the VCL NAL unit.
decoding_unit_idx specifies the index, starting from 0, to the list of decoding units in the current access unit, of the
decoding unit associated with the decoding unit information SEI message. The value of decoding_unit_idx shall be in the
range of 0 to PicSizeInCtbsY − 1, inclusive.
A decoding unit identified by a particular value of duIdx includes and only includes all NAL units associated with all
decoding unit information SEI messages that have decoding_unit_idx equal to duIdx. Such a decoding unit is also referred
to as associated with the decoding unit information SEI messages having decoding_unit_idx equal to duIdx.
For any two decoding units duA and duB in one access unit with decoding_unit_idx equal to duIdxA and duIdxB,
respectively, where duIdxA is less than duIdxB, duA shall precede duB in decoding order.
A NAL unit of one decoding unit shall not be present, in decoding order, between any two NAL units of another decoding
unit.


                                                                                   Rec. ITU-T H.265 v8 (08/2021)             357
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 379 of 717 Page ID #:908


du_spt_cpb_removal_delay_increment specifies the duration, in units of clock sub-ticks, between the nominal CPB
times of the last decoding unit in decoding order in the current access unit and the decoding unit associated with the
decoding unit information SEI message. This value is also used to calculate an earliest possible time of arrival of decoding
unit data into the CPB for the HSS, as specified in Annex C or clause F.13. The syntax element is represented by a fixed
length code whose length in bits is given by du_cpb_removal_delay_increment_length_minus1 + 1. When the decoding
unit associated with the decoding unit information SEI message is the last decoding unit in the current access unit, the
value of du_spt_cpb_removal_delay_increment shall be equal to 0.
dpb_output_du_delay_present_flag equal to 1 specifies the presence of the pic_spt_dpb_output_du_delay syntax
element in the decoding unit information SEI message. dpb_output_du_delay_present_flag equal to 0 specifies the absence
of the pic_spt_dpb_output_du_delay syntax element in the decoding unit information SEI message.
pic_spt_dpb_output_du_delay is used to compute the DPB output time of the picture when SubPicHrdFlag is equal to 1.
It specifies how many sub clock ticks to wait after removal of the last decoding unit in an access unit from the CPB before
the decoded picture is output from the DPB. When not present, the value of pic_spt_dpb_output_du_delay is inferred to
be equal to pic_dpb_output_du_delay.
The length of the syntax element pic_spt_dpb_output_du_delay is given in bits by dpb_output_delay_du_
length_minus1 + 1.
When the buffering period SEI message is non-scalable-nested or is directly contained in a scalable nesting SEI message
within an SEI NAL unit with nuh_layer_id equal to 0, it is a requirement of bitstream conformance that all decoding unit
information SEI messages that are associated with the same access unit, apply to the same operation point, and have
dpb_output_du_delay_present_flag equal to 1 shall have the same value of pic_spt_dpb_output_du_delay.
The output time derived from the pic_spt_dpb_output_du_delay of any picture that is output from an output timing
conforming decoder shall precede the output time derived from the pic_spt_dpb_output_du_delay of all pictures in any
subsequent CVS in decoding order.
The picture output order established by the values of this syntax element shall be the same order as established by the
values of PicOrderCntVal.
For pictures that are not output by the "bumping" process because they precede, in decoding order, an IRAP picture with
NoRaslOutputFlag equal to 1 that has no_output_of_prior_pics_flag equal to 1 or inferred to be equal to 1, the output times
derived from pic_spt_dpb_output_du_delay shall be increasing with increasing value of PicOrderCntVal relative to all
pictures within the same CVS.
For any two pictures in the CVS, the difference between the output times of the two pictures when SubPicHrdFlag is equal
to 1 shall be identical to the same difference when SubPicHrdFlag is equal to 0.

D.3.23     Temporal sub-layer zero index SEI message semantics
The temporal sub-layer zero index SEI message provides information that can assist the decoder for detection of missing
coded pictures that have TemporalId equal to 0 and are not RASL, RADL or SLNR pictures.
When a temporal sub-layer zero index SEI message is present in the current access unit and applies to the current layer
and the current picture is not an IRAP picture, a temporal sub-layer zero index SEI message that applies to the current
layer shall also be present in the preceding access unit in decoding order with TemporalId equal to 0 and containing a
picture that is not a RASL, RADL or SLNR picture in the current layer.
    NOTE – Encoders should be cautious when setting discardable_flag equal to 1 for any picture with TemporalId equal to 0, as based
    on temporal sub-layer zero index SEI messages decoders may consider intentionally discarded pictures with TemporalId equal to 0
    and discardable_flag equal to 1 as lost and take unnecessary error recovery actions, such as requesting retransmission of a missing
    picture with TemporalId equal to 0.

Let ReferencedTsl0Pic denote a picture that has TemporalId equal to 0 and is not a RASL, RADL or SLNR picture.
temporal_sub_layer_zero_idx indicates a temporal sub-layer zero index as follows:
–     If the current picture is a ReferencedTsl0Pic, temporal_sub_layer_zero_idx indicates the temporal sub-layer zero
      index for the current picture.
–     Otherwise, temporal_sub_layer_zero_idx indicates the temporal sub-layer zero index of the preceding picture in the
      current layer in decoding order that is a ReferencedTsl0Pic.
When the bitstream contains a preceding access unit in decoding order that contained a ReferencedTsl0Pic, and that
preceding access unit has an associated temporal sub-layer zero index SEI message seiMsgB that applies to the current
layer, the variable prevTsl0Idx is set equal to the value of temporal_sub_layer_zero_idx of seiMsgB.
The following constraints apply to the value of temporal_sub_layer_zero_idx:
–     If the current picture is an IRAP picture, temporal_sub_layer_zero_idx shall be equal to 0.


358         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7               Filed 04/07/25             Page 380 of 717 Page ID #:909


–    Otherwise, the following applies:
     –    If the current picture is a ReferencedTsl0Pic, temporal_sub_layer_zero_idx shall be equal to
          ( prevTsl0Idx + 1 ) % 256.
     –    Otherwise, temporal_sub_layer_zero_idx shall be equal to prevTsl0Idx.
irap_pic_id is an IRAP picture identifier for the current layer. When the current picture is not the first picture in the current
layer in the bitstream in decoding order and the preceding IRAP picture in the current layer in decoding order has an
associated temporal sub-layer zero index SEI message, the following constraints apply to the value of irap_pic_id:
–    If the current picture is an IRAP picture, irap_pic_id shall differ in value from the value of irap_pic_id of the temporal
     sub-layer zero index SEI message of the preceding IRAP picture in the current layer in decoding order.
          NOTE – It is suggested for the value of irap_pic_id to be set to a random value (subject to the constraints specified herein),
          to minimize the likelihood of duplicate values appearing in a layer in the bitstream due to picture losses or splicing operations.
–    Otherwise, irap_pic_id shall be equal to the value of irap_pic_id of the temporal sub-layer zero index SEI message
     associated with the preceding IRAP picture in the current layer in decoding order.

D.3.24     Scalable nesting SEI message semantics
The scalable nesting SEI message provides a mechanism to associate SEI messages with bitstream subsets corresponding
to various operation points or with specific layers or sub-layers.
A scalable nesting SEI message contains one or more SEI messages.
    NOTE – A scalable nesting SEI message can only be the last SEI message in the SEI NAL unit containing the scalable nesting SEI
    message. The sei_payload( ) of the scalable nesting SEI message cannot contain any reserved_payload_extension_data.

It is a requirement of bitstream conformance that the following restrictions apply on containing of SEI messages in a
scalable nesting SEI message:
–    An SEI message that has payloadType equal to 129 (active parameter sets), 132 (decoded picture hash) or 133
     (scalable nesting) shall not be contained in a scalable nesting SEI message.
–    When a scalable nesting SEI message contains a buffering period SEI message, a picture timing SEI message or a
     decoding unit information SEI message, the scalable nesting SEI message shall not contain any other SEI message
     with payloadType not equal to 0 (buffering period), 1 (picture timing) or 130 (decoding unit information).
bitstream_subset_flag equal to 0 specifies that the SEI messages contained in the scalable nesting SEI message apply to
specific layers or sub-layers. bitstream_subset_flag equal to 1 specifies that the SEI messages contained in the scalable
nesting SEI message apply to one or more sub-bitstreams as specified below.
Depending on the value of bitstream_subset_flag, the layers or sub-layers, or the operation points to which the SEI
messages contained in the scalable nesting SEI message apply are specified by deriving the lists nestingLayerIdList[ i ]
and the variables MaxTemporalId[ i ] based on syntax element values as specified below.
It is a requirement of bitstream conformance that the following restrictions apply on the value of bitstream_subset_flag:
–    When the scalable nesting SEI message contains a buffering period SEI message, a picture timing SEI message or a
     decoding unit information SEI message, bitstream_subset_flag shall be equal to 1.
–    When the scalable nesting SEI message contains an SEI message that has payloadType equal to any value among
     SingleLayerSeiList, bitstream_subset_flag shall be equal to 0.
nesting_op_flag equal to 0 specifies that the list nestingLayerIdList[ 0 ] is specified by all_layers_flag and, when present,
nesting_layer_id[ i ] for all i values in the range of 0 to nesting_num_layers_minus1, inclusive, and that the variable
MaxTemporalId[ 0 ] is specified by nesting_no_op_max_temporal_id_plus1. nesting_op_flag equal to 1 specifies that the
list nestingLayerIdList[ i ] and the variable MaxTemporalId[ i ] are specified by nesting_num_ops_minus1,
default_op_flag, nesting_max_temporal_id_plus1[ i ], when present, and nesting_op_idx[ i ], when present.
default_op_flag equal to 1 specifies that MaxTemporalId[ 0 ] is equal to nuh_temporal_id_plus1 of the current SEI NAL
unit minus 1 and that nestingLayerIdList[ 0 ] contains all integer values in the range of 0 to nuh_layer_id of the current
SEI NAL unit, inclusive, in increasing order of the values.
nesting_num_ops_minus1 plus 1 minus default_op_flag specifies the number of the following nesting_op_idx[ i ] syntax
elements. The value of nesting_num_ops_minus1 shall be in the range of 0 to 1 023, inclusive.
If nesting_op_flag is equal to 0, the variable nestingNumOps is set equal to 1. Otherwise, the variable nestingNumOps is
set equal to nesting_num_ops_minus1 + 1.




                                                                                        Rec. ITU-T H.265 v8 (08/2021)                 359
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 381 of 717 Page ID #:910


nesting_max_temporal_id_plus1[ i ] is used to specify the variable MaxTemporalId[ i ]. The value of
nesting_max_temporal_id_plus1[ i ] shall be greater than or equal to nuh_temporal_id_plus1 of the current SEI NAL unit.
The variable MaxTemporalId[ i ] is set equal to nesting_max_temporal_id_plus1[ i ] − 1.
nesting_op_idx[ i ] is used to specify the list nestingLayerIdList[ i ]. The value of nesting_op_idx[ i ] shall be in the range
of 0 to 1 023, inclusive.
The list nestingLayerIdList[ i ] is set equal to the OpLayerIdList of the nesting_op_idx[ i ]-th layer set specified by the
active VPS.
It is a requirement of bitstream conformance that when nesting_op_flag is equal to 1 and nesting_op_idx[ i ] is greater than
vps_num_layer_sets_minus1 for any value of i in the range of default_op_flag to nesting_num_ops_minus1, inclusive, the
value of nuh_layer_id of the SEI NAL unit containing the scalable nesting SEI message shall be greater than 0.
all_layers_flag equal to 0 specifies that the list nestingLayerIdList[ 0 ] is specified by nesting_layer_id[ i ] for all i values
in the range of 0 to nesting_num_layers_minus1, inclusive. all_layers_flag equal to 1 specifies that the list
nestingLayerIdList[ 0 ] consists of all values of nuh_layer_id present in the current access unit that are greater than or
equal to nuh_layer_id of the current SEI NAL unit, in increasing order of the values.
When nesting_op_flag is equal to 0 and all_layers_flag is equal to 1, MaxTemporalId[ 0 ] is set equal to 6.
nesting_no_op_max_temporal_id_plus1 minus 1 specifies the value of MaxTemporalId[ 0 ] when nesting_op_flag is
equal to 0 and all_layers_flag is equal to 0. The value of nesting_no_op_max_temporal_id_plus1 shall not be equal to 0.
nesting_num_layers_minus1 plus 1 specifies the number of the following nesting_layer_id[ i ] syntax elements. The
value of nesting_num_layers_minus1 shall be in the range of 0 to 63, inclusive.
nesting_layer_id[ i ] specifies the i-th nuh_layer_id value included in the list nestingLayerIdList[ 0 ].
For any i and j in the range of 0 to nesting_num_layers_minus1, inclusive, with i less than j, nesting_layer_id[ i ] shall be
less than nesting_layer_id[ j ].
The list nestingLayerIdList[ 0 ] is set to consist of nesting_layer_id[ i ] for all i values in the range of 0 to
nesting_num_layers_minus1, inclusive, in increasing order of i values.
When bitstream_subset_flag is equal to 0, the following applies:
–     The SEI messages contained in the scalable nesting SEI message apply to the sets of layers or sub-layers
      subLayerSet[ i ] for all i values in the range of 0 to nestingNumOps − 1, inclusive, where the VCL NAL units of the
      layers or sub-layers in each set subLayerSet[ i ] have nuh_layer_id values that are included in the list
      nestingLayerIdList[ i ] and TemporalId values that are in the range of the TemporalId of the current SEI NAL unit to
      MaxTemporalId[ i ], inclusive.
–     When a scalable-nested SEI message has payloadType equal to any value among VclAssociatedSeiList, the value of
      TemporalId of the SEI NAL unit containing the scalable nesting SEI message shall be equal to 0 and
      MaxTemporalId[ i ] for all values of i in the range of 0 to nestingNumOps − 1, inclusive, shall be equal to 6.
–     When a scalable-nested SEI message has payloadType equal to any value among VclAssociatedSeiList and the value
      of nestingNumOps is greater than 0, the scalable-nested SEI message applies to all layers for which each nuh_layer_id
      is included in at least one of the lists nestingLayerIdList[ i ] with i ranging from 0 to nestingNumOps − 1, inclusive.
When bitstream_subset_flag is equal to 1, the SEI messages contained in the scalable nesting SEI message apply to the
operation points corresponding to the sub-bitstreams subBitstream[ i ] for all i values in the range of 0 to
nestingNumOps − 1, inclusive, where each sub-bitstream subBitstream[ i ] is derived as follows:
–     If nestingLayerIdList[ i ][ 0 ] is equal to 0 and vps_base_layer_internal_flag is equal to 1, the sub-bitstream
      subBitstream[ i ] is the output of the sub-bitstream extraction process of clause 10 with the bitstream,
      MaxTemporalId[ i ] and nestingLayerIdList[ i ] as inputs.
–     Otherwise, if nestingLayerIdList[ i ][ 0 ] is equal to 0 and vps_base_layer_internal_flag is equal to 0, the sub-
      bitstream subBitstream[ i ] is the output of the sub-bitstream extraction process of clause F.10.1 with the bitstream,
      MaxTemporalId[ i ] and nestingLayerIdList[ i ] as inputs.
–     Otherwise, the sub-bitstream subBitstream[ i ] is the output of the sub-bitstream extraction process of clause F.10.3
      with the bitstream, MaxTemporalId[ i ] and nestingLayerIdList[ i ] as inputs.
nesting_zero_bit shall be equal to 0.

D.3.25     Region refresh information SEI message semantics
The region refresh information SEI message indicates whether the slice segments that the current SEI message applies to
belong to a refreshed region of the current picture (as defined below).


360         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 382 of 717 Page ID #:911


An access unit that is not an IRAP access unit and that contains a recovery point SEI message is referred to as a gradual
decoding refresh (GDR) access unit, and its corresponding picture is referred to as a GDR picture. The access unit
corresponding to the indicated recovery point picture is referred to as the recovery point access unit.
If there is a picture that follows the GDR picture in decoding order in the CVS and that has PicOrderCntVal equal to the
PicOrderCntVal of the GDR picture plus the value of recovery_poc_cnt in the recovery point SEI message, let the variable
lastPicInSet be the recovery point picture. Otherwise, let lastPicInSet be the picture that immediately precedes the recovery
point picture in output order. The picture lastPicInSet shall not precede the GDR picture in decoding order.
Let gdrPicSet be the set of pictures starting from a GDR picture to the picture lastPicInSet, inclusive, in output order. When
the decoding process is started from a GDR access unit, the refreshed region in each picture of the gdrPicSet is indicated
to be the region of the picture that is correct or approximately correct in content, and, when lastPicInSet is the recovery
point picture, the refreshed region in lastPicInSet covers the entire picture.
The slice segments to which a region refresh information SEI message applies consist of all slice segments within the
access unit that follow the SEI NAL unit containing the region refresh information SEI message and precede the next SEI
NAL unit containing a region refresh information SEI message (if any) in decoding order. These slice segments are referred
to as the slice segments associated with the region refresh information SEI message.
Let gdrAuSet be the set of access units corresponding to gdrPicSet. A gdrAuSet and the corresponding gdrPicSet are
referred to as being associated with the recovery point SEI message contained in the GDR access unit.
Region refresh information SEI messages shall not be present in an access unit unless the access unit is included in a
gdrAuSet associated with a recovery point SEI message. When any access unit that is included in a gdrAuSet contains one
or more region refresh information SEI messages, all access units in the gdrAuSet shall contain one or more region refresh
information SEI messages.
refreshed_region_flag equal to 1 indicates that the slice segments associated with the current SEI message belong to the
refreshed region in the current picture. refreshed_region_flag equal to 0 indicates that the slice segments associated with
the current SEI message may not belong to the refreshed region in the current picture.
When one or more region refresh information SEI messages are present in an access unit and the first slice segment of the
access unit in decoding order does not have an associated region refresh information SEI message, the value of
refreshed_region_flag for the slice segments that precede the first region refresh information SEI message is inferred to be
equal to 0.
When lastPicInSet is the recovery point picture, and any region refresh SEI message is included in a recovery point access
unit, the first slice segment of the access unit in decoding order shall have an associated region refresh SEI message, and
the value of refreshed_region_flag shall be equal to 1 in all region refresh SEI messages in the access unit.
When one or more region refresh information SEI messages are present in an access unit, the refreshed region in the picture
is specified as the set of CTUs in all slice segments of the access unit that are associated with region refresh information
SEI messages that have refreshed_region_flag equal to 1. Other slice segments belong to the non-refreshed region of the
picture.
It is a requirement of bitstream conformance that when a dependent slice segment belongs to the refreshed region, the
preceding slice segment in decoding order shall also belong to the refreshed region.
Let gdrRefreshedSliceSegmentSet be the set of all slice segments that belong to the refreshed regions in the gdrPicSet.
When a gdrAuSet contains one or more region refresh information SEI messages, it is a requirement of bitstream
conformance that the following constraints all apply:
–    The refreshed region in the first picture included in the corresponding gdrPicSet in decoding order that contains any
     refreshed region shall contain only coding units that are coded in an intra coding mode.
–    For each picture included in the gdrPicSet, the syntax elements in gdrRefreshedSliceSegmentSet shall be constrained
     such that no samples or motion vector values outside of gdrRefreshedSliceSegmentSet are used for inter prediction
     in the decoding process of any samples within gdrRefreshedSliceSegmentSet.
–    For any picture that follows the picture lastPicInSet in output order, the syntax elements in the slice segments of the
     picture shall be constrained such that no samples or motion vector values outside of gdrRefreshedSliceSegmentSet
     are used for inter prediction in the decoding process of the picture other than those of the other pictures that follow
     the picture lastPicInSet in output order.
reserved_sei_message_payload_byte is a byte reserved for future use by ITU-T | ISO/IEC.

D.3.26     No display SEI message semantics
The no display SEI message indicates that the current picture should not be displayed.




                                                                               Rec. ITU-T H.265 v8 (08/2021)            361
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25            Page 383 of 717 Page ID #:912


D.3.27     Time code SEI message semantics
The time code SEI message provides time code information similar to that defined by SMPTE ST 12-1 (2014) for field(s)
or frame(s) of the current picture. When vps_timing_info_present_flag is equal to 1, it also defines a time offset for use in
calculating a reference clock timestamp from the time code syntax elements to indicate a time of origin, capture, or
alternative ideal display.
num_clock_ts specifies the number of sets of clock timestamp syntax elements that may be present for the current picture,
the presence of each of which is specified by a syntax flag clock_timestamp_flag[ i ] for a corresponding value of i. When
frame_field_info_present_flag is equal to 1, the i-th set of clock timestamp syntax elements applies to the i-th field or
frame associated with the indicated display of the current picture in the order specified by pic_struct in Table D.2. The
value of num_clock_ts shall not be equal to 0.
When field_seq_flag is equal to 1, the value of num_clock_ts shall be equal to 1.
When frame_field_info_present_flag is equal to 1, the value of num_clock_ts shall be equal to the value of DeltaToDivisor
specified in Table E.7.
When vps_timing_info_present_flag is equal to 1, the contents of the clock timestamp syntax elements indicate a time of
origin, capture, or alternative ideal display. This indicated time is computed as

      clockTimestamp[ i ] = ( ( hH * 60 + mM ) * 60 + sS ) * vui_time_scale +                                                   (D-26)
                  nFrames * ( vui_num_units_in_tick * ( 1 + units_field_based_flag[ i ] ) ) + tOffset

in units of clock ticks of a clock with clock frequency equal to vui_time_scale Hz, relative to some unspecified point in
time for which clockTimestamp[ i ] would be equal to 0. Output order and DPB output timing are not affected by the value
of clockTimestamp[ i ]. When frame_field_info_present_flag is equal to 1 and two or more pictures with pic_struct equal
to 0 are consecutive in output order and have equal values of clockTimestamp[ i ], the indication is that the pictures
represent the same content and that the last such picture in output order is the preferred representation.
    NOTE 1 – clockTimestamp[ i ] time indications may aid display on devices with refresh rates other than those well-matched to DPB
    output times. However, the time code SEI message does not affect the output order and DPB output timing defined in this
    Specification.

clock_timestamp_flag[ i ] equal to 1 indicates that associated set of clock timestamp syntax elements are present for the
i-th set of clock timestamp syntax elements of the current picture. clock_timestamp_flag[ i ] equal to 0 indicates that the
associated set of clock timestamp syntax elements is not present. When vps_timing_info_present_flag is equal to 1,
num_clock_ts is greater than 1 and clock_timestamp_flag[ i ] is equal to 1 for more than one value of i, the value of
clockTimestamp[ i ] shall be non-decreasing with increasing value of i.
For the i-th set of clock timestamp syntax elements of the current picture, the previous set of clock timestamp syntax
elements in decoding order (or in output order, respectively), is defined as follows:
–     If i is equal to 0, the previous set of clock timestamp syntax elements in decoding order (or in output order,
      respectively) is the set of syntax elements for the highest value of i for the previous picture in decoding order (or in
      output order, respectively) that contained a time code SEI message.
–     Otherwise, the previous set of clock timestamp syntax elements in decoding order (or in output order, respectively) is
      the (i − 1)-th set of clock timestamp syntax elements of the current picture.
units_field_based_flag[ i ] is used in calculating clockTimestamp[ i ], as specified in Equation D-26.
    NOTE 2 – units_field_based_flag[ i ] should be the same for all values of i for all pictures in the CVS. When field_seq_flag is equal
    to 1 or frame_field_info_present_flag is equal to 1 and pic_struct is in the range of 1 to 6 or 9 to 12, inclusive,
    units_field_based_flag[ i ] should be equal to 1.

counting_type[ i ] specifies the method of dropping values of the n_frames[ i ] syntax element as specified in Table D.11.
    NOTE 3 – counting_type[ i ] should be the same for all values of i for all pictures in the CVS.

                                     Table D.11 – Definition of counting_type[ i ] values

                          Value                                   Interpretation




362         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 384 of 717 Page ID #:913


                           0       No dropping of n_frames[ i ] count values and no use of
                                   time_offset_value[ i ]
                           1       No dropping of n_frames[ i ] count values
                           2       Dropping of individual zero values of n_frames[ i ] count
                           3       Dropping of individual values of n_frames[ i ] count equal to
                                   MaxFPS − 1
                           4       Dropping of the two lowest (value 0 and 1) n_frames[ i ] counts when
                                   seconds_value[ i ] is equal to 0 and minutes_value[ i ] is not an integer
                                   multiple of 10
                           5       Dropping of unspecified individual n_frames[ i ] count values
                           6       Dropping of unspecified numbers of unspecified n_frames[ i ] count
                                   values
                         7..31     Reserved



full_timestamp_flag[ i ] equal to 1 specifies that the n_frames[ i ] syntax element is followed by seconds_value[ i ],
minutes_value[ i ] and hours_value[ i ]. full_timestamp_flag[ i ] equal to 0 specifies that the n_frames[ i ] syntax element
is followed by seconds_flag[ i ].
discontinuity_flag[ i ] equal to 0 indicates that the difference between the current value of clockTimestamp[ i ] and the
value of clockTimestamp[ i ] computed from the previous set of clock timestamp syntax elements in output order can be
interpreted as the time difference between the times of origin or capture of the associated frames or fields.
discontinuity_flag[ i ] equal to 1 indicates that the difference between the current value of clockTimestamp[ i ] and the
value of clockTimestamp[ i ] computed from the previous set of clock timestamp syntax elements in output order should
not be interpreted as the time difference between the times of origin or capture of the associated frames or fields. When
vps_timing_info_present_flag is equal to 1 and discontinuity_flag[ i ] is equal to 0, the value of clockTimestamp[ i ] shall
be greater than or equal to the value of clockTimestamp[ i ] for the previous set of clock timestamp syntax elements in
output order (when present).
cnt_dropped_flag[ i ] specifies the skipping of one or more values of n_frames[ i ] using the counting method specified
by counting_type[ i ].
n_frames[ i ] specifies the value of nFrames used to compute clockTimestamp[ i ]. When vps_timing_info_present_flag
is equal to 1, n_frames[ i ] shall be less than MaxFPS, where MaxFPS is specified by

     MaxFPS = Ceil( vui_time_scale ÷ ( ( 1 + units_field_based_flag[ i ] ) * vui_num_units_in_tick ) ) (D-27)

   NOTE 4 – n_frames[ i ] is a frame-based counter. To provide field-specific timing indications when the current picture is a frame,
   time_offset_value[ i ] should be used to indicate a distinct clockTimestamp[ i ] for each field of the frame.

When counting_type[ i ] is equal to 2 and cnt_dropped_flag[ i ] is equal to 1, n_frames[ i ] shall be equal to 1 and the value
of n_frames[ i ] for the previous set of clock timestamp syntax elements in output order (when present) shall not be equal
to 0 unless discontinuity_flag[ i ] is equal to 1.
   NOTE 5 – When counting_type[ i ] is equal to 2, the need for increasingly large magnitudes of tOffset in Equation D-26 when using
   fixed non-integer frame rates (e.g., 12.5 frames per second with vui_time_scale equal to 50 and vui_num_units_in_tick equal to 2
   and units_field_based_flag[ i ] equal to 0) can be avoided by occasionally skipping over the value n_frames[ i ] equal to 0 when
   counting (e.g., counting n_frames[ i ] from 0 to 12, then incrementing seconds_value[ i ] and counting n_frames[ i ] from 1 to 12,
   then incrementing seconds_value[ i ] and counting n_frames[ i ] from 0 to 12, etc.).

When vps_timing_info_present_flag is equal to 1, counting_type[ i ] is equal to 3 and cnt_dropped_flag[ i ] is equal to 1,
n_frames[ i ] shall be equal to 0 and the value of n_frames[ i ] for the previous set of clock timestamp syntax elements in
output order (when present) shall not be equal to MaxFPS − 1 unless discontinuity_flag[ i ] is equal to 1.
   NOTE 6 – When counting_type[ i ] is equal to 3, the need for increasingly large magnitudes of tOffset in Equation D-26 when using
   fixed non-integer frame rates (e.g., 12.5 frames per second with vui_time_scale equal to 50 and vui_num_units_in_tick equal to 2
   and units_field_based_flag[ i ] equal to 0) can be avoided by occasionally skipping over the value n_frames[ i ] equal to MaxFPS − 1
   when counting (e.g., counting n_frames[ i ] from 0 to 12, then incrementing seconds_value[ i ] and counting n_frames[ i ] from 0 to
   11, then incrementing seconds_value[ i ] and counting n_frames[ i ] from 0 to 12, etc.).

When counting_type[ i ] is equal to 4 and cnt_dropped_flag[ i ] is equal to 1, n_frames[ i ] shall be equal to 2 and
seconds_value[ i ] shall be equal to zero and minutes_value[ i ] shall not be an integer multiple of 10 and n_frames[ i ] for
the previous set of clock timestamp syntax elements in output order (when present) shall not be equal to 0 or 1 unless
discontinuity_flag[ i ] is equal to 1.
   NOTE 7 – When counting_type[ i ] is equal to 4, the need for increasingly large magnitudes of tOffset in Equation D-26 when using
   fixed non-integer frame rates (e.g., 30000÷1001 frames per second with vui_time_scale equal to 60 000 and vui_num_units_in_tick
   equal to 1 001 and units_field_based_flag[ i ] equal to 1) can be reduced by occasionally skipping over the values of n_frames[ i ]



                                                                                      Rec. ITU-T H.265 v8 (08/2021)              363
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25            Page 385 of 717 Page ID #:914


   equal to 0 and 1 when counting (e.g., counting n_frames[ i ] from 0 to 29, then incrementing seconds_value[ i ] and counting
   n_frames[ i ] from 0 to 29, etc., until the seconds_value[ i ] is zero and minutes_value[ i ] is not an integer multiple of ten, then
   counting n_frames[ i ] from 2 to 29, then incrementing seconds_value[ i ] and counting n_frames[ i ] from 0 to 29, etc.). This
   counting method is well known in the industry and is often referred to as "NTSC drop-frame" counting.

When vps_timing_info_present_flag is equal to 1, counting_type[ i ] is equal to 5 or 6 and cnt_dropped_flag[ i ] is equal
to 1, n_frames[ i ] shall not be equal to 1 plus the value of n_frames[ i ] for the previous set of clock timestamp syntax
elements in output order (when present) modulo MaxFPS unless discontinuity_flag[ i ] is equal to 1.
   NOTE 8 – When counting_type[ i ] is equal to 5 or 6, the need for increasingly large magnitudes of tOffset in Equation D-26 when
   using fixed non-integer frame rates can be avoided by occasionally skipping over some values of n_frames[ i ] when counting. The
   specific values of n_frames[ i ] that are skipped are not specified when counting_type[ i ] is equal to 5 or 6.

seconds_flag[ i ] equal to 1 specifies that seconds_value[ i ] and minutes_flag[ i ] are present when
full_timestamp_flag[ i ] is equal to 0. seconds_flag[ i ] equal to 0 specifies that seconds_value[ i ] and minutes_flag[ i ] are
not present.
seconds_value[ i ] specifies the value of sS used to compute clockTimestamp[ i ]. The value of seconds_value[ i ] shall be
in the range of 0 to 59, inclusive. When seconds_value[ i ] is not present, its value is inferred to be equal to the value of
seconds_value[ i ] for the previous set of clock timestamp syntax elements in decoding order, and it is required that such a
previous seconds_value[ i ] shall have been present.
minutes_flag[ i ] equal to 1 specifies that minutes_value[ i ] and hours_flag[ i ] are present when full_timestamp_flag[ i ]
is equal to 0 and seconds_flag[ i ] is equal to 1. minutes_flag[ i ] equal to 0 specifies that minutes_value[ i ] and
hours_flag[ i ] are not present.
minutes_value[ i ] specifies the value of mM used to compute clockTimestamp[ i ]. The value of minutes_value[ i ] shall
be in the range of 0 to 59, inclusive. When minutes_value[ i ] is not present, its value is inferred to be equal to the value of
minutes_value[ i ] for the previous set of clock timestamp syntax elements in decoding order, and it is required that such a
previous minutes_value[ i ] shall have been present.
hours_flag[ i ] equal to 1 specifies that hours_value[ i ] is present when full_timestamp_flag[ i ] is equal to 0 and
seconds_flag[ i ] is equal to 1 and minutes_flag[ i ] is equal to 1.
hours_value[ i ] specifies the value of hH used to compute clockTimestamp[ i ]. The value of hours_value[ i ] shall be in
the range of 0 to 23, inclusive. When hours_value[ i ] is not present, its value is inferred to be equal to the value of
hours_value[ i ] for the previous set of clock timestamp syntax elements in decoding order, and it is required that such a
previous hours_value[ i ] shall have been present.
time_offset_length[ i ] greater than 0 specifies the length in bits of the time_offset_value[ i ] syntax element.
time_offset_length[ i ] equal to 0 specifies that the time_offset_value[ i ] syntax element is not present. When
counting_type[ i ] is equal to 0, time_offset_length[ i ] shall be equal to 0.
   NOTE 9 – time_offset_length[ i ] should be the same for all values of i for all pictures in the CVS.

time_offset_value[ i ] specifies the value of tOffset used to compute clockTimestamp[ i ]. The number of bits used to
represent time_offset_value[ i ] is equal to time_offset_length[ i ]. When time_offset_value[ i ] is not present, its value is
inferred to be equal to 0.

D.3.28     Mastering display colour volume SEI message semantics
This SEI message identifies the colour volume (the colour primaries, white point, and luminance range) of a display
considered to be the mastering display for the associated video content – e.g., the colour volume of a display that was used
for viewing while authoring the video content. The described mastering display is a three-colour additive display system
that has been configured to use the indicated mastering colour volume.
This SEI message does not identify the measurement methodologies and procedures used for determining the indicated
values or provide any description of the mastering environment. It also does not provide information on colour
transformations that would be appropriate to preserve creative intent on displays with colour volumes different from that
of the described mastering display.
The information conveyed in this SEI message is intended to be adequate for purposes corresponding to the use of SMPTE
ST 2086 (2018).
When a mastering display colour volume SEI message is present for any picture of a CLVS of a particular layer, a mastering
display colour volume SEI message shall be present for the first picture of the CLVS. The mastering display colour volume
SEI message persists for the current layer in decoding order from the current picture until the end of the CLVS. All
mastering display colour volume SEI messages that apply to the same CLVS shall have the same content.
display_primaries_x[ c ], when in the range of 5 to 37 000, inclusive, specifies the normalized x chromaticity coordinate
of the colour primary component c of the mastering display, according to the CIE 1931 definition of x as specified in ISO



364        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25            Page 386 of 717 Page ID #:915


11664-1 (see also ISO 11664-3 and CIE 15), in increments of 0.00002. When display_primaries_x[ c ] is not in the range
of 5 to 37 000, inclusive, the normalized x chromaticity coordinate of the colour primary component c of the mastering
display is unknown or unspecified or specified by other means not specified in this Specification.
display_primaries_y[ c ], when in the range of 5 to 42 000, inclusive, specifies the normalized y chromaticity coordinate
of the colour primary component c of the mastering display, according to the CIE 1931 definition of y as specified in ISO
11664-1 (see also ISO 11664-3 and CIE 15), in increments of 0.00002. When display_primaries_y[ c ] is not in the range
of 5 to 42 000, inclusive, the normalized y chromaticity coordinate of the colour primary component c of the mastering
display is unknown or unspecified or specified by other means not specified in this Specification.
For describing mastering displays that use red, green, and blue colour primaries, it is suggested that index value c equal to
0 should correspond to the green primary, c equal to 1 should correspond to the blue primary, and c equal to 2 should
correspond to the red colour primary (see also Annex E and Table E.3).
white_point_x, when in the range of 5 to 37 000, inclusive, specifies the normalized x chromaticity coordinate of the white
point of the mastering display, according to the CIE 1931 definition of x as specified in ISO 11664-1 (see also ISO 11664-
3 and CIE 15), in normalized increments of 0.00002. When white_point_x is not in the range of 5 to 37 000, inclusive, the
normalized x chromaticity coordinate of the white point of the mastering display is indicated to be unknown or unspecified
or specified by other means not specified in this Specification.
white_point_y, when in the range of 5 to 42 000, inclusive, specifies the normalized y chromaticity coordinate of the white
point of the mastering display, according to the CIE 1931 definition of y as specified in ISO 11664-1 (see also ISO 11664-
3 and CIE 15), in normalized increments of 0.00002. When white_point_y is not in the range of 5 to 42 000, inclusive, the
normalized y chromaticity coordinate of the white point of the mastering display is indicated to be unknown or unspecified
or specified by other means not specified in this Specification.
   NOTE 1 – SMPTE ST 2086 (2018) specifies that the normalized x and y chromaticity coordinate values for the mastering display
   colour primaries and white point are to be represented with four decimal places. This would correspond with using values of the
   syntax elements display_primaries_x[ c ], display_primaries_y[ c ], white_point_x, and white_point_y, as defined in this
   Specification, that are multiples of 5.
   NOTE 2 – An example of the use of values outside the range for which semantics are specified in this Specification is that
   ANSI/CTA 861-G (2016) uses normalized (x, y) chromaticity coordinate values of (0,0) for the white point to indicate that the white
   point chromaticity is unknown.

max_display_mastering_luminance, when in the range of 50 000 to 100 000 000, specifies the nominal maximum
display luminance of the mastering display in units of 0.0001 candelas per square metre. When
max_display_mastering_luminance is not in the range of 50 000 to 100 000 000, the nominal maximum display luminance
of the mastering display is indicated to be unknown or unspecified or specified by other means not specified in this
Specification.
   NOTE 3 – SMPTE ST 2086 (2018) specifies that the nominal maximum display luminance of the mastering display is to be specified
   as a multiple of 1 candela per square meter. This would correspond with using values of the syntax element
   max_display_mastering_luminance, as defined in this Specification, that are a multiple of 10 000.
   NOTE 4 – An example of the use of values outside the range for which semantics are specified in this Specification is that
   ANSI/CTA 861-G (2016) uses the value 0 for the nominal maximum display luminance of the mastering display to indicate that the
   nominal maximum display luminance of the mastering display is unknown.

min_display_mastering_luminance, when in the range of 1 to 50 000, specifies the nominal minimum display luminance
of the mastering display in units of 0.0001 candelas per square metre. When min_display_mastering_luminance is not in
the range of 1 to 50 000, the nominal maximum display luminance of the mastering display is unknown or unspecified or
specified by other means not specified in this Specification. When max_display_mastering_luminance is equal to 50 000,
min_display_mastering_luminance shall not be equal to 50 000.
   NOTE 5 – SMPTE ST 2086 (2018) specifies that the nominal minimum display luminance of the mastering display is to be specified
   as a multiple of 0.0001 candelas per square metre, which corresponds to the semantics specified in this Specification.
   NOTE 6 – An example of the use of values outside the range for which semantics are specified in this Specification is that
   ANSI/CTA 861-G (2016) uses the value 0 for the nominal minimum display luminance of the mastering display to indicate that the
   nominal minimum display luminance of the mastering display is unknown.
   NOTE 7 – Another example of the potential use of values outside the range for which semantics are specified in this Specification
   is that SMPTE ST 2086 (2018) indicates that values outside the specified range could be used to indicate that the black level and
   contrast of the mastering display have been adjusted using picture line-up generation equipment (PLUGE).

At the minimum luminance, the mastering display is considered to have the same nominal chromaticity as the white point.

D.3.29    Segmented rectangular frame packing arrangement SEI message semantics
This SEI message informs the decoder that the output cropped decoded picture contains samples of multiple distinct
spatially packed constituent frames that are packed into one frame using a rectangular region frame packing arrangement.
This information can be used by the decoder to appropriately rearrange the samples and process the samples of the
constituent frames appropriately for display or other purposes (which are outside the scope of this Specification).


                                                                                    Rec. ITU-T H.265 v8 (08/2021)               365
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 387 of 717 Page ID #:916


Each colour component plane of the output cropped decoded pictures contains a rectangular region frame packing
arrangement of corresponding planes of two constituent frames as illustrated in Figure D.10.
    NOTE 1 – Figure D.10 provides an illustration of the rearrangement process for the rectangular region frame packing arrangement.

This SEI message may be associated with pictures that are either frames (when field_seq_flag is equal to 0) or fields (when
field_seq_flag is equal to 1). The rectangular region frame packing arrangement of the samples is specified in terms of the
sampling structure of a frame in order to define a frame packing arrangement structure that is invariant with respect to
whether a picture is a single field of such a packed frame or is a complete packed frame.
When general_non_packed_constraint_flag is equal to 1 in the active SPS for the current layer, there shall be no segmented
rectangular frame packing arrangement SEI messages applicable for any picture of the CLVS of the current layer.
When a frame packing arrangement SEI message is applicable for any picture of the CLVS of the current layer, there shall
be no segmented rectangular frame packing arrangement SEI messages applicable for any picture of the CLVS of the
current layer.
segmented_rect_frame_packing_arrangement_cancel_flag equal to 1 indicates that the SEI message cancels the
persistence of any previous segmented rectangular frame packing arrangement SEI message in output order.
segmented_rect_frame_packing_arrangement_cancel_flag equal to 0 indicates that rectangular region frame packing
arrangement information follows.
segmented_rect_content_interpretation_type indicates the intended interpretation of the constituent frames as specified
in Table D.12. Values of segmented_rect_content_interpretation_type that do not appear in Table D.12 are reserved for
future specification by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this version of this
Specification. Decoders shall ignore rectangular region frame packing arrangement SEI messages that contain reserved
values of segmented_rect_content_interpretation_type.
For the specified frame packing arrangement scheme, there are two constituent frames that are referred to as frame 0 and
frame 1.

                         Table D.12 – Definition of segmented_rect_content_interpretation_type

      Value                                                      Interpretation

        0       Unspecified relationship between the frame packed constituent frames

        1       Indicates that the two constituent frames form the left and right views of a stereo view scene, with frame 0 being
                associated with the left view and frame 1 being associated with the right view

        2       Indicates that the two constituent frames form the right and left views of a stereo view scene, with frame 0 being
                associated with the right view and frame 1 being associated with the left view



    NOTE 2 – The value 2 for segmented_rect_content_interpretation_type is not expected to be prevalent in industry use of this SEI
    message. However, the value was specified herein for purposes of completeness.

segmented_rect_frame_packing_arrangement_persistence_flag specifies the persistence of the segmented rectangular
frame packing arrangement SEI message for the current layer.
segmented_rect_frame_packing_arrangement_persistence_flag equal to 0 specifies that the rectangular region frame
packing arrangement SEI message applies to the current decoded frame only.
Let picA be the current picture. segmented_rect_frame_packing_arrangement_persistence_flag equal to 1 specifies that
the segmented rectangular frame packing arrangement SEI message persists for the current layer in output order until any
of the following conditions are true:
–     A new CLVS of the current layer begins.
–     The bitstream ends.
–     A frame picB in the current layer in an access unit containing a segmented rectangular frame packing arrangement
      SEI message applicable to the current layer is output for which PicOrderCnt( picB ) is greater than
      PicOrderCnt( picA ), where PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and
      picA, respectively, immediately after the invocation of the decoding process for picture order count for picB.
    NOTE 3 – The default display window parameters in the VUI parameters of the SPS should be used by an encoder to indicate to a
    decoder that does not interpret the rectangular region frame packing arrangement SEI message that the default display window is an
    area within only one of the two constituent frames.

Let croppedWidth and croppedHeight be the width and height, respectively, of the cropped frame output from the decoder
in units of luma samples, derived as follows:


366           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25         Page 388 of 717 Page ID #:917


     croppedWidth = pic_width_in_luma_samples −
                SubWidthC * ( conf_win_right_offset + conf_win_left_offset )                                      (D-28)

     croppedHeight = pic_height_in_luma_samples −
                SubHeightC * ( conf_win_bottom_offset + conf_win_top_offset )                                     (D-29)

It is a requirement of bitstream conformance for the rectangular region frame packing arrangement that croppedWidth and
croppedHeight shall be integer multiples of 3.
Let oneThirdWidth and oneThirdHeight be derived as follows:

     oneThirdWidth = croppedWidth / 3                                                                             (D-30)

     oneThirdHeight = croppedHeight / 3                                                                           (D-31)

The rectangular region frame packing arrangement is composed of five rectangular regions identified as R0, R1, R2, R3
and R4 as illustrated in Figure D.10.
The width and height of the region R0 are specified in units of frame luma samples as follows:

     r0W = 2 * oneThirdWidth                                                                                      (D-32)

     r0H = 2 * oneThirdHeight                                                                                     (D-33)

The width and height of the region R1 are specified in units of frame luma samples as follows:

     r1W = oneThirdWidth                                                                                          (D-34)

     r1H = 2 * oneThirdHeight                                                                                     (D-35)

The width and height of the region R2 are specified in units of frame luma samples as follows:

     r2W = oneThirdWidth                                                                                          (D-36)

     r2H = oneThirdHeight                                                                                         (D-37)

The width and height of the region R3 are specified in units of frame luma samples as follows:

     r3W = oneThirdWidth                                                                                          (D-38)

     r3H = oneThirdHeight                                                                                         (D-39)

The width and height of the region R4 are specified in units of frame luma samples as follows:

     r4W = oneThirdWidth                                                                                          (D-40)

     r4H = oneThirdHeight                                                                                         (D-41)

Constituent frame 0 is obtained by cropping from the decoded frames the region R0 and constituent frame 1 is obtained by
stacking vertically the regions R2 and R3 and placing the resulting rectangle to the right of the region R1. The region R4
is not part of either constituent frame and is discarded.




                                                                             Rec. ITU-T H.265 v8 (08/2021)           367
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 389 of 717 Page ID #:918




                Figure D.10 – Rearrangement of a segmented rectangular frame packing arrangement


D.3.30      Temporal motion-constrained tile sets SEI message semantics
The temporal motion-constrained tile sets SEI message indicates that the following constraints apply:
–     No sample values outside each identified tile set or outside the picture are referenced for inter prediction.
–     For PUs located directly left of the right tile boundary of each identified tile set except the last one at the bottom right,
      the following applies when CuPredMode[ xPb ][ yPb ] is equal to MODE_INTER, where ( xPb, yPb ) specifies the
      top-left sample of the corresponding luma prediction block relative to the top-left sample of the current picture:
      –     With the number of spatial merging candidates numSpatialMergeCand derived as follows:

                numSpatialMergeCand =availableFlagA0 + availableFlagA1 +                                               (D-42)
                                    availableFlagB0 + availableFlagB1 + availableFlagB2

            where availableFlagA0, availableFlagA1, availableFlagB0, availableFlagB1, and availableFlagB2 are the output
            of the derivation process for spatial merging candidates specified in clause 8.5.3.2.3, the following applies:
            –    If numSpatialMergeCand is equal to 0, merge_flag[ xPb ][ yPb ] is equal to 0.
            –    Otherwise (numSpatialMergeCand is greater than 0), merge_idx[ xPb ][ yPb ] is in the range of 0 to
                 numSpatialMergeCand − 1, inclusive.
      –     With the number of spatial motion vector predictor candidates numSpatialMvpCand derived as follows:

                if( availableFlagLXA )
                    numSpatialMvpCand =
                availableFlagLXA + ( ( mvLXA != mvLXB ) ? availableFlagLXB : 0 )
                else                                                                                                   (D-43)
                    numSpatialMvpCand = availableFlagLXB

            where availableFlagLXA, availableFlagLXB, mvLXA, and mvLXB are the output of the derivation process for
            motion vector predictor candidates from neighbouring prediction unit partitions specified in clause 8.5.3.2.7,
            the following applies:
            –    If numSpatialMvpCand is equal to 0, mvp_l0_flag[ xPb ][ yPb ] and mvp_l1_flag[ xPb ][ yPb ] are equal
                 to 1.
            –    Otherwise    (numSpatialMvpCand         is    greater   than   0),  mvp_l0_flag[ xPb ][ yPb ]                   and
                 mvp_l1_flag[ xPb ][ yPb ] are in the range of 0 to numSpatialMvpCand − 1, inclusive.
    NOTE 1 – The first constraint restricts motion vector values to only those that refer either to full-sample locations inside each
    identified tile set or to fractional-sample locations that require only full-sample locations inside each identified tile set for



368         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25            Page 390 of 717 Page ID #:919


    interpolation. The second constraint prohibits the usage of motion vector candidates for temporal motion vector prediction that are
    derived from blocks outside each identified tile set.

Let a set of pictures associatedPicSet be the pictures with nuh_layer_id equal to targetLayerId from the access unit
containing the SEI message, inclusive, up to but not including the first of any of the following in decoding order:
–    The next access unit, in decoding order, that contains a temporal motion-constrained tile sets SEI message applicable
     to targetLayerId.
–    The next IRAP picture with NoRaslOutputFlag equal to 1, in decoding order, with nuh_layer_id equal to
     targetLayerId.
–    The next IRAP access unit, in decoding order, with NoClrasOutputFlag equal to 1.
The scope of the temporal motion-constrained tile sets SEI message is the set of pictures associatedPicSet.
When a temporal motion-constrained tile sets SEI message is present for any picture in associatedPicSet, a temporal
motion-constrained tile sets SEI message applicable to targetLayerId shall be present for the first picture of
associatedPicSet in decoding order and may also be present for other pictures of associatedPicSet.
When a temporal motion-constrained tile sets SEI message applicable to targetLayerId is present for a picture in
associatedPicSet and tiles_enabled_flag is equal to 0 for the PPS that is active for the picture, the picture contains only one
tile, which forms the only MCTS, and the values of mc_all_tiles_exact_sample_value_match_flag and
each_tile_one_tile_set_flag shall both be equal to 1.
The temporal motion-constrained tile sets SEI message applicable to targetLayerId shall not be present for any picture in
associatedPicSet unless every PPS that is active for any picture in associatedPicSet has the same values of the syntax
elements num_tile_columns_minus1, num_tile_rows_minus1, uniform_spacing_flag, column_width_minus1[ i ] and
row_height_minus1[ i ].
    NOTE 2 – This constraint is similar to the constraint associated with tiles_fixed_structure_flag equal to 1 and it may be desirable
    for tiles_fixed_structure_flag to be equal to 1 when the temporal motion-constrained tile sets SEI message is present (although this
    is not required).
    NOTE 3 – When loop filtering is applied across tile boundaries, inter prediction of any samples within a temporal motion-
    constrained tile set that refers to samples within four samples from a temporal motion-constrained tile set boundary that is not also
    a picture boundary may result in propagation of mismatch error. An encoder can avoid such potential error propagation by avoiding
    the use of motion vectors that cause such references.

When more than one temporal motion-constrained tile sets SEI message applicable to targetLayerId is present for the
pictures of associatedPicSet, they shall contain identical content.
When a temporal motion-constrained tile sets SEI message is present, a slice segment that contains one or more tiles in
any particular temporal motion-constrained tile set shall not be a dependent slice segment of an independent slice segment
that contains one or more tiles that do not belong to that temporal motion-constrained tile set.
For purposes of referencing a particular temporal motion-constrained tile set that is identified in a temporal motion-
constrained tile sets SEI message (e.g., for use with a motion-constrained tile sets extraction information sets SEI message
or a motion-constrained tile sets extraction information nesting SEI message), an MCTS index is defined as follows:
–    If the value of each_tile_one_tile_set_flag of the temporal motion-constrained tile sets SEI message is equal to 0, the
     MCTS index is the value of the variable i within the loop of the num_sets_in_message_minus1 + 1 sets of MCTS
     information specified by the temporal MCTS SEI message.
–    Otherwise, the MCTS index of each MCTS is the tile position of the tile in tile raster scan order.
mc_all_tiles_exact_sample_value_match_flag equal to 0 indicates that when the CTUs that do not belong to any tile in
the motion-constrained tile sets are not decoded and the boundaries of the tiles in the motion-contrained tile sets are treated
as picture boundaries for purposes of the decoding process, the decoded value of each sample in the tiles in the motion-
constrained tile sets may not be exactly the same as the decoded value of the same sample when all the CTUs of the picture
are decoded. mc_all_tiles_exact_sample_value_match_flag equal to 1 indicates that when the CTUs that do not belong to
any tile in the motion-constrained tile sets are not decoded and the boundaries of the tiles in the motion-constrained tile
sets are treated as picture boundaries for purposes of the decoding process, the decoded value of each sample in the tiles
in the motion-constrained tile sets is exactly the same as the decoded value of the sample that would be obtained when all
the CTUs of all pictures in associatedPicSet are decoded.
each_tile_one_tile_set_flag equal to 1 indicates that each and every tile in the picture is included in a separate temporal
motion-constrained tile set. each_tile_one_tile_set_flag equal to 0 indicates that such constraint may not be applied.
limited_tile_set_display_flag equal to 1 specifies that the display_tile_set_flag[ i ] syntax element is present and indicates
that the tiles not included within any tile set with display_tile_set_flag[ i ] equal to 1 are not intended for display.
limited_tile_set_display_flag equal to 0 specifies that the display_tile_set_flag[ i ] syntax element is not present.




                                                                                      Rec. ITU-T H.265 v8 (08/2021)                369
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 391 of 717 Page ID #:920


num_sets_in_message_minus1 plus 1 specifies the number of temporal motion-constrained tile sets identified in the SEI
message. The value of num_sets_in_message_minus1 shall be in the range of 0 to 255, inclusive.
mcts_id[ i ] contains an identifying number that may be used to identify the purpose of the i-th identified tile set (for
example, to identify an area to be extracted from associatedPicSet for a particular purpose). The value of mcts_id[ i ] shall
be in the range of 0 to 232 − 2, inclusive.
Values of mcts_id[ i ] from 0 to 255, inclusive, and from 512 to 231 − 1, inclusive, may be used as determined by the
application. Values of mcts_id[ i ] from 256 to 511, inclusive, and from 231 to 232 − 2, inclusive, are reserved for future use
by ITU-T | ISO/IEC and bitstreams shall not contain such values. Decoders encountering a value of mcts_id[ i ] in the
range of 256 to 511, inclusive, or in the range of 231 to 232 − 2, inclusive, shall ignore it.
display_tile_set_flag[ i ] equal to 1 indicates that the i-th tile set is intended for display. display_tile_set_flag[ i ] equal to
0 indicates that the i-th tile set is not intended for display. When not present, the value of display_tile_set_flag[ i ] is
inferred to be equal to 1.
num_tile_rects_in_set_minus1[ i ] plus 1 specifies the number of rectangular regions of tiles in the i-th identified
temporal motion-constrained tile set. The value of num_tile_rects_in_set_minus1[ i ] shall be in the range of 0
to ( num_tile_columns_minus1 + 1 ) * ( num_tile_rows_minus1 + 1 ) − 1, inclusive.
top_left_tile_idx[ i ][ j ] and bottom_right_tile_idx[ i ][ j ] identify the tile position of the top-left tile and the tile position
of the bottom-right tile in a rectangular region of the i-th identified temporal motion-constrained tile set, respectively, in
tile raster scan order.
The value of top_left_tile_idx[ i ][ j ] and bottom_right_tile_idx[ i ][ j ] shall be in the range of 0 to
( num_tile_columns_minus1 + 1 ) * ( num_tile_rows_minus1 + 1 ) − 1, inclusive.
mc_exact_sample_value_match_flag[ i ] equal to 0 indicates that when the CTUs that are outside of the i-th identified
temporal motion-constrained tile set are not decoded and the boundaries of the temporal motion-constrained tile set are
treated as picture boundaries for purposes of the decoding process, the value of each sample in the identified tile set may
not be exactly the same as the value of the same sample when all the CTUs of the picture are decoded.
mc_exact_sample_value_match_flag[ i ] equal to 1 indicates that when the CTUs that do not belong to the temporal
motion-constrained tile set are not decoded and the boundaries of the temporal motion-constrained tile set are treated as
picture boundaries for purposes of the decoding process, the value of each sample in the temporal motion-constrained tile
set would be exactly the same as the value of the sample that would be obtained when all the CTUs of all pictures in
associatedPicSet are decoded.
   NOTE 4 – It should be feasible to use mc_exact_sample_value_match_flag[ i ] equal to 1 when using certain combinations of
   loop_filter_across_tiles_enabled_flag,     pps_loop_filter_across_slices_enabled_flag,  pps_deblocking_filter_disabled_flag,
   slice_loop_filter_across_slices_enabled_flag,   slice_deblocking_filter_disabled_flag, sample_adaptive_offset_enabled_flag,
   slice_sao_luma_flag and slice_sao_chroma_flag.
mcts_tier_level_idc_present_flag[ i ] equal to 1 specifies that the mcts_tier_flag[ i ] and mcts_level_idc[ i ] syntax
elements are present. mcts_tier_level_idc_present_flag[ i ] equal to 0 specifies that the mcts_tier_flag[ i ] and
mcts_level_idc[ i ] syntax elements are not present. When mcts_tier_level_idc_present_flag[ i ] is equal to 1,
num_tile_rects_in_set_minus1[ i ] shall be equal to 0 and a slice segment containing one or more CTUs within the i-th
motion-constrained tile set shall not include any CTU outside the i-th motion-constrained tile set. When not present,
mcts_tier_level_idc_present_flag[ i ] is inferred to be equal to 0.
mcts_tier_flag[ i ] specifies the tier context for the interpretation of mcts_level_idc[ i ] corresponding to the i-th motion-
constrained tile set. mcts_tier_flag[ i ] equal to 0 indicates conformance to the Main tier, and mcts_tier_flag[ i ] equal to 1
indicates conformance to the High tier, according to the tier constraints specified in Table A.8. mcts_tier_flag[ i ] shall be
equal to 0 when mcts_level_idc[ i ] is less than 120. When not present, the value of mcts_tier_flag[ i ] is inferred to be
equal to general_tier_flag.
mcts_level_idc[ i ] indicates a level to which the i-th tile set region, corresponding to the i-th motion-constrained tile set,
conforms. The value of mcts_level_idc[ i ] shall be less than or equal to the value of general_level_idc in the active SPS
RBSP. When not present, the value of mcts_level_idc[ i ] is inferred to be equal to general_level_idc.
mcts_max_tier_level_idc_present_flag equal to 1 specifies that the mcts_max_tier_flag and mcts_max_level_idc syntax
elements are present. mcts_max_tier_level_idc_present_flag equal to 0 specifies that the mcts_max_tier_flag and
mcts_max_level_idc syntax elements are not present. When mcts_max_tier_level_idc_present_flag is equal to 1, a slice
segment containing one or more CTUs within a tile shall not include any CTU outside the tile. When not present,
mcts_max_tier_level_idc_present_flag is inferred to be equal to 0.
mcts_max_tier_flag specifies the tier context for the interpretation of mcts_max_level_idc to which all motion-
constrained tile sets conform. mcts_max_tier_flag equal to 0 indicates conformance to the Main tier, and
mcts_max_tier_flag equal to 1 indicates conformance to the High tier, according to the tier constraints specified in
Table A.8. mcts_max_tier_flag shall be equal to 0 when mcts_max_level_idc is less than 120. When not present, the value
of mcts_max_tier_flag is inferred to be equal to general_tier_flag.



370         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7             Filed 04/07/25         Page 392 of 717 Page ID #:921


mcts_max_level_idc indicates a level to which all motion-constrained tile sets conform. The value of mcts_max_level_idc
shall be less than or equal to the value of general_level_idc in the active SPS RBSP. When not present, the value of
mcts_max_level_idc is inferred to be equal to general_level_idc.
The following describes the tier and level restrictions on the bitstreams of each motion-constrained tile set:
–   If mcts_tier_level_idc_present_flag[ i ] and mcts_max_tier_level_idc_present_flag are both equal to 0, the
    mctsLevelIdc[ i ] of all motion-constrained tile sets are inferred to be equal to general_level_idc and the
    mctsTierFlag[ i ] of all motion-constrained tile sets are inferred to be equal to general_tier_flag and the specifications
    of Annex A apply to all motion-constrained tile sets.
–   Otherwise (mcts_tier_level_idc_present_flag[ i ] or mcts_max_tier_level_idc_present_flag is equal to 1), the
    following applies:
    –    The variables mctsLevelIdc[ i ], mctsTierFlag[ i ], mctsWidthInSamplesY[ i ], mctsHeightInSamplesY[ i ],
         NumTileColumnsInMCTS[ i ] and NumTileRowsInMCTS[ i ] are derived as follows:
         –    If each_tile_one_tile_set_flag is equal to 0, for each tile set with index i in the range of 0 to
              num_sets_in_message_minus1, inclusive, the following applies:
              –    mctsLevelIdc[ i ] is set equal to mcts_level_idc[ i ].
              –    mctsTierFlag[ i ] is set equal to mcts_tier_flag[ i ].
              –    mctsWidthInSamplesY[ i ] is set equal to the sum of ColumnWidthInLumaSamples[ k ], for all k in
                   the range of ( top_left_tile_idx[ i ][ 0 ] % ( num_tile_rows_minus1 + 1 ) ) to
                   ( bottom_right_tile_idx[ i ][ 0 ] % ( num_tile_rows_minus1 + 1 ) ), inclusive.
              –    mctsHeightInSamplesY[ i ] is set equal to the sum of RowHeightInLumaSamples[ k ], for all k in the
                   range of ( top_left_tile_idx[ i ][ 0 ] / ( num_tile_rows_minus1 + 1 ) ) to
                   ( bottom_right_tile_idx[ i ][ 0 ] / (num_tile_rows_minus1 + 1 ) ), inclusive.
              –    NumTileColumnsInMCTS[ i ] is set equal to
                   ( bottom_right_tile_idx[ i ][ 0 ] % ( num_tile_rows_minus1 + 1 ) ) −
                   ( top_left_tile_idx[ i ][ 0 ] % ( num_tile_rows_minus1 + 1 ) ) + 1.
              –    NumTileRowsInMCTS[ i ] is set equal to
                   ( bottom_right_tile_idx[ i ][ 0 ] / (num_tile_rows_minus1 + 1 ) ) −
                   ( top_left_tile_idx[ i ][ 0 ] / ( num_tile_rows_minus1 + 1 ) ) + 1.
         –    Otherwise (each_tile_one_tile_set_flag is equal to 1), for each tile with TileId i, with i in the range of 0 to
              ( num_tile_columns_minus1 + 1 ) * ( num_tile_rows_minus1 + 1 ) − 1, inclusive, the following applies:
              –    mctsLevelIdc[ i ] is set equal to mcts_max_level_idc.
              –    mctsTierFlag[ i ] is set equal to mcts_max_tier_flag.
              –    mctsWidthInSamplesY[ i ] is set equal to
                   ColumnWidthInLumaSamples[ i % ( num_tile_rows_minus1 + 1 ) ].
              –    mctsHeightInSamplesY[ i ] is set equal to
                   RowHeightInLumaSamples[ i / ( num_tile_rows_minus1 + 1 ) ].
              –    NumTileColumnsInMCTS[ i ] is set equal to 1.
              –    NumTileRowsInMCTS[ i ] is set equal to 1.
    –    The variables mctsSizeInSamplesY[ i ] and NumSliceSegmentsInMCTS[ i ] are derived as follows:
         –    mctsSizeInSamplesY[ i ] is set equal to mctsWidthInSamplesY[ i ] * mctsHeightInSamplesY[ i ].
         –    NumSliceSegmentsInMCTS[ i ] is set equal to the number of slice segments in the i-th motion-constrained
              tile set.
    –    The variables mctsMaxLumaPs[ i ], mctsMaxCPB[ i ] mctsMaxSliceSegments[ i ], mctsMaxTileRows[ i ],
         mctsMaxTileCols[ i ], mctsMaxBR[ i ] and mctsMinCr[ i ] are set equal MaxLumaPs, MaxCPB,
         MaxSliceSegmentsPerPicture, MaxTileRows, MaxTileCols and MaxBR, respectively, specified in Table A.8 for
         the level indicated by mctsLevelIdc[ i ] with the tier indicated by mctsTierFlag[ i ].
    –    The variable mctsMinCr[ i ] is set equal to MinCr specified in Table A.9 for the level indicated by
         mctsLevelIdc[ i ] with the tier indicated by mctsTierFlag[ i ].
    –    mctsLevelIdc[ i ] and mctsTierFlag[ i ] indicate the level and tier to which the i-th motion-constrained tile set
         conforms, as specified in Annex A with the following modifications and additions:
         –    The variable PicSizeInSamplesY is replaced with the variable mctsSizeInSamplesY[ i ].
         –    The value of num_tile_columns_minus1 is replaced with the variable NumTileColumnsInMCTS[ i ] − 1.
         –    The value of num_tile_rows_minus1 is replaced with the variable NumTileRowsInMCTS[ i ] − 1.


                                                                               Rec. ITU-T H.265 v8 (08/2021)            371
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25            Page 393 of 717 Page ID #:922


          –      The number of slice segments                for    the    i-th   motion-constrained   tile   set   is   set   to
                 NumSliceSegmentsInMCTS[ i ].
          –      The variable MaxTileCols, MaxTileRows, MaxSliceSegmentsPerPicture, MaxLumaPs, MaxBR and MinCr
                 are replaced with the variables mctsMaxTileCols[ i ], mctsMaxTileRows[ i ], mctsMaxSliceSegments[ i ],
                 mctsMaxLumaPs[ i ], mctsMaxBR[ i ] and mctsMinCr[ i ], respectively.
          –      The nominal removal time of motion-constrained tile set from the CPB shall be the same as removal time
                 of corresponding access unit.
          –      The difference between consecutive output times of motion-constrained tile sets from the DPB shall be
                 same as difference between the output times of corresponding access unit.
          –      The value of NumBytesInNalUnit is replaced with the sum of the sizes of all NAL units belonging to the i-
                 th motion-constrained tile set in bytes.

D.3.31    Chroma resampling filter hint SEI message semantics
The chroma resampling filter hint SEI message signals one downsampling process and one upsampling process for the
chroma components of decoded pictures. When the sampling processes signalled in the chroma resampling filter hint SEI
message are used, for any number of upsampling and downsampling iterations performed on the decoded pictures, the
degradation of the colour components is expected to be minimized.
The chroma resampling filter hint SEI message shall not be present in a CLVS that has chroma_format_idc equal to 0.
It is a requirement of bitstream conformance that when a chroma resampling filter hint SEI message is present in a CLVS,
chroma_sample_loc_type_top_field shall be equal to chroma_sample_loc_type_bottom_field in the same CLVS.
All chroma resampling filter hint SEI messages that apply to the same CLVS shall have the same content.
ver_chroma_filter_idc identifies the vertical components of the downsampling and upsampling sets of filters as specified
in Table D.13. Based on the value of ver_chroma_filter_idc, the values of verFilterCoeff[ ][ ] are derived from Table D.18.
The value of ver_chroma_filter_idc shall be in the range of 0 to 2, inclusive. Values of ver_chroma_filter_idc greater than
2 are reserved for future use by ITU-T | ISO/IEC.
When ver_chroma_filter_idc is equal to 0, the chroma resampling filter in the vertical direction is unspecified.
When chroma_format_idc is equal to 1, ver_chroma_filter_idc shall be equal to 1 or 2.

                                         Table D.13 – ver_chroma_filter_idc values

                                 Value                              Description
                                   0         Unspecified
                                   1         Filters signalled by ver_filter_coeff[ ][ ]
                                   2         Filters as described in SMPTE RP 2050-1 (2012)
                                  >2         Reserved



hor_chroma_filter_idc identifies the horizontal components of the downsampling and upsampling sets of filters as
specified in Table D.14. Based on the value of hor_chroma_filter_idc, the values of horFilterCoeff[ ][ ] are derived from
Table D.19. The value of hor_chroma_filter_idc shall be in the range of 0 to 2, inclusive. Values of hor_chroma_filter_idc
greater than 2 are reserved for future use by ITU-T | ISO/IEC.
When hor_chroma_filter_idc is equal to 0, the chroma resampling filter in the horizontal direction is unspecified.
When chroma_format_idc is equal to 3, hor_chroma_filter_idc shall be equal to 1 or 2.
When chroma_format_idc is equal to 2 and ver_chroma_filter_idc is equal to 2, hor_chroma_filter_idc shall be equal to 0.
It is a requirement of bitstream conformance that ver_chroma_filter_idc and hor_chroma_filter_idc shall not be both equal
to 0.




372           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7             Filed 04/07/25             Page 394 of 717 Page ID #:923


                                       Table D.14 – hor_chroma_filter_idc values

                              Value                                Description
                                0         Unspecified
                                1         Filters signalled by hor_filter_coeff[ ][ ]
                                          Filters as described in the 5/3 filter description of Rec.
                                2
                                          ITU-T T.800 | ISO/IEC 15444-1
                                >2        Reserved

ver_filtering_field_processing_flag indicates whether the vertical operations of the downsampling and the upsampling
sets of filters should be applied on a field-basis or a frame-basis. When field_seq_flag is equal to 1 and pic_struct is not
within the range of 9 to 12 inclusive, ver_filtering_field_processing_flag shall be equal to 1.
Based on the values of ver_filtering_field_processing_flag and field_seq_flag, the following applies:
–    If ver_filtering_field_processing_flag is equal to 1:
     –    If field_seq_flag is equal to 1, each output field should be filtered independently.
     –    Otherwise (field_seq_flag is equal to 0), for each decoded frame the filtering process should be applied to chroma
          samples belonging to the top field and to chroma samples belonging to the bottom field separately.
–    Otherwise (ver_filtering_field_processing_flag is equal to 0):
     –    If field_seq_flag is equal to 1, the filtering process should be performed on a frame basis. The input of the
          filtering process should be frames resulting from the interleaving of fields in accordance with the information
          conveyed by the pic_struct values.
     –    Otherwise (field_seq_flag is equal to 0), the filtering process should be performed on a frame basis.
The variable chromaSampleLocType is derived as follows:
–    If chroma_format_idc is equal to 1, chromaSampleLocType is set equal to chroma_sample_loc_type_top_field.
–    Otherwise (chroma_format_idc is not equal to 1), chromaSampleLocType is set equal to 0.
When chromaSampleLocType is greater than 1, ver_chroma_filter_idc shall not be equal to 2.
When chromaSampleLocType is equal to 1, 3 or 5, hor_chroma_filter_idc shall not be equal to 2.
target_format_idc indicates the output sampling format of the chroma components (i.e., the position of chroma samples
relative to that of the luma samples) after filtering, as specified in Table D.15. The value of target_format_idc shall be in
the range of 1 to 3, inclusive. The value of target_format_idc shall not be equal to the value of chroma_format_idc.
When not present, the value of target_format_idc is inferred as follows:
–    If chroma_format_idc is equal to 1 and ver_chroma_filter_idc is equal to 2, the following applies:
     –    If hor_chroma_filter_idc is not equal to 2, the value of target_format_idc is inferred to be equal to 2.
     –    Otherwise (hor_chroma_filter_idc is equal to 2), the value of target_format_idc is inferred to be equal to 3.
–    Otherwise, if chroma_format_idc is equal to 2, the following applies:
     –    If ver_chroma_filter_idc is equal to 2, the value of target_format_idc is inferred to be equal to 1.
     –    Otherwise (ver_chroma_filter_idc is not equal to 2), the value of target_format_idc is inferred to be equal to 3.
–    Otherwise, if chroma_format_idc is equal to 3, the following applies:
     –    If ver_chroma_filter_idc is equal to 2, the value of target_format_idc is inferred to be equal to 1.
     –    Otherwise (ver_chroma_filter_idc is not equal to 2), the value of target_format_idc is inferred to be equal to 2.
When chroma_format_idc is greater than 1 and target_format_idc is greater than 1, ver_chroma_filter_idc shall be equal
to 0.
When chroma_format_idc is less than 3 and target_format_idc is less than 3, hor_chroma_filter_idc shall be equal to 0.

                       Table D.15 – Chroma sampling format indicated by target_format_idc

                                      target_format_idc            Chroma sampling format
                                               1                               4:2:0
                                               2                               4:2:2
                                               3                               4:4:4




                                                                                    Rec. ITU-T H.265 v8 (08/2021)      373
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25          Page 395 of 717 Page ID #:924



    NOTE 1 – The logic associating sampling formats to numeric values of target_format_idc here is the same as the one used to
    associate sampling formats to numeric values of chroma_format_idc, as described in clause 6.2.

The variable upsamplingFlag is derived as follows:
–     If chroma_format_idc is greater than target_format_idc, upsamplingFlag is set equal to 0.
–     Otherwise (chroma_format_idc is less than target_format_idc), upsamplingFlag is set equal to 1.
num_vertical_filters specifies the number of filters signalled for chroma downsampling and upsampling in the vertical
direction. When ver_chroma_filter_idc is equal to 1, depending on the values of chromaSampleLocType and
ver_filtering_field_processing_flag, the value of num_vertical_filters shall be equal to the values specified in Table D.16.

                               Table D.16 – Constraints on the value of num_vertical_filters

                                    Conditions
                                                                                Mandatory value of num_vertical_filters
        chromaSampleLocType           ver_filtering_field_processing_flag
                                                        0                                            2
                   0, 1
                                                        1                                            3
                                                        0                                            3
                   2, 3
                                                        1                                            5
                                                        0                                            3
                   4, 5
                                                        1                                            5



ver_tap_length_minus1[ i ] plus 1 specifies the length of the i-th filter in the vertical direction. The value of
ver_tap_length_minus1[ i ] shall be in the range of 0 to 31, inclusive.
ver_filter_coeff[ i ][ j ] specifies the value of the j-th coefficient of the i-th filter in the vertical direction. The value of
ver_filter_coeff[ i ][ j ] shall be in the range of −231 + 1 to 231 − 1, inclusive.
The variable verTapLength[ ] is derived as follows:
–     If ver_chroma_filter_idc is equal to 1, verTapLength[ i ] is set equal to ver_tap_length_minus1[ i ] plus 1 for i in the
      range of 0..num_vertical_filters − 1.
–     Otherwise (ver_chroma_filter_idc is equal to 2), the value of verTapLength[ ] is derived as specified in Table D.18.
The variable verFilterCoeff[ i ][ j ] is derived as follows:
–     If ver_chroma_filter_idc is equal to 1, verFilterCoeff[ i ][ j ] is set equal to ver_filter_coeff[ i ][ j ] for i in the range
      of 0..num_vertical_filters − 1, inclusive, and j in the range of 0..ver_tap_length_minus1[ i ], inclusive.
–     Otherwise (ver_chroma_filter_idc is equal to 2), the values of verFilterCoeff[ ][ ] are derived as specified in
      Table D.18.
num_horizontal_filters specifies the number of filters indicated for chroma downsampling and upsampling in the
horizontal direction. When hor_chroma_filter_idc is equal to 1, depending on the value of chromaSampleLocType, the
value of num_horizontal_filters shall be equal to the values specified in Table D.17.

                             Table D.17 – Constraints on the value of num_horizontal_filters

                            chromaSampleLocType             Mandatory value of num_horizontal_filters
                                     0, 2, 4                                    3
                                     1, 3, 5                                    2



hor_tap_length_minus1[ i ] plus 1 specifies the length of the i-th filter in the horizontal direction. The value of
hor_tap_length_minus1[ i ] shall be in the range of 0 to 31, inclusive.
hor_filter_coeff[ i ][ j ] specifies the value of the j-th coefficient of the i-th filter in the horizontal direction. The value of
hor_filter_coeff[ i ][ j ] shall be in the range of −231 + 1 to 231 − 1, inclusive.
The variable horTapLength[ ] is derived as follows:
–     If hor_chroma_filter_idc is equal to 1, horTapLength[ i ] is set equal to hor_tap_length_minus1[ i ] plus 1 for i in the
      range of 0 to num_horizontal_filters − 1, inclusive.


374         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                                                                                                               Document 1-7                Filed 04/07/25            Page 396 of 717 Page ID #:925


–     Otherwise (hor_chroma_filter_idc is equal to 2), the values of horTapLength[ ] are derived as specified in Table D.19.
The variable horFilterCoeff[ ][ ] is derived as follows:
–     If hor_chroma_filter_idc is equal to 1, horFilterCoeff[ i ][ j ] is set equal to hor_filter_coeff[ i ][ j ] for i in the range
      of 0 to num_horizontal_filters − 1, inclusive, and j in the range of 0 to hor_tap_length_minus1[ i ], inclusive.
–     Otherwise (hor_chroma_filter_idc is equal to 2), the values of horFilterCoeff[ ][ ] are derived as specified in
      Table D.19.
Table D.18 specifies the coefficients of the sets of chroma downsampling and upsampling filters in the vertical direction
when ver_chroma_filter_idc is equal to 2.
    NOTE 2 – When ver_chroma_filter_idc is equal to 2, the filter coefficient values specified in Table D.18 correspond to those
    described in SMPTE RP 2050-1 (2012).

Table D.19 specifies the coefficients of the sets of chroma downsampling and upsampling filters in the horizontal direction
when hor_chroma_filter_idc is equal to 2.
    NOTE 3 – When hor_chroma_filter_idc is equal to 2, the filter coefficient values specified in Table D.19 correspond to those
    described in the 5/3 filter specification part of Rec. ITU-T T.800 | ISO/IEC 15444-1.

               Table D.18 – Values of verFilterCoeff and verTapLength when ver_chroma_filter_idc is equal to 2

                                                                                                                                                            verFilterCoeff[ ][ ]                              verTapLength[ ]
                                                        ver_filtering_field_processing_flag
         chromaSampleLocType




                                                                                                               upsamplingFlag




       0, 1                                             0                                                      0                    verFilterCoeff[ 0 ][ ] = { −3, −19, 34, 500, 500, 34, −19, −3 }        verTapLength[ 0 ] = 8
                                                                                                               1                    verFilterCoeff[ 1 ][ ] = { 19, 103, 1037, −135 }                       verTapLength[ 1 ] = 4
                                                        1                                                      0                    verFilterCoeff[ 0 ][ ] = { −8, −26, 115, 586, 409, −48, −4, 0 }        verTapLength[ 0 ] = 8
                                                                                                               1                    verFilterCoeff[ 1 ][ ] = { 24, −41, 1169, −128 }                       verTapLength[ 1 ] = 4
                                                                                                                                    verFilterCoeff[ 2 ][ ] = { −76, 783, 330, −13 }                        verTapLength[ 2 ] = 4



           Table D.19 – Values of horFilterCoeff and horTapLength when hor_chroma_filter_idc is equal to 2

                                                                                                                                                      horFilterCoeff[ ][ ]                               horTapLength[ ]
                                  chromaSampleLocType



                                                                                              upsamplingFlag




                               0, 2, 4                                                        0                                 horFilterCoeff[ 0 ][ ] = { −1, 2, 6, 2, −1 }                          horTapLength[ 0 ] = 5
                                                                                              1                                 horFilterCoeff[ 1 ][ ] = { 1 }                                        horTapLength[ 1 ] = 1
                                                                                                                                horFilterCoeff[ 2 ][ ] = { 1, 1 }                                     horTapLength[ 2 ] = 2




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Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 397 of 717 Page ID #:926


The chroma resampling filtering process is applied as follows:
–     The variable bottomFlag is derived as follows:
      –    If field_seq_flag is equal to 1 and pic_struct is equal to 2, 10 or 12, bottomFlag is set equal to 1.
      –    Otherwise, if field_seq_flag is equal to 0 and ver_filtering_field_processing_flag is equal to 1 and the output
           field being processed is a bottom field, bottomFlag is set equal to 1.
      –    Otherwise, bottomFlag is set equal to 0.
–     The variables phaseOffsetUp and phaseOffsetDown are derived as follows:
      –    If bottomFlag is equal to 1, phaseOffsetUp is set equal to 2 and phaseOffsetDown is set equal to 1.
      –    Otherwise (bottomFlag is equal to 0), phaseOffsetUp is set equal to 0 and phaseOffsetDown is set equal to 0.
–     The vertical downsampling and upsampling filter coefficients fDv[ ][ ] and fUv[ ][ ] are specified in Table D.20.
–     The horizontal downsampling and upsampling filter coefficients fDh[ ][ ] and fUh[ ][ ] are specified in Table D.21.
–     The vertical downsampling and upsampling filter tap lengths lenDv[ ] and lenUv[ ] are specified in Table D.20.
–     The horizontal downsampling and upsampling filter tap lengths lenDh[ ] and lenUh[ ] are specified in Table D.21.
–     When chroma_format_idc is equal to 1 and target_format_idc is equal to either 2 or 3, the chroma upsampling filtering
      process in the vertical direction is applied once on the Cb samples and once on the Cr samples of the decoded cropped
      output picture as follows:
      –    The variables w0 and h0 are derived as follows:

           w0 = ( pic_width_in_luma_samples / SubWidthC ) − ( conf_win_right_offset + conf_win_left_offset
            )
           h0 = ( pic_height_in_luma_samples >> 1 ) − ( conf_win_top_offset + conf_win_bottom_offset )
                    (D-44)

      –    Let p0X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to h0 − 1, inclusive, and X being
           either Cb or Cr, be the input array of Cb or Cr chroma samples from the decoded cropped output picture, and
           p1X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to ( h0 << 1 ) − 1, inclusive, and X
           being either Cb or Cr, be the output array of Cb or Cr chroma samples of the vertical chroma upsampling process.

           divUv[ 0 ] = 0
           divUv[ 1 ] = 0
           for( j = 0; j < lenUv[ phaseOffsetUp ]; j++ )
                 divUv[ 0 ] += fUv[ phaseOffsetUp ][ j ]
           for( j = 0; j < lenUv[ 1 + phaseOffsetUp ]; j++ )
                 divUv[ 1 ] += fUv[ 1 + phaseOffsetUp ][ j ]
           for( u = 0; u < w0; u++ )
                 for( v = 0; v < ( h0 << 1 ); v++ ) {
                    sum = 0
                    posOffsetUp = v % 2 + phaseOffsetUp
                    for( j = − ( lenUv[ posOffsetUp ] − 1 ) / 2; j <= lenUv[ posOffsetUp ] / 2; j++ ) {
                         sum += p0X[ u ][ Clip3( 0, h0 − 1, ( v >> 1 ) + j ) ]
                            * fUv[ posOffsetUp ][ j + ( lenUv[ posOffsetUp ] − 1 ) / 2 ]
                    p1X[ u ][ v ] = ( sum + ( divUv[ v % 2 ] >> 1 ) ) / divUv[ v % 2 ]
                 }                                                                                                        (D-45)

–     When ver_filtering_field_process_flag is equal to 1 and field_seq_flag is equal to 0, the chroma upsampling filtering
      process in the vertical direction is applied to each field of the Cb or Cr chroma components of the cropped output
      frame picture p0X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to h0 − 1, inclusive, and X
      being either Cb or Cr. The following ordered steps apply:
      1.   The array p0X is deinterleaved into two fields, p0XTop with height being equal to h0 >> 1 and p0XBottom with
           height being equal to h0 − ( h0 >> 1 ).
      2.   The chroma upsampling filtering process in the vertical direction according to Equation D-45 is applied to
           p0XTop and p0XBottom to derive the output of the filtering process p1XTop and p1XBottom.
      3.   The arrays p1XTop and p1XBottom are interleaved to form the output array p1X of the upsampling filtering
           process.
–     When chroma_format_idc is equal to either 1 or 2 and target_format_idc is equal to 3, the chroma upsampling filtering
      process in the horizontal direction is applied once on the Cb samples and once on the Cr samples of the decoded
      picture as follows:


376         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7             Filed 04/07/25           Page 398 of 717 Page ID #:927


    –    The variables w0 and h0 are derived as follows:

         h0 = ( pic_height_in_luma_samples / SubHeightC ) − ( conf_win_top_offset + conf_win_bottom_off
         set )
         w0 = ( pic_width_in_luma_samples >> 1 ) − ( conf_win_right_offset + conf_win_left_offset )
                  (D-46)

    –    Let p0X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to h0 − 1, inclusive, and X being
         either Cb or Cr, be the input array of Cb or Cr chroma samples from the decoded cropped output picture, and
         p1X[ i ][ j ], with i in the range of 0 to ( w0 << 1 ) − 1, inclusive, j in the range of 0 to h0 − 1, inclusive and X
         being either Cb or Cr, be the output array of Cb or Cr chroma samples of the horizontal chroma upsampling
         process.

         divUh[ 0 ] = 0
         divUh[ 1 ] = 0
         for( j = 0; j < lenUh[ 0 ]; j++ )
             divUh[ 0 ] += fUh[ 0 ][ j ]
         for( j = 0; j < lenUh[ 1 ]; j++ )
             divUh[ 1 ] += fUh[ 1 ][ j ]
         for( v = 0; v < h0; v++ )
             for( u = 0; u < ( w0 << 1 ); u++ ) {
                 sum = 0
                 for( i = −( lenUh[ u % 2 ] − 1 ) / 2; i <= lenUh[ u % 2 ] / 2; i++ )
                     sum += p0X[ Clip3( 0, w0 − 1, ( u >> 1 ) + i ) ][ v ] * fUh[ u % 2 ][ i + ( lenUh[ u % 2 ] − 1 ) / 2 ]
                 p1X[ u ][ v ] = ( sum + ( divUh[ u % 2 ] >> 1 ) ) / divUh[ u % 2 ]
             }                                                                                                     (D-47)

–   When chroma_format_idc is equal to either 3 or 2 and target_format_idc is equal to 1, the chroma downsampling
    filtering process in the vertical direction is applied once on the Cb samples and once on the Cr samples of the decoded
    picture as follows:
    –    The variables w0 and h0 are derived as follows:

         w0 = ( pic_width_in_luma_samples / SubWidthC ) − ( conf_win_right_offset + conf_win_left_offset
          )
         h0 = pic_height_in_luma_samples − ( conf_win_top_offset + conf_win_bottom_offset )      (D-48)

    –    Let p0X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to h0 − 1, inclusive, and X being
         either Cb or Cr, be the input array of Cb or Cr chroma samples from the decoded cropped output picture, and
         p1X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to ( h0 >> 1 ) − 1, inclusive, and X
         being either Cb or Cr, be the output array of Cb or Cr chroma samples of the vertical chroma downsampling
         process.

         divDv = 0
         for( j = 0; j < lenDv[ phaseOffsetDown ]; j++ )
               divDv += fDv[ phaseOffsetDown ][ j ]
         for( u = 0; u < w0; u++ )
               for( v = 0; v < ( h0 >> 1 ); v++ ) {
                  sum = 0
                  for( j = − ( lenDv[ phaseOffsetDown ] − 1 ) / 2; j <= lenDv[ phaseOffsetDown ] / 2; j++ )
                       sum += p0X[ u ][ Clip3( 0, h0 − 1, ( v << 1 ) + j ) ]
                             * fDv[ phaseOffsetDown ][ j + ( lenDv[ phaseOffsetDown ] − 1 ) / 2 ]
                  p1X[ u ][ v ] = ( sum + ( divDv >> 1 ) ) / divDv
               }                                                                                                        (D-49)

–   When ver_filtering_field_process_flag is equal to 1 and field_seq_flag is equal to 0, the chroma downsampling
    filtering process in the vertical direction is applied to each field of each of the Cb and Cr chroma components of the
    cropped output frame picture p0X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to h0 − 1,
    inclusive, and X being either Cb or Cr. The following ordered steps apply:
    1.   The array p0X is deinterleaved into two fields, p0XTop with height being equal to h0 >> 1 and p0XBottom
         with height being equal to h0 − ( h0 >> 1 ).
    2.   The chroma downsampling filtering process in the vertical direction according to Equation D-49 is applied to
         p0XTop and p0XBottom to derive the output of the filtering process p1XTop and p1XBottom.


                                                                                Rec. ITU-T H.265 v8 (08/2021)             377
Case 2:25-cv-03053                                                                             Document 1-7                            Filed 04/07/25                               Page 399 of 717 Page ID #:928


      3.   The arrays p1XTop and p1XBottom are interleaved to form the output array p1X of the downsampling filtering
           process.
–     When chroma_format_idc is equal to 3 and target_format_idc is equal to either 1 or 2, the chroma downsampling
      filtering process in the horizontal direction is applied once on the Cb samples and once on the Cr samples of the
      decoded picture as follows:
      –    The variables w0 and h0 are derived as follows:

           h0 = ( pic_height_in_luma_samples / SubHeightC ) − ( conf_win_top_offset + conf_win_bottom_off
           set )
           w0 = pic_width_in_luma_samples − ( conf_win_right_offset + conf_win_left_offset )        (D-50)

      –    Let p0X[ i ][ j ], with i in the range of 0 to w0 − 1, inclusive, j in the range of 0 to h0 − 1, inclusive, and X being
           either Cb or Cr, be the input array of Cb or Cr chroma samples from the decoded cropped output picture, and
           p1X[ i ][ j ], with i in the range of 0 to ( w0 >> 1 ) − 1, inclusive, j in the range of 0 to h0 − 1, inclusive, and X
           being either Cb or Cr, be the output array of Cb or Cr chroma samples of the horizontal chroma downsampling
           process.

           divUh = 0
           for( j = 0; j < lenDh; j++ )
               divDh += fDh[ 0 ][ j ]
           for( v = 0; v < h0; v++ )
               for( u = 0; u < ( w0 >> 1 ); u++ ) {
                   sum = 0
                   for( i = −( lenDh − 1 ) / 2; i <= lenDh / 2; i++ )
                       sum += p0X[ Clip3( 0, w0 − 1, ( u << 1 ) + i ) ][ v ] * fDh[ 0 ][ i + ( lenDh − 1 ) / 2 ]
                   p1X[ u ][ v ] = ( sum + ( divDh >> 1 ) ) / divDh
               }                                                                                                                                                                                                              (D-51)


                                                                                             Table D.20 – Usage of chroma filter in the vertical direction
                                 ver_filtering_field_processing_fla




                                                                                                                                                  (fDv for downsamping or fUv for




                                                                                                                                                                                                 (lenDv for downsampling or
           chromaSampleLocType




                                                                                                                                                                                                    lenUv for upsampling)
                                                                      num_vertical_filters
                                                                       (when applicable)




                                                                                                                                                          Filter coefficients




                                                                                                                                                                                                       Filter tap length
                                                                                                upsamplingFlag




                                                                                                                                                             upsampling)
                                                                                                                 bottomFlag
                                                  g




                                                                                                                              fDv[ 0 ][ j ] = verFilterCoeff[ 0 ][ j ]                        lenDv[ 0 ] =
                                                                                                          0             –
                                                                                                                              j = 0..lenDv[ 0 ] − 1                                           verTapLength[ 0 ]

                                                                                                                              fUv[ 0 ][ j ] = verFilterCoeff[ 1 ][ j ]                        lenUv[ 0 ] =
                                                             0                       2                                        j = 0..lenUv[ 0 ] − 1                                           verTapLength[ 1 ]
                                                                                                          1             –
                                                                                                                              fUv[ 1 ][ j ] =                                                 lenUv[ 1 ] =
                                                                                                                              verFilterCoeff[ 1 ][ verTapLength[ 1 ] − j − 1 ]                verTapLength[ 1 ]
                                                                                                                              j = 0..lenUv[ 1 ] − 1
              0, 1
                                                                                                                              fDv[ 0 ][ j ] = verFilterCoeff[ 0 ][ j ]                        lenDv[ 0 ] =
                                                                                                                        0
                                                                                                                              j = 0..lenDv[ 0 ] − 1                                           verTapLength[ 0 ]
                                                                                                          0
                                                                                                                              fDv[ 1 ][ j ] =                                                 lenDv[ 1 ] =
                                                             1                       3                                  1     verFilterCoeff[ 0 ][ verTapLength[ 0 ] − j − 1 ]                verTapLength[ 0 ]
                                                                                                                              j = 0..lenDv[ 1 ] − 1

                                                                                                                              fUv[ 0 ][ j ] = verFilterCoeff[ 1 ][ j ]                        lenUv[ 0 ] =
                                                                                                          1             0
                                                                                                                              j = 0..lenUv[ 0 ] − 1                                           verTapLength[ 1 ]




378                    Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                                                                        Document 1-7                            Filed 04/07/25                               Page 400 of 717 Page ID #:929



                                                                                        Table D.20 – Usage of chroma filter in the vertical direction




                            ver_filtering_field_processing_fla




                                                                                                                                             (fDv for downsamping or fUv for




                                                                                                                                                                                                (lenDv for downsampling or
      chromaSampleLocType




                                                                                                                                                                                                   lenUv for upsampling)
                                                                 num_vertical_filters
                                                                  (when applicable)




                                                                                                                                                     Filter coefficients




                                                                                                                                                                                                      Filter tap length
                                                                                           upsamplingFlag




                                                                                                                                                        upsampling)
                                                                                                            bottomFlag
                                             g




                                                                                                                         fUv[ 1 ][ j ] = verFilterCoeff[ 2 ][ j ]                           lenUv[ 1 ] =
                                                                                                                         j = 0..lenUv[ 1 ] − 1                                              verTapLength[ 2 ]

                                                                                                                         fUv[ 2 ][ j ] =                                                    lenUv[ 2 ] =
                                                                                                                         verFilterCoeff[ 1 ][ verTapLength[ 1 ] − j − 1 ]                    verTapLength[ 1 ]
                                                                                                                         j = 0..lenUv[ 2 ] − 1
                                                                                                                   1
                                                                                                                         fUv[ 3 ][ j ] =                                                    lenUv[ 3 ] =
                                                                                                                         verFilterCoeff[ 2 ][ verTapLength[ 2 ] − j − 1 ]                   verTapLength[ 2 ]
                                                                                                                         j = 0..lenUv[ 3 ] − 1

                                                                                                                         fDv[ 0 ][ j ] = verFilterCoeff[ 0 ][ j ]                           lenDv[ 0 ] =
                                                                                                     0             –
                                                                                                                         j = 0..lenDv[ 0 ] − 1                                              verTapLength[ 0 ]

                                                                                                                         fUv[ 0 ][ j ] = verFilterCoeff[ 1 ][ j ]                           lenUv[ 0 ] =
                                                        0                       3
                                                                                                                         j = 0..lenUv[ 0 ] − 1                                              verTapLength[ 1 ]
                                                                                                     1             –
                                                                                                                         fUv[ 1 ][ j ] = verFilterCoeff[ 2 ][ j ]                           lenUv[ 1 ] =
                                                                                                                         j = 0..lenUv[ 1 ] − 1                                              verTapLength[ 2 ]

                                                                                                                         fDv[ 0 ][ j ] = verFilterCoeff[ 0 ][ j ]                           lenDv[ 0 ] =
                                                                                                                   0
                                                                                                                         j = 0..lenDv[ 0 ] − 1                                              verTapLength[ 0 ]
                                                                                                     0
                                                                                                                         fDv[ 1 ][ j ] = verFilterCoeff[ 1 ][ j ]                           lenDv[ 1 ] =
                                                                                                                   1
         2, 3                                                                                                            j = 0..lenDv[ 1 ] − 1                                              verTapLength[ 1 ]

                                                                                                                         fUv[ 0 ][ j ] = verFilterCoeff[ 2 ][ j ]                           lenUv[ 0 ] =
                                                                                                                         j = 0..lenUv[ 0 ] − 1                                              verTapLength[ 2 ]
                                                                                                                   0
                                                        1                       5
                                                                                                                         fUv[ 1 ][ j ] = verFilterCoeff[ 3 ][ j ]                           lenUv[ 1 ] =
                                                                                                                         j = 0..lenUv[ 1 ] − 1                                              verTapLength[ 3 ]
                                                                                                     1
                                                                                                                         fUv[ 2 ][ j ] = verFilterCoeff[ 4 ][ j ]                           lenUv[ 2 ] =
                                                                                                                         j = 0..lenUv[ 2 ] − 1                                              verTapLength[ 4 ]
                                                                                                                   1
                                                                                                                         fUv[ 3 ][ j ] =                                                    lenUv[ 3 ] =
                                                                                                                         verFilterCoeff[ 4 ][ verTapLength[ 4 ] − j − 1 ]                   verTapLength[ 4 ]
                                                                                                                         j = 0..lenUv[ 3 ] − 1

                                                                                                                         fDv[ 0 ][ j ] = verFilterCoeff[ 0 ][ j ]                           lenDv[ 0 ] =
                                                                                                     0             –
                                                                                                                         j = 0..lenDv[ 0 ] − 1                                              verTapLength[ 0 ]

                                                                                                                         fUv[ 0 ][ j ] = verFilterCoeff[ 1 ][ j ]                           lenUv[ 0 ] =
                                                        0                       3
                                                                                                                         j = 0..lenUv[ 0 ] − 1                                              verTapLength[ 1 ]
                                                                                                     1             –
                                                                                                                         fUv[ 1 ][ j ] = verFilterCoeff[ 2 ][ j ]                           lenUv[ 1 ] =
         4, 5
                                                                                                                         j = 0..lenUv[ 1 ] − 1                                              verTapLength[ 2 ]

                                                                                                                         fDv[ 0 ][ j ] = verFilterCoeff[ 0 ][ j ]                           lenDv[ 0 ] =
                                                                                                                   0
                                                                                                                          = 0..lenDv[ 0 ] − 1                                               verTapLength[ 0 ]
                                                        1                       5                    0
                                                                                                                         fDv[ 1 ][ j ] = verFilterCoeff[ 1 ][ j ]                           lenDv[ 1 ] =
                                                                                                                   1
                                                                                                                         j = 0..lenDv[ 1 ] − 1                                              verTapLength[ 1 ]




                                                                                                                                                                               Rec. ITU-T H.265 v8 (08/2021)                 379
Case 2:25-cv-03053                                                                                      Document 1-7                                                 Filed 04/07/25                                      Page 401 of 717 Page ID #:930



                                                                                               Table D.20 – Usage of chroma filter in the vertical direction




                            ver_filtering_field_processing_fla




                                                                                                                                                                                       (fDv for downsamping or fUv for




                                                                                                                                                                                                                                                  (lenDv for downsampling or
      chromaSampleLocType




                                                                                                                                                                                                                                                     lenUv for upsampling)
                                                                      num_vertical_filters
                                                                       (when applicable)




                                                                                                                                                                                               Filter coefficients




                                                                                                                                                                                                                                                        Filter tap length
                                                                                                        upsamplingFlag




                                                                                                                                                                                                  upsampling)
                                                                                                                                          bottomFlag
                                             g




                                                                                                                                                            fUv[ 0 ][ j ] = verFilterCoeff[ 2 ][ j ]                                   lenUv[ 0 ] =
                                                                                                                                                            j = 0..lenUv[ 0 ] − 1                                                      verTapLength[ 2 ]
                                                                                                                                                 0
                                                                                                                                                            fUv[ 1 ][ j ] =                                                            lenUv[ 1 ] =
                                                                                                                                                            verFilterCoeff[ 2 ][ verTapLength[ 2 ] − j − 1 ]                           verTapLength[ 2 ]
                                                                                                                                                            j = 0..lenUv[ 1 ] − 1
                                                                                                                  1
                                                                                                                                                            fUv[ 2 ][ j ] = verFilterCoeff[ 3 ][ j ]                                   lenUv[ 2 ] =
                                                                                                                                                            j = 0..lenUv[ 2 ] − 1                                                      verTapLength[ 3 ]
                                                                                                                                                 1
                                                                                                                                                            fUv[ 3 ][ j ] = verFilterCoeff[ 4 ][ j ]                                   lenUv[ 3 ] =
                                                                                                                                                            j = 0..lenUv[ 3 ] − 1                                                      verTapLength[ 4 ]




                                                                                         Table D.21 – Usage of chroma filter in the horizontal direction

                                                                                                                                                                                                                                   (lenDh for downsampling
                                                                                                                                                                          (fDh for downsamping or




                                                                                                                                                                                                                                   or lenUh for upsampling)
                                                chromaSampleLocType



                                                                               num_horizontal_filters




                                                                                                                                                                             fUh for upsampling)
                                                                                 (when applicable)




                                                                                                                                                                              Filter coefficients




                                                                                                                                                                                                                                        Filter tap length
                                                                                                                         upsamplingFlag




                                             0,2,4                                           3                                     0                   fDh[ 0 ][ j ] = horFilterCoeff[ 0 ][ j ]                                 lenDh =
                                                                                                                                                       j = 0..lenDh − 1                                                         horTapLength[ 0 ]

                                                                                                                                   1                   fUh[ 0 ][ j ] = horFilterCoeff[ 1 ][ j ]                                 lenUh[ 0 ] =
                                                                                                                                                       j = 0..lenUh[ 0 ] − 1                                                    horTapLength[ 1 ]

                                                                                                                                                       fUh[ 1 ][ j ] = horFilterCoeff[ 2 ][ j ]                                 lenUh[ 1 ] =
                                                                                                                                                       j = 0..lenUh[ 1 ] − 1                                                    horTapLength[ 2 ]

                                             1,3,5                                           2                                     0                   fDh[ 0 ][ j ] = horFilterCoeff[ 0 ][ j ]                                 lenDh =
                                                                                                                                                       j = 0..lenDh − 1                                                         horTapLength[ 0 ]

                                                                                                                                   1                   fUh[ 0 ][ j ] = horFilterCoeff[ 1 ][ j ]                                 lenUh[ 0 ] =
                                                                                                                                                       j = 0..lenUh[ 0 ] − 1                                                    horTapLength[ 1 ]

                                                                                                                                                       fUh[ 1 ][ j ] =                                                          lenUh[ 1 ] =
                                                                                                                                                       horFilterCoeff[ 1 ][ horTapLength[ 1 ] − j − 1 ]                         horTapLength[ 1 ]
                                                                                                                                                       j = 0..lenUh[ 1 ] − 1




380               Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 402 of 717 Page ID #:931


D.3.32     Knee function information SEI message semantics
The knee function information SEI message provides information to enable mapping of the colour samples of decoded
pictures for customisation to particular display environments. The process uses a knee function to map the white level of
sample values in the normalized linear RGB colour space to an appropriate luminance level and should be applied to each
RGB component produced by the colour space conversion of a decoded image.
A knee function is a piece-wise linear function that starts with the point ( 0.0, 0.0 ), ends with the point ( 1.0, 1.0 ) and is
specified by knee points in ascending order of index i. The coordinate of the i-th knee point is specified by
( input_knee_point[ i ] ÷ 1 000, output_knee_point[ i ] ÷ 1 000 ). A knee function maps the input luminance level
normalized in the range of 0.0 to 1.0 to the output luminance level normalized in the range of 0.0 to 1.0. An example of a
knee function is shown in Figure D.11.




                        Figure D.11 – A knee function with num_knee_points_minus1 equal to 2


knee_function_id contains an identifying number that may be used to identify the purpose of the knee functions. The
value of knee_function_id shall be in the range of 0 to 232 − 2, inclusive.
Values of knee_function_id from 0 to 255, inclusive, and from 512 to 231 − 1, inclusive, may be used as determined by the
application. Values of knee_function_id from 256 to 511, inclusive, and from 231 to 232 − 2, inclusive, are reserved for
future use by ITU-T | ISO/IEC. Decoders encountering a value of knee_function_id in the range of 256 to 511, inclusive,
or in the range of 231 to 232 − 2, inclusive, shall ignore it.
    NOTE 1 – The knee_function_id can be used to support knee function processes that are suitable for different display scenarios. For
    example, different values of knee_function_id may correspond to different display bit depths.

knee_function_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous knee function
information SEI message in output order that applies to the current layer. knee_function_cancel_flag equal to 0 indicates
that knee function information follows.
knee_function_persistence_flag specifies the persistence of the knee function information SEI message for the current
layer.
knee_function_persistence_flag equal to 0 specifies that the knee function information applies to the current decoded
picture only.
Let picA be the current picture. knee_function_persistence_flag equal to 1 specifies that the knee function information
persists for the current layer in output order until any of the following conditions are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB in the current layer in an access unit containing a knee function information SEI message with the
     same value of knee_function_id and applicable to the current layer is output for which PicOrderCnt( picB ) is greater



                                                                                     Rec. ITU-T H.265 v8 (08/2021)               381
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25             Page 403 of 717 Page ID #:932


      than PicOrderCnt( picA ), where PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB
      and picA, respectively, immediately after the invocation of the decoding process for picture order count for picB.
input_d_range specifies the peak luminance level for the input picture of the knee function process relative to the nominal
luminance level in units of 0.1%. When the value of input_d_range is equal to 0, the peak luminance level of the input
picture is unspecified.
input_disp_luminance specifies the expected display brightness of peak luminance level for the input picture of the knee
function process. The value of input_disp_luminance is in units of candelas per square metre. When the value of
input_disp_luminance is equal to 0, the expected display brightness of peak luminance level for the input picture is
unspecified.
output_d_range specifies the peak luminance level for the output picture of the knee function process relative to the
nominal luminance level in units of 0.1%. When the value of output_d_range is equal to 0, the peak luminance level of the
output picture is unspecified.
output_disp_luminance specifies the expected display brightness of peak luminance level for the output picture of the
knee function process. The value of output_disp_luminance is in units of candelas per square metre. When the value of
output_disp_luminance is equal to 0, the expected display brightness of peak luminance level for the output picture is
unspecified.
num_knee_points_minus1 plus 1 specifies the number of knee points used to define the knee function.
num_knee_points_minus1 shall be in the range of 0 to 998, inclusive.
input_knee_point[ i ] specifies the luminance level of the i-th knee point of the input picture. The luminance level of the
knee point of the input picture is normalized to the range of 0 to 1.0 in units of 0.1%. The value of input_knee_point[ i ]
shall be in the range of 1 to 999, inclusive. The value of input_knee_point[ i ] shall be greater than the value of
input_knee_point[ i − 1 ], for i in the range of 1 to num_knee_points_minus1, inclusive.
output_knee_point[ i ] specifies the luminance level of the i-th knee of the output picture. The luminance level of the
knee point of the output picture is normalized to the range of 0 to 1.0 in units of 0.1%. The value of output_knee_point[ i ]
shall be in the range of 0 to 1 000, inclusive. The value of output_knee_point[ i ] shall be greater than or equal to the value
of output_knee_point[ i − 1 ], for i in the range of 1 to num_knee_points_minus1, inclusive.
   NOTE 2 – The luminance level conversion process between an input signal x and an output signal y, where the luminance levels for
   both input and output are normalized to be in the range of 0.0 to 1.0, is specified as follows:

           if( x <= input_knee_point[ 0 ] ÷ 1 000 )
                 y = ( output_knee_point[ 0 ] ÷ input_knee_point[ 0 ] ) * x
           else if( x > input_knee_point[ num_knee_points_minus1 ] )
                 y = ( ( 1 000 − output_knee_point[ num_knee_points_minus1 ] ) ÷
                        ( 1 000 − input_knee_point[ num_knee_points_minus1 ] ) ) *
                        ( x − input_knee_point[ num_knee_points_minus1 ] ÷ 1 000 ) +
                        ( output_knee_point[ num_knee_points_minus1 ] ÷ 1 000 )                                             (D-52)
           else
                 for( i = 1; i <= num_knee_points_minus1; i++ )
                        if( input_knee_point[ i − 1 ] ÷ 1 000 < x && x <= input_knee_point[ i ] ÷ 1 000 )
                             y = ( ( output_knee_point[ i ] − output_knee_point[ i − 1 ] ) ÷
                                 ( input_knee_point[ i ] − input_knee_point[ i − 1 ] ) ) *
                                 ( x − input_knee_point[ i − 1 ] ÷ 1 000 ) + ( output_knee_point[ i − 1 ] ÷ 1 000 )

D.3.33      Colour remapping information SEI message semantics
The colour remapping information SEI message provides information to enable remapping of the reconstructed colour
samples of the output pictures for purposes such as converting the output pictures to a representation that is more suitable
for an alternative display. The colour remapping model used in the colour remapping information SEI message is composed
of a first piece-wise linear function applied to each colour component (specified by the "pre" set of syntax elements herein),
followed by a three-by-three matrix applied to the three resulting colour components, followed by a second piece-wise
linear function applied to each resulting colour component (specified by the "post" set of syntax elements herein).
      NOTE 1 – Colour remapping of the output pictures for the display process (which is outside the scope of this Specification) is
      optional and does not affect the decoding process specified in this Specification.
Unless indicated otherwise by some means not specified in this Specification, the input to the indicated remapping process
is the set of decoded sample values after applying an (unspecified) upsampling conversion process to the 4:4:4 colour
sampling format as necessary when the colour remapping three-by-three matrix coefficients are present in the SEI message
and chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2 chroma format). When chroma_format_idc is equal
to 0 (monochrome), the colour remapping information SEI message shall not be present, although decoders shall allow
such messages to be present and shall ignore any such colour remapping information SEI messages that may be present.


382          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 404 of 717 Page ID #:933


colour_remap_id contains an identifying number that may be used to identify the purpose of the colour remapping
information. The value of colour_remap_id may be used (in a manner not specified in this Specification) to indicate that
the input to the remapping process is the output of some conversion process that is not specified in this Specification, such
as a conversion of the picture to some alternative colour representation (e.g., conversion from a YCbCr colour
representation to a GBR colour representation). When more than one colour remapping information SEI message is present
with the same value of colour_remap_id, the content of these colour remapping information SEI messages shall be the
same. When colour remapping information SEI messages are present that have more than one value of colour_remap_id,
this may indicate that the remapping processes indicated by the different values of colour_remap_id are alternatives that
are provided for different purposes or that a cascading of remapping processes is to be applied in a sequential order (an
order that is not specified in this Specification). The value of colour_remap_id shall be in the range of 0 to 232 − 2, inclusive.
Values of colour_remap_id from 0 to 255, inclusive, and from 512 to 231 − 1, inclusive, may be used as determined by the
application. Values of colour_remap_id from 256 to 511, inclusive, and from 231 to 232 − 2, inclusive, are reserved for
future use by ITU-T | ISO/IEC. Decoders encountering a value of colour_remap_id in the range of 256 to 511, inclusive,
or in the range of 231 to 232 − 2, inclusive, shall ignore it.
    NOTE 2 – The colour_remap_id can be used to support different colour remapping processes that are suitable for different display
    scenarios. For example, different values of colour_remap_id may correspond to different remapped colour spaces supported by
    displays.
colour_remap_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous colour
remapping information SEI message in output order that applies to the current layer. colour_remap_cancel_flag equal to 0
indicates that colour remapping information follows.
colour_remap_persistence_flag specifies the persistence of the colour remapping information SEI message for the current
layer.
colour_remap_persistence_flag equal to 0 specifies that the colour remapping information applies to the current picture
only.
Let picA be the current picture. colour_remap_persistence_flag equal to 1 specifies that the colour remapping information
persists for the current layer in output order until either of the following conditions is true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB in the current layer in an access unit containing a colour remapping information SEI message with the
     same value of colour_remap_id and applicable to the current layer is output for which PicOrderCnt( picB ) is greater
     than PicOrderCnt( picA ), where PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB
     and picA, respectively, immediately after the invocation of the decoding process for picture order count for picB.
colour_remap_video_signal_info_present_flag equal to 1 specifies that syntax elements colour_remap_full_range_flag,
colour_remap_primaries, colour_remap_transfer_function and colour_remap_matrix_coefficients are present,
colour_remap_video_signal_info_present_flag equal to 0 specifies that syntax elements colour_remap_full_range_flag,
colour_remap_primaries, colour_remap_transfer_function and colour_remap_matrix_coefficients are not present.
colour_remap_full_range_flag has the same semantics as specified in clause E.3.1 for the video_full_range_flag syntax
element, except that colour_remap_full_range_flag identifies the colour space of the remapped reconstructed picture, rather
than the colour space used for the CLVS. When not present, the value of colour_remap_full_range_flag is inferred to be
equal to the value of video_full_range_flag.
colour_remap_primaries has the same semantics as specified in clause E.3.1 for the colour_primaries syntax element,
except that colour_remap_primaries identifies the colour space of the remapped reconstructed picture, rather than the
colour space used for the CLVS. When not present, the value of colour_remap_primaries is inferred to be equal to the
value of colour_primaries.
colour_remap_transfer_function has the same semantics as specified in clause E.3.1 for the transfer_characteristics
syntax element, except that colour_remap_transfer_function identifies the colour space of the remapped reconstructed
picture, rather than the colour space used for the CLVS. When not present, the value of colour_remap_transfer_function
is inferred to be equal to the value of transfer_characteristics.
colour_remap_matrix_coefficients has the same semantics as specified in clause E.3.1 for the matrix_coeffs syntax
element, except that colour_remap_matrix_coefficients identifies the colour space of the remapped reconstructed picture,
rather than the colour space used for the CLVS. When not present, the value of colour_remap_matrix_coefficients is
inferred to be equal to the value of matrix_coeffs.
colour_remap_input_bit_depth specifies the bit depth of the colour components of the associated pictures for purposes
of interpretation of the colour remapping information SEI message. When any colour remapping information SEI message
is present with the value of colour_remap_input_bit_depth not equal to the bit depth of the decoded colour components,



                                                                                   Rec. ITU-T H.265 v8 (08/2021)              383
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25           Page 405 of 717 Page ID #:934


the SEI message refers to the hypothetical result of a conversion operation performed to convert the decoded colour
component samples to the bit depth equal to colour_remap_input_bit_depth.
The value of colour_remap_input_bit_depth shall be in the range of 8 to 16, inclusive. Values of
colour_remap_input_bit_depth from 0 to 7, inclusive, and from 17 to 255, inclusive, are reserved for future use by
ITU-T | ISO/IEC. Decoders shall ignore all colour remapping SEI messages that contain a colour_remap_input_bit_depth
in the range of 0 to 7, inclusive, or in the range of 17 to 255, inclusive, and bitstreams shall not contain such values.
colour_remap_output_bit_depth specifies the bit depth of the output of the colour remapping function described by the
colour remapping information SEI message.
The value of colour_remap_output_bit_depth shall be in the range of 8 to 16, inclusive. Values of
colour_remap_output_bit_depth from 0 to 7, inclusive, and in the range of 17 to 255, inclusive, are reserved for future use
by ITU-T | ISO/IEC. Decoders shall ignore all colour remapping SEI messages that contain a value of
colour_remap_output_bit_depth from 0 to 7, inclusive, or in the range of 17 to 255, inclusive, and bitstreams shall not
contain such values.
pre_lut_num_val_minus1[ c ] plus 1 specifies the number of pivot points in the piece-wise linear remapping function for
the c-th component, where c equal to 0 refers to the luma or G component, c equal to 1 refers to the Cb or B component
and c equal to 2 refers to the Cr or R component. When pre_lut_num_val_minus1[ c ] is equal to 0, the default end points
of the input values are 0 and 2colour_remap_input_bit_depth − 1, and the corresponding default end points of the output values are 0
and 2colour_remap_output_bit_depth − 1, for the c-th component. In bitstreams conforming to this version of this Specification, the
value of pre_lut_num_val_minus1[ c ] shall be in the range of 0 to 32, inclusive.
pre_lut_coded_value[ c ][ i ] specifies the input value of the i-th pivot point for the c-th component. The number of bits
used to represent pre_lut_coded_value[ c ][ i ] is ( ( colour_remap_input_bit_depth + 7 ) >> 3 ) << 3.
pre_lut_target_value[ c ][ i ] specifies the output value of the i-th pivot point for the c-th component. The number of bits
used to represent pre_lut_target_value[ c ][ i ] is ( ( colour_remap_output_bit_depth + 7 ) >> 3 ) << 3.
When pre_lut_coded_value[ c ][ 0 ] is greater than 0, an initial linear segment should be inferred that maps input values
ranging from 0 to pre_lut_coded_value[ c ][ 0 ], inclusive, to target values ranging from 0 to pre_lut_target_value[ c ][ 0 ],
inclusive.
When pre_lut_coded_value[ c ][ pre_lut_num_val_minus1[ c ] ] is not equal to 2colour_remap_input_bit_depth − 1, a final linear
segment should be inferred that maps input values ranging from pre_lut_coded_value[ c ][ pre_lut_num_val_minus1[ c ] ]
to        2colour_remap_input_bit_depth − 1, inclusive,       to           target             values       ranging       from
pre_lut_target_value[ c ][ pre_lut_num_val_minus1[ c ] ] to 2colour_remap_output_bit_depth − 1, inclusive.
colour_remap_matrix_present_flag equal to 1 indicates that the syntax elements log2_matrix_denom and
colour_remap_coeffs[ c ][ i ], for c and i in the range of 0 to 2, inclusive, are present. colour_remap_matrix_present_flag
equal to 0 indicates that the syntax elements log2_matrix_denom and colour_remap_coeffs[ c ][ i ], for c and i in the range
of 0 to 2, inclusive, are not present.
log2_matrix_denom specifies the base 2 logarithm of the denominator for all matrix coefficients. The value of
log2_matrix_denom shall be in the range of 0 to 15, inclusive. When not present, the value of log2_matrix_denom is
inferred to be equal to 0.
colour_remap_coeffs[ c ][ i ] specifies the value of the three-by-three colour remapping matrix coefficients. The value of
colour_remap_coeffs[ c ][ i ] shall be in the range of −215 to 215 − 1, inclusive. When colour_remap_coeffs[ c ][ i ] is not
present, it is inferred to be equal to 1 if c is equal to i, and inferred to be equal to 0 otherwise.
      NOTE 3 – When colour_remap_matrix_present_flag is equal to 0, the colour remapping matrix is inferred to be equal to the identity
      matrix of size 3x3.

The variable matrixOutput[ c ] for c = 0, 1 and 2 is derived as follows:

      roundingOffset = log2_matrix_denom = = 0 ? 0 : 1 << ( log2_matrix_denom − 1 )
      matrixOutput[ c ] = Clip3( 0, ( 1 << colour_remap_output_bit_depth ) − 1,
          ( colour_remap_coeffs[ c ][ 0 ] * matrixInput[ 0 ] + colour_remap_coeffs[ c ][ 1 ] * matrixInput[ 1 ]
          + colour_remap_coeffs[ c ][ 2 ] * matrixInput[ 2 ] + roundingOffset ) >> log2_matrix_denom )
          (D-53)

where matrixInput[ c ] is the input sample value of the c-th colour component and matrixOutput[ c ] is the output sample
value of the c-th colour component.
post_lut_num_val_minus1[ c ] has the same semantics as pre_lut_num_val_minus1[ c ], with "pre" replaced by "post",
except that the default end points of the input values are 0 and 2colour_remap_output_bit_depth − 1 for the c-th colour component.
The value of post_lut_num_val_minus1[ c ] shall be in the range of 0 to 32, inclusive.


384          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 406 of 717 Page ID #:935


post_lut_coded_value[ c ][ i ] has the same semantics as pre_lut_coded_value[ c ][ i ], with "pre" replaced by "post",
except      that  the     number       of    bits   used      to    represent     post_lut_coded_value[ c ][ i ]    is
( ( colour_remap_output_bit_depth + 7 ) >> 3 ) << 3.
post_lut_target_value[ c ][ i ] has the same semantics as pre_lut_target_value[ c ][ i ], with "pre" replaced by "post"
except that colour_remap_input_bit_depth is replaced by colour_remap_output_bit_depth in the semantics.

D.3.34    Deinterlaced field identification SEI message semantics
The deinterlaced picture information SEI message indicates that the current picture represents a frame that was interpolated
via a deinterlacing process prior to encoding, and indicates the field parity of the associated source field prior to the
deinterlacing process. When a progressive-to-interlace conversion process is applied to the decoded picture prior to display,
it is recommended that the field of the decoded frame with the indicated field parity should be used.
When the value of field_seq_flag of any active SPS for any picture in the current access unit is equal to 1, the deinterlaced
field identification SEI message shall not be present.
deinterlaced_picture_source_parity_flag equal to 0 indicates that the current picture was deinterlaced using a top field
picture as the associated source field. deinterlaced_picture_source_parity_flag equal to 1 indicates that the current picture
was deinterlaced using a bottom field picture as the associated source field.

D.3.35 Content light level information SEI message semantics
This SEI message identifies upper bounds for the nominal target brightness light level of the pictures of the CLVS.
The information conveyed in this SEI message is intended to be adequate for purposes corresponding to the use of the
Consumer Electronics Association 861.3 specification.
The semantics of the content light level information SEI message are defined in relation to the values of samples in a 4:4:4
representation of red, green, and blue colour primary intensities in the linear light domain for the pictures of the CLVS, in
units of candelas per square metre. However, this SEI message does not, by itself, identify a conversion process for
converting the sample values of a decoded picture to the samples in a 4:4:4 representation of red, green, and blue colour
primary intensities in the linear light domain for the picture.
   NOTE 1 – Other syntax elements, such as colour_primaries, transfer_characteristics, matrix_coeffs, and the chroma resampling filter
   hint SEI message, when present, may assist in the identification of such a conversion process.

Given the red, green, and blue colour primary intensities in the linear light domain for the location of a luma sample in a
corresponding 4:4:4 representation, denoted as ER, EG, and EB, the maximum component intensity is defined as EMax =
Max( ER, Max( EG, EB ) ). The light level corresponding to the stimulus is then defined as the CIE 1931 luminance
corresponding to equal amplitudes of EMax for all three colour primary intensities for red, green, and blue (with appropriate
scaling to reflect the nominal luminance level associated with peak white – e.g., ordinarily scaling to associate peak white
with 10 000 candelas per square metre when transfer_characteristics is equal to 16).
   NOTE 2 – Since the maximum value EMax is used in this definition at each sample location, rather than a direct conversion from ER,
   EG, and EB to the corresponding CIE 1931 luminance, the CIE 1931 luminance at a location may in some cases be less than the
   indicated light level. This situation would occur, for example, when ER and EG are very small and EB is large, in which case the
   indicated light level would be much larger than the true CIE 1931 luminance associated with the ( E R, EG, EB ) triplet.

All content light level information SEI messages that apply to the same CLVS shall have the same content.
max_content_light_level, when not equal to 0, indicates an upper bound on the maximum light level among all individual
samples in a 4:4:4 representation of red, green, and blue colour primary intensities (in the linear light domain) for the
pictures of the CLVS, in units of candelas per square metre. When equal to 0, no such upper bound is indicated by
max_content_light_level.
max_pic_average_light_level, when not equal to 0, indicates an upper bound on the maximum average light level among
the samples in a 4:4:4 representation of red, green, and blue colour primary intensities (in the linear light domain) for any
individual picture of the CLVS, in units of candelas per square metre. When equal to 0, no such upper bound is indicated
by max_pic_average_light_level.
   NOTE 3 – When the visually relevant region does not correspond to the entire cropped decoded picture, such as for "letterbox"
   encoding of video content with a wide picture aspect ratio within a taller cropped decoded picture, the indicated average should be
   performed only within the visually relevant region.

D.3.36 Dependent random access point indication SEI message semantics
The picture associated with a dependent random access point indication SEI message is referred to as a DRAP picture.
The presence of the dependent random access point indication SEI message indicates that the constraints on picture order
and picture referencing specified in this clause apply. These constraints can enable a decoder to properly decode the DRAP




                                                                                    Rec. ITU-T H.265 v8 (08/2021)               385
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 407 of 717 Page ID #:936


picture and the pictures that follow it in both decoding order and output order without needing to decode any other pictures
except the associated IRAP picture.
The constraints indicated by the presence of the dependent random access point indication SEI message are as follows:
–     The DRAP picture shall be a TRAIL_R picture with TemporalId equal to 0 and nuh_layer_id equal to 0.
–     The DRAP picture shall not include any pictures in its RPS lists RefPicSetStCurrBefore, RefPicSetStCurrAfter, and
      RefPicSetLtCurr except its associated IRAP picture.
–     Any picture that follows the DRAP picture in both decoding order and output order shall not include, in its RPS, any
      picture that precedes the DRAP picture in decoding order or output order with the exception of the IRAP picture
      associated with the DRAP picture.

D.3.37 Coded region completion SEI message semantics
The coded region completion SEI message indicates the value of the slice_segment_address of the next slice segment in
the bitstream (when present) and whether the next slice segment in the bitstream (when present) is an independent slice
segment or a dependent slice segment. The term "next slice segment", here and below in this clause, refers to the next slice
segment, in decoding order, after the VCL NAL unit associated with the SEI NAL unit containing the coded region
completion SEI message.
    NOTE – The coded region completion SEI message may be used in determining that a complete slice, coded picture, or access unit
    has been received prior to receiving any VCL NAL unit of the next slice, coded picture, or access unit, respectively. Consequently,
    when an implementation of the decoding process expects a complete slice, coded picture, or access unit as input, the coded region
    completion SEI message may reduce the decoding latency.

next_segment_address identifies the value of the slice_segment_address of the next slice segment in the bitstream (when
present). When the next slice segment has first_slice_segment_in_pic_flag equal to 1 or no subsequent slice segment is
present in the bitstream, the value of next_segment_address shall be equal to 0.
independent_slice_segment_flag equal to 1 indicates that the next slice segment, when present, is an independent slice
segment. independent_slice_segment_flag equal to 0 indicates that the next slice segment, when present, is a dependent
slice segment. When independent_slice_segment_flag is not present, it is inferred to be equal to 1.

D.3.38 Alternative transfer characteristics SEI message semantics
The alternative transfer characteristics SEI message provides a preferred alternative value for the transfer_characteristics
syntax element that is indicated by the colour description syntax of VUI parameters of the SPS. This SEI message is
intended to be used in cases when some value of transfer_characteristics is preferred for interpretation of the pictures of
the CLVS although some other value of transfer_characteristics may also be acceptable for interpretation of the pictures
of the CLVS and that other value is provided in the colour description syntax of VUI parameters of the SPS for
interpretation by decoders that do not support interpretation of the preferred value (e.g., because the preferred value had
not yet been defined in a previous version of this Specification).
When an alternative transfer characteristics SEI message is present for any picture of a CLVS of a particular layer and the
first picture of the CLVS is an IRAP picture, an alternative transfer characteristics SEI message shall be present for that
IRAP picture. The alternative transfer characteristics SEI message persists for the current layer in decoding order from the
current picture until the end of the CLVS. All alternative transfer characteristics SEI messages that apply to the same CLVS
shall have the same content.
preferred_transfer_characteristics specifies a preferred alternative value for the transfer_characteristics syntax element
of the colour description syntax of VUI parameters of the SPS. The semantics for preferred_transfer_characteristics are
otherwise the same as for the transfer_characteristics syntax element specified in the VUI parameters of the SPS
(see clause E.3.1 and Table E.4). When preferred_transfer_characteristics is not equal to the value of
transfer_characteristics indicated in the VUI parameters of the SPS, decoders should ignore the value of
transfer_characteristics indicated in the VUI parameters of the SPS and instead use the value indicated by
preferred_transfer_characteristics.

D.3.39 Ambient viewing environment SEI message semantics
The ambient viewing environment SEI message identifies the characteristics of the nominal ambient viewing environment
for the display of the associated video content. The syntax elements of the ambient viewing environment SEI message may
assist the receiving system in adapting the received video content for local display in viewing environments that may be
similar or may substantially differ from those assumed or intended when mastering the video content.
This SEI message does not provide information on colour transformations that would be appropriate to preserve creative
intent on displays with colour volumes different from that of the described mastering display.
When an ambient viewing environment SEI message is present for any picture of a CLVS of a particular layer and the first
picture of the CLVS is an IRAP picture, an ambient viewing environment SEI message shall be present for that IRAP


386         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 408 of 717 Page ID #:937


picture. The ambient viewing environment SEI message persists for the current layer in decoding order from the current
picture until the end of the CLVS. All ambient viewing environment SEI messages that apply to the same CLVS shall have
the same content.
ambient_illuminance specifies the environmental illluminance of the ambient viewing environment in units of 0.0001
lux. ambient_illuminance shall not be equal to 0.
ambient_light_x and ambient_light_y specify the normalized x and y chromaticity coordinates, respectively, of the
environmental ambient light in the nominal viewing environment, according to the CIE 1931 definition of x and y as
specified in ISO 11664-1 (see also ISO 11664-3 and CIE 15), in normalized increments of 0.00002. The values of
ambient_light_x and ambient_light_y shall be in the range of 0 to 50 000, inclusive.
    NOTE – For example, the conditions identified in Rec. ITU-R BT.2035 can be expressed using ambient_illuminance equal to
    100 000 with background chromaticity indicating D65 (ambient_light_x equal to 15 635, ambient_light_y equal to 16 450), or
    optionally in some regions, background chromaticity indicating D93 (ambient_light_x equal to 14 155, ambient_light_y equal to
    14 855).

D.3.40     Content colour volume SEI message semantics
The content colour volume SEI message describes the colour volume characteristics of the associated pictures. These
colour volume characteristics are expressed in terms of a nominal range, although deviations from this range may occur.
The variable transferCharacteristics is specified as follows:
–    If an alternative transfer characteristics SEI message is present for the CLVS, transferCharacteristics is set equal to
     preferred_transfer_characteristics;
–    Otherwise, (an alternative transfer characteristics SEI message is not present for the CLVS), transferCharacteristics is
     set equal to transfer_characteristics.
The content colour volume SEI message shall not be present, and decoders shall ignore it, when any of the following
conditions is true:
–    Any of the values of transferCharacteristics, colour_primaries, and matrix_coeffs has a value defined as unspecified.
–    The value of transfer_characteristics is equal to 2, 4, or 5.
–    The value of colour_primaries is equal to 2.
The following applies when converting the signal from a non-linear to a linear representation:
–    If the value of transferCharacteristics is equal to 1, 6, 7, 14, or 15, the Rec. ITU-R BT.1886-0 reference electro-optical
     transfer function should be used to convert the signal to its linear representation, where the value of screen luminance
     for white is set equal to 100 cd/m2, the value of screen luminance for black is set equal to 0 cd/m2, and the value of
     the exponent of the power function is set equal to 2.4.
–    Otherwise, if the value of transferCharacteristics is equal to 18, the hybrid log-gamma reference electro-optical
     transfer function specified in Rec. ITU-R BT.2100-2 should be used to convert the signal to its linear representation,
     where the value of nominal peak luminance of the display is set equal to 1 000 cd/m2, the value of the display
     luminance for black is set equal to 0 cd/m2, and the value of system gamma is set equal to 1.2.
–    Otherwise (the value of transferCharacteristics is not equal to 1, 6, 7, 14, 15, or 18) when the content colour volume
     SEI message is present, the exact inverse of the transfer function specified in Table E.4 should be used to convert the
     non-linear signal to a linear representation.
ccv_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous content colour volume
SEI message in output order that applies to the current layer. ccv_cancel_flag equal to 0 indicates that content colour
volume information follows.
ccv_persistence_flag specifies the persistence of the content colour volume SEI message for the current layer.
ccv_persistence_flag equal to 0 specifies that the content colour volume applies to the current decoded picture only.
Let picA be the current picture. ccv_persistence_flag equal to 1 specifies that the content colour volume SEI message
persists for the current layer in output order until any of the following conditions are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB in the current layer in an access unit containing a content colour volume SEI message that is applicable
     to the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where



                                                                                 Rec. ITU-T H.265 v8 (08/2021)             387
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25           Page 409 of 717 Page ID #:938


      PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
      immediately after the invocation of the decoding process for the picture order count of picB.
ccv_primaries_present_flag equal to 1 specifies that the syntax elements ccv_primaries_x[ c ] and ccv_primaries_y[ c ]
are present. ccv_primaries_present_flag equal to 0 specifies that the syntax elements ccv_primaries_x[ c ] and
ccv_primaries_y[ c ] are not present.
ccv_min_luminance_value_present_flag equal to 1 specifies that the syntax element ccv_min_luminance_value is
present. ccv_min_luminance_value_present_flag equal to 0 specifies that the syntax element ccv_min_luminance_value
is not present.
ccv_max_luminance_value_present_flag equal to 1 specifies that the syntax element ccv_max_luminance_value is
present. ccv_max_luminance_value_present_flag equal to 0 specifies that the syntax element ccv_max_luminance_value
is not present.
ccv_avg_luminance_value_present_flag equal to 1 specifies that the syntax element ccv_avg_luminance_value is
present. ccv_avg_luminance_value_present_flag equal to 0 specifies that the syntax element ccv_avg_luminance_value is
not present.
It is a requirement of bitstream conformance that the values of ccv_primaries_present_flag,
ccv_min_luminance_value_present_flag,                   ccv_max_luminance_value_present_flag, and
ccv_avg_luminance_value_present_flag shall not all be equal to 0.
ccv_reserved_zero_2bits[ i ] shall be equal to 0 in bitstreams conforming to this version of this Specification. Other values
for reserved_zero_2bits[ i ] are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the value of
reserved_zero_2bits[ i ].
ccv_primaries_x[ c ] and ccv_primaries_y[ c ] specify the normalized x and y chromaticity coordinates, respectively, of
the colour primary component c of the nominal content colour volume, according to the CIE 1931 definition of x and y as
specified in ISO 11664-1 (see also ISO 11664-3 and CIE 15), in normalized increments of 0.00002. For describing colour
volumes that use red, green, and blue colour primaries, it is suggested that index value c equal to 0 should correspond to
the green primary, c equal to 1 should correspond to the blue primary, and c equal to 2 should correspond to the red colour
primary (see also Annex E and Table E.3).
The values of ccv_primaries_x[ c ] and ccv_primaries_y[ c ] shall be in the range of −5 000 000 to 5 000 000, inclusive.
When ccv_primaries_x[ c ] and ccv_primaries_y[ c ] are not present, they are inferred to be equal to the normalized x and
y chromaticity coordinates, respectively, specified by colour_primaries.
ccv_min_luminance_value specifies the normalized minimum luminance value, according to CIE 1931, that is expected
to be present in the content, where values are normalized to Lo or Lc as specified in Table E.4 according to the indicated
transfer characteristics of the signal. The values of ccv_min_luminance_value are in normalized increments of 0.0000001.
ccv_max_luminance_value specifies the maximum luminance value, according to CIE 1931, that is expected to be present
in the content, where values are normalized to Lo or Lc as specified in Table E.4 according to the transfer characteristics of
the signal. The values of ccv_max_luminance_value are in normalized increments of 0.0000001.
ccv_avg_luminance_value specifies the average luminance value, according to CIE 1931, that is expected to be present
in the content, where values are normalized to Lo or Lc as specified in Table E.4 according to the transfer characteristics of
the signal. The values of ccv_avg_luminance_value are in normalized increments of 0.0000001.
   NOTE – The resulting domain from this conversion process may or may not represent light in a source or display domain – it is
   merely a gamut representation domain rather than necessarily being a representation of actual light in either the scene or display
   domain. Therefore, the values corresponding to ccv_min_luminance_value, ccv_max_luminance_value, and
   ccv_avg_luminance_value might not necessarily correspond to a true luminance value.

The value of ccv_min_luminance_value, when present, shall be less than or equal to ccv_avg_luminance_value, when
present. The value of ccv_avg_luminance_value, when present, shall be less than or equal to ccv_max_luminance_value,
when present. The value of ccv_min_luminance_value, when present, shall be less than or equal to
ccv_max_luminance_value, when present.
When the visually relevant region does not correspond to the entire cropped decoded picture, such as for "letterbox"
encoding of video content with a wide picture aspect ratio within a taller cropped decoded picture, the indicated
ccv_min_luminance_value, ccv_max_luminance_value, and ccv_avg_luminance_value should correspond only to values
within the visually relevant region.




388        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7             Filed 04/07/25        Page 410 of 717 Page ID #:939


D.3.41 Semantics of omnidirectional video specific SEI messages

D.3.41.1 Equirectangular projection SEI message semantics
The equirectangular projection SEI message provides information to enable remapping (through an equirectangular
projection) of the colour samples of the projected pictures onto a sphere coordinate space in sphere coordinates (ϕ, θ) for
use in omnidirectional video applications for which the viewing perspective is from the origin looking outward toward the
inside of the sphere. The sphere coordinates are defined so that ϕ is the azimuth (longitude, increasing eastward) and θ is
the elevation (latitude, increasing northward).
When an equirectangular projection SEI message is present for any picture of a CLVS of a particular layer, an
equirectangular projection SEI message shall be present for the first picture of the CLVS and no SEI message indicating a
different type of projection shall be present for any picture of the CLVS.
When general_non_packed_constraint_flag is equal to 1 in the active SPS for the current layer, there shall be no
equirectangular projection SEI messages applicable for any picture of the CLVS of the current layer.
When aspect_ratio_idc is present and greater than 1 in the active SPS for the current layer, there should be no
equirectangular projection SEI messages applicable for any picture of the CLVS of the current layer.
A frame packing arrangement SEI message for which all the following conditions are true is referred to as an effectively
applicable frame packing arrangement SEI message:
–    The value of frame_packing_arrangement_cancel_flag is equal to 0.
–    The value of frame_packing_arrangement_type is equal to 3, 4, or 5.
–    The value of quincunx_sampling_flag is equal to 0.
–    The value of spatial_flipping_flag is equal to 0.
–    The value of field_views_flag is equal to 0.
–    The value of frame0_grid_position_x is equal to 0.
–    The value of frame0_grid_position_y is equal to 0.
–    The value of frame1_grid_position_x is equal to 0.
–    The value of frame1_grid_position_y is equal to 0.
When a frame packing arrangement SEI message with frame_packing_arrangement_cancel_flag equal to 0 that applies to
the picture is present that is not an effectively applicable frame packing arrangement SEI message, an equirectangular
projection SEI message with erp_cancel_flag equal to 0 that applies to the picture shall not be present. Decoders shall
ignore equirectangular projection SEI messages when a frame packing arrangement SEI message with
frame_packing_arrangement_cancel_flag equal to 0 that applies to the picture is present that is not an effectively applicable
frame packing arrangement SEI message.
When       a      segmented      rectangular      frame      packing     arrangement       SEI      message        with
segmented_rect_frame_packing_arrangement_cancel_flag equal to 0 is present that applies to the picture, an
equirectangular projection SEI message with erp_cancel_flag equal to 0 shall not be present that applies to the picture.
Decoders shall ignore equirectangular projection SEI messages when a segmented rectangular frame packing arrangement
SEI message with segmented_rect_frame_packing_arrangement_cancel_flag equal to 0 is present that applies to the
picture.
erp_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous equirectangular
projection SEI message in output order. erp_cancel_flag equal to 0 indicates that equirectangular projection information
follows.
erp_persistence_flag specifies the persistence of the equirectangular projection SEI message for the current layer.
erp_persistence_flag equal to 0 specifies that the equirectangular projection SEI message applies to the current decoded
picture only.
Let picA be the current picture. erp_persistence_flag equal to 1 specifies that the equirectangular projection SEI message
persists for the current layer in output order until one or more of the following conditions are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB in the current layer in an access unit containing an equirectangular projection SEI message that is
     applicable to the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where


                                                                               Rec. ITU-T H.265 v8 (08/2021)           389
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25         Page 411 of 717 Page ID #:940


      PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
      immediately after the invocation of the decoding process for picture order count for picB.
erp_guard_band_flag equal to 1 indicates that the constituent picture contains guard band areas for which the sizes are
specified by the syntax elements erp_left_guard_band_width and erp_right_guard_band_width. erp_guard_band_flag
equal to 0 indicates that the constituent picture does not contains guard band areas for which the sizes are specified by the
syntax elements erp_left_guard_band_width and erp_right_guard_band_width.
erp_reserved_zero_2bits shall be equal to 0 in bitstreams conforming to this version of this Specification. Other values
for erp_reserved_zero_2bits are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the value of
erp_reserved_zero_2bits.
erp_guard_band_type indicates the type of the guard bands as follows:
–     erp_guard_band_type equal to 0 indicates that the content of the guard band in relation to the content of the constituent
      picture is unspecified.
–     erp_guard_band_type equal to 1 indicates that the content of the guard band suffices for interpolation of sample values
      at sub-pel sample fractional locations within the constituent picture.
          NOTE – erp_guard_band_type equal to 1 could be used when the boundary samples of a constituent picture have been
          copied horizontally to the guard band.

–     erp_guard_band_type equal to 2 indicates that the content of the guard band represents actual picture content at a
      quality that gradually changes from the picture quality of the constituent picture to that of the spherically adjacent
      region.
–     erp_guard_band_type equal to 3 indicates that the content of the guard bands represents actual picture content at a
      similar level of quality as the constituent picture.
–     erp_guard_band_type values greater than 3 are reserved for future use by ITU-T | ISO/IEC. Decoders shall treat the
      value of erp_guard_band_type when the value is greater than 3 as equivalent to the value 0.
erp_left_guard_band_width specifies the width of the guard band on the left side of the constituent picture in units of
luma samples. When erp_guard_band_flag is equal to 0, the value of erp_left_guard_band_width is inferred to be equal to
0. When chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2 chroma format), erp_left_guard_band_width
shall be an even number.
erp_right_guard_band_width specifies the width of the guard band on the right side of the constituent picture in units of
luma samples. When erp_guard_band_flag is equal to 0, the value of erp_right_guard_band_width is inferred to be equal
to 0. When chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2 chroma format), erp_right_
guard_band_width shall be an even number.

D.3.41.2 Cubemap projection SEI message semantics
The cubemap projection SEI message provides information to enable remapping (through a cubemap projection) of the
colour samples of the projected pictures onto a sphere coordinate space in sphere coordinates (ϕ, θ) for use in
omnidirectional video applications for which the viewing perspective is from the origin looking outward toward the inside
of the sphere. The sphere coordinates are defined so that ϕ is the azimuth (longitude, increasing eastward) and θ is the
elevation (latitude, increasing northward).
When a cubemap projection SEI message is present for any picture of a CLVS of a particular layer, a cubemap projection
SEI message shall be present for the first picture of the CLVS and no SEI message indicating a different type of projection
shall be present for any picture of the CLVS.
When general_non_packed_constraint_flag is equal to 1 in the active SPS for the current layer, there shall be no cubemap
projection SEI messages applicable for any picture of the CLVS of the current layer.
When aspect_ratio_idc is present and greater than 1 in the active SPS for the current layer, there should be no cubemap
projection SEI messages applicable for any picture of the CLVS of the current layer.
A frame packing arrangement SEI message for which all the following conditions are true is referred to as an effectively
applicable frame packing arrangement SEI message:
–     The value of frame_packing_arrangement_cancel_flag is equal to 0.
–     The value of frame_packing_arrangement_type is equal to 3, 4, or 5.
–     The value of quincunx_sampling_flag is equal to 0.
–     The value of spatial_flipping_flag is equal to 0.



390         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25         Page 412 of 717 Page ID #:941


–    The value of field_views_flag is equal to 0.
–    The value of frame0_grid_position_x is equal to 0.
–    The value of frame0_grid_position_y is equal to 0.
–    The value of frame1_grid_position_x is equal to 0.
–    The value of frame1_grid_position_y is equal to 0.
When a frame packing arrangement SEI message with frame_packing_arrangement_cancel_flag equal to 0 that applies to
the picture is present that is not an effectively applicable frame packing arrangement SEI message, a cubemap projection
SEI message with cmp_cancel_flag equal to 0 that applies to the picture shall not be present. Decoders shall ignore
cubemap projection SEI messages when a frame packing arrangement SEI message with
frame_packing_arrangement_cancel_flag equal to 0 that applies to the picture is present that is not an effectively applicable
frame packing arrangement SEI message.
When a segmented rectangular frame packing arrangement SEI message with segmented_rect_frame_packing_
arrangement_cancel_flag equal to 0 is present that applies to the picture, a cubemap projection SEI message with
cmp_cancel_flag equal to 0 shall not be present that applies to the picture. Decoders shall ignore cubemap projection SEI
messages    when     a     segmented      rectangular      frame     packing     arrangement      SEI   message      with
segmented_rect_frame_packing_arrangement_cancel_flag equal to 0 is present that applies to the picture.
cmp_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous cubemap projection
SEI message in output order. cmp_cancel_flag equal to 0 indicates that cubemap projection information follows.
cmp_persistence_flag specifies the persistence of the cubemap projection SEI message for the current layer.
cmp_persistence_flag equal to 0 specifies that the cubemap projection SEI message applies to the current decoded picture
only.
Let picA be the current picture. cmp_persistence_flag equal to 1 specifies that the cubemap projection SEI message persists
for the current layer in output order until one or more of the following conditions are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB in the current layer in an access unit containing a cubemap projection SEI message that is applicable
     to the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where
     PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
     immediately after the invocation of the decoding process for picture order count for picB.

D.3.41.3 Fisheye video information SEI message semantics
The presence of the fisheye video information SEI message for any picture of a CLVS indicates that the picture is a fisheye
video picture containing a number of active areas captured by fisheye camera lens. The information carried in the fisheye
video information SEI message enables remapping of the colour samples of the pictures onto a sphere coordinate space in
sphere coordinates (ϕ, θ), for use in omnidirectional video applications for which the viewing perspective is from the origin
looking outward toward the inside of the sphere. The sphere coordinates are defined so that ϕ is the azimuth (longitude,
increasing eastward) and θ is the elevation (latitude, increasing northward).
When a fisheye video information SEI message is present for any picture of a CLVS of a particular layer, a fisheye video
information SEI message shall be present for the first picture of the CLVS and no equirectangular projection SEI message
or cubemap projection SEI message shall be present for any picture of the CLVS.
When general_non_packed_constraint_flag is equal to 1 in the active SPS for the current layer, there shall be no fisheye
video information SEI messages applicable for any picture of the CLVS of the current layer.
When aspect_ratio_idc is present and greater than 1 in the active SPS for the current layer, there should be no fisheye video
information SEI messages applicable for any picture of the CLVS of the current layer.
When a frame packing arrangement SEI message with frame_packing_arrangement_cancel_flag equal to 0 or a segmented
rectangular frame packing arrangement SEI message with segmented_rect_frame_packing_arrangement_cancel_flag
equal to 0 that applies to the picture is present, a fisheye video information SEI message with fisheye_cancel_flag equal to
0 that applies to the picture shall not be present. Decoders shall ignore fisheye video information SEI messages when a
frame packing arrangement SEI message with frame_packing_arrangement_cancel_flag equal to 0 or a segmented
rectangular frame packing arrangement SEI message with segmented_rect_frame_packing_arrangement_cancel_flag
equal to 0 that applies to the picture is present.




                                                                               Rec. ITU-T H.265 v8 (08/2021)           391
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 413 of 717 Page ID #:942


fisheye_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous fisheye video
information SEI message in output order. fisheye_cancel_flag equal to 0 indicates that fisheye video information follows.
fisheye_persistence_flag specifies the persistence of the fisheye video information SEI message for the current layer.
fisheye_persistence_flag equal to 0 specifies that the fisheye video information SEI message applies to the current decoded
picture only.
Let picA be the current picture. fisheye_persistence_flag equal to 1 specifies that the fisheye video information SEI
message persists for the current layer in output order until one or more of the following conditions are true:
–     A new CLVS of the current layer begins.
–     The bitstream ends.
–     A picture picB in the current layer in an access unit containing a fisheye video information SEI message that is
      applicable to the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where
      PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
      immediately after the invocation of the decoding process for picture order count for picB.
fisheye_view_dimension_idc indicates the alignment and viewing direction of a fisheye lens, as follows:
–     fisheye_view_dimension_idc equal to 0 indicates that fisheye_num_active_areas is equal to 2, and the values of
      fisheye_camera_centre_azimuth,               fisheye_camera_centre_elevation,             fisheye_camera_centre_tilt,
      fisheye_camera_centre_offset_x, fisheye_camera_centre_offset_y, and fisheye_camera_centre_offset_z are such that
      the active areas have aligned optical axes and face opposite directions, and the sum of fisheye_field_of_view values
      is greater than or equal to 360 * 216.
–     fisheye_view_dimension_idc equal to 1 indicates that fisheye_num_active_areas is equal to 2, and the values of
      fisheye_camera_centre_azimuth,                fisheye_camera_centre_elevation,                fisheye_camera_centre_tilt,
      fisheye_camera_centre_offset_x, fisheye_camera_centre_offset_y, and fisheye_camera_centre_offset_z are such that
      the active areas have parallel optical axes that are orthogonal to the line intersecting the camera centre points, and the
      camera corresponding to i equal to 0 is the left view.
–     fisheye_view_dimension_idc equal to 2 indicates that fisheye_num_active_areas is equal to 2, and the values of
      fisheye_camera_centre_azimuth,                fisheye_camera_centre_elevation,                fisheye_camera_centre_tilt,
      fisheye_camera_centre_offset_x, fisheye_camera_centre_offset_y, and fisheye_camera_centre_offset_z are such that
      the active areas have parallel optical axes that are orthogonal to the line intersecting the camera centre points, and the
      camera corresponding to i equal to 0 is the right view.
–     fisheye_view_dimension_idc equal to 7 indicates that no additional constraints are implied for the syntax element
      values within the fisheye video information SEI message.
–     Values of fisheye_view_dimension_idc in the range of 3 to 6, inclusive, are reserved for future use by ITU-T |
      ISO/IEC. Decoders encountering a value of fisheye_view_dimension_idc in the range of 3 to 6, inclusive, shall ignore
      it.
fisheye_reserved_zero_3bits shall be equal to 0 in bitstreams conforming to this version of this Specification. Other
values for fisheye_reserved_zero_3bits are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the value of
fisheye_reserved_zero_3bits.
fisheye_num_active_areas_minus1 plus 1 specifies the number of active areas in the coded picture. The value of
fisheye_num_active_areas_minus1 shall be in the range of 0 to 3, inclusive. Values of fisheye_num_active_areas_minus1
greater than 3 are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a fisheye video information SEI
message with fisheye_num_active_areas_minus1 greater than 3 shall ignore the fisheye video information SEI message.
fisheye_circular_region_centre_x[ i ] and fisheye_circular_region_centre_y[ i ] specify the horizontal and vertical
coordinates of the centre of the circular region that contains the i-th active area in the coded picture, respectively, in units
of 2−16 luma samples. The value of fisheye_circular_region_centre_x[ i ] and fisheye_circular_region_centre_y[ i ] shall
be in the range of 0 to 65 536 * 216 − 1 (i.e., 4 294 967 295), inclusive.
fisheye_rect_region_top[ i ],           fisheye_rect_region_left[ i ],          fisheye_rect_region_width[ i ], and
fisheye_rect_region_height[ i ] specify the coordinates of the top-left corner and the width and height of the i-th
rectangular region that contains the i-th active area, in units of luma samples.
The value of fisheye_rect_region_top[ i ] shall be in the range of SubHeightC * conf_win_top_offset to
pic_height_in_luma_samples − ( SubHeightC * conf_win_bottom_offset + 1 ), inclusive.
The value of fisheye_rect_region_left[ i ] shall be in the range of SubWidthC * conf_win_left_offset to
pic_width_in_luma_samples − ( SubWidthC * conf_win_right_offset + 1 ), inclusive.




392         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 414 of 717 Page ID #:943


The     value    of    fisheye_rect_region_width[ i ]   shall     be     in     the      range       of                 1     to
pic_width_in_luma_samples − SubWidthC * ( conf_win_left_offset + conf_win_right_offset ), inclusive.
The     value     of   fisheye_rect_region_height[ i ]   shall     be    in     the    range       of                   1     to
pic_height_in_luma_samples − SubHeightC * ( conf_win_top_offset + conf_win_bottom_offset ), inclusive.
The sum of fisheye_rect_region_top[ i ] and fisheye_rect_region_height[ i ] shall be less than or equal to
pic_height_in_luma_samples − SubHeightC * conf_win_bottom_offset.
The sum of fisheye_rect_region_left[ i ] and fisheye_rect_region_width[ i ] shall be less than or equal to
pic_width_in_luma_samples − SubWidthC * conf_win_right_offset.
fisheye_circular_region_radius[ i ] specifies the radius of the circular region that contains the i-th active area that is
defined as a length from the centre of the circular region specified by fisheye_circular_region_centre_x[ i ] and
fisheye_circular_region_centre_y[ i ] to the outermost pixel boundary of the circular region, in units of 2−16 luma samples,
that corresponds to the maximum field of view of the i-th fisheye lens, specified by fisheye_field_of_view[ i ]. The value
of fisheye_circular_region_radius[ i ] shall be in the range of 0 to 65 536 * 216 − 1 (i.e., 4 294 967 295), inclusive.
The i-th active area is defined as the intersection of the i-th rectangular region, specified by fisheye_rect_region_top[ i ],
fisheye_rect_region_left[ i ], fisheye_rect_region_width[ i ], and fisheye_rect_region_height[ i ], and the i-th circular
region,     specified      by     fisheye_circular_region_centre_x[ i ],       fisheye_circular_region_centre_y[ i ],    and
fisheye_circular_region_radius[ i ].
Each active area shall contain at least one sample location. There shall not be any sample location that is within more than
one active area.
fisheye_scene_radius[ i ] specifies the radius of a circular region within the i-th active area in units of 2−16 luma samples,
where the obstruction, such as the camera body, is not included in the region specified by
fisheye_circular_region_centre_x[ i ], fisheye_circular_region_centre_y[ i ], and fisheye_scene_radius[ i ]. The value of
fisheye_scene_radius[ i ] shall be less than or equal to fisheye_circular_region_radius[ i ], and shall be in the range of 0 to
65 536 * 216 − 1 (i.e., 4 294 967 295), inclusive. The enclosed area is the suggested area for stitching as recommended by
the encoder.
fisheye_camera_centre_azimuth[ i ] and fisheye_camera_centre_elevation[ i ] indicate the sphere coordinates that
correspond to the centre of the circular region that contains the i-th active area in the cropped output picture, in units of
2−16 degrees. The value of fisheye_camera_centre_azimuth[ i ] shall be in the range of −180 * 216 (i.e., −11 796 480) to
180 * 216 − 1 (i.e., 11 796 479), inclusive, and the value of fisheye_camera_centre_elevation[ i ] shall be in the range of
−90 * 216 (i.e., −5 898 240) to 90 * 216 (i.e., 5 898 240), inclusive.
fisheye_camera_centre_tilt[ i ] indicates the tilt angle of the sphere region that corresponds to the i-th active area of the
cropped output picture, in units of 2−16 degrees. The value of fisheye_camera_centre_tilt[ i ] shall be in the range of
−180 * 216 (i.e., −11 796 480) to 180 * 216 − 1 (i.e., 11 796 479), inclusive.
fisheye_camera_centre_offset_x[ i ], fisheye_camera_centre_offset_y[ i ] and fisheye_camera_centre_offset_z[ i ]
indicate the XYZ offset values, in units of 2−16 millimeters, of the focal centre of the fisheye camera lens corresponding to
the i-th active area from the focal centre origin of the overall fisheye camera configuration. The value of each of
fisheye_camera_centre_offset_x[ i ], fisheye_camera_centre_offset_y[ i ], and fisheye_camera_centre_offset_z[ i ] shall
be in the range of 0 to 65 536 * 216 − 1 (i.e., 4 294 967 295), inclusive.
fisheye_field_of_view[ i ] specifies the field of view of the lens that corresponds to the i-th active area in the coded picture,
in units of 2−16 degrees. The value of fisheye_field_of_view[ i ] shall be in the range of 0 to 360 * 216 (i.e., 23 592 960),
inclusive.
fisheye_num_polynomial_coeffs[ i ] specifies the number of polynomial coefficients for the circular region
corresponding to the i-th active area. The value of fisheye_num_polynomial_coeffs[ i ] shall be in the range of 0 to 8,
inclusive. Values of fisheye_num_polynomial_coeffs[ i ] greater than 8 are reserved for future use by ITU-T | ISO/IEC.
Decoders encountering a fisheye video information SEI message with fisheye_num_polynomial_coeffs[ i ] greater than 8
shall ignore the fisheye video information SEI message.
fisheye_polynomial_coeff[ i ][ j ] specifies the j-th polynomial coefficient value, in units of 2−24, of the curve function that
maps the normalized distance of a luma sample from the centre of the circular region corresponding to the i-th active area
to the angular value of a sphere coordinate from the normal vector of a nominal imaging plane that passes through the
centre of the sphere coordinate system for the i-th active region. The value of fisheye_polynomial_coeff[ i ][ j ] shall be in
the range of −128 * 224 (i.e., 2 147 483 648) to 128 * 224 − 1 (i.e., 2 147 483 647), inclusive.

D.3.41.4 Sphere rotation SEI message semantics
The sphere rotation SEI message provides information on rotation angles yaw (α), pitch (β), and roll (γ) that are used for
conversion between the global coordinate axes and the local coordinate axes.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)              393
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 415 of 717 Page ID #:944


Relative to an (x, y, z) Cartesian coordinate system, yaw expresses a rotation around the z (vertical, up) axis, pitch rotates
around the y (lateral, side-to-side) axis, and roll rotates around the x (back-to-front) axis. Rotations are extrinsic, i.e.,
around x, y, and z fixed reference axes. The angles increase clockwise when looking from the origin towards the positive
end of an axis.
sphere_rotation_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous sphere
rotation SEI message in output order. sphere_rotation_cancel_flag equal to 0 indicates that sphere rotation information
follows.
sphere_rotation_persistence_flag specifies the persistence of the sphere rotation SEI message for the current layer.
sphere_rotation_persistence_flag equal to 0 specifies that the sphere rotation SEI message applies to the current decoded
picture only.
Let picA be the current picture. sphere_rotation_persistence_flag equal to 1 specifies that the sphere rotation SEI message
persists for the current layer in output order until one or more of the following conditions are true:
–     A new CLVS of the current layer begins.
–     The bitstream ends.
–     A picture picB in the current layer in an access unit containing a sphere rotation SEI message that is applicable to the
      current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where PicOrderCnt( picB )
      and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively, immediately after the
      invocation of the decoding process for picture order count for picB.
When an equirectangular projection SEI message with erp_cancel_flag equal to 0 or a cubemap projection SEI message
with cmp_cancel_flag equal to 0 is not present in the CLVS that applies to the current picture and precedes the sphere
rotation SEI message in decoding order, a sphere rotation SEI message with sphere_rotation_cancel_flag equal to 0 shall
not be present in the CLVS that applies to the current picture. Decoders shall ignore sphere rotation SEI messages with
sphere_rotation_cancel_flag equal to 0 that do not follow, in decoding order, an equirectangular projection SEI message
with erp_cancel_flag equal to 0 or a cubemap projection SEI message with cmp_cancel_flag equal to 0 in the CLVS that
applies to the current picture.
sphere_rotation_reserved_zero_6bits shall be equal to 0 in bitstreams conforming to this version of this Specification.
Other values for sphere_rotation_reserved_zero_6bits are reserved for future use by ITU-T | ISO/IEC. Decoders shall
ignore the value of sphere_rotation_reserved_zero_6bits.
yaw_rotation specifies the value of the yaw rotation angle, in units of 2−16 degrees. The value of yaw_rotation shall be in
the range of −180 * 216 (i.e., −11 796 480) to 180 * 216 − 1 (i.e., 11 796 479), inclusive. When not present, the value of
yaw_rotation is inferred to be equal to 0.
pitch_rotation specifies the value of the pitch rotation angle, in units of 2−16 degrees. The value of pitch_rotation shall be
in the range of −90 * 216 (i.e., −5 898 240) to 90 * 216 (i.e., 5 898 240), inclusive. When not present, the value of
pitch_rotation is inferred to be equal to 0.
roll_rotation specifies the value of the roll rotation angle, in units of 2−16 degrees. The value of roll_rotation shall be in
the range of −180 * 216 (i.e., −11 796 480) to 180 * 216 − 1 (i.e., 11 796 479), inclusive. When not present, the value of
roll_rotation is inferred to be equal to 0.

D.3.41.5 Region-wise packing SEI message semantics
The region-wise packing SEI message provides information to enable remapping of the colour samples of the cropped
decoded pictures onto projected pictures as well as information on the location and size of the guard bands, if any.
rwp_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous region-wise packing
SEI message in output order. rwp_cancel_flag equal to 0 indicates that region-wise packing information follows.
rwp_persistence_flag specifies the persistence of the region-wise packing SEI message for the current layer.
rwp_persistence_flag equal to 0 specifies that the region-wise packing SEI message applies to the current decoded picture
only.
Let picA be the current picture. rwp_persistence_flag equal to 1 specifies that the region-wise packing SEI message persists
for the current layer in output order until one or more of the following conditions are true:
–     A new CLVS of the current layer begins.
–     The bitstream ends.
–     A picture picB in the current layer in an access unit containing a region-wise packing SEI message that is applicable
      to the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where


394         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7          Filed 04/07/25          Page 416 of 717 Page ID #:945


     PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
     immediately after the invocation of the decoding process for picture order count for picB.
When an equirectangular projection SEI message with erp_cancel_flag equal to 0 and erp_guard_band_flag equal to 0 or
a cubemap projection SEI message with cmp_cancel_flag equal to 0 is not present in the CLVS that applies to the current
picture and precedes the region-wise packing SEI message in decoding order, a region-wise packing SEI message with
rwp_cancel_flag equal to 0 shall not be present in the CLVS that applies to the current picture. Decoders shall ignore
region-wise packing SEI messages with rwp_cancel_flag equal to 0 that do not follow, in decoding order, an
equirectangular projection SEI message with erp_cancel_flag equal to 0 or a cubemap projection SEI message with
cmp_cancel_flag equal to 0 in the CLVS that applies to the current picture.
For the frame packing arrangement scheme indicated by a frame packing arrangement SEI message that applies to the
current picture, if a region-wise packing SEI message with rwp_cancel_flag equal to 0 is present that applies to the current
picture, the frame packing arrangement scheme applies to the projected picture, otherwise, the frame packing arrangement
scheme applies to the cropped decoded picture.
If a frame packing arrangement SEI message with frame_packing_arrangement_cancel_flag equal to 0,
frame_packing_arrangement_type equal to 3, 4, or 5, and quincunx_sampling_flag equal to 0 is not present that applies to
the current picture, the variables StereoFlag, TopBottomFlag, SideBySideFlag, and TempInterleavingFlag are all set equal
to 0, the variables HorDiv1 and VerDiv1 are both set equal to 1. Otherwise the following applies:
–    StereoFlag is set equal to 1.
–    When the frame_packing_arrangement_type is equal to 3, SideBySideFlag is set equal to 1, TopBottomFlag and
     TempInterleavingFlag are both set equal to 0, HorDiv1 is set equal to 2 and VerDiv1 is set equal to 1.
–    When the frame_packing_arrangement_type is equal to 4, TopBottomFlag is set equal to 1, SideBySideFlag and
     TempInterleavingFlag are both set equal to 0, HorDiv1 is set equal to 1 and VerDiv1 is set equal to 2.
–    When the frame_packing_arrangement_type is equal to 5, TempInterleavingFlag is set equal to 1, TopBottomFlag
     and SideBySideFlag are both set equal to 0, HorDiv1 and VerDiv1 are both set equal to 1.
constituent_picture_matching_flag equal to 1 specifies that the projected region information, packed region information,
and guard band region information in this SEI message apply individually to each constituent picture and that the packed
picture and the projected picture have the same stereoscopic frame packing format indicated by the frame packing
arrangement SEI message. constituent_picture_matching_flag equal to 0 specifies that the projected region information,
packed region information, and guard band region information in this SEI message apply to the projected picture.
When either of the following conditions is true, the value of constituent_picture_matching_flag shall be equal to 0:
–    StereoFlag is equal to 0.
–    StereoFlag is equal to 1 and frame_packing_arrangement_type is equal to 5.
rwp_reserved_zero_5bits shall be equal to 0 in bitstreams conforming to this version of this Specification. Other values
for rwp_reserved_zero_56bits[ i ] are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the value of
rwp_reserved_zero_5bits[ i ].
num_packed_regions specifies the number of packed regions when constituent_picture_matching_flag is equal to 0. The
value of num_packed_regions shall be greater than 0. When constituent_picture_matching_flag is equal to 1, the total
number of packed regions is equal to num_packed_regions * 2, and the information in each entry of the loop of
num_packed_regions entries applies to each constituent picture of the projected picture and the packed picture.
proj_picture_width and proj_picture_height specify the width and height, respectively, of the projected picture, in
relative projected picture sample units.
The values of proj_picture_width and proj_picture_height shall both be greater than 0.
packed_picture_width and packed_picture_height specify the width and height, respectively, of the packed picture, in
relative packed picture sample units.
The values of packed_picture_width and packed_picture_height shall both be greater than 0.
It is a requirement of bitstream conformance that packed_picture_width and packed_picture_height shall have such values
that packed_picture_width is an integer multiple of cropPicWidth and packed_picture_height is an integer multiple of
cropPicHeight, where cropPicWidth and cropPicHeight are the width and height, respectively, of the cropped decoded
picture.
rwp_reserved_zero_4bits[ i ] shall be equal to 0 in bitstreams conforming to this version of this Specification. Other
values for rwp_reserved_zero_4bits[ i ] are reserved for future use by ITU-T | ISO/IEC. Decoders shall ignore the value of
rwp_reserved_zero_4bits[ i ].


                                                                              Rec. ITU-T H.265 v8 (08/2021)            395
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25           Page 417 of 717 Page ID #:946


rwp_transform_type[ i ] specifies the rotation and mirroring to be applied to the i-th packed region to remap to the i-th
projected region. When rwp_transform_type[ i ] specifies both rotation and mirroring, rotation applies before mirroring.
The values of rwp_transform_type[ i ] are specified in Table D.22.

                                         Table D.22 – rwp_transform_type[ i ] values

                       Value                                          Description
                         0           no transform
                         1           mirroring horizontally
                         2           rotation by 180 degrees (anticlockwise)
                         3           rotation by 180 degrees (anticlockwise) before mirroring horizontally
                         4           rotation by 90 degrees (anticlockwise) before mirroring horizontally
                         5           rotation by 90 degrees (anticlockwise)
                         6           rotation by 270 degrees (anticlockwise) before mirroring horizontally
                         7           rotation by 270 degrees (anticlockwise)



rwp_guard_band_flag[ i ] equal to 0 specifies that the i-th packed region does not have a guard band.
rwp_guard_band_flag[ i ] equal to 1 specifies that the i-th packed region has a guard band.
proj_region_width[ i ], proj_region_height[ i ], proj_region_top[ i ] and proj_region_left[ i ] specify the width,
height, top sample row, and the left-most sample column, respectively, of the i-th projected region, either within the
projected picture (when constituent_picture_matching_flag is equal to 0) or within the constituent picture of the projected
picture (when constituent_picture_matching_flag is equal to 1).
proj_region_width[ i ], proj_region_height[ i ], proj_region_top[ i ], and proj_region_left[ i ] are indicated in relative
projected picture sample units.
      NOTE 1 – Two projected regions may partially or entirely overlap with each other.

packed_region_width[ i ], packed_region_height[ i ], packed_region_top[ i ], and packed_region_left[ i ] specify the
width, height, the top luma sample row, and the left-most luma sample column, respectively, of the packed region, either
within the region-wise packed picture (when constituent_picture_matching_flag is equal to 0) or within each constituent
picture of the region-wise packed picture (when constituent_picture_matching_flag is equal to 1).
packed_region_width[ i ], packed_region_height[ i ], packed_region_top[ i ], and packed_region_left[ i ] are indicated in
relative region-wise packed picture sample units. packed_region_width[ i ], packed_region_height[ i ],
packed_region_top[ i ], and packed_region_left[ i ] shall represent integer horizontal and vertical coordinates of luma
sample units within the cropped decoded pictures.
      NOTE 2 – Two packed regions may partially or entirely overlap with each other.

rwp_left_guard_band_width[ i ] specifies the width of the guard band on the left side of the i-th packed region in relative
region-wise packed picture sample units. When chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2 chroma
format), rwp_left_guard_band_width[ i ] shall correspond to an even number of luma samples within the cropped decoded
picture.
rwp_right_guard_band_width[ i ] specifies the width of the guard band on the right side of the i-th packed region in
relative region-wise packed picture sample units. When chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2
chroma format), rwp_right_guard_band_width[ i ] shall correspond to an even number of luma samples within the cropped
decoded picture.
rwp_top_guard_band_height[ i ] specifies the height of the guard band above the i-th packed region in relative region-
wise packed picture sample units. When chroma_format_idc is equal to 1 (4:2:0 chroma format),
rwp_top_guard_band_height[ i ] shall correspond to an even number of luma samples within the cropped decoded picture.
rwp_bottom_guard_band_height[ i ] specifies the height of the guard band below the i-th packed region in relative
region-wise packed picture sample units. When chroma_format_idc is equal to 1 (4:2:0 chroma format),
rwp_bottom_guard_band_height[ i ] shall correspond to an even number of luma samples within the cropped decoded
picture.
When rwp_guard_band_flag[ i ] is equal to 1, rwp_left_guard_band_width[ i ], rwp_right_guard_band_width[ i ], rwp_
top_guard_band_height[ i ], or rwp_bottom_guard_band_height[ i ] shall be greater than 0.
The i-th packed region as specified by this SEI message shall not overlap with any other packed region specified by the
same SEI message or any guard band specified by the same SEI message.


396          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25           Page 418 of 717 Page ID #:947


The guard bands associated with the i-th packed region, if any, as specified by this SEI message shall not overlap with any
packed region specified by the same SEI message or any other guard bands specified by the same SEI message.
rwp_guard_band_not_used_for_pred_flag[ i ] equal to 0 specifies that the guard bands may or may not be used in the
inter prediction process. rwp_guard_band_not_used_for_pred_flag[ i ] equal to 1 specifies that the sample values of the
guard bands are not used in the inter prediction process.
    NOTE 3 – When rwp_guard_band_not_used_for_pred_flag[ i ] is equal to 1, the sample values within guard bands in cropped
    decoded pictures can be rewritten even if the cropped decoded pictures were used as references for inter prediction of subsequent
    pictures to be decoded. For example, the content of a packed region can be seamlessly expanded to its guard band with decoded
    and re-projected samples of another packed region.

rwp_guard_band_type[ i ][ j ] indicates the type of the guard bands for the i-th packed region as follows, with j equal to
0, 1, 2, or 3 indicating that the semantics below apply to the left, right, top, or bottom edge, respectively, of the packed
region:
–    rwp_guard_band_type[ i ][ j ] equal to 0 indicates that the content of the guard bands in relation to the content of the
     packed regions is unspecified. When rwp_guard_band_not_used_for_pred_flag[ i ] is equal to 0,
     rwp_guard_band_type[ i ][ j ] shall not be equal to 0.
–    rwp_guard_band_type[ i ][ j ] equal to 1 indicates that the content of the guard bands suffices for interpolation of
     sample values at sub-pel sample fractional locations within the packed region and less than one sample outside of the
     boundary of the packed region.
         NOTE 4 – rwp_guard_band_type[ i ][ j ] equal to 1 can be used when the boundary samples of a packed region have been
         copied horizontally or vertically to the guard band.

–    rwp_guard_band_type[ i ][ j ] equal to 2 indicates that the content of the guard bands represents actual picture content
     that is spherically adjacent to the content in the packed region and is on the surface of the packed region at quality
     that gradually changes from the picture quality of the packed region to that of the spherically adjacent packed region.
–    rwp_guard_band_type[ i ][ j ] equal to 3 indicates that the content of the guard bands represents actual picture content
     that is spherically adjacent to the content in the packed region and is on the surface of the packed region at a similar
     picture quality as within the packed region.
–    rwp_guard_band_type[ i ][ j ] values greater than 3 are reserved for future use by ITU-T | ISO/IEC. Decoders shall
     treat the value of rwp_guard_band_type[ i ][ j ] when the value is greater than 3 as equivalent to the value 0.
rwp_guard_band_reserved_zero_3bits[ i ] shall be equal to 0 in bitstreams conforming to this version of this
Specification. Other values for rwp_guard_band_reserved_zero_3bits[ i ] are reserved for future use by ITU-T | ISO/IEC.
Decoders shall ignore the value of rwp_guard_band_reserved_zero_3bits[ i ].
The variables NumPackedRegions, PackedRegionLeft[ n ], PackedRegionTop[ n ], PackedRegionWidth[ n ],
PackedRegionHeight[ n ], ProjRegionLeft[ n ], ProjRegionTop[ n ], ProjRegionWidth[ n ], ProjRegionHeight[ n ], and
TransformType[ n ] are derived as follows:
–    For n in the range of 0 to num_packed_regions − 1, inclusive, the following applies:
     –    PackedRegionLeft[ n ] is set equal to packed_region_left[ n ].
     –    PackedRegionTop[ n ] is set equal to packed_region_top[ n ].
     –    PackedRegionWidth[ n ] is set equal to packed_region_width[ n ].
     –    PackedRegionHeight[ n ] is set equal to packed_region_height[ n ].
     –    ProjRegionLeft[ n ] is set equal to proj_region_left[ n ].
     –    ProjRegionTop[ n ] is set equal to proj_region_top[ n ].
     –    ProjRegionWidth[ n ] is set equal to proj_region_width[ n ].
     –    ProjRegionHeight[ n ] is set equal to proj_region_height[ n ].
     –    TransformType[ n ] is set equal to rwp_transform_type[ n ].
–    If constituent_picture_matching_flag is equal to 0, the following applies:
     –    NumPackedRegions is set equal to num_packed_regions.
–    Otherwise (constituent_picture_matching_flag is equal to 1), the following applies:
     –    NumPackedRegions is set equal to 2 * num_packed_regions.



                                                                                   Rec. ITU-T H.265 v8 (08/2021)               397
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 419 of 717 Page ID #:948


      –   When TopBottomFlag is equal to 1, the following applies:
            –    projLeftOffset and packedLeftOffset are both set equal to 0.
            –    projTopOffset is set equal to proj_picture_height / 2 and packedTopOffset is set equal to
                 packed_picture_height / 2.
      –   When SideBySideFlag is equal to 1, the following applies:
            –    projLeftOffset is set equal to proj_picture_width / 2 and packedLeftOffset is set equal to
                 packed_picture_width / 2.
            –    projTopOffset and packedTopOffset are both set equal to 0.
      –   For n in the range of NumPackedRegions / 2 to NumPackedRegions − 1, inclusive, the following applies:
            –    nIdx is set equal to n − NumPackedRegions / 2.
            –    PackedRegionLeft[ n ] is set equal to packed_region_left[ nIdx ] + packedLeftOffset.
            –    PackedRegionTop[ n ] is set equal to packed_region_top[ nIdx ] + packedTopOffset.
            –    PackedRegionWidth[ n ] is set equal to packed_region_width[ nIdx ].
            –    PackedRegionHeight[ n ] is set equal to packed_region_height[ nIdx ].
            –    ProjRegionLeft[ n ] is set equal to proj_region_left[ nIdx ] + projLeftOffset.
            –    ProjRegionTop[ n ] is set equal to proj_region_top[ nIdx ] + projTopOffset.
            –    ProjRegionWidth[ n ] is set equal to proj_region_width[ nIdx ].
            –    ProjRegionHeight[ n ] is set equal to proj_region_height[ nIdx ].
            –    TransformType[ n ] is set equal to rwp_transform_type[ nIdx ].
For each value of n in the range of 0 to NumPackedRegions − 1, inclusive, the values of ProjRegionWidth[ n ],
ProjRegionHeight[ n ], ProjRegionTop[ n ], and ProjRegionLeft[ n ] are constrained as follows:
–     ProjRegionWidth[ n ] shall be in the range of 1 to proj_picture_width, inclusive.
–     ProjRegionHeight[ n ] shall be in the range of 1 to proj_picture_height, inclusive.
–     ProjRegionLeft[ n ] shall be in the range of 0 to proj_picture_width − 1, inclusive.
–     ProjRegionTop[ n ] shall be in the range of 0 to proj_picture_height − 1, inclusive.
–     If ProjRegionTop[ n ] is less than proj_picture_height / VerDiv1, the sum of ProjRegionTop[ n ] and
      ProjRegionHeight[ n ] shall be less than or equal to proj_picture_height / VerDiv1. Otherwise, the sum of
      ProjRegionTop[ n ] and ProjRegionHeight[ n ] shall be less than or equal to proj_picture_height / VerDiv1 * 2.
For each value of n in the range of 0 to NumPackedRegions − 1, inclusive, the values of PackedRegionWidth[ n ],
PackedRegionHeight[ n ], PackedRegionTop[ n ], and PackedRegionLeft[ n ] are constrained as follows:
–     PackedRegionWidth[ n ] shall be in the range of 1 to packed_picture_width, inclusive.
–     ProjRegionHeight[ n ] shall be in the range of 1 to packed_picture_height, inclusive.
–     PackedRegionLeft[ n ] shall be in the range of 0 to packed_picture_width − 1, inclusive.
–     PackedRegionTop[ n ] shall be in the range of 0 to packed_picture_height − 1, inclusive.
–     If PackedRegionLeft[ n ] is less than packed_picture_width / HorDiv1, the sum of PackedRegionLeft[ n ] and
      PackedRegionWidth[ n ] shall be less than or equal to packed_picture_width / HorDiv1. Otherwise, the sum of
      PackedRegionLeft[ n ]    and      PackedRegionWidth[ n ]     shall   be    less   than    or     equal   to
      packed_picture_width / HorDiv1 * 2.
–     If PackedRegionTop[ n ] is less than packed_picture_height / VerDiv1, the sum of PackedRegionTop[ n ] and
      PackedRegionHeight[ n ] shall be less than or equal to packed_picture_height / VerDiv1. Otherwise, the sum of
      PackedRegionTop[ n ]      and    PackedRegionHeight[ n ]     shall    be    less    than    or    equal    to
      packed_picture_height / VerDiv1 * 2.
–     When chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2 chroma format), PackedRegionLeft[ n ]
      shall correspond to an even horizontal coordinate value of luma sample units, and PackedRegionWidth[ n ] shall
      correspond to an even number of luma samples, both within the decoded picture.
–     When chroma_format_idc is equal to 1 (4:2:0 chroma format), PackedRegionTop[ n ] shall correspond to an even
      vertical coordinate value of luma sample units, and ProjRegionHeight[ n ] shall correspond to an even number of
      luma samples, both within the decoded picture.


398         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25         Page 420 of 717 Page ID #:949


D.3.41.6 Omnidirectional viewport SEI message semantics
The omnidirectional viewport SEI message specifies the coordinates of one or more regions of sphere-coordinate geometry,
bounded by four great circles, corresponding to viewports recommended for display when the user does not have control
of the viewing orientation or has released control of the viewing orientation.
When an effectively applicable frame packing arrangement SEI message, as specified in clause D.3.41.1 or D.3.41.2, that
applies to the picture is present, the information indicated by the omnidirectional viewport SEI message applies to both
views.
omni_viewport_id contains an identifying number that may be used to identify the purpose of the one or more
recommended viewport regions.
omni_viewport_id equal to 0 indicates that the recommended viewports are per "director’s cut", i.e., a viewport suggested
according to the creative intent of the content author or content provider. omni_viewport_id equal to 1 indicates that the
recommended viewports are selected based on measurements of viewing statistics.
Values of omni_viewport_id from 2 to 511, inclusive, may be used as determined by the application. Values of
omni_viewport_id from 512 to 1 023 are reserved for future use by ITU-T | ISO/IEC. Decoders encountering a value of
omni_viewport_id in the range of 512 to 1 023, inclusive, shall ignore it.
omni_viewport_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous
omnidirectional viewport SEI message in output order. omni_viewport_cancel_flag equal to 0 indicates that
omnidirectional viewport information follows.
omni_viewport_persistence_flag specifies the persistence of the omnidirectional viewport SEI message for the current
layer.
omni_viewport_persistence_flag equal to 0 specifies that the omnidirectional viewport SEI message applies to the current
decoded picture only.
Let picA be the current picture. omni_viewport_persistence_flag equal to 1 specifies that the omnidirectional viewport SEI
message persists for the current layer in output order until one or more of the following conditions are true:
–   A new CLVS of the current layer begins.
–   The bitstream ends.
–   A picture picB in the current layer in an access unit containing an omnidirectional viewport SEI message that is
    applicable to the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where
    PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, respectively,
    immediately after the invocation of the decoding process for picture order count for picB.
When an equirectangular projection SEI message with erp_cancel_flag equal to 0 or a cubemap projection SEI message
with cmp_cancel_flag equal to 0 is not present in the CLVS that applies to the current picture and precedes the
omnidirectional viewport SEI message in decoding order, an omnidirectional viewport SEI message with
omni_viewport_cancel_flag equal to 0 shall not be present in the CLVS that applies to the current picture. Decoders shall
ignore omnidirectional viewport SEI messages with omni_viewport_cancel_flag equal to 0 that do not follow, in decoding
order, an equirectangular projection SEI message with erp_cancel_flag equal to 0 or a cubemap projection SEI message
with cmp_cancel_flag equal to 0 in the CLVS that applies to the current picture.
omni_viewport_cnt_minus1 plus 1 specifies the number of recommended viewport regions that are indicated by the SEI
message.
When omni_viewport_cnt_minus1 is greater than 0 and there is no information provided by external means not specified
in this Specification on which recommended viewport is suggested to be displayed, the following applies:
    −    When omni_viewport_id is equal to 0 or 1, the 0-th recommended viewport is suggested to be displayed when
         the user does not have control of the viewing orientation or has released control of the viewing orientation.
    −    When omni_viewport_id is equal to 0, between any two recommended viewports per director's cut, the i-th
         recommended viewport has higher priority than the j-th recommended viewport for any values of i and j when i
         is less than j. The 0-th recommended viewport per director's cut has the highest priority.
    −    When omni_viewport_id is equal to 1, between any two recommended viewports, the i-th recommended viewport
         has higher popularity, among some selection of candidate viewports, than the j-th recommended viewport for any
         values of i and j when i is less than j. The 0-th most-viewed recommended viewport has the highest popularity.
         The selection of the candidate viewports is outside the scope of this Specification.
omni_viewport_azimuth_centre[ i ] and omni_viewport_elevation_centre[ i ] indicate the centre of the i-th
recommended viewport region, in units of 2−16 degrees relative to the global coordinate axes. The value of



                                                                             Rec. ITU-T H.265 v8 (08/2021)           399
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 421 of 717 Page ID #:950


omni_viewport_azimuth_centre[ i ] shall be in the range of −180 * 216 (i.e., −11 796 480) to 180 * 216 − 1
(i.e., 11 796 479), inclusive. The value of omni_viewport_elevation_centre[ i ] shall be in the range of −90 * 216
(i.e., −5 898 240) to 90 * 216 (i.e., 5 898 240), inclusive.
omni_viewport_tilt_centre[ i ] indicates the tilt angle of the i-th recommended viewport region, in units of 2−16 degrees.
The value of omni_viewport_tilt_centre[ i ] shall be in the range of −180 * 216 (i.e., −11 796 480) to 216 − 1
(i.e., 11 796 479), inclusive.
omni_viewport_hor_range[ i ] indicates the azimuth range of the i-th recommended viewport region, in units of 2−16
degrees. The value of omni_viewport_hor_range[ i ] shall be in the range of 1 to 360 * 216 (i.e., 23 592 960), inclusive.
omni_viewport_ver_range[ i ] indicates the elevation range of the i-th recommended viewport region, in units of 2−16
degrees. The value of omni_viewport_ver_range[ i ] shall be in the range of 1 to 180 * 216 (i.e., 11 796 480), inclusive.

D.3.41.7 Sample location remapping process

D.3.41.7.1      General
To remap colour sample locations of a region-wise packed picture to a unit sphere, the following ordered steps are applied:
1.    A region-wise packed picture is obtained as the cropped decoded picture by decoding a coded picture. For purposes
      of interpretation of chroma samples, the input to the indicated remapping process is the set of decoded sample values
      after applying an (unspecified) upsampling conversion process to the 4:4:4 colour sampling format as necessary when
      chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2 chroma format). This (unspecified) upsampling
      process should account for the relative positioning relationship between the luma and chroma samples as indicated by
      chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field, when present.
2.    If region-wise packing is indicated, the sample locations of the region-wise packed picture are converted to sample
      locations of the respective projected picture as specified in clause D.3.41.7.4. Otherwise, the projected picture is
      identical to the region-wise packed picture.
3.    If frame packing is indicated, the sample locations of the projected picture are converted to sample locations of the
      respective constituent picture of the projected picture, as specified in clause D.3.41.7.5. Otherwise, the constituent
      picture of the projected picture is identical to the projected picture.
4.    The sample locations of a constituent picture of the projected picture are converted to sphere coordinates relative to
      the local coordinate axes, as specified in clause D.3.41.7.2.
5.    If rotation is indicated, the sphere coordinates relative to the local coordinate axes are converted to sphere coordinates
      relative to the global coordinate axes, as specified in clause D.3.41.7.3. Otherwise, the global coordinate axes are
      identical to the local coordinate axes.
The overall process for mapping of luma sample locations within a region-wise packed picture to sphere coordinates
relative to the global coordinate axes is normatively specified in clause D.3.41.7.5.
For each region-wise packed picture corresponding to a decoded picture, the following applies:
–     When an equirectangular projection SEI message with erp_cancel_flag equal to 0 that applies to the picture is present,
      ErpFlag is set equal to 1, and CmpFlag is set equal to 0.
–     When a cubemap projection SEI message with cmp_cancel_flag equal to 0 that applies to the picture is present,
      CmpFlag is set equal to 1, and ErpFlag is set equal to 0.
–     If a sphere rotation SEI message with sphere_rotation_cancel_flag equal to 0 that applies to the picture is present,
      RotationFlag is set equal to 1, and RotationYaw, RotationPitch, and RotationRoll are set equal to yaw_rotation ÷ 216,
      pitch_rotation ÷ 216, and roll_rotation ÷ 216, respectively.
–     Otherwise, RotationFlag is set equal to 0.
–     If a frame packing arrangement SEI message with frame_packing_arrangement_cancel_flag equal to 0 that applies to
      the picture is not present, StereoFlag, TopBottomFlag, and SideBySideFlag are all set equal to 0, HorDiv1 is set equal
      to 1, and VerDiv1 is set equal to 1.
–     Otherwise, the following applies:
       –   StereoFlag is set equal to 1.
       –   If the value of frame_packing_arrangement_type of the frame packing arrangement SEI message is equal to 3,
           TopBottomFlag is set equal to 0, SideBySideFlag is set equal to 1, HorDiv1 is set equal to 2 and VerDiv1 is set
           equal to 1.




400          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25         Page 422 of 717 Page ID #:951


     –    Otherwise, if the value of frame_packing_arrangement_type of the frame packing arrangement SEI message is
          equal to 4, TopBottomFlag is set equal to 1, SideBySideFlag is set equal to 0, HorDiv1 is set equal to 1, and
          VerDiv1 is set equal to 2.
     –    Otherwise, TopBottomFlag is set equal to 0, SideBySideFlag is set equal to 0, HorDiv1 is set equal to 1, and
          VerDiv1 is set equal to 1.
–    If a region-wise packing SEI message with rwp_cancel_flag equal to 0 that applies to the picture is not present,
     RegionWisePackingFlag is set equal to 0, and ConstituentPicWidth and ConstituentPicHeight are set to be equal to
     cropPicWidth / HorDiv1 and cropPicHeight / VerDiv1, respectively, where cropPicWidth and cropPicHeight are the
     width and height, respectively, of the cropped decoded picture.
–    Otherwise, RegionWisePackingFlag is set equal to 1, and ConstituentPicWidth and ConstituentPicHeight are set equal
     to proj_picture_width / HorDiv1 and proj_picture_height / VerDiv1, respectively.
To remap colour sample locations of a fisheye video picture to a unit sphere, the sample locations in each of the active
regions is converted to locations on the unit sphere as specified in clause D.3.41.7.7.

D.3.41.7.2    Projection for one sample location
Inputs to this process are:
–    pictureWidth and pictureHeight, which are the width and height, respectively, of a monoscopic projected luma picture,
     in relative projected picture sample units, and
–    the centre point of a sample location (hPos, vPos) along the horizontal and vertical axes, respectively, in relative
     projected picture sample units, where hPos and vPos may have non-integer real values.
Outputs of this process are:
–    sphere coordinates (ϕ, θ) for the sample location in degrees relative to the local coordinate axes.
The projection for a sample location is derived as follows:
–    If ErpFlag is equal to 1, the following applies:
     –    If RegionWisePackingFlag is equal to 0 and erp_guard_band_flag is equal to 1, the following applies:
                   hPos′ = hPos − erp_left_guard_band_width                                        (D-54)
                   pictureWidth = pictureWidth − erp_left_guard_band_width − erp_right_guard_band_width
     –    Otherwise, the following applies:
                   hPos′ = hPos                                                                                    (D-55)
     –    The following applies:
                   ϕ = 180 − hPos′ * ( 360 ÷ pictureWidth )
                     (D-56)
                   θ = 90 − vPos * ( 180 ÷ pictureHeight )
–    Otherwise (CmpFlag is equal to 1), it is a requirement of bitstream conformance that pictureWidth shall be a multiple
     of 3 and pictureHeight shall be a multiple of 2, and that pictureWidth / 3 shall be equal to pictureHeight / 2, and the
     following applies:
          lw = pictureWidth / 3
          lh = pictureHeight / 2
          w = Floor( hPos ÷ lw )
          h = Floor( vPos ÷ lh )
          tmpHorVal = hPos − w * lw
          tmpVerVal = vPos − h * lh
          hPos′ = −( 2 * tmpHorVal ÷ lw ) + 1
          vPos′ = −( 2 * tmpVerVal ÷ lh ) + 1
          if( w = = 1 && h = = 0 ) { /* positive x front face */
               x = 1.0
               y = hPos′
               z = vPos′
          } else if( w = = 1 && h = = 1 ) { /* negative x back face */
               x = −1.0


                                                                               Rec. ITU-T H.265 v8 (08/2021)           401
Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 423 of 717 Page ID #:952


                y = −vPos′
                z = −hPos′
           } else if( w = = 2 && h = = 1 ) { /* positive z top face */                                             (D-57)
                x = −hPos′
                y = −vPos′
                z = 1.0
           } else if( w = = 0 && h = = 1 ) { /* negative z bottom face */
                x = hPos′
                y = −vPos′
                z = −1.0
           } else if( w = = 0 && h = = 0 ) { /* positive y left face */
                x = −hPos′
                y = 1.0
                z = vPos′
           } else { /* ( w = = 2 && h = = 0 ), /* negative y right face */
                x = hPos′
                y = −1.0
                z = vPos′
           }
           ϕ = Atan2( y, x ) * 180 ÷ π
           θ = Asin( z ÷ Sqrt( x2 + y2 + z2 ) ) * 180 ÷ π
D.3.41.7.3     Conversion from the local coordinate axes to the global coordinate axes
Inputs to this process are:
–     rotation_yaw (αd), rotation_pitch (βd), rotation_roll (γd), all in units of degrees, and
–     sphere coordinates (ϕd, θd) relative to the local coordinate axes.
Outputs of this process are:
–     sphere coordinates (ϕ′, θ′) relative to the global coordinate axes.
The outputs are derived as follows:
           ϕ = ϕd * π ÷ 180
           θ = θd * π ÷ 180
           α = αd * π ÷ 180
           β = βd * π ÷ 180
           γ = γd * π ÷ 180
           x1 = Cos( ϕ ) * Cos( θ )
           y1 = Sin( ϕ ) * Cos( θ )
           z1 = Sin( θ )
           x2 = Cos( β ) * Cos ( α ) * x1 − Cos( β ) * Sin( α ) * y1 + Sin( β ) * z1                               (D-58)
           y2 = ( Cos( γ ) * Sin( α ) + Sin( γ ) * Sin( β ) * Cos( α ) ) * x1 +
                ( Cos( γ ) * Cos( α ) − Sin( γ ) * Sin( β ) * Sin( α ) ) * y1 −
                Sin( γ ) * Cos( β ) * z1
           z2 = ( Sin( γ ) * Sin( α ) − Cos( γ ) * Sin( β ) * Cos( α ) ) * x1 +
                ( Sin( γ ) * Cos( α ) + Cos( γ ) * Sin( β ) * Sin( α ) ) * y1 +
                Cos( γ ) * Cos( β ) * z1
           ϕ′ = Atan2( y2, x2 ) * 180 ÷ π
           θ′ = Asin( z2 ) * 180 ÷ π
D.3.41.7.4     Conversion of sample locations for rectangular region-wise packing
Inputs to this process are:
–     sample location (x, y) within the packed region, where x and y are in relative packed picture sample units, while the
      sample location is at an integer sample location within the packed picture,
–     the width and the height (projRegWidth, projRegHeight) of the projected region, in relative projected picture sample
      units,



402          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25            Page 424 of 717 Page ID #:953


–    the width and the height (packedRegWidth, packedRegHeight) of the packed region, in relative packed picture sample
     units,
–    transform type (transformType), and
–    offset values for the sampling position (offsetX, offsetY) in the range of 0, inclusive, to 1, exclusive, in horizontal
     and vertical relative packed picture sample units, respectively.
         NOTE – offsetX and offsetY both equal to 0.5 indicate a sampling position that is in the centre point of a sample in packed
         picture sample units.
Outputs of this process are:
–    the centre point of the sample location (hPos, vPos) within the projected region in relative projected picture sample
     units, where hPos and vPos may have non-integer real values.
The outputs are derived as follows:
          if( transformType = = 0 | | transformType = = 1 | | transformType = = 2 | | transformType = =
            3){
                horRatio = projRegWidth ÷ packedRegWidth
                verRatio = projRegHeight ÷ packedRegHeight
          } else if( transformType = = 4 | | transformType = = 5 | | transformType = = 6 | |
                transformType = = 7 ) {
                horRatio = projRegWidth ÷ packedRegHeight
                verRatio = projRegHeight ÷ packedRegWidth
          }
          if( transformType = = 0 ) {
                hPos = horRatio * ( x + offsetX )
                vPos = verRatio * ( y + offsetY )
          } else if( transformType = = 1 ) {
                hPos = horRatio * ( packedRegWidth − x − offsetX )
                vPos = verRatio * ( y + offsetY )
          } else if( transformType = = 2 ) {
                hPos = horRatio * ( packedRegWidth − x − offsetX )
                vPos = verRatio * ( packedRegHeight − y − offsetY )                              (D-59)
          } else if( transformType = = 3 ) {
                hPos = horRatio * ( x + offsetX )
                vPos = verRatio * ( packedRegHeight − y − offsetY )
          } else if( transformType = = 4 ) {
                hPos = horRatio * ( y + offsetY )
                vPos = verRatio * ( x + offsetX )
          } else if( transformType = = 5 ) {
                hPos = horRatio * ( y + offsetY )
                vPos = verRatio * ( packedRegWidth − x − offsetX )
          } else if( transformType = = 6 ) {
                hPos = horRatio * ( packedRegHeight − y − offsetY )
                vPos = verRatio * ( packedRegWidth − x − offsetX )
          } else if( transformType = = 7 ) {
                hPos = horRatio * ( packedRegHeight − y − offsetY )
                vPos = verRatio * ( x + offsetX )
          }
D.3.41.7.5     Mapping of luma sample locations within a cropped decoded picture to sphere coordinates relative to
               the global coordinate axes
This clause specifies the mapping of luma sample locations within a cropped decoded picture to sphere coordinates relative
to the global coordinate axes.
offsetX is set equal to 0.5 and offsetY is set equal to 0.5.
If RegionWisePackingFlag is equal to 1, the following applies for each packed region n in the range of 0 to
NumPackedRegions − 1, inclusive:




                                                                                   Rec. ITU-T H.265 v8 (08/2021)              403
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 425 of 717 Page ID #:954


–     For each sample location (xPackedPicture, yPackedPicture) belonging to the n-th packed region, the following
      applies:
       –   The corresponding sample location (xProjPicture, yProjPicture) of the projected picture is derived as follows:
           –    x is set equal to xPackedPicture − PackedRegionLeft[ n ].
           –    y is set equal to yPackedPicture − PackedRegionTop[ n ].
           –    Clause D.3.41.7.4 is invoked with x, y, PackedRegionWidth[ n ], PackedRegionHeight[ n ], ProjRegion
                Width[ n ], ProjRegionHeight[ n ], TransformType[ n ], offsetX and offsetY as inputs, and the output is
                assigned to sample location (hPos, vPos).
           –    xProjPicture is set equal to ProjRegionLeft[ n ] + hPos.
           –    When StereoFlag is equal to 0 or TopBottomFlag is equal to 1, and when xProjPicture is greater than or
                equal to proj_picture_width, xProjPicture is set equal to xProjPicture − proj_picture_width.
           –    When SideBySideFlag is equal to 1, the following applies:
                –   When ProjRegionLeft[ n ] is less than proj_picture_width / 2 and xProjPicture is greater than or equal
                    to proj_picture_width / 2, xProjPicture is set equal to xProjPicture − proj_picture_width / 2.
                –   When ProjRegionLeft[ n ] is greater than or equal to proj_picture_width / 2 and xProjPicture is greater
                    than or equal to proj_picture_width, xProjPicture is set equal to xProjPicture − proj_picture_width / 2.
           –    yProjPicture is set equal to ProjRegionTop[ n ] + vPos.
       –   Clause D.3.41.7.6 is invoked with xProjPicture, yProjPicture, ConstituentPicWidth, and ConstituentPicHeight
           as inputs, and the outputs indicating the sphere coordinates and the constituent picture index (for frame-packed
           stereoscopic video) for the luma sample location (xPackedPicture, yPackedPicture) belonging to the n-th packed
           region in the decoded picture.
Otherwise (RegionWisePackingFlag is equal 0), the following applies for each sample location (x, y) that is not an
equirectangular projection guard band sample within the cropped decoded picture, where a sample location (x, y) is an
equirectangular projection guard band sample when and only when ErpFlag is equal to 1, x is in the range of 0 to
erp_left_guard_band_width − 1,       inclusive,       or      ConstituentPicWidth − erp_right_guard_band_width     to
ConstituentPicWidth − 1, inclusive, and y is in the range of 0 to ConstituentPicHeight − 1, inclusive:
–     xProjPicture is set equal to x + offsetX.
–     yProjPicture is set equal to y + offsetY.
–     If ErpFlag is equal to 0, projPicWidth is set equal to ConstituentPicWidth. Otherwise (ErpFlag is equal to 1),
      projPicWidth is set equal to ConstituentPicWidth − ( erp_left_guard_band_width + erp_right_guard_band_width ).
–     Clause D.3.41.7.6 is invoked with xProjPicture, yProjPicture, projPicWidth, and ConstituentPicHeight as inputs, and
      the outputs indicating the sphere coordinates and the constituent picture index (for frame-packed stereoscopic video)
      for the sample location (x, y) within the region-wise packed picture.

D.3.41.7.6     Conversion from a sample location in a projected picture to sphere coordinates relative to the global
               coordinate axes
Inputs to this process are:
–     the centre point of a sample location (xProjPicture, yProjPicture) within a projected picture, where xProjPicture and
      yProjPicture are in relative projected picture sample units and may have non-integer real values, and
–     pictureWidth and pictureHeight, which are the width and height, respectively, of a monoscopic projected luma picture,
      in relative projected picture sample units.
Outputs of this process are:
–     sphere coordinates (azimuthGlobal, elevationGlobal), in units of degrees relative to the global coordinate axes, and
–     when StereoFlag is equal to 1, the index of the constituent picture (constituentPicture) equal to 0 or 1.
The outputs are derived with the following ordered steps:
1.    constituentPicture, xProjPicture, and yProjPicture are conditionally set as follows:
      –    If xProjPicture is greater than or equal to pictureWidth or yProjPicture is greater than or equal to pictureHeight,
           the following applies:



404          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                    Document 1-7            Filed 04/07/25           Page 426 of 717 Page ID #:955


          –      constituentPicture is set equal to 1.
          –      When xProjPicture is greater                than   or   equal    to   pictureWidth,     xProjPicture    is   set     to
                 xProjPicture − pictureWidth.
          –      When yProjPicture is greater               than    or   equal    to   pictureHeight,    yProjPicture    is   set     to
                 yProjPicture − pictureHeight.
     –    Otherwise, constituentPicture is set equal to 0.
2.   Clause D.3.41.7.2 is invoked with pictureWidth, pictureHeight, xProjPicture, and yProjPicture as inputs, and the
     output is assigned to azimuthLocal, elevationLocal.
3.   azimuthGlobal and elevationGlobal are set as follows:
     –    If RotationFlag is equal to 1, clause D.3.41.7.3 is invoked with azimuthLocal, elevationLocal, RotationYaw,
          RotationPitch, and RotationRoll as inputs, and the output is assigned to azimuthGlobal and elevationGlobal.
     –    Otherwise, azimuthGlobal is set equal to azimuthLocal and elevationGlobal is set equal to elevationLocal.

D.3.41.7.7    Conversion from a sample location of an active area to sphere coordinates relative to the global
              coordinate axes
Inputs to this process are:
–    the sample location (x, y) in units of luma samples,
–    the centre location (xc, yc) and the radius (rc) of the circular region that contains the i-th active area, given by
     fisheye_circular_region_centre_x[ i ], fisheye_circular_region_centre_y[ i ], and fisheye_circular_region_radius[ i ],
     respectively, all in units of 2−16 luma samples,
–    the field of view (θv) of the lens corresponding to the i-th active area, given by fisheye_field_of_view[ i ], in units of
     2−16 degrees,
–    the     rotation   parameters       (αc,     βc,    γc),   given       by       fisheye_camera_centre_azimuth[ i ],
     fisheye_camera_centre_elevation[ i ], and fisheye_camera_centre_tilt[ i ], respectively, all in units of 2−16 degrees,
     and
–    the number of polynomial coefficients numCoeffs and the polynomial coefficients coeffVal[ j ] (for j ranging from 0
     to numCoeffs − 1, inclusive) of the i-th active area, given by fisheye_num_polynomial_coeffs[ i ] and
     fisheye_polynomial_coeff[ i ][ j ] (for j ranging from 0 to fisheye_num_polynomial_coeffs[ i ] − 1, inclusive),
     respectively.
Outputs of this process are:
–    sphere coordinates (ϕ, θ) relative to the global coordinate axes.
The method of converting a sample location of an active area to sphere coordinates is determined as follows:
–    If numCoeffs is equal to 0, there is only one method of converting a sample location of an active area to sphere
     coordinates that is specified, which is to not use polynomial coefficients.
–    Otherwise (numCoeffs is not equal to 0), there are two methods of converting a sample location of an active area to
     sphere coordinates that are specified, which are to not use polynomial coefficients or to use polynomial coefficients.
     The method using polynomial coefficients is preferred, as this method is intended to provide a more precise model of
     the fisheye characteristics. However, the other method may also be appropriate for some uses, as it provides a single
     conversion process that can be used regardless of whether numCoeffs is equal to 0 or not. This Specification does not
     prescribe which of the two methods is to be used in this case.
The outputs are derived as follows:
–    If polynomial coefficients are not used, the angle ϕ′ is derived by
          ϕ′ = ( Sqrt( ( x − xc ÷ 216 )2 + ( y − yc ÷ 216 )2 ) ÷ ( rc ÷ 216 ) ) * ( θv ÷ 216 * π ÷ 180 ) ÷ 2                  (D-60)
–    Otherwise (polynomial coefficients are used), the angle ϕ′ is derived by
                 numCoeffs −1
          ϕ′ =       
                     j =0
                                ( ( coeffVal[ j ] * 2−24 ) * ( Sqrt( ( x – xc * 2−16 )2 + ( y – yc * 2−16 )2 ) ÷ ( rc * 2−16 ) )j )

                                                                                                                              (D-61)



                                                                                       Rec. ITU-T H.265 v8 (08/2021)             405
Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25           Page 427 of 717 Page ID #:956


The outputs are then derived as follows:
           θ′ = Atan2( y − yc ÷ 216, x − xc ÷ 216 )
           x1 = Cos( ϕ′ )
           y1 = Sin( ϕ′ ) * Cos( θ′ )
           z1 = Sin( ϕ′ ) * Sin( θ′ )
           α = ( αc ÷ 216 ) * π ÷ 180
           β = ( βc ÷ 216 ) * π ÷ 180
           γ = ( γc ÷ 216 ) * π ÷ 180
           x2 = Cos( β ) * Cos ( γ ) * x1 − Cos( β ) * Sin( γ ) * y1 + Sin( β ) * z1                                       (D-62)
           y2 = ( Cos( α ) * Sin( γ ) + Sin( α ) * Sin( β ) * Cos( γ ) ) * x1 +
               ( Cos( α ) * Cos( γ ) − Sin( α ) * Sin( β ) * Sin( γ ) ) * y1 −
               Sin( α ) * Cos( β ) * z1
           z2 = ( Sin( α ) * Sin( γ ) − Cos( α ) * Sin( β ) * Cos( γ ) ) * x1 +
                ( Sin( α ) * Cos( γ ) + Cos( α ) * Sin( β ) * Sin( γ ) ) * y1 +
                Cos( α ) * Cos( β ) * z1
           ϕ = Atan2( y2, x2 ) * 180 ÷ π
           θ = Asin( z2 ) * 180 ÷ π
D.3.42      Regional nesting SEI message semantics
The regional nesting SEI message provides a mechanism to associate SEI messages with regions of the picture. The
associated SEI messages are conveyed within the regional nesting SEI message.
A regional nesting SEI message contains one or more SEI messages. When an SEI message is contained in a regional
nesting SEI message, the contained SEI message is referred to as a region-nested SEI message. When an SEI message is
not contained in a regional nesting SEI message, the SEI message is referred to as a non-region-nested SEI message.
For each region-nested SEI message in a regional nesting SEI message, one or more regions are specified in the regional
nesting SEI message, and the semantics of the region-nested SEI message are to be interpreted as applying to each of these
regions.
The list listOfRegionNestableMessageTypes includes the following types of SEI messages:
–     Film grain characteristics SEI message,
–     Post filter hint SEI message,
–     Tone mapping information SEI message identified with a particular value of tone_map_id,
–     Chroma resampling filter hint SEI message,
–     Knee function information SEI message identified with a particular value of knee_function_id,
–     Colour remapping information SEI message identified with a particular value of colour_remap_id,
–     Content colour volume SEI message.
      NOTE 1 – SEI messages of each of the following are considered different types of SEI messages: 1) tone mapping information SEI
      messages with different values of tone_map_id, 2) knee function information SEI messages with different values of
      knee_function_id, and 3) colour remapping information SEI messages with different values of colour_remap_id.

When       an     SEI     message       of    a     particular   type    in      listOfRegionNestableMessageTypes           has
film_grain_characteristics_cancel_flag, tone_map_cancel_flag, knee_function_cancel_flag, or colour_remap_cancel_flag
equal to 1, regardless of whether it is region-nested or non-region-nested, it cancels the persistence of all the region-nested
SEI messages of that type, regardless of their associated regions. When an SEI message of a particular type having
film_grain_characteristics_persistence_flag,        tone_map_persistence_flag,        knee_function_persistence_flag,        or
colour_remap_persistence_flag equal to 1 is region-nested, the persistence of the SEI message is determined by the
semantics of the SEI message, irrespective of which region it applies to.
      NOTE 2 – A region-nested SEI message has the same persistence scope as if the SEI message was non-region-nested.
      NOTE 3 – A region-nested SEI message does not cancel the persistence of a non-region-nested SEI message of the same type.

The     list  listOfAllowedRegionalNestableMessageTypes        includes     all   the     entries                in      the      list
listOfRegionNestableMessageTypes and also the following additional types of SEI messages:
–     User data registered by Rec. ITU-T T.35 SEI message,



406          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 428 of 717 Page ID #:957


–    User data unregistered SEI message.
In bitstreams conforming to this version of this Specification, the regional nesting SEI message shall not contain any SEI
message that is not in listOfAllowedRegionNestableMessageTypes. Decoders encountering a region-nested SEI message
that does not belong to listOfAllowedRegionNestableMessageTypes shall ignore the region-nested SEI message.
When an access unit contains both region-nested SEI messages of a particular type in listOfRegionNestableMessageTypes
and non-region-nested SEI messages of the same type, decoders shall ignore either all the region-nested SEI message of
that type or all the non-region-nested SEI messages of that type. Unless indicated otherwise by some means not specified
in this Specification, when an access unit contains both region-nested SEI messages of a particular type in
listOfRegionNestableMessageTypes and non-region-nested SEI messages of the same type, the region-nested SEI
messages should be preferred to be considered as applicable to the access unit.
A region-nested SEI messages should not be extracted and sent as a non-region-nested SEI message, as the values signalled
in the region-nested SEI message may not be applicable outside the indicated regions.
regional_nesting_id contains an identifying number that may be used to identify the purpose of the one or more SEI
messages that are region-nested in the regional nesting SEI message. The value of regional_nesting_id shall be in the range
of 0 to 216 − 1, inclusive.
Values of regional_nesting_id from 0 to 255, inclusive, and from 512 to 215 − 1, inclusive, may be used as determined by
the application. Values of regional_nesting_id from 256 to 511, inclusive, and from 215 to 216 − 1, inclusive, are reserved
for future use by ITU-T | ISO/IEC. Decoders encountering a value of regional_nesting_id in the range of 256 to 511,
inclusive, or in the range of 215 to 216 − 1, inclusive, shall ignore it.
regional_nesting_num_rect_regions specifies the number of rectangular regions specified in the regional nesting SEI
message. The value of regional_nesting_num_rect_regions shall be in the range of 1 to 255, inclusive. The value of
regional_nesting_num_rect_regions equal to 0 is reserved for future use by ITU-T | ISO/IEC and shall not be used in
bitstreams conforming to this version of this Specification. Decoders shall ignore regional nesting SEI messages with
regional_nesting_num_rect_regions equal to 0.
regional_nesting_rect_region_id[ i ] specifies the identifier for the i-th rectangular region specified in the regional nesting
SEI message.
Unless indicated otherwise by some means not specified in this Specification, when a sample belongs to more than one
region indicated as applying to more than one region-nested SEI message of a particular type in
listOfRegionNestableMessageTypes, among these region-nested SEI messages, only those that are associated with the
region that has the greatest value of regional_nesting_rect_region_id[ ] are considered as applying to the sample, while the
rest of these region-nested SEI messages are considered as not applying to the sample.
    NOTE 4 – When there are more than one of these region-nested SEI messages associated with the region that has the greatest
    value of regional_nesting_rect_region_id[ ], they are identical per other expressed constraints.

It is a requirement of bitstream conformance that the value of regional_nesting_rect_region_id[ i ] shall not be the same
for any two different values of i in the range of 0 to regional_nesting_num_rect_regions − 1, inclusive, in the regional
nesting SEI message.
When a region-nested SEI message of a particular type in listOfRegionNestableMessageTypes is indicated as applying to
a list of regions listA in the current picture and another region-nested SEI message of the same type is indicated as applying
to another list of regions listB in the current picture, it is a requirement of bitstream conformance that, for any pair of
regions formed by choosing one from listA and the other from listB, the value of regional_nesting_rect_region_id[ ] of the
two regions shall not be the same unless the two regions are identical (i.e., both position and size are the same) and the two
region-nested SEI messages are identical.
regional_nesting_rect_left_offset[ i ], regional_nesting_rect_right_offset[ i ], regional_nesting_rect_top_offset[ i ],
and regional_nesting_rect_bottom_offset[ i ] specify the coordinates of the i-th rectangular region specified in the SEI
message. The offsets for the rectangular region are specified in units of luma samples. The i-th rectangular region contains
the luma samples with horizontal picture coordinates from SubWidthC * regional_nesting_rect_left_offset[ i ] to
pic_width_in_luma_samples − ( SubWidthC * regional_nesting_rect_right_offset[ i ] + 1 ), inclusive, and vertical picture
coordinates from SubHeightC * regional_nesting_rect_top_offset[ i ] to pic_height_in_luma_samples − ( SubHeightC
* regional_nesting_rect_bottom_offset[ i ] + 1 ), inclusive.
The value of SubWidthC * ( regional_nesting_rect_left_offset[ i ] + regional_nesting_rect_right_offset[ i ] ) shall be less
than      pic_width_in_luma_samples          and      the        value        of     SubHeightC * ( regional_nesting_rect_
top_offset[ i ] + regional_nesting_rect_bottom_offset[ i ] ) shall be less than pic_height_in_luma_samples.
num_sei_messages_in_regional_nesting_minus1 plus 1 specifies the number of region-nested SEI messages in the
regional nesting SEI message. The value of num_sei_messages_in_regional_nesting_minus1 shall be in the range of 0
to 255, inclusive.


                                                                                Rec. ITU-T H.265 v8 (08/2021)            407
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 429 of 717 Page ID #:958


num_regions_for_sei_message[ i ] specifies the number of regions to which the i-th region-nested SEI message is
associated. When regional_nesting_num_rect_regions is greater than 0, the value of num_regions_for_sei_message[ i ]
shall be in the range of 0 to regional_nesting_num_rect_regions, inclusive. When num_regions_for_sei_message[ i ] is
equal to 0, the i-th region-nested SEI message applies to all the regions specified in the regional nesting SEI message.
regional_nesting_sei_region_idx[ i ][ j ] specifies the index, into the list of regions specified in the regional nesting SEI
message, of the j-th region to which the i-th region-nested SEI message in the regional nesting SEI message is associated.
The value of regional_nesting_sei_region_idx[ i ][ j ] shall be in the range of 0 to regional_nesting_num_rect_region − 1,
inclusive.

D.3.43     Motion-constrained tile sets extraction information sets SEI message semantics
The motion-constrained tile sets extraction information sets SEI message provides supplemental information that can be
used in the motion-constrained tile set (MCTS) sub-bitstream extraction as specified below to generate a conforming
bitstream for an MCTS set. The information consists of a number of extraction information sets, each defining a number
of MCTS sets and containing RBSP bytes of the replacement VPSs, SPSs, and PPSs to be used during the MCTS sub-
bitstream extraction process. Each extraction information set can be shared by multiple MCTS sets, i.e., is used for
extraction of any of these MCTS sets.
An MCTS extraction information sets SEI message shall not be present in an access unit unless there is a temporal MCTS
SEI message present in the access unit. A temporal MCTS SEI message present in the same access unit as an MCTS
extraction information sets SEI message is referred to as the associated temporal MCTS SEI message of the MCTS
extraction information sets SEI message.
An MCTS extraction information sets SEI message applies to the same set of pictures as the associated temporal MCTS
SEI message, i.e., the associatedPicSet of the MCTS extraction information sets SEI message is the same as the
associatedPicSet of the associated temporal MCTS SEI message.
When more than one MCTS extraction information sets SEI message is present for the pictures of associatedPicSet, these
MCTS extraction information sets SEI messages shall contain identical content.
NAL units that contain tiles belonging to any particular MCTS mctsA shall not contain tiles that do not belong to mctsA.
num_info_sets_minus1 plus 1 specifies the number of extraction information sets contained in the MCTS extraction
information sets SEI message. The value of num_info_sets_minus1 shall be in the range of 0 to 2047, inclusive.
The i-th extraction information set is assigned an MCTS extraction information set identifier value equal to i.
num_mcts_sets_minus1[ i ] plus 1 specifies the number of MCTS sets that share the i-th extraction information set. The
value of num_mcts_sets_minus1[ i ] shall be in the range of 0 to 2047, inclusive.
num_mcts_in_set_minus1[ i ][ j ] plus 1 specifies the number of MCTSs in the j-th MCTS set that is associated with the
i-th extraction information set. The value of num_mcts_in_set_minus1[ i ][ j ] shall be in the range of 0 to 511, inclusive.
idx_of_mcts_in_set[ i ][ j ][ k ] specifies the MCTS index of the k-th MCTS in the j-th MCTS set that is associated with
the i-th extraction information set. The value of idx_of_mcts_in_set[ i ][ j ][ k ] shall be in the range of 0 to 511, inclusive.
slice_reordering_enabled_flag[ i ] equal to 1 specifies that the MCTS sub-bitstream extraction using the i-th extraction
information set includes reordering of extracted slice segments and that the slice_segment_address of the j-th slice segment
in bitstream order associated with any of the extracted MCTS sets with j in the range of 0 to
num_slice_segments_minus1[ i ] is set to output_slice_segment_address[ i ][ j ]. slice_reordering_enabled_flag[ i ] equal
to 0 indicates that the MCTS sub-bitstream extraction using the i-th extraction information set does not include a reordering
of extracted slice segments and that the slice_segment_address of all extracted slice segments is calculated during
extraction.
num_slice_segments_minus1[ i ] plus 1 specifies the number of slice segments associated with any MCTS set of the i-th
extraction information set when slice_reordering_enabled_flag[ i ] is equal to 1. The value of
num_slice_segments_minus1[ i ] shall be in the range of 0 to 1 024, inclusive.
output_slice_segment_address[ i ][ j ] specifies the slice segment address of the j-th slice segment in bitstream order
associated with any of the MCTS sets of the i-th extraction information set when slice_reordering_enabled_flag[ i ] is
equal to 1. The length of the output_slice_segment_address[ i ][ j ] syntax element is Ceil( Log2( PicSizeInCtbsY ) ) bits.
The value of output_slice_segment_address shall be in the range of 0 to PicSizeInCtbsY − 1, inclusive and no value of
output_slice_segment_address[ i ][ j ] shall be equal to some output_slice_segment_address[ i ][ k ] for j not equal to k in
the extraction information set SEI message.
num_vps_in_info_set_minus1[ i ] plus 1 specifies the number of replacement VPSs in the i-th extraction information set.
The value of num_vps_in_info_set_minus1[ i ] shall be in the range of 0 to 15, inclusive.




408         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 430 of 717 Page ID #:959


vps_rbsp_data_length[ i ][ j ] specifies the number of RBSP data bytes of the j-th replacement VPS in the i-th extraction
information set.
num_sps_in_info_set_minus1[ i ] plus 1 specifies the number of replacement SPSs in the i-th extraction information set.
The value of num_sps_in_info_set_minus1[ i ] shall be in the range of 0 to 15, inclusive.
sps_rbsp_data_length[ i ][ j ] specifies the number of RBSP data bytes of the j-th replacement SPS in the i-th extraction
information set.
num_pps_in_info_set_minus1[ i ] plus 1 specifies the number of replacement PPSs in the i-th extraction information set.
The value of num_pps_in_info_set_minus1[ i ] shall be in the range of 0 to 63, inclusive.
pps_nuh_temporal_id_plus1[ i ][ j ] minus1 specifies the temporal identifier of the j-th replacement PPS in the i-th
extraction information set.
pps_rbsp_data_length[ i ][ j ] specifies the number of RBSP data bytes of the j-th replacement PPS in the i-th extraction
information set.
mcts_alignment_bit_equal_to_zero shall be equal to 0.
vps_rbsp_data_byte[ i ][ j ][ k ] contains the k-th byte of the RBSP data of the j-th replacement VPS in the i-th extraction
information set.
sps_rbsp_data_byte[ i ][ j ][ k ] contains the k-th byte of the RBSP data of the j-th replacement SPS in the i-th extraction
information set.
pps_rbsp_data_byte[ i ][ j ][ k ] contains the k-th byte of the RBSP data of the j-th replacement PPS in the i-th extraction
information set.
The MCTS sub-bitstream extraction process is specified as follows:
–   Let a bitstream inBitstream, a target MCTS set index mctsSetIdxTarget, a target MCTS extraction information set
    identifier mctsEisIdTarget, and a target highest TemporalId value mctsTidTarget be the inputs to the MCTS sub-
    bitstream extraction process.
–   The output of the MCTS sub-bitstream extraction process is a sub-bitstream outBitstream derived as follows:
    –    The bitstream outBitstream is set to be identical to the bitstream inBitstream.
    –    The lists ausWithVps, ausWithSps. and ausWithPps are set to consist of all access units within outBitstream
         containing non-VCL NAL units with nal_unit_type equal to VPS_NUT, SPS_NUT, or PPS_NUT.
    –     Remove all SEI NAL units that contain non-MCTS-nested SEI messages.
          NOTE 1 – A "smart" bitstream extractor might include appropriate non-MCTS-nested SEI messages in the extracted MCTS
          sub-bitstream, provided that the SEI messages applicable to the MCTS sub-bitstream were present as MCTS-nested SEI
          messages in the original bitstream.

     –    Remove from outBitstream all of the following NAL units:
          – VCL NAL units that contain tiles not belonging to any of the MCTSs with MCTS index equal to
            idx_of_mcts_in_set[ mctsEisIdTarget ][ mctsSetIdxTarget ][ k ] for each value of k in the range of 0 to
            num_mcts_in_set_minus1[ mctsEisIdTarget ][ mctsSetIdxTarget ], inclusive.
          – Non-VCL NAL units with nal_unit_type equal to VPS_NUT, SPS_NUT, or PPS_NUT.
     –    Insert      into    each     access      unit     within     the   list    ausWithVps        in   outBitstream
          num_vps_in_info_set_minus1[ mctsEisIdTarget ] plus 1 VPS NAL units generated from the RBSP data of the
          list of replacement VPSs in the mctsEisIdTarget-th MCTS extraction information set. For each VPS NAL unit
          that is generated the nuh_layer_id is set equal to 0 and nuh_temporal_id_plus1 is set equal to 1.
     –    Insert      into    each     access      unit     within     the   list    ausWithSps        in   outBitstream
          num_sps_in_info_set_minus1[ mctsEisIdTarget ] plus 1 SPS NAL units generated from the RBSP data of the
          list of replacement SPSs in the mctsEisIdTarget-th MCTS extraction information set. For each SPS NAL unit
          that is generated the nuh_layer_id is set equal to 0 and nuh_temporal_id_plus1 is set equal to 1.
     –    Insert into each access unit within the list ausWithPps in outBitstream PPS NAL units generated from the RBSP
          data of the replacement PPSs, in the mctsEisIdTarget-th MCTS extraction information set, for which
          pps_nuh_temporal_id_plus1[ mctsEisIdTarget ][ j ] is less than or equal to mctsTidTarget. For each PPS NAL
          unit that is generated the nuh_layer_id is set equal to 0, and for the PPS NAL unit that is generated from the
          RBSP data of the j-th replacement PPS in the mctsEisIdTarget-th MCTS extraction information set,
          nuh_temporal_id_plus1 is set equal to pps_nuh_temporal_id_plus1[ mctsEisIdTarget ][ j ].



                                                                               Rec. ITU-T H.265 v8 (08/2021)           409
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25          Page 431 of 717 Page ID #:960


          NOTE 2 – The values of pps_pic_parameter_set_id of the replacement PPSs should be identical to the values of
          pps_pic_parameter_set_id of the removed PPSs to retain the value of slice_pic_parameter_set_id in slice headers of the
          original bitstream.

      –   Remove from outBitstream all NAL units with TemporalId greater than mctsTidTarget.
      –   If slice_reordering_enabled_flag[ mctsEISIdTarget ] is equal to 0, the CTB raster and tile scanning conversion
          process as specified in clause 6.5.1 is invoked with the syntax element values of the replacement SPS and PPS
          as inputs. The output CtbAddrRsToTs[ ctbAddrRs ] is assigned to extCtbAddrRsToTs[ ctbAddrRs ] and
          CtbAddrTsToRs[ ctbAddrTs ] is assigned to extCtbAddrTsToRs[ ctbAddrTs ]. For each remaining VCL NAL
          units in outBitstream, adjust the slice segment header as follows:
          – For the first VCL NAL unit within each access unit, set the value of first_slice_segment_in_pic_flag equal
            to 1, and set the value of slice_segment_address to be equal to 0.
          – For each remaining VCL NAL units in outBitstream, let ctbAddrRs be the value of the raster scan address of
            the last CTB in the previous VCL NAL unit in bitstream order within a coded picture of outBitstream, set the
            value of first_slice_segment_in_pic_flag equal to 0, and set the value of slice_segment_address equal to
            extCtbAddrTsToRs[ extCtbAddrRsToTs[ ctbAddrRs ] + 1 ].
      –   Otherwise (slice_reordering_enabled_flag[ mctsEISIdTarget ] is equal to 1), the following applies:
          – For the k-th VCL NAL units of each access unit in outBitstream, set the value of
            first_slice_segment_in_pic_flag   equal    to      0     and slice_segment_address equal to
            output_slice_segement_address[ mctsEISIdTarget ][ j ], where j is in the range of 0 to
            num_slice_segments_minus1[ mctsEisIdTarget ], inclusive.
          – Reorder the VCL NAL units within each access unit for ascending values of slice_segment_address.
          – For the first VCL NAL unit within each access unit, set the value of first_slice_segment_in_pic_flag equal
            to 1.
          NOTE 3 – The extracted MCTS sub-bitstream might have a smaller luma picture size compared to the original bitstream
          which might require adjustment of the length of slice_segment_address and the byte_alignment( ) in slice headers.

It is a requirement of bitstream conformance for the input bitstream that any output sub-bitstream that is the output of the
MCTS sub-bitstream extraction process specified in this clause shall be a conforming bitstream.

D.3.44     Motion-constrained tile sets extraction information nesting SEI message semantics
The motion-constrained tile sets extraction information nesting SEI message, also referred to as the MCTS nesting SEI
message, provides a mechanism to carry and associate the SEI messages with bitstream subsets corresponding to one or
more MCTSs. An SEI message contained in an MCTS nesting SEI message is referred to as MCTS-nested or an MCTS-
nested SEI message, and an SEI message that is not contained in an MCTS nesting SEI message is referred to as a non-
MCTS-nested SEI message.
In the MCTS sub-bitstream extraction process as specified in the semantics of the MCTS extraction information sets SEI
message, the MCTS-nested SEI messages applicable to the MCTSs in an MCTS set in an access unit can be included in
the corresponding access unit of the extracted sub-bitstream as non-MCTS-nested SEI messages.
An MCTS-nesting SEI message shall not be present for a picture unless the picture belongs to the associatedPicSet of a
temporal MCTS SEI message. This temporal MCTS SEI message is referred to as the associated temporal MCTS SEI
message of the MCTS-nesting SEI message.
An SEI NAL unit containing an MCTS nesting SEI message shall not contain any other SEI message that is not MCTS-
nested in the MCTS nesting SEI message.
all_mcts_flag equal to 0 specifies that the list nesting_mctsid is set to consist of the MCTS indices indicated by all instances
of idx_of_associated_mcts[ i ] for i from 0 to num_associated_mcts_minus1, inclusive. all_mcts_flag equal to 1 specifies
that the list nesting_mctsid consists of the MCTS indices of all the MCTSs indicated by the associated temporal MCTS
SEI message.
The MCTS-nested SEI messages apply to all MCTSs for which the MCTS indices are included in the list nesting_mctsid.
num_associated_mcts_minus1 plus 1 specifies the number of the following MCTS indices. The value of
num_associated_mcts_minus1 shall be in the range of 0 to 511, inclusive.
idx_of_associated_mcts[ i ] indicates the MCTS index of the i-th MCTS associated with the following MCTS-nested SEI
messages. The value of idx_of_associated_mcts[ i ] shall be in the range of 0 to 511, inclusive.
num_sei_messages_in_mcts_extraction_nesting_minus1 plus 1 specifies the number of the following MCTS-nested
SEI messages.


410        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                  Document 1-7            Filed 04/07/25           Page 432 of 717 Page ID #:961


mcts_nesting_zero_bit shall be equal to 0.

D.3.45     SEI manifest SEI message semantics
The SEI manifest SEI message conveys information on SEI messages that are indicated as expected (i.e., likely) to be
present or not present. Such information may include the following:
–    The indication that certain types of SEI messages are expected (i.e., likely) to be present (although not guaranteed to
     be present) in the CVS.
–    For each type of SEI message that is indicated as expected (i.e., likely) to be present in the CVS, the degree of
     expressed necessity of interpretation of the SEI messages of this type, as follows:
     –     The degree of necessity of interpretation of an SEI message type may be indicated as "necessary", "unnecessary",
           or "undetermined".
     –     An SEI message is indicated by the encoder (i.e., the content producer) as being "necessary" when the
           information conveyed by the SEI message is considered as necessary for interpretation by the decoder or
           receiving system in order to properly process the content and enable an adequate user experience; it does not
           mean that the bitstream is required to contain the SEI message in order to be a conforming bitstream. It is at the
           discretion of the encoder to determine which SEI messages are to be considered as necessary in a particular CVS.
           However, it is suggested that some SEI messages, such as the frame packing arrangement, segmented rectangular
           frame packing arrangement, and omnidirectional projection indication SEI messages, should typically be
           considered as necessary.
–    The indication that certain types of SEI messages are expected (i.e., likely) not to be present (although not guaranteed
     not to be present) in the CVS.
    NOTE – An example of such a usage of an SEI manifest SEI message is to express the expectation that there are no frame packing
    arrangement SEI messages, segmented rectangular frame packing arrangement SEI messages, display orientation SEI messages, or
    omnidirectional projection indication SEI messages in the CVS, and therefore that the rendering of the decoded video pictures for
    display purposes would not need any of the additional post-processing that is commonly associated with the interpretation of these
    SEI messages.

The content of an SEI manifest SEI message may, for example, be used by transport-layer or systems-layer processing
elements to determine whether the CVS is suitable for delivery to a receiving and decoding system, based on whether the
receiving system can properly process the CVS to enable an adequate user experience or whether the CVS satisfies the
application needs.
When an SEI manifest SEI message is present in any access unit of a CVS, an SEI manifest SEI message shall be present
in the first access unit of the CVS. The SEI manifest SEI message persists in decoding order from the current access unit
until the end of the CVS. When there are multiple SEI manifest SEI messages present in a CVS, they shall have the same
content.
An SEI NAL unit containing an SEI manifest SEI message shall not contain any other SEI messages other than SEI prefix
indication SEI messages. When present in an SEI NAL unit, the SEI manifest SEI message shall be the first SEI message
in the SEI NAL unit.
manifest_num_sei_msg_types specifies the number of types of SEI messages for which information is provided in the
SEI manifest SEI message.
manifest_sei_payload_type[ i ] indicates the payloadType value of the i-th type of SEI message for which information is
provided in the SEI manifest SEI message. The values of manifest_sei_payload_type[ m ] and
manifest_sei_payload_type[ n ] shall not be identical when m is not equal to n.
manifest_sei_description[ i ] provides information on                    SEI     messages      with     payloadType       equal     to
manifest_sei_payload_type[ i ] as specified in Table D.23.

                                  Table D.23 – Interpretation of manifest_sei_description[ i ]

                            Value          Description
                                           Indicates that there is no SEI message with payloadType equal to
                              0
                                           manifest_sei_payload_type[ i ] expected to be present in the CVS.
                                           Indicates that there are SEI messages with payloadType equal to
                              1            manifest_sei_payload_type[ i ] expected to be present in the CVS,
                                           and these SEI messages are considered as necessary.
                                           Indicates that there are SEI messages with payloadType equal to
                              2            manifest_sei_payload_type[ i ] expected to be present in the CVS,
                                           and these SEI messages are considered as unnecessary.




                                                                                    Rec. ITU-T H.265 v8 (08/2021)                 411
Case 2:25-cv-03053                  Document 1-7          Filed 04/07/25           Page 433 of 717 Page ID #:962


                                         Indicates that there are SEI messages with payloadType equal to
                             3           manifest_sei_payload_type[ i ] expected to be present in the CVS,
                                         and the necessity of these SEI messages is undetermined.
                           4..255        Reserved



The value of manifest_sei_description[ i ] shall be in the range of 0 to 3, inclusive, in bitstreams conforming to this version
of this Specification. Other values for manifest_sei_description[ i ] are reserved for future use by ITU-T | ISO/IEC.
Decoders shall allow the value of manifest_sei_description[ i ] greater than or equal to 4 to appear in the syntax and shall
ignore all information for payloadType equal to manifest_sei_payload_type[ i ] signalled in the SEI manifest SEI message
and shall ignore all SEI prefix indication SEI messages with prefix_sei_payload_type equal to
manifest_sei_payload_type[ i ] when manifest_sei_description[ i ] is greater than or equal to 4.

D.3.46     SEI prefix indication SEI message semantics
The SEI prefix indication SEI message carries one or more SEI prefix indications for SEI messages of a particular value
of payloadType. Each SEI prefix indication is a bit string that follows the SEI payload syntax of that value of payloadType
and contains a number of complete syntax elements starting from the first syntax element in the SEI payload.
Each SEI prefix indication for an SEI message of a particular value of payloadType indicates that one or more SEI messages
of this value of payloadType are expected (i.e., likely) to be present in the CVS and to start with the provided bit string. A
starting bit string would typically contain only a true subset of an SEI payload of the type of SEI message indicated by the
payloadType, may contain a complete SEI payload, and shall not contain more than a complete SEI payload. It is not
prohibited for SEI messages of the indicated value of payloadType to be present that do not start with any of the indicated
bit strings.
These SEI prefix indications should provide sufficient information for indicating what type of processing is needed or what
type of content is included. The former (type of processing) indicates decoder-side processing capability, e.g., whether
some type of frame unpacking is needed. The latter (type of content) indicates, for example, whether the bitstream contains
subtitle captions in a particular language.
The content of an SEI prefix indication SEI message may, for example, be used by transport-layer or systems-layer
processing elements to determine whether the CVS is suitable for delivery to a receiving and decoding system, based on
whether the receiving system can properly process the CVS to enable an adequate user experience or whether the CVS
satisfies the application needs (as determined in some manner by external means outside the scope of this Specification).
In one example, when the payloadType indicates the frame packing arrangement SEI message, an SEI prefix indication
should include up to at least the syntax element frame_packing_arrangement_type; and when the payloadType indicates
the omnidirectional projection indication SEI message, an SEI prefix indication should include up to at least the syntax
element projection_type.
In another example, for user data registered SEI messages that are used to carry captioning information, an SEI prefix
indication should include up to at least the language code; and for user data unregistered SEI messages extended for private
use, an SEI prefix indication should include up to at least the UUID.
When an SEI prefix indication SEI message is present in any access unit of a CVS, an SEI prefix indication SEI message
shall be present in the first access unit of the CVS. The SEI prefix indication SEI message persists in decoding order from
the current access unit until the end of the CVS. When there are multiple SEI prefix indication SEI messages present in a
CVS for a particular value of payloadType, they shall have the same content.
An SEI NAL unit containing an SEI prefix indication SEI message for a particular value of payloadType shall not contain
any other SEI messages other than an SEI manifest SEI message and SEI prefix indication SEI messages for other values
of payloadType.
prefix_sei_payload_type indicates the payloadType value of the SEI messages for which one or more SEI prefix
indications are provided in the SEI prefix indication SEI message. When an SEI manifest SEI message is also present for
the CVS, the value of prefix_sei_payload_type shall be equal to one of the manifest_sei_payload_type[ m ] values for
which manifest_sei_description[ m ] is equal to 1 to 3, inclusive, as indicated by an SEI manifest SEI message that applies
to the CVS.
num_sei_prefix_indications_minus1 plus 1 specifies the number of SEI prefix indications.
num_bits_in_prefix_indication_minus1[ i ] plus 1 specifies the number of bits in the i-th SEI prefix indication.
sei_prefix_data_bit[ i ][ j ] specifies the j-th bit of the i-th SEI prefix indication.
The bits sei_prefix_data_bit[ i ][ j ] for j ranging from 0 to num_bits_in_prefix_indication_minus1[ i ], inclusive, follow
the syntax of the SEI payload with payloadType equal to prefix_sei_payload_type, and contain a number of complete



412         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 434 of 717 Page ID #:963


syntax elements starting from the first syntax element in the SEI payload syntax, and may or may not contain all the syntax
elements    in     the      SEI     payload      syntax.   The     last    bit   of    these      bits   (i.e.,   the    bit
sei_prefix_data_bit[ i ][ num_bits_in_prefix_indication_minus1[ i ] ]) shall be the last bit of a syntax element in the SEI
payload syntax, unless it is a bit within an itu_t_t35_payload_byte or user_data_payload_byte.
    NOTE – The exception for itu_t_t35_payload_byte and user_data_payload_byte is provided because these syntax elements may
    contain externally-specified syntax elements, and the determination of the boundaries of such externally-specified syntax elements
    is a matter outside the scope of this Specification.

byte_alignment_bit_equal_to_one shall be equal to 1.

D.3.47     Annotated regions SEI message semantics
The annotated regions SEI message carries parameters that identify annotated regions using bounding boxes representing
the size and location of identified objects.
ar_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous annotated regions SEI
message that is associated with one or more layers to which the annotated regions SEI message applies. ar_cancel_flag
equal to 0 indicates that annotated regions information follows.
When ar_cancel_flag equal to 1 or a new CLVS of the current layer begins, the variables LabelAssigned[ i ],
ObjectTracked[ i ], and ObjectBoundingBoxAvail are set equal to 0 for i in the range of 0 to 255, inclusive.
Let picA be the current picture. Each region identified in the annotated regions SEI message persists for the current layer
in output order until any of the following conditions are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB in the current layer in an access unit containing an annotated regions SEI message that is applicable to
     the current layer is output for which PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where
     PicOrderCnt( picB ) and PicOrderCnt( picA ) are the PicOrderCntVal values of picB and picA, and the semantics of
     the annotated regions SEI message for PicB cancels the persistence of the region identified in the annotated regions
     SEI message for PicA.
ar_not_optimized_for_viewing_flag equal to 1 indicates that the decoded pictures that the annotated regions SEI message
applies to are not optimized for user viewing, but rather are optimized for some other purpose such as algorithmic object
classification performance. ar_not_optimized_for_viewing_flag equal to 0 indicates that the decoded pictures that the
annotated regions SEI message applies to may or may not be optimized for user viewing.
ar_true_motion_flag equal to 1 indicates that the motion information in the coded pictures that the annotated regions SEI
message applies to was selected with a goal of accurately representing object motion for objects in the annotated regions.
ar_true_motion_flag equal to 0 indicates that the motion information in the coded pictures that the annotated regions SEI
message applies to may or may not be selected with a goal of accurately representing object motion for objects in the
annotated regions.
ar_occluded_object_flag equal to 1 indicates that the ar_bounding_box_top[ ar_object_idx[ i ] ], ar_bounding_box_
left[ ar_object_idx[ i ] ], ar_bounding_box_width[ ar_object_idx[ i ] ], and ar_bounding_box_height[ ar_object_idx[ i ] ]
syntax elements represent the size and location of an object or a portion of an object that may not be visible or may be only
partially visible within the cropped decoded picture. ar_occluded_object_flag equal to 0 indicates that the
ar_bounding_box_top[ ar_object_idx[ i ] ],              ar_bounding_box_left[ ar_object_idx[ i ] ],           ar_bounding_box_
width[ ar_object_idx[ i ] ], and ar_bounding_box_height[ ar_object_idx[ i ] ] syntax elements represent the size and
location of an object that is entirely visible within the cropped decoded picture. It is a requirement of bitstream conformance
that the value of ar_occluded_object_flag shall be the same for all annotated_regions( ) syntax structures within a CLVS.
ar_partial_object_flag_present_flag equal to 1 indicates that ar_partial_object_flag[ ar_object_idx[ i ] ] syntax elements
are present. ar_partial_object_flag_present_flag equal to 0 indicates that ar_partial_object_flag[ ar_object_idx[ i ] ] syntax
elements are not present. It is a requirement of bitstream conformance that the value of ar_partial_object_flag_present_flag
shall be the same for all annotated_regions( ) syntax structures within a CLVS.
ar_object_label_present_flag equal to 1 indicates that label information corresponding to objects in the annotated regions
is present. ar_object_label_present_flag equal to 0 indicates that label information corresponding to the objects in the
annotated regions is not present.
ar_object_confidence_info_present_flag equal to 1 indicates that ar_object_confidence[ ar_object_idx[ i ] ] syntax
elements are present. ar_object_confidence_info_present_flag equal to 0 indicates that ar_object_
confidence[ ar_object_idx[ i ] ] syntax elements are not present. It is a requirement of bitstream conformance that the value
of ar_object_confidence_present_flag shall be the same for all annotated_regions( ) syntax structures within a CLVS.



                                                                                    Rec. ITU-T H.265 v8 (08/2021)               413
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 435 of 717 Page ID #:964


ar_object_confidence_length_minus1 plus 1 specifies the length, in bits, of the ar_object_confidence[ ar_object_idx[ i ] ]
syntax elements. It is a requirement of bitstream conformance that the value of ar_object_confidence_length_minus1 shall
be the same for all annotated_regions( ) syntax structures within a CLVS.
ar_object_label_language_present_flag equal to 1 indicates that the ar_object_label_language syntax element is present.
ar_object_label_language_present_flag equal to 0 indicates that the ar_object_label_language syntax element is not
present.
ar_bit_equal_to_zero shall be equal to zero.
ar_object_label_language contains a language tag as specified by IETF RFC 5646 followed by a null termination byte
equal to 0x00. The length of the ar_object_label_language syntax element shall be less than or equal to 255 bytes, not
including the null termination byte. When not present, the language of the label is unspecified.
ar_num_label_updates indicates the total number of labels associated with the annotated regions that are signalled. The
value of ar_num_label_updates shall be in the range of 0 to 255, inclusive.
ar_label_idx[ i ] indicates the index of the signalled label. The value of ar_label_idx[ i ] shall be in the range of 0 to 255,
inclusive.
ar_label_cancel_flag equal to 1 cancels the persistence scope of the ar_label_idx[ i ]-th label. ar_label_cancel_flag equal
to 0 indicates that the ar_label_idx[ i ]-th label is assigned a signalled value.
LabelAssigned[ ar_label_idx[ i ] ] equal to 1 indicates that the ar_label_idx[ i ]-th label                     is    assigned.
LabelAssigned[ ar_label_idx[ i ] ] equal to 0 indicates that the ar_label_idx[ i ]-th label is not assigned.
ar_label[ ar_label_idx[ i ] ] specifies the contents of the ar_label_idx[ i ] –th label. The length of the
ar_label[ ar_label_idx[ i ] ] syntax element shall be less than or equal to 255 bytes, not including the null termination byte.
ar_num_object_updates indicates the number of object updates to be signalled. ar_num_object_updates shall be in the
range of 0 to 255, inclusive.
ar_object_idx[ i ] is the index of the object parameters to be signalled. ar_object_idx[ i ] shall be in the range of 0 to 255,
inclusive.
ar_object_cancel_flag equal to 1 cancels the persistence scope of the ar_object_idx[ i ]-th object. ar_object_cancel_flag
equal to 0 indicates that parameters associated with the ar_object_idx[ i ]-th object tracked object are signalled.
ObjectTracked[ ar_object_idx[ i ] ] equal to 1 indicates that the object_idx[ i ]-th object                      is    tracked.
ObjectTracked[ ar_object_idx[ i ] ] equal to 0 indicates that the object_idx[ i ]-th object is not tracked.
ar_object_label_update_flag equal to 1 indicates that an object label is signalled. ar_object_label_update_flag equal to 0
indicates that an object label is not signalled.
ar_object_label_idx[ ar_object_idx[ i ] ] indicates the index of the label corresponding to the ar_object_idx[ i ]-th object.
When ar_object_label_idx[ ar_object_idx[ i ] ] is not present, its value is inferred from a previous annotated regions SEI
message in output order in the same CLVS, if any. The value of ar_object_label_idx[ ar_object_idx[ i ] ] shall be in the
range of 0 to 255, inclusive.
ar_bounding_box_update_flag equal to 1 indicates that object bounding box parameters are signalled.
ar_bounding_box_update_flag equal to 0 indicates that object bounding box parameters are not signalled.
ar_bounding_box_cancel_flag equal to 1 cancels the persistence scope of the ar_bounding_box_top[ ar_object_idx[ i ] ],
ar_bounding_box_left[ ar_object_idx[ i ] ],         ar_bounding_box_width[ ar_object_idx[ i ] ],        ar_bounding_box_
height[ ar_object_idx[ i ] ]. ar_partial_object_flag[ ar_object_idx[ i ] ], and ar_object_confidence[ ar_object_idx[ i ] ].
ar_bounding_box_cancel_flag equal to 0 indicates that ar_bounding_box_top[ ar_object_idx[ i ] ], ar_bounding_box_
left[ ar_object_idx[ i ] ], ar_bounding_box_width[ ar_object_idx[ i ] ] ar_bounding_box_height[ ar_object_idx[ i ] ]
ar_partial_object_flag[ ar_object_idx[ i ] ], and ar_object_confidence[ ar_object_idx[ i ] ] syntax elements are signalled.
ObjectBoundingBoxAvail[ ar_object_idx[ i ] ] equal to 1 indicates that the bounding box information of the object_idx[ i ]-
th object is signalled. ObjectBoundingBoxAvail[ ar_object_idx[ i ] ] equal to 0 indicates that the bounding box information
of the object_idx[ i ]-th object is not signalled.
ar_bounding_box_top[ ar_object_idx[ i ] ],           ar_bounding_box_left[ ar_object_idx[ i ] ],          ar_bounding_box_
width[ ar_object_idx[ i ] ], and ar_bounding_box_height[ ar_object_idx[ i ] ] specify the coordinates of the top-left
corner and the width and height, respectively, of the bounding box of the ar_object_idx[ i ]-th object in the cropped decoded
picture, relative to the conformance cropping window specified by the active SPS.
Let croppedWidth and croppedHeight be the width and height, respectively, of the cropped decoded picture in units of
luma samples, as specified by Equations D-28 and D-29.



414        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 436 of 717 Page ID #:965


The value of ar_bounding_box_left[ ar_object_idx[ i ] ] shall be in the range of 0 to croppedWidth / SubWidthC − 1,
inclusive.
The value of ar_bounding_box_top[ ar_object_idx[ i ] ] shall be in the range of 0 to croppedHeight / SubHeightC − 1,
inclusive.
The value of ar_bounding_box_width[ ar_object_idx[ i ] ] shall be in the range of 0 to croppedWidth / SubWidthtC −
ar_bounding_box_left[ ar_object_idx[ i ] ], inclusive.
The value of ar_bounding_box_height[ ar_object_idx[ i ] ] shall be in the range of 0 to croppedHeight / SubHeightC −
ar_bounding_box_top[ ar_object_idx[ i ] ], inclusive.
The identified object rectangle contains the luma samples with horizontal picture coordinates from SubWidthC *
( conf_win_left_offset + ar_bounding_box_left[ ar_object_idx[ i ] ] ) to SubWidthC * ( conf_win_left_offset +
ar_bounding_box_left[ ar_object_idx[ i ] ] + ar_bounding_box_width[ ar_object_idx[ i ] ] ) − 1, inclusive, and vertical
picture coordinates from SubHeightC * ( conf_win_top_offset + ar_bounding_box_top[ ar_object_idx[ i ] ] ) to
SubHeightC * ( conf_win_top_offset + ar_bounding_box_top[ ar_object_idx[ i ] ] + ar_bounding_box_
height[ ar_object_idx[ i ] ] ) − 1, inclusive.
When ChromaArrayType is not equal to 0, the corresponding specified samples of the two chroma arrays are the samples
having picture coordinates ( x / SubWidthC, y / SubHeightC ), where ( x, y ) are the picture coordinates of the specified
luma samples.
The values of ar_bounding_box_top[ ar_object_idx[ i ] ], ar_bounding_box_left[ ar_object_idx[ i ] ], ar_bounding_box_
width[ ar_object_idx[ i ] ] and ar_bounding_box_height[ ar_object_idx[ i ] ] persist in output order within the CLVS for
each value of ar_object_idx[ i ]. When not present, the values of ar_bounding_box_top[ ar_object_idx[ i ] ],
ar_bounding_box_left[ ar_object_idx[ i ] ],      ar_bounding_box_width[ ar_object_idx[ i ] ]     or    ar_bounding_box_
height[ ar_object_idx[ i ] ] are inferred from a previous annotated regions SEI message in output order in the CLVS, if
any.
ar_partial_object_flag[ ar_object_idx[ i ] ] equal to 1 indicates that the ar_bounding_box_top[ ar_object_idx[ i ] ],
ar_bounding_box_left[ ar_object_idx[ i ] ], ar_bounding_box_width[ ar_object_idx[ i ] ] and ar_bounding_box_
height[ ar_object_idx[ i ] ] syntax elements represent the size and location of an object that is only partially visible within
the cropped decoded picture. ar_partial_object_flag[ ar_object_idx[ i ] ] equal to 0 indicates that the ar_bounding_box_
top[ ar_object_idx[ i ] ], ar_bounding_box_left[ ar_object_idx[ i ] ], ar_bounding_box_width[ ar_object_idx[ i ] ] and
ar_bounding_box_height[ ar_object_idx[ i ] ] syntax elements represent the size and location of an object that may or may
not be only partially visible within the cropped decoded picture. When not present, the value of
ar_partial_object_flag[ ar_object_idx[ i ] ] is inferred from a previous annotated regions SEI message in output order in
the CLVS, if any.
ar_object_confidence[ ar_object_idx[ i ] ] indicates the degree of confidence associated with the ar_object_idx[ i ]-th
object, in units of 2−( ar_object_confidence_length_minus1 + 1 ), such that a higher value of ar_object_confidence[ ar_object_idx[ i ] ]
indicates a higher degree of confidence. The length of the ar_object_confidence[ ar_object_idx[ i ] ] syntax element is
ar_object_confidence_length_minus1 + 1 bits. When not present, the value of_object_confidence[ ar_object_idx[ i ] ] is
inferred from a previous annotated regions SEI message in output order in the CLVS, if any.

D.3.48     Shutter interval information SEI message semantics
The shutter interval information SEI message indicates the shutter interval for the associated video source pictures prior to
encoding, e.g., for camera-captured content, the shutter interval is amount of time that an image sensor is exposed to
produce each source picture.
When a shutter interval information SEI message is present for any picture of a CLVS of a particular layer, a shutter
interval information SEI message shall be present for the first picture of the CLVS. The shutter interval information SEI
message persists for the current layer in decoding order from the current picture until the end of the CLVS. All shutter
interval information SEI messages that apply to the same CLVS shall have the same content.
sii_time_scale specifies the number of time units that pass in one second. The value of sii_time_scale shall be greater than
0. For example, a time coordinate system that measures time using a 27 MHz clock has an sii_time_scale of 27 000 000.
fixed_shutter_interval_within_clvs_flag equal to 1 specifies that the indicated shutter interval is the same for all temporal
sub-layers in the CLVS. fixed_shutter_interval_within_clvs_flag equal to 0 specifies that the indicated shutter interval may
not be the same for all temporal sub-layers in the CLVS. When the value of sps_max_sub_layers_minus1 is equal to 0, the
value of fixed_shutter_interval_within_clvs_flag shall be equal to 1.
sii_num_units_in_shutter_interval, when fixed_shutter_interval_within_clvs_flag is equal to 1, specifies the number of
time units of a clock operating at the frequency sii_time_scale Hz that corresponds to the indicated shutter interval of each
picture in the CLVS. The value 0 may be used to indicate that the associated video content contains screen capture content,
computer generated content, or other non-camera-captured content.


                                                                                      Rec. ITU-T H.265 v8 (08/2021)               415
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 437 of 717 Page ID #:966


The indicated shutter interval, denoted by the variable shutterInterval, in units of seconds, is equal to the quotient of
sii_num_units_in_shutter_interval divided by sii_time_scale. For example, to represent a shutter interval equal to 0.04
seconds, sii_time_scale may be equal to 27 000 000 and sii_num_units_in_shutter_interval may be equal to 1 080 000.
sii_max_sub_layers_minus1 plus 1 specifies the maximum number of temporal sub-layers that may be present in each
CLVS referring to the SPS. The value of sii_max_sub_layers_minus1 shall be equal to the value of
sps_max_sub_layers_minus1 in the SPS.
   NOTE – For example, the information conveyed in this SEI message is intended to be adequate for purposes corresponding to the
   use of ATSC A/341:2019 Annex D when sii_max_sub_layers_minus1 is equal to 1 and fixed_shutter_interval_within_clvs_flag is
   equal to 0.

sub_layer_num_units_in_shutter_interval[ i ], when present, specifies the number of time units of a clock operating at
the frequency sii_time_scale Hz that corresponds to the shutter interval of each picture in the sub-layer representation with
TemporalId equal to i in the CLVS. The sub-layer shutter interval for the sub-layer representation with TemporalId equal
to i, denoted by the variable subLayerShutterInterval[ i ], in units of seconds, is equal to the quotient of
sub_layer_num_units_in_shutter_interval[ i ] divided by sii_time_scale.
The variable subLayerShutterInterval[ i ], corresponding to the indicated shutter interval of each picture in the sub-layer
representation with TemporalId equal to i in the CLVS, is thus derived as follows:

         if( fixed_shutter_interval_within_clvs_flag )
            subLayerShutterInterval[ i ] = sii_num_units_in_shutter_interval ÷ sii_time_scale            (D-63)
         else
            subLayerShutterInterval[ i ] = sub_layer_num_units_in_shutter_interval[ i ] ÷ sii_time_scale

D.3.49      Reserved SEI message semantics
The reserved SEI message consists of data reserved for future backward-compatible use by ITU-T | ISO/IEC. It is a
requirement of bitstream conformance that bitstreams shall not contain reserved SEI messages until and unless the use of
such messages has been specified by ITU-T | ISO/IEC. Decoders shall ignore reserved SEI messages.




416         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25         Page 438 of 717 Page ID #:967


                                                        Annex E

                                              Video usability information

                   (This annex forms an integral part of this Recommendation | International Standard.)

E.1        General
This annex specifies syntax and semantics of the VUI parameters of the SPSs.
VUI parameters are not required for constructing the luma or chroma samples by the decoding process. Conforming
decoders are not required to process this information for output order conformance to this Specification (see Annex C and
clause F.13 for the specification of output order conformance). Some VUI parameters are required to check bitstream
conformance and for output timing decoder conformance.
In this annex, specification for presence of VUI parameters is also satisfied when those parameters (or some subset of
them) are conveyed to decoders (or to the HRD) by other means not specified in this Specification. When present in the
bitstream, VUI parameters shall follow the syntax and semantics specified in this annex. When the content of VUI
parameters is conveyed for the application by some means other than presence within the bitstream, the representation of
the content of the VUI parameters is not required to use the same syntax specified in this annex. For the purpose of counting
bits, only the appropriate bits that are actually present in the bitstream are counted.

E.2        VUI syntax
E.2.1      VUI parameters syntax
        vui_parameters( ) {                                                                                Descriptor
          aspect_ratio_info_present_flag                                                                      u(1)
          if( aspect_ratio_info_present_flag ) {
              aspect_ratio_idc                                                                                 u(8)
              if( aspect_ratio_idc = = EXTENDED_SAR ) {
                  sar_width                                                                                   u(16)
                  sar_height                                                                                  u(16)
              }
          }
          overscan_info_present_flag                                                                           u(1)
          if( overscan_info_present_flag )
              overscan_appropriate_flag                                                                        u(1)
          video_signal_type_present_flag                                                                       u(1)
          if( video_signal_type_present_flag ) {
              video_format                                                                                     u(3)
              video_full_range_flag                                                                            u(1)
              colour_description_present_flag                                                                  u(1)
              if( colour_description_present_flag ) {
                  colour_primaries                                                                             u(8)
                  transfer_characteristics                                                                     u(8)
                  matrix_coeffs                                                                                u(8)
              }
          }
          chroma_loc_info_present_flag                                                                         u(1)
          if( chroma_loc_info_present_flag ) {
              chroma_sample_loc_type_top_field                                                                ue(v)
              chroma_sample_loc_type_bottom_field                                                             ue(v)




                                                                               Rec. ITU-T H.265 v8 (08/2021)            417
Case 2:25-cv-03053              Document 1-7          Filed 04/07/25   Page 439 of 717 Page ID #:968


          }
          neutral_chroma_indication_flag                                                   u(1)
          field_seq_flag                                                                   u(1)
          frame_field_info_present_flag                                                    u(1)
          default_display_window_flag                                                      u(1)
          if( default_display_window_flag ) {
              def_disp_win_left_offset                                                    ue(v)
              def_disp_win_right_offset                                                   ue(v)
              def_disp_win_top_offset                                                     ue(v)
              def_disp_win_bottom_offset                                                  ue(v)
          }
          vui_timing_info_present_flag                                                     u(1)
          if( vui_timing_info_present_flag ) {
              vui_num_units_in_tick                                                       u(32)
              vui_time_scale                                                              u(32)
              vui_poc_proportional_to_timing_flag                                          u(1)
              if( vui_poc_proportional_to_timing_flag )
                  vui_num_ticks_poc_diff_one_minus1                                       ue(v)
              vui_hrd_parameters_present_flag                                             u(1)
              if( vui_hrd_parameters_present_flag )
                  hrd_parameters( 1, sps_max_sub_layers_minus1 )
          }
          bitstream_restriction_flag                                                       u(1)
          if( bitstream_restriction_flag ) {
              tiles_fixed_structure_flag                                                  u(1)
              motion_vectors_over_pic_boundaries_flag                                     u(1)
              restricted_ref_pic_lists_flag                                               u(1)
              min_spatial_segmentation_idc                                                ue(v)
              max_bytes_per_pic_denom                                                     ue(v)
              max_bits_per_min_cu_denom                                                   ue(v)
              log2_max_mv_length_horizontal                                               ue(v)
              log2_max_mv_length_vertical                                                 ue(v)
          }
      }




418          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25        Page 440 of 717 Page ID #:969


E.2.2      HRD parameters syntax


        hrd_parameters( commonInfPresentFlag, maxNumSubLayersMinus1 ) {                               Descriptor
          if( commonInfPresentFlag ) {
              nal_hrd_parameters_present_flag                                                            u(1)
              vcl_hrd_parameters_present_flag                                                            u(1)
              if( nal_hrd_parameters_present_flag | | vcl_hrd_parameters_present_flag ) {
                  sub_pic_hrd_params_present_flag                                                        u(1)
                  if( sub_pic_hrd_params_present_flag ) {
                      tick_divisor_minus2                                                                u(8)
                      du_cpb_removal_delay_increment_length_minus1                                       u(5)
                      sub_pic_cpb_params_in_pic_timing_sei_flag                                          u(1)
                      dpb_output_delay_du_length_minus1                                                  u(5)
                  }
                  bit_rate_scale                                                                         u(4)
                  cpb_size_scale                                                                         u(4)
                  if( sub_pic_hrd_params_present_flag )
                      cpb_size_du_scale                                                                  u(4)
                  initial_cpb_removal_delay_length_minus1                                                u(5)
                  au_cpb_removal_delay_length_minus1                                                     u(5)
                  dpb_output_delay_length_minus1                                                         u(5)
              }
          }
          for( i = 0; i <= maxNumSubLayersMinus1; i++ ) {
              fixed_pic_rate_general_flag[ i ]                                                           u(1)
              if( !fixed_pic_rate_general_flag[ i ] )
                  fixed_pic_rate_within_cvs_flag[ i ]                                                    u(1)
              if( fixed_pic_rate_within_cvs_flag[ i ] )
                  elemental_duration_in_tc_minus1[ i ]                                                   ue(v)
              else
                  low_delay_hrd_flag[ i ]                                                                u(1)
              if( !low_delay_hrd_flag[ i ] )
                  cpb_cnt_minus1[ i ]                                                                    ue(v)
              if( nal_hrd_parameters_present_flag )
                  sub_layer_hrd_parameters( i )
              if( vcl_hrd_parameters_present_flag )
                  sub_layer_hrd_parameters( i )
          }
        }




                                                                              Rec. ITU-T H.265 v8 (08/2021)        419
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25         Page 441 of 717 Page ID #:970


E.2.3      Sub-layer HRD parameters syntax


        sub_layer_hrd_parameters( subLayerId ) {                                                         Descriptor
          for( i = 0; i < CpbCnt; i++ ) {
             bit_rate_value_minus1[ i ]                                                                     ue(v)
             cpb_size_value_minus1[ i ]                                                                     ue(v)
             if( sub_pic_hrd_params_present_flag ) {
                 cpb_size_du_value_minus1[ i ]                                                              ue(v)
                 bit_rate_du_value_minus1[ i ]                                                              ue(v)
             }
             cbr_flag[ i ]                                                                                   u(1)
          }
        }



E.3         VUI semantics
E.3.1      VUI parameters semantics
aspect_ratio_info_present_flag equal to 1 specifies that aspect_ratio_idc is present. aspect_ratio_info_present_flag equal
to 0 specifies that aspect_ratio_idc is not present.
aspect_ratio_idc specifies the value of the sample aspect ratio of the luma samples. Table E.1 shows the meaning of the
code. When aspect_ratio_idc indicates EXTENDED_SAR, the sample aspect ratio is represented by sar_width: sar_height.
When the aspect_ratio_idc syntax element is not present, the value of aspect_ratio_idc is inferred to be equal to 0. Values
of aspect_ratio_idc in the range of 17 to 254, inclusive, are reserved for future use by ITU-T | ISO/IEC and shall not be
present in bitstreams conforming to this version of this Specification. Decoders shall interpret values of aspect_ratio_idc
in the range of 17 to 254, inclusive, as equivalent to the value 0.




420          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25             Page 442 of 717 Page ID #:971


                                Table E.1 – Interpretation of sample aspect ratio indicator

  aspect_ratio_idc        Sample aspect                                  Examples of use (informative)
                             ratio
          0                 Unspecified

          1                      1:1             7680x4320 16:9 frame without horizontal overscan
                             ("square")          3840x2160 16:9 frame without horizontal overscan
                                                 1280x720 16:9 frame without horizontal overscan
                                                 1920x1080 16:9 frame without horizontal overscan (cropped from
                                                                   1920x1088)
                                                 640x480 4:3 frame without horizontal overscan
          2                     12:11            720x576 4:3 frame with horizontal overscan
                                                 352x288 4:3 frame without horizontal overscan
          3                     10:11            720x480 4:3 frame with horizontal overscan
                                                 352x240 4:3 frame without horizontal overscan
          4                     16:11            720x576 16:9 frame with horizontal overscan
                                                 528x576 4:3 frame without horizontal overscan
          5                     40:33            720x480 16:9 frame with horizontal overscan
                                                 528x480 4:3 frame without horizontal overscan
          6                     24:11            352x576 4:3 frame without horizontal overscan
                                                 480x576 16:9 frame with horizontal overscan
          7                     20:11            352x480 4:3 frame without horizontal overscan
                                                 480x480 16:9 frame with horizontal overscan
          8                 32:11                352x576 16:9 frame without horizontal overscan
          9                 80:33                352x480 16:9 frame without horizontal overscan
         10                 18:11                480x576 4:3 frame with horizontal overscan
         11                 15:11                480x480 4:3 frame with horizontal overscan
         12                 64:33                528x576 16:9 frame without horizontal overscan
         13                 160:99               528x480 16:9 frame without horizontal overscan
         14                  4:3                 1440x1080 16:9 frame without horizontal overscan
         15                  3:2                 1280x1080 16:9 frame without horizontal overscan
         16                  2:1                 960x1080 16:9 frame without horizontal overscan
       17..254             Reserved
        255             EXTENDED_SAR


   NOTE 1 – For the examples in Table E.1, the term "without horizontal overscan" refers to display processes in which the display
   area matches the area of the cropped decoded pictures and the term "with horizontal overscan" refers to display processes in which
   some parts near the left or right border of the cropped decoded pictures are not visible in the display area. As an example, the entry
   "720x576 4:3 frame with horizontal overscan" for aspect_ratio_idc equal to 2 refers to having an area of 704x576 luma samples
   (which has an aspect ratio of 4:3) of the cropped decoded frame (720x576 luma samples) that is visible in the display area.
   NOTE 2 – For the examples in Table E.1, the frame spatial resolutions shown as examples of use would be the dimensions of the
   conformance cropping window when field_seq_flag is equal to 0 and would have twice the height of the dimensions of the
   conformance cropping window when field_seq_flag is equal to 1.

sar_width indicates the horizontal size of the sample aspect ratio (in arbitrary units).
sar_height indicates the vertical size of the sample aspect ratio (in the same arbitrary units as sar_width).
sar_width and sar_height shall be relatively prime or equal to 0. When aspect_ratio_idc is equal to 0 or sar_width is equal
to 0 or sar_height is equal to 0, the sample aspect ratio is unspecified in this Specification.
overscan_info_present_flag equal to 1 specifies that the overscan_appropriate_flag is present. When
overscan_info_present_flag is equal to 0 or is not present, the preferred display method for the video signal is unspecified.
overscan_appropriate_flag equal to 1 indicates that the cropped decoded pictures output are suitable for display using
overscan. overscan_appropriate_flag equal to 0 indicates that the cropped decoded pictures output contain visually
important information in the entire region out to the edges of the conformance cropping window of the picture, such that
the cropped decoded pictures output should not be displayed using overscan. Instead, they should be displayed using either
an exact match between the display area and the conformance cropping window, or using underscan. As used in this
paragraph, the term "overscan" refers to display processes in which some parts near the borders of the cropped decoded


                                                                                      Rec. ITU-T H.265 v8 (08/2021)                421
Case 2:25-cv-03053                 Document 1-7               Filed 04/07/25             Page 443 of 717 Page ID #:972


pictures are not visible in the display area. The term "underscan" describes display processes in which the entire cropped
decoded pictures are visible in the display area, but they do not cover the entire display area. For display processes that
neither use overscan nor underscan, the display area exactly matches the area of the cropped decoded pictures.
   NOTE 3 – For example, overscan_appropriate_flag equal to 1 might be used for entertainment television programming, or for a live
   view of people in a videoconference and overscan_appropriate_flag equal to 0 might be used for computer screen capture or security
   camera content.

video_signal_type_present_flag equal to 1 specifies that video_format, video_full_range_flag and
colour_description_present_flag are present. video_signal_type_present_flag equal to 0, specify that video_format,
video_full_range_flag and colour_description_present_flag are not present.
   NOTE 4 – Some of the semantics of video signal type parameters associated with video_signal_type_present_flag equal to 1 are
   expressed in terms of the properties of source pictures prior to operation of the encoding process, which is outside the scope of this
   Specification. This is partly for historical reasons and due to the common general practice of how the indicated data is typically
   described in industry publications. The actual intent for providing this syntax in the bitstream is to assist decoding systems to properly
   interpret and make effective use of the decoded video pictures, e.g., for use by the display process (which is also outside the scope
   of this Specification, but for which having an indication of how the pictures should be interpreted is important).

video_format indicates the representation of the pictures as specified in Table E.2, before being coded in accordance with
this Specification. When the video_format syntax element is not present, the value of video_format is inferred to be equal
to 5. The values 6 and 7 for video_format are reserved for future use by ITU-T | ISO/IEC and shall not be present in
bitstreams conforming to this version of this Specification. Decoders shall interpret the values 6 and 7 for video_format as
equivalent to the value 5.

                                              Table E.2 – Meaning of video_format

                                           video_format                   Meaning
                                                  0            Component
                                                  1            PAL
                                                  2            NTSC
                                                  3            SECAM
                                                  4            MAC
                                                  5            Unspecified video format


video_full_range_flag indicates the black level and range of the luma and chroma signals as derived from E′Y, E′PB, and
E′PR or E′R, E′G, and E′B real-valued component signals.
When the video_full_range_flag syntax element is not present, the value of video_full_range_flag is inferred to be equal
to 0.
colour_description_present_flag equal to 1 specifies that colour_primaries, transfer_characteristics, and matrix_coeffs
are present. colour_description_present_flag equal to 0 specifies that colour_primaries, transfer_characteristics, and
matrix_coeffs are not present.
colour_primaries indicates the chromaticity coordinates of the source primaries as specified in Table E.3 in terms of the
CIE 1931 definition of x and y as specified in ISO 11664-1.
When the colour_primaries syntax element is not present, the value of colour_primaries is inferred to be equal to 2 (the
chromaticity is unspecified or is determined by the application). Values of colour_primaries that are identified as reserved
in Table E.3 are reserved for future use by ITU-T | ISO/IEC and shall not be present in bitstreams conforming to this
version of this Specification. Decoders shall interpret reserved values of colour_primaries as equivalent to the value 2.




422         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053       Document 1-7         Filed 04/07/25        Page 444 of 717 Page ID #:973



          Table E.3 – Colour primaries interpretation using the colour_primaries syntax element

  Value                     Primaries                                   Informative remark
    0     Reserved                                        For future use by ITU-T | ISO/IEC
    1     primary        x           y                    Rec. ITU-R BT.709-6
          green          0.300       0.600                Rec. ITU-R BT.1361-0 conventional colour gamut
          blue           0.150       0.060                system and extended colour gamut system
          red            0.640       0.330                (historical)
          white D65      0.3127      0.3290               IEC 61966-2-1 sRGB or sYCC
                                                          IEC 61966-2-4
                                                          SMPTE RP 177 (1993) Annex B
    2     Unspecified                                     Image characteristics are unknown or are
                                                          determined by the application.
    3     Reserved                                        For future use by ITU-T | ISO/IEC
    4     primary        x           y                    Rec. ITU-R BT.470-6 System M (historical)
          green          0.21        0.71                 NTSC Recommendation for transmission
          blue           0.14        0.08                 standards for colour television (1953)
          red            0.67        0.33                 FCC Title 47 Code of Federal Regulations (2003)
          white C        0.310       0.316                73.682 (a) (20)
    5     primary        x           y                    Rec. ITU-R BT.470-6 System B, G (historical)
          green          0.29        0.60                 Rec. ITU-R BT.601-7 625
          blue           0.15        0.06                 Rec. ITU-R BT.1358-0 625 (historical)
          red            0.64        0.33                 Rec. ITU-R BT.1700-0 625 PAL and 625
          white D65      0.3127      0.3290               SECAM
    6     primary        x           y                    Rec. ITU-R BT.601-7 525
          green          0.310       0.595                Rec. ITU-R BT.1358-1 525 or 625 (historical)
          blue           0.155       0.070                Rec. ITU-R BT.1700-0 NTSC
          red            0.630       0.340                SMPTE ST 170 (2004)
          white D65      0.3127      0.3290               (functionally the same as the value 7)
    7     primary        x           y                    SMPTE ST 240 (1999, historical)
          green          0.310       0.595                (functionally the same as the value 6)
          blue           0.155       0.070
          red            0.630       0.340
          white D65      0.3127      0.3290
    8     primary        x           y                    Generic film (colour filters using Illuminant C)
          green          0.243       0.692 (Wratten 58)
          blue           0.145       0.049 (Wratten 47)
          red            0.681       0.319 (Wratten 25)
          white C        0.310       0.316
    9     primary        x           y                    Rec. ITU-R BT.2020-2
          green          0.170       0.797                Rec. ITU-R BT.2100-2
          blue           0.131       0.046
          red            0.708       0.292
          white D65      0.3127      0.3290
   10     primary        x           y                    SMPTE ST 428-1 (2006)
          green (Y)      0.0         1.0                  (CIE 1931 XYZ)
          blue (Z)       0.0         0.0
          red (X)        1.0         0.0
          centre white   1÷3         1÷3
   11     primary        x           y                    SMPTE RP 431-2 (2011)
          green          0.265       0.690                SMPTE ST 2113 (2019) "P3DCI"
          blue           0.150       0.060
          red            0.680       0.320
          white          0.314       0.351




                                                                   Rec. ITU-T H.265 v8 (08/2021)             423
Case 2:25-cv-03053                   Document 1-7               Filed 04/07/25         Page 445 of 717 Page ID #:974



                  Table E.3 – Colour primaries interpretation using the colour_primaries syntax element

      Value                                 Primaries                                        Informative remark
          12      primary            x               y                      SMPTE EG 432-1 (2010)
                  green              0.265           0.690                  SMPTE ST 2113 (2019) "P3D65"
                  blue               0.150           0.060
                  red                0.680           0.320
                  white D65          0.3127          0.3290
      13..21      Reserved                                                  For future use by ITU-T | ISO/IEC
       22         primary            x               y                      EBU Tech. 3213-E (1975)
                  green              0.295           0.605
                  blue               0.155           0.077
                  red                0.630           0.340
                  white D65          0.3127          0.3290
      23..255     Reserved                                                  For future use by ITU-T | ISO/IEC


transfer_characteristics, as specified in Table E.4, either indicates the reference opto-electronic transfer characteristic
function of the source picture as a function of a source input linear optical intensity Lc with a nominal real-valued range
of 0 to 1 or indicates the inverse of the reference electro-optical transfer characteristic function as a function of an output
linear optical intensity Lo with a nominal real-valued range of 0 to 1. For interpretation of entries in Table E.4 that are
expressed in terms of multiple curve segments parameterized by the variable α over a region bounded by the variable β or
by the variables β and γ, the values of α and β are defined to be the positive constants necessary for the curve segments
that meet at the value β to have continuity of value and continuity of slope at the value β, and the value of γ, when applicable,
is defined to be the positive constant necessary for the associated curve segments to meet at the value γ. For example, for
transfer_characteristics equal to 1, 6, 11, 14, or 15, α has the value 1 + 5.5 * β = 1.099 296 826 809 442... and β has the
value 0.018 053 968 510 807....
When the transfer_characteristics syntax element is not present, the value of transfer_characteristics is inferred to be equal
to 2 (the transfer characteristics are unspecified or are determined by the application). Values of transfer_characteristics
that are identified as reserved in Table E.4 are reserved for future use by ITU-T | ISO/IEC and shall not be present in
bitstreams conforming to this version of this Specification. Decoders shall interpret reserved values of
transfer_characteristics as equivalent to the value 2.
   NOTE 5 – As indicated in Table E.4, some values of transfer_characteristics are defined in terms of a reference opto-electronic
   transfer characteristic function and others are defined in terms of a reference electro-optical transfer characteristic function,
   according to the convention that has been applied in other Specifications. In the cases of Rec. ITU-R BT.709-6 and Rec. ITU-R
   BT.2020-2 (which may be indicated by transfer_characteristics equal to 1, 6, 14, or 15), although the value is defined in terms of a
   reference opto-electronic transfer characteristic function, a suggested corresponding reference electro-optical transfer characteristic
   function for flat panel displays used in HDTV studio production has been specified in Rec. ITU-R BT.1886-0.

          Table E.4 – Transfer characteristics interpretation using the transfer_characteristics syntax element

  Value                                      Transfer characteristic                                    Informative remark
      0        Reserved                                                                        For future use by ITU-T | ISO/IEC
      1        V = α * Lc0.45 − ( α − 1 )                     for 1 >= Lc >= β                 Rec. ITU-R BT.709-6
               V = 4.500 * Lc                                 for β > Lc >= 0                  Rec. ITU-R BT.1361-0 conventional
                                                                                               colour gamut system (historical)
                                                                                               (functionally the same as the values
                                                                                               6, 14, and 15)
      2        Unspecified                                                                     Image characteristics are unknown or
                                                                                               are determined by the application.
      3        Reserved                                                                        For future use by ITU-T | ISO/IEC
      4        Assumed display gamma 2.2                                                       Rec. ITU-R BT.470-6 System M
                                                                                               (historical)
                                                                                               NTSC Recommendation for
                                                                                               transmission standards for colour
                                                                                               television (1953)
                                                                                               FCC, Title 47 Code of Federal
                                                                                               Regulations (2003) 73.682 (a) (20)



424             Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 446 of 717 Page ID #:975



       Table E.4 – Transfer characteristics interpretation using the transfer_characteristics syntax element

 Value                                 Transfer characteristic                                       Informative remark
   5      Assumed display gamma 2.8                                                          Rec. ITU-R BT.470-6 System B, G
                                                                                             (historical)
                                                                                             Rec. ITU-R BT.1700-0 625 PAL and
                                                                                             625 SECAM
   6      V = α * Lc0.45 − ( α − 1 )                     for 1 >= Lc >= β                    Rec. ITU-R BT.601-7 525 or 625
          V = 4.500 * Lc                                 for β > Lc >= 0                     Rec. ITU-R BT.1358-1 525 or 625
                                                                                             (historical)
                                                                                             Rec. ITU-R BT.1700-0 NTSC
                                                                                             SMPTE ST 170 (2004)
                                                                                             (functionally the same as the values
                                                                                             1, 14, and 15)
   7      V = α * Lc0.45 − ( α − 1 )                     for 1 >= Lc >= β                    SMPTE ST 240 (1999, historical)
          V = 4.0 * Lc                                   for β > Lc >= 0
   8      V = Lc                                         for all values of Lc                Linear transfer characteristics
   9      V = 1.0 + Log10( Lc ) ÷ 2                      for 1 >= Lc >= 0.01                 Logarithmic transfer characteristic
          V = 0.0                                        for 0.01 > Lc >= 0                  (100:1 range)
  10      V = 1.0 + Log10( Lc ) ÷ 2.5                    for 1 >= Lc >= Sqrt( 10 )  1 000   Logarithmic transfer characteristic
          V = 0.0                                        for Sqrt( 10 )  1 000 > Lc >= 0    (100 * Sqrt( 10 ) : 1 range)
  11      V = α * Lc0.45 − ( α − 1 )                     for Lc >= β                         IEC 61966-2-4
          V = 4.500 * Lc                                 for β > Lc > −β
          V = −α * ( −Lc )0.45 + ( α − 1 )               for −β >= Lc
  12      V = α * Lc0.45 − ( α − 1 )                     for 1.33 > Lc >= β                  Rec. ITU-R BT.1361-0 extended
          V = 4.500 * Lc                                 for β > Lc >= −γ                    colour gamut system (historical)
          V = −( α * ( −4 * Lc )0.45 − ( α − 1 ) ) ÷ 4   for −γ > Lc >= −0.25
  13      –     If matrix_coeffs is equal to 0                                               IEC 61966-2-1 sRGB (with
                                                                                             matrix_coeffs equal to 0)
                  V = α * Lc( 1 ÷ 2.4 ) − ( α − 1 )        for 1 >= Lc >= β
                                                                                             IEC 61966-2-1 sYCC (with
                  V = 12.92 * Lc                            for β > Lc >= 0                  matrix_coeffs equal to 5)
          –     Otherwise
                  V = α * Lc( 1 ÷ 2.4 ) − ( α − 1 )        for Lc >= β
                  V = 12.92 * Lc                            for β > Lc > −β
                  V = − α * ( −Lc )( 1 ÷ 2.4 ) + ( α − 1 ) for −β >= Lc
  14      V =α * Lc0.45 − ( α − 1 )                      for 1 >= Lc >= β                    Rec. ITU-R BT.2020-2
                                                                                             (functionally the same as the values
          V = 4.500 * Lc                                 for β > Lc >= 0                     1, 6, and 15)
  15      V =α * Lc0.45 − ( α − 1 )                      for 1 >= Lc >= β                    Rec. ITU-R BT.2020-2
                                                                                             (functionally the same as the values
          V = 4.500 * Lc                                 for β > Lc >= 0                     1, 6, and 14)
  16      V = ( ( c1 + c2 * Lon ) ÷ ( 1 + c3 * Lon ) )m  for all values of Lo                SMPTE ST 2084 (2014) for 10, 12,
          c1 = c3 − c2 + 1 = 3 424 ÷ 4 096 = 0.835 937 5                                     14, and 16-bit systems
          c2 = 32 * 2 413 ÷ 4 096 = 18.851 562 5                                             Rec. ITU-R BT.2100-2 perceptual
          c3 = 32 * 2 392 ÷ 4 096 = 18.687 5                                                 quantization (PQ) system
          m = 128 * 2 523 ÷ 4 096 = 78.843 75
          n = 0.25 * 2 610 ÷ 4 096 = 0.159 301 757 812 5
          for which Lo equal to 1 for peak white is ordinarily intended to correspond to a
          reference output luminance level of 10 000 candelas per square metre
  17      V = ( 48 * Lo ÷ 52.37 )( 1 ÷ 2.6 )             for all values of Lo                SMPTE ST 428-1 (2006)
          for which Lo equal to 1 for peak white is ordinarily intended to correspond to a
          reference output luminance level of 48 candelas per square metre
  18      V = a * Ln( 12 * Lc − b ) + c                  for 1 >= Lc > 1 ÷ 12                Association of Radio Industries and
          V = Sqrt( 3 ) * Lc0.5                          for 1 ÷ 12 >= Lc >= 0               Businesses (ARIB) STD-B67
                                                                                             Rec. ITU-R BT.2100-2 hybrid log-
          a = 0.178 832 77, b = 0.284 668 92, c = 0.559 910 73                               gamma (HLG) system
19..255   Reserved                                                                           For future use by ITU-T | ISO/IEC




                                                                                    Rec. ITU-T H.265 v8 (08/2021)                  425
Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25            Page 447 of 717 Page ID #:976


    NOTE 6 – For transfer_characteristics equal to 18, the equations given in Table E.4 are normalized for a source input linear optical
    intensity Lc with a nominal real-valued range of 0 to 1. An alternative scaling that is mathematically equivalent is used in ARIB
    STD-B67 with the source input linear optical intensity having a nominal real-valued range of 0 to 12.

matrix_coeffs describes the matrix coefficients used in deriving luma and chroma signals from the green, blue, and red,
or Y, Z, and X primaries, as specified in Table E.5.
matrix_coeffs shall not be equal to 0 unless both of the following conditions are true:
–     BitDepthC is equal to BitDepthY.
–     chroma_format_idc is equal to 3 (the 4:4:4 chroma format).
The specification of the use of matrix_coeffs equal to 0 under all other conditions is reserved for future use by
ITU-T | ISO/IEC.
matrix_coeffs shall not be equal to 8 unless one of the following conditions is true:
–     BitDepthC is equal to BitDepthY,
–     BitDepthC is equal to BitDepthY + 1 and chroma_format_idc is equal to 3 (the 4:4:4 chroma format).
The specification of the use of matrix_coeffs equal to 8 under all other conditions is reserved for future use by
ITU-T | ISO/IEC.
When the matrix_coeffs syntax element is not present, the value of matrix_coeffs is inferred to be equal to 2 (unspecified).
The interpretation of matrix_coeffs, together with colour_primaries and transfer_characteristics, is specified by the
equations below.
    NOTE 7 – For purposes of YZX representation when matrix_coeffs is equal to 0, the symbols R, G, and B are substituted for X, Y,
    and Z, respectively, in the following descriptions of Equations E-1 to E-3, E-13 to E-15, E-19 to E-21, and E-31 to E-33.

ER, EG, and EB are defined as "linear-domain" real-valued signals based on the indicated colour primaries before application
of the transfer characteristics function.
Nominal peak white is specified as having ER equal to 1, EG equal to 1, and EB equal to 1.
Nominal black is specified as having ER equal to 0, EG equal to 0, and EB equal to 0.
The application of the transfer characteristics function is denoted by ( x )′ for an argument x.
–     If matrix_coeffs is not equal to 14, the signals E′R, E′G, and E′B are determined by application of the transfer
      characteristics function as follows:

           E′R = ( ER )′                                                                                                         (E-1)

           E′G = ( EG )′                                                                                                         (E-2)

           E′B = ( EB )′                                                                                                         (E-3)

      In this case, the range of E′R, E′G, and E′B is specified as follows:
      –    If transfer_characteristics is equal to 11 or 12, or transfer_characteristics is equal to 13 and matrix_coeffs is not
           equal to 0, E′R, E′G, and E′B are real numbers with values that have a larger range than the range of 0 to 1,
           inclusive, and their range is not specified in this Specification.
      –    Otherwise, E′R, E′G and E′B are real numbers in the range of 0 to 1.
–     Otherwise (matrix_coeffs is equal to 14), the "linear-domain" real-valued signals EL, EM, and ES are determined as
      follows:

           EL = ( 1 688 * ER + 2 146 * EG + 262 * EB ) ÷ 4 096                                                                   (E-4)

           EM = ( 683 * ER + 2 951 * EG + 462 * EB ) ÷ 4 096
           (E-5)

           ES = ( 99 * ER + 309 * EG + 3 688 * EB ) ÷ 4 096
           (E-6)

      In this case, the signals E′L, E′M, and E′S are determined by application of the transfer characteristics function as
      follows:



426         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 448 of 717 Page ID #:977


          E′L = ( EL )′                                                                                                  (E-7)

          E′M = ( EM )′                                                                                                  (E-8)

          E′S = ( ES )′                                                                                                  (E-9)

The interpretation of matrix_coeffs is specified as follows:
–    If video_full_range_flag is equal to 0, the following applies:
     –    If matrix_coeffs is equal to 1, 4, 5, 6, 7, 9, 10, 11, 12, 13, or 14, the following equations apply:

              Y = Clip1Y( Round( ( 1 << ( BitDepthY − 8 ) ) * ( 219 * E′Y + 16 ) ) )                                    (E-10)

              Cb = Clip1C( Round( ( 1 << ( BitDepthC − 8 ) ) * ( 224 * E′PB + 128 ) ) )                                 (E-11)

              Cr = Clip1C( Round( ( 1 << ( BitDepthC − 8 ) ) * ( 224 * E′PR + 128 ) ) )                                 (E-12)

     –    Otherwise, if matrix_coeffs is equal to 0 or 8, the following equations apply:

              R = Clip1Y( ( 1 << ( BitDepthY − 8 ) ) * ( 219 * E′R + 16 ) )                                             (E-13)

              G = Clip1Y( ( 1 << ( BitDepthY − 8 ) ) * ( 219 * E′G + 16 ) )                                             (E-14)

              B = Clip1Y( ( 1 << ( BitDepthY − 8 ) ) * ( 219 * E′B + 16 ) )                                             (E-15)

     –    Otherwise, if matrix_coeffs is equal to 2, the interpretation of the matrix_coeffs syntax element is unknown or
          is determined by the application.
     –    Otherwise (matrix_coeffs is not equal to 0, 1, 2, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 14), the interpretation of the
          matrix_coeffs syntax element is reserved for future definition by ITU-T | ISO/IEC.
–    Otherwise (video_full_range_flag is equal to 1), the following applies:
     –    If matrix_coeffs is equal to 1, 4, 5, 6, 7, 9, 10, 11, 12, 13, or 14, the following applies:

              Y = Clip1Y( Round( ( ( 1 << BitDepthY ) − 1 ) * E′Y ) )                                                   (E-16)

              Cb = Clip1C( Round( ( ( 1 << BitDepthC ) − 1 ) * E′PB + ( 1 << ( BitDepthC − 1 ) ) ) )                    (E-17)

              Cr = Clip1C( Round( ( ( 1 << BitDepthC ) − 1 ) * E′PR + ( 1 << ( BitDepthC − 1 ) ) ) )                    (E-18)

     –    Otherwise, if matrix_coeffs is equal to 0 or 8, the following applies:

              R = Clip1Y( ( ( 1 << BitDepthY ) − 1 ) * E′R )
                   (E-19)

              G = Clip1Y( ( ( 1 << BitDepthY ) − 1 ) * E′G )                                                            (E-20)

              B = Clip1Y( ( ( 1 << BitDepthY ) − 1 ) * E′B )
                   (E-21)

     –    Otherwise, if matrix_coeffs is equal to 2, the interpretation of the matrix_coeffs syntax element is unknown or
          is determined by the application.
     –    Otherwise (matrix_coeffs is not equal to 0, 1, 2, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, or 14), the interpretation of the
          matrix_coeffs syntax element is reserved for future definition by ITU-T | ISO/IEC. Reserved values for
          matrix_coeffs shall not be present in bitstreams conforming to this version of this Specification. Decoders shall
          interpret reserved values of matrix_coeffs as equivalent to the value 2.
It is a requirement of bitstream conformance to this version of this Specification that when colour_primaries is not equal
to 1, 4, 5, 6, 7, 8, 9, 10, 11, 12, or 22, matrix_coeffs shall not be equal to 12 or 13.
When matrix_coeffs is equal to 1, 4, 5, 6, 7, 9, 10, 11, 12, or 13, the constants KB and KR are specified as follows:
–    If matrix_coeffs is not equal to 12 or 13, the constants KB and KR are specified in Table E.5.



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            427
Case 2:25-cv-03053                         Document 1-7                     Filed 04/07/25                   Page 449 of 717 Page ID #:978


–     Otherwise (matrix_coeffs is equal to 12 or 13), the constants KR and KB are computed as follows, using the
      chromaticity coordinates (xR, yR), (xG, yG), (xB, yB), and (xW, yW) specified by Table E.3 for the colour_primaries
      syntax element for the red, green, blue, and white colour primaries, respectively.

          KR = y R * ( x W * ( yG * z B − yB * z G ) + y W * ( x B * zG − x G * z B ) + z W * ( x G * y B − x B * yG ) )             (E-22)
                   y W * ( x R * ( yG * z B − y B * z G ) + x G * ( y B * z R − y R * z B ) + x B * ( y R * z G − yG * z R ) )


          KB = y B * ( x W * ( y R * zG − yG * z R ) + y W * ( x G * z R − x R * z G ) + z W * ( x R * yG − x G * yR ) )             (E-23)
                    y W * ( x R * ( yG * z B − y B * z G ) + x G * ( y B * z R − y R * z B ) + x B * ( y R * z G − yG * z R ) )


      where the values of zR, zG, zB, and zW, are given by.
          zR = 1 − ( xR + yR )                                                                                                       (E-24)
          zG = 1 − ( xG + yG )                                                                                                       (E-25)
          zB = 1 − ( xB + yB )                                                                                                       (E-26)
          zW = 1 − ( xW + yW )                                                                                                       (E-27)
The variables E′Y, E′PB, and E′PR (for matrix_coeffs not equal to 0 or 8) or Y, Cb, and Cr (for matrix_coeffs equal to 0 or 8)
are specified as follows:
–     If matrix_coeffs is not equal to 0, 8, 10, 11, 13, or 14, the following equations apply:

          E′Y = KR * E′R + ( 1 − KR − KB ) * E′G + KB * E′B
            (E-28)

          E′PB = 0.5 * ( E′B − E′Y ) ÷ ( 1 − KB )                                                                                    (E-29)

          E′PR = 0.5 * ( E′R − E′Y ) ÷ ( 1 − KR )                                                                                    (E-30)

    NOTE 8 – E′Y is a real number with the value 0 associated with nominal black and the value 1 associated with nominal white. E′PB
    and E′PR are real numbers with the value 0 associated with both nominal black and nominal white. When transfer_characteristics is
    not equal to 11 or 12, E′Y is a real number with values in the range of 0 to 1 inclusive. When transfer_characteristics is not equal
    to 11 or 12, E′PB and E′PR are real numbers with values in the range of −0.5 to 0.5 inclusive. When transfer_characteristics is equal
    to 11 or 12, E′Y, E′PB, and E′PR are real numbers with a larger range not specified in this Specification.
–     Otherwise, if matrix_coeffs is equal to 0, the following equations apply:

          Y = Round( G )                                                                                                             (E-31)

          Cb = Round( B )                                                                                                            (E-32)

          Cr = Round( R )                                                                                                            (E-33)

–     Otherwise, if matrix_coeffs is equal to 8, the following applies:
      –      If BitDepthC is equal to BitDepthY, the following equations apply:

                    Y = Round( 0.5 * G + 0.25 * ( R + B ) )                                                                          (E-34)

                    Cb = Round( 0.5 * G − 0.25 * ( R + B ) ) + ( 1 << ( BitDepthC − 1 ) )                                            (E-35)

                    Cr = Round( 0.5 * (R − B ) ) + ( 1 << ( BitDepthC − 1 ) )                                                        (E-36)

    NOTE 9 – In this case, for purposes of the YCgCo nomenclature used in Table E.5, Cb and Cr of Equations E-35 and E-36 may be
    referred to as Cg and Co, respectively. An appropriate inverse conversion for Equations E-34 to E-36 is as follows:

                    t = Y − ( Cb − ( 1 << ( BitDepthC − 1 ) ) )                                                                       (E-37)

                    G = Clip1Y( Y + ( Cb − ( 1 << ( BitDepthC − 1 ) ) ) )                                                             (E-38)

                    B = Clip1Y( t − ( Cr − ( 1 << ( BitDepthC − 1 ) ) ) )                                                             (E-39)

                    R = Clip1Y( t + ( Cr − ( 1 << ( BitDepthC − 1 ) ) ) )                                                             (E-40)




428            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 450 of 717 Page ID #:979


     –     Otherwise (BitDepthC is not equal to BitDepthY), the following equations apply:

                Cr = Round( R ) − Round( B ) + ( 1 << ( BitDepthC − 1 ) )                                                        (E-41)

                t = Round( B ) + ( ( Cr − ( 1 << ( BitDepthC − 1 ) ) ) >> 1 )                                                    (E-42)

                Cb = Round( G ) − t + ( 1 << ( BitDepthC − 1 ) )                                                                 (E-43)

                Y = t + ( ( Cb − ( 1 << ( BitDepthC − 1 ) ) ) >> 1 )                                                             (E-44)

    NOTE 10 – In this case, for purposes of the YCgCo nomenclature used in Table E.5, Cb and Cr of Equations E-43 and E-41 may be
    referred to as Cg and Co, respectively. An appropriate inverse conversion for Equations E-41 to E-44 is as follows:

                t = Y − ( ( Cb − ( 1 << ( BitDepthC − 1 ) ) ) >> 1 )                                                              (E-45)

                G = Clip1Y( t + ( Cb − ( 1 << ( BitDepthC − 1 ) ) ) )                                                             (E-46)

                B = Clip1Y( t − ( ( Cr − ( 1 << ( BitDepthC − 1 ) ) ) >> 1 ) )                                                    (E-47)

                R = Clip1Y( B + ( Cr − ( 1 << ( BitDepthC − 1 ) ) ) )                                                             (E-48)

–    Otherwise, if matrix_coeffs is equal to 10 or 13, the signal E′Y is determined by application of the transfer
     characteristics function as follows and Equations E-51 to E-54 apply for specification of the signals E′PB and E′PR:

         EY = KR * ER + ( 1 − KR − KB ) * EG + KB * EB                                                                           (E-49)

         E′Y = ( EY )′
           (E-50)

    NOTE 11 – In this case, EY is defined from the "linear-domain" signals for ER, EG, and EB, prior to application of the transfer
    characteristics function, which is then applied to produce the signal E′Y. EY and E′Y are real values with the value 0 associated with
    nominal black and the value 1 associated with nominal white.
     while the signals E′PB and E′PR are determined as follows:

         E′PB = ( E′B − E′Y ) ÷ ( 2 * NB )        for −NB <= E′B − E′Y <= 0                                                      (E-51)

         E′PB = ( E′B − E′Y ) ÷ ( 2 * PB )           for 0 < E′B − E′Y <= PB                                                     (E-52)

         E′PR = ( E′R − E′Y ) ÷ ( 2 * NR )        for −NR <= E′R − E′Y <= 0                                                      (E-53)

         E′PR = ( E′R − E′Y ) ÷ ( 2 * PR )           for 0 < E′R − E′Y <= PR                                                     (E-54)

     where the constants NB, PB, NR, and PR are determined by application of the transfer characteristics function to
     expressions involving the constants KB and KR as follows:

         NB = ( 1 − KB )′                                                                                                        (E-55)

         PB = 1 − ( KB )′                                                                                                        (E-56)

         NR = ( 1 − KR )′                                                                                                        (E-57)

         PR = 1 − ( KR )′                                                                                                        (E-58)

–    Otherwise, if matrix_coeffs is equal to 11, the following equations apply:

         E′Y = E′G                                                                                                               (E-59)

         E′PB = 0.5 * ( 0.986 566 * E′B − E′Y )                                                                                  (E-60)




                                                                                       Rec. ITU-T H.265 v8 (08/2021)                429
Case 2:25-cv-03053                Document 1-7              Filed 04/07/25           Page 451 of 717 Page ID #:980


          E′PR = 0.5 * ( E′R − 0.991 902 * E′Y )                                                                             (E-61)

    NOTE 12 – In this case, for purposes of the Y′D′ZD′X nomenclature used in Table E.5, E′PB may be referred to as D′Z and E′PR may
    be referred to as D′X.
–     Otherwise (matrix_coeffs is equal to 14), the following equations apply:
      –     If transfer_characteristics is not equal to 18, the following equations apply:

                 E′Y = 0.5 * ( E′L + E′M )                                                                                   (E-62)

                 E′PB = ( 6 610 * E′L − 13 613 * E′M + 7 003 * E′S ) ÷ 4 096                                                 (E-63)

                 E′PR = ( 17 933 * E′L − 17 390 * E′M − 543 * E′S ) ÷ 4 096                                                  (E-64)

      –     Otherwise, the following equations apply:

                 E′Y = 0.5 * ( E′L + E′M )                                                                                   (E-65)

                 E′PB = ( 3 625 * E′L − 7 465 * E′M + 3 840 * E′S ) ÷ 4 096                                                  (E-66)

                 E′PR = ( 9 500 * E′L − 9 212 * E′M − 288 * E′S ) ÷ 4 096                                                    (E-67)

    NOTE 13 – In this case, for purposes of the ICTCP nomenclature used in Table E.5, E′Y, E′PB, and E′PR of Equations E-62, E-63, and
    E-64 or Equations E-65, E-66, and E-67 may be referred to as I, CT, and CP, respectively. Equations E-62 to E-64 were designed
    specifically for use with transfer_characteristics equal to 16 (PQ), and Equations E-65 to E-67 were designed specifically for use
    with transfer_characteristics equal to 18 (HLG).




430           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7       Filed 04/07/25         Page 452 of 717 Page ID #:981


             Table E.5 – Matrix coefficients interpretation using the matrix_coeffs syntax element

  Value               Matrix                                      Informative remark
   0       Identity                     The identity matrix.
                                        Typically used for GBR (often referred to as RGB); however, may also be
                                        used for YZX (often referred to as XYZ)
                                        IEC 61966-2-1 sRGB
                                        SMPTE ST 428-1 (2006)
                                        See Equations E-31 to E-33
   1       KR = 0.2126; KB = 0.0722     Rec. ITU-R BT.709-6
                                        Rec. ITU-R BT.1361-0 conventional colour gamut system and extended
                                        colour gamut system (historical)
                                        IEC 61966-2-4 xvYCC709
                                        SMPTE RP 177 (1993) Annex B
                                        See Equations E-28 to E-30
   2       Unspecified                  Image characteristics are unknown or are determined by the application.
   3       Reserved                     For future use by ITU-T | ISO/IEC
   4       KR = 0.30; KB = 0.11         FCC Title 47 Code of Federal Regulations (2003) 73.682 (a) (20)
                                        See Equations E-28 to E-30
   5       KR = 0.299; KB = 0.114       Rec. ITU-R BT.470-6 System B, G (historical)
                                        Rec. ITU-R BT.601-7 625
                                        Rec. ITU-R BT.1358-0 625 (historical)
                                        Rec. ITU-R BT.1700-0 625 PAL and 625 SECAM
                                        IEC 61966-2-1 sYCC
                                        IEC 61966-2-4 xvYCC601
                                        (functionally the same as the value 6)
                                        See Equations E-28 to E-30
   6       KR = 0.299; KB = 0.114       Rec. ITU-R BT.601-7 525
                                        Rec. ITU-R BT.1358-1 525 or 625 (historical)
                                        Rec. ITU-R BT.1700-0 NTSC
                                        SMPTE ST 170 (2004)
                                        (functionally the same as the value 5)
                                        See Equations E-28 to E-30
   7       KR = 0.212; KB = 0.087       SMPTE ST 240 (1999, historical)
                                        See Equations E-28 to E-30
   8       YCgCo                        See Equations E-34 to E-48
   9       KR = 0.2627; KB = 0.0593     Rec. ITU-R BT.2020-2 non-constant luminance system
                                        Rec. ITU-R BT.2100-2 Y′CbCr
                                        See Equations E-28 to E-30
   10      KR = 0.2627; KB = 0.0593     Rec. ITU-R BT.2020-2 constant luminance system
                                        See Equations E-49 to E-58
   11      Y′D′ZD′X                     SMPTE ST 2085 (2015)
                                        See Equations E-59 to E-61
   12      See Equations E-22 to E-27   Chromaticity-derived non-constant luminance system
                                        See Equations E-28 to E-30
   13      See Equations E-22 to E-27   Chromaticity-derived constant luminance system
                                        See Equations E-49 to E-58
   14      ICTCP                        Rec. ITU-R BT.2100-2 ICTCP
                                        See Equations E-62 to E-64 for transfer_characteristics value 16 (PQ)
                                        See Equations E-65 to E-67 for transfer_characteristics value 18 (HLG)
 15..255   Reserved                     For future use by ITU-T | ISO/IEC




                                                                        Rec. ITU-T H.265 v8 (08/2021)             431
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 453 of 717 Page ID #:982


chroma_loc_info_present_flag     equal   to   1    specifies  that   chroma_sample_loc_type_top_field and
chroma_sample_loc_type_bottom_field are present. chroma_loc_info_present_flag equal to 0 specifies that
chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field are not present.
When chroma_format_idc is not equal to 1, chroma_loc_info_present_flag should be equal to 0.
chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field specify the location of chroma
samples as follows:
–     If chroma_format_idc is equal to 1 (4:2:0 chroma format), chroma_sample_loc_type_top_field and
      chroma_sample_loc_type_bottom_field specify the location of chroma samples for the top field and the bottom field,
      respectively, as shown in Figure E.1.
–     Otherwise (chroma_format_idc is not equal to 1), the values of the syntax elements
      chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field shall be ignored. When
      chroma_format_idc is equal to 2 (4:2:2 chroma format) or 3 (4:4:4 chroma format), the location of chroma samples
      is specified in clause 6.2. When chroma_format_idc is equal to 0, there is no chroma sample array.
The value of chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field shall be in the range of 0
to 5, inclusive. When the chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field are not present,
the values of chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field are inferred to be equal to 0.
    NOTE 14 – When coding progressive source material, chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_
    field should have the same value.




   Figure E.1 – Location of chroma samples for top and bottom fields for chroma_format_idc equal to 1 (4:2:0
 chroma format) as a function of chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field


Figure E.2 illustrates the indicated relative position of the top-left chroma sample when chroma_format_idc is equal to 1
(4:2:0 chroma format), and chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field are both


432         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 454 of 717 Page ID #:983


equal to the value of a variable ChromaLocType. The region represented by the top-left 4:2:0 chroma sample (depicted as
a large red square with a large red dot at its centre) is shown relative to the region represented by the top-left luma sample
(depicted as a small black square with a small black dot at its centre). The regions represented by neighbouring luma
samples are depicted as small grey squares with small grey dots at their centres.




            Figure E.2 – Location of the top-left chroma sample when chroma_format_idc is equal to 1
                             (4:2:0 chroma format) as a function of ChromaLocType


The relative spatial positioning of the chroma samples, as illustrated in Figure E.3, can be expressed by defining two
variables HorizontalOffsetC and VerticalOffsetC as a function of chroma_format_idc and the variable ChromaLocType as
given by Table E.6, where HorizontalOffsetC is the horizontal (x) position of the centre of the top-left chroma sample
relative to the centre of the top-left luma sample in units of luma samples and VerticalOffsetC is the vertical (y) position
of the centre of the top-left chroma sample relative to the centre of the top-left luma sample in units of luma samples.
In a typical FIR filter design, when chroma_format_idc is equal to 1 (4:2:0 chroma format) or 2 (4:2:2 chroma format),
HorizontalOffsetC and VerticalOffsetC would serve as the phase offsets for the horizontal and vertical filter operations,
respectively, for separable downsampling from 4:4:4 chroma format to the chroma format indicated by
chroma_format_idc.




            Figure E.3 – Location of the top-left chroma sample when chroma_format_idc is equal to 1
                           (4:2:0 chroma format) when ChromaLocType is equal to 1



                           Table E.6 – Definition of HorizontalOffsetC and VerticalOffsetC
                             as a function of chroma_format_idc and ChromaLocType

                   chroma_format_idc           ChromaLocType            HorizontalOffsetC           VerticalOffsetC
                         1 (4:2:0)                     0                         0                        0.5
                         1 (4:2:0)                     1                        0.5                       0.5
                         1 (4:2:0)                     2                         0                         0
                         1 (4:2:0)                     3                        0.5                        0
                         1 (4:2:0)                     4                         0                         1
                         1 (4:2:0)                     5                        0.5                        1
                         2 (4:2:2)                     –                         0                         0
                         3 (4:4:4)                     –                         0                         0




                                                                               Rec. ITU-T H.265 v8 (08/2021)            433
Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 455 of 717 Page ID #:984


When chroma_format_idc is equal to 1 (4:2:0 chroma format) and the decoded video content is intended for interpretation
according to Rec. ITU-R BT.2020-2 or Rec. ITU-R BT.2100-2, chroma_loc_info_present_flag should be equal to 1, and
chroma_sample_loc_type_top_field and chroma_sample_loc_type_bottom_field should both be equal to 2.
neutral_chroma_indication_flag equal to 1 indicates that the value of all decoded chroma samples is equal
to 1 << ( BitDepthC − 1 ). neutral_chroma_indication_flag equal to 0 provides no indication of decoded chroma sample
values. When neutral_chroma_indication_flag is equal to 1, it is a requirement of bitstream conformance that the value of
all decoded chroma samples produced by the decoding process shall be equal to 1 << ( BitDepthC − 1 ). When
neutral_chroma_indication_flag is not present, it is inferred to be equal to 0.
    NOTE 15 – When neutral_chroma_indication_flag is equal to 1, it is not necessary for the decoder to apply the specified decoding
    process in order to determine the value of the decoded chroma samples.

field_seq_flag equal to 1 indicates that the CVS conveys pictures that represent fields, and specifies that a picture timing
SEI message shall be present in every access unit of the current CVS. field_seq_flag equal to 0 indicates that the CVS
conveys pictures that represent frames and that a picture timing SEI message may or may not be present in any access unit
of the current CVS. When field_seq_flag is not present, it is inferred to be equal to 0. When
general_frame_only_constraint_flag is equal to 1, the value of field_seq_flag shall be equal to 0.
    NOTE 16 – The specified decoding process does not treat access units conveying pictures that represent fields or frames differently.
    A sequence of pictures that represent fields would therefore be coded with the picture dimensions of an individual field. For example,
    access units containing pictures that represent 1080i fields would commonly have cropped output dimensions of 1 920x540, while
    the sequence picture rate would commonly express the rate of the source fields (typically between 50 and 60 Hz), instead of the
    source frame rate (typically between 25 and 30 Hz).

frame_field_info_present_flag equal to 1 specifies that picture timing SEI messages are present for every picture and
include the pic_struct, source_scan_type and duplicate_flag syntax elements. frame_field_info_present_flag equal to 0
specifies that the pic_struct syntax element is not present in picture timing SEI messages.
When frame_field_info_present_flag is present and either or both of the following conditions are true,
frame_field_info_present_flag shall be equal to 1:
–     field_seq_flag is equal to 1.
–     general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 1.
When frame_field_info_present_flag is not present, its value is inferred as follows:
–     If general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 1,
      frame_field_info_present_flag is inferred to be equal to 1.
–     Otherwise, frame_field_info_present_flag is inferred to be equal to 0.
default_display_window_flag equal to 1 indicates that the default display window parameters follow next in the VUI.
default_display_window_flag equal to 0 indicates that the default display window parameters are not present. The default
display window parameters identify the area that is within the conformance cropping window and that is suggested to be
displayed in the absence of any alternative indication (provided within the bitstream or by external means not specified in
this Specification) of preferred display characteristics.
def_disp_win_left_offset, def_disp_win_right_offset, def_disp_win_top_offset and def_disp_win_bottom_offset
specify the samples of the pictures in the CVS that are within the default display window, in terms of a rectangular region
specified in picture coordinates for display. When default_display_window_flag is equal to 0, the values of
def_disp_win_left_offset, def_disp_win_right_offset, def_disp_win_top_offset and def_disp_win_bottom_offset are
inferred to be equal to 0.
The following variables are derived from the default display window parameters:

        leftOffset = conf_win_left_offset + def_disp_win_left_offset                                                             (E-68)

        rightOffset = conf_win_right_offset + def_disp_win_right_offset                                                          (E-69)

        topOffset = conf_win_top_offset + def_disp_win_top_offset                                                                (E-70)

        bottomOffset = conf_win_bottom_offset + def_disp_win_bottom_offset                                                       (E-71)

The default display window contains the luma samples with horizontal picture coordinates from SubWidthC * leftOffset
to pic_width_in_luma_samples − ( SubWidthC * rightOffset + 1 ) and vertical picture coordinates from
SubHeightC * topOffset to pic_height_in_luma_samples − ( SubHeightC * bottomOffset + 1 ), inclusive.




434         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7              Filed 04/07/25           Page 456 of 717 Page ID #:985


The value of SubWidthC * ( leftOffset + rightOffset ) shall be less than pic_width_in_luma_samples and the value of
SubHeightC * ( topOffset + bottomOffset ) shall be less than pic_height_in_luma_samples.
When ChromaArrayType is not equal to 0, the corresponding specified samples of the two chroma arrays are the samples
having picture coordinates ( x / SubWidthC, y / SubHeightC ), where ( x, y ) are the picture coordinates of the specified
luma samples.
vui_timing_info_present_flag     equal    to   1    specifies   that    vui_num_units_in_tick,     vui_time_scale,
vui_poc_proportional_to_timing_flag and vui_hrd_parameters_present_flag are present in the vui_parameters( ) syntax
structure. vui_timing_info_present_flag equal to 0 specifies that vui_num_units_in_tick, vui_time_scale,
vui_poc_proportional_to_timing_flag and vui_hrd_parameters_present_flag are not present in the vui_parameters( )
syntax structure.
vui_num_units_in_tick is the number of time units of a clock operating at the frequency vui_time_scale Hz that
corresponds to one increment (called a clock tick) of a clock tick counter. vui_num_units_in_tick shall be greater than 0.
A clock tick, in units of seconds, is equal to the quotient of vui_num_units_in_tick divided by vui_time_scale. For example,
when the picture rate of a video signal is 25 Hz, vui_time_scale may be equal to 27 000 000 and vui_num_units_in_tick
may be equal to 1 080 000 and consequently a clock tick may be equal to 0.04 seconds.
When vps_num_units_in_tick is present in the VPS referred to by the SPS, vui_num_units_in_tick, when present, shall be
equal to vps_num_units_in_tick, and when not present, is inferred to be equal to vps_num_units_in_tick.
vui_time_scale is the number of time units that pass in one second. For example, a time coordinate system that measures
time using a 27 MHz clock has a vui_time_scale of 27 000 000. The value of vui_time_scale shall be greater than 0.
When vps_time_scale is present in the VPS referred to by the SPS, vui_time_scale, when present, shall be equal to
vps_time_scale, and when not present, is inferred to be equal to vps_time_scale.
vui_poc_proportional_to_timing_flag equal to 1 indicates that the picture order count value for each picture in the CVS
that is not the first picture in the CVS, in decoding order, is proportional to the output time of the picture relative to the
output time of the first picture in the CVS. vui_poc_proportional_to_timing_flag equal to 0 indicates that the picture order
count value for each picture in the CVS that is not the first picture in the CVS, in decoding order, may or may not be
proportional to the output time of the picture relative to the output time of the first picture in the CVS.
When vps_poc_proportional_to_timing_flag is present in the VPS referred to by the SPS and the value is equal to 1,
vui_poc_proportional_to_timing_flag, when present, shall be equal to 1.
vui_num_ticks_poc_diff_one_minus1 plus 1 specifies the number of clock ticks corresponding to a difference of picture
order count values equal to 1. The value of vui_num_ticks_poc_diff_one_minus1 shall be in the range of 0 to 232 − 2,
inclusive.
When vps_num_ticks_poc_diff_one_minus1 is present in the VPS referred to by the                                                SPS,
vui_num_ticks_poc_diff_one_minus1, when present, shall be equal to vps_num_ticks_poc_diff_one_minus1.
vui_hrd_parameters_present_flag equal to 1 specifies that the syntax structure hrd_parameters( ) is present in the
vui_parameters( ) syntax structure. vui_hrd_parameters_present_flag equal to 0 specifies that the syntax structure
hrd_parameters( ) is not present in the vui_parameters( ) syntax structure.
bitstream_restriction_flag equal to 1, specifies that the bitstream restriction parameters for the CVS are present.
bitstream_restriction_flag equal to 0, specifies that the bitstream restriction parameters for the CVS are not present.
tiles_fixed_structure_flag equal to 1 indicates that each PPS that is active in the CVS has the same value of the syntax
elements num_tile_columns_minus1, num_tile_rows_minus1, uniform_spacing_flag, column_width_minus1[ i ],
row_height_minus1[ i ] and loop_filter_across_tiles_enabled_flag, when present. tiles_fixed_structure_flag equal to 0
indicates that tiles syntax elements in different PPSs may or may not have the same value. When the
tiles_fixed_structure_flag syntax element is not present, it is inferred to be equal to 0.
   NOTE 17 – The signalling of tiles_fixed_structure_flag equal to 1 is a guarantee to a decoder that each picture in the CVS has the
   same number of tiles distributed in the same way which might be useful for workload allocation in the case of multi-threaded
   decoding.

motion_vectors_over_pic_boundaries_flag equal to 0 indicates that no sample outside the picture boundaries and no
sample at a fractional sample position for which the sample value is derived using one or more samples outside the picture
boundaries is used for inter prediction of any sample. motion_vectors_over_pic_boundaries_flag equal to 1 indicates that
one or more samples outside the picture boundaries may be used in inter prediction. When the
motion_vectors_over_pic_boundaries_flag syntax element is not present, motion_vectors_over_pic_boundaries_flag
value is inferred to be equal to 1.




                                                                                   Rec. ITU-T H.265 v8 (08/2021)               435
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 457 of 717 Page ID #:986


restricted_ref_pic_lists_flag equal to 1 indicates that all P and B slices (when present) that belong to the same picture
have an identical reference picture list 0 and that all B slices (when present) that belong to the same picture have an identical
reference picture list 1.
min_spatial_segmentation_idc, when not equal to 0, establishes a bound on the maximum possible size of distinct coded
spatial segmentation regions in the pictures of the CVS. When min_spatial_segmentation_idc is not present, it is inferred
to be equal to 0. The value of min_spatial_segmentation_idc shall be in the range of 0 to 4095, inclusive.
The variable minSpatialSegmentationTimes4 is derived from min_spatial_segmentation_idc as follows:

          minSpatialSegmentationTimes4 = min_spatial_segmentation_idc + 4                                                   (E-72)

A slice is said to contain a specific luma sample when the coding block that contains the luma sample is contained in the
slice. Correspondingly, a tile is said to contain a specific luma sample when the coding block that contains the luma sample
is contained in the tile.
Depending on the value of min_spatial_segmentation_idc, the following applies:
–     If min_spatial_segmentation_idc is equal to 0, no limit on the maximum size of spatial segments is indicated.
–     Otherwise (min_spatial_segmentation_idc is not equal to 0), it is a requirement of bitstream conformance that exactly
      one of the following conditions shall be true:
      –    In each PPS that is activated within the CVS, tiles_enabled_flag is equal to 0 and
           entropy_coding_sync_enabled_flag is equal to 0 and there is no slice in the CVS that contains more than
           ( 4 * PicSizeInSamplesY ) / minSpatialSegmentationTimes4 luma samples.
      –    In each PPS that is activated within the CVS, tiles_enabled_flag is equal to 1 and
           entropy_coding_sync_enabled_flag is equal to 0 and there is no tile in the CVS that contains more than
           ( 4 * PicSizeInSamplesY ) / minSpatialSegmentationTimes4 luma samples.
      –    In each PPS that is activated within the CVS, tiles_enabled_flag is equal to 0 and
           entropy_coding_sync_enabled_flag is equal to 1 and the syntax elements pic_width_in_luma_samples,
           pic_height_in_luma_samples and the variable CtbSizeY obey the following constraint:

                ( 2 * pic_height_in_luma_samples + pic_width_in_luma_samples ) * CtbSizeY
                          <= ( 4 * PicSizeInSamplesY ) / minSpatialSegmentationTimes4                                       (E-73)

    NOTE 18 – The syntax element min_spatial_segmentation_idc can be used by a decoder to calculate the maximum number of luma
    samples to be processed by one processing thread, making the assumption that the decoder maximally utilizes the parallel decoding
    information. However, it is important to be aware that there may be some inter-dependencies between the different threads – e.g.,
    due to entropy coding synchronization or deblocking filtering across tile or slice boundaries. To aid decoders in planning the
    decoding workload distribution, encoders are encouraged to set the value of min_spatial_segmentation_idc to the highest possible
    value for which one of the above three conditions is true. For example, for the case when tiles_enabled_flag is equal to 0 and
    entropy_coding_sync_enabled_flag is equal to 1, encoders should set min_spatial_segmentation_idc equal to
    4 * PicSizeInSamplesY / ( ( 2 * pic_height_in_luma_samples + pic_width_in_luma_samples ) * CtbSizeY ) − 4.

max_bytes_per_pic_denom indicates a number of bytes not exceeded by the sum of the sizes of the VCL NAL units
associated with any coded picture in the CVS.
The number of bytes that represent a picture in the NAL unit stream is specified for this purpose as the total number of
bytes of VCL NAL unit data (i.e., the total of the NumBytesInNalUnit variables for the VCL NAL units) for the picture.
The value of max_bytes_per_pic_denom shall be in the range of 0 to 16, inclusive.
Depending on the value of max_bytes_per_pic_denom the following applies:
–     If max_bytes_per_pic_denom is equal to 0, no limits are indicated.
–     Otherwise (max_bytes_per_pic_denom is not equal to 0), it is a requirement of bitstream conformance that no coded
      picture shall be represented in the CVS by more than the following number of bytes.

          ( PicSizeInMinCbsY * RawMinCuBits )  ( 8 * max_bytes_per_pic_denom )                                             (E-74)

When the max_bytes_per_pic_denom syntax element is not present, the value of max_bytes_per_pic_denom is inferred to
be equal to 2.
max_bits_per_min_cu_denom indicates an upper bound for the number of coded bits of coding_unit( ) data for any
coding block in any picture of the CVS. The value of max_bits_per_min_cu_denom shall be in the range of 0 to 16,
inclusive.



436          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 458 of 717 Page ID #:987


Depending on the value of max_bits_per_min_cu_denom, the following applies:
–    If max_bits_per_min_cu_denom is equal to 0, no limit is specified by this syntax element.
–    Otherwise (max_bits_per_min_cu_denom is not equal to 0), it is a requirement of bitstream conformance that no
     coded coding_unit( ) shall be represented in the bitstream by more than the following number of bits:

         ( 128 + RawMinCuBits )  max_bits_per_min_cu_denom
                    * ( 1 << ( 2 * ( log2CbSize − MinCbLog2SizeY ) ) )                                                  (E-75)

where log2CbSize is the value of log2CbSize for the given coding block and the number of bits of coding_unit( ) data for
the same coding block is given by the number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4.
When the max_bits_per_min_cu_denom is not present, the value of max_bits_per_min_cu_denom is inferred to be equal
to 1.
log2_max_mv_length_horizontal and log2_max_mv_length_vertical indicate the maximum absolute value of a
decoded horizontal and vertical motion vector component, respectively, in quarter luma sample units, for all pictures in the
CVS. A value of n asserts that no value of a motion vector component is outside the range of −2n to 2n − 1, inclusive, in
units of quarter luma sample displacement, where n refers to the value of log2_max_mv_length_horizontal and
log2_max_mv_length_vertical for the horizontal and vertical component of the MV, respectively. The values of
log2_max_mv_length_horizontal and log2_max_mv_length_vertical shall be in the range of 0 to 15, inclusive. When not
present, the values of log2_max_mv_length_horizontal and log2_max_mv_length_vertical are both inferred to be equal to
15.

E.3.2     HRD parameters semantics
The hrd_parameters( ) syntax structure provides HRD parameters used in the HRD operations for a layer set. When the
hrd_parameters( ) syntax structure is included in a VPS, the applicable layer set to which the hrd_parameters( ) syntax
structure applies is specified by the corresponding hrd_layer_set_idx[ i ] syntax element in the VPS. When the
hrd_parameters( ) syntax structure is included in an SPS, the layer set to which the hrd_parameters( ) syntax structure
applies is the layer set for which the associated layer identifier list contains all nuh_layer_id values present in the CVS.
For interpretation of the following semantics, the bitstream (or a part thereof) refers to the bitstream subset (or a part
thereof) associated with the layer set to which the hrd_parameters( ) syntax structure applies.
nal_hrd_parameters_present_flag equal to 1 specifies that NAL HRD parameters (pertaining to the Type II bitstream
conformance point) are present in the hrd_parameters( ) syntax structure. nal_hrd_parameters_present_flag equal to 0
specifies that NAL HRD parameters are not present in the hrd_parameters( ) syntax structure.
    NOTE 1 – When nal_hrd_parameters_present_flag is equal to 0, the conformance of the bitstream cannot be verified without
    provision of the NAL HRD parameters and all buffering period SEI messages, and, when vcl_hrd_parameters_present_flag is also
    equal to 0, all picture timing and decoding unit information SEI messages, by some means not specified in this Specification.

The variable NalHrdBpPresentFlag is derived as follows:
–    If one or more of the following conditions are true, the value of NalHrdBpPresentFlag is set equal to 1:
     –    nal_hrd_parameters_present_flag is present in the bitstream and is equal to 1.
     –    The need for the presence of buffering period parameters for NAL HRD operation in the bitstream in buffering
          period SEI messages is determined by the application, by some means not specified in this Specification.
–    Otherwise, the value of NalHrdBpPresentFlag is set equal to 0.
vcl_hrd_parameters_present_flag equal to 1 specifies that VCL HRD parameters (pertaining to the Type I bitstream
conformance point) are present in the hrd_parameters( ) syntax structure. vcl_hrd_parameters_present_flag equal to 0
specifies that VCL HRD parameters are not present in the hrd_parameters( ) syntax structure.
    NOTE 2 – When vcl_hrd_parameters_present_flag is equal to 0, the conformance of the bitstream cannot be verified without
    provision of the VCL HRD parameters and all buffering period SEI messages, and, when nal_hrd_parameters_present_flag is also
    equal to 0, all picture timing and decoding unit information SEI messages, by some means not specified in this Specification.

The variable VclHrdBpPresentFlag is derived as follows:
–    If one or more of the following conditions are true, the value of VclHrdBpPresentFlag is set equal to 1:
     –    vcl_hrd_parameters_present_flag is present in the bitstream and is equal to 1.
     –    The need for the presence of buffering period parameters for VCL HRD operation in the bitstream in buffering
          period SEI messages is determined by the application, by some means not specified in this Specification.
–    Otherwise, the value of VclHrdBpPresentFlag is set equal to 0.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)             437
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 459 of 717 Page ID #:988


The variable CpbDpbDelaysPresentFlag is derived as follows:
–     If one or more of the following conditions are true, the value of CpbDpbDelaysPresentFlag is set equal to 1:
      –   nal_hrd_parameters_present_flag is present in the bitstream and is equal to 1.
      –   vcl_hrd_parameters_present_flag is present in the bitstream and is equal to 1.
      –   The need for presence of CPB and DPB output delays to be present in the bitstream in picture timing SEI messages
          is determined by the application, by some means not specified in this Specification.
–     Otherwise, the value of CpbDpbDelaysPresentFlag is set equal to 0.
When NalHrdBpPresentFlag and VclHrdBpPresentFlag are both equal to 0, the value of CpbDpbDelaysPresentFlag shall
be equal to 0.
sub_pic_hrd_params_present_flag equal to 1 specifies that sub-picture level HRD parameters are present and the HRD
may operate at access unit level or sub-picture level. sub_pic_hrd_params_present_flag equal to 0 specifies that sub-picture
level HRD parameters are not present and the HRD operates at access unit level. When sub_pic_hrd_params_present_flag
is not present, its value is inferred to be equal to 0.
tick_divisor_minus2 is used to specify the clock sub-tick. A clock sub-tick is the minimum interval of time that can be
represented in the coded data when sub_pic_hrd_params_present_flag is equal to 1.
du_cpb_removal_delay_increment_length_minus1 plus 1 specifies the length, in bits, of the
du_cpb_removal_delay_increment_minus1[ i ] and du_common_cpb_removal_delay_increment_minus1 syntax elements
of the picture timing SEI message and the du_spt_cpb_removal_delay_increment syntax element in the decoding unit
information SEI message.
sub_pic_cpb_params_in_pic_timing_sei_flag equal to 1 specifies that sub-picture level CPB removal delay parameters
are present in picture timing SEI messages and no decoding unit information SEI message is available (in the CVS or
provided through external means not specified in this Specification). sub_pic_cpb_params_in_pic_timing_sei_flag equal
to 0 specifies that sub-picture level CPB removal delay parameters are present in decoding unit information SEI messages
and picture timing SEI messages do not include sub-picture level CPB removal delay parameters. When the
sub_pic_cpb_params_in_pic_timing_sei_flag syntax element is not present, it is inferred to be equal to 0.
dpb_output_delay_du_length_minus1 plus 1 specifies the length, in bits, of the pic_dpb_output_du_delay syntax
element in the picture timing SEI message and the pic_spt_dpb_output_du_delay syntax element in the decoding unit
information SEI message.
bit_rate_scale (together with bit_rate_value_minus1[ i ]) specifies the maximum input bit rate of the i-th CPB.
cpb_size_scale (together with cpb_size_value_minus1[ i ]) specifies the CPB size of the i-th CPB when the CPB operates
at the access unit level.
cpb_size_du_scale (together with cpb_size_du_value_minus1[ i ]) specifies the CPB size of the i-th CPB when the CPB
operates at sub-picture level.
initial_cpb_removal_delay_length_minus1 plus 1 specifies the length, in bits, of the nal_initial_cpb_removal_delay[ i ],
nal_initial_cpb_removal_offset[ i ], vcl_initial_cpb_removal_delay[ i ] and vcl_initial_cpb_removal_offset[ i ] syntax
elements of the buffering period SEI message. When the initial_cpb_removal_delay_length_minus1 syntax element is not
present, it is inferred to be equal to 23.
au_cpb_removal_delay_length_minus1 plus 1 specifies the length, in bits, of the cpb_delay_offset syntax element in the
buffering period SEI message and the au_cpb_removal_delay_minus1 syntax element in the picture timing SEI message.
When the au_cpb_removal_delay_length_minus1 syntax element is not present, it is inferred to be equal to 23.
dpb_output_delay_length_minus1 plus 1 specifies the length, in bits, of the dpb_delay_offset syntax element in the
buffering period SEI message and the pic_dpb_output_delay syntax element in the picture timing SEI message. When the
dpb_output_delay_length_minus1 syntax element is not present, it is inferred to be equal to 23.
fixed_pic_rate_general_flag[ i ] equal to 1 indicates that, when HighestTid is equal to i, the temporal distance between
the HRD output times of consecutive pictures in output order is constrained as specified below.
fixed_pic_rate_general_flag[ i ] equal to 0 indicates that this constraint may not apply.
When fixed_pic_rate_general_flag[ i ] is not present, it is inferred to be equal to 0.
fixed_pic_rate_within_cvs_flag[ i ] equal to 1 indicates that, when HighestTid is equal to i, the temporal distance between
the HRD output times of consecutive pictures in output order is constrained as specified below.
fixed_pic_rate_within_cvs_flag[ i ] equal to 0 indicates that this constraint may not apply.




438         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 460 of 717 Page ID #:989


When fixed_pic_rate_general_flag[ i ] is equal to 1, the value of fixed_pic_rate_within_cvs_flag[ i ] is inferred to be equal
to 1.
elemental_duration_in_tc_minus1[ i ] plus 1 (when present) specifies, when HighestTid is equal to i, the temporal
distance, in clock ticks, between the elemental units that specify the HRD output times of consecutive pictures in output
order as specified below. The value of elemental_duration_in_tc_minus1[ i ] shall be in the range of 0 to 2 047, inclusive.
For each picture n that is output and not the last picture in the bitstream (in output order) that is output, the value of the
variable DpbOutputElementalInterval[ n ] is specified by:

       DpbOutputElementalInterval[ n ] = DpbOutputInterval[ n ] ÷ DeltaToDivisor                                            (E-76)

where DpbOutputInterval[ n ] is specified in Equation C-16 and DeltaToDivisor is specified in Table E.7 based on the
value of frame_field_info_present_flag and pic_struct for the CVS containing picture n. Entries marked "-" in Table E.7
indicate a lack of dependence of DeltaToDivisor on the corresponding syntax element.
When HighestTid is equal to i and fixed_pic_rate_general_flag[ i ] is equal to 1 for a CVS containing picture n, the value
computed for DpbOutputElementalInterval[ n ] shall be equal to ClockTick * ( elemental_duration_in_tc_
minus1[ i ] + 1 ), wherein ClockTick is as specified in Equation C-1 (using the value of ClockTick for the CVS containing
picture n) when one of the following conditions is true for the following picture in output order nextPicInOutputOrder that
is specified for use in Equation C-16:
–    picture nextPicInOutputOrder is in the same CVS as picture n.
–    picture nextPicInOutputOrder is in a different CVS and fixed_pic_rate_general_flag[ i ] is equal to 1 in the CVS
     containing picture nextPicInOutputOrder, the value of ClockTick is the same for both CVSs and the value of
     elemental_duration_in_tc_minus1[ i ] is the same for both CVSs.
When HighestTid is equal to i and fixed_pic_rate_within_cvs_flag[ i ] is equal to 1 for a CVS containing picture n, the
value computed for DpbOutputElementalInterval[ n ] shall be equal to ClockTick * ( elemental_duration_in_tc_
minus1[ i ] + 1 ), wherein ClockTick is as specified in Equation C-1 (using the value of ClockTick for the CVS containing
picture n) when the following picture in output order nextPicInOutputOrder that is specified for use in Equation C-16 is in
the same CVS as picture n.

                       Table E.7 – Divisor for computation of DpbOutputElementalInterval[ n ]

                            frame_field_info_present_flag           pic_struct       DeltaToDivisor
                                             0                            -                   1
                                             1                            1                   1
                                             1                            2                   1
                                             1                            0                   1
                                             1                            3                   2
                                             1                            4                   2
                                             1                            5                   3
                                             1                            6                   3
                                             1                            7                   2
                                             1                            8                   3
                                             1                            9                   1
                                             1                           10                   1
                                             1                           11                   1
                                             1                           12                   1


low_delay_hrd_flag[ i ] specifies the HRD operational mode, when HighestTid is equal to i, as specified in Annex C or
clause F.13. When not present, the value of low_delay_hrd_flag[ i ] is inferred to be equal to 0.
    NOTE 3 – When low_delay_hrd_flag[ i ] is equal to 1, "big pictures" that violate the nominal CPB removal times due to the number
    of bits used by an access unit are permitted. It is expected, but not required, that such "big pictures" occur only occasionally.

cpb_cnt_minus1[ i ] plus 1 specifies the number of alternative CPB specifications in the bitstream of the CVS when
HighestTid is equal to i. The value of cpb_cnt_minus1[ i ] shall be in the range of 0 to 31, inclusive. When not present, the
value of cpb_cnt_minus1[ i ] is inferred to be equal to 0.




                                                                                    Rec. ITU-T H.265 v8 (08/2021)              439
Case 2:25-cv-03053               Document 1-7             Filed 04/07/25              Page 461 of 717 Page ID #:990


E.3.3     Sub-layer HRD parameters semantics
The variable CpbCnt is set equal to cpb_cnt_minus1[ subLayerId ] + 1.
bit_rate_value_minus1[ i ] (together with bit_rate_scale) specifies the maximum input bit rate for the i-th CPB when the
CPB operates at the access unit level. bit_rate_value_minus1[ i ] shall be in the range of 0 to 232 − 2, inclusive. For any i
> 0, bit_rate_value_minus1[ i ] shall be greater than bit_rate_value_minus1[ i − 1 ].
When SubPicHrdFlag is equal to 0, the bit rate in bits per second is given by:

        BitRate[ i ] = ( bit_rate_value_minus1[ i ] + 1 ) * 2( 6 + bit_rate_scale )                                     (E-77)

When SubPicHrdFlag is equal to 0 and the bit_rate_value_minus1[ i ] syntax element is not present, the value of
BitRate[ i ] is inferred to be equal to BrVclFactor * MaxBR for VCL HRD parameters and to be equal to
BrNalFactor * MaxBR for NAL HRD parameters, where MaxBR, BrVclFactor and BrNalFactor are specified in
clause A.4.
cpb_size_value_minus1[ i ] is used together with cpb_size_scale to specify the i-th CPB size when the CPB operates at
the access unit level. cpb_size_value_minus1[ i ] shall be in the range of 0 to 232 − 2, inclusive. For any i greater than 0,
cpb_size_value_minus1[ i ] shall be less than or equal to cpb_size_value_minus1[ i − 1 ].
When SubPicHrdFlag is equal to 0, the CPB size in bits is given by:

        CpbSize[ i ] = ( cpb_size_value_minus1[ i ] + 1 ) * 2( 4 + cpb_size_scale )                                     (E-78)

When SubPicHrdFlag is equal to 0 and the cpb_size_value_minus1[ i ] syntax element is not present, the value of
CpbSize[ i ] is inferred to be equal to CpbVclFactor * MaxCPB for VCL HRD parameters and to be equal to
CpbNalFactor * MaxCPB for NAL HRD parameters, where MaxCPB, CpbVclFactor and CpbNalFactor are specified in
clause A.4.
cpb_size_du_value_minus1[ i ] is used together with cpb_size_du_scale to specify the i-th CPB size when the CPB
operates at sub-picture level. cpb_size_du_value_minus1[ i ] shall be in the range of 0 to 232 − 2, inclusive. For any i greater
than 0, cpb_size_du_value_minus1[ i ] shall be less than or equal to cpb_size_du_value_minus1[ i − 1 ].
When SubPicHrdFlag is equal to 1, the CPB size in bits is given by:

        CpbSize[ i ] = ( cpb_size_du_value_minus1[ i ] + 1 ) * 2( 4 + cpb_size_du_scale )                               (E-79)

When SubPicHrdFlag is equal to 1 and the cpb_size_du_value_minus1[ i ] syntax element is not present, the value of
CpbSize[ i ] is inferred to be equal to CpbVclFactor * MaxCPB for VCL HRD parameters and to be equal to
CpbNalFactor * MaxCPB for NAL HRD parameters, where MaxCPB, CpbVclFactor and CpbNalFactor are specified in
clause A.4.
bit_rate_du_value_minus1[ i ] (together with bit_rate_scale) specifies the maximum input bit rate for the i-th CPB when
the CPB operates at the sub-picture level. bit_rate_du_value_minus1[ i ] shall be in the range of 0 to 232 − 2, inclusive. For
any i > 0, bit_rate_du_value_minus1[ i ] shall be greater than bit_rate_du_value_minus1[ i − 1 ].
When SubPicHrdFlag is equal to 1, the bit rate in bits per second is given by:

        BitRate[ i ] = ( bit_rate_du_value_minus1[ i ] + 1 ) * 2( 6 + bit_rate_scale )                                  (E-80)

When SubPicHrdFlag is equal to 1 and the bit_rate_du_value_minus1[ i ] syntax element is not present, the value of
BitRate[ i ] is inferred to be equal to BrVclFactor * MaxBR for VCL HRD parameters and to be equal to
BrNalFactor * MaxBR for NAL HRD parameters, where MaxBR, BrVclFactor and BrNalFactor are specified in
clause A.4.
cbr_flag[ i ] equal to 0 specifies that to decode this CVS by the HRD using the i-th CPB specification, the hypothetical
stream scheduler (HSS) operates in an intermittent bit rate mode. cbr_flag[ i ] equal to 1 specifies that the HSS operates in
a constant bit rate (CBR) mode. When not present, the value of cbr_flag[ i ] is inferred to be equal to 0.




440         Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 462 of 717 Page ID #:991


                                                         Annex F

                                Common specifications for multi-layer extensions
                  (This annex forms an integral part of this Recommendation | International Standard.)

F.1       Scope
This annex specifies the common syntax, semantics and decoding processes for multi-layer video coding extensions, with
references made to clauses 2-9 and Annexes A-E, G and H.

F.2       Normative references
The list of normative references in clause 2 applies.

F.3       Definitions
For the purpose of this annex, the following definitions apply in addition to the definitions in clause 3. These definitions
are either not present in clause 3 or replace definitions in clause 3.
F.3.1    access unit: A set of NAL units that are associated with each other according to a specified classification rule, are
         consecutive in decoding order and contain at most one coded picture with any specific value of nuh_layer_id.
F.3.2    additional layer set: A set of layers of a bitstream with a set of layers of one or more non-base layer subtrees.
F.3.3    alternative output layer: A layer that is a reference layer of an output layer and which may include a picture
         that may be output when no picture of the output layer is present in the access unit containing the picture.
F.3.4    associated IRAP picture: The previous IRAP picture in decoding order within the same layer (if present).
F.3.5    auxiliary picture: A picture that has no normative effect on the decoding process of primary pictures and with a
         nuh_layer_id value such that AuxId[ nuh_layer_id ] is greater than 0.
F.3.6    auxiliary picture layer: A layer with a nuh_layer_id value such that AuxId[ nuh_layer_id ] is greater than 0.
F.3.7    base bitstream partition: A bitstream partition that contains the layer with nuh_layer_id equal to
         SmallestLayerId.
F.3.8    bitstream partition: A sequence of bits, in the form of a NAL unit stream or a byte stream, that is a subset of a
         bitstream according to a partitioning scheme.
F.3.9    broken link access (BLA) access unit: An access unit in which the coded picture with nuh_layer_id equal to
         SmallestLayerId is a BLA picture.
F.3.10 clean random access (CRA) access unit: An access unit in which the coded picture with nuh_layer_id equal to
       SmallestLayerId is a CRA picture.
F.3.11 coded layer-wise video sequence (CLVS): A sequence of coded pictures, with the same nuh_layer_id value
       nuhLayerId, that consists, in decoding order, of an IRAP picture with NoRaslOutputFlag equal to 1 or a picture
       with FirstPicInLayerDecodedFlag[ nuhLayerId ] equal to 0, followed by all coded pictures, if any, up to but
       excluding the next IRAP picture with NoRaslOutputFlag equal to 1 or the next picture with
       FirstPicInLayerDecodedFlag[ nuhLayerId ] equal to 0.
F.3.12 coded picture: A coded representation of a picture comprising VCL NAL units with a particular value of
       nuh_layer_id within an access unit and containing all CTUs of the picture.
F.3.13 coded picture buffer (CPB): A first-in first-out buffer containing decoding units in decoding order specified in
       the hypothetical reference decoder in Annex C or in clause F.13.
F.3.14 coded video sequence (CVS): A sequence of access units that consists, in decoding order, of an initial IRAP
       access unit, followed by zero or more access units that are not initial IRAP access units, including all subsequent
       access units up to but not including any subsequent access unit that is an initial IRAP access unit.
F.3.15 collocated sample: A reference picture sample located at a corresponding position to the current sample as
       determined through the resampling process, for use in inter-layer prediction.
F.3.16 cross-layer random access skip (CL-RAS) picture: A picture with nuh_layer_id equal to layerId such that
       LayerInitializedFlag[ layerId ] is equal to 0 when the decoding process for starting the decoding of a coded picture
       with nuh_layer_id greater than 0 is invoked.



                                                                               Rec. ITU-T H.265 v8 (08/2021)            441
Case 2:25-cv-03053               Document 1-7               Filed 04/07/25            Page 463 of 717 Page ID #:992


F.3.17 decoded picture buffer (DPB): A buffer holding decoded pictures for reference, output reordering, or output
       delay specified for the hypothetical reference decoder in Annex C or in clause F.13.
F.3.18 decoding unit: A partition unit if SubPicHrdFlag is equal to 0 or a subset of a partition unit otherwise, consisting
       of one or more VCL NAL units in a partition unit and the associated non-VCL NAL units.
F.3.19 direct predicted layer: A layer for which another layer is a direct reference layer.
F.3.20 direct reference layer: A layer that may be used for inter-layer prediction of another layer.
F.3.21 direct reference layer picture: A picture in a direct reference layer that is used as input to derive an inter-layer
       reference picture for inter-layer prediction of the current picture and is in the same access unit as the current
       picture.
F.3.22 independent layer: A layer that does not have direct reference layers.
F.3.23 indirect predicted layer: A layer for which another layer is an indirect reference layer.
F.3.24 indirect reference layer: A layer that is not a direct reference layer of a second layer but is a direct reference
       layer of a third layer that is a reference layer of the second layer.
F.3.25 initial intra random access point (IRAP) access unit: An IRAP access unit in which the coded picture with
       nuh_layer_id equal to SmallestLayerId has NoRaslOutputFlag equal to 1.
F.3.26 inter-layer prediction: A prediction in a manner that is dependent on data elements (e.g., sample values or motion
       vectors) of reference pictures with a different value of nuh_layer_id than that of the current picture.
F.3.27 inter-layer reference picture: A reference picture that may be used for inter-layer prediction of the current
       picture and is in the same access unit as the current picture.
F.3.28 intra random access point (IRAP) access unit: An access unit in which the coded picture with nuh_layer_id
       equal to SmallestLayerId is an IRAP picture.
F.3.29 intra random access point (IRAP) picture: A coded picture for which each VCL NAL unit has nal_unit_type in
       the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive.
               NOTE – An IRAP picture belonging to an independent layer contains only I slices. An IRAP picture belonging to a
               predicted layer with nuh_layer_id value currLayerId may contain P, B and I slices, cannot use inter prediction from
               other pictures with nuh_layer_id equal to currLayerId and may use inter-layer prediction from its direct reference layers.
               The IRAP picture belonging to a predicted layer with nuh_layer_id value currLayerId and all subsequent non-RASL
               pictures with nuh_layer_id equal to currLayerId in decoding order can be correctly decoded without performing the
               decoding process of any pictures with nuh_layer_id equal to currLayerId that precede the IRAP picture in decoding
               order, when the necessary parameter sets are available when they need to be activated and
               LayerInitializedFlag[ refLayerId ] is equal to 1 for refLayerId equal to all nuh_layer_id values of the direct reference
               layers of the layer with nuh_layer_id equal to currLayerId.

F.3.30 layer subtree: A subset of the layers of a layer tree including all the reference layers of the layers within the
       subset.
F.3.31 layer tree: A set of layers such that each layer in the set of layers is a predicted layer or a reference layer of at
       least one other layer in the set of layers and no layer outside the set of layers is a predicted layer or a reference
       layer of any layer in the set of layers.
F.3.32 leading picture: A picture that is in the same layer as the associated IRAP picture and precedes the associated
       IRAP picture in output order.
F.3.33 necessary layer: A layer in an output operation point associated with an OLS, the layer being an output layer of
       the OLS, or a reference layer of an output layer of the OLS.
F.3.34 non-base layer: A layer in which all VCL NAL units have the same nuh_layer_id value greater than 0.
F.3.35 non-base layer subtree: A layer subtree that does not include the base layer.
F.3.36 output layer: A layer of an output layer set that is output when TargetOlsIdx is equal to the index of the output
       layer set.
F.3.37 output layer set (OLS): A set of layers consisting of the layers of one of the specified layer sets, where one or
       more layers in the set of layers are indicated to be output layers.
F.3.38 output operation point: A bitstream that is created from an input bitstream by operation of the sub-bitstream
       extraction process with the input bitstream, a target highest TemporalId and a target layer identifier list as inputs,
       and that is associated with a set of output layers.




442        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7             Filed 04/07/25           Page 464 of 717 Page ID #:993


F.3.39 output order: The order in which the decoded pictures are output from the decoded picture buffer (for the decoded
       pictures that are to be output from the decoded picture buffer), or the order in which the access units are considered
       to be output from the decoded picture buffer (for the access units the decoding of which results into decoded
       pictures that are to be output from the decoded picture buffer).
F.3.40 partitioning scheme: A partitioning of layers in an OLS into one or more bitstream partitions such that each
       layer in the OLS is included in exactly one bitstream partition of the partitioning scheme and each bitstream
       partition of the partitioning scheme contains one or more layers.
F.3.41 partition unit: A subset of access unit consisting of the picture units of the layers in a bitstream partition.
F.3.42 picture order count (POC): A variable that is associated with each picture and that, at any moment, uniquely
       identifies the associated picture among all pictures with the same value of nuh_layer_id in the CVS, and, when
       the associated picture is to be output from the decoded picture buffer, indicates the position of the associated
       picture in output order relative to the output order positions of the other pictures with the same value of
       nuh_layer_id in the same CVS that are to be output from the decoded picture buffer.
F.3.43 picture order count (POC) resetting period: A sequence of access units in decoding order, starting with an
       access unit with poc_reset_idc equal to 1 or 2 and a particular value of poc_reset_period_id and including all
       access units that either have the same value of poc_reset_period_id or have poc_reset_idc equal to 0.
F.3.44 picture order count (POC) resetting picture: A picture that is the first picture, in decoding order, of a layer of
       a POC resetting period.
F.3.45 predicted layer: A layer that is a direct predicted layer or an indirect predicted layer of another layer.
F.3.46 primary picture: A picture with nuh_layer_id value such that AuxId[ nuh_layer_id ] is equal to 0.
F.3.47 primary picture layer: A layer with a nuh_layer_id value such that AuxId[ nuh_layer_id ] is equal to 0.
F.3.48 quality scalability: A type of scalability, represented by a scalability dimension, that indicates that the coded
       pictures in all layers of a bitstream have the same values of luma width, luma height, chroma width and chroma
       height, but may have different fidelity level or different values of luma or chroma bit depths.
F.3.49 reference layer: A layer that is a direct reference layer or an indirect reference layer of another layer.
F.3.50 reference picture list: A list of reference pictures that is used for inter prediction or inter-layer prediction of a
       P or B slice.
F.3.51 scalability dimension: An indication of the type of non-base layers which may be present in a CVS.
F.3.52 source picture for inter-layer prediction: A decoded picture that either is, or is used in deriving, an inter-layer
       reference picture that is included in an inter-layer reference picture set of the current picture.
F.3.53 spatial scalability: A type of scalability, represented by a scalability dimension, that indicates that the coded
       pictures in different layers of a bitstream have different values of luma or chroma width or height.
F.3.54 sub-bitstream extraction process: A specified process by which NAL units in a bitstream that do not belong to
       a target set, determined by a target highest TemporalId and a target layer identifier list, are removed from the
       bitstream, with the output sub-bitstream consisting of the NAL units in the bitstream that belong to the target set.
               NOTE – Depending on whether the target layer identifier list includes nuh_layer_id equal to 0 and on the value of
               vps_base_layer_internal_flag, the sub-bitstream extraction process may refer to the process specified in clause 10,
               clause F.10.1 or clause F.10.3.

F.3.55 target output layer set: The output layer set for which the index is equal to TargetOlsIdx.
F.3.56 trailing picture: A picture that is in the same layer as the associated IRAP picture and follows the associated
       IRAP picture in output order.
F.3.57 view: A sequence of pictures associated with the same value of ViewOrderIdx.
               NOTE – A view typically represents a sequence of pictures captured by one camera.


F.4       Abbreviations
For the purpose of this annex, the following abbreviations apply in addition to the abbreviations in clause 4:
BPB         Bitstream Partition Buffer
HBPS        Hypothetical Bitstream Partition Scheduler
OLS         Output Layer Set



                                                                                 Rec. ITU-T H.265 v8 (08/2021)              443
Case 2:25-cv-03053               Document 1-7           Filed 04/07/25        Page 465 of 717 Page ID #:994


F.5         Conventions
The specifications in clause 5 and its subclauses apply.

F.6        Bitstream and picture formats, partitionings, scanning processes and neighbouring relationships
The specifications in clause 6 and its subclauses apply.

F.7        Syntax and semantics
F.7.1      Method of specifying syntax in tabular form
The specifications in clause 7.1 apply.

F.7.2      Specification of syntax functions, categories and descriptors
The specifications in clause 7.2 apply, with the following additions:
more_data_in_slice_segment_header_extension( ) is specified as follows:
–       If ( the current position in the slice_segment_header( ) syntax structure ) − ( the position immediately following
        slice_segment_header_extension_length ) is less than ( slice_segment_header_extension_length * 8 ), the return
        value of more_data_in_slice_segment_header_extension( ) is equal to TRUE.
–       Otherwise, the return value of more_data_in_slice_segment_header_extension( ) is equal to FALSE.

F.7.3      Syntax in tabular form

F.7.3.1 NAL unit syntax

F.7.3.1.1 General NAL unit syntax
The specifications in clause 7.3.1.1 apply.

F.7.3.1.2 NAL unit header syntax
The specifications in clause 7.3.1.2 apply.

F.7.3.2 Raw byte sequence payloads and RBSP trailing bits syntax

F.7.3.2.1 Video parameter set RBSP


        video_parameter_set_rbsp( ) {                                                                    Descriptor
           vps_video_parameter_set_id                                                                       u(4)
           vps_base_layer_internal_flag                                                                     u(1)
           vps_base_layer_available_flag                                                                    u(1)
           vps_max_layers_minus1                                                                            u(6)
           vps_max_sub_layers_minus1                                                                        u(3)
           vps_temporal_id_nesting_flag                                                                     u(1)
           vps_reserved_0xffff_16bits                                                                      u(16)
           profile_tier_level( 1, vps_max_sub_layers_minus1 )
           vps_sub_layer_ordering_info_present_flag                                                         u(1)
           for( i = ( vps_sub_layer_ordering_info_present_flag ? 0 : vps_max_sub_layers_minus1 );
                  i <= vps_max_sub_layers_minus1; i++ ) {
              vps_max_dec_pic_buffering_minus1[ i ]                                                         ue(v)
              vps_max_num_reorder_pics[ i ]                                                                 ue(v)
              vps_max_latency_increase_plus1[ i ]                                                           ue(v)
           }
           vps_max_layer_id                                                                                 u(6)
           vps_num_layer_sets_minus1                                                                        ue(v)
           for( i = 1; i <= vps_num_layer_sets_minus1; i++ )



444          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7           Filed 04/07/25        Page 466 of 717 Page ID #:995


             for( j = 0; j <= vps_max_layer_id; j++ )
                 layer_id_included_flag[ i ][ j ]                                                      u(1)
         vps_timing_info_present_flag                                                                  u(1)
         if( vps_timing_info_present_flag ) {
             vps_num_units_in_tick                                                                     u(32)
             vps_time_scale                                                                            u(32)
             vps_poc_proportional_to_timing_flag                                                       u(1)
             if( vps_poc_proportional_to_timing_flag )
                 vps_num_ticks_poc_diff_one_minus1                                                     ue(v)
             vps_num_hrd_parameters                                                                    ue(v)
             for( i = 0; i < vps_num_hrd_parameters; i++ ) {
                 hrd_layer_set_idx[ i ]                                                                ue(v)
                 if( i > 0 )
                     cprms_present_flag[ i ]                                                           u(1)
                 hrd_parameters( cprms_present_flag[ i ], vps_max_sub_layers_minus1 )
             }
         }
         vps_extension_flag                                                                            u(1)
         if( vps_extension_flag ) {
             while( !byte_aligned( ) )
                 vps_extension_alignment_bit_equal_to_one                                              u(1)
             vps_extension( )
             vps_extension2_flag                                                                       u(1)
             if( vps_extension2_flag )
                 while( more_rbsp_data( ) )
                     vps_extension_data_flag                                                           u(1)
         }
         rbsp_trailing_bits( )
     }



F.7.3.2.1.1   Video parameter set extension syntax


     vps_extension( ) {                                                                             Descriptor
       if( vps_max_layers_minus1 > 0 && vps_base_layer_internal_flag )
           profile_tier_level( 0, vps_max_sub_layers_minus1 )
       splitting_flag                                                                                  u(1)
       for( i = 0, NumScalabilityTypes = 0; i < 16; i++ ) {
           scalability_mask_flag[ i ]                                                                  u(1)
           NumScalabilityTypes += scalability_mask_flag[ i ]
       }
       for( j = 0; j < ( NumScalabilityTypes − splitting_flag ); j++ )
           dimension_id_len_minus1[ j ]                                                                u(3)
       vps_nuh_layer_id_present_flag                                                                   u(1)
       for( i = 1; i <= MaxLayersMinus1; i++ ) {
           if( vps_nuh_layer_id_present_flag )
               layer_id_in_nuh[ i ]                                                                    u(6)
           if( !splitting_flag )



                                                                            Rec. ITU-T H.265 v8 (08/2021)        445
Case 2:25-cv-03053           Document 1-7           Filed 04/07/25        Page 467 of 717 Page ID #:996


           for( j = 0; j < NumScalabilityTypes; j++ )
              dimension_id[ i ][ j ]                                                          u(v)
      }
      view_id_len                                                                             u(4)
      if( view_id_len > 0 )
          for( i = 0; i < NumViews; i++ )
              view_id_val[ i ]                                                                u(v)
      for( i = 1; i <= MaxLayersMinus1; i++ )
          for( j = 0; j < i; j++ )
              direct_dependency_flag[ i ][ j ]                                                u(1)
      if( NumIndependentLayers > 1 )
          num_add_layer_sets                                                                 ue(v)
      for( i = 0; i < num_add_layer_sets; i++ )
          for( j = 1; j < NumIndependentLayers; j++ )
              highest_layer_idx_plus1[ i ][ j ]                                               u(v)
      vps_sub_layers_max_minus1_present_flag                                                  u(1)
      if( vps_sub_layers_max_minus1_present_flag )
          for( i = 0; i <= MaxLayersMinus1; i++ )
              sub_layers_vps_max_minus1[ i ]                                                  u(3)
      max_tid_ref_present_flag                                                                u(1)
      if( max_tid_ref_present_flag )
          for( i = 0; i < MaxLayersMinus1; i++ )
              for( j = i + 1; j <= MaxLayersMinus1; j++ )
                  if( direct_dependency_flag[ j ][ i ] )
                      max_tid_il_ref_pics_plus1[ i ][ j ]                                    u(3)
      default_ref_layers_active_flag                                                         u(1)
      vps_num_profile_tier_level_minus1                                                      ue(v)
      for( i = vps_base_layer_internal_flag ? 2 : 1;
                                   i <= vps_num_profile_tier_level_minus1; i++ ) {
          vps_profile_present_flag[ i ]                                                       u(1)
          profile_tier_level( vps_profile_present_flag[ i ], vps_max_sub_layers_minus1 )
      }
      if( NumLayerSets > 1 ) {
          num_add_olss                                                                       ue(v)
          default_output_layer_idc                                                           u(2)
      }
      NumOutputLayerSets = num_add_olss + NumLayerSets
      for( i = 1; i < NumOutputLayerSets; i++ ) {
          if( NumLayerSets > 2 && i >= NumLayerSets )
              layer_set_idx_for_ols_minus1[ i ]                                               u(v)
          if( i > vps_num_layer_sets_minus1 | | defaultOutputLayerIdc = = 2 )
              for( j = 0; j < NumLayersInIdList[ OlsIdxToLsIdx[ i ] ]; j++ )
                  output_layer_flag[ i ][ j ]                                                 u(1)
          for( j = 0; j < NumLayersInIdList[ OlsIdxToLsIdx[ i ] ]; j++ )
              if( NecessaryLayerFlag[ i ][ j ] && vps_num_profile_tier_level_minus1 > 0 )
                  profile_tier_level_idx[ i ][ j ]                                            u(v)
          if( NumOutputLayersInOutputLayerSet[ i ] = = 1
              && NumDirectRefLayers[ OlsHighestOutputLayerId[ i ] ] > 0 )
              alt_output_layer_flag[ i ]                                                      u(1)



446      Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7           Filed 04/07/25         Page 468 of 717 Page ID #:997


       }
       vps_num_rep_formats_minus1                                                                    ue(v)
       for( i = 0; i <= vps_num_rep_formats_minus1; i++ )
           rep_format( )
       if( vps_num_rep_formats_minus1 > 0 )
           rep_format_idx_present_flag                                                               u(1)
       if( rep_format_idx_present_flag )
           for( i = vps_base_layer_internal_flag ? 1 : 0; i <= MaxLayersMinus1; i++ )
               vps_rep_format_idx[ i ]                                                               u(v)
       max_one_active_ref_layer_flag                                                                 u(1)
       vps_poc_lsb_aligned_flag                                                                      u(1)
       for( i = 1; i <= MaxLayersMinus1; i++ )
           if( NumDirectRefLayers[ layer_id_in_nuh[ i ] ] = = 0 )
               poc_lsb_not_present_flag[ i ]                                                         u(1)
       dpb_size( )
       direct_dep_type_len_minus2                                                                    ue(v)
       direct_dependency_all_layers_flag                                                             u(1)
       if( direct_dependency_all_layers_flag )
           direct_dependency_all_layers_type                                                         u(v)
       else {
           for( i = vps_base_layer_internal_flag ? 1 : 2; i <= MaxLayersMinus1; i++ )
               for( j = vps_base_layer_internal_flag ? 0 : 1; j < i; j++ )
                  if( direct_dependency_flag[ i ][ j ] )
                      direct_dependency_type[ i ][ j ]                                               u(v)
       }
       vps_non_vui_extension_length                                                                  ue(v)
       for( i = 1; i <= vps_non_vui_extension_length; i++ )
           vps_non_vui_extension_data_byte                                                           u(8)
       vps_vui_present_flag                                                                          u(1)
       if( vps_vui_present_flag ) {
           while( !byte_aligned( ) )
               vps_vui_alignment_bit_equal_to_one                                                    u(1)
           vps_vui( )
       }
   }




                                                                          Rec. ITU-T H.265 v8 (08/2021)      447
Case 2:25-cv-03053                Document 1-7         Filed 04/07/25          Page 469 of 717 Page ID #:998


F.7.3.2.1.2     Representation format syntax


      rep_format( ) {                                                                           Descriptor
         pic_width_vps_in_luma_samples                                                            u(16)
         pic_height_vps_in_luma_samples                                                           u(16)
         chroma_and_bit_depth_vps_present_flag                                                     u(1)
         if( chroma_and_bit_depth_vps_present_flag ) {
             chroma_format_vps_idc                                                                 u(2)
             if( chroma_format_vps_idc = = 3 )
                 separate_colour_plane_vps_flag                                                    u(1)
             bit_depth_vps_luma_minus8                                                             u(4)
             bit_depth_vps_chroma_minus8                                                           u(4)
         }
         conformance_window_vps_flag                                                               u(1)
         if( conformance_window_vps_flag ) {
             conf_win_vps_left_offset                                                             ue(v)
             conf_win_vps_right_offset                                                            ue(v)
             conf_win_vps_top_offset                                                              ue(v)
             conf_win_vps_bottom_offset                                                           ue(v)
         }
      }



F.7.3.2.1.3     DPB size syntax


      dpb_size( ) {                                                                             Descriptor
        for( i = 1; i < NumOutputLayerSets; i++ ) {
           currLsIdx = OlsIdxToLsIdx[ i ]
           sub_layer_flag_info_present_flag[ i ]                                                   u(1)
           for( j = 0; j <= MaxSubLayersInLayerSetMinus1[ currLsIdx ]; j++ ) {
               if( j > 0 && sub_layer_flag_info_present_flag[ i ] )
                   sub_layer_dpb_info_present_flag[ i ][ j ]                                       u(1)
               if( sub_layer_dpb_info_present_flag[ i ][ j ] ) {
                   for( k = 0; k < NumLayersInIdList[ currLsIdx ]; k++ )
                      if( NecessaryLayerFlag[ i ][ k ] && ( vps_base_layer_internal_flag | |
                          ( LayerSetLayerIdList[ currLsIdx ][ k ] != 0 ) ) )
                          max_vps_dec_pic_buffering_minus1[ i ][ k ][ j ]                         ue(v)
                   max_vps_num_reorder_pics[ i ][ j ]                                             ue(v)
                   max_vps_latency_increase_plus1[ i ][ j ]                                       ue(v)
               }
           }
        }
      }




448           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7          Filed 04/07/25        Page 470 of 717 Page ID #:999


F.7.3.2.1.4   VPS VUI syntax
     vps_vui( ) {                                                                               Descriptor
       cross_layer_pic_type_aligned_flag                                                           u(1)
       if( !cross_layer_pic_type_aligned_flag )
           cross_layer_irap_aligned_flag                                                           u(1)
       if( cross_layer_irap_aligned_flag )
           all_layers_idr_aligned_flag                                                             u(1)
       bit_rate_present_vps_flag                                                                   u(1)
       pic_rate_present_vps_flag                                                                   u(1)
       if( bit_rate_present_vps_flag | | pic_rate_present_vps_flag )
           for( i = vps_base_layer_internal_flag ? 0 : 1; i < NumLayerSets; i++ )
              for( j = 0; j <= MaxSubLayersInLayerSetMinus1[ i ]; j++ ) {
                  if( bit_rate_present_vps_flag )
                      bit_rate_present_flag[ i ][ j ]                                              u(1)
                  if( pic_rate_present_vps_flag )
                      pic_rate_present_flag[ i ][ j ]                                              u(1)
                  if( bit_rate_present_flag[ i ][ j ] ) {
                      avg_bit_rate[ i ][ j ]                                                       u(16)
                      max_bit_rate[ i ][ j ]                                                       u(16)
                  }
                  if( pic_rate_present_flag[ i ][ j ] ) {
                      constant_pic_rate_idc[ i ][ j ]                                              u(2)
                      avg_pic_rate[ i ][ j ]                                                       u(16)
                  }
              }
       video_signal_info_idx_present_flag                                                          u(1)
       if( video_signal_info_idx_present_flag )
           vps_num_video_signal_info_minus1                                                        u(4)
       for( i = 0; i <= vps_num_video_signal_info_minus1; i++ )
           video_signal_info( )
       if( video_signal_info_idx_present_flag && vps_num_video_signal_info_minus1 > 0 )
           for( i = vps_base_layer_internal_flag ? 0 : 1; i <= MaxLayersMinus1; i++ )
              vps_video_signal_info_idx[ i ]                                                       u(4)
       tiles_not_in_use_flag                                                                       u(1)
       if( !tiles_not_in_use_flag ) {
           for( i = vps_base_layer_internal_flag ? 0 : 1; i <= MaxLayersMinus1; i++ ) {
              tiles_in_use_flag[ i ]                                                               u(1)
              if( tiles_in_use_flag[ i ] )
                loop_filter_not_across_tiles_flag[ i ]                                             u(1)
           }
           for( i = vps_base_layer_internal_flag ? 1 : 2; i <= MaxLayersMinus1; i++ )
              for( j = 0; j < NumDirectRefLayers[ layer_id_in_nuh[ i ] ]; j++ ) {
                  layerIdx = LayerIdxInVps[ IdDirectRefLayer[ layer_id_in_nuh[ i ] ][ j ] ]
                  if( tiles_in_use_flag[ i ] && tiles_in_use_flag[ layerIdx ] )
                      tile_boundaries_aligned_flag[ i ][ j ]                                       u(1)
              }
       }
       wpp_not_in_use_flag                                                                         u(1)



                                                                        Rec. ITU-T H.265 v8 (08/2021)        449
      Case 2:25-cv-03053             Document 1-7          Filed 04/07/25         Page 471 of 717 Page ID
                                                         #:1000

          if( !wpp_not_in_use_flag )
              for( i = vps_base_layer_internal_flag ? 0 : 1; i <= MaxLayersMinus1; i++ )
                  wpp_in_use_flag[ i ]                                                             u(1)
          single_layer_for_non_irap_flag                                                           u(1)
          higher_layer_irap_skip_flag                                                              u(1)
          ilp_restricted_ref_layers_flag                                                           u(1)
          if( ilp_restricted_ref_layers_flag )
              for( i = 1; i <= MaxLayersMinus1; i++ )
                  for( j = 0; j < NumDirectRefLayers[ layer_id_in_nuh[ i ] ]; j++ )
                     if( vps_base_layer_internal_flag | |
                                   IdDirectRefLayer[ layer_id_in_nuh[ i ] ][ j ] > 0 ) {
                         min_spatial_segment_offset_plus1[ i ][ j ]                               ue(v)
                         if( min_spatial_segment_offset_plus1[ i ][ j ] > 0 ) {
                             ctu_based_offset_enabled_flag[ i ][ j ]                               u(1)
                             if( ctu_based_offset_enabled_flag[ i ][ j ] )
                                 min_horizontal_ctu_offset_plus1[ i ][ j ]                        ue(v)
                         }
                     }
          vps_vui_bsp_hrd_present_flag                                                             u(1)
          if( vps_vui_bsp_hrd_present_flag )
              vps_vui_bsp_hrd_params( )
          for( i = 1; i <= MaxLayersMinus1; i++ )
              if( NumDirectRefLayers[ layer_id_in_nuh[ i ] ] = = 0 )
                  base_layer_parameter_set_compatibility_flag[ i ]                                 u(1)
      }



F.7.3.2.1.5     Video signal info syntax


      video_signal_info( ) {                                                                    Descriptor
         video_vps_format                                                                          u(3)
         video_full_range_vps_flag                                                                 u(1)
         colour_primaries_vps                                                                      u(8)
         transfer_characteristics_vps                                                              u(8)
         matrix_coeffs_vps                                                                         u(8)
      }




450           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 472 of 717 Page ID
                                                          #:1001

F.7.3.2.1.6   VPS VUI bitstream partition HRD parameters syntax


     vps_vui_bsp_hrd_params( ) {                                                                        Descriptor
       vps_num_add_hrd_params                                                                             ue(v)
       for( i = vps_num_hrd_parameters; i < vps_num_hrd_parameters +
                                                                      vps_num_add_hrd_params; i++ ) {
           if( i > 0 )
               cprms_add_present_flag[ i ]                                                                u(1)
           num_sub_layer_hrd_minus1[ i ]                                                                  ue(v)
           hrd_parameters( cprms_add_present_flag[ i ], num_sub_layer_hrd_minus1[ i ] )
       }
       if( vps_num_hrd_parameters + vps_num_add_hrd_params > 0 )
           for( h = 1; h < NumOutputLayerSets; h++ ) {
               num_signalled_partitioning_schemes[ h ]                                                    ue(v)
               for( j = 1; j < num_signalled_partitioning_schemes[ h ] + 1; j++ ) {
                  num_partitions_in_scheme_minus1[ h ][ j ]                                               ue(v)
                  for( k = 0; k <= num_partitions_in_scheme_minus1[ h ][ j ]; k++ )
                      for( r = 0; r < NumLayersInIdList[ OlsIdxToLsIdx[ h ] ]; r++ )
                         layer_included_in_partition_flag[ h ][ j ][ k ][ r ]                              u(1)
               }
               for( i = 0; i < num_signalled_partitioning_schemes[ h ] + 1; i++ )
                  for( t = 0; t <= MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ h ] ]; t++ ) {
                      num_bsp_schedules_minus1[ h ][ i ][ t ]                                             ue(v)
                      for( j = 0; j <= num_bsp_schedules_minus1[ h ][ i ][ t ]; j++ )
                         for( k = 0; k <= num_partitions_in_scheme_minus1[ h ][ i ]; k++ ) {
                             if( vps_num_hrd_parameters + vps_num_add_hrd_params > 1 )
                                 bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ]                                     u(v)
                             bsp_sched_idx[ h ][ i ][ t ][ j ][ k ]                                       ue(v)
                         }
                  }
           }
     }


F.7.3.2.2 Sequence parameter set RBSP syntax

F.7.3.2.2.1   General sequence parameter set RBSP syntax


     seq_parameter_set_rbsp( ) {                                                                        Descriptor
       sps_video_parameter_set_id                                                                          u(4)
       if( nuh_layer_id = = 0 )
           sps_max_sub_layers_minus1                                                                       u(3)
       else
           sps_ext_or_max_sub_layers_minus1                                                                u(3)
       MultiLayerExtSpsFlag =
                         ( nuh_layer_id != 0 && sps_ext_or_max_sub_layers_minus1 = = 7 )
        if( !MultiLayerExtSpsFlag ) {
            sps_temporal_id_nesting_flag                                                                   u(1)
            profile_tier_level( 1, sps_max_sub_layers_minus1 )
        }


                                                                               Rec. ITU-T H.265 v8 (08/2021)         451
      Case 2:25-cv-03053           Document 1-7          Filed 04/07/25         Page 473 of 717 Page ID
                                                       #:1002

        sps_seq_parameter_set_id                                                                     ue(v)
        if( MultiLayerExtSpsFlag ) {
            update_rep_format_flag                                                                   u(1)
            if( update_rep_format_flag )
                sps_rep_format_idx                                                                   u(8)
        } else {
            chroma_format_idc                                                                        ue(v)
            if( chroma_format_idc = = 3 )
                separate_colour_plane_flag                                                           u(1)
            pic_width_in_luma_samples                                                                ue(v)
            pic_height_in_luma_samples                                                               ue(v)
            conformance_window_flag                                                                  u(1)
            if( conformance_window_flag ) {
                conf_win_left_offset                                                                 ue(v)
                conf_win_right_offset                                                                ue(v)
                conf_win_top_offset                                                                  ue(v)
                conf_win_bottom_offset                                                               ue(v)
            }
            bit_depth_luma_minus8                                                                    ue(v)
            bit_depth_chroma_minus8                                                                  ue(v)
        }
        log2_max_pic_order_cnt_lsb_minus4                                                            ue(v)
        if( !MultiLayerExtSpsFlag ) {
            sps_sub_layer_ordering_info_present_flag                                                 u(1)
            for( i = ( sps_sub_layer_ordering_info_present_flag ? 0 : sps_max_sub_layers_minus1 );
                    i <= sps_max_sub_layers_minus1; i++ ) {
                sps_max_dec_pic_buffering_minus1[ i ]                                                ue(v)
                sps_max_num_reorder_pics[ i ]                                                        ue(v)
                sps_max_latency_increase_plus1[ i ]                                                  ue(v)
            }
        }
        log2_min_luma_coding_block_size_minus3                                                       ue(v)
        log2_diff_max_min_luma_coding_block_size                                                     ue(v)
        log2_min_luma_transform_block_size_minus2                                                    ue(v)
        log2_diff_max_min_luma_transform_block_size                                                  ue(v)
        max_transform_hierarchy_depth_inter                                                          ue(v)
        max_transform_hierarchy_depth_intra                                                          ue(v)
        scaling_list_enabled_flag                                                                    u(1)
        if( scaling_list_enabled_flag ) {
           if( MultiLayerExtSpsFlag )
                sps_infer_scaling_list_flag                                                          u(1)
            if( sps_infer_scaling_list_flag )
                sps_scaling_list_ref_layer_id                                                        u(6)
           else {
                sps_scaling_list_data_present_flag                                                   u(1)
                if( sps_scaling_list_data_present_flag )
                    scaling_list_data( )
            }
        }


452        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053            Document 1-7          Filed 04/07/25   Page 474 of 717 Page ID
                                                  #:1003

    amp_enabled_flag                                                                        u(1)
    sample_adaptive_offset_enabled_flag                                                     u(1)
    pcm_enabled_flag                                                                        u(1)
    if( pcm_enabled_flag ) {
        pcm_sample_bit_depth_luma_minus1                                                    u(4)
        pcm_sample_bit_depth_chroma_minus1                                                  u(4)
        log2_min_pcm_luma_coding_block_size_minus3                                          ue(v)
        log2_diff_max_min_pcm_luma_coding_block_size                                        ue(v)
        pcm_loop_filter_disabled_flag                                                       u(1)
    }
    num_short_term_ref_pic_sets                                                             ue(v)
    for( i = 0; i < num_short_term_ref_pic_sets; i++ )
        st_ref_pic_set( i )
    long_term_ref_pics_present_flag                                                         u(1)
    if( long_term_ref_pics_present_flag ) {
        num_long_term_ref_pics_sps                                                          ue(v)
        for( i = 0; i < num_long_term_ref_pics_sps; i++ ) {
           lt_ref_pic_poc_lsb_sps[ i ]                                                      u(v)
           used_by_curr_pic_lt_sps_flag[ i ]                                                u(1)
        }
    }
    sps_temporal_mvp_enabled_flag                                                           u(1)
    strong_intra_smoothing_enabled_flag                                                     u(1)
    vui_parameters_present_flag                                                             u(1)
    if( vui_parameters_present_flag )
        vui_parameters( )
    sps_extension_present_flag                                                              u(1)
    if( sps_extension_present_flag ) {
        sps_range_extension_flag                                                            u(1)
        sps_multilayer_extension_flag                                                       u(1)
        sps_3d_extension_flag                                                               u(1)
        sps_scc_extension_flag                                                              u(1)
        sps_extension_4bits                                                                 u(5)
    }
    if( sps_range_extension_flag )
        sps_range_extension( )
    if( sps_multilayer_extension_flag )
        sps_multilayer_extension( )
    if( sps_3d_extension_flag )
        sps_3d_extension( ) /* specified in Annex I */
    if( sps_scc_extension_flag )
        sps_scc_extension( )
    if( sps_extension_4bits )
        while( more_rbsp_data( ) )
           sps_extension_data_flag                                                          u(1)
    rbsp_trailing_bits( )
}




                                                                 Rec. ITU-T H.265 v8 (08/2021)      453
      Case 2:25-cv-03053            Document 1-7        Filed 04/07/25          Page 475 of 717 Page ID
                                                      #:1004

F.7.3.2.2.2     Sequence parameter set range extension syntax
The specifications in clause 7.3.2.2.2 apply.

F.7.3.2.2.3     Sequence parameter set screen content coding extension syntax
The specifications in clause 7.3.2.2.3 apply.

F.7.3.2.2.4     Sequence parameter set multilayer extension syntax


      sps_multilayer_extension( ) {                                                           Descriptor
        inter_view_mv_vert_constraint_flag                                                       u(1)
      }



F.7.3.2.3 Picture parameter set RBSP syntax

F.7.3.2.3.1     General picture parameter set RBSP syntax
The specifications in clause 7.3.2.3.1 apply.

F.7.3.2.3.2     Picture parameter set range extension syntax
The specifications in clause 7.3.2.3.2 apply.

F.7.3.2.3.3     Picture parameter set screen content coding extension syntax
The specifications in clause 7.3.2.3.3 apply.




454           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053             Document 1-7           Filed 04/07/25            Page 476 of 717 Page ID
                                                        #:1005

F.7.3.2.3.4   Picture parameter set multilayer extension syntax


     pps_multilayer_extension( ) {                                                                      Descriptor
       poc_reset_info_present_flag                                                                         u(1)
       pps_infer_scaling_list_flag                                                                         u(1)
       if( pps_infer_scaling_list_flag )
           pps_scaling_list_ref_layer_id                                                                   u(6)
       num_ref_loc_offsets                                                                                 ue(v)
       for( i = 0; i < num_ref_loc_offsets; i++ ) {
           ref_loc_offset_layer_id[ i ]                                                                    u(6)
           scaled_ref_layer_offset_present_flag[ i ]                                                       u(1)
           if( scaled_ref_layer_offset_present_flag[ i ] ) {
               scaled_ref_layer_left_offset[ ref_loc_offset_layer_id[ i ] ]                                se(v)
               scaled_ref_layer_top_offset[ ref_loc_offset_layer_id[ i ] ]                                 se(v)
               scaled_ref_layer_right_offset[ ref_loc_offset_layer_id[ i ] ]                               se(v)
               scaled_ref_layer_bottom_offset[ ref_loc_offset_layer_id[ i ] ]                              se(v)
           }
           ref_region_offset_present_flag[ i ]                                                             u(1)
           if( ref_region_offset_present_flag[ i ] ) {
               ref_region_left_offset[ ref_loc_offset_layer_id[ i ] ]                                      se(v)
               ref_region_top_offset[ ref_loc_offset_layer_id[ i ] ]                                       se(v)
               ref_region_right_offset[ ref_loc_offset_layer_id[ i ] ]                                     se(v)
               ref_region_bottom_offset[ ref_loc_offset_layer_id[ i ] ]                                    se(v)
           }
           resample_phase_set_present_flag[ i ]                                                            u(1)
           if( resample_phase_set_present_flag[ i ] ) {
               phase_hor_luma[ ref_loc_offset_layer_id[ i ] ]                                              ue(v)
               phase_ver_luma[ ref_loc_offset_layer_id[ i ] ]                                              ue(v)
               phase_hor_chroma_plus8[ ref_loc_offset_layer_id[ i ] ]                                      ue(v)
               phase_ver_chroma_plus8[ ref_loc_offset_layer_id[ i ] ]                                      ue(v)
           }
       }
       colour_mapping_enabled_flag                                                                         u(1)
       if( colour_mapping_enabled_flag )
           colour_mapping_table( )
     }




                                                                                Rec. ITU-T H.265 v8 (08/2021)        455
      Case 2:25-cv-03053           Document 1-7          Filed 04/07/25         Page 477 of 717 Page ID
                                                       #:1006

F.7.3.2.3.5     General colour mapping table syntax


      colour_mapping_table( ) {                                                                     Descriptor
        num_cm_ref_layers_minus1                                                                      ue(v)
        for( i = 0; i <= num_cm_ref_layers_minus1; i++ )
            cm_ref_layer_id[ i ]                                                                      u(6)
        cm_octant_depth                                                                               u(2)
        cm_y_part_num_log2                                                                            u(2)
        luma_bit_depth_cm_input_minus8                                                                ue(v)
        chroma_bit_depth_cm_input_minus8                                                              ue(v)
        luma_bit_depth_cm_output_minus8                                                               ue(v)
        chroma_bit_depth_cm_output_minus8                                                             ue(v)
        cm_res_quant_bits                                                                             u(2)
        cm_delta_flc_bits_minus1                                                                      u(2)
        if( cm_octant_depth = = 1 ) {
            cm_adapt_threshold_u_delta                                                                se(v)
            cm_adapt_threshold_v_delta                                                                se(v)
        }
        colour_mapping_octants( 0, 0, 0, 0, 1 << cm_octant_depth )
      }



F.7.3.2.3.6     Colour mapping octants syntax


      colour_mapping_octants( inpDepth, idxY, idxCb, idxCr, inpLength ) {                           Descriptor
        if( inpDepth < cm_octant_depth )
            split_octant_flag                                                                          u(1)
        if( split_octant_flag )
            for( k = 0; k < 2; k++ )
               for( m = 0; m < 2; m++ )
                   for( n = 0; n < 2; n++ )
                       colour_mapping_octants( inpDepth + 1, idxY + PartNumY * k * inpLength / 2,
                          idxCb + m * inpLength / 2, idxCr + n * inpLength / 2, inpLength / 2 )
        else
            for( i = 0; i < PartNumY; i++ ) {
               idxShiftY = idxY + ( i << ( cm_octant_depth − inpDepth ) )
               for( j = 0; j < 4; j++ ) {
                   coded_res_flag[ idxShiftY ][ idxCb ][ idxCr ][ j ]                                  u(1)
                   if( coded_res_flag[ idxShiftY ][ idxCb ][ idxCr ][ j ] )
                       for( c = 0; c < 3; c++ ) {
                          res_coeff_q[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ]                        ue(v)
                          res_coeff_r[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ]                        u(v)
                          if( res_coeff_q[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] | |
                                res_coeff_r[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] )
                              res_coeff_s[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ]                     u(1)
                       }
               }
            }
      }


456           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7          Filed 04/07/25   Page 478 of 717 Page ID
                                                        #:1007



F.7.3.2.4 Supplemental enhancement information RBSP syntax
The specifications in clause 7.3.2.4 apply.

F.7.3.2.5 Access unit delimiter RBSP syntax
The specifications in clause 7.3.2.5 apply.

F.7.3.2.6 End of sequence RBSP syntax
The specifications in clause 7.3.2.6 apply.

F.7.3.2.7 End of bitstream RBSP syntax
The specifications in clause 7.3.2.7 apply.

F.7.3.2.8 Filler data RBSP syntax
The specifications in clause 7.3.2.8 apply.

F.7.3.2.9 Slice segment layer RBSP syntax
The specifications in clause 7.3.2.9 apply.

F.7.3.2.10    RBSP slice segment trailing bits syntax
The specifications in clause 7.3.2.10 apply.

F.7.3.2.11    RBSP trailing bits syntax
The specifications in clause 7.3.2.11 apply.

F.7.3.2.12    Byte alignment syntax
The specifications in clause 7.3.2.12 apply.

F.7.3.3 Profile, tier and level syntax
The specifications in clause 7.3.3 apply.

F.7.3.4 Scaling list data syntax
The specifications in clause 7.3.4 apply.

F.7.3.5 Supplemental enhancement information message syntax
The specifications in clause 7.3.5 apply.

F.7.3.6 Slice segment header syntax

F.7.3.6.1 General slice segment header syntax


     slice_segment_header( ) {                                                                 Descriptor
        first_slice_segment_in_pic_flag                                                           u(1)
        if( nal_unit_type >= BLA_W_LP && nal_unit_type <= RSV_IRAP_VCL23 )
            no_output_of_prior_pics_flag                                                          u(1)
        slice_pic_parameter_set_id                                                                ue(v)
        if( !first_slice_segment_in_pic_flag ) {
            if( dependent_slice_segments_enabled_flag )
                dependent_slice_segment_flag                                                      u(1)
            slice_segment_address                                                                 u(v)
        }
        if( !dependent_slice_segment_flag ) {
            i=0
            if( num_extra_slice_header_bits > i ) {


                                                                       Rec. ITU-T H.265 v8 (08/2021)        457
      Case 2:25-cv-03053         Document 1-7         Filed 04/07/25        Page 479 of 717 Page ID
                                                    #:1008

            i++
            discardable_flag                                                                   u(1)
          }
          if( num_extra_slice_header_bits > i ) {
              i++
              cross_layer_bla_flag                                                             u(1)
          }
          for( ; i < num_extra_slice_header_bits; i++ )
              slice_reserved_flag[ i ]                                                         u(1)
          slice_type                                                                           ue(v)
          if( output_flag_present_flag )
              pic_output_flag                                                                  u(1)
          if( separate_colour_plane_flag = = 1 )
              colour_plane_id                                                                  u(2)
          if( ( nuh_layer_id > 0 &&
                  !poc_lsb_not_present_flag[ LayerIdxInVps[ nuh_layer_id ] ] ) | |
                  ( nal_unit_type != IDR_W_RADL && nal_unit_type != IDR_N_LP ) )
              slice_pic_order_cnt_lsb                                                          u(v)
          if( nal_unit_type != IDR_W_RADL && nal_unit_type != IDR_N_LP ) {
              short_term_ref_pic_set_sps_flag                                                  u(1)
              if( !short_term_ref_pic_set_sps_flag )
                  st_ref_pic_set( num_short_term_ref_pic_sets )
              else if( num_short_term_ref_pic_sets > 1 )
                  short_term_ref_pic_set_idx                                                   u(v)
              if( long_term_ref_pics_present_flag ) {
                  if( num_long_term_ref_pics_sps > 0 )
                      num_long_term_sps                                                        ue(v)
                  num_long_term_pics                                                           ue(v)
                  for( i = 0; i < num_long_term_sps + num_long_term_pics; i++ ) {
                      if( i < num_long_term_sps ) {
                          if( num_long_term_ref_pics_sps > 1 )
                              lt_idx_sps[ i ]                                                  u(v)
                      } else {
                          poc_lsb_lt[ i ]                                                      u(v)
                          used_by_curr_pic_lt_flag[ i ]                                        u(1)
                      }
                      delta_poc_msb_present_flag[ i ]                                          u(1)
                      if( delta_poc_msb_present_flag[ i ] )
                          delta_poc_msb_cycle_lt[ i ]                                          ue(v)
                  }
              }
              if( sps_temporal_mvp_enabled_flag )
                  slice_temporal_mvp_enabled_flag                                              u(1)
          }
          if( nuh_layer_id > 0 && !default_ref_layers_active_flag &&
                          NumDirectRefLayers[ nuh_layer_id ] > 0 ) {
              inter_layer_pred_enabled_flag                                                    u(1)
              if( inter_layer_pred_enabled_flag && NumDirectRefLayers[ nuh_layer_id ] > 1) {
                  if( !max_one_active_ref_layer_flag )



458       Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053           Document 1-7          Filed 04/07/25        Page 480 of 717 Page ID
                                                 #:1009

              num_inter_layer_ref_pics_minus1                                                  u(v)
          if( NumActiveRefLayerPics != NumDirectRefLayers[ nuh_layer_id ] )
              for( i = 0; i < NumActiveRefLayerPics; i++ )
                 inter_layer_pred_layer_idc[ i ]                                               u(v)
      }
    }
    if( sample_adaptive_offset_enabled_flag ) {
        slice_sao_luma_flag                                                                    u(1)
        if( ChromaArrayType != 0 )
            slice_sao_chroma_flag                                                              u(1)
    }
    if( slice_type = = P | | slice_type = = B ) {
        num_ref_idx_active_override_flag                                                       u(1)
        if( num_ref_idx_active_override_flag ) {
            num_ref_idx_l0_active_minus1                                                       ue(v)
            if( slice_type = = B )
                num_ref_idx_l1_active_minus1                                                   ue(v)
        }
        if( lists_modification_present_flag && NumPicTotalCurr > 1 )
            ref_pic_lists_modification( )
        if( slice_type = = B )
            mvd_l1_zero_flag                                                                   u(1)
        if( cabac_init_present_flag )
            cabac_init_flag                                                                    u(1)
        if( slice_temporal_mvp_enabled_flag ) {
            if( slice_type = = B )
                collocated_from_l0_flag                                                        u(1)
            if( ( collocated_from_l0_flag && num_ref_idx_l0_active_minus1 > 0 ) | |
                ( !collocated_from_l0_flag && num_ref_idx_l1_active_minus1 > 0 ) )
                collocated_ref_idx                                                             ue(v)
        }
        if( ( weighted_pred_flag && slice_type = = P ) | |
            ( weighted_bipred_flag && slice_type = = B ) )
         pred_weight_table( )
      five_minus_max_num_merge_cand                                                            ue(v)
    }
    slice_qp_delta                                                                             se(v)
    if( pps_slice_chroma_qp_offsets_present_flag ) {
        slice_cb_qp_offset                                                                     se(v)
        slice_cr_qp_offset                                                                     se(v)
    }
    if( chroma_qp_offset_list_enabled_flag )
        cu_chroma_qp_offset_enabled_flag                                                       u(1)
    if( deblocking_filter_override_enabled_flag )
        deblocking_filter_override_flag                                                        u(1)
    if( deblocking_filter_override_flag ) {
        slice_deblocking_filter_disabled_flag                                                  u(1)
        if( !slice_deblocking_filter_disabled_flag ) {
            slice_beta_offset_div2                                                             se(v)


                                                                    Rec. ITU-T H.265 v8 (08/2021)      459
      Case 2:25-cv-03053            Document 1-7           Filed 04/07/25   Page 481 of 717 Page ID
                                                         #:1010

                 slice_tc_offset_div2                                                       se(v)
                }
            }
            if( pps_loop_filter_across_slices_enabled_flag &&
                ( slice_sao_luma_flag | | slice_sao_chroma_flag | |
                   !slice_deblocking_filter_disabled_flag ) )
                slice_loop_filter_across_slices_enabled_flag                                 u(1)
          }
          if( tiles_enabled_flag | | entropy_coding_sync_enabled_flag ) {
              num_entry_point_offsets                                                       ue(v)
              if( num_entry_point_offsets > 0 ) {
                  offset_len_minus1                                                         ue(v)
                  for( i = 0; i < num_entry_point_offsets; i++ )
                     entry_point_offset_minus1[ i ]                                          u(v)
              }
          }
          if( slice_segment_header_extension_present_flag ) {
              slice_segment_header_extension_length                                         ue(v)
              if( poc_reset_info_present_flag )
                  poc_reset_idc                                                              u(2)
              if( poc_reset_idc != 0 )
                  poc_reset_period_id                                                        u(6)
              if( poc_reset_idc = = 3 ) {
                  full_poc_reset_flag                                                        u(1)
                  poc_lsb_val                                                                u(v)
              }
              if( !PocMsbValRequiredFlag && vps_poc_lsb_aligned_flag )
                  poc_msb_cycle_val_present_flag                                             u(1)
              if( poc_msb_cycle_val_present_flag )
                  poc_msb_cycle_val                                                         ue(v)
              while( more_data_in_slice_segment_header_extension( ) )
                  slice_segment_header_extension_data_bit                                    u(1)
          }
          byte_alignment( )
      }



F.7.3.6.2 Reference picture list modification syntax
The specifications in clause 7.3.6.2 apply.

F.7.3.6.3 Weighted prediction parameters syntax
The specifications in clause 7.3.6.3 apply.

F.7.3.7 Short-term reference picture set syntax
The specifications in clause 7.3.7 apply.

F.7.3.8 Slice segment data syntax

F.7.3.8.1 General slice segment data syntax
The specifications in clause 7.3.8.1 apply.




460          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7         Filed 04/07/25         Page 482 of 717 Page ID
                                                       #:1011

F.7.3.8.2 Coding tree unit syntax
The specifications in clause 7.3.8.2 apply.

F.7.3.8.3 Sample adaptive offset syntax
The specifications in clause 7.3.8.3 apply.

F.7.3.8.4 Coding quadtree syntax
The specifications in clause 7.3.8.4 apply.

F.7.3.8.5 Coding unit syntax
The specifications in clause 7.3.8.5 apply.

F.7.3.8.6 Prediction unit syntax
The specifications in clause 7.3.8.6 apply.

F.7.3.8.7 PCM sample syntax
The specifications in clause 7.3.8.7 apply.

F.7.3.8.8 Transform tree syntax
The specifications in clause 7.3.8.8 apply.

F.7.3.8.9 Motion vector difference syntax
The specifications in clause 7.3.8.9 apply.

F.7.3.8.10    Transform unit syntax
The specifications in clause 7.3.8.10 apply.

F.7.3.8.11    Residual coding syntax
The specifications in clause 7.3.8.11 apply.

F.7.3.8.12    Cross-component prediction syntax
The specifications in clause 7.3.8.12 apply.

F.7.3.8.13    Palette mode syntax
The specifications in clause 7.3.8.13 apply.

F.7.3.8.14    Delta QP syntax
The specifications in clause 7.3.8.14 apply.

F.7.3.8.15    Chroma QP offset syntax
The specifications in clause 7.3.8.15 apply.

F.7.4    Semantics

F.7.4.1 General

F.7.4.2 NAL unit semantics

F.7.4.2.1 General NAL unit semantics
The specifications in clause 7.4.2.1 apply.

F.7.4.2.2 NAL unit header semantics
The specifications in clause 7.4.2.2 apply with the replacement of references to Annex C with references to clause F.13
and with the following additions:
The variable CraOrBlaPicFlag is derived as follows:




                                                                           Rec. ITU-T H.265 v8 (08/2021)          461
      Case 2:25-cv-03053               Document 1-7             Filed 04/07/25             Page 483 of 717 Page ID
                                                              #:1012

       CraOrBlaPicFlag = ( nal_unit_type = = BLA_W_LP | | nal_unit_type = = BLA_N_LP | |                                         (F-1)
                 nal_unit_type = = BLA_W_RADL | | nal_unit_type = = CRA_NUT )

   NOTE 1 – When a picture picA that is a CRA picture and belongs to a layer with nuh_layer_id equal to layerId is present in a
   bitstream and pictures belonging to the layer with nuh_layer_id equal to layerId and preceding, in decoding order, the picture picA
   are dropped due to layer down-switching followed by layer up-switching, the RASL pictures associated with the picture picA, if
   any, may have some reference pictures that may not be available for reference unless one of the following conditions is true:
   –    The access unit auA containing the picture picA is an IRAP access unit, and the picture with nuh_layer_id equal to
        SmallestLayerId in the access unit auA, if any, has NoClrasOutputFlag equal to 1.
   –    The value of HandleCraAsBlaFlag is equal to 1 for the CRA picture picA.

A NAL unit with nal_unit_type equal to EOS_NUT and with a particular nuh_layer_id value shall not be present in an
access unit, unless a coded picture with that particular nuh_layer_id value is present in the same access unit.
   NOTE 2 – Let indepLayerId be nuh_layer_id value of any independent non-base layer with nuh_layer_id greater than
   SmallestLayerId. Let firstPic be the first picture, in decoding order, among the pictures with nuh_layer_id equal to indepLayerId or
   IdPredictedLayer[ indepLayerId ][ i ] for any value of i in the range of 0 to NumPredictedLayers[ indepLayerId ] − 1, inclusive, that
   follows an IRAP picture with NoClrasOutputFlag equal to 1. firstPic has to be an IRAP picture with nuh_layer_id equal to
   indepLayerId and with LayerResetFlag equal to 1.

When nal_unit_type is equal to AUD_NUT, the value of nuh_layer_id shall be equal to the minimum of the nuh_layer_id
values of all VCL NAL units in the access unit.

F.7.4.2.3 Encapsulation of an SODB within an RBSP (informative)
The specifications in clause 7.4.2.3 apply.

F.7.4.2.4 Order of NAL units and association to coded pictures, access units and coded video sequences

F.7.4.2.4.1     General
The specifications in clause 7.4.2.4.1 apply.

F.7.4.2.4.2     Order of VPS, SPS and PPS RBSPs and their activation
The specifications in clause 7.4.2.4.2 apply with the following additions:
A PPS RBSP includes parameters that can be referred to by the coded slice segment NAL units of one or more coded
pictures. Each PPS RBSP is initially considered not active for any layer at the start of the operation of the decoding process.
At most one PPS RBSP is considered active for each layer at any given moment during the operation of the decoding
process and the activation of any particular PPS RBSP for a particular layer results in the deactivation of the previously-
active PPS RBSP for the particular layer (if any).
One PPS RBSP may be the active PPS RBSP for more than one layer. When not explicitly specified, the layer a PPS RBSP
is active for is inferred to be the current layer in the context where the active PPS RBSP is referred to.
When a PPS RBSP (with a particular value of pps_pic_parameter_set_id) is not active for a particular layer with
nuh_layer_id activatingLayerId and it is referred to by a coded slice segment NAL unit (using a value of
slice_pic_parameter_set_id equal to the pps_pic_parameter_set_id value) of the particular layer, it is activated for the
particular layer. This PPS RBSP is called the active PPS RBSP for the particular layer until it is deactivated by the
activation of another PPS RBSP for the particular layer. A PPS RBSP, with that particular value of
pps_pic_parameter_set_id, shall be available to the decoding process prior to its activation, included in at least one access
unit with TemporalId less than or equal to the TemporalId of the PPS NAL unit or provided through external means, and
the PPS NAL unit containing the PPS RBSP shall have nuh_layer_id equal to 0, activatingLayerId, or
IdRefLayer[ activatingLayerId ][ i ] with any value of i in the range of 0 to NumRefLayers[ activatingLayerId ] − 1,
inclusive.
   NOTE 1 – All PPSs, regardless of their values of nuh_layer_id or TemporalId, share the same value space for
   pps_pic_parameter_set_id. In other words, a PPS with nuh_layer_id equal to X, TemporalId equal to Y and
   pps_pic_parameter_set_id equal to A would update the previously received PPS that has pps_pic_parameter_set_id equal to A and
   that has nuh_layer_id not equal to X or TemporalId not equal to Y.

An SPS RBSP includes parameters that can be referred to by one or more PPS RBSPs or one or more SEI NAL units
containing an active parameter sets SEI message. Each SPS RBSP is initially considered not active for any layer at the
start of the operation of the decoding process. At most one SPS RBSP is considered active for each layer at any given
moment during the operation of the decoding process and the activation of any particular SPS RBSP for a particular layer
results in the deactivation of the previously-active SPS RBSP for that particular layer (if any).
One SPS RBSP may be the active SPS RBSP for more than one layer. When not explicitly specified, the layer an SPS
RBSP is active for is inferred to be the current layer in the context where the active SPS RBSP is referred to.


462           Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 484 of 717 Page ID
                                                             #:1013

When an SPS RBSP (with a particular value of sps_seq_parameter_set_id) is not already active for a particular non-base
layer with nuh_layer_id nuhLayerId and it is referred to by activation of a PPS RBSP (in which pps_seq_parameter_set_id
is equal to the sps_seq_parameter_set_id value), or is referred to by an SEI NAL unit containing an active parameter sets
SEI message (in which active_seq_parameter_set_id[ layer_sps_idx[ LayerIdxInVps[ nuhLayerId ] ] ] ] is equal to the
sps_seq_parameter_set_id value), it is activated for the particular non-base layer. This SPS RBSP is called the active SPS
RBSP for the particular non-base layer until it is deactivated by the activation of another SPS RBSP for the particular non-
base layer. An SPS RBSP, with the particular value of sps_seq_parameter_set_id, shall be available to the decoding process
prior to its activation, included in at least one access unit with TemporalId equal to 0 or provided through external means,
and the SPS NAL unit containing the SPS RBSP shall have nuh_layer_id equal to 0, nuhLayerId, or
IdRefLayer[ nuhLayerId ][ i ] with any value of i in the range of 0 to NumRefLayers[ nuhLayerId ] − 1, inclusive. An
activated SPS RBSP for a particular layer shall remain active for the entire CLVS of that particular layer.
The contents of the hrd_parameters( ) syntax structure shall remain unchanged within a sequence of activated SPS RBSPs,
in their activation order, from any activated SPS RBSP until the end of the bitstream or up to but excluding an SPS RBSP
that is activated within the next access unit in which at least one of the following conditions is true:
–    The access unit includes a picture for each nuh_layer_id value in TargetDecLayerIdList and each picture in the access
     unit is an IDR picture.
–    The access unit includes an IRAP picture with nuh_layer_id equal to SmallestLayerId for which NoClrasOutputFlag
     is equal to 1.
Any SPS NAL unit with any nuh_layer_id value containing the value of sps_seq_parameter_set_id for the active SPS
RBSP for a particular layer shall have the same content as that of the active SPS RBSP for the particular layer unless it
follows the access unit auA containing the last coded picture for which the active SPS RBSP for the particular layer is
required to be active for the particular layer and precedes the first NAL unit succeeding auA in decoding order that activates
an SPS RBSP with the same value of seq_parameter_set_id.
    NOTE 2 – All SPSs, regardless of their values of nuh_layer_id, share the same value space for sps_seq_parameter_set_id. In other
    words, an SPS with nuh_layer_id equal to X and sps_seq_parameter_set_id equal to A would update the previously received SPS
    with nuh_layer_id not equal to X and sps_seq_parameter_set_id equal to A.

When a VPS RBSP (with a particular value of vps_video_parameter_set_id) is not already active and it is referred to by
activation of an SPS RBSP (in which sps_video_parameter_set_id is equal to the vps_video_parameter_set_id value), or
is referred to by an SEI NAL unit containing an active parameter sets SEI message (in which
active_video_parameter_set_id is equal to the vps_video_parameter_set_id value), it is activated. This VPS RBSP is called
the active VPS RBSP until it is deactivated by the activation of another VPS RBSP. A VPS RBSP, with that particular
value of vps_video_parameter_set_id, shall be available to the decoding process prior to its activation, included in at least
one access unit with TemporalId equal to 0 or provided through external means, and the VPS NAL unit containing the
VPS RBSP shall have nuh_layer_id equal to 0 or SmallestLayerId.
An activated VPS RBSP shall remain active until the end of the bitstream or until it is deactivated by another VPS RBSP
in an access unit in which at least one of the following conditions is true:
–    The access unit includes a picture for each nuh_layer_id value in TargetDecLayerIdList and each picture in the access
     unit is an IDR picture.
–    The access unit includes an IRAP picture with nuh_layer_id equal to SmallestLayerId for which NoClrasOutputFlag
     is equal to 1.
For any VPS NAL unit within the CVS with any value of nuh_layer_id and the value of vps_video_parameter_set_id equal
to that of the active VPS RBSP for a CVS, the VPS RBSP in the VPS NAL unit shall have the same content as that of the
active VPS RBSP for the CVS.
All constraints that are expressed on the relationship between the values of the syntax elements and the values of variables
derived from those syntax elements in VPSs, SPSs and PPSs and other syntax elements are expressions of constraints that
apply only to the active VPS RBSP, the active SPS RBSP for any particular layer and the active PPS RBSP for any
particular layer. If any VPS RBSP, SPS RBSP and PPS RBSP is present that is never activated in the bitstream, its syntax
elements shall have values that would conform to the specified constraints if it was activated by reference in an otherwise
conforming bitstream.
During operation of the decoding process for NAL units of a non-base layer, the values of parameters of the active VPS
RBSP, the active SPS RBSP for the non-base layer and the active PPS RBSP for the non-base layer are considered in
effect. For interpretation of SEI messages applicable to a coded picture of a non-base layer, the values of the active VPS
RBSP, the active SPS RBSP for the non-base layer and the active PPS RBSP for the non-base layer for the operation of
the decoding process for the VCL NAL units of the coded picture are considered in effect unless otherwise specified in the
SEI message semantics.




                                                                                   Rec. ITU-T H.265 v8 (08/2021)              463
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25            Page 485 of 717 Page ID
                                                           #:1014

F.7.4.2.4.3     Order of access units association to CVSs
A bitstream conforming to this Specification consists of one or more CVSs.
A CVS consists of one or more access units. The order of NAL units and coded pictures and their association to access
units is described in clause F.7.4.2.4.4.
The first access unit of a CVS is an IRAP access unit with NoRaslOutputFlag equal to 1.
It is a requirement of bitstream conformance that, when present, the next access unit after an access unit that contains an
end of sequence NAL unit with nuh_layer_id equal to SmallestLayerId or an end of bitstream NAL unit shall be an IRAP
access unit.

F.7.4.2.4.4     Order of NAL units and coded pictures and association to access units
This clause specifies the order of NAL units and coded pictures and their association to access unit for CVSs that contain
NAL units with nuh_layer_id greater than 0 that are decoded using the decoding processes specified in Annexes F, G and
H.
An access unit consists of one or more coded pictures, each with a distinct value of nuh_layer_id, and zero or more non-
VCL NAL units. The association of VCL NAL units to coded pictures is described in clause 7.4.2.4.5.
The first access unit in the bitstream starts with the first NAL unit of the bitstream.
A VCL NAL unit is the first VCL NAL unit of an access unit, when all of the following conditions are true:
–     first_slice_segment_in_pic_flag is equal to 1.
–     At least one of the following conditions is true:
      –    The previous picture in decoding order belongs to a different picture order count (POC) resetting period than the
           picture containing the VCL NAL unit.
      –    PicOrderCntVal derived for the VCL NAL unit differs from the PicOrderCntVal of the previous picture in
           decoding order.
           NOTE 1 – For any two consecutive access units auA and auB that belong to the same POC resetting period, the
           PicOrderCntVal of pictures in auA cannot be the same as the PicOrderCntVal of pictures in auB.
           NOTE 2 – Additionally, more conditions, e.g., the following conditions, could but does not need to be used:
                 –   The nuh_layer_id value of the VCL NAL unit is equal to SmallestLayerId.
                 –   vps_poc_lsb_aligned_flag is equal to 1 and the slice_pic_order_cnt_lsb value of the VCL NAL unit differs from
                     the slice_pic_order_cnt_lsb value of the previous VCL NAL unit in decoding order.

The first of any of the following NAL units preceding the first VCL NAL unit firstVclNalUnitInAu and succeeding the
last VCL NAL unit preceding firstVclNalUnitInAu, if any, specifies the start of a new access unit:
–     Access unit delimiter NAL unit (when present).
–     VPS NAL unit (when present)
–     SPS NAL unit (when present)
–     PPS NAL unit (when present)
–     Prefix SEI NAL unit (when present)
–     NAL units with nal_unit_type in the range of RSV_NVCL41..RSV_NVCL44 (when present)
–     NAL units with nal_unit_type in the range of UNSPEC48..UNSPEC55 (when present)
When there is none of the above NAL units preceding firstVclNalUnitInAu and succeeding the last VCL NAL unit
preceding firstVclNalUnitInAu, if any, firstVclNalUnitInAu starts a new access unit.
A coded picture with nuh_layer_id equal to nuhLayerIdA shall precede, in decoding order, all coded pictures with
nuh_layer_id greater than nuhLayerIdA in the same access unit.
The order of the coded pictures and non-VCL NAL units within an access unit shall obey the following constraints:
–     When an access unit delimiter NAL unit is present, it shall be the first NAL unit. There shall be at most one access
      unit delimiter NAL unit in any access unit.
–     When any VPS NAL units, SPS NAL units, PPS NAL units, prefix SEI NAL units, NAL units with nal_unit_type in
      the range of RSV_NVCL41..RSV_NVCL44, or NAL units with nal_unit_type in the range of
      UNSPEC48..UNSPEC55 are present, they shall not follow the last VCL NAL unit of the access unit.




464           Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                Document 1-7            Filed 04/07/25            Page 486 of 717 Page ID
                                                             #:1015

–    NAL units having nal_unit_type equal to FD_NUT or SUFFIX_SEI_NUT, or in the range of
     RSV_NVCL45..RSV_NVCL47 or UNSPEC56..UNSPEC63 shall not precede the first VCL NAL unit of the access
     unit.
–    When an end of sequence NAL unit with nuh_layer_id nuhLayerId is present, it shall be the last NAL unit with
     nuh_layer_id equal to nuhLayerId in the access unit other than an end of bitstream NAL unit (when present).
–    When an end of bitstream NAL unit is present, it shall be the last NAL unit in the access unit.

F.7.4.2.4.5    Order of VCL NAL units and association to coded pictures
The specifications in clause 7.4.2.4.5 apply.

F.7.4.3 Raw byte sequence payloads, trailing bits and byte alignment semantics

F.7.4.3.1 Video parameter set RBSP semantics
The specifications in clause 7.4.3.1 apply with the replacement of references to Annex C with references to clause F.13,
with the replacement of the semantics of the syntax elements vps_extension_flag and vps_extension_data_flag with that
specified below and with the following additions:
Each output operation point is associated with an operation point, a list of nuh_layer_id values of the output layers, in
increasing order of nuh_layer_id values, denoted as OptLayerIdList, and the OpTid of the associated operation point. The
OpLayerIdList of the operation point associated with an output operation point is also referred to as the OpLayerIdList of
the output operation point.
vps_extension_flag equal to 0 specifies that no vps_extension( ) syntax structure is present in the VPS RBSP syntax
structure. vps_extension_flag equal to 1 specifies that the vps_extension( ) syntax structure is present in the VPS RBSP
syntax structure. When MaxLayersMinus1 is greater than 0, vps_extension_flag shall be equal to 1.
vps_extension_alignment_bit_equal_to_one shall be equal to 1.
vps_extension2_flag equal to 0 specifies that no vps_extension_data_flag syntax elements are present in the VPS RBSP
syntax structure. vps_extension2_flag equal to 1 specifies that vps_extension_data_flag syntax elements are present in the
VPS RBSP syntax structure. Decoders conforming to a profile specified in Annexes A, G or H shall ignore all data that
follow the value 1 for vps_extension2_flag in a VPS RBSP.
vps_extension_data_flag may have any value. Its presence and value do not affect the decoding process for the profiles
specified in Annexes A, G or H. Decoders conforming to a profile specified in Annexes A, G or H shall ignore all
vps_extension_data_flag syntax elements.

F.7.4.3.1.1    Video parameter set extension semantics
splitting_flag equal to 1 indicates that the dimension_id[ i ][ j ] syntax elements are not present and that the binary
representation of the nuh_layer_id value in the NAL unit header are split into NumScalabilityTypes segments with lengths,
in bits, according to the values of dimension_id_len_minus1[ j ] and that the values of
dimension_id[ LayerIdxInVps[ nuh_layer_id ] ][ j ] are inferred from the NumScalabilityTypes segments. splitting_flag
equal to 0 indicates that the syntax elements dimension_id[ i ][ j ] are present.

    NOTE 1 – When splitting_flag is equal to 1, scalability identifiers of the present scalability dimensions can be derived from the
    nuh_layer_id syntax element in the NAL unit header by a bit masked copy. The respective bit mask for the i-th present scalability
    dimension is defined by the value of the dimension_id_len_minus1[ i ] syntax element and dimBitOffset[ i ] as specified in the
    semantics of dimension_id_len_minus1[ j ].

scalability_mask_flag[ i ] equal to 1 indicates that dimension_id syntax elements corresponding to the i-th scalability
dimension in Table F.1 are present. scalability_mask_flag[ i ] equal to 0 indicates that dimension_id syntax elements
corresponding to the i-th scalability dimension are not present.

                              Table F.1 – Mapping of ScalabiltyId to scalability dimensions

                           Scalability mask index     Scalability dimension     ScalabilityId mapping
                                      0                  Texture or depth           DepthLayerFlag
                                      1                     Multiview                ViewOrderIdx
                                      2                   Spatial/quality            DependencyId
                                                            scalability
                                      3                     Auxiliary                    AuxId
                                    4-15                    Reserved




                                                                                    Rec. ITU-T H.265 v8 (08/2021)              465
      Case 2:25-cv-03053                  Document 1-7        Filed 04/07/25          Page 487 of 717 Page ID
                                                            #:1016

dimension_id_len_minus1[ j ] plus 1 specifies the length, in bits, of the dimension_id[ i ][ j ] syntax element.
When splitting_flag is equal to 1, the following applies:
–     The variable dimBitOffset[ 0 ] is set equal to 0 and for j in the range of 1 to NumScalabilityTypes − 1, inclusive,
      dimBitOffset[ j ] is derived as follows:
                                 j −1
        dimBitOffset[ j ] =      (dimension_id_len_minus1[ dimIdx ] + 1)
                              dimIdx =0
                                                                                                                            (F-2)


–     The value of dimension_id_len_minus1[ NumScalabilityTypes − 1 ]                   is   inferred    to     be      equal   to
      5 − dimBitOffset[ NumScalabilityTypes − 1 ].
–     The value of dimBitOffset[ NumScalabilityTypes ] is set equal to 6.
It is a requirement of bitstream conformance that                    when     NumScalabilityTypes       is    greater    than   0,
dimBitOffset[ NumScalabilityTypes − 1 ] shall be less than 6.
vps_nuh_layer_id_present_flag equal to 1 specifies that layer_id_in_nuh[ i ] for i from 1 to MaxLayersMinus1,
inclusive, are present. vps_nuh_layer_id_present_flag equal to 0 specifies that layer_id_in_nuh[ i ] for i from 1 to
MaxLayersMinus1, inclusive, are not present.
layer_id_in_nuh[ i ] specifies the value of the nuh_layer_id syntax element in VCL NAL units of the i-th layer. When i
is greater than 0, layer_id_in_nuh[ i ] shall be greater than layer_id_in_nuh[ i − 1 ]. For any value of i in the range of 0 to
MaxLayersMinus1, inclusive, when not present, the value of layer_id_in_nuh[ i ] is inferred to be equal to i.
For i from 0 to MaxLayersMinus1, inclusive, the variable LayerIdxInVps[ layer_id_in_nuh[ i ] ] is set equal to i.
dimension_id[ i ][ j ] specifies the identifier of the j-th present scalability dimension type of the i-th layer. The number of
bits used for the representation of dimension_id[ i ][ j ] is dimension_id_len_minus1[ j ] + 1 bits.
Depending on splitting_flag, the following applies:
–     If splitting_flag is equal to 1, for i from 0 to MaxLayersMinus1, inclusive, and j from 0 to NumScalabilityTypes − 1,
      inclusive,           dimension_id[ i ][ j ]         is       inferred          to          be       equal          to
      ( ( layer_id_in_nuh[ i ] & ( ( 1 << dimBitOffset[ j + 1 ] ) − 1 ) ) >> dimBitOffset[ j ] ).
–     Otherwise (splitting_flag is equal to 0), for j from 0 to NumScalabilityTypes − 1, inclusive, dimension_id[ 0 ][ j ] is
      inferred to be equal to 0.
The variable ScalabilityId[ i ][ smIdx ] specifying the identifier of the smIdx-th scalability dimension type of the i-th layer,
and the variables DepthLayerFlag[ lId ], ViewOrderIdx[ lId ], DependencyId[ lId ], and AuxId[ lId ] specifying the depth
flag, the view order index, the spatial/quality scalability identifier and the auxiliary identifier, respectively, of the layer
with nuh_layer_id equal to lId are derived as follows:
           NumViews = 1
           for( i = 0; i <= MaxLayersMinus1; i++ ) {
                lId = layer_id_in_nuh[ i ]
                for( smIdx= 0, j = 0; smIdx < 16; smIdx++ ) {
                      if( scalability_mask_flag[ smIdx ] )
                          ScalabilityId[ i ][ smIdx ] = dimension_id[ i ][ j++ ]
                      else
                          ScalabilityId[ i ][ smIdx ] = 0
                }
                DepthLayerFlag[ lId ] = ScalabilityId[ i ][ 0 ]
                ViewOrderIdx[ lId ] = ScalabilityId[ i ][ 1 ]
                DependencyId[ lId ] = ScalabilityId[ i ][ 2 ]
                (F-3)
                AuxId[ lId ] = ScalabilityId[ i ][ 3 ]
                if( i > 0 ) {
                      newViewFlag = 1
                      for( j = 0; j < i; j++ )
                          if( ViewOrderIdx[ lId ] = = ViewOrderIdx[ layer_id_in_nuh[ j ] ] )
                              newViewFlag = 0
                      NumViews += newViewFlag
                }
           }

466         Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 488 of 717 Page ID
                                                              #:1017

AuxId[ lId ] equal to 0 specifies the layer with nuh_layer_id equal to lId does not contain auxiliary pictures. AuxId[ lId ]
greater than 0 specifies the type of auxiliary pictures in layer with nuh_layer_id equal to lId as specified in Table F.2.

                              Table F.2 – Mapping of AuxId to the type of auxiliary pictures

       AuxId         Name of AuxId             Type of auxiliary pictures           SEI message describing interpretation of
                                                                                              auxiliary pictures
          1           AUX_ALPHA                        Alpha plane                          Alpha channel information
          2           AUX_DEPTH                       Depth picture                      Depth representation information
        3..127                                           Reserved
      128..159                                         Unspecified
      160..255                                           Reserved


    NOTE 2 – The interpretation of auxiliary pictures associated with AuxId in the range of 128 to 159, inclusive, is specified through
    means other than the AuxId value.

AuxId[ lId ] shall be in the range of 0 to 2, inclusive, or 128 to 159, inclusive, for bitstreams conforming to this version of
this Specification. Although the value of AuxId[ lId ] shall be in the range of 0 to 2, inclusive, or 128 to 159, inclusive, in
this version of this Specification, decoders shall allow values of AuxId[ lId ] in the range of 0 to 255, inclusive.
It is a requirement of bitstream conformance that when AuxId[ lId ] is equal to AUX_ALPHA or AUX_DEPTH, either of
the following applies:
–    chroma_format_idc is equal to 0 in the active SPS for the layer with nuh_layer_id equal to lId.
–    The value of all decoded chroma samples is equal to 1 << ( BitDepthC − 1 ) in all pictures that have nuh_layer_id
     equal to lId and for which this VPS RBSP is the active VPS RBSP.
SEI messages may describe the interpretation of auxiliary pictures, including their possible association with one or more
primary pictures.
    NOTE 3 – Unless constrained by the semantics of the SEI messages specifying the interpretation of auxiliary pictures, it is allowed
    to have two layers with nuh_layer_id values layerIdA and layerIdB such that AuxId[ layerIdA ] is equal to AuxId[ layerIdB ], both
    being greater than 0 and to have all values of ScalabilityId[ LayerIdxInVps[ layerIdA ] ][ i ] equal to
    ScalabilityId[ LayerIdxInVps[ layerIdB ] ][ i ] for each value of i in the range of 0 to 15, inclusive. SEI messages specifying the
    interpretation of auxiliary pictures may specify that a picture with nuh_layer_id equal to layerIdA and a picture with nuh_layer_id
    equal to layerIdB in the same access unit may both be associated with the same primary picture.

view_id_len specifies the length, in bits, of the view_id_val[ i ] syntax element.
view_id_val[ i ] specifies the view identifier of the i-th view specified by the VPS. The length of the view_id_val[ i ]
syntax element is view_id_len bits. When not present, the value of view_id_val[ i ] is inferred to be equal to 0.
For each layer with nuh_layer_id equal to nuhLayerId, the value ViewId[ nuhLayerId ] is set equal to
view_id_val[ ViewOrderIdx[ nuhLayerId ] ].
direct_dependency_flag[ i ][ j ] equal to 0 specifies that the layer with index j is not a direct reference layer for the layer
with index i. direct_dependency_flag[ i ][ j ] equal to 1 specifies that the layer with index j is a direct reference layer for
the layer with index i. When direct_dependency_flag[ i ][ j ] is not present for i and j in the range of 0 to MaxLayersMinus1,
it is inferred to be equal to 0.
The variable DependencyFlag[ i ][ j ] is derived as follows:
           for( i = 0; i <= MaxLayersMinus1; i++ )
                for( j = 0; j <= MaxLayersMinus1; j++ ) {
                      DependencyFlag[ i ][ j ] = direct_dependency_flag[ i ][ j ]
                      for( k = 0; k < i; k++ )
                          if( direct_dependency_flag[ i ][ k ] && DependencyFlag[ k ][ j ] )                                    (F-4)
                              DependencyFlag[ i ][ j ] = 1
                }
The variables NumDirectRefLayers[ iNuhLId ], IdDirectRefLayer[ iNuhLId ][ d ], NumRefLayers[ iNuhLId ],
IdRefLayer[ iNuhLId ][ r ], NumPredictedLayers[ iNuhLId ] and IdPredictedLayer[ iNuhLId ][ p ] are derived as follows:
           for( i = 0; i <= MaxLayersMinus1; i++ ) {
                iNuhLId = layer_id_in_nuh[ i ]
                for( j = 0, d = 0, r = 0, p = 0; j <= MaxLayersMinus1; j++ ) {
                      jNuhLid = layer_id_in_nuh[ j ]


                                                                                     Rec. ITU-T H.265 v8 (08/2021)               467
      Case 2:25-cv-03053             Document 1-7             Filed 04/07/25           Page 489 of 717 Page ID
                                                            #:1018

                     if( direct_dependency_flag[ i ][ j ] )
                         IdDirectRefLayer[ iNuhLId ][ d++ ] = jNuhLid
                     if( DependencyFlag[ i ][ j ] )
                         IdRefLayer[ iNuhLId ][ r++ ] = jNuhLid                                                             (F-5)
                     if( DependencyFlag[ j ][ i ] )
                         IdPredictedLayer[ iNuhLId ][ p++ ] = jNuhLid
                }
                NumDirectRefLayers[ iNuhLId ] = d
                NumRefLayers[ iNuhLId ] = r
                NumPredictedLayers[ iNuhLId ] = p
          }
The variables NumIndependentLayers, NumLayersInTreePartition[ i ] and TreePartitionLayerIdList[ i ][ j ] for i in the
range of 0 to NumIndependentLayers − 1, inclusive, and j in the range of 0 to NumLayersInTreePartition[ i ] − 1, inclusive,
are derived as follows:
          for( i = 0; i <= 63; i++ )
               layerIdInListFlag[ i ] = 0
          for( i = 0, k = 0; i <= MaxLayersMinus1; i++ ) {
               iNuhLId = layer_id_in_nuh[ i ]
               if( NumDirectRefLayers[ iNuhLId ] = = 0 ) {
                    TreePartitionLayerIdList[ k ][ 0 ] = iNuhLId
                    for( j = 0, h = 1; j < NumPredictedLayers[ iNuhLId ]; j++ ) {                                           (F-6)
                        predLId = IdPredictedLayer[ iNuhLId ][ j ]
                        if( !layerIdInListFlag[ predLId ] ) {
                            TreePartitionLayerIdList[ k ][ h++ ] = predLId
                            layerIdInListFlag[ predLId ] = 1
                        }
                    }
                    NumLayersInTreePartition[ k++ ] = h
               }
          }
          NumIndependentLayers = k
It is a requirement of bitstream conformance that AuxId[ IdDirectRefLayer[ nuhLayerIdA ][ j ] ] for any values of
nuhLayerIdA and j shall be equal to AuxId[ nuhLayerIdA ], when AuxId[ nuhLayerIdA ] is in the range of 0 to 2, inclusive.
   NOTE 4 – In other words, no prediction takes place between layers with a different value of AuxId, when AuxId is in the range of
   0 to 2, inclusive.

num_add_layer_sets specifies the number of additional layer sets. The value of num_add_layer_sets shall be in the range
of 0 to 1 023, inclusive. When vps_base_layer_available_flag is equal to 0, the value of num_add_layer_sets shall be
greater than 0. When not present, the value of num_add_layer_sets is inferred to be equal to 0.
The variable NumLayerSets is derived as follows:
          NumLayerSets = vps_num_layer_sets_minus1 + 1 + num_add_layer_sets                                                 (F-7)
When num_add_layer_sets is greater than 0, the variables FirstAddLayerSetIdx and LastAddLayerSetIdx are derived as
follows:
          FirstAddLayerSetIdx = vps_num_layer_sets_minus1 + 1                                                               (F-8)
          LastAddLayerSetIdx = FirstAddLayerSetIdx + num_add_layer_sets − 1
highest_layer_idx_plus1[ i ][ j ] specifies the values of NumLayersInIdList[ vps_num_layer_sets_minus1 + 1 + i ] and
LayerSetLayerIdList[ vps_num_layer_sets_minus1 + 1 + i ][ layerNum ] as follows:
          layerNum = 0
          lsIdx = vps_num_layer_sets_minus1 + 1 + i
          for( treeIdx = 1; treeIdx < NumIndependentLayers; treeIdx++ )                                                     (F-9)
               for( layerCnt = 0; layerCnt < highest_layer_idx_plus1[ i ][ treeIdx ]; layerCnt++ )
                     LayerSetLayerIdList[ lsIdx ][ layerNum++ ] =
          TreePartitionLayerIdList[ treeIdx ][ layerCnt ]
          NumLayersInIdList[ lsIdx ] = layerNum


468           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 490 of 717 Page ID
                                                           #:1019

The value of highest_layer_idx_plus1[ i ][ j ] shall be in the range of 0 to NumLayersInTreePartition[ j ], inclusive.
The length of the highest_layer_idx_plus1[ i ][ j ] syntax element is Ceil( Log2( NumLayersInTreePartition[ j ] + 1 ) ) bits.
It is a requirement of bitstream conformance that NumLayersInIdList[ vps_num_layer_sets_minus1 + 1 + i ] shall be
greater than 0.
vps_sub_layers_max_minus1_present_flag        equal      to     1 specifies  that    the    syntax     elements
sub_layers_vps_max_minus1[ i ] are present. vps_sub_layers_max_minus1_present_flag equal to 0 specifies that the
syntax elements sub_layers_vps_max_minus1[ i ] are not present.
sub_layers_vps_max_minus1[ i ] plus 1 specifies, for each value of i in the range of
( vps_base_layer_internal_flag ? 0 : 1 ) to MaxLayersMinus1, inclusive, the maximum number of temporal sub-layers that
may be present in the CVS for the layer with nuh_layer_id layerId equal to layer_id_in_nuh[ i ]. When
vps_base_layer_internal_flag is equal to 0, sub_layers_vps_max_minus1[ 0 ] constrains the access units for which a
decoded picture with nuh_layer_id equal to 0 may be provided by external means as follows: a decoded picture with
nuh_layer_id equal to 0 cannot be provided by external means for decoding of an access unit with TemporalId greater than
sub_layers_vps_max_minus1[ 0 ]. The value of sub_layers_vps_max_minus1[ i ] shall be in the range of 0 to
vps_max_sub_layers_minus1, inclusive. When not present, the value of sub_layers_vps_max_minus1[ i ] is inferred to be
equal to vps_max_sub_layers_minus1.
          The variable MaxSubLayersInLayerSetMinus1[ i ] is derived as follows:
          for( i = 0; i < NumLayerSets; i++ ) {
               maxSlMinus1 = 0
               for( k = 0; k < NumLayersInIdList[ i ]; k++ ) {
                    lId = LayerSetLayerIdList[ i ][ k ]                                                                  (F-10)
                    maxSlMinus1 = Max( maxSLMinus1,
          sub_layers_vps_max_minus1[ LayerIdxInVps[ lId ] ] )
               }
               MaxSubLayersInLayerSetMinus1[ i ] = maxSlMinus1
          }
max_tid_ref_present_flag equal to 1 specifies that the syntax element max_tid_il_ref_pics_plus1[ i ][ j ] is present.
max_tid_ref_present_flag equal to 0 specifies that the syntax element max_tid_il_ref_pics_plus1[ i ][ j ] is not present.
max_tid_il_ref_pics_plus1[ i ][ j ] equal to 0 specifies that non-IRAP pictures with nuh_layer_id equal to
layer_id_in_nuh[ i ] are not used as source pictures for inter-layer prediction for pictures with nuh_layer_id equal to
layer_id_in_nuh[ j ]. max_tid_il_ref_pics_plus1[ i ][ j ] greater than 0 specifies that pictures with nuh_layer_id equal to
layer_id_in_nuh[ i ] and TemporalId greater than max_tid_il_ref_pics_plus1[ i ][ j ] − 1 are not used as source pictures for
inter-layer prediction for pictures with nuh_layer_id equal to layer_id_in_nuh[ j ]. When not present, the value of
max_tid_il_ref_pics_plus1[ i ][ j ] is inferred to be equal to 7.
default_ref_layers_active_flag equal to 1 specifies that for each picture referring to the VPS, the direct reference layer
pictures that belong to all direct reference layers of the layer containing the picture and that may be used for inter-layer
prediction as specified by the values of sub_layers_vps_max_minus1[ i ] and max_tid_il_ref_pics_plus1[ i ][ j ] are present
in the same access unit as the picture and are included in the inter-layer reference picture set of the picture.
default_ref_layers_active_flag equal to 0 specifies that the above restriction may or may not apply.
vps_num_profile_tier_level_minus1 plus 1 specifies the number of profile_tier_level( ) syntax structures in the VPS.
The value of vps_num_profile_tier_level_minus1 shall be in the range of 0 to 63, inclusive. When vps_max_layers_minus1
is greater than 0, the value of vps_num_profile_tier_level_minus1 shall be greater than or equal to 1.
vps_profile_present_flag[ i ] equal to 1 specifies that profile and tier information is present in the i-th profile_tier_level( )
syntax structure. vps_profile_present_flag[ i ] equal to 0 specifies that profile and tier information is not present in the i-th
profile_tier_level( ) syntax structure and is inferred as specified in clause F.7.4.4.
num_add_olss specifies the number of OLSs in addition to the first NumLayerSets OLSs specified by the VPS. The value
of num_add_olss shall be in the range of 0 to 1 023, inclusive. When not present, the value of num_add_olss is inferred to
be equal to 0.
default_output_layer_idc specifies the derivation of the output layers for the OLSs with index in the range of 1 to
vps_num_layer_sets_minus1, inclusive. default_output_layer_idc equal to 0 specifies that all layers in each of the OLSs
with index in the range of 1 to vps_num_layer_sets_minus1, inclusive, are output layers of their respective OLSs.
default_output_layer_idc equal to 1 specifies that only the layer with the highest value of nuh_layer_id such that
nuh_layer_id equal to nuhLayerIdA in each of the OLSs with index in the range of 1 to vps_num_layer_sets_minus1,
inclusive, is an output layer of its OLS. default_output_layer_idc equal to 2 specifies that the output layers for the OLSs
with index in the range of 1 to vps_num_layer_sets_minus1, inclusive, are specified with the syntax elements


                                                                                 Rec. ITU-T H.265 v8 (08/2021)             469
      Case 2:25-cv-03053              Document 1-7             Filed 04/07/25           Page 491 of 717 Page ID
                                                             #:1020

output_layer_flag[ i ][ j ]. The value of 3 for default_output_layer_idc is reserved for future use by ITU-T | ISO/IEC.
Although the value of default_output_layer_idc is required to be less than 3 in this version of this Specification, decoders
shall allow a value of default_output_layer_idc equal to 3 to appear in the syntax.
The variable defaultOutputLayerIdc is set equal to Min( default_output_layer_idc, 2 ).
layer_set_idx_for_ols_minus1[ i ] plus 1 specifies the index of the layer set for the i-th OLS. The value of
layer_set_idx_for_ols_minus1[ i ] shall be in the range of 0 to NumLayerSets − 2, inclusive. The length of the
layer_set_idx_for_ols_minus1[ i ] syntax element is Ceil( Log2( NumLayerSets − 1 ) ) bits. When not present, the value
of layer_set_idx_for_ols_minus1[ i ] is inferred to be equal to 0.
For i in the range of 0 to NumOutputLayerSets − 1, inclusive, the variable OlsIdxToLsIdx[ i ] is derived as specified in the
following:
           OlsIdxToLsIdx[ i ] = ( i < NumLayerSets ) ? i : ( layer_set_idx_for_ols_minus1[ i ] + 1 )                       (F-11)
output_layer_flag[ i ][ j ] equal to 1 specifies that the j-th layer in the i-th OLS is an output layer. output_layer_flag[ i ][ j ]
equal to 0 specifies that the j-th layer in the i-th OLS is not an output layer.
The value of output_layer_flag[ 0 ][ 0 ] is inferred to be equal to 1.
When defaultOutputLayerIdc is equal to 0 or 1, for i in the range of 0 to vps_num_layer_sets_minus1, inclusive, and j in
the range of 0 to NumLayersInIdList[ OlsIdxToLsIdx[ i ] ] − 1, inclusive, the variable OutputLayerFlag[ i ][ j ] is derived
as follows:
–     If defaultOutputLayerIdc is equal to 0 or LayerSetLayerIdList[ OlsIdxToLsIdx[ i ] ][ j ] is equal to nuhLayerIdA, with
      nuhLayerIdA being the highest value in LayerSetLayerIdList[ OlsIdxToLsIdx[ i ] ], OutputLayerFlag[ i ][ j ] is set
      equal to 1.
–     Otherwise, OutputLayerFlag[ i ][ j ] is set equal to 0.
For     i   in   the    range        of    ( defaultOutputLayerIdc = = 2 ) ? 0 : ( vps_num_layer_sets_minus1 + 1 )     to
NumOutputLayerSets − 1, inclusive, and j in the range of 0 to NumLayersInIdList[ OlsIdxToLsIdx[ i ] ] − 1, inclusive, the
variable OutputLayerFlag[ i ][ j ] is set equal to output_layer_flag[ i ][ j ].
The variable NumOutputLayersInOutputLayerSet[ i ] is derived as follows:
           NumOutputLayersInOutputLayerSet[ i ] = 0
           for( j = 0; j < NumLayersInIdList[ OlsIdxToLsIdx[ i ] ]; j++ ) {
                NumOutputLayersInOutputLayerSet[ i ] += OutputLayerFlag[ i ][ j ]                                          (F-12)
                if( OutputLayerFlag[ i ][ j ] )
                     OlsHighestOutputLayerId[ i ] = LayerSetLayerIdList[ OlsIdxToLsIdx[ i ] ][ j ]
It is a requirement of bitstream conformance that NumOutputLayersInOutputLayerSet[ i ] shall be greater than 0 for i in
the range of 0 to NumOutputLayerSets − 1, inclusive.
The variables NumNecessaryLayers[ olsIdx ] and NecessaryLayerFlag[ olsIdx ][ lIdx ] are derived as follows:
           for( olsIdx = 0; olsIdx < NumOutputLayerSets; olsIdx++ ) {
                lsIdx = OlsIdxToLsIdx[ olsIdx ]
                for( lsLayerIdx = 0; lsLayerIdx < NumLayersInIdList[ lsIdx ]; lsLayerIdx++ )
                      NecessaryLayerFlag[ olsIdx ][ lsLayerIdx ] = 0
                for( lsLayerIdx = 0; lsLayerIdx < NumLayersInIdList[ lsIdx ]; lsLayerIdx++ )
                      if( OutputLayerFlag[ olsIdx ][ lsLayerIdx ] ) {
                          NecessaryLayerFlag[ olsIdx ][ lsLayerIdx ] = 1                                                   (F-13)
                          currLayerId = LayerSetLayerIdList[ lsIdx ][ lsLayerIdx ]
                          for( rLsLayerIdx = 0; rLsLayerIdx < lsLayerIdx; rLsLayerIdx++ ) {
                             refLayerId = LayerSetLayerIdList[ lsIdx ][ rLsLayerIdx ]

                 if( DependencyFlag[ LayerIdxInVps[ currLayerId ] ][ LayerIdxInVps[ refLayerId ] ] )
                               NecessaryLayerFlag[ olsIdx ][ rLsLayerIdx ] = 1
                       }
                 NumNecessaryLayers[ olsIdx ] = 0
                 for( lsLayerIdx = 0; lsLayerIdx < NumLayersInIdList[ lsIdx ]; lsLayerIdx++ )
                       NumNecessaryLayers[ olsIdx ] += NecessaryLayerFlag[ olsIdx ][ lsLayerIdx ]
           }



470            Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 492 of 717 Page ID
                                                               #:1021

It is a requirement of bitstream conformance that for each layer index layerIdx in the range of
( vps_base_layer_internal_flag ? 0 : 1 ) to MaxLayersMinus1, inclusive, there shall be at least one OLS with index olsIdx
such that NecessaryLayerFlag[ olsIdx ][ lsLayerIdx ] is equal to 1 for the value of lsLayerIdx for which
LayerSetLayerIdList[ OlsIdxToLsIdx[ olsIdx ] ][ lsLayerIdx ] is equal to layer_id_in_nuh[ layerIdx ].
    NOTE 5 – In other words, each layer has to be an output layer or a reference layer of an output layer in at least one OLS.

It is a requirement of bitstream conformance that when num_add_layer_sets is greater than 0 and olsIdx has any such value
that OlsIdxToLsIdx[ olsIdx ] is in the range of FirstAddLayerSetIdx to LastAddLayerSetIdx, inclusive, and
NumNecessaryLayers[ olsIdx ] is equal to 1, NecessaryLayerFlag[ olsIdx ][ 0 ] shall be equal to 1.
    NOTE 6 – In other words, when an additional layer set has exactly one necessary layer, the necessary layer is required to be the
    layer with the smallest nuh_layer_id value within the additional layer set.

profile_tier_level_idx[ i ][ j ] specifies the index, into the list of profile_tier_level( ) syntax structures in the VPS, of the
profile_tier_level( ) syntax structure that applies to the j-th layer of the i-th OLS as specified in clause F.7.4.4. The length
of the profile_tier_level_idx[ i ][ j ] syntax element is Ceil( Log2( vps_num_profile_tier_level_minus1 + 1 ) ) bits.
When NecessaryLayerFlag[ i ][ j ] is equal to 1 and vps_num_profile_tier_level_minus1 is equal to 0, the value of
profile_tier_level_idx[ i ][ j ] is inferred to be equal to 0.
When vps_base_layer_internal_flag is equal to 1, the following applies:
–    If vps_max_layers_minus1 is greater than 0, the value of profile_tier_level_idx[ 0 ][ 0 ] is inferred to be equal to 1.
–    Otherwise (vps_max_layers_minus1 is equal to 0), the value of profile_tier_level_idx[ 0 ][ 0 ] is inferred to be equal
     to 0.
When present, the value of profile_tier_level_idx[ i ][ j ] shall be in the range of ( vps_base_layer_internal_flag ? 0 : 1 ) to
vps_num_profile_tier_level_minus1, inclusive.
alt_output_layer_flag[ i ] equal to 0 specifies that an alternative output layer is not used for any output layer in the i-th
OLS. alt_output_layer_flag[ i ] equal to 1 specifies that an alternative output layer may be used for the output layer in the
i-th OLS.
When not present, the value of alt_output_layer_flag[ i ] is inferred to be equal to 0.
    NOTE 7 – When alt_output_layer_flag[ olsIdx ] is equal to 0, pictures that do not belong to the output layers of the OLS with index
    olsIdx are not output. When alt_output_layer_flag[ olsIdx ] is equal to 1 and a picture belonging to the output layer of the OLS with
    index olsIdx is not present in an access unit or has PicOutputFlag equal to 0, a picture with the highest nuh_layer_id among those
    pictures of the access unit for which PicOutputFlag is equal to 1 and having the nuh_layer_id value among the nuh_layer_id values
    of the reference layers of the output layer is output.

For each value of olsIdx in the range of 0 to NumOutputLayerSets − 1, inclusive, the following applies:
–    When alt_output_layer_flag[ olsIdx ] is equal to 1, the value of pic_output_flag shall be the same in the slice headers
     of an access unit that have nuh_layer_id value equal to OlsHighestOutputLayerId[ olsIdx ] or equal to the
     nuh_layer_id value of any reference layer of the layer with nuh_layer_id equal to OlsHighestOutputLayerId[ olsIdx ].
–    The variable olsBitstream is derived as follows:
     –     Let lsIdx be equal to OlsIdxToLsIdx[ olsIdx ].
     –     If lsIdx is less than or equal to vps_num_layer_sets_minus1, let olsBitstream be the output of the sub-bitstream
           extraction process specified in clause F.10.1 with the following inputs: the current bitstream, tIdTarget equal to
           6 and layerIdListTarget equal to LayerSetLayerIdList[ lsIdx ].
     –     Otherwise, let olsBitstream be the output of the sub-bitstream extraction process specified in clause F.10.3 with
           the following inputs: the current bitstream, tIdTarget equal to 6 and layerIdListTarget equal to
           LayerSetLayerIdList[ lsIdx ].
–    Let truncatedOlsBitstream be olsBitstream or be formed from the olsBitstream by removing access units preceding,
     in decoding order, any access unit with an IRAP picture having nuh_layer_id equal to SmallestLayerId.
–    It is a requirement of bitstream conformance that when alt_output_layer_flag[ olsIdx ] is equal to 1, a bitstream that
     is formed by removing, from the truncatedOlsBitstream, any coded picture that is not used as a reference for prediction
     for any other picture and is not the only coded picture of an access unit is a conforming bitstream.
    NOTE 8 – When alt_output_layer_flag[ olsIdx ] is equal to 1, encoders are required to set the values of
    max_vps_dec_pic_buffering_minus1[ i ][ k ][ j ] such that these values suffice also when pictures of an alternative output layer are
    marked as "needed for output" in the HRD.

vps_num_rep_formats_minus1 plus 1 specifies the number of the following rep_format( ) syntax structures in the VPS.
The value of vps_num_rep_formats_minus1 shall be in the range of 0 to 255, inclusive.




                                                                                      Rec. ITU-T H.265 v8 (08/2021)                471
      Case 2:25-cv-03053            Document 1-7            Filed 04/07/25          Page 493 of 717 Page ID
                                                          #:1022

rep_format_idx_present_flag equal to 1 specifies that the syntax elements vps_rep_format_idx[ i ] are present.
rep_format_idx_present_flag equal to 0 specifies that the syntax elements vps_rep_format_idx[ i ] are not present. When
not present, the value of rep_format_idx_present_flag is inferred to be equal to 0.
vps_rep_format_idx[ i ] specifies the index, into the list of rep_format( ) syntax structures in the VPS, of the rep_format( )
syntax structure that applies to the layer with nuh_layer_id equal to layer_id_in_nuh[ i ]. When not present, the value of
vps_rep_format_idx[ i ] is inferred to be equal to Min( i, vps_num_rep_formats_minus1 ). The value of
vps_rep_format_idx[ i ] shall be in the range of 0 to vps_num_rep_formats_minus1, inclusive. The number of bits used
for the representation of vps_rep_format_idx[ i ] is Ceil( Log2( vps_num_rep_formats_minus1 + 1 ) ).
max_one_active_ref_layer_flag equal to 1 specifies that at most one picture is used for inter-layer prediction for each
picture in the CVS. max_one_active_ref_layer_flag equal to 0 specifies that more than one picture may be used for inter-
layer prediction for each picture in the CVS.
vps_poc_lsb_aligned_flag equal to 0 specifies that the value of slice_pic_order_cnt_lsb may or may not be the same in
different pictures of an access unit. vps_poc_lsb_aligned_flag equal to 1 specifies that the value of slice_pic_order_cnt_lsb
is the same in all pictures of an access unit. Additionally, the value of vps_poc_lsb_aligned_flag affects the decoding
process for picture order count in clause F.8.3.1. When not present, the value of vps_poc_lsb_aligned_flag is inferred to
be equal to 0.
poc_lsb_not_present_flag[ i ] equal to 1 specifies that the slice_pic_order_cnt_lsb syntax element is not present in the
slice headers of IDR pictures with nuh_layer_id equal to layer_id_in_nuh[ i ] in the CVS. poc_lsb_not_present_flag[ i ]
equal to 0 specifies that slice_pic_order_cnt_lsb syntax element may or may not be present in the slice headers of IDR
pictures with nuh_layer_id equal to layer_id_in_nuh[ i ] in the CVS. When not present, the value of
poc_lsb_not_present_flag[ i ] is inferred to be equal to 0.
direct_dep_type_len_minus2 plus 2 specifies the number of bits of the direct_dependency_type[ i ][ j ] and the
direct_dependency_all_layers_type syntax elements. In bitstreams conforming to this version of this Specification the
value of direct_dep_type_len_minus2 shall be equal to 0 or 1. Although the value of direct_dep_type_len_minus2 shall be
equal to 0 or 1 in this version of this Specification, decoders shall allow other values of direct_dep_type_len_minus2 in
the range of 0 to 30, inclusive, to appear in the syntax.
direct_dependency_all_layers_flag equal to 1 specifies that the syntax element direct_dependency_type[ i ][ j ] is not
present and inferred from direct_dependency_all_layers_type. direct_dependency_all_layers_flag equal to 0 indicates that
the syntax element direct_dependency_type[ i ][ j ] is present.
direct_dependency_all_layers_type, when present, specifies the inferred value of direct_dependency_type[ i ][ j ] for all
combinations of i-th and j-th layers. The length of the direct_dependency_all_layers_type syntax element is
direct_dep_type_len_minus2 + 2 bits. Although the value of direct_dependency_all_layers_type is required to be in the
range of 0 to 6, inclusive, in this version of this Specification, decoders shall allow values of
direct_dependency_all_layers_type in the range of 0 to 232 − 2, inclusive, to appear in the syntax.
direct_dependency_type[ i ][ j ] indicates the type of dependency between the layer with nuh_layer_id equal
layer_id_in_nuh[ i ] and the layer with nuh_layer_id equal to layer_id_in_nuh[ j ]. direct_dependency_type[ i ][ j ] equal
to 0 specifies that the layer with nuh_layer_id equal to layer_id_in_nuh[ j ] may be used for inter-layer sample prediction
but is not used for inter-layer motion prediction of the layer with nuh_layer_id equal layer_id_in_nuh[ i ].
direct_dependency_type[ i ][ j ] equal to 1 specifies that the layer with nuh_layer_id equal to layer_id_in_nuh[ j ] may be
used for inter-layer motion prediction but is not used for inter-layer sample prediction of the layer with nuh_layer_id equal
layer_id_in_nuh[ i ]. direct_dependency_type[ i ][ j ] equal to 2 specifies that the layer with nuh_layer_id equal to
layer_id_in_nuh[ j ] may be used for both inter-layer motion prediction and inter-layer sample prediction of the layer with
nuh_layer_id equal layer_id_in_nuh[ i ]. The length of the direct_dependency_type[ i ][ j ] syntax element is
direct_dep_type_len_minus2 + 2 bits. Although the value of direct_dependency_type[ i ][ j ] shall be in the range of 0 to 2,
inclusive, when the layer with nuh_layer_id equal to layer_id_in_nuh[ i ] conforms to a profile specified in Annexes A, G
or H, and in the range of 0 to 6, inclusive, when the layer with nuh_layer_id equal to layer_id_in_nuh[ i ] conforms to a
profile specified in Annex I, decoders shall allow values of direct_dependency_type[ i ][ j ] in the range of 0 to 232 − 2,
inclusive, to appear in the syntax.
When direct_dependency_all_layers_flag is equal to 1, for any i in the range of ( 1 − vps_base_layer_internal_flag ) + 1
to MaxLayersMinus1, inclusive, and any j in the range of 1 − vps_base_layer_internal_flag to i − 1, inclusive, when
direct_dependency_flag[ i ][ j ] is equal to 1, the value of direct_dependency_type[ i ][ j ] is inferred to be equal to
direct_dependency_all_layers_type.
When vps_base_layer_internal_flag is equal to 0, for any i in the range of 1 to MaxLayersMinus1, inclusive, when
direct_dependency_flag[ i ][ 0 ] is equal to 1, the value of direct_dependency_type[ i ][ 0 ] is inferred to be equal to 0.




472        Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7          Filed 04/07/25          Page 494 of 717 Page ID
                                                        #:1023

The variables VpsInterLayerSamplePredictionEnabled[ i ][ j ] and VpsInterLayerMotionPredictionEnabled[ i ][ j ] are
derived as follows:
     if( direct_dependency_flag[ i ][ j ] )
          VpsInterLayerSamplePredictionEnabled[ i ][ j ] = ( direct_dependency_type[ i ][ j ] + 1 ) & 0x1
     else
          VpsInterLayerSamplePredictionEnabled[ i ][ j ] = 0                                             (F-14)
     if( direct_dependency_flag[ i ][ j ] )
          VpsInterLayerMotionPredictionEnabled[ i ][ j ] = ( ( direct_dependency_type[ i ][ j ] + 1 ) & 0x2 ) ?
     1:0
     else
          VpsInterLayerMotionPredictionEnabled[ i ][ j ] = 0
vps_non_vui_extension_length specifies the length of the non-VUI VPS extension data following this syntax element
and before vps_vui_present_flag, in bytes. The value of vps_non_vui_extension_length shall be in the range of 0 to 4096,
inclusive.
vps_non_vui_extension_data_byte may have any value. Decoders shall ignore the value of
vps_non_vui_extension_data_byte. Its value does not affect the decoding process specified in this version of this
Specification.
vps_vui_present_flag equal to 1 specifies that the vps_vui( ) syntax structure is present in the VPS. vps_vui_present_flag
equal to 0 specifies that the vps_vui( ) syntax structure is not present in the VPS.
vps_vui_alignment_bit_equal_to_one shall be equal to 1.

F.7.4.3.1.2   Representation format semantics
chroma_and_bit_depth_vps_present_flag equal to 1 specifies that the syntax elements chroma_format_vps_idc,
bit_depth_vps_luma_minus8 and bit_depth_vps_chroma_minus8 are present and that the syntax element
separate_colour_plane_vps_flag may be present in the rep_format( ) structure. chroma_and_bit_depth_vps_present_flag
equal to 0 specifies that the syntax elements chroma_format_vps_idc, separate_colour_plane_vps_flag,
bit_depth_vps_luma_minus8 and bit_depth_vps_chroma_minus8 are not present and are inferred from the previous
rep_format( ) syntax structure in the VPS. The value of chroma_and_bit_depth_vps_present_flag of the first rep_format( )
syntax structure in the VPS shall be equal to 1.
pic_width_vps_in_luma_samples,                    pic_height_vps_in_luma_samples,              chroma_format_vps_idc,
separate_colour_plane_vps_flag, bit_depth_vps_luma_minus8 and bit_depth_vps_chroma_minus8 are used for
inference of the values of the SPS syntax elements pic_width_in_luma_samples, pic_height_in_luma_samples,
chroma_format_idc, separate_colour_plane_flag, bit_depth_luma_minus8 and bit_depth_chroma_minus8, respectively,
for each SPS that refers to the VPS. When not present in the i-th rep_format( ) syntax structure in the VPS, the value of
each of these syntax elements is inferred to be equal to the value of the corresponding syntax element in the (i − 1)-th
rep_format( ) syntax structure in the VPS. pic_width_vps_in_luma_samples shall not be equal to 0 and shall be an integer
multiple of MinCbSizeY. pic_height_vps_in_luma_samples shall not be equal to 0 and shall be an integer multiple of
MinCbSizeY. The value of chroma_format_vps_idc shall be in the range of 0 to 3, inclusive. bit_depth_vps_luma_minus8
shall be in the range of 0 to 8, inclusive. bit_depth_vps_chroma_minus8 shall be in the range of 0 to 8, inclusive.
conformance_window_vps_flag equal to 1 specifies that the syntax elements conf_win_vps_left_offset,
conf_win_vps_right_offset, conf_win_vps_top_offset and conf_win_vps_bottom_offset follow next in the rep_format( )
structure. conformance_window_vps_flag equal to 0 specifies that the syntax elements conf_win_vps_left_offset,
conf_win_vps_right_offset, conf_win_vps_top_offset and conf_win_vps_bottom_offset are not present.
conf_win_vps_left_offset, conf_win_vps_right_offset, conf_win_vps_top_offset and conf_win_vps_bottom_offset
are used for inference of the values of the SPS syntax elements, conf_win_left_offset, conf_win_right_offset,
conf_win_top_offset and conf_win_bottom_offset, respectively, for each SPS that refers to the VPS. When not present,
the    values   of     conf_win_vps_left_offset,      conf_win_vps_right_offset,    conf_win_vps_top_offset     and
conf_win_vps_bottom_offset are inferred to be equal to 0.
The value of SubWidthC * ( conf_win_vps_left_offset + conf_win_vps_right_offset ) shall be less than
pic_width_vps_in_luma_samples        and        the     value      of    SubHeightC * ( conf_win_vps_top_offset +
conf_win_vps_bottom_offset ) shall be less than pic_height_vps_in_luma_samples.

F.7.4.3.1.3   DPB size semantics
For the lsIdx-th layer set, the number of sub-DPBs is NumLayersInIdList[ lsIdx ] and for each layer with a particular value
of nuh_layer_id in the layer set, the sub-DPB with index layerIdx is assigned, where
LayerSetLayerIdList[ lsIdx ][ layerIdx ] is equal to nuh_layer_id.


                                                                             Rec. ITU-T H.265 v8 (08/2021)            473
      Case 2:25-cv-03053                Document 1-7              Filed 04/07/25             Page 495 of 717 Page ID
                                                                #:1024

sub_layer_flag_info_present_flag[ i ] equal to 1 specifies that sub_layer_dpb_info_present_flag[ i ][ j ] is present for j in
the range of 1 to MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ i ] ], inclusive. sub_layer_flag_info_present_flag[ i ]
equal to 0 specifies that, for each value of j greater than 0, sub_layer_dpb_info_present_flag[ i ][ j ] is not present.
sub_layer_dpb_info_present_flag[ i ][ j ] equal to 1 specifies that max_vps_dec_pic_buffering_minus1[ i ][ k ][ j ] may
be present for k in the range of 0 to NumLayersInIdList[ OlsIdxToLsIdx[ i ] ] − 1, inclusive, for the j-th sub-layer of the i-
th OLS, and max_vps_num_reorder_pics[ i ][ j ] and max_vps_latency_increase_plus1[ i ][ j ] are present for the j-th sub-
layer    of     the     i-th   OLS.     sub_layer_dpb_info_present_flag[ i ][ j ]     equal     to      0     specifies    that
max_vps_dec_pic_buffering_minus1[ i ][ k ][ j ] for k in the range of 0 to NumLayersInIdList[ OlsIdxToLsIdx[ i ] ] − 1,
inclusive, max_vps_num_reorder_pics[ i ][ j ] and max_vps_latency_increase_plus1[ i ][ j ] are not present. The value of
sub_layer_dpb_info_present_flag[ i ][ 0 ] for any possible value of i is inferred to be equal to 1. When not present, the
value of sub_layer_dpb_info_present_flag[ i ][ j ] for j greater than 0 and any possible value of i, is inferred to be equal to
be equal to 0.
max_vps_dec_pic_buffering_minus1[ i ][ k ][ j ] plus 1, when NecessaryLayerFlag[ i ][ k ] is equal to 1, specifies the
maximum number of decoded pictures, of the k-th layer in the i-th OLS for the CVS, that need to be stored in the DPB
when HighestTid is equal to j.
When NecessaryLayerFlag[ i ][ k ] is equal to 1, the following applies for i in the range of 1 to NumOutputLayerSets − 1,
inclusive:
–     When j is greater than 0, max_vps_dec_pic_buffering_minus1[ i ][ k ][ j ] shall be greater than or equal to
      max_vps_dec_pic_buffering_minus1[ i ][ k ][ j − 1 ].
–     When max_vps_dec_pic_buffering_minus1[ i ][ 0 ][ 0 ] is not present, it is inferred to be equal to 0.
–     When max_vps_dec_pic_buffering_minus1[ i ][ k ][ j ]               is not present for j in the range of 1                         to
      MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ i ] ],                 inclusive, it is inferred to be equal                         to
      max_vps_dec_pic_buffering_minus1[ i ][ k ][ j − 1 ].
max_vps_num_reorder_pics[ i ][ j ] specifies, when HighestTid is equal to j, the maximum allowed number of access
units containing a picture with PicOutputFlag equal to 1 that can precede any access unit auA that contains a picture with
PicOutputFlag equal to 1 in the i-th OLS in the CVS in decoding order and follow the access unit auA that contains a
picture with PicOutputFlag equal to 1 in output order. When max_vps_num_reorder_pics[ i ][ j ] is not present for j in the
range      of      1      to      MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ i ] ],          inclusive,      due      to
sub_layer_dpb_info_present_flag[ i ][ j ]    being     equal    to    0,   it   is    inferred    to    be     equal    to
max_vps_num_reorder_pics[ i ][ j − 1 ].
max_vps_latency_increase_plus1[ i ][ j ] not equal to 0 is used to compute the value of MaxVpsLatencyPictures[ i ][ j ],
which, when HighestTid is equal to j, specifies the maximum number of access units containing a picture with
PicOutputFlag equal to 1 in the i-th OLS that can precede any access unit auA that contains a picture with PicOutputFlag
equal to 1 in the CVS in output order and follow the access unit auA that contains a picture with PicOutputFlag equal to 1
in decoding order. When max_vps_latency_increase_plus1[ i ][ j ] is not present for j in the range of 1 to
MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ i ] ], inclusive, due to sub_layer_dpb_info_present_flag[ i ][ j ] being
equal to 0, it is inferred to be equal to max_vps_latency_increase_plus1[ i ][ j − 1 ].
When max_vps_latency_increase_plus1[ i ][ j ] is not equal to 0, the value of MaxVpsLatencyPictures[ i ][ j ] is specified
as follows:
           MaxVpsLatencyPictures[ i ][ j ] = max_vps_num_reorder_pics[ i ][ j ] +
              max_vps_latency_increase_plus1[ i ][ j ] − 1
              (F-15)
When max_vps_latency_increase_plus1[ i ][ j ] is equal to 0, no corresponding limit is expressed. The value of
max_vps_latency_increase_plus1[ i ][ j ] shall be in the range of 0 to 232 − 2, inclusive.

F.7.4.3.1.4     VPS VUI semantics
    NOTE 1 – When vps_vui_present_flag is equal to 0, some of the VPS VUI flags, such as cross_layer_pic_type_aligned_flag,
    tiles_not_in_use_flag and wpp_not_in_use_flag, are not present and no value is inferred for them. In this case, the semantics of these
    flags are unspecified and it should be interpreted as such that it is unknown whether the constraints associated with these flags being
    equal to 1 apply or not; in other words, in this case those constraints may or may not apply.

cross_layer_pic_type_aligned_flag equal to 1 specifies that within a CVS that refers to the VPS, all VCL NAL units that
belong to an access unit have the same value of nal_unit_type. cross_layer_pic_type_aligned_flag equal to 0 specifies that
within a CVS that refers to the VPS, all VCL NAL units in each access unit may or may not have the same value of
nal_unit_type.
cross_layer_irap_aligned_flag equal to 1 specifies that IRAP pictures in the CVS are cross-layer aligned, i.e., when a
picture pictureA of a layer layerA in an access unit is an IRAP picture, each picture pictureB in the same access unit that


474           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7            Filed 04/07/25            Page 496 of 717 Page ID
                                                            #:1025

belongs to a direct reference layer of layerA or that belongs to a layer for which layerA is a direct reference layer of that
layer is an IRAP picture and the VCL NAL units of pictureB have the same value of nal_unit_type as that of pictureA.
cross_layer_irap_aligned_flag equal to 0 specifies that the above restriction may or may not apply. When not present, the
value of cross_layer_irap_aligned_flag is inferred to be equal to vps_vui_present_flag.
all_layers_idr_aligned_flag equal to 1 indicates that within each access unit for which the VCL NAL units refer to the
VPS, when one picture is an IRAP picture, all the pictures in the same access unit are IDR pictures and have the same
value of nal_unit_type. all_layers_idr_aligned_flag equal to 0 specifies that the above restriction may or may not apply.
When not present, the value of all_layers_idr_aligned_flag is inferred to be equal to 0.
bit_rate_present_vps_flag equal to 1 specifies that the syntax element bit_rate_present_flag[ i ][ j ] is present.
bit_rate_present_vps_flag equal to 0 specifies that the syntax element bit_rate_present_flag[ i ][ j ] is not present.
pic_rate_present_vps_flag equal to 1 specifies that the syntax element pic_rate_present_flag[ i ][ j ] is present.
pic_rate_present_vps_flag equal to 0 specifies that the syntax element pic_rate_present_flag[ i ][ j ] is not present.
bit_rate_present_flag[ i ][ j ] equal to 1 specifies that the bit rate information for the j-th subset of the i-th layer set is
present. bit_rate_present_flag[ i ] equal to 0 specifies that the bit rate information for the j-th subset of the i-th layer set is
not present. The j-th subset of a layer set is derived as follows:
–    If i is less than or equal to vps_num_layer_sets_minus1, the j-th subset of a layer set is the output of the sub-bitstream
     extraction process specified in clause F.10.1, when it is invoked with inBitstream equal to the layer set, tIdTarget
     equal to j and layerIdListTarget equal to the layer identifier list associated with the layer set as inputs.
–    Otherwise (i is greater than vps_num_layer_sets_minus1), the j-th subset of a layer set is the output of the sub-
     bitstream extraction process specified in clause F.10.3, when it is invoked with inBitstream equal to the layer set,
     tIdTarget equal to j and layerIdListTarget equal to the layer identifier list associated with the layer set as inputs.
When not present, the value of bit_rate_present_flag[ i ][ j ] is inferred to be equal to 0.
pic_rate_present_flag[ i ][ j ] equal to 1 specifies that picture rate information for the j-th subset of the i-th layer set is
present. pic_rate_present_flag[ i ][ j ] equal to 0 specifies that picture rate information for the j-th subset of the i-th layer
set is not present. When not present, the value of pic_rate_present_flag[ i ][ j ] is inferred to be equal to 0.
avg_bit_rate[ i ][ j ] indicates the average bit rate of the j-th subset of the i-th layer set, in bits per second. The value is
given by BitRateBPS( avg_bit_rate[ i ][ j ] ) with the function BitRateBPS( ) being specified as follows:
          BitRateBPS( x ) = ( x & ( 214 − 1 ) ) * 10( 2 + ( x >> 14 ) )                                                   (F-16)
The average bit rate is derived according to the access unit removal time specified in clause F.13. In the following, bTotal
is the number of bits in all NAL units of the j-th subset of the i-th layer set, t1 is the removal time (in seconds) of the first
access unit to which the VPS applies and t2 is the removal time (in seconds) of the last access unit (in decoding order) to
which the VPS applies. With x specifying the value of avg_bit_rate[ i ][ j ], the following applies:
–    If t1 is not equal to t2, the following condition shall be true:
          ( x & ( 214 − 1 ) ) = = Round( bTotal ÷ ( ( t2 − t1 ) * 10( 2 + ( x >> 14 ) ) ) )                               (F-17)
–    Otherwise (t1 is equal to t2), the following condition shall be true:
          ( x & ( 214 − 1 ) ) = = 0                                                                                       (F-18)
max_bit_rate_layer[ i ][ j ] indicates an upper bound for the bit rate of the j-th subset of the i-th layer set in any one-
second time window of access unit removal time as specified in clause F.13. The upper bound for the bit rate in bits per
second is given by BitRateBPS( max_bit_rate_layer[ i ][ j ] ). The bit rate values are derived according to the access unit
removal time specified in clause F.13. In the following, t1 is any point in time (in seconds), t2 is set equal to t1 + 1 ÷ 100
and bTotal is the number of bits in all NAL units of access units with a removal time greater than or equal to t1 and less
than t2. With x specifying the value of max_bit_rate_layer[ i ][ j ], the following condition shall be obeyed for all values
of t1:
          ( x & ( 214 − 1 ) ) >= bTotal ÷ ( ( t2 − t1 ) * 10( 2 + ( x >> 14 ) ) )                                         (F-19)
constant_pic_rate_idc[ i ][ j ] indicates whether the picture rate of the j-th subset of the i-th layer set is constant. In the
following, a temporal segment tSeg is any set of two or more consecutive access units, in decoding order, of the j-th subset
of the i-th layer set, auTotal( tSeg ) is the number of access units in the temporal segment tSeg, t1( tSeg ) is the removal
time (in seconds) of the first access unit (in decoding order) of the temporal segment tSeg, t2( tSeg ) is the removal time
(in seconds) of the last access unit (in decoding order) of the temporal segment tSeg, and avgPicRate( tSeg ) is the average
picture rate in the temporal segment tSeg, and is specified as follows:
          avgPicRate( tSeg ) = Round( auTotal( tSeg ) * 256 ÷ ( t2( tSeg ) − t1( tSeg ) ) )                               (F-20)



                                                                                    Rec. ITU-T H.265 v8 (08/2021)            475
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 497 of 717 Page ID
                                                             #:1026

If the j-th subset of the i-th layer set only contains one or two access units or the value of avgPicRate( tSeg ) is constant
over all the temporal segments, the picture rate is constant; otherwise, the picture rate is not constant.
constant_pic_rate_idc[ i ][ j ] equal to 0 indicates that the picture rate of the j-th subset of the i-th layer set is not constant.
constant_pic_rate_idc[ i ][ j ] equal to 1 indicates that the picture rate of the j-th subset of the i-th layer set is constant.
constant_pic_rate_idc[ i ][ j ] equal to 2 indicates that the picture rate of the j-th subset of the i-th layer set may or may not
be constant. The value of constant_pic_rate_idc[ i ][ j ] shall be in the range of 0 to 2, inclusive.
avg_pic_rate[ i ] indicates the average picture rate, in units of picture per 256 seconds, of the j-th subset of the layer set.
With auTotal being the number of access units in the j-th subset of the i-th layer set, t1 being the removal time (in seconds)
of the first access unit to which the VPS applies, and t2 being the removal time (in seconds) of the last access unit (in
decoding order) to which the VPS applies, the following applies:
–     If t1 is not equal to t2, the following condition shall be true:
           avg_pic_rate[ i ] = = Round( auTotal * 256 ÷ ( t2 − t1 ) )                                                      (F-21)
–     Otherwise (t1 is equal to t2), the following condition shall be true:
           avg_pic_rate[ i ] = = 0                                                                                         (F-22)
video_signal_info_idx_present_flag equal to 1 specifies that the syntax elements vps_num_video_signal_info_minus1 is
present and the syntax element vps_video_signal_info_idx[ i ] may be present. video_signal_info_idx_present_flag equal
to 0 specifies that the syntax elements vps_num_video_signal_info_minus1 and vps_video_signal_info_idx[ i ] are not
present.
vps_num_video_signal_info_minus1 plus 1 specifies the number of the following video_signal_info( ) syntax structures
in the VPS. When not present, the value of vps_num_video_signal_info_minus1 is inferred to be equal to
MaxLayersMinus1 − ( vps_base_layer_internal_flag ? 0 : 1 ).
vps_video_signal_info_idx[ i ] specifies the index, into the list of video_signal_info( ) syntax structures in the VPS, of
the video_signal_info( ) syntax structure that applies to the layer with nuh_layer_id equal to layer_id_in_nuh[ i ]. If
video_signal_info_idx_present_flag is equal to 0, the value of vps_video_signal_info_idx[ i ] for each value of i in the
range of ( vps_base_layer_internal_flag ? 0 : 1 ) to MaxLayersMinus1, inclusive, is inferred to be equal to i. Otherwise,
when vps_num_video_signal_info_minus1 is equal to 0, the value of vps_video_signal_info_idx[ i ] for each value of i in
the range of vps_base_layer_internal_flag to MaxLayersMinus1, inclusive, is inferred to be equal to 0. The value of
vps_video_signal_info_idx[ i ] for each value of i in the range of ( vps_base_layer_internal_flag ? 0 : 1 ) to
MaxLayersMinus1, inclusive, shall be in the range of 0 to vps_num_video_signal_info_minus1, inclusive.
tiles_not_in_use_flag equal to 1 indicates that the value of tiles_enabled_flag is equal to 0 for each PPS that is referred to
by at least one picture referring to the VPS. tiles_not_in_use_flag equal to 0 indicates that such a restriction may or may
not apply.
tiles_in_use_flag[ i ] equal to 1 indicates that the value of tiles_enabled_flag is equal to 1 for each PPS that is referred to
by at least one picture of the i-th layer specified by the VPS. tiles_in_use_flag[ i ] equal to 0 indicates that such a restriction
may or may not apply. When not present, the value of tiles_in_use_flag[ i ] is inferred to be equal to 0.
loop_filter_not_across_tiles_flag[ i ] equal to 1 indicates that the value of loop_filter_across_tiles_enabled_flag is equal
to 0 for each PPS that is referred to by at least one picture of the i-th layer specified by the VPS.
loop_filter_not_across_tiles_flag[ i ] equal to 0 indicates that such a restriction may or may not apply. When not present,
the value of loop_filter_not_across_tiles_flag[ i ] is inferred to be equal to 0.
tile_boundaries_aligned_flag[ i ][ j ] equal to 1 indicates that, when any two samples of one picture of the i-th layer
specified by the VPS belong to one tile, the two collocated samples, when both present in the picture of the j-th direct
reference layer of the i-th layer, belong to one tile, and when any two samples of one picture of the i-th layer belong to
different tiles, the two collocated samples, when both present in the picture of the j-th direct reference layer of the i-th layer
belong to different tiles. tile_boundaries_aligned_flag equal to 0 indicates that such a restriction may or may not apply.
When not present, the value of tile_boundaries_aligned_flag[ i ][ j ] is inferred to be equal to 0.
wpp_not_in_use_flag equal to 1 indicates that the value of entropy_coding_sync_enabled_flag is equal to 0 for each PPS
that is referred to by at least one picture referring to the VPS. wpp_not_in_use_flag equal to 0 indicates that such a
restriction may or may not apply.
wpp_in_use_flag[ i ] equal to 1 indicates that the value of entropy_coding_sync_enabled_flag is equal to 1 for each PPS that
is referred to by at least one picture of the i-th layer specified by the VPS. wpp_in_use_flag[ i ] equal to 0 indicates that such
a restriction may or may not apply. When not present, the value of wpp_in_use_flag[ i ] is inferred to be equal to 0.
single_layer_for_non_irap_flag equal to 1 indicates the following:




476         Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25              Page 498 of 717 Page ID
                                                                #:1027

–    If vps_base_layer_internal_flag is equal to 1, single_layer_for_non_irap_flag equal to 1 indicates that either one of
     the following is true for each access unit for which this VPS is the active VPS:
     –     All the VCL NAL units of an access unit have the same nuh_layer_id value.
     –     Two nuh_layer_id values are used by the VCL NAL units of an access unit and the picture with the greater
           nuh_layer_id value is an IRAP picture.
–    Otherwise (vps_base_layer_internal_flag is equal to 0), single_layer_for_non_irap_flag equal to 1 indicates that any
     one of the following is true for each access unit for which this VPS is the active VPS:
     –     The decoded picture with nuh_layer_id equal to 0 is not provided for the access unit by external means and the
           access unit contains one coded picture.
     –     The decoded picture with nuh_layer_id equal to 0 is not provided for the access unit by external means, the
           access unit contains two coded pictures and the picture with the greater nuh_layer_id value is an IRAP picture.
     –     The decoded picture with nuh_layer_id equal to 0 is provided for an access unit by external means and the access
           unit contains one coded picture that is an IRAP picture.
single_layer_for_non_irap_flag equal to 0 indicates that the above constraints may or may not apply. When not present,
the value of single_layer_for_non_irap_flag is inferred to be equal to 0.
higher_layer_irap_skip_flag equal to 1 indicates that each IRAP picture currIrapPic is constrained as specified below.
currIrapPic is derived as follows for each access unit currAu for which this VPS is the active VPS:
–    If vps_base_layer_internal_flag is equal to 1, currAu contains two coded pictures and the picture with the greater
     nuh_layer_id value is an IRAP picture, let currIrapPic be that IRAP picture.
–    Otherwise, if vps_base_layer_internal_flag is equal to 0, a decoded picture with nuh_layer_id equal to 0 is not
     provided for currAu by external means, currAu contains two coded pictures and the picture with the greater
     nuh_layer_id value is an IRAP picture, let currIrapPic be that IRAP picture.
–    Otherwise, if vps_base_layer_internal_flag is equal to 0, the decoded picture with nuh_layer_id equal to 0 is provided
     for currAu by external means and the access unit contains one coded picture that is an IRAP picture, let currIrapPic
     be that IRAP picture.
–    Otherwise, currIrapPic is not derived for currAu.
The following constraints apply for each picture currIrapPic:
–    For all slices of the IRAP picture:
     –     slice_type shall be equal to P.
     –     slice_sao_luma_flag and slice_sao_chroma_flag shall both be equal to 0.
     –     five_minus_max_num_merge_cand shall be equal to 4.
     –     weighted_pred_flag shall be equal to 0 in the PPS that is referred to by the slices.
–    For all coding units of the IRAP picture:
     –     cu_skip_flag[ i ][ j ] shall be equal to 1.
When single_layer_for_non_irap_flag is equal to 0, higher_layer_irap_skip_flag shall be equal to 0. When
higher_layer_irap_skip_flag is not present it is inferred to be equal to 0.
    NOTE 2 – When vps_base_layer_internal_flag is equal to 1, an encoder may set single_layer_for_non_irap_flag equal to 1 as an
    indication to a decoder that at most two pictures are present in any access unit and whenever there are two pictures in the same
    access unit, the one with the higher value of nuh_layer_id is an IRAP picture. The encoder may additionally set
    higher_layer_irap_skip_flag equal to 1 as an indication to a decoder that whenever there are two pictures in the same access unit,
    the one with the higher value of nuh_layer_id is an IRAP picture for which the decoded samples can be derived by applying the
    inter-layer reference picture derivation process specified in clause H.8.1.4 with the other picture with the lower value of nuh_layer_id
    as input.

ilp_restricted_ref_layers_flag equal to 1 indicates that additional restrictions on inter-layer prediction as specified below
apply for each direct reference layer of each layer specified by the VPS. ilp_restricted_ref_layers_flag equal to 0 indicates
that additional restrictions on inter-layer prediction may or may not apply. When not present, the value of
ilp_restricted_ref_layers_flag is inferred to be equal to 0.
min_spatial_segment_offset_plus1[ i ][ j ] indicates the spatial region, in each picture of the j-th direct reference layer of
the i-th layer, that is not used for inter-layer prediction for decoding of any picture of the i-th layer, by itself or together
with min_horizontal_ctu_offset_plus1[ i ][ j ], as specified below.
The variables refLayerPicWidthInCtbsY[ i ][ j ] and refLayerPicHeightInCtbsY[ i ][ j ] are set equal to PicWidthInCtbsY
and PicHeightInCtbsY, respectively, of the j-th direct reference layer of the i-th layer.


                                                                                        Rec. ITU-T H.265 v8 (08/2021)                 477
      Case 2:25-cv-03053              Document 1-7             Filed 04/07/25           Page 499 of 717 Page ID
                                                             #:1028

The    value    of   min_spatial_segment_offset_plus1[ i ][ j ]          shall be  in  the   range    of   0   to
refLayerPicWidthInCtbsY[ i ][ j ] * refLayerPicHeightInCtbsY[ i ][ j ], inclusive. When not present, the value of
min_spatial_segment_offset_plus1[ i ][ j ] is inferred to be equal to 0.
ctu_based_offset_enabled_flag[ i ][ j ] equal to 1 specifies that the spatial region, in units of CTUs, in each picture of the
j-th direct reference layer of the i-th layer, that is not used for inter-layer prediction for decoding of any picture of the i-th
layer is indicated by min_spatial_segment_offset_plus1[ i ][ j ] and min_horizontal_ctu_offset_plus1[ i ][ j ] together.
ctu_based_offset_enabled_flag[ i ][ j ] equal to 0 specifies that the spatial region, in units of slice segments, tiles or CTU
rows, in each picture of the j-th direct reference layer of the i-th layer, that is not used for inter-layer prediction for decoding
of any picture of the i-th layer is indicated by min_spatial_segment_offset_plus1[ i ] only. When not present, the value of
ctu_based_offset_enabled_flag[ i ] is inferred to be equal to 0.
min_horizontal_ctu_offset_plus1[ i ][ j ], when ctu_based_offset_enabled_flag[ i ][ j ] is equal to 1, indicates the spatial
region, in each picture of the j-th direct reference layer of the i-th layer, that is not used for inter-layer prediction for
decoding of any picture of the i-th layer, together with min_spatial_segment_offset_plus1[ i ][ j ], as specified below. The
value of min_horizontal_ctu_offset_plus1[ i ][ j ] shall be in the range of 0 to refLayerPicWidthInCtbsY[ i ][ j ], inclusive.
When ctu_based_offset_enabled_flag[ i ][ j ] is equal to 1, the variable minHorizontalCtbOffset[ i ][ j ] is derived as
follows:
      minHorizontalCtbOffset[ i ][ j ] = ( min_horizontal_ctu_offset_plus1[ i ][ j ] > 0 ) ?               (F-23)
             ( min_horizontal_ctu_offset_plus1[ i ][ j ] − 1 ) : ( refLayerPicWidthInCtbsY[ i ][ j ] − 1 )
For any i in the range of 1 to MaxLayersMinus1, inclusive, and any j in the range of 0 to
NumDirectRefLayers[ layer_id_in_nuh[ i ] ], inclusive, when min_spatial_segment_offset_plus1[ i ][ j ] is greater than 0,
it is a requirement of bitstream conformance that the following shall apply:
–     Let picA be a picture in the i-th layer and let picB be the direct reference layer picture of picA with nuh_layer_id
      equal to IdDirectRefLayer[ layer_id_in_nuh[ i ] ][ j ]. The variable colCtbAddr[ i ][ j ] that denotes the raster scan
      address of the collocated CTU, in the direct reference layer picture picB, of the CTU with raster scan address equal
      to ctbAddr[ i ] in picA is derived as specified in the following:
      –   The variables curPicWidthY, curPicHeightY, curCtbLog2SizeY and curPicWidthInCtbsY are set equal to
          pic_width_in_luma_samples, pic_height_in_luma_samples, CtbLog2SizeY and PicWidthInCtbsY,
          respectively, of the i-th layer picture picA.
      –   The variables refPicWidthY, refPicHeightY, refCtbLog2SizeY and refPicWidthInCtbsY are set equal to
          pic_width_in_luma_samples, pic_height_in_luma_samples, CtbLog2SizeY and PicWidthInCtbsY,
          respectively, of the direct reference layer picture picB.
      –   If scaled_ref_layer_offset_present_flag[ IdDirectRefLayer[ layer_id_in_nuh[ i ] ][ j ] ] in the PPS referred to by
           the i-th layer picture picA is equal to 1, the variables scaledLeftOffset, scaledTopOffset, scaledRightOffset and
           scaledBottomOffset are set equal to the left scaled reference layer offset ScaledRefLayerLeftOffset, the top
           scaled reference layer offset ScaledRefLayerTopOffset, the right scaled reference layer offset
           ScaledRefLayerRightOffset and the bottom scaled reference layer offset ScaledRefLayerBottomOffset,
           respectively, for the direct reference layer picture picB of the i-th layer picture picA.
      –   Otherwise (scaled_ref_layer_offset_present_flag[ IdDirectRefLayer[ layer_id_in_nuh[ i ] ][ j ] ] is equal to 0),
          the variables scaledLeftOffset, scaledTopOffset, scaledRightOffset and scaledBottomOffset are set equal to 0.
      –   If ref_region_offset_present_flag[ IdDirectRefLayer[ layer_id_in_nuh[ i ] ][ j ] ] in the PPS referred to by the i-
           th layer picture picA is equal to 1, the variables refRegionLeftOffset, refRegionTopOffset, refRegionRightOffset
           and refRegionBottomOffset are set equal to the left reference region offset RefLayerRegionLeftOffset, the top
           reference region offset RefLayerRegionTopOffset, the right reference region offset RefLayerRegionRightOffset
           and the bottom reference region offset RefLayerRegionBottomOffset, respectively, for the direct reference layer
           picture picB of the i-th layer picture picA.
      –   Otherwise (ref_region_offset_present_flag[ IdDirectRefLayer[ layer_id_in_nuh[ i ] ][ j ] ] is equal to 0), the
          variables refRegionLeftOffset, refRegionTopOffset, refRegionRightOffset and refRegionBottomOffset are set
          equal to 0.
      –   The variables ( xP, yP ) specifying the location of the top-left luma sample of the CTU with raster scan address
          equal to ctbAddr relative to top-left luma sample in picA are derived as follows:
               xP = ( ctbAddr[ i ] % curPicWidthInCtbsY ) << curCtbLog2SizeY                                               (F-24)
               yP = ( ctbAddr[ i ] / curPicWidthInCtbsY ) << curCtbLog2SizeY                                               (F-25)




478         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 500 of 717 Page ID
                                                          #:1029

     –    The variables ( xPCol, yPCol ) specifying the collocated luma sample location in picB of the luma sample
          location ( xP, yP ) in picA are derived as follows:
               refRegionWidth = refPicWidthY − refRegionLeftOffset − refRegionRightOffset                              (F-26)
               refRegionHeight = refPicHeightY − refRegionTopOffset − refRegionBottomOffset                            (F-27)
               scaledRefRegionWidth = curPicHeightY − scaledLeftOffset − scaledRightOffset                             (F-28)
               scaledRefRegionHeight = curPicHeightY − scaledTopOffset − scaledBottomOffset                            (F-29)
               scaleX = ( ( refRegionWidth << 16 ) + ( scaledRefRegionWidth >> 1 ) ) /
                              scaledRefRegionWidth                                                                     (F-30)
               scaleY = ( ( refRegionHeight << 16 ) + ( scaledRefRegionHeight >> 1 ) ) /
                              scaledRefRegionHeight                                                                    (F-31)
               xPCol = Clip3( 0, ( refPicWidthY − 1 ),                                                                 (F-32)

                    ( ( ( ( xP − scaledLeftOffset ) * scaleX + ( 1 << 15 ) ) >> 16 ) + refRegionLeftOffset ) )
               yPCol = Clip3( 0, ( refPicHeightY − 1 ),                                                                (F-33)

                    ( ( ( ( yP − scaledTopOffset ) * scaleY + ( 1 << 15 ) ) >> 16 ) + refRegionTopOffset ) )
     –    The variable colCtbAddr[ i ][ j ] is derived as follows:
               xColCtb[ i ][ j ] = xPCol >> refCtbLog2SizeY                                                            (F-34)
               yColCtb[ i ][ j ] = yPCol >> refCtbLog2SizeY                                                            (F-35)
               colCtbAddr[ i ][ j ] = xColCtb[ i ][ j ] + ( yColCtb[ i ][ j ] * refPicWidthInCtbsY )                   (F-36)
– If ctu_based_offset_enabled_flag[ i ][ j ] is equal to 0, exactly one of the following applies:
   -     In each PPS referred to by a picture in the j-th direct reference layer of the i-th layer, tiles_enabled_flag is equal
         to 0 and entropy_coding_sync_enabled_flag is equal to 0 and the following applies:
         -    Let slice segment A be any slice segment of a picture of the i-th layer and ctbAddr[ i ] be the raster scan
              address of the last CTU in slice segment A. Let slice segment B be the slice segment that belongs to the same
              access unit as slice segment A, belongs to the j-th direct reference layer of the i-th layer and contains the
              CTU with raster scan address colCtbAddr[ i ][ j ]. Let slice segment C be the slice segment that is in the
              same picture as slice segment B and follows slice segment B in decoding order, and between slice segment
              B and slice segment C there are min_spatial_segment_offset_plus1[ i ] − 1 slice segments in decoding order.
              When slice segment C is present, the syntax elements of slice segment A are constrained such that no sample
              or syntax elements values in slice segment C or any slice segment of the same picture following slice segment
              C in decoding order are used for inter-layer prediction in the decoding process of any samples within slice
              segment A.
   -     In each PPS referred to by a picture in the j-th direct reference layer of the i-th layer, tiles_enabled_flag is equal
         to 1 and entropy_coding_sync_enabled_flag is equal to 0 and the following applies:
         -    Let tile A be any tile in any picture picA of the i-th layer and ctbAddr[ i ] be the raster scan address of the
              last CTU in tile A. Let tile B be the tile that is in the picture picB belonging to the same access unit as picA
              and belonging to the j-th direct reference layer of the i-th layer and that contains the CTU with raster scan
              address colCtbAddr[ i ][ j ]. Let tile C be the tile that is also in picB and follows tile B in decoding order,
              and between tile B and tile C there are min_spatial_segment_offset_plus1[ i ] − 1 tiles in decoding order.
              When tile C is present, the syntax elements of tile A are constrained such that no sample or syntax elements
              values in tile C or any tile of the same picture following tile C in decoding order are used for inter-layer
              prediction in the decoding process of any samples within tile A.
   -     In each PPS referred to by a picture in the j-th direct reference layer of the i-th layer, tiles_enabled_flag is equal
         to 0 and entropy_coding_sync_enabled_flag is equal to 1 and the following applies:
         -    Let CTU row A be any CTU row in any picture picA of the i-th layer and ctbAddr[ i ] be the raster scan
              address of the last CTU in CTU row A. Let CTU row B be the CTU row that is in the picture picB belonging
              to the same access unit as picA and belonging to the j-th direct reference layer of the i-th layer and that
              contains the CTU with raster scan address colCtbAddr[ i ][ j ]. Let CTU row C be the CTU row that is also
              in picB and follows CTU row B in decoding order and between CTU row B and CTU row C there are


                                                                                Rec. ITU-T H.265 v8 (08/2021)            479
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25          Page 501 of 717 Page ID
                                                           #:1030

                min_spatial_segment_offset_plus1[ i ] − 1 CTU rows in decoding order. When CTU row C is present, the
                syntax elements of CTU row A are constrained such that no sample or syntax elements values in CTU row
                C or row of the same picture following CTU row C are used for inter-layer prediction in the decoding process
                of any samples within CTU row A.
– Otherwise (ctu_based_offset_enabled_flag[ i ][ j ] is equal to 1), the following applies:
      -   The variable refCtbAddr[ i ][ j ] is derived as follows:
                xOffset[ i ][ j ] =
                ( ( xColCtb[ i ][ j ] + minHorizontalCtbOffset[ i ][ j ] ) > ( refPicWidthInCtbsY[ i ][ j ] − 1 ) ) ?
                ( refPicWidthInCtbsY[ i ][ j ] − 1 − xColCtb[ i ][ j ] ) : minHorizontalCtbOffset[ i ][ j ]    (F-37)
                yOffset[ i ][ j ] = ( min_spatial_segment_offset_plus1[ i ][ j ] − 1 ) * refPicWidthInCtbsY[ i ][ j ]
                    (F-38)
                refCtbAddr[ i ][ j ] = colCtbAddr[ i ][ j ] + xOffset[ i ][ j ] + yOffset[ i ][ j ]                    (F-39)
      -   Let CTU A be any CTU in any picture picA of the i-th layer, and ctbAddr[ i ] be the raster scan address ctbAddr
          of CTU A. Let CTU B be a CTU that is in the picture belonging to the same access unit as picA and belonging to
          the j-th direct reference layer of the i-th layer and that has raster scan address greater than refCtbAddr[ i ][ j ].
          When CTU B is present, the syntax elements of CTU A are constrained such that no sample or syntax elements
          values in CTU B are used for inter-layer prediction in the decoding process of any samples within CTU A.
vps_vui_bsp_hrd_present_flag equal to 0 specifies that no bitstream partition HRD parameters are present in the VPS
VUI. vps_vui_bsp_hrd_present_flag equal to 1 specifies that bitstream partition HRD parameters are present in the VPS
VUI. When vps_timing_info_present_flag is equal to 0, the value of vps_vui_bsp_hrd_present_flag shall be equal to 0.
base_layer_parameter_set_compatibility_flag[ i ] equal to 1 specifies that the following constraints apply to the layer
with nuh_layer_id equal to layer_id_in_nuh[ i ]. base_layer_parameter_set_compatibility_flag[ i ] equal to 0 specifies that
the following constraints may or may not apply to the layer with nuh_layer_id equal to layer_id_in_nuh[ i ].
– Each coded slice segment NAL unit with nuh_layer_id value equal to layer_id_in_nuh[ i ] referring to the VPS shall
  refer to a PPS with nuh_layer_id value equal to 0.
– Each coded slice segment NAL unit with nuh_layer_id value equal to layer_id_in_nuh[ i ] referring to the VPS shall
  refer to a SPS with nuh_layer_id value equal to 0.
– The      values      of      chroma_format_idc,        separate_colour_plane_flag,      pic_width_in_luma_samples,
  pic_height_in_luma_samples,         bit_depth_luma_minus8,      bit_depth_chroma_minus8,       conf_win_left_offset,
  conf_win_right_offset, conf_win_top_offset and conf_win_bottom_offset, respectively, of the active SPS for the layer
  with nuh_layer_id equal to layer_id_in_nuh[ i ] shall be the same as the values of chroma_format_vps_idc,
  separate_colour_plane_vps_flag,            pic_width_vps_in_luma_samples,          pic_height_vps_in_luma_samples,
  bit_depth_vps_luma_minus8, bit_depth_vps_chroma_minus8, conf_win_vps_left_offset, conf_win_vps_right_offset,
  conf_win_vps_top_offset and conf_win_vps_bottom_offset, respectively, of the vps_rep_format_idx[ i ]-th
  rep_format( ) syntax structure in the active VPS.

F.7.4.3.1.5     Video signal info semantics
video_vps_format,      video_full_range_vps_flag,      colour_primaries_vps,        transfer_characteristics_vps        and
matrix_coeffs_vps are used for inference of the values of the SPS VUI syntax elements video_format,
video_full_range_flag, colour_primaries, transfer_characteristics, and matrix_coeffs, respectively, for each SPS that refers
to the VPS.
For each of these syntax elements, all constraints, if any, that apply to the value of the corresponding SPS VUI syntax
element also apply.

F.7.4.3.1.6     VPS VUI bitstream partition HRD parameters semantics
vps_num_add_hrd_params specifies the number of additional hrd_parameters( ) syntax structures present in the VPS.
The value of vps_num_add_hrd_params shall be in the range of 0 to 1 024 − vps_num_hrd_parameters, inclusive.
cprms_add_present_flag[ i ] equal to 1 specifies that the HRD parameters that are common for all sub-layers are present
in the i-th hrd_parameters( ) syntax structure. cprms_add_present_flag[ i ] equal to 0 specifies that the HRD parameters
that are common for all sub-layers are not present in the i-th hrd_parameters( ) syntax structure and are derived to be the
same as the ( i − 1 )-th hrd_parameters( ) syntax structure. When vps_num_hrd_parameters is equal to 0, the value of
cprms_add_present_flag[ 0 ] is inferred to be equal to 1.
num_sub_layer_hrd_minus1[ i ] plus 1 specifies the number of sub-layers for which HRD parameters are signalled in



480           Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053               Document 1-7            Filed 04/07/25              Page 502 of 717 Page ID
                                                            #:1031

the i-th hrd_parameters( ) syntax structure. The value of num_sub_layer_hrd_minus1[ i ] shall be in the range of 0 to
vps_max_sub_layers_minus1, inclusive.
num_signalled_partitioning_schemes[ h ] specifies the number of signalled partitioning schemes for the h-th output layer
set (OLS). The value of num_signalled_partitioning_schemes[ h ] shall be in the range of 0 to 16, inclusive. When
vps_base_layer_internal_flag is equal to 1, the value of num_signalled_partitioning_schemes[ 0 ] is inferred to be equal to 0.
num_partitions_in_scheme_minus1[ h ][ j ] plus 1 specifies the number of bitstream partitions for the j-th partitioning
scheme of the h-th OLS. The value of num_partitions_in_scheme_minus1[ h ][ j ] shall be in the range of 0 to
NumLayersInIdList[ OlsIdxToLsIdx[ h ] ] − 1, inclusive. When vps_base_layer_internal_flag is equal to 1, the value of
num_partitions_in_scheme_minus1[ 0 ][ 0 ]      is    inferred    to    be   equal    to      0.   The      value     of
num_partitions_in_scheme_minus1[ h ][ 0 ] is inferred to be equal to NumLayersInIdList[ h ] − 1.
    NOTE – The 0-th partitioning scheme for each OLS is inferred to contain the number of bitstream partitions to be equal to the
    number of layers in the OLS and each bitstream partition contains one layer of the OLS.

layer_included_in_partition_flag[ h ][ j ][ k ][ r ] equal to 1 specifies that the r-th layer in the h-th OLS is included in the
k-th bitstream partition of the j-th partitioning scheme of the h-th OLS. layer_included_in_partition_flag[ h ][ j ][ k ][ r ]
equal to 0 specifies that the r-th layer in the h-th OLS is not included in the k-th bitstream partition of the j-th partitioning
scheme of the h-th OLS. When vps_base_layer_internal_flag is equal to 1, the value of
layer_included_in_partition_flag[ 0 ][ 0 ][ 0 ][ 0 ] is inferred to be equal to 1. The value of
layer_included_in_partition_flag[ h ][ 0 ][ k ][ r ] for any value of h in the range of 1 to NumOutputLayerSets − 1,
inclusive, is inferred to be equal to ( k = = r ).
It is a requirement of bitstream conformance that the following constraints apply:
–    For the j-th partitioning scheme of the h-th OLS, the bitstream partition with index k1 shall not include reference
     layers of any layers in the bitstream partition with index k2 for any values of k1 and k2 in the range of 0 to
     num_partitions_in_scheme_minus1[ h ][ j ], inclusive, such that k2 is less than k1.
–    When vps_base_layer_internal_flag is equal to 0 and layer_included_in_partition_flag[ h ][ j ][ k ][ 0 ] is equal to 1 for
     any value of h in the range of 1 to NumOutputLayerSets − 1, inclusive, any value of j in the range of 0 to
     num_signalled_partitioning_schemes[ h ], inclusive, and any value of k in the range of 0 to
     num_partitions_in_scheme_minus1[ h ][ j ], inclusive, the value of layer_included_in_partition_flag[ h ][ j ][ k ][ r ] for
     at least one value of r in the range of 1 to NumLayersInIdList[ OlsIdxToLsIdx[ h ] ] − 1, inclusive, shall be equal to 1.
–    For each partitioning scheme with index j of the h-th OLS and for each layer with layer index r among the layers in
     the h-th OLS, there exists one and only one value of k in the range of 0 to num_partitions_in_scheme_minus1[ h ][ j ],
     inclusive, such that layer_included_in_partition_flag[ h ][ j ][ k ][ r ] is equal to 1.
num_bsp_schedules_minus1[ h ][ i ][ t ] plus 1 specifies the number of delivery schedules specified for bitstream
partitions of the i-th partitioning scheme of the h-th OLS when HighestTid is equal to t. The value of
num_bsp_schedules_minus1[ h ][ i ][ t ] shall be in the range of 0 to 31, inclusive.
The variable BspSchedCnt[ h ][ i ][ t ] is set equal to num_bsp_schedules_minus1[ h ][ i ][ t ] + 1.
bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ] specifies the index of the hrd_parameters( ) syntax structure in the VPS for the j-th
delivery schedule specified for the k-th bitstream partition of the i-th partitioning scheme for the h-th OLS when HighestTid
is    equal      to    t.     The      length     of    the      bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ]  syntax   element    is
Ceil( Log2( vps_num_hrd_parameters + vps_num_add_hrd_params ) ) bits. The value of bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ]
shall be in the range of 0 to vps_num_hrd_parameters + vps_num_add_hrd_params − 1, inclusive. When
vps_num_hrd_parameters + vps_num_add_hrd_params is equal to 1, the value of bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ] is
inferred to be equal to 0.
bsp_sched_idx[ h ][ i ][ t ][ j ][ k ] specifies the index of the delivery schedule within the sub_layer_hrd_parameters( t )
syntax structure of the hrd_parameters( ) syntax structure with the index bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ], that is used as
the j-th delivery schedule specified for the k-th bitstream partition of the i-th partitioning scheme for the h-th OLS when
HighestTid is equal to t. The value of bsp_sched_idx[ h ][ i ][ t ][ j ][ k ] shall be in the range of 0 to cpb_cnt_minus1[ t ],
inclusive, where cpb_cnt_minus1[ t ] is found in the hrd_parameters( ) syntax structure corresponding to the index
bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ].
The following applies for any j greater than 0, any h in the range of 1 to NumOutputLayerSets − 1, inclusive, any i in the
range 0 to num_signalled_partitioning_schemes[ h ], inclusive, any t in the range of 0 to
MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ h ] ], inclusive, and any k in the range of 0 to
num_partitions_in_scheme_minus1[ h ][ i ], inclusive:
– For x in the range of 0 to 1, inclusive, the following applies:
    -    The variable bsIdx is set equal to bsp_sched_idx[ h ][ i ][ t ][ j − x ][ k ].




                                                                                  Rec. ITU-T H.265 v8 (08/2021)            481
      Case 2:25-cv-03053               Document 1-7           Filed 04/07/25         Page 503 of 717 Page ID
                                                            #:1032

      -      The variables bitRateValueMinus1[ x ], bitRateDuValueMinus1[ x ], cpbSizeValueMinus1[ x ] and
             cpbSizeDuValueMinus1[ x ] are set equal to the values of the syntax elements bit_rate_value_minus1[ bsIdx ],
             bit_rate_du_value_minus1[ bsIdx ], cpb_size_value_minus1[ bsIdx ] and cpb_size_du_value_minus1[ bsIdx ],
             respectively, found in the sub_layer_hrd_parameters( t ) syntax structure within the hrd_parameters( ) structure
             with index bsp_hrd_idx[ h ][ i ][ t ][ j − x ][ k ].
– It is a requirement of bitstream conformance that all of the following conditions shall be true:
      -      bitRateValueMinus1[ 0 ] is greater than bitRateValueMinus1[ 1 ].
      -      bitRateDuValueMinus1[ 0 ] is greater than bitRateDuValueMinus1[ 1 ].
      -      cpbSizeValueMinus1[ 0 ] is less than or equal to cpbSizeValueMinus1[ 1 ].
      -      cpbSizeDuValueMinus1[ 0 ] is less than or equal to cpbSizeDuValueMinus1[ 1 ].
The arrays BpBitRate and BpbSize for bitstream partition buffer (BPB) are derived as follows:
              for( h = 1; h < NumOutputLayerSets; h++ )
                   for( i = 0; i <= num_signalled_partitioning_schemes[ h ]; i++ )
                         for( t = 0; t <= MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ h ] ]; t++ )
                             for( j = 0; j <= num_bsp_schedules_minus1[ h ][ i ][ t ]; j++ )
                                 for( k = 0; k <= num_partitions_in_scheme_minus1[ h ][ i ]; k++ ) {
                                    bsIdx = bsp_sched_idx[ h ][ i ][ t ][ j ][ k ]
                                    brDu = ( bit_rate_du_value_minus1[ bsIdx ] + 1 ) * 2( 6 + bit_rate_scale )       (F-40)
                                    brPu = ( bit_rate_value_minus1[ bsIdx ] + 1 ) * 2( 6 + bit_rate_scale )
                                    cpbSizeDu = ( cpb_size_du_value_minus1[ bsIdx ] + 1 ) * 2( 4 + cpb_size_du_scale )
                                    cpbSizePu = ( cpb_size_value_minus1[ bsIdx ] + 1 ) * 2( 4 + cpb_size_scale )
                                    BpBitRate[ h ][ i ][ t ][ j ][ k ] = SubPicHrdFlag ? brDu : brPu
                                    BpbSize[ h ][ i ][ t ][ j ][ k ] = SubPicHrdFlag? cpbSizeDu : cpbSizePu
                                 }
where the syntax elements bit_rate_scale, cpb_size_du_scale and cpb_size_scale values are found in the hrd_parameters( )
syntax structure corresponding to the index bsp_hrd_idx[ h ][ i ][ t ][ j ][ k ], and the syntax elements
bit_rate_du_value_minus1[ bsIdx ],      bit_rate_value_minus1[ bsIdx ],    cpb_size_du_value_minus1[ bsIdx ]        and
cpb_size_value_minus1[ bsIdx ] are found in the sub_layer_hrd_parameters( t ) syntax structure within that
hrd_parameters( ) syntax structure.

F.7.4.3.2 Sequence parameter set RBSP semantics

F.7.4.3.2.1       General sequence parameter set RBSP semantics
The specifications in clause 7.4.3.2.1 apply with the following additions and modifications:
sps_max_sub_layers_minus1 plus 1 specifies the maximum number of temporal sub-layers that may be present in each
CVS referring to the SPS. The value of sps_max_sub_layers_minus1 shall be in the range of 0 to 6, inclusive. The value
of sps_max_sub_layers_minus1 shall be less than or equal to vps_max_sub_layers_minus1. When not present, the value
of          sps_max_sub_layers_minus1           is          inferred        to          be           equal          to
( sps_ext_or_max_sub_layers_minus1 = = 7 ) ? vps_max_sub_layers_minus1 : sps_ext_or_max_sub_layers_minus1.
sps_ext_or_max_sub_layers_minus1 is used to infer the value of sps_max_sub_layers_minus1 and to derive the value
of MultiLayerExtSpsFlag.
It is a requirement of bitstream conformance that the following applies:
–         If the SPS is referred to by any current picture that belongs to an independent non-base layer, the value of
          MultiLayerExtSpsFlag derived from the SPS shall be equal to 0.
–         Otherwise, the value of MultiLayerExtSpsFlag derived from the SPS shall be equal to 1.
sps_temporal_id_nesting_flag, when sps_max_sub_layers_minus1 is greater than 0, specifies whether inter prediction is
additionally restricted for CVSs referring to the SPS. When vps_temporal_id_nesting_flag is equal to 1,
sps_temporal_id_nesting_flag shall be equal to 1. When sps_max_sub_layers_minus1 is equal to 0,
sps_temporal_id_nesting_flag shall be equal to 1. When not present, the value of sps_temporal_id_nesting_flag is inferred
as follows:
–         If sps_max_sub_layers_minus1 is greater than 0, the value of sps_temporal_id_nesting_flag is inferred to be equal
          to vps_temporal_id_nesting_flag.



482            Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 504 of 717 Page ID
                                                              #:1033

–     Otherwise, the value of sps_temporal_id_nesting_flag is inferred to be equal to 1.
    NOTE 1 – The syntax element sps_temporal_id_nesting_flag is used to indicate that temporal up-switching, i.e., switching from
    decoding up to any TemporalId tIdN to decoding up to any TemporalId tIdM that is greater than tIdN, is always possible in the CVS.

update_rep_format_flag equal to 1 specifies that sps_rep_format_idx is present and that the sps_rep_format_idx-th
rep_format( ) syntax structures in the active VPS applies to the layers that refer to this SPS. update_rep_format_flag equal
to 0 specifies that sps_rep_format_idx is not present. When the value of vps_num_rep_formats_minus1 in the active VPS
is equal to 0, it is a requirement of bitstream conformance that the value of update_rep_format_flag shall be equal to 0.
When not present, the value of update_rep_format_flag is inferred to be equal to 0.
sps_rep_format_idx specifies the index, into the list of rep_format( ) syntax structures in the VPS, of the rep_format( )
syntax structure that applies to the layers that refer to this SPS. The value of sps_rep_format_idx shall be in the range of 0
to vps_num_rep_formats_minus1, inclusive.
When a current picture with nuh_layer_id layerIdCurr greater than 0 refers to an SPS and the layer with nuh_layer_id equal
to layerIdCurr is not an independent non-base layer, the values of chroma_format_idc, separate_colour_plane_flag,
pic_width_in_luma_samples, pic_height_in_luma_samples, bit_depth_luma_minus8, bit_depth_chroma_minus8,
conf_win_left_offset, conf_win_right_offset, conf_win_top_offset and conf_win_bottom_offset are inferred or
constrained as follows:
–     The variable repFormatIdx is derived as follows:
     –     If update_rep_format_flag is equal to 0, the                         variable     repFormatIdx       is   set    equal     to
           vps_rep_format_idx[ LayerIdxInVps[ layerIdCurr ] ].
     –     Otherwise (update_rep_format_flag is equal to 1), repFormatIdx is set equal to sps_rep_format_idx.
–     If MultiLayerExtSpsFlag derived from the active SPS for the layer with nuh_layer_id equal to layerIdCurr is equal
      to 0, the values of chroma_format_idc, separate_colour_plane_flag, pic_width_in_luma_samples,
      pic_height_in_luma_samples,      bit_depth_luma_minus8,      bit_depth_chroma_minus8,       conf_win_left_offset,
      conf_win_right_offset, conf_win_top_offset and conf_win_bottom_offset, are inferred to be equal to
      chroma_format_vps_idc,              separate_colour_plane_vps_flag,            pic_width_vps_in_luma_samples,
      pic_height_vps_in_luma_samples,            bit_depth_vps_luma_minus8,            bit_depth_vps_chroma_minus8,
      conf_win_vps_left_offset, conf_win_vps_right_offset, conf_win_vps_top_offset and conf_win_vps_bottom_offset,
      respectively, of the repFormatIdx-th rep_format( ) syntax structure in the active VPS and the values of
      chroma_format_idc, separate_colour_plane_flag, pic_width_in_luma_samples, pic_height_in_luma_samples,
      bit_depth_luma_minus8,        bit_depth_chroma_minus8,         conf_win_left_offset,      conf_win_right_offset,
      conf_win_top_offset and conf_win_bottom_offset signalled in the active SPS for the layer with nuh_layer_id equal
      to layerIdCurr are ignored.
           NOTE 2 – The values are inferred from the VPS when a layer that is not an independent layer refers to an SPS that is also
           referred to by the base layer, in which case the SPS has nuh_layer_id equal to 0. For independent layers, the values of these
           parameters in the active SPS for the base layer apply.

–     Otherwise, the values of chroma_format_idc, separate_colour_plane_flag, pic_width_in_luma_samples,
      pic_height_in_luma_samples,       bit_depth_luma_minus8,       bit_depth_chroma_minus8,        conf_win_left_offset,
      conf_win_right_offset, conf_win_top_offset and conf_win_bottom_offset are inferred to be equal to
      chroma_format_vps_idc,               separate_colour_plane_vps_flag,               pic_width_vps_in_luma_samples,
      pic_height_vps_in_luma_samples,             bit_depth_vps_luma_minus8,               bit_depth_vps_chroma_minus8,
      conf_win_vps_left_offset, conf_win_vps_right_offset, conf_win_vps_top_offset and conf_win_vps_bottom_offset
      respectively, of the repFormatIdx-th rep_format( ) syntax structure in the active VPS.
It is a requirement of bitstream conformance that, when present, the value of chroma_format_idc,
pic_width_in_luma_samples, pic_height_in_luma_samples, bit_depth_luma_minus8 or bit_depth_chroma_minus8 shall
be less than or equal to chroma_format_vps_idc, pic_width_vps_in_luma_samples, pic_height_vps_in_luma_samples,
bit_depth_vps_luma_minus8, or bit_depth_vps_chroma_minus8, respectively, of the vps_rep_format_idx[ j ]-th
rep_format( ) syntax structure in the active VPS, where j is equal to LayerIdxInVps[ layerIdCurr ].
sps_max_dec_pic_buffering_minus1[ i ] plus 1 specifies the maximum required size of the decoded picture buffer for
the CVS in units of picture storage buffers when HighestTid is equal to i. The value of
sps_max_dec_pic_buffering_minus1[ i ] shall be in the range of 0 to MaxDpbSize − 1, inclusive, where MaxDpbSize is
as specified in clause A.4. When i is greater than 0, sps_max_dec_pic_buffering_minus1[ i ] shall be greater than or equal
to sps_max_dec_pic_buffering_minus1[ i − 1 ]. The value of sps_max_dec_pic_buffering_minus1[ i ] shall be less than or
equal to vps_max_dec_pic_buffering_minus1[ i ] for each value of i. When sps_max_dec_pic_buffering_minus1[ i ] is not
present    for     i   in    the    range     of    0    to    sps_max_sub_layers_minus1 − 1,     inclusive,     due    to
sps_sub_layer_ordering_info_present_flag being            equal to 0, it is          inferred     to be        equal to
sps_max_dec_pic_buffering_minus1[ sps_max_sub_layers_minus1 ].




                                                                                      Rec. ITU-T H.265 v8 (08/2021)                 483
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25           Page 505 of 717 Page ID
                                                           #:1034

When sps_max_dec_pic_buffering_minus1[ i ] is not present for i in the range of 0 to sps_max_sub_layers_minus1,
inclusive, due to MultiLayerExtSpsFlag being equal to 1, for a layer that refers to the SPS and has nuh_layer_id equal to
currLayerId, the value of sps_max_dec_pic_buffering_minus1[ i ] is inferred to be equal to
max_vps_dec_pic_buffering_minus1[ TargetOlsIdx ][ layerIdx ][ i ] of the active VPS, where layerIdx is equal to the
value such that LayerSetLayerIdList[ TargetDecLayerSetIdx ][ layerIdx ] is equal to currLayerId.
sps_infer_scaling_list_flag equal to 1 specifies that the syntax elements of the scaling list data syntax structure of the SPS
are inferred to be equal to those of the SPS that is active for the layer with nuh_layer_id equal to
sps_scaling_list_ref_layer_id. sps_infer_scaling_list_flag equal to 0 specifies that the syntax elements of the scaling list
data syntax structure are not inferred. When not present, the value of sps_infer_scaling_list_flag is inferred to be 0.
sps_scaling_list_ref_layer_id specifies the value of the nuh_layer_id of the layer for which the active SPS is associated
with the same scaling list data as the current SPS. The value of sps_scaling_list_ref_layer_id shall be in the range of 0 to
62, inclusive.
When vps_base_layer_internal_flag is equal to 0, it is a requirement of bitstream conformance that the value of
sps_scaling_list_ref_layer_id, when present, shall be greater than 0.
It is a requirement of bitstream conformance that, when an SPS with nuh_layer_id equal to nuhLayerIdA is active for a
layer with nuh_layer_id equal to nuhLayerIdB and sps_infer_scaling_list_flag in the SPS is equal to 1,
sps_infer_scaling_list_flag shall be equal to 0 for the SPS that is active for the layer with nuh_layer_id equal to
sps_scaling_list_ref_layer_id.
It is a requirement of bitstream conformance that, when an SPS with nuh_layer_id equal to nuhLayerIdA is active for a
layer with nuh_layer_id equal to nuhLayerIdB and sps_infer_scaling_list_flag in the SPS equal to 1, the layer with
nuh_layer_id equal to sps_scaling_list_ref_layer_id shall be a reference layer of the layer with nuh_layer_id equal to
nuhLayerIdB.
It is a requirement of bitstream conformance that, when an SPS is active for a layer with sps_infer_scaling_list_flag in the
SPS is equal to 1, scaling_list_enabled_flag shall be equal to 1 for the SPS that is active for the layer with nuh_layer_id
equal to sps_scaling_list_ref_layer_id.

F.7.4.3.2.2     Sequence parameter set range extension semantics
The specifications in clause 7.4.3.2.2 apply.

F.7.4.3.2.3     Sequence parameter set screen content coding extension semantics
The specifications in clause 7.4.3.2.3 apply.

F.7.4.3.2.4     Sequence parameter set multilayer extension semantics
inter_view_mv_vert_constraint_flag equal to 1 indicates that vertical component of motion vectors used for inter-layer
prediction are constrained in the layers for which this SPS RBSP is the active SPS RBSP. When
inter_view_mv_vert_constraint_flag is equal to 1, the vertical component of the motion vectors used for inter-layer
prediction shall be less than or equal to 56 in units of luma samples. When inter_view_mv_vert_constraint_flag is equal
to 0, no constraint on the vertical component of the motion vectors used for inter-layer prediction is signalled by this flag.
When not present, the value of inter_view_mv_vert_constraint_flag is inferred to be equal to 0.

F.7.4.3.3 Picture parameter set RBSP semantics

F.7.4.3.3.1     General picture parameter set RBSP semantics
The specifications in clause 7.4.3.3.1 apply with the replacement of the semantics of pps_scaling_list_data_present_flag
as follows:
pps_scaling_list_data_present_flag equal to 1 specifies that the scaling list data used for the pictures referring to the PPS
are derived based on the scaling lists specified by the active SPS and the scaling lists specified by the PPS.
pps_scaling_list_data_present_flag equal to 0 specifies that the scaling list data used for the pictures referring to the PPS
are inferred to be equal to those specified by the active SPS (when pps_infer_scaling_list_flag is equal to 0) or is specified
by pps_scaling_list_ref_layer_id (when pps_infer_scaling_list_flag is equal to 1). When scaling_list_enabled_flag is equal
to 0, the value of pps_scaling_list_data_present_flag shall be equal to 0. When scaling_list_enabled_flag is equal to 1,
sps_scaling_list_data_present_flag is equal to 0, pps_scaling_list_data_present_flag is equal to 0 and
pps_infer_scaling_list_flag is equal to 0, the default scaling list data are used to derive the array ScalingFactor as specified
in clause 7.4.5.

F.7.4.3.3.2     Picture parameter set range extension semantics
The specifications in clause 7.4.3.3.2 apply.



484           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7            Filed 04/07/25            Page 506 of 717 Page ID
                                                            #:1035

F.7.4.3.3.3   Picture parameter set screen content coding extension semantics
The specifications in clause 7.4.3.3.3 apply.

F.7.4.3.3.4   Picture parameter set multilayer extension semantics
poc_reset_info_present_flag equal to 0 specifies that the syntax element poc_reset_idc is not present in the slice segment
headers of the slices referring to the PPS. poc_reset_info_present_flag equal to 1 specifies that the syntax element
poc_reset_idc is present in the slice segment headers of the slices referring to the PPS. When not present, the value of
poc_reset_info_present_flag is inferred to be equal to 0.
pps_infer_scaling_list_flag equal to 1 specifies that the syntax elements of the scaling list data syntax structure of the
PPS are inferred to be equal to those of the PPS that is active for the layer with nuh_layer_id equal to
pps_scaling_list_ref_layer_id. pps_infer_scaling_list_flag equal to 0 specifies that the syntax elements of the scaling list
data syntax structure of the PPS are not inferred. When scaling_list_enabled_flag is equal to 0, nuh_layer_id of the layer
referring to the PPS is equal to 0 or pps_scaling_list_data_present_flag is equal to 1, pps_infer_scaling_list_flag shall be
equal to 0. When not present, the value of pps_infer_scaling_list_flag is inferred to be 0.
pps_scaling_list_ref_layer_id specifies the value of nuh_layer_id of the layer for which the active PPS has the same
scaling list data as the current PPS.
The value of pps_scaling_list_ref_layer_id shall be in the range of 0 to 62, inclusive.
When vps_base_layer_internal_flag is equal to 0, it is a requirement of bitstream conformance that
pps_scaling_list_ref_layer_id, when present, shall be greater than 0. It is a requirement of bitstream conformance that,
when a PPS with nuh_layer_id equal to nuhLayerIdA is active for a layer with nuh_layer_id equal to nuhLayerIdB and
pps_infer_scaling_list_flag in the PPS is equal to 1, pps_infer_scaling_list_flag shall be equal to 0 for the PPS that is active
for the layer with nuh_layer_id equal to pps_scaling_list_ref_layer_id.
It is a requirement of bitstream conformance that, when a PPS with nuh_layer_id equal to nuhLayerIdA is active for a layer
with nuh_layer_id equal to nuhLayerIdB and pps_infer_scaling_list_flag in the PPS equal to 1, the layer with nuh_layer_id
equal to pps_scaling_list_ref_layer_id shall be a reference layer of the layer with nuh_layer_id equal to nuhLayerIdB.
It is a requirement of bitstream conformance that, when a PPS is active for a layer with pps_infer_scaling_list_flag in the
PPS equal to 1, scaling_list_enabled_flag shall be equal to 1 for the SPS that is active for the layer with nuh_layer_id equal
to pps_scaling_list_ref_layer_id.
num_ref_loc_offsets specifies the number of reference layer location offsets that are present in the PPS. The value of
num_ref_loc_offsets shall be in the range of 0 to vps_max_layers_minus1, inclusive.
ref_loc_offset_layer_id[ i ] specifies the nuh_layer_id value for which the i-th reference layer location offset parameters
are specified.
   NOTE – ref_loc_offset_layer_id[ i ] need not be among the direct reference layers, for example when the spatial correspondence of
   an auxiliary picture to its associated primary picture is specified.

The i-th reference layer location offset parameters consist of the i-th scaled reference layer offset parameters, the i-th
reference region offset parameters and the i-th resampling phase set parameters.
scaled_ref_layer_offset_present_flag[ i ] equal to 1 specifies that the i-th scaled reference layer offset parameters are
present in the PPS. scaled_ref_layer_offset_present_flag[ i ] equal to 0 specifies that the i-th scaled reference layer offset
parameters are not present in the PPS. When not present, the value of scaled_ref_layer_offset_present_flag[ i ] is inferred
to be equal to 0.
The i-th scaled reference layer offset parameters specify the spatial correspondence of a picture referring to this PPS relative
to the reference region in a decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ].
scaled_ref_layer_left_offset[ ref_loc_offset_layer_id[ i ] ] specifies the horizontal offset between the sample in the
current picture that is collocated with the top-left luma sample of the reference region in a decoded picture with
nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the top-left luma sample of the current picture in units of subWC
luma samples, where subWC is equal to the SubWidthC of the picture that refers to this PPS. The value of
scaled_ref_layer_left_offset[ ref_loc_offset_layer_id[ i ] ] shall be in the range of −214 to 214 − 1, inclusive. When not
present, the value of scaled_ref_layer_left_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
scaled_ref_layer_top_offset[ ref_loc_offset_layer_id[ i ] ] specifies the vertical offset between the sample in the current
picture that is collocated with the top-left luma sample of the reference region in a decoded picture with nuh_layer_id equal
to ref_loc_offset_layer_id[ i ] and the top-left luma sample of the current picture in units of subHC luma samples, where
subHC is equal to the SubHeightC of the picture that refers to this PPS. The value of
scaled_ref_layer_top_offset[ ref_loc_offset_layer_id[ i ] ] shall be in the range of −214 to 214 − 1, inclusive. When not
present, the value of scaled_ref_layer_top_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.



                                                                                   Rec. ITU-T H.265 v8 (08/2021)              485
      Case 2:25-cv-03053            Document 1-7            Filed 04/07/25          Page 507 of 717 Page ID
                                                          #:1036

scaled_ref_layer_right_offset[ ref_loc_offset_layer_id[ i ] ] specifies the horizontal offset between the sample in the
current picture that is collocated with the bottom-right luma sample of the reference region in a decoded picture with
nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the bottom-right luma sample of the current picture in units of
subWC luma samples, where subWC is equal to the SubWidthC of the picture that refers to this PPS. The value of
scaled_ref_layer_right_offset[ ref_loc_offset_layer_id[ i ] ] shall be in the range of −214 to 214 − 1, inclusive. When not
present, the value of scaled_ref_layer_right_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
scaled_ref_layer_bottom_offset[ ref_loc_offset_layer_id[ i ] ] specifies the vertical offset between the sample in the
current picture that is collocated with the bottom-right luma sample of the reference region in a decoded picture with
nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the bottom-right luma sample of the current picture in units of subHC
luma samples, where subHC is equal to the SubHeightC of the picture that refers to this PPS. The value of
scaled_ref_layer_bottom_offset[ ref_loc_offset_layer_id[ i ] ] shall be in the range of −214 to 214 − 1, inclusive. When not
present, the value of scaled_ref_layer_bottom_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
Let currTopLeftSample, currBotRightSample, colRefRegionTopLeftSample and colRefRegionBotRightSample be the
top-left luma sample of the current picture, the bottom-right luma sample of the current picture, the sample in the current
picture that is collocated with the top-left luma sample of the reference region in a decoded picture with nuh_layer_id equal
to ref_loc_offset_layer_id[ i ], and the sample in the current picture that is collocated with the bottom-right luma sample
of the reference region in the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ], respectively.
When      the   value     of     scaled_ref_layer_left_offset[ ref_loc_offset_layer_id[ i ] ]   is   greater     than      0,
colRefRegionTopLeftSample is located to the right of currTopLeftSample. When the value of
scaled_ref_layer_left_offset[ ref_loc_offset_layer_id[ i ] ] is less than 0, colRefRegionTopLeftSample is located to the left
of currTopLeftSample.
When      the   value    of     scaled_ref_layer_top_offset[ ref_loc_offset_layer_id[ i ] ]  is   greater    than   0,
colRefRegionTopLeftSample         is     located     below        currTopLeftSample.      When     the     value    of
scaled_ref_layer_top_offset[ ref_loc_offset_layer_id[ i ] ] is less than 0, colRefRegionTopLeftSample is located above
currTopLeftSample.
When       the   value   of     scaled_ref_layer_right_offset[ ref_loc_offset_layer_id[ i ] ]  is   greater    than    0,
colRefRegionBotRightSample is located to the left of currBotRightSample. When the value of
scaled_ref_layer_right_offset[ ref_loc_offset_layer_id[ i ] ] is less than 0, colRefRegionTopLeftSample is located to the
right of currBotRightSample.
When the value of scaled_ref_layer_bottom_offset[ ref_loc_offset_layer_id[ i ] ] is greater than 0,
colRefRegionBotRightSample        is    located     above        currBotRightSample.    When     the   value     of
scaled_ref_layer_bottom_offset[ ref_loc_offset_layer_id[ i ] ] is less than 0, colRefRegionTopLeftSample is located
below currBotRightSample.
ref_region_offset_present_flag[ i ] equal to 1 specifies that the i-th reference region offset parameters are present in the
PPS. ref_region_offset_present_flag[ i ] equal to 0 specifies that the i-th reference region offset parameters are not present
in the PPS. When not present, the value of ref_region_offset_present_flag[ i ] is inferred to be equal to 0.
The i-th reference region offset parameters specify the spatial correspondence of the reference region in the decoded picture
with nuh_layer_id equal to ref_loc_offset_layer_id[ i ] relative to the same decoded picture.
ref_region_left_offset[ ref_loc_offset_layer_id[ i ] ] specifies the horizontal offset between the top-left luma sample of
the reference region in the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the top-left luma
sample of the same decoded picture in units of subWC luma samples, where subWC is equal to the SubWidthC of the layer
with nuh_layer_id equal to ref_loc_offset_layer_id[ i ]. The value of ref_region_left_offset[ ref_loc_offset_layer_id[ i ] ]
shall be in the range of −214 to 214 − 1, inclusive. When not present, the value of
ref_region_left_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
ref_region_top_offset[ ref_loc_offset_layer_id[ i ] ] specifies the vertical offset between the top-left luma sample of the
reference region in the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the top-left luma sample
of the same decoded picture in units of subHC luma samples, where subHC is equal to the SubHeightC of the layer with
nuh_layer_id equal to ref_loc_offset_layer_id[ i ]. The value of ref_region_top_offset[ ref_loc_offset_layer_id[ i ] ] shall
be     in   the     range    of     −214    to   214 − 1,      inclusive.    When     not    present,     the     value   of
ref_region_top_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
ref_region_right_offset[ ref_loc_offset_layer_id[ i ] ] specifies the horizontal offset between the bottom-right luma
sample of the reference region in the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the
bottom-right luma sample of the same decoded picture in units of subWC luma samples, where subWC is equal to the
SubWidthC of the layer with nuh_layer_id equal to ref_loc_offset_layer_id[ i ]. The value of
ref_layer_right_offset[ ref_loc_offset_layer_id[ i ] ] shall be in the range of −214 to 214 − 1, inclusive. When not present,
the value of ref_region_right_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.



486        Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 508 of 717 Page ID
                                                          #:1037

ref_region_bottom_offset[ ref_loc_offset_layer_id[ i ] ] specifies the vertical offset between the bottom-right luma
sample of the reference region in the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the
bottom-right luma sample of the same decoded picture in units of subHC luma samples, where subHC is equal to the
SubHeightC of the layer with nuh_layer_id equal to ref_loc_offset_layer_id[ i ]. The value of
ref_layer_bottom_offset[ ref_loc_offset_layer_id[ i ] ] shall be in the range of −214 to 214 − 1, inclusive. When not present,
the value of ref_region_bottom_offset[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
Let refPicTopLeftSample, refPicBotRightSample, refRegionTopLeftSample and refRegionBotRightSample be the top-left
luma sample of the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ], the bottom-right luma sample
of the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ], the top-left luma sample of the reference
region in the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ] and the bottom-right luma sample of
the reference region in the decoded picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ], respectively.
When the value of ref_region_left_offset[ ref_loc_offset_layer_id[ i ] ] is greater than 0, refRegionTopLeftSample is
located to the right of refPicTopLeftSample. When the value of ref_region_left_offset[ ref_loc_offset_layer_id[ i ] ] is less
than 0, refRegionTopLeftSample is located to the left of refPicTopLeftSample.
When the value of ref_region_top_offset[ ref_loc_offset_layer_id[ i ] ] is greater than 0, refRegionTopLeftSample is
located below refPicTopLeftSample. When the value of ref_region_top_offset[ ref_loc_offset_layer_id[ i ] ] is less than 0,
refRegionTopLeftSample is located above refPicTopLeftSample.
When the value of ref_region_right_offset[ ref_loc_offset_layer_id[ i ] ] is greater than 0, refRegionBotRightSample is
located to the left of refPicBotRightSample. When the value of ref_region_right_offset[ ref_loc_offset_layer_id[ i ] ] is
less than 0, refRegionBotRightSample is located to the right of refPicBotRightSample.
When the value of ref_region_bottom_offset[ ref_loc_offset_layer_id[ i ] ] is greater than 0, refRegionBotRightSample is
located above refPicBotRightSample. When the value of ref_region_bottom_offset[ ref_loc_offset_layer_id[ i ] ] is less
than 0, refRegionBotRightSample is located below refPicBotRightSample.
resample_phase_set_present_flag[ i ] equal to 1 specifies that the i-th resampling phase set is present in the PPS.
resample_phase_set_present_flag[ i ] equal to 0 specifies that the i-th resampling phase set is not present in the PPS. When
not present, the value of resample_phase_set_present_flag[ i ] is inferred to be equal to 0.
The i-th resampling phase set specifies the phase offsets used in resampling process of the direct reference layer picture
with nuh_layer_id equal to ref_loc_offset_layer_id[ i ]. When the layer specified by ref_loc_offset_layer_id[ i ] is not a
direct reference layer of the current layer, the values of the syntax elements phase_hor_luma[ ref_loc_offset_layer_id[ i ] ],
phase_ver_luma[ ref_loc_offset_layer_id[ i ] ],            phase_hor_chroma_plus8[ ref_loc_offset_layer_id[ i ] ]        and
phase_ver_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] are unspecified and shall be ignored by decoders.
phase_hor_luma[ ref_loc_offset_layer_id[ i ] ] specifies the luma phase shift in the horizontal direction used in the
resampling process of the direct reference layer picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ]. The value
of phase_hor_luma[ ref_loc_offset_layer_id[ i ] ] shall be in the range of 0 to 31, inclusive. When not present, the value of
phase_hor_luma[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
phase_ver_luma[ ref_loc_offset_layer_id[ i ] ] specifies the luma phase shift in the vertical direction used in the
resampling of the direct reference layer picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ]. The value of
phase_ver_luma[ ref_loc_offset_layer_id[ i ] ] shall be in the range of 0 to 31, inclusive. When not present, the value of
phase_ver_luma[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 0.
phase_hor_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] minus 8 specifies the chroma phase shift in the horizontal
direction used in the resampling of the direct reference layer picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ].
The value of phase_hor_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] shall be in the range of 0 to 63, inclusive. When not
present, the value of phase_hor_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 8.
phase_ver_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] minus 8 specifies the chroma phase shift in the vertical direction
used in the resampling process of the direct reference layer picture with nuh_layer_id equal to ref_loc_offset_layer_id[ i ].
The value of phase_ver_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] shall be in the range of 0 to 63, inclusive. When not
present, the value of phase_ver_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] is inferred as follows:
–    If    chroma_format_idc     is    equal     to      3       (4:4:4     chroma        format),       the      value     of
     phase_ver_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to 8.
–    Otherwise, the value of phase_ver_chroma_plus8[ ref_loc_offset_layer_id[ i ] ] is inferred to be equal to
     ( 4 * scaledRefRegHeight + refRegHeight / 2 ) / refRegHeight + 4, where the value of scaledRefRegHeight is equal
     to the value of ScaledRefRegionHeightInSamplesY derived for the direct reference layer picture with nuh_layer_id
     equal to ref_loc_offset_layer_id[ i ] of the picture that refers to this PPS, and the value of refRegHeight is equal to
     RefLayerRegionHeightInSamplesY derived for the direct reference layer picture with nuh_layer_id equal to
     ref_loc_offset_layer_id[ i ] ] of the picture that refers to this PPS.



                                                                                Rec. ITU-T H.265 v8 (08/2021)             487
      Case 2:25-cv-03053            Document 1-7          Filed 04/07/25          Page 509 of 717 Page ID
                                                        #:1038

colour_mapping_enabled_flag equal to 1 specifies the colour mapping process may be applied to the inter-layer reference
pictures for the coded pictures referring to the PPS. colour_mapping_enabled_flag equal to 0 specifies that the colour
mapping process is not applied to the inter-layer reference pictures for the coded pictures referring to the PPS. When not
present, the value of colour_mapping_enabled_flag is inferred to be equal to 0.
It is a requirement of bitstream conformance that, when pps_pic_parameter_set_id is greater than or equal to 8,
colour_mapping_enabled_flag shall be equal to 0.

F.7.4.3.3.5     General colour mapping table semantics
num_cm_ref_layers_minus1 specifies the number of the following cm_ref_layer_id[ i ] syntax elements. The value of
num_cm_ref_layers_minus1 shall be in the range of 0 to 61, inclusive.
cm_ref_layer_id[ i ] specifies the nuh_layer_id value of the associated direct reference layer picture for which the colour
mapping table is specified.
cm_octant_depth specifies the maximal split depth of the colour mapping table. In bitstreams conforming to this version
of this Specification, the value of cm_octant_depth shall be in the range of 0 to 1, inclusive. Other values for
cm_octant_depth are reserved for future use by ITU-T | ISO/IEC.
The variable OctantNumC is derived as follows:
          OctantNumC = 1 << cm_octant_depth                                                                        (F-41)
cm_y_part_num_log2 specifies the number of partitions of the smallest colour mapping table octant for the luma
component. In bitstreams conforming to this version of this Specification, the value of
( cm_y_part_num_log2 + cm_octant_depth ) shall be in the range of 0 to 3, inclusive. Other values for
( cm_y_part_num_log2 + cm_octant_depth ) are reserved for future use by ITU-T | ISO/IEC.
The variables OctantNumY and PartNumY are derived as follows:
          OctantNumY = 1 << ( cm_octant_depth + cm_y_part_num_log2 )                                               (F-42)
          PartNumY = 1 << cm_y_part_num_log2                                                                       (F-43)
luma_bit_depth_cm_input_minus8 specifies the sample bit depth of the input luma component of the colour mapping
process. The variable BitDepthCmInputY is derived as follows:
          BitDepthCmInputY = 8 + luma_bit_depth_cm_input_minus8                                                    (F-44)
It is a requirement of bitstream conformance that the value of BitDepthCmInputY shall be equal to the bit depth of the
luma component of any reference layer with nuh_layer_id equal to one of the cm_ref_layer_id[ i ], for all i in the range of
0 to num_cm_ref_layers_minus1, inclusive.
chroma_bit_depth_cm_input_minus8 specifies the sample bit depth of the input chroma components of the colour
mapping process. The variable BitDepthCmInputC is derived as follows:
          BitDepthCmInputC = 8 + chroma_bit_depth_cm_input_minus8                                                  (F-45)
It is a requirement of bitstream conformance that the value of BitDepthCmInputC shall be equal to the bit depth of the
chroma components of any reference layer with nuh_layer_id equal to one of the cm_ref_layer_id[ i ], for all i in the range
of 0 to num_cm_ref_layers_minus1, inclusive.
luma_bit_depth_cm_output_minus8 specifies the sample bit depth of the output luma component of the colour mapping
process. The variable BitDepthCmOutputY is derived as follows:
          BitDepthCmOutputY = 8 + luma_bit_depth_cm_output_minus8                                                  (F-46)
It is a requirement of bitstream conformance that the value of BitDepthCmOutputY shall be greater than or equal to
BitDepthCmInputY and less than or equal to the bit depth of the luma components of any picture that refers to this PPS.
chroma_bit_depth_cm_output_minus8 specifies the sample bit depth of the output chroma components of the colour
mapping process. The variable BitDepthCmOutputC is derived as follows:
          BitDepthCmOutputC = 8 + chroma_bit_depth_cm_output_minus8                                                (F-47)
It is a requirement of bitstream conformance that the value of BitDepthCmOutputC shall be greater than or equal to
BitDepthCmInputC and less than or equal to the bit depth of the chroma components of any picture that refers to this PPS.
cm_res_quant_bits specifies the number of least significant bits to be added to the colour mapping coefficient residual
values res_coeff_q and res_coeff_r.



488           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 510 of 717 Page ID
                                                          #:1039

cm_delta_flc_bits_minus1 specifies the delta value used to derive the number of bits used to code the syntax element
res_coeff_r.         The         variable          CMResLSBits             is          set          equal         to
Max( 0, ( 10 + BitDepthCmInputY − BitDepthCmOutputY − cm_res_quant_bits − ( cm_delta_flc_bits_minus1 + 1 ) ) ).
cm_adapt_threshold_u_delta specifies the partitioning threshold of the Cb component used in colour mapping process.
When not present, the value of cm_adapt_threshold_u_delta is inferred to be equal to 0. The value of
cm_adapt_threshold_u_delta shall be in the range of −2BitDepthCmInputC − 1 to 2BitDepthCmInputC − 1 − 1, inclusive.
The variable CMThreshU is derived as follows:
          CMThreshU = cm_adapt_threshold_u_delta + ( 1 << ( BitDepthCmInputC − 1 ) )                                   (F-48)
cm_adapt_threshold_v_delta specifies the partitioning threshold of the Cr component used in colour mapping process.
When not present, the value of cm_adapt_threshold_v_delta is inferred to be equal to 0. The value of
cm_adapt_threshold_v_delta shall be in the range of −2BitDepthCmInputC − 1 to 2BitDepthCmInputC − 1 − 1, inclusive.
The variable CMThreshV is derived as follows:
          CMThreshV = cm_adapt_threshold_v_delta + ( 1 << ( BitDepthCmInputC − 1 ) )                                   (F-49)
F.7.4.3.3.6   Colour mapping octants semantics
split_octant_flag equal to 1 specifies that the current colour mapping octant is further split into eight octants with half
length in each of the three dimensions. split_octant_flag equal to 0 specifies that the current colour mapping octant is not
further split into eight octants. When not present, the value of split_octant_flag is inferred to be equal to 0.
coded_res_flag[ idxShiftY ][ idxCb ][ idxCr ][ j ] equal to 1 specifies that the residuals for the j-th colour mapping
coefficients of the octant with octant index equal to ( idxShiftY, idxCb, idxCr ) are present.
coded_res_flag[ idxShiftY ][ idxCb ][ idxCr ][ j ] equal to 0 specifies that the residuals for the j-th colour mapping
coefficients of the octant with octant index equal to ( idxShiftY, idxCb, idxCr ) are not present. When not present, the value
of coded_res_flag[ idxShiftY ][ idxCb ][ idxCr ][ j ] is inferred to be equal to 0.
res_coeff_q[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] specifies the quotient of the residual for the j-th colour mapping
coefficient of the c-th colour component of the octant with octant index equal to ( idxShiftY, idxCb, idxCr ). When not
present, the value of res_coeff_q[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] is inferred to be equal to 0.
res_coeff_r[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] specifies the remainder of the residual for the j-th colour mapping
coefficient of the c-th colour component of the octant with octant index equal to ( idxShiftY, idxCb, idxCr ). The number
of bits used to code res_coeff_r is equal to CMResLSBits. If CMResLSBits is equal to 0, res_coeff_r is not present. When
not present, the value of res_coeff_r[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] is inferred to be equal to 0.
res_coeff_s[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] specifies the sign of the residual for the j-th colour mapping coefficient
of the c-th colour component of the octant with octant index equal to ( idxShiftY, idxCb, idxCr ). When not present, the
value of res_coeff_s[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] is inferred to be equal to 0.
The variables cmResCoeff[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ], with idxShiftY in the range of 0 to OctantNumY − 1,
inclusive, idxCb and idxCr both in the range of 0 to OctantNumC − 1, inclusive, j in the range of 0 to 3, inclusive, and c
in the range of 0 to 2, inclusive, are derived as follows:
          cmResCoeff[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] =
                        ( 1 − 2 * res_coeff_s[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] ) *
                        ( ( ( res_coeff_q[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] << CMResLSBits ) + (F-50)
                        res_coeff_r[ idxShiftY ][ idxCb ][ idxCr ][ j ][ c ] ) << cm_res_quant_bits )
The     colour     mapping      coefficients  LutY[ idxY ][ idxCb ][ idxCr ][ j ], LutCb[ idxY ][ idxCb ][ idxCr ][ j ],
LutCr[ idxY ][ idxCb ][ idxCr ][ j ] with idxY in the range of 0 and OctantNumY − 1, inclusive, idxCb in the range of 0
and OctantNumC − 1, inclusive, idxCr in the range of 0 and OctantNumC − 1, inclusive, and j in the range of 0 and 3,
inclusive, are derived as follows:
          if( idxY = = 0 ) {
               predY[ idxY ][ idxCb ][ idxCr ][ j ] = ( j = = 0 ) ? 1 024 : 0
               predCb[ idxY ][ idxCb ][ idxCr ][ j ] = ( j = = 1 ) ? 1 024 : 0
               predCr[ idxY ][ idxCb ][ idxCr ][ j ] = ( j = = 2 ) ? 1 024 : 0
          } else {
               predY[ idxY ][ idxCb ][ idxCr ][ j ] = LutY[ idxY − 1 ][ idxCb ][ idxCr ][ j ]
               predCb[ idxY ][ idxCb ][ idxCr ][ j ] = LutCb[ idxY − 1 ][ idxCb ][ idxCr ][ j ]
               predCr[ idxY ][ idxCb ][ idxCr ][ j ] = LutCr[ idxY − 1 ][ idxCb ][ idxCr ][ j ]                        (F-51)
          }


                                                                                Rec. ITU-T H.265 v8 (08/2021)            489
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 511 of 717 Page ID
                                                           #:1040

           LutY[ idxY ][ idxCb ][ idxCr ][ j ] =
                          ( cmResCoeff[ idxY ][ idxCb ][ idxCr ][ j ][ 0 ] ) +
                          predY[ idxY ][ idxCb ][ idxCr ][ j ]
           LutCb[ idxY ][ idxCb ][ idxCr ][ j ] =
                          ( cmResCoeff[ idxY ][ idxCb ][ idxCr ][ j ][ 1 ] ) +
                          predCb[ idxY ][ idxCb ][ idxCr ][ j ]
           LutCr[ idxY ][ idxCb ][ idxCr ][ j ] =
                          ( cmResCoeff[ idxY ][ idxCb ][ idxCr ][ j ][ 2 ] ) +
                          predCr[ idxY ][ idxCb ][ idxCr ][ j ]
It is a requirement of bitstream conformance that the values of LutY[ idxY ][ idxCb ][ idxCr ][ i ],
LutCb[ idxY ][ idxCb ][ idxCr ][ i ] and LutCr[ idxY ][ idxCb ][ idxCr ][ i ] shall be in the range of −211 to 211 − 1,
inclusive.
     NOTE – When BitDepthCmInputC is not equal to BitDepthCmInputY, the encoder should select values of
     LutY[ idxY ][ idxCb ][ idxCr ][ 1 ],       LutY[ idxY ][ idxCb ][ idxCr ][ 2 ],    LutCb[ idxY ][ idxCb ][ idxCr ][ 0 ] and
     LutCr[ idxY ][ idxCb ][ idxCr ][ 0 ] that compensate for the bit depth difference.

F.7.4.3.4 Supplemental enhancement information RBSP semantics
The specifications in clause 7.4.3.4 apply.

F.7.4.3.5 Access unit delimiter RBSP semantics
The specifications in clause 7.4.3.5 apply.

F.7.4.3.6 End of sequence RBSP semantics
The specifications in clause 7.4.3.6 apply with the following additions:
When included in a NAL unit with nuh_layer_id nuhLayerId, the end of sequence RBSP specifies that the next picture
having nuh_layer_id equal to nuhLayerId or IdPredictedLayer[ nuhLayerId ][ i ] for any value of i in the range of 0 to
NumPredictedLayers[ nuhLayerId ] − 1, inclusive, following the current access unit in the bitstream in decoding order (if
any) is an IRAP picture with NoRaslOutputFlag equal to 1 and with nuh_layer_id equal to nuhLayerId.

F.7.4.3.7 End of bitstream RBSP semantics
The specifications in clause 7.4.3.7 apply.

F.7.4.3.8 Filler data RBSP semantics
The specifications in clause 7.4.3.8 apply.

F.7.4.3.9 Slice segment layer RBSP semantics
The specifications in clause 7.4.3.9 apply.

F.7.4.3.10      RBSP slice segment trailing bits semantics
The specifications in clause 7.4.3.10 apply.

F.7.4.3.11      RBSP trailing bits semantics
The specifications in clause 7.4.3.11 apply.

F.7.4.3.12      Byte alignment semantics
The specifications in clause 7.4.3.12 apply.

F.7.4.4 Profile, tier and level semantics
The specifications in clause 7.4.4 apply with the replacement of each reference to "Annex A" with a reference to "Annex A,
clause G.11 or clause H.11" and with the following additions and modifications:
The variable offsetVal is set equal to 0 and the variable VpsProfileTierLevel[ i ] is derived according to the following
ordered steps:
1.    VpsProfileTierLevel[ 0 ] is set equal to the profile_tier_level( ) syntax structure in the base VPS (i.e., in the VPS but
      not in the VPS extension syntax structure vps_extension( )) and offsetVal is set equal to 1.




490          Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25            Page 512 of 717 Page ID
                                                                #:1041

2.   When vps_max_layers_minus1 is greater than 0 and vps_base_layer_internal_flag is equal to 1
     VpsProfileTierLevel[ offsetVal ] is set equal to the first profile_tier_level( ) syntax structure in the VPS extension,
     and offsetVal is incremented by 1.
3.   For j in the range of 0 to ( vps_num_profile_tier_level_minus1 − (vps_base_layer_internal_flag ? 2 : 1) ), inclusive,
     VpsProfileTierLevel[ offsetVal + j ] is set equal to the j-th profile_tier_level( ) syntax structure signalled after the
     syntax element vps_num_profile_tier_level_minus1 in the VPS extension.
If vps_base_layer_internal_flag is equal to 0, all bits in the profile_tier_level( ) syntax structure VpsProfileTierLevel[ 0 ]
shall be equal to 0 and decoders shall ignore the syntax structure VpsProfileTierLevel[ 0 ]. Otherwise, the semantics of the
profile_tier_level( ) syntax structure VpsProfileTierLevel[ 0 ] are specified by the remaining part of the current clause.
The scope to which the profile_tier_level( ) syntax structure applies is specified as follows:
–    If the profile_tier_level( ) syntax structure is included in an active SPS for the base layer or is the profile_tier_level( )
     syntax structure VpsProfileTierLevel[ 0 ], it applies to the OLS containing all layers in the bitstream but with only
     the base layer being the output layer.
–    Otherwise, if the profile_tier_level( ) syntax structure is included in an active SPS for an independent non-base layer
     with nuh_layer_id equal to layerId, it applies to the output bitstream of the independent non-base layer rewriting
     process of clause F.10.2 with the input variables assignedBaseLayerId equal to layerId and tIdTarget equal to 6.
–    Otherwise, if all of the following conditions are true, the profile_tier_level( ) syntax structure
     VpsProfileTierLevel[ profile_tier_level_idx[ olsIdx ][ 0 ] ] applies to the output bitstream of the independent non-
     base layer rewriting process of clause F.10.2 with the input variables assignedBaseLayerId equal to
     LayerSetLayerIdList[ OlsIdxToLsIdx[ olsIdx ] ][ 0 ] and tIdTarget equal to 6:
     –      num_add_layer_sets is greater than 0.
     –      OlsIdxToLsIdx[ olsIdx ] is in the range of FirstAddLayerSetIdx to LastAddLayerSetIdx, inclusive.
     –      NumLayersInIdList[ OlsIdxToLsIdx[ olsIdx ] ] is equal to 1.
     –      The profile_tier_level( ) syntax structure VpsProfileTierLevel[ profile_tier_level_idx[ olsIdx ][ 0 ] ] indicates a
            profile specified in Annex A.
     –      The     value     of      general_inbld_flag      in       the      profile_tier_level( )             syntax       structure
            VpsProfileTierLevel[ profile_tier_level_idx[ olsIdx ][ 0 ] ] is equal to 1.
–    Otherwise, the profile_tier_level( ) syntax structure provides profile, tier and level to which a layer in an OLS
     conforms and the profile_tier_level_idx[ i ][ j ] syntax element specifies that the profile_tier_level( ) syntax structure
     VpsProfileTierLevel[ profile_tier_level_idx[ i ][ j ] ] applies to the j-th layer of the i-th OLS.
         NOTE 1 – When vps_base_layer_internal_flag is equal to 1 and vps_max_layers_minus1 is greater than 0, the value of
         profile_tier_level_idx[ 0 ][ 0 ] is inferred to be equal to 1, such that VpsProfileTierLevel[ 1 ] applies to the 0-th OLS, which
         contains only the base layer that is the only output layer.

When the profile_tier_level( ) syntax structure is VpsProfileTierLevel[ k ] for k greater than 0 and profilePresentFlag is
equal to 0, the syntax elements general_profile_space, general_tier_flag, general_profile_idc, general_profile_
compatibility_flag[ j ],   general_progressive_source_flag,      general_interlaced_source_flag,    general_non_packed_
constraint_flag,    general_frame_only_constraint_flag,       general_max_12bit_constraint_flag,      general_max_10bit_
constraint_flag, general_max_8bit_constraint_flag, general_max_422chroma_constraint_flag, general_max_420chroma_
constraint_flag, general_max_monochrome_constraint_flag, general_intra_constraint_flag, general_one_picture_only_
constraint_flag,    general_lower_bit_rate_constraint_flag,      general_max_14bit_constraint_flag,     general_reserved_
zero_33bits, general_reserved_zero_34bits, general_reserved_zero_7bits, general_reserved_zero_35bits, general_
reserved_zero_43bits, general_inbld_flag and general_reserved_zero_1bit are not present in the profile_tier_level( ) syntax
structure and each is inferred to be equal to the value of corresponding syntax element of the profile_tier_level( ) syntax
structure VpsProfileTierLevel[ k − 1 ].
When the profile_tier_level( ) syntax structure is VpsProfileTierLevel[ k ] for k greater than 0 and any of the syntax
elements     sub_layer_profile_space[ i ],     sub_layer_tier_flag[ i ],   sub_layer_profile_idc[ i ],   sub_layer_profile_
compatibility_flag[ i ][ j ], sub_layer_progressive_source_flag[ i ], sub_layer_interlaced_source_flag[ i ], sub_layer_non_
packed_constraint_flag[ i ],       sub_layer_frame_only_constraint_flag[ i ],     sub_layer_max_12bit_constraint_flag[ i ],
sub_layer_max_10bit_constraint_flag[ i ],        sub_layer_max_8bit_constraint_flag[ i ],     sub_layer_max_422chroma_
constraint_flag[ i ], sub_layer_max_420chroma_constraint_flag[ i ], sub_layer_max_monochrome_constraint_flag[ i ],
sub_layer_intra_constraint_flag[ i ],      sub_layer_one_picture_only_constraint_flag[ i ],     sub_layer_lower_bit_rate_
constraint_flag[ i ], sub_layer_max_14bit_constraint_flag[ i ], sub_layer_reserved_zero_33bits[ i ], sub_layer_reserved_
zero_34bits[ i ],     sub_layer_reserved_zero_7bits[ i ],    sub_layer_reserved_zero_35bits[ i ],      sub_layer_reserved_
zero_43bits[ i ], sub_layer_inbld_flag[ i ], sub_layer_reserved_zero_1bit[ i ] and sub_layer_level_idc[ i ] is not present for
any value of i in the range of 0 to maxNumSubLayersMinus1 − 1, inclusive, in the profile_tier_level( ) syntax structure,
the value of the syntax element is inferred to be equal to the value of the corresponding syntax element of the
profile_tier_level( ) syntax structure VpsProfileTierLevel[ k − 1 ].


                                                                                       Rec. ITU-T H.265 v8 (08/2021)               491
      Case 2:25-cv-03053               Document 1-7             Filed 04/07/25             Page 513 of 717 Page ID
                                                              #:1042

A sequence of pictures picSeq is derived as follows:
–     If the profile_tier_level( ) syntax structure is included in an SPS, picSeq consists of the pictures in the CLVS of the
      layer for which the SPS is the active SPS.
–     Otherwise, if the profile_tier_level( ) syntax structure is VpsProfileTierLevel[ 0 ], picSeq consists of the pictures with
      nuh_layer_id equal to 0 in the CVS.
–     Otherwise, if vps_max_layers_minus1 is greater than 0, vps_base_layer_internal_flag is equal to 1 and the
      profile_tier_level( ) syntax structure is VpsProfileTierLevel[ 1 ], picSeq consists of the pictures with nuh_layer_id
      equal to 0 in the CVS.
–     Otherwise       (the    profile_tier_level( )      syntax       structure    is  VpsProfileTierLevel[ offsetVal       +
      profile_tier_level_idx[ i ][ j ] ] for any values of i in the range of 0 to NumOutputLayerSets − 1, inclusive, and j in
      the range of 0 to NumLayersInIdList[ OlsIdxToLsIdx[ i ] ] − 1, inclusive, such that NecessaryLayerFlag[ i ][ j ] is
      equal to 1), picSeq consists of the pictures with nuh_layer_id equal to LayerSetLayerIdList[ OlsIdxToLsIdx[ i ] ][ j ]
      in the CVS.
general_progressive_source_flag and general_interlaced_source_flag are interpreted as follows:
–     If general_progressive_source_flag is equal to 1 and general interlaced_source_flag is equal to 0, the source scan type
      of the pictures in the picSeq should be interpreted as progressive only.
–     Otherwise, if general_progressive_source_flag is equal to 0 and general_interlaced_source_flag is equal to 1, the
      source scan type of the pictures in the picSeq should be interpreted as interlaced only.
–     Otherwise, if general_progressive_source_flag is equal to 0 and general_interlaced_source_flag is equal to 0, the
      source scan type of the pictures in the picSeq should be interpreted as unknown or unspecified.
–     Otherwise, general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 1, the source
      scan type of each picture in the picSeq is indicated at the picture level using the syntax element source_scan_type in
      a picture timing SEI message or the syntax element ffinfo_source_scan_type in a frame-field information SEI
      message.
    NOTE 2 – Decoders may ignore the values of general_progressive_source_flag and general_interlaced_source_flag for purposes
    other than determining the value to be inferred for frame_field_info_present_flag when vui_parameters_present_flag is equal to 0,
    as there are no other decoding process requirements associated with the values of these flags. Moreover, the actual source scan type
    of the pictures is outside the scope of this Specification and the method by which the encoder selects the values of
    general_progressive_source_flag and general_interlaced_source_flag is unspecified.

general_non_packed_constraint_flag equal to 1 specifies that there are neither frame packing arrangement SEI messages
nor segmented rectangular frame packing arrangement SEI messages present for the pictures of picSeq. general
non_packed_constraint_flag equal to 0 indicates that there may or may not be one or more frame packing arrangement SEI
messages or segmented rectangular frame packing arrangement SEI messages present for the pictures of picSeq.
    NOTE 3 – Decoders may ignore the value of general_non_packed_constraint_flag, as there are no decoding process requirements
    associated with the presence or interpretation of frame packing arrangement SEI messages or segmented rectangular frame
    packing arrangement SEI messages.
general_frame_only_constraint_flag equal to 1 specifies that field_seq_flag in the active SPSs for the pictures of picSeq
is equal to 0. general_frame_only_constraint_flag equal to 0 indicates that field_seq_flag in the active SPSs for the pictures
of picSeq may or may not be equal to 0.
    NOTE 4 – Decoders may ignore the value of general_frame_only_constraint_flag, as there are no decoding process requirements
    associated with the value of field_seq_flag.
    NOTE 5 – When general_progressive_source_flag is equal to 1, general_frame_only_constraint_flag may or may not be equal to 1.

It is a requirement of bitstream conformance that when olsIdx is such that alt_output_layer_flag[ olsIdx ] is equal to 1,
general_progressive_source_flag,        general_interlaced_source_flag,   general_non_packed_constraint_flag           and
general_frame_only_constraint_flag in VpsProfileTierLevel[ offsetVal + profile_tier_level_idx[ olsIdx ][ j ] ] shall be
equal to general_progressive_source_flag, general_interlaced_source_flag, general_non_packed_constraint_flag and
general_frame_only_constraint_flag,            respectively,        in        VpsProfileTierLevel[ offsetVal             +
profile_tier_level_idx[ olsIdx ][ k ] ] for any values of j and k in the range of 0 to
NumLayersInIdList[ OlsIdxToLsIdx[ olsIdx ] ] − 1, inclusive, such that NecessaryLayerFlag[ olsIdx ][ j ] is equal to 1 and
NecessaryLayerFlag[ olsIdx ][ k ] is equal to 1.

F.7.4.5 Scaling list data semantics
The specifications in clause 7.4.5 apply.

F.7.4.6 Supplemental enhancement information message semantics
The specifications in clause 7.4.6 apply.



492         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7             Filed 04/07/25            Page 514 of 717 Page ID
                                                             #:1043

F.7.4.7 Slice segment header semantics

F.7.4.7.1 General slice segment header semantics
The specifications in clause 7.4.7.1 apply with the replacement of references to Annex C with references to clause F.13
and with the following additions:
When present, the value of the slice segment header syntax elements discardable_flag, cross_layer_bla_flag,
inter_layer_pred_enabled_flag, num_inter_layer_ref_pics_minus1, poc_reset_idc, poc_reset_period_id, full_poc_reset_flag,
poc_lsb_val, poc_msb_cycle_val_present_flag and poc_msb_cycle_val shall be the same in all slice segment headers of a
coded picture. When present, the value of the slice segment header syntax elements inter_layer_pred_layer_idc[ i ] shall be
the same in all slice segment headers of a coded picture for each possible value of i.
When nal_unit_type has a value in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive, i.e., the picture is an IRAP
picture, NumDirectRefLayers[ nuh_layer_id ] is equal to 0, and pps_curr_pic_ref_enabled_flag is equal to 0, slice_type
shall be equal to 2.
When sps_max_dec_pic_buffering_minus1[ TemporalId ] is equal to 0, NumDirectRefLayers[ nuh_layer_id ] is equal
to 0, and pps_curr_pic_ref_enabled_flag is equal to 0, slice_type shall be equal to 2.
discardable_flag equal to 1 specifies that the coded picture is not used as a reference picture for inter prediction and is not
used as a source picture for inter-layer prediction in the decoding process of subsequent pictures in decoding order.
discardable_flag equal to 0 specifies that the coded picture may be used as a reference picture for inter prediction and may
be used as a source picture for inter-layer prediction in the decoding process of subsequent pictures in decoding order.
When nal_unit_type is equal to TRAIL_R, TSA_R, STSA_R, RASL_R or RADL_R, the value of discardable_flag shall
be equal to 0. When not present, the value of discardable_flag is inferred to be equal to 0.
   NOTE 1 – When a coded picture has discardable_flag equal to 1 in its slice headers, the picture may be ignored by decoders without
   affecting the decoding result of any other picture, in the same layer or a different layer.

cross_layer_bla_flag equal to 1 affects the derivation of NoClrasOutputFlag and LayerResetFlag as specified in
clause F.8.1.3. cross_layer_bla_flag shall be equal to 0 for pictures with nal_unit_type not equal to IDR_W_RADL or
IDR_N_LP or with nuh_layer_id nuhLayerId not equal to any value for which NumDirectRefLayers[ nuhLayerId ] is equal
to 0. When not present, the value of cross_layer_bla_flag is inferred to be equal to 0.
When vps_extension_flag is equal to 1, the sum of NumNegativePics[ CurrRpsIdx ], NumPositivePics[ CurrRpsIdx ],
num_long_term_sps and num_long_term_pics shall be less than or equal to MaxDpbSize − 1, where MaxDpbSize is as
specified in clause G.11.2 or H.11.2.
   NOTE 2 – The way that MaxDpbSize is specified in clause G.11.2 is the same as in clause H.11.2.

inter_layer_pred_enabled_flag equal to 1 specifies that inter-layer prediction may be used in decoding of the current
picture. inter_layer_pred_enabled_flag equal to 0 specifies that inter-layer prediction is not used in decoding of the current
picture.
num_inter_layer_ref_pics_minus1 plus 1 specifies the number of pictures that may be used in decoding of the current
picture for inter-layer prediction. The length of the num_inter_layer_ref_pics_minus1 syntax element is
Ceil( Log2( NumDirectRefLayers[ nuh_layer_id ] ) ) bits. The value of num_inter_layer_ref_pics_minus1 shall be in the
range of 0 to NumDirectRefLayers[ nuh_layer_id ] − 1, inclusive.
The variables numRefLayerPics and refLayerPicIdc[ j ] are derived as follows:
     for( i = 0, j = 0; i < NumDirectRefLayers[ nuh_layer_id ]; i++ ) {
          refLayerIdx = LayerIdxInVps[ IdDirectRefLayer[ nuh_layer_id ][ i ] ]
          if( sub_layers_vps_max_minus1[ refLayerIdx ] >= TemporalId && ( TemporalId = = 0 | | (F-52)
                     max_tid_il_ref_pics_plus1[ refLayerIdx ][ LayerIdxInVps[ nuh_layer_id ] ] >
     TemporalId ) )
               refLayerPicIdc[ j++ ] = i
     }
     numRefLayerPics = j
The variable NumActiveRefLayerPics is derived as follows:
     if( nuh_layer_id = = 0 | | numRefLayerPics = = 0 )
          NumActiveRefLayerPics = 0
     else if( default_ref_layers_active_flag )
          NumActiveRefLayerPics = numRefLayerPics
     else if( !inter_layer_pred_enabled_flag )                                                                              (F-53)
          NumActiveRefLayerPics = 0


                                                                                   Rec. ITU-T H.265 v8 (08/2021)               493
      Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 515 of 717 Page ID
                                                               #:1044

      else if( max_one_active_ref_layer_flag | | NumDirectRefLayers[ nuh_layer_id ] = = 1 )
           NumActiveRefLayerPics = 1
      else
           NumActiveRefLayerPics = num_inter_layer_ref_pics_minus1 + 1
All slices of a coded picture shall have the same value of NumActiveRefLayerPics.
inter_layer_pred_layer_idc[ i ] specifies the variable, RefPicLayerId[ i ], representing the nuh_layer_id of the i-th picture
that may be used by the current picture for inter-layer prediction. The length of the inter_layer_pred_layer_idc[ i ] syntax
element is Ceil( Log2( NumDirectRefLayers[ nuh_layer_id ] ) ) bits. The value of inter_layer_pred_layer_idc[ i ] shall be
in the range of 0 to NumDirectRefLayers[ nuh_layer_id ] − 1, inclusive. When i is greater than 0,
inter_layer_pred_layer_idc[ i ] shall be greater than inter_layer_pred_layer_idc[ i − 1 ]. When not present, the value of
inter_layer_pred_layer_idc[ i ] is inferred to be equal to refLayerPicIdc[ i ].
The variables RefPicLayerId[ i ] for all values of i in the range of 0 to NumActiveRefLayerPics − 1, inclusive, are derived
as follows:
           for( i = 0; i < NumActiveRefLayerPics; i++ )                                                  (F-54)
                RefPicLayerId[ i ] = IdDirectRefLayer[ nuh_layer_id ][ inter_layer_pred_layer_idc[ i ] ]
It is a requirement of bitstream conformance that for each value of i in the range of 0 to NumActiveRefLayerPics − 1,
inclusive, either of the following two conditions shall be true:
–     The value of max_tid_il_ref_pics_plus1[ LayerIdxInVps[ RefPicLayerId[ i ] ] ][ LayerIdxInVps[ nuh_layer_id ] ] is
      greater than TemporalId.
–     The values of max_tid_il_ref_pics_plus1[ LayerIdxInVps[ RefPicLayerId[ i ] ] ][ LayerIdxInVps[ nuh_layer_id ] ]
      and TemporalId are both equal to 0 and the picture in the current access unit with nuh_layer_id equal to
      RefPicLayerId[ i ] is an IRAP picture.
poc_reset_idc equal to 0 specifies that neither the most significant bits nor the least significant bits of the picture order
count value for the current picture are reset. poc_reset_idc equal to 1 specifies that only the most significant bits of the
picture order count value for the current picture may be reset. poc_reset_idc equal to 2 specifies that both the most
significant bits and the least significant bits of the picture order count value for the current picture may be reset.
poc_reset_idc equal to 3 specifies that either only the most significant bits or both the most significant bits and the least
significant bits of the picture order count value for the current picture may be reset and additional picture order count
information is signalled. When not present, the value of poc_reset_idc is inferred to be equal to 0.
It is a requirement of bitstream conformance that the following constraints apply:
–     The value of poc_reset_idc shall not be equal to 1 or 2 for a RASL, RADL, or SLNR picture or a picture that has
      TemporalId greater than 0, or a picture that has discardable_flag equal to 1.
–     The value of poc_reset_idc of all coded pictures that are present in the bitstream in an access unit shall be the same.
–     When the picture in an access unit with nuh_layer_id equal to 0 is an IRAP picture and vps_base_layer_internal_flag
      is equal to 1 and there is at least one other picture in the same access unit that is not an IRAP picture, the value of
      poc_reset_idc shall be equal to 1 or 2 for all pictures in the access unit.
–     When there is at least one picture that has nuh_layer_id greater than 0 and that is an IDR picture with a particular
      value of nal_unit_type in an access unit and there is at least one other coded picture that is present in the bitstream in
      the same access unit with a different value of nal_unit_type, the value of poc_reset_idc shall be equal to 1 or 2 for all
      pictures in the access unit.
–     The value of poc_reset_idc of a CRA or BLA picture shall be less than 3.
–     When the picture with nuh_layer_id equal to 0 in an access unit is an IDR picture and vps_base_layer_internal_flag
      is equal to 1 and there is at least one non-IDR picture in the same access unit, the value of poc_reset_idc shall be
      equal to 2 for all pictures in the access unit.
–     When the picture with nuh_layer_id equal to 0 in an access unit is not an IDR picture and
      vps_base_layer_internal_flag is equal to 1, the value of poc_reset_idc shall not be equal to 2 for any picture in the
      access unit.
–     When poc_lsb_not_present_flag[ LayerIdxInVps[ nuh_layer_id ] ] is equal to 1 and slice_pic_order_cnt_lsb is
      greater than 0, the value of poc_reset_idc shall not be equal to 2.
The value of poc_reset_idc of an access unit is the value of poc_reset_idc of the pictures in the access unit.
    NOTE 3 – Encoders should be cautious in setting the value of poc_reset_idc of pictures when there is a picture of a layer not present
    in an access unit or there is a picture with discardable_flag equal to 1 present in an access unit, to ensure that the derived picture


494         Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 516 of 717 Page ID
                                                               #:1045

    order count values of pictures within an access unit are cross-layer aligned. Basically, such cases should be treated similarly as
    access units with non-cross-layer-aligned IRAP pictures in terms of whether POC resetting is needed.
    NOTE 4 – As specified in clause F.8.3.1, the most significant bits of the PicOrderCntVal of an IDR picture with poc_reset_idc equal
    to 0 are set equal to 0. As specified for the decoder conformance of output order DPB in clause F.13.5.2.2, an IDR picture with
    nuh_layer_id equal to SmallestLayerId does not cause the output of earlier access units, in decoding order, unless the IDR picture is
    a POC resetting picture, activates a new VPS, or causes NoClrasOutputFlag to be derived to be equal to 1. Encoders should be
    cautious when using poc_reset_idc equal to 0 with IDR pictures to maintain the desired picture output order and to obey the
    constraints on the consistent relation of output times to picture order counts as well as the constraints on the output order of two
    pictures in different CVSs.

poc_reset_period_id identifies a POC resetting period. When not present, the value of poc_reset_period_id is inferred as
follows:
–     If there is no picture that is in the same layer as the current picture, precedes the current picture in decoding order,
      and has poc_reset_period_id present in the slice segment header, the value of poc_reset_period_id is inferred to be
      equal to 0.
–     Otherwise, the value of poc_reset_period_id is inferred to be equal to poc_reset_period_id of the last of such pictures,
      in decoding order, that are in the same layer as the current picture, precede the current picture in decoding order, and
      has poc_reset_period_id present in the slice segment header.
    NOTE 5 – It is not prohibited for multiple pictures in a layer to have the same value of poc_reset_period_id and to have
    poc_reset_idc equal to 1 or 2 unless such pictures occur in two consecutive access units in decoding order. To minimize the likelihood
    of such two pictures appearing in the bitstream due to picture losses, bitstream extraction, seeking, or splicing operations, encoders
    should set the value of poc_reset_period_id to be a random value for each POC resetting period (subject to the constraints specified
    above).

It is a requirement of bitstream conformance that the following constraints apply:
–     There shall be no two pictures consecutive in decoding order in the same layer that have the same value of
      poc_reset_period_id and poc_reset_idc equal to 1 or 2.
–     One POC resetting period shall not include more than one access unit with poc_reset_idc equal to 1 or 2.
–     An access unit with poc_reset_idc equal to 1 or 2 shall be the first access unit in a POC resetting period.
–     A picture that follows, in decoding order, the first POC resetting picture among all layers of a POC resetting period
      in decoding order shall not precede, in output order, another picture in any layer that precedes the first POC resetting
      picture in decoding order.
–     The value of poc_reset_period_id shall be the same for all pictures in an access unit.
full_poc_reset_flag equal to 1 specifies that both the most significant bits and the least significant bits of the picture order
count value for the current picture are reset when the previous picture in decoding order in the same layer does not belong
to the same POC resetting period. full_poc_reset_flag equal to 0 specifies that only the most significant bits of the picture
order count value for the current picture are reset when the previous picture in decoding order in the same layer does not
belong to the same POC resetting period.
It is a requirement of bitstream conformance that when the value of poc_reset_idc of pictures in the first access unit in the
same POC resetting period is equal to 1 or 2, the value of full_poc_reset_flag, when present, shall be equal to
poc_reset_idc − 1.
poc_lsb_val specifies a value that may be used to derive the picture order count of the current picture. The length of the
poc_lsb_val syntax element is log2_max_pic_order_cnt_lsb_minus4 + 4 bits.
When poc_lsb_not_present_flag[ LayerIdxInVps[ nuh_layer_id ] ] is equal to 1 and full_poc_reset_flag is equal to 1, the
value of poc_lsb_val shall be equal to 0.
It is a requirement of bitstream conformance that, when poc_reset_idc is equal to 3, and the previous picture picA in
decoding order that is in the same layer as the current picture, that has poc_reset_idc equal to 1 or 2, and that belongs to
the same POC resetting period is present in the bitstream, picA shall be the same picture as the previous picture in decoding
order that is in the same layer as the current picture, that is not a RASL, RADL, or SLNR picture, and that has TemporalId
equal to 0 and discardable_flag equal to 0, and the value of poc_lsb_val of the current picture shall be equal to the value
of slice_pic_order_cnt_lsb of picA.
The variable PocMsbValRequiredFlag is derived as follows:
           PocMsbValRequiredFlag = CraOrBlaPicFlag && ( !vps_poc_lsb_aligned_flag | |                                            (F-55)
                 ( vps_poc_lsb_aligned_flag && NumDirectRefLayers[ nuh_layer_id ] = = 0 ) )




                                                                                       Rec. ITU-T H.265 v8 (08/2021)                495
      Case 2:25-cv-03053                Document 1-7              Filed 04/07/25               Page 517 of 717 Page ID
                                                                #:1046

poc_msb_cycle_val_present_flag       equal      to    1     specifies  that     poc_msb_cycle_val      is     present.
poc_msb_cycle_val_present_flag equal to 0 specifies that poc_msb_cycle_val is not present. When not present, the value
of poc_msb_cycle_val_present_flag is inferred as follows:
–     If slice_segment_header_extension_length is equal to 0, the value of poc_msb_cycle_val_present_flag is inferred to
      be equal to 0.
–     Otherwise, if PocMsbValRequiredFlag is equal to 1, the value of poc_msb_cycle_val_present_flag is inferred to be
      equal to 1.
–     Otherwise, the value of poc_msb_cycle_val_present_flag is inferred to be equal to 0.
         NOTE 6 – When the current picture is an IDR picture with nuh_layer_id equal to 0 and is a POC resetting picture,
         vps_poc_lsb_aligned_flag is equal to 1 and NumPredictedLayers[ 0 ] is greater than 0, poc_msb_cycle_val_present_flag
         should be equal to 1.

poc_msb_cycle_val specifies the value that may be used to derive the picture order count value of the current picture or
used to derive the value used to decrement the picture order count values of previously decoded pictures in the same layer
as the current picture. When vps_poc_lsb_aligned_flag is equal to 1, poc_msb_cycle_val may also specify the value that
is used to derive the value used to decrement the picture order count values of previously decoded pictures of the predicted
layers of the current layer. The value of poc_msb_cycle_val shall be in the range of 0 to 232 − log2_max_pic_order_cnt_lsb_minus4 − 4,
inclusive.
         NOTE 7 – For a picture picA in layer layerA, let msbAnchorPic of the picture picA be the previous POC resetting picture in
         the layer layerA or the previous IDR picture that belongs to the layer layerA and has poc_msb_cycle_val_present_flag equal
         to 0, whichever is closer, in decoding order, to the picture picA. The value of poc_msb_cycle_val is set as follows:
         –      If vps_poc_lsb_aligned_flag is equal to 0, the following applies:
                –    If either of the following conditions is true, the value of poc_msb_cycle_val can be any value in the allowed range:
                     –     msbAnchorPic of the current picture is not present.
                     –     the current picture is the first picture in the current layer that belongs to or follows an access unit that contains
                           an IRAP picture with nuh_layer_id equal to SmallestLayerId and NoClrasOutputFlag equal to 1.
                –    Otherwise, if the current picture is a POC resetting picture, the value of poc_msb_cycle_val is equal to the
                     difference between the values of the most significant bits of the picture order counts of the current picture, as if
                     there was no POC reset operation for the current picture, and msbAnchorPic of the current picture.
                –    Otherwise (the current picture is not a POC resetting picture), the value of poc_msb_cycle_val is equal to the
                     difference between the values of the most significant bits of the picture order count values of the current picture
                     and msbAnchorPic of the current picture.
         –      Otherwise (vps_poc_lsb_aligned_flag is equal to 1), the following applies:
                –    If the current picture is an IDR picture with nuh_layer_id equal to 0 and is a POC resetting picture, encoders
                     should set the value of poc_msb_cycle_val as follows:
                     –     If picture picB other than the current picture is present in the current access unit, the difference between the
                           most significant bits of the picture order counts of picB and msbAnchorPic of picB.
                     –     Otherwise (no picture picB other than the current picture is present in the current access unit), the difference
                           between the most significant bits of the picture order counts of picB as if it would be present in the current
                           access unit and msbAnchorPic of such a picB.
                –    Otherwise, if the current picture is the first picture in the POC resetting period and has nuh_layer_id equal to
                     SmallestLayerid, the value of poc_msb_cycle_val is equal to the difference between the values of the most
                     significant bits of the picture order counts of the current picture, as if there was no POC reset operation for the
                     current picture, and msbAnchorPic of the current picture.
                –    Otherwise when the current picture is not a POC resetting picture, the value of poc_msb_cycle_val is equal to the
                     difference between the values of the most significant bits of the picture order count values of the current picture
                     and msbAnchorPic of the current picture.

slice_segment_header_extension_data_bit may have any value. Decoders shall ignore the value of
slice_segment_header_extension_data_bit. Its value does not affect the decoding process specified in this version of this
Specification.

F.7.4.7.2 Reference picture list modification semantics
The specifications in clause 7.4.7.2 apply with following modifications:
–     Equation 7-57 specifying the derivation of NumPicTotalCurr is replaced by:



496          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25     Page 518 of 717 Page ID
                                                         #:1047

          NumPicTotalCurr = 0
          if( nal_unit_type != IDR_W_RADL && nal_unit_type != IDR_N_LP ) {
               for( i = 0; i < NumNegativePics[ CurrRpsIdx ]; i++ )
                     if( UsedByCurrPicS0[ CurrRpsIdx ][ i ] )
                         NumPicTotalCurr++
               for( i = 0; i < NumPositivePics[ CurrRpsIdx ]; i++ )                                        (F-56)
                     if( UsedByCurrPicS1[ CurrRpsIdx ][ i ] )
                         NumPicTotalCurr++
               for( i = 0; i < num_long_term_sps + num_long_term_pics; i++ )
                     if( UsedByCurrPicLt[ i ] )
                         NumPicTotalCurr++
          }
          if( pps_curr_pic_ref_enabled_flag )
               NumPicTotalCurr++
          NumPicTotalCurr += NumActiveRefLayerPics
F.7.4.7.3 Weighted prediction parameters semantics
The specifications in clause 7.4.7.3 apply.

F.7.4.8 Short-term reference picture set semantics
The specifications in clause 7.4.8 apply, with the following additions:

When vps_extension_flag is equal to 1, the value of num_negative_pics shall be in the range of 0 to MaxDpbSize − 1,
inclusive, where MaxDpbSize is as specified in clause G.11.2 or H.11.2.

When vps_extension_flag is equal to 1, the value of num_positive_pics shall be in the range of 0 to
MaxDpbSize − 1 − num_negative_pics, inclusive, where MaxDpbSize is as specified in clause G.11.2 or H.11.2.

F.7.4.9 Slice segment data semantics

F.7.4.9.1 General slice segment data semantics
The specifications in clause 7.4.9.1 apply.

F.7.4.9.2 Coding tree unit semantics
The specifications in clause 7.4.9.2 apply.

F.7.4.9.3 Sample adaptive offset semantics
The specifications in clause 7.4.9.3 apply.

F.7.4.9.4 Coding quadtree semantics
The specifications in clause 7.4.9.4 apply.

F.7.4.9.5 Coding unit semantics
The specifications in clause 7.4.9.5 apply.

F.7.4.9.6 Prediction unit semantics
The specifications in clause 7.4.9.6 apply.

F.7.4.9.7 PCM sample semantics
The specifications in clause 7.4.9.7 apply.

F.7.4.9.8 Transform tree semantics
The specifications in clause 7.4.9.8 apply.

F.7.4.9.9 Motion vector difference semantics
The specifications in clause 7.4.9.9 apply.




                                                                          Rec. ITU-T H.265 v8 (08/2021)       497
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25           Page 519 of 717 Page ID
                                                           #:1048

F.7.4.9.10     Transform unit semantics
The specifications in clause 7.4.9.10 apply.

F.7.4.9.11     Residual coding semantics
The specifications in clause 7.4.9.11 apply.

F.7.4.9.12     Cross-component prediction syntax
The specifications in clause 7.4.9.12 apply.

F.7.4.9.13     Palette mode semantics
The specifications in clause 7.4.9.13 apply.

F.7.4.9.14     Delta QP semantics
The specifications in clause 7.4.9.14 apply.

F.7.4.9.15     Chroma QP offset semantics
The specifications in clause 7.4.9.15 apply.

F.8       Decoding process
F.8.1     General decoding process

F.8.1.1 General
Input to this process is a bitstream. Output of this process is a list of decoded pictures.
The decoding process is specified such that all decoders capable of decoding an OLS where each of the output layers and
the reference layers of the output layers is indicated to conform to a specified profile, tier and level will produce numerically
identical cropped decoded output pictures when invoking the decoding process associated with those profiles for the OLS.
Any decoding process that produces identical cropped decoded output pictures to those produced by the process described
herein (with the correct output order or output timing, as specified) conforms to the decoding process requirements of this
Specification.
The following applies at the beginning of decoding a CVSG, after activating the VPS RBSP that is active for the entire
CVSG and before decoding any VCL NAL units of the CVSG:
–     If vps_extension( ) is not present in the active VPS or a decoding process specified in this annex is not in use,
      clause 8.1.2 is invoked with the CVSG as input.
–     Otherwise (vps_extension( ) is present in the active VPS and a decoding process specified in this annex is in use),
      clause F.8.1.2 is invoked with the CVSG as input.

F.8.1.2 CVSG decoding process
Input to this process is a CVSG. Output of this process is a list of decoded pictures.
The variable TargetOlsIdx, which specifies the index to the list of the OLSs specified by the VPS, of the target OLS, is
specified as follows:
–     If some external means, not specified in this Specification, is available to set TargetOlsIdx, TargetOlsIdx is set by the
      external means.
–     Otherwise, if the decoding process is invoked in a bitstream conformance test as specified in clause F.13.1,
      TargetOlsIdx is set as specified in clause F.13.1.
–     Otherwise, TargetOlsIdx is set equal to 0.
The variable TargetDecLayerSetIdx, the layer identifier list TargetOptLayerIdList, which specifies the list of nuh_layer_id
values, in increasing order of nuh_layer_id values, of the pictures to be output and the layer identifier list
TargetDecLayerIdList, which specifies the list of nuh_layer_id values, in increasing order of nuh_layer_id values, of the
NAL units to be decoded, are specified as follows:
               TargetDecLayerSetIdx = OlsIdxToLsIdx[ TargetOlsIdx ]
               lsIdx = TargetDecLayerSetIdx
               for( i = 0, j = 0, k = 0; i < NumLayersInIdList[ lsIdx ]; i++ ) {


498          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 520 of 717 Page ID
                                                         #:1049

                    if( NecessaryLayerFlag[ TargetOlsIdx ][ i ] )
                        TargetDecLayerIdList[ j++ ] = LayerSetLayerIdList[ lsIdx ][ i ]                            (F-57)
                    if( OutputLayerFlag[ TargetOlsIdx ][ i ] )
                        TargetOptLayerIdList[ k++ ] = LayerSetLayerIdList[ lsIdx ][ i ]
              }
When TargetOlsIdx is set by external means, it is a requirement for the external means that TargetOlsIdx is constrained as
follows:
–    When vps_base_layer_available_flag is equal to 0, OlsIdxToLsIdx[ TargetOlsIdx ] shall be in the range of
     FirstAddLayerSetIdx to LastAddLayerSetIdx, inclusive.
–    When vps_base_layer_internal_flag is equal to 0, TargetOlsIdx shall be greater than 0.
The variable HighestTid, which identifies the highest temporal sub-layer to be decoded, is specified as follows:
–    If some external means, not specified in this Specification, is available to set HighestTid, HighestTid is set by the
     external means.
–    Otherwise, if the decoding process is invoked in a bitstream conformance test as specified in clause F.13.1 HighestTid
     is set as specified in clause F.13.1.
–    Otherwise, HighestTid is set equal to vps_max_sub_layers_minus1.
The variable SubPicHrdPreferredFlag is either specified by external means, or when not specified by external means, set
equal to 0.
The variable SubPicHrdFlag is specified as follows:
–    If the decoding process is invoked in a bitstream conformance test as specified in clause F.13.1, SubPicHrdFlag is set
     as specified in clause F.13.1.
–    Otherwise, SubPicHrdFlag is set equal to ( SubPicHrdPreferredFlag && sub_pic_hrd_params_present_flag ), where
     sub_pic_hrd_params_present_flag is found in any hrd_parameters( ) syntax structure that applies to at least one
     bitstream partition of the output layer set identified by TargetOlsIdx.
A bitstream to be decoded, BitstreamToDecode, is specified as follows:
–    If TargetDecLayerSetIdx is less than or equal to vps_num_layer_sets_minus1 and vps_base_layer_internal_flag is
     equal to 1, the following applies:
     –    The sub-bitstream extraction process as specified in clause 10 is applied with the CVSG, HighestTid and
          TargetDecLayerIdList as inputs, and the output is assigned to a bitstream referred to as BitstreamToDecode.
     –    The variable SmallestLayerId is set equal to 0.
–    Otherwise, if TargetDecLayerSetIdx is less than or equal                     to   vps_num_layer_sets_minus1       and
     vps_base_layer_internal_flag is equal to 0, the following applies:
     –    The sub-bitstream extraction process as specified in clause F.10.1 is applied with the CVSG, HighestTid and
          TargetDecLayerIdList as inputs, and the output is assigned to a bitstream referred to as BitstreamToDecode.
     –    The variable SmallestLayerId is set equal to 0.
–    Otherwise,   if     TargetDecLayerSetIdx       is     greater      than     vps_num_layer_sets_minus1             and
     NumLayersInIdList[ TargetDecLayerSetIdx ] is equal to 1, the following applies:
     –    The independent non-base layer rewriting process of clause F.10.2 is applied with the CVSG, HighestTid and
          TargetDecLayerIdList[ 0 ] as inputs, and the output is assigned to a bitstream referred to as BitstreamToDecode.
     –    The variable SmallestLayerId is set equal to 0.
–    Otherwise, the following applies:
     –    The sub-bitstream extraction process as specified in clause F.10.3 is applied with the CVSG, HighestTid and
          TargetDecLayerIdList as inputs, and the output is assigned to a bitstream referred to as BitstreamToDecode.
     –    The variable SmallestLayerId is set equal to TargetDecLayerIdList[ 0 ].
When vps_base_layer_internal_flag is equal to 0, vps_base_layer_available_flag is equal to 1 and TargetDecLayerSetIdx
is in the range of 0 to vps_num_layer_sets_minus1, inclusive, the following applies:
–    The size of the sub-DPB for the layer with nuh_layer_id equal to 0 is set equal to 1.



                                                                              Rec. ITU-T H.265 v8 (08/2021)           499
      Case 2:25-cv-03053              Document 1-7             Filed 04/07/25           Page 521 of 717 Page ID
                                                             #:1050

–     The      values    of     pic_width_in_luma_samples,      pic_height_in_luma_samples,      chroma_format_idc,
      separate_colour_plane_flag,    bit_depth_luma_minus8,      bit_depth_chroma_minus8,       conf_win_left_offset,
      conf_win_right_offset, conf_win_top_offset and conf_win_bottom_offset for decoded pictures with nuh_layer_id
      equal to 0 are set equal to the values of pic_width_vps_in_luma_samples, pic_height_vps_in_luma_samples,
      chroma_format_vps_idc,               separate_colour_plane_vps_flag,              bit_depth_vps_luma_minus8,
      bit_depth_vps_chroma_minus8, conf_win_vps_left_offset, conf_win_vps_right_offset, conf_win_vps_top_offset
      and conf_win_vps_bottom_offset respectively, of the vps_rep_format_idx[ 0 ]-th rep_format( ) syntax structure in
      the active VPS.
–     The variable BaseLayerOutputFlag is set equal to ( TargetOptLayerIdList[ 0 ] = = 0 ).
           NOTE – The BaseLayerOutputFlag is to be sent by an external means to the base layer decoder for controlling the output of
           base layer decoded pictures. BaseLayerOutputFlag equal to 1 indicates that the base layer is an output layer.
           BaseLayerOutputFlag equal to 0 indicates that the base layer is not an output layer.

–     The variable LayerInitializedFlag[ i ] is set equal to 0 for all values of i from 0 to vps_max_layer_id, inclusive, and
      the variable FirstPicInLayerDecodedFlag[ i ] is set equal to 0 for all values of i from 0 to vps_max_layer_id, inclusive.
If TargetOlsIdx is equal to 0, clause 8.1.3 is repeatedly invoked for each coded picture in BitstreamToDecode in decoding
order and the decoding process for the current picture takes as inputs the syntax elements and upper-case variables from
clause 7.
Otherwise (TargetOlsIdx is greater than 0), clause F.8.1.3 is repeatedly invoked for each coded picture in
BitstreamToDecode in decoding order.

F.8.1.3 Common decoding process for a coded picture
The decoding processes specified in the remainder of this clause apply to each coded picture, referred to as the current
picture and denoted by the variable CurrPic, in BitstreamToDecode.
Depending on the value of chroma_format_idc, the number of sample arrays of the current picture is as follows:
–     If chroma_format_idc is equal to 0, the current picture consists of 1 sample array SL.
–     Otherwise (chroma_format_idc is not equal to 0), the current picture consists of 3 sample arrays SL, SCb, SCr.
When interpreting the semantics of each syntax element in each NAL unit, the term "the bitstream" (or part thereof, e.g., a
CVS of the bitstream) refers to BitstreamToDecode (or part thereof).
When vps_base_layer_internal_flag is equal to 0, vps_base_layer_available_flag is equal to 1, TargetDecLayerSetIdx is
in the range of 0 to vps_num_layer_sets_minus1, inclusive, TemporalId is less than or equal to
sub_layers_vps_max_minus1[ 0 ], and the current picture is the first coded picture of an access unit, clause F.8.1.8 is
invoked prior to decoding the current picture.
When the current picture is an IRAP picture, the variable HandleCraAsBlaFlag is derived as specified in the following:
–     If some external means not specified in this Specification is available to set the variable HandleCraAsBlaFlag to a
      value for the current picture, the variable HandleCraAsBlaFlag is set equal to the value provided by the external
      means.
–     Otherwise, the variable HandleCraAsBlaFlag is set equal to 0.
When the current picture is an IRAP picture and has nuh_layer_id equal to SmallestLayerId, the following applies:
–     The variable NoClrasOutputFlag is specified as follows:
      –    If the current picture is the first picture in the bitstream, NoClrasOutputFlag is set equal to 1.
      –    Otherwise, if the current picture is included in the first access unit that follows an access unit including an end
           of sequence NAL unit with nuh_layer_id equal to SmallestLayerId or 0 in decoding order, NoClrasOutputFlag
           is set equal to 1.
      –    Otherwise, if the current picture is a BLA picture or a CRA picture with HandleCraAsBlaFlag equal to 1,
           NoClrasOutputFlag is set equal to 1.
      –    Otherwise, if the current picture is an IDR picture with cross_layer_bla_flag is equal to 1, NoClrasOutputFlag is
           set equal to 1.
      –    Otherwise, if some external means, not specified in this Specification, is available to set NoClrasOutputFlag,
           NoClrasOutputFlag is set by the external means.
      –    Otherwise, NoClrasOutputFlag is set equal to 0.



500         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7             Filed 04/07/25           Page 522 of 717 Page ID
                                                           #:1051

–   When NoClrasOutputFlag is equal to 1, the variable LayerInitializedFlag[ i ] is set equal to 0 for all values of i from 0
    to vps_max_layer_id, inclusive, and the variable FirstPicInLayerDecodedFlag[ i ] is set equal to 0 for all values of i
    from 0 to vps_max_layer_id, inclusive.
The variables LayerResetFlag and dolLayerId are derived as follows:
–   If the current picture is an IRAP picture and has nuh_layer_id nuhLayerId greater than SmallestLayerId, the following
    applies:
    –    If the current picture is the first picture, in decoding order, that follows an end of sequence NAL unit with
         nuh_layer_id equal to nuhLayerId, LayerResetFlag is set equal to 1 and dolLayerId is set equal to the
         nuh_layer_id value of the current NAL unit.
    –    Otherwise, if the current picture is a CRA picture with HandleCraAsBlaFlag equal to 1, an IDR picture with
         cross_layer_bla_flag is equal to 1 or a BLA picture, LayerResetFlag is set equal to 1 and dolLayerId is set equal
         to the nuh_layer_id value of the current NAL unit.
     –   Otherwise, LayerResetFlag is set equal to 0.
         NOTE 1 – An end of sequence NAL unit, a CRA picture with HandleCraAsBlaFlag equal to 1, an IDR picture with
         cross_layer_bla_flag equal to 1, or a BLA picture, each with nuh_layer_id nuhLayerId greater than SmallestLayerId, may be
         present to indicate a discontinuity of the layer with nuh_layer_id equal to nuhLayerId and its predicted layers.

    –    When LayerResetFlag is equal to 1, the following applies:
         –    The values of LayerInitializedFlag and FirstPicInLayerDecodedFlag are updated as follows:
                   for( i = 0; i < NumPredictedLayers[ dolLayerId ]; i++ ) {
                       iLayerId = IdPredictedLayer[ dolLayerId ][ i ]                                                    (F-58)
                       LayerInitializedFlag[ iLayerId ] = 0
                       FirstPicInLayerDecodedFlag[ iLayerId ] = 0
                   }
         –    Each picture that is in the DPB and has nuh_layer_id equal to dolLayerId is marked as "unused for
              reference".
         –    When NumPredictedLayers[ dolLayerId ] is greater than 0, each picture that is in the DPB and has
              nuh_layer_id equal to any value of IdPredictedLayer[ dolLayerId ][ i ] for the values of i in the range of 0
              to NumPredictedLayers[ dolLayerId ] − 1, inclusive, is marked as "unused for reference".
–   Otherwise, LayerResetFlag is set equal to 0.
When the current picture is an IRAP picture, the following applies:
–   If the current picture with a particular value of nuh_layer_id is an IDR picture, a BLA picture, the first picture with
    that particular value of nuh_layer_id in the bitstream in decoding order or the first picture with that particular value
    of nuh_layer_id that follows an end of sequence NAL unit with that particular value of nuh_layer_id in decoding
    order, the variable NoRaslOutputFlag is set equal to 1.
–   Otherwise, if LayerInitializedFlag[ nuh_layer_id ] is equal to 0 and LayerInitializedFlag[ refLayerId ] is equal to 1
    for all values of refLayerId equal to IdDirectRefLayer[ nuh_layer_id ][ j ], where j is in the range of 0 to
    NumDirectRefLayers[ nuh_layer_id ] − 1, inclusive, the variable NoRaslOutputFlag is set equal to 1.
–   Otherwise, the variable NoRaslOutputFlag is set equal to HandleCraAsBlaFlag.
When the current picture is an IRAP picture with NoRaslOutputFlag equal to 1 and one of the following conditions is true,
LayerInitializedFlag[ nuh_layer_id ] is set equal to 1:
–    nuh_layer_id is equal to 0.
–    LayerInitializedFlag[ nuh_layer_id ] is equal to 0 and NumDirectRefLayers[ nuh_layer_id ] is equal to 0.
–    LayerInitializedFlag[ nuh_layer_id ] is equal to 0 and LayerInitializedFlag[ refLayerId ] is equal to 1 for all values
     of refLayerId equal to IdDirectRefLayer[ nuh_layer_id ][ j ], where j is in the range of 0 to
     NumDirectRefLayers[ nuh_layer_id ] − 1, inclusive.
Depending on the value of separate_colour_plane_flag, the decoding process is structured as follows:
–   If separate_colour_plane_flag is equal to 0, the following decoding process is invoked a single time with the current
    picture being the output.
–   Otherwise (separate_colour_plane_flag is equal to 1), the following decoding process is invoked three times. Inputs
    to the decoding process are all NAL units of the coded picture with identical value of colour_plane_id. The decoding


                                                                                 Rec. ITU-T H.265 v8 (08/2021)              501
      Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 523 of 717 Page ID
                                                               #:1052

      process of NAL units with a particular value of colour_plane_id is specified as if only a CVS with monochrome
      colour format with that particular value of colour_plane_id would be present in the bitstream. The output of each of
      the three decoding processes is assigned to one of the 3 sample arrays of the current picture, with the NAL units with
      colour_plane_id equal to 0, 1 and 2 being assigned to SL, SCb and SCr, respectively.
    NOTE 2 – The variable ChromaArrayType is derived as equal to 0 when separate_colour_plane_flag is equal to 1 and
    chroma_format_idc is equal to 3. In the decoding process, the value of this variable is evaluated resulting in operations identical to
    that of monochrome pictures (when chroma_format_idc is equal to 0).

The following applies for the decoding of the current picture:
–     If the current picture has nuh_layer_id equal to 0, the following applies:
      –    The decoding process for the current picture takes as inputs the syntax elements and upper-case variables from
           clause F.7.
      –    The variables NumActiveRefLayerPics, NumActiveRefLayerPics0 and NumActiveRefLayerPics1 are set equal
           to 0.
      –    The decoding process for a coded picture with nuh_layer_id equal to 0 as specified in clause F.8.1.4 is invoked.
–     Otherwise, the following applies:
      –    When vps_base_layer_internal_flag is equal to 0, vps_base_layer_available_flag is equal to 1,
           TargetDecLayerSetIdx is in the range of 0 to vps_num_layer_sets_minus1, inclusive, TemporalId is less than or
           equal to sub_layers_vps_max_minus1[ 0 ], the current picture is the first coded picture of an access unit and a
           decoded picture with nuh_layer_id equal to 0 is provided by external means for the current access unit, clause
           F.8.1.9 is invoked after the decoding of the slice segment header of the first slice segment, in decoding order, of
           the current picture, but prior to decoding any slice segment of the first coded picture of the access unit.
      –    For the decoding of the slice segment header of the first slice segment, in decoding order, of the current picture,
           the decoding process for starting the decoding of a coded picture with nuh_layer_id greater than 0 specified in
           clause F.8.1.5 is invoked.
      –    Let lIdx be equal to such value for which the nuh_layer_id value of the current picture is equal to
           LayerSetLayerIdList[ OlsIdxToLsIdx[ TargetOlsIdx ] ][ lIdx ].
      –    If        general_profile_idc          in       the        profile_tier_level( )          syntax        structure
           VpsProfileTierLevel[ profile_tier_level_idx[ TargetOlsIdx ][ lIdx ] ] is equal to 6, the decoding process for the
           current picture takes as inputs the syntax elements and upper-case variables from clause G.7 and the decoding
           process of clause G.8.1.2 is invoked.
      –    Otherwise, if general_profile_idc in the profile_tier_level( ) syntax structure VpsProfileTierLevel[ profile_
           tier_level_idx[ TargetOlsIdx ][ lIdx ] ] is equal to 7 or 10, the decoding process for the current picture takes as
           inputs the syntax elements and upper-case variables from clause H.7 and the decoding process of clause H.8.1.2
           is invoked.
      –    Otherwise, if general_profile_idc in the profile_tier_level( ) syntax structure VpsProfileTierLevel[ profile_
           tier_level_idx[ TargetOlsIdx ][ lIdx ] ] is equal to 8, the decoding process for the current picture takes as inputs
           the syntax elements and upper-case variables from clause I.7 and the decoding process of clause I.8.1.2 is
           invoked.
      –    Otherwise (the current picture belongs to an independent non-base layer), the decoding process for the current
           picture takes as inputs the syntax elements and upper-case variables from clause F.7 and the decoding process
           of clause 8.1.3 is invoked by changing the references to clauses 8.2, 8.3, 8.3.1, 8.3.2, 8.3.3, 8.3.4, 8.4, 8.5, 8.6,
           and 8.7 with clauses F.8.2, F.8.3, F.8.3.1, F.8.3.2, F.8.3.3, F.8.3.4, F.8.4, F.8.5, F.8.6, and F.8.7, respectively.
      –    After all slices of the current picture have been decoded, the decoding process for ending the decoding of a coded
           picture with nuh_layer_id greater than 0 specified in clause F.8.1.6 is invoked.
When the current picture is the last coded picture in an access unit in BitstreamToDecode, after the decoding of the current
picture, prior to the decoding of the next picture, the following applies:
–     PicOutputFlag is updated as follows:
      –    If alt_output_layer_flag[ TargetOlsIdx ] is equal to 1 and the current access unit either does not contain a picture
           at the output layer or contains a picture at the output layer that has PicOutputFlag equal to 0, the following
           applies:
           –      The list nonOutputLayerPictures is set to be the list of the pictures of the access unit with PicOutputFlag
                  equal to 1 and with nuh_layer_id values among the nuh_layer_id values of the reference layers of the output
                  layer.


502            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25             Page 524 of 717 Page ID
                                                               #:1053

           –    When the list nonOutputLayerPictures is not empty, the picture with the highest nuh_layer_id value among
                the list nonOutputLayerPictures is removed from the list nonOutputLayerPictures.
           –    PicOutputFlag for each picture that is included in the list nonOutputLayerPictures is set equal to 0.
     – Otherwise, PicOutputFlag for pictures that are not included in an output layer is set equal to 0.
–    When vps_base_layer_internal_flag is equal to 0, vps_base_layer_available_flag is equal to 1 and
     TargetDecLayerSetIdx is in the range of 0 to vps_num_layer_sets_minus1, inclusive, the following applies:
     –     If BaseLayerOutputFlag is equal to 0, the following applies:
           –    If alt_output_layer_flag[ TargetOlsIdx ] is equal to 1, the base layer is a reference layer of the output layer,
                the access unit does not contain a picture at the output layer or contains a picture at the output layer that has
                PicOutputFlag equal to 0, and the access unit does not contain a picture at any other reference layer of the
                output layer, BaseLayerPicOutputFlag is set equal to 1.
           –    Otherwise, BaseLayerPicOutputFlag is set equal to 0.
     –     Otherwise, BaseLayerPicOutputFlag is set equal to 1.
           NOTE 3 – The BaseLayerPicOutputFlag for each access unit is to be sent by an external means to the base layer decoder for
           controlling the output of base layer decoded pictures. BaseLayerPicOutputFlag equal to 1 for an access unit specifies that the
           base layer picture of the access unit is to be output. BaseLayerPicOutputFlag equal to 0 for an access unit specifies that the
           base layer picture of the access unit is not to be output.

     –     The sub-DPB for the layer with nuh_layer_id equal to 0 is set to be empty.
–    The variable AuOutputFlag that is associated with the current access unit is derived as follows:
     –     If at least one picture in the current access unit has PicOutputFlag equal to 1, AuOutputFlag is set equal to 1.
     –     Otherwise, AuOutputFlag is set equal to 0.
–    The variable PicLatencyCount that is associated with the current access unit is set equal to 0.
–    When AuOutputFlag of the current access unit is equal to 1, for each access unit in the DPB that has at least one
     picture marked as "needed for output" and follows the current access unit in output order, the associated variable
     PicLatencyCount is set equal to PicLatencyCount + 1.

F.8.1.4 Decoding process for a coded picture with nuh_layer_id equal to 0
The specifications in clause 8.1.3 apply with the following changes:
–    Replace the references to clauses 8.2, 8.3, 8.3.1, 8.3.2, 8.3.3, 8.3.4, 8.4, 8.5, 8.6 and 8.7 with clauses F.8.2, F.8.3,
     F.8.3.1, F.8.3.2, F.8.3.3, F.8.3.4, F.8.4, F.8.5, F.8.6 and F.8.7, respectively.
–    At the end of the clause, add item 5 as follows:
     5.    When FirstPicInLayerDecodedFlag[ 0 ] is equal to 0, FirstPicInLayerDecodedFlag[ 0 ] is set equal to 1.

F.8.1.5 Decoding process for starting the decoding of a coded picture with nuh_layer_id greater than 0
Each picture referred to in this clause is a complete coded picture.
The decoding process operates as follows for the current picture CurrPic:
    1.    The decoding of NAL units is specified in clause F.8.2.
    2.    The processes in clause F.8.3 specify the following decoding processes using syntax elements in the slice segment
          layer and above:
           –     Variables and functions relating to picture order count are derived in clause F.8.3.1. This needs to be
                 invoked only for the first slice segment of a picture. It is a requirement of bitstream conformance that
                 PicOrderCntVal of each picture in an access unit shall have the same value during and at the end of decoding
                 of the access unit.
                      NOTE 1 – When the current picture is or succeeds, in decoding order, an IDR picture with nuh_layer_id equal
                      to 0, PicOrderCntVal of a base layer picture picA preceding, in decoding order, the IDR picture with nuh_layer_id
                      equal to 0 may or may not be equal to PicOrderCntVal of the pictures with nuh_layer_id greater than 0 in the
                      access unit containing picA.

           –     The decoding process for RPS in clause F.8.3.2 is invoked, wherein only reference pictures with
                 nuh_layer_id equal to that of CurrPic may be marked as "unused for reference" or "used for long-term




                                                                                      Rec. ITU-T H.265 v8 (08/2021)                503
      Case 2:25-cv-03053                Document 1-7              Filed 04/07/25              Page 525 of 717 Page ID
                                                                #:1054

                  reference" and any picture with a different value of nuh_layer_id is not marked. This needs to be invoked
                  only for the first slice segment of a picture.
           –      A picture storage buffer in the DPB is allocated for storage of the decoded sample values of the current
                  picture after the invocation of the in-loop filter process as specified in clause F.8.7. This version of the
                  current decoded picture is referred to as the current decoded picture after the invocation of the in-loop filter
                  process. When TwoVersionsOfCurrDecPicFlag is equal to 0 and pps_curr_pic_ref_enabled_flag is equal
                  to 1, this picture storage buffer is marked as "used for long-term reference". When
                  TwoVersionsOfCurrDecPicFlag is equal to 1, another picture storage buffer in the DPB is allocated for
                  storage of the decoded sample values of the current picture immediately before the invocation of the in-
                  loop filter process as specified in clause F.8.7, and is marked as "used for long-term reference". This version
                  of the current decoded picture is referred to as the current decoded picture before the invocation of the in-
                  loop filter process. This needs to be invoked only for the first slice segment of a picture.
                       NOTE 2 – When TwoVersionsOfCurrDecPicFlag is equal to 0, there is only one version of the current decoded
                       picture. In this case, if pps_curr_pic_ref_enabled_flag is equal to 1, the current decoded picture is marked as "used
                       for long-term reference" during the decoding of the current picture and will be marked as "used for short-term
                       reference" at the end of the decoding of the current picture, otherwise it is not marked at all during the decoding
                       of the current picture and will be marked as "used for short-term reference" at the end of the decoding of the
                       current picture. When TwoVersionsOfCurrDecPicFlag is equal to 1, there are two versions of the current decoded
                       picture, one of which is marked as "used for long-term reference" during the decoding of the current picture and
                       will be marked as "unused for reference" at the end of the decoding of the current picture, and the other version
                       is not marked at all during the decoding of the current picture and will be marked as "used for short-term reference"
                       at the end of the decoding of the current picture.

           –      When FirstPicInLayerDecodedFlag[ nuh_layer_id ] is equal to 0, the decoding process for generating
                  unavailable reference pictures for pictures first in decoding order within a layer specified in clause F.8.1.7
                  is invoked, which needs to be invoked only for the first slice segment of a picture.
           –      When FirstPicInLayerDecodedFlag[ nuh_layer_id ] is equal to 1 and the current picture is an IRAP picture
                  with NoRaslOutputFlag equal to 1, the decoding process for generating unavailable reference pictures
                  specified in clause F.8.3.3 is invoked, which needs to be invoked only for the first slice segment of a picture.

F.8.1.6 Decoding process for ending the decoding of a coded picture with nuh_layer_id greater than 0
The marking of decoded pictures is modified as specified in the following:
           for( i = 0; i < NumActiveRefLayerPics0; i++ )
                RefPicSetInterLayer0[ i ] is marked as "used for short-term reference"                                             (F-59)
           for( i = 0; i < NumActiveRefLayerPics1; i++ )
                RefPicSetInterLayer1[ i ] is marked as "used for short-term reference"
PicOutputFlag is set as follows:
–     If LayerInitializedFlag[ nuh_layer_id ] is equal to 0, PicOutputFlag is set equal to 0.
–     Otherwise, if the current picture is a RASL picture and NoRaslOutputFlag of the associated IRAP picture is equal to
      1, PicOutputFlag is set equal to 0.
–     Otherwise, PicOutputFlag is set equal to pic_output_flag.
The current decoded picture after the invocation of the in-loop filter process as specified in clause 8.7 is marked as "used
     for short-term reference".
When FirstPicInLayerDecodedFlag[ nuh_layer_id ] is equal to 0, FirstPicInLayerDecodedFlag[ nuh_layer_id ] is set equal
to 1.

F.8.1.7 Decoding process for generating unavailable reference pictures for pictures first in decoding order within
        a layer
This process is invoked for a picture with nuh_layer_id equal to layerId, when FirstPicInLayerDecodedFlag[ layerId ] is
equal to 0.
    NOTE – The entire specification of the decoding process for CL-RAS pictures is included only for purposes of specifying constraints
    on the allowed syntax content of such CL-RAS pictures. During the decoding process, any CL-RAS pictures may be ignored, as
    these pictures are not specified for output and have no effect on the decoding process of any other pictures that are specified for
    output. However, in the HRD operations as specified in clause F.13, CL-RAS pictures may need to be taken into consideration in
    the derivation of CPB arrival and removal times.




504            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 526 of 717 Page ID
                                                          #:1055

When this process is invoked, the following applies:
–    For each RefPicSetStCurrBefore[ i ], with i in the range of 0 to NumPocStCurrBefore − 1, inclusive, that is equal to
     "no reference picture", a picture is generated as specified in clause 8.3.3.2 and the following applies:
     –    The value of PicOrderCntVal for the generated picture is set equal to PocStCurrBefore[ i ].
     –    The value of PicOutputFlag for the generated picture is set equal to 0.
     –    The generated picture is marked as "used for short-term reference".
     –    RefPicSetStCurrBefore[ i ] is set to be the generated reference picture.
     –    The value of nuh_layer_id for the generated picture is set equal to nuh_layer_id.
–    For each RefPicSetStCurrAfter[ i ], with i in the range of 0 to NumPocStCurrAfter − 1, inclusive, that is equal to "no
     reference picture", a picture is generated as specified in clause 8.3.3.2 and the following applies:
     –    The value of PicOrderCntVal for the generated picture is set equal to PocStCurrAfter[ i ].
     –    The value of PicOutputFlag for the generated picture is set equal to 0.
     –    The generated picture is marked as "used for short-term reference".
     –    RefPicSetStCurrAfter[ i ] is set to be the generated reference picture.
     –    The value of nuh_layer_id for the generated picture is set equal to nuh_layer_id.
–    For each RefPicSetStFoll[ i ], with i in the range of 0 to NumPocStFoll − 1, inclusive, that is equal to "no reference
     picture", a picture is generated as specified in clause 8.3.3.2 and the following applies:
     –    The value of PicOrderCntVal for the generated picture is set equal to PocStFoll[ i ].
     –    The value of PicOutputFlag for the generated picture is set equal to 0.
     –    The generated picture is marked as "used for short-term reference".
     –    RefPicSetStFoll[ i ] is set to be the generated reference picture.
     –    The value of nuh_layer_id for the generated picture is set equal to nuh_layer_id.
–    For each RefPicSetLtCurr[ i ], with i in the range of 0 to NumPocLtCurr − 1, inclusive, that is equal to "no reference
     picture", a picture is generated as specified in clause 8.3.3.2 and the following applies:
     –    The value of PicOrderCntVal for the generated picture is set equal to PocLtCurr[ i ].
     –    The value of slice_pic_order_cnt_lsb for the generated                picture is inferred      to   be equal to
          ( PocLtCurr[ i ] & ( MaxPicOrderCntLsb − 1 ) ).
     –    The value of PicOutputFlag for the generated picture is set equal to 0.
     –    The generated picture is marked as "used for long-term reference".
     –    RefPicSetLtCurr[ i ] is set to be the generated reference picture.
     –    The value of nuh_layer_id for the generated picture is set equal to nuh_layer_id.
–    For each RefPicSetLtFoll[ i ], with i in the range of 0 to NumPocLtFoll − 1, inclusive, that is equal to "no reference
     picture", a picture is generated as specified in clause 8.3.3.2 and the following applies:
     –    The value of PicOrderCntVal for the generated picture is set equal to PocLtFoll[ i ].
     –    The value of slice_pic_order_cnt_lsb for the generated                picture is inferred      to   be equal to
          ( PocLtFoll[ i ] & ( MaxPicOrderCntLsb − 1 ) ).
     –    The value of PicOutputFlag for the generated picture is set equal to 0.
     –    The generated picture is marked as "used for long-term reference".
     –    RefPicSetLtFoll[ i ] is set to be the generated reference picture.
     –    The value of nuh_layer_id for the generated picture is set equal to nuh_layer_id.

F.8.1.8 Initialization process for an external base layer picture
A decoded picture with nuh_layer_id equal to 0 may be provided by external means. When not provided, no picture with
nuh_layer_id equal to 0 is used for inter-layer prediction for the current access unit. When provided, the following applies:


                                                                               Rec. ITU-T H.265 v8 (08/2021)           505
      Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 527 of 717 Page ID
                                                              #:1056

–     The variable LayerInitializedFlag[ 0 ] is set equal to 1 and the variable FirstPicInLayerDecodedFlag[ 0 ] is set equal
      to 1.
–     The following information of the picture with nuh_layer_id equal to 0 for the access unit is provided by external
      means:
      –    The decoded sample values (1 sample array SL if chroma_format_idc is equal to 0 or 3 sample arrays SL, SCb,
           and SCr otherwise)
      –    The value of the variable BlIrapPicFlag, and when BlIrapPicFlag is equal to 1, the value of nal_unit_type of the
           decoded picture
           –       BlIrapPicFlag equal to 1 specifies that the decoded picture is an IRAP picture. BlIrapPicFlag equal to 0
                   specifies that the decoded picture is a non-IRAP picture.
           –       The provided value of nal_unit_type of the decoded picture shall be equal to IDR_W_RADL, CRA_NUT,
                   or BLA_W_LP.
                   –    nal_unit_type equal to IDR_W_RADL specifies that the decoded picture is an IDR picture.
                   –    nal_unit_type equal to CRA_NUT specifies that the decoded picture is a CRA picture.
                   –    nal_unit_type equal to BLA_W_LP specifies that the decoded picture is a BLA picture.
–     When BlIrapPicFlag of the picture with nuh_layer_id equal to 0 is equal to 1, the following applies for the decoded
      picture with nuh_layer_id equal to 0 for the access unit:
      –    The variable NoRaslOutputFlag is specified as follows:
            –      If nal_unit_type is IDR_W_RADL or BLA_W_LP, the variable NoRaslOutputFlag is set equal to 1.
            –      Otherwise, if the current access unit is the first access unit in the bitstream in decoding order, the variable
                   NoRaslOutputFlag is set equal to 1.
            –      Otherwise, the variable NoRaslOutputFlag is set equal to 0.
      –    The variable NoClrasOutputFlag is specified as follows:
            –      If the current access unit is the first access unit in the bitstream, NoClrasOutputFlag is set equal to 1.
            –      Otherwise, if nal_unit_type is equal to BLA_W_LP, NoClrasOutputFlag is set equal to 1.
            –      Otherwise, if some external means, not specified in this Specification, is available to set NoClrasOutputFlag,
                   NoClrasOutputFlag is set by the external means.
            –      Otherwise, NoClrasOutputFlag is set equal to 0.
      –    When NoClrasOutputFlag is equal to 1, the variable LayerInitializedFlag[ i ] is set equal to 0 for all values of i
           from 1 to vps_max_layer_id, inclusive, and the variable FirstPicInLayerDecodedFlag[ i ] is set equal to 0 for all
           values of i from 1 to vps_max_layer_id, inclusive.

F.8.1.9 Decoding process for an external base layer picture
The following applies for the decoded picture with nuh_layer_id equal to 0 for the access unit:
–     TemporalId and PicOrderCntVal of the decoded picture with nuh_layer_id equal to 0 are set equal to the TemporalId
      and PicOrderCntVal, respectively, of any picture with nuh_layer_id greater than 0 in the access unit.
          NOTE – The constraint on the value of TemporalId being required to be equal to 0 for IRAP pictures also applies to pictures
          with nuh_layer_id equal to 0 when vps_base_layer_internal_flag is equal to 0.

–     The decoded picture with nuh_layer_id equal to 0 is stored in the sub-DPB for the layer with nuh_layer_id equal to 0
      and is marked as "used for long-term reference".

F.8.2     NAL unit decoding process
The specifications in clause 8.2 apply.

F.8.3     Slice decoding processes

F.8.3.1 Decoding process for picture order count
Output of this process is PicOrderCntVal, the picture order count of the current picture.




506             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 528 of 717 Page ID
                                                          #:1057

Picture order counts are used to identify pictures, for deriving motion parameters in merge mode and motion vector
prediction and for decoder conformance checking (see clause F.13.5).
Each coded picture is associated with a picture order count variable, denoted as PicOrderCntVal.
When the current picture is the first picture among all layers of a POC resetting period, the variable
PocDecrementedInDPBFlag[ i ] is set equal to 0 for each value of i in the range of 0 to 62, inclusive.
The variable pocResettingFlag is derived as follows:
–   If the current picture is a POC resetting picture, the following applies:
    –    If vps_poc_lsb_aligned_flag is equal to 0, pocResettingFlag is set equal to 1.
    –    Otherwise, if PocDecrementedInDPBFlag[ nuh_layer_id ] is equal to 1, pocResettingFlag is set equal to 0.
    –    Otherwise, pocResettingFlag is set equal to 1.
–   Otherwise, pocResettingFlag is set equal to 0.
The list affectedLayerList is derived as follows:
–   If vps_poc_lsb_aligned_flag is equal to 0, affectedLayerList consists of the nuh_layer_id of the current picture.
–   Otherwise, affectedLayerList consists of the nuh_layer_id of the current picture and the nuh_layer_id values equal to
    IdPredictedLayer[ currNuhLayerId ][ j ]      for   all    values     of     j    in    the    range    of     0    to
    NumPredictedLayers[ currNuhLayerId ] − 1, inclusive, where currNuhLayerId is the nuh_layer_id value of the
    current picture.
Depending on pocResettingFlag, the following applies:
–   If pocResettingFlag is equal to 1, the following applies:
    – When FirstPicInLayerDecodedFlag[ nuh_layer_id ] is equal to 1, the following applies:
         –   The variables pocMsbDelta, pocLsbDelta and DeltaPocVal are derived as follows:
                    if( poc_reset_idc = = 3 )
                        pocLsbVal = poc_lsb_val
                    else
                        pocLsbVal = slice_pic_order_cnt_lsb
                    if( poc_msb_cycle_val_present_flag )
                        pocMsbDelta = poc_msb_cycle_val * MaxPicOrderCntLsb                       (F-60)
                    else {
                        prevPicOrderCntLsb = PrevPicOrderCnt[ nuh_layer_id ] & ( MaxPicOrderCntLsb − 1 )
                        prevPicOrderCntMsb = PrevPicOrderCnt[ nuh_layer_id ] − prevPicOrderCntLsb
                        pocMsbDelta = GetCurrMsb( pocLsbVal, prevPicOrderCntLsb, prevPicOrderCntMsb,
                              MaxPicOrderCntLsb )
                    }
                    if( poc_reset_idc = = 2 | | ( poc_reset_idc = = 3 && full_poc_reset_flag ) )
                        pocLsbDelta = pocLsbVal
                    else
                        pocLsbDelta = 0
                    DeltaPocVal = pocMsbDelta + pocLsbDelta
         –   The PicOrderCntVal of each picture that has nuh_layer_id value nuhLayerId for which
             PocDecrementedInDPBFlag[ nuhLayerId ] is equal to 0 and that is equal to any value in affectedLayerList is
             decremented by DeltaPocVal.
         –   PocDecrementedInDPBFlag[ nuhLayerId ] is set equal to 1 for each value of nuhLayerId included in
             affectedLayerList.
    – The PicOrderCntVal of the current picture is derived as follows:
               if( poc_reset_idc = = 1 )
                    PicOrderCntVal = slice_pic_order_cnt_lsb
               else if( poc_reset_idc = = 2 )
                    PicOrderCntVal = 0
               else {


                                                                                Rec. ITU-T H.265 v8 (08/2021)           507
      Case 2:25-cv-03053                Document 1-7              Filed 04/07/25              Page 529 of 717 Page ID
                                                                #:1058

                      PicOrderCntMsb =                                                                                             (F-61)
                         GetCurrMsb( slice_pic_order_cnt_lsb, full_poc_reset_flag ? 0 : poc_lsb_val,
                              0, MaxPicOrderCntLsb )
                      PicOrderCntVal = PicOrderCntMsb + slice_pic_order_cnt_lsb
                 }
–     Otherwise (pocResettingFlag is equal to 0), the following applies:
      – The PicOrderCntVal of the current picture is derived as follows:
                if( poc_msb_cycle_val_present_flag )
                     PicOrderCntMsb = poc_msb_cycle_val * MaxPicOrderCntLsb
                else if( !FirstPicInLayerDecodedFlag[ nuh_layer_id ] | |
                             nal_unit_type = = IDR_N_LP | | nal_unit_type = = IDR_W_RADL )
                     PicOrderCntMsb = 0                                                            (F-62)
                else {
                     prevPicOrderCntLsb = PrevPicOrderCnt[ nuh_layer_id ] & ( MaxPicOrderCntLsb − 1 )
                     prevPicOrderCntMsb = PrevPicOrderCnt[ nuh_layer_id ] − prevPicOrderCntLsb
                     PicOrderCntMsb = GetCurrMsb( slice_pic_order_cnt_lsb, prevPicOrderCntLsb,
                             prevPicOrderCntMsb, MaxPicOrderCntLsb )
                }
                PicOrderCntVal = PicOrderCntMsb + slice_pic_order_cnt_lsb
The value of PrevPicOrderCnt[ lId ] for each of the lId values included in affectedLayerList is derived as follows:
–     If the current picture is not a RASL, RADL or SLNR picture, and the current picture has TemporalId equal to 0 and
      discardable_flag equal to 0, PrevPicOrderCnt[ lId ] is set equal to PicOrderCntVal.
–     Otherwise, when poc_reset_idc is equal to 3 and one of the following conditions is true, PrevPicOrderCnt[ lId ] is set
      equal to ( full_poc_reset_flag ? 0 : poc_lsb_val ):
      –   FirstPicInLayerDecodedFlag[ nuh_layer_id ] is equal to 0.
      –   FirstPicInLayerDecodedFlag[ nuh_layer_id ] is equal to 1 and the current picture is a POC resetting picture.
The value of PicOrderCntVal shall be in the range of −231 to 231 − 1, inclusive.
It is a requirement of bitstream conformance that the current PicOrderCntVal values of any two pictures in the same layer
and the same CVS shall not be the same.
    NOTE 1 – PicOrderCntVal, as derived in this clause for the current picture, may be equal to initialPocVal, where initialPocVal is
    the PicOrderCntVal derived by this clause when an earlier picture, in decoding order, with nuh_layer_id equal to currNuhLayerId
    in the current CVS, was the current picture. However, the decoding processes applied subsequently have updated the PicOrderCntVal
    value for that earlier picture so that it no longer is equal to the PicOrderCntVal value derived in this clause for the current picture.

The function PicOrderCnt( picX ) is specified as follows:
           PicOrderCnt( picX ) = PicOrderCntVal of the picture picX                                                                (F-63)
The function DiffPicOrderCnt( picA, picB ) is specified as follows:
           DiffPicOrderCnt( picA, picB ) = PicOrderCnt( picA ) − PicOrderCnt( picB )                                               (F-64)
The bitstream shall not contain data that result in values of DiffPicOrderCnt( picA, picB ) used in the decoding process
that are not in the range of −215 to 215 − 1, inclusive.
      NOTE 2 – Let X be the current picture and Y and Z be two other pictures in the same sequence, Y and Z are considered to be in
      the same output order direction from X when both DiffPicOrderCnt( X, Y ) and DiffPicOrderCnt( X, Z ) are positive or both are
      negative.

F.8.3.2 Decoding process for reference picture set
The specifications in clause 8.3.2 apply with the following changes:
–     The references to clauses 7.4.7.2, 8.3.1, 8.3.3 and 8.3.4 are replaced with references to clauses F.7.4.7.2, F.8.3.1,
      F.8.3.3 and F.8.3.4, respectively.
–     The following specifications are added:




508         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 530 of 717 Page ID
                                                           #:1059

    –    When the current picture is an IRAP picture with nuh_layer_id equal to SmallestLayerId, all reference pictures
         with any value of nuh_layer_id currently in the DPB (if any) are marked as "unused for reference" when at least
         one of the following conditions is true:
         –    The current picture has NoClrasOutputFlag is equal to 1.
         –    The current picture activates a new VPS.
–   It is a requirement of bitstream conformance that the RPS is restricted as follows:
         –    When the current picture is a CRA picture, there shall be no picture in RefPicSetStCurrBefore,
              RefPicSetStCurrAfter or RefPicSetLtCurr.
–   The constraints specified in clause 8.3.2 on the value of NumPicTotalCurr are replaced with the following:
    –    It is a requirement of bitstream conformance that the following applies to the value of NumPicTotalCurr:
         –    If the current picture is a BLA or CRA picture and either currPicLayerId is equal to 0 or
              NumDirectRefLayers[ currPicLayerId ] is equal to 0, the value of NumPicTotalCurr shall be equal to
              pps_curr_pic_ref_enabled_flag.
         –    Otherwise, when the current picture contains a P or B slice, the value of NumPicTotalCurr shall not be equal to 0.
–   The constraint, specified in clause 8.3.2, that requires no entry in RefPicSetStCurrBefore, RefPicSetStCurrAfter, or
    RefPicSetLtCurr when one or more of three conditions are true is replaced with the following:
         –    There shall be no entry in RefPicSetStCurrBefore, RefPicSetStCurrAfter, or RefPicSetLtCurr for which one
              or more of the following are true:
              –   The entry is equal to "no reference picture" and FirstPicInLayerDecodedFlag[ currPicLayerId ] is equal to 1.
              –   The entry is an SLNR picture and has TemporalId equal to that of the current picture.
         –    The entry is a picture that has TemporalId greater than that of the current picture.

F.8.3.3 Decoding process for generating unavailable reference pictures
The specifications in clause 8.3.3 and its subclauses apply with the replacement of references to Annex C with references
to clause F.13.

F.8.3.4 Decoding process for reference picture lists construction
This process is invoked at the beginning of the decoding process for each P or B slice.
Reference pictures are addressed through reference indices as specified in clause 8.5.3.3.2. A reference index is an index
into a reference picture list. When decoding a P slice, there is a single reference picture list RefPicList0. When decoding a
B slice, there is a second independent reference picture list RefPicList1 in addition to RefPicList0.
At the beginning of the decoding process for each slice, the reference picture lists RefPicList0 and, for B slices, RefPicList1
are derived as follows:
If TwoVersionsOfCurrDecPicFlag is equal to 1, let the variable currPic be the current decoded picture before the invocation
of the in-loop filter process; otherwise (TwoVersionsOfCurrDecPicFlag is equal to 0), let the variable currPic be the current
decoded picture after the invocation of the in-loop filter process. The variable NumRpsCurrTempList0 is set equal to
Max( num_ref_idx_l0_active_minus1 + 1, NumPicTotalCurr ) and the list RefPicListTemp0 is constructed as follows:

        rIdx = 0
        while( rIdx < NumRpsCurrTempList0 ) {
           for( i = 0; i < NumPocStCurrBefore && rIdx < NumRpsCurrTempList0; rIdx++, i++ )
               RefPicListTemp0[ rIdx ] = RefPicSetStCurrBefore[ i ]
           for( i = 0; i < NumActiveRefLayerPics0; rIdx++, i++ )
               RefPicListTemp0[ rIdx ] = RefPicSetInterLayer0[ i ]
           for( i = 0; i < NumPocStCurrAfter && rIdx < NumRpsCurrTempList0; rIdx++, i++ )                               (F-65)
               RefPicListTemp0[ rIdx ] = RefPicSetStCurrAfter[ i ]
           for( i = 0; i < NumPocLtCurr && rIdx < NumRpsCurrTempList0; rIdx++, i++ )
               RefPicListTemp0[ rIdx ] = RefPicSetLtCurr[ i ]
           for( i = 0; i < NumActiveRefLayerPics1; rIdx++, i++ )
               RefPicListTemp0[ rIdx ] = RefPicSetInterLayer1[ i ]
           if( pps_curr_pic_ref_enabled_flag )



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            509
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25        Page 531 of 717 Page ID
                                                           #:1060

                 RefPicListTemp0[ rIdx++ ] = currPic
        }

The list RefPicList0 is constructed as follows:

        for( rIdx = 0; rIdx <= num_ref_idx_l0_active_minus1; rIdx++ )
            RefPicList0[ rIdx ] = ref_pic_list_modification_flag_l0 ? RefPicListTemp0[ list_entry_l0[ rIdx ] ] :
                                                                   RefPicListTemp0[ rIdx ]
        if( pps_curr_pic_ref_enabled_flag && !ref_pic_list_modification_flag_l0 &&                       (F-66)
                                      NumRpsCurrTempList0 > ( num_ref_idx_l0_active_minus1 + 1 ) )
            RefPicList0[ num_ref_idx_l0_active_minus1 ] = currPic

When the slice is a B slice, the variable NumRpsCurrTempList1 is set equal to Max( num_ref_idx_l1_active_minus1 + 1,
NumPicTotalCurr ) and the list RefPicListTemp1 is constructed as follows:

        rIdx = 0
        while( rIdx < NumRpsCurrTempList1 ) {
           for( i = 0; i < NumPocStCurrAfter && rIdx < NumRpsCurrTempList1; rIdx++, i++ )
               RefPicListTemp1[ rIdx ] = RefPicSetStCurrAfter[ i ]
           for( i = 0; i< NumActiveRefLayerPics1; rIdx++, i++ )
               RefPicListTemp1[ rIdx ] = RefPicSetInterLayer1[ i ]
           for( i = 0; i < NumPocStCurrBefore && rIdx < NumRpsCurrTempList1; rIdx++, i++ )                          (F-67)
               RefPicListTemp1[ rIdx ] = RefPicSetStCurrBefore[ i ]
           for( i = 0; i < NumPocLtCurr && rIdx < NumRpsCurrTempList1; rIdx++, i++ )
               RefPicListTemp1[ rIdx ] = RefPicSetLtCurr[ i ]
           for( i = 0; i< NumActiveRefLayerPics0; rIdx++, i++ )
               RefPicListTemp1[ rIdx ] = RefPicSetInterLayer0[ i ]
           if( pps_curr_pic_ref_enabled_flag )
               RefPicListTemp1[ rIdx++ ] = currPic
        }

When the slice is a B slice, the list RefPicList1 is constructed as follows:

        for( rIdx = 0; rIdx <= num_ref_idx_l1_active_minus1; rIdx++ )
            (F-68)
            RefPicList1[ rIdx ] = ref_pic_list_modification_flag_l1 ? RefPicListTemp1[ list_entry_l1[ rIdx ] ] :
                                                                   RefPicListTemp1[ rIdx ]

It is a requirement of bitstream conformance that when the current layer is an independent non-base layer, nal_unit_type
has a value in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive (i.e. the picture is an IRAP picture),
pps_curr_pic_ref_enabled_flag is equal to 1, and slice_type is not equal to 2, RefPicList0 and RefPicList1 shall not contain
entries that refer to a picture other than the current picture.

F.8.4       Decoding process for coding units coded in intra prediction mode
The specifications in clause 8.4 and its subclauses apply.

F.8.5       Decoding process for coding units coded in inter prediction mode
The specifications in clause 8.5 and its subclauses apply.

F.8.6       Scaling, transformation and array construction process prior to deblocking filter process
The specifications in clause 8.6 and its subclauses apply.

F.8.7       In-loop filter process
The specifications in clause 8.7 and its subclauses apply.

F.9         Parsing process
The specifications in clause 9 and its subclauses apply.




510           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25             Page 532 of 717 Page ID
                                                             #:1061

F.10      Specification of bitstream subsets
F.10.1 Sub-bitstream extraction process
Inputs to this process are a bitstream inBitstream, a target highest TemporalId value tIdTarget and a target layer identifier
list layerIdListTarget.
Output of this process is a sub-bitstream outBitstream.
When vps_base_layer_internal_flag is equal to 1 and vps_base_layer_available_flag is equal to 1, it is a requirement of
bitstream conformance for inBitstream that any output sub-bitstream outBitstream that is the output of the process specified
in this clause with inBitstream, tIdTarget equal to any value in the range of 0 to 6, inclusive, and layerIdListTarget equal
to the layer identifier list associated with a layer set specified in the active VPS as inputs, and that satisfies both of the
following conditions shall be a conforming bitstream:
–    The output sub-bitstream contains at least one VCL NAL unit with nuh_layer_id equal to each of the nuh_layer_id
     values in layerIdListTarget.
–    The output sub-bitstream contains at least one VCL NAL unit with TemporalId equal to tIdTarget.
    NOTE 1 – When vps_base_layer_internal_flag is equal to 1 and vps_base_layer_available_flag is equal to 1, a conforming bitstream
    contains one or more coded slice segment NAL units with nuh_layer_id equal to 0 and TemporalId equal to 0.

The output sub-bitstream outBitstream is derived as follows:
–    The bitstream outBitstream is set to be identical to the bitstream inBitstream.
–    When one or more of the following two conditions are true, remove from outBitstream all SEI NAL units that have
     nuh_layer_id equal to 0 and that contain a non-scalable-nested buffering period SEI message, a non-scalable-nested
     picture timing SEI message, or a non-scalable-nested decoding unit information SEI message:
     –     layerIdListTarget does not include all the values of nuh_layer_id in all NAL units in the bitstream.
     –     tIdTarget is less than the greatest TemporalId in all NAL units in the bitstream.
           NOTE 2 – A "smart" bitstream extractor may include appropriate non-scalable-nested buffering picture SEI messages, non-
           scalable-nested picture timing SEI messages and non-scalable-nested decoding unit information SEI messages in the
           extracted sub-bitstream, provided that the SEI messages applicable to the sub-bitstream were present as scalable-nested SEI
           messages in the original bitstream.

–    Remove from outBitstream all NAL units with TemporalId greater than tIdTarget or nuh_layer_id not among the
     values included in layerIdListTarget.

F.10.2 Independent non-base layer rewriting process
Inputs to this process are a bitstream inBitstream, a target highest TemporalId value tIdTarget and a nuh_layer_id value
assignedBaseLayerId of an independent non-base layer of an additional layer set.
Output of this process is a sub-bitstream outBitstream.
It is a requirement of bitstream conformance for inBitstream that any output sub-bitstream outBitstream that is the output
of the process specified in this clause shall otherwise be a conforming bitstream except that outBitstream does not contain
any VPS NAL units, when all of the following conditions apply:
–    The output sub-bitstream outBitstream contains VCL NAL units with nuh_layer_id equal to assignedBaseLayerId.
–    The value of tIdTarget is equal to any value in the range of 0 to 6, inclusive, and outBitstream contains at least one
     VCL NAL unit with TemporalId equal to tIdTarget.
–    There is an OLS in the active VPS that consists of only the layer with nuh_layer_id equal to assignedBaseLayerId,
     the profile of that layer is a profile specified in Annex A and the value of general_inbld_flag (when tIdTarget is equal
     to vps_max_sub_layers_minus1) or the value of sub_layer_inbld_flag[ tidTarget ] (when tidTarget is less than
     vps_max_sub_layers_minus1) in the profile_tier_level( ) syntax structure associated with that layer is equal to 1.
The output sub-bitstream outBitstream is derived from the bitstream inBitstream as follows:
–      The bitstream outBitstream is set to be identical to the bitstream inBitstream.
–      NAL units with nal_unit_type not equal to SPS_NUT, PPS_NUT, and EOB_NUT and with nuh_layer_id not equal
       to the assignedBaseLayerId are removed from outBitstream.
–      NAL units with nal_unit_type equal to SPS_NUT or PPS_NUT with nuh_layer_id not equal to 0 or
       assignedBaseLayerId are removed from outBitstream.
–    NAL units with nal_unit_type equal to VPS_NUT are removed from outBitstream.


                                                                                    Rec. ITU-T H.265 v8 (08/2021)               511
      Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 533 of 717 Page ID
                                                                 #:1062

–     All NAL units with TemporalId greater than tIdTarget are removed from outBitstream.
–      nuh_layer_id is set equal to 0 in each NAL unit of outBitstream.

F.10.3 Sub-bitstream extraction process for additional layer sets
Inputs to this process are a bitstream inBitstream, a target highest TemporalId value tIdTarget and a target layer identifier
list layerIdListTarget of an additional layer set.
Output of this process is a sub-bitstream outBitstream.
It is a requirement of bitstream conformance for the input bitstream that the output sub-bitstream of the process specified
in this clause shall be a conforming bitstream according to at least one profile in which vps_base_layer_available_flag may
be equal to 0, when all of the following conditions apply:
–     The output sub-bitstream outBitstream contains VCL NAL units with each nuh_layer_id value in layerIdListTarget.
–     The value of tIdTarget is equal to any value in the range of 0 to 6, inclusive, and outBitstream contains at least one
      VCL NAL unit with TemporalId equal to tIdTarget.
–     layerIdListTarget is identical to LayerSetLayerIdList[ i ] for any value of i in the range of FirstAddLayerSetIdx to
      LastAddLayerSetIdx, inclusive.
The output sub-bitstream outBitstream is derived as follows:
–     The bitstream outBitstream is set to be identical to the bitstream inBitstream.
–     NAL units with nal_unit_type not equal to VPS_NUT, SPS_NUT, PPS_NUT, EOS_NUT and EOB_NUT and with
      nuh_layer_id not equal to any value in layerIdListTarget are removed from outBitstream.
–     NAL units with nal_unit_type equal to VPS_NUT, SPS_NUT, PPS_NUT or EOS_NUT with nuh_layer_id not equal
      to 0 or any value in layerIdListTarget are removed from outBitstream.
–     All NAL units with TemporalId greater than tIdTarget are removed from outBitstream.
–     vps_base_layer_available_flag in each VPS is set equal to 0.

F.11      Profiles, tiers and levels
F.11.1 Independent non-base layer decoding capability
This clause specifies the independent non-base layer decoding (INBLD) capability, which is associated with the decoding
capability of one or more of the profiles specified in Annex A. When expressing the capabilities of a decoder for one or
more profiles specified in Annex A, whether the INBLD capability is supported for those profiles should also be expressed.
    NOTE 1– The INBLD capability, when supported, indicates the capability of a decoder to decode an independent non-base layer
    that is indicated in the active VPSs and SPSs to conform to a profile specified in Annex A and is the layer with the smallest
    nuh_layer_id value in an additional layer set.
    When the profile_tier_level( ) syntax structure is used for indicating of a decoder capability in systems, the INBLD capability may
    be indicated by setting the general_inbld_flag equal to 1 in the profile_tier_level( ) syntax structure used to express the profile, tier
    and level that the decoder conforms to.
    general_inbld_flag is set equal to 1 in the profile_tier_level( ) syntax structures in which a profile specified in Annex A is indicated
    and which are either specified in the VPS to be applicable for a non-base layer or included in an SPS activated for an independent
    non-base layer.

Decoders having the INBLD capability and conforming to a specific profile specified in Annex A at a specific level of a
specific tier shall be capable of decoding any independent non-base layer or a sub-layer representation with TemporalId
equal to i of the independent non-base layer for which all of the following condition applies for each active VPS:
–      There is an OLS that consists of the independent non-base layer and for which the associated profile_tier_level( )
       syntax structure ptlStruct is constrained as follows:
      –     ptlStruct indicates that the independent non-base layer or the sub-layer representation conforms to a profile
            specified in Annex A.
      –     ptlStruct indicates that the independent non-base layer or the sub-layer representation conforms to a level lower
            than or equal to the specified level.
      –     ptlStruct indicates that the independent non-base layer or the sub-layer representation conforms to a tier lower
            than or equal to the specified tier.
      –     general_inbld_flag or sub_layer_inbld_flag[ i ] in ptlStruct is equal to 1.



512          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 534 of 717 Page ID
                                                              #:1063

                NOTE 2– Let a derived bitstream outBitstream be a bitstream which is derived by invoking the independent non-base
                layer rewriting process specified in clause F.10.2 with a bitstream containing one or more independent non-base layers,
                tIdTarget equal to 6 and assignedBaseLayerId equal to the smallest nuh_layer_id value of additional layer set as inputs.
                As specified elsewhere in this Specification, it is a requirement of bitstream conformance that outBitstream is otherwise
                a conforming bitstream but does not contain VPSs. Consequently, decoders with INBLD capability may apply the
                independent non-base layer rewriting process specified in clause F.10.2 to obtain outBitstream and then apply a
                decoding process for a profile specified in Annex A with outBitstream as input.
                NOTE 3– The following constraints are necessary to ensure that a sub-bitstream derived by invoking the independent
                non-base layer rewriting process specified in clause F.10.2 conforms to a profile specified in Annex A:
     –     All active SPSs for the independent non-base layer have nuh_layer_id equal to 0 or MultiLayerExtSpsFlag equal to 0.
     –     Each active VPS has poc_lsb_not_present_flag[ i ] equal to 1 for each value of i for which i is the layer index of the
           independent non-base layer.

F.11.2 Decoder capabilities
This clause specifies requirements for decoders having the capability of decoding an output operation point with one or
more necessary layers.
    NOTE – For example, this clause specifies the requirements for a decoder supporting simultaneous decoding of the base layer and
    an independent non-base layer for which the INBLD capability is needed. Moreover, this clause specifies the requirements for a
    decoder supporting decoding of layers conforming to profiles specified in Annex G or H.

A decoder that conforms to a list ptliList consisting of profile, tier, level and INBLD capability quadruplets
( Pi, Ti, Li, InbldFlagi ) for i in the range of 0 to d − 1, inclusive, where d is a positive integer, shall be capable of decoding
any output operation point containing b necessary layers, where b is less than or equal to d, when the following condition
applies:
–    There exists a reordered list, orderedPtliList, of the profile, tier, level and INBLD capability quadruplets
     ( orderedPj, orderedTj, orderedLj, orderedInbldFlagj ) of the list ptliList such that all the following conditions apply
     for each value of j in the range of 0 to b − 1, inclusive, where the variable bLayer[ j ] represents the j-th necessary
     layer in the output operation point:
     –    The profile to which bLayer[ j ] is indicated to conform is included in CompatibleProfileList for the profile
          orderedPj as specified in Table F.3.
     –    The tier to which bLayer[ j ] is indicated to conform is lower than or equal to the tier orderedTj.
     –    The level to which bLayer[ j ] is indicated to conform is lower than or equal to the level orderedLj.
     –    When the profile to which bLayer[ j ] is indicated to conform is a profile specified in Annex A, the value of
          general_inbld_flag (when OpTid of the output operation point is equal to vps_max_sub_layers_minus1) or
          sub_layer_inbld_flag[ OpTid ] (when OpTid of the output operation point is less than
          vps_max_sub_layers_minus1) of bLayer[ j ] is less than or equal to orderedInbldFlagj.
For each particular format range extensions profile specified in clause A.3.5, the compatible format range extensions
profiles are defined as the profiles that are indicated by both of the following conditions being true:
–    The value of general_profile_idc is equal to 4 or general_profile_compatibility_flag[ 4 ] is equal to 1.
–    The value of each constraint flag listed in Table A.2 is less than or equal to the corresponding value specified in the
     row of Table A.2 for the particular format range extensions profile.
For each particular scalable format range extensions profile specified in clause H.11.1.2, the compatible scalable format
range extensions profiles are defined as the profiles that are indicated by all of the following conditions being true:
–    The value of general_profile_idc is equal to 10 or general_profile_compatibility_flag[ 10 ] is equal to 1.
–    The value of each constraint flag listed in Table H.4 is less than or equal to the corresponding value specified in the
     row of Table H.4 for the particular scalable format range extensions profile.




                                                                                      Rec. ITU-T H.265 v8 (08/2021)                513
      Case 2:25-cv-03053                Document 1-7        Filed 04/07/25            Page 535 of 717 Page ID
                                                          #:1064

                                     Table F.3 – Specification of CompatibleProfileList

                          Profile to which                  Profiles that the decoder shall support
                       the decoder conforms                         CompatibleProfileList
                  Scalable Main                   Scalable Main, Main, Main Still Picture
                                                  Scalable Main 10, Main, Main Still Picture, Main 10,
                  Scalable Main 10
                                                  Scalable Main
                                                  The compatible format range extensions profiles of the
                                                  Monochrome profile, and the compatible scalable format
                  Scalable Monochrome
                                                  range extensions profiles of the Scalable Monochrome
                                                  profile
                                                  The compatible format range extensions profiles of the
                                                  Monochrome 12 profile, and the compatible scalable format
                  Scalable Monochrome 12
                                                  range extensions profiles of the Scalable Monochrome 12
                                                  profile
                                                  The compatible format range extensions profiles of the
                                                  Monochrome 16 profile, and the compatible scalable format
                  Scalable Monochrome 16
                                                  range extensions profiles of the Scalable Monochrome 16
                                                  profile
                                                  Scalable Main, Main, Main Still Picture, the compatible
                                                  format range extensions profiles of the Main 4:4:4 profile,
                  Scalable Main 4:4:4
                                                  and the compatible scalable format range extensions profiles
                                                  of the Scalable Main 4:4:4 profile
                  Multiview Main                  Multiview Main, Main, Main Still Picture
                  3D Main                         3D Main, Multiview Main, Main, Main Still Picture



F.11.3 Derivation of sub-bitstreams subBitstream and baseBitstream
For an output operation point associated with an OLS in a bitstream, let olsIdx be the OLS index of the OLS, the sub-
bitstream subBitstream and base layer sub-bitstream baseBitstream are derived as follows:
–      The sub-bitstream subBitstream is derived as follows:
       –   If OlsIdxToLsIdx[ olsIdx ] is less than or equal to vps_num_layer_sets_minus1, subBitstream is derived by
           invoking the sub-bitstream extraction process as specified in clause F.10.1 with the following inputs: the
           bitstream, tIdTarget equal to OpTid of the output operation point, and layerIdListTarget containing the
           nuh_layer_id value layerId of the layer and all the reference layers of the layer.
       –   Otherwise, subBitstream is derived by invoking the sub-bitstream extraction process as specified in clause F.10.3
           with tIdTarget equal to OpTid of the output operation point and with layerIdListTarget containing the
           nuh_layer_id value of the layer and all the reference layers of the layer.
–      When vps_base_layer_internal_flag is equal to 1, the base layer sub-bitstream baseBitstream is derived as follows:
       –   If VCL NAL units with nuh_layer_id equal to 0 are included in subBitstream, baseBitstream is derived by
           invoking the sub-bitstream extraction process as specified in clause F.10.1 with the subBitstream, tIdTarget equal
           to OpTid of the output operation point, and layerIdListTarget containing only one nuh_layer_id value that is
           equal to 0 as inputs.
       –   Otherwise, baseBitstream is derived by invoking the independent non-base layer rewriting process as specified
           in clause F.10.2 with subBitstream, tIdTarget equal to OpTid of the output operation point, and layerIdListTarget
           containing only the smallest nuh_layer_id value of the VCL NAL units of subBitstream as inputs.

F.12       Byte stream format
The specifications in Annex B apply.

F.13       Hypothetical reference decoder
F.13.1 General
Three sets of bitstream conformance tests are needed for checking the conformance of a bitstream, which is referred to as
the entire bitstream, denoted as entireBitstream. The first set of bitstream conformance tests are for testing the conformance
of the entire bitstream and its temporal subsets, regardless of whether there is a layer set specified by the active VPS that
contains all the nuh_layer_id values of VCL NAL units present in the entire bitstream. The second set of bitstream


514         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 536 of 717 Page ID
                                                          #:1065

conformance tests are for testing the conformance of the layer sets specified by the active VPS and their temporal subsets.
For all these tests, only the base layer pictures (i.e., pictures with nuh_layer_id equal to 0) are decoded and other pictures
are ignored by the decoder when the decoding process is invoked.
The first and second sets of bitstream conformance tests are specified in clause C.1. Clause F.13 and its subclauses specify
the HRD operations for the third sets of bitstream conformance tests.
The third set of bitstream conformance tests are for testing the conformance of the OLSs specified by the VPS extension
part of the active VPS and their temporal subsets. For each test in the third set of bitstream conformance tests, the following
ordered steps apply in the order listed, followed by the processes described after these steps in this clause:
    1.   An output operation point under test, denoted as TargetOp, is selected by selecting a value for TargetOlsIdx
         identifying a target OLS and selecting a target highest TemporalId value HighestTid. The value of TargetOlsIdx
         shall be in the range of 0 to NumOutputLayerSets − 1, inclusive, and the value of HighestTid shall be in the range
         of 0 to MaxSubLayersInLayerSetMinus1[ OlsIdxToLsIdx[ TargetOlsIdx ] ], inclusive. Additionally, the values
         of TargetOlsIdx and HighestTid are constrained as specified in the next step.
         The variables TargetDecLayerSetIdx, TargetOptLayerIdList, and TargetDecLayerIdList are then derived as
         specified in clause F.8.1.2. The output operation point under test has OptLayerIdList equal to
         TargetOptLayerIdList, OpLayerIdList equal to TargetDecLayerIdList and OpTid equal to HighestTid.
    2.   A bitstream to be decoded, BitstreamToDecode, is specified as follows:
         –    If TargetDecLayerSetIdx is less than or equal to vps_num_layer_sets_minus1 and
              vps_base_layer_internal_flag is equal to 1, the sub-bitstream extraction process as specified in clause 10 is
              applied with the bitstream entireBitstream, HighestTid and TargetDecLayerIdList as inputs, and the output
              is assigned to BitstreamToDecode.
         –    Otherwise, if TargetDecLayerSetIdx is less than or equal to vps_num_layer_sets_minus1 and
              vps_base_layer_internal_flag is equal to 0, the sub-bitstream extraction process as specified in clause F.10.1
              is applied with the bitstream entireBitstream, HighestTid and TargetDecLayerIdList as inputs, and the output
              is assigned to BitstreamToDecode.
         –    Otherwise,      if     TargetDecLayerSetIdx      is    greater     than      vps_num_layer_sets_minus1,
              NumLayersInIdList[ TargetDecLayerSetIdx ] is equal to 1 and the profile of the layer in TargetOlsIdx is one
              of those specified in Annex A, the independent non-base layer rewriting process of clause F.10.2 is applied
              with the bitstream entireBitstream, HighestTid and TargetDecLayerIdList[ 0 ] as inputs, and the output is
              assigned to BitstreamToDecode.
         –    Otherwise, the sub-bitstream extraction process as specified in clause F.10.3 is applied with the bitstream
              entireBitstream, HighestTid and TargetDecLayerIdList as inputs, and the output is assigned to
              BitstreamToDecode.
         The values of TargetOlsIdx and HighestTid are additionally constrained as follows:
         –    When vps_base_layer_available_flag is equal to 0, OlsIdxToLsIdx[ TargetOlsIdx ] shall be in the range of
              FirstAddLayerSetIdx to LastAddLayerSetIdx, inclusive.
         –    When vps_base_layer_internal_flag is equal to 0, TargetOlsIdx shall be greater than 0.
         –    The value of TargetOlsIdx shall be such that there is at least one VCL NAL unit in BitstreamToDecode with
              nuh_layer_id equal to LayerSetLayerIdList[ OlsIdxToLsIdx[ TargetOlsIdx ] ][ i ] for each value of i in the
              range of 0 to NumLayersInIdList[ OlsIdxToLsIdx[ TargetOlsIdx ] ] − 1, inclusive.
         –    The value of HighestTid shall be such that there is at least one VCL NAL unit with TemporalId equal to
              HighestTid in BitstreamToDecode.
    3.   A partitioning scheme is selected from the list of partitioning schemes signalled in the active VPS for the selected
         OLS. The selected partitioning scheme is denoted as TargetPartitioningScheme with partitioning scheme index
         TargetPsIdx.
    4.   The subsequent steps apply to each bitstream partition, referred to as the bitstream partition under test
         TargetBitstreamPartition, of the selected partitioning scheme of the target OLS. If there is only one bitstream
         partition for TargetPartitioningScheme, the TargetBitstreamPartition is identical to BitstreamToDecode.
         Otherwise, each bitstream partition is derived with the demultiplexing process for deriving a bitstream partition
         in clause F.13.6, with BitstreamToDecode, the list of layers in TargetBitstreamPartition and the number of layers
         in TargetBitstreamPartition as inputs.
    5.   The applicable hrd_parameters( ) syntax structures and the sub_layer_hrd_parameters( ) syntax structures are
         selected as follows:
         –    A SchedSelCombIdx is selected for BitstreamToDecode and used for each TargetBitstreamPartition. The
              selected    SchedSelCombIdx         shall     be      in      the        range    of     0       to
              num_bsp_schedules_minus1[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ], inclusive.


                                                                                Rec. ITU-T H.265 v8 (08/2021)            515
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 537 of 717 Page ID
                                                             #:1066

           –     The          applicable          hrd_parameters( )            syntax          structure        is         the
                 bsp_hrd_idx[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ][ SchedSelCombIdx ][ j ]-th hrd_parameters( )
                 syntax structure in the active VPS, where j is the bitstream partition index of TargetBitstreamPartition.
           Within the selected hrd_parameters( ) syntax structures, if BitstreamToDecode is a Type I bitstream, the
           sub_layer_hrd_parameters( HighestTid ) syntax structures that immediately follow the condition
           "if( vcl_hrd_parameters_present_flag )" are selected and the variable NalHrdModeFlag is set equal to 0;
           otherwise (BitstreamToDecode is a Type II bitstream), the sub_layer_hrd_parameters( HighestTid ) syntax
           structures that immediately follow either the condition "if( vcl_hrd_parameters_present_flag )" (in this case the
           variable NalHrdModeFlag is set equal to 0) or the condition "if( nal_hrd_parameters_present_flag )" (in this case
           the variable NalHrdModeFlag is set equal to 1) are selected. When BitstreamToDecode is a Type II bitstream and
           NalHrdModeFlag is equal to 0, all non-VCL NAL units except filler data NAL units, and all leading_zero_8bits,
           zero_byte, start_code_prefix_one_3bytes, and trailing_zero_8bits syntax elements that form a byte stream from
           the NAL unit stream (as specified in Annex B), when present, are discarded from TargetBitstreamPartition, and
           the remaining sub-bitstream is assigned to TargetBitstreamPartition.
      6.   An access unit associated with a buffering period SEI message (present in a bitstream partition nesting SEI
           message in BitstreamToDecode or available through external means not specified in this Specification) applicable
           to TargetOp, TargetPartitioningScheme and TargetBitstreamPartition is selected as the HRD initialization point
           and referred to as access unit 0.
           The variable MultiLayerCpbOperationFlag is derived as follows:
           –     If BitstreamToDecode contains only the              base     layer   (i.e.,   TargetOlsIdx     is   equal   to   0),
                 MultiLayerCpbOperationFlag is set equal to 0.
           –     Otherwise, MultiLayerCpbOperationFlag is set equal to 1.
      7.   If sub_pic_hrd_params_present_flag in the selected hrd_parameters( ) syntax structure is equal to 1, the CPB is
           scheduled to operate either at the partition unit level (in which case the variable SubPicHrdFlag is set equal to 0)
           or at the sub-partition level (in which case the variable SubPicHrdFlag is set equal to 1). Otherwise,
           SubPicHrdFlag is set equal to 0 and the CPB is scheduled to operate at the partition unit level.
      8.   For each access unit in TargetBitstreamPartition starting from access unit 0, the buffering period SEI message
           (present in a bitstream partition nesting SEI message in BitstreamToDecode or available through external means
           not specified in this Specification) that is associated with the access unit and applies to TargetOp,
           TargetPartitioningScheme and TargetBitstreamPartition is selected, the picture timing SEI message (present in a
           bitstream partition nesting SEI message in BitstreamToDecode or available through external means not specified
           in this Specification) that is associated with the access unit and applies to TargetOp, TargetPartitioningScheme
           and TargetBitstreamPartition is selected, and when SubPicHrdFlag is equal to 1 and
           sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 0, the decoding unit information SEI messages (present
           in bitstream partition nesting SEI messages in BitstreamToDecode or available through external means not
           specified in this Specification) that are associated with decoding units in the access unit and apply to TargetOp,
           TargetPartitioningScheme, and TargetBitstreamPartition are selected.
      9.   A       value      of      SchedSelIdx      for       TargetBitstreamPartition is      set       equal       to
           bsp_sched_idx[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ][ SchedSelCombIdx ][ j ], where j is the index of the
           bitstream partition index of TargetBitstreamPartition.
      10. The variable initialAltParamSelectionFlag is derived as follows:
           –     If all of the following conditions are true, initialAltParamSelectionFlag is set equal to 1:
                 –    The coded picture with nuh_layer_id equal to SmallestLayerId in access unit 0 has nal_unit_type equal
                      to CRA_NUT or BLA_W_LP.
                 –    MultiLayerCpbOperationFlag is equal to 0.
                 –    irap_cpb_params_present_flag in the selected buffering period SEI message is equal to 1.
           –     Otherwise, if all of the following conditions are true, initialAltParamSelectionFlag is set equal to 1:
                 –    The coded picture with nuh_layer_id equal to SmallestLayerId in access unit 0 is an IRAP picture.
                 –    MultiLayerCpbOperationFlag is equal to 1.
                 –    irap_cpb_params_present_flag in the selected buffering period SEI message is equal to 1.
           –     Otherwise, initialAltParamSelectionFlag is set equal to 0.
      11. When initialAltParamSelectionFlag is equal to 1, the following applies:
           –     The variable skippedPictureList is set to consist of the CL-RAS pictures and the RASL pictures associated
                 with the IRAP pictures with nuh_layer_id equal to nuhLayerId for which LayerInitializedFlag[ nuhLayerId ]
                 is equal to 0 at the start of decoding the IRAP picture and for which nuhLayerId is among
                 TargetDecLayerIdList.


516            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 538 of 717 Page ID
                                                              #:1067

         –     Either of the following applies for selection of the initial CPB removal delay and delay offset:
               –    If NalHrdModeFlag is equal to 1, the default initial CPB removal delay and delay offset represented by
                    nal_initial_cpb_removal_delay[ SchedSelIdx ] and nal_initial_cpb_removal_offset[ SchedSelIdx ],
                    respectively, in the selected buffering period SEI message are selected. Otherwise, the default initial
                    CPB removal delay and delay offset represented by vcl_initial_cpb_removal_delay[ SchedSelIdx ] and
                    vcl_initial_cpb_removal_offset[ SchedSelIdx ], respectively, in the selected buffering period SEI
                    message are selected. The variable DefaultInitCpbParamsFlag is set equal to 1.
               –    If NalHrdModeFlag is equal to 1, the alternative initial CPB removal delay and delay offset represented by
                    nal_initial_alt_cpb_removal_delay[ SchedSelIdx ] and nal_initial_alt_cpb_removal_offset[ SchedSelIdx ],
                    respectively, in the selected buffering period SEI message are selected. Otherwise, the alternative initial CPB
                    removal delay and delay offset represented by vcl_initial_alt_cpb_removal_delay[ SchedSelIdx ] and
                    vcl_initial_alt_cpb_removal_offset[ SchedSelIdx ], respectively, in the selected buffering period SEI
                    message are selected. The variable DefaultInitCpbParamsFlag is set equal to 0 and all the pictures in
                    skippedPictureList are discarded from BitstreamToDecode and the remaining bitstream is assigned to
                    BitstreamToDecode.
Each conformance test consists of a combination of one option in each of the above steps. When there is more than one
option for a step, for any particular conformance test only one option is chosen. All possible combinations of all the steps
form the entire set of conformance tests.
When BitstreamToDecode is a Type II bitstream, the following applies:
–    If the sub_layer_hrd_parameters( HighestTid ) syntax structure that immediately follows the condition
     "if( vcl_hrd_parameters_present_flag )" is selected, the test is conducted at the Type I conformance point and only
     VCL and filler data NAL units are counted for the input bit rate and CPB storage.
–    Otherwise (the sub_layer_hrd_parameters( HighestTid ) syntax structure that immediately follows the condition
     "if( nal_hrd_parameters_present_flag )" is selected), the test is conducted at the Type II conformance point, and all
     bytes of the Type II bitstream, which may be a NAL unit stream or a byte stream, are counted for the input bit rate
     and CPB storage.
           NOTE 1 – NAL HRD parameters established by a value of SchedSelIdx for the Type II conformance point are sufficient to
           also establish VCL HRD conformance for the Type I conformance point for the same values of
           InitCpbRemovalDelay[ SchedSelIdx ], BitRate[ SchedSelIdx ] and CpbSize[ SchedSelIdx ] for the VBR case
           (cbr_flag[ SchedSelIdx ] equal to 0). This is because the data flow into the Type I conformance point is a subset of the data
           flow into the Type II conformance point and because, for the VBR case, the CPB is allowed to become empty and stay empty
           until the time a next picture is scheduled to begin to arrive. For example, when decoding a CVS conforming to one or more
           of the profiles specified in Annex G using the decoding process specified in clauses G.2 through G.10, when NAL HRD
           parameters are provided for the Type II conformance point that not only fall within the bounds set for NAL HRD parameters
           for profile conformance in item f) of clause G.11.2.2 but also fall within the bounds set for VCL HRD parameters for profile
           conformance in item e) of clause G.11.2.2, conformance of the VCL HRD for the Type I conformance point is also assured
           to fall within the bounds of item e) of clause G.11.2.2.

All VPSs, SPSs and PPSs referred to in the VCL NAL units, and the corresponding buffering period, picture timing and
decoding unit information SEI messages shall be conveyed to the HRD, in a timely manner, either in the bitstream (by
non-VCL NAL units), or by other means not specified in this Specification.
In Annexes C, D and E, the specification for "presence" of non-VCL NAL units that contain VPSs, SPSs, PPSs, buffering
period SEI messages, picture timing SEI messages or decoding unit information SEI messages is also satisfied when those
NAL units (or just some of them) are conveyed to decoders (or to the HRD) by other means not specified in this
Specification. For the purpose of counting bits, only the appropriate bits that are actually present in the bitstream are
counted.
    NOTE 2 – As an example, synchronization of such a non-VCL NAL unit, conveyed by means other than presence in the bitstream,
    with the NAL units that are present in the bitstream, can be achieved by indicating two points in the bitstream, between which the
    non-VCL NAL unit would have been present in the bitstream, had the encoder decided to convey it in the bitstream.

When the content of such a non-VCL NAL unit is conveyed for the application by some means other than presence within
the bitstream, the representation of the content of the non-VCL NAL unit is not required to use the same syntax as specified
in this Specification.
    NOTE 3 – When HRD information is contained within the bitstream, it is possible to verify the conformance of a bitstream to the
    requirements of this clause based solely on information contained in the bitstream. When the HRD information is not present in the
    bitstream, as is the case for all "stand-alone" Type I bitstreams, conformance can only be verified when the HRD data are supplied
    by some other means not specified in this Specification.

For the bitstream-partition-specific CPB operation as specified in this annex, the HRD contains a bitstream demultiplexer
(optionally present), two or more bitstream partition buffers (BPB), two or more instantaneous decoding processes, a
decoded picture buffer (DPB) that contains a sub-DPB for each layer, and output cropping as shown in Figure F.1.



                                                                                      Rec. ITU-T H.265 v8 (08/2021)               517
      Case 2:25-cv-03053               Document 1-7             Filed 04/07/25             Page 539 of 717 Page ID
                                                              #:1068




                                Figure F.1 – Bitstream-partition-specific HRD buffer model


For each bitstream conformance test, the size of BPB (or CPB) CpbSize[ SchedSelIdx ] is
BpbSize[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ][ SchedSelCombIdx ][ j ], and the BitRate[ SchedSelIdx ] is
BpBitRate[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ][ SchedSelCombIdx ][ j ], where j is the bitstream partition index
of TargetBitstreamPartition, and SchedSelIdx and the HRD parameters are specified above in this clause. The sub-DPB
size    of     the    sub-DPB       for    a    layer     with     nuh_layer_id      equal     to     currLayerId      is
max_vps_dec_pic_buffering_minus1[ TargetOlsIdx ][ layerIdx ][ HighestTid ] + 1, where layerIdx is equal to the value
such that LayerSetLayerIdList[ TargetDecLayerSetIdx ][ layerIdx ] is equal to currLayerId.
If SubPicHrdFlag is equal to 0, the HRD operates at partition unit level and each decoding unit is a partition unit. Otherwise
the HRD operates at sub-partition level and each decoding unit is a subset of a partition unit.
           NOTE 4 – If the HRD operates at partition unit level, each time when some bits are removed from the CPB, a decoding unit
           that is an entire partition unit is removed from the CPB. Otherwise (the HRD operates at sub-partition level), each time when
           some bits are removed from the CPB, a decoding unit that is a subset of a partition unit is removed from the CPB. Regardless
           of whether the HRD operates at partition unit level or sub-partition level, each time when some picture is output from the
           DPB, an entire decoded picture is output from the DPB, though the picture output time is derived based on the differently
           derived CPB removal times and the differently signalled DPB output delays.

The following is specified for expressing the constraints in this annex:
–     Each access unit is referred to as access unit n, where the number n identifies the particular access unit. Access unit 0
      is selected per step 6 above. The value of n is incremented by 1 for each subsequent access unit in decoding order.
–     Each decoding unit is referred to as decoding unit m, where the number m identifies the particular decoding unit. The
      first decoding unit in decoding order in access unit 0 is referred to as decoding unit 0. The value of m is incremented
      by 1 for each subsequent decoding unit in decoding order.
           NOTE 5 – The numbering of decoding units is relative to the first decoding unit in access unit 0.

–     Picture n refers to a particular coded or decoded picture of access unit n.




518          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7            Filed 04/07/25            Page 540 of 717 Page ID
                                                            #:1069

The HRD operates as follows:
–   The HRD is initialized at decoding unit 0, with the CPB, each sub-DPB of the DPB and each BPB being set to be
    empty (the sub-DPB fullness for each sub-DPB is set equal to 0).
          NOTE 6 – After initialization, the HRD is not initialized again by subsequent buffering period SEI messages.

–   Data associated with decoding units that flow into the BPB according to a specified arrival schedule are delivered by
    an HBPS.
–   Each bitstream partition with index j is processed as specified in clause F.13.2 with the HSS replaced by the HBPS
    and with SchedSelIdx equal to bsp_sched_idx[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ][ SchedSelCombIdx ][ j ].
–   The data associated with each decoding unit are removed and decoded instantaneously by the instantaneous decoding
    process at the CPB removal time of the decoding unit.
–   Each decoded picture is placed in the DPB.
–   A decoded picture is removed from the DPB when it becomes no longer needed for inter prediction reference and no
    longer needed for output.
For each bitstream conformance test, the operation of the CPB and the BPB is specified in clause F.13.2, the instantaneous
decoder operation is specified in clauses 2 through 10, clauses F.2 through F.10, and either clauses G.2 through G.10 or
clauses H.2 through H.10, the operation of the DPB is specified in clause F.13.3, and the output cropping is specified in
clauses F.13.3.3 and F.13.5.2.2.
HSS, HBPS and HRD information concerning the number of enumerated delivery schedules and their associated bit rates
and buffer sizes is specified in clauses E.2.2, E.2.3, F.7.3.2.1.6 and F.7.4.3.1.6. The HRD is initialized as specified by the
buffering period SEI message specified in clauses D.2.2 and D.3.2. The removal timing of decoding units from the CPB
and output timing of decoded pictures from the DPB is specified using information in picture timing SEI messages
(specified in clauses D.2.3 and D.3.3) or in decoding unit information SEI messages (specified in clauses D.2.22 and
D.3.22). All timing information relating to a specific decoding unit shall arrive prior to the CPB removal time of the
decoding unit.
The requirements for bitstream conformance are specified in clause F.13.4 and the HRD is used to check conformance of
bitstreams as specified above in this clause and to check conformance of decoders as specified in clause F.13.5.

F.13.2 Operation of bitstream partition buffer

F.13.2.1 General
The specifications in this clause apply independently to each set of bitstream partition buffer (BPB) parameters that is
present and to both the Type I and Type II conformance points and the set of BPB parameters is selected as specified in
clause F.13.1. In clause F.13.2 and its subclauses, CPB is understood to be BPB and access unit is understood to be partition
unit.

F.13.2.2 Timing of decoding unit arrival
The variable altParamSelectionFlag is derived as follows:
–    If all of the following conditions are true, altParamSelectionFlag is set equal to 1:
     –    The current picture is a BLA picture that has nal_unit_type equal to BLA_W_LP and nuh_layer_id equal to
          SmallestLayerId or is a CRA picture that has nuh_layer_id equal to SmallestLayerId.
     –    MultiLayerCpbOperationFlag is equal to 0.
–    Otherwise, if all of the following conditions are true, altParamSelectionFlag is set equal to 1:
     –    The current picture is an IRAP picture with nuh_layer_id equal to SmallestLayerId and with NoClrasOutputFlag
          equal to 1.
     –    MultiLayerCpbOperationFlag is equal to 1.
–    Otherwise, altParamSelectionFlag is set equal to 0.
When altParamSelectionFlag is equal to 1, the following applies:
     –    If some external means not specified in this Specification is available to set the variable UseAltCpbParamsFlag
          to a value, UseAltCpbParamsFlag is set equal to the value provided by the external means.
     –    Otherwise, UseAltCpbParamsFlag is set equal to the value of use_alt_cpb_params_flag of the buffering period
          SEI message selected as specified in clause F.13.1.


                                                                                   Rec. ITU-T H.265 v8 (08/2021)         519
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 541 of 717 Page ID
                                                            #:1070

If SubPicHrdFlag is equal to 0, the variable subPicParamsFlag is set equal to 0 and the process specified in the remainder
of this clause is invoked with a decoding unit being considered as an access unit, for derivation of the initial and final CPB
arrival times for access unit n.
Otherwise (SubPicHrdFlag is equal to 1), the process specified in the remainder of this clause is first invoked with the
variable subPicParamsFlag set equal to 0 and a decoding unit being considered as an access unit, for derivation of the
initial and final CPB arrival times for access unit n, and then invoked with subPicParamsFlag set equal to 1 and a decoding
unit being considered as a subset of an access unit, for derivation of the initial and final CPB arrival times for the decoding
units in access unit n.
The variables InitCpbRemovalDelay[ SchedSelIdx ] and InitCpbRemovalDelayOffset[ SchedSelIdx ] are derived as
follows:
–     If one or more of the following conditions are true, InitCpbRemovalDelay[ SchedSelIdx ] and
      InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to the values of the buffering period SEI message syntax
      elements nal_initial_alt_cpb_removal_delay[ SchedSelIdx ] and nal_initial_alt_cpb_removal_offset[ SchedSelIdx ],
      respectively, when NalHrdModeFlag is equal to 1, or vcl_initial_alt_cpb_removal_delay[ SchedSelIdx ] and
      vcl_initial_alt_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 0, where the
      buffering period SEI message syntax elements are selected as specified in clause F.13.1:
      –    Access unit 0 includes a BLA picture with nuh_layer_id equal to SmallestLayerId and nal_unit_type equal to
           BLA_W_RADL or BLA_N_LP, MultiLayerCpbOperationFlag is equal to 0 and the value of
           irap_cpb_params_present_flag of the buffering period SEI message is equal to 1.
      –    Access unit 0 includes a BLA picture with nuh_layer_id equal to SmallestLayerId and nal_unit_type equal to
           BLA_W_LP or includes a CRA picture with nuh_layer_id equal to SmallestLayerId,
           MultiLayerCpbOperationFlag is equal to 0, and the value of irap_cpb_params_present_flag of the buffering
           period SEI message is equal to 1 and one or more of the following conditions are true:
           –   UseAltCpbParamsFlag for access unit 0 is equal to 1.
           –   DefaultInitCpbParamsFlag is equal to 0.
      –    Access unit 0 includes an IRAP picture with nuh_layer_id equal to SmallestLayerId,
           MultiLayerCpbOperationFlag is equal to 1 and the value of irap_cpb_params_present_flag of the buffering
           period SEI message is equal to 1 and one or more of the following conditions are true:
           –   UseAltCpbParamsFlag for access unit 0 is equal to 1.
           –   DefaultInitCpbParamsFlag is equal to 0.
      –    The value of subPicParamsFlag is equal to 1.
–     Otherwise, InitCpbRemovalDelay[ SchedSelIdx ] and InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to
      the values of the buffering period SEI message syntax elements nal_initial_cpb_removal_delay[ SchedSelIdx ] and
      nal_initial_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 1, or
      vcl_initial_cpb_removal_delay[ SchedSelIdx ] and vcl_initial_cpb_removal_offset[ SchedSelIdx ], respectively,
      when NalHrdModeFlag is equal to 0, where the buffering period SEI message syntax elements are selected as
      specified in clause F.13.1.
The time at which the first bit of decoding unit m begins to enter the CPB is referred to as the initial arrival time
initArrivalTime[ m ].
Decoding units are indexed in decoding order within the bitstream.
The initial arrival time of decoding unit m is derived as follows:
–     If the decoding unit is decoding unit 0 (i.e., when m is equal to 0) and the decoding unit belongs to the base bitstream
      partition, initArrivalTime[ 0 ] is set equal to 0.
–     Otherwise, if the decoding unit is decoding unit 0 and the decoding unit does not belong to the base bitstream partition,
      initArrivalTime[ 0 ] is obtained from the bitstream partition initial arrival time SEI message that applies to TargetOp,
      TargetPartitioningScheme, and TargetBitstreamPartition and is associated with the access unit containing decoding
      unit 0. The applicable bitstream partition initial arrival time SEI message is either included in a bitstream partition
      nesting SEI message in an SEI NAL unit in the access unit containing decoding unit 0 in BitstreamToDecode or
      available through external means not specified in this Specification. If NalHrdModeFlag is equal to 0,
      initArrivalTime[ 0 ] is set equal to vcl_initial_arrival_delay[ SchedSelIdx ] in the applicable bitstream partition initial
      arrival time SEI message. Otherwise (NalHrdModeFlag is equal to 1), initArrivalTime[ 0 ] is set equal to
      nal_initial_arrival_delay[ SchedSelIdx ] in the applicable bitstream partition initial arrival time SEI message.
–     Otherwise, the following applies:



520         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 542 of 717 Page ID
                                                          #:1071

     –    If cbr_flag[ SchedSelIdx ] is equal to 1, the initial arrival time for decoding unit m is equal to the final arrival
          time (which is derived below) of decoding unit m − 1, i.e.,
              if( !subPicParamsFlag )
                    initArrivalTime[ m ] = AuFinalArrivalTime[ m − 1 ]                                                (F-69)
              else
                    initArrivalTime[ m ] = DuFinalArrivalTime[ m − 1 ]
     –    Otherwise (cbr_flag[ SchedSelIdx ] is equal to 0), the initial arrival time for decoding unit m is derived as
          follows:
              if( !subPicParamsFlag )
                    initArrivalTime[ m ] = Max( AuFinalArrivalTime[ m − 1 ], initArrivalEarliestTime[ m ] )
                    (F-70)
              else
                    initArrivalTime[ m ] = Max( DuFinalArrivalTime[ m − 1 ], initArrivalEarliestTime[ m ] )
          where initArrivalEarliestTime[ m ] is derived as follows:
          –    The variable tmpNominalRemovalTime is derived as follows:
                    if( !subPicParamsFlag )
                         tmpNominalRemovalTime = AuNominalRemovalTime[ m ]                                            (F-71)
                    else
                         tmpNominalRemovalTime = DuNominalRemovalTime[ m ]
               where AuNominalRemovalTime[ m ] and DuNominalRemovalTime[ m ] are the nominal CPB removal
               time of access unit m and decoding unit m, respectively, as specified in clause F.13.2.3.
          –    If decoding unit m is not the first decoding unit of a subsequent buffering period,
               initArrivalEarliestTime[ m ] is derived as follows:
                    initArrivalEarliestTime[ m ] = tmpNominalRemovalTime −
                    ( InitCpbRemovalDelay[ SchedSelIdx ]
                           + InitCpbRemovalDelayOffset[ SchedSelIdx ] ) ÷ 90 000                                      (F-72)
          –    Otherwise (decoding unit m is the first decoding unit of a subsequent buffering period),
               initArrivalEarliestTime[ m ] is derived as follows:
                    initArrivalEarliestTime[ m ] = tmpNominalRemovalTime −
                           ( InitCpbRemovalDelay[ SchedSelIdx ] ÷ 90 000 )                                            (F-73)
The final arrival time for decoding unit m is derived as follows:
          if( !subPicParamsFlag )
               AuFinalArrivalTime[ m ] = initArrivalTime[ m ] + sizeInbits[ m ] ÷ BitRate[ SchedSelIdx ]
               (F-74)
          else
               DuFinalArrivalTime[ m ] = initArrivalTime[ m ] + sizeInbits[ m ] ÷ BitRate[ SchedSelIdx ]
where sizeInbits[ m ] is the size in bits of decoding unit m, counting the bits of the VCL NAL units and the filler data NAL
units for the Type I conformance point or all bits of the Type II bitstream for the Type II conformance point.
The values of SchedSelIdx, BitRate[ SchedSelIdx ] and CpbSize[ SchedSelIdx ] are constrained as follows:
–    If the lists of delivery schedules, including the HRD parameters associated with the individual delivery schedules, for
     the access unit containing decoding unit m and the previous access unit differ, the HSS selects a value
     SchedCombIdx1 in the range of 0 to num_bsp_schedules_minus1[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ],
     inclusive,       and       sets    SchedSelIdx1      for     TargetBitstreamPartition      to     be      equal      to
     bsp_sched_idx[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ][ SchedSelCombIdx ][ j ], where j is the index of the
     bitstream partition index of TargetBitstreamPartition, for the access unit containing decoding unit m that results in a
     BitRate[ SchedSelIdx1 ] or CpbSize[ SchedSelIdx1 ] for the access unit containing decoding unit m. The value of
     BitRate[ SchedSelIdx1 ] or CpbSize[ SchedSelIdx1 ] may differ from the value of BitRate[ SchedSelIdx0 ] or
     CpbSize[ SchedSelIdx0 ] for the value SchedSelIdx0 of SchedSelIdx that was in use for the previous access unit.
–    Otherwise, the HSS continues to operate with the previous values of SchedSelIdx, BitRate[ SchedSelIdx ] and
     CpbSize[ SchedSelIdx ].



                                                                               Rec. ITU-T H.265 v8 (08/2021)            521
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 543 of 717 Page ID
                                                           #:1072

When the HSS selects values of BitRate[ SchedSelIdx ] or CpbSize[ SchedSelIdx ] that differ from those of the previous
access unit, the following applies:
–     The variable BitRate[ SchedSelIdx ] comes into effect at the initial CPB arrival time of the current access unit.
–     The variable CpbSize[ SchedSelIdx ] comes into effect as follows:
      –    If the new value of CpbSize[ SchedSelIdx ] is greater than the old CPB size, it comes into effect at the initial
           CPB arrival time of the current access unit.
      –    Otherwise, the new value of CpbSize[ SchedSelIdx ] comes into effect at the CPB removal time of the current
           access unit.

F.13.2.3 Timing of decoding unit removal and decoding of decoding unit
The variables InitCpbRemovalDelay[ SchedSelIdx ], InitCpbRemovalDelayOffset[ SchedSelIdx ], CpbDelayOffset and
DpbDelayOffset are derived as follows:
–     If one or more of the following conditions are true, CpbDelayOffset is set equal to the value of the buffering period
      SEI message syntax element cpb_delay_offset, DpbDelayOffset is set equal to the value of the buffering period SEI
      message        syntax     element     dpb_delay_offset      and      InitCpbRemovalDelay[ SchedSelIdx ]           and
      InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to the values of the buffering period SEI message syntax
      elements nal_initial_alt_cpb_removal_delay[ SchedSelIdx ] and nal_initial_alt_cpb_removal_offset[ SchedSelIdx ],
      respectively, when NalHrdModeFlag is equal to 1, or vcl_initial_alt_cpb_removal_delay[ SchedSelIdx ] and
      vcl_initial_alt_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 0, where the
      buffering period SEI message containing the syntax elements is selected as specified in clause F.13.1:
      –    Access unit 0 includes a BLA picture with nuh_layer_id equal to SmallestLayerId and nal_unit_type equal to
           BLA_W_RADL or BLA_N_LP, MultiLayerCpbOperationFlag is equal to 0 and the value of
           irap_cpb_params_present_flag of the buffering period SEI message is equal to 1.
      –    Access unit 0 includes a BLA picture with nuh_layer_id equal to SmallestLayerId and nal_unit_type equal to
           BLA_W_LP or includes a CRA picture with nuh_layer_id equal to SmallestLayerId,
           MultiLayerCpbOperationFlag is equal to 0 and the value of irap_cpb_params_present_flag of the buffering
           period SEI message is equal to 1, and one or more of the following conditions are true:
           –   UseAltCpbParamsFlag for access unit 0 is equal to 1.
           –   DefaultInitCpbParamsFlag is equal to 0.
      –    Access unit 0 includes an IRAP picture with nuh_layer_id equal to SmallestLayerId,
           MultiLayerCpbOperationFlag is equal to 1 and the value of irap_cpb_params_present_flag of the buffering
           period SEI message is equal to 1 and one or more of the following conditions are true:
           –   UseAltCpbParamsFlag for access unit 0 is equal to 1.
           –   DefaultInitCpbParamsFlag is equal to 0.
–     Otherwise, InitCpbRemovalDelay[ SchedSelIdx ] and InitCpbRemovalDelayOffset[ SchedSelIdx ] are set equal to
      the values of the buffering period SEI message syntax elements nal_initial_cpb_removal_delay[ SchedSelIdx ] and
      nal_initial_cpb_removal_offset[ SchedSelIdx ], respectively, when NalHrdModeFlag is equal to 1, or
      vcl_initial_cpb_removal_delay[ SchedSelIdx ] and vcl_initial_cpb_removal_offset[ SchedSelIdx ], respectively,
      when NalHrdModeFlag is equal to 0, where the buffering period SEI message containing the syntax elements is
      selected as specified in clause F.13.1, CpbDelayOffset and DpbDelayOffset are both set equal to 0.
The nominal removal time of the access unit n from the CPB is specified as follows:
–     If access unit n is the access unit with n equal to 0 (the access unit that initializes the HRD), the nominal removal time
      of the access unit from the CPB is specified by:
           AuNominalRemovalTime[ 0 ] = InitCpbRemovalDelay[ SchedSelIdx ] ÷ 90 000                                      (F-75)
–     Otherwise, the following applies:
      –    When access unit n is the first access unit of a buffering period that does not initialize the HRD, the following
           applies:
           The nominal removal time of the access unit n from the CPB is specified by:
                if( !concatenationFlag ) {
                      baseTime = AuNominalRemovalTime[ firstPicInPrevBuffPeriod ]
                      tmpCpbRemovalDelay = AuCpbRemovalDelayVal


522         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053             Document 1-7            Filed 04/07/25          Page 544 of 717 Page ID
                                                         #:1073

              } else {
                   baseTime = AuNominalRemovalTime[ prevNonDiscardablePic ]
                   tmpCpbRemovalDelay =
                       Max( ( auCpbRemovalDelayDeltaMinus1 + 1 ),                                                    (F-76)
                         Ceil( ( InitCpbRemovalDelay[ SchedSelIdx ] ÷ 90 000 +

                 AuFinalArrivalTime[ n − 1 ] − AuNominalRemovalTime[ n − 1 ] ) ÷ ClockTick ) )
              }
              AuNominalRemovalTime[ n ] = baseTime + ClockTick * ( tmpCpbRemovalDelay −
              CpbDelayOffset )
         where AuNominalRemovalTime[ firstPicInPrevBuffPeriod ] is the nominal removal time of the first access unit
         of the previous buffering period, AuNominalRemovalTime[ prevNonDiscardablePic ] is the nominal removal
         time of the preceding access unit in decoding order, each picture of which is with TemporalId equal to 0 that is
         not a RASL, RADL or SLNR picture, AuCpbRemovalDelayVal is the value of AuCpbRemovalDelayVal
         derived according to au_cpb_removal_delay_minus1 in the picture timing SEI message, selected as specified in
         clause F.13.1, associated with access unit n, and concatenationFlag and auCpbRemovalDelayDeltaMinus1 are
         the values of the syntax elements concatenation_flag and au_cpb_removal_delay_delta_minus1, respectively, in
         the buffering period SEI message, selected as specified in clause F.13.1, associated with access unit n.
         After the derivation of the nominal CPB removal time and before the derivation of the DPB output time of access
         unit n, the values of CpbDelayOffset and DpbDelayOffset are updated as follows:
         –    If one or more of the following conditions are true, CpbDelayOffset is set equal to the value of the buffering
              period SEI message syntax element cpb_delay_offset and DpbDelayOffset is set equal to the value of the
              buffering period SEI message syntax element dpb_delay_offset, where the buffering period SEI message
              containing the syntax elements is selected as specified in clause F.13.1:
               –   Access unit n includes a BLA picture with nuh_layer_id equal to SmallestLayerId and nal_unit_type
                   equal to BLA_W_RADL or BLA_N_LP, MultiLayerCpbOperationFlag is equal to 0 and the value of
                   irap_cpb_params_present_flag of the buffering period SEI message is equal to 1.
               –   Access unit n includes a BLA picture with nuh_layer_id equal to SmallestLayerId and nal_unit_type
                   equal to BLA_W_LP or includes a CRA picture with nuh_layer_id equal to SmallestLayerId,
                   MultiLayerCpbOperationFlag is equal to 0, the value of irap_cpb_params_present_flag of the
                   buffering period SEI message is equal to 1 and UseAltCpbParamsFlag for access unit n is equal to 1.
               –   Access unit n includes an IRAP picture with nuh_layer_id equal to SmallestLayerId,
                   MultiLayerCpbOperationFlag is equal to 1, the value of irap_cpb_params_present_flag of the
                   buffering period SEI message is equal to 1 and UseAltCpbParamsFlag for access unit n is equal to 1.
         –    Otherwise, CpbDelayOffset and DpbDelayOffset are both set equal to 0.
    –    When access unit n is not the first access unit of a buffering period, the nominal removal time of the access unit n
         from the CPB is specified by:
              AuNominalRemovalTime[ n ] = AuNominalRemovalTime[ firstPicInCurrBuffPeriod ] +
                   ClockTick * ( AuCpbRemovalDelayVal − CpbDelayOffset )                     (F-77)
         where AuNominalRemovalTime[ firstPicInCurrBuffPeriod ] is the nominal removal time of the first access unit
         of the current buffering period, and AuCpbRemovalDelayVal is the value of AuCpbRemovalDelayVal derived
         according to au_cpb_removal_delay_minus1 in the picture timing SEI message, selected as specified in clause
         F.13.1, associated with access unit n.
When SubPicHrdFlag is equal to 1, the following applies:
–   The variable duCpbRemovalDelayInc is derived as follows:
    –    If sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 0, duCpbRemovalDelayInc is set equal to the value
         of du_spt_cpb_removal_delay_increment in the decoding unit information SEI message, selected as specified in
         clause F.13.1, associated with decoding unit m.
    –    Otherwise, if du_common_cpb_removal_delay_flag is equal to 0, duCpbRemovalDelayInc is set equal to the
         value of du_cpb_removal_delay_increment_minus1[ i ] + 1 for decoding unit m in the picture timing SEI
         message, selected as specified in clause F.13.1, associated with access unit n, where the value of i is 0 for the
         first num_nalus_in_du_minus1[ 0 ] + 1 consecutive NAL units in the access unit that contains decoding unit m,
         1 for the subsequent num_nalus_in_du_minus1[ 1 ] + 1 NAL units in the same access unit, 2 for the subsequent
         num_nalus_in_du_minus1[ 2 ] + 1 NAL units in the same access unit, etc.


                                                                              Rec. ITU-T H.265 v8 (08/2021)            523
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 545 of 717 Page ID
                                                             #:1074

      –    Otherwise, duCpbRemovalDelayInc is set equal to the value of du_common_cpb_removal_delay_increment_minus1 + 1
           in the picture timing SEI message, selected as specified in clause F.13.1, associated with access unit n.
–     The nominal removal time of decoding unit m from the CPB is specified as follows, where
      AuNominalRemovalTime[ n ] is the nominal removal time of access unit n:
      –    If decoding unit m is the last decoding unit in access unit n, the nominal removal time of decoding unit m
           DuNominalRemovalTime[ m ] is set equal to AuNominalRemovalTime[ n ].
      –    Otherwise (decoding unit m is not the last decoding unit in access unit n), the nominal removal time of decoding
           unit m DuNominalRemovalTime[ m ] is derived as follows:
                 if( sub_pic_cpb_params_in_pic_timing_sei_flag )
                       DuNominalRemovalTime[ m ] = DuNominalRemovalTime[ m + 1 ] −
                         ClockSubTick * duCpbRemovalDelayInc                                                                 (F-78)
                 else
                       DuNominalRemovalTime[ m ] = AuNominalRemovalTime[ n ] −
                         ClockSubTick * duCpbRemovalDelayInc
If SubPicHrdFlag is equal to 0, the removal time of access unit n from the CPB is specified as follows, where
AuFinalArrivalTime[ n ] and AuNominalRemovalTime[ n ] are the final CPB arrival time and nominal CPB removal time,
respectively, of access unit n:
           if( !low_delay_hrd_flag[ HighestTid ] | | AuNominalRemovalTime[ n ] >=
           AuFinalArrivalTime[ n ] )
                 AuCpbRemovalTime[ n ] = AuNominalRemovalTime[ n ]
           else                                                                                                              (F-79)
                 AuCpbRemovalTime[ n ] = AuNominalRemovalTime[ n ] + ClockTick *
                    Ceil( ( AuFinalArrivalTime[ n ] − AuNominalRemovalTime[ n ] ) ÷ ClockTick )
    NOTE 1 – When low_delay_hrd_flag[ HighestTid ] is equal to 1 and AuNominalRemovalTime[ n ] is                          less   than
    AuFinalArrivalTime[ n ], the size of access unit n is so large that it prevents removal at the nominal removal time.

Otherwise (SubPicHrdFlag is equal to 1), the removal time of decoding unit m from the CPB is specified as follows:
      –    The following applies:
                 if( !low_delay_hrd_flag[ HighestTid ] | | DuNominalRemovalTime[ m ] >=
                 DuFinalArrivalTime[ m ] )
                       DuCpbRemovalTime[ m ] = DuNominalRemovalTime[ m ]                                                     (F-80)
                 else
                       DuCpbRemovalTime[ m ] = DuFinalArrivalTime[ m ]
    NOTE 2 – When low_delay_hrd_flag[ HighestTid ] is equal to 1 and DuNominalRemovalTime[ m ] is less                            than
    DuFinalArrivalTime[ m ], the size of decoding unit m is so large that it prevents removal at the nominal removal time.

      –    When cbr_flag[ SchedSelIdx ] is equal to 0, the following applies:
           –      Let refDuCpbRemovalTime be equal to the CPB removal time of the previous DU preceding the current
                  DU in decoding order (regardless of the bitstream partitions to which the previous DU and the current DU
                  belong).
           –      The variable DuCpbRemovalTime[ m ] is modified as follows:
                      DuCpbRemovalTime[ m ] = Max( DuCpbRemovalTime[ m ], refDuCpbRemovalTime )
                        (F-81)
If SubPicHrdFlag is equal to 0, at the CPB removal time of access unit n, the access unit is instantaneously decoded.
Otherwise (SubPicHrdFlag is equal to 1), at the CPB removal time of decoding unit m, the decoding unit is instantaneously
decoded, and when decoding unit m is the last decoding unit of access unit n, the following applies:
–     Access unit n is considered as decoded.
–     The final CPB arrival time of access unit n, i.e., AuFinalArrivalTime[ n ], is set equal to the final CPB arrival time of
      the last decoding unit in access unit n, i.e., DuFinalArrivalTime[ m ].
–     The nominal CPB removal time of access unit n, i.e., AuNominalRemovalTime[ n ], is set equal to the nominal CPB
      removal time of the last decoding unit in access unit n, i.e., DuNominalRemovalTime[ m ].




524            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7            Filed 04/07/25            Page 546 of 717 Page ID
                                                            #:1075

–    The CPB removal time of access unit n, i.e., AuCpbRemovalTime[ m ], is set equal to the CPB removal time of the
     last decoding unit in access unit n, i.e., DuCpbRemovalTime[ m ].

F.13.3 Operation of decoded picture buffer

F.13.3.1 General
The specifications in this clause apply independently to each set of decoded picture buffer (DPB) parameters selected as
specified in clause F.13.1.
The decoded picture buffer consists of sub-DPBs and each sub-DPB contains picture storage buffers for storage of decoded
pictures of one layer. Each of the picture storage buffers of a sub-DPB may contain a decoded picture that is marked as
"used for reference" or is held for future output.
The processes specified in clauses F.13.3.2, F.13.3.3, F.13.3.4 and F.13.3.5 are sequentially applied as specified below,
and are applied independently for each layer, starting from the base layer, in increasing order of nuh_layer_id values of
the layers in the bitstream. When these processes are applied for a particular layer, only the sub-DPB for the particular
layer is affected. In the descriptions of these processes, the DPB refers to the sub-DPB for the particular layer, and the
particular layer is referred to as the current layer.
    NOTE – In the operation of output timing DPB, decoded pictures with PicOutputFlag equal to 1 in the same access unit are output
    consecutively in ascending order of the nuh_layer_id values of the decoded pictures.

Let picture n and the current picture be the coded picture or decoded picture of the access unit n for a particular value of
nuh_layer_id, wherein n is a non-negative integer number.

F.13.3.2 Removal of pictures from the DPB before decoding of the current picture
When the current picture is not picture 0 in the current layer, the removal of pictures in the current layer, with nuh_layer_id
equal to currLayerId, from the DPB before decoding of the current picture, i.e., picture n, but after parsing the slice header
of the first slice of the current picture, happens instantaneously at the CPB removal time of the first decoding unit of the
current picture and proceeds as follows:
–    The decoding process for RPS as specified in clause F.8.3.2 is invoked.
–    The variable listOfSubDpbsToEmpty is derived as follows:
    –     If a new VPS is activated by the current access unit or the current picture is an IRAP picture with nuh_layer_id
          equal to SmallestLayerId, NoRaslOutputFlag equal to 1 and NoClrasOutputFlag equal to 1,
          listOfSubDpbsToEmpty is set to include all the sub-DPBs.
    –     Otherwise, if the current picture is an IRAP picture with any nuh_layer_id value indepLayerId such that
          NumDirectRefLayers[ indepLayerId ] is equal to 0 and indepLayerId is greater than SmallestLayerId, and with
          NoRaslOutputFlag equal to 1, and LayerResetFlag is equal to 1, listOfSubDpbsToEmpty is set equal to the sub-
          DPBs containing the current layer and the sub-DPBs containing the predicted layers of the current layer.
    –     Otherwise, listOfSubDpbsToEmpty is set equal to the sub-DPB containing the current layer.
–    When the current picture is an IRAP picture with NoRaslOutputFlag equal to 1 and any of the following conditions
     is true:
     –    nuh_layer_id equal to SmallestLayerId,
     –    nuh_layer_id of the current layer is greater than SmallestLayerId and NumDirectRefLayers[ nuh_layer_id ] is
          equal to 0,
     the following ordered steps are applied:
     1.   The variable NoOutputOfPriorPicsFlag is derived for the decoder under test as follows:
          –     If the current picture is a CRA picture, NoOutputOfPriorPicsFlag is set equal to 1 (regardless of the value
                of no_output_of_prior_pics_flag).
          –     Otherwise, if the value of pic_width_in_luma_samples, pic_height_in_luma_samples, chroma_format_idc,
                bit_depth_luma_minus8,            bit_depth_chroma_minus8,           separate_colour_plane_flag       or
                sps_max_dec_pic_buffering_minus1[ HighestTid ] derived from the active SPS for the current layer is
                different    from     the    value    of    pic_width_in_luma_samples,       pic_height_in_luma_samples,
                chroma_format_idc, bit_depth_luma_minus8, bit_depth_chroma_minus8, separate_colour_plane_flag or
                sps_max_dec_pic_buffering_minus1[ HighestTid ], respectively, derived from the SPS that was active for
                the current layer when decoding the preceding picture in the current layer, NoOutputOfPriorPicsFlag may
                (but should not) be set equal to 1 by the decoder under test, regardless of the value of
                no_output_of_prior_pics_flag.


                                                                                   Rec. ITU-T H.265 v8 (08/2021)             525
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 547 of 717 Page ID
                                                            #:1076

                       NOTE – Although setting NoOutputOfPriorPicsFlag equal to no_output_of_prior_pics_flag is preferred under
                       these conditions, the decoder under test is allowed to set NoOutputOfPriorPicsFlag to 1 in this case.

           –      Otherwise, NoOutputOfPriorPicsFlag is set equal to no_output_of_prior_pics_flag.
      2.   When the value of NoOutputOfPriorPicsFlag derived for the decoder under test is equal to 1, all non-empty
           picture storage buffers in all the sub-DPBs contained in listOfSubDpbsToEmpty are emptied without output of
           the pictures they contain, and the sub-DPB fullness of each sub-DPB in listOfSubDpbsToEmpty is set equal to
           0.
–     When both of the following conditions are true for any pictures k in the DPB, all such pictures k in the DPB are
      removed from the DPB:
      –    picture k is marked as "unused for reference".
      –    picture k has PicOutputFlag equal to 0 or its DPB output time is less than or equal to the CPB removal time of
           the first decoding unit (denoted as decoding unit m) of the current picture n; i.e., DpbOutputTime[ k ] is less than
           or equal to DuCpbRemovalTime[ m ].
–     For each picture that is removed from the DPB, the DPB fullness is decremented by one.

F.13.3.3 Picture output
The processes specified in this clause happen instantaneously at the CPB removal time of access unit n,
AuCpbRemovalTime[ n ].
When access unit n has AuOutputFlag equal to 1, its DPB output time DpbOutputTime[ n ] is derived as follows, where
the variable firstPicInBufferingPeriodFlag is equal to 1 if access unit n is the first access unit of a buffering period and 0
otherwise:
           if( !SubPicHrdFlag ) {
                DpbOutputTime[ n ] = AuCpbRemovalTime[ n ] + ClockTick * picDpbOutputDelay    (F-82)
                if( firstPicInBufferingPeriodFlag )
                      DpbOutputTime[ n ] −= ClockTick * DpbDelayOffset
           } else
                DpbOutputTime[ n ] = AuCpbRemovalTime[ n ] + ClockSubTick * picSptDpbOutputDuDelay
where picDpbOutputDelay is the value of pic_dpb_output_delay in the picture timing SEI message associated with access
unit n, and picSptDpbOutputDuDelay is the value of pic_spt_dpb_output_du_delay, when present, in the decoding unit
information SEI messages associated with access unit n, or the value of pic_dpb_output_du_delay in the picture timing
SEI message associated with access unit n when there is no decoding unit information SEI message associated with access
unit n or no decoding unit information SEI message associated with access unit n has pic_spt_dpb_output_du_delay
present.
    NOTE – When the syntax element pic_spt_dpb_output_du_delay is not present in any decoding unit information SEI message
    associated with access unit n, the value is inferred to be equal to pic_dpb_output_du_delay in the picture timing SEI message
    associated with access unit n.

The output of the current picture contained in access unit n is specified as follows:
–     If PicOutputFlag is equal to 1 and DpbOutputTime[ n ] is equal to AuCpbRemovalTime[ n ], the current picture is
      output.
–     Otherwise, if PicOutputFlag is equal to 0, the current picture is not output, but will be stored in the DPB as specified
      in clause F.13.3.4.
–     Otherwise (PicOutputFlag is equal to 1 and DpbOutputTime[ n ] is greater than AuCpbRemovalTime[ n ] ), the
      current picture is output later and will be stored in the DPB (as specified in clause F.13.3.4) and is output at time
      DpbOutputTime[ n ] unless indicated not to be output by NoOutputOfPriorPicsFlag equal to 1.
When output, a picture is cropped, using the conformance cropping window specified in the active SPS for the layer
containing the picture.
When access unit n is an access unit that has AuOutputFlag equal to 1 and is not the last access unit of the bitstream that
has AuOutputFlag equal to 1, the value of the variable DpbOutputInterval[ n ] is derived as follows:
           DpbOutputInterval[ n ] = DpbOutputTime[ nextAuInOutputOrder ] − DpbOutputTime[ n ]                            (F-83)
where nextAuInOutputOrder is the access unit that follows access unit n in output order and has AuOutputFlag equal to 1.




526            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 548 of 717 Page ID
                                                              #:1077

F.13.3.4 Current decoded picture marking and storage
The current decoded picture after the invocation of the in-loop filter process as specified in clause F.8.7 is stored in the
DPB in an empty picture storage buffer, the DPB fullness is incremented by one and this picture is marked as "used for
short-term reference".
When TwoVersionsOfCurrDecPicFlag is equal to 1, the current decoded picture before the invocation of the in-loop filter
process as specified in clause F.8.7 is stored in the DPB in an empty picture storage buffer, the DPB fullness is incremented
by one, and this picture is marked as "used for long-term reference".
     NOTE – Unless more memory than required by the level limit is available for storage of decoded pictures, decoders should start
     storing decoded parts of the current picture into the DPB when the first slice segment is decoded and continue storing more decoded
     samples as the decoding process proceeds.

F.13.3.5 Removal of pictures from the DPB after decoding of the current picture

When TwoVersionsOfCurrDecPicFlag is equal to 1, immediately after decoding of the current picture, at the CPB removal
time of the last decoding unit of access unit n (containing the current picture), the current decoded picture that is marked
as "used for long-term reference" is removed from the DPB, and the DPB fullness is decremented by one.

F.13.4 Bitstream conformance
A bitstream of coded data conforming to this Specification shall fulfil all requirements specified in this clause.
The bitstream shall be constructed according to the syntax, semantics and constraints specified in this Specification outside
of this annex.
The first access unit in a bitstream shall be an IRAP access unit.
When vps_base_layer_internal_flag is equal to 0, all the following bitstream conformance constraints apply only to coded
pictures present in the bitstream and do not apply to pictures with nuh_layer_id equal to 0 which are provided by external
means.
Let currPicLayerId be equal to the nuh_layer_id of the current picture.
For each current picture, let the variables maxPicOrderCnt and minPicOrderCnt be set equal to the maximum and the
minimum, respectively, of the PicOrderCntVal values of the following pictures with nuh_layer_id equal to currPicLayerId:
–    The current picture.
–    The previous picture in decoding order that has TemporalId equal to 0 and that is not a RASL, RADL or SLNR
     picture.
–    The short-term reference pictures in the RPS of the current picture.
–    All pictures m that have PicOutputFlag equal to 1, AuCpbRemovalTime[ m ] less than
     AuCpbRemovalTime[ currAu ] and DpbOutputTime[ m ] greater than or equal to AuCpbRemovalTime[ currAu ],
     where currAu is the access unit containing the current picture, and AuCpbRemovalTime[ m ] and
     DpbOutputTime[ m ] are the CPB removal time and the DPB output time, respectively, of the access unit containing
     picture m.
The bitstream and the sub-bitstream of each output layer set are tested by the HRD for conformance as specified in
clause C.1 and clause F.13.1. All the conditions specified in clause C.4 shall be fulfilled for each of the first and second
sets of conformance tests. All of the following conditions shall be fulfilled for each of the third set of conformance tests:
    1. For each partition unit n, with n greater than 0, associated with a buffering period SEI message, let the variable
       deltaTime90k[ n ] be specified as follows:
               deltaTime90k[ n ] = 90 000 * ( AuNominalRemovalTime[ n ] − AuFinalArrivalTime[ n − 1 ] )
                    (F-84)
       The value of InitCpbRemovalDelay[ SchedSelIdx ] is constrained as follows:
       –     If cbr_flag[ SchedSelIdx ] is equal to 0, the following condition shall be true:
               InitCpbRemovalDelay[ SchedSelIdx ] <= Ceil( deltaTime90k[ n ] )                                                 (F-85)
       –     Otherwise (cbr_flag[ SchedSelIdx ] is equal to 1), the following condition shall be true:
               Floor( deltaTime90k[ n ] ) <= InitCpbRemovalDelay[ SchedSelIdx ]
                                          <= Ceil( deltaTime90k[ n ] )                                                         (F-86)
                NOTE 1 – The exact number of bits in the BPB at the removal time of each partition unit may depend on which
                buffering period SEI message is selected to initialize the HRD. Encoders must take this into account to ensure that all


                                                                                     Rec. ITU-T H.265 v8 (08/2021)                527
      Case 2:25-cv-03053              Document 1-7             Filed 04/07/25             Page 549 of 717 Page ID
                                                             #:1078

               specified constraints must be obeyed regardless of which buffering period SEI message is selected to initialize the HRD,
               as the HRD may be initialized at any one of the buffering period SEI messages.

  2. A BPB overflow is specified as the condition in which the total number of bits in the BPB is greater than the BPB
     size. The BPB shall never overflow.
  3. When low_delay_hrd_flag[ HighestTid ] is equal to 0, the BPB shall never underflow. A BPB underflow is
     specified as follows:
       –    If SubHrdFlag is equal to 0, a BPB underflow is specified as the condition in which the nominal BPB removal
            time of partition unit n AuNominalRemovalTime[ n ] is less than the final BPB arrival time of partition unit
            n AuFinalArrivalTime[ N ] for at least one value of n.
       –    Otherwise (SubHrdFlag is equal to 1), a BPB underflow is specified as the condition in which the nominal
            BPB removal time of decoding unit m DuNominalRemovalTime[ m ] is less than the final BPB arrival time
            of decoding unit m DuFinalArrivalTime[ m ] for at least one value of m.
  4. When SubPicHrdFlag is equal to 1, low_delay_hrd_flag[ HighestTid ] is equal to 1 and the nominal removal time
     of a decoding unit m of partition unit n is less than the final BPB arrival time of decoding unit m
     (i.e., DuNominalRemovalTime[ m ] < DuFinalArrivalTime[ m ]), the nominal removal time of partition unit n
     shall     be    less   than     the     final   BPB       arrival     time      of     partition    unit    n
     (i.e., AuNominalRemovalTime[ n ] < AuFinalArrivalTime[ n ]).
  5. The nominal removal times of partition units from the BPB (starting from the second partition unit in decoding
     order) shall satisfy the constraints on AuNominalRemovalTime[ n ] and AuCpbRemovalTime[ n ] expressed in
     clauses A.4.1 through A.4.2 for bitstreams or layers conforming to profiles defined in Annex A, or expressed in
     clauses G.11.2.1 through G.11.2.2 for bitstreams or layers conforming to profiles defined in Annex G, or expressed
     in clauses H.11.2.1 through H.11.2.2 for bitstreams or layers conforming to profiles defined in Annex H.
  6. For each current picture, after invocation of the process for removal of pictures from the sub-DPB as specified in
     clause F.13.3.2, the number of decoded pictures in the sub-DPB for the current layer, including all pictures n, where
     each picture n is contained in partition unit kn, in the current layer that are marked as "used for reference", or that
     have PicOutputFlag equal to 1 and AuCpbRemovalTime[ kn ] less than AuCpbRemovalTime[ currAu ], where
     currAu is the partition unit containing the current picture, shall be less than or equal to
     max_vps_dec_pic_buffering_minus1[ TargetOlsIdx ][ layerIdx ][ HighestTid ], where layerIdx is equal to the
     value such that LayerSetLayerIdList[ TargetDecLayerSetIdx ][ layerIdx ] is equal to currPicLayerId.
  7. All reference pictures shall be present in the DPB when needed for prediction. Each picture that has PicOutputFlag
     equal to 1 shall be present in the DPB at its DPB output time unless it is removed from the DPB before its output
     time by one of the processes specified in clause F.13.3.
  8. For each current picture that is not an IRAP picture with NoRaslOutputFlag equal to 1 or that is not the first picture
     of the current layer with nuh_layer_id greater than 0 that follows an IRAP picture that has nuh_layer_id equal to 0
     and has NoClrasOutputFlag equal to 1, the value of maxPicOrderCnt − minPicOrderCnt shall be less than
     MaxPicOrderCntLsb / 2.
  9. The value of DpbOutputInterval[ n ] as given by Equation F-83, which is the difference between the output time of
     a partition unit that has AuOutputFlag equal to 1 and that of the first partition unit following it in output order and
     having AuOutputFlag equal to 1, shall satisfy the constraint on DpbOutputInterval[ n ] expressed in clause A.4.2
     for the profile, tier and level of the bitstream or layer using the decoding process specified in clauses 2 through 10,
     or expressed in clause G.11.2.2 for the profile, tier and level of the bitstream or layer using the decoding process
     specified in clauses F.2 through F.10 and either clauses G.2 through G.10 or clauses H.2 through H.10.
  10. For each current picture, when sub_pic_cpb_params_in_pic_timing_sei_flag                             is   equal    to    1,   let
      tmpCpbRemovalDelaySum be derived as follows:
              tmpCpbRemovalDelaySum = 0
              for( i = 0; i < num_decoding_units_minus1; i++ )                              (F-87)
                    tmpCpbRemovalDelaySum += du_cpb_removal_delay_increment_minus1[ i ] + 1
        The value of ClockSubTick * tmpCpbRemovalDelaySum shall be equal to the difference between the nominal
        BPB removal time of the current partition unit and the nominal BPB removal time of the first decoding unit in the
        current partition unit in decoding order.
  11. Let picA be an IRAP picture with NoRaslOutputFlag equal to 1 and belonging to a layer layerA. Let auB be the
      earlier, in decoding order, of the first partition unit containing an IRAP picture with nuh_layer_id equal to 0 and
      NoClrasOutputFlag equal to 1 that succeeds picA in decoding order and the first partition unit containing an IRAP
      picture with NoRaslOutputFlag equal to 1 in layerA that succeeds picA in decoding order. For any two pictures
      picM and picN in the layer layerA contained in partition units m and n, respectively, that either are picA or succeed


528        Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 550 of 717 Page ID
                                                             #:1079

       picA in decoding order and precede auB in decoding order, when DpbOutputTime[ m ] is greater than
       DpbOutputTime[ n ], PicOrderCnt( picM ) shall be greater than PicOrderCnt( picN ), where PicOrderCnt( picM )
       and PicOrderCnt( picN ) are the PicOrderCntVal values of picM and picN, respectively, immediately after the
       invocation of the decoding process for picture order count of the latter of picM and picN in decoding order.
               NOTE 2 – All pictures of an earlier CVS in decoding order that are output are output before any pictures of a later CVS
               in decoding order. Within any particular CVS where all pictures have poc_reset_id not present or equal to 0, the pictures
               that are output are output in increasing PicOrderCntVal order. For any particular CVS where some pictures have
               poc_reset_id greater than 0, within each POC resetting period, the pictures that are output are output in increasing
               PicOrderCntVal order, and for any two pictures that are output and are in different POC resetting periods, the one that
               is earlier in decoding order is output earlier.

   12. For any decoding unit m, DuCpbRemovalTime[ m ] shall be greater than or equal to the BPB removal time of the
       previous DU that precedes the current DU in decoding order and that is in the same bitstream partition as the
       decoding unit m or includes one or more VCL NAL units of a picture that may be used as a direct or indirect
       reference picture for the picture containing the one or more VCL NAL units included in the decoding unit m.
   13. The DPB output times derived for all pictures in any particular access unit shall be the same.

F.13.5 Decoder conformance

F.13.5.1 General
A decoder conforming to this Specification shall fulfil all requirements specified in this clause.
A decoder claiming conformance to a specific profile, tier and level shall be able to successfully decode all bitstreams that
conform to the bitstream conformance requirements specified in clause F.13.4, in the manner specified in Annexes A, G
and H for profile, tier and level specified in Annexes A, G and H, respectively, provided that all VPSs, SPSs and PPSs
referred to by the VCL NAL units, appropriate buffering period, picture timing and decoding unit information SEI
messages are conveyed to the decoder, in a timely manner, either in the bitstream (by non-VCL NAL units), or by external
means not specified in this Specification, and, when vps_base_layer_internal_flag is equal to 0, the decoded pictures with
nuh_layer_id equal to 0 and their properties as specified in clause F.8.1 and its subclauses are conveyed to the decoder in
a timely manner by external means not specified in this Specification.
When a bitstream contains syntax elements that have values that are specified as reserved and it is specified that decoders
shall ignore values of the syntax elements or NAL units containing the syntax elements having the reserved values, and
the bitstream is otherwise conforming to this Specification, a conforming decoder shall decode the bitstream in the same
manner as it would decode a conforming bitstream and shall ignore the syntax elements or the NAL units containing the
syntax elements having the reserved values as specified.
There are two types of conformance that can be claimed by a decoder: output timing conformance and output order
conformance.
To check conformance of a decoder, test bitstreams containing one or more bitstream partitions conforming to the claimed
profile, tier and level, as specified in clause F.13.4 are delivered by a hypothetical stream scheduler (HSS) both to the HRD
and to the decoder under test (DUT). When vps_base_layer_internal_flag is equal to 0, decoded pictures with nuh_layer_id
equal to 0 and their properties as specified in clause F.8.1 and its subclauses are also conveyed both to the HRD and to the
DUT in a timely manner by external means not specified in this Specification. All cropped decoded pictures output by the
HRD shall also be output by the DUT, each cropped decoded picture output by the DUT shall be a picture with
PicOutputFlag equal to 1, and, for each such cropped decoded picture output by the DUT, the values of all samples that
are output shall be equal to the values of the samples produced by the specified decoding process. The flag
BaseLayerOutputFlag and all flags BaseLayerPicOutputFlag output by the HRD shall also be output by the DUT, and the
values that are output shall be equal to the values produced by the specified decoding process.
For output timing decoder conformance, the HSS operates as described above, with delivery schedules selected only from
the subset of values of SchedSelIdx for which the bit rate and CPB size are restricted as specified in Annexes A, G and H
for the specified profile, tier and level in Annexes A, G and H, respectively, or with "interpolated" delivery schedules as
specified below for which the bit rate and CPB size are restricted as specified in Annexes A, G and H for the specified
profile, tier and level in Annexes A, G and H, respectively. The same delivery schedule is used for both the HRD and the
DUT.
When the HRD parameters and the buffering period SEI messages are present with the number of signalled delivery
schedules greater than 0, the decoder shall be capable of decoding each bitstream partition as delivered from the HSS
operating using an "interpolated" delivery schedule specified as having peak bit rate r, CPB size c( r ) and initial CPB
removal delay ( f( r ) ÷ r ) as follows:
          α = ( r − BitRate[ SchedSelIdx − 1 ] ) ÷ ( BitRate[ SchedSelIdx ] − BitRate[ SchedSelIdx − 1 ] ),
              (F-88)


                                                                                     Rec. ITU-T H.265 v8 (08/2021)                529
      Case 2:25-cv-03053                Document 1-7              Filed 04/07/25             Page 551 of 717 Page ID
                                                                #:1080

           c( r ) = α * CpbSize[ SchedSelIdx ] + ( 1 − α ) * CpbSize[ SchedSelIdx − 1 ],                                          (F-89)
           f( r ) = α * InitCpbRemovalDelay[ SchedSelIdx ] * BitRate[ SchedSelIdx ] +
                      ( 1 − α ) * InitCpbRemovalDelay[ SchedSelIdx − 1 ] * BitRate[ SchedSelIdx − 1 ]                             (F-90)
for any SchedSelIdx > 0 and r such that BitRate[ SchedSelIdx − 1 ] <= r <= BitRate[ SchedSelIdx ] such that r and c( r )
are within the limits as specified in Annexes A, G and H for the maximum bit rate and buffer size for the specified profile,
tier and level defined in Annexes A, G and H, respectively. The following applies for the specifications above:
–     Let combIdx be any value in the range of 0 to num_bsp_schedules_minus1[ TargetOlsIdx ][ TargetPsIdx ]
      [ HighestTid ], inclusive.
–     SchedSelIdx shall be one of the values among bsp_sched_idx[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ]
      [ combIdx ][ j ] for and j is the index of the bitstream partition index of TargetBitstreamPartition.
–     SchedSelIdx − 1 is to be understood as bsp_sched_idx[ TargetOlsIdx ][ TargetPsIdx ][ HighestTid ][ combIdx − 1 ]
      [ j ] for any value of k in the range of 1 to combIdx, inclusive.
    NOTE 1 – InitCpbRemovalDelay[ SchedSelIdx ] can be different from one buffering period to another and need to be recalculated.

For output timing decoder conformance, an HRD as described above is used and the timing (relative to the delivery time
of the first bit) of picture output is the same for both the HRD and the DUT up to a fixed delay.
For output order decoder conformance, the following applies for each bitstream partition in TargetPartitioningScheme:
–     The HSS delivers the TargetBitstreamPartition to the DUT "by demand" from the DUT, meaning that the HSS delivers
      bits (in decoding order) only when the DUT requires more bits to proceed with its processing.
           NOTE 2 – This means that for this test, the coded picture buffer of the DUT could be as small as the size of the largest
           decoding unit.

–     A modified HRD as described below is used, and the HSS delivers the bitstream to the HRD by one of the schedules
      specified in the TargetBitstreamPartition such that the bit rate and CPB size are restricted as specified in Annex A for
      profiles defined in Annex A, Annex G for profiles defined in Annex G and Annex H for profiles defined in Annex H.
      The order of pictures output shall be the same for both the HRD and the DUT.
–     The HRD BPB size is given by CpbSize[ SchedSelIdx ] as specified in clause F.13.1. The sub-DPB size of the sub-
      DPB for a layer with nuh_layer_id equal to currLayerId is max_vps_dec_pic_buffering_minus1[ TargetOlsIdx ]
      [ layerIdx ][ HighestTid ] + 1, where layerIdx is equal to the value such that LayerSetLayerIdList
      [ TargetDecLayerSetIdx ][ layerIdx ] is equal to currLayerId. The removal time from the CPB for the HRD is the final
      bit arrival time and decoding is immediate. The operation of the DPB of this HRD is as described in the subclauses
      of clause F.13.5.2.

F.13.5.2 Operation of the output order DPB

F.13.5.2.1      General
The decoded picture buffer consists of sub-DPBs and each sub-DPB contains picture storage buffers for storage of decoded
pictures of one layer. Each of the picture storage buffers of a sub-DPB contains a decoded picture that is marked as "used
for reference" or is held for future output.
The process for output and removal of pictures from the DPB before decoding of the current picture as specified in
clause F.13.5.2.2 is invoked, followed by the invocation of the process for current decoded picture marking and storage as
specified in clause F.13.3.4, further followed by the invocation of the process for removal of pictures from the DPB after
decoding of the current picture as specified in clause F.13.3.5, and finally followed by the invocation of the process for
additional bumping as specified in clause F.13.5.2.3. The "bumping" process is specified in clause F.13.5.2.4 and is
invoked as specified in clauses F.13.5.2.2 and F.13.5.2.3.
These processes are applied independently for each layer, starting from the base layer, in increasing order of the
nuh_layer_id values of the layers in the bitstream. When these processes are applied for a particular layer, only the sub-
DPB for the particular layer is affected except for the "bumping" process, which may crop and output pictures, mark
pictures as "not needed for output" and empty picture storage buffers for any layer.
    NOTE – In the operation of output order DPB, same as in the operation of output timing DPB, decoded pictures with PicOutputFlag
    equal to 1 in the same access unit are also output consecutively in ascending order of the nuh_layer_id values of the decoded pictures.

Let picture n and the current picture be the coded picture or decoded picture of the access unit n for a particular value of
nuh_layer_id, wherein n is a non-negative integer number.
When these processes are applied for a layer with nuh_layer_id equal to currLayerId, the variables MaxNumReorderPics,
MaxLatencyIncreasePlus1, MaxLatencyValue and MaxDecPicBufferingMinus1 are derived as follows:
–     MaxNumReorderPics is set equal to max_vps_num_reorder_pics[ TargetOlsIdx ][ HighestTid ] of the active VPS.


530          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 552 of 717 Page ID
                                                          #:1081

–    MaxLatencyIncreasePlus1     is     set    equal     to     the      value     of            the     syntax      element
     max_vps_latency_increase_plus1[ TargetOlsIdx ][ HighestTid ] of the active VPS.
–    MaxLatencyValue is set equal to MaxVpsLatencyPictures[ TargetOlsIdx ][ HighestTid ] of the active VPS.
–    MaxDecPicBufferingMinus1          is    set    equal     to   the     value      of      the     syntax     element
     max_vps_dec_pic_buffering_minus1[ TargetOlsIdx ][ layerIdx ][ HighestTid ] of the active VPS, where layerIdx is
     equal to the value such that LayerSetLayerIdList[ TargetDecLayerSetIdx ][ layerIdx ] is equal to currLayerId.

F.13.5.2.2    Output and removal of pictures from the DPB before decoding of the current picture
When the current picture is not picture 0 in the current layer, the output and removal of pictures in the current layer, with
nuh_layer_id equal to currLayerId, from the DPB before the decoding of the current picture, i.e., picture n, but after parsing
the slice header of the first slice of the current picture and before the invocation of the decoding process for picture order
count, happens instantaneously when the first decoding unit of the current picture is removed from the CPB and proceeds
as follows:
–    When the current picture is a POC resetting picture, all pictures in the DPB that do not belong to the current access
     unit and that are marked as "needed for output" are output, starting with pictures with the smallest value of
     PicOrderCntVal of all pictures excluding those in the current access unit in the DPB, in ascending order of the
     PicOrderCntVal values, and pictures with the same value of PicOrderCntVal are output in ascending order of the
     nuh_layer_id values. When a picture is output, it is cropped using the conformance cropping window specified in the
     active SPS for the picture, the cropped picture is output, and the picture is marked as "not needed for output".
–    The decoding processes for picture order count and RPS are invoked. When decoding a CVS conforming to one or
     more of the profiles specified in Annex A using the decoding process specified in clauses 2 through 10, the decoding
     processes for picture order count and RPS that are invoked are as specified in clauses 8.3.1 and 8.3.2, respectively.
     When decoding a CVS conforming to one or more of the profiles specified in Annex G or H using the decoding
     process specified in Annex F, and Annex G or H, the decoding processes for picture order count and RPS that are
     invoked are as specified in clauses F.8.3.1 and F.8.3.2, respectively.
–    The variable listOfSubDpbsToEmpty is derived as follows:
    –     If a new VPS is activated by the current access unit or the current picture is IRAP picture with nuh_layer_id equal
          to SmallestLayerId, NoRaslOutputFlag equal to 1 and NoClrasOutputFlag equal to 1, listOfSubDpbsToEmpty is
          set equal to all the sub-DPBs.
    –     Otherwise, if the current picture is an IRAP picture with any nuh_layer_id value indepLayerId such that
          NumDirectRefLayers[ indepLayerId ] is equal to 0 and indepLayerId is greater than SmallestLayerId, and with
          NoRaslOutputFlag equal to 1, and LayerResetFlag is equal to 1, listOfSubDpbsToEmpty is set equal to the sub-
          DPBs containing the current layer and the sub-DPBs containing the predicted layers of the current layer.
    –     Otherwise, listOfSubDpbsToEmpty is set equal to the sub-DPB containing the current layer.
–    If the current picture is an IRAP picture with NoRaslOutputFlag equal to 1 and any of the following conditions is
     true:
     –    nuh_layer_id equal to SmallestLayerId,
     –    nuh_layer_id of the current layer is greater than SmallestLayerId and NumDirectRefLayers[ nuh_layer_id ] is
          equal to 0,
     the following ordered steps are applied:
     1.   The variable NoOutputOfPriorPicsFlag is derived for the decoder under test as follows:
          –    If the current picture is a CRA picture, NoOutputOfPriorPicsFlag is set equal to 1 (regardless of the value
               of no_output_of_prior_pics_flag).
          –    Otherwise, if the value of pic_width_in_luma_samples, pic_height_in_luma_samples, chroma_format_idc,
               bit_depth_luma_minus8,            bit_depth_chroma_minus8,           separate_colour_plane_flag       or
               sps_max_dec_pic_buffering_minus1[ HighestTid ] derived from the active SPS for the current layer is
               different    from     the    value    of    pic_width_in_luma_samples,       pic_height_in_luma_samples,
               chroma_format_idc, bit_depth_luma_minus8, bit_depth_chroma_minus8, separate_colour_plane_flag or
               sps_max_dec_pic_buffering_minus1[ HighestTid ], respectively, derived from the SPS that was active for
               the current layer when decoding the preceding picture in the current layer, NoOutputOfPriorPicsFlag may
               (but should not) be set equal to 1 by the decoder under test, regardless of the value of
               no_output_of_prior_pics_flag.
                    NOTE – Although setting NoOutputOfPriorPicsFlag equal to no_output_of_prior_pics_flag is preferred under
                    these conditions, the decoder under test is allowed to set NoOutputOfPriorPicsFlag to 1 in this case.


                                                                               Rec. ITU-T H.265 v8 (08/2021)            531
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 553 of 717 Page ID
                                                             #:1082

           –      Otherwise, NoOutputOfPriorPicsFlag is set equal to no_output_of_prior_pics_flag.
      2.   The value of NoOutputOfPriorPicsFlag derived for the decoder under test is applied for the HRD as follows:
           –      If NoOutputOfPriorPicsFlag is equal to 0, all non-empty picture storage buffers in all the sub-DPBs included
                  in listOfSubDpbsToEmpty are output by repeatedly invoking the "bumping" process specified in clause
                  F.13.5.2.4 until all these pictures are marked as "not needed for output".
           –      Otherwise (NoOutputOfPriorPicsFlag is equal to 1), all picture storage buffers containing a picture that is
                  marked as "not needed for output" and "unused for reference" are emptied (without output), all pictures that
                  are contained in a sub-DPB included in listOfSubDpbsToEmpty are emptied, and the sub-DPB fullness of
                  each sub-DPB is decremented by the number of picture storage buffers emptied in that sub-DPB.
–     Otherwise, all picture storage buffers that contain a picture in the current layer and that are marked as "not needed for
      output" and "unused for reference" are emptied (without output). For each picture storage buffer that is emptied, the
      sub-DPB fullness is decremented by one. When one or more of the following conditions are true, the "bumping"
      process specified in clause F.13.5.2.4 is invoked repeatedly until none of the following conditions are true:
       – The number of access units that contain at least one decoded picture in the DPB marked as "needed for output" is
         greater than MaxNumReorderPics.
       – MaxLatencyIncreasePlus1 is not equal to 0 and there is at least one access unit that contains at least one decoded
         picture in the DPB marked as "needed for output" for which the associated variable PicLatencyCount is greater
         than or equal to MaxLatencyValue.
       – The   number     of   pictures    in   the   sub-DPB      is                     greater     than      or     equal     to
         MaxDecPicBufferingMinus1 + 1 − TwoVersionsOfCurrDecPicFlag.

F.13.5.2.3       Additional bumping
The processes specified in this clause happen instantaneously when the last decoding unit of picture n is removed from the
CPB.
When the current picture is the last picture in an access unit, the following applies for each decoded picture with
nuh_layer_id greater than or equal to ( vps_base_layer_internal_flag ? 0 : 1 ) of the access unit:
–     If the decoded picture has PicOutputFlag equal to 1, it is marked as "needed for output".
–     Otherwise (the decoded picture has PicOutputFlag equal to 0), it is marked as "not needed for output".
     NOTE – Prior to investigating the conditions above, PicOutputFlag of each picture of the access unit is updated as specified in
     clause F.8.1.2.

When one or more of the following conditions are true, the "bumping" process specified in clause F.13.5.2.4 is invoked
repeatedly until none of the following conditions are true:
–     The number of access units that contain at least one decoded picture in the DPB marked as "needed for output" is
      greater than MaxNumReorderPics.
–     MaxLatencyIncreasePlus1 is not equal to 0 and there is at least one access unit that contains at least one decoded
      picture in the DPB marked as "needed for output" for which the associated variable PicLatencyCount is greater than
      or equal to MaxLatencyValue.

F.13.5.2.4       "Bumping" process
The "bumping" process consists of the following ordered steps:
1.    The picture or pictures that are first for output are selected as the ones having the smallest value of PicOrderCntVal
      of all pictures in the DPB marked as "needed for output".
2.    Each of these pictures is, in ascending nuh_layer_id order, cropped, using the conformance cropping window specified
      in the active SPS for the picture, the cropped picture is output and the picture is marked as "not needed for output".
3.    Each picture storage buffer that contains a picture marked as "unused for reference" and that was one of the pictures
      cropped and output is emptied and the fullness of the associated sub-DPB is decremented by one.

F.13.6 Demultiplexing process for deriving a bitstream partition
Inputs to this process are a bitstream, a layer identifier list bspLayerId[ bspIdx ] and the number of layer identifiers
numBspLayers in the layer index list bspLayerId[ bspIdx ].
Output of this process is a bitstream partition.
Let the variable minBspLayerId be the smallest value of bspLayerId[ bspIdx ] with any value of bspIdx in the range of 0
to numBspLayers − 1, inclusive.


532            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 554 of 717 Page ID
                                                         #:1083

The output bitstream partition consists of selected NAL units of the input bitstream in the same order as they appear in the
input bitstream. The following NAL units of the input bitstream are omitted from the output bitstream partition, while the
remaining NAL units of the input bitstream are included in the output bitstream partition:
–    Omit all NAL units that have a nuh_layer_id value other than bspLayerId[ bspIdx ] with any value of bspIdx in the
     range of 0 to numBspLayers − 1, inclusive.
–    Omit all SEI NAL units containing a scalable nesting SEI message for which no derived nestingLayerIdList[ i ]
     contains any layer identifier value equal to bspLayerId[ bspIdx ] with any value of bspIdx in the range of 0 to
     numBspLayers − 1, inclusive.
–    Omit all SEI NAL units containing a scalable nesting SEI message for which a derived nestingLayerIdList[ i ]
     contains a layer identifier value less than minBspLayerId.

F.14      Supplemental enhancement information
F.14.1 General
The specifications in clause D.1 apply.

F.14.2 SEI payload syntax

F.14.2.1 General SEI payload syntax
The specifications in clause D.2.1 apply.

F.14.2.2 Annex D SEI message syntax for multi-layer extensions
The specifications in clauses D.2.2 through D.2.49 apply.

F.14.2.3 Layers not present SEI message syntax


       layers_not_present( payloadSize ) {                                                                Descriptor
          lnp_sei_active_vps_id                                                                              u(4)
          for( i = 0; i <= MaxLayersMinus1; i++ )
             layer_not_present_flag[ i ]                                                                      u(1)
       }




                                                                              Rec. ITU-T H.265 v8 (08/2021)            533
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25       Page 555 of 717 Page ID
                                                           #:1084

F.14.2.4 Inter-layer constrained tile sets SEI message syntax


      inter_layer_constrained_tile_sets( payloadSize ) {                                        Descriptor
         il_all_tiles_exact_sample_value_match_flag                                                u(1)
         il_one_tile_per_tile_set_flag                                                             u(1)
         if( !il_one_tile_per_tile_set_flag ) {
             il_num_sets_in_message_minus1                                                        ue(v)
             if( il_num_sets_in_message_minus1 )
                 skipped_tile_set_present_flag                                                     u(1)
             numSignificantSets = il_num_sets_in_message_minus1
                                       − skipped_tile_set_present_flag + 1
             for( i = 0; i < numSignificantSets; i++ ) {
                 ilcts_id[ i ]                                                                    ue(v)
                 il_num_tile_rects_in_set_minus1[ i ]                                             ue(v)
                 for( j = 0; j <= il_num_tile_rects_in_set_minus1[ i ]; j++ ) {
                     il_top_left_tile_idx[ i ][ j ]                                               ue(v)
                     il_bottom_right_tile_idx[ i ][ j ]                                           ue(v)
                 }
                 ilc_idc[ i ]                                                                      u(2)
                 if( !il_all_tiles_exact_sample_value_match_flag )
                     il_exact_sample_value_match_flag[ i ]                                         u(1)
             }
         } else
             all_tiles_ilc_idc                                                                     u(2)
      }



F.14.2.5 Bitstream partition nesting SEI message syntax


      bsp_nesting( payloadSize ) {                                                              Descriptor
        sei_ols_idx                                                                               ue(v)
        sei_partitioning_scheme_idx                                                               ue(v)
        bsp_idx                                                                                   ue(v)
        num_seis_in_bsp_minus1                                                                    ue(v)
        while( !byte_aligned( ) )
           bsp_nesting_zero_bit /* equal to 0 */                                                   u(1)
        for( i = 0; i <= num_seis_in_bsp_minus1; i++ )
           sei_message( )
      }




534         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 556 of 717 Page ID
                                                        #:1085

F.14.2.6 Bitstream partition initial arrival time SEI message syntax


     bsp_initial_arrival_time( payloadSize ) {                                                       Descriptor
       psIdx = sei_partitioning_scheme_idx
       if( nalInitialArrivalDelayPresent )
           for( i = 0; i < BspSchedCnt[ sei_ols_idx ][ psIdx ][ MaxTemporalId[ 0 ] ]; i++ )
              nal_initial_arrival_delay[ i ]                                                            u(v)
       if( vclInitialArrivalDelayPresent )
           for( i = 0; i < BspSchedCnt[ sei_ols_idx ][ psIdx ][ MaxTemporalId[ 0 ] ]; i++ )
              vcl_initial_arrival_delay[ i ]                                                            u(v)
     }



F.14.2.7 Sub-bitstream property SEI message syntax


     sub_bitstream_property( payloadSize ) {                                                         Descriptor
       sb_property_active_vps_id                                                                        u(4)
       num_additional_sub_streams_minus1                                                               ue(v)
       for( i = 0; i <= num_additional_sub_streams_minus1; i++ ) {
          sub_bitstream_mode[ i ]                                                                       u(2)
          ols_idx_to_vps[ i ]                                                                           ue(v)
          highest_sublayer_id[ i ]                                                                      u(3)
          avg_sb_property_bit_rate[ i ]                                                                 u(16)
          max_sb_property_bit_rate[ i ]                                                                 u(16)
       }
     }



F.14.2.8 Alpha channel information SEI message syntax

     alpha_channel_info( payloadSize ) {                                                             Descriptor
        alpha_channel_cancel_flag                                                                       u(1)
        if( !alpha_channel_cancel_flag ) {
            alpha_channel_use_idc                                                                       u(3)
            alpha_channel_bit_depth_minus8                                                              u(3)
            alpha_transparent_value                                                                     u(v)
            alpha_opaque_value                                                                          u(v)
            alpha_channel_incr_flag                                                                     u(1)
            alpha_channel_clip_flag                                                                     u(1)
            if( alpha_channel_clip_flag )
                alpha_channel_clip_type_flag                                                            u(1)
        }
     }




                                                                             Rec. ITU-T H.265 v8 (08/2021)        535
      Case 2:25-cv-03053            Document 1-7          Filed 04/07/25        Page 557 of 717 Page ID
                                                        #:1086

F.14.2.9 Overlay information SEI message syntax


      overlay_info( payloadSize ) {                                                           Descriptor
        overlay_info_cancel_flag                                                                 u(1)
        if( !overlay_info_cancel_flag ) {
            overlay_content_aux_id_minus128                                                     ue(v)
            overlay_label_aux_id_minus128                                                       ue(v)
            overlay_alpha_aux_id_minus128                                                       ue(v)
            overlay_element_label_value_length_minus8                                           ue(v)
            num_overlays_minus1                                                                 ue(v)
            for( i = 0; i <= num_overlays_minus1; i++ ) {
               overlay_idx[ i ]                                                                 ue(v)
               language_overlay_present_flag[ i ]                                               u(1)
               overlay_content_layer_id[ i ]                                                    u(6)
               overlay_label_present_flag[ i ]                                                  u(1)
               if( overlay_label_present_flag[ i ] )
                   overlay_label_layer_id[ i ]                                                   u(6)
               overlay_alpha_present_flag[ i ]                                                   u(1)
               if( overlay_alpha_present_flag[ i ] )
                   overlay_alpha_layer_id[ i ]                                                   u(6)
               if( overlay_label_present_flag[ i ] ) {
                   num_overlay_elements_minus1[ i ]                                             ue(v)
                   for( j = 0; j <= num_overlay_elements_minus1[ i ]; j++ ) {
                      overlay_element_label_min[ i ][ j ]                                        u(v)
                      overlay_element_label_max[ i ][ j ]                                        u(v)
                   }
               }
            }
            while( !byte_aligned( ) )
               overlay_zero_bit /* equal to 0 */                                                 f(1)
            for( i = 0; i <= num_overlays_minus1; i++ ) {
               if( language_overlay_present_flag[ i ] )
                   overlay_language[ i ]                                                         st(v)
               overlay_name[ i ]                                                                 st(v)
               if( overlay_label_present_flag[ i ] )
                   for( j = 0; j <= num_overlay_elements_minus1[ i ]; j++ )
                      overlay_element_name[ i ][ j ]                                             st(v)
            }
            overlay_info_persistence_flag                                                        u(1)
        }
      }




536        Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                     Document 1-7       Filed 04/07/25            Page 558 of 717 Page ID
                                                            #:1087

F.14.2.10 Temporal motion vector prediction constraints SEI message syntax


      temporal_mv_prediction_constraints( payloadSize ) {                                                         Descriptor
        prev_pics_not_used_flag                                                                                      u(1)
        no_intra_layer_col_pic_flag                                                                                  u(1)
      }



F.14.2.11 Frame-field information SEI message syntax

      frame_field_info( payloadSize ) {                                                                           Descriptor
         ffinfo_pic_struct                                                                                           u(4)
         ffinfo_source_scan_type                                                                                     u(2)
         ffinfo_duplicate_flag                                                                                       u(1)
      }



F.14.3 SEI payload semantics

F.14.3.1 General SEI payload semantics
The general SEI payload semantics specified in clause D.3.1 apply with the following modifications and additions:
The list VclAssociatedSeiList is set to consist of the payloadType values 2, 3, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56, 128,
131, 132, 134 to 152, inclusive, 154 to 159, inclusive, 161, 165, 167, 168, 200 to 202, inclusive, and 205.
The list PicUnitRepConSeiList is set to consist of the payloadType values 0, 1, 2, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56,
128, 129, 131, 132, 133, 135 to 152, inclusive, 154 to 168, inclusive, 200 to 202, inclusive, and 205.
The semantics and persistence scope for each SEI message specified in this annex are specified in the semantics
specification for each particular SEI message in clauses F.14.3.3 to F.14.3.11, inclusive.
    NOTE – Persistence information for SEI messages specified in this annex is informatively summarized in Table F.4.

                                 Table F.4 – Persistence scope of SEI messages (informative)

                        SEI message                                             Persistence scope
       Layers not present                            Specified by the semantics of the SEI message
       Inter-layer constrained tile sets             The CLVS associated with the SEI message
       Bitstream partition nesting                   Each SEI message contained in the bitstream partition nesting SEI
                                                     message has the same persistence scope as if the SEI message was not
                                                     contained in the bitstream partition nesting SEI message
       Bitstream partition initial arrival time      The remainder of the bitstream partition (specified by the containing
                                                     bitstream partition nesting SEI message)
       Sub-bitstream property                        The CVS containing the SEI message
       Alpha channel information                     Specified by the syntax of the SEI message
       Overlay information                           Specified by the syntax of the SEI message
       Temporal motion vector prediction             Specified by the semantics of the SEI message
       constraints
       Frame-field information                       The access unit containing the SEI message



Let prevVclNalUnitInAu of an SEI NAL unit or an SEI message be the preceding VCL NAL unit in decoding order, if
any, in the same access unit, and nextVclNalUnitInAu of an SEI NAL unit or an SEI message be the next VCL NAL unit
in decoding order, if any, in the same access unit. It is a requirement of bitstream conformance that the following
restrictions apply:
–    When a buffering period SEI message, a picture timing SEI message, a decoding unit information SEI message or a
     bitstream partition initial arrival time SEI message is present in a bitstream partition nesting SEI message contained
     in a scalable nesting SEI message, the scalable nesting SEI message shall not follow any other SEI message that



                                                                                   Rec. ITU-T H.265 v8 (08/2021)               537
      Case 2:25-cv-03053             Document 1-7          Filed 04/07/25          Page 559 of 717 Page ID
                                                         #:1088

      follows the prevVclNalUnitInAu of the scalable nesting SEI message and precedes the nextVclNalUnitInAu of the
      scalable nesting SEI message, other than an active parameter sets SEI message, a non-scalable-nested buffering period
      SEI message, a non-scalable-nested picture timing SEI message, a non-scalable-nested decoding unit information SEI
      message, a scalable nesting SEI message including a buffering period SEI message, a picture timing SEI message, a
      decoding unit information SEI message or another scalable nesting SEI message that contains a bitstream partition
      nesting SEI message including a buffering period SEI message, a picture timing SEI message, a decoding unit
      information SEI message or a bitstream partition initial arrival time SEI message.

F.14.3.2 Annex D SEI message semantics for multi-layer extensions

F.14.3.2.1     General
The semantics of SEI messages specified in clauses D.3.2 through D.3.49 apply with the modifications specified in clauses
F.14.3.2.2 through F.14.3.2.8.

F.14.3.2.2     Buffering period SEI message semantics for multi-layer extensions
The specifications of clause D.3.2 apply with the following modifications and additions:
When the buffering period SEI message is directly contained in a scalable nesting SEI message within an SEI NAL unit
with a nuh_layer_id value targetNuhLayerId greater than 0, the semantics of clause D.3.2 apply to the output bitstream of
the independent non-base layer rewriting process of clause F.10.2 with the input variables assignedBaseLayerId equal to
nestingLayerIdList[ i ][ 0 ] and tIdTarget equal to MaxTemporalId[ i ] for each value of i in the range of 0 to
nestingNumOps − 1, inclusive.
When the buffering period SEI message is contained in a bitstream partition nesting SEI message, the following applies:
–     A set of skipped leading pictures skippedPictureList consists of the CL-RAS pictures and the RASL pictures
      associated with the IRAP pictures with nuh_layer_id equal to nuhLayerId for which
      LayerInitializedFlag[ nuhLayerId ] is equal to 0 at the start of decoding the IRAP picture and for which nuhLayerId
      is among the nestingLayerIdList[ i ] for any value of i in the range of 0 to nesting_num_ops_minus1, inclusive.
–     A picture is said to be a notDiscardablePic picture when the picture has TemporalId equal to 0, has discardable_flag
      equal to 0, and is not a RASL, RADL or SLNR picture.
–     The variables olsIdx, psIdx and bspIdx are set equal to sei_ols_idx, sei_partitioning_scheme_idx and bsp_idx,
      respectively, of the bitstream partition nesting SEI message containing this buffering period SEI message and the
      bspIdx-th bitstream partition of the psIdx-th partitioning scheme of the olsIdx-th OLS is referred to as the current
      bitstream partition.
–     The variable maxTId is set equal to MaxTemporalId[ 0 ] for the scalable nesting SEI message containing the bitstream
      partition nesting SEI message containing this buffering period SEI message.
–     The variable CpbCnt is set equal to BspSchedCnt[ olsIdx ][ psIdx ][ maxTId ] for the syntax and semantics of the
      buffering period SEI message and for the constraints specified below.
–     The variable hrdParamIdx[ i ] is set equal to the value of bsp_hrd_idx[ olsIdx ][ psIdx ][ maxTId ][ i ][ bspIdx ] for
      each value of i in the range of 0 to CpbCnt − 1, inclusive.
–     The     syntax     elements      au_cpb_removal_delay_length_minus1,          dpb_output_delay_length_minus1      and
      sub_pic_hrd_params_present_flag are found in or derived from the hrdParamIdx[ i ]-th hrd_parameters( ) syntax
      structure for any value of i in the range of 0 to CpbCnt − 1, inclusive. It is a requirement of bitstream conformance
      that    the    values    of      au_cpb_removal_delay_length_minus1,          dpb_output_delay_length_minus1      and
      sub_pic_hrd_params_present_flag derived using a particular value of i shall be the same as the value of the respective
      syntax elements derived using any other allowed value of i.
–     The syntax element initial_cpb_removal_delay_length_minus1 is found in or derived from the hrdParamIdx[ i ]-th
      hrd_parameters( )     syntax    structure     for    the   semantics      of     nal_initial_cpb_removal_delay[ i ],
      nal_initial_alt_cpb_removal_delay[ i ], nal_initial_cpb_removal_offset[ i ], nal_initial_alt_cpb_removal_offset[ i ],
      vcl_initial_cpb_removal_delay[ i ], vcl_initial_alt_cpb_removal_delay[ i ], vcl_initial_cpb_removal_offset[ i ] and
      vcl_initial_alt_cpb_removal_offset[ i ].
–     The variable CpbSize[ i ] is set equal to BpbSize[ olsIdx ][ psIdx ][ maxTId ][ i ][ bspIdx ] for the semantics of
      nal_initial_cpb_removal_delay[ i ], nal_initial_alt_cpb_removal_delay[ i ], vcl_initial_cpb_removal_delay[ i ] and
      vcl_initial_alt_cpb_removal_delay[ i ].
–     The variable BitRate[ i ] is set equal to BpBitRate[ olsIdx ][ psIdx ][ maxTId ][ i ][ bspIdx ] for the semantics of
      nal_initial_cpb_removal_delay[ i ], nal_initial_alt_cpb_removal_delay[ i ], vcl_initial_cpb_removal_delay[ i ] and
      vcl_initial_alt_cpb_removal_delay[ i ].



538          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 560 of 717 Page ID
                                                         #:1089

–    The variables NalHrdBpPresentFlag and VclHrdBpPresentFlag are derived from the hrdParamIdx[ i ]-th
     hrd_parameters( ) syntax structure for any value of i in the range of 0 to CpbCnt − 1, inclusive. It is a requirement of
     bitstream conformance that the value of NalHrdBpPresentFlag shall be the same regardless of the value of i used in
     its derivation. It is a requirement of bitstream conformance that the value of VclHrdBpPresentFlag shall be the same
     regardless of the value of i used in its derivation.
The presence of buffering period SEI messages for the current bitstream partition is specified as follows on the basis of the
variables NalHrdBpPresentFlag and VclHrdBpPresentFlag that are derived as specified above:
–    If NalHrdBpPresentFlag is equal to 1 or VclHrdBpPresentFlag is equal to 1, the following applies for each access
     unit in the CVS:
     –    If the access unit is an IRAP access unit, a buffering period SEI message applicable to the current bitstream
          partition shall be associated with the access unit.
     –    Otherwise, if the access unit contains a notDiscardablePic in at least one layer included in the current bitstream
          partition, a buffering period SEI message applicable to the current bitstream partition may or may not be
          associated with the access unit.
     –    Otherwise, the access unit shall not be associated with a buffering period SEI message applicable to the current
          bitstream partition.
–    Otherwise (NalHrdBpPresentFlag and VclHrdBpPresentFlag are both equal to 0), no access unit in the CVS shall be
     associated with a buffering period SEI message applicable to the current bitstream partition.
When the buffering period SEI message is contained in a bitstream partition nesting SEI message, the following semantics
of concatenation_flag and au_cpb_removal_delay_delta_minus1 replace those specified in clause D.3.2 and the following
specifications apply to each picture currPic with nuh_layed_id currNuhLayerId equal to any value included in the current
bitstream partition in the current access unit.
When the picture currPic with nuh_layer_id equal to targetLayerId in the current access unit is not the first picture with
that nuh_layer_id value in the bitstream in decoding order, let prevNonDiscardablePic be the preceding picture in decoding
order with that nuh_layer_id value and with TemporalId equal to 0 that is not a RASL, RADL or SLNR picture.
concatenation_flag indicates, when the picture currPic is not the first picture with nuh_layer_id equal to currNuhLayerId
in the bitstream in decoding order, whether the nominal CPB removal time of the current picture is determined relative to
the nominal CPB removal time of the preceding picture with a buffering period SEI message that applies to the current
bitstream partition, or relative to the nominal CPB removal time of the picture prevNonDiscardablePic.
au_cpb_removal_delay_delta_minus1 plus 1, when the picture currPic is not the first picture with nuh_layer_id equal to
currNuhLayerId in the bitstream in decoding order, specifies a CPB removal delay increment value relative to the nominal
CPB removal time of the picture prevNonDiscardablePic. This syntax element has a length in bits given by
au_cpb_removal_delay_length_minus1 + 1.
When the buffering period SEI message is contained in a bitstream partition nesting SEI message and concatenation_flag
is equal to 0 and the picture currPic is not the first picture with nuh_layer_id equal to currNuhLayerId in the bitstream in
decoding order, it is a requirement of bitstream conformance that the following constraint applies:
    –    If the picture prevNonDiscardablePic is not associated with a buffering period SEI message that applies the current
         bitstream partition, the au_cpb_removal_delay_minus1 of the picture currPic shall be equal to the
         au_cpb_removal_delay_minus1 of prevNonDiscardablePic, indicated in the picture timing SEI message
         applicable to the current bitstream partition, plus au_cpb_removal_delay_delta_minus1 + 1.
–   Otherwise, au_cpb_removal_delay_minus1, indicated for the picture currPic in the picture timing SEI message
    applicable to the current bitstream partition, shall be equal to au_cpb_removal_delay_delta_minus1.

F.14.3.2.3    Picture timing SEI message semantics for multi-layer extensions
The specifications of clause D.3.3 apply with the following modifications and additions:
When the picture timing SEI message is directly contained in a scalable nesting SEI message within an SEI NAL unit with
a nuh_layer_id value targetNuhLayerId greater than 0, the semantics of clause D.3.3 apply to the output bitstream of the
independent non-base layer rewriting process of clause F.10.2 with the input variables assignedBaseLayerId equal to
nestingLayerIdList[ i ][ 0 ] and tIdTarget equal to MaxTemporalId[ i ] for each value of i in the range of 0 to
nestingNumOps − 1, inclusive.
When the picture timing SEI message is contained in a bitstream partition nesting SEI message, the following applies:
–    frame_field_info_present_flag is inferred to be equal to 0 for the syntax and semantics of the picture timing SEI
     message.



                                                                               Rec. ITU-T H.265 v8 (08/2021)           539
      Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 561 of 717 Page ID
                                                               #:1090

           NOTE 1 – The frame-field information SEI message can be used to indicate the frame-field information.

–     The variables olsIdx, psIdx and bspIdx are set equal to sei_ols_idx, sei_partitioning_scheme_idx and bsp_idx,
      respectively, of the bitstream partition nesting SEI message containing this buffering period SEI message, and the
      bspIdx-th bitstream partition of the psIdx-th partitioning scheme of the olsIdx-th OLS is referred to as the current
      bitstream partition.
–     The variable maxTId is set equal to MaxTemporalId[ 0 ] for the scalable nesting SEI message containing the bitstream
      partition nesting SEI message containing this buffering period SEI message.
–     The variable hrdParamIdx is set equal to the value of bsp_hrd_idx[ olsIdx ][ psIdx ][ maxTId ][ i ][ bspIdx ] for any
      value of i in the range of 0 to BspSchedCnt[ olsIdx ][ psIdx ][ maxTId ] − 1, inclusive.
–     The following applies for the syntax and semantics of the picture timing SEI message:
      –    The syntax elements sub_pic_hrd_params_present_flag, sub_pic_cpb_params_in_pic_timing_sei_flag, au_cpb_
           removal_delay_length_minus1, dpb_output_delay_length_minus1, dpb_output_delay_du_length_minus1, du_cpb_
           removal_delay_increment_length_minus1 and the variable CpbDpbDelaysPresentFlag are found in or derived from
           syntax elements found in the hrdParamIdx-th hrd_parameters( ) syntax structure.
      –    It is a requirement of bitstream conformance that the values of sub_pic_hrd_params_present_flag, sub_pic_
           cpb_params_in_pic_timing_sei_flag, au_cpb_removal_delay_length_minus1, dpb_output_delay_length_minus1, dpb_
           output_delay_du_length_minus1, du_cpb_removal_delay_increment_length_minus1 and CpbDpbDelaysPresentFlag
           derived using a particular value of i for the derivation of hrdParamIdx shall be the same as the value of the respective syntax
           elements or variable derived using any other allowed value of i.
The presence of picture timing SEI messages for the current bitstream partition is specified as follows on the basis of the
variable CpbDpbDelaysPresentFlag that is derived as specified above:
–     If CpbDpbDelaysPresentFlag is equal to 1, a picture timing SEI message applicable to the current bitstream partition
      shall be associated with every access unit in the CVS.
–     Otherwise, in the CVS there shall be no access unit that is associated with a picture timing SEI message applicable to
      the current bitstream partition.
The semantics of num_decoding_units_minus1 and num_nalus_in_du_minus1[ i ] are replaced with the following:
The variables targetUnit and totalSizeInCtbsY are derived as follows:
–     If the picture timing SEI message is associated with a partition unit, targetUnit is set to be the partition unit and the
      value of totalSizeInCtbsY is set equal to the sum of the PicSizeInCtbsY of all pictures in the partition unit.
–     Otherwise (the picture timing SEI message is associated with an access unit), targetUnit is set to be the access unit
      and the value of totalSizeInCtbsY is set equal to the sum of the PicSizeInCtbsY of all pictures in the access unit.
num_decoding_units_minus1 plus 1 specifies the number of decoding units in targetUnit. The value of
num_decoding_units_minus1 shall be in the range of 0 to totalSizeInCtbsY − 1, inclusive.
num_nalus_in_du_minus1[ i ] plus 1 specifies the number of NAL units in the i-th decoding unit of targetUnit. The value
of num_nalus_in_du_minus1[ i ] shall be in the range of 0 to totalSizeInCtbsY − 1, inclusive.
The first decoding unit of targetUnit consists of the first num_nalus_in_du_minus1[ 0 ] + 1 consecutive NAL units in
decoding order in targetUnit. The i-th (with i greater than 0) decoding unit of targetUnit consists of the
num_nalus_in_du_minus1[ i ] + 1 consecutive NAL units immediately following the last NAL unit in the previous
decoding unit of targetUnit, in decoding order. There shall be at least one VCL NAL unit in each decoding unit. All non-
VCL NAL units associated with a VCL NAL unit shall be included in the same decoding unit as the VCL NAL unit.

F.14.3.2.4     Recovery point SEI message semantics for multi-layer extensions
The recovery point SEI message assists a decoder in determining when the decoding process will produce acceptable
pictures in the current layer for display after the decoder initiates random access, layer up-switching or after the encoder
indicates a broken link.
When all decoded pictures in earlier access units in decoding order are removed from the bitstream, the recovery point
picture (defined below) and all the subsequent pictures in output order in the current layer can be correctly or approximately
correctly decoded, the current picture is referred to as a layer random-accessing picture. When all the pictures that belong
to the reference layers of the current layer and may be used for reference by the current picture or subsequent pictures in
decoding order are correctly decoded, and the recovery point picture and all the subsequent pictures in output order in the
current layer can be correctly or approximately correctly decoded when no picture prior to the current picture in decoding
order in the current layer are present in the bitstream, the current picture is referred to as a layer up-switching picture.




540          Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 562 of 717 Page ID
                                                                #:1091

When the recovery point SEI message applies to the current layer and all the reference layers of the current layer, the
current picture is indicated as a layer random-accessing picture. When the recovery point SEI message applies to the current
layer but not to all the reference layers of the current layer, the current picture is indicated as a layer up-switching picture.
Decoded pictures in the current layer produced by random access or layer up-switching at or before the current access unit
does not need to be correct in content until the indicated recovery point, and the operation of the decoding process for
pictures in the current layer starting at the current picture may contain references to pictures unavailable in the decoded
picture buffer.
In addition, by use of the broken_link_flag, the recovery point SEI message can indicate to the decoder the location of
some pictures in the current layer in the bitstream that can result in serious visual artefacts when displayed, even when the
decoding process was begun at the location of a previous IRAP access unit in decoding order that contain IRAP pictures
in all layers.
    NOTE 1 – The broken_link_flag can be used by encoders to indicate the location of a point after which the decoding process for the
    decoding of some pictures in the current layer may cause references to pictures that, though available for use in the decoding process,
    are not the pictures that were used for reference when the bitstream was originally encoded (e.g., due to a splicing operation
    performed during the generation of the bitstream).

When the current picture is a layer random access-accessing picture and random access is performed to start decoding from
the current access unit, the decoder operates as if the current access unit was the first access unit in the bitstream in decoding
order, and the following applies:
–    If poc_msb_cycle_val is present for the current picture, the PicOrderCntVal of the current picture is derived as
     specified in the process for derivation of PicOrderCntVal in clause F.8.3.1.
–    Otherwise (poc_msb_cycle_val is not present for the current picture), the variable PrevPicOrderCnt[ nuh_layer_id ]
     used in derivation of PicOrderCntVal for each picture in the access unit is set equal to 0.
    NOTE 2 – When HRD information is present in the bitstream, a buffering period SEI message should be associated with the access
    unit associated with the recovery point SEI message in order to establish initialization of the HRD buffer model after a random
    access.

When the current picture is either a layer random-accessing picture or a layer up-switching picture and layer up-switching
is performed to start decoding of the current layer from the current access (while decoding of the reference layers of the
current layer have started earlier and pictures of those layers in the current access unit are correctly decoded), the decoder
operates as if the current picture was the first picture of the current layer in the bitstream in decoding order, and the
PicOrderCntVal of the current picture is set equal to the PicOrderCntVal of any other decoded picture in the current access
unit.
For a particular access unit auA, let auB be the first access unit that succeeds auA in decoding order such that the picture
order count values of the pictures in auB can be derived without using the picture order count values of pictures preceding
auB in decoding order. For a particular layer layerA, auA is not allowed to contain a recovery point SEI message that
applies to a set of layers containing at least layerA and all reference layers of layerA when all of the following conditions
are true:
–    All pictures in auA that are in the reference layers, if any, of layerA have both poc_msb_cycle_val_present_flag and
     poc_reset_idc equal to 0.
–    There is at least one picture picA with poc_msb_cycle_val_present_flag equal to 1 in the following access units:
     –     Access units that follow auA in decoding order and precede auB, when present, in decoding order.
     –     Access unit auB, when present and when picture in auB with nuh_layer_id equal to 0 is not an IRAP picture with
           NoClrasOutputFlag equal to 1.
Any SPS or PPS RBSP that is referred to by a picture of the access unit containing a recovery point SEI message or by any
picture in a subsequent access unit in decoding order shall be available to the decoding process prior to its activation,
regardless of whether or not the decoding process is started at the beginning of the bitstream or with the access unit, in
decoding order, that contains the recovery point SEI message.
recovery_poc_cnt specifies the recovery point of decoded pictures in the current layer in output order. If there is a picture
picB in the current layer that follows the current picture picA but precedes an access unit containing an IRAP picture in
the current layer in decoding order and PicOrderCnt( picB ) is equal to PicOrderCnt( picA ) plus the value of
recovery_poc_cnt, where PicOrderCnt( picA ) and PicOrderCnt( picB ) are the PicOrderCntVal values of picA and picB,
respectively, immediately after the invocation of the decoding process for picture order count for picB, the picture picB is
referred to as the recovery point picture. Otherwise, the first picture picC in the current layer in output order for which
PicOrderCnt( picC ) is greater than PicOrderCnt( picA ) plus the value of recovery_poc_cnt is referred to as the recovery
point picture, where PicOrderCnt( picA ) and PicOrderCnt( picC ) are the PicOrderCntVal values of picA and picC,
respectively, immediately after the invocation of the decoding process for picture order count for picC. The recovery point
picture shall not precede the current picture in decoding order. All decoded pictures in the current layer in output order are



                                                                                        Rec. ITU-T H.265 v8 (08/2021)                541
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 563 of 717 Page ID
                                                             #:1092

indicated to be correct or approximately correct in content starting at the output order position of the recovery point picture.
The value of recovery_poc_cnt shall be in the range of −MaxPicOrderCntLsb / 2 to MaxPicOrderCntLsb / 2 − 1, inclusive.
exact_match_flag indicates whether decoded pictures in the current layer at and subsequent to the specified recovery point
in output order derived by starting the decoding process at the access unit containing the recovery point SEI message will
be an exact match to the pictures in the current layer that would be produced by starting the decoding process at the location
of a previous access unit where the picture of the layer in the current layer and the pictures of all the reference layers are
IRAP pictures, if any, in the bitstream. The value 0 indicates that the match may not be exact and the value 1 indicates that
the match will be exact. When exact_match_flag is equal to 1, it is a requirement of bitstream conformance that the decoded
pictures in the current layer at and subsequent to the specified recovery point in output order derived by starting the
decoding process at the access unit containing the recovery point SEI message shall be an exact match to the pictures in
the current layer that would be produced by starting the decoding process at the location of a previous access unit where
the picture in the current layer and the pictures of all the reference layers are IRAP pictures, if any, in the bitstream.
    NOTE 3 – When performing random access, decoders should infer all references to unavailable pictures as references to pictures
    containing only intra coding blocks and having sample values given by Y equal to ( 1 << ( BitDepthY − 1 ) ), Cb and Cr both equal
    to ( 1 << ( BitDepthC − 1 ) ) (mid-level grey), regardless of the value of exact_match_flag.

When exact_match_flag is equal to 0, the quality of the approximation at the recovery point is chosen by the encoding
process and is not specified in this Specification.
broken_link_flag indicates the presence or absence of a broken link in the current layer at the location of the recovery
point SEI message and is assigned further semantics as follows:
–     If broken_link_flag is equal to 1, pictures in the current layer produced by starting the decoding process at the location
      of a previous access unit where the picture in the current layer and the pictures of all the reference layers are IRAP
      pictures may contain undesirable visual artefacts to the extent that decoded pictures in the current layer at and
      subsequent to the access unit containing the recovery point SEI message in decoding order should not be displayed
      until the specified recovery point in output order.
–     Otherwise (broken_link_flag is equal to 0), no indication is given regarding any potential presence of visual artefacts.
When the current picture is a BLA picture, the value of broken_link_flag shall be equal to 1.
Regardless of the value of the broken_link_flag, pictures in the current layer subsequent to the specified recovery point in
output order are specified to be correct or approximately correct in content.

F.14.3.2.5     Structure of pictures information SEI message semantics for multi-layer extensions
The specifications of clause D.3.19 apply by replacing the first paragraph specifying the persistence of the SEI message
with the following:
The structure of pictures information SEI message provides information for a list of entries, some of which correspond to
the target picture set consists of a series of pictures starting from the current picture until the last picture in decoding order
in the current layer in the CLVS or the last picture in decoding order in the current POC resetting period, whichever is
earlier.

F.14.3.2.6     Decoding unit information SEI message semantics for multi-layer extensions
The specifications of clause D.3.22 apply with the following modifications and additions:
When the decoding unit information SEI message is directly contained in a scalable nesting SEI message within an SEI
NAL unit with a nuh_layer_id value targetNuhLayerId greater than 0, the semantics of clause D.3.22 apply to the output
bitstream of the independent non-base layer rewriting process of clause F.10.2 with the input variables
assignedBaseLayerId equal to nestingLayerIdList[ i ][ 0 ] and tIdTarget equal to MaxTemporalId[ i ] for each value of i in
the range of 0 to nestingNumOps − 1, inclusive.
When the decoding unit information SEI message is contained in a bitstream partition nesting SEI message, the following
applies:
–     The variables olsIdx, psIdx and bspIdx are set equal to sei_ols_idx, sei_partitioning_scheme_idx and bsp_idx,
      respectively, of the bitstream partition nesting SEI message containing this buffering period SEI message, and the
      bspIdx-th bitstream partition of the psIdx-th partitioning scheme of the olsIdx-th OLS is referred to as the current
      bitstream partition.
–     The variable maxTId is set equal to MaxTemporalId[ 0 ] for the scalable nesting SEI message containing the bitstream
      partition nesting SEI message containing this buffering period SEI message.
–     The variable hrdParamIdx is set equal to the value of bsp_hrd_idx[ olsIdx ][ psIdx ][ maxTId ][ i ][ bspIdx ] for any
      value of i in the range of 0 to BspSchedCnt[ olsIdx ][ psIdx ][ maxTId ] − 1, inclusive.



542          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 564 of 717 Page ID
                                                           #:1093

–    The following applies for the syntax and semantics of the decoding unit information SEI message:
     –    The syntax elements sub_pic_hrd_params_present_flag, sub_pic_cpb_params_in_pic_timing_sei_flag and
          dpb_output_delay_du_length_minus1, and the variable CpbDpbDelaysPresentFlag are found in or derived from
          syntax elements in the hrdParamIdx-th hrd_parameters( ) syntax structure.
     –    It is a requirement of bitstream conformance that the values of sub_pic_hrd_params_present_flag,
          sub_pic_cpb_params_in_pic_timing_sei_flag           and        dpb_output_delay_du_length_minus1,           and
          CpbDpbDelaysPresentFlag derived using a particular value of i for the derivation of hrdParamIdx shall be the
          same as the value of the respective syntax elements or variable derived using any other allowed value of i.
The presence of decoding unit information SEI messages for the current bitstream partition is specified as follows on the
basis of the syntax elements sub_pic_hrd_params_present_flag and sub_pic_cpb_params_in_pic_timing_sei_flag and the
variable CpbDpbDelaysPresentFlag that are found or derived as specified above:
–    If CpbDpbDelaysPresentFlag is equal to 1, sub_pic_hrd_params_present_flag is equal to 1 and
     sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 0, one or more decoding unit information SEI messages
     applicable to the current bitstream partition shall be associated with each decoding unit of the current bitstream
     partition in the CVS.
–    Otherwise, if CpbDpbDelaysPresentFlag is equal to 1, sub_pic_hrd_params_present_flag is equal to 1 and
     sub_pic_cpb_params_in_pic_timing_sei_flag is equal to 1, one or more decoding unit information SEI messages
     applicable to the current bitstream partition may or may not be associated with each decoding unit of the current
     bitstream partition in the CVS.
–    Otherwise (CpbDpbDelaysPresentFlag is equal to 0 or sub_pic_hrd_params_present_flag is equal to 0), in the CVS
     there shall be no decoding unit of the current bitstream partition that is associated with a decoding unit information
     SEI message applicable to the current bitstream partition.
The set of NAL units associated with a decoding unit information SEI message contained in a bitstream partition nesting
SEI message consists, in decoding order, of the SEI NAL unit containing the decoding unit information SEI message and
all subsequent NAL units in the partition unit up to but not including any subsequent SEI NAL unit containing a decoding
unit information SEI message that is contained in a bitstream partition nesting SEI message applying to the current
bitstream partition and that has a different value of decoding_unit_idx.
It is a requirement of bitstream conformance that all decoding unit information SEI messages that are contained in a
bitstream partition nesting SEI message, are associated with the same access unit, apply to the current bitstream partition
and have dpb_output_du_delay_present_flag equal to 1 shall have the same value of pic_spt_dpb_output_du_delay.

F.14.3.2.7    Scalable nesting SEI message semantics for multi-layer extensions
The specifications of clause D.3.24 apply with the following modifications:
It is a requirement of bitstream conformance that the following restrictions apply on containing of SEI messages in a
scalable nesting SEI message:
–    An SEI message that has payloadType equal to 129 (active parameter sets), 132 (decoded picture hash), 133 (scalable
     nesting), 160 (layers not present), 163 (bitstream partition initial arrival time), 164 (sub-bitstream property) or 166
     (overlay information) shall not be directly contained in a scalable nesting SEI message.
–    When a scalable nesting SEI message contains a buffering period SEI message, a picture timing SEI message or a
     decoding unit information SEI message, the scalable nesting SEI message shall not contain any other SEI message
     with payloadType not equal to 0 (buffering period), 1 (picture timing) or 130 (decoding unit information).
–    When present, an SEI message that has payloadType equal to 162 (bitstream partition nesting) shall be contained
     within a scalable nesting SEI message.
–    When a scalable nesting SEI message contains a bitstream partition nesting SEI message, the scalable nesting SEI
     message shall not contain any other SEI message.
It is a requirement of bitstream conformance that the following restrictions apply on the value of bitstream_subset_flag:
–    When the scalable nesting SEI message contains a buffering period SEI message, a picture timing SEI message, a
     decoding unit information SEI message or a bitstream partition nesting SEI message, bitstream_subset_flag shall be
     equal to 1.
–    When the scalable nesting SEI message contains an SEI message that has payloadType equal to any value among
     SingleLayerSeiList, 161, 165, 167 or 168, bitstream_subset_flag shall be equal to 0.
When nesting_op_idx[ i ] is present, the list nestingLayerIdList[ i ] is set equal to LayerSetLayerIdList[ nesting_op_idx[ i ] ]
derived from the active VPS.



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            543
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 565 of 717 Page ID
                                                             #:1094

When a scalable nesting SEI message contains a bitstream partition nesting SEI message, the following applies:
–     nesting_op_flag shall be equal to 1, default_op_flag shall be equal to 0, nesting_num_ops_minus1 shall be equal to 0
      and nesting_op_idx[ 0 ] shall not be equal to 0.
–     The nuh_layer_id of the SEI NAL unit containing the scalable nesting SEI message shall be equal to the highest value
      within the list nestingLayerIdList[ 0 ].
When a scalable nesting SEI message directly contains a buffering period SEI message, a picture timing SEI message or a
decoding unit information SEI message and the nuh_layer_id value of the SEI NAL unit containing the scalable nesting
SEI messge is greater than 0, it is a requirement of bitstream conformance that for any value of i in the range of
default_op_flag to nesting_num_ops_minus1, inclusive, the nesting_op_idx[ i ]-th OLS consists of only the layer with
nuh_layer_id equal to nestingLayerIdList[ i ][ 0 ], the profile of that layer is a profile specified in Annex A and the value
of general_inbld_flag (when MaxTemporalId[ i ] is equal to vps_max_sub_layers_minus1) or the value of
sub_layer_inbld_flag[ tidTarget ] (when MaxTemporalId[ i ] is less than vps_max_sub_layers_minus1) in the
profile_tier_level( ) syntax structure associated with that layer is equal to 1.
    NOTE – In other words, buffering period, picture timing, or decoding unit information SEI messages that are directly contained in
    an SEI NAL unit with nuh_layer_id greater than 0 can only be present for rewritable independent non-base layers.

F.14.3.2.8     Region refresh information SEI message semantics for multi-layer extensions
The region refresh information SEI message indicates whether the slice segments that the current SEI message applies to
belong to a refreshed region of the current picture.
The variable targetLayerIdList is derived as follows:
–     If the region refresh information SEI message applies to the current layer and all the reference layers,
      targetLayerIdList contains the nuh_layer_id of the current layer and all the reference layers.
–     Otherwise, targetLayerIdList contains the nuh_layer_id of the current layer.
The region refresh SEI message is associated with a recovery point SEI message that applies to targetLayerIdList.
A picture that is not an IRAP picture, that belongs to a layer, and that is contained in an access unit containing a recovery
point SEI message where the recovery point SEI message applies to that layer is referred to as a gradual decoding refresh
(GDR) picture, and the access unit containing the picture is referred to as a GDR access unit. The access unit corresponding
to the indicated recovery point picture is referred to as the recovery point access unit.
If there is a picture picB in the current layer that follows the GDR picture picA in the current layer in decoding order in
the CVS and PicOrderCnt( picB ) is equal to PicOrderCnt( picA ) plus the value of recovery_poc_cnt in the recovery point
SEI message, where PicOrderCnt( picA ) and PicOrderCnt( picB ) are the PicOrderCntVal values of picA and picB,
respectively, immediately after the invocation of the decoding process for picture order count for picB, let the variable
lastPicInSet be the recovery point picture. Otherwise, let lastPicInSet be the picture in targetLayerIdList that immediately
precedes the recovery point picture in output order. The picture lastPicInSet shall not precede the GDR access unit in
decoding order.
Let gdrPicSet be the set of pictures in targetLayerIdList starting from a GDR access unit to the access unit containing
lastPicInSet, inclusive, in output order. When the decoding process for the current layer is started from a GDR access unit,
the refreshed region in each picture of the gdrPicSet is indicated to be the region of the picture that is correct or
approximately correct in content, and, when lastPicInSet is contained in the recovery point access unit, the refreshed region
in lastPicInSet covers the entire picture.
The slice segments of the current picture to which a region refresh information SEI message applies consist of all slice
segments within the picture that follow the SEI NAL unit containing the region refresh information SEI message and
precede the next SEI NAL unit, in decoding order, containing a region refresh information SEI message (if any) that has
the same targetLayerIdList as the current SEI message. These slice segments are referred to as the slice segments associated
with the region refresh information SEI message.
Let gdrAuSet be the set of access units corresponding to gdrPicSet. A gdrAuSet and the corresponding gdrPicSet are
referred to as being associated with the recovery point SEI message contained in the GDR access unit.
Region refresh information SEI messages shall not be present in an access unit unless the access unit is included in a
gdrAuSet associated with a recovery point SEI message. When any picture that is included in a gdrPicSet is associated
with one or more region refresh information SEI messages, all pictures in the gdrPicSet shall be associated with one or
more region refresh information SEI messages.
refreshed_region_flag equal to 1 indicates that the slice segments associated with the current SEI message belong to the
refreshed region in the current picture. refreshed_region_flag equal to 0 indicates that the slice segments associated with
the current SEI message may not belong to the refreshed region in the current picture.



544          Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 566 of 717 Page ID
                                                              #:1095

When one or more region refresh information SEI messages are associated with a picture belonging to gdrPicSet and the
first slice segment of the picture in decoding order does not have an associated region refresh information SEI message,
the value of refreshed_region_flag for the slice segments of the picture that precede the first region refresh information
SEI message is inferred to be equal to 0.
When lastPicInSet is the recovery point picture, and any region refresh SEI message is associated with the recovery point
access unit, the first slice segment of the picture in decoding order shall have an associated region refresh SEI message,
and the value of refreshed_region_flag shall be equal to 1 in all region refresh SEI messages associated with the picture.
When one or more region refresh information SEI messages are associated with a picture, the refreshed region in the picture
is specified as the set of CTUs in all slice segments of the picture that are associated with region refresh information SEI
messages that have refreshed_region_flag equal to 1. Other slice segments belong to the non-refreshed region of the picture.
It is a requirement of bitstream conformance that when a dependent slice segment belongs to the refreshed region, the
preceding slice segment in decoding order shall also belong to the refreshed region.
Let gdrRefreshedSliceSegmentSet be the set of all slice segments that belong to the refreshed regions in the gdrPicSet. The
variable upSwitchingRefreshedSliceSegmentSet is derived as follows:
–    If targetLayerIdList contains only one non-zero nuh_layer_id, upSwitchingRefreshedSliceSegmentSet is defined as
     the set inclusive of the following:
     –     all slice segments of all pictures of the reference layers that precede, in decoding order, the current picture and
           that may be used for reference by the current picture or subsequent pictures of the reference layers.
     –     all slice segments of all pictures of the reference layers that succeed, in decoding order, the current picture and
           that belong to gdrAuSet.
–    Otherwise, upSwitchingRefreshedSliceSegmentSet is defined as an empty set.
When a gdrPicSet contains one or more pictures associated with region refresh information SEI messages, it is a
requirement of bitstream conformance that the following constraints all apply:
–    For each layer in targetLayerIdList, the refreshed region in the first picture, in decoding order, that belongs to the
     layer and that is included in gdrPicSet that contains any refreshed region shall contain only coding units that are coded
     in an intra coding mode or inter-layer prediction from slice segments belonging to the union of
     gdrRefreshedSliceSegmentSet and upSwitchingRefreshedSliceSegmentSet.
–    For each picture included in the gdrPicSet, the syntax elements in gdrRefreshedSliceSegmentSet shall be constrained
     such that no samples or motion vector values outside of the union of gdrRefreshedSliceSegmentSet and
     upSwitchingRefreshedSliceSegmentSet are used for inter prediction or inter-layer prediction in the decoding process
     of any samples within gdrRefreshedSliceSegmentSet.
–    For any picture that follows the picture lastPicInSet in output order, the syntax elements in the slice segments of the
     picture shall be constrained such that no samples or motion vector values outside of the union of
     gdrRefreshedSliceSegmentSet and upSwitchingRefreshedSliceSegmentSet are used for inter prediction or inter-layer
     prediction in the decoding process of the picture other than those of the other pictures that follow the picture
     lastPicInSet in output order.

F.14.3.2.9     Coded region completion SEI message semantics for multi-layer extensions
The specifications of clause D.3.37 apply with the following additions:
The nuh_layer_id value of the SEI NAL unit containing a coded region completion SEI message shall be equal to the
nuh_layer_id value of the associated VCL NAL unit for the SEI NAL unit.
When an access unit contains one or more layers not present SEI messages, any coded region completion SEI message
with next_segment_address equal to 0 in that access unit shall follow the first layers not present SEI message, in decoding
order, that is present in that access unit.
   NOTE – The specifications given in clause F.7.4.2.4.4 for associating NAL units to access units facilitate determining of an end
    of an access unit when the first NAL unit of the next access unit is available. Some implementations may operate on access unit
    basis, e.g. when inputting NAL units to a decoder. The latency in such implementations is potentially reduced, when a bitstream
    includes multiple layers and an end of an access unit for the OLS with index trgtOlsIdx is concluded as follows in response to
    decoding a coded region completion SEI message with next_segment_address equal to 0:
     –    The variable layerMayBePresent[ layerIdx ] is derived as follows:
          –     If a layers not present SEI message is present in the current CVS and precedes the coded region completion SEI message
                in decoding order, layerMayBePresentFlag[ layerIdx ] is set equal to !layer_not_present_flag[ layerIdx ] of the previous
                layers not present SEI message, in decoding order, for each value of layerIdx from 0 to MaxLayersMinus1, inclusive.
          –     Otherwise, layerMayBePresentFlag[ layerIdx ] is set equal to 1 for each value of layerIdx from 0 to MaxLayersMinus1,
                inclusive.




                                                                                      Rec. ITU-T H.265 v8 (08/2021)               545
      Case 2:25-cv-03053              Document 1-7             Filed 04/07/25           Page 567 of 717 Page ID
                                                             #:1096

      –   Let a set of nuh_layer_id values trgtLayerIdList of the necessary layers for an OLS with index trgtOlsIdx be equal to
          TargetDecLayerIdList derived using Equation F-57 by setting TargetOlsIdx equal to trgtOlsIdx.
      –   Let numTrgtLayerIds be equal to the number of nuh_layer_id values in trgtLayerIdList.
      –   Let currLayerId be equal to the nuh_layer_id value of the VCL NAL unit associated with the SEI NAL unit containing this
          coded region completion SEI message.
      –   Let prevNecessaryLayerTrgtIdx be the index of the greatest value within trgtLayerIdList that is less than or equal to
          currLayerId.
      –   When one of the following is true, there are no VCL NAL units of any necessary layer of the OLS with index trgtOlsIdx
          following, in decoding order, the VCL NAL unit associated with the SEI NAL unit containing this SEI message within the
          current access unit:
          –    currLayerId is greater than or equal to any value in trgtLayerIdList.
          –    layerMayBePresentFlag[ LayerIdxInVps[ layerId ] ] is equal to 0 for all the values of layerId equal to
               trgtLayerIdList[ trgtIdx ] for each trgtIdx in the range of prevNecessaryLayerTrgtIdx + 1 to numTrgtLayerIds − 1,
               inclusive.

F.14.3.3 Layers not present SEI message semantics
The layers not present SEI message provides a mechanism for signalling that VCL NAL units of particular layers indicated
by the VPS are not present in a particular set of access units.
The target access units are defined as the set of access units starting from the access unit containing the layers not present
SEI message up to but not including the next access unit, in decoding order, that contains a layers not present SEI message
or the end of the CVS, whichever is earlier in decoding order.
When present, the layers not present SEI message applies to the target access units.
When a layers not present SEI message is associated with a coded picture with TemporalId firstTid that is greater than 0
and that coded picture is followed, in decoding order, by any coded picture with TemporalId less than firstTid in the same
CVS, a layers not present SEI message shall be present for the next coded picture, in decoding order, with TemporalId less
than firstTid.
lnp_sei_active_vps_id identifies the active VPS of the CVS containing the layers not present SEI message. The value of
lnp_sei_active_vps_id shall be equal to the value of vps_video_parameter_set_id of the active VPS for the VCL NAL units
of the access unit containing the SEI message.
layer_not_present_flag[ i ] equal to 1 indicates that there are no VCL NAL units with nuh_layer_id equal to
layer_id_in_nuh[ i ] present in the target access units. layer_not_present_flag[ i ] equal to 0 indicates that there may or
may not be VCL NAL units with nuh_layer_id equal to layer_id_in_nuh[ i ] present in the target access units.
When        layer_not_present_flag[ i ] is    equal     to   1      and     i    is  less     than    MaxLayersMinus1,
layer_not_present_flag[ LayerIdxInVps[ IdPredictedLayer[ layer_id_in_nuh[ i ] ][ j ] ] ] shall be equal to 1 for all values
of j in the range of 0 to NumPredictedLayers[ layer_id_in_nuh[ i ] ] − 1, inclusive.

F.14.3.4 Inter-layer constrained tile sets SEI message semantics
The scope of the inter-layer constrained tile sets SEI message is a complete CLVS of the layer with nuh_layer_id equal to
targetLayerId. When an inter-layer constrained tile sets SEI message is present for any coded picture of a CLVS and the
first coded picture of the CLVS in decoding order is an IRAP picture, the inter-layer constrained tile sets SEI message
shall be present for the first coded picture of the CLVS in decoding order and may also be present for other coded pictures
of the CLVS.
The inter-layer constrained tile sets SEI message shall not be present for the layer with nuh_layer_id equal to targetLayerId
when tiles_enabled_flag is equal to 0 for any PPS that is active for the pictures of the CLVS of the layer with nuh_layer_id
equal to targetLayerId.
The inter-layer constrained tile sets SEI message shall not be present for the layer with nuh_layer_id equal to targetLayerId
unless every PPS that is active for the pictures of the CLVS of the layer with nuh_layer_id equal to targetLayerId has
tile_boundaries_aligned_flag equal to 1 or fulfills the conditions that would be indicated by tile_boundaries_aligned_flag
being equal to 1.
An identified tile set is defined as a set of tiles within a picture with nuh_layer_id equal to targetLayerId that contains the
tiles specified below on the basis of the values of the syntax elements contained in the inter-layer constrained tile sets SEI
message.
An associated reference tile set for the iPred-th identified tile set with ilcts_id[ iPred ] equal to ilctsId, if any, is defined as
the identified tile set present in the same access unit as the iPred-th identified tile set and associated with ilcts_id[ iRef ]
equal to ilctsId and nuh_layer_id equal to IdDirectRefLayer[ targetLayerId ][ j ] for any value of j in the range of 0 to
NumDirectRefLayers[ targetLayerId ] − 1, inclusive.



546         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25              Page 568 of 717 Page ID
                                                               #:1097

The presence of the inter-layer constrained tile sets SEI message indicates that the inter-layer prediction process is
constrained such that no sample value outside each associated reference tile set, and no sample value at a fractional sample
position that is derived using one or more sample values outside each associated reference tile set, is used for inter-layer
prediction of any sample within the identified tile set.
   NOTE 1 – When loop filtering and resampling filter are applied across tile boundaries, inter-layer prediction of any samples within
   an identified tile set that refers to samples within 8 samples from an associated reference tile set boundary that is not also a picture
   boundary may result in propagation of mismatch error. An encoder can avoid such potential error propagation by avoiding the use
   of motion vectors that cause such references.

When more than one inter-layer constrained tile sets SEI message is present for a CLVS, they shall contain identical
content.
The number of inter-layer constrained tile sets SEI messages for the same CLVS in each access unit shall not exceed 5.
il_all_tiles_exact_sample_value_match_flag equal to 1 indicates that, within the CLVS, when the CTBs that are outside
of any tile in any identified tile set specified in this inter-layer constrained tile sets SEI message are not decoded and the
boundaries of the tile is treated as picture boundaries for purposes of the decoding process, the value of each sample in the
tile would be exactly the same as the value of the sample that would be obtained when all the CTBs of all pictures in the
CLVS are decoded. il_all_tiles_exact_sample_value_match_flag equal to 0 indicates that, within the CLVS, when the
CTBs that are outside of any tile in any identified tile set specified in this inter-layer constrained tile sets SEI message are
not decoded and the boundaries of the tile is treated as picture boundaries for purposes of the decoding process, the value
of each sample in the tile may or may not be exactly the same as the value of the same sample when all the CTBs of all
pictures in the CLVS are decoded.
il_one_tile_per_tile_set_flag equal to 1 indicates that each identified tile set contains one tile and
il_num_sets_in_message_minus1 is not present.
It is a requirement of bitstream conformance that when il_one_tile_per_tile_set_flag is equal to 1, the value of
( num_tile_columns_minus1 + 1 ) * ( num_tile_rows_minus1 + 1 ) shall be less than or equal to 256.
When il_one_tile_per_tile_set_flag is equal to 0, the identified tile sets are signalled explicitly.
il_num_sets_in_message_minus1 plus 1 specifies the number of the identified tile sets in the SEI message. The value of
il_num_sets_in_message_minus1 shall be in the range of 0 to 255, inclusive.
skipped_tile_set_present_flag equal to 1 indicates that, within the CLVS, the il_num_sets_in_message_minus1-th
identified tile set consists of those remaining tiles that are not included in any earlier identified tile sets in the same message
and all the prediction blocks that are inside the il_num_sets_in_message_minus1-th identified tile set are inter-layer
predicted         from         inter-layer       reference          pictures      with         nuh_layer_id            equal     to
IdDirectRefLayer[ targetLayerId ][ NumDirectRefLayers[ targetLayerId ] − 1 ] and no residual_coding( ) syntax structure
is present in any transform unit of the il_num_sets_in_message_minus1-th identified tile set. skipped_tile_set_present_flag
equal to 0 does not indicate a bitstream constraint within the CLVS. When not present, the value of
skipped_tile_set_present_flag is inferred to be equal to 0.
ilcts_id[ i ] contains an identifying number that may be used to identify the purpose of the i-th identified tile set
(for example, to identify an area to be extracted from the coded video sequence for a particular purpose). The value of
ilcts_id[ i ] shall be in the range of 0 to 232 − 2, inclusive.
Values of ilcts_id[ i ] from 0 to 255, inclusive, and from 512 to 231 − 1, inclusive, may be used as determined by the
application. If il_one_tile_per_tile_set_flag is equal to 1, values of ilcts_id[ i ] from 256 to 511, inclusive, are used for the
inferred ilcts_id[ i ] values as specified above. Otherwise, values of ilcts_id[ i ] from 256 to 511, inclusive, are reserved
for future use by ITU-T | ISO/IEC. Values of ilcts_id[ i ] from 231 to 232 − 2, inclusive, are reserved for future use by ITU-
T | ISO/IEC. Decoders encountering an indicated value of ilcts_id[ i ] in the range of 256 to 511, inclusive, or in the range
of 231 to 232 − 2, inclusive, shall ignore it.
When        ilcts_id[ i ]       is      not       present for   i     in      the     range      of       0      to
( num_tile_columns_minus1 + 1 ) * ( num_tile_rows_minus1 + 1 ) − 1, inclusive, due to il_one_tile_per_tile_set_flag
being equal to 1, it is inferred to be equal to 256 + i.
il_num_tile_rects_in_set_minus1[ i ] plus 1 specifies the number of rectangular regions of tiles in the i-th identified tile
set.  The     value   of   il_num_tile_rects_in_set_minus1[ i ]      shall   be     in    the      range     of     0     to
( num_tile_columns_minus1 + 1 ) * ( num_tile_rows_minus1 + 1 ) − 1, inclusive.
il_top_left_tile_idx[ i ][ j ] and il_bottom_right_tile_idx[ i ][ j ] identify the tile position of the top-left tile and the tile
position of the bottom-right tile in a rectangular region of the i-th identified tile set, respectively, in tile raster scan order.
ilc_idc[ i ] equal to 1 indicates that no samples outside of any associated reference tile set and no samples at a fractional
sample position that is derived using one or more samples outside of any associated reference tile set are used for inter-
layer prediction of any sample within the i-th identified tile set. ilc_idc[ i ] equal to 2 indicates that no prediction block in


                                                                                       Rec. ITU-T H.265 v8 (08/2021)                 547
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 569 of 717 Page ID
                                                            #:1098

the i-th identified tile set is predicted from an inter-layer reference picture. ilc_idc[ i ] equal to 0 indicates that the inter-
layer prediction process may or may not be constrained for the prediction block in the i-th identified tile set. The value of
ilc_idc[ i ] equal to 3 is reserved.
il_exact_sample_value_match_flag[ i ] equal to 1 indicates that, within the CLVS, when the CTBs that do not belong to
the i-th identified tile set are not decoded and the boundaries of the i-th identified tile set are treated as picture boundaries
for the purposes of the decoding process, the value of each sample in the i-th identified tile set would be exactly the same
as the value of the sample that would be obtained when all the CTBs of all pictures in the CLVS are decoded.
il_exact_sample_value_match_flag[ i ] equal to 0 indicates that, within the CLVS, when the CTBs that are outside of the
i-th identified tile set are not decoded and the boundaries of the i-th identified tile set are treated as picture boundaries for
the purposes of the decoding process, the value of each sample in the i-th identified tile set may or may not be exactly the
same as the value of the same sample when all the CTBs of all pictures in the CLVS are decoded.
    NOTE 2 – It is feasible to use il_exact_sample_value_match_flag equal to 1 when using certain combinations of
    loop_filter_across_tiles_enabled_flag,     pps_loop_filter_across_slices_enabled_flag,  pps_deblocking_filter_disabled_flag,
    slice_loop_filter_across_slices_enabled_flag,   slice_deblocking_filter_disabled_flag, sample_adaptive_offset_enabled_flag,
    slice_sao_luma_flag and slice_sao_chroma_flag.

all_tiles_ilc_idc equal to 1 indicates that, for each identified tile set within the CLVS, no sample value outside of each
associated reference tile set and no sample value at a fractional sample position that is derived using one or more samples
outside of each associated reference tile set is used for inter-layer prediction of any sample within the identified tile set.
all_tiles_ilc_idc equal to 2 indicates that, within the CLVS, no prediction block in each identified tile set is predicted from
an inter-layer reference picture. all_tiles_ilc_idc equal to 0 indicates that, within the CLVS, the inter-layer prediction
process may or may not be constrained for the identified tile sets. The value of all_tiles_ilc_idc equal to 3 is reserved.
When all_tiles_ilc_idc is not present, it is inferred to be equal to 0.

F.14.3.5 Bitstream partition nesting SEI message semantics
The bitstream partition nesting SEI message provides a mechanism to associate SEI messages with a bitstream partition of
a partitioning scheme of an OLS.
    NOTE – The bitstream partition nesting SEI message must be contained within a scalable nesting SEI message. Constraints on the
    scalable nesting SEI message containing a bitstream partition nesting SEI message are specified in clause F.14.3.2.7.

A bitstream partition nesting SEI message contains one or more SEI messages.
sei_ols_idx specifies the index of the OLS to which the contained SEI messages apply. The value of sei_ols_idx shall be
in the range of 0 to NumOutputLayerSets − 1, inclusive.
It is a requirement of bitstream conformance that OlsIdxToLsIdx[ sei_ols_idx ] shall be equal to nesting_op_idx[ 0 ] of the
scalable nesting SEI message that contains the bitstream partition nesting SEI message.
sei_partitioning_scheme_idx specifies the index of the partitioning scheme to which the contained SEI messages apply.
The value of sei_partitioning_scheme_idx shall be in the range of 0 to num_signalled_partitioning_schemes[ sei_ols_idx ],
inclusive.
bsp_idx specifies the index of the bitstream partition to which the contained SEI messages apply. The value of bsp_idx
shall be in the range of 0 to num_partitions_in_scheme_minus1[ sei_ols_idx ][ sei_partitioning_scheme_idx ], inclusive.
num_seis_in_bsp_minus1 plus 1 specifies the number of sei_message( ) syntax structures contained in the bsp_nesting( )
syntax structure. The value of num_seis_in_bsp_minus1 shall be in the range of 0 to 63, inclusive.
bsp_nesting_zero_bit shall be equal to 0.

F.14.3.6 Bitstream partition initial arrival time SEI message semantics
The bitstream partition initial arrival time SEI message specifies the initial arrival times to be used in the bitstream-
partition-specific CPB operation.
When present, this SEI message shall be contained within a bitstream partition nesting SEI message that is contained in a
scalable nesting SEI message, and the same bitstream partition nesting SEI message shall also contain a buffering period
SEI message.
The following applies for each value of i in the range of 0 to BspSchedCnt[ olsIdx ][ psIdx ][ MaxTemporalId[ 0 ] ] − 1,
inclusive:
–     The        variable        hrdParamIdx[ i ]       is        set       equal       to       the       value      of
      bsp_hrd_idx[ olsIdx ][ psIdx ][ maxTemporalId[ 0 ] ][ i ][ bspIdx ], where olsIdx, psIdx and bspIdx are equal to
      sei_ols_idx, sei_partitioning_scheme_idx and bsp_idx, respectively, of the bitstream partition nesting SEI message
      containing this bitstream partition initial arrival time SEI message, and maxTemporalId[ 0 ] is the value of




548         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 570 of 717 Page ID
                                                          #:1099

     MaxTemporalId[ 0 ] for the scalable nesting SEI message containing the bitstream partition nesting SEI message
     containing this bitstream partition initial arrival time SEI message.
–    The variable initialCpbRemovalDelayLength[ i ] is set equal to initial_cpb_removal_delay_length_minus1 + 1,
     where initial_cpb_removal_delay_length_minus1 is found in the hrdParamIdx[ i ]-th hrd_parameters( ) syntax
     structure in the active VPS.
–    The variable nalHrdParamsPresent[ i ] is set equal to the value of nal_hrd_parameters_present_flag in the
     hrdParamIdx[ i ]-th hrd_parameters( ) syntax structure in the active VPS.
–    The variable vclHrdParamsPresent[ i ] is set equal to the value of vcl_hrd_parameters_present_flag in the
     hrdParamIdx[ i ]-th hrd_parameters( ) syntax structure in the active VPS.
It is a requirement of bitstream conformance that the value of nalHrdParamsPresent[ i ] shall be the same for all values of i
in the range of 0 to BspSchedCnt[ olsIdx ][ psIdx ][ MaxTemporalId[ 0 ] ] − 1, inclusive.
It is a requirement of bitstream conformance that the value of vclHrdParamsPresent[ i ] shall be the same for all values of i
in the range of 0 to BspSchedCnt[ olsIdx ][ psIdx ][ MaxTemporalId[ 0 ] ] − 1, inclusive.
The variable nalInitialArrivalDelayPresent is set equal to nalHrdParamsPresent[ i ] of any value of i in the range of 0 to
BspSchedCnt[ olsIdx ][ psIdx ][ MaxTemporalId[ 0 ] ] − 1, inclusive.
The variable vclInitialArrivalDelayPresent is set equal to vclHrdParamsPresent[ i ] of any value of i in the range of 0 to
BspSchedCnt[ olsIdx ][ psIdx ][ MaxTemporalId[ 0 ] ] − 1, inclusive.
nal_initial_arrival_delay[ i ] specifies the initial arrival time for the i-th delivery schedule of the bitstream partition to
which this SEI message applies, when NAL HRD parameters are in use. The length, in bits, of the
nal_initial_arrival_delay[ i ] syntax element is equal to initialCpbRemovalDelayLength[ i ].
vcl_initial_arrival_delay[ i ] specifies the initial arrival time for the i-th delivery schedule of the bitstream partition to
which this SEI message applies, when VCL HRD parameters are in use. The length, in bits, of the
vcl_initial_arrival_delay[ i ] syntax element is equal to initialCpbRemovalDelayLength[ i ].

F.14.3.7 Sub-bitstream property SEI message semantics
The sub-bitstream property SEI message, when present, provides the bit rate information for a sub-bitstream created by
discarding those pictures in the layers that do not belong to the output layers of the OLSs specified by the active VPS and
that do not affect the decoding of the output layers.
When present, the sub-bitstream property SEI message shall be associated with an initial IRAP access unit and the
information provided by the SEI messages applies to the bitstream corresponding to the CVS containing the associated
initial IRAP access unit.
sb_property_active_vps_id identifies the active VPS. The value of sb_property_active_vps_id shall be equal to the value
of vps_video_parameter_set_id of the active VPS referred to by the VCL NAL units of the associated access unit.
num_additional_sub_streams_minus1 plus 1 specifies the number of the sub-bitstreams for which the bit rate
information may be provided by this SEI message. The value of num_additional_sub_streams_minus1 shall be in the range
of 0 to 210 − 1, inclusive.
sub_bitstream_mode[ i ] specifies how the i-th sub-bitstream is generated. The value of sub_bitstream_mode[ i ] shall be
equal to 0 or 1, inclusive. The values 2 and 3 are reserved for future use by ITU-T and ISO/IEC. When
sub_bitstream_mode[ i ] is the greater than 1, decoders shall ignore the syntax elements ols_idx_to_vps[ i ],
highest_sublayer_id[ i ], avg_sb_property_bit_rate[ i ] and max_sb_property_bit_rate[ i ].
When sub_bitstream_mode[ i ] is equal to 0, the i-th sub-bitstream is generated as follows:
–    Let lsIdx be equal to OlsIdxToLsIdx[ ols_idx_to_vps[ i ] ].
–    A sub-bitstream subBitstream[ i ] is first created as follows:
     –    If lsIdx is less than or equal to vps_num_layer_sets_minus1 and vps_base_layer_internal_flag is equal to 1, the
          sub-bitstream extraction process as specified in clause 10 is invoked with the bitstream corresponding to the
          CVS       containing      the    sub-bitstream  property     SEI     message,    highest_sublayer_id[ i ]  and
          LayerSetLayerIdList[ lsIdx ] as inputs, and the output is assigned to subBitstream[ i ].
     –    Otherwise, if lsIdx is less than or equal to vps_num_layer_sets_minus1 and vps_base_layer_internal_flag is
          equal to 0, the sub-bitstream extraction process as specified in clause F.10.1 is invoked with the bitstream
          corresponding to the CVS containing the sub-bitstream property SEI message, highest_sublayer_id[ i ] and
          LayerSetLayerIdList[ lsIdx ] as inputs, and the output is assigned to subBitstream[ i ].



                                                                               Rec. ITU-T H.265 v8 (08/2021)            549
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25         Page 571 of 717 Page ID
                                                             #:1100

      –    Otherwise, the sub-bitstream extraction process as specified in clause F.10.3 is invoked with the bitstream
           corresponding to the CVS containing the sub-bitstream property SEI message, highest_sublayer_id[ i ] and
           LayerSetLayerIdList[ lsIdx ] as inputs, and the output is assigned to subBitstream[ i ].
–     Remove all NAL units for which the nuh_layer_id is not included in TargetOptLayerIdList and either of the following
      conditions is true:
      –    The value of nal_unit_type is not in the range of BLA_W_LP to RSV_IRAP_VCL23, inclusive, and
           max_tid_il_ref_pics_plus1[ LayerIdxInVps[ nuh_layer_id ] ][ LayerIdxInVps[ layerId ] ] is equal to 0 for
           layerId values included in TargetOptLayerIdList.
      –    TemporalId           is       greater        than           the        maximum             value        of
           max_tid_il_ref_pics_plus1[ LayerIdxInVps[ nuh_layer_id ] ][ LayerIdxInVps[ layerId ] ] − 1 for all layerId
           values included in TargetOptLayerIdList.
When sub_bitstream_mode[ i ] is equal to 1, the i-th sub-bitstream is generated as specified by the above process followed
by:
–     Remove all NAL units with nuh_layer_id not among the values included in TargetOptLayerIdList and with
      discardable_flag equal to 1.
ols_idx_to_vps[ i ] specifies the index of the OLS corresponding to the i-th sub-bitstream. The value of ols_idx_to_vps[ i ]
shall be in the range of 0 to NumOutputLayerSets − 1, inclusive.
highest_sublayer_id[ i ] specifies the highest TemporalId of access units in the i-th sub-bitstream.
avg_sb_property_bit_rate[ i ] indicates the average bit rate of the i-th sub-bitstream, in bits per second. The value is
given by BitRateBPS( avg_sb_property_bit_rate[ i ] ) with the function BitRateBPS( ) being specified as follows:
           BitRateBPS( x ) = ( x & ( 214 − 1 ) ) * 10( 2 + ( x >> 14 ) )                                               (F-91)
The average bit rate is derived according to the access unit removal time specified in clause F.13. In the following, bTotal
is the number of bits in all NAL units of the i-th sub-bitstream, t1 is the removal time (in seconds) of the first access unit
to which the VPS applies and t2 is the removal time (in seconds) of the last access unit (in decoding order) to which the
VPS applies. With x specifying the value of avg_sb_property_bit_rate[ i ], the following applies:
–     If t1 is not equal to t2, the following condition shall be true:
           ( x & ( 214 − 1 ) ) = = Round( bTotal ÷ ( ( t2 − t1 ) * 10( 2 + ( x >> 14 ) ) ) )                           (F-92)
–     Otherwise (t1 is equal to t2), the following condition shall be true:
           ( x & ( 214 − 1 ) ) = = 0                                                                                   (F-93)
max_sb_property_bit_rate[ i ] indicates an upper bound for the bit rate of the i-th sub-bitstream in any one-second time
window of access unit removal time as specified in clause F.13. The upper bound for the bit rate in bits per second is given
by BitRateBPS( max_sb_property_bit_rate[ i ] ). The bit rate values are derived according to the access unit removal time
specified in clause F.13. In the following, t1 is any point in time (in seconds), t2 is set equal to t1 + 1 ÷ 100 and bTotal is
the number of bits in all NAL units of access units with a removal time greater than or equal to t1 and less than t2. With x
specifying the value of max_sb_property_bit_rate[ i ], the following condition shall be obeyed for all values of t1:
           ( x & ( 214 − 1 ) ) >= bTotal ÷ ( ( t2 − t1 ) * 10( 2 + ( x >> 14 ) ) )                                     (F-94)
F.14.3.8 Alpha channel information SEI message semantics
The alpha channel information SEI message provides information about alpha channel sample values and post-processing
applied to the decoded alpha planes coded in auxiliary pictures of type AUX_ALPHA and one or more associated primary
pictures.
For an auxiliary picture with nuh_layer_id equal to nuhLayerIdA and AuxId[ nuhLayerIdA ] equal to AUX_ALPHA, an
associated primary picture, if any, is a picture in the same access unit having AuxId[ nuhLayerIdB ] equal to 0 such that
ScalabilityId[ LayerIdxInVps[ nuhLayerIdA ] ][ j ] is equal to ScalabilityId[ LayerIdxInVps[ nuhLayerIdB ] ][ j ] for all
values of j in the range of 0 to 2, inclusive, and 4 to 15, inclusive.
When an access unit contains an auxiliary picture picA with nuh_layer_id equal to nuhLayerIdA and
AuxId[ nuhLayerIdA ] equal to AUX_ALPHA, the alpha channel sample values of picA persist in output order until one
or more of the following conditions are true:
–     The next picture, in output order, with nuh_layer_id equal to nuhLayerIdA is output.
–     A CLVS containing the auxiliary picture picA ends.
–     The bitstream ends.


550         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 572 of 717 Page ID
                                                         #:1101

–    A CLVS of any associated primary layer of the auxiliary picture layer with nuh_layer_id equal to nuhLayerIdA ends.
The following semantics apply separately to each nuh_layer_id targetLayerId among the nuh_layer_id values to which the
alpha channel information SEI message applies.
alpha_channel_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous alpha
channel information SEI message in output order that applies to the current layer. alpha_channel_cancel_flag equal to 0
indicates that alpha channel information follows.
Let currPic be the picture that the alpha channel information SEI message is associated with. The semantics of alpha
channel information SEI message persist for the current layer in output order until one or more of the following conditions
are true:
–    A new CLVS of the current layer begins.
–    The bitstream ends.
–    A picture picB with nuh_layer_id equal to targetLayerId in an access unit containing an alpha channel information
     SEI message with nuh_layer_id equal to targetLayerId is output having PicOrderCnt( picB ) greater than
     PicOrderCnt( currPic ), where PicOrderCnt( picB ) and PicOrderCnt( currPic ) are the PicOrderCntVal values of picB
     and currPic, respectively, immediately after the invocation of the decoding process for picture order count for picB.
alpha_channel_use_idc equal to 0 indicates that for alpha blending purposes the decoded samples of the associated
primary picture should be multiplied by the interpretation sample values of the auxiliary coded picture in the display
process after output from the decoding process. alpha_channel_use_idc equal to 1 indicates that for alpha blending
purposes the decoded samples of the associated primary picture should not be multiplied by the interpretation sample
values of the auxiliary coded picture in the display process after output from the decoding process. alpha_channel_use_idc
equal to 2 indicates that the usage of the auxiliary picture is unspecified. Values greater than 2 for alpha_channel_use_idc
are reserved for future use by ITU-T | ISO/IEC. When not present, the value of alpha_channel_use_idc is inferred to be
equal to 2.
alpha_channel_bit_depth_minus8 plus 8 specifies the bit depth of the samples of the luma sample array of the auxiliary
picture. alpha_channel_bit_depth_minus8 shall be in the range 0 to 7 inclusive. alpha_channel_bit_depth_minus8 shall be
equal to bit_depth_luma_minus8 of the associated primary picture.
alpha_transparent_value specifies the interpretation sample value of an auxiliary coded picture luma sample for which
the associated luma and chroma samples of the primary coded picture are considered transparent for purposes of alpha
blending. The number of bits used for the representation of the alpha_transparent_value syntax element is
alpha_channel_bit_depth_minus8 + 9.
alpha_opaque_value specifies the interpretation sample value of an auxiliary coded picture luma sample for which the
associated luma and chroma samples of the primary coded picture are considered opaque for purposes of alpha blending.
The number of bits used for the representation of the alpha_opaque_value syntax element is
alpha_channel_bit_depth_minus8 + 9.
alpha_channel_incr_flag equal to 0 indicates that the interpretation sample value for each decoded auxiliary picture luma
sample value is equal to the decoded auxiliary picture sample value for purposes of alpha blending.
alpha_channel_incr_flag equal to 1 indicates that, for purposes of alpha blending, after decoding the auxiliary picture
samples, any auxiliary picture luma sample value that is greater than Min( alpha_opaque_value, alpha_transparent_value )
should be increased by one to obtain the interpretation sample value for the auxiliary picture sample and any auxiliary
picture luma sample value that is less than or equal to Min( alpha_opaque_value, alpha_transparent_value ) should be used,
without alteration, as the interpretation sample value for the decoded auxiliary picture sample value. When not present, the
value of alpha_channel_incr_flag is inferred to be equal to 0.
alpha_channel_clip_flag equal to 0 indicates that no clipping operation is applied to obtain the interpretation sample
values of the decoded auxiliary picture. alpha_channel_clip_flag equal to 1 indicates that the interpretation sample values
of the decoded auxiliary picture are altered according to the clipping process described by the
alpha_channel_clip_type_flag syntax element. When not present, the value of alpha_channel_clip_flag is inferred to be
equal to 0.
alpha_channel_clip_type_flag equal to 0 indicates that, for purposes of alpha blending, after decoding the auxiliary
picture     samples,       any       auxiliary    picture      luma       sample      that      is     greater       than
( alpha_opaque_value − alpha_transparent_value ) / 2 is set equal to alpha_opaque_value to obtain the interpretation
sample value for the auxiliary picture luma sample and any auxiliary picture luma sample that is less or equal than
( alpha_opaque_value − alpha_transparent_value ) / 2 is set equal to alpha_transparent_value to obtain the interpretation
sample value for the auxiliary picture luma sample. alpha_channel_clip_type_flag equal to 1 indicates that, for purposes
of alpha blending, after decoding the auxiliary picture samples, any auxiliary picture luma sample that is greater than
alpha_opaque_value is set equal to alpha_opaque_value to obtain the interpretation sample value for the auxiliary picture
luma sample and any auxiliary picture luma sample that is less than or equal to alpha_transparent_value is set equal to


                                                                              Rec. ITU-T H.265 v8 (08/2021)            551
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25             Page 573 of 717 Page ID
                                                            #:1102

alpha_transparent_value to obtain the interpretation sample value for the auxiliary picture luma sample.
   NOTE – When both alpha_channel_incr_flag and alpha_channel_clip_flag are equal to one, the clipping operation specified by
   alpha_channel_clip_type_flag should be applied first followed by the alteration specified by alpha_channel_incr_flag to obtain the
   interpretation sample value for the auxiliary picture luma sample.

F.14.3.9 Overlay information SEI message semantics
The overlay information SEI message provides information about overlay pictures coded as auxiliary pictures. Overlay
auxiliary pictures have nuh_layer_id equal to nuhLayerIdA and AuxId[ nuhLayerIdA ] in the range of 128 to 159,
inclusive. Each overlay auxiliary picture layer is associated with one or more primary picture layers as specified below.
overlay_info_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous overlay
information SEI message in output order that is associated with one or more primary picture layers to which this SEI
applies. overlay_info_cancel_flag equal to 0 indicates that overlay information follows.
overlay_content_aux_id_minus128 plus 128 indicates the value of AuxId of auxiliary pictures containing overlay
content. overlay_content_aux_id_minus128 shall be in the range of 0 to 31, inclusive.
overlay_label_aux_id_minus128 plus 128 indicates the value of AuxId of auxiliary pictures containing overlay label.
overlay_label_aux_id_minus128 shall be in the range of 0 to 31, inclusive.
overlay_alpha_aux_id_minus128 plus 128 indicates the value of AuxId of auxiliary pictures containing overlay alpha.
overlay_alpha_aux_id_minus128 shall be in the range of 0 to 31, inclusive.
overlay_element_label_value_length_minus8 plus 8 indicates the number of bits used for coding the
overlay_element_label_min[ i ][ j ] and overlay_element_label_max[ i ][ j ] syntax elements.
num_overlays_minus1 plus 1 specifies the number of overlays described by the overlay information SEI message.
num_overlays_minus1 shall be in the range of 0 to 15, inclusive.
overlay_idx[ i ] indicates the index of the i-th overlay. overlay_idx[ i ] shall be in the range of 0 to 255, inclusive.
language_overlay_present_flag[ i ]      equal     to    1     indicates   that     overlay_language[ i ]     is    present.
language_overlay_present_flag[ i ] equal to 0 indicates that overlay_language[ i ] is not present and that the language of
the overlay is unspecified.
overlay_content_layer_id[ i ] indicates the nuh_layer_id value of the NAL units of the overlay content of the i-th overlay.
AuxId[ overlay_content_layer_id[ i ] ] shall be equal to overlay_content_aux_id_minus128 + 128 for all values of i in the
range of 0 to num_overlays_minus1, inclusive.
The value of the variable pLid, which identifies the nuh_layer_id value of the primary picture which the i-th overlay is
associated with, is derived as follows:
          pLid = −1
          for( j = 0; j < 63; j++ )
               if( ViewOrderIdx[ j ] = = ViewOrderIdx[ overlay_content_layer_id[ i ] ] &&          (F-95)
                    DependencyId[ j ] = = DependencyId[ overlay_content_layer_id[ i ] ] && AuxId[ j ] = =
          0)
                    pLid = j
The value of pLid shall be in the range of 0 to 62, inclusive.
overlay_label_present_flag[ i ]     equal     to      1    specifies   that    overlay_label_layer_id[ i ]            is    present.
overlay_label_present_flag[ i ] equal to 0 specifies that overlay_label_layer_id[ i ] is not present.
overlay_label_layer_id[ i ] indicates the nuh_layer_id value of NAL units in the overlay label of the i-th overlay.
AuxId[ overlay_label_layer_id[ i ] ] shall be equal to overlay_label_aux_id_minus128 + 128 for all values of i in the range
of 0 to num_overlays_minus1, inclusive.
overlay_alpha_present_flag[ i ]     equal     to     1     specifies  that   overlay_alpha_layer_id[ i ]              is    present.
overlay_alpha_present_flag[ i ] equal to 0 specifies that overlay_alpha_layer_id[ i ] is not present.
overlay_alpha_layer_id[ i ] indicates the nuh_layer_id value of NAL units in the overlay alpha of the i-th overlay.
AuxId[ overlay_alpha_layer_id[ i ] ] shall be equal to overlay_alpha_aux_id_minus128 + 128 for all values of i in the
range of 0 to num_overlays_minus1, inclusive.
num_overlay_elements_minus1[ i ] indicates the number of overlay elements in the i-th overlay.
num_overlay_elements_minus1[ i ] shall be in the range of 0 to 255, inclusive. When not present, the value of
num_overlay_elements_minus1[ i ] is inferred to be equal to 0.




552        Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 574 of 717 Page ID
                                                         #:1103

overlay_element_label_min[ i ][ j ] and overlay_element_label_max[ i ][ j ] indicate the minimum and maximum
values, respectively, of the range of sample values corresponding to the j-th overlay element of the i-th overlay. The length
of the overlay_element_label_min[ i ][ j ] and the overlay_element_label_max[ i ][ j ] syntax elements is
overlay_element_label_min_max_length_minus8 + 8 bits.
The variable overlayElementId[ i ][ x ][ y ] specifying the overlay element identifier of the i-th overlay for the sample
location ( x, y ) relative to the top-left sample is derived as follows, where p[ i ][ x ][ y ] refers to the luma sample at
location ( x, y ) in the decoded label auxiliary picture of the i-th overlay:
          for( y = 0; y < pic_height_in_luma_samples; y++ )
               for( x = 0; x < pic_width_in_luma_samples; x++ )
                    for( i = 0; i <= number_overlays_minus1[ i ] ) {
                        overlayElementId[ i ][ x ][ y ] = 0
                        for( j = 0; j <= num_overlay_elements_minus1[ i ]; j++ )                                     (F-96)
                            if( p[ i ][ x ][ y ] >= overlay_element_label_min[ i ][ j ] &&
                                p[ i ][ x ][ y ] <= overlay_element_label_max[ i ][ j ] )
                                overlayElementId[ i ][ x ][ y ] = j
                    }
overlay_zero_bit shall be equal to 0.
overlay_language[ i ] contains a language tag as specified by IETF RFC 5646 followed by a null termination byte equal
to 0x00. The length of the overlay_language[ i ] syntax element shall be less than or equal to 255 bytes, not including the
null termination byte.
overlay_name[ i ] indicates the name of the i-th overlay. The length of the overlay_name[ i ] syntax element shall be less
than or equal to 255 bytes, not including the null termination byte.
overlay_element_name[ i ][ j ] indicates the name of the j-th overlay element of the i-th overlay. The length of the
overlay_element_name[ i ][ j ] syntax element shall be less than or equal to 255 bytes, not including the null termination
byte.
overlay_info_persistence_flag specifies the persistence of the overlay information SEI message.
overlay_info_persistence_flag equal to 0 specifies that the overlay information SEI message applies to the current decoded
picture only.
When an access unit contains an auxiliary picture picA with nuh_layer_id equal to nuhLayerIdA and
AuxId[ nuhLayerIdA ] in the range of 128..159, and nuhLayerIdA is equal to any of overlay_content_layer_id[ i ],
overlay_label_layer_id[ i ], overlay_label_layer_id[ i ] and overlay_alpha_layer_id[ i ], overlay_info_persistence_flag
equal to 1 specifies that the overlay information SEI message persists for the CLVS containing the auxiliary picture picA
in output order until one or more of the following conditions are true:
–    A new CLVS begins for the layer containing the auxiliary picture picA.
–    A new CLVS begins for the layer containing the primary picture associated with the auxiliary picture picA.
–    The bitstream ends.
–    A picture picB in an access unit containing an overlay information SEI message is output for which
     PicOrderCnt( picB ) is greater than PicOrderCnt( picA ), where PicOrderCnt( picB ) and PicOrderCnt( picA ) are the
     PicOrderCntVal values of picB and picA, respectively, immediately after the invocation of the decoding process for
     picture order count for picB.

F.14.3.10 Temporal motion vector prediction constraints SEI message semantics
The temporal motion vector prediction constraints SEI message indicates constraints on collocated pictures for temporal
motion vector prediction. This SEI message may be used to determine whether the motion vectors of earlier pictures in
decoding order no longer need to be stored and whether the motion vectors of the current picture and subsequent pictures
need to be stored.
The temporal motion vector prediction constraints SEI message is a prefix SEI message. The temporal motion vector
prediction constraints SEI message may be present in an access unit with TemporalId equal to 0 and shall not be present
in an access unit with TemporalId greater than 0.
The following semantics apply separately to each nuh_layer_id targetLayerId among the nuh_layer_id values to which the
temporal motion vector prediction constraints SEI message applies. Let associatedLayerIdList consist of each
targetLayerId value to which this temporal motion vector prediction constraints SEI message applies.
Let a set of pictures associatedPicSet be the pictures with nuh_layer_id equal to targetLayerId from the access unit
containing the SEI message, inclusive, up to but not including the first of any of the following in decoding order:


                                                                               Rec. ITU-T H.265 v8 (08/2021)           553
      Case 2:25-cv-03053                Document 1-7              Filed 04/07/25             Page 575 of 717 Page ID
                                                                #:1104

–     The next access unit, in decoding order, that contains a temporal motion vector prediction constraints SEI message
      with an associatedLayerIdList that contains targetLayerId.
–     The first picture of the next CLVS, in decoding order, of the layer with nuh_layer_id equal to targetLayerId.
prev_pics_not_used_flag equal to 1 indicates that the syntax elements for all coded pictures that are within or follow the
access unit containing the current picture in decoding order are constrained such that no temporal motion vector from any
picture that has nuh_layer_id equal to any value in associatedLayerIdList and precedes the access unit containing the
current picture in decoding order is used directly or indirectly in decoding of any coded picture that is within or follows
the access unit containing the current picture in decoding order. prev_pics_not_used_flag equal to 0 indicates that the
bitstream may or may not fulfill the constraints indicated by prev_pics_not_used_flag equal to 1.
    NOTE 1 – When prev_pics_not_used_flag is equal to 1, decoders may empty the "motion vector storage" for all reference pictures
    with nuh_layer_id equal to targetLayerId in the decoded picture buffer.

prev_pics_not_used_flag shall be equal to 1 when both of the following conditions are true:
–     no_intra_layer_col_pic_flag is equal to 1 in the previous temporal motion vector prediction constraints SEI message
      applying to nuh_layer_id equal to targetLayerId.
–     The previous temporal motion vector prediction constraints SEI message applying to nuh_layer_id equal to
      targetLayerId and the current temporal motion vector prediction constraints SEI message apply to the same CLVS of
      the layer with nuh_layer_id equal to targetLayerId.
no_intra_layer_col_pic_flag equal to 1 indicates the following:
–     If NumDirectRefLayers[ targetLayerId ] is equal to 0, slice_temporal_mvp_enabled_flag is not present or is equal
      to 0 in each picture in associatedPicSet.
–     Otherwise, all the pictures in associatedPicSet do not use temporal motion vector prediction or use collocated pictures
      with nuh_layer_id different from targetLayerId.
When no_intra_layer_col_pic_flag is equal to 0, no constraint on the collocated picture of the pictures with nuh_layer_id
equal to targetLayerId is indicated.
Let NoIntraLayerColPicFlag[ targetLayerId ] be equal to no_intra_layer_col_pic_flag.
    NOTE 2 – The motion vectors of the current picture with nuh_layer_id equal to layerId have to be stored when they may be used
    for temporal motion vector prediction of other pictures in the same layer or when they may be used for inter-layer motion prediction.
    In other words, the motion vectors of the current picture have to be stored when at least one of the following is true:
     -    sps_temporal_mvp_enabled_flag in the active SPS for the current picture is equal to 1 and NoIntraLayerColPicFlag[ layerId ]
          is equal 0.
     -    NoIntraLayerColPicFlag[ layerId ] is equal to 1 and there is a nuh_layer_id value nuhLayerIdA such that
          VpsInterLayerMotionPredictionEnabled[ LayerIdxInVps[ nuhLayerIdA ] ][ LayerIdxInVps[ layerId ] ] is equal to 1.
    NOTE 3 – The motion vectors of a picture with nuh_layer_id equal to layerId need no longer be stored when the picture is marked
    as "unused for reference", or the picture is not used for temporal motion vector prediction of other pictures in the same layer and all
    pictures in the same access unit that may use the picture as a reference for inter-layer motion prediction have been decoded, or the
    access unit containing the picture precedes the current access unit in decoding order, where this SEI message is present with
    associatedLayerIdList including the nuh_layer_id of the picture and prev_pics_not_used_flag equal to 1.

F.14.3.11 Frame-field information SEI message semantics
The frame-field information SEI message may be used to indicate how the associated picture should be displayed, the
source scan type of the associated picture, and whether the associated picture is a duplicate of a previous picture, in output
order, of the same layer.
The following semantics apply separately to each nuh_layer_id targetLayerId among the nuh_layer_id values to which the
frame-field information SEI message applies.
A frame-field information SEI message associated with nuh_layer_id equal to targetLayerId shall be present in an access
unit, when all of the following conditions are true:
–     A picture with nuh_layer_id equal to targetLayerId is present in the access unit.
–     frame_field_info_present_flag is equal to 1 in the active SPS for the layer with nuh_layer_id equal to targetLayerId.
–     targetLayerId is greater than 0 or none of the following conditions is true:
      –    A non-scalable-nested picture timing SEI message is present in the access unit.
      –    A picture timing SEI message directly contained in a scalable nesting SEI message is present in the access unit.
A frame-field information SEI message that applies to a particular set of layers shall not be present when one or more of
the following conditions are true:


554         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 576 of 717 Page ID
                                                              #:1105

–    The value of field_seq_flag is not the same for all active SPSs for the particular set of layers.
–    The values of general_progressive_source_flag and general_interlaced_source_flag are not identical, respectively, for
     all the profile_tier_level( ) syntax structures that apply to the layers to which the frame-field information SEI message
     applies.
The semantics of ffinfo_pic_struct, ffinfo_source_scan_type and ffinfo_duplicate_flag apply layer-wise to each value of
targetLayerId.
ffinfo_pic_struct has the same semantics as the pic_struct syntax element in the picture timing SEI message.
ffinfo_source_scan_type has the same semantics as the source_scan_type syntax element in the picture timing SEI
message.
ffinfo_duplicate_flag has the same semantics as the duplicate_flag syntax element in the picture timing SEI message.

F.15      Video usability information
F.15.1 General
The specifications in clause E.1 apply.

F.15.2 VUI syntax
The specifications in clause E.2 and its subclauses apply.

F.15.3 VUI semantics

F.15.3.1 VUI parameters semantics
The specifications in clause E.3.1 apply by replacing the semantics of field_seg_flag, frame_field_info_present_flag and
vui_timing_info_present_flag with those below and with the following additions:
–      It is a requirement of bitstream conformance that, when nuh_layer_id layerId is greater than 0 and
       NumDirectRefLayers[ layerId ] is greater than 0, video_signal_type_present_flag present in or inferred for the active
       SPS for nuh_layer_id equal to layerId shall be equal to 0.
–      When the current picture has nuh_layer_id layerIdCurr greater than 0, either NumDirectRefLayers[ layerIdCurr ] is
       greater than 0 or MultiLayerExtSpsFlag derived from the active SPS for the nuh_layer_id equal to layerIdCurr is
       equal to 1 and the active SPS for nuh_layer_id equal to layerIdCurr contains the VUI parameters syntax structure,
       the following applies:
     –     The values of video_format, video_full_range_flag, colour_primaries, transfer_characteristics and matrix_coeffs
           are inferred to be equal to video_vps_format, video_full_range_vps_flag, colour_primaries_vps,
           transfer_characteristics_vps and matrix_coeffs_vps, respectively, of the vps_video_signal_info_idx[ j ]-th
           video_signal_info( ) syntax structure in the active VPS where j is equal to LayerIdxInVps[ layerIdCurr ].
     –     The values of video_format, video_full_range_flag, colour_primaries, transfer_characteristics and matrix_coeffs
           signalled in the active SPS for the layer with nuh_layer_id equal to layerIdCurr are ignored.
     NOTE 1 – The values are inferred from the VPS when a non-base layer refers to an SPS that is also referred to by the base layer,
     in which case the SPS has nuh_layer_id equal to 0. For the base layer, the values of these parameters in the active SPS for the base
     layer apply.

field_seq_flag equal to 1 indicates that the layers for which the SPS is an active SPS within the CVS convey pictures that
represent fields and specifies the following:
–      When the SPS is an active SPS for nuh_layer_id equal to 0, a picture timing SEI message that is not scalable-nested
       or that is directly contained in a scalable nesting SEI message and applies to nuh_layer_id equal to 0 shall be present
       in every such access unit of the current CVS that contains a coded picture with nuh_layer_id equal to 0.
–      When the SPS is an active SPS for the nuh_layer_id value nuhLayerId greater than 0, a frame-field information SEI
       message shall be present for nuh_layer_id equal to nuhLayerId in every access unit containing a picture for the current
       CLVS of the layer with nuh_layer_id equal to nuhLayerId.
field_seq_flag equal to 0 indicates that the layers for which the SPS is an active SPS within the CVS convey pictures that
represent frames and that a picture timing SEI message or a frame-field information SEI message may or may not be present
for the pictures within the CVS belonging to any layer for which the SPS is an active SPS. When field_seq_flag is not present,
it is inferred to be equal to 0. When general_frame_only_constraint_flag is present in the SPS and is equal to 1, the value of
field_seq_flag shall be equal to 0. When general_frame_only_constraint_flag is present in the active VPS, applies for a layer
for which the SPS is an active SPS and is equal to 1, the value of field_seq_flag shall be equal to 0.


                                                                                      Rec. ITU-T H.265 v8 (08/2021)                555
      Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 577 of 717 Page ID
                                                               #:1106

    NOTE 2 – The specified decoding process does not treat access units conveying pictures that represent fields or frames differently.
    A sequence of pictures that represent fields would therefore be coded with the picture dimensions of an individual field. For example,
    access units containing pictures that represent 1080i fields would commonly have cropped output dimensions of 1920x540, while
    the sequence picture rate would commonly express the rate of the source fields (typically between 50 and 60 Hz), instead of the
    source frame rate (typically between 25 and 30 Hz).

frame_field_info_present_flag equal to 1 specifies that picture timing SEI messages or frame-field information SEI
messages are present for every picture for which this SPS is the active SPS and the picture timing SEI messages, when
present, include the pic_struct, source_scan_type, and duplicate_flag syntax elements. frame_field_info_present_flag
equal to 0 specifies that the pic_struct syntax element is not present in picture timing SEI messages associated with pictures
for which the SPS is the active SPS.
When frame_field_info_present_flag is present and either or both of the following conditions are true,
frame_field_info_present_flag shall be equal to 1:
–     field_seq_flag is equal to 1.
–     general_progressive_source_flag     and     general_interlaced_source_flag    are     present                  in    this     SPS,
      general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 1.
When frame_field_info_present_flag is not present, its value is inferred as follows:
–     If general_progressive_source_flag and general_interlaced_source_flag are present in this SPS,
      general_progressive_source_flag is equal to 1 and general_interlaced_source_flag is equal to 1,
      frame_field_info_present_flag is inferred to be equal to 1.
–     Otherwise, frame_field_info_present_flag is inferred to be equal to 0.
vui_timing_info_present_flag       equal     to   1  specifies  that    vui_num_units_in_tick,     vui_time_scale,
vui_poc_proportional_to_timing_flag and vui_hrd_parameters_present_flag are present in the vui_parameters( ) syntax
structure. vui_timing_info_present_flag equal to 0 specifies that vui_num_units_in_tick, vui_time_scale,
vui_poc_proportional_to_timing_flag and vui_hrd_parameters_present_flag are not present in the vui_parameters( )
syntax structure. It is a requirement of bitstream conformance that, when MultiLayerExtSpsFlag is equal to 1,
vui_timing_info_present_flag shall be equal to 0.

F.15.3.2 HRD parameters semantics
The specifications in clause E.3.2 apply with the replacement of each instance of "access unit level" and "sub-picture level"
with "partition unit level" and "sub-partition level", respectively, and with the following additions:
initial_cpb_removal_delay_length_minus1 plus 1 within the j-th hrd_parameters( ) syntax structure in the VPS specifies
the length, in bits, of the nal_initial_arrival_delay[ k ] and vcl_initial_arrival_delay[ k ] syntax elements of the bitstream
partition initial arrival time SEI message that is contained in a bitstream partition nesting SEI message within a scalable
nesting SEI message with values of MaxTemporalId[ 0 ], sei_ols_idx, sei_partitioning_scheme_idx and bsp_idx such that
bsp_hrd_idx[ sei_ols_idx ][ sei_partitioning_scheme_idx ][ MaxTemporalId[ 0 ] ][ k ][ bsp_idx ] is equal to j. When the
initial_cpb_removal_delay_length_minus1 syntax element is not present, it is inferred to be equal to 23.
It is a requirement of bitstream conformance that the value of sub_pic_hrd_params_present_flag shall be the same for all
hrd_parameters( ) syntax structures that apply to at least one bitstream partition of a particular output layer set.

F.15.3.3 Sub-layer HRD parameters semantics
The specifications in clause E.3.3 apply.




556         Rec. ITU-T H.265 v8 (08/2021)
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 578 of 717 Page ID
                                                            #:1107

                                                          Annex G

                                          Multiview high efficiency video coding
                    (This annex forms an integral part of this Recommendation | International Standard.)

G.1        Scope
This annex specifies syntax, semantics and decoding processes for multiview high efficiency video coding that use the
syntax, semantics and decoding processes specified in clauses 2-10 and Annexes A-F. This annex also specifies profiles,
tiers and levels for multiview high efficiency video coding.

G.2        Normative references
The list of normative references in clause F.2 applies.

G.3        Definitions
The specifications in clause F.3 and its subclauses apply.

G.4        Abbreviations
The specifications in clause F.4 apply.

G.5        Conventions
The specifications in clause F.5 apply.

G.6        Bitstream and picture formats, partitionings, scanning processes, and neighbouring relationships
The specifications in clause F.6 apply.

G.7        Syntax and semantics
The specifications in clause F.7 and its subclauses apply.

G.8        Decoding processes
G.8.1      General decoding process

G.8.1.1 General
The specifications of clause F.8.1.1 apply.

G.8.1.2 Decoding process for a coded picture with nuh_layer_id greater than 0
The decoding process for the current picture CurrPic is as follows:
      1.   The decoding of NAL units is specified in clause G.8.2.
      2.   The processes in clauses G.8.1.3 and F.8.3.4 specify the following decoding processes using syntax elements in
           the slice segment layer and above:
           –     Prior to decoding the first slice of the current picture, clause G.8.1.3 is invoked.
           –     At the beginning of the decoding process for each P or B slice, the decoding process for reference picture
                 lists construction specified in clause F.8.3.4 is invoked for derivation of reference picture list 0
                 (RefPicList0), and when decoding a B slice, reference picture list 1 (RefPicList1).
      3.   The processes in clauses G.8.4, G.8.5, G.8.6 and G.8.7 specify decoding processes using syntax elements in all
           syntax structure layers. It is a requirement of bitstream conformance that the coded slices of the picture shall
           contain slice segment data for every CTU of the picture, such that the division of the picture into slices, the
           division of the slices into slice segments and the division of the slice segments into CTUs each form a partitioning
           of the picture.




                                                                                  Rec. ITU-T H.265 v8 (08/2021)          557
      Case 2:25-cv-03053            Document 1-7           Filed 04/07/25         Page 579 of 717 Page ID
                                                         #:1108

G.8.1.3 Decoding process for inter-layer reference picture set
Outputs of this process are updated lists of inter-layer reference pictures RefPicSetInterLayer0 and RefPicSetInterLayer1
and the variables NumActiveRefLayerPics0 and NumActiveRefLayerPics1.
The variable currLayerId is set equal to nuh_layer_id of the current picture.
The lists RefPicSetInterLayer0 and RefPicSetInterLayer1 are first emptied, NumActiveRefLayerPics0 and
NumActiveRefLayerPics1 are set equal to 0 and the following applies:

   for( i = 0; i < NumActiveRefLayerPics; i++ ) {
      refPicSet0Flag =
          ( ( ViewId[ currLayerId ] <= ViewId[ 0 ] && ViewId[ currLayerId ] <=
   ViewId[ RefPicLayerId[ i ] ] ) | |
          ( ViewId[ currLayerId ] >= ViewId[ 0 ] && ViewId[ currLayerId ] >=
   ViewId[ RefPicLayerId[ i ] ] ) )
      if( there is a picture picX in the DPB that is in the same access unit as the current picture and has
                 nuh_layer_id equal to RefPicLayerId[ i ] ) {
          if( refPicSet0Flag ) {
              RefPicSetInterLayer0[ NumActiveRefLayerPics0 ] = picX
              RefPicSetInterLayer0[ NumActiveRefLayerPics0++ ] is marked as "used for long-term
   reference"
          } else {
              RefPicSetInterLayer1[ NumActiveRefLayerPics1 ] = picX
              RefPicSetInterLayer1[ NumActiveRefLayerPics1++ ] is marked as "used for long-term
   reference"
          }
      } else {
          if( refPicSet0Flag )
              RefPicSetInterLayer0[ NumActiveRefLayerPics0++ ] = "no reference picture"                     (G-1)
          else
              RefPicSetInterLayer1[ NumActiveRefLayerPics1++ ] = "no reference picture"
      }
   }

There shall be no entry equal to "no reference picture" in RefPicSetInterLayer0 or RefPicSetInterLayer1.
There shall be no picture that has discardable_flag equal to 1 in RefPicSetInterLayer0 or RefPicSetInterLayer1.
If the current picture is a RADL picture, there shall be no entry in RefPicSetInterLayer0 or RefPicSetInterLayer1 that is a
RASL picture.
      NOTE – An access unit may contain both RASL and RADL pictures.

G.8.2    NAL unit decoding process
The specifications in clause F.8.2 apply.

G.8.3    Slice decoding processes
The specifications in clause F.8.3 and its subclauses apply.

G.8.4    Decoding process for coding units coded in intra prediction mode
The specifications in clause F.8.4 apply.

G.8.5    Decoding process for coding units coded in inter prediction mode
The specifications in clause F.8.5 apply.

G.8.6    Scaling, transformation and array construction process prior to deblocking filter process
The specifications in clause F.8.6 apply.

G.8.7    In-loop filter process
The specifications in clause F.8.7 apply.


558         Rec. ITU-T H.265 v8 (08/2021)
      Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 580 of 717 Page ID
                                                          #:1109

G.9       Parsing process
The specifications in clause F.9 apply.

G.10      Specification of bitstream subsets
The specifications in clause F.10 and its subclauses apply.

G.11      Profiles, tiers and levels
G.11.1 Profiles

G.11.1.1 Multiview Main profile
For a layer in an output operation point associated with an OLS in a bitstream, the layer being conforming to the Multiview
Main profile, the following applies:
–      Let olsIdx be the OLS index of the OLS, the sub-bitstream subBitstream and the base layer sub-bitstream
       baseBitstream are derived as specified in clause F.11.3.
When vps_base_layer_internal_flag is equal to 1, the base layer sub-bitstream baseBitstream shall obey the following
constraints:
–     The base layer sub-bitstream baseBitstream shall be indicated to conform to the Main profile.
The sub-bitstream subBitstream shall obey the following constraints:
–     All active VPSs shall have vps_num_rep_formats_minus1 in the range of 0 to 15, inclusive.
–     All active SPSs for layers in subBitstream shall have chroma_format_idc equal to 1 only.
–     All active SPSs for layers in subBitstream shall have transform_skip_rotation_enabled_flag,
      transform_skip_context_enabled_flag,           implicit_rdpcm_enabled_flag,        explicit_rdpcm_enabled_flag,
      extended_precision_processing_flag,      intra_smoothing_disabled_flag,     high_precision_offsets_enabled_flag,
      persistent_rice_adaptation_enabled_flag and cabac_bypass_alignment_enabled_flag, when present, equal to 0 only.
–     CtbLog2SizeY derived from all active SPSs for layers in subBitstream shall be in the range of 4 to 6, inclusive.
–     All active PPSs for layers in subBitstream shall have log2_max_transform_skip_block_size_minus2 and
      chroma_qp_offset_list_enabled_flag, when present, equal to 0 only.
–     ScalabilityId[ j ][ smIdx ] derived according to any active VPS shall be equal to 0 for any smIdx value not equal to 1
      or 3 and for any value of j such that layer_id_in_nuh[ j ] is among layerIdListTarget that was used to derive
      subBitstream.
–     When NumLayersInIdList[ OlsIdxToLsIdx[ olsIdx ] ] is equal to 2, output_layer_flag[ olsIdx ][ j ] derived according
      to any active VPS shall be equal to 1 for j in the range of 0 to 1, inclusive, for subBitstream.
–     All active VPSs shall have alt_output_layer_flag[ olsIdx ] equal to 0 only.
–     When ViewOrderIdx[ i ] derived according to any active VPS is equal to 1 for the layer with nuh_layer_id equal to i
      in subBitstream, inter_view_mv_vert_constraint_flag shall be equal to 1 in the sps_multilayer_extension( ) syntax
      structure in each active SPS for that layer.
–     When ViewOrderIdx[ i ] derived according to any active VPS is greater than to 0 for the layer with nuh_layer_id equal
      to i in subBitstream, num_ref_loc_offsets shall be equal to 0 in each active PPS for that layer.
–     When ViewOrderIdx[ i ] derived according to any active VPS is greater than 0 for the layer with nuh_layer_id equal
      to i in subBitstream, the values of pic_width_in_luma_samples and pic_height_in_luma_samples in each active SPS
      for that layer shall be equal to the values of pic_width_in_luma_samples and pic_height_in_luma_samples,
      respectively, in each active SPS for all reference layers of that layer.
–     For a layer with nuh_layer_id iNuhLId equal to any value included in layerIdListTarget that was used to derive
      subBitstream, the value of NumRefLayers[ iNuhLId ], which specifies the total number of direct and indirect reference
      layers and is derived as specified in F.7.4.3.1, shall be less than or equal to 4.
–     All active SPSs for layers in subBitstream shall have sps_range_extension_flag and sps_scc_extension_flag equal to 0
      only.
–     All active PPSs for layers in subBitstream shall have pps_range_extension_flag and pps_scc_extension_flag equal
      to 0 only.


                                                                               Rec. ITU-T H.265 v8 (08/2021)             559
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 581 of 717 Page ID
                                                            #:1110

–     All active SPSs for layers in subBitstream shall have bit_depth_luma_minus8 equal to 0 only.
–     All active SPSs for layers in subBitstream shall have bit_depth_chroma_minus8 equal to 0 only.
–     All active PPSs for layers in subBitstream shall have colour_mapping_enabled_flag equal to 0 only.
–     When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1, it shall have
      entropy_coding_sync_enabled_flag equal to 0.
–     When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1,
      ColumnWidthInLumaSamples[ i ] shall be greater than or equal to 256 for all values of i in the range of 0 to
      num_tile_columns_minus1, inclusive and RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all
      values of j in the range of 0 to num_tile_rows_minus1, inclusive.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for any layer in subBitstream shall not
      be equal to 255 (which indicates level 8.5).
–     The tier and level constraints specified for the Multiview Main profile in clause G.11.2 shall be fulfilled.
–     For any active VPS, ViewOrderIdx[ i ] shall be greater than ViewOrderIdx[ j ] for any values of i and j among
      layerIdListTarget that was used to derive subBitstream such that AuxId[ i ] is equal to AuxId[ j ] and i is greater than j.
In the remainder of this clause and clause G.11.2.1, all syntax elements in the profile_tier_level( ) syntax structure refer to
those in the profile_tier_level( ) syntax structure associated with the layer.
Conformance of a layer in an output operation point associated with an OLS in a bitstream to the Multiview Main profile
is indicated as follows:
–     If OpTid of the output operation point is equal to vps_max_sub_layer_minus1, the conformance is indicated by
      general_profile_idc being equal to 6 or general_profile_compatibility_flag[ 6 ] being equal to 1 and
      general_max_12bit_constraint_flag being equal to 1, general_max_10bit_constraint_flag being equal to 1,
      general_max_8bit_constraint_flag being equal to 1, general_max_422chroma_constraint_flag being equal to 1,
      general_max_420chroma_constraint_flag being equal to 1, general_max_monochrome_constraint_flag being equal to
      0, general_intra_constraint_flag being equal to 0 and general_one_picture_only_constraint_flag being equal to 0 and
      general_lower_bit_rate_constraint_flag being equal to 1.
–     Otherwise (OpTid of the output operation point is less than vps_max_sub_layer_minus1), the conformance is indicated
      by sub_layer_profile_idc[ OpTid ] being equal to 6 or sub_layer_profile_compatibility_flag[ OpTid ][ 6 ] being equal
      to      1       and        sub_layer_max_12bit_constraint_flag[ OpTid ]         being        equal        to      1,
      sub_layer_max_10bit_constraint_flag[ OpTid ] being equal to 1, sub_layer_max_8bit_constraint_flag[ OpTid ] being
      equal     to      1,      sub_layer_max_422chroma_constraint_flag[ OpTid ]          being      equal       to     1,
      sub_layer_max_420chroma_constraint_flag[ OpTid ]                  being           equal            to             1,
      sub_layer_max_monochrome_constraint_flag[ OpTid ] being equal to 0, sub_layer_intra_constraint_flag[ OpTid ]
      being equal to 0 and sub_layer_one_picture_only_constraint_flag[ OpTid ] being equal to 0 and
      sub_layer_lower_bit_rate_constraint_flag[ OpTid ] being equal to 1.

G.11.2 Tiers and levels

G.11.2.1 General tier and level limits
For purposes of comparison of tier capabilities, the tier with general_tier_flag or sub_layer_tier_flag[ i ] equal to 0 is
considered to be a lower tier than the tier with general_tier_flag or sub_layer_tier_flag[ i ] equal to 1.
For purposes of comparison of level capabilities, a particular level of a specific tier is considered to be a lower level than
some other level of the same tier when the value of the general_level_idc or sub_layer_level_idc[ i ] of the particular level
is less than that of the other level.
The following is specified for expressing the constraints in this clause and clause G.11.2.2:
–     The value of each of the variables CpbVclFactor, CpbNalFactor, FormatCapabilityFactor and MinCrScaleFactor is
      the same as that specified in Table A.10 for the Main profile.
–      Let access unit n be the n-th access unit in decoding order, with the first access unit being access unit 0 (i.e., the 0-th
       access unit).
–      Let the variable fR be set equal to 1  300.
–      Let the variable olsIdx be the index of the OLS.



560          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 582 of 717 Page ID
                                                           #:1111

–    For each layer with nuh_layer_id equal to currLayerId, let the variable layerSizeInSamplesY be derived as follows:

          layerSizeInSamplesY = pic_width_vps_in_luma_samples * pic_height_vps_in_luma_samples                          (G-2)

    where pic_width_vps_in_luma_samples and pic_height_vps_in_luma_samples are found                               in     the
    vps_rep_format_idx[ LayerIdxInVps[ currLayerId ] ]-th rep_format( ) syntax structure in the VPS.
Each layer with nuh_layer_id equal to currLayerId conforming to a profile at a specified tier and level shall obey the
following constraints for each bitstream conformance test as specified in clause F.13, where "access unit" is used to denote
the picture unit in the layer and the CPB is understood to be the BPB:
     a)    The value of layerSizeInSamplesY shall be less than or equal to MaxLumaPs, where MaxLumaPs is specified in
           Table A.8 for the tier and level of the layer.
     b) The value of pic_width_vps_in_luma_samples of the vps_rep_format_idx[ LayerIdxInVps[ currLayerId ] ]-th
        rep_format( ) syntax structure in the VPS shall be less than or equal to Sqrt( MaxLumaPs * 8 ).
     c)    The value of pic_height_vps_in_luma_samples of the vps_rep_format_idx[ LayerIdxInVps[ currLayerId ] ]-th
           rep_format( ) syntax structure in the VPS shall be less than or equal to Sqrt( MaxLumaPs * 8 ).
     d) The value of max_vps_dec_pic_buffering_minus1[ olsIdx ][ LayerIdxInVps[ currLayerId ] ][ HighestTid ] shall
        be less than or equal to MaxDpbSize as derived by Equation A-2, with PicSizeInSamplesY being replaced with
        layerSizeInSamplesY, for the tier and level of the layer.
     e)    For level 5 and higher levels, the value of CtbSizeY for the layer shall be equal to 32 or 64.
     f)    The value of NumPicTotalCurr for each picture in the layer shall be less than or equal to 8.
     g) When decoding each coded picture in the layer, the value of num_tile_columns_minus1 shall be less than
        MaxTileCols and num_tile_rows_minus1 shall be less than MaxTileRows, where MaxTileCols and
        MaxTileRows are specified in Table A.8 for the tier and level of the layer.
     h) For the VCL HRD parameters of the layer, CpbSize[ i ] shall be less than or equal to CpbVclFactor * MaxCPB
        for       at      least        one       of      the       delivery        schedules         identified     by
        bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ][ combIdx ][ LayerIdxInVps[ currLayerId ] ] for combIdx ranging
        from 0 to num_bsp_schedules_minus1[ olsIdx ][ 0 ][ HighestTid ], inclusive, where CpbSize[ i ] is specified in
        clause F.13.1 and MaxCPB is specified in Table A.8 for the tier and level of the layer in units of CpbVclFactor
        bits.
     i)    For the NAL HRD parameters of the layer, CpbSize[ i ] shall be less than or equal to CpbNalFactor * MaxCPB
           for       at      least        one       of      the       delivery        schedules         identified     by
           bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ][ combIdx ][ LayerIdxInVps[ currLayerId ] ] for combIdx ranging
           from 0 to num_bsp_schedules_minus1[ olsIdx ][ 0 ][ HighestTid ], inclusive, where CpbSize[ i ] is specified in
           clause F.13.1 and MaxCPB is specified in Table A.8 for the tier and level of the layer in units of CpbNalFactor
           bits.
Table A.8 specifies the limits for each level of each tier for levels other than level 8.5.
A tier and level to which a layer in an output operation point associated with an OLS in a bitstream conforms are indicated
by the syntax elements general_tier_flag and general_level_idc if OpTid of the output layer set is equal to
vps_max_sub_layer_minus1, and by the syntax elements sub_layer_tier_flag[ OpTid ] and sub_layer_level_idc[ OpTid ]
otherwise, as follows:
–    If the specified level is not level 8.5, general_tier_flag or sub_layer_tier_flag[ OpTid ] equal to 0 indicates
     conformance to the Main tier, and general_tier_flag or sub_layer_tier_flag[ OpTid ] equal to 1 indicates conformance
     to the High tier, according to the tier constraints specified in Table A.8, and general_tier_flag and
     sub_layer_tier_flag[ OpTid ] shall be equal to 0 for levels below level 4 (corresponding to the entries in Table A.8
     marked with "-"). Otherwise (the specified level is level 8.5), it is a requirement of bitstream conformance that
     general_tier_flag and sub_layer_tier_flag[ OpTid ] shall be equal to 1 and the value 0 for general_tier_flag and
     sub_layer_tier_flag[ OpTid ] is reserved for future use by ITU-T | ISO/IEC and decoders shall ignore the value of
     general_tier_flag and sub_layer_tier_flag[ OpTid ].
–    general_level_idc and sub_layer_level_idc[ OpTid ] shall be set equal to a value of 30 times the level number
     specified in Table A.8.

G.11.2.2 Profile-specific tier and level limits for the Multiview Main profile
The following is specified for expressing the constraints in this clause:
–    The variable HbrFactor is set equal to 1.



                                                                                 Rec. ITU-T H.265 v8 (08/2021)           561
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 583 of 717 Page ID
                                                           #:1112

–     The variable BrVclFactor is set equal to CpbVclFactor * HbrFactor.
–     The variable BrNalFactor is set equal to CpbNalFactor * HbrFactor.
–     The variable MinCr is set equal to MinCrBase * MinCrScaleFactor ÷ HbrFactor, where MinCrBase is specified in
      Table A.9.
Each layer conforming to the Multiview Main profile at a specified tier and level shall obey the following constraints for
each conformance test as specified in clause F.13, where "access unit" is used to denote the picture unit in the layer, and
the CPB is understood to be the BPB:
      a)   The nominal removal time of access unit n (with n greater than 0) from the CPB, as specified in clause F.13.2.3,
           shall satisfy the constraint that AuNominalRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] is greater than or
           equal to Max( layerSizeInSamplesY  MaxLumaSr, fR ), where layerSizeInSamplesY is the value of
           layerSizeInSamplesY for access unit n − 1 and MaxLumaSr is the value specified in Table A.9 that applies to
           access unit n − 1 for the tier and level of the layer.
      b) The difference between consecutive output times of pictures in different access units, as specified in
         clause F.13.3.3, shall satisfy the constraint that DpbOutputInterval[ n ] is greater than or equal to
         Max( layerSizeInSamplesY  MaxLumaSr, fR ),            where      layerSizeInSamplesY         is    the    value    of
         layerSizeInSamplesY of access unit n and MaxLumaSr is the value specified in Table A.9 for access unit n for
         the tier and level of the layer, provided that access unit n is an access unit that has a picture that is output and is
         not the last of such access units.
      c)   The removal time of access unit 0 shall satisfy the constraint that the number of coded slice segments in access
           unit 0 is less than or equal to Min( Max( 1, MaxSliceSegmentsPerPicture * MaxLumaSr / MaxLumaPs *
           ( AuCpbRemovalTime[ 0 ] − AuNominalRemovalTime[ 0 ] )                 +    MaxSliceSegmentsPerPicture          *
           layerSizeInSamplesY / MaxLumaPs ), MaxSliceSegmentsPerPicture ), for the value of layerSizeInSamplesY of
           access unit 0, where MaxSliceSegmentsPerPicture, MaxLumaPs and MaxLumaSr are the values specified in
           Table A.8 and Table A.9 for the tier and level of the layer.
      d) The difference between consecutive CPB removal times of access units n and n − 1 (with n greater than 0) shall
         satisfy the constraint that the number of slice segments in access unit n is less than or equal to
         Min( ( Max( 1, MaxSliceSegmentsPerPicture * MaxLumaSr / MaxLumaPs * ( AuCpbRemovalTime[ n ] −
         AuCpbRemovalTime[ n − 1 ] ) ), MaxSliceSegmentsPerPicture ), where MaxSliceSegmentsPerPicture,
         MaxLumaPs and MaxLumaSr are the values specified in Table A.8 and Table A.9 that apply to access unit n for
         the tier and level of the layer.
      e)   For the VCL HRD parameters for the layer, BitRate[ i ] shall be less than or equal to BrVclFactor * MaxBR for
           at        least       one         of          the       delivery         schedules         identified       by
           bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ][ combIdx ][ LayerIdxInVps[ currLayerId ] ] for combIdx ranging
           from 0 to num_bsp_schedules_minus1[ olsIdx ][ 0 ][ HighestTid ], inclusive, where BitRate[ i ] is specified in
           clause F.13.1 and MaxBR is specified in Table A.9 in units of BrVclFactor bits/s for the tier and level of the
           layer.
      f)   For the NAL HRD parameters for the layer, BitRate[ i ] shall be less than or equal to BrNalFactor * MaxBR for
           at        least       one         of          the       delivery         schedules         identified       by
           bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ][ combIdx ][ LayerIdxInVps[ currLayerId ] ] for combIdx ranging
           from 0 to num_bsp_schedules_minus1[ olsIdx ][ 0 ][ HighestTid ], inclusive, where BitRate[ i ] is specified in
           clause F.13.1 and MaxBR is specified in Table A.9 in units of BrNalFactor bits/s for the tier and level of the
           layer.
      g) The sum of the NumBytesInNalUnit variables for access unit 0 shall be less than or equal to
         FormatCapabilityFactor        *    ( Max( layerSizeInSamplesY, fR * MaxLumaSr )     +   MaxLumaSr        *
         ( AuCpbRemovalTime[ 0 ] − AuNominalRemovalTime[ 0 ] ) ) ÷ MinCr for the value of layerSizeInSamplesY
         of access unit 0, where MaxLumaSr is specified in Table A.9, and both MaxLumaSr and FormatCapabilityFactor
         are the values that apply to access unit 0 for the tier and level of the layer.
      h) The sum of the NumBytesInNalUnit variables for access unit n (with n greater than 0) shall be less than or equal
         to FormatCapabilityFactor * MaxLumaSr * ( AuCpbRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] ) ÷
         MinCr, where MaxLumaSr is specified in Table A.9, and both MaxLumaSr and FormatCapabilityFactor are the
         values that apply to access unit n for the tier and level of the layer.
      i)   The removal time of access unit 0 shall satisfy the constraint that the number of tiles in coded pictures in access
           unit 0 is less than or equal to Min( Max( 1, MaxTileCols * MaxTileRows * 120 * ( AuCpbRemovalTime[ 0 ] −
           AuNominalRemovalTime[ 0 ] ) + MaxTileCols * MaxTileRows * PicSizeInSamplesY / MaxLumaPs ),
           MaxTileCols * MaxTileRows ), for the value of layerSizeInSamplesY of access unit 0, where MaxTileCols and
           MaxTileRows are the values specified in Table A.8 that apply to access unit 0 for the tier and level of the layer.



562         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 584 of 717 Page ID
                                                            #:1113

     j)   The difference between consecutive CPB removal times of access units n and n − 1 (with n greater than 0) shall
          satisfy the constraint that the number of tiles in coded pictures in access unit n is less than or equal to Min( Max( 1,
          MaxTileCols * MaxTileRows * 120 * ( AuCpbRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] ) ),
          MaxTileCols * MaxTileRows ), where MaxTileCols and MaxTileRows are the values specified in Table A.8 that
          apply to access unit n for the tier and level of the layer.

G.11.3 Decoder capabilities
When a decoder conforms to any profile specified in Annex G, it shall also have the INBLD capability specified in clause
F.11.1.
Clause F.11.2 specifies requirements for a decoder conforming to any profile specified in Annex G.

G.12      Byte stream format
The specifications in clause F.12 apply.

G.13      Hypothetical reference decoder
The specifications in clause F.13 and its subclauses apply.

G.14      Supplemental enhancement information
G.14.1 General
The specifications in clause F.14.1 apply.

G.14.2 SEI payload syntax

G.14.2.1 General SEI payload syntax
The specifications in clause F.14.2.1 apply.

G.14.2.2 Annex D and Annex F SEI message syntax for multiview high efficiency video coding
The specifications in clauses F.14.2.2 through F.14.2.11 apply.




                                                                                  Rec. ITU-T H.265 v8 (08/2021)             563
      Case 2:25-cv-03053          Document 1-7          Filed 04/07/25   Page 585 of 717 Page ID
                                                      #:1114

G.14.2.3 3D reference displays information SEI message syntax


      three_dimensional_reference_displays_info( payloadSize ) {                       Descriptor
         prec_ref_display_width                                                          ue(v)
         ref_viewing_distance_flag                                                        u(1)
         if( ref_viewing_distance_flag )
             prec_ref_viewing_dist                                                       ue(v)
         num_ref_displays_minus1                                                         ue(v)
         for( i = 0; i <= num_ref_displays_minus1; i++ ) {
             left_view_id[ i ]                                                           ue(v)
             right_view_id[ i ]                                                          ue(v)
             exponent_ref_display_width[ i ]                                             u(6)
             mantissa_ref_display_width[ i ]                                             u(v)
             if( ref_viewing_distance_flag ) {
                 exponent_ref_viewing_distance[ i ]                                       u(6)
                 mantissa_ref_viewing_distance[ i ]                                       u(v)
             }
             additional_shift_present_flag[ i ]                                           u(1)
             if( additional_shift_present_flag[ i ] )
                 num_sample_shift_plus512[ i ]                                           u(10)
         }
         three_dimensional_reference_displays_extension_flag                              u(1)
      }




564        Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053           Document 1-7       Filed 04/07/25         Page 586 of 717 Page ID
                                                  #:1115

G.14.2.4 Depth representation information SEI message syntax

G.14.2.4.1   General


     depth_representation_info( payloadSize ) {                                              Descriptor
       z_near_flag                                                                              u(1)
       z_far_flag                                                                               u(1)
       d_min_flag                                                                               u(1)
       d_max_flag                                                                               u(1)
       depth_representation_type                                                               ue(v)
       if( d_min_flag | | d_max_flag )
           disparity_ref_view_id                                                                ue(v)
       if( z_near_flag )
           depth_rep_info_element( ZNearSign, ZNearExp, ZNearMantissa, ZNearManLen )
       if( z_far_flag )
           depth_rep_info_element( ZFarSign, ZFarExp, ZFarMantissa, ZFarManLen )
       if( d_min_flag )
           depth_rep_info_element( DMinSign, DMinExp, DMinMantissa, DMinManLen )
       if( d_max_flag )
           depth_rep_info_element( DMaxSign, DMaxExp, DMaxMantissa, DMaxManLen )
       if( depth_representation_type = = 3 ) {
           depth_nonlinear_representation_num_minus1                                            ue(v)
           for( i = 1; i <= depth_nonlinear_representation_num_minus1 + 1; i++ )
              depth_nonlinear_representation_model[ i ]                                         ue(v)
       }
     }



G.14.2.4.2   Depth representation information element syntax


     depth_rep_info_element( OutSign, OutExp, OutMantissa, OutManLen ) {                     Descriptor
       da_sign_flag                                                                             u(1)
       da_exponent                                                                              u(7)
       da_mantissa_len_minus1                                                                   u(5)
       da_mantissa                                                                              u(v)
     }



G.14.2.5 Multiview scene information SEI message syntax


     multiview_scene_info( payloadSize ) {                                                   Descriptor
       min_disparity                                                                           se(v)
       max_disparity_range                                                                     ue(v)
     }




                                                                     Rec. ITU-T H.265 v8 (08/2021)        565
      Case 2:25-cv-03053           Document 1-7          Filed 04/07/25         Page 587 of 717 Page ID
                                                       #:1116

G.14.2.6 Multiview acquisition information SEI message syntax


      multiview_acquisition_info( payloadSize ) {                                             Descriptor
        intrinsic_param_flag                                                                     u(1)
        extrinsic_param_flag                                                                     u(1)
        if( intrinsic_param_flag ) {
            intrinsic_params_equal_flag                                                         u(1)
            prec_focal_length                                                                   ue(v)
            prec_principal_point                                                                ue(v)
            prec_skew_factor                                                                    ue(v)
            for( i = 0; i <= intrinsic_params_equal_flag ? 0 : numViewsMinus1; i++ ) {
               sign_focal_length_x[ i ]                                                          u(1)
               exponent_focal_length_x[ i ]                                                      u(6)
               mantissa_focal_length_x[ i ]                                                      u(v)
               sign_focal_length_y[ i ]                                                          u(1)
               exponent_focal_length_y[ i ]                                                      u(6)
               mantissa_focal_length_y[ i ]                                                      u(v)
               sign_principal_point_x[ i ]                                                       u(1)
               exponent_principal_point_x[ i ]                                                   u(6)
               mantissa_principal_point_x[ i ]                                                   u(v)
               sign_principal_point_y[ i ]                                                       u(1)
               exponent_principal_point_y[ i ]                                                   u(6)
               mantissa_principal_point_y[ i ]                                                   u(v)
               sign_skew_factor[ i ]                                                             u(1)
               exponent_skew_factor[ i ]                                                         u(6)
               mantissa_skew_factor[ i ]                                                         u(v)
            }
        }
        if( extrinsic_param_flag ) {
            prec_rotation_param                                                                 ue(v)
            prec_translation_param                                                              ue(v)
            for( i = 0; i <= numViewsMinus1; i++ )
               for( j = 0; j < 3; j++ ) { /* row */
                   for( k = 0; k < 3; k++ ) { /* column */
                      sign_r[ i ][ j ][ k ]                                                      u(1)
                      exponent_r[ i ][ j ][ k ]                                                  u(6)
                      mantissa_r[ i ][ j ][ k ]                                                  u(v)
                   }
                   sign_t[ i ][ j ]                                                              u(1)
                   exponent_t[ i ][ j ]                                                          u(6)
                   mantissa_t[ i ][ j ]                                                          u(v)
               }
        }
      }




566        Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 588 of 717 Page ID
                                                           #:1117

G.14.2.7 Multiview view position SEI message syntax


     multiview_view_position( payloadSize ) {                                                                  Descriptor
       num_views_minus1                                                                                          ue(v)
       for( i = 0; i <= num_views_minus1; i++ )
          view_position[ i ]                                                                                      ue(v)
     }



G.14.3 SEI payload semantics

G.14.3.1 General SEI payload semantics
The specifications in clause F.14.3.1 apply with the following modifications and additions:
The list VclAssociatedSeiList is set to consist of the payloadType values 2, 3, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56, 128,
131, 132, 134 to 152, inclusive, 154 to 159, inclusive, 161, 165, 167, 168, 177, 178, 179, 200 to 202, inclusive, and 205.
The list PicUnitRepConSeiList is set to consist of the payloadType values 0, 1, 2, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56,
128, 129, 131, 132, 133, 135 to 152, inclusive, 154 to 168, inclusive, 176 to 180, inclusive, 200 to 202, inclusive, and 205.
The semantics and persistence scope for each SEI message specified in this annex are specified in the semantics
specification for each particular SEI message in the subclauses of this clause.
   NOTE – Persistence information for SEI messages specified in this annex is informatively summarized in Table G.1.

                              Table G.1 – Persistence scope of SEI messages (informative)

                     SEI message                                              Persistence scope
      3D reference displays information             Specified by the semantics of the SEI message
      Depth representation information              Specified by the semantics of the SEI message.
      Multiview scene information                   The CVS containing the SEI message
      Multiview acquisition information             The CVS containing the SEI message
      Multiview view position SEI message           The CVS containing the SEI message



G.14.3.2 Annex D and Annex F SEI message semantics for multiview high efficiency video coding

G.14.3.2.1    General
The specifications of clause F.14.3.2 and its subclauses apply with the modifications specified in clause G.14.3.2.2.

G.14.3.2.2    Scalable nesting SEI message semantics for multiview high efficiency video coding
The specifications of clause F.14.3.2.7 apply with the following additions:
An SEI message that has payloadType equal to 176 (3D reference displays information) or 180 (multiview view position)
shall not be directly contained in a scalable nesting SEI message.
When the scalable nesting SEI message contains an SEI message that has payloadType equal to 177, 178 or 179,
bitstream_subset_flag shall be equal to 0.

G.14.3.2.3    3D reference displays information SEI message semantics
A 3D reference displays information SEI message contains information about the reference display width(s) and reference
viewing distance(s) as well as information about the corresponding reference stereo pair(s), i.e., the pair(s) of views to be
displayed for the viewer's left and right eyes on the reference display at the reference viewing distance. This information
enables a view renderer to generate a proper stereo pair for the target screen width and the viewing distance. The reference
display width and viewing distance values are signalled in units of centimetres. The reference pair of view specified in this
SEI message can be used to extract or infer parameters related to the distance between the camera centres in the reference
stereo pair, which can be used for generation of views for the target display. For multi-view displays, the reference stereo
pair corresponds to a pair of views that can be simultaneously observed by the viewer's left and right eyes.
When present, this SEI message shall be associated with an IRAP access unit or with a non-IRAP access unit, when all
access units that follow this access unit in the decoding order also follow it in output order. The 3D reference display


                                                                                 Rec. ITU-T H.265 v8 (08/2021)              567
      Case 2:25-cv-03053                 Document 1-7              Filed 04/07/25             Page 589 of 717 Page ID
                                                                 #:1118

information SEI message applies to the current access unit and all the access units which follow this access unit in both
the output and decoding order until but not including the next IRAP access unit or the next access unit containing a 3D
reference displays information SEI message.
    NOTE 1 – The 3D reference displays information SEI message specifies display parameters for which the 3D sequence was
    optimized and the corresponding reference parameters. Each reference display (i.e., a reference display width and possibly a
    corresponding viewing distance) is associated with one reference pair of views by signalling their ViewId. The difference between
    the values of ViewId is referred to as the baseline distance (i.e., the distance between the centres of the cameras used to obtain the
    video sequence).
    The following equations can be used for determining the baseline distance and horizontal shift for the receiver's display when the
    ratio between the receiver's viewing distance and the reference viewing distance is the same as the ratio between the receiver screen
    width and the reference screen width:
           baseline[ i ] = refBaseline[ i ] * ( refDisplayWidth[ i ] ÷ displayWidth )                                                  (G-3)
          shift[ i ] = refShift[ i ] * ( refDisplayWidth[ i ] ÷ displayWidth )                                                       (G-4)
    where refBaseline[ i ] is equal to right_view_id[ i ] − left_view_id[ i ] signalled in this SEI message. Other parameters related to the
    view generation may be obtained determined by using a similar equation.
           parameter[ i ] = refParameter[ i ] * ( refDisplayWidth[ i ] ÷ displayWidth )                                                (G-5)
    where refParameter[ i ] is a parameter related to view generation that corresponds to the reference pair of views signalled by
    left_view_id[ i ] and right_view_id[ i ]. In the above equations, the width of the visible part of the display used for showing the video
    sequence should be understood under "display width". The same equations can also be used for determining the pair of views and
    horizontal shift or other view synthesis parameters when the viewing distance is not scaled proportionally to the screen width
    compared to the reference display parameters. In this case, the effect of applying the above equations would be to keep the perceived
    depth in the same proportion to the viewing distance as in the reference setup.
    When the view synthesis related parameters that correspond to the reference stereo pair change from one access unit to another, they
    should be scaled with the same scaling factor as the parameters in the access unit that the SEI message is associated with. Therefore,
    the above equation should also be applied to obtain the parameters for a following access unit, where the refParameter is the
    parameter related to the reference stereo pair associated the following access unit.
    The horizontal shift for the receiver's display should also be modified by scaling it with the same factor as that used to scale the
    baseline distance (or other view synthesis parameters).

prec_ref_display_width specifies the exponent of the maximum allowable truncation error for refDisplayWidth[ i ] as
given by 2−prec_ref_display_width. The value of prec_ref_display_width shall be in the range of 0 to 31, inclusive.
ref_viewing_distance_flag equal to 1 indicates the presence of reference viewing distance. ref_viewing_distance_flag
equal to 0 indicates that the reference viewing distance is not present.
prec_ref_viewing_dist specifies the exponent of the maximum allowable truncation error for refViewingDist[ i ] as given
by 2−prec_ref_viewing_dist. The value of prec_ref_viewing_dist shall be in the range of 0 to 31, inclusive.
num_ref_displays_minus1 plus 1 specifies the number of reference displays that are signalled in this SEI message. The
value of num_ref_displays_minus1 shall be in the range of 0 to 31, inclusive.
left_view_id[ i ] indicates the ViewId of the left view of a stereo pair corresponding to the i-th reference display.
right_view_id[ i ] indicates the ViewId of the right view of a stereo-pair corresponding to the i-th reference display.
exponent_ref_display_width[ i ] specifies the exponent part of the reference display width of the i-th reference display.
The value of exponent_ref_display_width[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future
use by ITU-T | ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified reference display width.
mantissa_ref_display_width[ i ] specifies the mantissa part of the reference display width of the i-th reference display.
The variable refDispWidthBits specifying the number of bits of the mantissa_ref_display_width[ i ] syntax element is
derived as follows:
–     If   exponent_ref_display_width[ i ]            is     equal      to     0,       refDispWidthBits         is     set    equal      to
      Max( 0, prec_ref_display_width − 30 ).
–     Otherwise     ( 0 < exponent_ref_display_width[ i ] < 63 ),    refDispWidthBits                       is        set     equal       to
      Max( 0, exponent_ref_display_width[ i ] + prec_ref_display_width − 31 ).
exponent_ref_viewing_distance[ i ] specifies the exponent part of the reference viewing distance of the i-th reference
display. The value of exponent_ref_viewing_distance[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved
for future use by ITU-T | ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified reference display width.
mantissa_ref_viewing_distance[ i ] specifies the mantissa part of the reference viewing distance of the i-th reference
display. The variable refViewDistBits specifying the number of bits of the mantissa_ref_viewing_distance[ i ] syntax
element is derived as follows:




568          Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                  Document 1-7              Filed 04/07/25              Page 590 of 717 Page ID
                                                                 #:1119

–    If exponent_ref_viewing_distance[ i ] is                 equal     to    0,     the     refViewDistBits          is         set    equal     to
     Max( 0, prec_ref_viewing_distance − 30 ).
–    Otherwise     ( 0 < exponent_ref_viewing_distance[ i ] < 63 ),   refViewDistBits                         is           set         equal      to
     Max( 0, exponent_ref_viewing_distance[ i ] + prec_ref_viewing_distance − 31 ).
The variables in the x row of Table G.2 are derived from the respective variables or values in the e, n and v rows of
Table G.2 as follows:
–    If e is not equal to 0, the following applies:

           x = 2( e − 31 ) * ( 1 + n ÷2v )                                                                                                     (G-6)

–    Otherwise (e is equal to 0), the following applies:

           x = 2−( 30 + v ) * n                                                                                                                (G-7)

    NOTE 2 – The above specification is similar to that found in IEC 60559:1989.

                   Table G.2 – Association between camera parameter variables and syntax elements
                   x                         refDisplayWidth[ i ]                             refViewingDistance[ i ]
                   e                  exponent_ref_display_width[ i ]                  exponent_ref_viewing_distance[ i ]
                   n                  mantissa_ref_display_width[ i ]                  mantissa_ref_viewing_distance[ i ]
                   v                          refDispWidthBits                                      refViewDistBits



additional_shift_present_flag[ i ] equal to 1 indicates that the information about additional horizontal shift of the left and
right views for the i-th reference display is present in this SEI message. additional_shift_present_flag[ i ] equal to 0
indicates that the information about additional horizontal shift of the left and right views for the i-th reference display is
not present in this SEI message.
num_sample_shift_plus512[ i ] indicates the recommended additional horizontal shift for a stereo pair corresponding to
the i-th reference baseline and the i-th reference display.
–    If num_sample_shift_plus512[ i ] is less than 512, it is recommended that the left view of the stereo pair corresponding
     to the i-th reference baseline and the i-th reference display is shifted in the left direction by
     ( 512 − num_sample_shift_plus512[ i ] ) samples with respect to the right view of the stereo pair.
–    Otherwise, if num_sample_shift_plus512[ i ] is equal to 512, it is recommended that shifting is not applied.
–    Otherwise, ( num_sample_shift_plus512[ i ] is greater than 512 ), it is recommended that the left view in the stereo
     pair corresponding to the i-th reference baseline and the i-th reference display should be shifted in the right direction
     by ( num_sample_shift_plus512[ i ] − 512 ) samples with respect to the right view of the stereo pair.
The value of num_sample_shift_plus512[ i ] shall be in the range of 0 to 1 023, inclusive.
    NOTE 3 – Shifting the left view in the left (or right) direction by x samples with respect to the right view can be performed by the
    following two-step processing:
    1) Shift the left view by x / 2 samples in the left (or right) direction and shift the right view by x / 2 samples in the right (or left)
    direction.
    2) Fill the left and right image margins of x / 2 samples in width in both the left and right views in background colour.
    The following explains the recommended shifting processing in the case of shifting the left view in the left direction by x samples
    with respect to the right view:
           for( i = x / 2; i < width − x / 2; i++ )
                 for( j = 0; j < height; j++ ) {
                        leftView[ j ][ i ] = leftView[ j ][ i + x / 2 ]
                        rightView[ j ][ width − 1 − i ] = rightView[ j ][ width − 1 − i − x / 2 ]                                              (G-8)
                 }
           for( i = 0; i < x / 2; i++ )
                 for( j = 0; j < height; j++ ) {
                        leftView[ j ][ width − 1 − i ] = leftView[ j ][ i ] = backgroundColour
                        rightView[ j ][ width − 1 − i ] = rightView[ j ][ i ] = backgroundColour
                 }




                                                                                           Rec. ITU-T H.265 v8 (08/2021)                        569
      Case 2:25-cv-03053               Document 1-7              Filed 04/07/25             Page 591 of 717 Page ID
                                                               #:1120

   The following explains the recommended shifting processing in the case of shifting the left view in the right direction by x samples
   with respect to the right view:
          for( i = x / 2; i < width − x / 2; i++ )
                for( j = 0; j < height; j++ ) {
                       leftView[ j ][ width − 1 − i ] = leftView[ j ][ width − 1 − i − x / 2 ]
                       rightView[ j ][ i ] = rightView[ j ][ i + x / 2 ]                                                        (G-9)
                }
          for( i = 0; i < x / 2; i++ )
                for( j = 0; j < height; j++ ) {
                       leftView[ j ][ width − 1 − i ] = leftView[ j ][ i ] = backgroundColour
                       rightView[ j ][ width − 1 − i ] = rightView[ j ][ i ] = backgroundColour
                }
   The variable backgroundColour may take different values in different systems, for example black or grey.

three_dimensional_reference_displays_extension_flag equal to 0 indicates that no additional data follows within the
reference displays SEI message. The value of three_dimensional_reference_displays_extension_flag shall be equal to 0 in
bitstreams     conforming      to    this     version   of    this    Specification.  The     value      of    1    for
three_dimensional_reference_displays_extension_flag is reserved for future use by ITU-T | ISO/IEC. Decoders shall
ignore all data that follow the value 1 for three_dimensional_reference_displays_extension_flag in a reference displays
SEI message.

G.14.3.3 Depth representation information SEI message semantics

G.14.3.3.1     General
The syntax elements in the depth representation information SEI message specify various parameters for auxiliary pictures
of type AUX_DEPTH for the purpose of processing decoded primary and auxiliary pictures prior to rendering on a 3D
display, such as view synthesis. Specifically, depth or disparity ranges for depth pictures are specified.
When present, the depth representation information SEI message shall be associated with one or more layers with AuxId
value equal to AUX_DEPTH. The following semantics apply separately to each nuh_layer_id targetLayerId among the
nuh_layer_id values to which the depth representation information SEI message applies.
When present, the depth representation information SEI message may be included in any access unit. It is recommended
that, when present, the SEI message is included for the purpose of random access in an access unit in which the coded
picture with nuh_layer_id equal to targetLayerId is an IRAP picture.
For an auxiliary picture with AuxId[ targetLayerId ] equal to AUX_DEPTH, an associated primary picture, if any, is a
picture     in    the    same       access     unit    having     AuxId[ nuhLayerIdB ]    equal   to   0    such       that
ScalabilityId[ LayerIdxInVps[ targetLayerId ] ][ j ] is equal to ScalabilityId[ LayerIdxInVps[ nuhLayerIdB ] ][ j ] for all
values of j in the range of 0 to 2, inclusive, and 4 to 15, inclusive.
The information indicated in the SEI message applies to all the pictures with nuh_layer_id equal to targetLayerId from the
access unit containing the SEI message up to but excluding the next picture, in decoding order, associated with a depth
representation information SEI message applicable to targetLayerId or to the end of the CLVS of the nuh_layer_id equal
to targetLayerId, whichever is earlier in decoding order.
z_near_flag equal to 0 specifies that the syntax elements specifying the nearest depth value are not present in the syntax
structure. z_near_flag equal to 1 specifies that the syntax elements specifying the nearest depth value are present in the
syntax structure.
z_far_flag equal to 0 specifies that the syntax elements specifying the farthest depth value are not present in the syntax
structure. z_far_flag equal to 1 specifies that the syntax elements specifying the farthest depth value are present in the
syntax structure.
d_min_flag equal to 0 specifies that the syntax elements specifying the minimum disparity value are not present in the
syntax structure. d_min_flag equal to 1 specifies that the syntax elements specifying the minimum disparity value are
present in the syntax structure.
d_max_flag equal to 0 specifies that the syntax elements specifying the maximum disparity value are not present in the
syntax structure. d_max_flag equal to 1 specifies that the syntax elements specifying the maximum disparity value are
present in the syntax structure.
depth_representation_type specifies the representation definition of decoded luma samples of auxiliary pictures as
specified in Table G.3. In Table G.3, disparity specifies the horizontal displacement between two texture views and Z value
specifies the distance from a camera.
The variable maxVal is set equal to ( 1 << ( 8 + bit_depth_luma_minus8 ) ) − 1, where bit_depth_luma_minus8 is the
value included in or inferred for the active SPS of the layer with nuh_layer_id equal to targetLayerId. The value of


570          Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25              Page 592 of 717 Page ID
                                                                #:1121

depth_representation_type shall be in the range of 0 to 3, inclusive, in bitstreams conforming to this version of this
Specification. The values of 4 to 15, inclusive, for depth_representation_type are reserved for future use by ITU-T |
ISO/IEC. Although the value of depth_representation_type is required to be in the range of 0 to 3, inclusive, in this version
of this Specification, decoders shall allow values of depth_representation_type in the range of 4 to 15, inclusive, to appear
in the syntax. Decoders conforming to this version of this Specification shall ignore all data that follow a value of
depth_representation_type in the range of 4 to 15, inclusive, in the depth representation information SEI messsage.

                                      Table G.3 – Definition of depth_representation_type

        depth_representation_type                                               Interpretation
    0                                   Each decoded luma sample value of an auxiliary picture represents an inverse of Z value
                                        that is uniformly quantized into the range of 0 to maxVal, inclusive.
                                        When z_far_flag is equal to 1, the luma sample value equal to 0 represents the inverse of
                                        ZFar (specified below). When z_near_flag is equal to 1, the luma sample value equal to
                                        maxVal represents the inverse of ZNear (specified below).
    1                                   Each decoded luma sample value of an auxiliary picture represents disparity that is
                                        uniformly quantized into the range of 0 to maxVal, inclusive.
                                        When d_min_flag is equal to 1, the luma sample value equal to 0 represents DMin
                                        (specified below). When d_max_flag is equal to 1, the luma sample value equal to maxVal
                                        represents DMax (specified below).
    2                                   Each decoded luma sample value of an auxiliary picture represents a Z value uniformly
                                        quantized into the range of 0 to maxVal, inclusive.
                                        When z_far_flag is equal to 1, the luma sample value equal to 0 corresponds to ZFar
                                        (specified below). When z_near_flag is equal to 1, the luma sample value equal to maxVal
                                        represents ZNear (specified below).
    3                                   Each decoded luma sample value of an auxiliary picture represents a non-linearly mapped
                                        disparity, normalized in range from 0 to maxVal, as specified by
                                        depth_nonlinear_representation_num_minus1 and
                                        depth_nonlinear_representation_model[ i ].
                                        When d_min_flag is equal to 1, the luma sample value equal to 0 represents DMin
                                        (specified below). When d_max_flag is equal to 1, the luma sample value equal to maxVal
                                        represents DMax (specified below).
    4..15                               Reserved



disparity_ref_view_id specifies the ViewId value for which the disparity values are derived. The value of
disparity_ref_view_id shall be in the range of 0 to 1 023, inclusive.
    NOTE 1 – disparity_ref_view_id is present only if d_min_flag is equal to 1 or d_max_flag is equal to 1 and is useful for
    depth_representation_type values equal to 1 and 3.

The variables in the x column of Table G.4 are derived from the respective variables in the s, e, n and v columns of
Table G.4 as follows:
–        If the value of e is in the range of 0 to 127, exclusive, x is set equal to ( −1 )s * 2e − 31 * ( 1 + n ÷ 2v ).
–        Otherwise (e is equal to 0), x is set equal to ( −1 )s * 2−( 30 + v ) * n.
    NOTE 1 – The above specification is similar to that found in IEC 60559:1989.



                     Table G.4 – Association between depth parameter variables and syntax elements

                           x                 S                   e                    n                    v
                        ZNear           ZNearSign           ZNearExp          ZNearMantissa         ZNearManLen
                         ZFar            ZFarSign            ZFarExp           ZFarMantissa          ZFarManLen
                        DMax            DMaxSign            DMaxExp           DMaxMantissa          DMaxManLen
                        DMin             DMinSign           DMinExp            DMinMantissa         DMinManLen



The DMin and DMax values, when present, are specified in units of a luma sample width of the coded picture with ViewId
equal to ViewId of the auxiliary picture.
The units for the ZNear and ZFar values, when present, are identical but unspecified.




                                                                                          Rec. ITU-T H.265 v8 (08/2021)             571
      Case 2:25-cv-03053               Document 1-7             Filed 04/07/25             Page 593 of 717 Page ID
                                                              #:1122

depth_nonlinear_representation_num_minus1 plus 2 specifies the number of piece-wise linear segments for mapping
of depth values to a scale that is uniformly quantized in terms of disparity. The value of
depth_nonlinear_representation_num_minus1 shall be in the range of 0 to 62, inclusive.
depth_nonlinear_representation_model[ i ] for i ranging from 0 to depth_nonlinear_representation_num_minus1 + 2,
inclusive, specify the piece-wise linear segments for mapping of decoded luma sample values of an auxiliary picture to a
scale that is uniformly quantized in terms of disparity. The value of depth_nonlinear_representation_model[ i ] shall be in
the range of 0 to 65 535, inclusive. The values of depth_nonlinear_representation_model[ 0 ] and
depth_nonlinear_representation_model[ depth_nonlinear_representation_num_minus1 + 2 ] are both inferred to be equal
to 0.
   NOTE 2 – When depth_representation_type is equal to 3, an auxiliary picture contains non-linearly transformed depth samples. The
   variable DepthLUT[ i ], as specified below, is used to transform decoded depth sample values from the non-linear representation to
   the linear representation, i.e., uniformly quantized disparity values. The shape of this transform is defined by means of line-segment
   approximation in two-dimensional linear-disparity-to-non-linear-disparity space. The first ( 0, 0 ) and the last ( maxVal, maxVal )
   nodes of the curve are predefined. Positions of additional nodes are transmitted in form of deviations
   (depth_nonlinear_representation_model[ i ]) from the straight-line curve. These deviations are uniformly distributed along the whole
   range of 0 to maxVal, inclusive, with spacing depending on the value of nonlinear_depth_representation_num_minus1.
   The variable DepthLUT[ i ] for i in the range of 0 to maxVal, inclusive, is specified as follows:
          for( k = 0; k <= depth_nonlinear_representation_num_minus1 + 1; k++ ) {
                pos1 = ( maxVal * k ) / (depth_nonlinear_representation_num_minus1 + 2 )
                dev1 = depth_nonlinear_representation_model[ k ]
                pos2 = ( maxVal * ( k + 1 ) ) / (depth_nonlinear_representation_num_minus1 + 2 )
                dev2 = depth_nonlinear_representation_model[ k + 1 ]                                                             (G-10)

               x1 = pos1 − dev1
               y1 = pos1 + dev1
               x2 = pos2 − dev2
               y2 = pos2 + dev2

               for( x = Max( x1, 0 ); x <= Min( x2, maxVal ); x++ )
                         DepthLUT[ x ] = Clip3( 0, maxVal, Round( ( ( x − x1 ) * ( y2 − y1 ) ) ÷ ( x2 − x1 ) + y1 ) )
          }
   When depth_representation_type is equal to 3, DepthLUT[ dS ] for all decoded luma sample values dS of an auxiliary picture in the
   range of 0 to maxVal, inclusive, represents disparity that is uniformly quantized into the range of 0 to maxVal, inclusive.

G.14.3.3.2     Depth representation information element semantics
The syntax structure specifies the value of an element in the depth representation information SEI message.
The depth_rep_info_element( OutSign, OutExp, OutMantissa, OutManLen ) syntax structure sets the values of the
OutSign, OutExp, OutMantissa and OutManLen variables that represent a floating-point value. When the syntax structure
is included in another syntax structure, the variable names OutSign, OutExp, OutMantissa and OutManLen are to be
interpreted as being replaced by the variable names used when the syntax structure is included.
da_sign_flag equal to 0 indicates that the sign of the floating-point value is positive. da_sign_flag equal to 1 indicates that
the sign is negative. The variable OutSign is set equal to da_sign_flag.
da_exponent specifies the exponent of the floating-point value. The value of da_exponent shall be in the range of 0
to 27 − 2, inclusive. The value 27 − 1 is reserved for future use by ITU-T | ISO/IEC. Decoders shall treat the value 27 − 1
as indicating an unspecified value. The variable OutExp is set equal to da_exponent.
da_mantissa_len_minus1 plus 1 specifies the number of bits in the da_mantissa syntax element. The variable OutManLen
is set equal to da_mantissa_len_minus1 + 1.
da_mantissa specifies the mantissa of the floating-point value. The variable OutMantissa is set equal to da_mantissa.

G.14.3.4 Multiview scene information SEI message semantics
The multiview scene information SEI message indicates the minimum disparity and the maximum disparity among
multiple views in an access unit. The minimum disparity and the maximum disparity could be used for processing the
decoded views prior to rendering on a 3D display. When present, the multiview scene information SEI message shall be
associated with an IRAP access unit. The information signalled in the SEI message applies to the coded video sequence.
If the SEI message is not contained within a scalable nesting SEI message, it applies to the views with nuh_layer_id greater
than or equal to the nuh_layer_id value of the SEI NAL unit that contains the SEI message. Otherwise (the SEI message
is contained within a scalable nesting SEI message), the SEI message applies to the view with nuh_layer_id values
identified in the scalable nesting SEI message. The views to which the SEI message applies are referred to as applicable
views below.



572          Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25             Page 594 of 717 Page ID
                                                               #:1123

The actual minimum disparity value may be greater than the one signalled in the multiview scene information SEI message
and the actual maximum disparity value may be less than the one signalled in the multiview scene information SEI message,
due to that some views in the coded video sequence may have been removed from the original bitstream to produce an
extracted sub-bitstream, for example according to the process specified in clause 10.
Let xR be a luma sample position within a luma sample array of the right-side picture of any spatially adjacent views
among the applicable views in an access unit. Let xL be the respective luma sample position within a luma sample array
of the left-side picture of the same spatially adjacent view such that sample in the luma sample position xL in the left-side
view represents the same content as luma sample position xR in the right-side picture. When pic_width_in_luma_samples
for the left-side picture, picWidthL, is not equal to pic_width_in_luma_samples for the right-side picture, picWidthR, xL
is normalized to the horizontal luma sample resolution of the right-side picture, i.e., xL is set equal to Round( xL *
( picWidthR ÷ picWidthL ) ). The disparity between xR and xL is specified to be equal to ( xR − xL ). The maximum
disparity between two pictures is defined to be the maximum of the disparity between any sample position pairs xR and
xL. The minimum disparity between two pictures is defined to be the minimum of the disparity between any sample
position pairs xR and xL.
min_disparity specifies the minimum disparity, in units of luma samples, between pictures of any spatially adjacent views
among the applicable views in an access unit. The value of min_disparity shall be in the range of −1 024 to 1 023, inclusive.
max_disparity_range specifies that the maximum disparity, in units of luma samples, between pictures of any spatially
adjacent views among the applicable views in an access unit. The value of max_disparity_range shall be in the range of 0
to 2047, inclusive.
    NOTE – The minimum disparity and the maximum disparity depend on the baseline distance between spatially adjacent views and
    the spatial resolution of each view. Therefore, if either the number of views or spatial resolution is changed, the minimum disparity
    and the maximum disparity should also be changed accordingly.

G.14.3.5 Multiview acquisition information SEI message semantics
The multiview acquisition information SEI message specifies various parameters of the acquisition environment.
Specifically, intrinsic and extrinsic camera parameters are specified. These parameters could be used for processing the
decoded views prior to rendering on a 3D display.
The following semantics apply separately to each nuh_layer_id targetLayerId among the nuh_layer_id values to which the
multiview acquisition information SEI message applies as specified in clause D.3.1.
When present, the multiview acquisition information SEI message that applies to the current layer shall be included in an
access unit that contains an IRAP picture that is the first picture of a CLVS of the current layer. The information signalled
in the SEI message applies to the CLVS.
When the multiview acquisition information SEI message is included in a scalable nesting SEI message, the syntax elements
bitstream_subset_flag, nesting_op_flag and all_layers_flag in the scalable nesting SEI message shall be equal to 0.
The variable numViewsMinus1 is derived as follows:
–    If the multiview acquisition information SEI message is not included in a scalable nesting SEI message,
     numViewsMinus1 is set equal to 0.
–    Otherwise (the multiview acquisition information SEI message is included in a scalable nesting SEI message),
     numViewsMinus1 is set equal to nesting_num_layers_minus1.
Some of the views for which the multiview acquisition information is included in a multiview acquisition information SEI
message may not be present.
In the semantics below, index i refers to the syntax elements and variables that apply to the layer with nuh_layer_id equal
to nestingLayerIdList[ 0 ][ i ].
The extrinsic camera parameters are specified according to a right-handed coordinate system, where the upper left corner
of the image is the origin, i.e., the ( 0, 0 ) coordinate, with the other corners of the image having non-negative coordinates.
With these specifications, a 3-dimensional world point, wP = [ x y z ] is mapped to a 2-dimensional camera point,
cP[ i ] = [ u v 1 ], for the i-th camera according to:

           s * cP[ i ] = A[ i ] * R−1[ i ] * ( wP − T[ i ] )                                                                    (G-11)

where A[ i ] denotes the intrinsic camera parameter matrix, R−1[ i ] denotes the inverse of the rotation matrix R[ i ], T[ i ]
denotes the translation vector and s (a scalar value) is an arbitrary scale factor chosen to make the third coordinate of cP[ i ]
equal to 1. The elements of A[ i ], R[ i ] and T[ i ] are determined according to the syntax elements signalled in this SEI
message and as specified below.
intrinsic_param_flag equal to 1 indicates the presence of intrinsic camera parameters. intrinsic_param_flag equal to 0


                                                                                      Rec. ITU-T H.265 v8 (08/2021)                573
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25           Page 595 of 717 Page ID
                                                           #:1124

indicates the absence of intrinsic camera parameters.
extrinsic_param_flag equal to 1 indicates the presence of extrinsic camera parameters. extrinsic_param_flag equal to 0
indicates the absence of extrinsic camera parameters.
intrinsic_params_equal_flag equal to 1 indicates that the intrinsic camera parameters are equal for all cameras and only
one set of intrinsic camera parameters is present. intrinsic_params_equal_flag equal to 0 indicates that the intrinsic camera
parameters are different for each camera and that a set of intrinsic camera parameters is present for each camera.
prec_focal_length specifies the exponent of the maximum allowable truncation error for focal_length_x[ i ] and
focal_length_y[ i ] as given by 2−prec_focal_length. The value of prec_focal_length shall be in the range of 0 to 31, inclusive.
prec_principal_point specifies the exponent of the maximum allowable truncation error for principal_point_x[ i ] and
principal_point_y[ i ] as given by 2−prec_principal_point. The value of prec_principal_point shall be in the range of 0 to 31,
inclusive.
prec_skew_factor specifies the exponent of the maximum allowable truncation error for skew factor as given by
2−prec_skew_factor. The value of prec_skew_factor shall be in the range of 0 to 31, inclusive.
sign_focal_length_x[ i ] equal to 0 indicates that the sign of the focal length of the i-th camera in the horizontal direction
is positive. sign_focal_length_x[ i ] equal to 1 indicates that the sign is negative.
exponent_focal_length_x[ i ] specifies the exponent part of the focal length of the i-th camera in the horizontal direction.
The value of exponent_focal_length_x[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future
use by ITU-T | ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified focal length.
mantissa_focal_length_x[ i ] specifies the mantissa part of the focal length of the i-th camera in the horizontal direction.
The length of the mantissa_focal_length_x[ i ] syntax element in units of bits is variable and determined as follows:
–     If exponent_focal_length_x[ i ] is equal to 0, the length is Max( 0, prec_focal_length − 30 ).
–     Otherwise (exponent_focal_length_x[ i ] is in the range of                 0   to   63,   exclusive),   the   length    is
      Max( 0, exponent_focal_length_x[ i ] + prec_focal_length − 31 ).
sign_focal_length_y[ i ] equal to 0 indicates that the sign of the focal length of the i-th camera in the vertical direction is
positive. sign_focal_length_y[ i ] equal to 1 indicates that the sign is negative.
exponent_focal_length_y[ i ] specifies the exponent part of the focal length of the i-th camera in the vertical direction.
The value of exponent_focal_length_y[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future
use by ITU-T | ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified focal length.
mantissa_focal_length_y[ i ] specifies the mantissa part of the focal length of the i-th camera in the vertical direction.
The length of the mantissa_focal_length_y[ i ] syntax element in units of bits is variable and determined as follows:
–     If exponent_focal_length_y[ i ] is equal to 0, the length is Max( 0, prec_focal_length − 30 ).
–     Otherwise (exponent_focal_length_y[ i ] is in the range of                 0   to   63,   exclusive),   the   length    is
      Max( 0, exponent_focal_length_y[ i ] + prec_focal_length − 31 ).
sign_principal_point_x[ i ] equal to 0 indicates that the sign of the principal point of the i-th camera in the horizontal
direction is positive. sign_principal_point_x[ i ] equal to 1 indicates that the sign is negative.
exponent_principal_point_x[ i ] specifies the exponent part of the principal point of the i-th camera in the horizontal
direction. The value of exponent_principal_point_x[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved
for future use by ITU-T | ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified principal point.
mantissa_principal_point_x[ i ] specifies the mantissa part of the principal point of the i-th camera in the horizontal
direction. The length of the mantissa_principal_point_x[ i ] syntax element in units of bits is variable and is determined as
follows:
–     If exponent_principal_point_x[ i ] is equal to 0, the length is Max( 0, prec_principal_point − 30 ).
–     Otherwise (exponent_principal_point_x[ i ] is in the range of 0 to 63, exclusive), the length is
      Max( 0, exponent_principal_point_x[ i ] + prec_principal_point − 31 ).
sign_principal_point_y[ i ] equal to 0 indicates that the sign of the principal point of the i-th camera in the vertical
direction is positive. sign_principal_point_y[ i ] equal to 1 indicates that the sign is negative.
exponent_principal_point_y[ i ] specifies the exponent part of the principal point of the i-th camera in the vertical
direction. The value of exponent_principal_point_y[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved
for future use by ITU-T | ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified principal point.



574         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                   Document 1-7                Filed 04/07/25           Page 596 of 717 Page ID
                                                                   #:1125

mantissa_principal_point_y[ i ] specifies the mantissa part of the principal point of the i-th camera in the vertical
direction. The length of the mantissa_principal_point_y[ i ] syntax element in units of bits is variable and is determined as
follows:
–    If exponent_principal_point_y[ i ] is equal to 0, the length is Max( 0, prec_principal_point − 30 ).
–    Otherwise (exponent_principal_point_y[ i ] is in the range of 0 to 63, exclusive), the length is
     Max( 0, exponent_principal_point_y[ i ] + prec_principal_point − 31 ).
sign_skew_factor[ i ] equal to 0 indicates that the sign of the skew factor of the i-th camera is positive.
sign_skew_factor[ i ] equal to 1 indicates that the sign is negative.
exponent_skew_factor[ i ] specifies the exponent part of the skew factor of the i-th camera. The value of
exponent_skew_factor[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future use by ITU-T |
ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified skew factor.
mantissa_skew_factor[ i ] specifies the mantissa part of the skew factor of the i-th camera. The length of the
mantissa_skew_factor[ i ] syntax element in units of bits is variable and determined as follows:
–    If exponent_skew_factor[ i ] is equal to 0, the length is Max( 0, prec_skew_factor − 30 ).
–    Otherwise (exponent_skew_factor[ i ] is in the range                          of   0    to     63,     exclusive),    the   length     is
     Max( 0, exponent_skew_factor[ i ] + prec_skew_factor − 31 ).
The intrinsic matrix A[ i ] for i-th camera is represented by

                      focalLengthX[ i ] skewFactor[ i ] principalPointX[ i ]
                             0          focalLengthY[ i ] principalPointY[ i ]                                                    (G-12)
                                                                              
                             0                 0                   1          
prec_rotation_param specifies the exponent of the maximum allowable truncation error for r[ i ][ j ][ k ] as given by
2−prec_rotation_param. The value of prec_rotation_param shall be in the range of 0 to 31, inclusive.
prec_translation_param specifies the exponent of the maximum allowable truncation error for t[ i ][ j ] as given by
2−prec_translation_param. The value of prec_translation_param shall be in the range of 0 to 31, inclusive.
sign_r[ i ][ j ][ k ] equal to 0 indicates that the sign of ( j, k ) component of the rotation matrix for the i-th camera is positive.
sign_r[ i ][ j ][ k ] equal to 1 indicates that the sign is negative.
exponent_r[ i ][ j ][ k ] specifies the exponent part of ( j, k ) component of the rotation matrix for the i-th camera. The
value of exponent_r[ i ][ j ][ k ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future use by ITU-
T | ISO/IEC. Decoders shall treat the value 63 as indicating an unspecified rotation matrix.
mantissa_r[ i ][ j ][ k ] specifies the mantissa part of ( j, k ) component of the rotation matrix for the i-th camera. The
length of the mantissa_r[ i ][ j ][ k ] syntax element in units of bits is variable and determined as follows:
–    If exponent_r[ i ] is equal to 0, the length is Max( 0, prec_rotation_param − 30 ).
–    Otherwise (exponent_r[ i ] is in the range                               of   0    to    63,         exclusive),     the    length     is
     Max( 0, exponent_r[ i ] + prec_rotation_param − 31 ).
The rotation matrix R[ i ] for i-th camera is represented as follows:

                      rE[ i ][ 0 ][ 0 ] rE[ i ][ 0 ][1] rE[ i ][ 0 ][ 2 ]
                       rE[ i ][ 1 ][ 0 ] rE[ i ][ 1 ][ 1 ] rE[ i ][ 1 ][ 2 ]                                                      (G-13)
                      rE[ i ][ 2 ][ 0 ] rE[ i ][ 2 ][1] rE[ i ][ 2 ][ 2 ]
                                                                             
sign_t[ i ][ j ] equal to 0 indicates that the sign of the j-th component of the translation vector for the i-th camera is positive.
sign_t[ i ][ j ] equal to 1 indicates that the sign is negative.
exponent_t[ i ][ j ] specifies the exponent part of the j-th component of the translation vector for the i-th camera. The value
of exponent_t[ i ][ j ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future use by ITU-T | ISO/IEC.
Decoders shall treat the value 63 as indicating an unspecified translation vector.
mantissa_t[ i ][ j ] specifies the mantissa part of the j-th component of the translation vector for the i-th camera. The length
v of the mantissa_t[ i ][ j ] syntax element in units of bits is variable and is determined as follows:



                                                                                        Rec. ITU-T H.265 v8 (08/2021)                     575
      Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25                Page 597 of 717 Page ID
                                                                 #:1126

–      If exponent_t[ i ] is equal to 0, the length v is set equal to Max( 0, prec_translation_param − 30 ).
–      Otherwise       (0 < exponent_t[ i ] < 63),      the                 length           v       is          set        equal         to
       Max( 0, exponent_t[ i ] + prec_translation_param − 31 ).
The translation vector T[ i ] for the i-th camera is represented by:

                                     tE[ i ][ 0 ]
                                     tE[ i ][ 1 ]                                                                                   (G-14)
                                     tE[ i ][ 2 ]
                                                  
The association between the camera parameter variables and corresponding syntax elements is specified by Table G.5.
Each component of the intrinsic and rotation matrices and the translation vector is obtained from the variables specified in
Table G.5 as the variable x computed as follows:
–      If e is in the range of 0 to 63, exclusive, x is set equal to ( −1 )s * 2e − 31 * ( 1 + n ÷ 2v ).
–      Otherwise (e is equal to 0), x is set equal to ( −1 )s * 2−( 30 + v ) * n.
     NOTE – The above specification is similar to that found in IEC 60559:1989.

                        Table G.5 – Association between camera parameter variables and syntax elements.

              x                              s                                  e                                       n
    focalLengthX[ i ]           sign_focal_length_x[ i ]        exponent_focal_length_x[ i ]              mantissa_focal_length_x[ i ]
    focalLengthY[ i ]           sign_focal_length_y[ i ]        exponent_focal_length_y[ i ]              mantissa_focal_length_y[ i ]
    principalPointX[ i         sign_principal_point_x[ i       exponent_principal_point_x[ i          mantissa_principal_point_x[ i
             ]                             ]                                 ]                                      ]
    principalPointY[ i         sign_principal_point_y[ i       exponent_principal_point_y[ i          mantissa_principal_point_y[ i
             ]                             ]                                 ]                                      ]
      skewFactor[ i ]            sign_skew_factor[ i ]            exponent_skew_factor[ i ]                mantissa_skew_factor[ i ]
      rE[ i ][ j ][ k ]            sign_r[ i ][ j ][ k ]            exponent_r[ i ][ j ][ k ]                mantissa_r[ i ][ j ][ k ]
         tE[ i ][ j ]                sign_t[ i ][ j ]                 exponent_t[ i ][ j ]                     mantissa_t[ i ][ j ]


G.14.3.6 Multiview view position SEI message semantics
The multiview view position SEI message specifies the relative view position along a single horizontal axis of views within
a CVS. When present, the multiview view position SEI message shall be associated with an IRAP access unit. The
information signalled in this SEI message applies to the entire CVS.
num_views_minus1 plus 1 shall be equal to NumViews derived from the active VPS for the CVS. The value of
num_views_minus1 shall be in the range of 0 to 62, inclusive.
view_position[ i ] indicates the order of the view with ViewOrderIdx equal to i among all the views from left to right for
the purpose of display, with the order for the left-most view being equal to 0 and the value of the order increasing by 1 for
next view from left to right. The value of view_position[ i ] shall be in the range of 0 to 62, inclusive.

G.15       Video usability information
The specifications in clause F.15 and its subclauses apply.




576           Rec. ITU-T H.265 v8 (08/2021)
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 598 of 717 Page ID
                                                           #:1127

                                                          Annex H

                                          Scalable high efficiency video coding

                    (This annex forms an integral part of this Recommendation | International Standard.)

H.1        Scope
This annex specifies syntax, semantics and decoding processes for scalable high efficiency video coding that use the syntax,
semantics, and decoding process specified in clauses 2-10 and Annexes A-F. This annex also specifies profiles, tier and
levels for scalable high efficiency video coding.

H.2        Normative references
The list of normative references in clause F.2 applies.

H.3        Definitions
The specifications in clause F.3 and its subclauses apply.

H.4        Abbreviations
The specifications in clause F.4 apply.

H.5        Conventions
The specifications in clause F.5 apply.

H.6        Bitstream and picture formats, partitionings, scanning processes, and neighbouring
           relationships
The specifications in clause F.6 apply.

H.7        Syntax and semantics
The specifications in clause F.7 and its subclauses apply.

H.8        Decoding processes
H.8.1      General decoding process

H.8.1.1 General
The specifications of clause F.8.1.1 apply.

H.8.1.2 Decoding process for a coded picture with nuh_layer_id greater than 0
The decoding process for the current picture CurrPic is as follows:
      1. The decoding of NAL units is specified in clause H.8.2.
      2.   The processes in clauses H.8.1.3 and H.8.3.4 specify the following decoding processes using syntax elements in
           the slice segment layer and above:
           –     At the beginning of the decoding process for the first slice of the current picture, the process specified in
                 clause H.8.1.3 is invoked.
           –     At the beginning of the decoding process for each P or B slice, the decoding process for reference picture
                 lists construction specified in clause H.8.3.4 is invoked for derivation of reference picture list 0
                 (RefPicList0), and when decoding a B slice, reference picture list 1 (RefPicList1).
      3.   The processes in clauses H.8.4, H.8.5, H.8.6 and H.8.7 specify decoding processes using syntax elements in all
           syntax structure layers. It is a requirement of bitstream conformance that the coded slices of the picture shall
           contain slice segment data for every CTU of the picture, such that the division of the picture into slices, the
           division of the slices into slice segments, and the division of the slice segments into CTUs each form a partitioning
           of the picture.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)            577
      Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 599 of 717 Page ID
                                                          #:1128

H.8.1.3 Decoding process for inter-layer reference picture set
Outputs of this process are updated lists of inter-layer reference pictures RefPicSetInterLayer0 and RefPicSetInterLayer1
and the variables NumActiveRefLayerPics0 and NumActiveRefLayerPics1.
The variable currLayerId is set equal to nuh_layer_id of the current picture.
The       variables       NumRefLayerPicsProcessing,                     NumRefLayerPicsSampleProcessing              and
NumRefLayerPicsMotionProcessing are set equal to 0.
The lists RefPicSetInterLayer0 and RefPicSetInterLayer1 are first emptied, NumActiveRefLayerPics0 and
NumActiveRefLayerPics1 are set equal to 0 and the following applies:

    for( i = 0; i < NumActiveRefLayerPics; i++ ) {
       refPicSet0Flag =
           ( ( ViewId[ currLayerId ] <= ViewId[ 0 ] &&ViewId[ currLayerId ] <=
    ViewId[ RefPicLayerId[ i ] ] ) | |
           ( ViewId[ currLayerId ] >= ViewId[ 0 ] && ViewId[ currLayerId ] >=
    ViewId[ RefPicLayerId[ i ] ] ) )
       if( there is a picture picX in the DPB that is in the same access unit as the current picture and has
                  nuh_layer_id equal to RefPicLayerId[ i ] ) {
           an inter-layer reference picture ilRefPic is derived by invoking the process specified in clause
    H.8.1.4
                  with picX and RefPicLayerId[ i ] given as inputs
           if( refPicSet0Flag ) {
       (H-1)
               RefPicSetInterLayer0[ NumActiveRefLayerPics0 ] = ilRefPic
               RefPicSetInterLayer0[ NumActiveRefLayerPics0++ ] is marked as "used for long-term
    reference"
           } else {
               RefPicSetInterLayer1[ NumActiveRefLayerPics1 ] = ilRefPic
               RefPicSetInterLayer1[ NumActiveRefLayerPics1++ ] is marked as "used for long-term
    reference"
           }
       } else {
           if( refPicSet0Flag )
               RefPicSetInterLayer0[ NumActiveRefLayerPics0++ ] = "no reference picture"
           else
               RefPicSetInterLayer1[ NumActiveRefLayerPics1++ ] = "no reference picture"
       }
    }

There shall be no entry equal to "no reference picture" in RefPicSetInterLayer0 or RefPicSetInterLayer1.
There shall be no picture that has discardable_flag equal to 1 in RefPicSetInterLayer0 or RefPicSetInterLayer1.
      NOTE 1 – For the profiles defined in this annex, RefPicSetInterLayer1 is always empty since the value of ViewId[ i ]
      is equal to zero for all layers.
If the current picture is a RADL picture, there shall be no entry in the RefPicSetInterLayer0 or RefPicSetInterLayer1 that
is a RASL picture.
      NOTE 2 – An access unit may contain both RASL and RADL pictures.

H.8.1.4 Derivation process for inter-layer reference pictures

H.8.1.4.1 General
Inputs to this process are:
–     a decoded direct reference layer picture rlPic,
–     a variable rLId specifying the value of nuh_layer_id of the direct reference layer picture.
Output of this process is the inter-layer reference picture ilRefPic.



578         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 600 of 717 Page ID
                                                           #:1129

The variables PicWidthInSamplesCurrY, PicHeightInSamplesCurrY, BitDepthCurrY, BitDepthCurrC, SubWidthCurrC
and SubHeightCurrC are set equal to pic_width_in_luma_samples, pic_height_in_luma_samples, BitDepthY, BitDepthC,
SubWidthC and SubHeightC of the current layer, respectively.
The variables PicWidthInSamplesRefLayerY and PicHeightInSamplesRefLayerY are set equal to the width and
height of the decoded direct reference layer picture rlPic in units of luma samples, respectively. The variables
BitDepthRefLayerY, BitDepthRefLayerC, SubWidthRefLayerC and SubHeightRefLayerC are set equal to the
values of BitDepthY, BitDepthC, SubWidthC and SubHeightC of the direct reference layer picture rlPic,
respectively.

     NOTE – This clause and its subclauses support all possible values of SubWidthCurrC, SubHeightCurrC, SubWidthRefLayerC and
     SubHeightRefLayerC. When the value of chroma_format_idc of the current layer and the value of chroma_format_idc of the direct
     reference layer are both equal to 1, the values of SubWidthCurrC, SubHeightCurrC, SubWidthRefLayerC and
     SubHeightRefLayerC are all equal to 2, and the resampling process of picture sample values in clause H.8.1.4.2 and the colour
     mapping process of picture sample values in clause H.8.1.4.4 can be simplified.

The    variables  RefLayerRegionLeftOffset,       RefLayerRegionTopOffset,                 RefLayerRegionRightOffset          and
RefLayerRegionBottomOffset are derived as follows:

        RefLayerRegionLeftOffset = ref_region_left_offset[ rLId ] * SubWidthRefLayerC                                     (H-2)

        RefLayerRegionTopOffset = ref_region_top_offset[ rLId ] * SubHeightRefLayerC                                      (H-3)

        RefLayerRegionRightOffset = ref_region_right_offset[ rLId ] * SubWidthRefLayerC                                   (H-4)

        RefLayerRegionBottomOffset = ref_region_bottom_offset[ rLId ] * SubHeightRefLayerC                                (H-5)

The variables RefLayerRegionWidthInSamplesY and RefLayerRegionHeightInSamplesY are the width and height of the
reference region in the decoded direct reference layer picture rlPic in units of luma samples, respectively, and are derived
as follows:

        RefLayerRegionWidthInSamplesY = PicWidthInSamplesRefLayerY −
         RefLayerRegionLeftOffset − RefLayerRegionRightOffset                                                             (H-6)

        RefLayerRegionHeightInSamplesY = PicHeightInSamplesRefLayerY −
         RefLayerRegionTopOffset − RefLayerRegionBottomOffset                                                             (H-7)

The    variables  PicWidthInSamplesCurrC,       PicHeightInSamplesCurrC,                PicWidthInSamplesRefLayerC            and
PicHeightInSamplesRefLayerC are derived as follows:

        PicWidthInSamplesCurrC = PicWidthInSamplesCurrY / SubWidthCurrC                                                   (H-8)

        PicHeightInSamplesCurrC = PicHeightInSamplesCurrY / SubHeightCurrC                                                (H-9)

        PicWidthInSamplesRefLayerC = PicWidthInSamplesRefLayerY / SubWidthRefLayerC                                      (H-10)

        PicHeightInSamplesRefLayerC = PicHeightInSamplesRefLayerY / SubHeightRefLayerC                                   (H-11)

The    variables   ScaledRefLayerLeftOffset,       ScaledRefLayerTopOffset,                ScaledRefLayerRightOffset          and
ScaledRefLayerBottomOffset are derived as follows:

        ScaledRefLayerLeftOffset = scaled_ref_layer_left_offset[ rLId ] * SubWidthCurrC                                  (H-12)

        ScaledRefLayerTopOffset = scaled_ref_layer_top_offset[ rLId ] * SubHeightCurrC                                   (H-13)

        ScaledRefLayerRightOffset = scaled_ref_layer_right_offset[ rLId ] * SubWidthCurrC                                (H-14)

        ScaledRefLayerBottomOffset = scaled_ref_layer_bottom_offset[ rLId ] * SubHeightCurrC                             (H-15)

The variables ScaledRefRegionWidthInSamplesY and ScaledRefRegionHeightInSamplesY are derived as follows:




                                                                                  Rec. ITU-T H.265 v8 (08/2021)             579
      Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 601 of 717 Page ID
                                                          #:1130

          ScaledRefRegionWidthInSamplesY = PicWidthInSamplesCurrY −
                   ScaledRefLayerLeftOffset − ScaledRefLayerRightOffset                                           (H-16)

          ScaledRefRegionHeightInSamplesY = PicHeightInSamplesCurrY −
                   ScaledRefLayerTopOffset − ScaledRefLayerBottomOffset                                           (H-17)

The     variables  SpatialScaleFactorHorY,     SpatialScaleFactorVerY,                   SpatialScaleFactorHorC      and
SpatialScaleFactorVerC are derived as follows:

          SpatialScaleFactorHorY = ( ( RefLayerRegionWidthInSamplesY << 16 ) +
                    ( ScaledRefRegionWidthInSamplesY >> 1 ) ) / ScaledRefRegionWidthInSamplesY (H-18)

          SpatialScaleFactorVerY = ( ( RefLayerRegionHeightInSamplesY << 16 ) +
                    ( ScaledRefRegionHeightInSamplesY >> 1 ) ) / ScaledRefRegionHeightInSamplesY
           (H-19)

          SpatialScaleFactorHorC = ( ( ( RefLayerRegionWidthInSamplesY / SubWidthRefLayerC ) << 16 ) +
                    ( ( ScaledRefRegionWidthInSamplesY / SubWidthCurrC ) >> 1 ) )
                    / ( ScaledRefRegionWidthInSamplesY / SubWidthCurrC )                        (H-20)

          SpatialScaleFactorVerC =
          ( ( ( RefLayerRegionHeightInSamplesY / SubHeightRefLayerC ) << 16 ) +
                     ( ( ScaledRefRegionHeightInSamplesY / SubHeightCurrC ) >> 1 ) )
                     / ( ScaledRefRegionHeightInSamplesY / SubHeightCurrC )                                       (H-21)

The variables PhaseHorY, PhaseVerY, PhaseHorC and PhaseVerC are set as follows:

          PhaseHorY = phase_hor_luma[ rLId ]                                                                      (H-22)

          PhaseVerY = phase_ver_luma[ rLId ]                                                                      (H-23)

          PhaseHorC = phase_hor_chroma_plus8[ rLId ] − 8
           (H-24)

          PhaseVerC = phase_ver_chroma_plus8[ rLId ] − 8
           (H-25)

It is a requirement of bitstream conformance that BitDepthRefLayerY shall be less than or equal to
BitDepthCurrY and BitDepthRefLayerC shall be less than or equal to BitDepthCurrC.

It is a requirement of bitstream conformance that the values of RefLayerRegionWidthInSamplesY,
RefLayerRegionHeightInSamplesY,                   ScaledRefRegionWidthInSamplesY           and
ScaledRefRegionHeightInSamplesY shall be greater than 0.

It is a requirement of bitstream conformance that ScaledRefRegionWidthInSamplesY shall be greater than or
equal to RefLayerRegionWidthInSamplesY and ScaledRefRegionHeightInSamplesY shall be greater than or
equal to RefLayerRegionHeightInSamplesY.

It is a requirement of bitstream conformance that, when ScaledRefRegionWidthInSamplesY is equal to
RefLayerRegionWidthInSamplesY, PhaseHorY shall be equal to 0, when ScaledRefRegionWidthInSamplesC is equal to
RefLayerRegionWidthInSamplesC, PhaseHorC shall be equal to 0, when ScaledRefRegionHeightInSamplesY is equal to
RefLayerRegionHeightInSamplesY, PhaseVerY shall be equal to 0, and when ScaledRefRegionHeightInSamplesC is
equal to RefLayerRegionHeightInSamplesC, PhaseVerC shall be equal to 0.
The inter-layer reference picture ilRefPic is derived as follows:
–     The variables sampleProcessingFlag and motionProcessingFlag are initialized to 0.
–     The variable equalPictureSizeAndOffsetFlag is derived as follows:
      –    If all of the following conditions are true, equalPictureSizeAndOffsetFlag is set equal to 1:


580         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053            Document 1-7           Filed 04/07/25           Page 602 of 717 Page ID
                                                       #:1131

        –    PicWidthInSamplesCurrY is equal to PicWidthInSamplesRefLayerY
        –    PicHeightInSamplesCurrY is equal to PicHeightInSamplesRefLayerY
        –    ScaledRefLayerLeftOffset is equal to RefLayerRegionLeftOffset
        –    ScaledRefLayerTopOffset is equal to RefLayerRegionTopOffset
        –    ScaledRefLayerRightOffset is equal to RefLayerRegionRightOffset
        –    ScaledRefLayerBottomOffset is equal to RefLayerRegionBottomOffset
        –    PhaseHorY, PhaseVerY, PhaseHorC and PhaseVerC are all equal to 0
    –   Otherwise, equalPictureSizeAndOffsetFlag is set equal to 0.
–   The variable currColourMappingEnableFlag is derived as follows:
    –   If colour_mapping_enabled_flag is equal to 1 and if there exists a value of i, with i in the range of 0 to
        num_cm_ref_layers_minus1, inclusive, for which cm_ref_layer_id[ i ] is equal to rLId,
        currColourMappingEnableFlag is set equal to 1.
    –   Otherwise, currColourMappingEnableFlag is set equal to 0.
–   If equalPictureSizeAndOffsetFlag is equal to 1, BitDepthRefLayerY is equal to BitDepthCurrY, BitDepthRefLayerC
    is equal to BitDepthCurrC, SubWidthRefLayerC is equal to SubWidthCurrC, SubHeightRefLayerC is equal to
    SubHeightCurrC and currColourMappingEnableFlag is equal to 0, ilRefPic is set equal to rlPic.
–   Otherwise, the following applies:
    –   The inter-layer reference picture ilRefPic is generated as follows:
        –    The PicOrderCntVal value of ilRefPic is set equal to the PicOrderCntVal value of rlPic.
        –    The nuh_layer_id value of ilRefPic is set equal to rLId.
        –    The variable currLayerId is set equal to the value of nuh_layer_id of the current picture.
        –    When VpsInterLayerSamplePredictionEnabled[ LayerIdxInVps[ currLayerId ] ][ LayerIdxInVps[ rLId ] ]
             is equal to 1, the following applies:
             –    If currColourMappingEnableFlag is equal to 1, the following applies:
                  –    The colour mapping process as specified in clause H.8.1.4.4 is invoked with the picture sample
                       arrays, rlPicSampleL, rlPicSampleCb and rlPicSampleCr, of the direct reference layer picture rlPic
                       as inputs, and with the colour mapped picture sample arrays, cmPicSampleL, cmPicSampleCb and
                       cmPicSampleCr of the colour mapped reference layer picture cmPic as outputs.
                  –    BitDepthRefLayerY and BitDepthRefLayerC are set equal to BitDepthCmOutputY and
                       BitDepthCmOutputC, respectively.
                  –    If equalPictureSizeAndOffsetFlag is equal to 1, BitDepthRefLayerY is equal to BitDepthCurrY,
                       BitDepthRefLayerC is equal to BitDepthCurrC, SubWidthRefLayerC is equal to SubWidthCurrC
                       and SubHeightRefLayerC is equal to SubHeightCurrC, the picture sample arrays rsPicSampleL,
                       rsPicSampleCb and rsPicSampleCr of the inter-layer reference picture ilRefPic are set equal to
                       cmPicSampleL, cmPicSampleCb and cmPicSampleCr, respectively.
                  –    Otherwise, the picture sample resampling process as specified in clause H.8.1.4.2 is invoked with
                       the picture sample arrays, cmPicSampleL, cmPicSampleCb and cmPicSampleCr, of the colour
                       mapped reference layer picture cmPic as inputs, and with the resampled picture sample arrays,
                       rsPicSampleL, rsPicSampleCb and rsPicSampleCr of the inter-layer reference picture ilRefPic as
                       outputs.
             –    Otherwise, the picture sample resampling process as specified in clause H.8.1.4.2 is invoked with the
                  picture sample arrays, rlPicSampleL, rlPicSampleCb and rlPicSampleCr, of the direct reference layer
                  picture rlPic as inputs, and with the resampled picture sample arrays, rsPicSampleL, rsPicSampleCb and
                  rsPicSampleCr of the inter-layer reference picture ilRefPic as outputs.
             –    sampleProcessingFlag is set equal to 1.
        –    When VpsInterLayerMotionPredictionEnabled[ LayerIdxInVps[ currLayerId ] ][ LayerIdxInVps[ rLId ] ]
             is equal to 1, the following applies:
             –    A single slice ilRefSlice of the inter-layer reference picture ilRefPic is generated as follows:


                                                                              Rec. ITU-T H.265 v8 (08/2021)          581
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 603 of 717 Page ID
                                                             #:1132

                     –    The values of slice_type, num_ref_idx_l0_active_minus1 and num_ref_idx_l1_active_minus1
                          for the generated slice ilRefSlice are set equal to the values of slice_type,
                          num_ref_idx_l0_active_minus1 and num_ref_idx_l1_active_minus1, respectively, of the first
                          slice of rlPic.
                     –    When ilRefSlice is a P or B slice, for i in the range of 0 to num_ref_idx_l0_active_minus1 of
                          ilRefSlice, inclusive, the reference picture associated with index i in reference picture list 0 of
                          ilRefSlice is set equal to the reference picture associated with index i in reference picture list 0 of
                          the first slice of rlPic.
                     –    When ilRefSlice is a B slice, for i in the range of 0 to num_ref_idx_l1_active_minus1 of
                          ilRefSlice, inclusive, the reference picture associated with index i in reference picture list 1 of
                          ilRefSlice is set equal to the reference picture associated with index i in reference picture list 1 of
                          the first slice of rlPic.
                              NOTE – When the inter-layer reference picture ilRefPic is used as the collocated picture for temporal
                              motion vector prediction, all slices of rlPic are constrained to have the same values of slice_type,
                              num_ref_idx_l0_active_minus1 and num_ref_idx_l1_active_minus1.

                –    If equalPictureSizeAndOffsetFlag is equal to 1, the following applies:
                     –    The motion and mode parameters of the inter-layer reference picture ilRefPic, including an array
                          CuPredMode specifying the prediction modes, two arrays RefIdxL0 and RefIdxL1 specifying the
                          reference indices, two arrays MvL0 and MvL1 specifying the luma motion vectors, and two arrays
                          PredFlagL0 and PredFlagL1 specifying the prediction list utilization flags, are set equal to those
                          of the decoded direct reference layer picture rlPic, respectively.
                –    Otherwise, the following applies:
                     –    The picture motion and mode parameters resampling process as specified in clause H.8.1.4.3 is
                          invoked with the direct reference layer picture rlPic, an array rlPredMode specifying the
                          prediction modes CuPredMode of rlPic, two arrays rlRefIdxL0 and rlRefIdxL1 specifying the
                          reference indices of rlPic, two arrays rlMvL0 and rlMvL1 specifying the luma motion vectors of
                          rlPic, and two arrays rlPredFlagL0 and rlPrefFlagL1 specifying the prediction list utilization flags
                          of rlPic as inputs, and an array rsPredMode specifying the prediction modes CuPredMode of
                          ilRefPic, two arrays rsRefIdxL0 and rsRefIdxL1 specifying the reference indices of ilRefPic, two
                          arrays rsMvL0 and rsMvL1 specifying the luma motion vectors of ilRefPic, and two arrays
                          rsPredFlagL0 and rsPredFlagL1 specifying the prediction list utilization flags of ilRefPic as
                          outputs.
                     –    motionProcessingFlag is set equal to 1.
      –   The following applies:

           NumRefLayerPicsSampleProcessing += sampleProcessingFlag                                                        (H-26)

           NumRefLayerPicsMotionProcessing += motionProcessingFlag                                                        (H-27)

           NumRefLayerPicsProcessing += sampleProcessingFlag | | motionProcessingFlag                                     (H-28)

H.8.1.4.2 Resampling process of picture sample values

H.8.1.4.2.1     General
Inputs to this process are:
–     a (PicWidthInSamplesRefLayerY)x(PicHeightInSamplesRefLayerY) array rlPicSampleL of luma samples,
–     a (PicWidthInSamplesRefLayerC )x(PicHeightInSamplesRefLayerC) array rlPicSampleCb of chroma samples of the
      component Cb,
–     a (PicWidthInSamplesRefLayerC )x(PicHeightInSamplesRefLayerC) array rlPicSampleCr of chroma samples of the
      component Cr.
Outputs of this process are:
–     a (PicWidthInSamplesCurrY)x(PicHeightInSamplesCurrY) array rsPicSampleL of luma samples,
–     a (PicWidthInSamplesCurrC)x(PicHeightInSamplesCurrC) array rsPicSampleCb of chroma samples of the
      component Cb,


582           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7             Filed 04/07/25               Page 604 of 717 Page ID
                                                            #:1133

–    a (PicWidthInSamplesCurrC)x(PicHeightInSamplesCurrC) array rsPicSampleCr of chroma samples of the component
     Cr.
The resampled luma sample value rsPicSampleL[ xP ][ yP ], with xP = 0..PicWidthInSamplesCurrY − 1,
yP = 0..PicHeightInSamplesCurrY − 1, is derived by invoking the luma sample resampling process specified in clause
H.8.1.4.2.2 with luma sample location ( xP, yP ) and the reference luma sample array rlPicSampleL given as inputs.
The resampled chroma sample value rsPicSampleCb[ xPC ][ yPC ], with xPC = 0..PicWidthInSamplesCurrC − 1,
yPC = 0..PicHeightInSamplesCurrC − 1, of the chroma component Cb is derived by invoking the chroma sample
resampling process specified in clause H.8.1.4.2.3 with chroma sample location ( xPC, yPC ) and the reference chroma
sample array rlPicSampleCb given as inputs.
The resampled chroma sample value rsPicSampleCr[ xPC ][ yPC ], with xPC = 0..PicWidthInSamplesCurrC − 1,
yPC = 0..PicHeightInSamplesCurrC − 1, of the chroma component Cr is derived by invoking the chroma sample
resampling process specified in clause H.8.1.4.2.3 with chroma sample location ( xPC, yPC ) and the reference sample array
rlPicSampleCr given as inputs.

H.8.1.4.2.2   Resampling process of luma sample values
Inputs to this process are
–    a luma sample location ( xP, yP ) relative to the top-left luma sample of the current picture,
–    the luma reference sample array rlPicSampleL.
Output of this process is the resampled luma sample value rsLumaSample.
Table H.1 specifies the 8-tap filter coefficients fL[ p, x ] with p = 0..15 and x = 0..7 used for the luma resampling process.

                                      Table H.1 – 16-phase luma resampling filter

                                                       Interpolation filter coefficients
                  Phase p
                             fL[ p, 0 ] fL[ p, 1 ] fL[ p, 2 ] fL[ p, 3 ] fL[ p, 4 ] fL[ p, 5 ] fL[ p, 6 ] fL[ p, 7 ]
                     0           0          0          0         64         0           0          0          0
                     1           0          1         −3         63         4          −2          1          0
                     2          −1          2         −5         62         8          −3          1          0
                     3          −1          3         −8         60         13         −4          1          0
                     4          −1          4         −10        58         17         −5          1          0
                     5          −1          4         −11        52         26         −8          3          −1
                     6          −1          3         −9         47         31        −10          4          −1
                     7          −1          4         −11        45         34        −10          4          −1
                     8          −1          4         −11        40         40        −11          4          −1
                     9          −1          4         −10        34         45        −11          4          −1
                     10         −1          4         −10        31         47         −9          3          −1
                     11         −1          3         −8         26         52        −11          4          −1
                     12          0          1         −5         17         58        −10          4          −1
                     13          0          1         −4         13         60         −8          3          −1
                     14          0          1         −3          8         62         −5          2          −1
                     15          0          1         −2          4         63         −3          1          0



The value of the resampled luma sample rsLumaSample is derived by applying the following ordered steps:
     1.   The derivation process for reference layer sample location used in resampling as specified in clause H.8.1.4.2.4
          is invoked with chromaFlag equal to 0 and luma sample location ( xP, yP ) given as the inputs and luma sample
          location ( xRef16, yRef16 ) in units of 1/16-th luma sample as output.
     2.   The variables xRef and xPhase are derived as follows:
               xRef = ( xRef16 >> 4 )                                                                                  (H-29)
               xPhase = ( xRef16 ) % 16                                                                                (H-30)
     3.   The variables yRef and yPhase are derived as follows:


                                                                                    Rec. ITU-T H.265 v8 (08/2021)        583
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25                Page 605 of 717 Page ID
                                                            #:1134

                yRef = ( yRef16 >> 4 )                                                                                 (H-31)
                yPhase = ( yRef16 ) % 16                                                                               (H-32)
      4.   The variables shift1, shift2 and offset are derived as follows:
                shift1 = BitDepthRefLayerY − 8                                                                         (H-33)
                shift2 = 20 − BitDepthCurrY                                                                            (H-34)
                offset = 1 << ( shift2 − 1 )                                                                           (H-35)
      5.   The sample value tempArray[ n ] with n = 0..7, is derived as follows:
           yPosRL = Clip3( 0, PicHeightInSamplesRefLayerY − 1, yRef + n − 3 )                                          (H-36)
           refW = PicWidthInSamplesRefLayerY                                                                           (H-37)
           tempArray[ n ] = ( fL[ xPhase, 0 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef − 3 ), yPosRL ] +
                             fL[ xPhase, 1 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef − 2 ), yPosRL ] +
                             fL[ xPhase, 2 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef − 1 ), yPosRL ] +
                             fL[ xPhase, 3 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef ), yPosRL ] +
                             fL[ xPhase, 4 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef + 1 ), yPosRL ] + (H-38)
                             fL[ xPhase, 5 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef + 2 ), yPosRL ] +
                             fL[ xPhase, 6 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef + 3 ), yPosRL ] +

                fL[ xPhase, 7 ] * rlPicSampleL[ Clip3( 0, refW − 1, xRef + 4 ), yPosRL ] ) >> shift1
      6.   The resampled luma sample value rsLumaSample is derived as follows:
           rsLumaSample = ( fL[ yPhase, 0 ] * tempArray[ 0 ] +
                           fL[ yPhase, 1 ] * tempArray[ 1 ] +
                           fL[ yPhase, 2 ] * tempArray[ 2 ] +
                           fL[ yPhase, 3 ] * tempArray[ 3 ] +
                           fL[ yPhase, 4 ] * tempArray[ 4 ] +                                                          (H-39)
                           fL[ yPhase, 5 ] * tempArray[ 5 ] +
                           fL[ yPhase, 6 ] * tempArray[ 6 ] +
                           fL[ yPhase, 7 ] * tempArray[ 7 ] + offset ) >> shift2
           rsLumaSample = Clip3( 0, ( 1 << BitDepthCurrY ) − 1, rsLumaSample )                                         (H-40)
H.8.1.4.2.3     Resampling process of chroma sample values
Inputs to this process are:
–     a chroma sample location ( xPC, yPC ) relative to the top-left chorma sample of the current picture,
–     the chroma reference sample array rlPicSampleC.
Output of this process is the resampled chroma sample value rsChromaSample.
Table H.2 specifies the 4-tap filter coefficients fC[ p, x ] with p = 0..15 and x = 0..3 used for the chroma resampling process.

                                      Table H.2 – 16-phase chroma resampling filter

                                                        Interpolation filter coefficients
                                   Phase p
                                               fC[ p, 0 ]    fC[ p, 1 ]    fC[ p, 2 ]   fC[ p, 3 ]
                                      0            0             64            0             0
                                      1           −2             62            4             0
                                      2           −2             58           10             −2
                                      3           −4             56           14             −2
                                      4           −4             54           16             −2
                                      5           −6             52           20             −2
                                      6           −6             46           28             −4
                                      7           −4             42           30             −4



584           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 606 of 717 Page ID
                                                          #:1135

                                     8           −4           36            36         −4
                                     9           −4           30            42         −4
                                    10           −4           28            46         −6
                                    11           −2           20            52         −6
                                    12           −2           16            54         −4
                                    13           −2           14            56         −4
                                    14           −2           10            58         −2
                                    15            0            4            62         −2



The value of the resampled chroma sample value rsChromaSample is derived by applying the following ordered steps:
     1.   The derivation process for reference layer sample location in resampling as specified in clause H.8.1.4.2.4 is
          invoked with chromaFlag equal to 1 and chroma sample location ( xPC, yPC ) given as the inputs and chroma
          sample location ( xRef16, yRef16 ) in units of 1/16-th chroma sample as output.
     2.   The variables xRef and xPhase are derived as follows:
               xRef = ( xRef16 >> 4 )                                                                             (H-41)
               xPhase = ( xRef16 ) % 16                                                                           (H-42)
     3.   The variables yRef and yPhase are derived as follows:
               yRef = ( yRef16 >> 4 )                                                                             (H-43)
               yPhase = ( yRef16 ) % 16                                                                           (H-44)
     4.   The variables shift1, shift2 and offset are derived as follows:
               shift1 = BitDepthRefLayerC − 8                                                                     (H-45)
               shift2 = 20 − BitDepthCurrC                                                                        (H-46)
               offset =1 << ( shift2 − 1 )                                                                        (H-47)
     5.   The sample value tempArray[ n ] with n = 0..3, is derived as follows:
          yPosRL = Clip3( 0, PicHeightInSamplesRefLayerC − 1, yRef + n − 1 )                                      (H-48)
          refWC = PicWidthInSamplesRefLayerC                                                                      (H-49)
          tempArray[ n ] = ( fC[ xPhase, 0 ] * rlPicSampleC[ Clip3( 0, refWC − 1, xRef − 1 ), yPosRL ] +
                         fC[ xPhase, 1 ] * rlPicSampleC[ Clip3( 0, refWC − 1, xRef ), yPosRL ] +
                         fC[ xPhase, 2 ] * rlPicSampleC[ Clip3( 0, refWC − 1, xRef + 1 ), yPosRL ] + (H-50)

               fC[ xPhase, 3 ] * rlPicSampleC[ Clip3( 0, refWC − 1, xRef + 2 ), yPosRL ] ) >> shift1
     6.   The resampled chroma sample value rsChromaSample is derived as follows:
          rsChromaSample = ( fC[ yPhase, 0 ] * tempArray[ 0 ] +
                      fC[ yPhase, 1 ] * tempArray[ 1 ] +
                      fC[ yPhase, 2 ] * tempArray[ 2 ] +                                                          (H-51)
                      fC[ yPhase, 3 ] * tempArray[ 3 ] + offset ) >> shift2
          rsChromaSample = Clip3( 0, ( 1 << BitDepthCurrC ) − 1, rsChromaSample )                                 (H-52)
H.8.1.4.2.4   Derivation process for reference layer sample location in units of 1/16-th sample
Inputs to this process are:
–      a variable chromaFlag specifying whether the sample location being derived is that of the luma component or that
of one of the chroma colour components.
–      a sample location ( xP, yP ) relative to the top-left sample of the luma component or the top-left sample of one of
the chroma components of the current picture depending on the value of chromaFlag.




                                                                                 Rec. ITU-T H.265 v8 (08/2021)       585
      Case 2:25-cv-03053             Document 1-7         Filed 04/07/25          Page 607 of 717 Page ID
                                                        #:1136

Output of this process is a sample location ( xRef16, yRef16 ) specifying the reference layer sample location in units of
1/16-th sample relative to the top-left sample of the luma component or the top-left sample of one of the chroma
components of the direct reference layer picture depending on the value of chromaFlag.
The variables currOffsetLeft, currOffsetTop, refOffsetLeft and refOffsetTop are derived as follows:

        currOffsetLeft = ScaledRefLayerLeftOffset / ( chromaFlag ? SubWidthCurrC : 1)                            (H-53)

        currOffsetTop = ScaledRefLayerTopOffset / ( chromaFlag ? SubHeightCurrC : 1)                             (H-54)

        refOffsetLeft = ( RefLayerRegionLeftOffset / ( chromaFlag ? SubWidthRefLayerC : 1) ) << 4 (H-55)

        refOffsetTop = ( RefLayerRegionTopOffset / ( chromaFlag ? SubHeightRefLayerC : 1) ) << 4 (H-56)

The variables phaseHor, phaseVer, scaleHor and scaleVer are derived as follows:

        phaseHor = chromaFlag ? PhaseHorC : PhaseHorY
         (H-57)

        phaseVer = chromaFlag ? PhaseVerC : PhaseVerY
         (H-58)

        scaleHor = chromaFlag ? SpatialScaleFactorHorC : SpatialScaleFactorHorY                                  (H-59)

        scaleVer = chromaFlag? SpatialScaleFactorVerC : SpatialScaleFactorVerY                                   (H-60)

The variables addHor and addVer are derived as follows:

        addHor = −( ( scaleHor * phaseHor + 8 ) >> 4 )
          (H-61)

        addVer = −( ( scaleVer * phaseVer + 8 ) >> 4 )
          (H-62)

The variables xRef16 and yRef16 are derived as follows:

        xRef16 = ( ( ( xP − currOffsetLeft ) * scaleHor + addHor + ( 1 << 11 ) ) >> 12 ) + refOffsetLeft
         (H-63)

        yRef16 = ( ( ( yP − currOffsetTop ) * scaleVer + addVer + ( 1 << 11 ) ) >> 12 ) + refOffsetTop
         (H-64)

H.8.1.4.3 Resampling process of picture motion and mode parameters
Inputs to this process are:
–     a decoded direct reference layer picture rlPic,
–     a (PicWidthInSamplesRefLayerY)x(PicHeightInSamplesRefLayerY) array rlPredMode specifying the prediction
      modes of the direct reference layer picture,
–     two (PicWidthInSamplesRefLayerY)x(PicHeightInSamplesRefLayerY)              arrays   rlRefIdxL0   and   rlRefIdxL1
      specifying the reference indices of the direct reference layer picture,
–     two (PicWidthInSamplesRefLayerY)x(PicHeightInSamplesRefLayerY) arrays rlMvL0 and rlMvL1 specifying the
      luma motion vectors of the direct reference layer picture,
–     two (PicWidthInSamplesRefLayerY)x(PicHeightInSamplesRefLayerY) arrays rlPredFlagL0 and rlPredFlagL1
      specifying the prediction list utilization flags of the direct reference layer picture.
Outputs of this process are:
–     a (PicWidthInSamplesCurrY)x(PicHeightInSamplesCurrY) array rsPredMode specifying the prediction modes of the
      resampled picture,




586         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7          Filed 04/07/25          Page 608 of 717 Page ID
                                                        #:1137

–    two (PicWidthInSamplesCurrY)x(PicHeightInSamplesCurrY) arrays rsRefIdxL0 and rsRefIdxL1 specifying the
     reference indices of the resampled picture,
–    two (PicWidthInSamplesCurrY)x(PicHeightInSamplesCurrY) arrays rsMvL0 and rsMvL1 specifying the luma
     motion vectors of the resampled picture,
–    two (PicWidthInSamplesCurrY)x(PicHeightInSamplesCurrY) arrays rsPredFlagL0 and rsPredFlagL1 specifying the
     prediction list utilization flags of the resampled picture.
For each 16x16 prediction block of the resampled picture with the top-left luma sample location at ( xP, yP ), where
xP = xB << 4        and     yP = yB << 4,      for    xB = 0..( ( PicWidthInSamplesCurrY + 15 ) >> 4 ) − 1         and
yB = 0..( ( PicHeightInSamplesCurrY + 15 ) >> 4 ) − 1, its motion and mode parameters rsPredMode[ xP ][ yP ],
rsMvLX[ xP ][ yP ], rsRefIdxLX[ xP ][ yP ] and rsPredFlagLX[ xP ][ yP ], with X being equal to 0 and 1, are derived by
applying the following ordered steps:
    1.   The centre location ( xPCtr, yPCtr ) of the luma prediction block is derived as follows:

                      xPCtr = xP + 8                                                                          (H-65)

                      yPCtr = yP + 8                                                                          (H-66)

    2.   The variables xRef and yRef are derived as follows:

                      xRef =
                      ( ( ( xPCtr − ScaledRefLayerLeftOffset ) * SpatialScaleFactorHorY + ( 1 << 15 ) ) >>
                      16 )
                             + RefLayerRegionLeftOffset
                         (H-67)

                      yRef =
                      ( ( ( yPCtr − ScaledRefLayerTopOffset ) * SpatialScaleFactorVerY + ( 1 << 15 ) ) >>
                      16 )
                             + RefLayerRegionTopOffset
                         (H-68)

    3.   The rounded reference layer luma sample location ( xRL, yRL ) is derived as follows:

                      xRL = ( ( xRef + 4 ) >> 4 ) << 4
                       (H-69)

                      yRL = ( ( yRef + 4 ) >> 4 ) << 4
                       (H-70)

    4.   The variable rsPredMode[ xP ][ yP ] is derived as follows:

                       if( xRL < 0 | | xRL >= PicWidthInSamplesRefLayerY | | yRL < 0 | |
                              yRL >= PicHeightInSamplesRefLayerY ),                                           (H-71)
                           rsPredMode[ xP ][ yP ] = MODE_INTRA
                       else
                           rsPredMode[ xP ][ yP ] = rlPredMode[ xRL ][ yRL ]

    5.   For X being each of 0 and 1, the variables rsMvLX[ xP ][ yP ], rsRefIdxLX[ xP ][ yP ] and
         rsPredFlagLX[ xP ][ yP ] are derived as follows:
          –   If rsPredMode[ xP ][ yP ] is equal to MODE_INTER, the following applies:
               –    rsRefIdxLX[ xP ][ yP ] and rsPredFlagLX[ xP ][ yP ] are derived as follows:

                       rsRefIdxLX[ xP ][ yP ] = rlRefIdxLX[ xRL ][ yRL ]                                      (H-72)
                       rsPredFlagLX[ xP ][ yP ] = rlPredFlagLX[ xRL ][ yRL ]                                  (H-73)

               –    rsMvLX[ xP ][ yP ][ 0 ] is derived as follows:




                                                                              Rec. ITU-T H.265 v8 (08/2021)      587
      Case 2:25-cv-03053             Document 1-7           Filed 04/07/25        Page 609 of 717 Page ID
                                                          #:1138

                     –     If ScaledRefRegionWidthInSamplesY is not equal to RefLayerRegionWidthInSamplesY, the
                           following applies:

                          scaleMVX = Clip3( −4096, 4095, ( ( ScaledRefRegionWidthInSamplesY << 8 ) (H-74)
                            + ( RefLayerRegionWidthInSamplesY >> 1 ) ) / RefLayerRegionWidthInSamplesY )

                          rsMvLX[ xP ][ yP ][ 0 ] = Clip3( −32768, 32767, Sign( scaleMVX *
                            rlMvLX[ xRL ][ yRL ][ 0 ] ) * ( ( Abs ( scaleMVX * rlMvLX[ xRL ][ yRL ][ 0 ] )
                            (H-75)
                            + 127 ) >> 8 ) )

                     –     Otherwise, the following applies:

                          rsMvLX[ xP ][ yP ][ 0 ] = rlMvLX[ xRL ][ yRL ][ 0 ]                                     (H-76)

                 –   rsMvLX[ xP ][ yP ][ 1 ] is derived as follows:
                     –     If ScaledRefRegionHeightInSamplesY is not equal to RefLayerRegionHeightInSamplesY, the
                           following applies:

                          scaleMVY = Clip3( −4096, 4095, ( ( ScaledRefRegionHeightInSamplesY << 8 )(H-77)
                            + ( RefLayerRegionHeightInSamplesY >> 1 ) ) /
                          RefLayerRegionHeightInSamplesY )

                          rsMvLX[ xP ][ yP ][ 1 ] = Clip3( −32768, 32767, Sign( scaleMVY *
                            rlMvLX[ xRL ][ yRL ][ 1 ] ) * ( ( Abs ( scaleMVY * rlMvLX[ xRL ][ yRL ][ 1 ] )
                            (H-78)
                            + 127 ) >> 8 ) )

                     –     Otherwise, the following applies:

                          rsMvLX[ xP ][ yP ][ 1 ] = rlMvLX[ xRL ][ yRL ][ 1 ]                                     (H-79)

          –     Otherwise (rsPredMode[ xP ][ yP ] is equal to MODE_INTRA), the following applies:
                 –   rsMvL0[ xP ][ yP ][ 0 ], rsMvL0[ xP ][ yP ][ 1 ], rsMvL1[ xP ][ yP ][ 0 ] and rsMvL1[ xP ][ yP ][ 1 ]
                     are set equal to 0.
                 –   rsRefIdxL0[ xP ][ yP ] and rsRefIdxL1[ xP ][ yP ] are set equal to −1.
                 –   rsPredFlagL0[ xP ][ yP ] and rsPredFlagL1[ xP ][ yP ] are set equal to 0.

H.8.1.4.4 Colour mapping process of picture sample values

H.8.1.4.4.1     General
Inputs to this process are:
–     a (PicWidthInSamplesRefLayerY)x(PicHeightInSamplesRefLayerY) array rlPicSampleL of luma samples,
–     a (PicWidthInSamplesRefLayerC)x(PicHeightInSamplesRefLayerC) array rlPicSampleCb of chroma samples of the
      component Cb,
–     a (PicWidthInSamplesRefLayerC)x(PicHeightInSamplesRefLayerC) array rlPicSampleCr of chroma samples of the
      component Cr.
Outputs of this process are:
–     a (PicWidthInSamplesRefLayerY)x(PicHeightInSamplesRefLayerY) array cmPicSampleL of luma samples,
–     a (PicWidthInSamplesRefLayerC)x(PicHeightInSamplesRefLayerC) array cmPicSampleCb of chroma samples of the
      component Cb,
–     a (PicWidthInSamplesRefLayerC)x(PicHeightInSamplesRefLayerC) array cmPicSampleCr of chroma samples of the
      component Cr.
The colour mapped luma sample cmPicSampleL[ xP ][ yP ] with xP = 0..PicWidthInSamplesRefLayerY − 1,
yP = 0..PicHeightInSamplesRefLayerY − 1 is derived by invoking the colour mapping process of luma sample values as


588           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 610 of 717 Page ID
                                                         #:1139

specified in clause H.8.1.4.4.2 with luma sample location ( xP, yP ), sample arrays rlPicSampleL, rlPicSampleCb and
rlPicSampleCr given as inputs.
The colour mapped chroma sample cmPicSampleCb[ xC ][ yC ] with xC = 0..PicWidthInSamplesRefLayerC − 1,
yC = 0..PicHeightInSamplesRefLayerC − 1 is derived by invoking the colour mapping process of chroma sample values
as specified in clause H.8.1.4.4.3 with chroma sample location ( xC, yC ), sample arrays rlPicSampleL, rlPicSampleCb
rlPicSampleCr and cIdx equal to 0 given as inputs.
The colour mapped chroma sample cmPicSampleCr[ xC ][ yC ] with xC = 0..PicWidthInSamplesRefLayerC − 1,
yC = 0..PicHeightInSamplesRefLayerC − 1 is derived by invoking the colour mapping process of chroma sample values
as specified in clause H.8.1.4.4.3 with chroma sample location ( xC, yC ), sample arrays rlPicSampleL, rlPicSampleCb,
rlPicSampleCr and cIdx equal to 1 given as inputs.

H.8.1.4.4.2    Colour mapping process of luma sample values
Inputs to this process are:
–    a luma sample location ( xP, yP ) specifying the luma sample location relative to the top-left luma sample of the direct
     reference layer picture,
–    the luma reference layer sample array rlPicSampleY
–    the chroma reference layer sample array rlPicSampleCb of the Cb component
–    the chroma reference layer sample array rlPicSampleCr of the Cr component
Output of the process is a colour mapped luma sample value cmLumaSample
The chroma sample location ( xPC, yPC ) is set equal to ( xP / SubWidthRefLayerC, yP / SubHeightRefLayerC ).
The value of cmLumaSample is derived by applying the following ordered steps:
    1.   The variables yShift2Idx, cShift2Idx are derived as follows:

           yShift2Idx = BitDepthCmInputY − cm_octant_depth − cm_y_part_num_log2                                     (H-80)

           cShift2Idx = BitDepthCmInputC − cm_octant_depth                                                          (H-81)

    2.   The variables nMappingShift and nMappingOffset are derived as follows:

           nMappingShift = 10 + BitDepthCmInputY − BitDepthCmOutputY                                                (H-82)

           nMappingOffset = 1 << ( nMappingShift − 1 )
                  (H-83)

    3.   The variables tempCb and tempCr are derived as follows:
           –     If SubWidthRefLayerC is equal to 2 and SubHeightRefLayerC is equal to 2, the following applies:
                 –     If xP % 2 is equal to 0 and yP % 2 is equal to 0, the following applies:

                        yP2C = Max( 0, yPC − 1 )                                                                    (H-84)

                        tempCb = ( rlPicSampleCb[ xPC ][ yPC ] * 3 + rlPicSampleCb[ xPC ][ yP2C ] + 2 ) >> 2
                               (H-85)

                        tempCr = ( rlPicSampleCr[ xPC ][ yPC ] * 3 + rlPicSampleCr[ xPC ][ yP2C ] + 2 ) >> 2
                                (H-86)

                 –     Otherwise, if xP % 2 is equal to 0 and yP % 2 is equal to 1, the following applies:

                        yP2C = Min( yPC + 1, PicHeightInSamplesRefLayerC − 1 )                                      (H-87)

                        tempCb = ( rlPicSampleCb[ xPC ][ yPC ] * 3 + rlPicSampleCb[ xPC ][ yP2C ] + 2 ) >> 2
                               (H-88)

                        tempCr = ( rlPicSampleCr[ xPC ][ yPC ] * 3 + rlPicSampleCr[ xPC ][ yP2C ] + 2 ) >> 2
                                (H-89)

                                                                              Rec. ITU-T H.265 v8 (08/2021)            589
      Case 2:25-cv-03053            Document 1-7           Filed 04/07/25          Page 611 of 717 Page ID
                                                         #:1140

                  –    Otherwise, if xP % 2 is equal to 1 and yP % 2 is equal to 0, the following applies:

                        xP2C = Min( xPC + 1, PicWidthInSamplesRefLayerC − 1 )                                 (H-90)

                        yP2C = Max( 0, yPC − 1 )                                                              (H-91)

                        tempCb = ( rlPicSampleCb[ xPC ][ yP2C ] + rlPicSampleCb[ xP2C ][ yP2C ] +
                             ( rlPicSampleCb[ xPC ][ yPC ] + rlPicSampleCb[ xP2C ][ yPC ] ) * 3 + 4 ) >> 3
                             (H-92)

                        tempCr = ( rlPicSampleCr[ xPC ][ yP2C ] + rlPicSampleCr[ xP2C ][ yP2C ] +
                              ( rlPicSampleCr[ xPC ][ yPC ] + rlPicSampleCr[ xP2C ][ yPC ] ) * 3 + 4 ) >> 3
                              (H-93)

                  –    Otherwise (xP % 2 is equal to 1 and yP % 2 is equal to 1), the following applies:

                        xP2C = Min( xPC + 1, PicWidthInSamplesRefLayerC − 1 )                                 (H-94)

                        yP2C = Min( yPC + 1, PicHeightInSamplesRefLayerC − 1 )                                (H-95)

                        tempCb = ( ( rlPicSampleCb[ xPC ][ yPC ] + rlPicSampleCb[ xP2C ][ yPC ] ) * 3 +
                             rlPicSampleCb[ xPC ][ yP2C ] + rlPicSampleCb[ xP2C ][ yP2C ] + 4 ) >> 3(H-96)

                        tempCr = ( ( rlPicSampleCr[ xPC ][ yPC ] + rlPicSampleCr[ xP2C ][ yPC ] ) * 3 +
                              rlPicSampleCr[ xPC ][ yP2C ] + rlPicSampleCr[ xP2C ][ yP2C ] + 4 ) >> 3 (H-97)

             –    Otherwise, if SubWidthRefLayerC is equal to 2, the following applies:
                  –    If xP % 2 is equal to 1, the following applies:

                        xP2C = Min( xPC + 1, PicWidthInSamplesRefLayerC − 1 )                                 (H-98)

                        tempCb = ( rlPicSampleCb[ xPC ][ yPC ] + rlPicSampleCb[ xP2C ][ yPC ] + 1 ) >> 1
                               (H-99)

                        tempCr = ( rlPicSampleCr[ xPC ][ yPC ] + rlPicSampleCr[ xP2C ][ yPC ] + 1 ) >> 1
                                (H-100)

                  –    Otherwise (xP % 2 is equal to 0), the following applies:

                        tempCb = rlPicSampleCb[ xPC ][ yPC ]                                                 (H-101)

                        tempCr = rlPicSampleCr[ xPC ][ yPC ]                                                 (H-102)

             –    Otherwise (SubWidthRefLayerC is equal to 1 and SubHeightRefLayerC is equal to 1), the following
                  applies:

                        tempCb = rlPicSampleCb[ xPC ][ yPC ]                                                 (H-103)

                        tempCr = rlPicSampleCr[ xPC ][ yPC ]                                                 (H-104)

      4.   The value of cmLumaSample is derived as follows:

             idxY = rlPicSampleY[ xP ][ yP ] >> yShift2Idx
                      (H-105)

             idxCb = ( cm_octant_depth = = 1 ) ? ( tempCb >= CMThreshU ) : ( tempCb >> cShift2Idx )
                      (H-106)

             idxCr = ( cm_octant_depth = = 1 ) ? ( tempCr >= CMThreshV ) : ( tempCr >> cShift2Idx )
                      (H-107)


590          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25         Page 612 of 717 Page ID
                                                         #:1141

              cmLumaSample = ( ( LutY[ idxY ][ idxCb ][ idxCr ][ 0 ] * rlPicSampleY[ xP ][ yP ]

                 + LutY[ idxY ][ idxCb ][ idxCr ][ 1 ] * tempCb + LutY[ idxY ][ idxCb ][ idxCr ][ 2 ] * tempCr
                    + nMappingOffset ) >> nMappingShift ) + LutY[ idxY ][ idxCb ][ idxCr ][ 3 ]          (H-108)

              cmLumaSample = Clip3( 0, (1 << BitDepthCmOutputY ) − 1, cmLumaSample )                             (H-109)

H.8.1.4.4.3     Colour mapping process of chroma sample values
Inputs to this process are:
–    a chroma sample location ( xPC, yPC ) specifying the chroma sample location relative to the top-left chroma sample
     of the direct reference layer picture,
–    the luma reference sample array rlPicSampleY,
–    the chroma reference sample array rlPicSampleCb of the Cb component,
–    the chroma reference sample array rlPicSampleCr of the Cr component,
–        a variable cIdx specifying the chroma component index.
Output of the process is a colour mapped chorma sample value cmChromaSample.
The luma sample location ( xP, yP ) is set equal to ( xPC * SubWidthRefLayerC, yPC * SubHeightRefLayerC ).
The colour mapping table LutC is set equal to LutCb if cIdx is equal to 0 and set equal to LutCr otherwise.
The value of cmChromaSample is derived by applying the following ordered steps:
    1.    The variables yShift2Idx, cShift2Idx are derived as follows:

              yShift2Idx = BitDepthCmInputY − cm_octant_depth − cm_y_part_num_log2                               (H-110)

              cShift2Idx = BitDepthCmInputC − cm_octant_depth                                                    (H-111)

    2.    The variables nMappingShift and nMappingOffset are derived as follows:

              nMappingShift = 10 + BitDepthCmInputY − BitDepthCmOutputY                                          (H-112)

              nMappingOffset = 1 << ( nMappingShift − 1 )
                     (H-113)

    3.    The variable tempY is derived as follows:
          –    If SubWidthRefLayerC is equal to 2 and SubHeightRefLayerC is equal to 2, the following applies:

                tempY = ( rlPicSampleY[ xP ][ yP ] + rlPicSampleY[ xP ][ yP + 1 ] + 1 ) >> 1                     (H-114)

          –    Otherwise (SubWidthRefLayerC is not equal to 2 or SubHeightRefLayerC is not equal to 2), the following
               applies:

                tempY = rlPicSampleY[ xP ][ yP ]                                                                 (H-115)

    4.    The value of cmChromaSample is derived as follows:

              idxY = tempY >> yShift2Idx                                                                         (H-116)

              idxCb = ( cm_octant_depth = = 1 ) ?                                                   (H-117)
                  ( rlPicSampleCb[ xPC ][ yPC ] >= CMThreshU ) : ( rlPicSampleCb[ xPC ][ yPC ] >> cShift2Idx
                   )

              idxCr = ( cm_octant_depth = = 1 ) ?                                                   (H-118)
                  ( rlPicSampleCr[ xPC ][ yPC ] >= CMThreshV ) : ( rlPicSampleCr[ xPC ][ yPC ] >> cShift2Idx
                  )



                                                                             Rec. ITU-T H.265 v8 (08/2021)          591
      Case 2:25-cv-03053                 Document 1-7             Filed 04/07/25              Page 613 of 717 Page ID
                                                                #:1142

             cmChromaSample = ( ( LutC[ idxY ][ idxCb ][ idxCr ][ 0 ] * tempY
                  + LutC[ idxY ][ idxCb ][ idxCr ][ 1 ] * rlPicSampleCb[ xPC ][ yPC ]                                            (H-119)
                  + LutC[ idxY ][ idxCb ][ idxCr ][ 2 ] * rlPicSampleCr[ xPC ][ yPC ]
                  + nMappingOffset ) >> nMappingShift ) + LutC[ idxY ][ idxCb ][ idxCr ][ 3 ]

             cmChromaSample = Clip3( 0, ( 1 << BitDepthCmOutputC ) − 1, cmChromaSample )                                         (H-120)

H.8.2     NAL unit decoding process
The specification in clause F.8.2 apply.

H.8.3     Slice decoding processes

H.8.3.1 Decoding process for picture order count
The specifications in clause F.8.3.1 apply.

H.8.3.2 Decoding process for reference picture set
The specifications in clause F.8.3.2 apply.

H.8.3.3 Decoding process for generating unavailable reference pictures
The specifications in clause F.8.3.3 apply.

H.8.3.4 Decoding process for reference picture lists construction
The specifications in clause F.8.3.4 apply with the following additions:
      NOTE – Because bitstreams conforming to this annex are constrained to allow only zero-valued motion vectors for inter prediction
      using inter-layer reference pictures, it is suggested that a scalable encoder should disable temporal motion vector prediction for the
      current picture (by setting slice_temporal_mvp_enabled_flag to zero) when the reference picture lists of all slices in the current
      picture include only inter-layer reference pictures. This way, the encoder would be able to avoid the need to send the slice segment
      header syntax elements collocated_from_l0_flag and collocated_ref_idx.

H.8.4     Decoding process for coding units coded in intra prediction mode
The specifications in clause F.8.4 apply.

H.8.5     Decoding process for coding units coded in inter prediction mode
The specifications in clause F.8.5 apply with the following additions:
It is a requirement of bitstream conformance that, for X being replaced by either 0 or 1, the variables mvLX[ 0 ] and
mvLX[ 1 ] as an output of clause 8.5.3.1 shall be equal to 0 if the value of refIdxLX as an output of clause 8.5.3.1
corresponds to an inter-layer reference picture. That is, in any conforming bitstream, for X being replaced by either 0 or 1,
upon invoking the decoding process in clause 8.5.3.1, the values of the syntax elements merge_idx, mvp_lX_flag,
ref_idx_lX, MvdLX and mvd_l1_zero_flag shall always result in zero values for mvLX[ 0 ] and mvLX[ 1 ] when the value
of refIdxLX of the reference picture list RefPicListX indicates an inter-layer reference picture.
The variable currLayerId is set equal to nuh_layer_id of the current picture.
It is a requirement of bitstream conformance that when the reference picture represented by the variable refIdxLX and
derived by invoking clause 8.5.3.2, for X being replaced by either 0 or 1, is an inter-layer reference picture,
VpsInterLayerSamplePredictionEnabled[ LayerIdxInVps[ currLayerId ] ][ LayerIdxInVps[ rLId ] ] shall be equal to 1,
where rLId is set equal to nuh_layer_id of the direct reference layer picture from which the inter-layer reference picture is
derived.
It is a requirement of bitstream conformance that when the collocated picture colPic, used for temporal motion vector
prediction     and   derived     by    invoking      clause    8.5.3.2.7,    is   an    inter-layer    reference     picture,
VpsInterLayerMotionPredictionEnabled[ LayerIdxInVps[ currLayerId ] ][ LayerIdxInVps[ rLId ] ] shall be equal to 1,
where rLId is set equal to nuh_layer_id of the direct reference layer picture from which the inter-layer reference picture is
derived.
It is a requirement of bitstream conformance that the collocated picture colPic, used for temporal motion vector prediction
and derived by invoking clause 8.5.3.2.7, shall not be an inter-layer reference picture if the direct reference layer picture,
from which the inter-layer reference picture is derived, is coded using two or more slice segments and any of the following
conditions is true:




592          Rec. ITU-T H.265 v8 (08/2021)
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 614 of 717 Page ID
                                                           #:1143

      –    The slice segment header syntax element slice_type of at least one of the slice segments of the direct reference
           layer picture is different from the slice segment header syntax element slice_type of another slice segment of the
           direct reference layer picture;
      –    For X being replaced by either 0 or 1, the slice segment header syntax element num_ref_idx_lX_active_minus1
           of at least one of the slice segments of the direct reference layer picture is different from the slice segment header
           syntax element num_ref_idx_lX_active_minus1 of another slice segment of the direct reference layer picture;
      –    For X being replaced by either 0 or 1, the reference picture list RefPicListX of at least one of the slice segments
           of the direct reference layer picture is different from the reference picture list RefPicListX of another slice
           segment of the direct reference layer picture.

H.8.6     Scaling, transformation and array construction process prior to deblocking filter process
The specifications in clause F.8.6 apply.

H.8.7     In-loop filter process
The specifications in clause F.8.7 apply.

H.9        Parsing process
The specifications in clause F.9 apply.

H.10       Specification of bitstream subsets
The specifications in clause F.10 and its subclauses apply.

H.11       Profiles, tiers and levels
H.11.1 Profiles

H.11.1.1 Scalable Main and Scalable Main 10 profiles
For a layer in an output operation point associated with an OLS in a bitstream, the layer being conforming to the Scalable
Main or Scalable Main 10 profile, the following applies:
–     Let olsIdx be the OLS index of the OLS, the sub-bitstream subBitstream and the base layer sub-bitstream
      baseBitstream are derived as specified in clause F.11.3.
When vps_base_layer_internal_flag is equal to 1, the base layer sub-bitstream baseBitstream shall obey the following
constraints:
–     When the layer conforms to the Scalable Main profile, the base layer sub-bitstream baseBitstream shall be indicated
      to conform to the Main profile.
–     When the layer conforms to the Scalable Main 10 profile, the base layer sub-bitstream baseBitstream shall be indicated
      to conform to the Main 10 profile or the Main profile.
The sub-bitstream subBitstream shall obey the following constraints:
–     All active VPSs shall have vps_num_rep_formats_minus1 in the range of 0 to 15, inclusive.
–     All active SPSs for layers in subBitstream shall have chroma_format_idc equal to 1 only.
–     All active SPSs for layers in subBitstream shall have transform_skip_rotation_enabled_flag,
      transform_skip_context_enabled_flag,           implicit_rdpcm_enabled_flag,        explicit_rdpcm_enabled_flag,
      extended_precision_processing_flag,      intra_smoothing_disabled_flag,     high_precision_offsets_enabled_flag,
      persistent_rice_adaptation_enabled_flag and cabac_bypass_alignment_enabled_flag, when present, equal to 0 only.
–     CtbLog2SizeY derived from all active SPSs for layers in subBitstream shall be in the range of 4 to 6, inclusive.
–     All active PPSs for layers in subBitstream shall have log2_max_transform_skip_block_size_minus2 and
      chroma_qp_offset_list_enabled_flag, when present, equal to 0 only.
–     The          variables        NumRefLayerPicsProcessing,            NumRefLayerPicsSampleProcessing     and
      NumRefLayerPicsMotionProcessing shall be less than or equal to 1 for each decoded picture with nuh_layer_id
      included in layerIdListTarget that was used to derive subBitstream.
–     ScalabilityId[ j ][ smIdx ] derived according to any active VPS shall be equal to 0 for any smIdx value not equal to 2
      or 3 and for any value of j such that layer_id_in_nuh[ j ] is among layerIdListTarget that was used to derive
      subBitstream.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)             593
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 615 of 717 Page ID
                                                            #:1144

–     For a layer with nuh_layer_id iNuhLId equal to any value included in layerIdListTarget that was used to derive
      subBitstream, the value of NumRefLayers[ iNuhLId ], which specifies the total number of direct and indirect reference
      layers and is derived as specified in F.7.4.3.1, shall be less than or equal to 4.
–     All active SPSs for layers in subBitstream shall have sps_range_extension_flag and sps_scc_extension_flag equal to 0
      only.
–     All active PPSs for layers in subBitstream shall have pps_range_extension_flag and pps_scc_extension_flag equal to
      0 only.
–     When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1, it shall have
      entropy_coding_sync_enabled_flag equal to 0.
–     When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ]
      shall be greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
      RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
      num_tile_rows_minus1, inclusive.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for any layer in subBitstream shall not
      be equal to 255 (which indicates level 8.5).
–     For any active VPS, DependencyId[ i ] shall be greater than DependencyId[ j ] for any values of i and j among
      layerIdListTarget that was used to derive subBitstream such that AuxId[ i ] is equal to AuxId[ j ] and i is greater than j.
When the layer conforms to the Scalable Main profile, the sub-bitstream subBitstream shall obey the following constraints:
–     All active SPSs for layers in subBitstream shall have bit_depth_luma_minus8 equal to 0 only.
–     All active SPSs for layers in subBitstream shall have bit_depth_chroma_minus8 equal to 0 only.
–     All active PPSs for layers in subBitstream shall have colour_mapping_enabled_flag equal to 0 only.
–     The tier and level constraints specified for the Scalable Main profile in clause H.11.2 shall be fulfilled.
When the layer conforms to the Scalable Main 10 profile, the sub-bitstream subBitstream shall obey the following
constraints:
–     All active SPSs for layers in subBitstream shall have bit_depth_luma_minus8 in the range of 0 to 2, inclusive.
–     All active SPSs for layers in subBitstream shall have bit_depth_chroma_minus8 in the range of 0 to 2, inclusive.
–     The tier and level constraints specified for the Scalable Main profile in clause H.11.2 shall be fulfilled.
In the remainder of this clause and clause H.11.2.1, all syntax elements in the profile_tier_level( ) syntax structure refer to
those in the profile_tier_level( ) syntax structure associated with the layer.
Conformance of a layer in an output operation point associated with an OLS in a bitstream to the Scalable Main profile is
indicated as follows:
–     If OpTid of the output operation point is equal to vps_max_sub_layer_minus1, the conformance is indicated by
      general_profile_idc being equal to 7 or general_profile_compatibility_flag[ 7 ] being equal to 1, and
      general_max_12bit_constraint_flag being equal to 1, general_max_10bit_constraint_flag being equal to 1,
      general_max_8bit_constraint_flag being equal to 1, general_max_422chroma_constraint_flag being equal to 1,
      general_max_420chroma_constraint_flag being equal to 1, general_max_monochrome_constraint_flag being equal to
      0, general_intra_constraint_flag being equal to 0, general_one_picture_only_constraint_flag being equal to 0 and
      general_lower_bit_rate_constraint_flag being equal to 1.
–     Otherwise (OpTid of the output operation point is less than vps_max_sub_layer_minus1), the conformance is indicated
      by sub_layer_profile_idc[ OpTid ] being equal to 7 or sub_layer_profile_compatibility_flag[ OpTid ][ 7 ] being equal
      to      1,      and         sub_layer_max_12bit_constraint_flag[ OpTid ]        being        equal        to      1,
      sub_layer_max_10bit_constraint_flag[ OpTid ] being equal to 1, sub_layer_max_8bit_constraint_flag[ OpTid ] being
      equal      to     1,      sub_layer_max_422chroma_constraint_flag[ OpTid ]          being      equal       to     1,
      sub_layer_max_420chroma_constraint_flag[ OpTid ]                  being           equal            to             1,
      sub_layer_max_monochrome_constraint_flag[ OpTid ] being equal to 0, sub_layer_intra_constraint_flag[ OpTid ]
      being equal to 0, and sub_layer_one_picture_only_constraint_flag[ OpTid ] being equal to 0 and
      sub_layer_lower_bit_rate_constraint_flag[ OpTid ] being equal to 1.
Conformance of a layer in an output operation point associated with an OLS in a bitstream to the Scalable Main 10 profile
is indicated as follows:


594          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 616 of 717 Page ID
                                                           #:1145

–   If OpTid of the output operation point is equal to vps_max_sub_layer_minus1, the conformance is indicated by
    general_profile_idc being equal to 7 or general_profile_compatibility_flag[ 7 ] being equal to 1, and
    general_max_12bit_constraint_flag being equal to 1, general_max_10bit_constraint_flag being equal to 1,
    general_max_8bit_constraint_flag being equal to 0, general_max_422chroma_constraint_flag being equal to 1,
    general_max_420chroma_constraint_flag being equal to 1, general_max_monochrome_constraint_flag being equal to
    0, general_intra_constraint_flag being equal to 0, general_one_picture_only_constraint_flag being equal to 0 and
    general_lower_bit_rate_constraint_flag being equal to 1.
–   Otherwise (OpTid of the output operation point is less than vps_max_sub_layer_minus1), the conformance is indicated
    by sub_layer_profile_idc[ OpTid ] being equal to 7 or sub_layer_profile_compatibility_flag[ OpTid ][ 7 ] being equal
    to      1,      and         sub_layer_max_12bit_constraint_flag[ OpTid ]        being        equal        to      1,
    sub_layer_max_10bit_constraint_flag[ OpTid ] being equal to 1, sub_layer_max_8bit_constraint_flag[ OpTid ]
    being    equal     to    0,    sub_layer_max_422chroma_constraint_flag[ OpTid ]          being    equal      to   1,
    sub_layer_max_420chroma_constraint_flag[ OpTid ]                  being           equal            to             1,
    sub_layer_max_monochrome_constraint_flag[ OpTid ] being equal to 0, sub_layer_intra_constraint_flag[ OpTid ]
    being equal to 0, and sub_layer_one_picture_only_constraint_flag[ OpTid ] being equal to 0 and
    sub_layer_lower_bit_rate_constraint_flag[ OpTid ] being equal to 1.

H.11.1.2 Scalable format range extensions profiles
The following profiles, collectively referred to as the scalable format range extensions profiles, are specified in this clause:
–   The Scalable Monochrome, Scalable Monochrome 12 and Scalable Monochrome 16 profiles
–   The Scalable Main 4:4:4 profile
For a layer in an output operation point associated with an OLS in a bitstream, the layer being conforming to the Scalable
Monochrome, Scalable Monochrome 12, Scalable Monochrome 16 or Scalable Main 4:4:4 profile, the following applies:
–    Let olsIdx be the OLS index of the OLS, the sub-bitstream subBitstream and the base layer sub-bitstream
     baseBitstream are derived as specified in clause F.11.3.
When vps_base_layer_internal_flag is equal to 1, the base layer sub-bitstream baseBitstream shall obey the following
constraints:
–   The base layer sub-bitstream baseBitstream shall be indicated to conform to the Main profile, the Main 10 profile or
    a format range extensions profile.
The sub-bitstream subBitstream shall obey the following constraints:
–   All active VPSs shall have vps_num_rep_formats_minus1 in the range of 0 to 15, inclusive.
–   All    active    SPSs    for   layers    in     subBitstream       shall            have      separate_colour_plane_flag,
    cabac_bypass_alignment_enabled_flag, when present, equal to 0 only.
–   CtbLog2SizeY derived from all active SPSs for layers in subBitstream shall be in the range of 4 to 6, inclusive.
–   The         variables        NumRefLayerPicsProcessing,             NumRefLayerPicsSampleProcessing,    and
    NumRefLayerPicsMotionProcessing shall be less than or equal to 1 for each decoded picture with nuh_layer_id
    included in layerIdListTarget that was used to derive subBitstream.
–   ScalabilityId[ j ][ smIdx ] derived according to any active VPS shall be equal to 0 for any smIdx value not equal to 2
    or 3 and for any value of j such that layer_id_in_nuh[ j ] is among layerIdListTarget that was used to derive
    subBitstream.
–   For a layer with nuh_layer_id iNuhLId equal to any value included in layerIdListTarget that was used to derive
    subBitstream, the value of NumRefLayers[ iNuhLId ], which specifies the total number of direct and indirect reference
    layers and is derived as specified in F.7.4.3.1, shall be less than or equal to 4.
–   The constraints specified in Table H.3, in which entries marked with "–" indicate that the table entry does not impose
    a profile-specific constraint on the corresponding syntax element, shall apply for all active SPSs and PPSs for layers
    in subBitstream.
          NOTE – For some syntax elements with table entries marked with "–", a constraint may be imposed indirectly – e.g., by
          semantics constraints that are imposed elsewhere in this Specification when other specified constraints are fulfilled.

–   All active SPSs for layers in subBitstream shall have the same value of chroma_format_idc.
–   All active SPSs for layers in subBitstream shall have sps_scc_extension_flag equal to 0 only.
–   All active PPSs for layers in subBitstream shall have pps_scc_extension_flag equal to 0 only.



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            595
      Case 2:25-cv-03053                                                 Document 1-7                 Filed 04/07/25                                                                         Page 617 of 717 Page ID
                                                                                                    #:1146

–     When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1, it shall have
      entropy_coding_sync_enabled_flag equal to 0.
–     When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ]
      shall be greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
      RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
      num_tile_rows_minus1, inclusive.
–     The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
      for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–     For any active VPS, DependencyId[ i ] shall be greater than DependencyId[ j ] for any values of i and j among
      layerIdListTarget that was used to derive subBitstream such that AuxId[ i ] is equal to AuxId[ j ] and i is greater than j.
–     In bitstreams conforming to the Scalable Monochrome, Scalable Monochrome 12, Scalable Monochrome 16 or
      Scalable Main 4:4:4 profiles, general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for all
      layers shall not be equal to 255 (which indicates level 8.5).
–     The tier and level constraints specified for the Scalable Monochrome, Scalable Monochrome 12, Scalable
      Monochrome 16, or Scalable Main 4:4:4 profiles in clause H.11.2, as applicable, shall be fulfilled.

            Table H.3 – Allowed values for syntax elements in the scalable format range extensions profiles
                                                                                                    bit_depth_luma_minus8 and bit_depth_chroma_minus8



                                                                                                                                                        log2_max_transform_skip_block_size_minus2
                                                                                                                                                         persistent_rice_adaptation_enabled_flag, and




                                                                                                                                                            transform_skip_rotation_enabled_flag,
                             Profile for which constraint is specified




                                                                                                                                                             transform_skip_context_enabled_flag,




                                                                                                                                                                                                                                                 chroma_qp_offset_list_enabled_flag
                                                                                                                                                                                                        extended_precision_processing_flag
                                                                                                                                                                intra_smoothing_disabled_flag,

                                                                                                                                                                 implicit_rdpcm_enabled_flag,
                                                                                                                                                                 explicit_rdpcm_enabled_flag,
                                                                                chroma_format_idc




                    Scalable Monochrome                                               0                              0                                                       0                                      0                        0
                  Scalable Monochrome 12                                              0             0..4                                                                     0                                      0                        0
                  Scalable Monochrome 16                                              0                              –                                                       –                                      –                        0
                     Scalable Main 4:4:4                                              –                              0                                                       –                                      0                        –



In the remainder of this clause and clause H.11.2.1, all syntax elements in the profile_tier_level( ) syntax structure refer to
those in the profile_tier_level( ) syntax structure associated with the layer.
Conformance of a layer in an output operation point associated with an OLS in a bitstream for the scalable format range
exensions profiles is indicated as follows:
–     If OpTid of the output operation point is equal to vps_max_sub_layer_minus1, the conformance is indicated by
      general_profile_idc being equal to 10 or general_profile_compatibility_flag[ 10 ] being equal to 1, with the additional
      indications specified in Table H.4 for the general constraint flags.
–     Otherwise (OpTid of the output operation point is less than vps_max_sub_layer_minus1), the conformance is indicated
      by sub_layer_profile_idc[ OpTid ] being equal to 10 or sub_layer_profile_compatibility_flag[ OpTid ][ 10 ] being
      equal to 1, with the additional indications specified in Table H.4 for the flags associated with the index OpTid.
All other combinations of general_max_14bit_constraint_flag, general_max_12bit_constraint_flag, general_max_10bit_
constraint_flag, general_max_8bit_constraint_flag, general_max_422chroma_constraint_flag, general_max_420chroma_
constraint_flag, general_max_monochrome_constraint_flag, general_intra_constraint_flag, general_one_picture_only_
constraint_flag, and general_lower_bit_rate_constraint_flag with general_profile_idc equal to 10 or


596          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                                                                        Document 1-7                                                                                                            Filed 04/07/25                                                                                                                          Page 618 of 717 Page ID
                                                                                                                                                                                                                    #:1147

general_profile_compatibility_flag[ 10 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. All other combinations
of sub_layer_max_14bit_constraint_flag[ OpTid ], sub_layer_max_12bit_constraint_flag[ OpTid ], sub_layer_max_
10bit_constraint_flag[ OpTid ], sub_layer_max_8bit_constraint_flag[ OpTid ], sub_layer_max_422chroma_constraint_
flag[ OpTid ],      sub_layer_max_420chroma_constraint_flag[ OpTid ],             sub_layer_max_monochrome_constraint_
flag[ OpTid ], sub_layer_intra_constraint_flag[ OpTid ], sub_layer_one_picture_only_constraint_flag[ OpTid ], and
sub_layer_lower_bit_rate_constraint_flag[ OpTid ] with sub_layer_profile_idc[ OpTid ] equal to 10 or sub_layer_
profile_compatibility_flag[ OpTid ][ 10 ] equal to 1 are reserved for future use by ITU-T | ISO/IEC. Such combinations
shall not be present in bitstreams conforming to this Specification. However, decoders conforming to the scalable format
range extensions profiles shall allow other combinations as specified below in this clause to occur in the bitstream.

              Table H.4 – Bitstream indications for conformance to scalable range extensions profiles




                                                                                                                                                                                                                                                                                                                                                                          sub_layer_max_monochrome_constraint_flag[ OpTid ]
               Profile for which the bitstream indicates conformance




                                                                                                                                                                                                                                                                                                                                                                                                                                                                         sub_layer_one_picture_only_constraint_flag[ OpTid ]
                                                                                                                                                                                                                                                                    sub_layer_max_422chroma_constraint_flag[ OpTid ]



                                                                                                                                                                                                                                                                                                                       sub_layer_max_420chroma_constraint_flag[ OpTid ]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                               sub_layer_lower_bit_rate_constraint_flag[ OpTid ]
                                                                       sub_layer_max_14bit_constraint_flag[ OpTid ]


                                                                                                                      sub_layer_max_12bit_constraint_flag[ OpTid ]



                                                                                                                                                                     sub_layer_max_10bit_constraint_flag[ OpTid ]




                                                                                                                                                                                                                                                                                                                                                                              general_max_monochrome_constraint_flag or
                                                                                                                                                                                                                      sub_layer_max_8bit_constraint_flag[ OpTid ]




                                                                                                                                                                                                                                                                                                                                                                                                                                                                             general_one_picture_only_constraint_flag or
                                                                                                                                                                                                                                                                        general_max_422chroma_constraint_flag or



                                                                                                                                                                                                                                                                                                                           general_max_420chroma_constraint_flag or




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   general_lower_bit_rate_constraint_flag or
                                                                                                                                                                                                                                                                                                                                                                                                                              sub_layer_intra_constraint_flag[ OpTid ]
                                                                           general_max_14bit_constraint_flag or


                                                                                                                          general_max_12bit_constraint_flag or


                                                                                                                                                                         general_max_10bit_constraint_flag or



                                                                                                                                                                                                                          general_max_8bit_constraint_flag or




     Scalable Monochrome                                                                 1                                               1                                              1                                               1                                                1                                                  1                                                  1                                  general_intra_constraint_flag or
                                                                                                                                                                                                                                                                                                                                                                                                                                               0                                              0                                                     1
    Scalable Monochrome 12                                                               1                                               1                                              0                                               0                                                1                                                  1                                                  1                                               0                                              0                                                     1
    Scalable Monochrome 16                                                               0                                               0                                              0                                               0                                                1                                                  1                                                  1                                               0                                              0                                                     1
      Scalable Main 4:4:4                                                                1                                               1                                              1                                               1                                                0                                                  0                                                  0                                               0                                              0                                                     1



H.11.2 Tiers and levels

H.11.2.1 General tier and level limits
For purposes of comparison of tier capabilities, the tier with general_tier_flag or sub_layer_tier_flag[ i ] equal to 0 is
considered to be a lower tier than the tier with general_tier_flag or sub_layer_tier_flag[ i ] equal to 1.
For purposes of comparison of level capabilities, a particular level of a specific tier is considered to be a lower level than
some other level of the same tier when the value of the general_level_idc or sub_layer_level_idc[ i ] of the particular level
is less than that of the other level.
The following is specified for expressing the constraints in this clause and clause H.11.2.2:
–    For the Scalable Main profile, the value of each of the variables CpbVclFactor, CpbNalFactor,
     FormatCapabilityFactor and MinCrScaleFactor is the same as that specified in Table A.10 for the Main profile. For
     the Scalable Main 10 profile, the value of each of these variables is the same as that specified in Table A.10 for the
     Main 10 profile.
–   For the Scalable Monochrome profile, the value of each of the variables CpbVclFactor, CpbNalFactor,
    FormatCapabilityFactor, and MinCrScaleFactor is the same as that specified in Table A.10 for the Monochrome
    profile.
–   For the Scalable Monochrome 12 profile, the value of each of the variables CpbVclFactor, CpbNalFactor,
    FormatCapabilityFactor, and MinCrScaleFactor is the same as that specified in Table A.10 for the Monochrome 12
    profile.



                                                                                                                                                                                                                                                                                                                       Rec. ITU-T H.265 v8 (08/2021)                                                                                                                                                                                                       597
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 619 of 717 Page ID
                                                            #:1148

–     For the Scalable Monochrome 16 profile, the value of each of the variables CpbVclFactor, CpbNalFactor,
      FormatCapabilityFactor, and MinCrScaleFactor is the same as that specified in Table A.10 for the Monochrome 16
      profile.
–     For the Scalable Main 4:4:4 profile, the value of each of the variables CpbVclFactor, CpbNalFactor,
      FormatCapabilityFactor, and MinCrScaleFactor is the same as that specified in Table A.10 for the Main 4:4:4 profile.
–     Let access unit n be the n-th access unit in decoding order, with the first access unit being access unit 0 (i.e., the 0-th
      access unit).
–     Let the variable fR be set equal to 1  300.
–     Let the variable olsIdx be the index of the OLS.
–     For each layer with nuh_layer_id equal to currLayerId, let the variable layerSizeInSamplesY be derived as follows:

           layerSizeInSamplesY = pic_width_vps_in_luma_samples * pic_height_vps_in_luma_samples (H-121)

      where pic_width_vps_in_luma_samples and pic_height_vps_in_luma_samples are found                                 in    the
      vps_rep_format_idx[ LayerIdxInVps[ currLayerId ] ]-th rep_format( ) syntax structure in the VPS.
Each layer with nuh_layer_id equal to currLayerId conforming to a profile at a specified tier and level shall obey the
following constraints for each bitstream conformance test as specified in clause F.13, where "access unit" is used to denote
the picture unit in the layer and the CPB is understood to be the BPB:
      a)    The value of layerSizeInSamplesY shall be less than or equal to MaxLumaPs, where MaxLumaPs is specified in
            Table A.8 for the tier and level of the layer.
      b) The value of pic_width_vps_in_luma_samples of the vps_rep_format_idx[ LayerIdxInVps[ currLayerId ] ]-th
         rep_format( ) syntax structure in the VPS shall be less than or equal to Sqrt( MaxLumaPs * 8 ).
      c)    The value of pic_height_vps_in_luma_samples of the vps_rep_format_idx[ LayerIdxInVps[ currLayerId ] ]-th
            rep_format( ) syntax structure in the VPS shall be less than or equal to Sqrt( MaxLumaPs * 8 ).
      d) The value of max_vps_dec_pic_buffering_minus1[ olsIdx ][ LayerIdxInVps[ currLayerId ] ][ HighestTid ] shall
         be less than or equal to MaxDpbSize as derived by Equation A-2, with PicSizeInSamplesY being replaced with
         layerSizeInSamplesY, for the tier and level of the layer.
      e)    For level 5 and higher levels, the value of CtbSizeY for the layer shall be equal to 32 or 64.
      f)    The value of NumPicTotalCurr for each picture in the layer shall be less than or equal to 8.
      g) When decoding each coded picture in the layer, the value of num_tile_columns_minus1 shall be less than
         MaxTileCols and num_tile_rows_minus1 shall be less than MaxTileRows, where MaxTileCols and
         MaxTileRows are specified in Table A.8 for the tier and level of the layer.
      h) For the VCL HRD parameters of the layer, CpbSize[ i ] shall be less than or equal to CpbVclFactor * MaxCPB
         for       at      least        one       of      the       delivery        schedules         identified     by
         bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ][ combIdx ][ LayerIdxInVps[ currLayerId ] ] for combIdx ranging
         from 0 to num_bsp_schedules_minus1[ olsIdx ][ 0 ][ HighestTid ], inclusive, where CpbSize[ i ] is specified in
         clause F.13.1 and MaxCPB is specified in Table A.8 for the tier and level of the layer in units of CpbVclFactor
         bits.
      i)    For the NAL HRD parameters of the layer, CpbSize[ i ] shall be less than or equal to CpbNalFactor * MaxCPB
            for at least one of the delivery schedules identified by bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ]
            [ combIdx ][ LayerIdxInVps[ currLayerId ] ]      for       combIdx          ranging        from       0      to
            num_bsp_schedules_minus1[ olsIdx ][ 0 ][ HighestTid ], inclusive, where CpbSize[ i ] is specified in
            clause F.13.1 and MaxCPB is specified in Table A.8 for the tier and level of the layer in units of CpbNalFactor
            bits.
Table A.8 specifies the limits for each level of each tier for levels other than level 8.5.
A tier and level to which a layer in an output operation point associated with an OLS in a bitstream conforms are indicated
by the syntax elements general_tier_flag and general_level_idc if OpTid of the output layer set is equal to




598           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 620 of 717 Page ID
                                                          #:1149

vps_max_sub_layer_minus1, and by the syntax elements sub_layer_tier_flag[ OpTid ] and sub_layer_level_idc[ OpTid ]
otherwise, as follows:
–    If the specified level is not level 8.5, general_tier_flag or sub_layer_tier_flag[ OpTid ] equal to 0 indicates
     conformance to the Main tier, and general_tier_flag or sub_layer_tier_flag[ OpTid ] equal to 1 indicates conformance
     to the High tier, according to the tier constraints specified in Table A.8, and general_tier_flag and
     sub_layer_tier_flag[ OpTid ] shall be equal to 0 for levels below level 4 (corresponding to the entries in Table A.8
     marked with "-"). Otherwise (the specified level is level 8.5), it is a requirement of bitstream conformance that
     general_tier_flag and sub_layer_tier_flag[ OpTid ] shall be equal to 1 and the value 0 for general_tier_flag and
     sub_layer_tier_flag[ OpTid ] is reserved for future use by ITU-T | ISO/IEC and decoders shall ignore the value of
     general_tier_flag and sub_layer_tier_flag[ OpTid ].
–    general_level_idc and sub_layer_level_idc[ OpTid ] shall be set equal to a value of 30 times the level number
     specified in Table A.8.

H.11.2.2 Profile-specific tier and level limits for the Scalable Main, Scalable Main 10 and scalable format range
                     extensions profiles
The following is specified for expressing the constraints in this clause:
–    The variable HbrFactor is set equal to 1.
–    The variable BrVclFactor is set equal to CpbVclFactor * HbrFactor.
–    The variable BrNalFactor is set equal to CpbNalFactor * HbrFactor.
–    The variable MinCr is set equal to MinCrBase * MinCrScaleFactor ÷ HbrFactor, where MinCrBase is specified in
     Table A.9.
Each layer conforming to the Scalable Main or Scalable Main 10 profiles or a scalable format range extensions profile at
a specified tier and level shall obey the following constraints for each conformance test as specified in clause F.13, where
"access unit" is used to denote the picture unit in the layer and the CPB is understood to be the BPB:
     a)   The nominal removal time of access unit n (with n greater than 0) from the CPB, as specified in clause F.13.2.3,
          shall satisfy the constraint that AuNominalRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] is greater than or
          equal to Max( layerSizeInSamplesY  MaxLumaSr, fR ), where layerSizeInSamplesY is the value of
          layerSizeInSamplesY for access unit n − 1 and MaxLumaSr is the value specified in Table A.9 that applies to
          access unit n − 1 for the tier and level of the layer.
     b) The difference between consecutive output times of pictures in different access units, as specified in
        clause F.13.3.3 shall satisfy the constraint that DpbOutputInterval[ n ] is greater than or equal to
        Max( layerSizeInSamplesY  MaxLumaSr, fR ),            where      layerSizeInSamplesY         is    the    value    of
        layerSizeInSamplesY of access unit n and MaxLumaSr is the value specified in Table A.9 for access unit n for
        the tier and level of the layer, provided that access unit n is an access unit that has a picture that is output and is
        not the last of such access units.
     c)   The removal time of access unit 0 shall satisfy the constraint that the number of coded slice segments in access
          unit 0 is less than or equal to Min( Max( 1, MaxSliceSegmentsPerPicture * MaxLumaSr / MaxLumaPs *
          ( AuCpbRemovalTime[ 0 ] − AuNominalRemovalTime[ 0 ] )                +     MaxSliceSegmentsPerPicture          *
          layerSizeInSamplesY / MaxLumaPs ), MaxSliceSegmentsPerPicture ), for the value of layerSizeInSamplesY of
          access unit 0, where MaxSliceSegmentsPerPicture, MaxLumaPs and MaxLumaSr are the values specified in
          Table A.8 and Table A.9 for the tier and level of the layer.
     d) The difference between consecutive CPB removal times of access units n and n − 1 (with n greater than 0) shall
        satisfy the constraint that the number of slice segments in access unit n is less than or equal to
        Min( ( Max( 1, MaxSliceSegmentsPerPicture * MaxLumaSr / MaxLumaPs * ( AuCpbRemovalTime[ n ] −
        AuCpbRemovalTime[ n − 1 ] ) ), MaxSliceSegmentsPerPicture ), where MaxSliceSegmentsPerPicture,
        MaxLumaPs and MaxLumaSr are the values specified in Table A.8 and Table A.9 that apply to access unit n for
        the tier and level of the layer.
     e)   For the VCL HRD parameters for the layer, BitRate[ i ] shall be less than or equal to BrVclFactor * MaxBR for
          at least one of the delivery schedules identified by bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ][ combIdx ]
          [ LayerIdxInVps[ currLayerId ] ] for combIdx ranging from 0 to num_bsp_schedules_minus1[ olsIdx ][ 0 ]
          [ HighestTid ], inclusive, where BitRate[ i ] is specified in clause F.13.1 and MaxBR is specified in Table A.9 in
          units of BrVclFactor bits/s for the tier and level of the layer.
     f)   For the NAL HRD parameters for the layer, BitRate[ i ] shall be less than or equal to BrNalFactor * MaxBR for
          at least one of the delivery schedules identified by bsp_sched_idx[ olsIdx ][ 0 ][ HighestTid ][ combIdx ]
          [ LayerIdxInVps[ currLayerId ] ] for combIdx ranging from 0 to num_bsp_schedules_minus1[ olsIdx ][ 0 ]




                                                                                Rec. ITU-T H.265 v8 (08/2021)            599
      Case 2:25-cv-03053             Document 1-7           Filed 04/07/25           Page 621 of 717 Page ID
                                                          #:1150

           [ HighestTid ], inclusive, where BitRate[ i ] is specified in clause F.13.1 and MaxBR is specified in Table A.9 in
           units of BrNalFactor bits/s for the tier and level of the layer.
      g) The sum of the NumBytesInNalUnit variables for access unit 0 shall be less than or equal to
         FormatCapabilityFactor * ( Max( layerSizeInSamplesY, fR * MaxLumaSr ) + MaxLumaSr * ( AuCpbRemoval
         Time[ 0 ] − AuNominalRemovalTime[ 0 ] ) ) ÷ MinCr for the value of layerSizeInSamplesY of access unit 0,
         where MaxLumaSr is specified in Table A.9, and both MaxLumaSr and FormatCapabilityFactor are the values
         that apply to access unit 0 for the tier and level of the layer.
      h) The sum of the NumBytesInNalUnit variables for access unit n (with n greater than 0) shall be less than or equal
         to FormatCapabilityFactor * MaxLumaSr * ( AuCpbRemovalTime[ n ] − AuCpbRemovalTime[ n − 1 ] ) ÷
         MinCr, where MaxLumaSr is specified in Table A.9, and both MaxLumaSr and FormatCapabilityFactor are the
         values that apply to access unit n for the tier and level of the layer.
      i)   The removal time of access unit 0 shall satisfy the constraint that the number of tiles in coded pictures in access
           unit 0 is less than or equal to Min( Max( 1, MaxTileCols * MaxTileRows * 120 * ( AuCpbRemovalTime[ 0 ] −
           AuNominalRemovalTime[ 0 ] ) + MaxTileCols * MaxTileRows * PicSizeInSamplesY / MaxLumaPs ),
           MaxTileCols * MaxTileRows ), for the value of layerSizeInSamplesY of access unit 0, where MaxTileCols and
           MaxTileRows are the values specified in Table A.8 that apply to access unit 0 for the tier and level of the layer.
      j)   The difference between consecutive CPB removal times of access units n and n − 1 (with n greater than 0) shall
           satisfy the constraint that the number of tiles in coded pictures in access unit n is less than or equal to
           Min( Max( 1, MaxTileCols * MaxTileRows * 120 * ( AuCpbRemovalTime[ n ] − AuCpbRemoval
           Time[ n − 1 ] ) ), MaxTileCols * MaxTileRows ), where MaxTileCols and MaxTileRows are the values specified
           in Table A.8 that apply to access unit n for the tier and level of the layer.

H.11.3 Decoder capabilities
When a decoder conforms to any profile specified in Annex H, it shall also have the INBLD capability specified in
clause F.11.1.
Clause F.11.2 specifies requirements for a decoder conforming to any profile specified in this annex.

H.12       Byte stream format
The specifications in clause F.12 apply.

H.13       Hypothetical reference decoder
The specifications in clause F.13 and its subclauses apply.

H.14       Supplemental enhancement information
The specifications in Annex D and clause F.14 and their subclauses apply.

H.15       Video usability information
The specifications in clause F.15 and its subclauses apply.




600         Rec. ITU-T H.265 v8 (08/2021)
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 622 of 717 Page ID
                                                           #:1151

                                                          Annex I

                                             3D high efficiency video coding

                    (This annex forms an integral part of this Recommendation | International Standard.)

I.1      Scope
This annex specifies syntax, semantics, and decoding processes for 3D high efficiency video coding that use the syntax,
semantics, and decoding processes specified in clauses 2-10 and Annexes A-G. This annex also specifies profiles, tiers,
and levels for 3D high efficiency video coding.

I.2      Normative references
The list of normative references in clause G.2 apply.

I.3      Definitions
For the purpose of this annex, the following definitions apply in addition to the definitions in clause G.3. These definitions
are either not present in clause G.3 or replace definitions in clause G.3.

I.3.1      depth intra contour prediction: A prediction of a partition pattern for a prediction block in a picture of a depth
           layer derived from samples of a picture included in the same access unit and in the texture layer of the same view.

I.3.2      depth layer: A layer with a nuh_layer_id value equal to i, such that DepthLayerFlag[ i ] is equal to 1 and
           DependencyId[ i ] and AuxId[ i ] are equal to 0.

I.3.3      depth look-up table: A list containing depth values.

I.3.4      depth value: A sample value of a decoded picture of a depth layer.

I.3.5      disparity vector: A motion vector used for inter-view prediction.

I.3.6      inter-component prediction: An inter-layer prediction where the reference pictures are associated with a
           DepthFlag value different from the DepthFlag value of the current picture.

I.3.7      inter-view prediction: An inter-layer prediction where the reference pictures are associated with reference view
           order index values different from the ViewIdx value of the current picture.

I.3.8      intra prediction: A prediction derived from only data elements (e.g., sample values) of the same decoded slice
           and additionally may be using depth intra contour prediction.

I.3.9      partition pattern: An MxM (M-column by M-row) array of flags defining two sub-block partitions of an MxM
           prediction block.

I.3.10     prediction block: A rectangular MxN block of samples on which either the same prediction or partitioning in
           sub-block partitions is applied.

I.3.11     reference view order index: A ViewIdx value associated with a reference picture used for inter-view prediction.

I.3.12     sub-block partition: A subset of samples of a prediction block on which the same prediction is applied.

I.3.13     texture layer: A layer with a nuh_layer_id value equal to i, such that DepthLayerFlag[ i ], DependencyId[ i ],
           and AuxId[ i ] are equal to 0.

I.4      Abbreviations
The specifications in clause G.4 apply.

I.5      Conventions
The specifications in clause G.5 apply.

I.6      Bitstream and picture formats, partitionings, scanning processes, and neighbouring relationships
I.6.1     Bitstream formats
The specifications in clause 6.1 apply.



                                                                                Rec. ITU-T H.265 v8 (08/2021)            601
      Case 2:25-cv-03053              Document 1-7             Filed 04/07/25            Page 623 of 717 Page ID
                                                             #:1152

I.6.2     Source, decoded, and output picture formats
The specifications in clause 6.2 apply.

I.6.3     Partitioning of pictures, slices, slice segments, tiles, CTUs, and CTBs
The specifications in clause 6.3 and its subclauses apply.

I.6.4     Availability processes
The specifications in clause 6.4 apply.

I.6.5     Scanning processes
The specifications in clause 6.5 and its subclauses apply.

I.6.6     Derivation process for a wedgelet partition pattern table
    NOTE – Tables and values resulting from this process are independent of any information contained in the bitstream.

The list WedgePatternTable[ log2BlkSize ] of partition patterns of size ( 1 << log2BlkSize )x( 1 << log2BlkSize ) and
the variable NumWedgePattern[ log2BlkSize ] specifying the number of partition patterns in list
WedgePatternTable[ log2BlkSize ] are derived as follows:
–     For log2BlkSize in the range of 2 to 4, inclusive, the following applies:
      –   NumWedgePattern[ log2BlkSize ] is set equal to 0.
      –   The variable resShift is set equal to ( log2BlkSize = = 4 ) ? 0 : 1.
      –   The variable wBlkSize is set equal to ( 1 << ( log2BlkSize + resShift ) ).
      –   For wedgeOri in the range of 0 to 5, inclusive, the following applies:
          –    The variable posEnd is set equal to NumWedgePattern[ log2BlkSize ].
          –    If wedgeOri is equal to 0 or 4, the following applies:
               –   The variables sizeScaleS and sizeScaleE are derived as follows:
                        sizeScaleS = ( log2BlkSize > 3 ) ? 2 : 1                                                          (I-1)
                        sizeScaleE = ( wedgeOri < 4 && log2BlkSize > 3 ) ? : 2 : 1                                        (I-2)
               –   For m in the range of 0 to ( wBlkSize / sizeScaleS − 1 ), inclusive, the following applies:
                   –    For n in the range of 0 to ( wBlkSize / sizeScaleE − 1 ), inclusive, the following applies:
                        –    The wedgelet partition pattern generation process as specified in clause I.6.6.1 is invoked with
                             patternSize equal to ( 1 << log2BlkSize ), the variable resShift, the variable wedgeOri, the
                             variable ( xS, yS ) equal to ( m * sizeScaleS, 0 ), the variable ( xE, yE ) equal to
                             ( wedgeOri = = 0 ) ? ( 0, n * sizeScaleE ) : ( n * sizeScaleE, wBlkSize − 1 ) as inputs, and the
                             output is the partition pattern curWedgePattern.
                        –    The wedgelet partition pattern table insertion process as specified in clause I.6.6.2 is invoked
                             with the variable log2BlkSize and the partition pattern curWedgePattern as inputs.
          –    Otherwise (wedgeOri is equal to 1, 2, 3, or 5), the following applies:
               –   For curPos in the range of posStart to posEnd − 1, inclusive, the following applies:
                   –    The partition pattern curWedgePattern[ x ][ y ] is derived as follows:
                        for( y = 0; y < ( 1 << log2BlkSize ); y++ )
                             for( x = 0; x < ( 1 << log2BlkSize ); x++ )                                              (I-3)
                                  curWedgePattern[ x ][ y ] = 1 −
                                       WedgePatternTable[ log2BlkSize ][ curPos ][ y ][ ( 1 << log2BlkSize ) − 1 − x ]
          –    The variable posStart is set equal to posEnd.
–     NumWedgePattern[ 5 ] is set equal to NumWedgePattern[ 4 ].
–     For k = 0..NumWedgePattern[ 5 ] − 1, the following applies:
      –   For x, y = 0..( 1 << 5 ) − 1, the following applies:
               WedgePatternTable[ 5 ][ k ][ x ][ y ] = WedgePatternTable[ 4 ][ k ][ x >> 1 ][ y >> 1 ]                    (I-4)


602           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25             Page 624 of 717 Page ID
                                                            #:1153

I.6.6.1       Wedgelet partition pattern generation process
Inputs to this process are:
–   a variable patternSize specifying the partition pattern size,
–   a variable resShift specifying the precision of the partition pattern start and end locations relative to patternSize,
–   a variable wedgeOri specifying the orientation of the partition pattern,
–   a location ( xS, yS ) specifying the boundary start of a sub-block partition,
–   a location ( xE, yE ) specifying the boundary end of a sub-block partition.
Output of this process is the partition pattern wedgePattern[ x ][ y ] of size ( patternSize )x( patternSize ).
The values of the partition pattern wedgePattern[ x ][ y ] are derived as specified by the following ordered steps:
    1.    For x, y = 0..patternSize − 1, wedgePattern[ x ][ y ] is set equal to 0.
    2.    The samples of the partition pattern wedgePattern that form a line between ( xS, yS ) and ( xE, yE ) are set equal
          to 1 as follows:
                ( x0, y0 ) = ( xS, yS )
                ( x1, y1 ) = ( xE, yE )
                if( abs( yE − yS ) > abs( xE − xS ) ) {
                     ( x0, y0 ) = Swap( x0, y0 )
                     ( x1, y1 ) = Swap( x1, y1 )
                }
                if( x0 > x1 ) {
                     ( x0, x1 ) = Swap( x0, x1 )
                     ( y0, y1 ) = Swap( y0, y1 )
                }
                sumErr = 0                                                                                                   (I-5)
                posY = y0
                for( posX = x0; posX <= x1; posX++ ) {
                     if( abs( yE − yS ) > abs( xE − xS ) )
                          wedgePattern[ posY >> resShift ][ posX >> resShift ] = 1
                     else
                          wedgePattern[ posX >> resShift ][ posY >> resShift ] = 1
                     sumErr += ( abs( y1 − y0 ) << 1 )
                     if( sumErr >= ( x1 − x0 ) ) {
                          posY += ( y0 < y1 ) ? 1 : −1
                          sumErr −= ( x1 − x0 ) << 1
                     }
                }
    3.    The samples of wedgePattern are modified as follows:
                for( y = 0; y <= ( yE >> resShift ); y++ )
                     for( x = 0; ( x <= patternSize − 1 ) && ( wedgePattern[ x ][ y ] = = 0 ); x++ )                         (I-6)
                          wedgePattern[ x ][ y ] = 1

I.6.6.2       Wedgelet partition pattern table insertion process
Inputs to this process are:
–   a variable log2BlkSize specifying the partition pattern size,
–   a partition pattern wedgePattern[ x ][ y ], with x, y = 0..( 1 << log2BlkSize ) − 1.
The variable validPatternFlag is set equal to 0 and the following applies:
    1.    For x, y = 0..( 1 << log2BlkSize ) − 1, the following applies:
          –     When wedgePattern[ x ][ y ] is not equal to wedgePattern[ 0 ][ 0 ], validPatternFlag is set equal to 1.
    2.    For k = 0..NumWedgePattern[ log2BlkSize ] − 1, the following applies:
          –     The variable patIdenticalFlag is set equal to 1.
          –     For x, y = 0..( 1 << log2BlkSize ) − 1, the following applies:



                                                                                     Rec. ITU-T H.265 v8 (08/2021)           603
      Case 2:25-cv-03053                Document 1-7              Filed 04/07/25             Page 625 of 717 Page ID
                                                                #:1154

                  –   When wedgePattern[ x ][ y ] is           not     equal    to   WedgePatternTable[ log2BlkSize ][ k ][ x ][ y ],
                      patIdenticalFlag is set equal to 0.
            –     When patIdenticalFlag is equal to 1, validPatternFlag is set equal to 0.
      3.    For k = 0..NumWedgePattern[ log2BlkSize ] − 1, the following applies:
            –     The variable patInvIdenticalFlag is set equal to 1.
            –     For x, y = 0..( 1 << log2BlkSize ) − 1, the following applies:
                  –   When wedgePattern[ x ][ y ] is                 equal     to    WedgePatternTable[ log2BlkSize ][ k ][ x ][ y ],
                      patInvIdenticalFlag is set equal to 0.
            –     When patInvIdenticalFlag is equal to 1, validPatternFlag is set equal to 0.
When validPatternFlag is equal to 1, the following applies:
–     The pattern WedgePatternTable[ log2BlkSize ][ NumWedgePattern[ log2BlkSize ] ] is set equal to wedgePattern.
–     The value of NumWedgePattern[ log2BlkSize ] is incremented by one.

I.7     Syntax and semantics
I.7.1      Method of specifying syntax in tabular form
The specifications in clause F.7.1 apply.

I.7.2      Specification of syntax functions, categories, and descriptors
The specifications in clause F.7.2 apply.

I.7.3      Syntax in tabular form

I.7.3.1         NAL unit syntax
The specifications in clause F.7.3.1 and all its subclauses apply.

I.7.3.2         Raw byte sequence payloads and RBSP trailing bits syntax

I.7.3.2.1       Video parameter set RBSP


        video_parameter_set_rbsp( ) {                                                                               Descriptor
           vps_video_parameter_set_id                                                                                  u(4)
           vps_base_layer_internal_flag                                                                                u(1)
           vps_base_layer_available_flag                                                                               u(1)
           vps_max_layers_minus1                                                                                       u(6)
           vps_max_sub_layers_minus1                                                                                   u(3)
           vps_temporal_id_nesting_flag                                                                                u(1)
           vps_reserved_0xffff_16bits                                                                                 u(16)
           profile_tier_level( 1, vps_max_sub_layers_minus1 )
           vps_sub_layer_ordering_info_present_flag                                                                    u(1)
           for( i = ( vps_sub_layer_ordering_info_present_flag ? 0 : vps_max_sub_layers_minus1 );
                  i <= vps_max_sub_layers_minus1; i++ ) {
              vps_max_dec_pic_buffering_minus1[ i ]                                                                    ue(v)
              vps_max_num_reorder_pics[ i ]                                                                            ue(v)
              vps_max_latency_increase_plus1[ i ]                                                                      ue(v)
           }
           vps_max_layer_id                                                                                            u(6)
           vps_num_layer_sets_minus1                                                                                   ue(v)
           for( i = 1; i <= vps_num_layer_sets_minus1; i++ )
              for( j = 0; j <= vps_max_layer_id; j++ )
                  layer_id_included_flag[ i ][ j ]                                                                     u(1)


604             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7         Filed 04/07/25         Page 626 of 717 Page ID
                                                       #:1155

         vps_timing_info_present_flag                                                                  u(1)
         if( vps_timing_info_present_flag ) {
             vps_num_units_in_tick                                                                     u(32)
             vps_time_scale                                                                            u(32)
             vps_poc_proportional_to_timing_flag                                                       u(1)
             if( vps_poc_proportional_to_timing_flag )
                 vps_num_ticks_poc_diff_one_minus1                                                     ue(v)
             vps_num_hrd_parameters                                                                    ue(v)
             for( i = 0; i < vps_num_hrd_parameters; i++ ) {
                 hrd_layer_set_idx[ i ]                                                                ue(v)
                 if( i > 0 )
                     cprms_present_flag[ i ]                                                           u(1)
                 hrd_parameters( cprms_present_flag[ i ], vps_max_sub_layers_minus1 )
             }
         }
         vps_extension_flag                                                                            u(1)
         if( vps_extension_flag ) {
             while( !byte_aligned( ) )
                 vps_extension_alignment_bit_equal_to_one                                              u(1)
             vps_extension( )
             vps_extension2_flag                                                                       u(1)
             if( vps_extension2_flag ) {
                 vps_3d_extension_flag                                                                 u(1)
                 if( vps_3d_extension_flag ) {
                     while( !byte_aligned( ) )
                        vps_3d_extension_alignment_bit_equal_to_one                                    u(1)
                     vps_3d_extension( )
                 }
                 vps_extension3_flag                                                                   u(1)
                 if( vps_extension3_flag )
                     while( more_rbsp_data( ) )
                        vps_extension_data_flag                                                        u(1)
             }
         }
         rbsp_trailing_bits( )
     }



I.7.3.2.1.1   Video parameter set extension syntax
The specifications in clause F.7.3.2.1.1 apply.

I.7.3.2.1.2   Representation format syntax
The specifications in clause F.7.3.2.1.2 apply.

I.7.3.2.1.3   DPB size syntax
The specifications in clause F.7.3.2.1.3 apply.

I.7.3.2.1.4   VPS VUI syntax
The specifications in clause F.7.3.2.1.4 apply.



                                                                            Rec. ITU-T H.265 v8 (08/2021)      605
      Case 2:25-cv-03053            Document 1-7            Filed 04/07/25      Page 627 of 717 Page ID
                                                          #:1156

I.7.3.2.1.5     Video signal info syntax
The specifications in clause F.7.3.2.1.5 apply.

I.7.3.2.1.6     VPS VUI bitstream partition HRD parameters syntax
The specifications in clause F.7.3.2.1.6 apply.

I.7.3.2.1.7     Video parameter set 3D extension syntax


      vps_3d_extension( ) {                                                                   Descriptor
        cp_precision                                                                            ue(v)
        for( n = 1; n < NumViews; n++ ) {
           i = ViewOIdxList[ n ]
           num_cp[ i ]                                                                           u(6)
           if( num_cp[ i ] > 0 ) {
               cp_in_slice_segment_header_flag[ i ]                                              u(1)
               for( m = 0; m < num_cp[ i ]; m++ ) {
                  cp_ref_voi[ i ][ m ]                                                          ue(v)
                  if( !cp_in_slice_segment_header_flag[ i ] ) {
                      j = cp_ref_voi[ i ][ m ]
                      vps_cp_scale[ i ][ j ]                                                    se(v)
                      vps_cp_off[ i ][ j ]                                                      se(v)
                      vps_cp_inv_scale_plus_scale[ i ][ j ]                                     se(v)
                      vps_cp_inv_off_plus_off[ i ][ j ]                                         se(v)
                  }
               }
           }
        }
      }



I.7.3.2.2     Sequence parameter set RBSP syntax

I.7.3.2.2.1     General sequence parameter set RBSP syntax
The specifications in clause F.7.3.2.2.1 apply.

I.7.3.2.2.2     Sequence parameter set range extension syntax
The specifications in clause F.7.3.2.2.2 apply.

I.7.3.2.2.3     Sequence parameter set screen content coding extension syntax
The specifications in clause F.7.3.2.2.3 apply.

I.7.3.2.2.4     Sequence parameter set multilayer extension syntax
The specifications in clause F.7.3.2.2.4 apply.

I.7.3.2.2.5     Sequence parameter set 3D extension syntax


      sps_3d_extension( ) {                                                                   Descriptor
        for( d = 0; d <= 1; d++ ) {
           iv_di_mc_enabled_flag[ d ]                                                            u(1)
           iv_mv_scal_enabled_flag[ d ]                                                          u(1)
           if( d = = 0 ) {
               log2_ivmc_sub_pb_size_minus3[ d ]                                                ue(v)


606           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25       Page 628 of 717 Page ID
                                                         #:1157

                 iv_res_pred_enabled_flag[ d ]                                                       u(1)
                 depth_ref_enabled_flag[ d ]                                                         u(1)
                 vsp_mc_enabled_flag[ d ]                                                            u(1)
                 dbbp_enabled_flag[ d ]                                                              u(1)
              } else {
                 tex_mc_enabled_flag[ d ]                                                            u(1)
                 log2_texmc_sub_pb_size_minus3[ d ]                                                  ue(v)
                 intra_contour_enabled_flag[ d ]                                                     u(1)
                 intra_dc_only_wedge_enabled_flag[ d ]                                               u(1)
                 cqt_cu_part_pred_enabled_flag[ d ]                                                  u(1)
                 inter_dc_only_enabled_flag[ d ]                                                     u(1)
                 skip_intra_enabled_flag[ d ]                                                        u(1)
              }
         }
     }



I.7.3.2.3     Picture parameter set RBSP syntax

I.7.3.2.3.1      General picture parameter set RBSP syntax
The specifications in clause F.7.3.2.3.1 apply.

I.7.3.2.3.2      Picture parameter set range extension syntax
The specifications in clause F.7.3.2.3.2 apply.

I.7.3.2.3.3      Picture parameter set screen content coding extension syntax
The specifications in clause F.7.3.2.3.3 apply.

I.7.3.2.3.4      Picture parameter set multilayer extension syntax
The specifications in clause F.7.3.2.3.4 apply.

I.7.3.2.3.5      General colour mapping table syntax
The specifications in clause F.7.3.2.3.5 apply.

I.7.3.2.3.6      Colour mapping octants syntax
The specifications in clause F.7.3.2.3.6 apply.

I.7.3.2.3.7      Picture parameter set 3D extension syntax


     pps_3d_extension( ) {                                                                        Descriptor
       dlts_present_flag                                                                             u(1)
       if( dlts_present_flag ) {
           pps_depth_layers_minus1                                                                   u(6)
           pps_bit_depth_for_depth_layers_minus8                                                     u(4)
           for( i = 0; i <= pps_depth_layers_minus1; i++ ) {
              dlt_flag[ i ]                                                                          u(1)
              if( dlt_flag[ i ] ) {
                  dlt_pred_flag[ i ]                                                                 u(1)
                  if( !dlt_pred_flag[ i ] )
                      dlt_val_flags_present_flag[ i ]                                                u(1)
                  if( dlt_val_flags_present_flag[ i ] )
                      for( j = 0; j <= depthMaxValue; j++ )


                                                                          Rec. ITU-T H.265 v8 (08/2021)        607
      Case 2:25-cv-03053                  Document 1-7     Filed 04/07/25   Page 629 of 717 Page ID
                                                         #:1158

                           dlt_value_flag[ i ][ j ]                                          u(1)
                      else
                         delta_dlt( i )
                  }
              }
          }
      }



I.7.3.2.3.8       Delta depth look-up table syntax


      delta_dlt( i ) {                                                                    Descriptor
        num_val_delta_dlt                                                                    u(v)
        if( num_val_delta_dlt > 0 ) {
            if( num_val_delta_dlt > 1 )
                max_diff                                                                     u(v)
            if( num_val_delta_dlt > 2 && max_diff > 0 )
                min_diff_minus1                                                              u(v)
            delta_dlt_val0                                                                   u(v)
            if( max_diff > ( min_diff_minus1 + 1 ) )
                for( k = 1; k < num_val_delta_dlt; k++ )
                   delta_val_diff_minus_min[ k ]                                             u(v)
        }
      }



I.7.3.2.4     Supplemental enhancement information RBSP syntax
The specifications in clause F.7.3.2.4 apply.

I.7.3.2.5     Access unit delimiter RBSP syntax
The specifications in clause F.7.3.2.5 apply.

I.7.3.2.6     End of sequence RBSP syntax
The specifications in clause F.7.3.2.6 apply.

I.7.3.2.7     End of bitstream RBSP syntax
The specifications in clause F.7.3.2.7 apply.

I.7.3.2.8     Filler data RBSP syntax
The specifications in clause F.7.3.2.8 apply.

I.7.3.2.9     Slice segment layer RBSP syntax
The specifications in clause F.7.3.2.9 apply.

I.7.3.2.10 RBSP slice segment trailing bits syntax
The specifications in clause F.7.3.2.10 apply.

I.7.3.2.11 RBSP trailing bits syntax
The specifications in clause F.7.3.2.11 apply.

I.7.3.2.12 Byte alignment syntax
The specifications in clause F.7.3.2.12 apply.


608           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7     Filed 04/07/25     Page 630 of 717 Page ID
                                                      #:1159

I.7.3.3     Profile, tier and level syntax
The specifications in clause F.7.3.3 apply.

I.7.3.4     Scaling list data syntax
The specifications in clause F.7.3.4 apply.

I.7.3.5     Supplemental enhancement information message syntax
The specifications in clause F.7.3.5 apply.

I.7.3.6     Slice segment header syntax

I.7.3.6.1   General slice segment header syntax


     slice_segment_header( ) {                                                                Descriptor
        first_slice_segment_in_pic_flag                                                          u(1)
        if( nal_unit_type >= BLA_W_LP && nal_unit_type <= RSV_IRAP_VCL23 )
            no_output_of_prior_pics_flag                                                         u(1)
        slice_pic_parameter_set_id                                                               ue(v)
        if( !first_slice_segment_in_pic_flag ) {
            if( dependent_slice_segments_enabled_flag )
                dependent_slice_segment_flag                                                     u(1)
            slice_segment_address                                                                u(v)
        }
        if( !dependent_slice_segment_flag ) {
            i=0
            if( num_extra_slice_header_bits > i ) {
                i++
                discardable_flag                                                                 u(1)
            }
            if( num_extra_slice_header_bits > i ) {
                i++
                cross_layer_bla_flag                                                             u(1)
            }
            for(; i < num_extra_slice_header_bits; i++ )
                slice_reserved_flag[ i ]                                                         u(1)
            slice_type                                                                           ue(v)
            if( output_flag_present_flag )
                pic_output_flag                                                                  u(1)
            if( separate_colour_plane_flag = = 1 )
                colour_plane_id                                                                  u(2)
            if( ( nuh_layer_id > 0 &&
                    !poc_lsb_not_present_flag[ LayerIdxInVps[ nuh_layer_id ] ] ) | |
                    ( nal_unit_type != IDR_W_RADL && nal_unit_type != IDR_N_LP ) )
                slice_pic_order_cnt_lsb                                                          u(v)
            if( nal_unit_type != IDR_W_RADL && nal_unit_type != IDR_N_LP ) {
                short_term_ref_pic_set_sps_flag                                                  u(1)
                if( !short_term_ref_pic_set_sps_flag )
                    st_ref_pic_set( num_short_term_ref_pic_sets )
                else if( num_short_term_ref_pic_sets > 1 )
                    short_term_ref_pic_set_idx                                                   u(v)
                if( long_term_ref_pics_present_flag ) {


                                                                      Rec. ITU-T H.265 v8 (08/2021)        609
      Case 2:25-cv-03053         Document 1-7          Filed 04/07/25        Page 631 of 717 Page ID
                                                     #:1160

               if( num_long_term_ref_pics_sps > 0 )
                   num_long_term_sps                                                         ue(v)
               num_long_term_pics                                                            ue(v)
               for( i = 0; i < num_long_term_sps + num_long_term_pics; i++ ) {
                   if( i < num_long_term_sps ) {
                       if( num_long_term_ref_pics_sps > 1 )
                           lt_idx_sps[ i ]                                                    u(v)
                   } else {
                       poc_lsb_lt[ i ]                                                        u(v)
                       used_by_curr_pic_lt_flag[ i ]                                          u(1)
                   }
                   delta_poc_msb_present_flag[ i ]                                            u(1)
                   if( delta_poc_msb_present_flag[ i ] )
                       delta_poc_msb_cycle_lt[ i ]                                           ue(v)
               }
            }
            if( sps_temporal_mvp_enabled_flag )
                slice_temporal_mvp_enabled_flag                                               u(1)
          }
          if( nuh_layer_id > 0 && !default_ref_layers_active_flag &&
                         NumRefListLayers[ nuh_layer_id ] > 0 ) {
              inter_layer_pred_enabled_flag                                                   u(1)
              if( inter_layer_pred_enabled_flag && NumRefListLayers[ nuh_layer_id ] > 1) {
                  if( !max_one_active_ref_layer_flag )
                      num_inter_layer_ref_pics_minus1                                         u(v)
                  if( NumActiveRefLayerPics != NumRefListLayers[ nuh_layer_id ] )
                      for( i = 0; i < NumActiveRefLayerPics; i++ )
                         inter_layer_pred_layer_idc[ i ]                                      u(v)
              }
          }
          if( inCmpPredAvailFlag )
              in_comp_pred_flag                                                               u(1)
          if( sample_adaptive_offset_enabled_flag ) {
              slice_sao_luma_flag                                                             u(1)
              if( ChromaArrayType != 0 )
                  slice_sao_chroma_flag                                                       u(1)
          }
          if( slice_type = = P | | slice_type = = B ) {
              num_ref_idx_active_override_flag                                                u(1)
              if( num_ref_idx_active_override_flag ) {
                  num_ref_idx_l0_active_minus1                                               ue(v)
                  if( slice_type = = B )
                      num_ref_idx_l1_active_minus1                                           ue(v)
              }
              if( lists_modification_present_flag && NumPicTotalCurr > 1 )
                  ref_pic_lists_modification( )
              if( slice_type = = B )
                  mvd_l1_zero_flag                                                            u(1)
              if( cabac_init_present_flag )


610       Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053          Document 1-7           Filed 04/07/25       Page 632 of 717 Page ID
                                                 #:1161

           cabac_init_flag                                                                     u(1)
       if( slice_temporal_mvp_enabled_flag ) {
           if( slice_type = = B )
               collocated_from_l0_flag                                                         u(1)
           if( ( collocated_from_l0_flag && num_ref_idx_l0_active_minus1 > 0 ) | |
               ( !collocated_from_l0_flag && num_ref_idx_l1_active_minus1 > 0 ) )
               collocated_ref_idx                                                              ue(v)
       }
       if( ( weighted_pred_flag && slice_type = = P ) | |
            ( weighted_bipred_flag && slice_type = = B ) )
           pred_weight_table( )
       else if( !DepthFlag && NumRefListLayers[ nuh_layer_id ] > 0 ) {
           slice_ic_enabled_flag                                                               u(1)
           if( slice_ic_enabled_flag )
               slice_ic_disabled_merge_zero_idx_flag                                           u(1)
       }
       five_minus_max_num_merge_cand                                                           ue(v)
    }
    slice_qp_delta                                                                             se(v)
    if( pps_slice_chroma_qp_offsets_present_flag ) {
        slice_cb_qp_offset                                                                     se(v)
        slice_cr_qp_offset                                                                     se(v)
    }
    if( chroma_qp_offset_list_enabled_flag )
        cu_chroma_qp_offset_enabled_flag                                                       u(1)
    if( deblocking_filter_override_enabled_flag )
        deblocking_filter_override_flag                                                        u(1)
    if( deblocking_filter_override_flag ) {
        slice_deblocking_filter_disabled_flag                                                  u(1)
        if( !slice_deblocking_filter_disabled_flag ) {
            slice_beta_offset_div2                                                             se(v)
            slice_tc_offset_div2                                                               se(v)
        }
    }
    if( pps_loop_filter_across_slices_enabled_flag &&
        ( slice_sao_luma_flag | | slice_sao_chroma_flag | |
            !slice_deblocking_filter_disabled_flag ) )
        slice_loop_filter_across_slices_enabled_flag                                           u(1)
    if( cp_in_slice_segment_header_flag[ ViewIdx ] )
        for( m = 0; m < num_cp[ ViewIdx ]; m++ ) {
            j = cp_ref_voi[ ViewIdx ][ m ]
            cp_scale[ j ]                                                                      se(v)
            cp_off[ j ]                                                                        se(v)
            cp_inv_scale_plus_scale[ j ]                                                       se(v)
            cp_inv_off_plus_off[ j ]                                                           se(v)
        }
  }
  if( tiles_enabled_flag | | entropy_coding_sync_enabled_flag ) {
      num_entry_point_offsets                                                                  ue(v)



                                                                    Rec. ITU-T H.265 v8 (08/2021)      611
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25   Page 633 of 717 Page ID
                                                           #:1162

            if( num_entry_point_offsets > 0 ) {
                offset_len_minus1                                                             ue(v)
                for( i = 0; i < num_entry_point_offsets; i++ )
                   entry_point_offset_minus1[ i ]                                              u(v)
            }
          }
          if( slice_segment_header_extension_present_flag ) {
              slice_segment_header_extension_length                                           ue(v)
              if( poc_reset_info_present_flag )
                  poc_reset_idc                                                                u(2)
              if( poc_reset_idc != 0 )
                  poc_reset_period_id                                                          u(6)
              if( poc_reset_idc = = 3 ) {
                  full_poc_reset_flag                                                          u(1)
                  poc_lsb_val                                                                  u(v)
              }
              if( !PocMsbValRequiredFlag && vps_poc_lsb_aligned_flag )
                  poc_msb_cycle_val_present_flag                                               u(1)
              if( poc_msb_cycle_val_present_flag )
                  poc_msb_cycle_val                                                           ue(v)
              while( more_data_in_slice_segment_header_extension( ) )
                  slice_segment_header_extension_data_bit                                      u(1)
          }
          byte_alignment( )
      }



I.7.3.6.2    Reference picture list modification syntax
The specifications in clause F.7.3.6.2 apply.

I.7.3.6.3    Weighted prediction parameters syntax
The specifications in clause F.7.3.6.3 apply.

I.7.3.7     Short-term reference picture set syntax
The specifications in clause F.7.3.7 apply.

I.7.3.8     Slice segment data syntax

I.7.3.8.1    General slice segment data syntax
The specifications in clause F.7.3.8.1 apply.

I.7.3.8.2    Coding tree unit syntax
The specifications in clause F.7.3.8.2 apply.

I.7.3.8.3    Sample adaptive offset syntax
The specifications in clause F.7.3.8.3 apply.




612         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053           Document 1-7        Filed 04/07/25        Page 634 of 717 Page ID
                                                   #:1163

I.7.3.8.4   Coding quadtree syntax


     coding_quadtree( x0, y0, log2CbSize, cqtDepth ) {                                        Descriptor
       if( x0 + ( 1 << log2CbSize ) <= pic_width_in_luma_samples &&
           y0 + ( 1 << log2CbSize ) <= pic_height_in_luma_samples &&
           log2CbSize > MinCbLog2SizeY && !predSplitCuFlag )
               split_cu_flag[ x0 ][ y0 ]                                                         ae(v)
       if( cu_qp_delta_enabled_flag && log2CbSize >= Log2MinCuQpDeltaSize ) {
           IsCuQpDeltaCoded = 0
           CuQpDeltaVal = 0
       }
       if( cu_chroma_qp_offset_enabled_flag &&
           log2CbSize >= Log2MinCuChromaQpOffsetSize )
           IsCuChromaQpOffsetCoded = 0
       if( split_cu_flag[ x0 ][ y0 ] ) {
           x1 = x0 + ( 1 << ( log2CbSize − 1 ) )
           y1 = y0 + ( 1 << ( log2CbSize − 1 ) )
           coding_quadtree( x0, y0, log2CbSize − 1, cqtDepth + 1 )
           if( x1 < pic_width_in_luma_samples )
               coding_quadtree( x1, y0, log2CbSize − 1, cqtDepth + 1 )
           if( y1 < pic_height_in_luma_samples )
               coding_quadtree( x0, y1, log2CbSize − 1, cqtDepth + 1 )
           if( x1 < pic_width_in_luma_samples && y1 < pic_height_in_luma_samples )
               coding_quadtree( x1, y1, log2CbSize − 1, cqtDepth + 1 )
       } else
           coding_unit( x0, y0, log2CbSize )
     }



I.7.3.8.5   Coding unit syntax


     coding_unit( x0, y0, log2CbSize ) {                                                      Descriptor
       if( transquant_bypass_enabled_flag )
           cu_transquant_bypass_flag                                                             ae(v)
       if( slice_type != I )
           cu_skip_flag[ x0 ][ y0 ]                                                              ae(v)
       nCbS = ( 1 << log2CbSize )
       if( cu_skip_flag[ x0 ][ y0 ] )
           prediction_unit( x0, y0, nCbS, nCbS )
       else if( SkipIntraEnabledFlag )
           skip_intra_flag[ x0 ][ y0 ]                                                           ae(v)
       if( !cu_skip_flag[ x0 ][ y0 ] && !skip_intra_flag[ x0 ][ y0 ] ) {
           if( slice_type != I )
               pred_mode_flag                                                                    ae(v)
           if( ( CuPredMode[ x0 ][ y0 ] != MODE_INTRA | |
               log2CbSize = = MinCbLog2SizeY ) && !predPartModeFlag )
               part_mode                                                                         ae(v)
           if( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA ) {




                                                                      Rec. ITU-T H.265 v8 (08/2021)        613
      Case 2:25-cv-03053          Document 1-7          Filed 04/07/25        Page 635 of 717 Page ID
                                                      #:1164

             if( PartMode = = PART_2Nx2N && pcm_enabled_flag &&
                 log2CbSize >= Log2MinIpcmCbSizeY &&
                 log2CbSize <= Log2MaxIpcmCbSizeY )
                 pcm_flag[ x0 ][ y0 ]                                                         ae(v)
             if( pcm_flag[ x0 ][ y0 ] ) {
                 while( !byte_aligned( ) )
                     pcm_alignment_zero_bit                                                    f(1)
                 pcm_sample( x0, y0, log2CbSize )
             } else {
                 pbOffset = ( PartMode = = PART_NxN ) ? ( nCbS / 2 ) : nCbS
                 log2PbSize = log2CbSize − ( ( PartMode = = PART_NxN ) ? 1 : 0 )
                 for( j = 0; j < nCbS; j = j + pbOffset )
                     for( i = 0; i < nCbS; i = i + pbOffset ) {
                        if( IntraDcOnlyWedgeEnabledFlag | | IntraContourEnabledFlag )
                            intra_mode_ext( x0 + i , y0 + j , log2PbSize )
                        if( no_dim_flag[ x0 + i ][ y0 + j ] )
                            prev_intra_luma_pred_flag[ x0 + i ][ y0 + j ]                     ae(v)
                     }
                 for( j = 0; j < nCbS; j = j + pbOffset )
                     for( i = 0; i < nCbS; i = i + pbOffset )
                        if( no_dim_flag[ x0 + i ][ y0 + j ] ) {
                            if( prev_intra_luma_pred_flag[ x0 + i ][ y0 + j ] )
                                mpm_idx[ x0 + i ][ y0 + j ]                                   ae(v)
                            else
                                rem_intra_luma_pred_mode[ x0 + i ][ y0 + j ]                  ae(v)
                        }
                 if( ChromaArrayType = = 3 )
                     for( j = 0; j < nCbS; j = j + pbOffset )
                        for( i = 0; i < nCbS; i = i + pbOffset )
                            intra_chroma_pred_mode[ x0 + 1 ][ y0 + j ]                        ae(v)
                 else if( ChromaArrayType != 0 )
                     intra_chroma_pred_mode[ x0 ][ y0 ]                                       ae(v)
             }
          } else {
             if( PartMode = = PART_2Nx2N )
                 prediction_unit( x0, y0, nCbS, nCbS )
             else if( PartMode = = PART_2NxN ) {
                 prediction_unit( x0, y0, nCbS, nCbS / 2 )
                 prediction_unit( x0, y0 + ( nCbS / 2 ), nCbS, nCbS / 2 )
             } else if( PartMode = = PART_Nx2N ) {
                 prediction_unit( x0, y0, nCbS / 2, nCbS )
                 prediction_unit( x0 + ( nCbS / 2 ), y0, nCbS / 2, nCbS )
             } else if( PartMode = = PART_2NxnU ) {
                 prediction_unit( x0, y0, nCbS, nCbS / 4 )
                 prediction_unit( x0, y0 + ( nCbS / 4 ), nCbS, nCbS * 3 / 4 )
             } else if( PartMode = = PART_2NxnD ) {
                 prediction_unit( x0, y0, nCbS, nCbS * 3 / 4 )
                 prediction_unit( x0, y0 + ( nCbS * 3 / 4 ), nCbS, nCbS / 4 )
             } else if( PartMode = = PART_nLx2N ) {


614       Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                  Document 1-7           Filed 04/07/25           Page 636 of 717 Page ID
                                                             #:1165

                     prediction_unit( x0, y0, nCbS / 4, nCbS )
                     prediction_unit( x0 + ( nCbS / 4 ), y0, nCbS * 3 / 4, nCbS )
                  } else if( PartMode = = PART_nRx2N ) {
                     prediction_unit( x0, y0, nCbS * 3 / 4, nCbS )
                     prediction_unit( x0 + ( nCbS * 3 / 4 ), y0, nCbS / 4, nCbS )
                  } else { /* PART_NxN */
                     prediction_unit( x0, y0, nCbS / 2, nCbS / 2 )
                     prediction_unit( x0 + ( nCbS / 2 ), y0, nCbS / 2, nCbS / 2 )
                     prediction_unit( x0, y0 + ( nCbS / 2 ), nCbS / 2, nCbS / 2 )
                     prediction_unit( x0 + ( nCbS / 2 ), y0 + ( nCbS / 2 ), nCbS / 2, nCbS / 2 )
                  }
              }
         }
         cu_extension( x0, y0, log2CbSize )
         if( DcOnlyFlag[ x0 ][ y0 ] | |
             ( !skip_intra_flag[ x0 ][ y0 ] && CuPredMode[ x0 ][ y0 ] = = MODE_INTRA ) )
             depth_dcs( x0, y0, log2CbSize )
         if( !cu_skip_flag[ x0 ][ y0 ] && !skip_intra_flag[ x0 ][ y0 ]
             && !dc_only_flag[ x0 ][ y0 ] && !pcm_flag[ x0 ][ y0 ] ) {
             if( CuPredMode[ x0 ][ y0 ] != MODE_INTRA &&
                 !( PartMode = = PART_2Nx2N && merge_flag[ x0 ][ y0 ] ) )
                 rqt_root_cbf                                                                                 ae(v)
             if( rqt_root_cbf ) {
                 MaxTrafoDepth = ( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA ?
                                   ( max_transform_hierarchy_depth_intra + IntraSplitFlag ) :
                                   max_transform_hierarchy_depth_inter )
                 transform_tree( x0, y0, x0, y0, log2CbSize, 0, 0 )
             }
         }
     }



I.7.3.8.5.1       Intra mode extension syntax


     intra_mode_ext( x0, y0, log2PbSize ) {                                                                Descriptor
        if( log2PbSize < 6 )
            no_dim_flag[ x0 ][ y0 ]                                                                           ae(v)
        if( !no_dim_flag[ x0 ][ y0 ] && IntraDcOnlyWedgeEnabledFlag
                                                    && IntraContourEnabledFlag )
            depth_intra_mode_idx_flag[ x0 ][ y0 ]                                                             ae(v)
        if( !no_dim_flag[ x0 ][ y0 ] && !depth_intra_mode_idx_flag[ x0 ][ y0 ] )
            wedge_full_tab_idx[ x0 ][ y0 ]                                                                    ae(v)
     }




                                                                                   Rec. ITU-T H.265 v8 (08/2021)        615
      Case 2:25-cv-03053               Document 1-7     Filed 04/07/25       Page 637 of 717 Page ID
                                                      #:1166

I.7.3.8.5.2     Coding unit extension syntax


      cu_extension( x0, y0, log2CbSize ) {                                                     Descriptor
        if( skip_intra_flag[ x0 ][ y0 ] )
            skip_intra_mode_idx[ x0 ][ y0 ]                                                      ae(v)
        else {
            if( !cu_skip_flag[ x0 ][ y0 ] ) {
                if( DbbpEnabledFlag && DispAvailFlag && log2CbSize > 3 &&
                               ( PartMode = = PART_2NxN | | PartMode = = PART_Nx2N ) )
                    dbbp_flag[ x0 ][ y0 ]                                                        ae(v)
                if( ( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA ? IntraDcOnlyWedgeEnabledFlag :
                          InterDcOnlyEnabledFlag ) && PartMode = = PART_2Nx2N )
                    dc_only_flag[ x0 ][ y0 ]                                                     ae(v)
            }
            if( CuPredMode[ x0 ][ y0 ] != MODE_INTRA && PartMode = = PART_2Nx2N ) {
                if( IvResPredEnabledFlag && RpRefPicAvailFlag )
                    iv_res_pred_weight_idx[ x0 ][ y0 ]                                           ae(v)
                if( slice_ic_enabled_flag && icCuEnableFlag &&
                                            iv_res_pred_weight_idx[ x0 ][ y0 ] = = 0 )
                    illu_comp_flag[ x0 ][ y0 ]                                                   ae(v)
            }
        }
      }



I.7.3.8.5.3     Depth DCs syntax


      depth_dcs( x0, y0, log2CbSize ) {                                                        Descriptor
        nCbS = ( 1 << log2CbSize )
        pbOffset = ( PartMode = = PART_NxN &&
                              CuPredMode[ x0 ][ y0 ] = = MODE_INTRA ) ? ( nCbS / 2 ) : nCbS
        for( j = 0; j < nCbS; j = j + pbOffset )
           for( k = 0; k < nCbS; k = k + pbOffset )
               if( DimFlag[ x0 + k ][ y0 + j ] | | DcOnlyFlag[ x0 ][ y0 ] ) {
                   if( CuPredMode[ x0 ][ y0 ] = = MODE_INTRA && DcOnlyFlag[ x0 ][ y0 ] )
                       depth_dc_present_flag[ x0 + k ][ y0 + j ]                                 ae(v)
                   dcNumSeg = DimFlag[ x0 + k ][ y0 + j ] ? 2 : 1
                   if( depth_dc_present_flag[ x0 + k ][ y0 + j ] )
                       for( i = 0; i < dcNumSeg; i++ ) {
                          depth_dc_abs[ x0 + k ][ y0 + j ][ i ]                                  ae(v)
                          if( ( depth_dc_abs[ x0 + k ][ y0 + j ][ i ] − dcNumSeg + 2 ) > 0 )
                              depth_dc_sign_flag[ x0 + k ][ y0 + j ][ i ]                        ae(v)
                       }
               }
      }



I.7.3.8.6     Prediction unit syntax
The specifications in clause F.7.3.8.6 apply.



616           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25         Page 638 of 717 Page ID
                                                          #:1167

I.7.3.8.7    PCM sample syntax
The specifications in clause F.7.3.8.7 apply.

I.7.3.8.8    Transform tree syntax
The specifications in clause F.7.3.8.8 apply.

I.7.3.8.9    Motion vector difference coding syntax
The specifications in clause F.7.3.8.9 apply.

I.7.3.8.10 Transform unit syntax
The specifications in clause F.7.3.8.10 apply.

I.7.3.8.11 Residual coding syntax
The specifications in clause F.7.3.8.11 apply.

I.7.3.8.12 Cross-component prediction syntax
The specifications in clause F.7.3.8.12 apply.

I.7.3.8.13 Palette mode syntax
The specifications in clause F.7.3.8.13 apply

I.7.3.8.14 Delta QP syntax
The specifications in clause F.7.3.8.14 apply.

I.7.3.8.15 Chroma QP offset syntax
The specifications in clause F.7.3.8.15 apply.

I.7.4     Semantics

I.7.4.1     General

I.7.4.2     NAL unit semantics

I.7.4.2.1    General NAL unit semantics
The specifications in clause F.7.4.2.1 apply.

I.7.4.2.2    NAL unit header semantics
The specifications in clause F.7.4.2.2 apply.

I.7.4.2.3    Encapsulation of an SODB within an RBSP (informative)
The specifications in clause F.7.4.2.3 apply.

I.7.4.2.4    Order of NAL units and association to coded pictures, access units, and coded video sequences
The specifications in clause F.7.4.2.4 and all its subclauses apply.

I.7.4.3     Raw byte sequence payloads, trailing bits, and byte alignment semantics

I.7.4.3.1    Video parameter set RBSP semantics
The specifications in clause F.7.4.3.1 apply with the following modifications and additions:
vps_extension2_flag equal to 0 specifies that no vps_3d_extension( ) syntax structure and no vps_extension_data_flag
syntax elements are present in the VPS RBSP syntax structure. vps_extension2_flag equal to 1 specifies that the
vps_3d_extension( ) syntax structure and vps_extension_data_flag syntax elements may be present in the VPS RBSP
syntax structure. When MaxLayersMinus1 is greater than 0, vps_extension2_flag shall be equal to 1.
vps_3d_extension_flag equal to 0 specifies that no vps_3d_extension( ) syntax structure is present in the VPS RBSP
syntax structure. vps_3d_extension_flag equal to 1 specifies that the vps_3d_extension( ) syntax structure is present in the
VPS RBSP syntax structure. When MaxLayersMinus1 is greater than 0, vps_3d_extension_flag shall be equal to 1.
vps_3d_extension_alignment_bit_equal_to_one shall be equal to 1.


                                                                              Rec. ITU-T H.265 v8 (08/2021)            617
      Case 2:25-cv-03053            Document 1-7            Filed 04/07/25          Page 639 of 717 Page ID
                                                          #:1168

vps_extension3_flag equal to 0 specifies that no vps_extension_data_flag syntax elements are present in the VPS RBSP
syntax structure. vps_extension3_flag shall be equal to 0 in bitstreams conforming to this version of this Specification. The
value of 1 for vps_extension3_flag is reserved for future use by ITU-T | ISO/IEC. Decoders conforming to this version of
this Specification shall ignore all data that follow the value 1 for vps_extension3_flag in a VPS RBSP.
vps_extension_data_flag may have any value. Its presence and value do not affect decoder conformance to profiles
specified in Annexes A, G, H, or I. Decoders conforming to a profile specified in Annexes A, G, H, or I shall ignore all
vps_extension_data_flag syntax elements.

I.7.4.3.1.1     Video parameter set extension semantics
The specifications in clause F.7.4.3.1.1 apply with the following additions and modifications:
direct_dependency_type[ i ][ j ] indicates the type of dependency between the layer predLayer with nuh_layer_id equal
layer_id_in_nuh[ i ]     and     the     layer   refLayer     with      nuh_layer_id     equal     to    layer_id_in_nuh[ j ].
( ( direct_dependency_type[ i ][ j ] +1 ) & 0x1 ) greater than 0 specifies that samples of refLayer may be used for inter-
layer prediction of predLayer. ( ( direct_dependency_type[ i ][ j ] +1 ) & 0x1 ) equal to 0 specifies that samples of refLayer
are not used for inter-layer prediction of predLayer. ( ( direct_dependency_type[ i ][ j ] +1 ) & 0x2 ) greater than 0
specifies that motion vectors of refLayer may be used for inter-layer prediction of predLayer.
( ( direct_dependency_type[ i ][ j ] +1 ) & 0x2 ) equal to 0 specifies that motion vectors of refLayer are not used for inter-
layer prediction of predLayer. ( ( direct_dependency_type[ i ][ j ] +1 ) & 0x4 ) greater than 0 specifies that coding quadtree
and coding unit partitioning information of refLayer may be used for inter-layer prediction of predLayer.
( ( direct_dependency_type[ i ][ j ] +1 ) & 0x4 ) equal to 0 specifies that coding quadtree and coding unit partitioning
information of refLayer are not used for inter-layer prediction of the predLayer.
The length of the direct_dependency_type[ i ][ j ] syntax element is direct_dep_type_len_minus2 + 2 bits. Although the
value of direct_dependency_type[ i ][ j ] shall be in the range of 0 to 2, inclusive, when predLayer conforms to a profile
specified in Annexes A, G, or H, and in the range of 0 to 6, inclusive, when the predLayer conforms to a profile specified
in Annex I, decoders shall allow values of direct_dependency_type[ i ][ j ] in the range of 0 to 232 − 2, inclusive, to appear
in the syntax.
The list ViewOIdxList[ idx ] is derived as follows:
      idx = 0
      ViewOIdxList[ idx++ ] = 0
      for( i = 1; i <= MaxLayersMinus1; i++ ) {
           newViewFlag = 1
           for( j = 0; j < i; j++ )                                                                                      (I-7)
                if( ViewOrderIdx[ layer_id_in_nuh[ i ] ] = = ViewOrderIdx[ layer_id_in_nuh[ j ] ] )
                     newViewFlag = 0
           if( newViewFlag )
                ViewOIdxList[ idx++ ] = ViewOrderIdx[ lId ]
      }
The variables NumRefListLayers[ iNuhLId ] and IdRefListLayer[ iNuhLId ] are derived as follows:
      for( i = 0; i <= MaxLayersMinus1; i++ ) {
           iNuhLId = layer_id_in_nuh[ i ]
           NumRefListLayers[ iNuhLId ] = 0
           for( j = 0; j < NumDirectRefLayers[ iNuhLId ]; j++ ) {
                jNuhLId = IdDirectRefLayer[ iNuhLId ][ j ]                                                               (I-8)
                if( DepthLayerFlag[ iNuhLId ] = = DepthLayerFlag[ jNuhLId ] )
                     IdRefListLayer[ iNuhLId ][ NumRefListLayers[ iNuhLId ]++ ] = jNuhLId
           }
      }
The variables ViewCompLayerPresentFlag[ iViewOIdx ][ depFlag ] and ViewCompLayerId[ iViewOIdx ][ depFlag ] are
derived as follows:
      for( depFlag = 0; depFlag <= 1; depFlag++ )
           for( i = 0; i < NumViews; i++ ) {
                iViewOIdx = ViewOIdxList[ i ]
                layerId = −1
                for( j = 0; j <= MaxLayersMinus1; j++ ) {
                     jNuhLId = layer_id_in_nuh[ j ]                                                                      (I-9)
                     if( DepthLayerFlag[ jNuhLId ] = = depFlag && ViewOrderIdx[ jNuhLId ] = = iViewOIdx
                           && DependencyId[ jNuhLId ] = = 0 && AuxId[ jNuhLId ] = = 0 )
                           layerId = jNuhLId


618           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 640 of 717 Page ID
                                                           #:1169

              }
              ViewCompLayerPresentFlag[ iViewOIdx ][ depFlag ] = ( layerId != −1 )
              ViewCompLayerId[ iViewOIdx ][ depFlag ] = layerId
         }
The function ViewIdx( picX ) is specified as follows:
    ViewIdx( picX ) = ViewIdx of the picture picX                                                                        (I-10)
The function ViewIdVal( picX ) is specified as follows:
    ViewIdVal( picX ) = view_id_val[ ViewIdx( picX ) ]                                                                   (I-11)

I.7.4.3.1.2   Representation format semantics
The specifications in clause F.7.4.3.1.2 apply.

I.7.4.3.1.3   DPB size semantics
The specifications in clause F.7.4.3.1.3 apply.

I.7.4.3.1.4   VPS VUI semantics
The specifications in clause F.7.4.3.1.4 apply.

I.7.4.3.1.5   Video signal info semantics
The specifications in clause F.7.4.3.1.5 apply.

I.7.4.3.1.6   VPS VUI bitstream partition HRD parameters semantics
The specifications in clause F.7.4.3.1.6 apply.

I.7.4.3.1.7   Video parameter set 3D extension semantics
cp_precision + BitDepthY − 1 specifies the precision of the vps_cp_scale[ i ][ j ] and vps_cp_inv_scale_plus_scale[ i ][ j ]
syntax elements present in the VPS and the cp_scale[ j ] and cp_inv_scale_plus_scale[ j ] syntax elements present in slice
headers. The value of cp_precision shall be in the range of 0 to 5, inclusive.
num_cp[ i ], when cp_in_slice_segment_header_flag[ i ] is equal to 0, specifies the number of vps_cp_scale[ i ][ j ],
vps_cp_off[ i ][ j ], vps_cp_inv_scale_plus_scale[ i ][ j ], and vps_cp_inv_off_plus_off[ i ][ j ] syntax elements present for
the view with ViewIdx equal to i in the VPS. num_cp[ i ], when cp_in_slice_segment_header_flag[ i ] is equal to 1,
specifies the number of cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and cp_inv_off_plus_off[ j ] syntax
elements present in slice headers of layers with ViewIdx equal to i.
cp_in_slice_segment_header_flag[ i ] equal to 1 specifies that the syntax elements vps_cp_scale[ i ][ j ],
vps_cp_off[ i ][ j ], vps_cp_inv_scale_plus_scale[ i ][ j ], and vps_cp_inv_off_plus_off[ i ][ j ] for the view with ViewIdx
equal to i are not present in the VPS and that the syntax elements cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ],
and cp_inv_off_plus_off[ j ] may be present in slice headers of layers with ViewIdx equal to i.
cp_in_slice_segment_header_flag[ i ] equal to 0 specifies that the vps_cp_scale[ i ][ j ], vps_cp_off[ i ][ j ],
vps_cp_inv_scale_plus_scale[ i ][ j ], and vps_cp_inv_off_plus_off[ i ][ j ] syntax elements for the view with ViewIdx
equal to i are present in the VPS and that the syntax elements cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and
cp_inv_off_plus_off[ j ] are not present in slice headers of layers with ViewIdx equal to i. When not present, the value of
cp_in_slice_segment_header_flag[ i ] is inferred to be equal to 0.
cp_ref_voi[ i ][ m ], when cp_in_slice_segment_header_flag[ i ] is equal to 0, specifies the ViewIdx value j of the view to
which       the    m-th      vps_cp_scale[ i ][ j ],    vps_cp_off[ i ][ j ],   vps_cp_inv_scale_plus_scale[ i ][ j ],      and
vps_cp_inv_off_plus_off[ i ][ j ] syntax element present for the view with ViewIdx equal to i in the VPS is related to.
cp_ref_voi[ i ][ m ], when cp_in_slice_segment_header_flag[ i ] is equal to 1, specifies the ViewIdx value j of the view to
which the m-th cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and cp_inv_off_plus_off[ j ] syntax element present
in the slice headers of layers with ViewIdx equal to i is related to. The value of cp_ref_voi[ i ][ m ] shall be in the range of
0 to 65 535, inclusive. It is a requirement of bitstream conformance that cp_ref_voi[ i ][ x ] is not equal to
cp_ref_voi[ i ][ y ] for any values of x and y in the range of 0 to num_cp[ i ] − 1, inclusive, when x is not equal to y.
For    n    and    m    in      the     range   of      0      to     NumViews − 1,       inclusive,           the     variable
CpPresentFlag[ ViewOIdxList[ n ] ][ ViewOIdxList[ m ] ] is set equal to 0 and modified as follows:
    for( n = 1; n < NumViews; n++ ) {
         i = ViewOIdxList[ n ]
         for( m = 0; m < num_cp[ i ]; m++ )                                                                              (I-12)
              CpPresentFlag[ i ][ cp_ref_voi[ i ][ m ] ] = 1
    }


                                                                                 Rec. ITU-T H.265 v8 (08/2021)            619
      Case 2:25-cv-03053            Document 1-7            Filed 04/07/25          Page 641 of 717 Page ID
                                                          #:1170

vps_cp_scale[ i ][ j ], vps_cp_off[ i ][ j ], vps_cp_inv_scale_plus_scale[ i ][ j ], and vps_cp_inv_off_plus_off[ i ][ j ]
specify parameters for derivation of a horizontal component of a disparity vector from a depth value and may be used to
infer the values of the cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and cp_inv_off_plus_off[ j ] syntax elements
in slice headers of layers with ViewIdx equal to i. When both a texture layer and a depth layer with ViewIdx equal to i are
present, the conversion parameters are associated with the texture layer with ViewIdx equal to i.

I.7.4.3.2     Sequence parameter set RBSP semantics

I.7.4.3.2.1     General sequence parameter set RBSP semantics
The specifications in clause F.7.4.3.2.1 apply.

I.7.4.3.2.2     Sequence parameter set range extension semantics
The specifications in clause F.7.4.3.2.2 apply.

I.7.4.3.2.1     Sequence parameter set screen content coding extension semantics
The specifications in clause F.7.4.3.2.3 apply.

I.7.4.3.2.2     Sequence parameter set multilayer extension semantic
The specifications in clause F.7.4.3.2.4 apply.

I.7.4.3.2.3     Sequence parameter set 3D extension semantics
iv_di_mc_enabled_flag[ d ] equal to 1 specifies that the derivation process for inter-view predicted merging candidates
and the derivation process for disparity information merging candidates may be used in the decoding process of layers with
DepthFlag equal to d. iv_di_mc_enabled_flag[ d ] equal to 0 specifies that derivation process for inter-view predicted
merging candidates and the derivation process for disparity information merging candidates is not used in the decoding
process of layers with DepthFlag equal to d. When not present, the value of iv_di_mc_enabled_flag[ d ] is inferred to be
equal to 0.
iv_mv_scal_enabled_flag[ d ] equal to 1 specifies that motion vectors used for inter-view prediction may be scaled based
on view_id_val values in the decoding process of layers with DepthFlag equal to d. iv_mv_scal_enabled_flag[ d ] equal to
0 specifies that motion vectors used for inter-view prediction are not scaled based on view_id_val values in the decoding
process of layers with DepthFlag equal to d. When not present, the value of iv_mv_scal_enabled_flag[ d ] is inferred to be
equal to 0.
log2_ivmc_sub_pb_size_minus3[ d ], when iv_di_mc_enabled_flag[ d ] is equal to 1 and d is equal to 0, is used to derive
the minimum size of sub-block partitions used in the derivation process for sub-block partition motion vectors for an inter-
layer predicted merging candidate in the decoding process of layers with DepthFlag equal to d. When not present, the value
of log2_ivmc_sub_pb_size_minus3[ d ] is inferred to be equal to ( CtbLog2SizeY − 3 ). The value of
log2_ivmc_sub_pb_size_minus3[ d ] shall be in the range of ( MinCbLog2SizeY − 3 ) to ( CtbLog2SizeY − 3 ), inclusive.
iv_res_pred_enabled_flag[ d ] equal to 1 specifies that the iv_res_pred_weight_idx syntax element may be present in
coding units of layers with DepthFlag equal to d. iv_res_pred_enabled_flag[ d ] equal to 0 specifies that the
iv_res_pred_weight_idx syntax element is not present coding units of layers with DepthFlag equal to d. When not present,
the value of iv_res_pred_enabled_flag[ d ] is inferred to be equal to 0.
vsp_mc_enabled_flag[ d ] equal to 1 specifies that the derivation process for a view synthesis prediction merging
candidate may be used in the decoding process of layers with DepthFlag equal to d. vsp_mc_enabled_flag[ d ] equal to 0
specifies that the derivation process for a view synthesis prediction merging candidate is not used in the decoding process
of layers with DepthFlag equal to d. When not present, the value of vsp_mc_enabled_flag[ d ] is inferred to be equal to 0.
dbbp_enabled_flag[ d ] equal to 1 specifies that the dbbp_flag syntax element may be present in coding units of layers
with DepthFlag equal to d. dbbp_enabled_flag[ d ] equal to 0 specifies that the dbbp_flag syntax element is not present
coding units of layers with DepthFlag equal to d. When not present, the value of dbbp_enabled_flag[ d ] is inferred to be
equal to 0.
depth_ref_enabled_flag[ d ] equal to 1 specifies that the derivation process for a depth or disparity sample array from a
depth picture may be used in the derivation process for a disparity vector for texture layers in the decoding process of
layers with DepthFlag equal to d. depth_ref_enabled_flag[ d ] equal to 0 specifies that derivation process for a depth or
disparity sample array from a depth picture is not used in the derivation process for a disparity vector for texture layers in
the decoding process of layers with DepthFlag equal to d. When not present, the value of depth_ref_enabled_flag[ d ] is
inferred to be equal to 0.
tex_mc_enabled_flag[ d ] equal to 1 specifies that the derivation process for motion vectors for the texture merge
candidate may be used in the decoding process of layers with DepthFlag equal to d. tex_mc_enabled_flag[ d ] equal to 0



620           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 642 of 717 Page ID
                                                         #:1171

specifies that the derivation process for motion vectors for the texture merge candidate is not used in the decoding process
of layers with DepthFlag equal to d. When not present, the value of tex_mc_enabled_flag[ d ] is inferred to be equal to 0.
log2_texmc_sub_pb_size_minus3[ d ], when tex_mc_enabled_flag[ d ] is equal to 1, is used to derive the minimum size
of sub-block partitions used in the derivation process for sub-block partition motion vectors for an inter-layer predicted
merging candidate in the decoding process of layers with DepthFlag equal to d. The value of
log2_texmc_sub_pb_size_minus3[ layerId ] shall be in the range of ( MinCbLog2SizeY − 3 ) to ( CtbLog2SizeY − 3 ),
inclusive.
intra_contour_enabled_flag[ d ] equal to 1 specifies that the intra prediction mode INTRA_CONTOUR using depth intra
contour prediction may be used in the decoding process of layers with DepthFlag equal to d.
intra_contour_enabled_flag[ d ] equal to 0 specifies that the intra prediction mode INTRA_CONTOUR using depth intra
contour prediction is not used in the decoding process of layers with DepthFlag equal to d. When not present,
intra_contour_enabled_flag[ d ] is inferred to be equal to 0.
intra_dc_only_wedge_enabled_flag[ d ] equal to 1 specifies that the dc_only_flag syntax element may be present in
coding units coded in an intra prediction mode of layers with DepthFlag equal to d, and that the intra prediction mode
INTRA_WEDGE may be used in the decoding process of layers with DepthFlag equal to d.
intra_dc_only_wedge_enabled_flag[ d ] equal to 0 specifies that the dc_only_flag syntax element is not present in coding
units coded in an intra prediction mode of layers with DepthFlag equal to d and that the intra prediction mode
INTRA_WEDGE is not used in the decoding process of layers with DepthFlag equal to d. When not present, the value of
intra_dc_only_wedge_enabled_flag[ d ] is inferred to be equal to 0.
cqt_cu_part_pred_enabled_flag[ d ] equal to 1 specifies that coding quadtree and coding unit partitioning information
may be inter-component predicted in the decoding process of layers with DepthFlag equal to d.
cqt_cu_part_pred_enabled_flag[ d ] equal to 0 specifies that coding quadtree and coding unit partitioning information are
not inter-component predicted in the decoding process of layers with DepthFlag equal to d. When not present, the value of
cqt_cu_part_pred_enabled_flag[ d ] is inferred to be equal to 0.
inter_dc_only_enabled_flag[ d ] equal to 1 specifies that the dc_only_flag syntax element may be present in coding units
coded an in inter prediction mode of layers with DepthFlag equal to d. inter_dc_only_enabled_flag[ d ] equal to 0 specifies
that the dc_only_flag syntax element is not present in coding units coded in an inter prediction mode of layers with
DepthFlag equal to d. When not present, the value of inter_dc_only_enabled_flag[ layerId ] is inferred to be equal to 0.
skip_intra_enabled_flag[ d ] equal to 1 specifies that the skip_intra_flag syntax element may be present in coding units
of layers with DepthFlag equal to d. skip_intra_enabled_flag[ d ] equal to 0 specifies that the skip_intra_flag syntax
element is not present in coding units of layers with DepthFlag equal to d. When not present, the value of
skip_intra_enabled_flag[ layerId ] is inferred to be equal to 0.

I.7.4.3.3     Picture parameter set RBSP semantics

I.7.4.3.3.1     General picture parameter set RBSP semantics
The specifications in clause F.7.4.3.3.1 apply.

I.7.4.3.3.2     Picture parameter set range extension semantics
The specifications in clause F.7.4.3.3.2 apply.

I.7.4.3.3.3     Picture parameter set screen content coding extension semantics
The specifications in clause F.7.4.3.3.3 apply.

I.7.4.3.3.4     Picture parameter set multilayer extension semantics
The specifications in clause F.7.4.3.3.4 apply.

I.7.4.3.3.5     General colour mapping table semantics
The specifications in clause F.7.4.3.3.5 apply.

I.7.4.3.3.6     Colour mapping octants semantics
The specifications in clause F.7.4.3.3.6 apply.

I.7.4.3.3.7     Picture parameter set 3D extension semantics
dlts_present_flag equal to 1 specifies that syntax elements for the derivation of depth look-up tables are present in the
PPS. dlts_present_flag equal to 0 specifies that syntax elements for the derivation of depth look-up tables are not present
in the PPS.


                                                                              Rec. ITU-T H.265 v8 (08/2021)            621
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25           Page 643 of 717 Page ID
                                                           #:1172

The variables NumDepthLayers and DepIdxToLId[ j ] are derived as follows:
      j=0
      for( i = 0; i <= MaxLayersMinus1; i++ ) {
           layerId = layer_id_in_nuh[ i ]
           if( DepthLayerFlag[ layerId ] )                                                                                (I-13)
                DepIdxToLId[ j++ ] = layerId
      }
      NumDepthLayers = j
pps_depth_layers_minus1 plus 1 specifies the number of depth layers. pps_depth_layers_minus1 shall be equal to
NumDepthLayers − 1.
pps_bit_depth_for_depth_layers_minus8 plus 8 specifies the bit depth of the samples in depth layers. It is a requirement
of bitstream conformance that pps_bit_depth_for_depth_layers_minus8 shall be equal to bit_depth_luma_minus8 of the
SPS the current PPS refers to.
The variable depthMaxValue is set equal to ( 1 << ( pps_bit_depth_for_depth_layers_minus8 + 8 ) ) − 1.
dlt_flag[ i ] equal to 1 specifies that a depth look-up table for the layer with nuh_layer_id equal to DepIdxToLId[ i ] is
present in the PPS and used for the decoding of the layer with nuh_layer_id equal to DepIdxToLId[ i ]. dlt_flag[ i ] equal
to 0 specifies that a depth look-up table is not present for the layer with nuh_layer_id equal to DepIdxToLId[ i ]. When not
present, the value of dlt_flag[ i ] is inferred to be equal to 0.
For i in the range of 0 to NumDepthLayers − 1, inclusive, the variable DltFlag[ DepIdxToLId[ i ] ] is set equal to
dlt_flag[ i ].
dlt_pred_flag[ i ] equal to 1 indicates that the depth look-up table of the layer with nuh_layer_id equal to DepIdxToLId[ i ]
is predicted from the depth look-up table of the layer with nuh_layer_id equal to DepIdxToLId[ 0 ]. dlt_pred_flag[ i ] equal
to 0 indicates that the depth look-up table of the layer with nuh_layer_id equal to DepIdxToLId[ i ] is not predicted from
any other depth look-up table. The value of dlt_pred_flag[ 0 ] shall be equal to 0. It is a requirement of bitstream
conformance that, when dlt_flag[ 0 ] is equal to 0, dlt_pred_flag[ i ] shall be equal to 0.
dlt_val_flags_present_flag[ i ] equal to 1 specifies the depth look-up table of the layer with nuh_layer_id equal to
DepIdxToLId[ i ] is derived from dlt_value_flag[ i ][ j ] syntax elements. dlt_val_flags_present_flag[ i ] equal to 0
specifies the depth look-up table of the layer with nuh_layer_id equal to DepIdxToLId[ i ] is derived from the delta_dlt( )
syntax structure. When not present, the value of dlt_val_flags_present_flag[ i ] is inferred to be equal to 0.
dlt_value_flag[ i ][ j ] equal to 1 specifies that j is an entry in the depth look-up table of the layer with nuh_layer_id equal
to DepIdxToLId[ i ]. dlt_value_flag[ i ][ j ] equal to 0 specifies that j is not an entry in the depth look-up table of the layer
with nuh_layer_id equal to DepIdxToLId[ i ].
When dlt_val_flags_present_flag[ i ] is equal to 1, the following applies:
–     The variable layerId is set equal to DepIdxToLId[ i ].
–     The variables DltVal[ layerId ][ n ] and NumValDlt[ layerId ] of the depth look-up table of the layer with nuh_layer_id
      equal to layerId are derived as follows:
          for( n = 0, j = 0; j <= depthMaxValue; j++ )
               if( dlt_value_flag[ i ][ j ] )                                                                             (I-14)
                    DltVal[ layerId ][ n++ ] = j
          NumValDlt[ layerId ] = n

I.7.4.3.3.8     Delta depth look-up table semantics
num_val_delta_dlt specifies the number of elements in the list deltaList. The length of num_val_delta_dlt syntax element
is pps_bit_depth_for_depth_layers_minus8 + 8 bits.
max_diff specifies the maximum difference between two consecutive elements in the list deltaList. The length of max_diff
syntax element is pps_bit_depth_for_depth_layers_minus8 + 8 bits. When not present, the value of max_diff is inferred to
be equal to 0.
min_diff_minus1 specifies the minimum difference between two consecutive elements in the list deltaList.
min_diff_minus1 shall be in the range of 0 to max_diff − 1, inclusive. The length of the min_diff_minus1 syntax element
is Ceil( Log2( max_diff + 1 ) ) bits. When not present, the value of min_diff_minus1 is inferred to be equal to
( max_diff − 1 ).
The variable minDiff is set equal to ( min_diff_minus1 + 1 ).




622           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7          Filed 04/07/25          Page 644 of 717 Page ID
                                                         #:1173

delta_dlt_val0 specifies the 0-th element in the list deltaList. The length of the delta_dlt_val0 syntax element is
pps_bit_depth_for_depth_layers_minus8 + 8 bits.
delta_val_diff_minus_min[ k ] plus minDiff specifies the difference between the k-th element and the ( k − 1 )-th element
in the list deltaList. The length of delta_val_diff_minus_min[ k ] syntax element is Ceil( Log2( max_diff − minDiff + 1 ) )
bits. When not present, the value of delta_val_diff_minus_min[ k ] is inferred to be equal to 0.
The list deltaList is derived as follows:
    deltaList[ 0 ] = delta_dlt_val0
    for( k = 1; k < num_val_delta_dlt; k++ )                                                                         (I-15)
         deltaList[ k ] = deltaList[ k − 1 ] + delta_val_diff_minus_min[ k ] + minDiff
The variables layerId and refLayerId are set equal to DepIdxToLId[ i ] and DepIdxToLId[ 0 ], respectively.
The variables DltVal[ layerId ][ n ] and NumValDlt[ layerId ] of the depth look-up table of the layer with nuh_layer_id
equal to layerId are derived as follows:
    for( n = 0, j = 0; j <= depthMaxValue; j++ ) {
         inRefDltFlag = 0
         if( dlt_pred_flag[ i ] )
               for( k = 0; k < NumValDlt[ refLayerId ]; k++ )
                    inRefDltFlag = inRefDltFlag | | ( DltVal[ refLayerId ][ k ] = = j )
         inUpdateDltFlag = 0                                                                                         (I-16)
         for( k = 0; k < num_val_delta_dlt; k++ )
               inUpdateDltFlag = inUpdateDltFlag | | ( deltaList[ k ] = = j )
         if( inRefDltFlag != inUpdateDltFlag )
               DltVal[ layerId ][ n++ ] = j
    }
    NumValDlt[ layerId ] = n

I.7.4.3.4   Supplemental enhancement information RBSP semantics
The specifications in clause F.7.4.3.4 apply.

I.7.4.3.5   Access unit delimiter RBSP semantics
The specifications in clause F.7.4.3.5 apply.

I.7.4.3.6   End of sequence RBSP semantics
The specifications in clause F.7.4.3.6 apply.

I.7.4.3.7   End of bitstream RBSP semantics
The specifications in clause F.7.4.3.7 apply.

I.7.4.3.8   Filler data RBSP semantics
The specifications in clause F.7.4.3.8 apply.

I.7.4.3.9   Slice segment layer RBSP semantics
The specifications in clause F.7.4.3.9 apply.

I.7.4.3.10 RBSP slice segment trailing bits semantics
The specifications in clause F.7.4.3.10 apply.

I.7.4.3.11 RBSP trailing bits semantics
The specifications in clause F.7.4.3.11 apply.

I.7.4.3.12 Byte alignment semantics
The specifications in clause F.7.4.3.12 apply.

I.7.4.4     Profile, tier and level semantics
The specifications in clause F.7.4.4 apply.




                                                                              Rec. ITU-T H.265 v8 (08/2021)           623
      Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 645 of 717 Page ID
                                                            #:1174

I.7.4.5         Scaling list data semantics
The specifications in clause F.7.4.5 apply.

I.7.4.6         Supplemental enhancement information message semantics
The specifications in clause F.7.4.6 apply.

I.7.4.7         Slice segment header semantics

I.7.4.7.1       General slice segment header semantics
The specifications in clause F.7.4.7.1 apply with the following modifications and additions.
The variable DepthFlag is set equal to DepthLayerFlag[ nuh_layer_id ] and the variable ViewIdx is set equal to
ViewOrderIdx[ nuh_layer_id ].
The list curCmpLIds and the variable numCurCmpLIds are derived as follows:
      curCmpLIds = DepthFlag ? { nuh_layer_id } : RefPicLayerId
      numCurCmpLIds = DepthFlag ? 1 : NumActiveRefLayerPics
The list inCmpRefViewIdcs[ i ], the variable cpAvailableFlag, and the variable allRefCmpLayersAvailFlag are derived as
follows:
–     The variables cpAvailableFlag and allRefCmpLayersAvailFlag are set equal to 1.
–     For i in the range of 0 to numCurCmpLIds − 1, inclusive, the following applies:
      –     The variable inCmpRefViewIdcs[ i ] is set equal to ViewOrderIdx[ curCmpLIds[ i ] ].
      –     When CpPresentFlag[ ViewIdx ][ inCmpRefViewIdcs[ i ] ] is equal to 0, cpAvailableFlag is set equal to 0.
      –     The variable refCmpCurLIdAvailFlag is set equal to 0.
      –     When ViewCompLayerPresentFlag[ inCmpRefViewIdcs[ i ] ][ !DepthFlag ] is equal to 1, the following applies:
            –     The variable j is set equal to LayerIdxInVps[ ViewCompLayerId[ inCmpRefViewIdcs[ i ] ][ !DepthFlag ] ].
            –     When all of the following conditions are true, refCmpCurLIdAvailFlag is set equal to 1:
                  –   direct_dependency_flag[ LayerIdxInVps[ nuh_layer_id ] ][ j ] is equal to 1.
                  –   sub_layers_vps_max_minus1[ j ] is greater than or equal to TemporalId.
                  –   TemporalId is equal to 0 or max_tid_il_ref_pics_plus1[ j ][ LayerIdxInVps[ nuh_layer_id ] ] is greater
                      than TemporalId.
      –     When refCmpCurLIdAvailFlag is equal to 0, allRefCmpLayersAvailFlag is set equal to 0.
The variable inCmpPredAvailFlag is derived as follows:
–     If allRefCmpLayersAvailFlag is equal to 0, inCmpPredAvailFlag is set equal to 0.
–     Otherwise (allRefCmpLayersAvailFlag) is equal to 1, the following applies:
      –     If DepthFlag is equal to 0, the following applies:
                  inCmpPredAvailFlag = vsp_mc_enabled_flag[ DepthFlag ] | |
                          dbbp_enabled_flag[ DepthFlag ] | | depth_ref_enabled_flag[ DepthFlag ]                         (I-17)
      –     Otherwise (DepthFlag is equal to 1), the following applies:
                  inCmpPredAvailFlag = intra_contour_enabled_flag[ DepthFlag ] | |
                      cqt_cu_part_pred_enabled_flag[ DepthFlag ] | | tex_mc_enabled_flag[ DepthFlag ]                    (I-18)
in_comp_pred_flag equal to 0 specifies that reference pictures required for inter-component prediction of the current
picture may not be present and that inter-component prediction of the current picture is disabled. in_comp_pred_flag equal
to 1 specifies all reference pictures required for inter-component prediction of the current picture are present and that inter-
component prediction of the current picture is enabled. When not present, the value of in_comp_pred_flag is inferred to
be equal to 0.




624             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 646 of 717 Page ID
                                                        #:1175

When in_comp_pred_flag is equal to 1, the following applies for i in the range of 0 to numCurCmpLIds − 1, inclusive:
–   It is a requirement of bitstream conformance that there is a picture in the DPB with PicOrderCntVal equal to the
    PicOrderCntVal       of      the    current    picture,     and      a     nuh_layer_id    value    equal     to
    ViewCompLayerId[ inCmpRefViewIdcs[ i ] ][ !DepthFlag ].
The variables IvDiMcEnabledFlag, IvMvScalEnabledFlag, IvResPredEnabledFlag, VspMcEnabledFlag, DbbpEnabledFlag,
DepthRefEnabledFlag, TexMcEnabledFlag, IntraContourEnabledFlag, IntraDcOnlyWedgeEnabledFlag, CqtCuPartPredEnabledFlag,
InterDcOnlyEnabledFlag, SkipIntraEnabledFlag and DisparityDerivationFlag are derived as follows:
    IvDiMcEnabledFlag = NumRefListLayers[ nuh_layer_id ] > 0 && iv_di_mc_enabled_flag[ DepthFlag ]                  (I-19)
    IvMvScalEnabledFlag = iv_mv_scal_enabled_flag[ DepthFlag ] && ViewIdx != 0                                      (I-20)
    IvResPredEnabledFlag = NumRefListLayers[ nuh_layer_id ] > 0
                                                             && iv_res_pred_enabled_flag[ DepthFlag ]               (I-21)
    VspMcEnabledFlag = NumRefListLayers[ nuh_layer_id ] > 0 &&
                       vsp_mc_enabled_flag[ DepthFlag ] && in_comp_pred_flag && cpAvailableFlag                     (I-22)
    DbbpEnabledFlag = dbbp_enabled_flag[ DepthFlag ] && in_comp_pred_flag                                           (I-23)
    DepthRefEnabledFlag = depth_ref_enabled_flag[ DepthFlag ] && in_comp_pred_flag
                                                                                && cpAvailableFlag                  (I-24)
    TexMcEnabledFlag = tex_mc_enabled_flag[ DepthFlag ] && in_comp_pred_flag                                        (I-25)
    IntraContourEnabledFlag = intra_contour_enabled_flag[ DepthFlag ] && in_comp_pred_flag                          (I-26)
    IntraDcOnlyWedgeEnabledFlag = intra_dc_only_wedge_enabled_flag[ DepthFlag ]                                     (I-27)
    CqtCuPartPredEnabledFlag = cqt_cu_part_pred_enabled_flag[ DepthFlag ] && in_comp_pred_flag &&
        slice_type != I && !( nal_unit_type >= BLA_W_LP && nal_unit_type <= RSV_IRAP_VCL23 )                        (I-28)
    InterDcOnlyEnabledFlag = inter_dc_only_enabled_flag[ DepthFlag ]                                                (I-29)
    SkipIntraEnabledFlag = skip_intra_enabled_flag[ DepthFlag ]                                                     (I-30)
    DisparityDerivationFlag = IvDiMcEnabledFlag | | IvResPredEnabledFlag | |
                                                                VspMcEnabledFlag | | DbbpEnabledFlag                (I-31)
When TexMcEnabledFlag is equal to 1, or CqtCuPartPredEnabledFlag is equal to 1, or IntraContourEnabledFlag is equal
to 1, let TexturePic be the picture in the current access unit with nuh_layer_id equal to ViewCompLayerId[ ViewIdx ][ 0 ].
num_inter_layer_ref_pics_minus1 plus 1 specifies the number of pictures that may be used in decoding of the current
picture for inter-layer prediction. The length of the num_inter_layer_ref_pics_minus1 syntax element is
Ceil( Log2( NumRefListLayers[ nuh_layer_id ] ) ) bits. The value of num_inter_layer_ref_pics_minus1 shall be in the
range of 0 to NumRefListLayers[ nuh_layer_id ] − 1, inclusive.
The variables numRefLayerPics and refLayerPicIdc[ j ] are derived as follows:
    for( i = 0, j = 0; i < NumRefListLayers[ nuh_layer_id ]; i++ ) {
         refLayerIdx = LayerIdxInVps[ IdRefListLayer[ nuh_layer_id ][ i ] ]
         if( sub_layers_vps_max_minus1[ refLayerIdx ] >= TemporalId && ( TemporalId = = 0 | |                       (I-32)
                    max_tid_il_ref_pics_plus1[ refLayerIdx ][ LayerIdxInVps[ nuh_layer_id ] ] > TemporalId ) )
              refLayerPicIdc[ j++ ] = i
    }
    numRefLayerPics = j
The variable NumActiveRefLayerPics is derived as follows:
    if( nuh_layer_id = = 0 | | numRefLayerPics = = 0 )
         NumActiveRefLayerPics = 0
    else if( default_ref_layers_active_flag )
         NumActiveRefLayerPics = numRefLayerPics
    else if( !inter_layer_pred_enabled_flag )                                                                       (I-33)
         NumActiveRefLayerPics = 0
    else if( max_one_active_ref_layer_flag | | NumRefListLayers[ nuh_layer_id ] = = 1 )
         NumActiveRefLayerPics = 1
    else
         NumActiveRefLayerPics = num_inter_layer_ref_pics_minus1 + 1
All slices of a coded picture shall have the same value of NumActiveRefLayerPics.


                                                                             Rec. ITU-T H.265 v8 (08/2021)           625
      Case 2:25-cv-03053               Document 1-7          Filed 04/07/25           Page 647 of 717 Page ID
                                                           #:1176

inter_layer_pred_layer_idc[ i ] specifies the variable, RefPicLayerId[ i ], representing the nuh_layer_id of the i-th picture
that may be used by the current picture for inter-layer prediction. The length of the inter_layer_pred_layer_idc[ i ] syntax
element is Ceil( Log2( NumRefListLayers[ nuh_layer_id ] ) ) bits. The value of inter_layer_pred_layer_idc[ i ] shall be in
the range of 0 to NumRefListLayers[ nuh_layer_id ] − 1, inclusive. When i is greater than 0,
inter_layer_pred_layer_idc[ i ] shall be greater than inter_layer_pred_layer_idc[ i − 1 ]. When not present, the value of
inter_layer_pred_layer_idc[ i ] is inferred to be equal to refLayerPicIdc[ i ].
The variables RefPicLayerId[ i ] for all values of i in the range of 0 to NumActiveRefLayerPics − 1, inclusive, are derived
as follows:
      for( i = 0, j = 0; i < NumActiveRefLayerPics; i++ )                                                                (I-34)
           RefPicLayerId[ i ] = IdRefListLayer[ nuh_layer_id ][ inter_layer_pred_layer_idc[ i ] ]
The variable NumExtraMergeCand is derived as follows:
      NumExtraMergeCand = IvDiMcEnabledFlag | | TexMcEnabledFlag | | VspMcEnabledFlag                                    (I-35)
five_minus_max_num_merge_cand specifies the maximum number of merging motion vector prediction (MVP)
candidates supported in the slice subtracted from ( 5 + NumExtraMergeCand ).
The maximum number of merging MVP candidates, MaxNumMergeCand is derived as follows:
      MaxNumMergeCand = 5 + NumExtraMergeCand − five_minus_max_num_merge_cand                                            (I-36)
The value of MaxNumMergeCand shall be in the range of 1 to ( 5 + NumExtraMergeCand ), inclusive.
slice_ic_enabled_flag equal to 1 specifies that the illu_comp_flag[ x0 ][ y0 ] syntax element may be present in coding
units of the current slice. slice_ic_enabled_flag equal to 0 specifies that the illu_comp_flag[ x0 ][ y0 ] syntax element is
not present in coding units of the current slice. When not present, the value of slice_ic_enabled_flag is inferred to be equal
to 0.
slice_ic_disabled_merge_zero_idx_flag equal to 1 specifies that the illu_comp_flag[ x0 ][ y0 ] syntax element is not
present in coding units of the current slice when merge_flag[ x0 ][ y0 ] is equal to 1 and merge_idx[ x0 ][ y0 ] is equal to
0. slice_ic_disabled_merge_zero_idx_flag equal to 0 specifies that illu_comp_flag[ x0 ][ y0 ] syntax element may be
present in coding units of the current slice when merge_flag[ x0 ][ y0 ] is equal to 1 and merge_idx[ x0 ][ y0 ] is equal to
0. When not present, the value of slice_ic_disabled_merge_zero_idx_flag is inferred to be equal to 0.
cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and cp_inv_off_plus_off[ j ] specify parameters for the derivation
of a horizontal component of a disparity vector from a depth value. When not present and CpPresentFlag[ ViewIdx ][ j ]
is equal to 1, the values of cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and cp_inv_off_plus_off[ j ] are inferred
to be equal to vps_cp_scale[ ViewIdx ][ j ], vps_cp_off[ ViewIdx ][ j ], vps_cp_inv_scale_plus_scale[ ViewIdx ][ j ], and
vps_cp_inv_off_plus_off[ ViewIdx ][ j ], respectively. It is a requirement of bitstream conformance, that the values of
cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and cp_inv_off_plus_off[ j ] in a slice header having a ViewIdx
equal to viewIdxA and the values of cp_scale[ j ], cp_off[ j ], cp_inv_scale_plus_scale[ j ], and cp_inv_off_plus_off[ j ] in
a slice header having a ViewIdx equal to viewIdxB shall be the same, when viewIdxA is equal to viewIdxB.
The variable DepthToDisparityB[ j ][ d ] specifying the horizontal component of a disparity vector between the current
view and the view with ViewIdx equal j corresponding to the depth value d in the view with ViewIdx equal to j and the
variable DepthToDisparityF[ j ][ d ] specifying the horizontal component of a disparity vector between the view with
ViewIdx equal j and the current view corresponding to the depth value d in the current view are derived as follows:
–     The variable log2Div is set equal to ( BitDepthY − 1 + cp_precision ).
–     For d in range of 0 to ( ( 1 << BitDepthY ) − 1 ), inclusive, the following applies:
      –   For m in the range of 0 to ( num_cp[ ViewIdx ] − 1 ), inclusive, the following applies:
               j = cp_ref_voi[ ViewIdx ][ m ]                                                                            (I-37)
               offset = ( cp_off[ j ] << BitDepthY ) + ( ( 1 << log2Div ) >> 1 )                                         (I-38)
               scale = cp_scale[ j ]                                                                                     (I-39)
               DepthToDisparityB[ j ][ d ] = ( scale * d + offset ) >> log2Div                                           (I-40)
               invOffset = ( ( cp_inv_off_plus_off[ j ] − cp_off[ j ] ) << BitDepthY ) + ( ( 1 << log2Div ) >> 1 ) (I-41)
               invScale = cp_inv_scale_plus_scale[ j ] − cp_scale[ j ]                                                   (I-42)
               DepthToDisparityF[ j ][ d ] = ( invScale * d + invOffset ) >> log2Div                                     (I-43)




626          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7           Filed 04/07/25           Page 648 of 717 Page ID
                                                           #:1177

I.7.4.7.2     Reference picture list modification semantics
The specifications in clause F.7.4.7.2 apply.

I.7.4.7.3     Weighted prediction parameters semantics
The specifications in clause F.7.4.7.3 apply.

I.7.4.8       Short-term reference picture set semantics
The specifications in clause F.7.4.8 apply.

I.7.4.9       Slice segment data semantics

I.7.4.9.1     General slice segment data semantics
The specifications in clause F.7.4.9.1 apply.

I.7.4.9.2     Coding tree unit semantics
The specifications in clause F.7.4.9.2 apply.

I.7.4.9.3     Sample adaptive offset semantics
The specifications in clause F.7.4.9.3 apply.

I.7.4.9.4     Coding quadtree semantics
The specifications in clause F.7.4.9.4 apply with the following modifications:
The variable predSplitCuFlag specifying whether the split_cu_flag[ x0 ][ y0 ] syntax element is inter-component predicted
is derived as follows:
–   If CqtCuPartPredEnabledFlag is equal to 1, the following applies:
    –       Let colTextCu be the coding unit containing the luma coding block covering the luma location ( x0, y0 ) in the
            picture TexturePic.
    –       The variable log2TextCbSize is set equal to log2CbSize of the coding unit colTextCu.
    –       The variable predSplitCuFlag is set equal to ( log2CbSize <= log2TextCbSize ).
–   Otherwise (CqtCuPartPredEnabledFlag is equal to 0), predSplitCuFlag is set equal to 0.
split_cu_flag[ x0 ][ y0 ] specifies whether a coding unit is split into coding units with half horizontal and vertical size. The
array indices x0, y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered coding block relative to
the top-left luma sample of the picture.
When split_cu_flag[ x0 ][ y0 ] is not present, the following applies:
–   If log2CbSize is greater than MinCbLog2SizeY and predSplitCuFlag is equal to 0, the value of
    split_cu_flag[ x0 ][ y0 ] is inferred to be equal to 1.
–   Otherwise (log2CbSize is equal to MinCbLog2SizeY or predSplitCuFlag is equal to 1), the value of
    split_cu_flag[ x0 ][ y0 ] is inferred to be equal to 0.

I.7.4.9.5     Coding unit semantics
The specifications in clause F.7.4.9.5 apply with the following modifications and additions:
cu_skip_flag[ x0 ][ y0 ] equal to 1 specifies that for the current coding unit, when decoding a P or B slice, no more syntax
elements except the merging candidate index merge_idx[ x0 ][ y0 ], the iv_res_pred_weight_idx[ x0 ][ y0 ] syntax
element, and the illu_comp_flag[ x0 ][ y0 ] syntax element may be parsed after cu_skip_flag[ x0 ][ y0 ].
cu_skip_flag[ x0 ][ y0 ] equal to 0 specifies that the coding unit is not skipped. The array indices x0, y0 specify the location
( x0, y0 ) of the top-left luma sample of the considered coding block relative to the top-left luma sample of the picture.
When cu_skip_flag[ x0 ][ y0 ] is not present, it is inferred to be equal to 0.
skip_intra_flag[ x0 ][ y0 ] equal to 1 specifies that for the current coding unit no more syntax elements except
skip_intra_mode_idx[ x0 ][ y0 ] are parsed after skip_intra_flag[ x0 ][ y0 ]. skip_intra_flag[ x0 ][ y0 ] equal to 0 specifies
that more syntax elements may be parsed after skip_intra_flag[ x0 ][ y0 ]. When not present, the value of
skip_intra_flag[ x0 ][ y0 ] is inferred to be equal to 0.




                                                                                 Rec. ITU-T H.265 v8 (08/2021)            627
      Case 2:25-cv-03053                Document 1-7            Filed 04/07/25         Page 649 of 717 Page ID
                                                              #:1178

pred_mode_flag equal to 0 specifies that the current coding unit is coded in inter prediction mode. pred_mode_flag equal
to 1 specifies that the current coding unit is coded in intra prediction mode. The variable CuPredMode[ x ][ y ] is derived
as follows for x = x0..x0 + nCbS − 1 and y = y0..y0 + nCbS − 1:
–     If pred_mode_flag is equal to 0, CuPredMode[ x ][ y ] is set equal to MODE_INTER.
–     Otherwise (pred_mode_flag is equal to 1), CuPredMode[ x ][ y ] is set equal to MODE_INTRA.
When pred_mode_flag is not present, the variable CuPredMode[ x ][ y ] is derived as follows for x = x0..x0 + nCbS − 1
and y = y0..y0 + nCbS − 1:
–     If slice_type is equal to I or skip_intra_flag[ x0 ][ y0 ] is equal to 1, CuPredMode[ x ][ y ] is inferred to be equal to
      MODE_INTRA.
–     Otherwise (slice_type is equal to P or B and skip_intra_flag[ x0 ][ y0 ] is equal to 0), when cu_skip_flag[ x0 ][ y0 ] is
      equal to 1, CuPredMode[ x ][ y ] is inferred to be equal to MODE_SKIP.
The variables predPartModeFlag and partPredIdc are derived as follows:
–     If CqtCuPartPredEnabledFlag is equal to 1, the following applies:
      –     Let colTextCu be the coding unit containing the luma coding block covering the luma location ( x0, y0 ) in the
            picture TexturePic.
      –     The variables log2TextCbSize and partTextMode are set equal to log2CbSize and PartMode, respectively, of the
            coding unit colTextCu.
      –     The variable predPartModeFlag is derived as follows:
                 predPartModeFlag = log2TextCbSize = = log2CbSize && partTextMode = = PART_2Nx2N                        (I-44)
      –     The variable partPredIdc is derived as follows:
            –    If one or more of the following conditions are true, partPredIdc is set equal to 0:
                 –   log2TextCbSize is not equal to log2CbSize.
                 –   partTextMode is equal to PART_2Nx2N or PART_NxN.
            –    Otherwise, if partTextMode is equal to PART_2NxN, PART_2NxnU, or PART_2NxnL, partPredIdc is set
                 equal to 1.
            –    Otherwise, partPredIdc is set equal to 2.
–     Otherwise (CqtCuPartPredEnabledFlag is equal to 0), predPartModeFlag and partPredIdc are set equal to 0.
part_mode specifies partitioning mode of the current coding unit. The semantics of part_mode depend on
CuPredMode[ x0 ][ y0 ]. The variables PartMode and IntraSplitFlag are derived from the value of part_mode and
partPredIdc as defined in Table I.1

                           Table I.1 – Name association to prediction mode and partitioning type

          CuPredMode[ x0 ][ y0 ]         part_mode             partPredIdc         IntraSplitFlag         PartMode




628             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                  Document 1-7        Filed 04/07/25          Page 650 of 717 Page ID
                                                          #:1179

    MODE_INTRA                              0                    0                    0           PART_2Nx2N
                                            1                    0                    1           PART_NxN
    MODE_INTER                              0                    0                    0           PART_2Nx2N
                                            1                    0                    0           PART_2NxN
                                            2                    0                    0           PART_Nx2N
                                            3                    0                    0           PART_NxN
                                            4                    0                    0           PART_2NxnU
                                            5                    0                    0           PART_2NxnD
                                            6                    0                    0           PART_nLx2N
                                            7                    0                    0           PART_nRx2N
                                            0                    1                    0           PART_2Nx2N
                                            1                    1                    0           PART_2NxN
                                            2                    1                    0           PART_2NxnU
                                            3                    1                    0           PART_2NxnD
                                            0                    2                    0           PART_2Nx2N
                                            1                    2                    0           PART_Nx2N
                                            2                    2                    0           PART_nLx2N
                                            3                    2                    0           PART_nRx2N



The value of part_mode is restricted as follows:
–   If CuPredMode[ x0 ][ y0 ] is equal to MODE_INTRA, part_mode shall be equal to 0 or 1.
–   Otherwise (CuPredMode[ x0 ][ y0 ] is equal to MODE_INTER), the following applies:
    –    If partPredIdc is equal to 0, the following applies:
         –    If log2CbSize is greater than MinCbLog2SizeY and amp_enabled_flag is equal to 1, part_mode shall be in
              the range of 0 to 2, inclusive, or in the range of 4 to 7, inclusive.
         –    Otherwise, if log2CbSize is greater than MinCbLog2SizeY and amp_enabled_flag is equal to 0, or
              log2CbSize is equal to 3, part_mode shall be in the range of 0 to 2, inclusive.
         –    Otherwise (log2CbSize is greater than 3 and less than or equal to MinCbLog2SizeY), the value of part_mode
              shall be in the range of 0 to 3, inclusive.
    –    Otherwise (partPredIdc is not equal to 0), the following applies:
         –    If log2CbSize is greater than MinCbLog2SizeY and amp_enabled_flag is equal to 1, part_mode shall be in
              the range of 0 to 3, inclusive.
         –    Otherwise (log2CbSize is equal to MinCbLog2SizeY or amp_enabled_flag is equal to 0), part_mode shall be
              in the range of 0 to 1, inclusive.
When part_mode is not present, the variables PartMode and IntraSplitFlag are derived as follows:
–   PartMode is set equal to PART_2Nx2N.
–   IntraSplitFlag is set equal to 0.
rqt_root_cbf equal to 1 specifies that the transform_tree( ) syntax structure is present for the current coding unit.
rqt_root_cbf equal to 0 specifies that the transform_tree( ) syntax structure is not present for the current coding unit. When
not present, the value of rqt_root_cbf is inferred to be equal to !DcOnlyFlag[ x0 ][ y0 ].

I.7.4.9.5.1   Intra mode extension semantics
no_dim_flag[ x0 ][ y0 ] equal to 1 specifies that the intra modes INTRA_WEDGE or INTRA_CONTOUR are not used
for the current prediction unit. no_dim_flag[ x0 ][ y0 ] equal to 0 specifies that the intra mode INTRA_WEDGE or
INTRA_CONTOUR is used for the current prediction unit. When not present, the value of no_dim_flag[ x0 ][ y0 ] is
inferred to be equal to 1. When log2CbSize is greater than MaxTbLog2SizeY and DcOnlyFlag[ x0 ][ y0 ] is equal to 0, the
value of no_dim_flag[ x0 ][ y0 ] shall be equal to 1.
For x = x0..x0 + ( 1 << log2PbSize ) − 1, y = y0..y0 + ( 1 << log2PbSize ) − 1, the variable DimFlag[ x ][ y ] is derived
as follows:



                                                                               Rec. ITU-T H.265 v8 (08/2021)            629
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25             Page 651 of 717 Page ID
                                                            #:1180

      DimFlag[ x ][ y ] = !no_dim_flag[ x0 ][ y0 ]                                                                      (I-45)
depth_intra_mode_idx_flag[ x0 ][ y0 ] equal to 0, when DimFlag[ x0 ][ y0 ] is equal to 1, specifies that the intra mode
INTRA_WEDGE is used for the current prediction unit. depth_intra_mode_idx_flag[ x0 ][ y0 ] equal to 1, when
DimFlag[ x0 ][ y0 ] is equal to 1, specifies that the intra mode INTRA_CONTOUR is used for the current prediction unit.
When not present, the value of depth_intra_mode_idx_flag[ x0 ][ y0 ] is inferred to be equal to
( !IntraDcOnlyWedgeEnabledFlag | | IntraContourEnabledFlag ). When DimFlag[ x0 ][ y0 ] is equal to 1 and
nal_unit_type is equal to BLA_W_LP, BLA_W_RADL, BLA_N_LP, IDR_W_RADL or IDR_N_LP, it is a requirement
of bitstream conformance that depth_intra_mode_idx_flag[ x0 ][ y0 ] is equal to 0.
wedge_full_tab_idx[ x0 ][ y0 ] specifies the index of the partition pattern in the list WedgePatternTable[ log2PbSize ]
when the intra mode INTRA_WEDGE is used for the current prediction unit.

I.7.4.9.5.2     Coding unit extension semantics
skip_intra_mode_idx[ x0 ][ y0 ] equal to 0, when skip_intra_flag[ x0 ][ y0 ] is equal to 1, specifies that the intra
prediction mode INTRA_ANGULAR26 is used for the current prediction unit. skip_intra_mode_idx[ x0 ][ y0 ] equal to
1, when skip_intra_flag[ x0 ][ y0 ] is equal to 1, specifies that the intra prediction mode INTRA_ANGULAR10 is used for
the current prediction unit. skip_intra_mode_idx[ x0 ][ y0 ] equal to 2 or 3, when skip_intra_flag[ x0 ][ y0 ] is equal to 1,
specifies that the intra prediction mode INTRA_SINGLE is used for the current prediction unit.
dbbp_flag[ x0 ][ y0 ] equal to 1 specifies that the decoding process for inter sample prediction for depth predicted sub-
block partitions is used for the current coding unit. dbbp_flag[ x0 ][ y0 ] equal to 0 specifies that the decoding process for
inter sample prediction for depth predicted sub-block partitions is not used for the current coding unit. When not present,
the value of dbbp_flag[ x0 ][ y0 ] is inferred to be equal to 0.
For x = x0..x0 + ( 1 << log2CbSize ) − 1, y = y0..y0 + ( 1 << log2CbSize ) − 1, the variable DbbpFlag[ x ][ y ] is
derived as follows:
      DbbpFlag[ x ][ y ] = dbbp_flag[ x0 ][ y0 ]                                                                        (I-46)
dc_only_flag[ x0 ][ y0 ] equal to 1 specifies that the transform_tree( ) syntax structure is not present for the current coding
unit and that the depth_dcs( ) syntax structure is present for the current coding unit. dc_only_flag[ x0 ][ y0 ] equal to 0
specifies the transform_tree( ) syntax structure may be present for the current coding unit and that the depth_dcs( ) syntax
structure may be present for the current coding unit. When not present, the value of dc_only_flag[ x0 ][ y0 ] is inferred to
be equal to 0. It is a requirement of bitstream conformance, that when pcm_flag[ x0 ][ y0 ] is equal to 1, the value of
dc_only_flag[ x0 ][ y0 ] shall be equal to 0.
For x = x0..x0 + ( 1 << log2CbSize ) − 1, y = y0..y0 + ( 1 << log2CbSize ) − 1, the variable DcOnlyFlag[ x ][ y ] is
derived as follows:
      DcOnlyFlag[ x ][ y ] = dc_only_flag[ x0 ][ y0 ]                                                                   (I-47)
iv_res_pred_weight_idx[ x0 ][ y0 ] not equal to 0 specifies that the bilinear sample interpolation and residual prediction
process is used for the current coding unit and the index of the weighting factor used in the bilinear sample interpolation
and residual prediction process. iv_res_pred_weight_idx[ x0 ][ y0 ] equal to 0 specifies that the bilinear sample
interpolation and residual prediction process is not used for the current coding unit. When not present, the value of
iv_res_pred_weight_idx[ x0 ][ y0 ] is inferred to be equal to 0.
When CuPredMode[ x0 ][ y0 ] is not equal to MODE_INTRA, the variable icCuEnableFlag is derived as follows:
–     If merge_flag[ x0 ][ y0 ] is equal to 1, the following applies:
          icCuEnableFlag = ( merge_idx[ x0 ][ y0 ] != 0 ) | | !slice_ic_disabled_merge_zero_idx_flag                    (I-48)
–     Otherwise (merge_flag[ x0 ][ y0 ] is equal to 0), the following applies:
      –   For X in the range of 0 to 1, inclusive,                      the   variable    refViewIdxLX    is   set   equal   to
          ViewIdx( RefPicListX[ ref_idx_lX[ x0 ][ y0 ] ] ).
      –   The flag icCuEnableFlag is derived as follows:
               icCuEnableFlag = ( inter_pred_idc[ x0 ][ y0 ] != Pred_L0 && refViewIdxL1 != ViewIdx ) | |
                       ( inter_pred_idc[ x0 ][ y0 ] != Pred_L1 && refViewIdxL0 != ViewIdx )                             (I-49)
illu_comp_flag[ x0 ][ y0 ] equal to 1 specifies that the illumination compensated sample prediction process is used for the
current coding unit. illu_comp_flag[ x0 ][ y0 ] equal to 0 specifies that the illumination compensated sample prediction
process is not used for the current coding unit. When not present, the value of illu_comp_flag[ x0 ][ y0 ] is inferred to be
equal to 0.
For x = x0..x0 + ( 1 << log2CbSize ) − 1, y = y0..y0 + ( 1 << log2CbSize ) − 1, the variable IlluCompFlag[ x ][ y ] is


630           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 652 of 717 Page ID
                                                           #:1181

derived as follows:
    IlluCompFlag[ x ][ y ] = illu_comp_flag[ x0 ][ y0 ]                                                               (I-50)

I.7.4.9.5.3     Depth DCs semantics
depth_dc_present_flag[ x0 + k ][ y0 + j ] equal to 1 specifies that the depth_dc_abs[ x0 + k ][ y0 + j ][ i ] syntax element
is present and that the depth_dc_sign_flag[ x0 + k ][ y0 + j ][ i ] syntax element may be present.
depth_dc_present_flag[ x0 + k ][ y0 + j ] equal to 0 specifies that the depth_dc_abs[ x0 + k ][ y0 + j ][ i ] and
depth_dc_sign_flag[ x0 + k ][ y0 + j ][ i ] syntax elements are not present. When not present, the value of
depth_dc_present_flag[ x0 + k ][ y0 + j ] is inferred to be equal to 1.
depth_dc_abs[ x0 + k ][ y0 + j ][ i ]     and    depth_dc_sign_flag[ x0 + k ][ y0 + j ][ i ] are    used     to     derive
DcOffset[ x0 + k ][ y0 + j ][ i ]. When not present, the values of depth_dc_abs[ x0 + k ][ y0 + j ][ i ] and
depth_dc_sign_flag[ x0 + k ][ y0 + j ][ i ] are inferred to be equal to 0. The variable DcOffset[ x0 + k ][ y0 + j ][ i ] is
derived as follows:
    DcOffset[ x0 + k ][ y0 + j ][ i ] = ( 1 − 2 * depth_dc_sign_flag[ x0 + k ][ y0 + j ][ i ] ) *
                                 ( depth_dc_abs[ x0 + k ][ y0 + j ][ i ] − dcNumSeg + 2 )                             (I-51)

I.7.4.9.6     Prediction unit semantics
The specifications in clause F.7.4.9.6 apply with the following addition at the end of the specification of semantics of
inter_pred_idc[ x0 ][ y0 ]:
It is a requirement of bitstream conformance that, when DbbpFlag[ x0 ][ y0 ] is equal to 1, inter_pred_idc[ x0 ][ y0 ] shall
not be equal to PRED_BI.

I.7.4.9.7     PCM sample semantics
The specifications in clause F.7.4.9.7 apply.

I.7.4.9.8     Transform tree semantics
The specifications in clause F.7.4.9.8 apply with the following additions at the end of the specification of
split_transform_flag[ x0 ][ y0 ][ trafoDepth ]:
When DimFlag[ x0 ][ y0 ] is equal to 1 and PartMode is equal to PART_2Nx2N, the value of split_transform_
flag[ x0 ][ y0 ][ 0 ] shall be equal to 0.
When DimFlag[ x0 ][ y0 ] is equal to 1 and PartMode is equal to PART_NxN, the value of split_transform_
flag[ x0 ][ y0 ][ 1 ] shall be equal to 0.

I.7.4.9.9     Motion vector difference coding semantics
The specifications in clause F.7.4.9.9 apply.

I.7.4.9.10 Transform unit semantics
The specifications in clause F.7.4.9.10 apply.

I.7.4.9.11 Residual coding semantics
The specifications in clause F.7.4.9.11 apply.

I.7.4.9.12 Cross-component prediction semantics
The specifications in clause F.7.4.9.12 apply.

I.7.4.9.13 Palette mode semantics
The specifications in clause F.7.4.9.13 apply.

I.7.4.9.14 Delta QP semantics
The specifications in clause F.7.4.9.14 apply.

I.7.4.9.15 Chroma QP offset semantics
The specifications in clause F.7.4.9.15 apply.




                                                                                 Rec. ITU-T H.265 v8 (08/2021)         631
      Case 2:25-cv-03053                Document 1-7            Filed 04/07/25           Page 653 of 717 Page ID
                                                              #:1182

I.8     Decoding process
I.8.1      General decoding process

I.8.1.1        General
The specifications in clause F.8.1.1 apply.

I.8.1.2        Decoding process for a coded picture with nuh_layer_id greater than 0
The decoding process for the current picture CurrPic is as follows:
      1.   The decoding of NAL units is specified in clause I.8.2.
      2.   The processes in clauses G.8.1.3, F.8.3.4 and I.8.3.1 to I.8.3.5 specify the following decoding processes using
           syntax elements in the slice segment layer and above:
           –     Prior to decoding the first slice of the current picture, clause G.8.1.3 is invoked.
           –     At the beginning of the decoding process for each P or B slice, the decoding process for reference picture
                 lists construction specified in clause F.8.3.4 is invoked for derivation of reference picture list 0 (RefPicList0),
                 and when decoding a B slice, reference picture list 1 (RefPicList1).
           –     When DisparityDerivationFlag is equal to 1 and DepthFlag is equal to 0, the derivation process for the
                 candidate picture list for disparity vector derivation in clause I.8.3.1 is invoked at the beginning of the
                 decoding process for each P or B slice.
           –     The variable DefaultRefViewIdx is set equal to −1 and the variable DispAvailFlag is set equal to 0.
           –     When DisparityDerivationFlag is equal to 1, the derivation process for the default reference view order index
                 for disparity derivation as specified in clause I.8.3.2 is invoked at the beginning of the decoding process for
                 each P or B slice.
           –     When DltFlag[ nuh_layer_id ] is equal to 1, the derivation process for a depth look-up table in clause I.8.3.3
                 is invoked at the beginning of the decoding process of the first slice segment of a coded picture.
           –     At the beginning of the decoding process for each P or B slice, the derivation process for the alternative target
                 reference index for temporal motion vector prediction in merge mode as specified in clause I.8.3.4 is invoked.
           –     When IvResPredEnabledFlag is equal to 1, the derivation process for the target reference index for residual
                 prediction as specified in clause I.8.3.5 is invoked at the beginning of the decoding process for each P or B
                 slice.
      3.   The processes in clauses I.8.4, I.8.5, I.8.6, and I.8.7, specify decoding processes using syntax elements in all
           syntax structure layers. It is a requirement of bitstream conformance that the coded slices of the picture shall
           contain slice segment data for every CTU of the picture, such that the division of the picture into slices, the
           division of the slices into slice segments, and the division of the slice segments into CTUs each form a partitioning
           of the picture.

I.8.2      NAL unit decoding process
The specifications in clause G.8.2 apply.

I.8.3      Slice decoding process

I.8.3.1        Derivation process for the candidate picture list for disparity vector derivation
The function tempId( picA ) is specified as follows:
      tempId( picA ) = TemporalId of picA                                                                                    (I-52)
The variable NumDdvCandPics is set equal to 0 and when slice_temporal_mvp_enabled_flag is equal to 1, the list
DdvCandPicList is constructed as follows:
      1.   The variable X is set equal to ( 1 − collocated_from_l0_flag ), the variable DdvCandPicList[ 0 ] is set equal to
           RefPicListX[ collocated_ref_idx ], and NumDdvCandPics is set equal to 1.
      2.   The variables NumDdvCandPics, DdvCandPicList[ 1 ], and minTempIdRefs are derived as follows:
           minTempIdRefs = 7
           for( k = 0; k <= ( slice_type = = B ? 1 : 0 ); k++ ) {
                X = k ? collocated_from_l0_flag : ( 1 − collocated_from_l0_flag )
                for( i = 0; i <= num_ref_idx_lX_active_minus1; i++ )


632            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7           Filed 04/07/25           Page 654 of 717 Page ID
                                                           #:1183

                    if( ViewIdx = = ViewIdx( RefPicListX[ i ] )
                              && NumDdvCandPics != 2
                              && ( X = = collocated_from_l0_flag | | i != collocated_ref_idx ) )                    (I-53)
                         if( RefPicListX[ i ] is an IRAP picture )
                              DdvCandPicList[ NumDdvCandPics++ ] = RefPicListX[ i ]
                         else
                              minTempIdRefs = Min( minTempIdRefs, tempId( RefPicListX[ i ] ) )
          }
    3.    When NumDdvCandPics is equal to 1, the following applies:
          minPocDiff = 255
          for( k = 0; k <= ( slice_type = = B ? 1 : 0 ); k++ ) {
               X = k ? collocated_from_l0_flag : ( 1 − collocated_from_l0_flag )
               for( i = 0; i <= num_ref_idx_lX_active_minus1; i++ )
                    if( ViewIdx = = ViewIdx( RefPicListX[ i ] )
                              && ( X = = collocated_from_l0_flag | | i != collocated_ref_idx )
                              && tempId( RefPicListX[ i ] ) = = minTempIdRefs
                              && Abs( DiffPicOrderCnt( CurrPic, RefPicListX[ i ] ) ) < minPocDiff ) {               (I-54)
                         minPocDiff = Abs( DiffPicOrderCnt( CurrPic, RefPicListX[ i ] ) )
                         Z=X
                         candIdx = i
                    }
          }
          if( minPocDiff < 255 )
               DdvCandPicList[ NumDdvCandPics++ ] = RefPicListZ[ candIdx ]

I.8.3.2       Derivation process for the default reference view order index for disparity derivation
This process is invoked when the current slice is a P or B slice.
The following applies for candViewIdx in the range of 0 to ( ViewIdx − 1 ), inclusive:
–   The following applies for X in the range of 0 to ( slice_type = = B ) ? 1 : 0, inclusive:
    –     The following applies for i in the range of 0 to num_ref_idx_lX_active_minus1, inclusive:
          –     When all of the following conditions are true, DefaultRefViewIdx is set equal to candViewIdx and
                DispAvailFlag is set equal to 1.
                –   DispAvailFlag is equal to 0.
                –   ViewIdx( RefPicListX[ i ] ) is equal to candViewIdx.
                –   DiffPicOrderCnt( CurrPic, RefPicListX[ i ] ) is equal to 0.
When DepthFlag is equal to 1, DisparityDerivationFlag is equal to 1, and DispAvailFlag is equal to 1, it is a requirement
of bitstream conformance that CpPresentFlag[ ViewIdx ][ DefaultRefViewIdx ] shall be equal to 1.

I.8.3.3       Derivation process for a depth look-up table
For i in the range of 0 to ( 1 << BitDepthY ) − 1, inclusive, the list DltIdxToVal[ i ] specifying the depth value
corresponding to the i-th index in the depth look-up table is derived as follows:
    DltIdxToVal[ i ] = ( i < NumValDlt[ nuh_layer_id ] ) ? DltVal[ nuh_layer_id ][ i ] : 0                          (I-55)
The list DltValToIdx[ d ] specifying the index in the depth look-up table corresponding to the depth value d is derived as
follows:
    for( d = 0; d < ( 1 << BitDepthY ); d++ ) {
         idxLower = 0
         foundFlag = 0
         for( iL = 1; iL < NumValDlt[ nuh_layer_id ]; iL++ )
              if( !foundFlag && DltIdxToVal[ iL ] > d ) {
                    idxLower = iL − 1
                    foundFlag = 1
              }                                                                                                     (I-56)
         idxUpper = foundFlag ? ( idxLower + 1 ) : ( NumValDlt[ nuh_layer_id ] − 1 )
         if( Abs( d − DltIdxToVal[ idxLower ] ) < Abs ( d − DltIdxToVal[ idxUpper ] ) )
              DltValToIdx[ d ] = idxLower


                                                                                  Rec. ITU-T H.265 v8 (08/2021)      633
      Case 2:25-cv-03053                Document 1-7        Filed 04/07/25          Page 655 of 717 Page ID
                                                          #:1184

          else
                 DltValToIdx[ d ] = idxUpper
      }

I.8.3.4     Derivation process for the alternative target reference index for temporal motion vector prediction in
            merge mode
This process is invoked when the current slice is a P or B slice.
The variables AltRefIdxL0 and AltRefIdxL1 are set equal to −1 and the following applies for X in the range of 0 to
( slice_type = = B ) ? 1 : 0, inclusive:
      zeroIdxLtFlag = RefPicListX[ 0 ] is a short-term reference picture ? 0 : 1
      for( i = 1; i <= num_ref_idx_lX_active_minus1 && AltRefIdxLX = = −1; i++ )
           if( ( zeroIdxLtFlag && RefPicListX[ i ] is a short-term reference picture ) | |                         (I-57)
                     ( !zeroIdxLtFlag && RefPicListX[ i ] is a long-term reference picture ) )
                 AltRefIdxLX = i

I.8.3.5     Derivation process for the target reference index for residual prediction
This process is invoked when the current slice is a P or B slice.
For X in the range of 0 to 1, inclusive, the following applies:
–     The variable RpRefIdxLX is set equal to −1 and the variable RpRefPicAvailFlagLX is set equal to 0.
–     For i in the range of 0 to NumViews − 1, inclusive, the following applies:
      –   The variable RefRpRefAvailFlagLX[ ViewOIdxList[ i ] ] is set equal to 0.
For X in the range of 0 to ( slice_type = = B ) ? 1 : 0, inclusive, the following applies:
–     The variable minPocDiff is set equal to 215 − 1.
–     For i in the range of 0 to num_ref_idx_lX_active_minus1, inclusive, the following applies:
      –   The variable pocDiff is set equal to Abs( DiffPicOrderCnt( CurrPic, RefPicListX[ i ] ) ).
      –   When pocDiff is not equal to 0 and pocDiff is less than minPocDiff, the following applies:
                 minPocDiff = pocDiff                                                                              (I-58)
                 RpRefIdxLX = i                                                                                    (I-59)
                 RpRefPicAvailFlagLX = 1                                                                           (I-60)
–     When DispAvailFlag is equal to 1 and RpRefPicAvailFlagLX is equal to 1, the following applies for i in the range of
      0 to NumActiveRefLayerPics − 1, inclusive:
      –   Let picV the picture in the current AU with nuh_layer_id equal to RefPicLayerId[ i ].
      –   When there is a picture picA in one of the reference picture sets RefPicSetLtCurr, RefPicSetStCurrBefore, and
          RefPicSetStCurrAfter of picV with DiffPicOrderCnt( picA, RefPicListX[ RpRefIdxLX ] ) equal to 0,
          RefRpRefAvailFlagLX[ ViewIdx( RefPicLayerId[ i ] ) ] is set equal to 1.
The variable RpRefPicAvailFlag is derived as follows:
      RpRefPicAvailFlag = ( RpRefPicAvailFlagL0 | | RpRefPicAvailFlagL1 ) && DispAvailFlag                         (I-61)
When RpRefPicAvailFlag is equal to 1 and RefRpRefAvailFlagL0[ ViewOIdxList[ i ] ] is equal to 1 for any i in the range
of   0   to    NumViews − 1,      inclusive,    it    is  a     requirement       of   bitstream conformance       that
PicOrderCnt( RefPicList0[ RpRefIdxL0 ] ) shall be the same for all slices of a coded picture.
When RpRefPicAvailFlag is equal to 1 and RefRpRefAvailFlagL1[ ViewOIdxList[ i ] ] is equal to 1 for any i in the range
of   0   to    NumViews − 1,      inclusive,    it    is  a     requirement       of   bitstream conformance       that
PicOrderCnt( RefPicList1[ RpRefIdxL1 ] ) shall be the same for all slices of a coded picture.

I.8.4     Decoding process for coding units coded in intra prediction mode

I.8.4.1     General decoding process for coding units coded in intra prediction mode
The specifications in clause 8.4.1 apply with the following modification:
–     All invocations of the process specified in clause 8.4.2 are replaced with invocations of the process specified in



634          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25           Page 656 of 717 Page ID
                                                            #:1185

    clause I.8.4.2.
–   All invocations of the process specified in clause 8.4.4.1 are replaced with invocations of the process specified in
    clause I.8.4.4.1.

I.8.4.2       Derivation process for luma intra prediction mode
Input to this process is a luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block
relative to the top-left luma sample of the current picture.
In this process, the luma intra prediction mode IntraPredModeY[ xPb ][ yPb ] is derived.
Table I.2 specifies the value for the intra prediction mode and the associated names.

                         Table I.2 – Specification of intra prediction mode and associated names

                              Intra prediction mode                  Associated name
                                         0             INTRA_PLANAR
                                         1             INTRA_DC
                                       2..34           INTRA_ANGULAR2..INTRA_ANGULAR34
                                        35             INTRA_WEDGE
                                        36             INTRA_CONTOUR
                                        37             INTRA_SINGLE



IntraPredModeY[ xPb ][ yPb ] labelled 0..34 represents directions of predictions as illustrated in Figure 8-1.
–   If skip_intra_flag[ xPb ][ yPb ] is equal to 1, the following applies:
    –     If skip_intra_mode_idx[ xPb ][ yPb ] is equal to 0, IntraPredModeY[ xPb ][ yPb ] is set equal to
          INTRA_ANGULAR26.
    –     Otherwise, if skip_intra_mode_idx[ xPb ][ yPb ] is equal to 1, IntraPredModeY[ xPb ][ yPb ] is set equal to
          INTRA_ANGULAR10.
    –     Otherwise (skip_intra_mode_idx[ xPb ][ yPb ] is equal to 2 or 3), IntraPredModeY[ xPb ][ yPb ] is set equal to
          INTRA_SINGLE.
–   Otherwise, if DimFlag[ xPb ][ yPb ] is equal to 1, the following applies:
    –     If depth_intra_mode_idx_flag[ xPb ][ yPb ] is equal to 0, IntraPredModeY[ xPb ][ yPb ] is set equal to
          INTRA_WEDGE.
    –     Otherwise (depth_intra_mode_idx_flag[ xPb ][ yPb ] is equal to 1), IntraPredModeY[ xPb ][ yPb ] is set equal to
          INTRA_CONTOUR.
–   Otherwise   (skip_intra_flag[ xPb ][ yPb ]     and    DimFlag[ xPb ][ yPb ]             are    both     equal     to     0),
    IntraPredModeY[ xPb ][ yPb ] is derived by the following ordered steps:
    1.    The neighbouring locations ( xNbA, yNbA ) and ( xNbB, yNbB ) are set equal to ( xPb − 1, yPb ) and
          ( xPb, yPb − 1 ), respectively.
    2.    For X being replaced by either A or B, the variables candIntraPredModeX are derived as follows:
          –     The availability derivation process for a block in z-scan order as specified in clause 6.4.1 is invoked with the
                location ( xCurr, yCurr ) set equal to ( xPb, yPb ) and the neighbouring location ( xNbY, yNbY ) set equal to
                ( xNbX, yNbX ) as inputs, and the output is assigned to availableX.
          –     The candidate intra prediction mode candIntraPredModeX is derived as follows:
                –   If availableX is equal to FALSE, candIntraPredModeX is set equal to INTRA_DC.
                –   Otherwise, if CuPredMode[ xNbX ][ yNbX ] is not equal to MODE_INTRA                                      or
                    pcm_flag[ xNbX ][ yNbX ] is equal to 1, candIntraPredModeX is set equal to INTRA_DC,
                –   Otherwise, if X is equal to B and yPb − 1 is less than ( ( yPb >> CtbLog2SizeY ) << CtbLog2SizeY ),
                    candIntraPredModeB is set equal to INTRA_DC.
                –   Otherwise, if IntraPredModeY[ xNbX ][ yNbX ] is greater than 34, candIntraPredModeX is set equal to
                    INTRA_DC.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)             635
      Case 2:25-cv-03053                Document 1-7           Filed 04/07/25         Page 657 of 717 Page ID
                                                             #:1186

                  –    Otherwise, candIntraPredModeX is set equal to IntraPredModeY[ xNbX ][ yNbX ].
      3.    The candModeList[ x ] with x = 0..2 is derived as follows:
            –     If candIntraPredModeB is equal to candIntraPredModeA, the following applies:
                  –    If candIntraPredModeA is less than 2 (i.e., equal to INTRA_PLANAR or INTRA_DC),
                       candModeList[ x ] with x = 0..2 is derived as follows:
                           candModeList[ 0 ] = INTRA_PLANAR                                                            (I-62)
                           candModeList[ 1 ] = INTRA_DC                                                                (I-63)
                           candModeList[ 2 ] = INTRA_ANGULAR26                                                         (I-64)
                  –    Otherwise, candModeList[ x ] with x = 0..2 is derived as follows:
                           candModeList[ 0 ] = candIntraPredModeA                                                      (I-65)
                           candModeList[ 1 ] = 2 + ( ( candIntraPredModeA + 29 ) % 32 )                                (I-66)
                           candModeList[ 2 ] = 2 + ( ( candIntraPredModeA − 2 + 1 ) % 32 )                             (I-67)
            –     Otherwise (candIntraPredModeB is not equal to candIntraPredModeA), the following applies:
                  –    candModeList[ 0 ] and candModeList[ 1 ] are derived as follows:
                           candModeList[ 0 ] = candIntraPredModeA                                                      (I-68)
                           candModeList[ 1 ] = candIntraPredModeB                                                      (I-69)
                  –    If neither of candModeList[ 0 ] and candModeList[ 1 ] is equal to INTRA_PLANAR, candModeList[ 2 ]
                       is set equal to INTRA_PLANAR,
                  –    Otherwise, if neither of candModeList[ 0 ] and candModeList[ 1 ] is equal to INTRA_DC,
                       candModeList[ 2 ] is set equal to INTRA_DC,
                  –    Otherwise, candModeList[ 2 ] is set equal to INTRA_ANGULAR26.
      4.    IntraPredModeY[ xPb ][ yPb ] is derived by applying the following procedure:
            –     If prev_intra_luma_pred_flag[ xPb ][ yPb ] is equal to 1, the IntraPredModeY[ xPb ][ yPb ] is set equal to
                  candModeList[ mpm_idx ].
            –     Otherwise, IntraPredModeY[ xPb ][ yPb ] is derived by applying the following ordered steps:
                  1)      The array candModeList[ x ], x = 0..2 is modified as the following ordered steps:
                       i. When candModeList[ 0 ] is greater than candModeList[ 1 ], both values are swapped as follows:
                           ( candModeList[ 0 ], candModeList[ 1 ] ) = Swap( candModeList[ 0 ], candModeList[ 1 ] ) (I-70)
                       ii. When candModeList[ 0 ] is greater than candModeList[ 2 ], both values are swapped as follows:
                           ( candModeList[ 0 ], candModeList[ 2 ] ) = Swap( candModeList[ 0 ], candModeList[ 2 ] ) (I-71)
                       iii. When candModeList[ 1 ] is greater than candModeList[ 2 ], both values are swapped as follows:
                           ( candModeList[ 1 ], candModeList[ 2 ] ) = Swap( candModeList[ 1 ], candModeList[ 2 ] ) (I-72)
                  2)      IntraPredModeY[ xPb ][ yPb ] is derived by the following ordered steps:
                       i. IntraPredModeY[ xPb ][ yPb ] is set equal to rem_intra_luma_pred_mode[ xPb ][ yPb ].
                       ii. For i equal to 0 to 2, inclusive, when IntraPredModeY[ xPb ][ yPb ] is greater than or equal to
                           candModeList[ i ], the value of IntraPredModeY[ xPb ][ yPb ] is incremented by one.

I.8.4.3         Derivation process for chroma intra prediction mode
The specifications in clause 8.4.3 apply.

I.8.4.4         Decoding process for intra blocks

I.8.4.4.1       General decoding process for intra blocks
Inputs to this process are:



636             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 658 of 717 Page ID
                                                           #:1187

–   a sample location ( xTb0, yTb0 ) specifying the top-left sample of the current transform block relative to the top-left
    sample of the current picture,
–   a variable log2TrafoSize specifying the size of the current transform block,
–   a variable trafoDepth specifying the hierarchy depth of the current block relative to the coding unit,
–   a variable predModeIntra specifying the intra prediction mode,
–   a variable cIdx specifying the colour component of the current block.
Output of this process is a modified reconstructed picture before deblocking filtering.
The luma sample location ( xTbY, yTbY ) specifying the top-left sample of the current luma transform block relative to
the top-left luma sample of the current picture is derived as follows:
    ( xTbY, yTbY ) = ( cIdx = = 0 ) ? ( xTb0, yTb0 ) : ( xTb0 * SubWidthC, yTb0 * SubHeightC )                        (I-73)
The variable splitFlag is derived as follows:
–   If DcOnlyFlag[ xTbY ][ yTbY ] is equal to 1, the following applies:
         splitFlag = !DimFlag[ xTbY ][ yTbY ] && ( log2TrafoSize > MaxTbLog2SizeY )                                   (I-74)
–   Otherwise, if skip_intra_flag[ xTbY ][ yTbY ] is equal to 1, splitFlag is set equal to 0.
–   Otherwise, if cIdx is equal to 0, splitFlag is set equal to split_transform_flag[ xTbY ][ yTbY ][ trafoDepth ].
–   Otherwise, if all of the following conditions are true, splitFlag is set equal to 1.
    –    cIdx is greater than 0
    –    split_transform_flag[ xTbY ][ yTbY ][ trafoDepth ] is equal to 1
    –    log2TrafoSize is greater than 2
–   Otherwise, splitFlag is set equal to 0.
Depending on the value of splitFlag, the following applies:
–   If splitFlag is equal to 1, the following ordered steps apply:
    1.   The variables xTb1 and yTb1 are derived as follows:
         –   If cIdx is equal to 0 or ChromaArrayType is not equal to 2, the following applies:
             –    The variable xTb1 is set equal to xTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
             –    The variable yTb1 is set equal to yTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
         –   Otherwise (ChromaArrayType is equal to 2 and cIdx is greater than 0), the following applies:
             –    The variable xTb1 is set equal to xTb0 + ( 1 << ( log2TrafoSize − 1 ) ).
             –    The variable yTb1 is set equal to yTb0 + ( 2 << ( log2TrafoSize − 1 ) ).
    2.   The general decoding process for intra blocks as specified in this clause is invoked with the location
         ( xTb0, yTb0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
         trafoDepth + 1, the intra prediction mode predModeIntra, and the variable cIdx as inputs, and the output is a
         modified reconstructed picture before deblocking filtering.
    3.   The general decoding process for intra blocks as specified in this clause is invoked with the location
         ( xTb1, yTb0 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
         trafoDepth + 1, the intra prediction mode predModeIntra, and the variable cIdx as inputs, and the output is a
         modified reconstructed picture before deblocking filtering.
    4.   The general decoding process for intra blocks as specified in this clause is invoked with the location
         ( xTb0, yTb1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
         trafoDepth + 1, the intra prediction mode predModeIntra, and the variable cIdx as inputs, and the output is a
         modified reconstructed picture before deblocking filtering.
    5.   The general decoding process for intra blocks as specified in this clause is invoked with the location
         ( xTb1, yTb1 ), the variable log2TrafoSize set equal to log2TrafoSize − 1, the variable trafoDepth set equal to
         trafoDepth + 1, the intra prediction mode predModeIntra, and the variable cIdx as inputs, and the output is a
         modified reconstructed picture before deblocking filtering.



                                                                                 Rec. ITU-T H.265 v8 (08/2021)        637
      Case 2:25-cv-03053                Document 1-7            Filed 04/07/25          Page 659 of 717 Page ID
                                                              #:1188

–     Otherwise      (splitFlag is equal   to   0),   for      the     variable   blkIdx    proceeding                  over    the
      values 0..( cIdx > 0 && ChromaArrayType = = 2 ? 1 : 0 ), the following ordered steps apply:
      1.    The variable nTbS is set equal to 1 << log2TrafoSize.
      2.    The variable yTbOffset is set equal to blkIdx * nTbS.
      3.    The variable yTbOffsetY is set equal to yTbOffset * SubHeightC.
      4.    The variable residualDpcm is derived as follows:
            –    If all of the following conditions are true, residualDpcm is set equal to 1.
                 –   implicit_rdpcm_enabled_flag is equal to 1.
                 –   either   transform_skip_flag[ xTbY ][ yTbY + yTbOffsetY ][ cIdx ]            is     equal     to      1,   or
                     cu_transquant_bypass_flag is equal to 1.
                 –   either predModeIntra is equal to 10, or predModeIntra is equal to 26.
            –    Otherwise, residualDpcm is set equal to 0.
      5.    The general intra sample prediction process as specified in clause I.8.4.4.2.1 is invoked with the transform block
            location ( xTb0, yTb0 + yTbOffset ), the intra prediction mode predModeIntra, the transform block size nTbS,
            and the variable cIdx as inputs, and the output is an (nTbS)x(nTbS) array predSamples.
      6.    The variable residualFlag is set equal to !( skip_intra_flag[ xTb0 ][ xTb0 ] | | DcOnlyFlag[ xTb0 ][ xTb0 ] ) and
            depending on the value of residualFlag, the following applies:
            –    If residualFlag is equal to 1, the following applies:
                 –   The scaling and transformation process as specified in clause 8.6.2 is invoked with the luma location
                     ( xTbY, yTbY + yTbOffsetY ), the variable trafoDepth, the variable cIdx, and the transform size
                     trafoSize set equal to nTbS as inputs, and the output is an (nTbS)x(nTbS) array resSamples.
                 –   When residualDpcm is equal to 1, the directional residual modification process for blocks using a
                     transform bypass as specified in clause 8.6.5 is invoked with the variable mDir set equal to
                     predModeIntra / 26, the variable nTbS, and the (nTbS)x(nTbS) array r set equal to the array resSamples
                     as inputs, and the output is a modified (nTbS)x(nTbS) array resSamples.
                 –   When cross_component_prediction_enabled_flag is equal to 1, ChromaArrayType is equal to 3, and cIdx
                     is not equal to 0, the residual modification process for transform blocks using cross-component prediction
                     as specified in clause 8.6.6 is invoked with the current luma transform block location ( xTbY, yTbY ),
                     the variable nTbS, the variable cIdx, the (nTbS)x(nTbS) array rY set equal to the corresponding luma
                     residual sample array resSamples of the current transform block, and the (nTbS)x(nTbS) array r set equal
                     to the array resSamples as inputs, and the output is a modified (nTbS)x(nTbS) array resSamples.
            –    Otherwise (residualFlag is equal to 0), for x, y = 0..nTbS − 1, resSamples[ x ][ y ] is set equal to 0.
      7.    The picture construction process prior to in-loop filtering for a colour component as specified in clause 8.6.7 is
            invoked with the transform block location ( xTb0, yTb0 + yTbOffset ), the variables nCurrSw and nCurrSh both
            set equal to nTbS, the variable cIdx, the (nTbS)x(nTbS) array predSamples, and the (nTbS)x(nTbS) array
            resSamples as inputs.
When trafoDepth is equal to 0, DcOnlyFlag[ xTb0 ][ yTb0 ] is equal to 1, and DimFlag[ xTb0 ][ yTb0 ] is equal to 0, the
depth DC offset assignment process as specified in clause I.8.4.4.3 is invoked with the location ( xTb0, yTb0 ), and the
transform size trafoSize set equal to nTbS as inputs.

I.8.4.4.2       Intra sample prediction

I.8.4.4.2.1       General intra sample prediction
Inputs to this process are:
–     a sample location ( xTbCmp, yTbCmp ) specifying the top-left sample of the current transform block relative to the
      top-left sample of the current picture,
–     a variable predModeIntra specifying the intra prediction mode,
–     a variable nTbS specifying the transform block size,
–     a variable cIdx specifying the colour component of the current block.
Outputs of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.


638             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 660 of 717 Page ID
                                                         #:1189

The nTbS * 4 + 1 neighbouring samples p[ x ][ y ] that are constructed samples prior to the deblocking filter process, with
x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1, are derived as follows:
–   The neighbouring location ( xNbCmp, yNbCmp ) is specified by:
         ( xNbCmp, yNbCmp ) = ( xTbCmp + x, yTbCmp + y )                                                              (I-75)
–   The current luma location ( xTbY, yTbY ) and the neighbouring luma location ( xNbY, yNbY ) are derived as follows:
         ( xTbY, yTbY ) = ( cIdx = = 0 ) ? ( xTbCmp, yTbCmp ) : ( xTbCmp * SubWidthC, yTbCmp * SubHeightC )
                                                                                                       (I-76)
         ( xNbY, yNbY ) = ( cIdx = = 0 ) ? ( xNbCmp, yNbCmp ) : ( xNbCmp *
                                       SubWidthC, yNbCmp * SubHeightC )                                               (I-77)
–   The availability derivation process for a block in z-scan order as specified in clause 6.4.1 is invoked with the current
    luma location ( xCurr, yCurr ) set equal to ( xTbY, yTbY ) and the neighbouring luma location ( xNbY, yNbY ) as
    inputs, and the output is assigned to availableN.
–   Each sample p[ x ][ y ] is derived as follows:
    –    If one or more of the following conditions are true, the sample p[ x ][ y ] is marked as "not available for intra
         prediction":
         –   The variable availableN is equal to FALSE.
         –   CuPredMode[ xNbY ][ yNbY ] is not equal to MODE_INTRA and constrained_intra_pred_flag is equal to 1.
    –    Otherwise, the sample p[ x ][ y ] is marked as "available for intra prediction" and the sample at the location
         ( xNbCmp, yNbCmp ) is assigned to p[ x ][ y ].
When at least one sample p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 is marked as "not
available for intra prediction" and predModeIntra is not equal to INTRA_SINGLE, the reference sample substitution
process for intra sample prediction in clause 8.4.4.2.2 is invoked with the samples p[ x ][ y ] with
x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1, nTbS, and cIdx as inputs, and the modified samples
p[ x ][ y ] with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1 as output.
Depending on the value of predModeIntra, the following ordered steps apply:
    1.   When predModeIntra is in the range of 0 to 34, inclusive, intra_smoothing_disabled_flag is equal to 0, and either
         cIdx is equal to 0 or ChromaArrayType is equal to 3, the filtering process of neighbouring samples specified in
         clause 8.4.4.2.3 is invoked with the sample array p, the transform block size nTbS and the colour component
         index cIdx as inputs, and the output is reassigned to the sample array p.
    2.   The intra sample prediction process according to predModeIntra applies as follows:
         –   If predModeIntra is equal to INTRA_PLANAR, the corresponding intra prediction mode specified in
             clause 8.4.4.2.4 is invoked with the sample array p and the transform block size nTbS as inputs, and the
             output is the predicted sample array predSamples.
         –   Otherwise, if predModeIntra is equal to INTRA_DC, the corresponding intra prediction mode specified in
             clause 8.4.4.2.5 is invoked with the sample array p, the transform block size nTbS, and the colour component
             index cIdx as inputs, and the output is the predicted sample array predSamples.
         –   Otherwise, if predModeIntra is in the range of INTRA_ANGULAR2..INTRA_ANGULAR34, the
             corresponding intra prediction mode specified in clause 8.4.4.2.6 is invoked with the intra prediction mode
             predModeIntra, the sample array p, the transform block size nTbS, and the colour component index cIdx as
             inputs, and the output is the predicted sample array predSamples.
         –   Otherwise, if predModeIntra is equal to INTRA_WEDGE, the corresponding intra prediction mode specified
             in clause I.8.4.4.2.2 is invoked with the location ( xTbY, yTbY ), the sample array p, and the transform block
             size nTbS as inputs, and the output is the predicted sample array predSamples.
         –   Otherwise, if predModeIntra is equal to INTRA_CONTOUR, the corresponding intra prediction mode
             specified in clause I.8.4.4.2.3 is invoked with the location ( xTbY, yTbY ), the sample array p, and the
             transform block size nTbS as inputs, and the output is the predicted sample array predSamples.
         –   Otherwise, if predModeIntra is equal to INTRA_SINGLE, the corresponding intra prediction mode specified
             in clause I.8.4.4.2.4 is invoked with the location ( xTbY, yTbY ), the sample array p, and the transform block
             size nTbS as inputs, and the output is the predicted sample array predSamples.




                                                                              Rec. ITU-T H.265 v8 (08/2021)           639
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 661 of 717 Page ID
                                                           #:1190

I.8.4.4.2.2     Specification of intra prediction mode INTRA_WEDGE
Inputs to this process are:
–     a luma location ( xTb, yTb ) specifying the top-left sample of the current transform block relative to the top-left luma
      sample of the current picture,
–     the neighbouring samples p[ x ][ y ], with x = −1, y = − 1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
–     a variable nTbS specifying the transform block size.
Output of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
The list WedgePatternTable and the variable NumWedgePattern are specified by the derivation process for a wedgelet
partition pattern table in clause I.6.6.
The partition pattern wedgePattern[ x ][ y ] with x, y = 0..nTbS − 1 is derived as follows:
      wedgePattern = WedgePatternTable[ Log2( nTbS ) ][ wedge_full_tab_idx[ xTb ][ yTb ] ]                              (I-78)
The depth sub-block partition DC value derivation and assignment process as specified in clause I.8.4.4.2.5 is invoked
with the neighbouring samples p[ x ][ y ], the partition pattern wedgePattern[ x ][ y ], the luma location ( xTb, yTb ), and
the transform size nTbS as inputs, and the output is assigned to predSamples[ x ][ y ].

I.8.4.4.2.3     Specification of intra prediction mode INTRA_CONTOUR
Inputs to this process are:
–     a luma location ( xTb, yTb ) specifying the top-left sample of the current transform block relative to the top-left luma
      sample of the current picture,
–     the neighbouring samples p[ x ][ y ], with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
–     a variable nTbS specifying the transform block size.
Output of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
The partition pattern contourPattern[ x ][ y ], with x, y = 0..nTbS − 1 is derived as follows:
–     The variable refSamples is set equal to the reconstructed picture sample array SL of the picture TexturePic.
–     The variable threshVal is derived as follows:
          threshVal = ( refSamples[ xTb ][ yTb ] + refSamples[ xTb ][ yTb + nTbS − 1 ]
             + refSamples[ xTb + nTbS − 1 ][ yTb ] + refSamples[ xTb + nTbS − 1 ][ yTb + nTbS − 1 ] ) >> 2              (I-79)
–     For x = 0..nTbS − 1 and y = 0..nTbS − 1, the following applies:
          contourPattern[ x ][ y ] = ( refSamples[ xTb + x ][ yTb + y ] > threshVal )                                   (I-80)
The depth sub-block partition DC value derivation and assignment process as specified in clause I.8.4.4.2.5 is invoked
with the neighbouring samples p[ x ][ y ], the partition pattern contourPattern[ x ][ y ], the luma location ( xTb, yTb ),
and the transform size nTbS as inputs, and the output is assigned to predSamples[ x ][ y ].

I.8.4.4.2.4     Specification of intra prediction mode INTRA_SINGLE
Inputs to this process are:
–     a luma location ( xTb, yTb ) specifying the top-left sample of the current transform block relative to the top-left luma
      sample of the current picture,
–     the neighbouring samples p[ x ][ y ], with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
–     a variable nTbS specifying the transform block size.
Output of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
Depending on the value of skip_intra_mode_idx[ xTb ][ yTb ], the luma location ( xN, yN ) is derived as follows:
–     If skip_intra_mode_idx[ xTb ][ yTb ] is equal to 2, ( xN, yN ) is set equal to ( −1, nTbS >> 1 ).
–     Otherwise (skip_intra_mode_idx[ xTb ][ yTb ] is equal to 3), ( xN, yN ) is set equal to ( nTbS >> 1, −1 ).
The variable singleSampleVal is derived as follows:
–     If p[ xN ][ yN ] is marked as "available for intra prediction", singleSampleVal is set equal to p[ xN ][ yN ].


640           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25            Page 662 of 717 Page ID
                                                          #:1191

–   Otherwise (p[ xN ][ yN ] is marked as "not available for intra prediction"), singleSampleVal is set equal to
    ( 1 << ( BitDepthY − 1 ) )
The values of the prediction samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1, are derived as follows:
    predSamples[ x ][ y ] = singleSampleVal                                                                             (I-81)

I.8.4.4.2.5    Depth sub-block partition DC value derivation and assignment process
Inputs to this process are:
–   the neighbouring samples p[ x ][ y ], with x = −1, y = −1..nTbS * 2 − 1 and x = 0..nTbS * 2 − 1, y = −1,
–   a partition pattern partitionPattern[ x ][ y ], with x, y = 0..nTbS − 1, specifying the sub-block partitions of the current
    prediction block,
–   a luma location ( xTb, yTb ) specifying the top-left sample of the current transform block relative to the top-left luma
    sample of the current picture,
–   a variable nTbS specifying the transform block size.
Output of this process are the predicted samples predSamples[ x ][ y ], with x, y = 0..nTbS − 1.
The variables vertEdgeFlag and horEdgeFlag are derived as follows:
    vertEdgeFlag = ( partitionPattern[ 0 ][ 0 ] != partitionPattern[ nTbS − 1 ][ 0 ] )                                  (I-82)
    horEdgeFlag = ( partitionPattern[ 0 ][ 0 ] != partitionPattern[ 0 ][ nTbS − 1 ] )                                   (I-83)
The variables dcValBR and dcValLT are derived as follows:
–   If vertEdgeFlag is equal to horEdgeFlag, the following applies:
    –    The variable dcValBR is derived as follows:
         –    If horEdgeFlag is equal to 1, the following applies:
                  dcValBR = ( ( p[ −1 ][ nTbS − 1 ] + p[ nTbS − 1 ][ −1 ] ) >> 1 )                                      (I-84)
         –    Otherwise (horEdgeFlag is equal to 0), the following applies:
                  vertAbsDiff = Abs( p[ −1 ][ 0 ] − p[ −1 ][ nTbS * 2 − 1 ] )                                           (I-85)
                  horAbsDiff = Abs( p[ 0 ][ −1 ] − p[ nTbS * 2 − 1 ][ −1 ] )                                            (I-86)
                  dcValBR = ( horAbsDiff > vertAbsDiff ) ? p[ nTbS * 2 − 1 ][ −1 ] : p[ −1 ][ nTbS * 2 − 1 ]            (I-87)
    –    The variable dcValLT is derived as follows:
              dcValLT = ( p[ −1 ][ 0 ] + p[ 0 ][ −1 ] ) >> 1                                                            (I-88)
–   Otherwise (horEdgeFlag is not equal to vertEdgeFlag), the following applies:
         dcValBR = horEdgeFlag ? p[ −1 ][ nTbS − 1 ] : p[ nTbS − 1 ][ −1 ]                                              (I-89)
         dcValLT = horEdgeFlag ? p[ ( nTbS − 1 ) >> 1 ][ −1 ] : p[ −1 ][ ( nTbS − 1 ) >> 1 ]                            (I-90)
The predicted sample values predSamples[ x ][ y ] are derived as follows:
–   For x in the range of 0 to ( nTbS − 1 ), inclusive, the following applies:
    –    For y in the range of 0 to ( nTbS − 1 ), inclusive, the following applies:
         –    The variables predDcVal and dcOffset are derived as follows:
                  predDcVal = ( partitionPattern[ x ][ y ] = = partitionPattern[ 0 ][ 0 ] ) ? dcValLT : dcValBR         (I-91)
                  dcOffset = DcOffset[ xTb ][ yTb ][ partitionPattern[ x ][ y ] ]                                       (I-92)
         –    If DltFlag[ nuh_layer_id ] is equal to 0, the following applies:
                  predSamples[ x ][ y ] = predDcVal + dcOffset                                                          (I-93)
         –    Otherwise (DltFlag[ nuh_layer_id ] is equal to 1), the following applies:
                  predSamples[ x ][ y ] = DltIdxToVal[ Clip1Y( DltValToIdx[ predDcVal ] + dcOffset ) ]                  (I-94)




                                                                                 Rec. ITU-T H.265 v8 (08/2021)           641
      Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25          Page 663 of 717 Page ID
                                                              #:1192

I.8.4.4.3       Depth DC offset assignment process
Inputs to this process are:
–     a luma location ( xTb, yTb ) specifying the top-left luma sample of the current transform block relative to the top-left
      luma sample of the current picture,
–     a variable nTbS specifying the transform block size.
Output of this process is a modified reconstructed picture SL before deblocking filtering.
Depending on the value of DltFlag[ nuh_layer_id ], the variable dcVal is derived as follows:
–     If DltFlag[ nuh_layer_id ] is equal to 0, dcVal is set equal to DcOffset[ xTb ][ yTb ][ 0 ].
–     Otherwise (DltFlag[ nuh_layer_id ] is equal to 1), dcVal is derived as follows:
            dcPred = ( SL[ xTb ][ yTb ] + SL[ xTb ][ yTb + nTbS − 1 ] +
                      SL[ xTb + nTbS − 1 ][ yTb ] + SL[ xTb + nTbS − 1 ][ yTb + nTbS − 1 ] + 2 ) >> 2                      (I-95)
            dcVal = DltIdxToVal[ Clip1Y( DltValToIdx[ dcPred ] + DcOffset[ xTb ][ yTb ][ 0 ] ) ] − dcPred                  (I-96)
For x, y = 0..nTbS − 1, the variable SL[ x ][ y ] is modified as follows:
      SL[ xTb + x ][ yTb + y ] = Clip1Y( SL[ xTb + x ][ yTb + y ] + dcVal )                                                (I-97)

I.8.5      Decoding process for coding units coded in inter prediction mode

I.8.5.1         General decoding process for coding units coded in inter prediction mode
Inputs to this process are:
–     a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
      luma sample of the current picture,
–     a variable log2CbSize specifying the size of the current coding block.
Output of this process is a modified reconstructed picture before deblocking filtering.
The derivation process for quantization parameters as specified in clause 8.6.1 is invoked with the luma location
( xCb, yCb ) as input.
The variable nCbSL is set equal to 1 << log2CbSize. When ChromaArrayType is not equal to 0, the variable nCbSwC is
set equal to ( 1 << log2CbSize ) / SubWidthC and the variable nCbShC is set equal to ( 1 << log2CbSize ) / SubHeightC.
The decoding process for coding units coded in inter prediction mode consists of following ordered steps:
      1.    When DisparityDerivationFlag is equal to 1, the following applies:
            –     If DepthFlag is equal to 0, the derivation process for a disparity vector for texture layers as specified in
                  clause I.8.5.5 is invoked with the luma location ( xCb, yCb ) and the coding block size nCbSL as inputs.
            –     Otherwise (DepthFlag is equal to 1), the derivation process for a disparity vector for depth layers as specified
                  in clause I.8.5.6 is invoked with the luma location ( xCb, yCb ) and the coding block size nCbSL as inputs.
      2.    The inter prediction process as specified in clause I.8.5.2 is invoked with the luma location ( xCb, yCb ) and the
            luma coding block size log2CbSize as inputs, and the output is the array predSamplesL and, when
            ChromaArrayType is not equal to 0, the arrays predSamplesCb, and predSamplesCr.
      3.    The decoding process for the residual signal of coding units coded in inter prediction mode specified in
            clause I.8.5.4 is invoked with the luma location ( xCb, yCb ) and the luma coding block size log2CbSize as inputs,
            and the outputs are the array resSamplesL and, when ChromaArrayType is not equal to 0, the arrays resSamplesCb,
            and resSamplesCr.
      4.    The reconstructed samples of the current coding unit are derived as follows:
            –     The picture construction process prior to in-loop filtering for a colour component as specified in clause 8.6.7
                  is invoked with the luma coding block location ( xCb, yCb ), the variable nCurrSw set equal to nCbSL, the
                  variable nCurrSh set equal to nCbSL, the variable cIdx set equal to 0, the (nCbSL)x(nCbSL) array predSamples
                  set equal to predSamplesL, and the (nCbSL)x(nCbSL) array resSamples set equal to resSamplesL as inputs.
            –     When ChromaArrayType is not equal to 0, the picture construction process prior to in-loop filtering for a
                  colour component as specified in clause 8.6.7 is invoked with the chroma coding block location
                  ( xCb / SubWidthC, yCb / SubHeightC ), the variable nCurrSw set equal to nCbSwC, the variable nCurrSh


642             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                  Document 1-7           Filed 04/07/25          Page 664 of 717 Page ID
                                                             #:1193

                  set equal to nCbShC, the variable cIdx set equal to 1, the (nCbSwC)x(nCbShC) array predSamples set equal to
                  predSamplesCb, and the (nCbSwC)x(nCbShC) array resSamples set equal to resSamplesCb as inputs.
            –     When ChromaArrayType is not equal to 0, the picture construction process prior to in-loop filtering for a
                  colour component as specified in clause 8.6.7 is invoked with the chroma coding block location
                  ( xCb / SubWidthC, yCb / SubHeightC ), the variable nCurrSw set equal to nCbSwC, the variable nCurrSh
                  set equal to nCbShC, the variable cIdx set equal to 2, the (nCbSwC)x(nCbShC) array predSamples set equal to
                  predSamplesCr, and the (nCbSwC)x(nCbShC) array resSamples set equal to resSamplesCr as inputs.

I.8.5.2         Inter prediction process
The specifications in clause 8.5.2 apply with the following modification:
–   All invocations of the process specified in clause 8.5.3 are replaced with invocations of the process specified in
    clause I.8.5.3.

I.8.5.3         Decoding process for prediction units in inter prediction mode

I.8.5.3.1       General
Inputs to this process are:
–   a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
    luma sample of the current picture,
–   a luma location ( xBl, yBl ) specifying the top-left sample of the current luma prediction block relative to the top-left
    sample of the current luma coding block,
–   a variable nCbS specifying the size of the current luma coding block,
–   a variable nPbW specifying the width of the current luma prediction block,
–   a variable nPbH specifying the height of the current luma prediction block,
–   a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are:
–   an (nCbSL)x(nCbSL) array predSamplesL of luma prediction samples, where nCbSL is derived as specified below,
–   when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCb of chroma prediction samples
    for the component Cb, where nCbSwC and nCbShC are derived as specified below,
–   when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCr of chroma prediction samples
    for the component Cr, where nCbSwC and nCbShC are derived as specified below.
The variable nCbSL is set equal to nCbS. When ChromaArrayType is not equal to 0, the variable nCbSwC is set equal to
nCbS / SubWidthC and the variable nCbShC is set equal to nCbS / SubHeightC.
The decoding process for prediction units in inter prediction mode consists of the following ordered steps:
    1.      The derivation process for motion vector components and reference indices as specified in clause I.8.5.3.2 is
            invoked with the luma coding block location ( xCb, yCb ), the luma prediction block location ( xBl, yBl ), the
            luma coding block size block nCbS, the luma prediction block width nPbW, the luma prediction block height
            nPbH, and the prediction unit index partIdx as inputs, and the luma motion vectors mvL0 and mvL1, when
            ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1, the reference indices
            refIdxL0 and refIdxL1, the prediction list utilization flags predFlagL0 and predFlagL1, and the flag
            subPbMotionFlag as outputs.
    2.      Depending on the value of subPbMotionFlag and DbbpFlag[ xCb ][ yCb ], the following applies:
            –     If both subPbMotionFlag and DbbpFlag[ xCb ][ yCb ] are equal to 0, the decoding process for inter sample
                  prediction as specified in clause I.8.5.3.3.1 is invoked with the luma coding block location ( xCb, yCb ), the
                  luma prediction block location ( xBl, yBl ), the luma coding block size block nCbS, the luma prediction block
                  width nPbW, the luma prediction block height nPbH, the luma motion vectors mvL0 and mvL1, when
                  ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1, the reference indices
                  refIdxL0 and refIdxL1, and the prediction list utilization flags predFlagL0 and predFlagL1 as inputs, and the
                  inter prediction samples (predSamples) that are an (nCbSL)x(nCbSL) array predSamplesL of prediction luma
                  samples and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC) arrays predSamplesCr and
                  predSamplesCr of prediction chroma samples, one for each of the chroma components Cb and Cr, as outputs.
            –     Otherwise, if subPbMotionFlag is equal to 1, the decoding process for inter sample prediction for rectangular


                                                                                  Rec. ITU-T H.265 v8 (08/2021)            643
      Case 2:25-cv-03053               Document 1-7           Filed 04/07/25          Page 665 of 717 Page ID
                                                            #:1194

                 sub-block partitions as specified in clause I.8.5.3.4 is invoked with the luma coding block location
                 ( xCb, yCb ), the luma prediction block location ( xBl, yBl ), the luma coding block size block nCbS, the
                 luma prediction block width nPbW, and the luma prediction block height nPbH as inputs, and the inter
                 prediction samples that are an (nCbSL)x(nCbSL) array predSamplesL of prediction luma samples and, when
                 ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr of
                 chroma prediction samples, one for each of the chroma components Cb and Cr, as outputs.
            –    Otherwise (DbbpFlag[ xCb ][ yCb ] is equal to 1), the decoding process for inter sample prediction for depth
                 predicted sub-block partitions as specified in clause I.8.5.3.5 is invoked with the luma coding block location
                 ( xCb, yCb ), the luma coding block size nCbS, the luma motion vectors mvL0 and mvL1, when
                 ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1, the reference indices
                 refIdxL0 and refIdxL1, the prediction list utilization flags predFlagL0 and predFlagL1, and the variable
                 partIdx as inputs, and the inter prediction samples that are an (nCbSL)x(nCbSL) array predSamplesL of
                 prediction luma samples and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC) arrays
                 predSamplesCb and predSamplesCr of chroma prediction samples, one for each of the chroma components Cb
                 and Cr, as outputs.
For use in derivation processes of variables invoked later in the decoding process, the following assignments are made for
x = xBl..xBl + nPbW − 1 and y = yBl..yBl + nPbH − 1:
      MvL0[ xCb + x ][ yCb + y ] = subPbMotionFlag ? SubPbArrayMvL0[ xCb + x ][ yCb + y ] : mvL0                         (I-98)
      MvL1[ xCb + x ][ yCb + y ] = subPbMotionFlag ? SubPbArrayMvL1[ xCb + x ][ yCb + y ] : mvL1                         (I-99)
      RefIdxL0[ xCb + x ][ yCb + y ] = subPbMotionFlag ?
                                                      SubPbArrayRefIdxL0[ xCb + x ][ yCb + y ] : refIdxL0              (I-100)
      RefIdxL1[ xCb + x ][ yCb + y ] = subPbMotionFlag ?
                                                      SubPbArrayRefIdxL1[ xCb + x ][ yCb + y ] : refIdxL1              (I-101)
      PredFlagL0[ xCb + x ][ yCb + y ] = subPbMotionFlag ?
                                                  SubPbArrayPredFlagL0[ xCb + x ][ yCb + y ] : predFlagL0              (I-102)
      PredFlagL1[ xCb + x ][ yCb + y ] = subPbMotionFlag ?
                                                  SubPbArrayPredFlagL1[ xCb + x ][ yCb + y ] : predFlagL1              (I-103)

I.8.5.3.2       Derivation process for motion vector components and reference indices

I.8.5.3.2.1       General
Inputs to this process are:
–     a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma sample
      of the current picture,
–     a luma location ( xBl, yBl ) of the top-left sample of the current luma prediction block relative to the top-left sample
      of the current luma coding block,
–     a variable nCbS specifying the size of the current luma coding block,
–     two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–     a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are:
–     the luma motion vectors mvL0 and mvL1,
–     when ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1,
–     the reference indices refIdxL0 and refIdxL1,
–     the prediction list utilization flags predFlagL0 and predFlagL1,
–     the flag subPbMotionFlag specifying, whether specifying whether the current PU is coded using sub-block partitions.
Let ( xPb, yPb ) specify the top-left sample location of the current luma prediction block relative to the top-left luma sample
of the current picture where xPb = xCb + xBl and yPb = yCb + yBl.
Let the variables currPic and LX be the current picture and RefPicListX, with X being 0 or 1, of the current picture,
respectively.
The function LongTermRefPic( aPic, aPb, refIdx, LX ), with X being 0 or 1, is defined as follows:


644             Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053                Document 1-7             Filed 04/07/25             Page 666 of 717 Page ID
                                                              #:1195

–   If the picture with index refIdx from reference picture list LX of the slice containing prediction block aPb in the picture
    aPic was marked as "used for long-term reference" at the time when aPic was the current picture,
    LongTermRefPic( aPic, aPb, refIdx, LX ) is equal to 1.
–   Otherwise, LongTermRefPic( aPic, aPb, refIdx, LX ) is equal to 0.
The variables vspMcFlag, ivMcFlag, and subPbMotionFlag are set equal to 0.
For the derivation of the variables mvL0 and mvL1, refIdxL0 and refIdxL1, as well as predFlagL0 and predFlagL1, the
following applies:
–   If merge_flag[ xPb ][ yPb ] is equal to 1, the derivation process for luma motion vectors for merge mode as specified
    in clause I.8.5.3.2.7 is invoked with the luma location ( xCb, yCb ), the luma location ( xPb, yPb ), the variables nCbS,
    nPbW, nPbH, and the partition index partIdx as inputs, and the output being the luma motion vectors mvL0, mvL1,
    the reference indices refIdxL0, refIdxL1, the prediction list utilization flags predFlagL0 and predFlagL1, the flag
    ivMcFlag, the flag vspMcFlag, and the flag subPbMotionFlag.
–   Otherwise, for X being replaced by either 0 or 1 in the variables predFlagLX, mvLX, and refIdxLX, in PRED_LX,
    and in the syntax elements ref_idx_lX and MvdLX, the following applies:
         1.   The variables refIdxLX and predFlagLX are derived as follows:
                   –    If inter_pred_idc[ xPb ][ yPb ] is equal to PRED_LX or PRED_BI,
                             refIdxLX = ref_idx_lX[ xPb ][ yPb ]                                                                (I-104)
                             predFlagLX = 1                                                                                     (I-105)
                   –    Otherwise, the variables refIdxLX and predFlagLX are specified by:
                             refIdxLX = −1                                                                                      (I-106)
                             predFlagLX = 0                                                                                     (I-107)
         2.   The variable mvdLX is derived as follows:
                             mvdLX[ 0 ] = MvdLX[ xPb ][ yPb ][ 0 ]                                                              (I-108)
                             mvdLX[ 1 ] = MvdLX[ xPb ][ yPb ][ 1 ]                                                              (I-109)
         3.   When predFlagLX is equal to 1, the derivation process for luma motion vector prediction in clause I.8.5.3.2.3
              is invoked with the luma coding block location ( xCb, yCb ), the coding block size nCbS, the luma prediction
              block location ( xPb, yPb ), the variables nPbW, nPbH, refIdxLX, and the partition index partIdx as inputs,
              and the output being mvpLX.
         4.   When predFlagLX is equal to 1, the luma motion vector mvLX is derived as follows:
                             uLX[ 0 ] = ( mvpLX[ 0 ] + mvdLX[ 0 ] + 216 ) % 216                                                 (I-110)
                             mvLX[ 0 ] = ( uLX[ 0 ] >= 215 ) ? ( uLX[ 0 ] − 216 ) : uLX[ 0 ]                                    (I-111)
                             uLX[ 1 ] = ( mvpLX[ 1 ] + mvdLX[ 1 ] + 216 ) % 216                                                 (I-112)
                             mvLX[ 1 ] = ( uLX[ 1 ] >= 2 ) ? ( uLX[ 1 ] − 2 ) : uLX[ 1 ]
                                                               15                    16
                                                                                                                                (I-113)
    NOTE – The resulting values of mvLX[ 0 ] and mvLX[ 1 ] as specified above will always be in the range of −215 to 215 − 1, inclusive.

When ChromaArrayType is not equal to 0 and predFlagLX, with X being 0 or 1, is equal to 1, the derivation process for
chroma motion vectors in clause 8.5.3.2.10 is invoked with mvLX as input, and the output being mvCLX.
For use in derivation processes of variables invoked later in the decoding process, the following assignments are made for
x = xPb..( xPb + nPbW − 1 ), y = yPb..( yPb + nPbH − 1 ):
    IvMcFlag[ x ][ y ] = ivMcFlag                                                                                               (I-114)
    VspMcFlag[ x ][ y ] = vspMcFlag                                                                                             (I-115)

I.8.5.3.2.2    Derivation process for an initial merge candidate list
The specifications in clause 8.5.3.2.2 apply with the following modifications:
–   Steps 9 and 10 are removed.
–   "When slice_type is equal to B, the derivation process for combined bi-predictive merging candidates" is replaced
    with "When slice_type is equal to B and numCurrMergeCand is less than 5, the derivation process for combined bi-
    predictive merging candidates".


                                                                                      Rec. ITU-T H.265 v8 (08/2021)               645
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25          Page 667 of 717 Page ID
                                                           #:1196

–     "derivation process for merging candidates from neighbouring prediction unit partitions in clause 8.5.3.2.3" is replaced
      with "derivation process for merging candidates from neighbouring prediction unit partitions in clause I.8.5.3.2.3".
–     "temporal luma motion vector prediction in clause 8.5.3.2.8 is invoked" is replaced with "temporal luma motion vector
      prediction in clause I.8.5.3.2.5 is invoked".
–     The outputs of the process are replaced with:
      –   the modified luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the
          top-left luma sample of the current picture,
      –   the variables nPbW and nPbH specifying the modified width and the height of the luma prediction block,
      –   the modified variable partIdx specifying the modified index of the current prediction unit within the current coding
          unit,
      –   the original luma location ( xOrigP, yOrigP ) of the top-left sample of the current luma prediction block relative
          to the top-left luma sample of the current picture,
      –   the variables nOrigPbW and nOrigPbH specifying the original width and the height of the luma prediction block,
      –   the merging candidate list, mergeCandList,
      –   the luma motion vectors mvL0N and mvL1N, with N being replaced by all elements of mergeCandList,
      –   the reference indices refIdxL0N and refIdxL1N, with N being replaced by all elements of mergeCandList,
      –   the prediction list utilization flags predFlagL0N and predFlagL1N, with N being replaced by all elements of
          mergeCandList.

I.8.5.3.2.3     Derivation process for spatial merging candidates
The specifications in clause 8.5.3.2.3 apply with the following modifications and additions:
–     The function differentMotionLoc( xN, yN, xM, yM ) is specified as follows:
      –   If one or more of the following conditions are true, for X in the range of 0 to 1, inclusive,
          differentMotionLoc( xN, yN, xM, yM ) is set equal to 1:
          –    PredFlagLX[ xN ][ yN ] is not equal to PredFlagLX[ xM ][ yM ].
          –    MvLX[ xN ][ yN ] is not equal to MvLX[ xM ][ yM ].
          –    RefIdxLX[ xN ][ yN ] is not equal to RefIdxLX[ xM ][ yM ].
      –   Otherwise, differentMotionLoc( xN, yN, xM, yM ) is set equal to 0.
–     "the prediction units covering the luma locations ( xNbA1, yNbA1 ) and ( xNbB1, yNbB1 ) have the same motion
      vectors and the same reference indices" is replaced with "differentMotionLoc( xNbA1, yNbA1, xNbB1, yNbB1 ) is
      equal to 0".
–     "the prediction units covering the luma locations ( xNbB1, yNbB1 ) and ( xNbB0, yNbB0 ) have the same motion
      vectors and the same reference indices" is replaced with "differentMotionLoc( xNbB1, yNbB1, xNbB0, yNbB0 ) is
      equal to 0".
–     "the prediction units covering the luma locations ( xNbA1, yNbA1 ) and ( xNbA0, yNbA0 ) have the same motion
      vectors and the same reference indices" is replaced with "differentMotionLoc( xNbA1, yNbA1, xNbA0, yNbA0 ) is
      equal to 0".
–     "prediction units covering the luma locations ( xNbA1, yNbA1 ) and ( xNbB2, yNbB2 ) have the same motion vectors
      and the same reference indices" is replaced with "differentMotionLoc( xNbA1, yNbA1, xNbB2, yNbB2 ) is equal to 0".
–     "the prediction units covering the luma locations ( xNbB1, yNbB1 ) and ( xNbB2, yNbB2 ) have the same motion
      vectors and the same reference indices" is replaced with "differentMotionLoc( xNbB1, yNbB1, xNbB2, yNbB2 ) is
      equal to 0".

I.8.5.3.2.4     Derivation process for luma motion vector prediction
The specifications in clause 8.5.3.2.6 apply with the following modifications:
–     "temporal luma motion vector prediction in clause 8.5.3.2.8 is invoked" is replaced by "temporal luma motion vector
      prediction in clause I.8.5.3.2.5 is invoked".




646           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25          Page 668 of 717 Page ID
                                                          #:1197

I.8.5.3.2.5    Derivation process for temporal luma motion vector prediction
Inputs to this process are:
–   a luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block relative to the top-left
    luma sample of the current picture,
–   two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–   a reference index refIdxLX, with X being 0 or 1.
Outputs of this process are:
–   the motion vector prediction mvLXCol,
–   the availability flag availableFlagLXCol.
The variable currPb specifies the current luma prediction block at luma location ( xPb, yPb ).
The variables mvLXCol and availableFlagLXCol are derived as follows:
–   If slice_temporal_mvp_enabled_flag is equal to 0, both components of mvLXCol are set equal to 0 and
    availableFlagLXCol is set equal to 0.
–   Otherwise, the following ordered steps apply:
    1.   The bottom right collocated motion vector is derived as follows:
                  xColBr = xPb + nPbW                                                                                 (I-116)
                  yColBr = yPb + nPbH                                                                                 (I-117)
         –    If yPb >> CtbLog2SizeY is equal to yColBr >> CtbLog2SizeY, yColBr is less than
              pic_height_in_luma_samples and xColBr is less than pic_width_in_luma_samples, the following applies:
              –   The luma location ( xColPb, yColPb ) is set equal to ( ( xColBr >> 4 ) << 4, ( yColBr >> 4 ) << 4 ).
              –   The variable colPb specifies the luma prediction block covering the modified location given by
                  ( xColPb, yColPb ) inside the collocated picture specified by ColPic.
              –   Depending on merge_flag[ xPb ][ yPb ], the following applies:
                  –    If merge_flag[ xPb ][ yPb ] is equal to 0, the derivation process for collocated motion vectors as
                       specified in clause 8.5.3.2.9 is invoked with currPb, colPb, ( xColPb, yColPb ) and refIdxLX as
                       inputs, and the output is assigned to mvLXCol and availableFlagLXCol.
                  –    Otherwise (merge_flag[ xPb ][ yPb ] is equal to 1), the derivation process for collocated motion
                       vectors for merge mode as specified in clause I.8.5.3.2.6 is invoked with currPb, colPb,
                       ( xColPb, yColPb ) and refIdxLX as inputs, and the output is assigned to mvLXCol and
                       availableFlagLXCol.
         –    Otherwise, both components of mvLXCol are set equal to 0 and availableFlagLXCol is set equal to 0.
    2.   When availableFlagLXCol is equal to 0, the central collocated motion vector is derived as follows:
                  xColCtr = xPb + ( nPbW >> 1 )                                                                       (I-118)
                  yColCtr = yPb + ( nPbH >> 1 )                                                                       (I-119)
         –    The luma location ( xColPb, yColPb ) is set equal to ( ( xColCtr >> 4 ) << 4, ( yColCtr >> 4 ) << 4 ).
         –    The variable colPb specifies the luma prediction block covering the modified location given by
              ( xColPb, yColPb ) inside the collocated picture specified by ColPic.
         –    Depending on merge_flag[ xPb ][ yPb ], the following applies:
              –   If merge_flag[ xPb ][ yPb ] is equal to 0, the derivation process for collocated motion vectors as specified
                  in clause 8.5.3.2.9 is invoked with currPb, colPb, ( xColPb, yColPb ) and refIdxLX as inputs, and the
                  output is assigned to mvLXCol and availableFlagLXCol.
              –   Otherwise (merge_flag[ xPb ][ yPb ] is equal to 1), the derivation process for collocated motion vectors
                  for merge mode as specified in clause I.8.5.3.2.6 is invoked with currPb, colPb, ( xColPb, yColPb ) and
                  refIdxLX as inputs, and the output is assigned to mvLXCol and availableFlagLXCol.




                                                                               Rec. ITU-T H.265 v8 (08/2021)            647
      Case 2:25-cv-03053             Document 1-7           Filed 04/07/25          Page 669 of 717 Page ID
                                                          #:1198

I.8.5.3.2.6     Derivation process for collocated motion vectors for merge mode
Inputs to this process are:
–     a variable currPb specifying the current prediction block,
–     a variable colPb specifying the collocated prediction block inside the collocated picture specified by ColPic,
–     a luma location ( xColPb, yColPb ) specifying a sample inside the collocated luma prediction block specified by colPb
      relative to the top-left luma sample of the collocated picture specified by ColPic,
–     a reference index refIdxLX, with X being 0 or 1.
Outputs of this process are:
–     the motion vector prediction mvLXCol,
–     the availability flag availableFlagLXCol.
The arrays predFlagL0Col[ x ][ y ], mvL0Col[ x ][ y ], and refIdxL0Col[ x ][ y ] are set equal to PredFlagL0[ x ][ y ],
MvL0[ x ][ y ], and RefIdxL0[ x ][ y ], respectively, of the collocated picture specified by ColPic, and the arrays
predFlagL1Col[ x ][ y ], mvL1Col[ x ][ y ], and refIdxL1Col[ x ][ y ] are set equal to PredFlagL1[ x ][ y ], MvL1[ x ][ y ],
and RefIdxL1[ x ][ y ], respectively, of the collocated picture specified by ColPic.
The variables mvLXCol and availableFlagLXCol are derived as follows:
–     If colPb is coded in an intra prediction mode, both components of mvLXCol are set equal to 0 and availableFlagLXCol
      is set equal to 0.
–     Otherwise, the following applies:
      –   The motion vector mvCol, the reference index refIdxCol, and the reference list identifier listCol are derived as
          follows:
          –    If predFlagL0Col[ xColPb ][ yColPb ] is equal to 0, mvCol, refIdxCol, and listCol are set equal to
               mvL1Col[ xColPb ][ yColPb ], refIdxL1Col[ xColPb ][ yColPb ], and L1, respectively.
          –    Otherwise, if predFlagL0Col[ xColPb ][ yColPb ] is equal to 1 and predFlagL1Col[ xColPb ][ yColPb ] is
               equal to 0, mvCol, refIdxCol, and listCol are set equal to mvL0Col[ xColPb ][ yColPb ],
               refIdxL0Col[ xColPb ][ yColPb ], and L0, respectively.
          –    Otherwise (predFlagL0Col[ xColPb ][ yColPb ] is equal to 1 and predFlagL1Col[ xColPb ][ yColPb ] is
               equal to 1), the following assignments are made:
               –   If NoBackwardPredFlag is equal to 1, mvCol, refIdxCol, and listCol are set equal to
                   mvLXCol[ xColPb ][ yColPb ], refIdxLXCol[ xColPb ][ yColPb ], and LX, respectively.
               –   Otherwise, mvCol, refIdxCol, and listCol are set equal to mvLNCol[ xColPb ][ yColPb ],
                   refIdxLNCol[ xColPb ][ yColPb ], and LN, respectively, with N being the value of
                   collocated_from_l0_flag.
      –   The motion vector mvLXCol and availableFlagLXCol are derived as follows:
          –    The variables curLtFlag and colLtFlag are derived as follows:
                   curLtFlag = LongTermRefPic( CurrPic, currPb, refIdxLX, LX )                                         (I-120)
                   colLtFlag = LongTermRefPic( ColPic, colPb, refIdxCol, listCol )                                     (I-121)
          –    When curLtFlag is not equal to colLtFlag and AltRefIdxLX is not equal to −1, the variables AltRefFlagLX,
               refIdxLX, and curLtFlag are modified as follows:
                   AltRefFlagLX = 1                                                                                    (I-122)
                   refIdxLX = AltRefIdxLX                                                                              (I-123)
                   curLtFlag = LongTermRefPic( CurrPic, currPb, refIdxLX, LX )                                         (I-124)
          –    The motion vector mvLXCol is modified as follows:
               –   If curLtFlag is not equal to colLtFlag, both components of mvLXCol are set equal to 0 and
                   availableFlagLXCol is set equal to 0.
               –   Otherwise, the variable availableFlagLXCol is set equal to 1, refPicListCol[ refIdxCol ] is set to be the
                   picture with reference index refIdxCol in the reference picture list listCol of the slice containing


648           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25           Page 670 of 717 Page ID
                                                            #:1199

                  prediction block colPb in the collocated picture specified by ColPic, and the following applies:
                  –    The variables colDiff and currDiff are set equal to 0 and modified as follows:
                       –      If curLtFlag is equal to 0, the following applies:
                                  colDiff = DiffPicOrderCnt( ColPic, refPicListCol[ refIdxCol ] )                     (I-125)
                                  currDiff = DiffPicOrderCnt( CurrPic, RefPicListX[ refIdxLX ] )                      (I-126)
                       –      Otherwise (curLtFlag is equal to 1), when IvMvScalEnabledFlag is equal to 1, the following
                              applies:
                                  colDiff = ViewIdVal( ColPic ) − ViewIdVal( refPicListCol[ refIdxCol ] )             (I-127)
                                  currDiff =ViewIdVal( CurrPic ) − ViewIdVal( RefPicListX[ refIdxLX ] )               (I-128)
                  –    Depending on the values of colDiff and currDiff, the following applies:
                       –      If colDiff is equal to currDiff, or colDiff is equal to 0, or currDiff is equal to 0, mvLXCol is
                              derived as follows:
                                  mvLXCol = mvCol                                                                     (I-129)
                       –      Otherwise, mvLXCol is derived as a scaled version of the motion vector mvCol as follows:
                                  tx = ( 16384 + ( Abs( td ) >> 1 ) ) / td                                            (I-130)
                                  distScaleFactor = Clip3( −4096, 4095, ( tb * tx + 32 ) >> 6 )                       (I-131)
                                  mvLXCol = Clip3( −32768, 32767, Sign( distScaleFactor * mvCol ) *
                                    ( ( Abs( distScaleFactor * mvCol ) + 127 ) >> 8 ) )                               (I-132)
                              where td and tb are derived as follows:
                                  td = Clip3( −128, 127, colDiff )                                                    (I-133)
                                  tb = Clip3( −128, 127, currDiff )                                                   (I-134)

I.8.5.3.2.7    Derivation process for luma motion vectors for merge mode
This process is only invoked when merge_flag[ xPb ][ yPb ] is equal to 1, where ( xPb, yPb ) specifies the top-left sample
of the current luma prediction block relative to the top-left luma sample of the current picture.
Inputs to this process are:
–   a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma sample
    of the current picture,
–   a luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the top-left luma
    sample of the current picture,
–   a variable nCbS specifying the size of the current luma coding block,
–   two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–   a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are:
–   the luma motion vectors mvL0 and mvL1,
–   the reference indices refIdxL0 and refIdxL1,
–   the prediction list utilization flags predFlagL0 and predFlagL1,
–   the flag ivMcFlag specifying whether the current PU is coded using an inter-view predicted merge candidate,
–   the flag vspMcFlag specifying whether the current PU is coded using the view synthesis prediction merge candidate,
–   the flag subPbMotionFlag specifying whether the current PU is coded using sub-block partitions.
The function differentMotion( N, M ) is specified as follows:
–   If one or more of the following conditions are true, for X in the range of 0 to 1, inclusive, differentMotion( N, M ) is
    set equal to 1:



                                                                                   Rec. ITU-T H.265 v8 (08/2021)         649
      Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 671 of 717 Page ID
                                                            #:1200

      –    predFlagLXN is not equal to predFlagLXM.
      –    mvLXN is not equal to mvLXM.
      –    refIdxLXN is not equal to refIdxLXM.
–     Otherwise, differentMotion( N, M ) is set equal to 0.
The variables AltRefFlagL0 and AltRefFlagL1 are set equal to 0.
The motion vectors mvL0 and mvL1, the reference indices refIdxL0 and refIdxL1, and the prediction utilization flags
predFlagL0 and predFlagL1 are derived by the following ordered steps:
      1.   The derivation process for an initial merge candidate list as specified in clause I.8.5.3.2.2 is invoked with the luma
           location ( xCb, yCb ), the luma location ( xPb, yPb ), the variables nCbS, nPbW, nPbH, and the partition index
           partIdx as inputs, and the outputs being a modified luma location ( xPb, yPb ), the modified variables nPbW and
           nPbH, the modified variable partIdx, the luma location ( xOrigP, yOrigP ), the variables nOrigPbW and
           nOrigPbH, the merging candidate list initMergeCandList, the luma motion vectors mvL0N and mvL1N, the
           reference indices refIdxL0N and refIdxL1N, and the prediction list utilization flags predFlagL0N and
           predFlagL1N, with N being replaced by all elements of initMergeCandList.
      2.   For N being replaced by A1, B1, B0, A0 and B2, the following applies:
           –    If N is an element in initMergeCandList, availableFlagN is set equal to 1.
           –    Otherwise (N is not an element in initMergeCandList), availableFlagN is set equal to 0.
      3.   Depending on the values of IvDiMcEnabledFlag, DispAvailFlag, and IlluCompFlag[ xCb ][ yCb ], the following
           applies:
           –    If IvDiMcEnabledFlag is equal to 0, DispAvailFlag is equal to 0, or IlluCompFlag[ xCb ][ yCb ] is equal to
                1, the flags availableFlagIV and availableFlagIVShift are set equal to 0.
           –    Otherwise (IvDiMcEnabledFlag is equal to 1, DispAvailFlag is equal to 1, and IlluCompFlag[ xCb ][ yCb ]
                is equal to 0), the derivation process for inter-view predicted merging candidates as specified in
                clause I.8.5.3.2.8 is invoked with the luma location ( xPb, yPb ), and the variables nPbW and nPbH as inputs,
                and the availability flags availableFlagIV and availableFlagIVShift, the prediction list utilization flags
                predFlagLXIV and predFlagLXIVShift, the reference indices refIdxLXIV and refIdxLXIVShift, and the
                motion vectors mvLXIV and mvLXIVShift (with X in the range of 0 to 1, inclusive) as outputs.
      4.   Depending on the value of TexMcEnabledFlag, the texture merging candidate is derived as follows:
           –    If TexMcEnabledFlag is equal to 0, the variable availableFlagT is set equal to 0.
           –    Otherwise (TexMcEnabledFlag is equal to 1), the following applies:
                –   The derivation process for sub-block partition motion vectors for an inter-layer predicted merging
                    candidate as specified in clause I.8.5.3.2.9 is invoked with the luma location ( xPb, yPb ), the variables
                    nPbW and nPbH, and the merging candidate indicator N equal to T as inputs, and the prediction
                    utilization flag predFlagLXT, the reference index refIdxLXT, and the motion vector mvLXT (with X in
                    the range of 0 to 1, inclusive) as outputs.
                –   The flag availableFlagT is set equal to ( predFlagL0T | | predFlagL1T ).
      5.   Depending on the values of IvDiMcEnabledFlag, DispAvailFlag, and DepthFlag, the following applies:
           –    If IvDiMcEnabledFlag is equal to 0, DispAvailFlag is equal to 0, or DepthFlag is equal to 1, the flags
                availableFlagDI and availableFlagDIShift are set equal to 0.
           –    Otherwise (IvDiMcEnabledFlag is equal to 1, DispAvailFlag is equal to 1, and DepthFlag is equal to 0), the
                derivation process for disparity information merging candidates as specified in clause I.8.5.3.2.12 is invoked
                with the luma location ( xPb, yPb ), and the variables nPbW and nPbH as inputs, and the availability flags
                availableFlagDI and availableFlagDIShift, the prediction list utilization flags predFlagLXDI and
                predFlagLXDIShift, the reference indices refIdxLXDI and refIdxLXDIShift, and the motion vectors
                mvLXDI and mvLXDIShift (with X in the range of 0 to 1, inclusive) as outputs.
      6.   Depending on the values of VspMcEnabledFlag, DispAvailFlag, IlluCompFlag[ xCb ][ yCb ],
           iv_res_pred_weight_idx[ xCb ][ yCb ], and DbbpFlag[ xCb ][ yCb ], the following applies:
           –    If one or more of the following conditions are true, the flag availableFlagVSP is set equal to 0:
                –   VspMcEnabledFlag is equal to 0.



650            Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 672 of 717 Page ID
                                                     #:1201

         –   DispAvailFlag is equal to 0.
         –   IlluCompFlag[ xCb ][ yCb ] is equal to 1.
         –   iv_res_pred_weight_idx[ xCb ][ yCb ] is not equal to 0.
         –   DbbpFlag[ xCb ][ yCb ] is equal to 1.
     –   Otherwise, the derivation process for a view synthesis prediction merging candidate as specified in
         clause I.8.5.3.2.13 is invoked with the luma locations ( xPb, yPb ) and the variables nPbW and nPbH as
         inputs, and the availability flag availableFlagVSP, the prediction list utilization flag predFlagLXVSP, the
         reference index refIdxLXVSP, and the motion vector mvLXVSP (with X in the range of 0 to 1, inclusive) as
         outputs.
7.   The merging candidate list extMergeCandList is constructed as follows:
         i=0
         if( availableFlagT )
              extMergeCandList[ i++ ] = T
         if( availableFlagIV && ( !availableFlagT | | differentMotion( T, IV ) ) )
              extMergeCandList[ i++ ] = IV
         N = DepthFlag ? T : IV
         if( availableFlagA1 && ( !availableFlagN | | differentMotion( N, A1 ) ) )
              extMergeCandList[ i++ ] = A1
         if( availableFlagB1 && ( !availableFlagN | | differentMotion( N, B1 ) ) )
              extMergeCandList[ i++ ] = B1
         if( availableFlagVSP && ( !availableFlagA1 | | !VspMcFlag[ xPb − 1 ][ yPb + nPbH − 1 ] ) &&
              i < MaxNumMergeCand )
              extMergeCandList[ i++ ] = VSP
         if( availableFlagB0 )
              extMergeCandList[ i++ ] = B0                                                           (I-135)
         if( availableFlagDI && ( !availableFlagA1 | | differentMotion( A1, DI ) ) &&
              ( !availableFlagB1 | | differentMotion( B1, DI ) ) && ( i < MaxNumMergeCand ) )
              extMergeCandList[ i++ ] = DI
         if( availableFlagA0 && i < MaxNumMergeCand )
              extMergeCandList[ i++ ] = A0
         if( availableFlagB2 && i < MaxNumMergeCand )
              extMergeCandList[ i++ ] = B2
         if( availableFlagIVShift && i < MaxNumMergeCand &&
                                ( !availableFlagIV | | differentMotion( IV, IVShift ) ) )
              extMergeCandList[ i++ ] = IVShift
         if( availableFlagDIShift && !availableFlagIVShift && i < MaxNumMergeCand )
              extMergeCandList[ i++ ] = DIShift
         j=0
         while( i < MaxNumMergeCand ) {                                                              (I-136)
              N = initMergeCandList[ j++ ]
              if( N != A1 && N != B1 && N != B0 && N != A0 && N != B2 )
                   extMergeCandList[ i++ ] = N
         }
8.   The variable N is derived as follows:
     –   If ( nOrigPbW + nOrigPbH ) is equal to 12, the following applies:
              N = initMergeCandList[ merge_idx[ xOrigP ][ yOrigP ] ]                                        (I-137)
     –   Otherwise, ( ( nOrigPbW + nOrigPbH ) is not equal to 12 ), the following applies:
              N = extMergeCandList[ merge_idx[ xOrigP ][ yOrigP ] ]                                         (I-138)
9.   When N is equal to Col, the following applies for X in the range of 0 to 1, inclusive:
     –   When AltRefFlagLX is equal to 1, refIdxLXCol is set equal to AltRefIdxLX.
10. When availableFlagVSP is equal to 1, N is equal to A1, and VspMcFlag[ xPb − 1 ][ yPb + nPbH − 1 ] is equal to
    1, N is set equal to VSP.
11. The variable subPbMotionFlag is derived as follows:




                                                                          Rec. ITU-T H.265 v8 (08/2021)        651
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 673 of 717 Page ID
                                                             #:1202

                 subPbMotionFlag = ( !DepthFlag && !DbbpFlag[ xCb ][ yCb ] && N = = IV )
                                                                            | | N = = VSP | | N = = T                      (I-139)
      12. Depending on the value of subPbMotionFlag, the following applies:
           –    If subPbMotionFlag is equal to 0, the following applies, for X in the range of 0 to 1, inclusive:
                    mvLX = mvLXN                                                                                           (I-140)
                    refIdxLX = refIdxLXN                                                                                   (I-141)
                    predFlagLX = predFlagLXN                                                                               (I-142)
           –    Otherwise (subPbMotionFlag is equal to 1), SubPbArrayPartSize is set equal to SubPbArrayPartSizeN and
                the following applies for X in the range of 0 to 1, inclusive:
                    mvLX = ( 0, 0 )                                                                                        (I-143)
                    SubPbArrayMvLX = SubPbArrayMvLXN                                                                       (I-144)
                    SubPbArrayMvCLX = SubPbArrayMvCLXN                                                                     (I-145)
                    refIdxLX = −1                                                                                          (I-146)
                    SubPbArrayRefIdxLX = SubPbArrayRefIdxLXN                                                               (I-147)
                    predFlagLX = 0                                                                                         (I-148)
                    SubPbArrayPredFlagLX = SubPbArrayPredFlagLXN                                                           (I-149)
           NOTE – When subPbMotionFlag is equal to 1, luma motion vectors, chroma motion vectors, reference indices, and prediction
           utilization flags are given in sub-block partition granularity in the arrays SubPbArrayPredFlagLX, SubPbArrayMvLX,
           SubPbArrayMvCLX, SubPbArrayRefIdxLX (with X in the range of 0 to 1, inclusive). Moreover, the width and height of the
           sub-block partitions is stored in the array SubPbArrayPartSize.

      13. When all of the following conditions are true, refIdxL1 is set equal to −1 and predFlagL1 is set equal to 0:
           –    predFlagL0 and predFlagL1 are equal to 1.
           –    ( nOrigPbW + nOrigPbH ) is equal to 12 or DbbpFlag[ xCb ][ yCb ] is equal to 1.
      14. The flag ivMcFlag is set equal to ( N = = IV | | N = = IVShift ).
      15. The flag vspMcFlag is set equal to ( N = = VSP ).

I.8.5.3.2.8      Derivation process for inter-view predicted merging candidates
Inputs to this process are:
–     a luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the top-left luma
      sample of the current picture,
–     two variables nPbW and nPbH specifying the width and the height of the current luma prediction block.
Outputs of this process are (with X in the range of 0 to 1, inclusive):
–     the availability flags availableFlagIV and availableFlagIVShift specifying whether the inter-view predicted and shifted
      inter-view predicted merging candidates are available,
–     the prediction list utilization flags predFlagLXIV and predFlagLXIVShift,
–     the reference indices refIdxLXIV and refIdxLXIVShift,
–     the motion vectors mvLXIV and mvLXIVShift.
The availability flags availableFlagIV and availableFlagIVShift are set equal to 0, and for X in the range of 0 to 1, inclusive,
the following applies:
–     The variables predFlagLXIV and predFlagLXIVShift are set equal to 0, the variables refIdxLXIV and
      refIdxLXIVShift are set equal to −1, and the motion vectors mvLXIV and mvLXIVShift are set equal to ( 0, 0 ).
The inter-view predicted merging candidate is derived by the following ordered steps:
      1.   Depending on the values of DbbpFlag[ xPb ][ yPb ] and DepthFlag, the following applies:
           –    If DbbpFlag[ xPb ][ yPb ] is equal to 0 and DepthFlag is equal to 0, the derivation process for sub-block
                partition motion vectors for an inter-layer predicted merging candidate as specified in clause I.8.5.3.2.9 is


652            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 674 of 717 Page ID
                                                          #:1203

              invoked with the luma location ( xPb, yPb ), the variables nPbW and nPbH, and the merging candidate
              indicator N equal to IV as inputs, and the outputs are the flag predFlagLXIV, the reference index refIdxLXIV,
              and the motion vector mvLXIV (with X in the range of 0 to 1, inclusive).
         –    Otherwise (DbbpFlag[ xPb ][ yPb ] is not equal to 0 or DepthFlag is equal to 1), the derivation process for
              motion vectors for an inter-view predicted merging candidate as specified in clause I.8.5.3.2.10 is invoked
              with the luma location ( xPb, yPb ), the variables nPbW and nPbH, and the disparity vector offset
              ( xOff, yOff ) equal to ( 0, 0 ) as inputs, and the outputs are the flag predFlagLXIV, the reference index
              refIdxLXIV, and the motion vector mvLXIV (with X in the range of 0 to 1, inclusive).
    2.   The availability flag availableFlagIV is set equal to ( predFlagL0IV | | predFlagL1IV ).
When DepthFlag is equal to 0, the shifted inter-view predicted merging candidate is derived by the following ordered steps:
    1.   The derivation process for motion vectors for an inter-view predicted merging candidate as specified in
         clause I.8.5.3.2.10 is invoked with the luma location ( xPb, yPb ), the variables nPbW and nPbH, and the disparity
         vector offset ( xOff, yOff ) equal to ( nPbW * 2, nPbH * 2 ) as inputs, and the outputs are the flag
         predFlagLXIVShift, the reference index refIdxLXIVShift, and the motion vector mvLXIVShift (with X in the
         range of 0 to 1, inclusive).
    2.   The availability flag availableFlagIVShift is set equal to ( predFlagL0IVShift | | predFlagL1IVShift ).

I.8.5.3.2.9    Derivation process for sub-block partition motion vectors for an inter-layer predicted merging
               candidate
Inputs to this process are:
–   a luma location ( xPb, yPb ) of the top-left sample of the current prediction luma block relative to the top-left luma
    sample of the current picture,
–   two variables nPbW and nPbH specifying the width and the height of the current prediction block,
–   a merging candidate indicator N.
Outputs of this process are (with X in the range of 0 to 1, inclusive):
–   the prediction utilization flag predFlagLXN,
–   the reference index refIdxLXN,
–   the motion vector mvLXN.
For X in the range of 0 to 1, inclusive, the variable predFlagLXN is set equal to 0, the variable refIdxLXN is set equal
to −1, the motion vector mvLXN is set equal to ( 0, 0 ).
The variables nSbW and nSbH specifying the width and height of the sub-block partitions and the luma location
( xSbDef, ySbDef ) of the default sub-block partition are derived as follows:
    subPbTmcSize = 1 << ( log2_texmc_sub_pb_size_minus3[ DepthFlag ] + 3 )                                             (I-150)
    subPbIvMcSize = 1 << ( log2_ivmc_sub_pb_size_minus3[ DepthFlag ] + 3 )                                             (I-151)
    minSize = ( N = = T ) ? subPbTmcSize : subPbIvMcSize                                                               (I-152)
    nSbW = ( nPbW % minSize != 0 | | nPbH % minSize != 0 ) ? nPbW : minSize                                            (I-153)
    nSbH = ( nPbW % minSize != 0 | | nPbH % minSize != 0 ) ? nPbH : minSize                                            (I-154)
    ( xSbDef, ySbDef ) = ( xPb + ( ( nPbW / nSbW ) / 2 ) * nSbW, yPb + ( ( nPbH / nSbH ) / 2 ) * nSbH )                (I-155)
Depending on the value of N, the variables predFlagLXN, refIdxLXN, and mvLXN are derived as follows:
–   If N is equal to IV, the derivation process for motion vectors for an inter-view predicted merging candidate as specified
    in clause I.8.5.3.2.10 is invoked with the luma location ( xSbDef, ySbDef ), the variables nSbW and nSbH, and the
    disparity vector offset ( xOff, yOff ) equal to ( 0, 0 ) as inputs, and the outputs are the flag predFlagLXN, the reference
    index refIdxLXN, and the motion vector mvLXN (with X in the range of 0 to 1, inclusive).
–   Otherwise (N is equal to T), the derivation process for motion vectors for the texture merge candidate as specified in
    clause I.8.5.3.2.11 is invoked with the luma location ( xSbDef, ySbDef ), and the variables nSbW and nSbH as inputs,
    and the outputs are the flags predFlagLXN, the reference index refIdxLXN, and the motion vector mvLXN (with X in
    the range of 0 to 1, inclusive).
When predFlagL0N or predFlagL1N is equal to 1, the following applies:



                                                                                Rec. ITU-T H.265 v8 (08/2021)            653
      Case 2:25-cv-03053               Document 1-7          Filed 04/07/25           Page 675 of 717 Page ID
                                                           #:1204

–     For yBlk in the range of 0 to ( nPbH / nSbH − 1 ), inclusive, the following applies:
      –   For xBlk in the range of 0 to ( nPbW / nSbW − 1 ), inclusive, the following applies:
          –    The luma location ( xSb, ySb ) of the current sub-block partition is derived as follows:
                    ( xSb, ySb ) = ( xPb + xBlk * nSbW, yPb + yBlk * nSbH )                                             (I-156)
          –    Depending on the value of N, the following applies:
               –    If N is equal to IV, the derivation process for motion vectors for an inter-view predicted merging
                    candidate as specified in clause I.8.5.3.2.10 is invoked with the luma location ( xSb, ySb ), the variables
                    nSbW and nSbH, and the disparity vector offset ( xOff, yOff ) equal to ( 0, 0 ) as inputs, and the outputs
                    are the flag spPredFlagLX[ xBlk ][ yBlk ], the reference index spRefIdxLX[ xBlk ][ yBlk ], and the
                    motion vector spMvLX[ xBlk ][ yBlk ] (with X in the range of 0 to 1, inclusive).
               –    Otherwise (N is equal to T), the derivation process for motion vectors for the texture merge candidate as
                    specified in clause I.8.5.3.2.11 is invoked with the luma location ( xSb, ySb ), and the variables nSbW
                    and nSbH as inputs, and the outputs are the flags spPredFlagLX[ xBlk ][ yBlk ], the reference index
                    spRefIdxLX[ xBlk ][ yBlk ], and the motion vector spMvLX[ xBlk ][ yBlk ] (with X in the range of 0 to
                    1, inclusive).
          –    When spPredFlagL0[ xBlk ][ yBlk ] and spPredFlagL1[ xBlk ][ yBlk ] are both equal to 0, the following
               applies for X in the range of 0 to 1, inclusive:
                    spPredFlagLX[ xBlk ][ yBlk ] = predFlagLXN                                                          (I-157)
                    spRefIdxLX[ xBlk ][ yBlk ] = refIdxLXN                                                              (I-158)
                    spMvLX[ xBlk ][ yBlk ] = mvLXN                                                                      (I-159)
–     For use in derivation processes of variables invoked later in the decoding process, the following assignments are made
      for x = 0..nPbW − 1 and y = 0..nPbH − 1:
      –   The variable SubPbArrayPartSizeN is derived as follows:
               SubPbArrayPartSizeN[ xPb + x ][ yPb + y ] = ( nSbW, nSbH )                                               (I-160)
      –   For X in the range of 0 to 1, inclusive, the following applies:
          –    The variables SubPbArrayPredFlagLX, SubPbArrayMvLX, and SubPbArrayRefIdxLX are derived as
               follows:
                    SubPbArrayPredFlagLXN[ xPb + x ][ yPb + y ] = spPredFlagLX[ x / nSbW ][ y / nSbH ]                  (I-161)
                    SubPbArrayRefIdxLXN[ xPb + x ][ yPb + y ] = spRefIdxLX[ x / nSbW ][ y / nSbH ]                      (I-162)
                    SubPbArrayMvLXN[ xPb + x ][ yPb + y ] = spMvLX[ x / nSbW ][ y / nSbH ]                              (I-163)
          –    The derivation process for chroma motion vectors as specified in clause 8.5.3.2.10 is invoked with
               SubPbArrayMvLXN[ xPb + x ][ yPb + y ] as input, and the output is SubPbArrayMvCLXN
               [ xPb + x ][ yPb + y ].

I.8.5.3.2.10    Derivation process for motion vectors for an inter-view predicted merging candidate
Inputs to this process are:
–     a luma location ( xBlk, yBlk ) of the top-left sample of the current luma prediction block or sub-block partition relative
      to the top-left luma sample of the current picture,
–     two variables nBlkW and nBlkH specifying the width and the height of the current luma prediction block or sub-block
      partition,
–     a disparity vector offset ( xOff, yOff ).
Outputs of this process are (with X in the range of 0 to 1, inclusive):
–     the prediction utilization flag predFlagLXInterView,
–     the reference index refIdxLXInterView,
–     the motion vector mvLXInterView.
For X in the range of 0 to 1, inclusive, the flag predFlagLXInterView is set equal to 0, the variable refIdxLXInterView is
set equal to −1, and the motion vector mvLXInterView is set equal to ( 0, 0 ).


654           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25         Page 676 of 717 Page ID
                                                          #:1205

The luma location ( xRef, yRef ) is derived as follows:
    dispVec[ 0 ] = DispRefVec[ xBlk ][ yBlk ][ 0 ] + xOff                                                            (I-164)
    dispVec[ 1 ] = DispRefVec[ xBlk ][ yBlk ][ 1 ] + yOff                                                            (I-165)
    xRefFull = xBlk + ( nBlkW >> 1 ) + ( ( dispVec[ 0 ] + 2 ) >> 2 )                                                 (I-166)
    yRefFull = yBlk + ( nBlkH >> 1 ) + ( ( dispVec[ 1 ] + 2 ) >> 2 )                                                 (I-167)
    xRef = Clip3( 0, pic_width_in_luma_samples − 1, ( xRefFull >> 3 ) << 3 )                                         (I-168)
    yRef = Clip3( 0, pic_height_in_luma_samples − 1, ( yRefFull >> 3 ) << 3 )                                        (I-169)
Let ivRefPic the picture with nuh_layer_id equal to ViewCompLayerId[ RefViewIdx[ xBlk ][ yBlk ] ][ DepthFlag ] in the
current access unit and let ivRefPb be the luma prediction block covering the luma location ( xRef, yRef ) in the picture
ivRefPic.
The luma location ( xIvRefPb, yIvRefPb ) is set equal to the location of the top-left sample of ivRefPb relative to the top-
left luma sample of the picture ivRefPic.
When ivRefPb is not coded in an intra prediction mode, the following applies for X in the range of 0 to ( slice_type = = B )
? 1 : 0, inclusive:
–   For k in the range of 0 to 1, inclusive, the following applies:
    –    Y is set equal to ( k = = 0 ) ? X : ( 1 − X ).
    –    The variables predFlagLYIvRef[ x ][ y ], mvLYIvRef[ x ][ y ], and refIdxLYIvRef[ x ][ y ] are set equal to
         PredFlagLY[ x ][ y ], MvLY[ x ][ y ], and RefIdxLY[ x ][ y ], respectively, of picture ivRefPic.
    –    The variable refPicListYIvRef is set equal to RefPicListY of the slice containing ivRefPb in picture ivRefPic.
    –    When predFlagLYIvRef[ xIvRefPb ][ yIvRefPb ] is equal to 1, the following applies for i in the range of 0 to
         num_ref_idx_lX_active_minus1, inclusive:
         –     When     PicOrderCnt( refPicListYIvRef[ refIdxLYIvRef[ xIvRefPb ][ yIvRefPb ] ] )       is    equal        to
               PicOrderCnt( RefPicListX[ i ] ) and predFlagLXInterView is equal to 0, the following applies:
                   predFlagLXInterView = 1                                                                           (I-170)
                   refIdxLXInterView = i                                                                             (I-171)
                   mvLXInterView = mvLYIvRef[ xIvRefPb ][ yIvRefPb ]                                                 (I-172)

I.8.5.3.2.11   Derivation process for motion vectors for the texture merge candidate
Inputs to this process are:
–   a luma location ( xSb, ySb ) of the top-left sample of the current luma sub-block partition relative to the top-left luma
    sample of the current picture,
–   two variables nSbW and nSbH specifying the width and the height of the current sub-block partition,
Outputs of this process are (with X in the range of 0 to 1, inclusive):
–   the prediction utilization flag predFlagLXT,
–   the reference index refIdxLXT,
–   the motion vector mvLXT.
For X in the range of 0 to 1, inclusive, the variable predFlagLXT is set equal to 0, the variable refIdxLXT is set equal to
−1, and the motion vector mvLX0T is set equal to ( 0, 0 ).
The texture luma location ( xRef, yRef ) is derived as follows:
    xRefFull = xSb + ( nSbW >> 1 )                                                                                   (I-173)
    yRefFull = ySb + ( nSbH >> 1 )                                                                                   (I-174)
    xRef = ( xRefFull >> 3 ) << 3                                                                                    (I-175)
    yRef = ( yRefFull >> 3 ) << 3                                                                                    (I-176)
Let textPb be the prediction block covering the luma sample location ( xRef, yRef ) in the picture TexturePic.



                                                                              Rec. ITU-T H.265 v8 (08/2021)            655
      Case 2:25-cv-03053              Document 1-7             Filed 04/07/25         Page 677 of 717 Page ID
                                                             #:1206

For X in the range of 0 to ( slice_type = = B ) ? 1 : 0, inclusive, the following applies:
–     The arrays textPredFlagLX[ x ][ y ], textRefIdxLX[ x ][ y ], and textMvLX[ x ][ y ] are set                  equal    to
      PredFlagLX[ x ][ y ], RefIdxLX[ x ][ y ], and MvLX[ x ][ y ], respectively, of the picture TexturePic.
–     The list textRefPicListX is set equal to RefPicListX of the slice containing textPb in the picture TexturePic.
–     When textPredFlagLX[ xRef ][ yRef ] is equal to 1, the following applies for i in the range of 0 to
      num_ref_idx_lX_active_minus1, inclusive:
      –   When PicOrderCnt( RefPicListX[ i ] ) is equal to PicOrderCnt( textRefPicListX[ textRefIdxLX ] ),
          ViewIdx( RefPicListX[ i ] ) is equal to ViewIdx( textRefPicListX[ textRefIdxLX ] ), and predFlagLXT is equal
          to 0, the following applies:
               predFlagLXT = 1                                                                                         (I-177)
               refIdxLXT = i                                                                                           (I-178)
               mvLXT[ 0 ] = ( textMvLX[ xRef ][ yRef ][ 0 ] + 2 ) >> 2                                                 (I-179)
               mvLXT[ 1 ] = ( textMvLX[ xRef ][ yRef ][ 1 ] + 2 ) >> 2                                                 (I-180)

I.8.5.3.2.12    Derivation process for disparity information merging candidates
Inputs to this process are:
–     a luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the top-left luma
      sample of the current picture,
–     two variables nPbW and nPbH specifying the width and the height of the current prediction block.
Outputs of this process are (with X in the range of 0 to 1, inclusive):
–     the flags availableFlagDI and availableFlagDIShift, specifying whether the disparity information merging candidate
      and the shifted disparity information candidate are available,
–     the prediction list utilization flags predFlagLXDI and predFlagLXDIShift,
–     the reference indices refIdxLXDI and refIdxLXDIShift,
–     the motion vectors mvLXDI and mvLXDIShift.
The variables availableFlagDI and availableFlagDIShift are set equal to 0, and for X in the range of 0 to 1, inclusive, the
following applies:
–     The variables predFlagLXDI and predFlagLXDIShift are set equal to 0, the variables refIdxLXDI and
      refIdxLXDIShift are set equal to −1, and the motion vectors mvLXDI and mvLXDIShift are set equal to ( 0, 0 ).
The disparity information merging candidate is derived as follows:
–     For X in the range of 0 to ( slice_type = = B ) ? 1 : 0, inclusive, the following applies:
      –   For i in the range of 0 to num_ref_idx_lX_active_minus1, inclusive, the following applies:
          –    When PicOrderCnt( RefPicListX[ i ] ) is equal to the PicOrderCntVal, ViewIdx( RefPicListX[ i ] ) is equal
               to RefViewIdx[ xPb ][ yPb ], and predFlagLXDI is equal to 0, the following applies:
                   availableFlagDI = 1                                                                                 (I-181)
                   predFlagLXDI = 1                                                                                    (I-182)
                   refIdxLXDI = i                                                                                      (I-183)
                   mvLXDI = ( DispRefVec[ xPb ][ yPb ][ 0 ], 0 )                                                       (I-184)
When availableFlagDI is equal to 1, the shifted disparity information merging candidate is derived as follows:
–     The variable availableFlagDIShift is set equal to 1.
–     The following applies for X in the range of 0 to 1, inclusive:
          predFlagLXDIShift = predFlagLXDI                                                                             (I-185)
          refIdxLXDIShift = refIdxLXDI                                                                                 (I-186)
          mvLXDIShift = predFlagLXDI ? ( mvLXDI[ 0 ] + 4, mvLXDI[ 1 ] ): ( 0, 0 )                                      (I-187)



656           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                  Document 1-7           Filed 04/07/25          Page 678 of 717 Page ID
                                                             #:1207

I.8.5.3.2.13      Derivation process for a view synthesis prediction merging candidate
Inputs to this process are:
–   a luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the top-left luma
    sample of the current picture,
–   two variables nPbW and nPbH specifying the width and the height of the current prediction block.
Outputs of this process are (with X in the range of 0 to 1, inclusive):
–   the availability flag availableFlagVSP specifying whether the view synthesis prediction merging candidate is
    available,
–   the prediction list utilization flag predFlagLXVSP,
–   the reference index refIdxLXVSP,
–   the motion vector mvLXVSP.
The variable availableFlagVSP is set equal to 0 and for X in the range of 0 to 1, inclusive, the following applies:
–   The variable predFlagLXVSP is set equal to 0, the variable refIdxLXVSP is set equal to −1, and the motion vector
    mvLXVSP is set equal to ( 0, 0 ).
For X in the range of 0 to ( slice_type = = B ? 1 : 0 ), inclusive, the following applies:
–   For i in the range of 0 to num_ref_idx_lX_active_minus1, inclusive, the following applies:
    –       When availableFlagVSP is equal to 0 and ViewIdx( RefPicListX[ i ] ) is equal to RefViewIdx[ xPb ][ yPb ], the
            following applies:
                 availableFlagVSP = 1                                                                                    (I-188)
                 predFlagLXVSP = 1                                                                                       (I-189)
                 refIdxLXVSP = i                                                                                         (I-190)
                 mvLXVSP = DispVec[ xPb ][ yPb ]                                                                         (I-191)
When availableFlagVSP is equal to 1 the following applies:
–   The derivation process for a depth or disparity sample array from a depth picture as specified in clause I.8.5.7 is
    invoked with the luma location ( xPb, yPb ), the variables nPbW and nPbH, the disparity vector DispVec[ xPb ][ yPb ],
    the reference view order index RefViewIdx[ xPb ][ yPb ], and the variable partIdc equal to 2 as inputs, and the outputs
    are the array disparitySamples of size (nPbW)x(nPbH), and the flag horSplitFlag.
–   For use in derivation processes of variables invoked later in the decoding process, the following assignments are made
    for x = 0..nPbW − 1 and y = 0..nPbH − 1:
    –       The variable SubPbArrayPartSizeVSP[ xPb + x ][ yPb + y ] is set equal to ( horSplitFlag ? ( 8, 4 ) : ( 4, 8 ) ).
    –       For X in the range of 0 to 1, inclusive, the following applies:
            –    The variables SubPbArrayPredFlagLXVSP, SubPbArrayMvLXVSP, and SubPbArrayRefIdxLXVSP are
                 derived as follows:
                     SubPbArrayPredFlagLXVSP[ xPb + x ][ yPb + y ] = predFlagLXVSP                                       (I-192)
                     SubPbArrayRefIdxLXVSP[ xPb + x ][ yPb + y ] = refIdxLXVSP                                           (I-193)
                     SubPbArrayMvLXVSP[ xPb + x ][ yPb + y ] =
                                predFlagLXVSP ? ( disparitySamples[ x ][ y ], 0 ) : ( 0, 0 )                             (I-194)
            –    When ChromaArrayType is not equal to 0, the derivation process for chroma motion vectors as specified in
                 clause 8.5.3.2.9 is invoked with SubPbArrayMvLXVSP[ xPb + x ][ yPb + y ] as input, and the output is
                 SubPbArrayMvCLXVSP[ xPb + x ][ yPb + y ].

I.8.5.3.3       Decoding process for inter prediction samples

I.8.5.3.3.1       General
Inputs to this process are:
–   a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
    luma sample of the current picture,


                                                                                  Rec. ITU-T H.265 v8 (08/2021)            657
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 679 of 717 Page ID
                                                           #:1208

–     a luma location ( xBl, yBl ) specifying the top-left sample of the current luma prediction block relative to the top-left
      sample of the current luma coding block,
–     a variable nCbS specifying the size of the current luma coding block,
–     two variables nPbW and nPbH specifying the width and the height of the luma prediction block,
–     the luma motion vectors mvL0 and mvL1,
–     when ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1,
–     the reference indices refIdxL0 and refIdxL1,
–     the prediction list utilization flags, predFlagL0 and predFlagL1.
Outputs of this process are:
–     an (nCbSL)x(nCbSL) array predSamplesL of luma prediction samples, where nCbSL is derived as specified below,
–     when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCb of chroma prediction samples
      for the component Cb, where nCbSwC and nCbShC are derived as specified below,
–     when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCr of chroma prediction samples
      for the component Cr, where nCbSwC and nCbShC are derived as specified below.
When DepthFlag is equal to 1, the following applies, for X in the range of 0 to 1, inclusive:
–     The variable mvLX is set equal to ( mvLX << 2 ).
–     When ChromaArrayType is not equal to 0, the variable mvCLX is set equal to ( mvCLX << 2 ).
The variable nCbSL is set equal to nCbS. When ChromaArrayType is not equal to 0, the variable nCbSwC is set equal to
nCbS / SubWidthC and the variable nCbShC is set equal to nCbS / SubHeightC.
1.    Let predSamplesL0L and predSamplesL1L be (nPbW)x(nPbH) arrays of predicted luma sample values and, when
      ChromaArrayType is not equal to 0, predSamplesL0Cb, predSamplesL1Cb, predSamplesL0Cr, and predSamplesL1Cr be
      (nPbW / SubWidthC)x(nPbH / SubHeightC) arrays of predicted chroma sample values.
2.    For X in the range of 0 to 1, inclusive, when predFlagLX is equal to 1, the following applies:
      –   When predFlagLX is equal to 1, the following applies:
          –    If iv_res_pred_weight_idx[ xCb ][ yCb ] is not equal to 0, the bilinear sample interpolation and residual
               prediction process as specified in clause I.8.5.3.3.3 is invoked with the luma locations ( xCb, yCb ),
               ( xBl, yBl ), the size of the current luma coding block nCbS, the width and the height of the current luma
               prediction block nPbW and nPbH, the prediction list utilization flags predFlagL0 and predFlagL1, the
               reference indices refIdxL0 and refIdxL1, the motion vectors mvL0 and mvL1, when ChromaArrayType is
               not equal to 0, the motion vectors mvCL0 and mvCL1, and the prediction list indication X as inputs, and the
               array predSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays predSamplesLXCb and
               predSamplesLXCr, as outputs.
          –    Otherwise (iv_res_pred_weight_idx[ xCb ][ yCb ] is equal to 0 ), the following applies:
               –   The reference picture consisting of an ordered two-dimensional array refPicLXL of luma samples and,
                   when ChromaArrayType is not equal to 0, two ordered two-dimensional arrays refPicLXCb and
                   refPicLXCr of chroma samples is derived by invoking the process specified in clause 8.5.3.3.2 with
                   refIdxLX as input.
               –   The array predSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays predSamplesLXCb
                   and predSamplesLXCr are derived by invoking the fractional sample interpolation process specified in
                   clause 8.5.3.3.3 with the luma locations ( xCb, yCb ) and ( xBl, yBl ), the luma prediction block width
                   nPbW, the luma prediction block height nPbH, the motion vectors mvLX and, when ChromaArrayType
                   is not equal to 0, mvCLX, and the reference arrays refPicLXL, refPicLXCb, and refPicLXCr as inputs.
3.    Depending on the value of IlluCompFlag[ xCb ][ yCb ], the array predSamplesL is derived as follows:
      –   If IlluCompFlag[ xCb ][ yCb ] is equal to 0, the following applies:
          –    The prediction samples inside the current luma prediction block, predSamplesL[ xL + xBl ][ yL + yBl ] with
               xL = 0..nPbW − 1 and yL = 0..nPbH − 1, are derived by invoking the weighted sample prediction process
               specified in clause 8.5.3.3.4 with the prediction block width nPbW, the prediction block height nPbH, and
               the sample arrays predSamplesL0L and predSamplesL1L, and the variables predFlagL0, predFlagL1,
               refIdxL0, refIdxL1, and cIdx equal to 0 as inputs.



658           Rec. ITU-T H.265 v8 (08/2021)
     Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 680 of 717 Page ID
                                                          #:1209

     –   Otherwise (IlluCompFlag[ xCb ][ yCb ] is equal to 1), the following applies:
         –    The prediction samples inside the current luma prediction block, predSamplesL[ xL + xBl ][ yL + yBl ] with
              xL = 0..nPbW − 1 and yL = 0..nPbH − 1, are derived by invoking the illumination compensated sample
              prediction process specified in clause I.8.5.3.3.2, with the luma location ( xCb, yCb ), the size of the current
              luma coding block nCbS, the luma location ( xBl, yBl ), the width and the height of the current luma
              prediction block nPbW and nPbH, the sample arrays predSamplesL0L and predSamplesL1L, the variables
              predFlagL0, predFlagL1, refIdxL0, refIdxL1, mvL0, mvL1 and cIdx equal to 0 as inputs.
4.   When ChromaArrayType is not equal to 0, depending on the values of IlluCompFlag[ xCb ][ yCb ] and nPbW, the
     arrays predSamplesCb, and predSamplesCr are derived as follows:
     –   If IlluCompFlag[ xCb ][ yCb ] is equal to 0 or nPbW is less than or equal to 8, the following applies:
         –    The prediction samples inside the current chroma component Cb prediction block,
              predSamplesCb[ xC + xBl / SubWidthC ][ yC + yBl / SubHeightC ] with xC = 0..nPbW / SubWidthC − 1 and
              yC = 0..nPbH / SubHeightC − 1 , are derived by invoking the weighted sample prediction process specified
              in clause 8.5.3.3.4 with the prediction block width nPbW set equal to nPbW / SubWidthC, the prediction
              block height nPbH set equal to nPbH / SubHeightC, the sample arrays predSamplesL0Cb and
              predSamplesL1Cb, and the variables predFlagL0, predFlagL1, refIdxL0, refIdxL1, and cIdx equal to 1 as
              inputs.
         –    The prediction samples inside the current chroma component Cr prediction block,
              predSamplesCr[ xC + xBl / SubWidthC ][ yC + yBl / SubHeightC ] with xC = 0..nPbW / SubWidthC − 1 and
              yC = 0..nPbH / SubHeightC − 1 , are derived by invoking the weighted sample prediction process specified
              in clause 8.5.3.3.4 with the prediction block width nPbW set equal to nPbW / SubWidthC, the prediction
              block height nPbH set equal to nPbH / SubHeightC, the sample arrays predSamplesL0Cr and
              predSamplesL1Cr, and the variables predFlagL0, predFlagL1, refIdxL0, refIdxL1, and cIdx equal to 2 as
              inputs.
     –   Otherwise (IlluCompFlag[ xCb ][ yCb ] is equal to 1 and nPbW is greater than 8), the following applies:
         –    The prediction samples inside the current chroma component Cb prediction block,
              predSamplesCb[ xC + xBl / SubWidthC ][ yC + yBl / SubHeightC ] with xC = 0..nPbW / SubWidthC − 1 and
              yC = 0..nPbH / SubHeightC − 1 , are derived by invoking the illumination compensated sample prediction
              process specified in clause I.8.5.3.3.2, with the luma location ( xCb, yCb ), the size of the current luma coding
              block nCbS, the chroma location ( xBl / SubWidthC, yBl / SubHeightC ), the width and the height of the
              current chroma prediction block ( nPbW / SubWidthC ) and ( nPbH / SubHeightC ), the sample arrays
              predSamplesL0Cb and predSamplesL1Cb, the variables predFlagL0, predFlagL1, refIdxL0, refIdxL1, mvCL0,
              mvCL1, and cIdx equal to 1 as inputs.
         –    The prediction samples inside the current chroma component Cr prediction block,
              predSamplesCr[ xC + xBl / SubWidthC ][ yC + yBl / SubHeightC ] with xC = 0..nPbW / SubWidthC − 1 and
              yC = 0..nPbH / SubHeightC − 1 , are derived by invoking the illumination compensated sample prediction
              process specified in clause I.8.5.3.3.2, with the luma location ( xCb, yCb ), the size of the current luma coding
              block nCbS, the chroma location ( xBl / SubWidthC, yBl / SubHeightC), the width and the height of the
              current chroma prediction block ( nPbW / SubWidthC ) and ( nPbH / SubHeightC ), the sample arrays
              predSamplesL0Cr and predSamplesL1Cr, the variables predFlagL0, predFlagL1, refIdxL0, refIdxL1, mvCL0,
              mvCL1, and cIdx equal to 2 as inputs.

I.8.5.3.3.2    Illumination compensated sample prediction process

I.8.5.3.3.2.1 General
Inputs to this process are:
–    a location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left sample
     of the current picture,
–    the size of current luma coding block nCbS,
–    a location ( xBl, yBl ) specifying the top-left sample of the current luma or chroma prediction block relative to the top-
     left sample of the current luma coding block,
–    two variables nPbW and nPbH specifying the width and height of the current luma or chroma prediction block,
–    two (nPbW)x(nPbH) arrays predSamplesL0 and predSamplesL1,
–    two prediction list utilization flags predFlagL0 and predFlagL1,



                                                                                Rec. ITU-T H.265 v8 (08/2021)            659
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25            Page 681 of 717 Page ID
                                                           #:1210

–     two reference indices refIdxL0 and refIdxL1,
–     two motion vector mvL0 and mvL1,
–     a colour component index cIdx.
Output of this process is an (nPbW)x(nPbH) array predSamples of prediction sample values.
The variables bitDepth, shift1, shift2, offset1, and offset2 are derived as follows:
      bitDepth = ( cIdx = = 0 ) ? BitDepthY : BitDepthC                                                                (I-195)
      shift1 = Max( 2, 14 − bitDepth )                                                                                 (I-196)
      shift2 = Max( 3, 15 − bitDepth )                                                                                 (I-197)
      offset1 = 1 << ( shift1 − 1 )                                                                                    (I-198)
      offset2 = 1 << ( shift2 − 1 )                                                                                    (I-199)
The derivation process for illumination compensation mode availability and parameters as specified in clause I.8.5.3.3.2.2
is invoked with the luma location ( xCb, yCb ), the size of the current luma coding block nCbS, the prediction list utilization
flags predFlagL0 and predFlagL1, the reference indices refIdxL0 and refIdxL1, the motion vectors mvL0 and mvL1, the
variable bitDepth, and the variable cIdx as inputs, and the outputs are the flags puIcFlagL0 and puIcFlagL1, the variables
icWeightL0 and icWeightL1, and the variables icOffsetL0 and icOffsetL1.
Depending on the value of predFlagL0 and predFlagL1, the prediction samples predSamples[ x ][ y ] with
x = 0..( nPbW − 1 ) and y = 0..( nPbH − 1 ) are derived as follows:
–     For X in the range of 0 to 1, inclusive, the following applies:
      –   When predFlagLX is equal to 1, the following applies:
               clipPredVal = Clip3( 0, ( 1 << bitDepth ) − 1, ( predSamplesLX[ x ][ y ] + offset1 ) >> shift1 )        (I-200)
               predValX = !puIcFlagLX ? clipPredVal :
               ( Clip3( 0, ( 1 << bitDepth ) − 1, ( clipPredVal * icWeightLX ) >> 5 ) + icOffsetLX )                   (I-201)
–     If predFlagL0 and predFlagL1 are equal to 1, the following applies:
          predSamples[ x ][ y ] = Clip3( 0, ( 1 << bitDepth ) − 1, ( predVal0 + predVal1 + offset2 ) >> shift2 )       (I-202)
–     Otherwise (predFlagL0 is equal to 0 or predFlagL1 is equal to 0), the following applies:
          predSamples[ x ][ y ] = predFlagL0 ? predVal0 : predVal1                                                     (I-203)

I.8.5.3.3.2.2 Derivation process for illumination compensation mode availability and parameters
Inputs to this process are:
–     a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
      luma sample of the current picture,
–     the size of the current luma coding block nCbS,
–     two prediction list utilization flags predFlagL0 and predFlagL1,
–     two reference indices refIdxL0 and refIdxL1,
–     two motion vectors mvL0 and mvL1,
–     a bit depth of samples bitDepth,
–     a variable cIdx specifying colour component index.
Outputs of this process are:
–     the flags puIcFlagL0 and puIcFlagL1 specifying whether illumination compensation is enabled,
–     the variables icWeightL0 and icWeightL1 specifying weights for illumination compensation,
–     the variables icOffsetL0 and icOffsetL1 specifying offsets for illumination compensation.
The variables puIcFlagL0 and puIcFlagL1 are set equal to 0, the variables icWeightL0 and icWeightL1 are set equal to 1,
and the variables icOffsetL0 and icOffsetL1 are set equal to 0.
The variables subWidth, subHeight, and the location ( xC, yC ) specifying the top-left sample of the current luma or chroma


660          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 682 of 717 Page ID
                                                          #:1211

coding block are derived as follows:
    subWidth = ( cIdx = = 0 ) ? 1 : SubWidthC                                                                          (I-204)
    subHeight = ( cIdx = = 0 ) ? 1 : SubHeightC                                                                        (I-205)
    ( xC, yC ) = ( xCb / subWidth, yCb / subHeight )                                                                   (I-206)
The variable availFlagCurAboveRow specifying the availability of above neighbouring row samples is derived by invoking
the availability derivation process for a block in z-scan order as specified in clause 6.4.1 with the location ( xCurr, yCurr )
set equal to ( xCb, yCb ) and the neighbouring location ( xN, yN ) set equal to ( xCb, yCb − 1 ) as inputs, and the output is
assigned to availFlagCurAboveRow.
The variable availFlagCurLeftCol specifying the availability of left neighbouring column samples is derived by invoking
the availability derivation process for a block in z-scan order as specified in clause 6.4.1 with the location ( xCurr, yCurr )
set equal to ( xCb, yCb ) and the neighbouring location ( xN, yN ) set equal to ( xCb − 1, yCb ) as inputs, and the output is
assigned to availFlagCurLeftCol.
When availFlagCurAboveRow is equal to 1 or availFlagCurLeftCol is equal to 1, the following applies:
    1.   Depending on the value of cIdx, the variable curRecSamples specifying the reconstructed picture samples before
         deblocking filter of the current picture is derived as follows:
             curRecSamples = ( cIdx = = 0 ) ? SL : ( ( cIdx = = 1 ) ? SCb : SCr )                                      (I-207)
    2.   For X in the range of 0 to 1, inclusive, when predFlagLX is equal to 1, the following applies:
         –   Let refPicLX be the picture RefPicListX[ refIdxLX ].
         –   When ViewIdx( refPicLX ) is not equal to ViewIdx, the following applies:
             –    The variable puIcFlagLX is set equal to 1.
             –    The luma location ( xRefBlkLX, yRefBlkLX ) specifying the top-left sample of the reference block in
                  the picture refPicLX is derived as follows:
                       xRefBlkLX = xC + ( ( mvLX[ 0 ] + ( cIdx ? 4 : 2 ) ) >> ( 2 + ( cIdx ? 1 : 0 ) ) )               (I-208)
                       yRefBlkLX = yC + ( ( mvLX[ 1 ] + ( cIdx ? 4 : 2 ) ) >> ( 2 + ( cIdx ? 1 : 0 ) ) )               (I-209)
             –    Depending on the value of cIdx, the variable refRecSamplesLX specifying the reconstructed picture
                  samples of the picture refPicLX is derived as follows:
                  –    If cIdx is equal to 0, refRecSamplesLX is set equal to reconstructed picture sample array SL of picture
                       refPicLX.
                  –    Otherwise, if cIdx is equal to 1, refRecSamplesLX is set equal to the reconstructed chroma sample
                       array SCb of picture refPicLX.
                  –    Otherwise (cIdx is equal to 2), refRecSamplesLX is set equal to the reconstructed chroma sample
                       array SCr of picture refPicLX.
    3.   The lists curSampleList, refSampleList0, and refSampleList1, specifying the neighbouring samples in pictures
         CurrPic, refPicL0, and refPicL1, respectively, are derived as follows:
         –   The variable numSamples specifying the number of elements of curSampleList, refSampleList0, and
             refSampleList1 is set equal to 0.
         –   For curNbColFlag in the range of 0 to 1, inclusive, the following applies:
             –    When ( curNbColFlag ? availFlagCurLeftCol : availFlagCurAboveRow ) is equal to 1, the following
                  applies, for i in the range of 0 to ( nCbS / ( curNbColFlag ? subHeight : subWidth ) ) − 1, inclusive:
                  –    The variables xOff and yOff are derived as follows:
                           xOff = curNbColFlag ? −1: i                                                                 (I-210)
                           yOff = curNbColFlag ? i : −1                                                                (I-211)
                  –    For X in the range of 0 to 1, inclusive, when puIcFlagLX is equal to 1, the following applies:
                           xP = Clip3( 0, ( pic_width_in_luma_samples / subWidth ) − 1, xRefBlkLX + xOff )             (I-212)
                           yP = Clip3( 0, ( pic_height_in_luma_samples / subHeight ) − 1, yRefBlkLX + yOff )           (I-213)



                                                                                Rec. ITU-T H.265 v8 (08/2021)            661
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25         Page 683 of 717 Page ID
                                                           #:1212

                              refSampleListLX[ numSamples ] = refRecSamplesLX[ xP ][ yP ]                            (I-214)
                    –   The variables curSampleList and numSamples are modified as follows:
                              curSampleList[ numSamples++ ] = curRecSamples[ xC + xOff ][ yC + yOff ]                (I-215)
      4.   For X in the range of 0 to 1, inclusive, when puIcFlagLX is equal to 1, icWeightLX and icOffsetLX are modified
           as follows:
           –    The derivation process for illumination compensation parameters as specified in clause I.8.5.3.3.2.3 is
                invoked, with the list of neighbouring samples in the current picture curSampleList, the list of neighbouring
                samples in the reference picture refSampleListX, the number of neighbouring samples numSamples, the
                variable bitDepth, and the variable cIdx as inputs, and the variables icWeightLX and icOffsetLX as outputs.

I.8.5.3.3.2.3 Derivation process for illumination compensation parameters
Inputs to this process are:
–     a list curSampleList specifying the current neighbouring samples,
–     a list refSampleList specifying the reference neighbouring samples,
–     a variable numSamples specifying the number of elements of curSampleList and refSampleList,
–     a variable bitDepth specifying the bit depth of samples,
–     a variable cIdx specifying colour component index.
Outputs of this process are:
–     the variable icWeight specifying a weight for illumination compensation,
–     the variable icOffset specifying an offset for illumination compensation.
The variable precShift is set equal to Max( 0, bitDepth − 12 ).
The variables sumRef and sumCur are set equal to 0 and the following applies for i in the range of 0 to
( numSamples / 2 − 1 ), inclusive:
      sumRef += refSampleList[ 2 * i ]                                                                               (I-216)
      sumCur += curSampleList[ 2 * i ]                                                                               (I-217)
The variables avgShift and avgOffset are derived as follows:
      avgShift = Log2( numSamples / 2 )                                                                              (I-218)
      avgOffset = 1 << ( avgShift − 1 )                                                                              (I-219)
Depending on the value of cIdx, the variables icWeight and icOffset are derived as follows:
–     If cIdx is equal to 0, the following applies:
      –    The variables sumRefSquare and sumProdRefCur are set equal to 0, and the following applies for i in the range
           of 0 to ( numSamples / 2 − 1 ), inclusive:
                sumRefSquare += ( refSampleList[ 2 * i ] * refSampleList[ 2 * i ] ) >> precShift                     (I-220)
                sumProdRefCur += ( refSampleList[ 2 * i ] * curSampleList[ 2 * i ] ) >> precShift                    (I-221)
      –    The variables numerDiv and denomDiv are derived as follows:
                denomDiv = ( ( sumRefSquare + ( sumRefSquare >> 7 ) ) << avgShift )
                                        − ( ( sumRef * sumRef ) >> precShift )                                       (I-222)
                numerDiv = Clip3( 0, 2 * denomDiv, ( ( sumProdRefCur + ( sumRefSquare >> 7 ) ) << avgShift )
                                         − ( ( sumRef * sumCur ) >> precShift ) )                            (I-223)
      –    The variables shiftNumer and shiftDenom are derived as follows:
                shiftDenom = Max( 0, Floor( Log2( Abs( denomDiv ) ) ) − 5 )                                          (I-224)
                shiftNumer = Max( 0, shiftDenom − 12 )                                                               (I-225)
      –    The variables sNumerDiv and sDenomDiv are derived as follows:
                sDenomDiv = denomDiv >> shiftDenom                                                                   (I-226)


662            Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7             Filed 04/07/25         Page 684 of 717 Page ID
                                                             #:1213

                sNumerDiv = numerDiv >> shiftNumer                                                                        (I-227)
    –    The value of variable divCoeff is derived from Table I.3 depending on the value of sDenomDiv, and the variables
         icWeight and icOffset are derived as follows:
                icWeight = ( sNumerDiv * divCoeff ) >> ( shiftDenom − shiftNumer + 10 )                                   (I-228)
                icOffset = ( sumCur − ( ( icWeight * sumRef ) >> 5 ) + avgOffset ) >> avgShift                            (I-229)
–   Otherwise (cIdx is not equal to 0), the following applies:
         icWeight = 32                                                                                                    (I-230)
         icOffset = ( sumCur − sumRef + avgOffset ) >> avgShift                                                           (I-231)

                               Table I.3 – Specification of divCoeff depending on sDenomDiv
    sDenomDiv          0        1       2       3      4        5       6        7       8       9       10         11     12
     divCoeff          0      32768   16384   10923   8192     6554   5461     4681    4096     3641    3277    2979      2731
    sDenomDiv         13        14     15      16      17       18      19      20      21       22      23         24     25
     divCoeff        2521      2341   2185    2048    1928     1820   1725     1638    1560     1489    1425    1365      1311
    sDenomDiv         26        27     28      29      30       31      32      33      34       35      36         37     38
     divCoeff        1260      1214   1170    1130    1092     1057   1024     993      964     936     910         886   862
    sDenomDiv         39        40     41      42      43       44      45      46      47       48      49         50     51
     divCoeff         840      819     799     780    762      745     728     712      697     683     669         655   643
    sDenomDiv         52        53     54      55      56       57      58      59      60       61      62         63
     divCoeff         630      618     607     596    585      575     565     555      546     537     529         520



I.8.5.3.3.3     Bilinear sample interpolation and residual prediction process

I.8.5.3.3.3.1 General
The process is only invoked when iv_res_pred_weight_idx[ xCb ][ yCb ] is in not equal to 0.
Inputs to this process are:
–   a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
    luma sample of the current picture,
–   a luma location ( xBl, yBl ) specifying the top-left sample of the current luma prediction block relative to the top-left
    sample of the current luma coding block,
–   a variable nCbS specifying the size of the current luma coding block,
–   two variables nPbW and nPbH specifying the width and the height of the current luma prediction block,
–   two prediction list utilization flags predFlagL0 and predFlagL1,
–   two reference indices refIdxL0 and refIdxL1,
–   two motion vectors mvL0 and mvL1,
–   when ChromaArrayType is not equal to 0, two motion vectors mvCL0 and mvCL1,
–   a prediction list indication X.
Outputs of this process are:
–   the (nPbW)x(nPbH) array predSamplesLXL,
–   when ChromaArrayType is not equal to 0, the (nPbW / SubWidthC)x(nPbH / SubHeightC) arrays predSamplesLXCb
    and predSamplesLXCr.
The location ( xPb, yPb ) is derived as follows:
    xPb = xCb + xBl                                                                                                       (I-232)
    yPb = yCb + yBl                                                                                                       (I-233)
The prediction list indication variable Y is set equal to ( 1 − X ) and the variable availFlag is set equal to 0.


                                                                                 Rec. ITU-T H.265 v8 (08/2021)              663
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 685 of 717 Page ID
                                                           #:1214

The variable ivRefFlagLX is set equal to ( DiffPicOrderCnt( CurrPic, RefPicListX[ refIdxLX ] ) = = 0 ) and the variable
ivRefFlagLY is set equal to predFlagLY ? ( DiffPicOrderCnt( CurrPic, RefPicListY[ refIdxLY ] ) = = 0 ) : 0.
Depending on the values of ivRefFlagLX, ivRefFlagLY, and RpRefIdxLX, the following applies:
–     If ivRefFlagLX is equal to 0, the variable availFlag is set equal to 1, the variable refIdxLX is set equal to RpRefIdxLX,
      and the residual prediction motion vector scaling process as specified in clause I.8.5.3.3.3.4 is invoked with the
      prediction list indication variable equal to X, the motion vector mvLX, and the picture RefPicListX[ refIdxLX ] as
      inputs, and the modified motion vector mvLX as output.
–     Otherwise (when ivRefFlagLX is equal to 1), the following applies:
      –   If predFlagLY is equal to 1 and ivRefFlagLY is equal to 0, the following applies:
          –    The variable availFlag is set equal to 1.
          –    The residual prediction motion vector scaling process as specified in clause I.8.5.3.3.3.4 is invoked with the
               prediction list indication variable equal to Y, the motion vector mvLY, and the picture
               RefPicListY[ refIdxLY ] as inputs, and the modified motion vector mvLY as output.
          –    The motion vector mvT is set equal to mvLY and the prediction list indication variable Z is set equal to Y.
      –   Otherwise (predFlagLY is equal to 0 or ivRefFlagLY is equal to 1), the following applies:
          –    The variable W is set equal to ( predFlagLY && ivRefFlagLY ) ? 0 : X.
          –    The derivation process for a motion vector from a reference block for residual prediction as specified in clause
               I.8.5.3.3.3.5 is invoked with the luma location ( xPb, yPb ), the variables nPbW and nPbH, the picture
               RefPicListW[ refIdxLW ], and the motion vector mvLW as inputs, and the flag availFlag, the motion vector
               mvT, and the prediction list utilization variable Z as outputs.
          –    When availFlag is equal to 0 and RpRefPicAvailFlagLW is equal to 1, availFlag is set equal to 1, mvT is set
               equal to ( 0, 0 ), and Z is set equal to W.
When ChromaArrayType is not equal to 0, the derivation process for chroma motion vectors in clause 8.5.3.2.10 is invoked
with mvLX as input, and the output being mvCLX.
The array predSamplesLXL, and, when ChromaArrayType is not equal to 0, the arrays predSamplesLXCb and
predSamplesLXCr are derived as follows:
–     The reference picture consisting of an ordered two-dimensional array refPicLXL of luma samples and, when
      ChromaArrayType is not equal to 0, two ordered two-dimensional arrays refPicLXCb and refPicLXCr of chroma
      samples, are derived by invoking the reference picture selection process as specified in clause 8.5.3.3.2 with refIdxLX
      as input.
–     The array predSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays predSamplesLXCb and
      predSamplesLXCr, are derived by invoking the bilinear sample interpolation process specified in clause I.8.5.3.3.3.2
      with the luma locations ( xCb, yCb ) and ( xBl, yBl ), the luma prediction block width nPbW, the luma prediction
      block height nPbH, the motion vector mvLX, and, when ChromaArrayType is not equal to 0, the motion vector
      mvCLX, the reference array refPicLXL and, when ChromaArrayType is not equal to 0, the arrays refPicLXCb and
      refPicLXCr as inputs.
When one of the following conditions is true, availFlag is set equal to 0:
–     ivRefFlagLX is equal to 0 and RefRpRefAvailFlagLX[ RefViewIdx[ xPb ][ yPb ] ] is equal to 0.
–     ivRefFlagLX is equal to 1 and RefRpRefAvailFlagLZ[ ViewIdx( RefPicListX[ refIdxLX ] ) ] is equal to 0.
When availFlag is equal to 1, the following applies:
–     Depending on the value of ivRefFlagLX, the variables rpPic, rpRefPic, and mvRp are derived as follows:
      –   If ivRefFlagLX is equal to 0, the following applies:
          –    Let rpPic be the picture with PicOrderCnt( rpPic ) equal to PicOrderCntVal and nuh_layer_id equal to
               ViewCompLayerId[ RefViewIdx[ xPb ][ yPb ] ][ DepthFlag ].
          –    Let     rpRefPic      be     the    picture     with      PicOrderCnt( rpRefPic )    equal                   to
               PicOrderCnt( RefPicListX[ RpRefIdxLX ] )        and          nuh_layer_id         equal                      to
               ViewCompLayerId[ RefViewIdx[ xPb ][ yPb ] ][ DepthFlag ].
          –    The variable mvRp is set equal to DispVec[ xPb ][ yPb ].



664           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053             Document 1-7           Filed 04/07/25           Page 686 of 717 Page ID
                                                        #:1215

    –   Otherwise (ivRefFlagLX is equal to 1), the following applies:
         –   Let rpPic be the picture RefPicListZ[ RpRefIdxLZ ].
         –   Let rpRefPic be the picture with PicOrderCnt( rpRefPic ) equal to PicOrderCnt( rpPic ) and nuh_layer_id
             equal to ViewCompLayerId[ ViewIdx( RefPicListX[ refIdxLX ] ) ][ DepthFlag ].
         –   The variable mvRp is set equal to mvT.
–   When ChromaArrayType is not equal to 0, the derivation process for chroma motion vectors in clause 8.5.3.2.10 is
    invoked with mvRp as input, and the output being mvRpC.
–   The array rpSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays rpSamplesLXCb and
    rpSamplesLXCr are derived as follows:
    –   Let the reference sample array rpPicLXL correspond to the decoded sample array SL derived in clause 8.7 for the
        previously decoded picture rpPic.
    –   When ChromaArrayType is not equal to 0, let the reference sample arrays rpPicLXCb and rpPicLXCr correspond
        to the decoded sample arrays SCb and SCr, respectively, derived in clause 8.7 for the previously decoded picture
        rpPic.
    –   The array rpSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays rpSamplesLXCb and
        rpSamplesLXCr are derived by invoking the bilinear sample interpolation process specified in clause I.8.5.3.3.3.2
        with the luma locations ( xCb, yCb ) and ( xBl, yBl ), the luma prediction block width nPbW, the luma prediction
        block height nPbH, the motion vectors mvLX equal to mvRp, and, when ChromaArrayType is not equal to 0, the
        motion vector mvCLX equal to mvRpC, the reference array rpPicLXL and, when ChromaArrayType is not equal
        to 0, the arrays rpPicLXCb and rpPicLXCr as inputs.
–   The array rpRefSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays rpRefSamplesLXCb and
    rpRefSamplesLXCr are derived as follows:
    –   Let the reference sample array rpRefPicLXL correspond to the decoded sample array SL derived in clause 8.7 for
        the previously decoded picture rpRefPic.
    –   When ChromaArrayType is not equal to 0, let the reference sample arrays rpRefPicLXCb and rpRefPicLXCr
        correspond to the decoded sample arrays SCb and SCr, respectively, derived in clause 8.7 for the previously decoded
        picture rpRefPic.
    –   The array rpRefSamplesLXL and, when ChromaArrayType is not equal to 0, the arrays rpRefSamplesLXCb and
        rpRefSamplesLXCr are derived by invoking the bilinear sample interpolation process specified in clause
        I.8.5.3.3.3.2 with the luma locations ( xCb, yCb ) and ( xBl, yBl ), the luma prediction block width nPbW, the
        luma prediction block height nPbH, the motion vector mvLX equal to ( mvLX + mvRp ), and, when
        ChromaArrayType is not equal to 0, the motion vector mvCLX equal to ( mvCLX + mvRpC ), the reference
        arrays with rpRefPicLXL, and, when ChromaArrayType is not equal to 0, the arrays rpRefPicLXCb and
        rpRefPicLXCr as inputs.
–   The variable shiftVal is set equal to ( iv_res_pred_weight_idx[ xCb ][ yCb ] − 1 ).
–   The modified prediction samples predSamplesLXL[ x ][ y ] with x = 0..( nPbW ) − 1 and y = 0..( nPbH ) − 1 are
    derived as follows:
         predSamplesLXL[ x ][ y ] = predSamplesLXL[ x ][ y ] +
                      ( ( rpSamplesLXL[ x ][ y ] − rpRefSamplesLXL[ x ][ y ] ) >> shiftVal )                       (I-234)
–   When ChromaArrayType is not equal to 0 and nPbW is greater than 8, the following applies:
    –   The modified prediction samples predSamplesLXCb[ x ][ y ] with x = 0..( nPbW / SubWidthC ) − 1 and
        y = 0..( nPbH / SubHeightC ) − 1 are derived as follows:
             predSamplesLXCb[ x ][ y ] = predSamplesLXCb[ x ][ y ] +
                      ( ( rpSamplesLXCb[ x ][ y ] − rpRefSamplesLXCb[ x ][ y ] ) >> shiftVal )                     (I-235)
    –   The modified prediction samples predSamplesLXCr[ x ][ y ] with x = 0..( nPbW / SubWidthC ) − 1 and
        y = 0..( nPbH / SubHeightC ) − 1 are derived as follows:
             predSamplesLXCr[ x ][ y ] = predSamplesLXCr[ x ][ y ] +
                       ( ( rpSamplesLXCr[ x ][ y ] − rpRefamplesLXCr[ x ][ y ] ) >> shiftVal )                     (I-236)

I.8.5.3.3.3.2 Bilinear sample interpolation process
The specifications in clause 8.5.3.3.3.1 apply with the following modifications:


                                                                             Rec. ITU-T H.265 v8 (08/2021)            665
      Case 2:25-cv-03053               Document 1-7            Filed 04/07/25            Page 687 of 717 Page ID
                                                             #:1216

–     All invocations of the process specified in clause 8.5.3.3.3.2 are replaced with invocations of the process specified in
      clause I.8.5.3.3.3.3 with chromaFlag equal to 0 as additional input.
–     All invocations of the process specified in clause 8.5.3.3.3.3 are replaced with invocations of the process specified in
      clause I.8.5.3.3.3.3 with chromaFlag equal to 1 as additional input.

I.8.5.3.3.3.3 Bilinear luma and chroma sample interpolation process
Inputs to this process are:
–     a location in full-sample units ( xInt, yInt ),
–     a location offset in fractional-sample units ( xFrac, yFrac ),
–     a sample reference sample array refPicLX,
–     a flag chromaFlag.
Output of this process is a predicted sample value predSampleLX.
Depending on the value of chromaFlag, the following applies:
–     If chromaFlag is equal 0, the following applies:
      –   The variables xFrac and yFrac are set equal to ( xFrac << 1 ) and ( yFrac << 1 ), respectively.
      –   The variables picWidth and picHeight                   are    set    equal    to   pic_width_in_luma_samples          and
          pic_height_in_luma_samples, respectively.
–     Otherwise (chromaFlag is equal to 1), the variables picWidth and picHeight are set equal to PicWidthInSamplesC and
      PicHeightInSamplesC, respectively.
In Figure 8-5, the positions labelled with upper-case letters Bi, j within shaded blocks represent samples at full-sample
locations inside the given two-dimensional array refPicLX of samples. These samples may be used for generating the
predicted sample value predSampleLX. The locations ( xBi, j, yBi, j ) for each of the corresponding samples Bi, j inside the
given array refPicLX of samples are derived as follows:
      xBi, j = Clip3( 0, picWidth − 1, xInt + i )                                                                           (I-237)
      yBi, j = Clip3( 0, picHeight − 1, yInt + j )                                                                          (I-238)
The positions labelled with lower-case letters within un-shaded blocks represent samples at eighth-pel sample fractional
locations. The location offset in fractional-sample units ( xFrac, yFrac ) specifies which of the generated samples at full-
sample and fractional-sample locations is assigned to the predicted sample value predSampleLX. This assignment is as
specified in Table 8-9, with xFracC, yFracC, and predSampeLXC replaced by xFrac, yFrac, and predSampleLX,
respectively. The output is the value of predSampleLX.
The variables shift1, shift2, and shift3 are derived as follows:
–     The variable bitDepth is set equal to chromaFlag ? BitDepthC : BitDepthY.
–     The variable shift1 is set equal to Min( 4, bitDepth − 8 ), the variable shift2 is set equal to 6, and the variable shift3 is
      set equal to Max( 2, 14 − bitDepth ).
Given the samples Bi, j at full-sample locations ( xBi, j, yBi, j ), the samples ab0,0 to hh0,0 at fractional sample positions are
derived as follows:
–     The samples labelled ab0,0, ac0,0, ad0,0, ae0,0, af0,0, ag0,0, and ah0,0 are derived by applying a 2-tap filter to the nearest
      integer position samples as follows:
          ab0,0 = ( 56 * B0,0 + 8 * B1,0) >> shift1                                                                         (I-239)
          ac0,0 = ( 48 * B0,0 + 16 * B1,0) >> shift1                                                                        (I-240)
          ad0,0 = ( 40 * B0,0 + 24 * B1,0) >> shift1                                                                        (I-241)
          ae0,0 = ( 32 * B0,0 + 32 * B1,0 ) >> shift1                                                                       (I-242)
          af0,0 = ( 24 * B0,0 + 40 * B1,0 ) >> shift1                                                                       (I-243)
          ag0,0 = ( 16 * B0,0 + 48 * B1,0 ) >> shift1                                                                       (I-244)
          ah0,0 = ( 8 * B0,0 + 56 * B1,0 ) >> shift1                                                                        (I-245)
–     The samples labelled ba0,0, ca0,0, da0,0, ea0,0, fa0,0, ga0,0, and ha0,0 are derived by applying a 2-tap filter to the nearest


666          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053               Document 1-7            Filed 04/07/25           Page 688 of 717 Page ID
                                                           #:1217

    integer position samples as follows:
         ba0,0 = ( 56 * B0,0 + 8 * B0,1 ) >> shift1                                                                      (I-246)
         ca0,0 = ( 48 * B0,0 + 16 * B0,1 ) >> shift1                                                                     (I-247)
         da0,0 = ( 40 * B0,0 + 24 * B0,1 ) >> shift1                                                                     (I-248)
         ea0,0 = ( 32 * B0,0 + 32 * B0,1 ) >> shift1                                                                     (I-249)
         fa0,0 = ( 24 * B0,0 + 40 * B0,1 ) >> shift1                                                                     (I-250)
         ga0,0 = ( 16 * B0,0 + 48 * B0,1 ) >> shift1                                                                     (I-251)
         ha0,0 = ( 8 * B0,0 + 56 * B0,1 ) >> shift1                                                                      (I-252)
–   The samples labelled bX0,0, cX0,0, dX0,0, eX0,0, fX0,0, gX0,0, and hX0,0 for X being replaced by b, c, d, e, f, g, and h,
    respectively, are derived by applying a 2-tap filter to the intermediate values aX0,i with i = 0..1 in the vertical direction
    as follows:
         bX0,0 = ( 56 * aX0,0 + 8 * aX0,1 ) >> shift2                                                                    (I-253)
         cX0,0 = ( 48 * aX0,0 + 16 * aX0,1 ) >> shift2                                                                   (I-254)
         dX0,0 = ( 40 * aX0,0 + 24 * aX0,1 ) >> shift2                                                                   (I-255)
         eX0,0 = ( 32 * aX0,0 + 32 * aX0,1 ) >> shift2                                                                   (I-256)
         fX0,0 = ( 24 * aX0,0 + 40 * aX0,1 ) >> shift2                                                                   (I-257)
         gX0,0 = ( 16 * aX0,0 + 48 * aX0,1 ) >> shift2                                                                   (I-258)
         hX0,0 = ( 8 * aX0,0 + 56 * aX0,1 ) >> shift2                                                                    (I-259)

I.8.5.3.3.3.4 Residual prediction motion vector scaling process
Inputs to this process are:
–   a prediction list indication variable X,
–   a motion vector mvLX,
–   a reference picture (associated with the motion vector mvLX) refPicLX.
Output of this process is a scaled motion vector mvLX.
The motion vector mvLX is scaled as follows:
    tx = ( 16384 + ( Abs( td ) >> 1 ) ) / td                                                                             (I-260)
    distScaleFactor = Clip3( −4096, 4095, ( tb * tx + 32 ) >> 6 )                                                        (I-261)
    mv =      Clip3( −32768, 32767, Sign( distScaleFactor * mvLX ) *
              ( ( Abs( distScaleFactor * mvLX ) + 127 ) >> 8 ) )                                                         (I-262)
where td and tb are derived as:
    td = Clip3( −128, 127, DiffPicOrderCnt( CurrPic, refPicLX ) )                                                        (I-263)
    tb = Clip3( −128, 127, DiffPicOrderCnt( CurrPic, RefPicListX[ RpRefIdxLX ] ) )                                       (I-264)

I.8.5.3.3.3.5 Derivation process for a motion vector from a reference block for residual prediction
Inputs to this process are:
–   a luma location ( xPb, yPb ) of the top-left sample of the current luma prediction block relative to the top-left luma
    sample of the current picture,
–   two variables nPbW and nPbH specifying the width and the height of the current luma prediction block,
–   a reference picture refPic,
–   a disparity vector dispVec.
Outputs of this process are:
–   a flag availFlag,



                                                                                 Rec. ITU-T H.265 v8 (08/2021)             667
      Case 2:25-cv-03053                Document 1-7         Filed 04/07/25           Page 689 of 717 Page ID
                                                           #:1218

–     a motion vector mvT,
–     a prediction list indication variable Y.
The flag availFlag is set equal to 0, the motion vector mvT is set equal to ( 0, 0 ), and the prediction list indication variable
Y is set equal to 0.
The reference luma location ( xRef, yRef ) in refPic is derived as follows:
      xRefFull = xPb + ( nPbW >> 1 ) + ( ( dispVec[ 0 ] + 2 ) >> 2 )                                                     (I-265)
      yRefFull = yPb + ( nPbH >> 1 ) + ( ( dispVec[ 1 ] + 2 ) >> 2 )                                                     (I-266)
      xRef = Clip3( 0, pic_width_in_luma_samples − 1, ( xRefFull >> 3 ) << 3 )                                           (I-267)
      yRef = Clip3( 0, pic_height_in_luma_samples − 1, ( yRefFull >> 3 ) << 3 )                                          (I-268)
Let refPb be the luma prediction block covering the luma position ( xRef, yRef ) in the picture refPic.
The variable cuPredModeRef[ x ][ y ] is set equal to CuPredMode[ x ][ y ] of the picture refPic.
When cuPredModeRef[ xRef ][ yRef ] is equal to MODE_SKIP or MODE_INTER, the following applies for X in the
range of 0 to 1, inclusive:
–     The variables predFlagRef[ x ][ y ], mvRef[ x ][ y ], and refIdxRef[ x ][ y ] are set equal to PredFlagLX[ x ][ y ],
      MvLX[ x ][ y ], and RefIdxLX[ x ][ y ], respectively, of picture refPic.
–     The variable refPicListRef is set equal to RefPicListX of the slice containing refPb in the picture refPic.
–     When        availFlag     is     equal     to    0,     predFlagRef[ xRef ][ yRef ]         is   equal     to    1,
      DiffPicOrderCnt( refPic, refPicListRef[ refIdxRef[ xRef ][ xRef ] ] ) is not equal to 0, and RpRefPicAvailFlagLX is
      equal to 1, the following applies:
      –     The variable availFlag is set equal to 1.
      –     The variable Y is set equal to X.
      –     The residual prediction motion vector scaling process as specified in clause I.8.5.3.3.3.4 is invoked with the
            prediction list indication variable equal to X, the motion vector mvRef[ xRef ][ yRef ], and the reference picture
            refPicListRef[ refIdxRef[ xRef ][ xRef ] ] as inputs, and the output being the motion vector mvT.

I.8.5.3.4      Decoding process for inter sample prediction for rectangular sub-block partitions
Inputs to this process are:
–     a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
      luma sample of the current picture,
–     a luma location ( xBl, yBl ) specifying the top-left sample of the current luma prediction block relative to the top-left
      sample of the current luma coding block,
–     a variable nCbS specifying the size of the current luma coding block,
–     two variables nPbW and nPbH specifying the width and the height of the luma prediction block.
Outputs of this process are:
–     an (nCbSL)x(nCbSL) array predSamplesL of luma prediction samples, where nCbSL is derived as specified below,
–     when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCb of chroma prediction samples
      for the component Cb, where nCbSwC and nCbShC are derived as specified below,
–     when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCr of chroma prediction samples
      for the component Cr, where nCbSwC and nCbShC are derived as specified below.
When ChromaArrayType is not equal to 0, the variable nCbSwC is set equal to ( nCbS / SubWidthC ) and the variable
nCbShC is set equal to ( nCbS / SubHeightC ).
The luma location ( xPb, yPb ) specifying the top-left sample of the current luma prediction block relative to the top-left
sample of the current picture is set equal to ( xCb + xBl, yCb + yBl ).
The variables nSbW and nSbH specifying the width and height of the sub-block partitions are derived as follows:
      ( nSbW, nSbH ) = SubPbArrayPartSize[ xPb ][ yPb ]                                                                  (I-269)
For x in the range of 0 to ( nPbW / nSbW − 1 ), inclusive, the following applies:


668           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7           Filed 04/07/25          Page 690 of 717 Page ID
                                                            #:1219

–   For y in the range of 0 to ( nPbH / nSbH − 1 ), inclusive, the following applies:
    –       The luma location ( xSb, ySb ) specifying the top-left sample of the current luma sub-block partition relative to
            the top-left sample of the current luma coding block is derived as follows:
                xSb = xBl + x * nSbW                                                                                   (I-270)
                ySb = yBl + y * nSbH                                                                                   (I-271)
    –       For X in the range of 0 to 1, inclusive, the variables mvLX, mvCLX, refIdxLX, and predFlagLX are derived as
            follows:
                mvLX = SubPbArrayMvLX[ xCb + xSb ][ yCb + ySb ]                                                        (I-272)
                mvCLX = ( ChromaArrayType != 0 ) ? SubPbArrayMvCLX[ xCb + xSb ][ yCb + ySb ] : ( 0, 0 )                (I-273)
                refIdxLX = SubPbArrayRefIdxLX[ xCb + xSb ][ yCb + ySb ]                                                (I-274)
                predFlagLX = SubPbArrayPredFlagLX[ xCb + xSb ][ yCb + ySb ]                                            (I-275)
    –       The decoding process for inter sample prediction as specified in clause I.8.5.3.3.1 is invoked with the luma coding
            block location ( xCb, yCb ), the luma prediction block location ( xBl, yBl ) equal to ( xSb, ySb ), the luma coding
            block size block nCbS, the luma prediction block width nPbW equal to nSbW, the luma prediction block height
            nPbH equal to nSbH, the luma motion vectors mvL0 and mvL1, when ChromaArrayType is not equal to 0, the
            chroma motion vectors mvCL0 and mvCL1, the reference indices refIdxL0 and refIdxL1, and the prediction list
            utilization flags predFlagL0 and predFlagL1 as inputs, and the inter prediction samples that are an
            (nCbSL)x(nCbSL) array predSamplesL of prediction luma samples, and, when ChromaArrayType is not equal to
            0, two (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr of prediction chroma samples, one for each
            of the chroma components Cb and Cr, as outputs.

I.8.5.3.5      Decoding process for inter sample prediction for depth predicted sub-block partitions

I.8.5.3.5.1.1 General
Inputs to this process are:
–   a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
    luma sample of the current picture,
–   a variable nCbS specifying the size of the current luma coding block,
–   two luma motion vectors mvL0 and mvL1,
–   when ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1,
–   two reference indices refIdxL0 and refIdxL1,
–   two prediction list utilization flags predFlagL0, and predFlagL1,
–   a variable partIdx specifying the index of the current prediction unit within the current coding unit.
Outputs of this process are:
–   an (nCbSL)x(nCbSL) array predSamplesL of luma prediction samples, where nCbSL is derived as specified below,
–   when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCb of chroma prediction samples
    for the component Cb, where nCbSwC and nCbShC are derived as specified below,
–   when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array predSamplesCr of chroma prediction samples
    for the component Cr, where nCbSwC and nCbShC are derived as specified below.
The variable nCbSL is set equal to nCbS. When ChromaArrayType is not equal to 0, the variable nCbSwC is set equal to
nCbS / SubWidthC and the variable nCbShC is set equal to nCbS / SubHeightC.
The decoding process for inter sample prediction as specified in clause I.8.5.3.3.1 is invoked with the luma coding block
location ( xCb, yCb ), the luma prediction block location ( xBl, yBl ) set to ( 0, 0 ), the luma coding block size nCbS, the
luma prediction block width nPbW equal to nCbS, the luma prediction block height nPbH equal to nCbS, the luma motion
vectors mvL0 and mvL1, when ChromaArrayType is not equal to 0, the chroma motion vectors mvCL0 and mvCL1, the
reference indices refIdxL0 and refIdxL1, and the prediction list utilization flags predFlagL0 and predFlagL1 as inputs, and
the inter prediction samples (predSamples) that are an (nCbSL)x(nCbSL) array predSamplesL of prediction luma samples
and, when ChromaArrayType is not equal to 0, two (nCbSwC)x(nCbShC) arrays predSamplesCb and predSamplesCr of
prediction chroma samples, one for each of the chroma components Cb and Cr, as outputs.



                                                                                 Rec. ITU-T H.265 v8 (08/2021)            669
      Case 2:25-cv-03053             Document 1-7            Filed 04/07/25        Page 691 of 717 Page ID
                                                           #:1220

The partition pattern contourPattern is derived as follows:
–     The derivation process for a depth or disparity sample array from a depth picture as specified in clause I.8.5.7 is
      invoked with the luma location ( xBlk, yBlk ) equal to ( xCb, yCb ), the variable nBlkW equal to nCbS, the variable
      nBlkH equal to nCbS, the disparity vector dispVec equal to DispRefVec[ xCb ][ yCb ], the reference view order index
      refViewIdx equal to RefViewIdx[ xCb ][ yCb ], and the variable partIdc equal to 1 as inputs, and the output is the
      array refSamples of size (nCbS)x(nCbS).
–     The variable threshVal is derived as follows:
          threshVal = ( refSamples[ 0 ][ 0 ] + refSamples[ 0 ][ nCbS − 1 ]
                        + refSamples[ nCbS − 1 ][ 0 ] + refSamples[ nCbS − 1 ][ nCbS − 1 ] ) >> 2                   (I-276)
–     For x = 0..nCbS − 1 and y = 0..nCbS − 1, the following applies:
          contourPattern[ x ][ y ] = ( refSamples[ x ][ y ] > threshVal )                                           (I-277)
The array TempSamplesDbbpL and, when ChromaArrayType is not equal to 0, the arrays TempSamplesDbbpCb and
TempSamplesDbbpCr are modified as follows:
      for( y = 0; y < nCbSL; y++ )
           for( x = 0; x < nCbSL; x++ )
                if( contourPattern[ x ][ y ] = = ( partIdx != contourPattern[ 0 ][ 0 ] ) ) {
                     TempSamplesDbbpL[ x ][ y ] = predSamplesL[ x ][ y ]
                     if( ChromaArrayType != 0 && ( x % SubWidthC ) = = 0 && ( y % SubHeightC ) = = 0 ) {
                          xC = x / SubWidthC                                                           (I-278)
                          yC = y / SubHeightC
                          TempSamplesDbbpCb[ xC ][ yC ] = predSamplesCb[ xC ][ yC ]
                          TempSamplesDbbpCr[ xC ][ yC ] = predSamplesCr[ xC ][ yC ]
                     }
                }
When partIdx is equal to 1, the array predSamplesL and, when ChromaArrayType is not equal to 0, the arrays
predSamplesCb and predSamplesCr are modified as follows:
–     The derivation process for contour boundary filtered samples as specified in clause I.8.5.3.5.1.2 is invoked with, the
      luma coding block size nCbSL, the current coding block width nCbSw equal to nCbSL, the current coding block height
      nCbSh equal to nCbSL, the partition pattern contourPattern, and the array predSamples of prediction samples equal to
      TempSamplesDbbpL as inputs, and the output is assigned to the array predSamplesL of luma prediction samples.
–     When ChromaArrayType is not equal to 0, the derivation process for contour boundary filtered samples as specified
      in clause I.8.5.3.5.1.2 is invoked with, the luma coding block size nCbSL, the current coding block width nCbSw equal
      to nCbSwC, the current coding block height nCbSh equal to nCbShC, the partition pattern contourPattern, and the array
      predSamples of prediction samples equal to TempSamplesDbbpCb as inputs, and the output is assigned to the array
      predSamplesCb of chroma prediction samples.
–     When ChromaArrayType is not equal to 0, the derivation process for contour boundary filtered samples as specified
      in clause I.8.5.3.5.1.2 is invoked with, the luma coding block size nCbSL, the current coding block width nCbSw equal
      to nCbSw, the current coding block height nCbSh equal to nCbShC, the partition pattern contourPattern, and the array
      predSamples of prediction samples equal to TempSamplesDbbpCr as inputs, and the output is assigned to the array
      predSamplesCr of chroma prediction samples.

I.8.5.3.5.1.2 Derivation process for contour boundary filtered samples
Inputs to this process are:
–     a variable nCbSL specifying the size of the current luma coding block,
–     a variable nCbSw specifying the width of the current luma or chroma coding block,
–     a variable nCbSh specifying the height of the current luma or chroma coding block,
–     an (nCbSL)x(nCbSL) partition pattern contourPattern,
–     an (nCbSw)x(nCbSh) array predSamples prediction samples.
Output of this process is a modified (nCbSw)x(nCbSh) array predSamples of prediction samples.
The (nCbSw)x(nCbSh) array p is set equal to predSamples.
The variable xOff, yOff, nCbSN, and n are derived as follows:



670         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                  Document 1-7            Filed 04/07/25           Page 692 of 717 Page ID
                                                              #:1221

–   If PartMode is equal to PART_Nx2N, xOff is set equal to 1, yOff is set equal to 0, nCbSN is set equal to nCbSw, and
    n is set equal to ( nCbSL / nCbSw ).
–   Otherwise (PartMode is not equal to PART_Nx2N), xOff is set equal to 0, yOff is set equal to 1, nCbSN is set equal to
    nCbSh, and n is set equal to ( nCbSL / nCbSh ).
The values of predSamples are derived as follows:
    for( y = 0; y < nCbSh; y++ )
         for( x = 0; x < nCbSw; x++ ) {
              filt = p[ x ][ y ]
              prevFlag = contourPattern[ Max( 0, n * ( x − xOff ) ) ][ Max( 0, n * ( y − yOff ) ) ]                 (I-279)
              nextFlag = contourPattern[ Min( n * ( x + xOff ), nCbSL − 1 ) ][ Min( n * ( y + yOff ), nCbSL − 1 ) ]
              if( prevFlag != nextFlag )
                    filt = ( p[ Max( 0, x − xOff ) ][ Max( 0, y − yOff ) ] + ( filt << 1 ) +
                               p[ Min( x + xOff, nCbSN − 1 ) ][ Min( y + yOff, nCbSN − 1 ) ] ) >> 2
              predSamples[ x ][ y ] = filt
         }

I.8.5.4        Decoding process for the residual signal of coding units coded in inter prediction mode
Inputs to this process are:
–   a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
    luma sample of the current picture,
–   a variable log2CbSize specifying the size of the current luma coding block.
Outputs of this process are:
–   an (nCbSL)x(nCbSL) array resSamplesL of luma residual samples, where nCbSL is derived as specified below,
–   when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array resSamplesCb of chroma residual samples for
    the component Cb, where nCbSwC and nCbShC are derived as specified below,
–   when ChromaArrayType is not equal to 0, an (nCbSwC)x(nCbShC) array resSamplesCr of chroma residual samples for
    the component Cr, where nCbSwC and nCbShC are derived as specified below.
The variable nCbSL is set equal to 1 << log2CbSize. When ChromaArrayType is not equal to 0, the variable nCbSwC is
set equal to nCbSL/ SubWidthC and the variable nCbShC is set equal to nCbSL / SubHeightC.
Let resSamplesL be an (nCbSL)x(nCbSL) array of luma residual samples and, when ChromaArrayType is not equal to 0,
let resSamplesCb and resSamplesCr be two (nCbSwC)x(nCbShC) arrays of chroma residual samples.
–   If DcOnlyFlag[ xCb ][ yCb ] is equal to 0, the following applies, depending on the value of rqt_root_cbf:
    –     If rqt_root_cbf is equal to 0 or cu_skip_flag[ xCb ][ yCb ] is equal to 1, all samples of the (nCbSL)x(nCbSL) array
          resSamplesL and, when ChromaArrayType is not equal to 0, all samples of the two (nCbSwC)x(nCbShC) arrays
          resSamplesCb and resSamplesCr are set equal to 0.
    –     Otherwise (rqt_root_cbf is equal to 1), the following ordered steps apply:
          1.     The decoding process for luma residual blocks as specified in clause 8.5.4.2 is invoked with the luma location
                 ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to ( 0, 0 ), the variable log2TrafoSize set equal to
                 log2CbSize, the variable trafoDepth set equal to 0, the variable nCbS set equal to nCbSL, and the
                 (nCbSL)x(nCbSL) array resSamplesL as inputs, and a modified version of the (nCbSL)x(nCbSL) array
                 resSamplesL as output.
          2.     When ChromaArrayType is not equal to 0, the decoding process for chroma residual blocks as specified in
                 clause 8.5.4.3 is invoked with the luma location ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to
                 ( 0, 0 ), the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal to 0, the variable
                 cIdx set equal to 1, the variable nCbSw set equal to nCbSwC, the variable nCbSh set equal to nCbShC, and
                 the (nCbSwC)x(nCbShC) array resSamplesCb as inputs, and a modified version of the (nCbSwC)x(nCbShC)
                 array resSamplesCb as output.
          3.     When ChromaArrayType is not equal to 0, the decoding process for chroma residual blocks as specified in
                 clause 8.5.4.3 is invoked with the luma location ( xCb, yCb ), the luma location ( xB0, yB0 ) set equal to
                 ( 0, 0 ), the variable log2TrafoSize set equal to log2CbSize, the variable trafoDepth set equal to 0, the variable
                 cIdx set equal to 2, the variable nCbSw set equal to nCbSwC, the variable nCbSh set equal to nCbShC, and
                 the (nCbSwC)x(nCbShC) array resSamplesCr as inputs, and a modified version of the (nCbSwC)x(nCbShC)
                 array resSamplesCr as output.


                                                                                    Rec. ITU-T H.265 v8 (08/2021)            671
      Case 2:25-cv-03053                Document 1-7            Filed 04/07/25            Page 693 of 717 Page ID
                                                              #:1222

–     Otherwise (DcOnlyFlag[ xCb ][ yCb ] is equal to 1), for x in the range of 0 to nCbSL − 1, inclusive, and y in the range
      of 0 to nCbSL − 1, inclusive, resSamplesL[ x ][ y ] is set equal to DcOffset[ xCb ][ yCb ][ 0 ].
            NOTE – When DcOnlyFlag[ xCb ][ yCb ] is equal to 1, ChromaArrayType is equal to 0 in this version of this Specification.

I.8.5.5         Derivation process for a disparity vector for texture layers

I.8.5.5.1       General
Inputs to this process are:
–     a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma sample
      of the current picture,
–     a variable nCbS specifying the size of the current luma coding block.
The flag dvAvailFlag is set equal to 0 and the disparity vector dispVec is set equal to ( 0, 0 ).
The variable checkParallelMergeFlag is derived as follows:
–     If one or more of the following conditions are true, checkParallelMergeFlag is set equal to 1:
      –     CuPredMode[ xCb ][ yCb ] is equal to MODE_SKIP.
      –     CuPredMode[ xCb ][ yCb ] is equal to MODE_INTER and merge_flag[ xCb ][ yCb ] is equal to 1.
–     Otherwise, checkParallelMergeFlag is set equal to 0.
When slice_temporal_mvp_enabled_flag is equal to 1, the derivation process for a disparity vector from temporal
neighbouring blocks as specified in clause I.8.5.5.2 is invoked with the luma location ( xCb, yCb ), and the variable nCbS
as inputs, and the outputs are the flag dvAvailFlag, the disparity vector dispVec, and the reference view order index
refViewIdx.
When dvAvailFlag is equal to 0, the following applies for i in the range of 0 to 1, inclusive:
      1.    The variable N is set equal to ( i = = 0 ) ? A1 : B1.
      2.    The variable ( xN, yN ) is set equal to ( i = = 0 ) ? ( xCb − 1, yCb + nCbS − 1 ) : ( xCb + nCbS − 1, yCb − 1 ).
      3.    The derivation process for z-scan order block availability as specified in clause 6.4.1 is invoked with
            ( xCurr, yCurr ) set equal to the ( xCb, yCb ) and the luma location ( xN, yN ) as inputs, and the output is assigned
            to nbAvailFlag.
      4.    When CuPredMode[ xN ][ yN ] is equal to MODE_INTRA, nbAvailFlag is set equal to 0.
      5.    When all of the following conditions are true, nbAvailFlag is set equal to 0.
            –     checkParallelMergeFlag is equal to 1,
            –     ( xCb >> Log2ParMrgLevel ) is equal to ( xN >> Log2ParMrgLevel ),
            –     ( yCb >> Log2ParMrgLevel ) is equal to ( yN >> Log2ParMrgLevel ).
      6.    The flag tPredNbAvailFlag is set equal to nbAvailFlag.
      7.    When N is equal to B1 and ( ( yN >> CtbLog2SizeY ) << CtbLog2SizeY )                                    is   less     than
            ( ( yCb >> CtbLog2SizeY ) << CtbLog2SizeY ), tPredNbAvailFlag is set equal to 0.
      8.    The flag tPredNbDvAvailFlagN is set equal to 0.
      9.    For X in the range of 0 to 1, inclusive, the following applies:
            –     When dvAvailFlag is equal to 0, nbAvailFlag is equal to 1, and PredFlagLX[ xN ][ yN ] is equal to 1, the
                  following applies:
                  –   If DiffPicOrderCnt( RefPicListX[ RefIdxLX[ xN ][ yN ] ], CurrPic ) is equal to 0, the following applies:
                          refViewIdx = ViewIdx( RefPicListX[ RefIdxLX[ xN ][ yN ] ] )                                           (I-280)
                          dispVec = MvLXN[ xN ][ yN ]                                                                           (I-281)
                          dvAvailFlag = 1                                                                                       (I-282)
                  –   Otherwise (DiffPicOrderCnt( RefPicListX[ RefIdxLX[ xN ][ yN ] ] , CurrPic ) is not equal to 0), when
                      tPredNbAvailFlag is equal to 1, tPredNbDvAvailFlagN is equal to 0, CuPredMode[ xN ][ yN ] is equal
                      to MODE_SKIP, and IvMcFlag[ xN ][ yN ] is equal to 1, the following applies:



672             Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                 Document 1-7            Filed 04/07/25          Page 694 of 717 Page ID
                                                             #:1223

                          tPredNbDispVecN = DispRefVec[ xN ][ yN ]                                                      (I-283)
                          tPredNbRefViewIdxN = RefViewIdx[ xN ][ yN ]                                                   (I-284)
                          tPredNbDvAvailFlagN = 1                                                                       (I-285)
For i in the range of 0 to 1, inclusive, the following applies:
–   The variable N is set equal to ( i = = 0 ) ? A1 : B1.
–   When dvAvailFlag is equal to 0 and tPredNbDvAvailFlagN is equal to 1, the following applies:
            dispVec = tPredNbDispVecN                                                                                   (I-286)
            refViewIdx = tPredNbRefViewIdxN                                                                             (I-287)
            dvAvailFlag = 1                                                                                             (I-288)
When dvAvailFlag is equal to 0, refViewIdx is set equal to DefaultRefViewIdx and dispVec is set equal to ( 0, 0 ).
Depending on the value of DepthRefEnabledFlag, the following applies:
–   If DepthRefEnabledFlag is equal to 1, the following applies:
    –       The derivation process for a depth or disparity sample array from a depth picture as specified in clause I.8.5.7 is
            invoked with the luma location ( xBlk, yBlk ) equal to ( xCb, yCb ), the variable nBlkW equal to nCbS, the
            variable nBlkH equal to nCbS, the disparity vector dispVec, the reference view order index refViewIdx, and the
            variable partIdc equal to 0 as inputs, and the array disparitySamples of size (nCbS)x(nCbS) as output.
    –       The disparity vector dispRefVec is set equal to ( disparitySamples[ 0 ][ 0 ], 0 ).
–   Otherwise (DepthRefEnabledFlag is equal to 0), the disparity vector dispRefVec is set equal to dispVec.
For use in derivation processes of variables invoked later in the decoding process, the following assignments are made for
x = xCb..( xCb + nCbS − 1 ), y = yCb..( yCb + nCbS − 1 ):
    DispVec[ x ][ y ] = dispVec                                                                                         (I-289)
    DispRefVec[ x ][ y ] = dispRefVec                                                                                   (I-290)
    RefViewIdx[ x ][ y ] = refViewIdx                                                                                   (I-291)

I.8.5.5.2       Derivation process for a disparity vector from temporal neighbouring blocks
Inputs to this process are:
–   a luma location ( xCb, yCb ) specifying the top-left sample of the current luma coding block relative to the top-left
    luma sample of the current picture,
–   a variable nCbS specifying the size of the current luma coding block.
Outputs of this process are:
–   the availability flag dvAvailFlag,
–   the disparity vector dispVec,
–   the reference view order index refViewIdx.
The luma location ( xRef, yRef ) is derived as follows:
    xRef = ( ( xCb + nCbS / 2 ) >> 4 ) << 4                                                                             (I-292)
    yRef = ( ( yCb + nCbS / 2 ) >> 4 ) << 4                                                                             (I-293)
The flag dvAvailFlag is set equal to 0 and dispVec is set equal to ( 0, 0 ).
For i from 0 to NumDdvCandPics − 1, inclusive, the following ordered steps apply:
    1.      Let colPb the luma prediction block covering the luma location ( xRef, yRef ) in picture DdvCandPicList[ i ].
    2.      For X in the range of 0 to 1, inclusive, the following applies:
            –    The variables candPredFlag[ x ][ y ], candRefIdx[ x ][ y ], and candMV[ x ][ y ] are set equal to the variables
                 PredFlagLX[ x ][ y ], RefIdxLX[ x ][ y ], and MvLX[ x ][ y ] of the picture DdvCandPicList[ i ],
                 respectively.



                                                                                  Rec. ITU-T H.265 v8 (08/2021)           673
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25           Page 695 of 717 Page ID
                                                           #:1224

          –     The variable candPicRefPicList is set equal to RefPicListX of the slice containing colPb in the picture
                DdvCandPicList[ i ].
          –     When colPb is not coded in an intra prediction mode and candPredFlag[ xRef ][ yRef ] is equal to 1, the
                following applies:
                –   The variable candRefViewIdx           is      set   equal   to   ViewIdx( candPicRefPicList[ candRefIdx
                    [ xRef ][ yRef ] ] ).
                –   When dvAvailFlag is equal to 0, candRefViewIdx is not equal to the ViewIdx( DdvCandPicList[ i ] ),
                    and there is a reference picture with ViewIdx equal to candRefViewIdx in RefPicList0 or RefPicList1,
                    the following applies:
                        refViewIdx = candRefViewIdx                                                                    (I-294)
                        dispVec = candMV[ xRef ][ yRef ]                                                               (I-295)
                        dvAvailFlag = 1                                                                                (I-296)

I.8.5.6       Derivation process for a disparity vector for depth layers
Inputs to this process are:
–     a luma location ( xCb, yCb ) of the top-left sample of the current luma coding block relative to the top-left luma sample
      of the current picture,
–     a variable nCbS specifying the size of the current luma coding block.
When DispAvailFlag is equal to 1, the following assignments are made for x = xCb..( xCb + nCbS − 1 ) and
y = yCb..( yCb + nCbS − 1 ):
      DispVec[ x ][ y ] = ( DepthToDisparityB[ DefaultRefViewIdx ][ 1 << ( BitDepthY − 1 ) ], 0 )                      (I-297)
      DispRefVec[ x ][ y ] = DispVec[ x ][ y ]                                                                         (I-298)
      RefViewIdx[ x ][ y ] = DefaultRefViewIdx                                                                         (I-299)

I.8.5.7       Derivation process for a depth or disparity sample array from a depth picture
Inputs to this process are:
–     a luma location ( xBlk, yBlk ) specifying the top-left sample of the current luma block relative to the top-left luma
      sample of the current picture,
–     two variables nBlkW and nBlkH specifying the width and the height of the luma block, respectively,
–     a disparity vector dispVec,
–     a reference view order index refViewIdx,
–     a variable partIdc specifying a sub-block partitioning.
Outputs of this process are:
–     an (nBlkW)x(nBlkH) array dSamples of depth or disparity values (depending on partIdc),
–     a flag horSplitFlag (when partIdc is equal to 2).
Let refDepPic the picture in the current access unit with nuh_layer_id equal to ViewCompLayerId[ refViewIdx ][ 1 ].
Let refDepPels be the array of reconstructed luma samples SL of the picture refDepPic. The luma location
( xRefBlk, yRefBlk ) of top-left luma sample of a block in refDepPels is derived as follows:
      xRefBlk = xBlk + ( ( dispVec[ 0 ] + 2 ) >> 2 )                                                                   (I-300)
      yRefBlk = yBlk + ( ( dispVec[ 1 ] + 2 ) >> 2 )                                                                   (I-301)
Depending on the value of partIdc, the variables nSubBlkW, nSubBlkH, and horSplitFlag are derived as follows:
–     If partIdc is equal to 0, the variables nSubBlkW, nSubBlkH, and horSplitFlag are set equal to nBlkW, nBlkH, and 0,
      respectively.
–     Otherwise, if partIdc is equal to 1, the variables nSubBlkW, nSubBlkH, and horSplitFlag are set equal to 1, 1, and 0,
      respectively.
–     Otherwise (partIdc is equal to 2), the following applies:


674           Rec. ITU-T H.265 v8 (08/2021)
      Case 2:25-cv-03053               Document 1-7          Filed 04/07/25          Page 696 of 717 Page ID
                                                           #:1225

      –     The variable minSubBlkSizeFlag is derived as follows:
                minSubBlkSizeFlag = ( nBlkW % 8 != 0 ) | | ( nBlkH % 8 != 0 )                                   (I-302)
      –     Depending on the value of minSubBlkSizeFlag, the following applies:
            –   If minSubBlkSizeFlag is equal to 1, the following applies:
                     horSplitFlag = ( nBlkH % 8 != 0 )                                                          (I-303)
            –   Otherwise (minSubBlkSizeFlag is equal to 0), the following applies:
                     xP0 = Clip3( 0, pic_width_in_luma_samples − 1, xRefBlk )                                   (I-304)
                     yP0 = Clip3( 0, pic_height_in_luma_samples − 1, yRefBlk )                                  (I-305)
                     xP1 = Clip3( 0, pic_width_in_luma_samples − 1, xRefBlk + nBlkW − 1 )                       (I-306)
                     yP1 = Clip3( 0, pic_height_in_luma_samples − 1, yRefBlk + nBlkH − 1 )                      (I-307)
                     horSplitFlag = ( ( refDepPels[ xP0 ][ yP0 ] < refDepPels[ xP1 ][ yP1 ] )
                                  = = ( refDepPels[ xP1 ][ yP0 ] < refDepPels[ xP0 ][ yP1 ] ) )                 (I-308)
      –     The variables nSubBlkW and nSubBlkH are derived as follows:
                nSubBlkW = horSplitFlag ? 8 : 4                                                                 (I-309)
                nSubBlkH = horSplitFlag ? 4 : 8                                                                 (I-310)
The array dSamples is derived as follows:
–     For j in the range of 0 to ( nBlkH / nSubBlkH − 1 ), inclusive, the following applies:
      –     For i in the range of 0 to ( nBlkW / nSubBlkW − 1 ), inclusive, the following applies:
            –   The variable maxDep is set equal to −1 and modified as follows:
                     xSubBlkOff = i * nSubBlkW
                     ySubBlkOff = j * nSubBlkH
                     xP0 = Clip3( 0, pic_width_in_luma_samples − 1, xRefBlk + xSubBlkOff )
                     yP0 = Clip3( 0, pic_height_in_luma_samples − 1, yRefBlk + ySubBlkOff )
                     xP1 = Clip3( 0, pic_width_in_luma_samples − 1, xRefBlk + xSubBlkOff + nSubBlkW − 1 )       (I-311)
                     yP1 = Clip3( 0, pic_height_in_luma_samples − 1, yRefBlk + ySubBlkOff + nSubBlkH − 1 )
                     maxDep = Max( maxDep, refDepPels[ xP0 ][ yP0 ] )
                     maxDep = Max( maxDep, refDepPels[ xP0 ][ yP1 ] )
                     maxDep = Max( maxDep, refDepPels[ xP1 ][ yP0 ] )
                     maxDep = Max( maxDep, refDepPels[ xP1 ][ yP1 ] )
            –   The values of the array dSamples are derived as follows:
                     for( yOff = 0; yOff < nSubBlkH; yOff++ )
                          for( xOff = 0; xOff < nSubBlkW; xOff++ ) {
                               x = xSubBlkOff + xOff
                               y = ySubBlkOff + yOff
                               if( partIdc = = 1 )                                                              (I-312)
                                    dSamples[ x ][ y ] = maxDep
                               else
                                    dSamples[ x ][ y ] = DepthToDisparityB[ refViewIdx ][ maxDep ]
                          }

I.8.6      Scaling, transformation and array construction process prior to deblocking filter process
The specifications in clause 8.6 apply.

I.8.7      In-loop filter process
The specifications in clause 8.7 apply.

I.9       Parsing process
I.9.1      General
The specifications in clause 9.1 apply with the following modifications.



                                                                                Rec. ITU-T H.265 v8 (08/2021)     675
      Case 2:25-cv-03053               Document 1-7           Filed 04/07/25           Page 697 of 717 Page ID
                                                            #:1226

–     All references to the process specified in clause 9.3 are replaced with references to the process specified in clause I.9.3.

I.9.2     Parsing process for 0-th order Exp-Golomb codes
The specifications in clause 9.2 and all its subclauses apply.

I.9.3     CABAC parsing process for slice segment data

I.9.3.1      General
The specifications in clause 9.3.1 apply with the following modifications.
–     All references to the process specified in clauses 7.3.8.1 to 7.3.8.12 are replaced with references to the process
      specified in clauses I.7.3.8.1 to I.7.3.8.12, respectively.
–     All invocations of the process specified in clause 9.3.2 to 9.3.4 are replaced with invocations of the process specified
      in clause I.9.3.2 to I.9.3.4.
–     All invocations of the process specified in clause 9.3.2.4 are replaced with invocations of the process specified in
      clause I.9.3.2.3.
–     All invocations of the process specified in clause 9.3.2.6 are replaced with invocations of the process specified in
      clause I.9.3.2.5.

I.9.3.2      Initialization process

I.9.3.2.1     General
The specifications in clause 9.3.2.1 apply with the following modifications.
–     All invocations of the process specified in clause 9.3.2.2 are replaced with invocations of the process specified in
      clause I.9.3.2.2.
–     All invocations of the process specified in clause 9.3.2.5 are replaced with invocations of the process specified in
      clause I.9.3.2.4.
–     All invocations of the process specified in clause 9.3.2.6 are replaced with invocations of the process specified in
      clause I.9.3.2.5.

I.9.3.2.2     Initialization process for context variables
The specifications in clause 9.3.2.2 apply with the following modifications.
–     All references to the process specified in clauses 7.3.8.1 to 7.3.8.12 are replaced with references to the process
      specified in clauses I.7.3.8.1 to I.7.3.8.12.
–     Table I.4 is appended to the end of Table 9-4.
–     Table I.5 to Table I.14 are appended to the end of the clause.

    Table I.4 – Association of ctxIdx and syntax elements for each initializationType in the initialization process

                                                                                              initType
            Syntax structure          Syntax element            ctxTable
                                                                                  0               1              2
            coding_unit( )      skip_intra_flag                 Table I.5         0               1              2
                                no_dim_flag                     Table I.6         0               1              2
            intra_mode_ext( )
                                depth_intra_mode_idx_flag       Table I.7         0               1              2
                                skip_intra_mode_idx             Table I.8         0               1              2
                                dbbp_flag                       Table I.9         0               1              2
            cu_extension( )     dc_only_flag                   Table I.10         0               1              2
                                iv_res_pred_weight_idx         Table I.11                       0..2           3..5
                                illu_comp_flag                 Table I.12                         0              1
                                depth_dc_present_flag          Table I.13         0               1              2
            depth_dcs( )
                                depth_dc_abs                   Table I.14         0               1              2




676          Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053       Document 1-7                Filed 04/07/25                              Page 698 of 717 Page ID
                                                   #:1227

                  Table I.5 – Values of initValue for skip_intra_flag ctxIdx

                                                              ctxIdx of
                                Initialization         skip_intra_flag ctxIdx
                                  variable
                                                           0            1           2
                                initValue              185             185         185



                     Table I.6 – Values of initValue for no_dim_flag ctxIdx

                                                       ctxIdx of no_dim_flag
                                Initialization                 ctxIdx
                                  variable
                                                           0            1           2
                                initValue              154             141         155



            Table I.7 – Values of initValue for depth_intra_mode_idx_flag ctxIdx

                                                          ctxIdx of
                             Initialization      depth_intra_mode_idx_flag
                               variable
                                                       0                1                2
                             initValue             154                 154              154



               Table I.8 – Values of initValue for skip_intra_mode_idx ctxIdx

                                                          ctxIdx of
                             Initialization      skip_intra_mode_idx ctxIdx
                               variable
                                                       0                1                2
                             initValue             137                 137              137



                      Table I.9 – Values of initValue for dbbp_flag ctxIdx

                                  Initialization           ctxIdx of dbbp_flag
                                    variable                0           1           2
                                 initValue                 154         154         154



                  Table I.10 – Values of initValue for dc_only_flag ctxIdx

                                                       ctxIdx of dc_only_flag
                                Initialization                 ctxIdx
                                  variable
                                                           0            1           2
                                initValue              154             154         154



             Table I.11 – Values of initValue for iv_res_pred_weight_idx ctxIdx

                     Initialization            ctxIdx of iv_res_pred_weight_idx
                       variable           0        1              2           3              4      5
                  initValue              162     153             162         162         153       162




                                                                                        Rec. ITU-T H.265 v8 (08/2021)   677
      Case 2:25-cv-03053             Document 1-7              Filed 04/07/25                  Page 699 of 717 Page ID
                                                             #:1228



                               Table I.12 – Values of initValue for illu_comp_flag ctxIdx

                                                                          ctxIdx of
                                                Initialization        illu_comp_flag
                                                  variable
                                                                       0          1
                                               initValue              154        154



                           Table I.13 – Values of initValue for depth_dc_present_flag ctxIdx

                                                                       ctxIdx of
                                          Initialization         depth_dc_present_flag
                                            variable
                                                                  0          1             2
                                          initValue               0          0         64



                                Table I.14 – Values of initValue for depth_dc_abs ctxIdx

                                              Initializati   ctxIdx of depth_dc_abs
                                              on variable         0          1         2
                                              initValue      154           154    154



I.9.3.2.3    Storage process for context variables and Rice parameter initialization states
The specifications in clause 9.3.2.4 apply with the following modifications
–     All references to the process specified in clauses 7.3.8.1 to 7.3.8.12 are replaced with references to the process
      specified in clauses I.7.3.8.1 to I.7.3.8.12.

I.9.3.2.4    Synchronization process for context variables and Rice parameter initialization states
The specifications in clause 9.3.2.5 apply with the following modifications
–     All references to the process specified in clauses 7.3.8.1 to 7.3.8.12 are replaced with references to the process
      specified in clauses I.7.3.8.1 to I.7.3.8.12.

I.9.3.2.5    Initialization process for the arithmetic decoding engine
The specifications in clause 9.3.2.6 apply.

I.9.3.3     Binarization process

I.9.3.3.1    General
The specifications in clause 9.3.3.1 apply with the following modifications.
–     All references to processes clauses 9.3.3.2 to 9.3.3.11 are replaced with references to the processes specified in
      clauses I.9.3.3.2 and I.9.3.3.10 respectively.
–     Table I.15 is appended to the end of Table 9-43.




678         Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                  Document 1-7           Filed 04/07/25        Page 700 of 717 Page ID
                                                             #:1229

                                Table I.15 – Syntax elements and associated binarizations

                                                                                   Binarization
    Syntax structure            Syntax element
                                                         Process                       Input parameters
   coding_unit( )        skip_intra_flag                     FL       cMax = 1
                         no_dim_flag                         FL       cMax = 1
   intra_mode_ext( )     depth_intra_mode_idx_flag           FL       cMax = 1
                         wedge_full_tab_idx                  FL       cMax = NumWedgePattern[ log2PbSize ] − 1
                         skip_intra_mode_idx                 TR       cMax = 3, cRiceParam = 0
                         dbbp_flag                           FL       cMax = 1
   cu_extension( )       dc_only_flag                        FL       cMax = 1
                         iv_res_pred_weight_idx              TR       cMax = 2, cRiceParam = 0
                         illu_comp_flag                      FL       cMax = 1
                         depth_dc_present_flag               FL       cMax = 1
   depth_dcs( )          depth_dc_abs                    I.9.3.3.11   -
                         depth_dc_sign_flag                  FL       cMax = 1



I.9.3.3.2   Truncated Rice (TR) binarization process
The specifications in clause 9.3.3.2 apply.

I.9.3.3.3   k-th order Exp-Golomb (EGk) binarization process
The specifications in clause 9.3.3.3 apply.

I.9.3.3.4   Limited k-th order Exp-Golomb (EGk) binarization process
The specifications in clause 9.3.3.4 apply.

I.9.3.3.5   Fixed-length (FL) binarization process
The specifications in clause 9.3.3.5 apply.

I.9.3.3.6   Binarization process for part_mode
Inputs to this process are a request for a binarization for the syntax element part_mode, a luma location ( xCb, yCb ),
specifying the top-left sample of the current luma coding block relative to the top-left luma sample of the current picture,
a variable log2CbSize specifying the current luma coding block size, and the variable partPredIdc indicating a reference
partition mode.
Output of this process is the binarization of the syntax element.
The binarization for the syntax element part_mode is specified in Table I.16 depending on the values of
CuPredMode[ xCb ][ yCb ], log2CbSize, and partPredIdc.

                                           Table I.16 – Binarization for part_mode

                     part_mode partPredIdc        PartMode                             Bin string




                                                                                 Rec. ITU-T H.265 v8 (08/2021)         679
      Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 701 of 717 Page ID
                                                           #:1230

    CuPredMode                                                               log2CbSize = = MinCbLog2SizeY
    [ xCb ][ yCb ]                                                           0                                1
                                                                      amp_enabled_flag                  log2CbSize > 3
                                                                      0             1               0                    1
    MODE_INTRA           0            0        PART_2Nx2N             -              -               1                   1
                         1            0          PART_NxN             -              -               0                   0
    MODE_INTER           0         0, 1, 2     PART_2Nx2N             1              1               1                   1
                         1            0          PART_2NxN            01            011              01                  01
                         2            0          PART_Nx2N            00            001              00              001
                         3            0          PART_NxN             -              -               -               000
                         4            0        PART_2NxnU             -             0100             -                   -
                         5            0        PART_2NxnD             -             0101             -                   -
                         6            0        PART_nLx2N             -             0000             -                   -
                         7            0        PART_nRx2N             -             0001             -                   -
                         1            1          PART_2NxN            0              01              0                   0
                         2            1        PART_2NxnU             -             000              -                   -
                         3            1        PART_2NxnD             -             001              -                   -
                         1            2          PART_Nx2N            0              01              0                   0
                         2            2        PART_nLx2N             -             000              -                   -
                         3            2        PART_nRx2N             -             001              -                   -



I.9.3.3.7     Binarization process for intra_chroma_pred_mode
The specifications in clause 9.3.3.8 apply.

I.9.3.3.8     Binarization process for inter_pred_idc
The specifications in clause 9.3.3.9 apply.

I.9.3.3.9     Binarization process for cu_qp_delta_abs
The specifications in clause 9.3.3.10 apply.

I.9.3.3.10 Binarization process for coeff_abs_level_remaining[ ]
The specifications in clause 9.3.3.11 apply.

I.9.3.3.11 Binarization process for depth_dc_abs
Input to this process is a request for a binarization for the syntax element depth_dc_abs.
Output of this process is the binarization of the syntax element.
The binarization of the syntax element depth_dc_abs is a concatenation of a prefix bin string and (when present) a suffix
bin string.
For the derivation of the prefix bin string, the following applies:
–     The prefix value of depth_dc_abs, prefixVal, is derived as follows:
            prefixVal = Min( depth_dc_abs, 3 )                                                                                (I-313)
–     The prefix bin string is specified by invoking the TR binarization process as specified in clause 9.3.3.2 for prefixVal
      with cMax = 3 and cRiceParam = 0.
When prefixVal is greater than 2, the suffix bin string is present and it is derived as follows:
–     The suffix value of depth_dc_abs, suffixVal, is derived as follows:
            suffixVal = depth_dc_abs − 3                                                                                      (I-314)
–     The suffix bin string is specified by invoking the k-th order EGk binarization process as specified in clause 9.3.3.3 for
      suffixVal with the Exp-Golomb order k set equal to 0.




680           Rec. ITU-T H.265 v8 (08/2021)
       Case 2:25-cv-03053                Document 1-7                Filed 04/07/25        Page 702 of 717 Page ID
                                                                   #:1231

I.9.3.4       Decoding process flow

I.9.3.4.1      General
The specifications in clause 9.3.4.1 apply with the following modifications.
–      All references to the process specified in clause 9.3.3 are replaced with references to the process specified in
       clause I.9.3.3.
–      All invocations of the process specified in clause 9.3.4.2 are replaced with invocations of the process specified in
       clause I.9.3.4.2.
–      All invocations of the process specified in clause 9.3.4.3 are replaced with invocations of the process specified in
       clause I.9.3.4.3.

I.9.3.4.2      Derivation process for ctxTable, ctxIdx and bypassFlag

I.9.3.4.2.1      General
The specifications in clause 9.3.4.2.1 apply with the following modifications:
–      All references to the process specified in clause 9.3.4.2.2 are replaced by references to the process specified in
       clause I.9.3.4.2.2.
–      Table I.17 is appended to the end of Table 9-48.

                       Table I.17 – Assignment of ctxInc to syntax elements with context coded bins

                                                                                  binIdx
          Syntax element
                                           0                   1              2              3             4               >= 5
skip_intra_flag                            0                  na             na              na            na               na
no_dim_flag                                0                  na             na              na            na               na
depth_intra_mode_idx_flag                  0                  na             na              na            na               na
wedge_full_tab_idx                       bypass              bypass         bypass         bypass        bypass            bypass
skip_intra_mode_idx                        0                 bypass         bypass           na            na               na
dbbp_flag                                  0                  na             na              na            na               na
dc_only_flag                               0                  na             na              na            na               na
iv_res_pred_weight_idx                    0, 1                 2             na              na            na               na
                                  (clause I.9.3.4.2.2)
illu_comp_flag                             0                  na             na              na            na               na
depth_dc_present_flag                      0                  na             na              na            na               na
depth_dc_abs                               0                   0              0            bypass        bypass            bypass
depth_dc_sign_flag                       bypass                0              0              0             0                 0



I.9.3.4.2.2      Derivation process of ctxInc using left and above syntax elements
The specifications in clause 9.3.4.2.2 apply with the following modifications and additions:
–      Table I.18 is appended to the end of Table 9-49.

                           Table I.18 – Specification of ctxInc using left and above syntax elements

              Syntax element                                 condL                         condA                  ctxInc
    iv_res_pred_weight_idx[ x0 ][ x0 ]    iv_res_pred_weight_idx[ xNbL ][ yNbL ]                      ( condL && availableL )



–      The assignment of ctxInc for the syntax elements iv_res_pred_weight_idx[ x0 ][ y0 ] is specified in Table 9-49.

I.9.3.4.2.3      Derivation process of              ctxInc     for    the   syntax     elements     last_sig_coeff_x_prefix         and
                 last_sig_coeff_y_prefix
The specifications in clause 9.3.4.2.3 apply.



                                                                                       Rec. ITU-T H.265 v8 (08/2021)                681
      Case 2:25-cv-03053             Document 1-7           Filed 04/07/25         Page 703 of 717 Page ID
                                                          #:1232

I.9.3.4.2.4     Derivation process of ctxInc for the syntax element coded_sub_block_flag
The specifications in clause 9.3.4.2.4 apply.

I.9.3.4.2.5     Derivation process of ctxInc for the syntax element sig_coeff_flag
The specifications in clause 9.3.4.2.5 apply.

I.9.3.4.2.6     Derivation process of ctxInc for the syntax element coeff_abs_level_greater1_flag
The specifications in clause 9.3.4.2.6 apply.

I.9.3.4.2.7     Derivation process of ctxInc for the syntax element coeff_abs_level_greater2_flag
The specifications in clause 9.3.4.2.7 apply.

I.9.3.4.3     Arithmetic decoding process
The specifications in clause 9.3.4.3 and all its subclauses apply with the following modifications:
–     All references to the process specified in clause 9.3.4.2 are replaced with references to the process specified in
      clause I.9.3.4.2.

I.9.3.5       Arithmetic encoding process (informative)
The specifications in clause 9.3.5 and all its subclauses apply with the following modifications:
–     All references to the process specified in clause 9.3.4.3 are replaced with references to the process specified in
      clause I.9.3.4.3.

I.10 Specification of bitstream subsets
The specifications in clause G.10 apply.

I.11 Profiles, tiers, and levels
I.11.1 Profiles

I.11.1.1      3D Main profile
For a layer in an output operation point associated with an OLS in a bitstream, the layer being conforming to the 3D Main
profile, the following applies:
–     Let olsIdx be the OLS index of the OLS, the sub-bitstream subBitstream and the base layer sub-bitstream
      baseBitstream are derived as specified in clause F.11.3.
When vps_base_layer_internal_flag is equal to 1, the base layer sub-bitstream baseBitstream shall obey the following
constraints:
–     The base layer sub-bitstream baseBitstream shall be indicated to conform to the Main profile.
The sub-bitstream subBitstream shall obey the following constraints:
–     All active VPSs shall have vps_num_rep_formats_minus1 in the range of 0 to 15, inclusive.
–     All active SPSs for a layer with nuh_layer_id equal to i and DepthLayerFlag[ i ] equal to 0 in subBitstream shall have
      chroma_format_idc equal to 1 only.
–     All active SPSs for a layer with nuh_layer_id equal to i and DepthLayerFlag[ i ] equal to 1 in subBitstream shall have
      chroma_format_idc equal to 0 only.
–     All active SPSs for layers in subBitstream shall have transform_skip_rotation_enabled_flag,
      transform_skip_context_enabled_flag,            implicit_rdpcm_enabled_flag,        explicit_rdpcm_enabled_flag,
      extended_precision_processing_flag,       intra_smoothing_disabled_flag,     high_precision_offsets_enabled_flag,
      persistent_rice_adaptation_enabled_flag, and cabac_bypass_alignment_enabled_flag, when present, equal to 0 only.
–     CtbLog2SizeY derived from all active SPSs for layers in subBitstream shall be in the range of 4 to 6, inclusive.
–     All active PPSs for layers in subBitstream shall have log2_max_transform_skip_block_size_minus2 and
      chroma_qp_offset_list_enabled_flag, when present, equal to 0 only.
–     ScalabilityId[ j ][ smIdx ] derived according to any active VPS shall be equal to 0 for any smIdx value not equal to 0
      or 1 and for any value of j such that layer_id_in_nuh[ j ] is among layerIdListTarget that was used to derive
      subBitstream.


682           Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7            Filed 04/07/25           Page 704 of 717 Page ID
                                                          #:1233

–   All active VPSs shall have alt_output_layer_flag[ olsIdx ] equal to 0 only.
–   When ViewOrderIdx[ i ] or DepthLayerFlag[ i ] derived according to any active VPS is greater than to 0 for the layer
    with nuh_layer_id equal to i in subBitstream, num_ref_loc_offsets shall be equal to 0 in each active PPS for that layer.
–   When ViewOrderIdx[ i ] or DepthLayerFlag[ i ] derived according to any active VPS is greater than 0 for the layer
    with nuh_layer_id equal to i in subBitstream, the values of pic_width_in_luma_samples and
    pic_height_in_luma_samples in each active SPS for that layer shall be equal to the values of
    pic_width_in_luma_samples and pic_height_in_luma_samples, respectively, in each active SPS for all reference
    layers of that layer.
–   For a layer with nuh_layer_id iNuhLId equal to any value included in layerIdListTarget that was used to derive
    subBitstream, the value of NumRefLayers[ iNuhLId ], which specifies the total number of direct and indirect reference
    layers and is derived as specified in F.7.4.3.1, shall be less than or equal to 9.
–   All active SPSs for layers in subBitstream shall have sps_range_extension_flag and sps_scc_entension_flag equal to 0
    only.
–   All active PPSs for layers in subBitstream shall have pps_range_extension_flag and pps_scc_entension_flag equal to
    0 only.
–   All active SPSs for layers in subBitstream shall have bit_depth_luma_minus8 equal to 0 only.
–   All active SPSs for layers in subBitstream shall have bit_depth_chroma_minus8 equal to 0 only.
–   All active PPSs for layers in subBitstream shall have colour_mapping_enabled_flag equal to 0 only.
–   When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1, it shall have
    entropy_coding_sync_enabled_flag equal to 0.
–   When an active PPS for any layer in subBitstream has tiles_enabled_flag equal to 1, ColumnWidthInLumaSamples[ i ]
    shall be greater than or equal to 256 for all values of i in the range of 0 to num_tile_columns_minus1, inclusive, and
    RowHeightInLumaSamples[ j ] shall be greater than or equal to 64 for all values of j in the range of 0 to
    num_tile_rows_minus1, inclusive.
–   The number of times read_bits( 1 ) is called in clauses 9.3.4.3.3 and 9.3.4.3.4 when parsing coding_tree_unit( ) data
    for any CTU shall be less than or equal to 5 * RawCtuBits / 3.
–   general_level_idc and sub_layer_level_idc[ i ] for all values of i in active SPSs for any layer in subBitstream shall not
    be equal to 255 (which indicates level 8.5).
–   The tier and level constraints specified for the 3D Main profile in clause I.11.2 shall be fulfilled.
–   For any active VPS, ViewOrderIdx[ i ] shall be greater than ViewOrderIdx[ j ] for any values of i and j among
    layerIdListTarget that was used to derive subBitstream such that DepthLayerFlag[ i ] is equal to DepthLayerFlag[ j ]
    and i is greater than j.
–   For any active VPS, LayerIdxInVps[ i ] shall be equal to LayerIdxInVps[ j ] + 1 for any values of i and j among
    layerIdListTarget that was used to derive subBitstream such that ViewOrderIdx[ i ] is equal to ViewOrderIdx[ j ],
    DepthLayerFlag[ i ] is equal to 1, and DepthLayerFlag[ j ] is equal to 0.
In the remainder of this clause and clause I.11.2, all syntax elements in the profile_tier_level( ) syntax structure refer to
those in the profile_tier_level( ) syntax structure associated with the layer.
Conformance of a layer in an output operation point associated with an OLS in a bitstream to the 3D Main profile is
indicated as follows:
–   If OpTid of the output operation point is equal to vps_max_sub_layer_minus1, the conformance is indicated by
    general_profile_idc being equal to 8 or general_profile_compatibility_flag[ 8 ] being equal to 1, and
    general_max_12bit_constraint_flag being equal to 1, general_max_10bit_constraint_flag being equal to 1,
    general_max_8bit_constraint_flag being equal to 1, general_max_422chroma_constraint_flag being equal to 1,
    general_max_420chroma_constraint_flag being equal to 1, general_max_monochrome_constraint_flag being equal to
    0, general_intra_constraint_flag being equal to 0, and general_one_picture_only_constraint_flag being equal to 0, and
    general_lower_bit_rate_constraint_flag being equal to 1.
–   Otherwise (OpTid of the output operation point is less than vps_max_sub_layer_minus1), the conformance is indicated
    by sub_layer_profile_idc[ OpTid ] being equal to 8 or sub_layer_profile_compatibility_flag[ OpTid ][ 8 ] being equal
    to      1,      and         sub_layer_max_12bit_constraint_flag[ OpTid ]        being        equal        to      1,
    sub_layer_max_10bit_constraint_flag[ OpTid ] being equal to 1, sub_layer_max_8bit_constraint_flag[ OpTid ] being
    equal      to     1,      sub_layer_max_422chroma_constraint_flag[ OpTid ]          being      equal       to     1,
    sub_layer_max_420chroma_constraint_flag[ OpTid ]                  being           equal            to             1,


                                                                                Rec. ITU-T H.265 v8 (08/2021)          683
       Case 2:25-cv-03053             Document 1-7           Filed 04/07/25         Page 705 of 717 Page ID
                                                           #:1234

       sub_layer_max_monochrome_constraint_flag[ OpTid ] being equal to 0, sub_layer_intra_constraint_flag[ OpTid ]
       being equal to 0, and sub_layer_one_picture_only_constraint_flag[ OpTid ] being equal to 0, and
       sub_layer_lower_bit_rate_constraint_flag[ OpTid ] being equal to 1.

I.11.2 Tiers and levels
The specification in sub-clause G.11.2 and its sub-clauses apply with the following modifications:
–      "Multiview Main profile" is replaced by "3D Main profile"

I.11.3 Decoder capabilities
When a decoder conforms to any profile specified in Annex I, it shall also have the INBLD capability specified in
clause F.11.1.
Clause F.11.2 specifies requirements for a decoder conforming to any profile specified in Annex I.

I.12 Byte stream format
The specifications in clause G.12 apply.

I.13 Hypothetical reference decoder
The specifications in clause G.13 apply.

I.14 Supplemental enhancement information
I.14.1 General
The specifications in clause G.14.1 apply.

I.14.2 SEI payload syntax

I.14.2.1     General SEI payload syntax
The specifications in clause G.14.2.1 apply.

I.14.2.2     Annex D, Annex F, and Annex G SEI message syntax for 3D high efficiency video coding
The specifications in clauses G.14.2.2 through G.14.2.7 apply.

I.14.2.3     Alternative depth information SEI message syntax


    alternative_depth_info( payloadSize ) {                                                            Descriptor
       alternative_depth_info_cancel_flag                                                                 u(1)
       if( alternative_depth_info_cancel_flag = = 0 ) {
           depth_type                                                                                     u(2)
           if( depth_type = = 0 ) {
               num_constituent_views_gvd_minus1                                                           ue(v)
               depth_present_gvd_flag                                                                     u(1)
               z_gvd_flag                                                                                 u(1)
               intrinsic_param_gvd_flag                                                                   u(1)
               rotation_gvd_flag                                                                          u(1)
               translation_gvd_flag                                                                       u(1)
               if( z_gvd_flag )
                   for( i = 0; i <= num_constituent_views_gvd_minus1 + 1; i++ ) {
                      sign_gvd_z_near_flag[ i ]                                                           u(1)
                      exp_gvd_z_near[ i ]                                                                 u(7)
                      man_len_gvd_z_near_minus1[ i ]                                                      u(5)
                      man_gvd_z_near[ i ]                                                                 u(v)
                      sign_gvd_z_far_flag[ i ]                                                            u(1)
                      exp_gvd_z_far[ i ]                                                                  u(7)



684           Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053             Document 1-7      Filed 04/07/25         Page 706 of 717 Page ID
                                               #:1235

         man_len_gvd_z_far_minus1[ i ]                                                              u(5)
         man_gvd_z_far[ i ]                                                                         u(v)
       }
   if( intrinsic_param_gvd_flag ) {
       prec_gvd_focal_length                                                                        ue(v)
       prec_gvd_principal_point                                                                     ue(v)
   }
   if( rotation_gvd_flag )
       prec_gvd_rotation_param                                                                      ue(v)
   if( translation_gvd_flag )
       prec_gvd_translation_param                                                                   ue(v)
   for( i = 0; i <= num_constituent_views_gvd_minus1 + 1; i++ ) {
       if( intrinsic_param_gvd_flag ) {
           sign_gvd_focal_length_x[ i ]                                                             u(1)
           exp_gvd_focal_length_x[ i ]                                                              u(6)
           man_gvd_focal_length_x[ i ]                                                              u(v)
           sign_gvd_focal_length_y[ i ]                                                             u(1)
           exp_gvd_focal_length_y[ i ]                                                              u(6)
           man_gvd_focal_length_y[ i ]                                                              u(v)
           sign_gvd_principal_point_x[ i ]                                                          u(1)
           exp_gvd_principal_point_x[ i ]                                                           u(6)
           man_gvd_principal_point_x[ i ]                                                           u(v)
           sign_gvd_principal_point_y[ i ]                                                          u(1)
           exp_gvd_principal_point_y[ i ]                                                           u(6)
           man_gvd_principal_point_y[ i ]                                                           u(v)
       }
       if( rotation_gvd_flag )
           for( j = 0; j < 3; j++ ) /* row */
              for( k = 0; k < 3; k++ ) { /* column */
                  sign_gvd_r[ i ][ j ][ k ]                                                         u(1)
                  exp_gvd_r[ i ][ j ][ k ]                                                          u(6)
                  man_gvd_r[ i ][ j ][ k ]                                                          u(v)
              }
       if( translation_gvd_flag ) {
           sign_gvd_t_x[ i ]                                                                        u(1)
           exp_gvd_t_x[ i ]                                                                         u(6)
           man_gvd_t_x[ i ]                                                                         u(v)
       }
   }
 }
 if( depth_type = = 1 ) {
     min_offset_x_int                                                                               se(v)
     min_offset_x_frac                                                                              u(8)
     max_offset_x_int                                                                               se(v)
     max_offset_x_frac                                                                              u(8)
     offset_y_present_flag                                                                          u(1)
     if( offset_y_present_flag ){
         min_offset_y_int                                                                           se(v)



                                                                    Rec. ITU-T H.265 v8 (08/2021)          685
        Case 2:25-cv-03053                  Document 1-7          Filed 04/07/25            Page 707 of 717 Page ID
                                                                #:1236

                  min_offset_y_frac                                                                                          u(8)
                  max_offset_y_int                                                                                           se(v)
                  max_offset_y_frac                                                                                          u(8)
                }
                warp_map_size_present_flag                                                                                   u(1)
                if( warp_map_size_present_flag ) {
                    warp_map_width_minus2                                                                                    ue(v)
                    warp_map_height_minus2                                                                                   ue(v)
                }
            }
        }
    }



I.14.3 SEI payload semantics

I.14.3.1         General SEI payload semantics
The specifications in clause G.14.3.1 apply with the following modifications and additions:
The list VclAssociatedSeiList is set to consist of the payloadType values 2, 3, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56, 128,
131, 132, 134 to 152, inclusive, 154 to 159, inclusive, 161, 165, 167, 168, 177, 178, 179, 200 to 202, inclusive, and 205.
The list PicUnitRepConSeiList is set to consist of the payloadType values 0, 1, 2, 6, 9, 15, 16, 17, 19, 22, 23, 45, 47, 56,
128, 129, 131, 132, 133, 135 to 152, inclusive, 154 to 168, inclusive, 176 to 181, inclusive, 200 to 202, inclusive, and 205.
The semantics and persistence scope for each SEI message specified in this annex are specified in the semantics
specification for each particular SEI message in the subclauses of this clause.
        NOTE – Persistence information for SEI messages specified in this annex is informatively summarized in Table I.19.

                                   Table I.19 – Persistence scope of SEI messages (informative)

                           SEI message                                              Persistence scope
            Alternative depth information                Specified by the semantics of the SEI message



I.14.3.2         Annex D, Annex F, and Annex G SEI message semantics for 3D high efficiency video coding

I.14.3.2.1 General
The specifications of clause G.14.3.2 and its subclauses apply with the modifications specified in clause I.14.3.2.2.

I.14.3.2.2 Scalable nesting SEI message semantics for 3D high efficiency video coding
The specifications of clause G.14.3.2.2 apply with the following additions:
An SEI message that has payloadType equal to 181 (Alternative depth information) shall not be directly contained in a
scalable nesting SEI message.

I.14.3.3         Alternative depth information SEI message semantics
The alternative depth information SEI message indicates that the decoded depth samples are interpreted as being of an
alternative depth format. To discriminate different alternative depth formats, the depth_type syntax element is used.
Let currPic be a picture in the current access unit containing the alpha channel information SEI message. The information
of the alternative depth information SEI message persists in output order until any of the following are true:
–       A new CVS begins.
–       The bitstream ends.
–       A picture picB in an access unit containing an alternative depth information SEI message is output having
        PicOrderCnt( picB ) greater than PicOrderCnt( currPic ), where PicOrderCnt( picB ) and PicOrderCnt( currPic ) are
        the PicOrderCntVal values of picB and currPic, respectively, immediately after the invocation of the decoding process


686              Rec. ITU-T H.265 v8 (08/2021)
      Case 2:25-cv-03053                Document 1-7            Filed 04/07/25            Page 708 of 717 Page ID
                                                              #:1237

      for picture order count for picB.
alternative_depth_info_cancel_flag equal to 1 indicates that the SEI message cancels the persistence of any previous
alternative depth information SEI message in output order. alternative_depth_info_cancel_flag equal to 0 indicates that
alternative depth information follows.
depth_type identifies an alternative depth type according to Table I.20. depth_type equal to 0 indicates that global view
and depth (GVD) information is present in this SEI message. depth_type equal to 1 indicates that the decoded depth samples
can be used to derive a warp map and view synthesis can be performed by image-domain warping. Values of depth_type
that are not listed in Table I.20 are reserved for future use by ITU-T | ISO/IEC and shall not be present in bitstreams
conforming to this version of this Specification. Decoders shall ignore alternative depth information SEI messages that
contain reserved values of depth_type.

                                           Table I.20 – Interpretation of depth_type

                                Value                                     Description
                                   0             Global view and depth (GVD)
                                   1             Warp map



When the SEI message signals GVD information, the pictures of a view with ViewIdx greater than 0 contain samples of
multiple subsampled pictures (subsequently denoted as constituent pictures), which are located in a spatial packing
arrangement. This GVD information can be used after the decoder output to appropriately rearrange the samples in order
to produce additional views that are appropriate for display or other purposes (which are outside the scope of this
Recommendation | International Standard).
Layers that are referred to by this GVD information shall conform to the Main Profile, the Multiview Main profile, or the
3D Main profile, as specified in Annexes A, G, and I, respectively. The depth representation type is defined in the depth
representation information SEI message that shall be always present together with the GVD information.
When the CVS contains an alternative depth information SEI message with depth_type equal to 0, and the first access unit
in the CVS is an IRAP access unit, there shall be an alternative depth information SEI message with depth_type equal to
0 in the first access unit of the CVS. When GVD information is present, the following applies:
–     The CVS shall represent two views.
–     A texture layer and a depth layer shall both be present for the view with ViewIdx equal to 0.
–     A texture layer shall be present and a depth layer may be present for the view with ViewIdx greater than 0.
–     The value of NumDirectRefLayers[ LayerIdxInVps[ depLayerId ] ] shall be equal to 0 for any value of depLayerId
      among nuh_layer_id values of layers of the view with ViewIdx equal to 0 or the view with ViewIdx greater than 0.
–     The pictures of the view with ViewIdx equal to 0 shall represent full resolution pictures.
–     Each picture of the view with ViewIdx greater than 0 shall contain a packing arrangement of 1 to 4 sub-sampled
      pictures of constituent views. Such sub-sampled pictures are denoted as constituent pictures.
–     All constituent pictures shall have a width and a height equal to ( pic_width_in_luma_samples / 2 ) and
      ( pic_height_in_luma_samples /2 ) in luma samples, respectively.
The variable i (with a value in the range of 1 to num_constituent_views_minus1 + 1, inclusive) in the
alternative_depth_info( ) syntax structure is an index that is associated with the location of the constituent picture in the
picture of the view with ViewIdx greater than 0, as specified in Table I.21. With regard to the remaining syntax elements
in the alternative_depth_info( ) syntax structure, i equal to 0 refers to the parameters of the view with ViewIdx equal to 0
and i greater than 0 refers to the parameter of one of the constituent views.
    NOTE 1 – The ViewIdx of the view with ViewIdx greater than 0 is not used for identification of constituent views in the context of
    this SEI message, but the variable i.

             Table I.21 – Locations of the top-left luma samples of constituent pictures packed in a picture
                    with ViewIdx greater than 0 relative to the top-left luma sample of this picture

                     Constituent                          Location of the top-left luma sample
                    picture index i                     in a picture with ViewIdx greater than 0
                           1                                              ( 0, 0 )
                           2                               ( 0, pic_height_in_luma_samples / 2 )



                                                                                     Rec. ITU-T H.265 v8 (08/2021)              687
      Case 2:25-cv-03053                  Document 1-7             Filed 04/07/25              Page 709 of 717 Page ID
                                                                 #:1238

                            3                                 ( pic_width_in_luma_samples / 2, 0 )
                            4                 ( pic_width_in_luma_samples / 2, pic_height_in_luma_samples / 2 )


num_constituent_views_gvd_minus1 plus 1 specifies the number of constituent pictures packed into each picture of the
view with ViewIdx greater than 0. num_constituent_views_gvd_minus1 shall be in the range of 0 to 3, inclusive.
depth_present_gvd_flag equal to 1 specifies that the depth layer for the view with ViewIdx greater than 0 is present and
contains constituent pictures with a packing arrangement as described above. depth_present_gvd_flag equal to 0 specifies
that the depth layer for the view with ViewIdx greater than 0 is not present.
Each constituent picture of a depth layer for the view with ViewIdx greater than 0 is associated with a constituent picture
of the texture layer for the view with ViewIdx greater than 0 in the same relative location.
  NOTE 2 – The following SEI message parameters can be used along with the decoded pictures of the depth layers to project samples
  from the view with ViewIdx equal to 0 into the co-ordinates of constituent views such that the reconstructed views can be generated
  by combining the projected samples and the samples from the constituent views.

The function binToFp( s, e, n, v ) is specified as follows:
      binToFp( s, e, n, v ) = (−1)s * ( e = = 0 ? ( 2−( 30 + v ) * n ) : ( 2e − 31 * ( 1 + n ÷ 2v ) ) )                      (I-315)
  NOTE 3 – The above specification is similar to what is found in IEC 60559:1989.

z_gvd_flag equal to 1 indicates the presence of the syntax elements sign_gvd_z_near_flag[ i ], exp_gvd_z_near[ i ],
man_len_gvd_z_near_minus1[ i ],           man_gvd_z_near[ i ],         sign_gvd_z_far_flag[ i ],  exp_gvd_z_far[ i ],
man_len_gvd_z_far_minus1[ i ], and man_gvd_z_far[ i ], for i in the range of 0 to num_constituent_views_minus1 + 1,
inclusive. z_gvd_flag equal to 0 indicates that these syntax elements are not present.
intrinsic_param_gvd_flag equal to 1 indicates the presence of intrinsic camera parameter syntax elements.
intrinsic_param_gvd_flag equal to 0 indicates that these syntax elements are not present.
rotation_gvd_flag equal to 1 indicates the presence of rotation camera parameter syntax elements. rotation_gvd_flag equal
to 0 indicates that these syntax elements are not present. When rotation_gvd_flag is equal to 0, a default rotation camera
parameter of a unit matrix value is inferred.
translation_gvd_flag equal to 1 indicates the presence of horizontal translation camera parameter syntax elements.
translation_gvd_flag equal to 0 indicates that these syntax elements are not present.
sign_gvd_z_near_flag[ i ] equal to 0 indicates that the sign of the nearest depth value of the i-th camera is positive.
sign_gvd_z_near_flag[ i ] equal to 1 indicates that the sign of the nearest depth value of the i-th camera is negative.
exp_gvd_z_near[ i ] specifies the exponent part of the nearest depth value of the i-th camera. The value of
exp_gvd_z_near[ i ] shall be in the range of 0 to 126, inclusive. The value 127 is reserved for future use by
ITU-T | ISO/IEC. When exp_gvd_z_near[ i ] is equal to 127, the value of zNear[ i ] is unspecified.
man_len_gvd_z_near_minus1[ i ] plus 1 specifies the length in bits of the mantissa of the nearest depth value of the i-th
camera. The value of man_len_gvd_z_near_minus1[ i ] shall be in the range of 0 to 31, inclusive.
man_gvd_z_near[ i ] specifies the mantissa part of the nearest depth value of the i-th camera. The length of
man_gvd_z_near[ i ] syntax elements is man_len_gvd_z_near_minus1[ i ] + 1 bits.
When      exp_gvd_z_near[ i ]      is    not    equal       to    127,      zNear[ i ]   is    set    equal       to
binToFp( sign_gvd_z_near_flag[ i ], exp_gvd_z_near[ i ], man_gvd_z_near[ i ], man_len_gvd_z_near_minus1[ i ] + 1 ).
sign_gvd_z_far_flag[ i ] equal to 0 indicates that the sign of the farthest depth value of the i-th camera is positive.
sign_gvd_z_far_flag[ i ] equal to 1 indicates that the sign of the farthest depth value of the i-th camera is negative.
exp_gvd_z_far[ i ] specifies the exponent part of the farthest depth value of the i-th camera. The value of
exp_gvd_z_far[ i ] shall be in the range of 0 to 126, inclusive. The value 127 is reserved for future use by ITU-T | ISO/IEC.
When exp_gvd_z_far[ i ] is equal to 127, the value of zFar[ i ] is unspecified.
man_len_gvd_z_far_minus1[ i ] plus 1 specifies the length in bits of the mantissa of the farthest depth value of the i-th
camera. The value of man_len_gvd_z_far_minus1[ i ] shall be in the range of 0 to 31, inclusive.
man_gvd_z_far[ i ] specifies the mantissa part of the farthest depth value of the i-th camera. The length of
man_gvd_z_far[ i ] syntax elements is man_len_gvd_z_far_minus1[ i ] + 1 bits.
When       exp_gvd_z_far[ i ]      is    not     equal      to     127,       zFar[ i ]  is    set       equal                    to
binToFp( sign_gvd_z_far_flag[ i ], exp_gvd_z_far[ i ], man_gvd_z_far[ i ], man_len_gvd_z_far_minus1[ i ] + 1 ).
prec_gvd_focal_length specifies the exponent of the maximum allowable truncation error for focalLengthX[ i ] and


688          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053                Document 1-7             Filed 04/07/25           Page 710 of 717 Page ID
                                                             #:1239

focalLengthY[ i ] as given by 2−prec_gvd_focal_length. The value of prec_gvd_focal_length shall be in the range of 0 to 31,
inclusive.
prec_gvd_principal_point specifies the exponent of the maximum allowable truncation error for principalPointX[ i ] and
principalPointY[ i ] as given by 2−prec_gvd_principal_point. The value of prec_gvd_principal_point shall be in the range of 0 to 31,
inclusive.
prec_gvd_rotation_param specifies the exponent of the maximum allowable truncation error for r[ i ][ j ][ k ] as given
by 2−prec_gvd_rotation_param. The value of prec_gvd_rotation_param shall be in the range of 0 to 31, inclusive.
prec_gvd_translation_param specifies the exponent of the maximum allowable truncation error for tX[ i ] as given by
2−prec_gvd_translation_param. The value of prec_gvd_translation_param shall be in the range of 0 to 31, inclusive.
sign_gvd_focal_length_x[ i ] equal to 0 indicates that the sign of the focal length of the i-th camera in the horizontal
direction is positive. sign_gvd_focal_length_x[ i ] equal to 1 indicates that the sign of the focal length of the i-th camera
in the horizontal direction is negative.
exp_gvd_focal_length_x[ i ] specifies the exponent part of the focal length of the i-th camera in the horizontal direction.
The value of exp_gvd_focal_length_x[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future use
by ITU-T | ISO/IEC. When exp_gvd_focal_length_x[ i ] is equal to 63, the value of focal length of the horizontal direction
for the i-th camera is unspecified.
man_gvd_focal_length_x[ i ] specifies the mantissa part of the focal length of the i-th camera in the horizontal direction.
The length v of the man_gvd_focal_length_x[ i ] syntax element is determined as follows:
–   If exp_gvd_focal_length_x[ i ] is equal to 0, the length v is set equal to Max( 0, prec_gvd_focal_length − 30 ).
–   Otherwise (exp_gvd_focal_length_x[ i ] is in the range of 1 to 62, inclusive), the length v is
    Max( 0, exp_gvd_focal_length_x[ i ] + prec_gvd_focal_length − 31 ).
When exp_gvd_focal_length_x[ i ] is not equal to 63, the variable focalLengthX[ i ] is set equal to
binToFp( sign_gvd_focal_length_x[ i ], exp_gvd_focal_length_x[ i ], man_gvd_focal_length_x[ i ], v ).
sign_gvd_focal_length_y[ i ] equal to 0 indicates that the sign of the focal length of the i-th camera in the vertical direction
is positive. sign_gvd_focal_length_y[ i ] equal to 1 indicates that the sign of the focal length of the i-th camera in the
vertical direction is negative.
exp_gvd_focal_length_y[ i ] specifies the exponent part of the focal length of the i-th camera in the vertical direction. The
value of exp_gvd_focal_length_y[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future use by
ITU-T | ISO/IEC. When exp_gvd_focal_length_y[ i ] is equal to 63, the value of focal length of the vertical direction is
unspecified.
man_gvd_focal_length_y[ i ] specifies the mantissa part of the focal length of the i-th camera in the vertical direction.
The length v of the man_gvd_focal_length_y[ i ] syntax element is determined as follows:
–   If exp_gvd_focal_length_y[ i ] is equal to 0, the length v is set equal to Max( 0, prec_gvd_focal_length − 30 ).
–   Otherwise (exp_gvd_focal_length_y[ i ] is in the range of 1 to 62, inclusive), the length v is set equal to
    Max( 0, exp_gvd_focal_length_y[ i ] + prec_gvd_focal_length − 31 ).
When exp_gvd_focal_length_y[ i ] is not equal to 63, the variable focalLengthY[ i ] is set equal to
binToFp( sign_gvd_focal_length_y[ i ], exp_gvd_focal_length_y[ i ], man_gvd_focal_length_y[ i ], v ).
sign_gvd_principal_point_x[ i ] equal to 0 indicates that the sign of the principal point of the i-th camera in the horizontal
direction is positive. sign_gvd_principal_point_x[ i ] equal to 1 indicates that the sign of the principal point of the i-th
camera in the horizontal direction is negative.
exp_gvd_principal_point_x[ i ] specifies the exponent part of the principal point of the i-th camera in the horizontal
direction. The value of exp_gvd_principal_point_x[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved
for future use by ITU-T | ISO/IEC. When exp_gvd_principal_point_x[ i ] is equal to 63, the value of principal point in the
horizontal direction for the i-th camera is unspecified.
man_gvd_principal_point_x[ i ] specifies the mantissa part of the principal point of the i-th camera in the horizontal
direction The length v of the man_gvd_principal_point_x[ i ] syntax element in units of bits is determined as follows:
–   If exp_gvd_principal_point_x[ i ] is equal to 0, the length v is set equal to Max( 0, prec_gvd_principal_point − 30 ).
–   Otherwise (exp_gvd_principal_point_x[ i ] is in the range of 1 to 62, inclusive), the length v is set equal to
    Max( 0, exp_gvd_principal_point_x[ i ] + prec_gvd_principal_point − 31 ).
When exp_gvd_principal_point_x[ i ] is not equal to 63, the variable principalPointX[ i ] is set equal to


                                                                                   Rec. ITU-T H.265 v8 (08/2021)              689
      Case 2:25-cv-03053                 Document 1-7                 Filed 04/07/25    Page 711 of 717 Page ID
                                                                    #:1240

binToFp( sign_gvd_principal_point_x[ i ], exp_gvd_principal_point_x[ i ], man_gvd_principal_point_x[ i ], v ).
sign_gvd_principal_point_y[ i ] equal to 0 indicates that the sign of the principal point of the i-th camera in the vertical
direction is positive. sign_gvd_principal_point_y[ i ] equal to 1 indicates that the sign of the principal point of the i-th
camera in the vertical direction is negative.
exp_gvd_principal_point_y[ i ] specifies the exponent part of the principal point of the i-th camera in the vertical
direction. The value of exp_gvd_principal_point_y[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved
for future use by ITU-T | ISO/IEC. When exp_gvd_principal_point_y[ i ] is equal to 63, the value of principal point in the
vertical direction for the i-th camera is unspecified.
man_gvd_principal_point_y[ i ] specifies the mantissa part of the principal point of the i-th camera in the vertical
direction. The length v of the man_gvd_principal_point_y[ i ] syntax element in units of bits is determined as follows:
–     If exp_gvd_principal_point_y[ i ] is equal to 0, the length v is set equal to Max( 0, prec_gvd_principal_point − 30 ).
–     Otherwise (exp_gvd_principal_point_y[ i ] is in the range of 1 to 62, inclusive), the length v is set equal to
      Max( 0, exp_gvd_principal_point_y[ i ] + prec_gvd_principal_point − 31 ).
When exp_gvd_principal_point_y[ i ] is not equal to 63, the variable principalPointY[ i ] is set equal to
binToFp( sign_gvd_principal_point_y[ i ], exp_gvd_principal_point_y[ i ], man_gvd_principal_point_y[ i ], v ).
sign_gvd_r[ i ][ j ][ k ] equal to 0 indicates that the sign of ( j, k ) component of the rotation matrix for the i-th camera is
positive. sign_gvd_r[ i ][ j ][ k ] equal to 1 indicates that the sign of ( j, k ) component of the rotation matrix for the i-th
camera is negative.
exp_gvd_r[ i ][ j ][ k ] specifies the exponent part of ( j, k ) component of the rotation matrix for the i-th camera. The value
of exp_gvd_r[ i ][ j ][ k ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future use by ITU-T |
ISO/IEC. When exp_gvd_r[ i ][ j ][ k ] is equal to 63, the value of rotation matrix is unspecified.
man_gvd_r[ i ][ j ][ k ] specifies the mantissa part of ( j, k ) component of the rotation matrix for the i-th camera.
The length v of the man_gvd_r[ i ][ j ][ k ] syntax element in units of bits is determined as follows:
–     If exp_gvd_r[ i ] is equal to 0, the length v is set equal to Max( 0, prec_gvd_rotation_param − 30 ).
–     Otherwise (exp_gvd_r[ i ] is in the range of 1 to 62, inclusive), the length v is set equal to
      Max( 0, exp_gvd_r[ i ] + prec_gvd_rotation_param − 31 ).
When exp_gvd_r[ i ][ j ][ k ] is not equal to 63, the variable r[ i ][ j ][ k ]                            is    set   equal   to
binToFp( sign_gvd_r[ i ][ j ][ k ], exp_gvd_r[ i ][ j ][ k ], man_gvd_r[ i ][ j ][ k ], v ).
The rotation matrix R[ i ] for i-th camera is represented as follows:

                      r[ i ][ 0 ][ 0 ] r[ i ][ 0 ][1] r[ i ][ 0 ][ 2 ]
                       r[ i ][ 1 ][ 0 ] r[ i ][ 1 ][ 1 ] r[ i ][ 1 ][ 2 ]                                               (I-316)
                      r[ i ][ 2 ][ 0 ] r[ i ][ 2 ][1] r[ i ][ 2 ][ 2 ]
                                                                          
sign_gvd_t_x[ i ] equal to 0 indicates that the sign of the horizontal component of the translation vector for the i-th camera
is positive. sign_gvd_t_x[ i ] equal to 1 indicates that the sign of the horizontal component of the translation vector for the
i-th camera is negative.
exp_gvd_t_x[ i ] specifies the exponent part of the horizontal component of the translation vector for the i-th camera. The
value of exp_gvd_t_x[ i ] shall be in the range of 0 to 62, inclusive. The value 63 is reserved for future use by ITU-T |
ISO/IEC. When exp_gvd_t_x[ i ] is equal to 63, the value of the translation vector is unspecified.
man_gvd_t_x[ i ] specifies the mantissa part of the horizontal component of the translation vector for the i-th camera.
The length v of the man_gvd_t_x[ i ] syntax element in units of bits is determined as follows:
–     If exp_gvd_t_x[ i ] is equal to 0, the length v is set equal to Max( 0, prec_gvd_translation_param − 30 ).
–     Otherwise (exp_gvd_t_x[ i ] is in the range of 1 to 62, inclusive), the length v is set equal to
      Max( 0, exp_gvd_t_x[ i ] + prec_gvd_translation_param − 31 ).
When     exp_gvd_t_x[ i ]     is   not     equal    to   63,       the           variable   tX[ i ]   is        set    equal   to
binToFp( sign_gvd_t_x[ i ], exp_gvd_t_x[ i ], man_gvd_t_x[ i ], v ).
When the SEI signals warp map information, syntax elements of this SEI can be used to derive a sparse set of positional
correspondences between decoded pictures of different views from decoded pictures of depth layers.



690          Rec. ITU-T H.265 v8 (08/2021)
    Case 2:25-cv-03053              Document 1-7           Filed 04/07/25          Page 712 of 717 Page ID
                                                         #:1241

min_offset_x_int, min_offset_x_frac specify the integer and the fractional part of the minimum offset for the horizontal
direction of a warp map.
The variable minOffsetX is derived as follows:
    minOffsetX = min_offset_x_int + min_offset_x_frac ÷ 256                                                         (I-317)
max_offset_x_int, max_offset_x_frac specify the integer and the fractional part of the maximum offset for the horizontal
direction of a warp map.
The variable maxOffsetX value is derived as follows:
    maxOffsetX = max_offset_x_int + max_offset_x_frac ÷ 256                                                         (I-318)
offset_y_present_flag equal to 1 specifies that min_offset_y_int, min_offset_y_frac, max_offset_y_int, and
max_offset_y_frac are present. offset_y_present_flag equal to 0 specifies that min_offset_y_int, min_offset_y_frac,
max_offset_y_int, and max_offset_y_frac are not present.
min_offset_y_int, min_offset_y_frac specify the integer and the fractional part of the minimum offset for the vertical
direction of a warp map. When not present, the values of min_offset_y_int and min_offset_y_frac are inferred to be equal
to 0.
The variable minOffsetY value is derived as follows:
    minOffsetY = min_offset_y_int + min_offset_y_frac ÷ 256                                                         (I-319)
max_offset_y_int, max_offset_y_frac specify the integer and the fractional part of the maximum offset for the vertical
direction of a warp map. When not present, the values of max_offset_y_int and max_offset_y_frac are inferred to be equal
to 0.
The variable maxOffsetY value is derived as follows:
    maxOffsetY = max_offset_y_int + max_offset_y_frac ÷ 256                                                         (I-320)
warp_map_size_present_flag equal to 1 specifies that a new warp map size is present, which is valid for the current and
all following warp maps in output order until a new message with warp_map_size_present_flag equal to 1 is received or
alternative_depth_info_cancel_flag is equal to 1. warp_map_size_present_flag equal to 0 specifies that the warp map size
is not changed.
warp_map_width_minus2 plus 2 specifies the width of the warp map. The value of warp_map_width_minus2 shall be in
the range of 0 to ( pic_width_in_luma_samples − 2 ), inclusive. The variable warpMapWidth is set equal to
( warp_map_width_minus2 + 2 ).
warp_map_height_minus2 plus 2 specifies the height of the warp map. The value of warp_map_height_minus2 shall be
in the range of 0 to ( pic_height_in_luma_samples >> offset_y_present_flag ) − 2, inclusive. The variable
warpMapHeight is set equal to ( warp_map_height_minus2 + 2 ).
The variables deltaX, deltaY, scaleX, and scaleY are derived as follows:
    deltaX = pic_width_in_luma_samples ÷ ( warpMapWidth − 1 )                                                       (I-321)
    deltaY = pic_height_in_luma_samples ÷ ( warpMapHeight − 1 )                                                     (I-322)
    scaleX = ( maxOffsetX − minOffsetX ) / ( ( 1 << BitDepthY ) − 1 )                                               (I-323)
    scaleY = ( maxOffsetY − minOffsetY ) / ( ( 1 << BitDepthY ) − 1 )                                               (I-324)
Let recSamples[ x ][ y ] correspond to the reconstructed sample array SL of a picture of a depth layer. The corresponding
horizontal warp map component w[ x ][ y ][ 0 ] and the corresponding vertical warp map component w[ x ][ y ][ 1 ] for
recSamples[ x ][ y ] are derived as follows:
    for( x = 0; x < warpMapWidth; x++ )
         for( y = 0; y < warpMapHeight; y++ ) {
              w[ x ][ y ][ 0 ] = x * deltaX + minOffsetX + scaleX * recSamples[ x ][ y ]
              if( offset_y_present_flag )
                   w[ x ][ y ][ 1 ] = y * deltaY + minOffsetY +
                                       scaleY * recSamples[ x ][ y + pic_height_in_luma_samples / 2 ]               (I-325)
              else
                   w[ x ][ y ][ 1 ] = y * deltaY
         }
A warp map w[ x ][ y ] derived using the reconstructed sample array SL of a picture included in a particular access unit and
in a depth layer of a particular view is associated with the pictures included in the particular view and in the particular


                                                                              Rec. ITU-T H.265 v8 (08/2021)            691
      Case 2:25-cv-03053               Document 1-7             Filed 04/07/25           Page 713 of 717 Page ID
                                                              #:1242

access unit. The warp map specifies a sparse set of positional correspondences. These correspondences identify
semantically corresponding sample locations between pictures included in the particular view and the particular AU, and
the pictures included in a neighbouring view and the particular AU as follows:
–     If the warp map w[ x ][ y ] is associated with a picture of the leftmost view, the warp map specifies for each location
      ( x * deltaX, y * deltaY ) of this picture a corresponding location ( 2 * w[ x ][ y ][ 0 ], 2 * w[ x ][ y ][ 1 ] ) in a picture
      of the closest neighbouring view on the right.
–     Otherwise (the warp map w[ x ][ y ] is associated with a picture of a view different to the leftmost view), the warp
      map specifies for each location ( x * deltaX, y * deltaY ) in this picture a corresponding location
      ( 2 * w[ x ][ y ][ 0 ], 2 * w[ x ][ y ][ 1 ] ) in a picture of the closest neighbouring view on the left.

I.15 Video usability information
The specifications in clause G.15 apply.




692          Rec. ITU-T H.265 v8 (08/2021)
       Case 2:25-cv-03053          Document 1-7         Filed 04/07/25         Page 714 of 717 Page ID
                                                      #:1243

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                                                                          Rec. ITU-T H.265 v8 (08/2021)        693
       Case 2:25-cv-03053          Document 1-7          Filed 04/07/25          Page 715 of 717 Page ID
                                                       #:1244

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694        Rec. ITU-T H.265 v8 (08/2021)
Case 2:25-cv-03053   Document 1-7     Filed 04/07/25   Page 716 of 717 Page ID
                                    #:1245
  Case 2:25-cv-03053        Document 1-7           Filed 04/07/25     Page 717 of 717 Page ID
                                                 #:1246




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